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                 United States Court of Appeals
                                                      for the

                                       First Circuit

                                               Case Nos. 24-1770,
                                               24-1771, 24-1772,
                                               24-1773, 24-1774

                          SECURITIES AND EXCHANGE COMMISSION,
                                                                         Plaintiff-Appellee,
                                                  v.
                                   ZHIYING YVONNE GASARCH,
                                                                      Defendant-Appellant,
                   FREDERICK L. SHARP; COURTNEY KELLN; MIKE K. VELDHUIS;
                     PAUL SEXTON; JACKSON T. FRIESEN; WILLIAM T. KAITZ;
                           AVTAR S. DHILLON; GRAHAM R. TAYLOR,
                                                                               Defendants.
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                            (For Continuation of Caption See Inside Cover)
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                   ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                DISTRICT OF MASSACHUSETTS, BOSTON IN CASE NO. 1:21-CV-11276-WGY,
                        HONORABLE WILLIAM G. YOUNG, U.S. DISTRICT JUDGE

                                       JOINT APPENDIX
                               Volume 4 of 8 (Pages A1813 to A2415)

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                            (For Continuation of Appearances See Inside Cover)


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                       SECURITIES AND EXCHANGE COMMISSION,
                                                           Plaintiff-Appellee,
                                           v.
                                   MIKE K. VELDHUIS,
                                                         Defendant-Appellant,
                    ZHIYING YVONNE GASARCH; FREDERICK L. SHARP;
                 COURTNEY KELLN; PAUL SEXTON; JACKSON T. FRIESEN;
                WILLIAM T. KAITZ; AVTAR S. DHILLON; GRAHAM R. TAYLOR,
                                                                 Defendants.
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                       SECURITIES AND EXCHANGE COMMISSION,
                                                           Plaintiff-Appellee,
                                           v.
                                     PAUL SEXTON,
                                                         Defendant-Appellant,
                    ZHIYING YVONNE GASARCH; FREDERICK L. SHARP;
                COURTNEY KELLN; MIKE K. VELDHUIS; JACKSON T. FRIESEN;
                WILLIAM T. KAITZ; AVTAR S. DHILLON; GRAHAM R. TAYLOR,
                                                                 Defendants.
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                       SECURITIES AND EXCHANGE COMMISSION,
                                                           Plaintiff-Appellee,
                                           v.
                                   COURTNEY KELLN,
                                                         Defendant-Appellant,
                    ZHIYING YVONNE GASARCH; FREDERICK L. SHARP;
                 MIKE K. VELDHUIS; PAUL SEXTON; JACKSON T. FRIESEN;
                WILLIAM T. KAITZ; AVTAR S. DHILLON; GRAHAM R. TAYLOR,
                                                                 Defendants.
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                       SECURITIES AND EXCHANGE COMMISSION,
                                                           Plaintiff-Appellee,
                                           v.
                                  JACKSON T. FRIESEN,
                                                         Defendant-Appellant,
                    ZHIYING YVONNE GASARCH; FREDERICK L. SHARP;
                  COURTNEY KELLN; MIKE K. VELDHUIS; PAUL SEXTON;
                WILLIAM T. KAITZ; AVTAR S. DHILLON; GRAHAM R. TAYLOR,
                                                                 Defendants.
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


          SECURITIES AND EXCHANGE
          COMMISSION,                                No. 21-cv-11276-WGY
                              Plaintiff,
              v.
                                                     Leave to file granted on October 26, 2023
          FREDERICK L. SHARP, ZHIYING
          YVONNE GASARCH, COURTNEY
          KELLN, MIKE K. VELDHUIS, PAUL
          SEXTON, JACKSON T. FRIESEN,
          WILLIAM T. KAITZ, AVTAR S.
          DHILLON, and GRAHAM R. TAYLOR,

                                 Defendants.



             PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR REMEDIES
           AGAINST DEFENDANTS MIKE VELDHUIS, PAUL SEXTON, JACKSON FRIESEN,
                    COURTNEY KELLN, AND ZHIYING YVONNE GASARCH



                                               SECURITIES AND EXCHANGE
                                               COMMISSION

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                                           PRELIMINARY STATEMENT

                 As shown by the evidence at trial and the jury’s unanimous verdict against Friesen and

          Gasarch, collectively, the five defendants intentionally committed securities fraud and other

          violations. They engaged in a decade-long scheme to profit at the expense of unwitting investors

          by concealing their, or their clients’, ownership and control of many microcap companies. The

          Commission now seeks remedies that fall into three distinct categories.

                 First, to protect investors, the Court should permanently enjoin Sexton, Friesen, and

          Gasarch from: (i) violating the provisions of the federal securities laws they violated, or aided

          and abetted violations of; (ii) participating in a securities offering; provided that such injunction

          shall not prevent them from purchasing or selling securities listed on a national securities

          exchange for their own personal accounts; and (iii) trading in penny stocks.

                 Second, to hold them accountable for their misconduct, the Court should impose

          individual civil penalties against Veldhuis, Sexton, and Friesen, in the amount of $1,562,603;

          against Kelln in the amount of $904,078; and against Gasarch in the amount of $558,072.

                  Third, to prevent the defendants from unjustly profiting from their misdeeds, the Court

          should order disgorgement and prejudgment interest (“PJI”) as follows: Veldhuis in the amount

          of $13,289,897 plus PJI of $4,314,031; Sexton in the amount of $17,367,474 plus PJI of

          $5,872,145; Friesen in the amount of $11,846,176 plus PJI of $4,057,737; Kelln in the amount of

          $1,582,785 plus PJI of 460,687; and Gasarch in the amount of $2,522,367 plus PJI of $646,366.

                                          PROCEDURAL BACKGROUND

                 On June 14 and June 21, 2023, respectively, the Court entered partial judgments against

          Kelln and Veldhuis. See Dkt. Nos. 317, 325. These judgments, which were entered at the request

          of these two defendants, imposed injunctive relief against future violations of Sections 5 and



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          17(a) of the Securities Act of 1933 (“Securities Act”), and Section 10(b) of the Securities

          Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5 (and, as to Veldhuis, also Section 13(d)

          of the Exchange Act), and imposed penny stock bars and conduct based injunctions. The

          judgments provide that Kelln and Veldhuis do not contest liability but are permitted to challenge

          the monetary remedies and other sanctions sought by the Commission in further briefing.

                 On September 12, 2023, the Court entered a partial judgment against Sexton. See Dkt.

          No. 378. This judgment, entered at Sexton’s request, provides that he is liable for violations of

          Sections 5 and 17(a)(1) and (3) of the Securities Act and Sections 10(b) and 13(d) of the

          Exchange Act and Rules 10b-5(a) and (c) and 13d-1 thereunder, and permits Sexton to challenge

          any remedies requested by the Commission in further briefing.

                                                    ARGUMENT

                 The Commission is entitled to remedies upon showing by a preponderance of the

          evidence that they are appropriate. Steadman v. SEC, 450 U.S. 91, 103 (1981). Also, “[a]t the

          remedies stage, trial judges may make factual findings and rely on such findings in assessing the

          amount of civil penalties so long as the court’s findings do not conflict with the jury’s findings as

          to liability.” SEC v. Life Partners Holdings, Inc., 854 F.3d 765, 781-82 (5th Cir. 2017).

          I.     The Court Should Order Relief To Protect Investors From Future Misconduct by
                 Sexton, Friesen, and Gasarch.

                 A.      The Court Should Impose Permanent Injunctions.

                 Securities Act Section 20(b) and Exchange Act Section 21(d)(1) authorize a court to

          enjoin, permanently or temporarily, acts or practices that constitute violations of the federal

          securities laws “[w]henever it shall appear to the Commission that any person is engaged or

          about to engage in any acts or practices which constitute or will constitute a violation of” the

          federal securities laws. 15 U.S.C. §§77t(b); 78u(d)(1). “[U]pon a proper showing a


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          permanent…injunction…shall be granted….” Id. A court may issue a permanent injunction if the

          conduct demonstrates a reasonable likelihood of further violations. See SEC v. Sargent, 329 F.3d

          34, 39 (1st Cir. 2003). When assessing the likelihood of recurrence, courts consider: (1) the

          egregiousness and isolated or recurrent nature of the violations, (2) the opportunity to violate

          again, and (3) the recognition, if any, by the defendant that their acts were wrongful. See id.

                 As set forth below, the need for permanent injunctions against Sexton, Friesen, and

          Gasarch is compelling given the nature, magnitude, and duration of the fraudulent scheme in

          which they engaged. See SEC v. Sharp, 626 F. Supp. 3d 345, 399 (D. Mass. 2022) (Young, J.) (in

          denying motions to dismiss, this Court noted that “[g]iven the alleged scienter and the recurrent

          nature of the infractions … there are sufficient allegations for the SEC’s requests for injunctive

          relief to pass muster”) (internal citations omitted). These injunctions are also proper when

          compared to the similar injunctions this Court has issued against the other defendants. See Dkt.

          Nos. 211 (Sharp); 262 (Taylor); 263 (Kaitz); 317 (Kelln); 325 (Veldhuis); 404 (Dhillon).

                 Defendants’ Conduct Was Egregious, Recurrent, and Sustained. The evidence

          presented at trial makes clear that the defendants’ conduct and violations of the federal securities

          laws, resulting in the fraudulent sale of more than $144 million worth of penny stocks, were

          egregious, recurrent, and sustained. See Trial Exhibit (“Tr. Ex.”) 307. As Roger Knox testified,

          these otherwise illegal sales were accomplished via a complex network of Fred Sharp-

          administered nominees that Gasarch helped run, and Sexton and Friesen used to conceal their

          identities to avoid registration requirements and volume limitations on sales.

                 As the jury found, Gasarch--the accountant for Sharp’s fraudulent business--arranged for

          wire transfers of the proceeds of clients’ illegal stock sales in a manner designed to conceal the

          fact that those clients were, in fact, the actual beneficial owners of the stock being sold. In so



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          doing, she fabricated invoices, emails, and related documents to justify these payments. See, e.g.,

          Tr. Exs. 180, 241. She also had explicit communications with Sharp about how she would defend

          her conduct against potential charges of money laundering. See Tr. Ex. 90. Gasarch also helped

          to disguise the identities of actual shareholders by personally serving as the purported owner of

          one of the corporate nominees that the Sharp Group loaned to its clients to obscure the ownership

          of stock they were selling. See, e.g., Tr. Exs. 100, 284; see also Tr. Exs. 196, 277.

                 Working together, Sexton and Friesen (with Veldhuis) used the Sharp Group’s services

          illegally to: (1) exercise control over 14 issuers’ stock (the “Fourteen Issuers”), (2) utilize an

          intricate network of international people and entities secretly to promote, sell, and share in the

          proceeds of their sales; and (3) repeatedly fail to disclose their beneficial ownership of those

          shares over the course of the scheme. See, e.g., Tr. Exs. 11, 13-14, 16-20, 45, 87, 136, 141, 170,

          190, 261, 289, 292, 307, 313, 316; see also Dkt. No. 273, at ¶¶41-54 (discussing money transfers

          to Veldhuis, Sexton, and Friesen’s Q accounts), ¶¶55-56 (discussing lack of EDGAR filings);

          Dkt. No. 268 (Plaintiff’s Local Rule 56.1 Statement of Facts summarizing the evidence of fraud).

                 Courts in this District have found that comparably egregious conduct supports injunctive

          relief. See SEC v. Spencer Pharm. Inc., No. 12-cv-12334-IT, 2015 WL 5749436, at *6 (D. Mass.

          Sept. 30, 2015) (imposing injunctions where violations involved a “long-term, calculated course

          of conduct”); SEC v. Tropikgadget FZE, 146 F. Supp. 3d 270, 283 (D. Mass. 2015) (permanent

          injunctions warranted where defendants operated an “elaborate, deliberate, and prolonged

          scheme to defraud thousands of investors”); see also SEC v. Carrillo et al., No. 21-cv-11272-

          WGY (D. Mass. September 19, 2023) (Dkt. No. 105); SEC v. Knox et al., No. 1:18-cv-12058-

          RGS (D. Mass. December 21, 2022) (Dkt. No. 296); SEC v. Gomes et al., No. 20-cv-11092-FDS

          (D. Mass. September 9, 2021) (Dkt. No. 80).



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                   Notably, the jury found Friesen and Gasarch liable for, among other things, scienter-

          based fraud (Exchange Act Section 10(b) and Rules 10b-5(a) and (c), and Securities Act Section

          17(a)(1) as to Friesen; aiding and abetting claims as to Gasarch). Dkt. No. 402. Because Sexton’s

          non-opposition to entry of judgment provides that he is liable for the same scienter-based

          violations as Friesen, the Court should view his culpability the same. See Dkt. No. 378, at §I.

          These charges required specific findings that the defendants acted knowingly or with severe

          recklessness. See Exhibit A (draft transcript of September 27, 2023 Jury Charge), at 24-25, 32 1;

          see also Dkt. No. 392, at 8, 13, 16. 2 Courts in this District have imposed injunctions after a jury

          finding that the defendant acted with a high degree of scienter. See, e.g., SEC v. Present, No. 14-

          cv-14692-LTS, 2018 WL 1701972, at *1 (D. Mass. Mar. 20, 2018).

                   Defendants Have the Opportunity to Violate Again. Without an injunction, there are no

          assurances that that the defendants’ conduct will end. The fact that they spent the last decade

          devoted to the illegal sales of stock without adequate disclosures suggests a substantial risk of

          future violations. Of note, all three defendants recently sought a release of frozen funds; yet,

          none of their motions indicated that they had found law-abiding employment outside of the

          microcap industry. See Dkt. Nos. 331 (Sexton noted only generically that he has “endeavored in

          good faith to support his family”); 379 (Gasarch); 407 (Friesen). Gasarch’s motion is noteworthy

          in that she filed an affidavit averring that she “ha[s] not been able to work since this case began.”

          It defies believability that someone with Gasarch’s level of accounting experience and

          sophistication cannot find any job. In sum, the defendants’ decade-long illegal conduct, their



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            The Commission understands that official transcripts of the trial are not yet available to order. The references to
          trial testimony in this memorandum are based on the Commission attorneys’ notes and recollections.
          2
           Tr. Exs. 151 and 166 are illustrative of Gasarch’s knowledge of the overall scheme in that she clearly exhibits an
          understanding that only certain accounts could be used to pay for stock promotions.


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          location in metropolitan Vancouver where they apparently have not found gainful employment,

          and their refusal to testify before the Commission in this proceeding to answer questions about

          their activity, all pose a substantial risk of future violations and further harm to U.S. investors.

                 Defendants Have Not Recognized the Wrongful Nature of Their Conduct. Injunctive

          relief is also appropriate because, to date, none of the defendants has accepted responsibility.

          Veldhuis and Kelln agreed to injunctive relief while leaving disgorgement and penalties for

          determination by the Court at a later date. Dkt. Nos. 315, 317 (Kelln), 315, 325 (Veldhuis).

          Sexton consented to liability, but he opposes any relief. Dkt Nos. 376, 378 (Sexton). Nowhere in

          their court filings, however, do Veldhuis, Sexton, or Kelln acknowledge the wrongfulness of

          their conduct. As to Friesen and Gasarch, both argued to the jury that they were innocent.

          Gasarch claimed that she was merely a secretary with no involvement in the scheme. Even after

          the verdict, she continued to pound this excuse. See Dkt. No. 413, at 5 (arguing that she was

          merely “a functionary who sat in the reception area of an office suit” and did not engage in “any

          of the other things the SEC claimed led to securities fraud”). And Friesen’s defense continues to

          be that he was an innocent newcomer, taken under Sexton’s or Veldhuis’ wings. While Sexton

          did not appear at trial, his non-opposition to judgment contained no recognition of wrongful

          conduct. See Dkt. No. 376 (declaring intention to contest all remedies, including injunctions).

                 Courts have granted injunctive relief when confronted with defendants who show no

          contrition or remorse, and this Court should do so here. See SEC v. Hall, 759 Fed. Appx. 877,

          885 (11th Cir. 2019) (defendant’s “continued proclamation of his innocence” and “his continued

          failure to recognize the wrongful nature of his conduct” warranted injunction and officer-director

          bar) (internal quotes omitted); SEC v. Lipson, 278 F.3d 656, 664 (7th Cir. 2002) (affirming

          verdict and permanent injunction in part because a defendant “who in the teeth of the evidence



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          insists that he is innocent, that indeed not the victims of his crime but he himself is the injured

          party, demonstrates by his obduracy the likelihood that he will repeat his crime”).

                 B.      The Court Should Impose Specific Conduct Injunctions.

                 The Commission also requests that the Court prohibit each of Sexton, Friesen and

          Gasarch from directly or indirectly, including, but not limited to, through an entity owned or

          controlled by them, participating in the issuance, purchase, offer, or sale of any security;

          provided, however, that such injunction shall not prevent them from purchasing or selling

          securities listed on a national securities exchange for their own personal account. See Am. Comp.

          at Prayer for Relief ¶I. The Commission may seek, and a court may impose, such relief under

          Securities Act Section 20(b) and Exchange Act Section 21(d)(1), as well as under the broad

          equitable powers granted to courts by Exchange Act Section 21(d)(5) (permitting a federal court

          to grant “any equitable relief that may be appropriate or necessary for the benefit of investors”).

          The standard for issuing a conduct-based injunction under Section 21(d)(5) of the Exchange Act

          mirrors that for an injunction under Section 20(b) of the Securities Act and Section 21(d)(1) of

          the Exchange Act. See SEC v. Smith, No. 14-cv-192-PB, 2015 WL 4067095, at *10 (D.N.H. July

          2, 2015) (permanent injunctions and conduct-based injunctions are the “appropriate remedy to

          prevent [defendant] from committing further violations of the securities laws”).

                 The proposed conduct-based injunction prohibiting the defendants from future trading in

          securities that are more subject to manipulation because they are not listed on a national

          exchange is appropriate and tailored to their extensive misconduct in this case. This relief would

          protect investors by taking the defendants out of a market that they victimized for over ten years.

                 This Court has issued this same requested injunction against Sharp, Kelln, and Veldhuis

          already. Other courts, including two in this District, have entered such relief against traders

          engaged in similar types of penny stock fraud. See, e.g., SEC v. Stubos, No. 22-cv-04674, Dkt.

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          No. 69, ¶V (S.D.N.Y.) (judgment entered September 8, 2023); SEC v Shah, et al., No. 22-cv-

          03012-JGLC, Dkt. No. 33, ¶IV (S.D.N.Y.) (bifurcated judgment entered July 21, 2022); SEC v.

          Gomes, et al., No. 20-cv-11092-FDS, Dkt. No. 60, ¶VI.; Dkt. No. 80, ¶V (D. Mass.) (judgments

          entered Dec. 4, 2020, Sept. 9, 2021); SEC v. Landis et al., 18-cv-12453, Dkt. No. 22 (D. Mass.)

          (bifurcated judgment entered Aug. 7, 2019).

                 C.      The Court Should Impose Penny Stock Bars.

                 Under Section 20(g) of the Securities Act and Section 21(d)(6) of the Exchange Act,

          courts have the equitable authority to bar any person from participating in future offerings of

          penny stocks if that person was participating in the offering of a penny stock at the time of the

          misconduct. See 15 U.S.C. §§77t(g); 78u(d)(6); SEC v. Weed, 315 F. Supp. 3d 667, 671 (D.

          Mass. 2018); SEC v. Spencer Pharm., 2015 WL 5749436, at *8 (D. Mass. Sep. 30, 2015). A

          “person participating in an offering of penny stock” includes “any person engaging in activities

          with a broker, dealer or issuer for purposes of issuing, trading, or inducing or attempting to

          induce the purchase or sale of, any penny stock.” 15 U.S.C. §§77t(g)(2); 78u(d)(6)(B).

                 A “penny stock” is defined in Section 3(a)(51) of the Exchange Act and in Rule 3a51-1

          as equity securities that do not meet certain exemptions (essentially stocks not trading on a

          national securities exchange and that trade under $5 per share, and whose issuers do not meet

          certain asset or revenue thresholds). See 15 U.S.C. §78c(a)(51); 17 CFR §240.3a51-1. “The

          standard for imposing [a penny stock] bar essentially mirrors that for imposing an officer-or-

          director bar.” Weed, 315 F. Supp. 3d. 677–78 (internal quotations omitted); see SEC v. Patel, 61

          F.3d 137, 141 (2d Cir. 1995) (standard for imposing an officer or director bar includes: “(1) the

          egregiousness of the underlying securities law violation; (2) the defendant’s repeat offender

          status; (3) the defendant’s role or position when he engaged in the fraud; (4) the defendant’s

          degree of scienter; (5) the defendant’s economic stake in the violation; and (6) the likelihood that

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          misconduct will recur”) (internal quotations omitted).

                 The Patel factors are “neither mandatory or exclusive,” and a “district court may

          determine that some of those factors are inapplicable in a particular case and it make take other

          relevant factors into account.” SEC v. Bankosky, 713 F.3d 45, 48 (2d Cir. 2013). Accordingly,

          even where a defendant does not occupy a traditional role or position of authority and trust while

          engaged in the fraud, the entry of a penny stock bar is appropriate. See, e.g., SEC v. Zenergy

          Int’l, Inc., No. 13-CV-5511, 2016 WL 5080423, *8 (N.D. Ill. Sep. 20, 2016) (imposing penny

          stock bar against defendant that promoted stock).

                 The stock of the Fourteen Issuers were penny stocks within the Exchange Act’s

          definition. See Declaration of Ryan Murphy (“Murphy Dec.”), filed herewith, ¶29. Sexton,

          Friesen, and Gasarch were “participating in an offering of penny stock” through their illegal

          conduct involving the Fourteen Issuers’ shares. As Knox and Kenneth Ciapala testified, Sexton,

          Friesen, and Veldhuis were business partners that used the Sharp Group’s services to move stock

          of the Fourteen Issuers into various nominee entities, where they directed that it be sold for their

          benefit. Kaitz testified that the group of Veldhuis, Sexton and Friesen paid for promotions that

          ensured there would be buyers for their stock sales. See also Dkt. No. 271 (Declaration of

          William T. Kaitz, (“Kaitz Dec.”)), at ¶10. As Ryan Murphy testified, this activity resulted in over

          $144 million in stock sale proceeds across the Fourteen Issuers for Sexton, Friesen, and

          Veldhuis. See Tr. Ex. 307.

                 As Knox testified, and contemporaneous documents confirmed, Gasarch’s role in Sharp’s

          enterprise was more far reaching. She was the “master of finance,” moving stock sale proceeds

          well beyond those of the Fourteen Issuers to clients like Sexton, Veldhuis, and Friesen, while

          fabricating the documentation necessary to provide cover for these transactions, often making



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          nominees that the Sharp Group controlled and she administered appear to be genuine third

          parties. See, e.g., Tr. Exs. 241 (Friesen asks Gasarch to apply Conmar Capital signature and she

          complies), 182 (Gasarch provides Veldhuis a holding company to use as payee for a promotion),

          180 (Gasarch and Sharp discussing signing for directors and notary), 168 (Gasarch “play[ing]

          safe” with wires for promotions), 151 (same).

                 The Patel factors and the evidence adduced in this case weigh in favor of entering penny

          stock bars against Sexton, Friesen and Gasarch, as this Court has already done against Sharp

          (Dkt. No. 211, §V), Taylor (Dkt. No. 262, §IV), Kaitz (Dkt. No. 263, §III), Kelln (Dkt. No. 317,

          §5), Veldhuis (Dkt. No. 325, §VI), and Dhillon (Dkt No. 404, §VI).

                 Egregiousness of the Offense. As described above at 3-4, Sexton, Friesen, and Gasarch’s

          conduct was highly egregious.

                 Defendant’s Repeat Offender Status. Looking simply at the sales of the Fourteen Issuers,

          Sexton and Friesen, with the help of Gasarch, fraudulently sold over $144 million dollars’ worth

          of stock from 2011 to 2018. Tr. Ex. 307. As Dhillon testified, in the case of Stevia First/Vitality,

          Sexton and Friesen’s fraudulent sales spanned four distinct rounds from 2012 to 2018. As Knox

          testified, Gasarch’s role went well beyond transactions in the Fourteen Issuers, as she was

          responsible for moving money for all of Sharp’s clients and accordingly creating the paperwork

          to justify payments in the eyes of banks, transfer agents, attorneys, and brokers.

                 Scienter. Friesen and Sexton were central players in the multi-million dollar international

          fraud scheme. Both Knox and Ciapala testified, and documents corroborate, that Friesen directed

          trading in stock of the Fourteen Issuers. Tr. Exs. 126, 154, 289. Kaitz described Friesen and

          Sexton as directly involved in the promotional campaigns used to generate interest in the stock

          Friesen, Sexton, and Veldhuis were selling. See also Kaitz Dec., at ¶13. Knox testified that



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          Friesen participated in conversations during meetings in Geneva regarding the illicit nature of the

          stock sales in which they were engaged. While Sexton was not the focus of the evidence at trial,

          that evidence nonetheless shows he was business partners with Friesen and Veldhuis and deeply

          involved in the detailed workings of their scheme. Tr. Exs. 64 (Sexton discussing Arch payments

          and saying, regarding Dhillon, “I just wanted him dirty”); 65 (Sexton discussing STEV and

          STVF trading); 71 (Sexton coordinating STVF stock certificates with Kelln); 74 (Sexton says he

          asked Dhillon to put out a set of news releases); 75 (Sexton discussing promotional campaign for

          Arch). Perhaps most strikingly, Sexton, Veldhuis, and Friesen all knew what they were doing

          was wrong. It was why they went to such lengths to use encrypted messaging platforms and code

          names. In November 2014, when Veldhuis notified Sexton and Friesen that Kaitz had been

          subpoenaed, he suggested they “consider loosing [sic] computers etc.” Trial Ex. 170. Sexton

          responded, “[a]s soon as I get home. Will call apple and set up the I lost my computer… how do

          I remote wipe, etc.” Id. Friesen chimed in, “I had a robbery so consider me all good.”

                 Gasarch was also deeply involved in the entire Sharp enterprise, and as described above,

          she was far more than a naïve accountant. She even personally benefited from the front

          companies and fake documentation used by Sharp’s enterprise. See Tr. Ex. 287.

                 Economic Stake in the Transaction. Friesen, Sexton, and Gasarch all had substantial

          economic interests in the fraudulent transactions at issue. Gasarch made over $2.5 million, while

          Friesen exceeded $11 million and Sexton made over $17 million. Tr. Exs. 314, 313.

                 Likelihood that Misconduct will Recur. As described above at 5-6, Sexton, Friesen, and

          Gasarch have the opportunity to violate the secagain.

         II.     The Court Should Impose Civil Penalties to Punsh All Five Defendants
                 Appropriately for Their Misconduct

                 A.      The Civil Penalty Factors.


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                 Civil penalties further “the dual goals of punishment of the individual violator and

          deterrence of future violations.” Official Committee of Unsecured Creditors of WorldCom, Inc. v.

          SEC, 467 F.3d 73, 81 (2d Cir. 2006) (citation omitted); see SEC v. Happ, 392 F.3d 12, 32 (1st

          Cir. 2004). With this in mind, the Court should impose individual civil penalties of $1,562,603

          against Sexton, Veldhuis, and Friesen; $904,078 against Kelln; and $558,072 against Gasarch.

                 Exchange Act Section 21(d) and Securities Act Section 20(d) authorize the Commission

          to seek, and the Court to impose, these tiered penalties based on the wrongfulness of the conduct.

          The Court may impose a third-tier penalty of the greater of the illicit proceeds or a statutorily

          specified dollar amount during the relevant period, for each violation involving a “fraud, deceit,

          manipulative, or deliberate or reckless disregard for a regulatory requirement” and that “resulted

          in substantial losses or created a significant risk of substantial losses to other persons.” 15 U.S.C.

          §§77t(d)(2)(C);§78u(d)(3)(B)(iii). A second-tier penalty is appropriate when a violation

          “involved fraud, deceit, manipulation, or a deliberate disregard of a regulatory requirement.” 15

          U.S.C. §§77t(d)(2)(B); §78u(d)(3)(B)(ii). A first-tier penalty is available for all other violations.

          15 U.S.C. §§77t(d)(2)(A);§78u(d)(3)(B)(i).

                 Here, the evidence of defendants’ conduct and the jury verdict support a finding that

          defendants’ conduct resulted in, or posed a risk of, substantial losses to investors. See above

          discussion at 3 to 5. Third-tier penalties are thus appropriate in this case.

                 For a third-tier penalty, the amount for each violation may be up to $223,229 for natural

          persons. For a second-tier penalty, the amount for each violation may be up to $111,614 for

          natural persons. For a first-tier penalty, the amount for each violation may be up to $11,162 for

          natural persons. See Inflation Adjustments to the Civil Monetary Penalties Administered by the

          SEC, https://www.sec.gov/enforce/civil-penalties-inflation-adjustments (updated Jan. 15, 2023).



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                 B.          The Court Should Impose Third-Tier Penalties.

                 In determining the appropriate civil penalty, courts consider various factors, “including

          the egregiousness of the violation, the defendant’s willingness or failure to admit wrongdoing,

          the isolated or repeated nature of the violations, the degree of scienter involved, the defendant’s

          cooperation with authorities or lack thereof, and the defendant’s current financial condition.”

          SEC v. Esposito, No. 16-cv-10960-ADB, 2018 WL 2012677 at *1, *9 (D. Mass. Apr. 30, 2018)

          (internal citations omitted). Substantial penalties are warranted here.

                        i.         The Esposito Factors Weigh in Favor of Substantial Penalties.

                 Defendants’ violations were repetitive and egregious, evincing a high degree of scienter.

          As demonstrated at trial, Veldhuis, Sexton, and Friesen used the Sharp Group’s services illegally

          to: (1) exercise control over the Fourteen Issuers’ stock, (2) utilize an intricate network of

          international people and entities to secretly promote, sell, and share in the proceeds of their sales;

          and (3) repeatedly fail to disclose their beneficial ownership over those shares over the course of

          the scheme. Kelln and Gasarch facilitated the scheme by, in Gasarch’s case, serving as the

          accountant and money-mover for Sharp’s scheme and, in Kelln’s case, arranging for the deposit

          of shares into numerous offshore nominee accounts to allow Sharp clients to evade reporting

          requirements and engage in lucrative illicit trading. Each defendant’s conduct spanned more than

          a decade and involved the stock of at least 14 issuers. The illicit stock sales generated roughly

          $144 million in trading proceeds derived from thousands of stock sale transactions. See Tr. Ex.

          308. This multi-year effort to conceal fraudulent trading evinces a high degree of scienter.

                 Defendants have not accepted responsibility for their wrongdoing and have offered no

          cooperation. As described above at 6, none of the defendants has accepted responsibility for their

          misconduct. Likewise, none of the defendants offered any assistance to the Commission or the

          Department of Justice in this case or any related civil and criminal proceedings. Under these

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          circumstances, the Esposito factors weigh heavily in favor of substantial penalties.

                 Defendants have substantial assets to satisfy a judgment. As of December 2022, the value

          of the defendants’ assets currently frozen in financial institution accounts in Canada are:

           Defendant            December 2022 Balance ($ Canadian)         Current Balance ($ US)
           Sexton               $18,711,119                                $13,808,338
           Veldhuis             $5,473,946                                 $4,039,635
           Friesen              $3,799,106                                 $2,803,645
           Kelln                $584,417                                   $431,285
           Gasarch              $365,394                                   $269,651

          See Dkt. No. 311-1, at ¶9.

                       ii.       As to Veldhuis, Sexton, and Friesen, the Court Should Impose Third-
                                 Tier Penalties for Trading in Each of the 14 Issuers.

                 For Veldhuis, Sexton and Friesen, the Court should impose individual civil penalties in

          the amount of $1,562,603. This represents a one-time third-tier penalty amount of $223,229 for

          each of the seven issuers’ stock Veldhuis, Sexton and Friesen, working together, sold using the

          Sharp Group’s services within the five-year limitations period. These proposed penalties are

          consistent with penalties ordered in other related cases. See SEC v. Sharp et al., No. 21-cv-11276

          (D. Mass. 2022) (Sharp ordered to pay penalty of over $23.9 million based on the maximum

          third-tier penalty multiplied by the number of issuers whose stock Sharp sold during the five

          years before this action was instituted); SEC v. Carrillo, et al., No. 21-cv-11272 (D. Mass. 2023)

          (Carrillo ordered to pay penalty of over $5.8 million based on the maximum third-tier penalty

          multiplied by the number of issuers he used Sharp’s services to sell). Cf. SEC v. Knox, et al., No.

          18-cv-12058 (D. Mass. 2022) (Gastauer ordered to pay twenty-one third tier penalties totaling

          $4,350,843, one for each account he used to facilitate the fraudulent scheme).

                       iii.      As to Kelln and Gasarch, the Court Should Assess Penalties Based on
                                 the Number of Violations of the Securities Laws.

                 The Court should impose penalties on Kelln and Gasarch based on the counts of the

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          complaint for which they are liable. For defendant Kelln, that is $904,078, representing one

          third-tier penalty for each of her primary violations of Section 17(a) of the Securities Act and

          Section 10(b) of the Exchange Act, one third-tier penalty for aiding and abetting violations of the

          Securities Act by Sharp Group clients, one third-tier penalty for aiding and abetting violations of

          the Exchange Act by Sharp Group clients, and one first-tier penalty for her primary violation of

          Section 5 of the Securities Act. A first-tier penalty as to the Section 5 violation is appropriate

          because liability under that section does not require a showing of scienter.

                 For defendant Gasarch, a civil penalty of $558,072 is appropriate. That represents one

          third-tier penalty for aiding and abetting violations of the Securities Act by Sharp Group clients,

          one third-tier penalty for aiding and abetting violations of the Exchange Act by Sharp Group

          clients, and one second-tier penalty for her primary violation of Section 17(a)(3) of the Securities

          Act. A second-tier penalty is appropriate as to Section 17(a)(3) because that section of the

          Securities Act requires only a showing of negligence for the jury to have found liability.

         III.    The Court Should Order Disgorgement and Prejudgment Interest.

                 A.      Disgorgement Should be Awarded Against all Five Defendants.

                 Though long recognized as an available remedy in Commission enforcement actions,

          Section 21(d) of the Exchange Act now expressly authorizes the Commission to seek

          disgorgement for violations of the federal securities laws. See 15 U.S.C. §78u(d)(7). In any

          action brought by the Commission under any provision of the securities laws, “any Federal court

          may grant, any equitable relief that may be appropriate or necessary for the benefit of investors.”

          15 U.S.C. §78u(d)(5). Disgorgement is a “profit-based measure of unjust enrichment” that is

          measured by the defendant’s “wrongful gain,” and is ordered to reflect the “foundational

          principle” of equity that “it would be inequitable that a wrongdoer should make a profit out of

          his own wrong.” Liu v. SEC, 140 S. Ct. 1936, 1940, 1943 (2020) (internal quotations omitted);

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          Sargent, 329 F.3d at 40 (1st Cir. 2003) (disgorgement “is intended to deprive wrongdoers of

          profits they illegally obtained by violating the securities laws”); SEC v. Williams, 884 F. Supp.

          28, 30 (D. Mass. 1995) (disgorgement is intended to deprive defendants of their “ill-gotten

          gains”). Liu instructs that disgorgement is measured not by the value of the harm suffered by

          victims of a fraudulent scheme, but by the defendant’s “net profits.” Liu, 140 S. Ct. at 1940,

          1942 (“Equity courts have routinely deprived wrongdoers of their net profits from unlawful

          activity, even though that remedy may have gone by different names.”); SEC v. Almagarby, No.

          17-civ-62255, 2021 WL 4461831, *3 (S.D. Fla. Aug. 16, 2021) (“disgorgement is measured by

          Defendant’s profits and not investor losses”); SEC v. Rinfret, No. 19-cv-6037, 2020 WL

          6559411, *5 (S.D.N.Y. Nov. 9, 2020).

                 The amount of disgorgement “need only be a reasonable approximation of profits

          causally connected to the violation” and the “risk of uncertainty in calculating disgorgement

          should fall on the wrongdoer whose illegal conduct created that uncertainty.” Happ, 392 F.3d at

          31; SEC v. Navellier & Assocs., Inc., No. 17-cv-11633, 2021 WL 5072975, *1–2 (D. Mass. Sept.

          19, 2021) (applying this standard after Liu). “Once the SEC shows that the disgorgement is a

          reasonable approximation of disgorgement, the burden shifts to the defendant to demonstrate that

          the amount of disgorgement is not a reasonable approximation.” Navellier, 2021 WL 5072975,

          *2 (quoting Happ, 392 F.3d at 31); see also SEC v. Johnston, 368 F. Supp. 3d 247, 254 (D.

          Mass. 2019) (burden is on defendant to show a “clear break in or considerable attenuation of the

          causal connection between the illegality and the ultimate profits”). In calculating disgorgement,

          any “doubts are to be resolved against the defrauding party” and any “risk of uncertainty in

          calculating disgorgement” “falls on Defendants who are the wrongdoers whose illegal conduct

          created that uncertainty.” SEC v. MacDonald, 699 F.2d 47, 55 (1st Cir. 1983); Navellier, 2021



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          WL 5072975, *2 (cleaned up).

                 The Commission’s disgorgement calculation focuses on the net profits each defendant

          wrongfully obtained in Q system accounts under their control from the proceeds of the illegal

          trading that was part of the scheme in this case. Each defendant’s disgorgement calculation, as

          described below, is based on the time period from August 5, 2011 (or ten years before the

          Commission filed this case) to the most recent data in the Q accounting system available to the

          Commission (mid-2019). See Murphy Dec., ¶6. As the Court found when ruling on the

          defendants’ motions to dismiss, it is appropriate to award disgorgement for a ten-year time

          period, given that each of the defendants was found liable, or is being held liable, for violating a

          statute requiring the proof of scienter as an element. See Sharp, 626 F. Supp. 3d at 382–83

          (finding that claims under Securities Act Section 17(a)(1), Exchange Act Section 10(b), and

          aiding and abetting claims under Securities Act Section 15(b) and Exchange Act Section 20(e)

          are all scienter-based claims to which a ten-year statute of limitations applies). Specifically,

          Veldhuis, Kelln and Sexton are not contesting their liability for violating Securities Act Section

          17(a)(1) and Exchange Act Section 10(b); Friesen was found liable by the jury for violating

          Securities Act Section 17(a)(1) and Exchange Act Section 10(b), and Gasarch was found liable

          by the jury for violating Securities Act Section 15(b) and Exchange Act Section 20(e). See Dkt.

          Nos. 317, 325, 378, 402. The fact that the defendants were all also found liable for violating non-

          scienter-based provisions of the securities laws does not limit this Court’s ability to award

          disgorgement for the full ten-year statute of limitations period when the defendants’ net profits

          from their violations resulted from their unified course of conduct.

                 B.      Disgorgement Calculations for Veldhuis, Sexton, and Friesen.

                 The Commission’s disgorgement calculations for Veldhuis, Sexton, and Friesen are based

          on the sums that each of them received into their personal Q accounts from the accounts of the

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          Fourteen Issuers whose illegal trading was at issue. As shown in Trial Exhibits 307 and 308, the

          Sharp Group’s nominee entities, at the direction of Veldhuis, Sexton, and Friesen, generated

          about $144 million by selling the shares of at least the Fourteen Issuers through accounts at

          Silverton, Blacklight and other brokers. Then, as demonstrated in Trial Exhibit 313, proceeds

          from the defendants’ trading in the Fourteen Issuers’ shares was transferred from the Q system

          accounts of each of the Fourteen Issuers to the personal Q accounts of Veldhuis (the ACCO

          account), Sexton (the HEAR account), and Friesen (the GARD account). The jury also heard

          testimony from Knox about how the defendants’ illegal trading funded their personal Q accounts,

          from which the defendants were then able to direct the disposition of those proceeds. Further, the

          jury reviewed numerous examples of xphone communications among the defendants and with

          Sharp and Gasarch that involved instructions to distribute proceeds from the Fourteen Issuers’

          trading accounts to the defendants’ personal Q accounts and further instructions on how the

          defendants wanted that money to be spent. See, e.g., Tr. Ex. 52, 140, 266, 288, 239, 237.

                 The Commission thus seeks disgorgement from Veldhuis in the amount of $13,289,897,

          from Sexton in the amount of $17,367,474, and from Friesen in the amount of $11,846,176. See

          Murphy Dec., ¶¶10, 12, 14. These sums were transferred from the trading proceeds in any of the

          Fourteen Issuers’ Q accounts to Veldhuis’, Sexton’s, and Friesen’s personal Q accounts. Because

          some of those transfers were made in US Dollars and some were made in Canadian Dollars, Mr.

          Murphy’s chart converts all of those transfers into US Dollars, using the applicable exchange

          rate on the date of the transfer in the Q system. See id., ¶9. These disgorgement calculations are a

          conservative estimate of Veldhuis’, Sexton’s, and Friesen’s actual ill-gotten gains from their

          fraudulent scheme because this calculation captures only sums that were transferred into their

          personal Q accounts to be spent as they directed. See id., ¶¶11, 13, 15. This calculation does not



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          capture, for example, the 1000 Swiss francs that Knox testified that he gave Friesen directly out

          of the proceeds of trading in Vitality Biopharma that were deducted directly from the Vitality

          Biopharma (VBIO) account, or other instances when payments for the defendants’ benefit were

          made directly from the Fourteen Issuers’ accounts. See, e.g., Tr. Ex. 288 at 1-2.

                 Friesen has argued in the past that his disgorgement cannot be calculated based on his

          GARD account in the Q system because the Commission does not have corresponding bank

          records showing any funds disbursed from Friesen’s personal Q account to bank accounts that he

          controlled. As described in more detail below, the full factual record disputes this assertion, but

          more fundamentally, Friesen misconstrues the quantum of proof needed to establish

          disgorgement, which must only be a “reasonable approximation” of ill-gotten gains and in which

          any uncertainty must be resolved against him. See Happ, 392 F.3d at 31. Further, there are

          numerous sources of additional documentation that indeed show disbursements from Friesen’s

          GARD account for his benefit. Examples include bank account statements from the banks used

          to make distributions to Friesen’s companies, documentation concerning Friesen’s purchase of

          real estate with funds from his GARD account and documents concerning his funding of his

          girlfriend’s tuition with funds from his GARD account. See Murphy Dec., ¶16.

                 C.      Disgorgement Calculation for Kelln.

                 The Commission’s disgorgement calculation for Kelln, like that for the other defendants,

          is based on the sums that she received into her personal Q accounts from participating in the

          overall fraudulent scheme perpetrated by the Sharp Group. The evidence at trial demonstrated

          that Kelln’s role in the scheme was focused on transferring Sharp Group clients’ shares into the

          names of nominee entities administered by the Sharp Group in tranches where each nominee

          would hold less than 5% of an issuer’s stock, collecting and fabricating the paperwork needed to



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          facilitate those transactions, and then coordinating the deposit of those shares into brokerage

          accounts with Knox’s Silverton platform, Ciapala’s Blacklight platform, or accounts at other

          broker-dealers through which the Sharp Group facilitated trading. Kelln provided this service not

          only for the Fourteen Issuers’ shares whose trading was orchestrated by Veldhuis, Sexton and

          Friesen working together, but for numerous other Sharp Group clients. See, e.g., Murphy Dec.,

          ¶17, Exs. 23-26 (Kelln communications discussing her role in transferring shares into names of

          Sharp Group nominees and brokerage accounts).

                 Multiple trial witnesses described the Q accounting system as tracking both the sales

          proceeds that resulted from the Sharp Group’s illegal stock sales, and the fees and commissions

          charged by the Sharp Group to its clients. For each of the transactions Kelln performed for Sharp

          Group clients, whether depositing clients’ shares, sending clients’ shares to a transfer agent, or

          other services, the Sharp Group typically charged a fee to its client. The Q system then recorded

          that a portion of that fee was transferred directly to Kelln’s personal accounts in the Q system

          and a portion of that fee was transferred to Sharp’s account. Between August 5, 2011 and May

          11, 2019, Kelln’s personal Q accounts received a total of $1,191,515 in fees and commissions

          from her services to Sharp Group clients. Id., ¶18. In addition, Kelln received separate Christmas

          bonuses from Sharp (that were ultimately derived from fees that Sharp Group clients paid to

          Sharp for the services of the Sharp Group). These Christmas bonuses for years 2013 through

          2018 were deposited to Kelln’s Q accounts in Canadian dollars that were the equivalent of

          $391,271 in U.S. dollars. Id., ¶19. After receiving these deposits, Kelln then withdrew funds

          from her Q personal accounts, primarily in cash, but sometimes by checks made payable to

          herself, her spouse, or vendors to whom she owned money. See id., ¶21; Exs. 27-30. The




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          Commission thus requests $1,582,785 in disgorgement from Kelln. See id., ¶20.

                 D.      Disgorgement Calculations for Gasarch.

                 The Commission’s disgorgement calculation for Gasarch, as with Kelln, is based on the

          sums received into her personal Q account, the PEAC/PERE account, as a result of her

          participation in the overall fraudulent scheme. See id., ¶22. Unlike Kelln, who received a direct

          portion of the fees and commissions that the Sharp Group charged its clients on a transaction-by-

          transaction basis, Gasarch received a monthly allocation from Sharp out of all the Sharp Group’s

          fees that were paid to Sharp’s Q system account (the BOND account). See id. These internal

          transfer from the BOND account through an internal Q system account were described in the Q

          system data typically as commissions, Christmas bonuses, and internal transfers. See id. Mr.

          Murphy’s chart summarizes the transfers into Gasarch’s personal Q account via the BOND

          account, and takes into account a debit that appears to remove some of the commissions that her

          account received. See id. After receiving these deposits, Gasarch withdrew funds from her Q

          personal accounts, primarily in cash, but sometimes by checks or wires made payable to herself,

          her relatives, or vendors from whom she was purchasing goods or services. See id., ¶24; Exs. 31-

          32. The Commission thus requests $2,522,367 in disgorgement. See id., ¶23.

                 E.      Disgorgement Should be Awarded to Maximize Recovery for Harmed
                         Investors.

                 The testimony at trial established that investors in the Fourteen Issuers were harmed by

          the defendants’ fraudulent scheme. For example, both Dhillon and Kaitz testified about how the

          price and volume of the shares sold in the scheme typically increased during the periods of the

          promotions for which the defendants paid while concealing that they were organizing and paying

          for those promotions and then how the price and volume of those shares typically declined after

          the defendants’ paid promotions and sales ceased. See also Tr. Ex. 310 (Arch price/volume


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          graph). Knox also testified that he understood that defendants, and other Sharp clients, typically

          paid for promotions while dumping shares they controlled into the market. Thus, the staff of the

          Commission believes that it will be possible, though data-intensive, to determine which investors

          were directly harmed. Because the Q system provides detailed information about the time

          periods during which the Sharp Group’s clients were selling particular securities, investors who

          purchased those securities during the periods of those sales may constitute the majority of the

          direct victims of the defendants’ scheme. Any distribution of collected funds would also likely

          include a notice and claims process to identify any other harmed investors.

                 Developing a list of the investors who were harmed by the conduct of Veldhuis, Sexton,

          and Friesen is a more discrete task than developing a list of investors harmed by the conduct of

          Kelln and Gasarch, whose misconduct on behalf of additional Sharp Group clients involved a far

          larger group of securities. Whereas disgorgement collected from Veldhuis, Sexton, and Friesen

          may be distributed to investors in the Fourteen Issuers’ securities, further analysis is warranted to

          determine whether disgorgement from Kelln and Gasarch could potentially be divided among

          investors in the over 200 securities that were traded by Sharp Group clients during the 10-year

          disgorgement period. The Commission will conduct further analysis to determine whether

          meaningful payments may be made to harmed investors in some or all of these securities.

                 To maximize recovery to harmed investors, and limit administration costs associated with

          distribution, the staff of the Commission will explore and likely will seek this Court’s

          authorization to distribute funds collected from the Defendants in this action to the victim

          restitution fund in the related U.S. v. Knox criminal action, which will make payments to many of

          the same harmed investors to which any distribution fund in this case would make payments. As

          described in the U.S. Attorney’s Office’s Notice of Anticipated Restitution Request, a restitution



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          fund will likely soon be established as part of Knox’s criminal sentencing. See U.S. v. Knox, No.

          18-cr-10385-NMG; Dkt. No. 269 (filed Dec. 4, 2023) (attached hereto as Exhibit B). As Knox

          testified at the trial, he traded in many of the securities at issue in this case as part of the

          defendant’s fraudulent scheme. Thus, it is not surprising that a significant percentage of the

          restitution that the U.S. Attorney’s Office’s is seeking against Knox relates to his trading on

          behalf of Sharp Group clients. See id. at Dkt. No. 269-4. Specifically, that motion proposes that

          investors in 17 different issuers’ securities receive payments totaling over $58 million to

          compensate them for the harm they experienced as a result of Knox’s trading. See id. Of the 17

          issuers whose investors would be compensated by the Knox restitution fund, all but one (EPTI)

          was traded through the Sharp Group’s services, and thus it would be logical to contribute funds

          collected from Kelln and Gasarch, whose conduct enabled all of those sales, to the Knox

          restitution fund for distribution to the investors in these sixteen issuers. Further, one of the

          Fourteen Issuers whose investors were harmed by the conduct of Veldhuis, Sexton, and Friesen--

          Vitality Biopharma--is part of the Knox restitution fund and it would be efficient to contribute a

          portion of the funds collected from Veldhuis, Sexton, and Friesen to the Knox restitution fund to

          compensate the identified harmed investors in Vitality Biopharma. See id. A separate distribution

          fund could be created in this case to compensate investors in the other thirteen issuers securities.

                  These issues concerning the development of detailed distribution plans do not need to be

          resolved at this stage before the Court can order disgorgement. See SEC v. Bronson, 602 F. Supp.

          3d 599, 618 (S.D.N.Y. 2022) (Liu does not require the Court to identify victims before entering a

          disgorgement order); SEC v. Blackburn, No. 15-2451, 2020 WL 10787527, *3-4 (E.D. La. Nov.

          3, 2020) (approving Commission proposal to act as “trustee of any funds recovered from

          Defendants. . . under the Court’s supervision, only disbursing funds when approved by court



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          order”). As described in part above, the staff of the Commission intends to explore avenues to

          maximize the recovery to harmed investors based upon the amount of funds collected, and if the

          staff succeeds in collecting funds from the Defendants, will return to this Court for approval of

          any plan to return such funds to the harmed investors.

                 F.      Prejudgment Interest Should be Awarded Against all Five Defendants.

                 The Commission also seeks prejudgment interest. “Courts have recognized that an

          assessment of prejudgment interest, like the disgorgement remedy, is intended to deprive

          wrongdoers of profits they illegally obtained by violating the securities laws.” Sargent, 329 F.3d

          at 40 (internal citations omitted); SEC v. Druffner, 517 F. Supp. 2d 502, 512 (D. Mass. 2007)

          (the “First Circuit endorses the award of prejudgment interest in securities violations” because it

          prevents a defendant from receiving “what would otherwise be an interest-free loan”); Navellier,

          2021 WL 5072975, *8. Without prejudgment interest, a defendant receives an “interest-free

          loan” on his or her unjust enrichment. Sargent, 329 F.3d at 41. The Court has broad discretion to

          grant prejudgment interest, though “[in] SEC cases, courts typically calculate prejudgment

          interest using the rate established by the Internal Revenue Service for tax underpayment, which

          reasonably approximates the unjust benefit of a defendant’s use of the money.” Navellier, 2021

          WL 5072975, *8; Druffner, 517 F. Supp. 2d at 512–13; 17 C.F.R. §201.600(b) (Commission

          Rules of Practice compute prejudgment interest at IRS underpayment rate, compounded

          quarterly). Prejudgment interest is calculated from the time of the defendants’ unlawful gains to

          entry of judgment. See SEC v. First Jersey Sec., Inc., 101 F.3d 1450, 1477 (2d Cir. 1996).

                 By virtue of the time value of money, Defendants received an additional benefit from the

          proceeds they obtained from their fraudulent stock sales, and they should be obligated to repay

          these amounts. The Commission computed prejudgment interest using the IRS underpayment



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          rate, compounded quarterly on defendants’ net proceeds for each calendar year separately,

          assuming (favorably to the defendants) that each year’s net profit was received on the last day of

          the year in which it was received into each defendant’s personal Q account. Murphy Dec. ¶¶25-

          27. The ending date for the prejudgment interest calculation was August 5, 2021 (the date the

          Commission obtained the asset freeze). Id. Using this method, the defendants should pay

          prejudgment interest in the following amounts: Veldhuis in the amount of $4,314,031; Sexton in

          the amount of $5,872,145; Friesen in the amount of $4,057,737; Kelln in the amount of

          $460,687; and Gasarch in the amount of $646,366. Id. ¶27; Ex. 33.

                                                  CONCLUSION

                 Accordingly, for all the foregoing reasons, the SEC respectfully requests that the Court

          grant the SEC’s Motion for Remedies.

          Dated: December 8, 2023                      Respectfully submitted,

                                                       SECURITIES AND EXCHANGE
                                                       COMMISSION
                                                       By its Attorneys,

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                                         CERTIFICATE OF SERVICE

                  I hereby certify that on December 8, 2023, a true and correct copy of the foregoing
          document, along with the Declaration of Ryan Murphy and proposed Final Judgments for each
          defendant, was filed through the Court’s CM/ECF system, and accordingly, these documents will
          be sent electronically to all participants registered to receive electronic notice in this case.

                                              /s/ David H. London___________________
                                              David H. London




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                                      EXHIBIT A




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                11                         UNITED STATES DISTRICT COURT
                                                  STATES DISTRICT

                22                        DISTRICT OF MASSACHUSETTS
                                                      MASSACHUSETTS (Boston)
                                                                    (Boston)

                33
                                                                 No.
                                                                 No. 2 1-cv- 1 1 2 7 6-WGY
                                                                     21-cv-11276-WGY
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                99         vs. Zhiying
                       SEC vs. Zhiying Yvonne Gasarch,         T. Friesen*
                                              Gasarch, Jackson T. Friesen
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            10
            10         ***************************************************

            11
            11

            12
            12
                                                   JURY
                                                   JURY CHARGE
            13
            13

            14
            14

            15
                                BEFORE:
                                BEFORE:    Honorable               G. Young
                                                     Judge William G.
                                           Honorable Judge
            16
            16

            17
            17

            18
            18

            19
                                                             27, 2023
                                        Wednesday, September 27,
                                        Wednesday,
            20
            20

            21
            21

            22
            22

            23

            24
            24

            25
            25




                                                  A1846
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                                                                                      2




            11              *********** j u ry charge
                            ***********jury    charge begins****************
                                                      begins****************

            22              (Jury
                            (Jury enters,
                                  enters, 9:15
                                          9:15 a.m.)
                                               a.m.)

            3               THE COURT:
                                COURT:    Well
                                          Well good morning,
                                                    morning, ladies
                                                             ladies and

            44      gentlemen,
                    gentlemen, and again
                                   again I say thank you most
                                                         most sincerely,
                                                              sincerely,

            5       your
                    your promptness,
                         promptness, your attention,
                                          attention, has
                                                     has set
                                                         set just
                                                             just the
                                                                  the right
                                                                      right

            66      tone for
                    tone for this
                             this proceeding.
                                  proceeding.

            7               Now the lawyers
                                    lawyers and II have
                                                   have talked and we've
                                                                   we've

            8      decided that the
                                the best way to
                                             to present
                                                present this
                                                        this case
                                                             case to
                                                                  to you is
                                                                         is

            99     if
                   if II go first and teach you now specifically
                                                    specifically the
                                                                 the law
                                                                     law

           10
           10      that applies
                        applies now that all
                                         all of us
                                                us have
                                                   have heard the evidence
                                                                  evidence

           11
           11      in this
                      this case.
                           case.      Once I'm
                                           I'm done,
                                               done, we'll
                                                     we'll take a brief recess
                                                                        recess

           12
           12      and then the attorneys
                                attorneys will
                                          will get
                                               get a chance to
                                                            to argue
                                                               argue to you

           13                            —
                   the -- what they -- they'll
                                       they'll try to
                                                   to persuade
                                                      persuade you of how

           14
           14      you should
                       should answer 7
                                     7 questions
                                       questions that we're going to ask

           15
           15      you,
                   you, and the questions     all be
                                questions can all be answered "no"
                                                              "no" or

           16
           16      "yes,"
                   "yes," but the questions
                                  questions deal
                                            deal with different legal
                                                                legal

           17
           17      requirements
                   requirements of our securities
                                       securities laws,
                                                  laws, and that,
                                                            that, what you

           18
           18      believe the
                           the facts
                               facts are in
                                         in this
                                            this case,
                                                 case, is
                                                       is going to
                                                                to

           19
           19      determine the answer to
                                        to those questions.
                                                 questions.

           20               Now what
                                what happens
                                     happens now,
                                             now, this
                                                  this judge's
                                                       judge's charge is
                                                                      is like
                                                                         like

           21
           21      a law
                     law school
                         school class,
                                class, I will
                                         will explain
                                              explain as
                                                      as best II can and as

           22
           22      carefully as
                             as I
                                I can
                                  can what it
                                           it is
                                              is that
                                                 that the Commission has
                                                                     has to

           23      prove.
                   prove.    And in this
                                    this case the Commission has
                                                             has got
                                                                 got to
                                                                     to do
                                                                        do

           24
           24      the proving.
                   the proving.     Mr.
                                    Mr. Friesen,
                                        Friesen, Ms.
                                                 Ms. Gasarch,
                                                     Gasarch, they don't have

          25       to
                   to explain anything to
                                       to you.
                                          you.          Here of course you see
                                                                           see




                                              A1847
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                                                                                         3




                11            has been cross-examination of witnesses
                        there has                           witnesses and

                2
                2       there's been
                        there's      documents submitted
                                been documents                      I'm sure
                                               submitted to you and I'm sure

                33      their counsel is going to
                              counsel is          make arguments
                                               to make           to you about
                                                       arguments to

                44      what                        draw, and that's
                             conclusions you should draw,
                        what conclusions                      that's all
                                                                     all

                5       appropriate,                            this civil
                        appropriate, but the Commission brought this civil case.
                                                                           case.

                66      This is
                        This is not a criminal
                                      criminal case.
                                               case.         Some people have
                                                             Some        have been

                7
                7       charged
                        charged criminally and you've
                                               you've heard from some of those
                                                            from some    those

                88      people, but Ms.
                        people,     Ms. Gasarch and Mr. Friesen, they have not.
                                                    Mr. Friesen,           not.

                99          so don't speculate
                        And so                            at all.
                                     speculate about that at all.            This is
                                                                             This is a

            10
            10          civil case.
                        civil case.         in a civil case
                                        And in              the burden on
                                                       case the        on the
                                                                          the

            11
            11          Commission is     the same
                                   is not the      as in a criminal
                                              same as               case, it's
                                                           criminal case, it's

            12
            12          proof by a fair preponderance of the evidence.
                                   fair preponderance        evidence.

            13
            13                                                       the evidence,
                                               fair preponderance of the
                                Now proof by a fair                      evidence,

            14
            14          it
                        it doesn't mean who                witnesses, it
                                            has called the witnesses,
                                        who has                       it doesn't

            15          mean who --     various number,
                                 -- the various number, what do we have, almost
                                                                we have,

            16
            16          300 exhibits,
                        300 exhibits, it doesn't mean who put in
                                         doesn't mean         in the
                                                                 the most

            17
            17          evidence,
                        evidence, it means,
                                     means, on the points I'm going to
                                                   points I'm       to tell
                                                                       tell you,
                                                                            you,

            18
            18                 —
                        what -- are you
                                    you persuaded,                   more likely
                                                   are you persuaded more
                                        persuaded, are

            19               not, more likely
                        than not,                           the Commission's
                                       likely than not that the Commission's

            20
            20          point,
                        point, the
                               the Commission's          is true?
                                   Commission's position is true?             It's
                                                                              It's as
                                                                                   as

            21
            21          simple
                        simple as
                               as that.
                                  that.      The Commission,
                                             The                        the points
                                                 Commission, on each of the points

            22
            22          that I'm going to tell
                        that I'm          tell you they have to prove,
                                                        have to prove, on each

            23
            23          of those points
                                 points they have         you, by a fair
                                             have to show you,

            24
            24          preponderance of the evidence,
                                             evidence, that their position is
                                                                           is

            25          more likely to be true
                                          true than not true.
                                                        true.




                                                  A1848
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                                                                                             4




                1
                1             So you see
                                     see in a civil case
                                                    case it's
                                                         it's one
                                                              one way or the
                                                                         the

                2      other,
                       other, either they have
                                          have persuaded you,
                                                         you, more           be
                                                              more likely to be
                3      true
                       true than not,
                                 not, or they have
                                              have not
                                                   not persuaded you,
                                                                 you, more
                                                                      more
                4      likely to be true
                                    true than not,
                                              not, on that
                                                      that position,
                                                           position, and if

            5         something
                      something else is
                                     is more likely true,
                                                    true, then,
                                                          then, urn,
                                                                um,

                6      Mr.
                       Mr. Friesen,
                           Friesen, Ms.              —
                                    Ms. Gasarch -- and we
                                                       we keep them separate
                                                                    separate

            7         because there's
                              there's separate
                                      separate claims
                                               claims against
                                                      against each one
                                                                   one of

            8         them,
                      them, they would --   — they win,
                                                   win, the
                                                        the proof has
                                                                  has not
                                                                      not been
                                                                          been

            9         more
                      more likely
                           likely to be true
                                        true than not
                                                  not true.
                                                      true.

           10
           10                 Also suppose
                                   suppose you get
                                               get into
                                                   into a situation where
                                                                    where on
                                                                          on a

           11
           11         particular point you think that it's
                                                      it's equal,
                                                           equal, it's
                                                                  it's neither
                                                                       neither

           12
           12         more likely nor less
                      more            less likely
                                           likely and you can't decide.
                                                                decide.                 In
           13
           13         that
                      that case
                           case that has
                                     has not been proved by a fair
                                                              fair

           14
           14         preponderance
                      preponderance of the
                                       the evidence.
                                           evidence.          Mr.
                                                              Mr. Friesen,
                                                                  Friesen,

           15
           15         Ms. Gasarch,
                      Ms. Gasarch, or whoever the point
                                                  point pertains
                                                        pertains to,
                                                                 to, they win

           16
           16         on that point.
                              point.      But so long as
                                                      as what
                                                         what the Commission
                                                                  Commission is
                                                                             is

           17
           17         trying to
                             to prove
                                prove is
                                      is more likely to be
                                                        be true than not,
                                                                     not, the
                                                                          the

           18
           18         Commission wins.
                                 wins.      Let's
                                            Let's start then,
                                                        then, since
                                                              since we've
                                                                    we've got
                                                                          got that

           19
           19         framework,
                      framework, with your
                                      your function
                                           function here.
                                                    here.

           20                You are
                                 are the
                                     the finders
                                         finders of the
                                                    the facts,
                                                        facts, you are
                                                                   are the
                                                                       the

           21
           21         judges
                      judges of the facts,
                                    facts, that is
                                                is not given to
                                                             to me,
                                                                me, it
                                                                    it is
                                                                       is not
                                                                          not

           22         part of my function,
                      part       function, and while
                                               while I
                                                     I must talk about the
                                                                       the

           23
           23         evidence
                      evidence here
                               here to explain
                                       explain the
                                               the different points,
                                                             points, I
                                                                     I have

           24         nothing to say
                                 say about the
                                           the evidence,
                                               evidence, nothing whatsoever,
                                                                 whatsoever,

           25         under the
                            the Constitution that's
                                             that's given to the people
                                                                 people




                                                 A1849
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                                                                                           5




                1
                1       themselves,
                        themselves, a duly-qualified jury,
                                                     jury, and you are
                                                                   are a superb
                                                                         superb

                22      one, you are
                        one,     are going to decide
                                              decide that.
                                                     that.               we're going to
                                                                     And we're

                3
                3       talk about how.
                                   how.

                44              But it's obvious -- well
                                    it's obvious    well it isn't obvious, but
                                                            isn't obvious,

                5
                5       I'll
                        I'll emphasize it,
                                       it, you're       to decide based solely
                                           you're going to

                66      and entirely on the evidence that
                                                     that you have
                                                              have seen here
                                                                        here in

                7       this
                        this courtroom and on nothing else whatsoever.
                                                           whatsoever.                No bias.
                                                                                         bias.

                88      No prejudice.
                           prejudice.                  for anyone.
                                           No sympathy for anyone.        No desire
                                                                          No desire that

                99      anyone have revenge.
                                    revenge.         Just the
                                                          the cool, careful, sifting
                                                              cool, careful, sifting of

            10
            10          the
                        the evidence         here, in this
                                     so that here,
                            evidence so                    courtroom, justice
                                                      this courtroom, justice

            11          truly may be done.
                                     done.

            12
            12                                           unanimous and by
                                Now your verdict must be unanimous

            13
            13          "unanimous"
                        "unanimous" II mean all
                                            all of you,
                                                   you, all 11 of you
                                                        all 11                   -- and
            14
            14          that's the genius
                        that's     genius of the system, all
                                             the system,     11 of you
                                                         all 11    you genuinely

            15          agreeing.
                        agreeing.            deliberate, you'll talk among
                                      You'll deliberate,
                                      You'll

            16          yourselves,
                        yourselves, but there's
                                        there's not to be any going along here,
                                                not to                    here,

            17
            17          and there's           "Oh, yeah,
                            there's not to be "Oh,       well now it's
                                                   yeah, well     it's getting

            18          later in the afternoon and there
                        later                      there we are,"
                                                            are," that's
                                                                  that's a

            19
            19          failure
                        failure of the system.
                                       system.                    for your verdict,
                                                       We ask you for      verdict, we
                                                                                    we

            20
            20          do not demand it.
                                      it.

            21
            21                   Under this
                                       this fair preponderance    the evidence
                                                 preponderance of the evidence

            22
            22          system,
                        system, one           —
                                    side -- now remember
                                one side        remember to keep Ms. Gasarch and
                                                            keep Ms.

            23          Mr. Friesen separate
                        Mr.                                    find against
                                             because you could find
                                    separate because                against one
                                                                            one

            24
            24          of them and for
                                    for the other or against both or for both,
                                                                     for both,

            25          but keep
                            keep them separate    your mind,
                                      separate in your       it's just candidly
                                                       mind, it's




                                                   A1850
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                                                                                     6




            1
            1       for
                    for efficiency that we
                                        we try one case
                                                   case instead of two
                                                                   two

            2       because some
                            some of the evidence
                                        evidence overlaps
                                                 overlaps and we think the

            33      jury can understand it.
                                        it.       But
                                                  But by "unanimous"
                                                         "unanimous" I
                                                                     I mean
                                                                       mean on

            4       the specific
                        specific point
                                 point all
                                       all of you genuinely agreeing.
                                                            agreeing.

            55             Now we're
                               we're going to
                                           to come back -- I've—
                                                           I've said
                                                                said it
                                                                     it and

            6      I'm
                   I'm not going to repeat it,
                                           it, your
                                               your verdict
                                                    verdict has
                                                            has to
                                                                to be

            7      unanimous,
                   unanimous, but it has to be unanimous
                                               unanimous as
                                                         as to
                                                            to each point

            8      of analysis,
                      analysis, and the
                                    the Commission claims,
                                                   claims, they allege,
                                                                allege, and

            9      the questions
                       questions ask you,
                                     you, whether Ms.
                                                  Ms. Gasarch or
           10
           10      Mr.
                   Mr. Friesen or both violated certain
                                                certain discrete
                                                        discrete provisions
                                                                 provisions

           11
           11      of our securities
                          securities laws?
                                     laws?        And then it
                                                           it asks
                                                              asks you,
                                                                   you, or as
                                                                           as

           12
           12      part
                   part of those questions,
                                 questions, the
                                            the evidence
                                                evidence in this
                                                            this case shows
                                                                      shows

           13
           13      that
                   that there are a number of different stocks,
                                                        stocks, a number of

           14
           14      different securities                               —
                             securities that we're going to -- you're going

           15
           15      to be talking about.
                                 about.

           16
           16              Now when you get to the analysis,
                                                   analysis, you're
                                                             you're going to

           17
           17      have
                   have to do the
                              the analysis
                                  analysis as to each different stock
                                                                stock

           18
           18      offering.
                   offering.     The Commission only has to win on one in

           19
           19      order to have your answer to
                                             to the
                                                the questions
                                                    questions that we
                                                                   we put
                                                                      put

           20      to you,
                      you, if
                           if they win as
                                       as to each element,
                                                  element, "yes"
                                                           "yes" as
                                                                 as to that

           21
           21      answer,
                   answer, even
                           even if you're
                                   you're not persuaded as
                                                        as to other stocks.
                                                                    stocks.

           22      If you're
                   If you're persuaded as
                                       as to one stock,
                                                 stock, that is
                                                             is sufficient.
                                                                sufficient.

           23      At the same time,
                      the same time, when I
                                          I say
                                            say your verdict
                                                     verdict has
                                                             has to be
                                                                    be

           24      "unanimous,
                   "unanimous,"" it has
                                    has to
                                        to be unanimous
                                              unanimous with respect
                                                             respect to the
                                                                        the

           25      dealings
                   dealings in that specific
                                    specific stock.
                                             stock.




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                                                                                         7




                1               If some
                                If                —
                                   some of you -- and don't take any suggestion

                22      from this,
                        from this, but if you think that
                                   but if                Mr. Friesen,
                                                    that Mr. Friesen, for
                                                                      for

                3       instance,          one or more
                        instance, violated one                securities laws
                                                  more of the securities laws as
                                                                              as

                44                      stock and 66 of you think that,
                        to a particular stock
                        to                                              but the
                                                                  that, but the

                55      other 5
                              5 think that "Yeah,        violate, but it's
                                           "Yeah, he did violate,     it's as
                                                                           as to
                                                                              to

                66      another stock,"                   unanimous verdict.
                                stock," you haven't got a unanimous verdict.

                77      It's     to be unanimous
                        It's got to                    the particular stock
                                                    to the
                                                 as to
                                       unanimous as                   stock and

                88      the sales
                            sales and the offering,     first sale of that
                                                    the first
                                          offering, the

                99      particular stock,
                                   stock, a unanimous
                                            unanimous verdict.
                                                      verdict.

            10
            10                      what's my function?
                                Now what's    function?        It's    function at this
                                                               It's my function    this

            11
            11                               the case is
                        stage and throughout the
                        stage                            to go follow
                                                      is to    follow the
                                                                      the law

            12
            12          and now teach you the
                                          the law.
                                              law.              I'm trying to
                                                           What I'm           do is
                                                                           to do is

            13                          mental framework within which you and
                        build for you a mental

            14
            14          you alone can decide what     facts show or do
                                             what the facts         do not show.
                                                                           show.

            15          Don't --     since II will try to be thorough, don't take
                                                          be thorough,       take

            16
            16                  explanations of the law that I
                        from my explanations
                        from                                 I think anything

            17
            17          has                                     has been proved.
                                                I think nothing has
                        has been proved or that I                        proved.

            18          II have nothing to say
                                           say about
                                               about that.
                                                     that.          It's just that
                                                                    It's      that II have

            19          to cover every issue.
                                       issue.         Don't        to me and then grab
                                                      Don't listen to             grab

            20
            20               something that I
                        onto something        say and say
                                            I say            yourself, "Ah-ha,
                                                      say to yourself, "Ah-ha,

            21          the case turns
                                 turns on this or that,"
                                       on this    that," no,        to the
                                                         no, listen to

            22
            22                 charge..
                        entire charge

            23                  Of course
                                   course you may take notes.
                                                       notes.         Of course you may
                                                                      Of

            24
            24          ask questions.
                            questions.      In
                                            In this
                                               this case it's best if you wait
                                                         it's best        wait till

            25                           start deliberating and then if you have
                        you get back and start                              have




                                                  A1852
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                                                                                        8




            1
            1      a question,
                     question, write it out,
                                        out, we'll
                                             we'll bring you back in here,
                                                                     here,

            2      and I will explain that point more thoroughly.
                                                 more thoroughly.                This
                                                                                 This
            3      whole
                   whole exercise is
                                  is our human system
                                               system reaching out for
                                                                   for

            4      justice,
                   justice, that's
                            that's what we're asking you to do
                                                            do here.
                                                               here.                So in
                                                                                       1n


            5     asking you,
                         you, urn,
                              um, naturally you have to know what the law

            6      requires,
                   requires, and if I haven't made
                                              made it
                                                   it clear,
                                                      clear, don't hesitate
                                                                   hesitate

            7      to ask me..
                      ask me

            8             Because of really the busyness
                                                busyness of the courts,
                                                                courts, I'm

            9     explaining it to
                                to you now,
                                       now, so feel
                                               feel free
                                                    free to
                                                         to take notes,
                                                                 notes,

           10
           10     but II will
                         will not be
                                  be able today to
                                                to send
                                                   send a typed copy of my

           11
           11     teaching to
                           to you.
                              you.       If your deliberations
                                                 deliberations go into

           12
           12     tomorrow, we'll have one ready for
                  tomorrow, we'll                for you.
                                                     you.             But
                                                                      But today,
                                                                          today, with
           13
           13     everything fresh
                             fresh in your mind,
                                           mind, the
                                                 the arguments
                                                     arguments fresh
                                                               fresh in

           14
           14     your mind,
                       mind, we will not give you a typed copy.
                                                          copy.

           15
           15             So let's
                          So let's start.
                                   start.      I've talked about your function,
                                                                      function,
           16
           16     my function.
                     function.     Well I should say,
                                                 say, you have to
                                                               to follow
                                                                  follow the
                                                                         the

           17
           17     law
                  law the
                      the way I say it,
                                    it, the way II teach it.
                                                         it.            If II say
                                                                              say the
                                                                                  the
           18
           18     Commission's
                  Commission's got to
                                   to prove
                                      prove these three
                                                  three things
                                                        things and you
                                                                   you

           19
           19     think they've proved two
                                       two of them,
                                              them, but not the third,
                                                                third,

           20     then whoever you're
                               you' re considering,
                                       considering, they win,
                                                         win, they have to
                                                                        to

           21
           21     prove all three.
                            three.      Likewise if
                                                 if II say they have
                                                                have to prove
                                                                        prove

           22     three things
                        things and they've proved those
                                                  those three
                                                        three things,
                                                              things, but

           23     you're really wondering why they haven't proved a fourth

           24     and you think "Well
                                "Well really they ought to have
                                                           have proved the

           25     fourth,"
                  fourth," you can't add it.
                                         it.          This
                                                      This is
                                                           is why I,
                                                                  I, a couple
                                                                       couple of




                                             A1853
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                                                                                           9




                1
                1       weeks
                        weeks ago when I introduced the
                                                    the process
                                                        process to you, II say to
                                                                to you,        to

                2       you, "You' re not here
                        you, "You're      here to
                                               to make         own law."
                                                  make up your own law."             You

                3       have to follow
                        have    follow the law         the Congress
                                           law the way the Congress has
                                                                    has passed

                4       it.
                        it.   I keep talking about proof.
                                                   proof.         Let's start talking
                                                                  Let's start

                5       about proof now.
                                    now.

                6              To "prove
                                  "prove something"                   you come
                                                           means that you
                                                    simply means
                                         something" simply                come to

                7       believe it,
                        believe                 believe that actually happened
                                it, you come to believe

                8       with these
                             these various
                                   various elements.
                                           elements.            the law we
                                                             In the        say there
                                                                        we say there

                9       are two types
                        are     types of proof,              evidence, direct
                                                    types of evidence,
                                         proof, two types

           10
           10           evidence and circumstantial
                                     circumstantial evidence.
                                                    evidence.

           11
           11                  Direct evidence is
                                               is evidence        witness or a
                                                  evidence from a witness    a

           12
           12           video or an exhibit that actually says the point that
                                                          says the       that

            13
            13          you're
                        you're considering,
                               considering, someone
                                            someone was           saw an event
                                                    was there and saw    event

            14
            14               place, there
                        take place,
                        take                            it, or there's
                                          is a video of it,
                                    there is                   there's an

            15
            15          exhibit that
                                that demonstrates          that an event
                                     demonstrates directly that    event takes
                                                                         takes

            16
            16          place,   stock sale
                        place, a stock      for instance.
                                       sale for instance.          If an exhibit
                                                                   If    exhibit shows
                                                                                 shows

            17
            17          that and you believe the
                                             the exhibit    accurate, you can
                                                         is accurate,
                                                 exhibit is

            18
            18          say that point is
                        say                             that's "proved."
                                          demonstrated, that's
                                       is demonstrated,        "proved."

            19
            19          Circumstantial
                        Circumstantial evidence is direct
                                       evidence is        evidence of a
                                                   direct evidence

            20                       which, when combined with other evidence,
                        circumstance which,                          evidence,

            21
            21          persuades you of a point.
                        persuades          point.

            22                 Cases can be
                               Cases     be proved by direct evidence,
                                                             evidence,

            23          circumstantial evidence, any combination of the two.
                        circumstantial evidence,                        two.                   A

            24          case can be proved entirely by circumstantial
                                                       circumstantial evidence

            25          so long
                        so          from those circumstances,
                                as, from
                           long as,            circumstances, you've drawn what




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                                                                                         10
                                                                                         10




            1
            1      are called "reasonable
                              "reasonable inferences,"
                                          inferences," and I'm
                                                           I'm going to

            2      come back to
                             to this,
                                this, not speculation,
                                          speculation, not guesswork.
                                                           guesswork.

            3      You're not in there
                                 there discussing "Well
                                                  "Well possibly this
                                                                 this

            4      happened"
                   happened" or "Maybe
                                "Maybe that happened,"
                                            happened," you've
                                                       you've got
                                                              got to
                                                                  to be
                                                                     be

            5      convinced that more
                                  more likely than not
                                                   not this
                                                       this or that

            6      happened.
                   happened.     That's
                                 That's proof.
                                        proof.

            7               Now what tools
                                     tools do
                                           do you
                                              you have here
                                                       here to
                                                            to prove
                                                               prove -- on
                                                                                 —
            8      which the Commission rests,
                                        rests, to
                                               to prove its case?
                                                  prove its case?                The
                                                                                 The
            9      evidence in this
                               this case
                                    case is
                                         is of four
                                               four types,
                                                    types, and let me
                                                                   me talk
           10
           10      about each type of evidence.
                              type of evidence.

           11
           11               First, to save
                            First, to save you time and because
                                                        because it's
                                                                it's not
                                                                     not

           12
           12      disputed,
                   disputed, the
                             the parties
                                 parties have entered into
                                                      into a detailed

           13
           13      stipulation.
                   stipulation.     I read it
                                           it to you.
                                                 you.       And that is
                                                                     is a very

           14
           14      special
                   special type of evidence,
                                   evidence, nobody disputes
                                                    disputes it,
                                                             it, you can

           15
           15      take it as given.
                              given.      That
                                          That is
                                               is undisputed evidence in the

           16
           16      case..
                   case
           17
           17               Then we have the testimony of the witnesses.
                                                              witnesses.               You
                                                                                       You
           18
           18      have the broadest possible power with --
                            broadest possible            -- over the
                                                                 the

           19
           19      testimony of the witnesses.
                                    witnesses.         This
                                                       This is
                                                            is really the
                                                                      the essence
                                                                          essence

           20      of your adjudicative
                           adjudicative power here,
                                              here, this,
                                                    this, and on the
                                                                 the other

           21
           21      types
                   types of evidence.
                            evidence.      Each one
                                                one of the witnesses
                                                           witnesses who
                                                                     who

           22      testified here before you,
                                         you, if I
                                                 I let you hear what the
                                                                     the

           23
           23      witness had to say,
                                  say, then it's
                                            it's properly before
                                                          before you,
                                                                 you, and

           24      it's
                   it's entirely up to
                                    to you what you make    it.
                                                    make of it.             You can
           25      believe it,
                           it, believe everything the witness
                                                      witness says.
                                                              says.




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                                                                                                11
                                                                                                11




                1
                1        Equally you have           to disbelieve it all,
                                     have the power to               all, just
                                                                          just

                2        disbelieve it as though the
                                    it as            witness never took the
                                                 the witness            the

                33       stand.
                         stand.     And between those
                                                those two extremes,     have the
                                                          extremes, you have the

                4        power to believe parts                   says, but
                                                   what a witness says,
                                          parts of what

                5        disbelieve other parts.
                                          parts.             adjudicative determination
                                                        That adjudicative

                6                                witness testimony is
                         of the believability of witness              the very
                                                                   is the

                7        essence
                         essence of your role.
                                         role.

                8                 So how do you do it?
                                  So               it?             you're entitled to use
                                                              Well you're
                                                              Well

                9                                  the witness.
                         everything you know about the witness.                Everything.
                                                                               Everything.      How

            10
            10           the witness
                         the                  questions both on direct and cross-
                             witness answered questions                    cross-

            11
            11           examination.
                         examination.     Did the witness appear to know what
                                                  witness appear              he was
                                                                         what he was

            12
            12           talking about?
                                 about?              witness -- was
                                                 the witness
                                             Did the                 --
                                                                    he in a position,
                                                                was he      position,

            13
            13           from
                         from your point of view,               --the things
                                            view, that -- to know the things

            14
            14           about which he talked?
                                        talked?

            15
            15                    What bias could the witness
                                                      witness have?
                                                              have?             Think about
            16
            16           that.
                         that.     Is
                                   Is the witness
                                          witness employed by, is the witness
                                                           by, is     witness

            17
            17           hostile to, is
                         hostile to,    the witness
                                     is the         friends with other people
                                            witness friends            people who
                                                                              who

            18
            18           play roles    this case?
                              roles in this case?            Is     witness trying to curry
                                                             Is the witness

            19
            19           favor                 one side
                         favor in any way with one      or the
                                                   side or the other?
                                                               other?                  Does
                                                                                       Does the

            20           witness          motive to fabricate?
                         witness have any motive    fabricate?                In this
                                                                              In this regard,
                                                                                      regard,

            21
            21           as I said
                         as   said as the trial was
                                      the trial           on, these witnesses,
                                                was going on,       witnesses,

            22           Dhillon, Knox, and,
                         Dhillon, Knox,      um, his
                                        and, urn,          begins with "C."
                                                  his name begins      "C."

            23
            23                    MS. SHIELDS:
                                  MS. SHIELDS:     Ci ap alia, your
                                                   Ciapalla,   your Honor.
                                                                    Honor.

            24                    THE COURT:
                                      COURT:     Yes, Ciapalla.
                                                 Yes, Ciapalla.           Thank you.
                                                                                you.    And I
                                                                                            I

            25           appreciate
                         appreciate it.
                                    it.




                                                   A1856
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                                                                                             12
                                                                                             12




                1              Each one of them,
                                           them, if
                                                 if you believe
                                                        believe their testimony,
                                                                      testimony,
                2      they have been prosecuted criminally for
                                                            for acts
                                                                acts which

                3
                3      involve
                       involve some
                               some of the
                                       the same
                                           same conduct that
                                                        that the
                                                             the Commission is
                                                                            is

                4      trying to
                              to prove
                                 prove here,
                                       here, and each one has
                                                          has pleaded guilty

            5          and made
                           made a plea bargain with the government.
                                                        government.             Now the
            6          government of course includes
                                            includes the
                                                     the Commission too,
                                                                    too, but
                                                                         but
            7          they are
                            are actually separate
                                         separate agencies
                                                  agencies and this
                                                               this is
                                                                    is a

            8          separate case,
                       separate case, but
                                      but you're
                                          you're entitled to
                                                          to know that.
                                                                  that.

            9          Criminal
                       Criminal prosecutions
                                prosecutions are
                                             are brought by the Department
                                                                Department of

           10
           10          Justice.
                       Justice.    The
                                   The Securities
                                       Securities and Exchange Commission is
                                                                          is a

           11
           11          different
                       different entity.
                                 entity.

           12
           12                 Having said that,
                                          that, they've pleaded guilty,
                                                                guilty, and

           13
           13          there is some
                                some overlap
                                     overlap between what they say
                                                               say they know

           14
           14          and to which they've pleaded guilty and what
                                                               what the

           15
           15          Commission is
                                  is trying to prove here.
                                                     here.          The law says
                                                                            says
           16
           16          scrutinize
                       scrutinize that testimony with a
                                                      a special
                                                        special care for
                                                                     for the
                                                                         the

           17
           17          natural
                       natural human tendency to tend to downplay one's
                                                                  one's own

           18
           18          role,
                       role, because
                             because those three are
                                                 are facing
                                                     facing sentencing
                                                            sentencing -- they
                                                                                     —
           19
           19          haven't been sentenced,                   mine --
                                    sentenced, by a colleague of mine -- at
                                                                         at

           20          least two of them by a colleague and one
                                                            one by another
                                                                   another

           21
           21          judge,
                       judge, and minimizing their role and perhaps
                                                            perhaps maximizing

           22          the role of one or both of the
                                                  the people who    this civil
                                                             who in this civil

           23         case are litigants.
                               litigants.

           24                 In
                              In short,
                                 short, as
                                        as you are
                                               are reasonable
                                                   reasonable men and women,
                                                                      women, you
                                                                             you

          25          have
                      have the
                           the right to
                                     to sum up a witness's
                                                 witness's testimony,
                                                           testimony, decide
                                                                      decide




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                                                                                         13
                                                                                         13




                1
                1       whether it
                                it has
                                   has the         truth, and decide then what
                                       the ring of truth,

                2       believability you will give it.
                                                    it.

                3              In                              the witnesses,
                               In addition to the testimony of the witnesses,

                4       we've had video
                                  video depositions        —
                                        depositions -- video testimony or video

                5       depositions
                        depositions of witnesses who are
                                       witnesses who     so situated that they
                                                     are so

                6                here, and you've
                        can't be here,                      them, and that's
                                           you've looked at them,     that's

                7       just the same as though the witness
                                 same as                    was here
                                                    witness was here in court.
                                                                        court.

                8       You have
                            have the same
                                     same power.
                                          power.        If you've listened or watched

                9         witness say
                        a witness                          said on the video
                                                   witness said
                                  say whatever the witness             video and

            10
            10          you believe that,                right to believe it
                                              have every right
                                    that, you have                        it and

            11
            11          believe all
                                all of it.
                                       it.      Equally you can disbelieve it
                                                                           it as
                                                                              as

            12
            12          though the video
                                   video was                         believe
                                         was never played or you can believe

            13
            13          parts and disbelieve other parts.
                        parts                      parts.          One    the things
                                                                   One of the things you

            14
            14          want to do,    course, with all
                                do, of course,      all this evidence, is
                                                        this evidence, is you

            15
            15          want            it to the testimony of other witnesses,
                                compare it
                        want to compare                              witnesses,

            16
            16                                                 witnesses, does
                        does it back up the testimony of other witnesses,
                        does                                              does

            17
            17          it
                        it make it
                                it more credible    believable, does
                                        credible or believable, does it take

            18
            18          away from
                             from that testimony?
                                       testimony?          But it's
                                                           But it's left to you.
                                                                    left to you.

            19
            19                 And then, fourth, we have exhibits,
                                   then, fourth,                       we have a
                                                         exhibits, and we      a

            20          bunch of them.
                                 them.      Now with exhibits you really have a
                                                     exhibits you             a

            21
            21          two-step analysis.
                                 analysis.      The first step is,
                                                    first step     um, take
                                                               is, urn, take a look

            22          at the exhibit.
                               exhibit.          the --
                                             Now the -- you have the same power with
                                                            have the

            23
            23          respect to
                                to exhibits.
                                   exhibits.       The fact that I've
                                                   The fact           let you
                                                                 I've let you see
                                                                              see an

            24          exhibit, that doesn't mean that the exhibit is
                        exhibit,                                    is

            25          believable                                it doesn't
                        believable or at least my letting you see it doesn't




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                                                                                          14




                1      mean
                       mean that it's
                                 it's believable,
                                      believable, and that's
                                                      that's because that's
                                                                     that's not

                2      my
                       my business,
                          business, I just see if it fits
                                      just see       fits the
                                                          the appropriate
                                                              appropriate legal
                                                                          legal

                3      parameters
                       parameters to show
                                     show it to the
                                                the jury.
                                                    jury.

                4              And so
                                   so we've
                                      we've got this
                                                this bunch of exhibits
                                                              exhibits that are
                                                                            are

                5      going to be
                                be shown
                                   shown to the
                                            the jury,
                                                jury, but it's
                                                          it's entirely up to
                                                                           to

                6      you whether you believe
                                       believe that they are
                                                         are accurate
                                                             accurate or

            7          believe that they are genuine documents,
                                                     documents, believe that

            8          they -- it's
                               it's up to you,
                                          you, you
                                               you could consider whether
                                                                  whether

            9          they're fake,
                               fake, all
                                     all of those
                                            those things
                                                  things are
                                                         are left
                                                             left to
                                                                  to you.
                                                                     you.                An
           10
           10          exhibit doesn't gain
                                       gain any power just because I
                                                                   I let
                                                                     let the

           11
           11          jury see
                            see it.
                                it.

           12
           12                 So with exhibits
                                      exhibits you can believe them -- that's
                                                                       that's --
           13
           13          the
                       the second step,
                                  step, if you
                                           you think the
                                                     the thing is
                                                               is authentic and

           14
           14          it actually tells
                                   tells you something about
                                                       about the case,
                                                                 case, you read

           15
           15          it and look at it
                                      it and compare
                                             compare it to the
                                                           the testimony,
                                                               testimony, see
                                                                          see

           16
           16          how it fits,
                              fits, does
                                    does it
                                         it back up the testimony?
                                                        testimony?             Does
                                                                               Does it
           17
           17          detract from
                               from the testimony?
                                        testimony?         Does
                                                           Does it make what the
           18
           18          Commission has
                                  has to prove
                                         prove here
                                               here more likely than it
                                                    more likely      it would

           19
           19          be without looking at that exhibit?
                                                  exhibit?          If
                                                                    If you think it's
                                                                                 it's
           20          genuine
                       genuine..

           21
           21                 So
                              So those are the
                                           the sources
                                               sources of evidence,
                                                          evidence, those are
                                                                          are

           22          the only sources
                                sources of the
                                           the evidence,
                                               evidence, the
                                                         the stipulations,
                                                             stipulations, the
                                                                           the

           23
           23          testimony of the witnesses,
                                        witnesses, the
                                                   the video testimony that
                                                                       that

           24         you've
                      you've received,
                             received, and the exhibits.
                                               exhibits.           On that evidence
                                                                           evidence the
           25         Commission rests and Mr.
                                           Mr. Friesen and Ms.
                                                           Ms. Gasarch equally




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                                                                                           15
                                                                                           15




                1
                1       rest.
                        rest.

                2                 From that evidence you may,
                                                         may, and I've
                                                                  I've mentioned

                3       this already,
                        this already, draw what are known as
                                                          as "reasonable
                                                             "reasonable

                4       inferences,"
                        inf e renc e s , " logical deductions,
                                                   deduction s , common
                                                                 co mm on sense.
                                                                          sense .    You

                5       don't check your common sense at the door to
                                                sense at             the jury
                                                                  to the

                6       room, just
                        room, just the reverse, apply your common sense
                                   the reverse,                   sense to the
                                                                           the

                7       evidence
                        evidence that you've seen and heard in order that
                                 that you've                         that

                8       justice be done.
                                   done.      At the same time the
                                              At               the standard of proof

                9       is
                        is not just some                       what it is
                                                        sense, what
                                    some sort of common sense,         is is
                                                                          is a

            10
            10          fair preponderance    the evidence on each essential
                             preponderance of the                  essential

            11
            11          point
                        point..

            12
            12                    Let me give an
                                              an example.
                                                 example.     II do
                                                                 do this
                                                                    this in every case.
                                                                                  case.

            13
            13          II like
                           like it.
                                it.     Because II think it explains
                                                            explains well
                                                                     well what's
                                                                          what's

            14          meant by a "reasonable
                                   "reasonable inference."
                                               inference."          And this has nothing
                                                                        this has

            15
            15          to do
                           do with the
                                   the case.
                                       case.

            16
            16                    Imagine we have a case,
                                                    case, we have
                                                             have a woman and she's
                                                                              she's

            17          walking along a field -- walking on a road,
                                                              road, but the road
                                                                            road

            18
            18          borders
                        borders a field
                                  field of barley.
                                           barley.         Barley is
                                                                  is what they make
                                                                               make

            19
            19          scotch
                        scotch from.
                               from.          there it is,
                                          And there    is, it's
                                                           it's all there, full-
                                                                all there, full-

            20          grown gray tassels
                                   tassels on the top.
                                                  top.          And she notices
                                                                        notices that in
                                                                                     in

            21
            21          that field the barley was
                             field the        was lying down in an irregular

            22          course through
                               through the field,
                                           field, and that's
                                                      that's the evidence.
                                                                 evidence.                 And

            23
            23          let's
                        let's say you believe that evidence.
                                                   evidence.

            24                    Now from      evidence alone you can infer --
                                      from that evidence

            25          nobody says
                               says or saw anything,
                                           anything, but you can infer something
                        -




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                                                                                          16
                                                                                          16




            1
            1      went
                   went through that field.
                                     field.        That's
                                                   That's common sense.
                                                                 sense.          If
                                                                                 If   —
            2      and we've had enough rain
                                        rain that you understand what
                                                                 what I'm

            3      talking about,
                           about, if it really had been a hard rain,
                                                               rain, it
                                                                     it

            4      would have knocked all
                                      all the
                                          the barley down.
                                                     down.            Something went
                                                                                went
            5      through that field.
                                field.

            6             Now that's
                              that's the reasonable
                                         reasonable inference.
                                                    inference.            But you see
                                                                                  see
            7      you can't
                       can't guess,
                             guess, you can't speculate,
                                              speculate, you can't
                                                             can't say,
                                                                   say,

            8      "Well maybe this,"
                   "Well maybe this," "perhaps
                                      "perhaps that,"
                                               that," and "It
                                                          "It could

            9      possibly be,"
                            be," you'd need other evidence.
                                                  evidence.            Is
                                                                       Is that an

           10
           10      animal?
                   animal?     Is it a human?
                               Is it   human?     Is
                                                  Is it
                                                     it someone
                                                        someone on a dirt bike?
                                                                          bike?

           11
           11      An adult?
                      adult?     A child?
                                   child?    You'd have to
                                                        to have other evidence,
                                                                      evidence,

           12
           12      maybe other
                         other circumstantial evidence,
                                              evidence, so you could fit
                                                                     fit

           13
           13      the circumstances
                       circumstances together logically.
                                              logically.           You can't just

           14
           14      pile
                   pile inference on
                                  on inference.
                                     inference.         But if you look at the
           15
           15      evidence,
                   evidence, all
                             all of it,
                                    it, you decide
                                            decide what you believe,
                                                            believe, you
           16
           16      can draw reasonable
                            reasonable common sense inferences.
                                                    inferences.

           17
           17             Now at this
                                 this stage
                                      stage Ms.
                                            Ms. Gaudet
                                                Gaudet is
                                                       is going to
                                                                to pass
                                                                   pass to
                                                                        to

           18
           18      each of you the
                               the verdict slip
                                           slip because
                                                because I'm
                                                        I'm going to
                                                                  to go

           19
           19      over it
                        it question by question and while she's
                                                          she's doing that

           20      I want to call to your attention some
                                                    some things
                                                         things that are
                                                                     are

           21
           21      not evidence in this
                                   this case.
                                        case.

           22             (Passes
                          (Passes out verdict slip.)
                                              slip.)

           23
           23             And,
                          And, first
                               first of all,
                                        all, please
                                             please understand that under

           24      the law there's
                           there's no
                                   no requirement that
                                                  that Ms.
                                                       Ms. Gasarch or

           25     Mr.
                  Mr. Friesen
                      Friesen be here.
                                 here.        If you're
                                                 you're wondering about that,
                                                                        that,




                                             A1861
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                                                                                           17
                                                                                           17




                1
                1       ignore it.
                               it.                            in a civil
                                       There's no requirement in
                                       There's                           case that
                                                                   civil case

                2       they be
                             be here.
                                here.       They've      here through their lawyer
                                            They've been here

                3
                3       representatives
                        representatives who have
                                            have done, as all
                                                 done, as     these lawyers
                                                          all these lawyers

                4       have,
                        have, have      an excellent
                              have done an excellent job.
                                                     job.          So don't --
                                                                   So       -- if you

                5       hold that against them for      reason, there's
                                                   some reason,
                                               for some         there's no
                                                                        no

                6       improper reason why they're not here, they're not
                                                    not here,

                7       required to be here,
                        required                         gone about their
                                       here, and they've gone

                8       business, represented here by their attorneys.
                        business, represented               attorneys.

                9               Likewise
                                Likewise there have            names of people
                                               have been other names    people who
                                                                               who

            10
            10          are not here in
                        are not      in this case and you shouldn't
                                        this case         shouldn't speculate
                                                                    speculate

            11
            11          about that.
                              that.                      conclusions you want from
                                        You can draw any conclusions

            12
            12          the mention of the
                                       the people,         fact that other
                                           people, but the fact

            13
            13          people are     here, that doesn't count for anything.
                               are not here,                        anything.

            14
            14          It
                        It certainly doesn't count against Mr. Friesen or
                                                   against Mr.

            15
            15          Ms.                     count in their favor.
                            Gasarch, it doesn't count
                        Ms. Gasarch,                           favor.                It just
                                                                                     It just

            16
            16          doe
                        doesn't   count..
                            sn' t count

            17
            17                  Now closer to home,
                                    closer to       and II don't
                                              home, and    don't say this in every
                                                                 say this

            18
            18          case, but with counsel
                        case,          counsel here      want to address
                                                    I do want
                                               here I                    you and
                                                                 address you

            19
            19          say
                        say that you all, each one of you,
                                 you all,                  have done a fine
                                                      you, have        fine job.
                                                                            job.

            20          I am privileged to              a case
                                        to preside over a           has been
                                                          case that has been so
                                                                             so

            21
            21          well-tried.
                        well-tried.     There's
                                        There's been no waste of time of the
                                                     no waste            the jury
                                                                             jury

            22          here.
                        here.    Not at all.
                                        all.                      that, and I'm
                                                  Now having said that,     I'm

            23          sincere                          ignore it.
                                                   them, ignore
                        sincere when II compliment them,        it.

            24                    Laughter . )
                                ((Laughter.)

            25                          none of them,
                                Because none    them, and I'm sure they're going
                                                          I'm sure




                                                  A1862
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                                                                                          18
                                                                                          18




                1      to
                       to do a good job in their closings,
                                                 closings, they're
                                                           they're going to try

            22         -- as they're supposed to, they're
                                     supposed to, they're going to
                                                                to try to

            3          persuade
                       persuade you on how to answer these
                                                     these questions,
                                                           questions, and I

            4          think they'll
                             they'll do an excellent job.
                                                     job.           And if in fact
                                                                              fact they
            55         do
                       do persuade
                          persuade you,
                                   you, if they,
                                           they, trying to teach what they

            66         claim are
                             are the facts
                                     facts or are
                                              are unknown,
                                                  unknown, if they do persuade

            77         you,
                       you, that's
                            that's fine,
                                   fine, that's
                                         that's what
                                                what lawyers
                                                     lawyers should
                                                             should do as
                                                                       as

            8          advocates.
                       advocates.     But II remind
                                             remind you, none of them were there
                                                    you, none              there at
                                                                                 at
            99         all.
                       all.   They don't          —
                                   don't know -- well
                                                 well they don't
                                                           don't know of their

           10
           10          own personal
                           personal knowledge.
                                    knowledge.        What
                                                      What they've
                                                           they've done is
                                                                        is tried to
           11
           11          teach you from
                                 from various
                                      various evidence
                                              evidence that
                                                       that I've
                                                            I've let
                                                                 let you see.
                                                                         see.

           12
           12          They don't know.
                                  know.       At the
                                                 the same
                                                     same time
                                                          time I
                                                               I know you'll
                                                                      you'll give

           13          them careful
                            careful and close
                                        close attention because
                                                        because they've
                                                                they've worked

           14
           14          so
                       so hard to lay
                                  lay the evidence,
                                          evidence, both its
                                                         its strengths
                                                             strengths and its
                                                                           its

           15
           15          weaknesses, before
                       weaknesses, before you.
                                          you.

           16                 Now a word about me.
                                               me.         II don't
                                                              don't know
                                                                    know either.
                                                                         either.      And,
                                                                                      And,
           17
           17          urn,
                       um, II have no view about
                                           about how these
                                                     these questions
                                                           questions should
                                                                     should be
                                                                            be
           18
           18          answered.
                       answered.    None.
                                    None.     II do talk to my law
                                                               law clerks
                                                                   clerks about
                                                                          about the
                                                                                the
           19
           19          law.
                       law.   II do not talk to
                                             to Ms.
                                                Ms. Gaudet or Mr.
                                                              Mr. Romanow about
                                                                          about

           20
           20          the law,
                           law, we're not
                                      not sitting
                                          sitting back there
                                                       there speculating
                                                             speculating as
                                                                         as to
                                                                            to

           21
           21          what you're
                            you're going to do,
                                            do, it's not our
                                                         our business.
                                                             business.               II will
                                                                                        will
           22          tell
                       tell you this.
                                this.       II do believe passionately in the jury

           23
           23         system.
                      system.     I do believe that you 11
                                                        11 men and women will do
                                                                         will do
           24
           24          justice.
                       justice.    But my job is
                                              is limited solely to teaching the

          25
          25          law.
                      law.    II do not know and do not
                                                    not speculate
                                                        speculate how you will
                                                                          will




                                                 A1863
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                                                                                          19




                1
                1        answer these questions.
                                      questions.

                2               All right.
                                    right.              that said,
                                               Now with that said, um, we're only
                                                                   um, we're

                33       going to                    verdict, but you're
                                            one jury verdict,
                               to take back one                   you're all
                                                                         all

                4        welcome to have the jury -- and I'm
                                                         I'm looking at the
                                                                        the

                5        forelady
                         forelady because      the forelady who
                                          it's the
                                  because it's                           puts the
                                                            who actually puts the

                6        checkmarks                                the jury has
                         checkmarks in answer to the question once the      has

                7                the unanimous
                         reached the unanimous verdict,     then you sign
                                               verdict, and then     sign it at

                8        the     of the
                         the end of the second page .
                                        second page.

                9                               mind, let's,
                                So with that in mind, let's, um,      to talking
                                                             um, turn to

            10
            10           about the specific           the Commission will
                                            ways that the
                                   specific ways                     will

            11
            11           argue --    the Commission claims      the securities
                                                    claims that the securities laws
                                                                               laws

            12
            12           have
                         have been violated.
                                   violated.           before I
                                                   And before            the details,
                                                              I get into the details,

            13
            13           let    make these general
                         let me make       general comments.
                                                   comments.

            14
            14                  Ms. Gasarch,
                                Ms. Gasarch, Mr. Friesen, are different people.
                                             Mr. Friesen,               people.

            15
            15           While
                         While this
                               this evidence
                                    evidence relates            them, the
                                             relates to both of them,

            16
            16           evidence in
                                  in certain respects is different and pertains
                                             respects is               pertains

            17
            17           only to one of the two of them.
                                                   them.          You keep them separate.
                                                                                separate.

            18
            18           I've already said
                         I've         said we try one
                                                  one case            two because
                                                      case instead of two because

            19
            19           it's efficient, but it equally must
                         it's efficient,                     be fair
                                                        must be fair and you must

            20           be fair
                            fair to Mr.
                                    Mr. Friesen,          be fair
                                        Friesen, you must be fair to Ms. Gasarch,
                                                                  to Ms. Gasarch,

            21
            21           and that is
                                  is you must focus
                                              focus on what     believe they did
                                                       what you believe

            22                     do..
                         or didn't do

            23                         about the securities
                                A word about     securities laws.
                                                            laws.           The securities
                                                                            The securities

            24           laws               States that are involved in this
                                 the United States
                         laws of the                                    this case
                                                                             case

            25           have as
                              as their goal fair disclosure of relevant
                                       goal fair               relevant




                                                  A1864
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                                                                                          20
                                                                                          20




            1
            1          information so
                                   so that an investor can invest believing

                2      that the
                            the information
                                information before
                                            before that investor,
                                                        investor, urn,
                                                                  um,

            33         accurately tells
                                  tells what
                                        what you need to
                                                      to know about
                                                              about a publicly-
                                                                      publicly-

                4      traded stock.
                              stock.     II expect,
                                            expect, because we
                                                            we heard it in the

            5          opening,
                       opening, that in their closing the
                                                      the Commission -- now     --
            6          again
                       again I'm
                             I'm not the
                                     the source
                                         source of evidence here,
                                                            here, but II expect
                                                                         expect

            7          the
                       the Commission to
                                      to say that
                                             that this
                                                  this fellow,
                                                       fellow, Sharp,
                                                               Sharp, and

            8          others
                       others had a scheme      —
                                    scheme-- and we'll
                                                 we'll go
                                                       go over the ways
                                                                   ways where
                                                                        where

            9          they claim investors
                                  investors were
                                            were defrauded.
                                                 defrauded.

           10
           10                 Understand that this                —
                                              this alleged -- and it's
                                                                  it's not
                                                                       not even

           11
           11          for
                       for me to say
                                 say there's
                                     there's a scheme,
                                               scheme, II heard them say it
                                                                         it in

           12
           12          their opening,
                             opening, but II don't
                                             don't know,
                                                   know, we'll
                                                         we'll see
                                                               see what
                                                                   what the
                                                                        the

           13
           13          evidence has
                                has shown.
                                    shown.       You'll
                                                 You'll decide
                                                        decide that.
                                                               that.       But the
                                                                               the point
                                                                                   point
           14
           14          II want to make is
                                       is you go stock
                                                 stock by stock.
                                                          stock.           In
                                                                           In other
           15
           15          words,
                       words, it's               —
                              it's not just -- let's
                                               let's say
                                                     say you
                                                         you do
                                                             do think there was
                                                                            was

           16
           16          a scheme as to one
                         scheme as    one of these stocks
                                                   stocks or more      one of
                                                             more than one
           17
           17          these stocks,
                             stocks, but not
                                         not as to others,
                                                   others, well so be
                                                                   be it.
                                                                      it.                But
           18
           18          go stock
                          stock by stock.
                                   stock.      The
                                               The Commission only need win on
                                                                            on one
                                                                               one

           19
           19          or more than
                               than one in order to get a "yes"
                                                          "yes" answer.
                                                                answer.               But as
                                                                                          as
           20          I've
                       I've said before,
                                 before, you all
                                             all have
                                                 have to be unanimous
                                                            unanimous as
                                                                      as to
                                                                         to the

           21
           21         one,
                      one, or more
                              more than one,
                                        one, that you think they
                                                            they have
                                                                 have proved.
                                                                      proved.

           22                 Again
                              Again still
                                    still talking generally about some
                                                                  some of the

           23         words
                      words that have
                                 have been used,
                                           used, and I'll
                                                     I'll just
                                                          just touch on a few
                                                                          few

           24         of them.
                         them.     It is lawful
                                   It is lawful under the
                                                      the securities
                                                          securities laws
                                                                     laws for
                                                                          for a

           25         publ i cl y- t r a ded company,
                      publicly-traded        company, whose shares
                                                            shares are
                                                                   are traded on a




                                                 A1865
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                                                                                             21
                                                                                             21




                11       stock
                         stock exchange         has a registration statement
                               exchange and who has                statement

                2        which was           lawful at the time it
                               was perfectly lawful                was filed with
                                                                it was

                3
                3        the Commission,
                             Commission, to                    business is
                                                       because business
                                         to go dormant because          is bad or

                4        for any reason,
                                 reason, any economic
                                             economic reason.
                                                      reason.           It's not wrong in
                                                                        It's not       in

                5        our capitalist society to set out with perfectly honest
                             capitalist society                           honest

                66       and good intentions     things don't work out and
                                  intentions and things

                7
                7        become,     it's been referred to here,
                         become, and it's                        as a "shell
                                                           here, as   "shell

                88       company."
                         company."    Shell
                                      Shell companies     not by definition illegal
                                            companies are not               illegal

                99       and they're certainly,
                                     certainly, simply something that's
                                                simply something that's referred

            10
            10              as a "shell
                         to as   "shell company," that's not deceptive.
                                        company," that's     deceptive.

            11
            11                                            into what the witnesses
                                  It's not wrong to enter into
                                  It's                                  witnesses

            12           have called a "reverse
                         have          "reverse merger."
                                                merger."          It's
                                                                  It's not wrong -- so
                                                                                    so--
            13           long as
                         long as various
                                 various notifications          required, it is
                                         notifications that are required,    is

            14           not                      stock, to advertise and pay for
                         not wrong to advertise a stock,                      for

            15
            15           the advertisement so long
                             advertisement so long as appropriate disclosure is
                                                   as appropriate            is

            16           made..
                         made

            17
            17                    The question in this case, even though each one of
                                                  this case,

            18
            18           those things
                               things taken separately is perfectly lawful,
                                            separately is           lawful, as
                                                                            as

            19           you believe    —
                             believe -- if you believe,
                                        if you          as to a specific
                                               believe, as      specific stock,
                                                                         stock,

            20
            20           there have
                         there           violations of the specific laws?
                               have been violations                 laws?                  Now

            21
            21           let
                         let me go over them.
                                        them.

            22                    Let's      at Question 1.
                                  Let's look at          1.       Question 1,
                                                                           1, the
                                                                              the

            23           Commission says        specific statute,
                                    says that a specific          um, and it's
                                                         statute, um,     it's

            24
            24           Section l0(b) of the Securities
                         Section 10(b)        Securities and Exchange Act of
                                                             Exchange Act

            25           1934, and it
                         1934,     it has             it, and I've
                                          rules under it,
                                      has rules                    listed the
                                                              I've listed the




                                                  A1866
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                                                                                        22




            1       rules
                    rules there,
                          there, here's
                                 here's what they have to
                                                       to prove as
                                                                as to that.
                                                                      that.

            22               Now as
                                 as to that,
                                       that, Question 1,
                                                      1, you're
                                                         you' re only asked

            3       about Mr.
                          Mr. Friesen.
                              Friesen.       So
                                             So going,
                                                going, um,
                                                       um, stock
                                                           stock by stock,
                                                                    stock, the
                                                                           the

            44      specific stock you're
                                   you're interested in has
                                                        has to
                                                            to in some
                                                                  some way

            5       involve Mr. Friesen.
                    involve Mr. Friesen.       And so
                                                   so first,
                                                      first, the
                                                             the Commission must
            66      prove that Mr.
                               Mr. Friesen,
                                   Friesen, directly or indirectly,
                                                        indirectly, engaged

            77      in fraudulent
                       fraudulent conduct.
                                  conduct.        Second, that
                                                  Second, that Mr.
                                                               Mr. Friesen acted
            88      with the intent to deceive,
                                       deceive, manipulate, or defraud,
                                                manipulate, or defraud, that

            99      is
                    is he knew his
                               his conduct,
                                   conduct, statements,
                                            statements, or omissions,
                                                           omissions, were
                                                                      were

           10
           10       deceptive
                    deceptive and he acted with reckless
                                                reckless disregard of the

           11       truth.
                    truth.    Third,
                              Third, he engaged in such
                                                   such conduct
                                                        conduct in connection

           12
           12       with the purchase
                             purchase or sale
                                         sale of a specific
                                                   specific security.
                                                            security.                 Let
           13
           13       me explain in more
                                  more detail.
                                       detail.

           14
           14                Now this requires that he -- for fraudulent
                                 this requires                fraudulent

           15
           15       conduct he has
                               has to do either one or more
                                                       more of the
           16
           16       following.
                    following.     He,
                                   He, Mr.
                                       Mr. Friesen,
                                           Friesen, has
                                                    has to have employed a

           17
           17       device,
                    device, scheme,
                            scheme, or artifice to defraud,
                                                   defraud, or,
                                                            or, two,
                                                                two, he
                                                                     he had

           18
           18       to engage in
                    to        in an act,
                                    act, practice,
                                         practice, or course of business
                                                                business

           19       that
                    that operated or would operate
                                           operate as
                                                   as a fraud or deceit upon
                                                                        upon

           20       any person.
                        person.     The government just has --
                                                   just has -- the Commission

           21
           21       just
                    just has to prove
                         has to prove one of those two types,
                                                       types, but they can

           22
           22       prove both,
                          both, but they have to prove at least
                                                          least one.
                                                                one.

           23              The first type
                                     type of fraud is
                                                   is a device,
                                                        device, scheme,
                                                                scheme, or

           24
           24       artifice
                    artifice to defraud.
                                defraud.       A "device,"
                                                 "device," in this
                                                              this context,
                                                                   context, means
                                                                            means

           25
           25       a trick,
                      trick, a contrivance,
                               contrivance, or the result
                                                   result of some
                                                             some plan or




                                              A1867
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                                                                                             23




                1
                1       design.
                        design.     A "scheme"
                                      "scheme" is          or a plan formed to
                                               is a design or               to

                2       accomplish some
                                   some purpose.
                                        purpose.            phrase "device,
                                                        The phrase
                                                        The        "device, scheme,
                                                                            scheme, or

                3       artifice to defraud"
                        artifice to          refers to any plan designed or
                                    defraud" refers

                4       course of action that involves false
                                         that involves       or fraudulent
                                                       false or fraudulent

                5       pretenses    representations or any pattern of conduct
                        pretenses or representations                   conduct

                6       calculated to
                                   to deceive.
                                      deceive.         A "scheme
                                                         "scheme to defraud" means
                                                                    defraud" means

                7       conduct that has
                                     has the principal purpose and effect
                                             principal purpose     effect of

                8       creating a false
                                   false appearance          discovers a wide
                                                       fact, discovers
                                         appearance of fact,

                9       range
                        range of conduct,                    does not need to
                                              the Commission does
                                 conduct, and the                          to

            10
            10          prove that any particular investor or prospective
                                                              prospective

            11
            11          investor was
                                 was actually defrauded or actually suffered an

            12
            12          injury..
                        injury

            13
            13                  A second way that the Commission may prove
                                                                     prove the
                                                                           the

            14
            14          first element of fraud
                        first            fraud is that they could prove
                                               is that            prove that
                                                                        that

            15
            15          Friesen and others                    practice, or
                                                         act, practice,
                                    others engaged in an act,

            16
            16          course of business, that operated or would operate
                                  business, that                   operate as
                                                                           as a

            17
            17          fraud or deceit on any person.
                        fraud                  person.         The phrase
                                                               The phrase "would
                                                                          "would

            18
            18          operate"
                        operate" means
                                 means that the act, practice,
                                            the act,           or course
                                                     practice, or course of

            19
            19          business,
                        business, had the capacity to defraud a purchaser
                                                                purchaser or
                                                                          or

            20          seller,        is not necessary that anyone
                        seller, but it is                    anyone was
                                                                    was actually

            21
            21          def r aude d .
                        defrauded.

            22                  The SEC claims    --
                                        claims -- now this
                                                      this is the claim.
                                                           is the claim.              They

            23          claim that,
                              that, urn
                                           —
                                    um -- the scheme in which they claim to you
                                          the scheme

            24          that Friesen participated had several
                                                      several parts.
                                                              parts.                 One,
                                                                                     One, that

            25          he
                        he and others
                               others controlled significant blocks or shares
                                                 significant blocks    shares of




                                                 A1868
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                                                                                      24




            1       14
                    14 different companies 1
                                 companies's s stock
                                               stock by using the services
                                                                  services of

            2
            2       Sharp,
                    Sharp, Kelln,
                           Kelln, and others
                                      others to hold their
                                                     their shares
                                                           shares through

            3       nominee companies.
                            companies.       They and their associates,
                                                            associates, urn,
                                                                        um, paid,
                                                                             paid,
            44      they say   —
                         say -- they say,
                                     say, it's
                                          it's not
                                               not for
                                                   for me to say,
                                                       me to say, that
                                                                  that they

            55      paid to promote
                            promote those
                                    those companies's
                                          companies's stock
                                                      stock while selling

            66      their shares
                          shares into
                                 into the public markets.
                                                 markets.           Three,
                                                                    Three, they claim
            7
            7       that Friesen and these
                                     these others
                                           others failed to
                                                         to register their

            88      shares
                    shares or make the
                                   the disclosures
                                       disclosures required by law for
                                                                   for

            99      persons
                    persons owning significant
                                   significant amounts
                                               amounts of a company's
                                                            company's

           10
           10       shares.
                    shares.    And fourth,
                                   fourth, they claim that their actions
                                                                 actions

           11
           11       concealed from
                              from investors
                                   investors that the
                                                  the persons
                                                      persons owning

           12
           12       significant
                    significant blocks
                                blocks of shares
                                          shares were selling those
                                                              those shares
                                                                    shares

           13
           13       into the
                         the market.
                             market.

           14
           14              The Commission claims
                           The            claims that Friesen's
                                                      Friesen's conduct
                                                                conduct was
                                                                        was

           15       deceptive and fraudulent
                                  fraudulent because it had the capacity to
                                                                         to

           16       deceive investors
                            investors who did not
                                              not know that the
                                                            the increased

           17
           17       volume and price
                               price for
                                     for the
                                         the shares
                                             shares they were
                                                         were buying were
                                                                     were

           18
           18       the result of promotions
                                  promotions funded
                                             funded by and large
                                                           large blocks
                                                                 blocks of

           19
           19       shares
                    shares sold by persons,
                                   persons, including Friesen,
                                                      Friesen, who

           20
           20       controlled and were selling large
                                                large blocks
                                                      blocks of the
                                                                the specific

           21
           21       company's shares.
                    company's shares.      Go company
                                              company by company.
                                                         company.        And you ask,
                                                                                 ask,

           22
           22       "Was
                    "Was Friesen involved,
                                 involved, was
                                           was he
                                               he involved in that way?"
                                                                   way?"

           23
           23              Now this
                               this requires
                                    requires a specific
                                               specific state
                                                        state of mind on the
                                                                         the

           24       part of Friesen.
                            Friesen.      There
                                          There has    be evidence
                                                has to be evidence that
                                                                   that Friesen

           25       was
                    was acting here
                               here with the
                                         the intent to deceive,
                                                       deceive, manipulate,
                                                                manipulate,




                                              A1869
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                                                                                           25




                11          defraud, and that means
                         or defraud,                    SEC must show,
                                              means the SEC      show, by a
                                                                          a fair

                2
                2        preponderance, that
                         preponderance, that Friesen knew that his
                                                     knew that his conduct was
                                                                           was

                3                                       reckless disregard for
                        deceptive or that he acted with reckless           for

                44           truth..
                         the truth

                55              To
                                To act "knowingly"       to act intentionally and
                                                   means to
                                       "knowingly" means

                66       deliberately rather than mistakenly or inadvertently.
                                                                inadvertently.

                77       "Reckless" means that --
                         "Reckless" means      -- recklessness
                                                  recklessness represents
                                                               represents an

                88       extreme departure
                         extreme                    standards of ordinary care,
                                           from the standards
                                 departure from                           care,

                9
                9                                              investors was
                         meaning that the danger of misleading investors was

            10
            10           either known
                                known to Friesen and the
                                                     the others    so obvious
                                                         others or so obvious

            11
            11           that they must
                                   must have      aware of it.
                                        have been aware    it.            Similarly,
                                                                          Similarly,

            12
            12           evidence that Friesen failed    review or check
                                               failed to review

            13
            13           information that he had a duty to monitor or ignored
                         information

            14
            14           obvious signs
                         obvious                           have known that he
                                 signs of fraud and should have            he and

            15
            15           the
                         the others                                facts, that
                                    were misrepresenting important facts,
                             others were

            16
            16                         showing of recklessness.
                         constitutes a showing    recklessness.

            17
            17                    Pause . )
                                ((Pause.)

            18
            18                  If Friesen was
                                If         was aware of facts that make his
                                                        facts that

            19
            19                                          as to important facts,
                         conduct objectively misleading as              facts, he

            20
            20           acts recklessly even if
                         acts recklessly      if he, Friesen, genuinely believed
                                                 he, Friesen,

            21
            21           that
                         that his                 create a risk
                              his conduct did not create   risk of misleading

            22
            22           investors or securities
                         investors    securities market participants.
                                                        participants.              A person's
                                                                                     person's

            23
            23           state
                         state of mind can                     evidence or
                                       can be proved by direct evidence

            24
            24           circumstantial
                         circumstantial evidence.
                                        evidence.           You may infer Mr.
                                                                          Mr. Friesen's
                                                                              Friesen's

            25
            25           state
                         state of mind from his          words in light of all
                                            his acts and words             all




                                                  A1870
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                                                                                      26




            1       the
                    the circumstances.
                        circumstances.       You cannot peer into Mr.
                                                                  Mr. Friesen's
                                                                      Friesen's

            22      head to see
                            see what
                                what he and the others
                                                others were
                                                       were thinking at
                                                                     at

            3       sometime
                    sometime in the past, therefore you may determine
                                the past,                   determine

            44      whether he acted knowingly or recklessly based upon
            55      circumstantial evidence
                                   evidence about his
                                                  his actions
                                                      actions and the
                                                                  the

            66      reasonable inferences
                    reasonable inferences that you draw from such
                                                             such evidence.
                                                                  evidence.

            7
            7       The burden of proof is
                                        is on the SEC to
                                                      to prove these
                                                               these

            88      elements
                    elements by a fair
                                  fair preponderance
                                       preponderance of the
                                                        the evidence.
                                                            evidence.

            99             The last point that they must prove as
                                                               as to this
                                                                     this

           10
           10       first
                    first question is
                                   is that the
                                           the conduct
                                               conduct was
                                                       was in connection

           11
           11       with the purchase or sale
                                         sale of securities.
                                                 securities.            They -- the
           12
           12       Commission proves
                               proves that if you find there
                                                       there was
                                                             was some
                                                                 some

           13
           13       connection or relationship between the
                                                       the deceptive
                                                           deceptive conduct

           14
           14       and the sale
                            sale or purchase of securities,
                                                securities, that is
                                                                 is stock in

           15
           15       the particular company that
                                           that you're
                                                you're talking about.
                                                               about.

           16       Fraudulent conduct directed at anyone involved in a

           17
           17       securities
                    securities transaction,
                               transaction, such as
                                                 as the transfer
                                                        transfer agents,
                                                                 agents, the
                                                                         the

           18
           18       broker dealers,
                           dealers, that
                                    that is
                                         is in connection with the purchase
                                                                   purchase

           19
           19       and sale
                    and sale of securities.
                                securities.       That's
                                                  That's Question 1.
                                                                  1.

           20
           20              Now Question 2.
                                        2.      Now this
                                                    this is
                                                         is a different section

           21
           21       of the law,
                           law, and Question 2
                                             2 also deals
                                                    deals only with
                                                               with

           22
           22       Mr.
                    Mr. Friesen,
                        Friesen, and for
                                     for Question 2        —
                                                  2-- and you'll see these
                                                                     these

           23
           23       overlap, but we've got to figure
                    overlap,                  figure each question or take

           24       each question and take each question separately.
                                                         separately.

           25
           25              The elements
                               elements seem
                                        seem much the
                                                  the same
                                                      same in Question 2
                                                                       2




                                              A1871
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                1        because there are three elements
                                 there are                         ask, did
                                                 elements and they ask,

                22       Mr. Friesen directly or indirectly engage
                         Mr.                                engage in
                                                                   in fraudulent
                                                                      fraudulent

                33       conduct?
                         conduct?    Second, did Mr.
                                     Second,     Mr. Friesen act      the required
                                                             act with the

                4        state of mind?
                         state    mind?     And third, was his
                                                third, was     conduct in connection
                                                           his conduct

                55       with the offer or
                              the offer    sale of a security?
                                        or sale      security?

                6
                6                Now the
                                     the elements       are the
                                         elements there are          as what I've
                                                            the same as      I've

                17       already explained to         for this
                                           to you but for this -- or not—
                                                                     not "but
                                                                         "but for

                88       this,"                               A(l) violation,
                         this," remember that for the alleged A(l) violation, the
                                                                              the

                99       Commission must prove that
                                    must prove that Mr.         was acting
                                                    Mr. Friesen was

            10
            10           knowingly or recklessly,    I've already explained to
                                                  as I've
                                      recklessly, as

            11
            11           you..
                         you

            12
            12                   Now when we
                                          we move
                                             move on to          3, you will
                                                     to Question 3,     will see
                                                                             see

            13
            13           that -- for
                         that    for the first         this verdict slip anyway,
                                               time in this
                                         first time                      anyway,

            14
            14           Ms.
                         Ms. Gasarch is
                                     is mentioned,          again, the
                                        mentioned, and here again, the difference
                                                                       difference

            15
            15           between A(l)     A(3) is
                                 A(l) and A(3) is this.
                                                  this.         In order to violate
                                                                In
            16
            16           A(3),
                         A(3), if
                               if the fraud is proved and the
                                      fraud is            the          -- just as
                                                                               as I've
                                                                                  I've

            17
            17           explained it, but in
                                   it, but             to acting knowingly or
                                           in addition to                  or

            18
            18           recklessly, one can violate
                         recklessly, one                     A (3 ) if you act
                                             violate Section A(3)

            19
            19           negligently.
                         negligently.     Now that is -- the
                                                         the government has
                                                                        has to
                                                                            to prove
                                                                               prove

            20
            20           less
                         less for
                              for negligence because it doesn't have
                                  negligence because            have to be
                                                                     to be

            21
            21           intentional
                         intentional..

            22
            22                   In
                                 In order to act "negligently" is the
                                                 "negligently" is the failure
                                                                      failure to

            23
            23           use ordinary care under the
                                                 the circumstances.
                                                     circumstances.             Ordinary
            24
            24           care is the care
                                     care that a reasonably careful
                                                            careful person would

            25
            25           exercise in the
                                     the management of their own affairs in order
                                                             own affairs




                                                  A1872
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            1       to avoid injury to themselves
                                       themselves or
                                                  or their own property or

            22      to avoid injury to the persons
                                           persons or property of others.
                                                                  others.

            33      In
                    In other words,
                             words, "negligence"
                                    "negligence" is
                                                 is doing something
                                                          something that
                                                                    that a

            44      reasonably
                    reasonably careful
                               careful person would not
                                                    not do or not
                                                              not doing

            5       something
                    something that a reasonably careful
                                                careful person would do

            66      under the circumstances.
                              circumstances.

            77             In
                           In deciding whether ordinary care
                                                        care was
                                                             was exercised in
                                                                           in

            8       a given case,
                            case, you should view the conduct in light of

            99      all
                    all the
                        the surrounding circumstances
                                        circumstances as
                                                      as shown by the
                                                                  the

           10
           10       evidence in this
                                this case.
                                     case.       You may find
                                                         find that either
                                                                   either

           11       Mr.
                    Mr. Friesen or Ms.
                                   Ms. Gasarch acted negligently with

           12
           12       respect to the A(3)
                                   A (3) violation if they failed to exercise
                                                                     exercise

           13
           13       ordinary or reasonable
                                reasonable care
                                           care or
                                                or competence in the
                                                                 the making

           14
           14       of those statements
                             statements or engaging in deceptive
                                                       deceptive or

           15       misleading conduct.
                               conduct.       Again,
                                              Again, as was the
                                                     as was     case in answer to
                                                            the case           to

           16
           16       Question 1,
                             1, the
                                the 10(b)
                                    10 (b) (5)
                                           (5) alleged violation,
                                                       violation, this
                                                                  this has
                                                                       has to
                                                                           to

           17
           17       be done in connection with the purchase or
                                                            or sale
                                                               sale of a

           18
           18       securi ty .
                    security.

           19
           19              Now let's
                               let's look at Question 5.
                                                      5.         This
                                                                 This charges
                                                                      charges only
           20
           20       Mr.
                    Mr. Friesen with offering unregistered securities.
                                                           securities.                The
                                                                                      The
           21
           21      Commission must
                              must prove two things,
                                             things, that
                                                     that Mr.
                                                          Mr. Friesen

           22      directly or indirectly sold or offered to
                                                          to sell
                                                             sell a

           23      security and that
                                that no
                                     no registration statement
                                                     statement was filed
                                                               was filed
           24
           24       with the SEC or
                                 or was
                                    was in effect for offers
                                                      offers or sales
                                                                sales of

          25       that security
                        security..




                                              A1873
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                11              A registration           registers transactions,
                                  registration statement registers transactions,

                22           shares, meaning that each registration statement
                         not shares,                                statement

                33       applies         separate offer and sales
                         applies to each separate           sales transaction,
                                                                  transaction, it
                                                                               it

                4        does not attach to the
                         does not               security itself.
                                            the security itself.           Thus, proper
                                                                           Thus, proper

                5        registration of a security        stage does
                                           security at one stage does not
                                                                      not

                66                                       subsequent offers
                         necessarily suffice to register subsequent offers or

                7
                7        sales
                         sales of that security.
                                       security.

                88              As
                                As to the first element, the Commission
                                          first element,     Commission may prove

                99       its
                         its claim as    this question,
                                   as to this           Question Number 5,
                                              question, Question        5, they

            10
            10           may prove it
                                   it showing                     was a direct or
                                      showing either that Friesen was          or

            11
            11           indirect
                         indirect seller               the security.
                                  seller or offerer of the security.             If you find
                                                                                 If     find

            12
            12           that Friesen was
                                      was responsible for directing the
                                          responsible for           the sales
                                                                        sales of

            13
            13           securities
                         securities and shared
                                        shared in the proceeds
                                               in the             those sales,
                                                      proceeds of those sales,

            14           even though the sales
                                         sales took place
                                                    place in the names
                                                                 names of other

            15                     companies acting on his
                         people or companies           his behalf,
                                                           behalf, you may find

            16           him liable, you may answer "yes."
                             liable, you            "yes."

            17
            17                                                its claim by
                                    Commission may also prove its
                                The Commission

            18
            18           establishing that Friesen        indirect seller of
                                                   was an indirect
                                           Friesen was

            19           securities,
                         securities, that is
                                          is that he was meaningfully involved in
                                                  he was                       in

            20           the process        sales or offers
                             process of the sales           to sell
                                                     offers to sell or was
                                                                       was a

            21
            21           necessary participant in the process
                                               in the process or
                                                              or was
                                                                 was a

            22           substantial factor
                                     factor in the process.
                                            in the process.           You may find that
            23           Friesen was
                                 was a necessary participant or a substantial
                                                                  substantial

            24
            24           factor in
                         factor in securities offers or sales
                                   securities offers    sales if he directed

            25           others
                         others to make those
                                        those offers    sales or planned the
                                              offers or sales




                                                  A1874
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                                                                                       30




            11      process
                    process by which those
                                     those offers
                                           offers or
                                                  or sales were made.
                                                                made.

            2
            2              There's
                           There's been some
                                        some discussion in the
                                                           the law
                                                               law as
                                                                   as to

            33      whether the
                            the sales
                                sales would have -- the --
                                                    the test is
                                                             is whether the

            44      sales
                    sales would have taken place but for Mr.
                                                         Mr. Friesen's
                                                             Friesen's

            5       involvement?
                    involvement?     That's
                                     That's really not the test,
                                                           test, not but-for,
                                                                     but-for,

            66      and
                    and the law has
                                has directly spoken to
                                                    to this,
                                                       this, because
                                                             because if you

            77      employed that test,
                                  test, then it could catch for
                                                            for instance
                                                                instance

            88      someone who just printed up documents,
                                                documents, which were

            99      necessary,
                    necessary, and that
                                   that person would not have been a

           10
           10       substantial factor
                                factor in the process
                                              process or a necessary

           11       participant in the process.
                                       process.         So that's not the test,
                                                           that's not     test, it
           12
           12       is
                    is the words
                           words that II just read to
                                                   to you.
                                                      you.

           13              On this,
                              this, however,
                                    however, unlike these others,
                                                          others, the first
                                                                      first

           14
           14       four
                    four questions,
                         questions, on Question 5,
                                                5, the Commission doesn't
                                                                  doesn't

           15
           15       have to prove any specific
                                      specific state
                                               state of mind,
                                                        mind, just
                                                              just that he
                                                                        he
           16       did it,
                        it, nothing else.
                                    else.       Not what was
                                                         was going on in his
                                                                         his

           17
           17       mind,
                    mind, whether it was
                                     was knowing,
                                         knowing, whether it
                                                          it was
                                                             was reckless,
                                                                 reckless,

           18
           18       whether -- as
                               as to 17 (A)(3)
                                     17(A) (3),, whether it was
                                                            was negligent,
                                                                negligent,

           19
           19       just
                    just that he did it.
                                     it.

          20
          20               All
                           All right.
                               right.     Now as
                                              as to
                                                 to Question 6.
                                                             6.       This is
                                                                      This is the

          21
          21       alleged 13(d)
                           13(d) violation.
                                 violation.        To prevail
                                                      prevail on this
                                                                 this claim the

          22
          22       Commission must prove two things.
                                             things.           First,
                                                               First, that Friesen
          23
          23       acquired,
                   acquired, directly or indirectly,
                                         indirectly, individually or acting

          24
          24       together with others,
                                 others, beneficial
                                         beneficial ownership of more than
          25
          25       5 percent
                     percent of Stevia Fi r s t / Vi t a 1 i t y -- that was
                                       First/Vitality                    was the
                                                                             the




                                              A1875
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                                                                                                31
                                                                                                31




                11       second name,
                                name, stock.
                                      stock.               acquired, directly or
                                                   That he acquired,          or

                22       indirectly, individually or acting together with others,
                         indirectly, individually                         others,

                33       beneficial              more than 55 percent of Stevia
                         beneficial ownership of more

                4        First stock.
                               stock.     And second,
                                              second, that Friesen, and others
                                                      that Friesen,     others with

                5        whom he was working, failed
                                 was working,        to file
                                              failed to           the SEC,
                                                        file with the SEC, within
                                                                           within

                66       10                   beneficial ownership of those
                         10 days of acquiring beneficial

                7        shares,            13(d) statement.
                         shares, a Schedule 13(d) statement.           If he had that
                                                                       If

                88       beneficial
                         beneficial ownership     he failed
                                    ownership and he           file the
                                                     failed to file the requisite
                                                                        requisite

                99       13(d) form,
                         13(d)            he is
                               form, then he    liable under Question 6.
                                             is liable                6.

            10
            10                  Again his state of mind as
                                      his state               this question,
                                                        as to this question, like
                                                                             like

            11
            11           Question 5,
                                  5, is
                                     is of no moment, you don't have
                                              moment, you            to ask
                                                                have to

            12
            12                                      negligently, just did that
                         knowingly or recklessly or negligently,
                         knowingly                                        that

            13
            13           happen?
                         happen?

            14
            14                     And then last,             alleges -- or it
                                                           7, alleges
                                            last, Question 7,

            15
            15           doesn't allege,
                                 allege, it's     question, it asks
                                              the question,
                                         it's the                   you, did
                                                               asks you,

            16
            16           Ms. Gasarch,
                         Ms.              she aid and abet the violations,
                             Gasarch, did she                  violations, any of

            17
            17           the violations of the            laws by others?
                                           the securities laws    others?                 And

            18
            18           here you can look at all the different -- you've
                                              all the                     got to
                                                                   you've got

            19           look at the        you're talking about,
                                     stocks you're
                                 the stocks                       but with
                                                           about, but

            20
            20           respect to any of those transactions that --
                                           those transactions      -- in
                                                                      in which

            21
            21           she         involvement, whether or not Friesen had any
                         she had any involvement,

            22
            22                              —            as to her and it's
                         involvement or -- again this is as            it's

            23
            23           separate, if
                         separate, if you believe                Sharp, over what
                                          believe she worked for Sharp,

            24
            24           period,
                         period, and what did she    for Sharp,
                                              she do for Sharp, that type of

            25
            25           thing..
                         thing




                                                  A1876
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            1               Now here's
                                here's what the
                                            the law says.
                                                    says.         Any person that
                                                                             that
            22      knowingly or
                              or recklessly provides
                                            provides substantial assistance
                                                                 assistance

            3
            3       to another person in violation of any provision
                                                          provision of the
                                                                       the

            44      securities
                    securities laws
                               laws or any rule or regulation issued under
            5       those laws shall be
                          laws shall be deemed to be in violation of such
                                                                     such

            6
            6       provision to the same
                                     same extent as
                                                 as the
                                                    the person to
                                                               to whom such

            7
            7       assistance is
                               is provided.
                                  provided.        That
                                                   That requires
                                                        requires that the
                                                                      the
            8       Commission prove three things
                                           things as
                                                  as to
                                                     to Ms.
                                                        Ms. Gasarch.
                                                            Gasarch.

            99             That
                           That first,
                                first, that Sharp
                                            Sharp or these
                                                     these others,
                                                           others, perhaps
                                                                   perhaps

           10
           10       beyond Friesen,
                           Friesen, who you believe were
                                                    were clients
                                                         clients of Sharp
                                                                    Sharp in
                                                                          in

           11
           11       a scheme
                      scheme that,
                             that, as
                                   as I've
                                      I've described it,
                                                     it, would violate the

           12
           12       securities
                    securities laws,
                               laws, that Ms.                 —
                                          Ms. Gasarch -- excuse
                                                         excuse me,
                                                                me, that
                                                                    that

           13       these others,
                          others, any of them,
                                         them, directly Sharp
                                                        Sharp and these

           14
           14       others,
                    others, directly or indirectly violated Rule
                                                            Rule 10(b)(5),
                                                                 10(b) (5),

           15       which we've talked about
                                       about here,
                                             here, Sections
                                                   Sections 17(a)(1)
                                                            17 (a) (1) and

           16
           16       17(a)(3),
                    17(a) (3), which we've
                                     we've talked about,
                                                  about, the
                                                         the ones
                                                             ones which

           17
           17       require that you -- except for
                    require                    for A(3)   that you --
                                                   A(3),, that     -- that

           18
           18       they were knowingly
                              knowingly recklessly violating the
                                                             the securities
                                                                 securities

           19
           19       law,
                    law, and for 17
                                 17 (a) (3),, were
                                    (a) (3)   were negligently violating the
                                                                         the

           20      securities law, if they or any of them were
                   securities law,                        were doing that.
                                                                     that.

           21
           21      Second,
                   Second, they have to prove that
                                              that Ms.
                                                   Ms. Gasarch understood

           22       that her role
                             role or conduct was
                                             was part of an
                                                         an overall
                                                            overall activity

           23       that was
                         was improper.
                             improper.      And third,
                                                third, that Gasarch knowingly or
           24
           24      recklessly provided substantial
                                       substantial assistance to
                                                              to the

           25      violation
                   violation..




                                              A1877
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                                                                                           33




                11              Now "substantial
                                    "substantial assistance"
                                                 assistance"        -- I've
                                                                       I've defined the
                                                                                    the

                22       others,
                         others, but
                                 but "substantial assistance" means
                                     "substantial assistance" means that
                                                                    that Gasarch

                3        in some                herself with the
                            some way associated herself          venture, that
                                                             the venture,

                4        she participated in it
                         she                 it as           that she
                                                as something that she wished to

                55       bring about,
                               about, and that     sought by her action
                                               she sought
                                          that she               action to make
                                                                           make

                66       it succeed.
                            succeed.

                7
                7               All right, I think that covers
                                All right,                     the question.
                                                        covers the question.              And

                88         —
                         II -- what happens now it's            for us
                                                           time for
                                                     about time
                                                it's about          us to take
                                                                          take a

                99       recess, but before
                         recess,     before we            have misstated
                                               do, II may have
                                            we do,

            10
            10           something,            stated something
                                    I may have stated
                         something, I                 something inaccurately or

            11           left something out, and the lawyers
                              something out,                 have a chance
                                                     lawyers have   chance to

            12
            12           bring that to my attention now.
                                                    now.

            13                  Counsel..
                                Counsel
            14
            14                  *******************

            15
            15                  Sidebar excised out

            16                  *******************

            17
            17                  THE COURT:
                                    COURT:     Well as
                                               Well    they've been throughout,
                                                    as they've      throughout, the

            18           lawyers
                         lawyers are very helpful
                                          helpful to the Court, and further
                                                     the Court,     further II

            19
            19           have                  about the law and I
                         have a juror question about               appreciate it.
                                                                 I appreciate it.

            20           Let me just take
                                     take a moment            right page.
                                                          the right
                                            moment to get the       page.

            21
            21                         .)
                                (Pause.)
                                (Pause

            22
            22                      first addition I
                                The first                    make, and correction
                                                          to make,
                                                   I want to

            23
            23           really,         said, "I
                         really, a juror said,                     the difference
                                               "I don't understand the

            24
            24           between Question 11 and Question
                                                 Question 2?"
                                                          2?"

            25                  Question 1,       I took some time in explaining,
                                         1, which I                   explaining,




                                                  A1878
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                                                                                       34




            11      was
                    was the
                        the use of the
                                   the terms
                                       terms in -- as
                                                   as to
                                                        —
                                                      to the
                                                         the violation of

            2
            2       Section
                    Section 10(b)
                            l0(b) and the rule
                                          rule under it,
                                                     it, 10(b)
                                                         l0(b) (5),
                                                               (5), and

            33      Section
                    Section   -- Question 22 dealt with Section
                                                        Section 17.
                                                                17.           And as
                                                                                  as it
                                                                                     it
            44      turns out,
                          out, that's — II was
                               that's --   was too glib,
                                                   glib, that's
                                                         that's a very good

            5       question
                    question..

            66                           —
                           Generally -- generally now,
                                                  now, the
                                                       the reason that there
                                                                       there

            77      are
                    are two separate
                            separate questions
                                     questions is
                                               is that there's
                                                       there's two
                                                               two separate
                                                                   separate

            8       laws, and the
                    laws, and the Commission is
                                             is rightfully entitled to claim

            99      that there's
                         there's been a violation of both of those
                                                             those laws.
                                                                   laws.               In
                                                                                       In
           10
           10       fact,
                    fact, the language
                              language that II have
                                               have used where
                                                         where in
                                                               in essence
                                                                  essence I
                                                                          I

           11
           11       said,
                    said, "Well
                          "Well the
                                the rules
                                    rules as
                                          as to
                                             to fraud
                                                fraud are
                                                      are the same,"
                                                              same," that's
                                                                     that's

           12
           12       generally true
                              true with one exception.
                                            exception.

           13
           13              In
                           In Question 2     --
                                       2 -- Question 2
                                                     2 talks
                                                       talks about

           14
           14       engaging     —
                    engaging-- well in Question 3,
                                                3, which deals
                                                         deals with

           15
           15       17(a)(3),
                    17 (a) (3), strike
                                strike that.
                                       that.      I'm not being clear.
                                                  I'm not       clear.        I'm trying
                                                                              I'm
           16
           16       to be clear
                    to    clear..

           17
           17              There
                           There is no substantial
                                       substantial difference between

           18
           18       Question 11 and Question 2.
                                             2.         There
                                                        There is
                                                              is a substantial
                                                                   substantial

           19
           19       difference
                    difference that II didn't mention in between 17(a)
                                                                 17(a) (1),
                                                                       (1),

           20
           20       Question 2,
                             2, and 17(a)(3), Question 3,
                                    17(a)(3),          3, and I've
                                                              I've mentioned

          21
          21       one
                   one aspect, a person can
                       aspect, a        can be
                                            be liable under Section

           22
           22      17 (a)(3)
                   17(a) (3) just    —
                             just -- obviously they're
                                               they' re liable
                                                        liable if they acted

           23      knowingly or recklessly,
                                recklessly, but also
                                                also they could be liable
                                                                   liable

           24
           24      because they acted negligently.
                                      negligently.           But there are
                                                                       are some
                                                                           some

          25       restrictions
                   restrictions in 17(a)(3)
                                   17(a) (3) that do not
                                                     not appear in 17(a)(1),
                                                                   17(a) (1),




                                              A1879
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                                                                                          35




                1
                1        specifically that the 17(a)
                                               17(a) (3)
                                                     (3) violation,
                                                         violation, in       to be
                                                                    in order to be

                2
                2        proved,
                         proved, the
                                 the thrust of the
                                               the conduct must be to
                                                                   to a purchaser

                3
                3        of stock, not both a purchaser
                            stock, not                      seller, and further
                                              purchaser and seller,     further

                44       the -- the
                         the    the SEC
                                    SEC can prevail without proving a scheme,
                                                                      scheme,

                5        they need only prove
                                        prove a fraud or
                                                      or deceit upon a purchaser

                66       of a security.
                              security.     That's     required in --
                                            That's not required    -- or rather
                                                                         rather it

                7        takes more to
                         takes more to prove the violation under 17(a) (1)..
                                                                 17(a) (1)

                88                Now some
                                      some other things
                                                 things that they pointed out to
                                                                              to me.
                                                                                 me.

                99       If we look at
                         If         at Question 7,
                                                7, that's the aiding and abetting
                                                   that's the

            10
            10           question,
                         question, and II want to     to my instruction that,
                                               to add to                that, um,
                                                                              um,

            11
            11           the Commission need not prove -- with aiding and

            12
            12           abetting the
                                  the Commission need not
                                                      not show      Ms. Gasarch's
                                                          show that Ms. Gasarch's

            13
            13           assistance here was
                                         was the
                                             the sole          the violation of
                                                      cause of the
                                                 sole cause

            14
            14           the securities
                             securities laws.
                                        laws.

            15
            15                    Then some
                                       some general matters on which II had not
                                            general matters                 not

            16
            16           charged and II should.
                                        should.

            17
            17                    Look at Question 6.
                                                   6.       And Question 6, as you know,
                                                                         6, as     know,

            18
            18           talks
                         talks about failure to report over 5
                                     failure to               percent beneficial
                                                            5 percent beneficial

            19
            19           ownership of securities.
                                      securities.        II should say some more about
                                                                   say some      about

            20           beneficial ownership and let me
                                                      me do that.
                                                            that.

            21
            21                    A person is
                                           is a beneficial          stock if that
                                                beneficial owner of stock    that

            22
            22           person directly or indirectly has    shares voting power
                                                       has or shares

            23           or investment power for
                                             for that security.
                                                      security.            Investment power

            24
            24           includes
                         includes the power to sell
                                               sell or direct the sale
                                                                  sale of a

            25
            25           stock.
                         stock.     A person directly or indirectly has
                                                                    has or shares
                                                                           shares




                                                  A1880
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            1
            1      investment power when he has
                                            has the
                                                the sole
                                                    sole power to
                                                               to sell
                                                                  sell a

            2      share
                   share or when he shares
                                    shares the
                                           the power to sell
                                                        sell a share
                                                               share with

            3
            3      someone
                   someone else.
                           else.       Beneficial
                                       Beneficial ownership does
                                                            does not turn on who

            4      owns
                   owns legal
                        legal title to the
                                       the stock
                                           stock or whose name is
                                                               is -- or in       —
            5      whose name the
                              the stock
                                  stock is
                                        is held.
                                           held.         People can combine
                                                                    combine as
                                                                            as a

            6      group to be beneficial owners
                                          owners of
                                                 of stock.
                                                    stock.            When two
                                                                           two or

            7      more people agree to act together for the
                                                         the purpose
                                                             purpose of

            8      acquiring,
                   acquiring, holding,
                              holding, voting,
                                       voting, or disposing of stock,
                                                               stock, the

            9      group formed
                         formed by that agreement shall
                                   that agreement shall be considered the

           10
           10      beneficial
                   beneficial owners
                              owners of the stock.
                                            stock.          The
                                                            The definition of a

           11
           11      "group"
                   "group" is
                           is broad,
                              broad, it
                                     it includes
                                        includes any members
                                                     members who
                                                             who have
                                                                 have

           12
           12      combined in furtherance
                               furtherance of a common objective.
                                                       objective.

           13
           13             Beneficial
                          Beneficial ownership can be obtained through any

           14
           14      contact,
                   contact, arrangement,
                            arrangement, understanding,
                                         understanding, relationship
                                                        relationship or

           15
           15      otherwise.
                   otherwise.    This
                                 This can include an informal
                                                     informal oral
                                                              oral agreement
                                                                   agreement

           16
           16      that
                   that give a person voting or investment
                                                investment power.
                                                           power.                You
                                                                                 You

           17
           17      should
                   should consider whether the facts
                                               facts of the defendant's
                                                            defendant's

           18
           18      relationship    —
                   relationship -- the defendant's relationship?
                                                   relationship?             There's
                                                                             There's

           19
           19      only --
                        -- there's
                           there's Mr.
                                   Mr. Friesen.
                                       Friesen.         -- Mr. Friesen and others,
                                                        -- Mr.             others,

           20      who with whom you find
                                     find he combined,
                                             combined, gave them

           21
           21      significant
                   significant ability to affect how investment
                                                     investment power will
                                                                      will

           22      be used.
                      used.    Substance
                               Substance governs
                                         governs over form.
                                                      form.

           23
           23             Now one last thing.
                                       thing.       This
                                                    This is
                                                         is different than a

           24           case -- than other civil
                  civil case               civil cases
                                                 cases with which,
                                                            which, um,
                                                                   um,

           25     I've
                  I've tried,
                       tried, where in the
                                       the normal      case you --
                                           normal jury case     -- if




                                             A1881
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                1
                1       damages
                        damages are involved,
                                    involved, we
                                              we say to the jury,
                                                            jury, "Well
                                                                  "Well we find

                2       for
                        for the
                            the defendant, we find for
                                defendant, we              plaintiff, and we
                                                   for the plaintiff,     we

                3       assess
                        assess damages
                               damages of X."
                                          X."       In this case don't you speculate
                                                    In this                speculate

                4       about what
                              what happens
                                   happens if you were to answer "yes."
                                                  were to        "yes."               If
                                                                                      If you
                                                                                         you

                5       were
                        were to answer "no" as to the questions
                                       "no" as        questions pertaining to
                                                                           to

                6       Mr.
                        Mr. Friesen or the
                                       the questions               Ms. Gasarch,
                                           questions pertaining to Ms. Gasarch,

                7       or both,
                           both, then
                                 then this
                                      this civil
                                           civil action
                                                 action is over, finished,
                                                        is over, finished,

                8       that's the
                        that's the end.
                                   end.      But let's
                                                 let's say you answered "yes"
                                                       say you          "yes" to
                                                                              to one

                9       or more of the questions.
                                       questions.          Then it
                                                                it falls
                                                                   falls to me
                                                                            me to sort
                                                                                  sort

            10
            10          out what remedies
                        out               the Commission
                                 remedies the                have, and those
                                              Commission may have,     those

            11
            11          remedies
                        remedies could include orders to these
                                       include orders    these people,
                                                               people,

            12
            12          injunctions
                        injunctions about their behavior,
                                                behavior, depending upon how

            13
            13          recent the
                        recent the violation was,
                                             was, it could include
                                                           include a money

            14
            14          sanction,
                        sanction, but
                                  but you don't
                                          don't have to figure
                                                        figure any of that out.
                                                                           out.

            15
            15          The law
                            law says,
                                says, first,
                                      first, were there        these violations?
                                                  there any of these violations?

            16
            16          So don't
                           don't you speculate
                                     speculate about that.
                                                     that.           They'll be
                                                                     They'll be other

            17
            17          proceedings if you answer "yes."
                        proceedings if            "yes."           And again I'm not

            18
            18          speculating
                        speculating on what they may be
                                                     be and you need not.
                                                                     not.

            19
            19                 There is
                                     is one         the verdict slip and I'm
                                        one typo on the                  I'm

            20          going to correct it right now and it has
                                 correct it                         do with the
                                                             has to do

            21
            21          aiding and abetting question,     I've listed the
                                            question, and I've        the

            22          various
                        various violations
                                violations which Ms.
                                                 Ms. Gasarch is
                                                             is charged with

            23
            23          aiding and abetting and they should be separated
                                                     should be separated by the

            24          injunctive -- the disjunctive
                                          disjunctive "or,"
                                                      "or," and I'm writing "or"
                                                                            "or"

            25          in
                        in on the one
                                  one that we give to the
                                                      the forelady.
                                                          forelady.              But you can




                                                 A1882
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            1       see it's
                    see it's any one of
                                     of these alleged violations.
                                                      violations.                 You can
                                                                                      can

            22      answer "yes"
                           "yes" were
                                 were you to find
                                             find that she aided and abetted

            3       any one of these violations.
                                     violations.          So I'll
                                                             I'll give to the
                                                                  give to the Clerk

            4       the
                    the annotated copy and that's
                                           that's the one,
                                                      one, ma'am,
                                                           ma'am, that
                                                                  that

            5       you'll
                    you'll make your decisions
                                     decisions on.
                                               on.

            66             ((Hands
                             Hands to jury.)
                                      jury.)

            77             Now is
                               is there
                                  there any objection to the
                                                         the supplementary
                                                             supplementary

            88      instructions
                    instructions??

            9              On the part of the Commission?
                              the part        Commission?

           10
           10              MR. DAY:
                           MR. DAY:     No,
                                        No, your Honor.
                                                 Honor.

           11
           11              THE COURT:
                               COURT:     On the
                                             the part of Ms.
                                                         Ms. Gasarch?
                                                             Gasarch?

           12
           12              MS.
                           MS. PICKETT:
                               PICKETT:     No, your Honor.
                                            No,      Honor.

           13              THE COURT:
                               COURT:     And on Mr.
                                                 Mr. Friesen?
                                                     Friesen?

           14
           14              MS. FRITZ:
                           MS. FRITZ:     No,
                                          No, your Honor.
                                                   Honor.

           15
           15              ********************
                           ********************
           16              Openings
                           Openings excised out
                                            out

           17
           17              ********************
                           ********************

           18
           18              THE COURT:
                               COURT:     Now let's
                                              let's just talk a moment about
                                                                       about

           19
           19       logistically how this
                                     this is
                                          is going to
                                                   to work and II do
                                                                  do have a

           20       few words
                        words to say
                                 say about
                                     about how you deliberate.
                                                   deliberate.

           21
           21              First the
                                 the logistics.
                                     logistics.         We've ordered lunch for --
                                                        We've
           22       1:00,
                    1:00, cafeteria food.
                                    food.       After I've made these remarks,
                                                      I've made       remarks,

           23       we're going to send
                                   send you out.
                                            out.         Ms. Gaudet will
                                                         Ms.        will stay here
                                                                              here

           24
           24       and will over go over with the lawyers
                                                   lawyers the
                                                           the exhibits,
                                                               exhibits, and

           25
           25       then she
                         she will
                             will bring you back the exhibits.
                                                     exhibits.




                                              A1883
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                1
                1              Are
                               Are they -- so you'll
                                   they--     you'll have     actual exhibits,
                                                     have the actual exhibits,

                2       but also you'll                     so you can all
                                             access to them so
                                 you'll have access                    all look
                                                                           look

                3
                3                                          there, the Jury
                                            that screen in there,
                        at them together on that

                4       Electronic Retrieval System.
                                             System.

                5              If                  all numerically,
                               If you go over them all                  will see
                                                       numerically, you will see

                6       that some        numbers are missing.
                                     the numbers
                             some of the             missing.              one made any
                                                                        No one

                7       mistake,        has hidden anything for
                                    one has
                        mistake, no one                         you, though
                                                            for you,

                8       again,
                        again, with the
                                    the help of the
                                                the lawyers, we've combed the
                                                    lawyers, we've        the

                9       exhibits    the end of this
                        exhibits at the        this submission     found a few
                                                    submission and found   few

            10
            10          that really are not pertinent to the case as it
                                                             case as it comes
                                                                        comes to

            11
            11          you,
                        you, and so I've
                                    I've excluded them.
                                                  them.          You'll have all
                                                                 You'll have all the
                                                                                 the

            12
            12          exhibits           are entitled to which are in
                        exhibits which you are                       in

            13
            13          evidence
                        evidence..

            14
            14                 Now just
                                   just a few
                                          few words about your deliberations.
                                              words about      deliberations.

            15
            15          Madam Forelady,    forelady it doesn't
                                        as forelady
                              Forelady, as             doesn't mean you do
                                                                        do all
                                                                           all

            16
            16                          does it mean you keep
                        the talking nor does             keep your mouth shut,
                                                                         shut,

            17
            17               I'm saying really is
                        what I'm                      all talk together.
                                               is you all      together.                 II

            18
            18          think these are wonderful      rooms and we
                                        wonderful jury rooms        have that
                                                                 we have

            19
            19          really terrific
                        really              -- that's the only place in the
                                               that's the               the

            20          courthouse, is
                        courthouse, is the jury rooms,       we have
                                                rooms, where we have those
                                                                     those big

            21
            21          conference tables,
                        conference tables, everyone can        it and look
                                                    can sit at it     look at

            22          the
                        the others.
                            others.                up in
                                            things up
                                        Set things             so that
                                                      in there so that each and

            23          every one
                              one of you has             express your views
                                               chance to express
                                         has a chance                 views

            24          about the matter under discussion with all the
                                                                   the rest of

            25
            25          you listening                            views being
                                                             the views
                            listening and then commenting on the




                                                 A1884
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                                                                                        40




            11      expressed
                    expressed..

            22               It's
                             It's probably not
                                           not a good idea
                                                      idea to start right
                                                                    right out
                                                                          out

            33      and say, "All
                    and say, "All right,
                                  right, Question
                                         Question 1,
                                                  1, how many of you think,
                                                                     think

            44      yes,
                    yes, how many of you think no?"
                                               no?"          And the
                                                                 the reason
                                                                     reason is
                                                                            is that
                                                                               that
            5       jury deliberations
                         deliberations are just
                                           just that,
                                                that, they're
                                                      they're deliberations,
                                                              deliberations,

            66      and if
                        if you start
                               start out with a straw
                                                straw vote,
                                                      vote, you may think

            7       that
                    that under your oath you're required to
                                                         to stick
                                                            stick to that
                                                                     that

            8       view..
                    view

            99               Now if you have a strong
                                               strong view about
                                                           about any aspect
                                                                     aspect of

           10
           10       this case, by all
                    this case,    all means
                                      means stick
                                            stick to it,
                                                     it, unless
                                                         unless you are

           11
           11       persuaded,
                    persuaded, generally      —
                               generally-- genuinely persuaded by the
                                                                  the views
                                                                      views

           12
           12       of your fellow
                            fellow jurors.
                                   jurors.        That's
                                                  That's what
                                                         what deliberations
                                                              deliberations are.
                                                                            are.

           13       And if that,
                           that, listening to the others,
                                                  others, if that changes
                                                                  changes

           14
           14       your mind,
                         mind, that's
                               that's fine.
                                      fine.        But there's
                                                       there's no going along

           15
           15       here.
                    here.     That would be a violation of your oath.
                                                                oath.             And it
                                                                                      it
           16
           16       isn't a majority vote,
                                     vote, it's
                                           it's a unanimous
                                                  unanimous vote
                                                            vote on each
                                                                    each of

           17
           17       the
                    the questions
                        questions we've given you and then on the key issues
                                                                      issues

           18
           18       that I've
                         I've explained that you must find
                                                      find or must
                                                              must find that
           19
           19       that
                    that has not been proved.
                         has not      proved.

           20
           20                Take your notes
                                       notes with you.
                                                  you.      You have every right
                                                                           right

           21
           21       now to
                        to use
                           use your notes.
                                    notes.        Don't
                                                  Don't pass
                                                        pass your notes
                                                                  notes around,
                                                                        around,

           22
           22       your notes
                         notes are not evidence
                                       evidence of anything,
                                                   anything, they are
                                                                  are for

           23
           23       you and
                        and they'll be destroyed at the
                                                    the end of the
                                                               the trial.
                                                                   trial.

           24
           24      So
                   So they're for you to refresh your recollection,
                                                      recollection, they're

          25
          25        not for
                    not for anybody else.
                                    else.




                                              A1885
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                                                                                                41
                                                                                                41




                11                We will
                                     will leave you
                                                you alone.
                                                    alone.             have any
                                                                If you have

                2
                2        questions           law, how the law -- well
                         questions about the law,                      —
                                                                 well any

                3        questions
                         questions about
                                   about the law,                       about the
                                             law, II can't say anything about

                44       evidence.
                         evidence.     If              questions about the
                                              have any questions
                                       If you have                         law, by
                                                                       the law,

                5
                5            means write them out,
                         all means                       have you back in
                                              out, we'll have          in here
                                                                          here

                66           I'll expl
                         and I'll      a i n the matter
                                  explain        matter further.
                                                        further.

                7
                7                 If     hit a snag and you'd rather sleep on it,
                                  If you hit                                  it,

                88       just
                         just tell
                              tell us             stop deliberating today and we
                                   us you want to stop

                99       will stop a
                         will stop att once and you can
                                                    can come back tomorrow and

            10
            10           start    9:00 and go right on.
                         start at 9:00              on.         That's how deliberations
                                                                That's     deliberations

            11
            11           wor k.
                         work.

            12
            12                    If         still deliberating and it
                                  If you are still                  it gets to be
                                                                       gets to be

            13
            13                 5:00, about 10
                         about 5:00,                        Ms. Gaudet will
                                                 5:00, then Ms.
                                           10 of 5:00,                 will come
                                                                            come

            14
            14           in
                         in and
                            and. say, "Are you about to return a verdict?"
                                 say, "Are                       verdict?"                Now

            15
            15           don't tell                              stand or
                               tell her anything about where you stand

            16
            16           anything,
                         anything, but you can say yes or no.
                                               say yes    no.           And if you say No,
                                                                                   say No,

            17
            17           I'll bring you
                         I'll       you back into the courtroom because then I
                                             into the                        I

            18           have some instructions
                                   instructions to give you once you've started
                                                            once you've

            19           deliberating.
                         deliberating.      But as            you, we'll
                                                   I promised you,
                                                as I               we'll stop at
                                                                              at

            20
            20           5:00, so you can sleep
                         5:00, so         sleep on it.
                                                   it.

            21                    If you -- when you return a verdict -- and I'm
                                  If                                         I'm

            22
            22           going to say
                                  say as
                                      as I said earlier,
                                         I said                     for your
                                                earlier, we ask you for

            23
            23           verdict, we do not demand your
                         verdict, we                    verdict, a fair,
                                                   your verdict,   fair,

            24
            24           impartial,
                         impartial, honest verdict.
                                           verdict.

            25
            25                    If you reach a verdict,
                                  If             verdict, just tell the Court
                                                          just tell     Court




                                                  A1886
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                                                                                      42




            11      Security Officer,
                             Officer, and we'll
                                          we'll have one
                                                     one outside the jury

            2
            2       room,
                    room, that you've reached a verdict,
                                                verdict, don't give the
                                                                    the

            3       verdict to him.
                    verdict to him.       And stick
                                              stick with the
                                                         the original
                                                             original verdict
                                                                      verdict

            44      where
                    where I wrote     little "or"
                            wrote the little "or" in there and that's
                                                               that's the
                                                                      the

            5       one that
                        that the foreperson makes
                                            makes the checks
                                                      checks and then she
                                                                      she

            66      signs
                    signs it.
                          it.

            77             This
                           This is
                                is how we take a verdict.
                                                 verdict.          You don't
                                                                       don't give
                                                                             give it

            88      to
                    to the security
                           security officer,
                                    officer, but
                                             but just
                                                 just tell
                                                      tell him you have a

            99      verdict.
                    verdict.    Ms.
                                Ms. Gaudet sets
                                           sets everything up in here
                                                                 here and you

           10
           10       all
                    all come
                        come in
                             in and then court begins.
                                               begins.          And then she will
                                                                         she will

           11       say,
                    say, "Ladies
                         "Ladies and gentlemen of the jury,
                                                      jury, have you reached

           12
           12       a unanimous
                      unanimous verdict?"
                                verdict?"       And if you're
                                                       you're back with the
                                                                        the

           13       verdict,
                    verdict, II imagine you'll
                                        you'll say yes.
                                                   yes.         And she'll
                                                                    she'll say

           14
           14       "Would
                    "Would you please
                               please rise."
                                      rise."        And it's
                                                        it's the only time in the

           15
           15       whole trial where you stand
                                          stand up
                                                up and we all
                                                          all look at you,
                                                                      you,

           16
           16       and intently.
                        intently.     And Ms.
                                          Ms. Gaudet will
                                                     will say,
                                                          say, "Would
                                                               "Would you
                                                                      you

           17
           17       please pass
                           pass the verdict slip."
                                            slip."             verdict slip is
                                                           The verdict      is

           18
           18       passed to me.
                              me.     II look
                                         look at it.
                                                 it.     I'm
                                                         I'm experienced and I'm
                                                                             I'm

           19
           19       poker-faced,
                    poker-faced, so
                                 so they all
                                         all look at me then.
                                                        then.

           20
           20              Now I look at
                                      at it just to see
                                                    see that it's
                                                             it's logical,
                                                                  logical,

           21
           21       and in
                        in this
                           this case
                                case a logical
                                       logical verdict could
                                                       could be all
                                                                all no,
                                                                    no, it

           22
           22       would be all yes, it
                             all yes, it could be any combination
                                                      combination of yeses
                                                                     yeses

           23
           23       and nos           —
                        nos though -- and the
                                          the question of the
                                                          the juror
                                                              juror was
                                                                    was

           24
           24       right on.
                          on.    It
                                 It seems
                                    seems to me
                                             me that if you answer Question 1,
                                                                            1,

           25
           25       Question 2,
                             2, which deals
                                      deals with 17(a)
                                                 17(a) (1)
                                                       (1) is
                                                           is so similar
                                                                 similar that




                                              A1887
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                                                                                                43




                11       logically it would have the same answer.
                                            have the      answer.            That's
                                                                             That's not
                                                                                    not

                22       true for
                              for Question 3,       is 17
                                           3, which is         3 ) , which the
                                                          (a)((3),
                                                       17(a)               the

                3        Commission could prove on the basis of negligence.
                                                   the basis    negligence.

                4               So
                                So if you went one way on Question 11 and the
                                                                          the other

                5        way on Question 2,
                                         2, I'd have a problem with that.
                                            I'd have                that.                 But
                                                                                          But

                66       other than that,
                                    that, it       be whatever you think has
                                          it would be                    has been

                77       proved or not proved.
                                       proved.

                8               II will look to see that
                                             to see that all the questions are
                                                             the questions are

                99       answered and that it's
                                           it's signed.
                                                signed.         If it's
                                                                If          logical, I
                                                                   it's all logical, I

            10
            10           give it to
                                 to the Clerk and she
                                                  she will      "Ladies and
                                                           say, "Ladies
                                                      will say,

            11           gentlemen, harken to your verdict as
                         gentlemen,                        as the court
                                                                  court records
                                                                        records

            12
            12           it."
                         it."   She reads
                                    reads it out as    says, she'll
                                                    it says,
                                                 as it                   not all
                                                             she'll read not all

            13           the
                         the headings,     she'll read each of the questions
                             headings, but she'll                  questions and

            14
            14           then she'll
                              she'll read whether the           that question is
                                                             to that
                                                  the answer to               is

            15
            15           no
                         no or yes
                               yes..

            16                  At that time,       you' re standing
                                              while you're
                                        time, while                  there, if
                                                            standing there, if

            17
            17           you're satisfied with the consciousness of your judgment
                                               the consciousness

            18           faithfully
                         faithfully recorded by the Clerk,
                                                    Clerk, you will have
                                                           you will have done

            19           what's
                         what's required of you.
                                            you.                 "verdict" comes
                                                        The word "verdict" comes from
                                                                                 from

            20
            20           two Latin words,
                                   words, they mean "to
                                                    "to speak the truth,"
                                                        speak the truth," and

            21
            21           that's what's
                         that's what's asked of you at this
                                                you at      time, to speak the
                                                       this time,          the

            22
            22           truth about these matters.
                                           matters.

            23                   Very well.
                                      well.    With those instructions
                                                          instructions you may retire
                                                                               retire

            24
            24           to commence your deliberations.
                         to               deliberations.          The jury may retire and

            25           I'll           the bench.
                         I'll remain on the bench.




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                                                                                     4444




            1
            1              *********EN[)3************
                           *********ENDS************

            2

            3

            4

            5

            6

            7

            8

            9

           10
           10

           11
           11

           12
           12

           13
           13

           14
           14

           15
           15

           16
           16

           17
           17

           18
           18

           19
           19

           20

           21
           21

           22

           23

           24

           25




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                                      EXHIBIT B




                                             A1890
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                                      UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MASSACHUSETTS

          UNITED STATES OF AMERICA                       )
                                                         )
                 v.                                      )       No. 18-10385-NMG
                                                         )
          ROGER KNOX,                                    )
                                                         )
                                 Defendant               )

                             GOVERNMENT’S NOTICE OF ANTICIPATED
                       RESTITUTION REQUEST AND MOTION FOR CONTINUANCE

                 Pursuant to the Court’s Order granting the government until December 4, 2023, to submit

          its restitution request, the government hereby provides the government’s basis for its anticipated

          restitution request in the amount of $58,046,278.24, to be awarded to 8,051 victims. At the Court’s

          direction, the government continues to diligently work with the Clerk’s office to ensure that such

          a restitution award can be reasonably implemented without undue strain on the Clerk’s office’s

          resources. Because that effort and those discussions remain ongoing, with the goal of reaching a

          mutually agreeable procedure for administering the anticipated restitution request, the government

          respectfully requests an additional 18 days to continue to work on that effort. Subject to the Court’s

          preference, the government proposes that the Court set a deadline of Friday, December 22, 2023,

          for the government to file a status report regarding that effort and/or a final motion for restitution,

          as appropriate.

                                                   BACKGROUND

                 In January 2020, Knox pleaded guilty to conspiracy to commit securities fraud, in violation

          of 18 U.S.C. § 371, and securities fraud, in violation of 15 U.S.C. §§ 78j(b) and 78ff(a). See Dkt.

          #99. As discussed in the government’s sentencing memorandum (Dkt. #254), Knox founded,

          owned, and ran a firm—Wintercap SA (formerly known as Silverton SA)—that provided a




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          platform for control persons to flout the securities laws. Specifically, Wintercap provided a service

          to control persons who sought to secretly and quickly dump large quantities of stock in

          circumvention of the securities laws’ registration and disclosure requirements. The Presentence

          Investigation Report included five specific examples of stocks that Knox sold for control persons,

          as well as identified 41 stocks in total that Knox sold for control persons between 2016 and 2018,

          generating over $137 million in illicit proceeds. See PSR ¶ 49.

                 On October 13, 2023, the Court sentenced Knox to 36 months imprisonment and one year

          of supervised release, as well as ordered forfeiture to include a money judgment in the amount of

          $10,909,709. See Dkt. #263 (Judgment). The Court further ordered that a determination of

          restitution would be deferred until November 15, 2023, and provided the government 30 days

          following sentencing to submit appropriate papers to determine restitution. See id. at 6; Dkt. #261.

          At the government’s request, the Court continued that government’s filing deadline until

          December 4, 2023, after the government discovered an inadvertent coding error in its restitution

          calculations on the eve of 30-day deadline. See Dkts. #266, 268.

                                               LEGAL FRAMEWORK

                 The Mandatory Victims Restitution Act (MVRA) requires restitution to all persons

          “directly and proximately harmed as a result” of Knox’s conspiracy offense. See 18 U.S.C. §

          3663A(a), (c)(1)(A)(ii). When an offense “involves as an element a scheme, conspiracy, or pattern

          of criminal activity, any person directly harmed by the defendant's criminal conduct in the course

          of the scheme, conspiracy, or pattern” is a victim. 18 U.S.C. § 3663A(a)(2); United States v. Chin,

          965 F.3d 41, 59 (1st Cir. 2020). Scientific precision is not the standard; rather, a restitution order

          is appropriate if it is “record-based and constitutes a fair appraisal of [the victims’] actual

          losses.” United States v. Gonzalez-Calderon, 920 F.3d 83, 85 (1st Cir. 2019) (internal citation



                                                            2




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          omitted). The court’s responsibility is to make “a reasonable determination of appropriate

          restitution,” and to do so by “resolving uncertainties with a view towards achieving fairness to the

          victim[s].” Id. Restitution shall also be ordered “in the full amount of each victim’s losses …

          without consideration of the economic circumstances of the defendant.”                  18 U.S.C.

          § 3664(f)(1)(A). The fact that a member of a conspiracy received “a smaller share of the swindled

          funds” does not preclude holding such a member liable—or jointly and severally liable with other

          defendants—for the full amount of restitution. See United States v. Ochoa, 58 F.4th 556, 558, 561,

          563 (1st Cir. 2023), cert. denied, 2023 WL 6378456 (U.S. Oct. 2, 2023) (upholding full restitution

          order against conspiracy member).

                 The Court, however, can also decline to award restitution under the MVRA when either

          the “number of identifiable victims is so large as to make restitution impracticable,” or “complex

          issues of fact related to the cause or amount of the victim’s losses would complicate or prolong

          the sentencing process to a degree that the need to provide restitution to any victim is outweighed

          by the burden on the sentencing process.” 18 U.S.C. § 3663A(c)(3).

                                        RESTITUTION METHODOLOGY

                 As discussed in the government’s sentencing memorandum, given the enormous size and

          scope of the securities fraud in which Knox participated, the government needed to undertake a

          very labor and time intensive process to calculate restitution in this matter. In summary form, that

          process involved the following steps.

                 First, the government engaged in a detailed review of the evidence to identify the stocks

          and time periods on which restitution would be based. The government identified the stocks based

          on an analysis of the size and scope of Wintercap’s trading and ultimately selected 17 stocks

          (approximately 40% of the stocks identified in the PSR for the period 2016-2018) that accounted



                                                           3




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          for approximately $100 million of the illicit proceeds generated (approximately 70% of the total

          illicit proceeds in that same timeframe). The government then identified a proposed “inflation

          period” for each stock—i.e., the period(s) during which investor purchases would qualify for

          potential victim losses—based on a review of when Wintercap’s selling took place, the changes in

          each stock’s price (i.e., when did the price collapse), the time period during which the control

          group was directing selling through encrypted communications channels, and transaction records

          reflecting payments to known stock promoters.

                 Second, an expert data analysis team from Stout Risius Ross, LLC (“Stout”) was engaged

          to use that information, along with available Blue Sheets trading data from the U.S. Securities &

          Exchange Commission, to identify individual victims by stock and amount. 1 An initial step in that

          process was to standardize and de-duplicate the victim-investor names, of which there were tens

          of thousands, as well as to remove duplicate trades and cancelled trades. Following that data

          quality work, which was extensive, the expert data analysis team identified over 400,000 trades

          for approximately 80,000 unique investors who purchased shares during an inflation period.

          Attached hereto at Exhibit A is a declaration from Michael Petron, a Managing Director at Stout,

          describing in detail the analysis performed by the Stout team and the resulting restitution

          calculations.

                 Third, the Stout team then analyzed the data to identify realized losses and unrealized losses

          for each of the approximately 80,000 unique potential victim investors. Broadly speaking, the

          Stout team calculated three different categories of potential losses for each victim investor: (i)




                 1
                    Stout Risius Ross, LLC (“Stout”) is a global investment bank and advisory firm
          specializing in corporate finance, valuation, financial disputes, and investigations. The Stout team
          handling the restitution calculation for this matter is based in Washington, DC.

                                                           4




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          realized losses from shares sold during an inflation period; (ii) realized losses from shares sold

          after an inflation period; and (iii) unrealized losses on shares held by the victim investor at the end

          of Blue Sheets data range. See Exh. A ¶¶ 13-16. This analysis required, among other steps,

          adjusting share quantities to account for subsequent stock splits, reducing losses by gains from

          short positions opened and covered during an inflation period, calculating average share prices at

          the conclusion of the 90-day period following each inflation period for purposes of identifying

          realized and unrealized losses in the post-inflation period, adjusting loss amounts based on

          submissions of trading records by individual investors, and reducing losses by cumulative gains

          (if any) from other loss categories. See id.

                 Fourth, the Stout team then undertook various manual adjustments to the resulting

          restitution calculations at the request of the U.S. Attorney’s Office to ensure that the resulting

          restitution award could be feasibly and fairly implemented. Among other adjustments, the Stout

          team removed losses associated with victim investors that were less than $25 on an individual

          stock and removed victim investors with foreign addresses or no addresses. The Stout team also

          removed victim investors in the stock EPTI who previously received restitution awards in the case

          United States v. Tobin et al., 18cr10444-NMG. See Exh. A ¶¶ 17-18.

                 Fifth, at the request of the U.S. Attorney’s Office, the FBI then began reaching out to the

          25 individual victim investors with calculated losses greater than $200,000 to confirm their bona

          fide victim status. The FBI was able to speak with 14 of the top 25 victim investors, and each

          described trading in the relevant stock(s) in a manner consistent with being a victim of the scheme. 2

          The FBI also reviewed the list of victims identified at that point to identify any co-conspirators or


                 2
                   The U.S. Attorney’s Office produced the FBI’s memorandums of the interviews to
          counsel for Knox.

                                                            5




                                                         A1895
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          other individuals who do not constitute victims, and the U.S. Attorney’s Office asked Knox to

          perform a similar review. That process resulted in seven potential victims being removed from

          the list. See id. ¶ 18.

                  Sixth, and finally, the government considered the size of the resulting victim list, and the

          distribution of the restitution amounts, to assess whether the methodology described above resulted

          in a restitution award that could be practically implemented. See 18 U.S.C. § 3663A(c)(3)

          (excepting restitution under the MVRA when the “number of identifiable victims is so large as to

          make restitution impracticable”). The methodology described above resulted in approximately

          19,500 victims with total losses of just under $60 million. The Stout team, at the request of the

          U.S. Attorney’s Office, then calculated the following alternative scenarios based on limiting the

          definition of a qualified victim-investor to individuals whose total losses exceeded certain

          thresholds. The results of those calculations are as follows:

                               Individual Victim-Investor       Total Victim-Investor   Total Victim-Investor
                                  Total Loss Threshold                 Losses                  Count
           Baseline                       $25 3                    $59,909,138.71              19,552
           Option #1                       $50                     $59,825,056.16              17,232
           Option #2                      $100                     $59,627,875.73              14,518
           Option #3                      $250                     $59,017,091.76              10,777
           Option #4                      $500                     $58,046,278.24               8,051


                  As the chart reflects, applying total loss thresholds between $50 and $500 materially

          decreases the number of victim-investors (up to approximately 59%) but results in relatively

          modest decreases in total losses (no greater than approximately 3%). Mindful of the resources

          required to implement a restitution award to tens of thousands of victims, the government believes




                  3
                  The $25 baseline threshold was applied on a per stock basis, rather than on a total losses
          basis. Options 1-4 are additional thresholds applied on a total losses basis.
                                                            6




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          that a fair and appropriate restitution methodology involves applying a $500 total loss threshold

          for each victim-investor. The government, accordingly, directed the Stout team to calculate

          individual restitution awards to victim-investors based on that total loss threshold. See Exh. A ¶

          18.

                                    ANTICIPATED RESTITUTION REQUEST

                  Based on the methodology described above, the government anticipates requesting

          restitution request in the amount of $58,046,278.24, to be awarded to 8,051 unique victims. See

          Schedule 2 to Exh. A (identifying individual victim investors by VNS number and associated

          losses by ticker and in total).

                  The government further anticipates requesting that the restitution award be ordered on a

          joint-and-several basis as to two of the stocks. First, as to the additional victims associated with

          the stock EPTI, the government anticipates requesting that the restitution award be issued on a

          joint-and-several basis with Morrie Tobin, defendant in United States v. Tobin et al., 18cr10444-

          NMG. In that matter, the Court ordered restitution of $1,908,583.26 to victims of the pump-and-

          dump of EPTI. The Stout team’s analysis identified four victims with additional losses of

          $4,333.60 related to EPTI. See Schedule 6 to Exh. A. Imposing restitution against Knox on a

          joint-and-several basis with Tobin as to these additional EPTI victims will enable the government

          to potentially seek to restore forfeited funds from Tobin to pay the additional EPTI losses.

                  Second, as to the victims associated with the stock ARSN (Schedule 4 to Exh. A), the

          government anticipates requesting that the restitution award be issued on a joint-and-several basis

          with Gregory Mark Bercowy, defendant in United States v. Bercowy, 19cr10047-DJC. In that

          matter, the Court ordered restitution in the amount of $3,334,009.08 to victims of the pump-and-

          dump of ARSN. To date, none of the restitution has been paid. To the extent restitution is paid in



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          that matter by defendant Bercowy, the government will ensure that appropriate credit is given

          toward the losses identified for victims in this matter.

                                  PLAN FOR IMPLEMENTATION OF AWARD

                 Per the Court’s direction, the government, in consultation with defense counsel, is

          working with the Clerk’s office to ensure that such a restitution award can be reasonably

          implemented without undue strain on the Clerk’s office’s resources. As part of that process, the

          government understands that the Clerk’s office is conferring with counterparts in other districts

          about how similar awards have been administered previously. The government is also

          determining what resources it can offer to assist the Clerk’s office in administering such a

          restitution award, including by consulting with the Department of Justice’s Money Laundering

          and Asset Recovery Section and the Executive Office of Unites States Attorneys. Because that

          effort and those discussions remain ongoing, with the goal of reaching a mutually agreeable

          procedure for administering such a restitution award, the government respectfully requests an

          additional 18 days to conclude that effort. The defendant, via defense counsel, assents to this

          request.

                 Once restitution is ordered, the government intends to submit a request to the Department

          of Justice’s Money Laundering and Asset Recovery Section to apply forfeited funds to

          restitution. As the Court is aware, the government has to date forfeited or is in the process of

          forfeiting over $10 million in this matter.




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                                                   CONCLUSION

                 For the reasons discussed above, the government respectfully proposes that the Court set a

          deadline of Friday, December 22, 2023, for the government to file a status report regarding its

          discussions with the Clerk’s office about reaching a mutually agreeable procedure for

          administering the restitution award and/or a final motion for restitution, as appropriate.



                                                                Respectfully submitted,

                                                                JOSHUA S. LEVY
                                                                Acting United States Attorney

                                                        By:     /s/ James R. Drabick
                                                                James R. Drabick
                                                                Carol E. Head
                                                                Assistant United States Attorneys
                                                                John Joseph Moakley Courthouse
                                                                One Courthouse Way, Suite 9200
                                                                Boston, Massachusetts 02210
                                                                Tel: (617) 748-3100
          Date: December 4, 2023                                james.drabick@usdoj.gov




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                                           CERTIFICATE OF SERVICE

                  I hereby certify that this document filed through the ECF system will be sent electronically
          to the registered participants as identified on the Notice of Electronic Filing (NEF) and copies will
          be sent to those indicated as non-registered participants.

                                                        /s/ James R. Drabick
                                                        James R. Drabick
                                                        Assistant United States Attorney
          Dated: December 4, 2023




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                                                                                                                                                                                                                        Schedule 3
        Restitution by OTC Ticker by Inflation Period


                                                                                                                Realized Loss
                                                                                                             Shares Sold After    Shares Sold After the
                                                                                         Shares Sold                                                                             Victim-          Restitution
        Schedule    Ticker           Blue Sheets                  Inflation                                Inflation Period For   Inflation Period For <       Unrealized
                                                                                                                                                                                                                                     Case: 24-1770




                                                                                        During Inflation                                                                        Investor          Previously          Total
         by VNS     Symbol           Data Range                    Period                                   > 90 Day Average      or = 90 Day Average            Loss
                                                                                            Period                                                                            Submissions         Awarded
                                                                                                                Share Price             Share Price
            4          ARSN    11/25/2015 to 09/30/2020 08/05/2016 to 08/23/2016     $        28,082.30     $       227,326.07    $        1,674,349.65    $            -     $         -     $           -      $ 1,929,758.02
            5          DIGAF   06/24/2016 to 08/07/2020 11/01/2016 to 12/13/2016             105,335.07            469,087.08               694,868.41          413,129.30              -                 -        1,682,419.86
            6          EPTI    02/28/2017 to 04/02/2018 05/31/2017 to 06/27/2017                3,050.00                   -                    952.36              985.94              -             (654.70)         4,333.60
            7          FTWS    10/23/2015 to 11/30/2020 09/06/2016 to 11/30/2016             508,569.59         1,068,874.40              4,741,794.63         2,638,642.20             -                 -        8,957,880.82
            8          GRMX    09/23/2016 to 06/28/2019 03/14/2017 to 04/28/2017             549,099.94            817,439.23             3,269,309.60                  -            16.00                -        4,635,864.77
            9          KOVR    03/14/2016 to 06/27/2019 07/17/2017 to 07/27/2017                5,695.60           591,645.46             1,519,404.90         4,076,869.20    102,448.00                 -        6,296,063.16
           10          NEXS    09/11/2015 to 06/27/2019 08/10/2016 to 10/21/2016             198,919.86             70,272.61               857,029.67          418,114.37              -                 -        1,544,336.51
           11          NEXS    09/11/2015 to 06/27/2019 05/04/2017 to 05/22/2017              42,276.40             35,979.35               192,793.56          717,955.56              -                 -         989,004.87
           12          OLMM    06/23/2017 to 01/10/2020 01/12/2018 to 03/09/2018             202,544.12            781,859.23               307,806.29         1,578,494.86             -                 -        2,870,704.50
           13          OLMM    06/23/2017 to 01/10/2020 08/31/2018 to 10/01/2018              11,309.16              1,788.88                 3,712.15          191,735.85              -                 -         208,546.04
           14          ORRP    02/24/2016 to 03/01/2019 06/07/2016 to 09/15/2016           2,591,696.15            531,021.05             3,628,133.23                  -               -                 -        6,750,850.43
           15          PSCR    08/22/2016 to 06/26/2019 12/14/2016 to 01/27/2017             361,614.32            973,911.38             1,144,132.19         1,306,189.15             -                 -        3,785,847.04
                                                                                                                                                                                                                                     Document: 00118249068




           16          PSNX    06/23/2015 to 08/31/2018 03/09/2016 to 05/16/2016              28,177.22             20,392.44               211,392.51                  -               -                 -         259,962.17
           17          RETC    06/27/2017 to 01/02/2020 06/27/2017 to 07/31/2017             760,031.87         2,379,385.73              2,191,270.28         1,553,189.22       91,557.00               -        6,975,434.10
           18          SPRN    11/11/2014 to 04/13/2018 03/02/2017 to 03/10/2017             156,654.11            264,971.09               206,293.62                  -               -                 -         627,918.82
           19          STVA    08/04/2017 to 12/06/2017 08/17/2017 to 09/21/2017           1,946,831.47            419,613.70               376,891.40         1,831,825.99             -                 -        4,575,162.56
           20          TTSI    10/24/2017 to 02/25/2019 10/24/2017 to 11/16/2017              75,285.63             38,627.41                23,770.69                  -               -                 -         137,683.73
           21          UMFG    08/16/2016 to 02/01/2019 12/12/2017 to 02/09/2018                     -                     -                 67,856.16          390,900.23        80,189.00               -         538,945.39




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                                                                                                                                                                                                                                     Page: 109




           22          VBIO    03/05/2012 to 01/13/2021 11/29/2016 to 06/13/2017           1,591,568.05            345,471.97             1,209,345.61         1,507,238.96             -                 -        4,653,624.59
           23          VBIO    03/05/2012 to 01/13/2021 10/04/2017 to 11/20/2017              87,939.88             13,360.69               119,605.97           24,541.06              -                 -         245,447.60
           24          VBIO    03/05/2012 to 01/13/2021 06/06/2018 to 09/04/2018              91,207.63             70,065.86               156,869.45           58,346.72              -                 -         376,489.66

                                                                                    $      9,345,888.37    $    9,121,093.63      $     22,597,582.33      $ 16,708,158.61    $ 274,210.00    $       (654.70) $ 58,046,278.24

        Note: See Petron December 1, 2023 Declaration for explanation and description of calculation for each column.
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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS



           SECURITIES AND EXCHANGE
           COMMISSION,                                        Civil Action No. 21-CV-11276 (WGY)
                               Plaintiff,
               v.

           FREDERICK L. SHARP, ZHIYING
           YVONNE GASARCH, COURTNEY
           KELLN, MIKE K. VELDHUIS, PAUL
           SEXTON, JACKSON T. FRIESEN,
           WILLIAM T. KAITZ, AVTAR S.
           DHILLON, and GRAHAM R. TAYLOR,

                                         Defendants.


                                      DECLARATION OF RYAN MURPHY

                 I, Ryan Murphy, pursuant to 28 U.S.C. §1746, hereby declare as follows:

                1.      Since January 2020, I have been employed as an Enforcement Accountant with the

         U.S. Securities and Exchange Commission (“the Commission”) in its Boston Regional Office.

         My duties include conducting investigations relating to potential violations of the federal

         securities laws.

                2.      I received a Bachelor of Science degree in accounting and business administration,

         with a concentration in finance, from the University of Richmond in Virginia in 2009. Before

         joining the Commission, I was most recently a managing director in the forensic accounting and

         complex business litigation practice at StoneTurn, in Boston, where I worked for over ten years.

                3.      I am a Certified Public Accountant in the Commonwealth of Massachusetts and

         the State of New York. I am also Certified in Financial Forensics by the American Institute of

         Certified Public Accountants.




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                4.      I make this Declaration based upon my personal knowledge and upon information

         and belief as set forth below, and in support of the Commission’s Motion for Remedies Against

         defendants Mike Veldhuis, Paul Sexton, Jackson Friesen, Courtney Kelln and Zhiying Yvonne

         Gasarch (collectively, “Defendants”). I have submitted several prior declarations in this case and

         I testified at trial in support of the Commission’s claims.

         Disgorgement Calculations

                5.      I have been asked by counsel for the Commission to calculate, based on the

         information presently available to the Commission, the net proceeds that each of the Defendants

         received as a result of the trading described in the Complaint.

                6.      To do this analysis, I reviewed the Q system, which was the accounting system

         developed and maintained by Sharp and his employees to record clients’ trades, the fees and

         commissions that the Sharp Group earned on those trades, the distributions of the proceeds of

         those trades, and other adjustments reflecting allocations and transfers of proceeds originating

         from the conduct described in the Complaint. For each of the Defendants, I focused on the

         proceeds of the Sharp Groups’ securities trading that was deposited into their personal accounts in

         the Q system during the 10 years before the filing of the Complaint in this case. That means the

         time period I used was from August 5, 2011 to mid-2019 (which is the most recent data in the Q

         system that is available to the Commission).

                7.      From my review of numerous documents in this case, I understand that the

         following Q accounts are the personal accounts of each of the Defendants:

               Personal Q Accounts                   Defendant                          Exhibit
          ACCO/ACC1                                  Veldhuis          Excerpt of Trial Ex. 282 (attached
                                                                       hereto as Ex. 1)
          HEAR                                       Sexton            Excerpt of Trial Ex. 282 (attached
                                                                       hereto as Ex. 2)



                                                            2




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                     Personal Q Accounts              Defendant                      Exhibit
          GARD                                       Friesen        Excerpt of Trial Ex. 282 (attached
                                                                    hereto as Ex. 3); different format in
                                                                    Trial Ex. 311
          CELT/CEL1 (accounts changed                Kelln          Excerpt of Trial Ex. 282 (attached
          names to ESQ/ESQ1 in January 2015)                        hereto as Ex. 4)
          PEAC/PERE                                  Gasarch        Trial Ex. 312
          (account changed names from PEAC
          to PERE in January 2014)


                8.        Within the relevant 10-year time period, I identified entries which transferred

         value within the Q system between the Defendants’ accounts and other accounts on the Q system.

         These inter-account transfers are processed through a specific account code called WORK and

         they show where the Defendants’ accounts received income (credits) from specific deal proceeds,

         or from fees or commissions charged by the Sharp Group for its services. These inter-account

         transfers also reflect withdrawals (debits) of value where, for example, some of those payments

         are reversed or one Defendant transfers funds to another Defendant’s account.

                9.       The inter-account transfers affecting the Defendants’ personal Q accounts were

         denominated in multiple currencies, most often United States dollars and Canadian dollars. I

         downloaded the historical daily foreign exchange rates from the Federal Reserve website

         (https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H10) to calculate the daily U.S.

         dollar value for each transaction on the day it actually happened.

                10.      The table below summarizes my calculation of the sums that were received into

         Veldhuis’ ACCO account from the trading proceeds in any of the Fourteen Issuers’ Q accounts

         for each year from 2011 through 2019 (2011 data was limited to August 5, 2011 – December 31,

         2011). This data indicates that Veldhuis’ net proceeds from the trading in these Fourteen Issuers’

         shares was $13,289,897.




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                                             Transfers Into Veldhuis Account – ACCO
              Issuer
                               2011        2012         2013         2014        2015        2017        2018        Total
              Account
              Arch                                    $1,300,000     $30,000    $129,000     $37,500                $1,496,500
              Therapeutics
              Echo                                    $5,275,000                                                    $5,275,000
              Automotive
              Graphite                                  $50,000                                                        $50,000
              StartMonday                                                                   $281,027                 $281,027
              Liberty One                                                                   $195,000                 $195,000
              Makism 3D                                $695,000     $621,950                                        $1,316,950
              Newgen                                                                        $120,500                 $120,500
              Biopharma
              Oncosec                     $364,000                                                                   $364,000
              Oryon                       $175,821                                                                   $175,821
              Technologies
              Rightscorp                                            $125,000                                         $125,000
              Stevia Corp.    $250,000      $80,000     $95,000     $395,850                                         $820,850
              Stevia First               $1,892,250                  $15,000                                        $1,907,250
              Vitality                                                                      $822,000    $340,000    $1,162,000
              Biopharma
              ACCO Totals     $250,000   $2,512,071   $7,415,000   $1,187,800   $129,000   $1,456,027   $340,000   $13,289,897



                   11.       There are numerous communications, using the xphone and xmail platforms

         maintained by the Sharp Group, in which Veldhuis requested funds from his ACCO account to be

         spent in various ways. Examples of such communications are attached as Exhibits 5-8 hereto.

         Exhibits 5 and 6 show Veldhuis’ requests to Gasarch for cash that he withdrew from his ACCO

         account. Exhibit 7 shows Veldhuis’ request to Gasarch for a $5,000 Canadian dollar check to an

         entity named Greenstone Ski Vacations from the funds in his ACCO account as part of a loan he

         was taking from the Sharp Group. Exhibit 8 shows Veldhuis’ request to Gasarch for a check to an

         entity named Blackstone Capital Partners, another entity that Veldhuis controlled. For each of

         these Exhibits 5-8, I have confirmed that the dispositions of funds requested by Veldhuis in the

         communications are reflected accurately as debits to the ACCO account in the Q system. 1




          1
            The ACCO, HEAR and GARD account statements contain two columns, one entitled “Cash Bank” and another
          entitled “Cash Acct.” The difference between these two columns is the fees and commissions that the Sharp Group
          charged to its clients for its services. In some instances, the amounts recorded in the “Cash Bank” column also
          include bank fees, wire fees or brokerage fees charged by the underlying financial institution.


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                 12.      The table below summarizes my calculation of the sums that were received into

         Sexton’s HEAR account from the trading proceeds in any of the Fourteen Issuers’ Q accounts for

         each year from 2011 through 2019 (2011 data was limited to August 5, 2011 – December 31,

         2011). This data indicates that Sexton’s net proceeds from the trading in these Fourteen Issuers’

         shares was $17,367,474.

                                            Transfers Into Sexton Account – HEAR
            Issuer Account      2011     2012          2013        2014        2015       2017       2018         Total
           Arch Therapeutics                        $1,300,000     $60,000    $258,100    $37,500               $1,655,600

           Echo Automotive                          $5,275,000                                                  $5,275,000
           Graphite                                 $1,100,000                                                  $1,100,000
           Makism 3D                                 $745,000     $342,950                                      $1,087,950
           Newgen                                                                        $100,000                $100,000
           Biopharma
           Oncosec                      $269,500                                                                 $269,500
           Oryon                        $100,000                                                                 $100,000
           Technologies
           Rightscorp                                             $250,000                                       $250,000
           Stevia Corp.                 $845,833     $115,666    $1,022,425                                     $1,983,924
           Stevia First                $4,297,750                   $85,750                                     $4,383,500
           Vitality Biopharma                                                            $822,000   $340,000    $1,162,000
           HEAR Totals                 $5,513,083   $8,535,666   $1,761,125   $258,100   $959,500   $340,000   $17,367,474



                 13.      There are numerous communications using the xphone and xmail systems in which

         Sexton requested funds from his HEAR account to be spent in various ways. Examples of such

         communications are attached as Exhibits 9-13 hereto. Exhibits 9 and 10 show Sexton’s requests

         to Gasarch for cash that he withdrew from his HEAR account. Exhibits 11 and 12 show Sexton’s

         requests to Gasarch to make mortgage payments on his property at 77812 Cottonwood Cove in

         Indian Wells, CA. Exhibit 13 shows Sexton’s requests to Gasarch to make payments to other

         entities out of his HEAR account. For each of these Exhibits 9-13, I have confirmed that the

         dispositions of funds requested by Sexton in the communications are reflected accurately as debits

         to the HEAR account in the Q system.

                 14.      The table below summarizes my calculation of the sums that were received into

         Friesen’s GARD account from the trading proceeds in any of the Fourteen Issuers’ Q accounts for

                                                                   5




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         each year from 2011 through 2019 (2011 data was limited to August 5, 2011 – December 31,

         2011). This data indicates that Friesen’s net proceeds from the trading in these Fourteen Issuers’

         shares was $11,846,176.

                                           Transfers Into Friesen Account – GARD
                Issuer
                            2011        2012         2013         2014        2015       2017       2018        Total
              Account
           Arch                                    $1,300,000     $30,000    $129,000    $37,500               $1,496,500
           Therapeutics
           Echo                                    $5,275,000                                                  $5,275,000
           Automotive
           Graphite                                  $50,000                                                      $50,000
           Makism 3D                                $695,000     $511,950       $194                           $1,207,144
           Newgen                                                                       $100,000                $100,000
           Biopharma
           Oncosec                     $364,000                                                                 $364,000
           Oryon                       $100,000                                                                 $100,000
           Technologies
           Rightscorp                                            $125,000                                       $125,000
           Stevia Corp.    $250,000      $80,000     $95,000     $370,282                                       $795,282
           Stevia First               $1,892,250                 $125,000                                      $2,017,250
           Vitality                                                                     $196,000   $120,000     $316,000
           Biopharma
           GARD Totals     $250,000   $2,436,250   $7,415,000   $1,162,232   $129,194   $333,500   $120,000   $11,846,176



                15.       There are numerous communications using the xphone and xmail systems in which

         Friesen requested funds from his GARD account to be spent in various ways. Examples of such

         communications are attached as Exhibits 14-19 hereto. In Exhibits 14 and 15 (which were also

         Trial Exhibits 101 and 133), Friesen asked Gasarch for cash to be charged to his GARD account.

         In Exhibit 16, Friesen requested that $200,000 Canadian dollars from his GARD account be used

         to purchase shares in a company named Isodiol. In Exhibit 17, Friesen requested that his

         girlfriend’s tuition be paid from his GARD account. In Exhibits 18 and 19, Friesen directed

         Gasarch to send money to other companies he controls, named Ardent Strategies and Ferrous

         Capital. For each of these Exhibits 14-19, I have confirmed that the dispositions of funds

         requested by Friesen in the communications are reflected accurately as debits to the GARD

         account in the Q system.



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                16.     There are numerous sources of additional documentation that confirm

         disbursements from Friesen’s GARD account for his benefit. Examples include: 1) bank account

         statements from the banks used to make distributions to Friesen’s companies Ferrous Capital and

         Ardent Strategies from Friesen’s GARD account (see Exhibit 20); 2) documentation concerning

         Friesen’s purchase of real estate in Sun Peaks, British Columbia using a company named Valley

         Drive Estates Inc. that Sharp incorporated for him and that Friesen purchased through a lawyer

         named Donald Gurney with funds sent from his GARD account in March 2013 (see Exhibit 21);

         and 3) documents concerning Blacklight’s funding of Friesen’s girlfriend’s tuition employing a

         line of credit agreement that Gasarch asked him to sign and using funds from his GARD account

         (see Exhibit 22). For each of these Exhibits 20-22, I have confirmed that the dispositions of funds

         shown in these documents are reflected accurately as debits to the GARD account in the Q

         system.

                17.     There are numerous communications in which Kelln discussed her role in

         transferring shares into names of Sharp Group nominees and brokerage accounts, and the overall

         role that she played in the Sharp Group’s work. Examples of such communications are attached

         as Exhibits 23-26 hereto. The top message in Exhibit 26 (which was Trial Ex. 173) was written

         by Kelln. See Trial Exhibit 233 (reference to Objected To Exhibit GJ).

                18.     For each of the transactions that Kelln performed for Sharp Group clients, whether

         depositing clients’ shares, sending clients’ shares to a transfer agent, or performing other services,

         the Sharp Group typically charged a fee to its client. Based on my review of the Q system, I see

         that a portion of that fee was often transferred directly to Kelln’s personal accounts in the Q

         system and a portion of that fee was also often transferred to Sharp’s BOND account in the Q

         system. I have calculated that, between August 5, 2011 and May 11, 2019, Kelln’s Q accounts



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         received a total of USD $1,191,515 in fees and commissions from her services to Sharp Group

         clients. Kelln’s Q account received funds in both U.S. dollars and Canadian dollars. Using

         historical foreign exchange rates published by the U.S. Federal Reserve, I have calculated the

         U.S. dollar equivalent of Canadian dollar transactions as of the batch date listed in the Q system

         for each transaction. This sum of $1,191,515, as shown in the chart below, is the total amount in

         U.S. dollars that Kelln received in fees and commissions from Sharp Group clients between

         August 5, 2011 and May 11, 2019.

                  19.       In addition, Kelln received separate Christmas bonuses from Sharp (that were

         ultimately derived from fees that Sharp Group clients paid to Sharp for the services of the Sharp

         Group). These Christmas bonuses for years 2013 through 2018 were deposited to Kelln’s Q

         accounts in Canadian dollars that were the equivalent of $391,271 U.S. dollars. As described

         above, I calculated the U.S. dollar equivalent of Canadian dollar transactions as of the batch date

         listed for each such transaction.

                          Transfers Into Kelln Account – CELT/CEL1 (changed name to ESQ/ESQ1)
            Description     2011       2012      2013         2014       2015       2016       2017      2018      2019      Total
           Commissions     $40,006   $218,227   $343,089    $194,984    $99,466   $124,950   $109,174   $59,819   $1,800   $1,191,515

           Christmas                             $94,393     $69,001    $72,067    $74,968    $62,276   $18,565             $391,271
           Bonuses
           Total           $40,006   $218,227   $437,482    $263,985   $171,533   $199,918   $171,450   $78,382   $1,800   $1,582,785
           Disgorgement



                  20.       This data indicates that Kelln’s net proceeds from her services to Sharp Group

         clients in furtherance of their illegal trading is $1,582,785.

                  21.       After receiving these deposits, Kelln then withdrew funds from her Q personal

         accounts, primarily in cash, but sometimes by checks made payable to herself, her spouse, or

         vendors to whom she owed money, such as her doctor and her mortgage company. Examples of

         Kelln’s withdrawals of funds from her Q accounts are attached hereto as Exhibits 27-30. I have



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         confirmed that each of these withdrawals discussed in Exhibits 27-30 are reflected accurately as

         debits to Kelln’s personal Q accounts in the Q system.

                  22.     The Commission’s disgorgement calculation for Gasarch is based on the sums that

         she received into her personal Q account, the PEAC/PERE account, as a result of her participation

         in the overall scheme perpetrated by the Sharp Group. Unlike Kelln, who received a direct

         portion of the fees and commissions that the Sharp Group charged its clients on a transaction-by-

         transaction basis, Gasarch received a monthly allocation from Sharp out of all the Sharp Group’s

         fees that were paid to Sharp’s Q system account (the BOND account). These internal transfers

         from the BOND account through the WORK account (the Q system account used to facilitate

         inter-account transfers) were described in the Q system data typically as commissions, Christmas

         bonuses, or internal transfers. See Trial Ex. 312. The chart below summarizes the net transfers

         into Gasarch’s personal Q account via the WORK account. In addition, the calculation accounts

         for a debit to her Q account that appears to be a correction removing some of the commissions

         that her Q account received.

                                           Transfers Into Gasarch Account – PEAC/PERE
            Description    2011       2012       2013       2014        2015        2016       2017       2018      2019       Total
           Commissions    $91,311   $334,380   $299,790   $249,089    $202,403    $175,103   $155,663    $72,641    $3,454    $1,583,832

           Christmas                            $94,393   $103,057    $108,100     $74,968    $77,845    $51,983               $510,347
           Bonuses
           Internal                               $596      $2,660          $24      $227     $25,821              $185,842    $215,170
           Transfer
           Other                                            $3,806      $2,663        $415              $206,984     ($849)    $213,018
           Total          $91,311   $334,380   $394,778   $358,612    $313,189    $250,713   $259,329   $331,608   $188,447   $2,522,367
           Disgorgement



                  23.     These totals are slightly different from the figures showing Gasarch’s net profits

         that I presented to the jury in Trial Exhibit 314. The difference results from the fact that, in Trial

         Exhibit 314, I deducted from Gasarch’s net profits two debits to her Q system accounts (one in

         the amount of $200 in 2014 and another in the amount of $1,000 in 2016). On further review,

         these sums are recorded in the Q system as donations that were transferred to another internal Q

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          account. I have thus included those funds as within the Commission’s disgorgement calculation,

          which results in a disgorgement amount $1,200 higher than the amount presented in Trial Exhibit

          314. The Commission thus seeks a total of $2,522,367 in disgorgement from Gasarch.

                  24.     After receiving these deposits into her Q account, Gasarch then withdrew funds

          from her personal Q accounts, primarily in cash, but sometimes through payments to herself, her

          relatives, or vendors from whom she was purchasing goods or services. One example of Gasarch

          directing payments to her insurance company is Trial Exhibit 287, which Knox testified was sent

          to his company by Gasarch. Another example of Gasarch’s withdrawal of funds from her Q

          accounts is attached hereto as Exhibit 32. In this instance, Gasarch transferred funds from her Q

          account to an entity she jointly owned with her husband named W&B Riding Club at Assunpink

          WNA LLC, and which has its address at her home address. I have confirmed that each of these

          withdrawals are reflected accurately as debits to Gasarch’s personal Q account in the Q system.

          In addition, multiple withdrawals from Gasarch’s personal Q account were made by check or wire

          to herself, her husband, or her relatives, including the following examples of withdrawals:

                                      Account from
                                                                                      Amount in     Amount in
         Batch ID       Batch Date    which Funds           Batch Description
                                                                                        USD           CAD
                                     were withdrawn
          29257           3/9/2012       TDQB                Yvonne ck #1572                             $8,000
          30930          4/11/2012       TDQB            Draft to Yvonne ck #1671                       $7,007.50
          32764          5/17/2012        SIL2              Bruce Gasarch TT          $10,021.93
          36217          7/30/2012       TDQB               Zhi Ying ck #1932                            $2,000
          36580           8/1/2012       TDQB                Yvonne ck #1939                             $5,000
          37868           9/5/2012       TDQB                Yvonne ck #2016                             $4,000
          39525          10/5/2012       TDQB                Yvonne ck #2125                            $10,000
          42418          12/6/2012        BSIT                    Chen TT              $3,015
          42648         12/13/2012       BMQB                Zhiying ck #288                            $10,000
          44541          1/25/2013        BSIT                   Yvonne TT                               $9,050
          45225           2/4/2013        SIL2                  Gasarch TT            $9,553.46


          See Trial Exhibit 312. Based on my familiarity with the Q system, I am aware that TDQB is the

          account code for the Quarry Bay account at Toronto Dominion Bank, and SIL2 is the account

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          code for the Morris Capital account at BSI SA in Switzerland, and BSIT is the account code for

          the Tandem Growth account at BSI SA in Switzerland. Exhibit 31 contains documents produced

          to the Commission by BSI SA that corroborate these wires that were sent through BSI accounts.

          TT is an abbreviation that means telegraphic transfer, another name for a wire transfer. Chen is

          Gasarch’s maiden name, and Zhiying is her first name.

         Prejudgment Interest

                 25.    Counsel for the Commission asked me to calculate prejudgment interest for

         Defendants using their net proceeds listed above as disgorgement amounts. I calculated

         prejudgment interest on Defendants’ net proceeds for each calendar year separately, assuming

         (favorably to Defendants) that each year’s net profit was received on the last day of the year in

         which it was received in the Defendants’ personal Q accounts. The ending date for the

         prejudgment interest calculation was July 31, 2021 (the last day of the month before the

         Commission sought and obtained the asset freeze in this case). I calculated prejudgment interest

         using the standard calculation tool established by the Commission, which applies the interest rate

         used by the Internal Revenue Service for underpayments, which changes quarterly, and which

         compounds interest quarterly.

                 26.    The chart below shows the details of my prejudgment interest calculations, and

         combines prejudgment interest with the disgorgement amount for each calendar year.

                 27.    Detailed calculations showing of the prejudgment interest amounts for each year

         are included as Exhibit 33 to this declaration.




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                         2011         2012          2013         2014        2015       2016        2017        2018       2019          Total

         Veldhuis       250,000     $2,512,071   $7,415,000    $1,187,800   $129,000     $0       $1,456,027   $340,000     $0        $13,289,897
       Disgorgement
       Veldhuis PJI     $106,768     $967,277    $2,552,744    $361,901     $34,348      $0       $250,819     $40,174      $0        $4,314,031

         Veldhuis       $356,768    $3,479,347   $9,967,744    $1,549,701   $163,348     $0       $1,706,845   $380,174     $0        $17,603,928
          Total
          Sexton             $0     $5,513,083   $8,535,666    $1,761,125   $258,100     $0       $959,500     $340,000     $0        $17,367,474
       Disgorgement
        Sexton PJI           $0     $2,122,821   $2,938,553    $536,587     $68,724      $0       $165,286     $40,174      $0        $5,872,145

       Sexton Total          $0     $7,635,904   $11,474,219   $2,297,712   $326,824     $0       $1,124,786   $380,174     $0        $23,239,619

          Friesen       $250,000    $2,436,250   $7,415,000    $1,162,232   $129,194     $0       $333,500     $120,000     $0        $11,846,176
       Disgorgement
        Friesen PJI     $106,768     $938,082    $2,552,744    $354,114     $34,400      $0        $57,449     $14,179      $0        $4,057,737

       Friesen Total    $356,768    $3,374,332   $9,967,744    $1,516,346   $163,594     $0       $390,949     $134,179     $0        $15,903,913

           Kelln        $40,006      $218,227     $437,482     $263,985     $171,533   $199,918   $171,450     $78,384     $1,800     $1,582,785
       Disgorgement
         Kelln PJI      $17,085      $84,029      $150,611      $80,432     $45,674    $43,954     $29,534      $9,262     $106        $460,687

        Kelln Total     $57,091      $302,256     $588,093     $344,417     $217,207   $243,872   $200,984     $87,646     $1,906     $2,043,472

         Gasarch        $91,311      $334,380     $394,778     $358,612     $313,189   $250,713   $259,329     $331,608   $188,447    $2,522,367
       Disgorgement
        Gasarch PJI     $38,996      $128,753     $135,909     $109,264     $83,392    $55,122     $44,673     $39,183    $11,074      $646,366

         Gasarch        $130,307     $463,133     $530,688     $467,876     $396,581   $305,835   $304,001     $370,790   $199,521    $3,168,733
          Total




           Fourteen Issuers’ Trading Prices

                       28.        As described in Trial Exhibit 307, I calculated that Veldhuis, Sexton and Friesen,

           working together, generated trading proceeds of over $144 million from selling the shares of the

           Fourteen Issuers.

                       29.        In connection with my analysis of this trading, I reviewed the historical trading

           prices of the Fourteen Issuers’ shares during the periods of time of the sales shown in Trial Ex.




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         307. During those time periods, the Fourteen Issuers’ shares generally traded under $5.00 per

         share.

         Civil Penalty Calculations

                   30.   Counsel for the Commission asked me to calculate civil penalties based on the

         number of the Fourteen Issuers’ shares that Veldhuis, Sexton, and Friesen, working together

         traded during the time period of August 5, 2016 to August 5, 2021 (the period of time five years

         before the filing of the Complaint in this case). I determined that during that time period,

         Veldhuis, Sexton and Friesen traded the securities of seven of the Fourteen Issuers: Stevia

         First/Vitality, Arch Therapeutics, Liberty One Lithium, NewGen Biopharma, StartMonday

         Technology Corp., Lexington Biosciences, and BreathTec Biomedical. I thus multiplied 7 by

         $223,229 (the applicable third-tier penalty amount) for a total of $1,562,603 in civil penalties for

         each of Veldhuis, Sexton and Friesen.

                   31.   Counsel for the Commission asked me to calculate civil penalties for Kelln and

         Gasarch related to the number of securities law violations for which each of them is liable. For

         Kelln, I made the following calculation:

                            Violation                           Corresponding Civil Penalty Amount
          Securities Act Section 17(a)(1)                                           $223,229 (third-tier)
          Exchange Act Section 10(b)                                                $223,229 (third-tier)
          Aiding and Abetting Securities Act violations                             $223,229 (third-tier)
          Aiding and Abetting Exchange Act violations                               $223,229 (third-tier)
          Securities Act Section 5                                                    $11,162 (first-tier)
          Total                                                                                $904,078


         For Gasarch, I made the following calculation:

                            Violation                           Corresponding Civil Penalty Amount
          Aiding and Abetting Securities Act violations                             $223,229 (third-tier)
          Aiding and Abetting Exchange Act violations                               $223,229 (third-tier)
          Securities Act Section 17(a)(3)                                        $111,614 (second-tier)
          Total                                                                                $558,072

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                 I declare under penalty of perjury under the laws of the United States of America that the

          foregoing is true and correct.


                 Executed on December 8, 2023, in Boston, Massachusetts.




                                                              Ryan Murphy




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                                                                  Case 1:21-cv-11276-WGY                    Document 427-1                            Filed 12/08/23                        Page 1 of 25                                          EXHIBIT
        ACCO / ACC1 Q Account Detail
                                                                                                                                                                                                                                                      1

         Account    Account    Batch      Batch      Bank                                      Symbol                                     Batch                      Transaction       Currency   Cash Bank        Cash Acct      Cash Acct        Cash Acct
                                                             Symbol                                          Stock
          Code       Title      ID         Date      Code                                     Description                              Description                   Description        Code      (in Curr)         (USD)          (CAD)            (EUR)
        ACCO       ACCO            105    9/3/2010 BCOA                                                                Imported Balance                        debit                  CAD                   -              -        (20,250.00)             -
        ACCO       ACCO            199    9/3/2010 WORK                                                                Imported Balance                        debit                  USD                   -       (34,608.67)            -                -
                                                                                                                                                                                                                                                                   Case: 24-1770




        ACCO       ACCO            300    9/3/2010 WORK                                                                Imported Balance                        debit                  CAD                   -              -           (452.09)             -
        ACCO       ACCO            332    9/3/2010 WORK                                                                Imported Balance                        credit                 EUR                   -              -               -          10,134.86
        ACCO       ACCO            373    9/3/2010 BQUA                                                                Imported Balance                        credit                 CAD                   -              -         21,900.12              -
        ACCO       ACCO            576    9/3/2010 BSIT                                                                Imported Balance                        debit                  USD                   -       (35,394.83)            -                -
        ACCO       ACCO            577    9/3/2010 BSIT                                                                Imported Balance                        credit                 CAD                   -              -         36,071.79              -
        ACCO       ACCO            630    9/3/2010 BSIT     AAPH      American Petro-Hunter                    67,000 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO            719    9/3/2010 BSIT     FEWP      Far East Wind Power                      28,000 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO            744    9/3/2010 CASH                                                                Imported Balance                        debit                  CAD                   -              -        (57,924.99)             -
        ACCO       ACCO            751    9/3/2010 CASH                                                                Imported Balance                        debit                  USD                   -       (32,025.00)            -                -
        ACCO       ACCO            903    9/3/2010 DGMN                                                                Imported Balance                        credit                 CAD                   -              -          3,956.55              -
        ACCO       ACCO            941    9/3/2010 DGMN                                                                Imported Balance                        credit                 USD                   -         2,546.29             -                -
        ACCO       ACCO            954    9/3/2010 DGMN     AAPH      American Petro-Hunter                   369,000 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO            967    9/3/2010 DGMN     EDE       Edge Resources                           32,300 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO           1016    9/3/2010 DGMN     UVFT      UV Flu                                  250,000 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO           1042    9/3/2010 DGMI                                                                Imported Balance                        credit                 USD                   -        11,468.75             -                -
        ACCO       ACCO           1095    9/3/2010 DGPR                                                                Imported Balance                        credit                 USD                   -         4,600.00             -                -
        ACCO       ACCO           1106    9/3/2010 DGPR     AAPH      American Petro-Hunter                    (7,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1145    9/3/2010 FCCN                                                                Imported Balance                        credit                 USD                   -        64,072.59             -                -
        ACCO       ACCO           1183    9/3/2010 FCCN     AAPH      American Petro-Hunter                   (96,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1201    9/3/2010 FCCN     UVFT      UV Flu                                  (40,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1215    9/3/2010 FINC                                                                Imported Balance                        credit                 USD                   -        18,795.36             -                -
        ACCO       ACCO           1251    9/3/2010 FINC     UVFT      UV Flu                                  (25,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1255    9/3/2010 FINC     AAPH      American Petro-Hunter                   (40,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1328    9/3/2010 GGSB                                                                Imported Balance                        credit                 USD                   -         3,326.41             -                -
                                                                                                                                                                                                                                                                   Document: 00118249068




        ACCO       ACCO           1354    9/3/2010 GGSB     UVFT      UV Flu                                  (10,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1390    9/3/2010 JCIT                                                                Imported Balance                        credit                 USD                   -        50,963.38             -                -
        ACCO       ACCO           1414    9/3/2010 JCIT     AAPH      American Petro-Hunter                   (40,500) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1422    9/3/2010 JCIT     UVFT      UV Flu                                  (25,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1445    9/3/2010 LGTC                                                                Imported Balance                        debit                  USD                   -       (12,143.46)            -                -
        ACCO       ACCO           1510    9/3/2010 PATH                                                                Imported Balance                        credit                 USD                   -         6,202.26             -                -
        ACCO       ACCO           1540    9/3/2010 PATH     EDE       Edge Resources                          (32,300) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1586    9/3/2010 RANQ                                                                Imported Balance                        debit                  EUR                   -              -               -         (10,134.86)
        ACCO       ACCO           1589    9/3/2010 RANQ                                                                Imported Balance                        debit                  USD                   -       (85,905.51)            -                -
        ACCO       ACCO           1642    9/3/2010 RANQ                                                                Imported Balance                        credit                 CAD                   -              -         45,019.39              -
        ACCO       ACCO           1723    9/3/2010 RANQ     AEE       Anatolia Energy                         178,533 Imported Holdings                        corporate action in                          -              -               -                -




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                                                                                                                                                                                                                                                                   Page: 124




        ACCO       ACCO           1725    9/3/2010 RANQ     EDE       Edge Resources                           40,000 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO           1726    9/3/2010 RANQ     CPAH      Counterpath                              62,500 Imported Holdings                        corporate action in                          -              -               -                -
        ACCO       ACCO           1925    9/3/2010 LESH                                                                Imported Balance                        credit                 USD                   -        52,316.70             -                -
        ACCO       ACCO           1948    9/3/2010 LESH     AAPH      American Petro-Hunter                  (148,294) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           1969    9/3/2010 LESH     UVFT      UV Flu                                  (10,000) Imported Holdings                       corporate action out                         -              -               -                -
        ACCO       ACCO           2014    9/3/2010 TDQB                                                                Imported Balance                        debit                  CAD                   -              -        (36,722.39)             -
        ACCO       ACCO           2019    9/3/2010 TDQB                                                                Imported Balance                        debit                  USD                   -        (9,982.88)            -                -
        ACCO       ACCO           2118    9/3/2010 VERL                                                                Imported Balance                        credit                 CAD                   -              -          9,101.63              -
        ACCO       ACCO           2149    9/3/2010 XPHO                                                                Imported Balance                        debit                  CAD                   -              -           (700.00)             -
        ACCO       ACCO           2245    9/3/2010 LESH     UVFT      UV Flu                                  (10,000) sell stock                              sell stock             USD              3,201.19       3,101.19             -                -
        ACCO       ACCO           2345    9/8/2010 GGSB     UVFT      UV Flu                                  (10,000) sell stock                              sell stock             USD              3,133.08       3,033.08             -                -
        ACCO       ACCO           2337    9/8/2010 CASH                                                                debit                                   debit                  USD             (2,000.00)     (2,100.00)            -                -
        ACCO       ACCO           2392    9/9/2010 GGSB     UVFT      UV Flu                                  (10,000) sell stock                              sell stock             USD              3,141.06       3,041.06             -                -
        ACCO       ACCO           2434   9/10/2010 CASH                                                                debit                                   debit                  CAD             (7,500.00)           -         (7,875.00)             -
        ACCO       ACCO           2560   9/14/2010 RANQ                                                                forex                                   forex debit            USD             (7,710.01)     (7,787.11)            -                -
        ACCO       ACCO           2560   9/14/2010 RANQ                                                                forex                                   forex credit           CAD              7,875.00            -          7,875.00              -
        ACCO       ACCO           2647   9/15/2010 GGSB     UVFT      UV Flu                                  (10,000) sell stock                              sell stock             USD              2,816.19       2,716.19             -                -
        ACCO       ACCO           2554   9/16/2010 BSIT     UVFT      UV Flu                                  (15,500) sell stock                              sell stock             USD              4,977.14       4,852.71             -                -
        ACCO       ACCO           2675   9/16/2010 CASH                                                                debit                                   debit                  CAD             (2,500.00)           -         (2,625.00)             -
        ACCO       ACCO           2680   9/16/2010 TDCO                                                                forex                                   forex debit            USD             (2,593.98)     (2,619.92)            -                -
        ACCO       ACCO           2680   9/16/2010 CASH                                                                forex                                   forex credit           CAD              2,625.00            -          2,625.00              -
        ACCO       ACCO           2778   9/17/2010 FCCN     FEWP      Far East Wind Power                     (24,100) sell stock                              sell stock             USD              6,067.19       5,885.17             -                -
                                                                                                                                                                                                                                                                   Date Filed: 02/18/2025




        ACCO       ACCO           2779   9/17/2010 FCCN     AAPH      American Petro-Hunter                    (5,000) sell stock                              sell stock             USD              1,668.10       1,568.10             -                -
        ACCO       ACCO           2697   9/17/2010 GGSB     UVFT      UV Flu                                  (10,000) sell stock                              sell stock             USD              2,816.19       2,716.19             -                -
        ACCO       ACCO           2831   9/17/2010 GGSB     UVFT      UV Flu                                  (10,000) sell stock                              sell stock             USD              3,022.85       2,922.85             -                -
        ACCO       ACCO           2731   9/17/2010 FCCN     AAPH      American Petro-Hunter                    (5,000) sell stock                              sell stock             USD              1,499.97       1,399.97             -                -
        ACCO       ACCO           2912   9/22/2010 CASH                                                                debit                                   debit                  USD               (500.00)       (600.00)            -                -
        ACCO       ACCO           3133   9/24/2010 GGSB     UVFT      UV Flu                                  (15,000) sell stock                              sell stock             USD              4,406.05       4,295.90             -                -
        ACCO       ACCO           3033   9/24/2010 CASH                                                                debit                                   debit                  CAD             (5,000.00)           -         (5,250.00)             -
        ACCO       ACCO           3162   9/27/2010 GGSB     UVFT      UV Flu                                  (20,245) sell stock                              sell stock             USD              6,606.28       6,441.12             -                -
        ACCO       ACCO           3326   9/29/2010 TSLC     UVFT      UV Flu                                  (18,618) sell stock                              sell stock             USD              5,352.33       5,218.52             -                -
        ACCO       ACCO           3179   9/29/2010 TDQB                                                                Draft Leede Financial Markets ck #194   debit                  CAD             (5,007.50)           -         (5,107.50)             -
        ACCO       ACCO           3238   9/29/2010 FCCN     ABHD      Abtech                                   40,000 transfer stock                           transfer stock in      USD                   -       (20,000.00)            -                -




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         Account    Account    Batch     Batch      Bank                                      Symbol                                       Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                          Stock
          Code       Title      ID        Date      Code                                     Description                                 Description              Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO           3216 9/29/2010 CASH                                                                 debit                                 debit               CAD             (3,000.00)           -         (3,150.00)            -
        ACCO       ACCO           3234 9/29/2010 TDCO                                                                 forex                                 forex debit         USD            (13,298.71)    (13,431.70)            -               -
                                                                                                                                                                                                                                                            Case: 24-1770




        ACCO       ACCO           3234 9/29/2010 CASH                                                                 forex                                 forex credit        CAD             13,507.50            -         13,507.50             -
        ACCO       ACCO           3488 9/30/2010 WORK                                                                 interest payment                      interest payment    USD                   -            35.76             -               -
        ACCO       ACCO           3489 9/30/2010 WORK                                                                 interest charge                       interest charge     CAD                   -              -             (0.01)            -
        ACCO       ACCO           3680 9/30/2010 WORK                                                                 custody fees                          debit               USD                   -          (377.38)            -               -
        ACCO       ACCO           3681 9/30/2010 WORK                                                                 custody fees                          debit               CAD                   -              -            (52.71)            -
        ACCO       ACCO           3353 10/3/2010 DGMI                                                                 Beneficial TT                         debit               USD             (7,820.00)     (7,920.00)            -               -
        ACCO       ACCO           3653 10/4/2010 LESH      ABHD      Abtech                                   (5,000) sell stock                            sell stock          USD              4,218.11       4,112.66             -               -
        ACCO       ACCO           3642 10/4/2010 CASH                                                                 debit                                 debit               CAD             (1,500.00)           -         (1,600.00)            -
        ACCO       ACCO           3818 10/5/2010 TSLC      UVFT      UV Flu                                  (10,882) sell stock                            sell stock          USD              3,000.99       2,900.99             -               -
        ACCO       ACCO           3771 10/5/2010 LESH      ABHD      Abtech                                   (5,000) sell stock                            sell stock          USD              4,214.54       4,109.18             -               -
        ACCO       ACCO           3827 10/6/2010 LESH      ABHD      Abtech                                   (2,500) sell stock                            sell stock          USD              2,025.77       1,925.77             -               -
        ACCO       ACCO           3850 10/7/2010 CASH                                                                 debit                                 debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO           3987 10/7/2010 BSIT                                                                 forex                                 forex debit         USD             (6,834.38)     (6,902.72)            -               -
        ACCO       ACCO           3987 10/7/2010 BSIT                                                                 forex                                 forex credit        CAD              6,902.72            -          6,902.72             -
        ACCO       ACCO           4076 10/13/2010 LESH     ABHD      Abtech                                   (5,000) sell stock                            sell stock          USD              3,136.63       3,036.63             -               -
        ACCO       ACCO           4086 10/13/2010 FCCN     AAPH      American Petro-Hunter                    (5,000) sell stock                            sell stock          USD              1,699.97       1,599.97             -               -
        ACCO       ACCO           4120 10/14/2010 LESH     ABHD      Abtech                                   (5,000) sell stock                            sell stock          USD              2,941.36       2,841.36             -               -
        ACCO       ACCO           4102 10/14/2010 TDQB                                                                RBC VISA ck #222                      debit               CAD             (6,961.41)           -         (7,061.41)            -
        ACCO       ACCO           4111 10/14/2010 WORK                                                                forex                                 forex debit         USD                   -        (7,205.52)            -               -
        ACCO       ACCO           4111 10/14/2010 WORK                                                                forex                                 forex credit        CAD                   -              -          7,061.41             -
        ACCO       ACCO           4511 10/18/2010 WORK                                                                forex                                 forex debit         USD                   -       (14,610.50)            -               -
        ACCO       ACCO           4511 10/18/2010 WORK                                                                forex                                 forex credit        CAD                   -              -         14,610.50             -
        ACCO       ACCO           4238 10/18/2010 TDQB                                                                0837310 BC Ltd ck #230                debit               CAD            (10,000.00)           -        (10,100.00)            -
        ACCO       ACCO           4239 10/18/2010 TDCH                                                                BMO Draft #107805                     credit              CAD              5,989.50            -          5,989.50             -
                                                                                                                                                                                                                                                            Document: 00118249068




        ACCO       ACCO           4536 10/20/2010 TDQB                                                                airfares ck #231                      debit               CAD             (1,761.28)           -         (1,861.28)            -
        ACCO       ACCO           4337 10/20/2010 BSIT     ABHD      Abtech                                    7,000 internal transfer                      transfer stock in   USD                   -              -               -               -
        ACCO       ACCO           4601 10/20/2010 TDCO                                                                forex                                 forex debit         USD             (1,852.06)     (1,870.58)            -               -
        ACCO       ACCO           4601 10/20/2010 CASH                                                                forex                                 forex credit        CAD              1,861.28            -          1,861.28             -
        ACCO       ACCO           4457 10/22/2010 CASH                                                                debit                                 debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO           4488 10/25/2010 LESH     ABHD      Abtech                                  (24,500) sell stock                            sell stock          USD             13,649.61      13,376.62             -               -
        ACCO       ACCO           4580 10/26/2010 RANQ     AEE       Anatolia Energy                        (178,533) internal transfer                     stock delivery      CAD                   -              -               -               -
        ACCO       ACCO           4673 10/27/2010 CASH                                                                debit                                 debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO           4799 10/29/2010 CASH                                                                debit                                 debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO           4800 10/29/2010 TDQB                                                                0837310 BC Ltd ck                     credit              CAD             25,000.00            -         25,000.00             -
        ACCO       ACCO           4839 10/29/2010 WORK                                                                interest charge                       interest charge     USD                   -           (59.49)            -               -




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        ACCO       ACCO           4840 10/29/2010 WORK                                                                interest charge                       interest charge     CAD                   -              -             (8.86)            -
        ACCO       ACCO           5171 11/2/2010 FCCN      AAPH      American Petro-Hunter                   (10,000) sell stock                            sell stock          USD              3,449.84       3,346.34             -               -
        ACCO       ACCO           5339 11/4/2010 RANQ      CPAH      Counterpath                              (5,000) sell stock                            sell stock          USD              7,789.55       7,672.71             -               -
        ACCO       ACCO           5384 11/5/2010 WORK                                                                 forex                                 forex debit         CAD                   -              -         (9,241.15)            -
        ACCO       ACCO           5384 11/5/2010 WORK                                                                 forex                                 forex credit        USD                   -         9,034.70             -               -
        ACCO       ACCO           5284 11/5/2010 CASH                                                                 debit                                 debit               USD            (10,000.00)    (10,500.00)            -               -
        ACCO       ACCO           5504 11/10/2010 CASH                                                                debit                                 debit               USD            (10,000.00)    (10,500.00)            -               -
        ACCO       ACCO           5561 11/12/2010 TDQB                                                                RBC VISA ck #303                      debit               CAD             (2,036.33)           -         (2,136.33)            -
        ACCO       ACCO           5658 11/12/2010 WORK                                                                forex                                 forex debit         USD                   -        (2,197.12)            -               -
        ACCO       ACCO           5658 11/12/2010 WORK                                                                forex                                 forex credit        CAD                   -              -          2,136.34             -
        ACCO       ACCO           5764 11/17/2010 CASH                                                                credit                                credit              USD              7,000.00       7,000.00             -               -
        ACCO       ACCO           5766 11/17/2010 RANQ                                                                Velduis TT                            debit               EUR             (5,018.64)           -               -         (5,118.64)
        ACCO       ACCO           5852 11/17/2010 RANQ                                                                forex                                 forex debit         USD             (6,942.79)     (7,125.15)            -               -
        ACCO       ACCO           5852 11/17/2010 RANQ                                                                forex                                 forex credit        EUR              5,018.64            -               -          5,118.64
        ACCO       ACCO           5791 11/17/2010 WORK                                                                Accord incorp                         debit               USD                   -        (2,900.00)            -               -
        ACCO       ACCO           5947 11/19/2010 BSIT                                                                forex                                 forex debit         USD             (2,423.04)     (2,447.27)            -               -
        ACCO       ACCO           5947 11/19/2010 BSIT                                                                forex                                 forex credit        CAD              2,450.90            -          2,450.90             -
        ACCO       ACCO           5874 11/19/2010 TDQB                                                                airfares ck #321                      debit               CAD             (2,350.90)           -         (2,450.90)            -
        ACCO       ACCO           5999 11/23/2010 DGPR     UVFT      UV Flu                                  750,000 internal transfer                      transfer stock in   USD                   -              -               -               -
        ACCO       ACCO           6176 11/29/2010 LESH     UVFT      UV Flu                                  (25,000) sell stock                            sell stock          USD              5,377.14       5,269.60             -               -
        ACCO       ACCO           6200 11/29/2010 WORK                                                                interest charge                       interest charge     USD                   -           (77.56)            -               -
        ACCO       ACCO           6201 11/29/2010 WORK                                                                interest payment                      interest payment    CAD                   -              -              1.52             -
                                                                                                                                                                                                                                                            Date Filed: 02/18/2025




        ACCO       ACCO           6637 11/30/2010 RANQ                                                                forex                                 forex debit         USD            (10,414.13)    (10,518.27)            -               -
        ACCO       ACCO           6637 11/30/2010 RANQ                                                                forex                                 forex credit        CAD             10,498.48            -         10,498.48             -
        ACCO       ACCO           6336 11/30/2010 CASH                                                                debit                                 debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO           6979 12/8/2010 BSIT      UVFT      UV Flu                                  (40,000) sell stock                            sell stock          USD              7,510.47       7,322.71             -               -
        ACCO       ACCO           6986 12/9/2010 BSIT      EDE       Edge Resources                          (40,000) internal transfer                     stock delivery      CAD                   -              -               -               -
        ACCO       ACCO           6987 12/9/2010 RANQ      CPAH      Counterpath                             (57,500) internal transfer                     stock delivery      USD                   -              -               -               -
        ACCO       ACCO           7656 12/17/2010 FCCN     AAPH      American Petro-Hunter                   (79,206) sell stock                            sell stock          USD             25,415.00      24,652.55             -               -
        ACCO       ACCO           7615 12/20/2010 DGMN     ARW       Aroway Minerals                          60,000 buy stock                              buy stock           CAD            (31,211.00)           -        (31,991.28)            -
        ACCO       ACCO           7657 12/21/2010 WORK                                                                internal transfer [FEWP trade]        credit              USD                   -         5,562.72             -               -
        ACCO       ACCO           7604 12/22/2010 TDQB                                                                airfares ck #440                      debit               CAD               (112.00)           -           (112.00)            -
        ACCO       ACCO           7654 12/22/2010 TDQB                                                                credit ck                             credit              CAD             35,000.00            -         35,000.00             -




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         Account    Account    Batch     Batch      Bank                                      Symbol                                      Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                          Stock
          Code       Title      ID        Date      Code                                     Description                                Description              Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO           7491 12/23/2010 TDCO                                                                forex ck #74                         forex debit         USD            (12,577.91)    (12,703.69)            -               -
        ACCO       ACCO           7491 12/23/2010 CASH                                                                forex ck #74                         forex credit        CAD             12,614.47            -         12,614.47             -
                                                                                                                                                                                                                                                           Case: 24-1770




        ACCO       ACCO           7743 12/23/2010 WORK                                                                forex                                forex debit         USD                   -          (244.53)            -               -
        ACCO       ACCO           7743 12/23/2010 WORK                                                                forex                                forex credit        CAD                   -              -            238.81             -
        ACCO       ACCO           7659 12/23/2010 CASH                                                                debit                                debit               CAD            (15,000.00)           -        (15,750.00)            -
        ACCO       ACCO           7983 12/30/2010 WORK                                                                interest charge                      interest charge     USD                   -          (107.52)            -               -
        ACCO       ACCO           8140 12/31/2010 WORK                                                                custody fees                         debit               USD                   -          (139.63)            -               -
        ACCO       ACCO           8141 12/31/2010 WORK                                                                custody fees                         debit               CAD                   -              -            (78.00)            -
        ACCO       ACCO           8325 1/4/2011 TDCH                                                                  ARW finders fee                      credit              CAD              9,930.00            -          9,930.00             -
        ACCO       ACCO           8328 1/4/2011 TDQB                                                                  0837310 BC Ltd ck #454               debit               CAD            (20,000.00)           -        (20,200.00)            -
        ACCO       ACCO           8385 1/4/2011 BSIT                                                                  forex                                forex debit         USD            (10,348.03)    (10,451.51)            -               -
        ACCO       ACCO           8385 1/4/2011 BSIT                                                                  forex                                forex credit        CAD             10,299.39            -         10,299.39             -
        ACCO       ACCO           8505 1/7/2011 CASH                                                                  debit                                debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO           8643 1/10/2011 RANQ                                                                 Hendrikus Veldhuis TT                debit               EUR            (10,040.02)           -               -        (10,140.42)
        ACCO       ACCO           8611 1/10/2011 TDQB                                                                 credit                               credit              CAD             35,000.00            -         35,000.00             -
        ACCO       ACCO           8659 1/12/2011 TDQB                                                                 RBC VISA ck #483                     debit               CAD             (7,505.49)           -         (7,605.49)            -
        ACCO       ACCO           8756 1/14/2011 RANQ                                                                 forex                                forex debit         CAD            (13,565.07)           -        (13,837.73)            -
        ACCO       ACCO           8756 1/14/2011 RANQ                                                                 forex                                forex credit        EUR             10,040.02            -               -         10,140.43
        ACCO       ACCO           8779 1/14/2011 CASH                                                                 debit                                debit               USD             (5,000.00)     (5,250.00)            -               -
        ACCO       ACCO           9085 1/21/2011 CASH                                                                 debit                                debit               CAD             (3,500.00)           -         (3,675.00)            -
        ACCO       ACCO           9509 1/30/2011 WORK                                                                 interest charge                      interest charge     EUR                   -              -               -             (0.01)
        ACCO       ACCO           9507 1/30/2011 WORK                                                                 interest charge                      interest charge     USD                   -           (60.64)            -               -
        ACCO       ACCO           9508 1/30/2011 WORK                                                                 interest charge                      interest charge     CAD                   -              -            (22.65)            -
        ACCO       ACCO          11545 2/28/2011 WORK                                                                 interest charge                      interest charge     USD                   -          (104.57)            -               -
        ACCO       ACCO          11546 2/28/2011 WORK                                                                 interest charge                      interest charge     CAD                   -              -            (13.15)            -
        ACCO       ACCO          11361 3/1/2011 WORK                                                                  forex                                forex debit         USD                   -        (7,220.85)            -               -
                                                                                                                                                                                                                                                           Document: 00118249068




        ACCO       ACCO          11361 3/1/2011 WORK                                                                  forex                                forex credit        EUR                   -              -               -          5,250.00
        ACCO       ACCO          11127 3/1/2011 CASH                                                                  debit                                debit               EUR             (5,000.00)           -               -         (5,250.00)
        ACCO       ACCO          11258 3/1/2011 CASH                                                                  debit                                debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          12346 3/22/2011 CASH                                                                 debit                                debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          12354 3/22/2011 TDCO                                                                 forex ck #150                        forex debit         USD            (11,619.78)    (11,735.98)            -               -
        ACCO       ACCO          12354 3/22/2011 CASH                                                                 forex ck #150                        forex credit        CAD             11,202.63            -         11,202.63             -
        ACCO       ACCO          12594 3/25/2011 DGMI                                                                 transfer from Red Rock 33655         credit              USD             10,000.00      10,000.00             -               -
        ACCO       ACCO          12780 3/30/2011 WORK                                                                 custody fees                         debit               USD                   -           (86.82)            -               -
        ACCO       ACCO          12781 3/30/2011 WORK                                                                 custody fees                         debit               CAD                   -              -            (55.50)            -
        ACCO       ACCO          12864 3/30/2011 WORK                                                                 interest charge                      interest charge     USD                   -          (322.19)            -               -
        ACCO       ACCO          12865 3/30/2011 WORK                                                                 interest charge                      interest charge     CAD                   -              -            (82.23)            -




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        ACCO       ACCO          13234 3/31/2011 DGMN      ARW       Aroway Minerals                         (60,000) sell stock                           sell stock          CAD             22,178.75            -         21,624.28             -
        ACCO       ACCO          13492 3/31/2011 WORK                                                                 forex                                forex debit         CAD                   -              -        (21,486.56)            -
        ACCO       ACCO          13492 3/31/2011 WORK                                                                 forex                                forex credit        USD                   -        22,531.96             -               -
        ACCO       ACCO          13340 4/5/2011 WORK                                                                  Red Rock 11 fees                     debit               USD                   -        (2,400.00)            -               -
        ACCO       ACCO          13653 4/11/2011 TDQB                                                                 fare ck #748                         debit               CAD             (7,538.85)           -         (7,638.85)            -
        ACCO       ACCO          13662 4/11/2011 TDQB                                                                 VC Management ck                     credit              CAD             11,250.00            -         11,250.00             -
        ACCO       ACCO          13864 4/15/2011 CASH                                                                 debit                                debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          13891 4/15/2011 TDCO                                                                 forex ck #167                        forex debit         USD             (1,734.09)     (1,751.43)            -               -
        ACCO       ACCO          13891 4/15/2011 CASH                                                                 forex ck #167                        forex credit        CAD              1,638.86            -          1,638.86             -
        ACCO       ACCO          14051 4/19/2011 CASH                                                                 debit                                debit               USD             (3,000.00)     (3,150.00)            -               -
        ACCO       ACCO          14243 4/20/2011 BSIT                                                                 forex                                forex debit         USD               (273.27)       (276.00)            -               -
        ACCO       ACCO          14243 4/20/2011 BSIT                                                                 forex                                forex credit        CAD                259.03            -            259.03             -
        ACCO       ACCO          14115 4/20/2011 CASH                                                                 debit                                debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          14548 4/27/2011 TDCO                                                                 forex ck #181                        forex debit         USD             (7,425.74)     (7,500.00)            -               -
        ACCO       ACCO          14548 4/27/2011 CASH                                                                 forex ck #181                        forex credit        CAD              6,943.78            -          6,943.78             -
        ACCO       ACCO          14402 4/27/2011 DGMI                                                                 Red Rock transfer                    credit              USD              7,500.00       7,500.00             -               -
        ACCO       ACCO          14564 4/28/2011 WORK                                                                 interest payment                     interest payment    USD                   -             3.25             -               -
        ACCO       ACCO          14565 4/28/2011 WORK                                                                 interest charge                      interest charge     CAD                   -              -            (29.14)            -
        ACCO       ACCO          40391 4/29/2011 TDQB      L-RPCC    Quarry:RPC:6%:Demand                     70,000 RPC Strategies                        buy stock           CAD                   -              -           (100.00)            -
        ACCO       ACCO          15057 4/29/2011 TDCO                                                                 forex ck #185                        forex debit         USD             (3,490.16)     (3,525.06)            -               -
        ACCO       ACCO          15057 4/29/2011 CASH                                                                 forex ck #185                        forex credit        CAD              3,326.33            -          3,326.33             -
        ACCO       ACCO          14714 4/29/2011 CASH                                                                 debit                                debit               CAD             (5,000.00)           -         (5,250.00)            -
                                                                                                                                                                                                                                                           Date Filed: 02/18/2025




        ACCO       ACCO          14915 5/4/2011 CASH                                                                  debit                                debit               USD             (2,000.00)     (2,100.00)            -               -
        ACCO       ACCO          16024 5/6/2011 BSIT       AAPH      American Petro-Hunter                   165,682 receive stock                         buy stock           USD                   -          (100.00)            -               -
        ACCO       ACCO          15064 5/6/2011 TDQB                                                                  airtickets ck #816                   debit               CAD             (1,773.31)           -         (1,873.31)            -
        ACCO       ACCO          15788 5/6/2011 TDCO                                                                  forex ck #196                        forex debit         USD             (1,945.23)     (1,964.68)            -               -
        ACCO       ACCO          15788 5/6/2011 CASH                                                                  forex ck #196                        forex credit        CAD              1,873.31            -          1,873.31             -
        ACCO       ACCO          15720 5/23/2011 BSIT      UVFT      UV Flu                                 (684,755) internal transfer                    stock delivery      USD                   -              -               -               -
        ACCO       ACCO          15722 5/23/2011 VPQU      AAPH      American Petro-Hunter                   233,487 internal transfer                     transfer stock in   USD                   -              -               -               -
        ACCO       ACCO          15770 5/24/2011 RANQ                                                                 Hendrikus Veldhuis TT                debit               EUR             (5,520.13)           -               -         (5,620.13)
        ACCO       ACCO          15898 5/24/2011 RANQ                                                                 forex                                forex debit         USD             (7,856.80)     (8,078.95)            -               -
        ACCO       ACCO          15898 5/24/2011 RANQ                                                                 forex                                forex credit        EUR              5,520.13            -               -          5,620.14
        ACCO       ACCO          15801 5/24/2011 VPQU      AAPH      American Petro-Hunter                   (18,006) sell stock                           sell stock          USD             10,739.21      10,578.12             -               -




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         Account    Account    Batch      Batch      Bank                                      Symbol                                    Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                             Symbol                                          Stock
          Code       Title      ID         Date      Code                                     Description                              Description              Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          15836   5/25/2011 VPQU     AAPH      American Petro-Hunter                   (63,440) sell stock                         sell stock          USD             38,009.23      37,439.09             -               -
        ACCO       ACCO          15962   5/27/2011 CASH                                                                debit                              debit               CAD             (5,000.00)           -         (5,250.00)            -
                                                                                                                                                                                                                                                          Case: 24-1770




        ACCO       ACCO          15997   5/27/2011 WORK                                                                forex                              forex debit         USD                   -        (5,506.06)            -               -
        ACCO       ACCO          15997   5/27/2011 WORK                                                                forex                              forex credit        CAD                   -              -          5,250.00             -
        ACCO       ACCO          16545   5/31/2011 VPQU     AAPH      American Petro-Hunter                    (1,000) sell stock                         sell stock          USD                471.88         371.88             -               -
        ACCO       ACCO          40392   5/31/2011 TDQB     L-RPCC    Quarry:RPC:6%:Demand                     20,000 RPC Strategies ck #887              buy stock           CAD            (20,000.00)           -        (20,200.00)            -
        ACCO       ACCO          16588   5/31/2011 BSIT                                                                forex                              forex debit         USD            (36,672.81)    (37,039.54)            -               -
        ACCO       ACCO          16588   5/31/2011 BSIT                                                                forex                              forex credit        CAD             35,800.00            -         35,800.00             -
        ACCO       ACCO          16310   5/31/2011 WORK                                                                interest charge                    interest charge     USD                   -          (107.80)            -               -
        ACCO       ACCO          16311   5/31/2011 WORK                                                                interest charge                    interest charge     CAD                   -              -             (0.01)            -
        ACCO       ACCO          16312   5/31/2011 WORK                                                                interest charge                    interest charge     EUR                   -              -               -             (0.01)
        ACCO       ACCO          16548    6/2/2011 VPQU     AAPH      American Petro-Hunter                    (9,000) sell stock                         sell stock          USD              4,570.36       4,470.36             -               -
        ACCO       ACCO          16520    6/2/2011 TDQB                                                                                                   debit               CAD             (5,000.00)           -         (5,100.00)            -
        ACCO       ACCO          40393    6/2/2011 TDQB     L-RPCC    Quarry:RPC:6%:Demand                      5,000 RPC Strategies ck #893              buy stock           CAD             (5,000.00)           -         (5,100.00)            -
        ACCO       ACCO          16517    6/2/2011 CASH                                                                debit                              debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          16551    6/3/2011 VPQU     AAPH      American Petro-Hunter                   (14,000) sell stock                         sell stock          USD              7,179.46       7,071.77             -               -
        ACCO       ACCO          16558    6/3/2011 WORK                                                                internal transfer                  credit              USD                   -        30,000.00             -               -
        ACCO       ACCO          16559    6/3/2011 CASH                                                                debit                              debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          16666    6/3/2011 TDCO                                                                forex ck #203 204                  forex debit         USD             (5,451.66)     (5,506.18)            -               -
        ACCO       ACCO          16666    6/3/2011 CASH                                                                forex ck #203 204                  forex credit        CAD              5,250.00            -          5,250.00             -
        ACCO       ACCO          16783    6/7/2011 VPQU     AAPH      American Petro-Hunter                    (2,180) sell stock                         sell stock          USD              1,051.18         951.18             -               -
        ACCO       ACCO          16790    6/8/2011 TDQB                                                                Hudson Composites ck #907          debit               CAD             (9,632.00)           -         (9,732.00)            -
        ACCO       ACCO          16824    6/8/2011 TDCO                                                                forex ck #205                      forex debit         USD            (10,095.10)    (10,196.05)            -               -
        ACCO       ACCO          16824    6/8/2011 CASH                                                                forex ck #205                      forex credit        CAD              9,732.00            -          9,732.00             -
        ACCO       ACCO          16865    6/9/2011 CASH                                                                debit                              debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          16874    6/9/2011 VPQU     AAPH      American Petro-Hunter                    (6,000) sell stock                         sell stock          USD              3,041.06       2,941.06             -               -
                                                                                                                                                                                                                                                          Document: 00118249068




        ACCO       ACCO          17025   6/12/2011 TDCO                                                                forex ck #216                      forex debit         USD            (10,903.10)    (11,012.13)            -               -
        ACCO       ACCO          17025   6/12/2011 CASH                                                                forex ck #216                      forex credit        CAD             10,500.00            -         10,500.00             -
        ACCO       ACCO          16949   6/12/2011 WORK                                                                Accord 11 fees                     debit               USD                   -        (2,450.00)            -               -
        ACCO       ACCO          16988   6/12/2011 WORK                                                                Accord Fdn 11 fees                 debit               USD                   -        (3,500.00)            -               -
        ACCO       ACCO          17077   6/14/2011 VPQU     AAPH      American Petro-Hunter                    (6,000) sell stock                         sell stock          USD              2,878.19       2,778.19             -               -
        ACCO       ACCO          17300   6/20/2011 BSIT                                                                Hendrikus Veldhuis TT              debit               EUR             (8,500.00)           -               -         (8,600.00)
        ACCO       ACCO          17332   6/21/2011 BSIT                                                                forex                              forex debit         USD            (12,429.55)    (12,701.54)            -               -
        ACCO       ACCO          17332   6/21/2011 BSIT                                                                forex                              forex credit        EUR              8,500.00            -               -          8,600.00
        ACCO       ACCO          17521   6/24/2011 TDCO                                                                forex ck #228                      forex debit         USD             (5,406.77)     (5,460.84)            -               -
        ACCO       ACCO          17521   6/24/2011 CASH                                                                forex ck #228                      forex credit        CAD              5,250.00            -          5,250.00             -
        ACCO       ACCO          17484   6/24/2011 CASH                                                                debit                              debit               CAD             (5,000.00)           -         (5,250.00)            -




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        ACCO       ACCO          17604   6/29/2011 BSIT     AAPH      American Petro-Hunter                    (7,000) sell stock                         sell stock          USD              2,883.88       2,783.88             -               -
        ACCO       ACCO          17686   6/29/2011 VPQU     AAPH      American Petro-Hunter                    (9,060) sell stock                         sell stock          USD              3,691.40       3,591.40             -               -
        ACCO       ACCO          18179   6/30/2011 WORK                                                                forex                              forex debit         USD                   -            (8.25)            -               -
        ACCO       ACCO          18179   6/30/2011 WORK                                                                forex                              forex credit        EUR                   -              -               -              5.65
        ACCO       ACCO          17683   6/30/2011 BSIT     AAPH      American Petro-Hunter                    (2,000) sell stock                         sell stock          USD                901.10         801.10             -               -
        ACCO       ACCO          17688   6/30/2011 VPQU     AAPH      American Petro-Hunter                    (9,500) sell stock                         sell stock          USD              4,523.89       4,423.89             -               -
        ACCO       ACCO          17819   6/30/2011 WORK                                                                custody fees                       debit               USD                   -          (300.18)            -               -
        ACCO       ACCO          17912   6/30/2011 WORK                                                                interest charge                    interest charge     USD                   -           (64.12)            -               -
        ACCO       ACCO          17913   6/30/2011 WORK                                                                interest charge                    interest charge     CAD                   -              -            (20.28)            -
        ACCO       ACCO          17914   6/30/2011 WORK                                                                interest charge                    interest charge     EUR                   -              -               -             (5.65)
        ACCO       ACCO          18212    7/5/2011 BSIT     AAPH      American Petro-Hunter                    (6,000) sell stock                         sell stock          USD              3,030.35       2,930.35             -               -
        ACCO       ACCO          18279    7/6/2011 TDQB                                                                RPC Strategies ck #985             debit               CAD            (60,000.00)           -        (60,600.00)            -
        ACCO       ACCO          18344    7/6/2011 TDCO                                                                forex ck #247                      forex debit         USD             (1,499.15)     (1,514.14)            -               -
        ACCO       ACCO          18344    7/6/2011 CASH                                                                forex ck #247                      forex credit        CAD              1,413.84            -          1,413.84             -
        ACCO       ACCO          18534    7/7/2011 VPQU     AAPH      American Petro-Hunter                    (1,600) sell stock                         sell stock          USD                819.82         719.82             -               -
        ACCO       ACCO          18395   7/11/2011 DGMI                                                                credit                             credit              USD             45,750.00      45,750.00             -               -
        ACCO       ACCO          18494   7/11/2011 TDCO                                                                forex ck #250                      forex debit         USD            (21,751.63)    (21,969.15)            -               -
        ACCO       ACCO          18494   7/11/2011 CASH                                                                forex ck #250                      forex credit        CAD             20,513.76            -         20,513.76             -
        ACCO       ACCO          18460   7/12/2011 BSIT                                                                forex                              forex debit         USD            (40,689.77)    (41,096.67)            -               -
        ACCO       ACCO          18460   7/12/2011 BSIT                                                                forex                              forex credit        CAD             38,692.68            -         38,692.68             -
        ACCO       ACCO          18537   7/12/2011 VPQU     AAPH      American Petro-Hunter                    (1,100) sell stock                         sell stock          USD                545.14         445.14             -               -
        ACCO       ACCO          18541   7/14/2011 VPQU     AAPH      American Petro-Hunter                   (15,231) sell stock                         sell stock          USD              8,195.26       8,072.33             -               -
                                                                                                                                                                                                                                                          Date Filed: 02/18/2025




        ACCO       ACCO          18590   7/15/2011 BSIT     AAPH      American Petro-Hunter                   (10,400) sell stock                         sell stock          USD              5,891.28       5,714.54             -               -
        ACCO       ACCO          18580   7/15/2011 CASH                                                                debit                              debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          18609   7/15/2011 WORK                                                                forex                              forex debit         USD                   -        (5,646.34)            -               -
        ACCO       ACCO          18609   7/15/2011 WORK                                                                forex                              forex credit        CAD                   -              -          5,250.00             -
        ACCO       ACCO          18630   7/18/2011 BSIT     AAPH      American Petro-Hunter                    (8,040) sell stock                         sell stock          USD              4,471.70       4,337.55             -               -
        ACCO       ACCO          18671   7/19/2011 VPQU     AAPH      American Petro-Hunter                   (30,820) sell stock                         sell stock          USD             17,478.92      17,216.74             -               -
        ACCO       ACCO          18727   7/20/2011 VPQU     AAPH      American Petro-Hunter                   (20,400) sell stock                         sell stock          USD             11,176.00      11,008.36             -               -
        ACCO       ACCO          18772   7/21/2011 VPQU     AAPH      American Petro-Hunter                   (12,060) sell stock                         sell stock          USD              6,561.01       6,461.01             -               -
        ACCO       ACCO          18827   7/22/2011 CASH                                                                debit                              debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          18828   7/22/2011 TDQB                                                                RPC Strategies ck #1014            debit               CAD            (22,400.00)           -        (22,624.00)            -
        ACCO       ACCO          18836   7/22/2011 WORK                                                                forex                              forex debit         USD                   -       (10,414.04)            -               -




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         Account    Account    Batch     Batch      Bank                                      Symbol                                      Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                          Stock
          Code       Title      ID        Date      Code                                     Description                                Description              Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          18836 7/22/2011 WORK                                                                 forex                                forex credit        CAD                   -              -          9,589.78             -
        ACCO       ACCO          18938 7/22/2011 TDCO                                                                 forex ck #259                        forex debit         USD            (20,395.34)    (20,599.29)            -               -
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        ACCO       ACCO          18938 7/22/2011 CASH                                                                 forex ck #259                        forex credit        CAD             18,929.66            -         18,929.66             -
        ACCO       ACCO          18977 7/27/2011 BSIT      AAPH      American Petro-Hunter                    (3,760) sell stock                           sell stock          USD              1,850.68       1,750.68             -               -
        ACCO       ACCO          19018 7/28/2011 BSIT      AAPH      American Petro-Hunter                    (4,807) sell stock                           sell stock          USD              2,657.17       2,557.17             -               -
        ACCO       ACCO          19086 7/28/2011 WORK                                                                 forex                                forex debit         USD                   -        (6,707.02)            -               -
        ACCO       ACCO          19086 7/28/2011 WORK                                                                 forex                                forex credit        CAD                   -              -          6,268.24             -
        ACCO       ACCO          19061 7/29/2011 BSIT      AAPH      American Petro-Hunter                    (5,000) sell stock                           sell stock          USD              2,544.63       2,444.63             -               -
        ACCO       ACCO          40394 7/29/2011 TDQB      L-RPCC    Quarry:RPC:6%:Demand                     25,000 RPC Strategies ck #1036               buy stock           CAD            (25,000.00)           -        (25,250.00)            -
        ACCO       ACCO          19651 7/29/2011 WORK                                                                 forex                                forex debit         CAD                   -              -         (1,419.30)            -
        ACCO       ACCO          19651 7/29/2011 WORK                                                                 forex                                forex credit        USD                   -         1,438.35             -               -
        ACCO       ACCO          19097 7/29/2011 WORK                                                                 interest charge                      interest charge     USD                   -           (45.46)            -               -
        ACCO       ACCO          19098 7/29/2011 WORK                                                                 interest charge                      interest charge     CAD                   -              -           (244.38)            -
        ACCO       ACCO          19465 8/3/2011 BSIT       AAPH      American Petro-Hunter                    (4,000) sell stock                           sell stock          USD              2,053.37       1,953.37             -               -
        ACCO       ACCO          19526 8/5/2011 TDCO                                                                  Cash ck #265                         debit               USD             (5,000.00)     (5,250.00)            -               -
        ACCO       ACCO          19574 8/8/2011 TDCO                                                                  Cash ck #267                         debit               USD             (5,000.00)     (5,250.00)            -               -
        ACCO       ACCO          19810 8/16/2011 BSIT      AAPH      American Petro-Hunter                    (3,285) sell stock                           sell stock          USD              1,431.86       1,331.86             -               -
        ACCO       ACCO          19851 8/17/2011 BSIT      AAPH      American Petro-Hunter                    (4,000) sell stock                           sell stock          USD              1,659.97       1,559.97             -               -
        ACCO       ACCO          20006 8/23/2011 BSIT      AAPH      American Petro-Hunter                     3,285 buy stock                             buy stock           USD             (1,431.86)     (1,531.86)            -               -
        ACCO       ACCO          19988 8/23/2011 BSIT      AAPH      American Petro-Hunter                    (3,285) sell stock                           sell stock          USD              1,405.86       1,305.86             -               -
        ACCO       ACCO          20112 8/29/2011 BSIT                                                                 Hendrikus Veldhuis TT                debit               EUR            (10,019.00)           -               -        (10,119.19)
        ACCO       ACCO          20120 8/30/2011 BSIT                                                                 forex                                forex debit         USD            (14,867.71)    (15,045.42)            -               -
        ACCO       ACCO          20120 8/30/2011 BSIT                                                                 forex                                forex credit        EUR             10,100.00            -               -         10,119.19
        ACCO       ACCO          20570 8/31/2011 WORK                                                                 forex                                forex debit         USD                   -            (9.47)            -               -
        ACCO       ACCO          20570 8/31/2011 WORK                                                                 forex                                forex credit        EUR                   -              -               -              6.65
        ACCO       ACCO          20218 8/31/2011 WORK                                                                 interest charge                      interest charge     USD                   -          (107.22)            -               -
                                                                                                                                                                                                                                                           Document: 00118249068




        ACCO       ACCO          20219 8/31/2011 WORK                                                                 interest charge                      interest charge     EUR                   -              -               -             (6.65)
        ACCO       ACCO          20830 9/14/2011 BSIT      AAPH      American Petro-Hunter                    (5,000) sell stock                           sell stock          USD              1,545.11       1,445.11             -               -
        ACCO       ACCO          20877 9/15/2011 BSIT      AAPH      American Petro-Hunter                    (4,259) sell stock                           sell stock          USD              1,277.84       1,177.84             -               -
        ACCO       ACCO          20920 9/16/2011 BSIT      AAPH      American Petro-Hunter                    (5,000) sell stock                           sell stock          USD              1,457.24       1,357.24             -               -
        ACCO       ACCO          20995 9/20/2011 BSIT      AAPH      American Petro-Hunter                   (13,672) sell stock                           sell stock          USD              4,106.86       3,983.65             -               -
        ACCO       ACCO          21083 9/21/2011 BSIT      AAPH      American Petro-Hunter                    (7,000) sell stock                           sell stock          USD              2,049.74       1,949.74             -               -
        ACCO       ACCO          21141 9/22/2011 BSIT      AAPH      American Petro-Hunter                    (6,000) sell stock                           sell stock          USD              1,751.79       1,651.79             -               -
        ACCO       ACCO          21204 9/23/2011 BSIT      AAPH      American Petro-Hunter                    (3,000) sell stock                           sell stock          USD                856.16         756.16             -               -
        ACCO       ACCO          21345 9/27/2011 BSIT      AAPH      American Petro-Hunter                    (4,000) sell stock                           sell stock          USD              1,184.70       1,084.70             -               -
        ACCO       ACCO          21401 9/27/2011 CASH                                                                 debit                                debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          21619 9/29/2011 WORK                                                                 custody fees                         debit               USD                   -           (54.86)            -               -




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        ACCO       ACCO          21716 9/29/2011 WORK                                                                 interest charge                      interest charge     USD                   -          (282.47)            -               -
        ACCO       ACCO          21717 9/29/2011 WORK                                                                 interest charge                      interest charge     CAD                   -              -            (20.71)            -
        ACCO       ACCO          22692 10/1/2011 WORK                                                                 forex                                forex debit         USD                   -       (81,371.71)            -               -
        ACCO       ACCO          22692 10/1/2011 WORK                                                                 forex                                forex credit        CAD                   -              -         81,494.19             -
        ACCO       ACCO          22542 10/17/2011 DGMI                                                                Chamberlain Capital TT               debit               USD             (2,570.00)     (2,670.00)            -               -
        ACCO       ACCO          22682 10/21/2011 WORK                                                                internal transfer                    credit              USD                   -       400,000.00             -               -
        ACCO       ACCO          22688 10/21/2011 TDQB     L-RPCC    Quarry:RPC:6%:Demand                    400,000 RPC Strategies ck #1218               buy stock           CAD          (400,007.50)            -      (404,007.58)             -
        ACCO       ACCO          22774 10/25/2011 TDCO                                                                forex ck #329                        forex debit         USD            (99,900.10)   (100,899.10)            -               -
        ACCO       ACCO          22774 10/25/2011 CASH                                                                forex ck #329                        forex credit        CAD             99,700.00            -         99,700.00             -
        ACCO       ACCO          22802 10/25/2011 WORK                                                                forex                                forex debit         USD                   -           (86.25)            -               -
        ACCO       ACCO          22802 10/25/2011 WORK                                                                forex                                forex credit        CAD                   -              -             85.23             -
        ACCO       ACCO          22810 10/25/2011 WORK                                                                forex                                forex debit         USD                   -      (208,437.28)            -               -
        ACCO       ACCO          22810 10/25/2011 WORK                                                                forex                                forex credit        CAD                   -              -       206,786.49              -
        ACCO       ACCO          23180 10/31/2011 WORK                                                                interest charge                      interest charge     USD                   -        (1,133.45)            -               -
        ACCO       ACCO          23181 10/31/2011 WORK                                                                interest charge                      interest charge     CAD                   -              -           (965.75)            -
        ACCO       ACCO          23166 11/1/2011 TDQB                                                                 Airfare ck #1244                     debit               CAD             (2,002.42)           -         (2,102.42)            -
        ACCO       ACCO          23693 11/10/2011 BSIT                                                                forex                                forex debit         CAD            (12,044.85)           -        (12,374.44)            -
        ACCO       ACCO          23693 11/10/2011 BSIT                                                                forex                                forex credit        EUR              8,609.00            -               -          8,756.99
        ACCO       ACCO          23648 11/10/2011 BSIT                                                                Hendrikus Veldhuis TT                debit               EUR             (8,657.00)           -               -         (8,757.00)
        ACCO       ACCO          23794 11/15/2011 REST     UVFT-R    UV Flu                                1,943,178 receive stock                         buy stock           USD                   -          (100.00)            -               -
        ACCO       ACCO          24351 11/29/2011 WORK                                                                interest charge                      interest charge     USD                   -           (22.60)            -               -
        ACCO       ACCO          24352 11/29/2011 WORK                                                                interest charge                      interest charge     CAD                   -              -           (725.84)            -
                                                                                                                                                                                                                                                           Date Filed: 02/18/2025




        ACCO       ACCO          24325 11/30/2011 TDQB                                                                Freeport Energy ck #1938             credit              CAD             20,000.00            -         20,000.00             -
        ACCO       ACCO          24640 12/1/2011 CASH                                                                 debit                                debit               USD             (5,000.00)     (5,250.00)            -               -
        ACCO       ACCO          24641 12/1/2011 CASH                                                                 debit                                debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          25125 12/16/2011 CASH                                                                debit                                debit               CAD            (20,000.00)           -        (21,000.00)            -
        ACCO       ACCO          25129 12/16/2011 WORK                                                                internal transfer STEV               credit              USD                   -       250,000.00             -               -
        ACCO       ACCO          25338 12/28/2011 BSIT     MRP       Mira Resources                          200,000 buy stock                             buy stock           CAD            (29,408.17)           -        (30,290.42)            -
        ACCO       ACCO          25374 12/31/2011 WORK                                                                interest charge                      interest charge     USD                   -          (133.44)            -               -
        ACCO       ACCO          25375 12/31/2011 WORK                                                                interest charge                      interest charge     CAD                   -              -           (990.80)            -
        ACCO       ACCO          25547 12/31/2011 WORK                                                                custody fees                         debit               USD                   -           (42.29)            -               -
        ACCO       ACCO          25548 12/31/2011 WORK                                                                custody fees                         debit               CAD                   -              -            (73.50)            -
        ACCO       ACCO          25757 1/2/2012 TDCO                                                                  forex ck #387                        forex debit         USD            (86,008.82)    (86,868.91)            -               -




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         Account    Account    Batch      Batch       Bank                                      Symbol                                       Batch                    Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                              Symbol                                          Stock
          Code       Title      ID         Date       Code                                     Description                                 Description                Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          25757    1/2/2012 CASH                                                                  forex ck #387                          forex credit        CAD             85,485.55            -         85,485.55            -
        ACCO       ACCO          25810    1/3/2012 TDCO                                                                  forex ck #390                          forex debit         USD            (99,907.60)   (100,906.68)            -              -
                                                                                                                                                                                                                                                            Case: 24-1770




        ACCO       ACCO          25810    1/3/2012 CASH                                                                  forex ck #390                          forex credit        CAD             99,700.00            -         99,700.00            -
        ACCO       ACCO          25822    1/3/2012 BSIT                                                                  forex                                  forex debit         USD            (61,768.79)    (62,386.48)            -              -
        ACCO       ACCO          25822    1/3/2012 BSIT                                                                  forex                                  forex credit        CAD             62,300.00            -         62,300.00            -
        ACCO       ACCO          25772    1/3/2012 TDQB      L-RPCC    Quarry:RPC:6%:Demand                     150,000 RPC Strategies ck #1366                 buy stock           CAD          (150,000.00)            -      (151,500.00)            -
        ACCO       ACCO          25786    1/3/2012 CASH                                                                  debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          25898    1/4/2012 BSIT                                                                  forex                                  forex debit         USD             (2,082.97)     (2,103.80)            -              -
        ACCO       ACCO          25898    1/4/2012 BSIT                                                                  forex                                  forex credit        CAD              2,100.88            -          2,100.88            -
        ACCO       ACCO          25847    1/4/2012 TDQB                                                                  Airfares ck #1360                      debit               CAD             (2,000.88)           -         (2,100.88)           -
        ACCO       ACCO          25964    1/6/2012 TDCO                                                                  forex ck #393                          forex debit         USD            (10,407.11)    (10,511.18)            -              -
        ACCO       ACCO          25964    1/6/2012 CASH                                                                  forex ck #393                          forex credit        CAD             10,500.00            -         10,500.00            -
        ACCO       ACCO          25943    1/6/2012 CASH                                                                  debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          26071    1/9/2012 BCEL                                                                  Holladay ck #540                       debit               USD                (20.00)       (120.00)            -              -
        ACCO       ACCO          26069    1/9/2012 REST      UVFT-R    UV Flu                                (1,800,321) deliver stock                          stock delivery      USD                   -          (250.00)            -              -
        ACCO       ACCO          26069    1/9/2012 REST                                                                  deliver stock                          debit               USD                   -           (75.00)            -              -
        ACCO       ACCO          26072   1/16/2012 SIL2      UVFT      UV Flu                                   968,348 receive stock                           buy stock           USD                   -          (100.00)            -              -
        ACCO       ACCO          26074   1/16/2012 HYPP      UVFT      UV Flu                                   831,973 receive stock                           buy stock           USD               (457.51)       (557.51)            -              -
        ACCO       ACCO          26301   1/17/2012 BCEL                                                                  Holladay ck#547                        debit               USD                (20.00)       (120.00)            -              -
        ACCO       ACCO          26473   1/20/2012 HYPP      UVFT      UV Flu                                  (831,973) stock split                            split stock out     USD                   -              -               -              -
        ACCO       ACCO          26473   1/20/2012 HYPP      UVFT      UV Flu                                   207,994 stock split                             split stock in                            -              -               -              -
        ACCO       ACCO          26468   1/20/2012 SIL2      UVFT      UV Flu                                  (968,348) stock split                            split stock out     USD                   -              -               -              -
        ACCO       ACCO          26468   1/20/2012 SIL2      UVFT      UV Flu                                   242,087 stock split                             split stock in                            -              -               -              -
        ACCO       ACCO          26471   1/20/2012 REST      UVFT-R    UV Flu                                  (142,857) stock split                            split stock out     USD                   -              -               -              -
        ACCO       ACCO          26471   1/20/2012 REST      UVFT-R    UV Flu                                    35,714 stock split                             split stock in                            -              -               -              -
        ACCO       ACCO          26381   1/20/2012 TDCO                                                                  forex ck #398                          forex debit         USD            (10,553.55)    (10,659.09)            -              -
                                                                                                                                                                                                                                                            Document: 00118249068




        ACCO       ACCO          26381   1/20/2012 CASH                                                                  forex ck #398                          forex credit        CAD             10,500.00            -         10,500.00            -
        ACCO       ACCO          26319   1/20/2012 CASH                                                                  debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          26431   1/25/2012 BSIT      MRP       Mira Resources                           (75,000) sell stock                             sell stock          CAD             18,481.32            -         17,926.88            -
        ACCO       ACCO          26450   1/25/2012 WORK                                                                  forex                                  forex debit         CAD                   -              -        (17,926.88)           -
        ACCO       ACCO          26450   1/25/2012 WORK                                                                  forex                                  forex credit        USD                   -        17,838.49             -              -
        ACCO       ACCO          26560   1/25/2012 WORK                                                                  forex                                  forex debit         CAD                   -              -         (4,899.91)           -
        ACCO       ACCO          26560   1/25/2012 WORK                                                                  forex                                  forex credit        USD                   -         4,930.45             -              -
        ACCO       ACCO          26561   1/25/2012 WORK                                                                  forex                                  forex debit         CAD                   -              -         (7,964.34)           -
        ACCO       ACCO          26561   1/25/2012 WORK                                                                  forex                                  forex credit        USD                   -         8,013.98             -              -
        ACCO       ACCO          26476   1/26/2012 BSIT      MRP       Mira Resources                          (125,000) sell stock                             sell stock          CAD             30,812.84            -         29,888.45            -
        ACCO       ACCO          26570   1/27/2012 VPQU      FEWP      Far East Wind Power                       (3,900) internal transfer                      stock delivery      USD                   -              -               -              -




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        ACCO       ACCO          26712   1/30/2012 WORK                                                                  interest charge                        interest charge     USD                   -          (288.90)            -              -
        ACCO       ACCO          26713   1/30/2012 WORK                                                                  interest charge                        interest charge     CAD                   -              -            (62.34)           -
        ACCO       ACCO          27018    2/1/2012 CASH                                                                  debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          27080    2/2/2012 TDQB                                                                  Wildcat Coal ck #1443                  debit               CAD             (5,000.00)           -         (5,100.00)           -
        ACCO       ACCO          27218    2/3/2012 CASH                                                                  debit                                  debit               CAD             (4,000.00)           -         (4,200.00)           -
        ACCO       ACCO          27353    2/9/2012 CASH                                                                  debit                                  debit               CAD            (15,000.00)           -        (15,750.00)           -
        ACCO       ACCO          27426   2/11/2012 WORK                                                                  Accord 12 fees                         debit               USD                   -        (2,500.00)            -              -
        ACCO       ACCO          27571   2/14/2012 SIL2      UVFT      UV Flu                                  (202,117) sell stock                             sell stock          USD             32,059.54      31,097.75             -              -
        ACCO       ACCO          27646   2/15/2012 TDQB      L-RPCC    Quarry:RPC:6%:Demand                     100,000 RPC Stategies ck #1463                  buy stock           CAD          (100,010.00)            -      (101,010.10)            -
        ACCO       ACCO          27700   2/15/2012 BSIT                                                                  forex                                  forex debit         USD          (107,137.48)    (108,208.85)            -              -
        ACCO       ACCO          27700   2/15/2012 BSIT                                                                  forex                                  forex credit        CAD           106,473.19             -       106,473.19             -
        ACCO       ACCO          27653   2/15/2012 WORK                                                                  internal transfer STEV                 credit              USD                   -        80,000.00             -              -
        ACCO       ACCO          27814   2/16/2012 XPHO                                                                  Buy phone                              debit               USD                   -          (285.00)            -              -
        ACCO       ACCO          27782   2/17/2012 TDQB                                                                  Mike Veldhuis ck #72                   credit              CAD              3,150.00            -          3,150.00            -
        ACCO       ACCO          27813   2/17/2012 CASH                                                                  debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          27846   2/20/2012 HYPP      UVFT      UV Flu                                   (50,000) sell stock                             sell stock          USD              7,498.48       7,311.02             -              -
        ACCO       ACCO          27962   2/20/2012 TDCO                                                                  forex ck #424                          forex debit         USD             (6,956.46)     (7,026.02)            -              -
        ACCO       ACCO          27962   2/20/2012 CASH                                                                  forex ck #424                          forex credit        CAD              6,817.16            -          6,817.16            -
        ACCO       ACCO          28106   2/23/2012 DGMI                                                                  McMillan TT Monterra                   debit               USD                (20.56)       (120.56)            -              -
        ACCO       ACCO          28684   2/29/2012 WORK                                                                  interest charge                        interest charge     USD                   -          (148.10)            -              -
        ACCO       ACCO          28685   2/29/2012 WORK                                                                  interest charge                        interest charge     CAD                   -              -           (231.45)           -
        ACCO       ACCO          29320   3/12/2012 CASH                                                                  debit                                  debit               CAD            (20,000.00)           -        (21,000.00)           -
                                                                                                                                                                                                                                                            Date Filed: 02/18/2025




        ACCO       ACCO          29352   3/13/2012 TDCO                                                                  forex ck #441                          forex debit         USD            (26,118.68)    (26,379.87)            -              -
        ACCO       ACCO          29352   3/13/2012 CASH                                                                  forex ck #441                          forex credit        CAD             25,465.54            -         25,465.54            -
        ACCO       ACCO          29354   3/13/2012 WORK                                                                  forex                                  forex debit         USD                   -        (9,762.18)            -              -
        ACCO       ACCO          29354   3/13/2012 WORK                                                                  forex                                  forex credit        CAD                   -              -          9,423.80            -
        ACCO       ACCO          29385   3/13/2012 CASH                                                                  debit                                  debit               USD             (2,500.00)     (2,625.00)            -              -
        ACCO       ACCO          29419   3/14/2012 WORK                                                                  Red Rock 12 fees                       debit               USD                   -        (1,200.00)            -              -
        ACCO       ACCO          29640   3/19/2012 DGMN      AAPH      American Petro-Hunter                    (10,000) sell stock                             sell stock          USD              4,112.00       4,009.20             -              -
        ACCO       ACCO          29807   3/23/2012 WORK                                                                  internal transfer                      credit              USD                   -       192,250.00             -              -
        ACCO       ACCO          30091   3/27/2012 TDCO                                                                  forex ck #449                          forex debit         USD          (147,951.00)    (149,430.51)            -              -
        ACCO       ACCO          30091   3/27/2012 CASH                                                                  forex ck #449                          forex credit        CAD           144,693.86             -       144,693.86             -
        ACCO       ACCO          29943   3/27/2012 TDQB                                                                  1/2 drafts to Red Rock ck #1603        debit               CAD            (31,261.25)           -        (31,573.86)           -




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         Account    Account    Batch      Batch       Bank                                 Symbol                                     Batch                  Transaction    Currency   Cash Bank        Cash Acct       Cash Acct       Cash Acct
                                                              Symbol                                     Stock
          Code       Title      ID         Date       Code                                Description                               Description              Description     Code      (in Curr)          (USD)          (CAD)           (EUR)
        ACCO       ACCO          30042   3/29/2012 TDQB                                                           RPC Strategies ck #1609              debit               CAD          (112,000.00)             -      (113,120.00)            -
        ACCO       ACCO          30100   3/29/2012 WORK                                                           custody fees                         debit               USD                   -           (127.12)            -              -
                                                                                                                                                                                                                                                    Case: 24-1770




        ACCO       ACCO          30201   3/29/2012 WORK                                                           interest charge                      interest charge     USD                   -           (232.13)            -              -
        ACCO       ACCO          30202   3/29/2012 WORK                                                           interest charge                      interest charge     CAD                   -               -           (260.06)           -
        ACCO       ACCO          30475   3/30/2012 WORK                                                           forex                                forex debit         USD                   -           (268.58)            -              -
        ACCO       ACCO          30475   3/30/2012 WORK                                                           forex                                forex credit        CAD                   -               -            260.06            -
        ACCO       ACCO          29863    4/1/2012 WORK                                                           internal transfer KOMK #2            debit               USD                   -        (50,100.00)            -              -
        ACCO       ACCO          30544    4/3/2012 WORK                                                           internal transfer                    credit              USD                   -      1,000,000.00             -              -
        ACCO       ACCO          30554    4/3/2012 HYPP      UVFT      UV Flu                            (27,500) sell stock                           sell stock          USD              3,187.59        3,087.59             -              -
        ACCO       ACCO          30564    4/3/2012 CASH                                                           debit                                debit               USD             (7,000.00)      (7,350.00)            -              -
        ACCO       ACCO          30565    4/3/2012 CASH                                                           debit                                debit               CAD            (10,000.00)            -        (10,500.00)           -
        ACCO       ACCO          30566    4/3/2012 TDQB                                                           0847865 BC ck #1623                  debit               CAD            (25,000.00)            -        (25,250.00)           -
        ACCO       ACCO          30572    4/3/2012 WORK                                                           forex                                forex debit         USD                   -         (3,422.65)            -              -
        ACCO       ACCO          30572    4/3/2012 WORK                                                           forex                                forex credit        CAD                   -               -          3,307.40            -
        ACCO       ACCO          30583    4/3/2012 WORK                                                           forex                                forex debit         USD                   -        (36,995.74)            -              -
        ACCO       ACCO          30583    4/3/2012 WORK                                                           forex                                forex credit        CAD                   -               -         35,750.00            -
        ACCO       ACCO          30559    4/3/2012 TDQB                                                           Amex ck #1622                        debit               CAD             (3,207.40)            -         (3,307.40)           -
        ACCO       ACCO          30715    4/5/2012 DGMI                                                           Oryon Technologies TT                debit               USD            (75,070.00)     (75,820.70)            -              -
        ACCO       ACCO          30828   4/10/2012 WORK                                                           Venture Capital First 12 fees        debit               USD                   -         (1,200.00)            -              -
        ACCO       ACCO          30863   4/10/2012 HYPP      UVFT      UV Flu                            (38,850) sell stock                           sell stock          USD              4,536.22        4,422.81             -              -
        ACCO       ACCO          30945   4/11/2012 WORK                                                           internal transfer ONCS               credit              USD                   -        269,000.00             -              -
        ACCO       ACCO          30975   4/12/2012 HYPP      UVFT      UV Flu                            (72,250) sell stock                           sell stock          USD              7,292.42        7,110.11             -              -
        ACCO       ACCO          31016   4/13/2012 TDQB      L-RPCC    Quarry:RPC:6%:Demand              250,000 RPC Strategies ck #1677               buy stock           CAD          (250,000.00)             -      (252,500.00)            -
        ACCO       ACCO          31025   4/13/2012 SIL2      UVFT      UV Flu                            (39,970) sell stock                           sell stock          USD              3,124.97        3,024.97             -              -
        ACCO       ACCO          31028   4/13/2012 HYPP      UVFT      UV Flu                            (19,394) sell stock                           sell stock          USD              1,524.72        1,424.72             -              -
        ACCO       ACCO          31037   4/13/2012 BSIT                                                           forex                                forex debit         USD          (254,100.83)     (256,641.84)            -              -
                                                                                                                                                                                                                                                    Document: 00118249068




        ACCO       ACCO          31037   4/13/2012 BSIT                                                           forex                                forex credit        CAD           252,500.00              -       252,500.00             -
        ACCO       ACCO          31136   4/17/2012 TDQB      L-RPCC    Quarry:RPC:6%:Demand              100,000 RPC Strategies ck #1684               buy stock           CAD          (100,000.00)             -      (101,000.00)            -
        ACCO       ACCO          31218   4/17/2012 BSIT                                                           forex                                forex debit         USD             (5,341.34)      (5,394.75)            -              -
        ACCO       ACCO          31218   4/17/2012 BSIT                                                           forex                                forex credit        CAD              5,250.00             -          5,250.00            -
        ACCO       ACCO          31160   4/17/2012 BSIT                                                           forex                                forex debit         USD          (101,783.76)     (102,801.60)            -              -
        ACCO       ACCO          31160   4/17/2012 BSIT                                                           forex                                forex credit        CAD           101,000.00              -       101,000.00             -
        ACCO       ACCO          31203   4/17/2012 CASH                                                           debit                                debit               CAD             (5,000.00)            -         (5,250.00)           -
        ACCO       ACCO          31263   4/19/2012 BSIT      ARW       Aroway Minerals                   250,000 buy stock                             buy stock           CAD          (177,382.53)             -      (182,704.01)            -
        ACCO       ACCO          31278   4/19/2012 BSIT                                                           forex                                forex debit         USD            (84,448.07)     (85,292.55)            -              -
        ACCO       ACCO          31278   4/19/2012 BSIT                                                           forex                                forex credit        CAD             83,004.01             -         83,004.01            -
        ACCO       ACCO          31276   4/19/2012 TDCO                                                           forex ck #467                        forex debit         USD          (101,840.49)     (102,858.89)            -              -




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        ACCO       ACCO          31276   4/19/2012 CASH                                                           forex ck #467                        forex credit        CAD             99,700.00             -         99,700.00            -
        ACCO       ACCO          31330   4/20/2012 CASH                                                           debit                                debit               USD             (5,000.00)      (5,250.00)            -              -
        ACCO       ACCO          31452   4/23/2012 WORK                                                           forex                                forex debit         USD                   -         (2,435.69)            -              -
        ACCO       ACCO          31452   4/23/2012 WORK                                                           forex                                forex credit        CAD                   -               -          2,350.00            -
        ACCO       ACCO          31436   4/23/2012 TDQB                                                           Ice Sports ck #1706                  debit               CAD             (2,250.00)            -         (2,350.00)           -
        ACCO       ACCO          40385   4/25/2012 TDQB                                                           Mark Hepplewhite ck #1717            debit               CAD            (50,000.00)            -        (50,500.00)           -
        ACCO       ACCO          31525   4/25/2012 TDQB                                                           Momentum ck #1716                    debit               CAD            (11,200.00)            -        (11,312.00)           -
        ACCO       ACCO          31599   4/26/2012 BSIT                                                           forex                                forex debit         USD          (425,437.41)     (429,691.78)            -              -
        ACCO       ACCO          31599   4/26/2012 BSIT                                                           forex                                forex credit        CAD           415,312.00              -       415,312.00             -
        ACCO       ACCO          31553   4/26/2012 TDQB      L-RPCC    Quarry:RPC:6%:Demand              350,000 Mike Veldhuis ck #1722                buy stock           CAD          (350,000.00)             -      (353,500.00)            -
        ACCO       ACCO          31683   4/27/2012 CASH                                                           debit                                debit               CAD            (10,000.00)            -        (10,500.00)           -
        ACCO       ACCO          31694   4/27/2012 TDQB                                                           forex                                forex debit         USD            (10,739.49)     (10,846.88)            -              -
        ACCO       ACCO          31694   4/27/2012 TDQB                                                           forex                                forex credit        CAD             10,500.00             -         10,500.00            -
        ACCO       ACCO          40397   4/29/2012 LOAN      L-RPCC    Quarry:RPC:6%:Demand               24,316 interest                              buy stock           CAD                   -               -         (4,053.00)           -
        ACCO       ACCO          31856   4/30/2012 WORK                                                           internal transfer ONCS               credit              USD                   -         95,000.00             -              -
        ACCO       ACCO          31871   4/30/2012 WORK                                                           interest payment                     interest payment    USD                   -            451.95             -              -
        ACCO       ACCO          31872   4/30/2012 WORK                                                           interest charge                      interest charge     CAD                   -               -             (0.01)           -
        ACCO       ACCO          32054    5/1/2012 CASH                                                           debit                                debit               USD            (10,000.00)     (10,500.00)            -              -
        ACCO       ACCO          32129    5/1/2012 TDCO                                                           forex ck #481                        forex debit         USD                 (0.01)          (0.01)            -              -
        ACCO       ACCO          32129    5/1/2012 CASH                                                           forex ck #481                        forex credit        CAD                  0.01             -              0.01            -
        ACCO       ACCO          32369    5/8/2012 WORK                                                           repay April 4 advance                credit              USD                   -         75,820.70             -              -
        ACCO       ACCO          32573   5/11/2012 BSIT                                                           forex                                forex debit         USD             (5,107.85)      (5,158.93)            -              -
                                                                                                                                                                                                                                                    Date Filed: 02/18/2025




        ACCO       ACCO          32573   5/11/2012 BSIT                                                           forex                                forex credit        CAD              5,103.75             -          5,103.75            -
        ACCO       ACCO          32555   5/11/2012 TDCO                                                           Red Rock draft ck #33                debit               CAD             (5,003.75)            -         (5,103.75)           -
        ACCO       ACCO          32594   5/14/2012 TDCO                                                           Brad Hoeppner ck #34                 debit               CAD            (25,000.00)            -        (25,250.00)           -
        ACCO       ACCO          32595   5/14/2012 TDCO                                                           Andrew Cheshire ck #35               debit               CAD            (30,000.00)            -        (30,300.00)           -
        ACCO       ACCO          32631   5/14/2012 SIL2                                                           forex                                forex debit         USD            (27,893.07)     (28,172.00)            -              -
        ACCO       ACCO          32631   5/14/2012 SIL2                                                           forex                                forex credit        CAD             27,823.34             -         27,823.34            -
        ACCO       ACCO          32632   5/14/2012 BSIT                                                           forex                                forex debit         USD            (27,749.11)     (28,026.60)            -              -
        ACCO       ACCO          32632   5/14/2012 BSIT                                                           forex                                forex credit        CAD             27,726.66             -         27,726.66            -
        ACCO       ACCO          32687   5/15/2012 CASH                                                           debit                                debit               CAD            (10,000.00)            -        (10,500.00)           -
        ACCO       ACCO          32688   5/15/2012 BSIT                                                           forex                                forex debit         USD            (10,576.15)     (10,681.91)            -              -
        ACCO       ACCO          32688   5/15/2012 BSIT                                                           forex                                forex credit        CAD             10,500.00             -         10,500.00            -




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         Account    Account    Batch      Batch       Bank                                   Symbol                                     Batch                       Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                              Symbol                                       Stock
          Code       Title      ID         Date       Code                                  Description                              Description                    Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          33081   5/24/2012 CASH                                                            debit                                      debit               CAD            (20,000.00)           -        (21,000.00)            -
        ACCO       ACCO          33085   5/24/2012 WORK                                                            BR repayment                               credit              USD                   -       130,000.00             -               -
                                                                                                                                                                                                                                                              Case: 24-1770




        ACCO       ACCO          33062   5/24/2012 TDCO                                                            Draft to Mike Veldhuis ck #72              debit               CAD          (287,461.08)            -      (290,335.69)             -
        ACCO       ACCO          33111   5/24/2012 HYPP                                                            forex                                      forex debit         USD            (39,246.47)    (39,638.93)            -               -
        ACCO       ACCO          33111   5/24/2012 HYPP                                                            forex                                      forex credit        CAD             40,000.00            -         40,000.00             -
        ACCO       ACCO          33121   5/24/2012 BSIT                                                            forex                                      forex debit         USD             (3,360.56)     (3,394.17)            -               -
        ACCO       ACCO          33121   5/24/2012 BSIT                                                            forex                                      forex credit        CAD              3,336.40            -          3,336.40             -
        ACCO       ACCO          33122   5/24/2012 SIL2                                                            forex                                      forex debit         USD          (172,708.43)    (174,435.51)            -               -
        ACCO       ACCO          33122   5/24/2012 SIL2                                                            forex                                      forex credit        CAD           172,276.66             -       172,276.66              -
        ACCO       ACCO          33123   5/24/2012 DGMI                                                            forex                                      forex debit         USD            (30,027.37)    (30,327.64)            -               -
        ACCO       ACCO          33123   5/24/2012 DGMI                                                            forex                                      forex credit        CAD             30,100.00            -         30,100.00             -
        ACCO       ACCO          33125   5/24/2012 TDQB                                                            forex                                      forex debit         USD            (42,943.56)    (43,373.00)            -               -
        ACCO       ACCO          33125   5/24/2012 TDQB                                                            forex                                      forex credit        CAD             41,985.80            -         41,985.80             -
        ACCO       ACCO          33231   5/24/2012 WORK                                                            forex                                      forex debit         USD                   -       (23,292.97)            -               -
        ACCO       ACCO          33231   5/24/2012 WORK                                                            forex                                      forex credit        CAD                   -              -         23,636.83             -
        ACCO       ACCO          48833   5/29/2012 WORK                                                            Statement STVF                             debit               USD                   -        (2,866.00)            -               -
        ACCO       ACCO          33254   5/30/2012 WORK                                                            internal transfer STVF                     credit              USD                   -       700,000.00             -               -
        ACCO       ACCO          33792   5/30/2012 TDCO      L-VELC    Coventry:Veldhuis:6%:Demand         500,000 Draft to Mike Veldhuis ck #81              buy stock           CAD          (500,007.50)            -      (505,007.58)             -
        ACCO       ACCO          33366   5/30/2012 WORK                                                            forex                                      forex debit         USD                   -       (68,724.27)            -               -
        ACCO       ACCO          33366   5/30/2012 WORK                                                            forex                                      forex credit        CAD                   -              -         70,007.58             -
        ACCO       ACCO          33341   5/31/2012 BSIT                                                            forex                                      forex debit         USD          (424,017.94)    (428,258.12)            -               -
        ACCO       ACCO          33341   5/31/2012 BSIT                                                            forex                                      forex credit        CAD           435,000.00             -       435,000.00              -
        ACCO       ACCO          33486   5/31/2012 WORK                                                            interest payment                           interest payment    USD                   -           168.55             -               -
        ACCO       ACCO          33487   5/31/2012 WORK                                                            interest charge                            interest charge     CAD                   -              -             (0.01)            -
        ACCO       ACCO          33666    6/1/2012 TDCO                                                            BMO MasterCard ck #87                      debit               CAD             (5,000.00)           -         (5,100.00)            -
        ACCO       ACCO          33687    6/1/2012 DGMI                                                            forex                                      forex debit         USD             (5,004.92)     (5,054.97)            -               -
                                                                                                                                                                                                                                                              Document: 00118249068




        ACCO       ACCO          33687    6/1/2012 DGMI                                                            forex                                      forex credit        CAD              5,100.01            -          5,100.01             -
        ACCO       ACCO          33983    6/7/2012 WORK                                                            Accord Fdn 12 fees                         debit               USD                   -        (3,500.00)            -               -
        ACCO       ACCO          40386   6/15/2012 TDQB                                                            RPC Strategies ck #1832                    debit               CAD          (112,000.00)            -      (113,120.00)             -
        ACCO       ACCO          34435   6/15/2012 TDCO                                                            forex                                      forex debit         USD          (110,793.34)    (111,901.27)            -               -
        ACCO       ACCO          34435   6/15/2012 TDCO                                                            forex                                      forex credit        CAD           113,120.00             -       113,120.00              -
        ACCO       ACCO          34477   6/19/2012 WORK                                                            internal transfer CRCL                     credit              USD                   -       291,500.00             -               -
        ACCO       ACCO          34554   6/19/2012 BSIT                                                            forex                                      forex debit         USD            (10,361.16)    (10,464.77)            -               -
        ACCO       ACCO          34554   6/19/2012 BSIT                                                            forex                                      forex credit        CAD             10,500.00            -         10,500.00             -
        ACCO       ACCO          34513   6/19/2012 CASH                                                            debit                                      debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          34482   6/19/2012 WORK                                                            internal transfer ECAU                     debit               USD                   -      (225,100.00)            -               -
        ACCO       ACCO          34678   6/21/2012 WORK                                                            forex                                      forex debit         USD                   -       (32,237.33)            -               -




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        ACCO       ACCO          34678   6/21/2012 WORK                                                            forex                                      forex credit        CAD                   -              -         32,250.00             -
        ACCO       ACCO          34635   6/21/2012 CASH                                                            debit                                      debit               CAD            (15,000.00)           -        (15,750.00)            -
        ACCO       ACCO          34639   6/21/2012 WORK                                                            internal transfer boat                     debit               CAD                   -              -        (16,500.00)            -
        ACCO       ACCO          34911   6/28/2012 CASH                                                            debit                                      debit               USD             (5,000.00)     (5,250.00)            -               -
        ACCO       ACCO          34988   6/30/2012 WORK                                                            interest payment                           interest payment    USD                   -           138.49             -               -
        ACCO       ACCO          35264    7/1/2012 WORK                                                            custody fees                               debit               USD                   -           (31.77)            -               -
        ACCO       ACCO          35265    7/1/2012 WORK                                                            custody fees                               debit               CAD                   -              -           (312.50)            -
        ACCO       ACCO          35458    7/3/2012 CASH                                                            debit                                      debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          35460    7/3/2012 TDCO                                                            forex                                      forex debit         USD            (10,732.01)    (10,839.33)            -               -
        ACCO       ACCO          35460    7/3/2012 TDCO                                                            forex                                      forex credit        CAD             10,812.50            -         10,812.50             -
        ACCO       ACCO          35515    7/4/2012 TDCO                                                            BMO MasterCard ck #99                      debit               CAD             (6,600.00)           -         (6,700.00)            -
        ACCO       ACCO          35520    7/4/2012 TDCH                                                            forex                                      forex debit         USD            (10,000.00)    (10,100.00)            -               -
        ACCO       ACCO          35520    7/4/2012 TDCH                                                            forex                                      forex credit        CAD              9,953.00            -          9,953.00             -
        ACCO       ACCO          35955   7/19/2012 CASH                                                            debit                                      debit               USD             (6,000.00)     (6,300.00)            -               -
        ACCO       ACCO          35957   7/19/2012 CASH                                                            debit                                      debit               CAD             (6,420.00)           -         (6,741.00)            -
        ACCO       ACCO          35967   7/19/2012 BSIT                                                            forex                                      forex debit         USD             (3,450.39)     (3,484.89)            -               -
        ACCO       ACCO          35967   7/19/2012 BSIT                                                            forex                                      forex credit        CAD              3,488.00            -          3,488.00             -
        ACCO       ACCO          36102   7/25/2012 TDCO                                                            draft to Restoration Hardwood ck #119      debit               CAD             (5,956.50)           -         (6,056.50)            -
        ACCO       ACCO          36115   7/25/2012 TDCO                                                            forex ck #531                              forex debit         USD             (6,063.37)     (6,124.00)            -               -
        ACCO       ACCO          36115   7/25/2012 CASH                                                            forex ck #531                              forex credit        CAD              6,056.50            -          6,056.50             -
        ACCO       ACCO          36142   7/26/2012 TDCO                                                            Draft to Northwest Refrigeration ck #120   debit               CAD             (5,359.16)           -         (5,459.16)            -
        ACCO       ACCO          36370   7/30/2012 WORK                                                            interest payment                           interest payment    USD                   -            81.11             -               -
                                                                                                                                                                                                                                                              Date Filed: 02/18/2025




        ACCO       ACCO          36371   7/30/2012 WORK                                                            interest charge                            interest charge     CAD                   -              -             (0.01)            -
        ACCO       ACCO          36359   7/31/2012 TDCO                                                            Update Blinds & Parts ck #121              debit               CAD             (1,300.00)           -         (1,400.00)            -
        ACCO       ACCO          36586    8/1/2012 WORK                                                            forex                                      forex debit         USD                   -        (7,019.09)            -               -
        ACCO       ACCO          36586    8/1/2012 WORK                                                            forex                                      forex credit        CAD                   -              -          6,851.67             -
        ACCO       ACCO          36753    8/7/2012 CASH                                                            debit                                      debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          36766    8/7/2012 BSIT                                                            forex                                      forex debit         USD             (9,953.22)    (10,052.75)            -               -
        ACCO       ACCO          36766    8/7/2012 BSIT                                                            forex                                      forex credit        CAD             10,500.00            -         10,500.00             -
        ACCO       ACCO          36878   8/13/2012 DGMI                                                            James Geiskopf TT                          debit               USD             (4,070.00)     (4,170.00)            -               -
        ACCO       ACCO          36978   8/15/2012 BSIT                                                            Hendrikus Veldhuis TT                      debit               EUR            (10,000.00)           -               -        (10,100.00)
        ACCO       ACCO          36993   8/15/2012 BSIT                                                            forex                                      forex debit         USD            (12,390.00)    (12,639.04)            -               -
        ACCO       ACCO          36993   8/15/2012 BSIT                                                            forex                                      forex credit        EUR             10,000.00            -               -         10,100.00




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         Account    Account    Batch     Batch      Bank                                      Symbol                                      Batch                  Transaction   Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                          Stock
          Code       Title      ID        Date      Code                                     Description                                Description              Description     Code     (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          37022 8/16/2012 CASH                                                                 debit                                debit               CAD           (30,000.00)           -        (31,500.00)           -
        ACCO       ACCO          37023 8/16/2012 TDQB                                                                 forex                                forex debit         USD           (32,450.81)    (32,775.32)            -              -
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        ACCO       ACCO          37023 8/16/2012 TDQB                                                                 forex                                forex credit        CAD            31,500.00            -         31,500.00            -
        ACCO       ACCO          37477 8/31/2012 WORK                                                                 interest payment                     interest payment    USD                  -            40.36             -              -
        ACCO       ACCO          37478 8/31/2012 WORK                                                                 interest charge                      interest charge     CAD                  -              -             (0.01)           -
        ACCO       ACCO          37919 9/1/2012 BSIT                                                                  forex                                forex debit         USD            (7,749.97)     (7,827.47)            -              -
        ACCO       ACCO          37919 9/1/2012 BSIT                                                                  forex                                forex credit        CAD             7,600.01            -          7,600.01            -
        ACCO       ACCO          37797 9/4/2012 TDQB                                                                  BMO Mastercard ck #2008              debit               CAD            (7,500.00)           -         (7,600.00)           -
        ACCO       ACCO          38262 9/17/2012 WORK                                                                 internal transfer                    credit              USD                  -        20,000.00             -              -
        ACCO       ACCO          38335 9/17/2012 TDCO                                                                 forex ck #569                        forex debit         USD              (105.09)       (106.14)            -              -
        ACCO       ACCO          38335 9/17/2012 CASH                                                                 forex ck #569                        forex credit        CAD               100.00            -            100.00            -
        ACCO       ACCO          39310 9/24/2012 BSIT                                                                 forex                                forex debit         USD           (33,364.05)    (33,697.69)            -              -
        ACCO       ACCO          39310 9/24/2012 BSIT                                                                 forex                                forex credit        CAD            32,600.01            -         32,600.01            -
        ACCO       ACCO          38581 9/24/2012 CASH                                                                 debit                                debit               CAD           (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          40387 9/27/2012 TDQB                                                                 RPC Strategies ck #2092              debit               CAD           (20,000.00)           -        (20,200.00)           -
        ACCO       ACCO          38812 9/28/2012 WORK                                                                 internal transfer CRCL               credit              USD                  -        77,500.00             -              -
        ACCO       ACCO          38800 9/28/2012 CASH                                                                 debit                                debit               USD           (10,000.00)    (10,500.00)            -              -
        ACCO       ACCO          38804 9/28/2012 TDQB                                                                 Brad Hoeppner ck #2098               debit               CAD            (1,800.00)           -         (1,900.00)           -
        ACCO       ACCO          38909 9/29/2012 WORK                                                                 custody fees                         debit               USD                  -           (27.64)            -              -
        ACCO       ACCO          39026 9/29/2012 WORK                                                                 interest payment                     interest payment    USD                  -            20.15             -              -
        ACCO       ACCO          39027 9/29/2012 WORK                                                                 interest charge                      interest charge     CAD                  -              -             (0.01)           -
        ACCO       ACCO          39401 10/3/2012 TDQB                                                                 BMO MasterCard ck #2116              debit               CAD           (10,000.00)           -        (10,100.00)           -
        ACCO       ACCO          39402 10/3/2012 TDQB                                                                 CIBC Visa ck #2117                   debit               CAD            (3,000.00)           -         (3,100.00)           -
        ACCO       ACCO          39405 10/3/2012 CASH                                                                 debit                                debit               USD            (5,000.00)     (5,250.00)            -              -
        ACCO       ACCO          39416 10/3/2012 WORK                                                                 forex                                forex debit         USD                  -       (13,737.14)            -              -
        ACCO       ACCO          39416 10/3/2012 WORK                                                                 forex                                forex credit        CAD                  -              -         13,200.00            -
                                                                                                                                                                                                                                                      Document: 00118249068




        ACCO       ACCO          39471 10/4/2012 TDQB                                                                 Seca Marine ck #2122                 debit               CAD            (1,113.56)           -         (1,213.56)           -
        ACCO       ACCO          39566 10/8/2012 BSIT      AAPH      American Petro-Hunter                   (25,000) sell stock                           sell stock          USD             3,656.71       3,547.01             -              -
        ACCO       ACCO          39579 10/9/2012 BSIT      AAPH      American Petro-Hunter                    (5,000) sell stock                           sell stock          USD               666.32         566.32             -              -
        ACCO       ACCO          38313 10/10/2012 BSIT     ARW       Aroway Minerals                        (250,000) deliver stock                        stock delivery      CAD                  -              -           (100.00)           -
        ACCO       ACCO          40942 10/10/2012 BSIT                                                                ARW delivery                         debit               USD               (50.06)       (150.06)            -              -
        ACCO       ACCO          39747 10/12/2012 BMQB                                                                CIBC visa ck #22                     debit               CAD            (7,000.00)           -         (7,100.00)           -
        ACCO       ACCO          39940 10/12/2012 BSIT                                                                forex                                forex debit         USD           (23,979.11)    (24,218.90)            -              -
        ACCO       ACCO          39940 10/12/2012 BSIT                                                                forex                                forex credit        CAD            23,463.56            -         23,463.56            -
        ACCO       ACCO          39896 10/18/2012 BMQB                                                                BMO mastercard ck #25                debit               CAD           (15,000.00)           -        (15,150.00)           -
        ACCO       ACCO          39974 10/22/2012 BSIT     AAPH      American Petro-Hunter                   (10,000) sell stock                           sell stock          USD             1,380.10       1,280.10             -              -
        ACCO       ACCO          40033 10/22/2012 HYPP     ARW       Aroway Minerals                         440,000 buy stock                             buy stock           CAD                  -              -      (220,000.00)            -




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        ACCO       ACCO          40071 10/22/2012 WORK                                                                forex                                forex debit         USD                  -       (26,195.94)            -              -
        ACCO       ACCO          40071 10/22/2012 WORK                                                                forex                                forex credit        CAD                  -              -         25,455.47            -
        ACCO       ACCO          40154 10/24/2012 CASH                                                                debit                                debit               USD            (5,000.00)     (5,250.00)            -              -
        ACCO       ACCO          40429 10/31/2012 WORK                                                                interest charge                      interest charge     USD                  -            (3.99)            -              -
        ACCO       ACCO          40430 10/31/2012 WORK                                                                interest charge                      interest charge     CAD                  -              -         (1,901.07)           -
        ACCO       ACCO          41345 11/15/2012 BSIT                                                                forex                                forex debit         USD           (93,659.36)    (94,595.95)            -              -
        ACCO       ACCO          41345 11/15/2012 BSIT                                                                forex                                forex credit        CAD            93,237.89            -         93,237.89            -
        ACCO       ACCO          41297 11/15/2012 WORK                                                                internal transfer ORYN               credit              USD                  -       100,000.00             -              -
        ACCO       ACCO          41472 11/21/2012 CASH                                                                debit                                debit               CAD           (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          41502 11/21/2012 XPHO                                                                buy phone                            debit               USD                  -          (300.00)            -              -
        ACCO       ACCO          41666 11/27/2012 WORK                                                                Directors fees                       debit               USD                  -          (100.00)            -              -
        ACCO       ACCO          41691 11/28/2012 BSIT                                                                Hendrikus Veldhuis TT                debit               CAD           (10,000.00)           -        (10,100.00)           -
        ACCO       ACCO          41955 11/30/2012 WORK                                                                interest charge                      interest charge     USD                  -           (51.98)            -              -
        ACCO       ACCO          41956 11/30/2012 WORK                                                                interest charge                      interest charge     CAD                  -              -         (3,802.69)           -
        ACCO       ACCO          43744 12/11/2012 VPQU     ARW       Aroway Minerals                         225,000 receive stock Atticus                 buy stock           CAD                  -              -           (100.00)           -
        ACCO       ACCO          42563 12/11/2012 CASH                                                                debit                                debit               USD           (10,000.00)    (10,500.00)            -              -
        ACCO       ACCO          42708 12/13/2012 XPHO                                                                buy phones                           debit               USD                  -          (600.00)            -              -
        ACCO       ACCO          42848 12/18/2012 DGMN                                                                Atticus Capital TT                   credit              USD            10,197.88      10,197.88             -              -
        ACCO       ACCO          43203 12/30/2012 WORK                                                                custody fees                         debit               USD                  -            (3.67)            -              -
        ACCO       ACCO          43204 12/30/2012 WORK                                                                custody fees                         debit               CAD                  -              -           (489.50)           -
        ACCO       ACCO          43326 12/31/2012 WORK                                                                interest charge                      interest charge     USD                  -          (161.70)            -              -
        ACCO       ACCO          43327 12/31/2012 WORK                                                                interest charge                      interest charge     CAD                  -              -         (3,448.66)           -
                                                                                                                                                                                                                                                      Date Filed: 02/18/2025




        ACCO       ACCO          44147 1/14/2013 DGMI                                                                 forex                                forex debit         USD           (28,198.54)    (28,480.53)            -              -
        ACCO       ACCO          44147 1/14/2013 DGMI                                                                 forex                                forex credit        CAD            27,606.68            -         27,606.68            -
        ACCO       ACCO          44055 1/14/2013 WORK                                                                 internal transfer STEV               credit              USD                  -        30,000.00             -              -
        ACCO       ACCO          44456 1/23/2013 CASH                                                                 debit                                debit               CAD            (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          44545 1/25/2013 CASH                                                                 debit                                debit               CAD            (7,000.00)           -         (7,350.00)           -
        ACCO       ACCO          44550 1/26/2013 WORK                                                                 internal transfer PGroup             credit              USD                  -        50,000.00             -              -
        ACCO       ACCO          44582 1/26/2013 BSIT                                                                 forex                                forex debit         USD           (49,504.95)    (50,000.00)            -              -
        ACCO       ACCO          44582 1/26/2013 BSIT                                                                 forex                                forex credit        CAD            49,633.66            -         49,633.66            -
        ACCO       ACCO          44609 1/29/2013 BOCG                                                                 BMO ck #111                          debit               CAD           (15,000.00)           -        (15,150.00)           -
        ACCO       ACCO          44674 1/30/2013 DGMI                                                                 RPC Strategies TT                    debit               CAD         (112,160.00)            -      (113,281.60)            -
        ACCO       ACCO          45184 1/30/2013 WORK                                                                 forex                                forex debit         USD                  -        (2,237.13)            -              -




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         Account    Account    Batch      Batch      Bank                                    Symbol                                             Batch                  Transaction    Currency   Cash Bank        Cash Acct       Cash Acct       Cash Acct
                                                             Symbol                                               Stock
          Code       Title      ID         Date      Code                                   Description                                       Description              Description     Code      (in Curr)          (USD)          (CAD)           (EUR)
        ACCO       ACCO          45184   1/30/2013 WORK                                                                     forex                                forex credit        CAD                   -               -          2,175.63            -
        ACCO       ACCO          44670   1/30/2013 BSIT                                                                     Hendrikus Veldhuis TT                debit               CAD             (5,500.00)            -         (5,600.00)           -
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        ACCO       ACCO          44671   1/30/2013 WORK                                                                     Titans Season 1                      credit              USD                   -          1,400.00             -              -
        ACCO       ACCO          44673   1/30/2013 WORK                                                                     Titans Season 2                      credit              USD                   -            850.00             -              -
        ACCO       ACCO          44663   1/30/2013 CASH                                                                     debit                                debit               CAD            (10,000.00)            -        (10,500.00)           -
        ACCO       ACCO          44726   1/30/2013 BOCG     L-REDC    BOCG:Red Rock Development Inc:6%:30/1/13     55,977   Marine Chrysler draft                buy stock           CAD            (55,985.14)            -        (56,544.99)           -
        ACCO       ACCO          44883   1/31/2013 WORK                                                                     interest charge                      interest charge     CAD                   -               -             (0.01)           -
        ACCO       ACCO          44882   1/31/2013 WORK                                                                     interest charge                      interest charge     USD                   -            (12.87)            -              -
        ACCO       ACCO          45137    2/1/2013 CASH                                                                     debit                                debit               CAD            (10,000.00)            -        (10,500.00)           -
        ACCO       ACCO          45359    2/6/2013 CASH                                                                     debit                                debit               USD             (3,000.00)      (3,150.00)            -              -
        ACCO       ACCO          45432    2/8/2013 BOCG                                                                     BMO card ck #127                     debit               CAD            (15,000.00)            -        (15,150.00)           -
        ACCO       ACCO          45528   2/12/2013 CASH                                                                     debit                                debit               CAD            (20,000.00)            -        (21,000.00)           -
        ACCO       ACCO          45654   2/12/2013 BSIT                                                                     forex                                forex debit         USD          (400,025.94)     (404,026.20)            -              -
        ACCO       ACCO          45654   2/12/2013 BSIT                                                                     forex                                forex credit        CAD           396,105.69              -       396,105.69             -
        ACCO       ACCO          45545   2/12/2013 WORK                                                                     internal transfer                    debit               USD                   -       (200,100.00)            -              -
        ACCO       ACCO          45552   2/12/2013 WORK                                                                     internal transfer ECAU               credit              USD                   -        775,000.00             -              -
        ACCO       ACCO          45617   2/13/2013 CASH                                                                     debit                                debit               CAD            (40,000.00)            -        (42,000.00)           -
        ACCO       ACCO          45657   2/14/2013 CASH                                                                     debit                                debit               USD             (3,000.00)      (3,150.00)            -              -
        ACCO       ACCO          45688   2/15/2013 BOCG                                                                     Harold James Phillips ck #134        debit               CAD             (5,000.00)            -         (5,100.00)           -
        ACCO       ACCO          45741   2/15/2013 WORK                                                                     forex                                forex debit         USD                   -         (5,115.19)            -              -
        ACCO       ACCO          45741   2/15/2013 WORK                                                                     forex                                forex credit        CAD                   -               -          5,100.00            -
        ACCO       ACCO          45732   2/18/2013 DGMI                                                                     Oryon Technologies TT                debit               USD            (50,070.00)     (50,570.70)            -              -
        ACCO       ACCO          45766   2/19/2013 WORK                                                                     internal transfer STEV               credit              USD                   -         45,000.00             -              -
        ACCO       ACCO          45773   2/19/2013 WORK                                                                     internal transfer ECAU               credit              USD                   -      2,500,000.00             -              -
        ACCO       ACCO          45902   2/20/2013 BSIT                                                                     forex                                forex debit         USD          (338,541.03)     (341,926.44)            -              -
        ACCO       ACCO          45902   2/20/2013 BSIT                                                                     forex                                forex credit        CAD           342,772.79              -       342,772.79             -
                                                                                                                                                                                                                                                              Document: 00118249068




        ACCO       ACCO          45810   2/20/2013 DGMI                                                                     Mike Veldhuis TT                     debit               CAD          (339,389.00)             -      (342,782.89)            -
        ACCO       ACCO          45970   2/25/2013 WORK                                                                     director fees                        debit               USD                   -           (100.00)            -              -
        ACCO       ACCO          46015   2/26/2013 WORK                                                                     Director fees                        debit               USD                   -           (100.00)            -              -
        ACCO       ACCO          46072   2/26/2013 DGMI                                                                     RPC Strategies TT                    debit               USD          (154,446.00)     (155,990.46)            -              -
        ACCO       ACCO          46574   2/28/2013 DGMI                                                                     forex                                forex debit         USD             (2,369.08)      (2,392.77)            -              -
        ACCO       ACCO          46574   2/28/2013 DGMI                                                                     forex                                forex credit        CAD              2,400.74             -          2,400.74            -
        ACCO       ACCO          46324   2/28/2013 WORK                                                                     interest payment                     interest payment    USD                   -            731.61             -              -
        ACCO       ACCO          46325   2/28/2013 WORK                                                                     interest charge                      interest charge     CAD                   -               -         (2,338.43)           -
        ACCO       ACCO          46655    3/4/2013 HELI     ORYN      Oryon Holdings                               50,000   buy stock                            buy stock           USD            (15,611.10)     (16,001.38)            -              -
        ACCO       ACCO          46679    3/5/2013 DGMI                                                                     0847865 BC TT                        debit               CAD          (112,160.00)             -      (113,281.60)            -
        ACCO       ACCO          46776    3/5/2013 DGMN                                                                     forex                                forex debit         USD          (175,419.28)     (177,173.47)            -              -




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        ACCO       ACCO          46776    3/5/2013 DGMN                                                                     forex                                forex credit        CAD           178,909.69              -       178,909.69             -
        ACCO       ACCO          46726    3/6/2013 DGMI                                                                     Galloway Energy TT                   debit               CAD            (50,040.00)            -        (50,540.40)           -
        ACCO       ACCO          46733    3/6/2013 BOCG                                                                     BMO MasterCard ck #164               debit               CAD            (15,000.00)            -        (15,150.00)           -
        ACCO       ACCO          46960    3/8/2013 DGMI                                                                     forex                                forex debit         USD            (15,596.54)     (15,752.51)            -              -
        ACCO       ACCO          46960    3/8/2013 DGMI                                                                     forex                                forex credit        CAD             15,851.50             -         15,851.50            -
        ACCO       ACCO          46824    3/8/2013 WORK                                                                     Accord 13 fees                       debit               USD                   -         (2,500.00)            -              -
        ACCO       ACCO          46839    3/8/2013 BOCG                                                                     TD Visa ck #173                      debit               CAD             (5,500.00)            -         (5,600.00)           -
        ACCO       ACCO          46910   3/11/2013 DGMI                                                                     Oryon Technologies TT                debit               USD            (50,070.00)     (50,570.70)            -              -
        ACCO       ACCO          46969   3/12/2013 CASH                                                                     debit                                debit               USD             (5,000.00)      (5,250.00)            -              -
        ACCO       ACCO          46971   3/12/2013 WORK     ORYN      Oryon Holdings                              500,000   internal transfer                    transfer stock in   USD                   -           (100.00)            -              -
        ACCO       ACCO          46972   3/12/2013 WORK                                                                     buy ORYN 500 000                     debit               USD                   -       (125,100.00)            -              -
        ACCO       ACCO          47009   3/13/2013 XPHO                                                                     Buy phone                            debit               USD                   -           (300.00)            -              -
        ACCO       ACCO          47046   3/14/2013 HELI     ORYN      Oryon Holdings                               54,065   buy stock                            buy stock           USD            (21,507.05)     (22,044.73)            -              -
        ACCO       ACCO          47199   3/20/2013 BOCG                                                                     BMO Mastercard ck #183               debit               CAD            (15,000.00)            -        (15,150.00)           -
        ACCO       ACCO          47202   3/20/2013 BOCG                                                                     CIBC Visa ck #184                    debit               CAD             (7,500.00)            -         (7,600.00)           -
        ACCO       ACCO          47248   3/20/2013 BSIT                                                                     forex                                forex debit         USD            (25,809.24)     (26,067.33)            -              -
        ACCO       ACCO          47248   3/20/2013 BSIT                                                                     forex                                forex credit        CAD             26,098.40             -         26,098.40            -
        ACCO       ACCO          47253   3/20/2013 WORK                                                                     forex                                forex debit         USD                   -           (398.14)            -              -
        ACCO       ACCO          47253   3/20/2013 WORK                                                                     forex                                forex credit        CAD                   -               -            398.70            -
        ACCO       ACCO          47219   3/20/2013 BOCG                                                                     VC Holdings ck #186                  debit               CAD            (13,860.00)            -        (13,998.60)           -
        ACCO       ACCO          47407   3/21/2013 WORK                                                                     forex                                forex debit         USD                   -         (9,604.20)            -              -
        ACCO       ACCO          47407   3/21/2013 WORK                                                                     forex                                forex credit        CAD                   -               -          9,665.83            -
                                                                                                                                                                                                                                                              Date Filed: 02/18/2025




        ACCO       ACCO          47272   3/21/2013 CASH                                                                     debit                                debit               USD             (3,000.00)      (3,150.00)            -              -
        ACCO       ACCO          47273   3/21/2013 CASH                                                                     debit                                debit               CAD            (10,000.00)            -        (10,500.00)           -
        ACCO       ACCO          47448   3/21/2013 DGMI                                                                     forex                                forex debit         USD          (455,743.25)     (460,300.68)            -              -
        ACCO       ACCO          47448   3/21/2013 DGMI                                                                     forex                                forex credit        CAD           458,809.68              -       458,809.68             -
        ACCO       ACCO         122936   3/27/2013 LOAN     L-GREC    Charterhouse:Greenestone:3%Pledge           453,147   loan advance                         buy stock           CAD                   -               -               -              -
        ACCO       ACCO          47447   3/27/2013 DGMI                                                                     McMillan TT                          debit               CAD          (453,307.28)             -      (457,840.35)            -
        ACCO       ACCO          48026   3/28/2013 CASH                                                                     debit                                debit               USD             (3,000.00)      (3,150.00)            -              -
        ACCO       ACCO          48001   3/29/2013 WORK                                                                     forex                                forex debit         USD                   -           (644.58)            -              -
        ACCO       ACCO          48001   3/29/2013 WORK                                                                     forex                                forex credit        CAD                   -               -            651.09            -
        ACCO       ACCO          47674   3/29/2013 WORK                                                                     custody fees                         debit               USD                   -           (494.04)            -              -
        ACCO       ACCO          47675   3/29/2013 WORK                                                                     custody fees                         debit               CAD                   -               -           (731.50)           -




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         Account    Account    Batch      Batch      Bank                                     Symbol                                      Batch                  Transaction    Currency   Cash Bank        Cash Acct       Cash Acct       Cash Acct
                                                             Symbol                                         Stock
          Code       Title      ID         Date      Code                                    Description                                Description              Description     Code      (in Curr)          (USD)          (CAD)           (EUR)
        ACCO       ACCO          47790   3/29/2013 WORK                                                               interest payment                     interest payment    USD                   -          1,343.38             -               -
        ACCO       ACCO          47791   3/29/2013 WORK                                                               interest payment                     interest payment    CAD                   -               -             80.41             -
                                                                                                                                                                                                                                                            Case: 24-1770




        ACCO       ACCO          47556   3/30/2013 WORK                                                               Red Rock 13 fees                     debit               USD                   -         (2,400.00)            -               -
        ACCO       ACCO          48164    4/2/2013 BSIT                                                               forex                                forex debit         USD             (1,392.29)      (1,406.21)            -               -
        ACCO       ACCO          48164    4/2/2013 BSIT                                                               forex                                forex credit        CAD              1,398.28             -          1,398.28             -
        ACCO       ACCO          48142    4/3/2013 BOCG                                                               Air fares ck #210                    debit               CAD             (1,298.28)            -         (1,398.28)            -
        ACCO       ACCO          48147    4/3/2013 DGMI                                                               Mecum Auctions TT                    debit               USD            (20,070.00)     (20,270.70)            -               -
        ACCO       ACCO          48332    4/8/2013 WORK                                                               internal transfer                    credit              USD                   -      2,000,000.00             -               -
        ACCO       ACCO          48380    4/9/2013 CASH                                                               debit                                debit               USD             (3,000.00)      (3,150.00)            -               -
        ACCO       ACCO          48551   4/10/2013 WORK                                                               forex                                forex debit         USD                   -         (7,416.26)            -               -
        ACCO       ACCO          48551   4/10/2013 WORK                                                               forex                                forex credit        EUR                   -               -               -          5,600.00
        ACCO       ACCO          48489   4/11/2013 BSIT                                                               Hendrikus Veldhuis TT                debit               EUR             (5,500.00)            -               -         (5,600.00)
        ACCO       ACCO          48460   4/11/2013 CBHQ     ARW       Aroway Minerals                         60,000 buy stock                             buy stock           CAD            (26,650.40)            -        (27,316.66)            -
        ACCO       ACCO          48550   4/11/2013 WORK                                                               forex                                forex debit         USD                   -        (27,471.19)            -               -
        ACCO       ACCO          48550   4/11/2013 WORK                                                               forex                                forex credit        CAD                   -               -         27,316.66             -
        ACCO       ACCO          48555   4/12/2013 BOCG                                                               buy 40 gold coins draft              debit               USD            (62,244.50)     (65,356.73)            -               -
        ACCO       ACCO          48590   4/15/2013 BOCG                                                               buy 20 gold coins draft              debit               USD            (28,563.40)     (29,991.57)            -               -
        ACCO       ACCO          48604   4/15/2013 WORK                                                               internal transfer                    debit               USD                   -       (125,100.00)            -               -
        ACCO       ACCO          48626   4/16/2013 BOCG                                                               buy 20 gold coins draft              debit               USD            (28,722.00)     (30,158.10)            -               -
        ACCO       ACCO          48681   4/17/2013 WORK                                                               internal transfer                    debit               USD                   -       (250,100.00)            -               -
        ACCO       ACCO          48741   4/18/2013 DGMI                                                               Galloway Energy TT                   debit               CAD            (25,040.00)            -        (25,290.40)            -
        ACCO       ACCO          48761   4/18/2013 HYPP                                                               forex                                forex debit         USD            (24,662.03)     (24,908.65)            -               -
        ACCO       ACCO          48761   4/18/2013 HYPP                                                               forex                                forex credit        CAD             25,165.34             -         25,165.34             -
        ACCO       ACCO          48890   4/22/2013 BOCG                                                               Airfares ck #236                     debit               CAD            (11,648.00)            -        (11,764.48)            -
        ACCO       ACCO          48911   4/22/2013 HYPP                                                               forex                                forex debit         USD            (11,487.63)     (11,602.51)            -               -
        ACCO       ACCO          48911   4/22/2013 HYPP                                                               forex                                forex credit        CAD             11,764.48             -         11,764.48             -
                                                                                                                                                                                                                                                            Document: 00118249068




        ACCO       ACCO          48976   4/23/2013 DGMI                                                               Mike Veldhuis TT                     debit               USD            (72,075.94)     (72,796.70)            -               -
        ACCO       ACCO          48977   4/23/2013 DGMI                                                               Mike Veldhuis TT                     debit               USD          (389,303.87)     (393,196.91)            -               -
        ACCO       ACCO          49097   4/26/2013 CBHQ     RKR       Rokmaster Resosurces                    49,500 buy stock                             buy stock           CAD            (11,617.64)            -        (11,908.08)            -
        ACCO       ACCO          49124   4/29/2013 CASH                                                               debit                                debit               CAD            (20,000.00)            -        (21,000.00)            -
        ACCO       ACCO          49173   4/29/2013 BSIT                                                               forex                                forex debit         USD            (32,835.84)     (33,164.20)            -               -
        ACCO       ACCO          49173   4/29/2013 BSIT                                                               forex                                forex credit        CAD             32,908.08             -         32,908.08             -
        ACCO       ACCO          50960   4/29/2013 LOAN     L-RPCC    Quarry:RPC:6%:Demand                    89,847 interest                              buy stock           CAD                   -               -        (14,975.00)            -
        ACCO       ACCO          49498   4/30/2013 WORK                                                               interest payment                     interest payment    EUR                   -               -               -              0.01
        ACCO       ACCO          49952   4/30/2013 WORK                                                               internal transfer RCCV               debit               CAD                   -               -        (50,450.00)            -
        ACCO       ACCO          49496   4/30/2013 WORK                                                               interest payment                     interest payment    USD                   -          1,977.00             -               -
        ACCO       ACCO          49497   4/30/2013 WORK                                                               interest charge                      interest charge     CAD                   -               -            (23.39)            -




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        ACCO       ACCO          49733    5/1/2013 DGMN                                                               forex                                forex debit         USD                (23.37)         (23.60)            -               -
        ACCO       ACCO          49733    5/1/2013 DGMN                                                               forex                                forex credit        CAD                 23.39             -             23.39             -
        ACCO       ACCO          49746    5/1/2013 DGMI                                                               RPC Strategies TT                    debit               CAD          (224,160.00)             -      (226,401.60)             -
        ACCO       ACCO          49747    5/1/2013 DGMN                                                               forex                                forex debit         USD          (225,264.46)     (227,517.10)            -               -
        ACCO       ACCO          49747    5/1/2013 DGMN                                                               forex                                forex credit        CAD           226,401.60              -       226,401.60              -
        ACCO       ACCO          49887    5/3/2013 WORK                                                               internal transfer                    credit              CAD                   -               -          5,000.00             -
        ACCO       ACCO          49983    5/6/2013 DGMI                                                               forex                                forex debit         USD          (385,995.98)     (389,855.94)            -               -
        ACCO       ACCO          49983    5/6/2013 DGMI                                                               forex                                forex credit        CAD           384,719.10              -       384,719.55              -
        ACCO       ACCO          51057    5/6/2013 BSIT                                                               forex                                forex debit         USD            (16,310.41)     (16,473.51)            -               -
        ACCO       ACCO          51057    5/6/2013 BSIT                                                               forex                                forex credit        CAD             16,837.24             -         16,837.24             -
        ACCO       ACCO          51017    5/6/2013 DGMI                                                               McMillan TT Irma Bazan               debit               CAD          (335,910.45)             -      (339,269.55)             -
        ACCO       ACCO          50223   5/10/2013 DGMI                                                               Westwood Motorcars TT                debit               USD            (46,670.00)     (47,136.70)            -               -
        ACCO       ACCO          50324   5/14/2013 CBHQ     RKR       Rokmaster Resosurces                       500 buy stock                             buy stock           CAD               (326.79)            -           (426.79)            -
        ACCO       ACCO          50594   5/14/2013 WORK                                                               forex                                forex debit         USD                   -           (423.94)            -               -
        ACCO       ACCO          50594   5/14/2013 WORK                                                               forex                                forex credit        CAD                   -               -            426.79             -
        ACCO       ACCO          50709   5/22/2013 WORK                                                               internal transfer                    debit               USD                   -       (400,100.00)            -               -
        ACCO       ACCO          50922   5/24/2013 DGMN                                                               Fitzroy TT                           credit              USD           125,000.00       125,000.00             -               -
        ACCO       ACCO          50924   5/24/2013 VERN     ORYN      Oryon Holdings                        (500,000) internal transfer                    stock delivery      USD                   -           (100.00)            -               -
        ACCO       ACCO          51046   5/29/2013 HYPP     RKR       Rokmaster Resosurces                    38,500 buy stock                             buy stock           CAD             (8,681.21)            -         (8,898.24)            -
        ACCO       ACCO          51145   5/29/2013 CBHQ                                                               forex                                forex debit         USD            (11,520.78)     (11,635.99)            -               -
        ACCO       ACCO          51145   5/29/2013 CBHQ                                                               forex                                forex credit        CAD             11,687.83             -         11,687.83             -
        ACCO       ACCO          51080   5/29/2013 TDCH                                                               Airfares ck #8                       debit               CAD             (5,565.84)            -         (5,665.84)            -
                                                                                                                                                                                                                                                            Date Filed: 02/18/2025




        ACCO       ACCO          51140   5/30/2013 HYPP     RKR       Rokmaster Resosurces                     3,000 buy stock                             buy stock           CAD               (823.99)            -           (923.99)            -
        ACCO       ACCO          51083   5/30/2013 LOAN     L-VELC    Coventry:Veldhuis:6%:Demand             30,590 interest                              buy stock           CAD                   -               -         (5,098.00)            -
        ACCO       ACCO          51401   5/31/2013 WORK                                                               interest payment                     interest payment    USD                   -          1,221.73             -               -
        ACCO       ACCO          51402   5/31/2013 WORK                                                               interest charge                      interest charge     CAD                   -               -           (176.33)            -
        ACCO       ACCO          51930    6/1/2013 BSIT                                                               forex                                forex debit         USD               (173.01)        (174.74)            -               -
        ACCO       ACCO          51930    6/1/2013 BSIT                                                               forex                                forex credit        CAD                176.33             -            176.33             -
        ACCO       ACCO          51961    6/7/2013 DGMI                                                               forex                                forex debit         USD          (147,591.31)     (149,067.22)            -               -
        ACCO       ACCO          51961    6/7/2013 DGMI                                                               forex                                forex credit        CAD           150,000.00              -       150,000.00              -
        ACCO       ACCO          52047   6/10/2013 DGMN                                                               forex                                forex debit         USD             (4,112.63)      (4,153.76)            -               -
        ACCO       ACCO          52047   6/10/2013 DGMN                                                               forex                                forex credit        CAD              4,147.88             -          4,147.88             -
        ACCO       ACCO          52021   6/10/2013 CASH                                                               buy 100 gold coins                   debit               CAD          (146,807.50)             -      (154,147.88)             -




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         Account    Account    Batch      Batch       Bank                                     Symbol                                                           Batch               Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                              Symbol                                                              Stock
          Code       Title      ID         Date       Code                                    Description                                                     Description           Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          52165   6/12/2013 WORK                                                                                     internal transfer                 debit               USD                   -      (250,100.00)            -               -
        ACCO       ACCO          52169   6/12/2013 DGMI                                                                                     Aria Resort & Casino TT           debit               USD            (50,070.00)    (50,570.70)            -               -
                                                                                                                                                                                                                                                                              Case: 24-1770




        ACCO       ACCO          52471   6/19/2013 WORK                                                                                     internal transfer                 debit               USD                   -      (150,100.00)            -               -
        ACCO       ACCO          52592   6/20/2013 BSIT                                                                                     forex                             forex debit         USD            (31,262.13)    (31,574.75)            -               -
        ACCO       ACCO          52592   6/20/2013 BSIT                                                                                     forex                             forex credit        CAD             32,200.00            -         32,200.00             -
        ACCO       ACCO          52549   6/20/2013 WORK                                                                                     internal transfer TUNG            credit              USD                   -       112,400.00             -               -
        ACCO       ACCO          52551   6/20/2013 WORK                                                                                     internal transfer TQLA            credit              USD                   -       400,000.00             -               -
        ACCO       ACCO          52557   6/20/2013 WORK                                                                                     internal transfer                 credit              USD                   -        20,000.00             -               -
        ACCO       ACCO          52560   6/20/2013 BSIT      ARW       Aroway Minerals                                            (643,000) internal transfer                 stock delivery      CAD                   -              -           (100.00)            -
        ACCO       ACCO          52605   6/21/2013 BSIT                                                                                     Hendrikus Veldhuis TT             debit               EUR            (45,000.00)           -               -        (45,450.00)
        ACCO       ACCO          52640   6/21/2013 BSIT                                                                                     forex                             forex debit         USD            (60,134.90)    (60,736.25)            -               -
        ACCO       ACCO          52640   6/21/2013 BSIT                                                                                     forex                             forex credit        EUR             45,450.00            -               -         45,450.00
        ACCO       ACCO          52570   6/21/2013 BSIT      ARW       Aroway Minerals                                              80,000 buy stock                          buy stock           CAD                   -              -        (32,100.00)            -
        ACCO       ACCO          53520   6/29/2013 SIL2                                                                                     forex                             forex debit         USD               (138.14)       (139.52)            -               -
        ACCO       ACCO          53520   6/29/2013 SIL2                                                                                     forex                             forex credit        CAD                144.80            -            144.80             -
        ACCO       ACCO          52875   6/29/2013 WORK                                                                                     custody fees                      debit               USD                   -           (41.13)            -               -
        ACCO       ACCO          52876   6/29/2013 WORK                                                                                     custody fees                      debit               CAD                   -              -           (158.01)            -
        ACCO       ACCO          53141   6/29/2013 WORK                                                                                     interest payment                  interest payment    USD                   -           763.10             -               -
        ACCO       ACCO          53142   6/29/2013 WORK                                                                                     interest payment                  interest payment    CAD                   -              -             13.21             -
        ACCO       ACCO          53896    7/5/2013 DGMI                                                                                     forex                             forex debit         USD          (298,260.60)    (301,243.21)            -               -
        ACCO       ACCO          53896    7/5/2013 DGMI                                                                                     forex                             forex credit        CAD           313,252.88             -       313,252.88              -
        ACCO       ACCO          53638    7/5/2013 CASH                                                                                     buy 150 gold coins                debit               CAD          (201,607.50)            -      (211,687.88)             -
        ACCO       ACCO          53684    7/8/2013 BCHA                                                                                     Vancouver Police draft            debit               CAD             (1,007.50)           -         (1,107.50)            -
        ACCO       ACCO          53690    7/8/2013 CASH                                                                                     debit                             debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          53743    7/9/2013 CASH                                                                                     buy 50 gold coins                 debit               CAD            (68,550.00)           -        (71,977.50)            -
        ACCO       ACCO          53787   7/10/2013 DGMI                                                                                     RPC Strategies TT                 debit               USD          (300,110.00)    (303,111.10)            -               -
                                                                                                                                                                                                                                                                              Document: 00118249068




        ACCO       ACCO          53818   7/11/2013 BCHA      L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18                   23,000 Blackstone Capital ck #65          buy stock           CAD            (23,000.00)           -        (23,230.00)            -
        ACCO       ACCO          54295   7/25/2013 WORK                                                                                     internal transfer TUNG            credit              USD                   -       200,000.00             -               -
        ACCO       ACCO          54453   7/29/2013 DGMI                                                                                     Oryon TT                          debit               USD            (40,070.00)    (40,470.70)            -               -
        ACCO       ACCO          54495   7/29/2013 BCHA      L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18                  100,000 Blackstone Capital ck #75          buy stock           CAD          (100,000.00)            -      (101,000.00)             -
        ACCO       ACCO          54569   7/29/2013 WORK                                                                                     forex                             forex debit         USD                   -      (150,014.71)            -               -
        ACCO       ACCO          54569   7/29/2013 WORK                                                                                     forex                             forex credit        CAD                   -              -       151,500.00              -
        ACCO       ACCO          54515   7/30/2013 BCHA      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13                      50,000 Devon Ventures ck #76              buy stock           CAD            (50,000.00)           -        (50,500.00)            -
        ACCO       ACCO          54598   7/31/2013 WORK                                                                                     internal transfer                 credit              USD                   -       500,000.00             -               -
        ACCO       ACCO          54792   7/31/2013 WORK                                                                                     interest payment                  interest payment    USD                   -           514.53             -               -
        ACCO       ACCO          54793   7/31/2013 WORK                                                                                     interest payment                  interest payment    CAD                   -              -             13.61             -
        ACCO       ACCO          55062    8/2/2013 CASH                                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)            -




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                                                                                                                                                                                                                                                                              Page: 135




        ACCO       ACCO          55072    8/2/2013 CASH                                                                                     debit                             debit               CAD            (40,000.00)           -        (42,000.00)            -
        ACCO       ACCO          55082    8/2/2013 WORK                                                                                     forex                             forex debit         USD                   -       (51,971.82)            -               -
        ACCO       ACCO          55082    8/2/2013 WORK                                                                                     forex                             forex credit        CAD                   -              -         52,486.39             -
        ACCO       ACCO          55485   8/15/2013 WORK                                                                                     Accord Fdn 13 fees                debit               USD                   -        (3,500.00)            -               -
        ACCO       ACCO          55656   8/21/2013 WORK                                                                                     internal transfer                 credit              USD                   -       600,000.00             -               -
        ACCO       ACCO          55671   8/22/2013 CASH                                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          55728   8/22/2013 WORK                                                                                     forex                             forex debit         USD                   -        (9,278.14)            -               -
        ACCO       ACCO          55728   8/22/2013 WORK                                                                                     forex                             forex credit        CAD                   -              -          9,370.00             -
        ACCO       ACCO          55702   8/22/2013 WORK                                                                                     forex                             forex debit         USD                   -       (10,397.06)            -               -
        ACCO       ACCO          55702   8/22/2013 WORK                                                                                     forex                             forex credit        CAD                   -              -         10,500.00             -
        ACCO       ACCO          55712   8/22/2013 TDCH                                                                                     Air fares ck #9                   debit               CAD             (9,270.00)           -         (9,370.00)            -
        ACCO       ACCO          56991   8/26/2013 HYPP                                                                                     delivery RKR                      debit               USD               (199.31)       (299.31)            -               -
        ACCO       ACCO          55837   8/27/2013 BSIT                                                                                     forex                             forex debit         USD            (48,299.08)    (48,782.07)            -               -
        ACCO       ACCO          55837   8/27/2013 BSIT                                                                                     forex                             forex credit        CAD             50,500.00            -         50,500.00             -
        ACCO       ACCO          55815   8/27/2013 BCHA      L-GSVC    Charterhouse: Greenstone Ski Vacations Inc;6%: 27/08/13      50,000 Greenstone Ski Vacations ck #85    buy stock           CAD            (50,000.00)           -        (50,500.00)            -
        ACCO       ACCO          56063   8/31/2013 WORK                                                                                     interest payment                  interest payment    USD                   -           900.34             -               -
        ACCO       ACCO          56443    9/3/2013 BSIT                                                                                     forex                             forex debit         USD             (5,134.36)     (5,185.70)            -               -
        ACCO       ACCO          56443    9/3/2013 BSIT                                                                                     forex                             forex credit        CAD              5,350.00            -          5,350.00             -
        ACCO       ACCO          56314    9/3/2013 CASH                                                                                     debit                             debit               CAD             (5,000.00)           -         (5,250.00)            -
        ACCO       ACCO          56408    9/4/2013 BSIP                                                                                     Double 3 Enterprises TT           debit               USD            (30,537.10)    (30,842.47)            -               -
        ACCO       ACCO          56694    9/4/2013 CBHQ                                                                                     delivery RKR                      debit               USD               (229.20)       (229.20)            -               -
        ACCO       ACCO          56377    9/4/2013 CBHQ      RKR       Rokmaster Resosurces                                        (50,000) internal transfer                 stock delivery      CAD                   -              -           (100.00)            -
                                                                                                                                                                                                                                                                              Date Filed: 02/18/2025




        ACCO       ACCO          56377    9/4/2013 VPQU      RKR       Rokmaster Resosurces                                         50,000 internal transfer                  transfer stock in   CAD                   -              -               -               -
        ACCO       ACCO          56928   9/17/2013 WORK                                                                                     internal transfer                 debit               USD                   -       (18,850.00)            -               -
        ACCO       ACCO          57306   9/20/2013 BSIT                                                                                     forex                             forex debit         USD            (14,762.30)    (14,909.92)            -               -
        ACCO       ACCO          57306   9/20/2013 BSIT                                                                                     forex                             forex credit        CAD             15,122.50            -         15,122.50             -
        ACCO       ACCO          57157   9/20/2013 WORK                                                                                     internal transfer GRWD            debit               USD                   -      (100,100.00)            -               -
        ACCO       ACCO          57152   9/20/2013 CASH                                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)            -
        ACCO       ACCO          57183   9/23/2013 TDCH                                                                                     Sklink Air Fares ck #15           debit               CAD               (515.00)           -           (615.00)            -
        ACCO       ACCO          57208   9/23/2013 BCHA                                                                                     Vancouver Police draft            debit               CAD             (4,007.50)           -         (4,007.50)            -
        ACCO       ACCO          57221   9/23/2013 WORK                                                                                     internal transfer                 credit              USD                   -       200,000.00             -               -
        ACCO       ACCO          57483   9/27/2013 LEMI                                                                                     forex                             forex debit         USD            (11,793.11)    (11,911.04)            -               -
        ACCO       ACCO          57483   9/27/2013 LEMI                                                                                     forex                             forex credit        CAD             12,163.42            -         12,163.42             -




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         Account    Account    Batch     Batch       Bank                                      Symbol                                              Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                             Symbol                                                 Stock
          Code       Title      ID        Date       Code                                     Description                                      Description                Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          57502 9/27/2013 SBCH                                                                        forex                                  forex debit         USD            (19,225.59)    (19,417.85)            -              -
        ACCO       ACCO          57502 9/27/2013 CASH                                                                        forex                                  forex credit        CAD             19,336.58            -         19,336.58            -
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        ACCO       ACCO          57440 9/27/2013 CASH                                                                        debit                                  debit               CAD            (30,000.00)           -        (31,500.00)           -
        ACCO       ACCO          57662 9/30/2013 WORK                                                                        custody fees                           debit               USD                   -           (21.68)            -              -
        ACCO       ACCO          57663 9/30/2013 WORK                                                                        custody fees                           debit               CAD                   -              -           (137.42)           -
        ACCO       ACCO          57806 9/30/2013 WORK                                                                        interest payment                       interest payment    USD                   -         1,114.24             -              -
        ACCO       ACCO          58072 10/1/2013 SBCH                                                                        forex                                  forex debit         USD               (136.22)       (137.58)            -              -
        ACCO       ACCO          58072 10/1/2013 CASH                                                                        forex                                  forex credit        CAD                137.42            -            137.42            -
        ACCO       ACCO          58159 10/3/2013 VERL       AAPH      American Petro-Hunter                         (23,549) sell stock                             sell stock          USD                463.08         363.08             -              -
        ACCO       ACCO          58215 10/4/2013 REST                                                                        directors fee                          debit               USD                   -          (200.00)            -              -
        ACCO       ACCO          58455 10/8/2013 BSIT                                                                        forex                                  forex debit         USD            (10,214.01)    (10,316.15)            -              -
        ACCO       ACCO          58455 10/8/2013 BSIT                                                                        forex                                  forex credit        CAD             10,500.00            -         10,500.00            -
        ACCO       ACCO          58290 10/8/2013 CASH                                                                        debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          58379 10/9/2013 VERN       ORYN      Oryon Holdings                                 (8,178) sell stock                             sell stock          USD                235.49         235.49             -              -
        ACCO       ACCO          58380 10/10/2013 WORK                                                                       internal transfer close account        credit              USD                   -        28,539.41             -              -
        ACCO       ACCO          58382 10/10/2013 SIL2      ORYN      Oryon Holdings                                (95,887) sell stock                             sell stock          USD              3,163.96       3,063.96             -              -
        ACCO       ACCO          58554 10/15/2013 WORK                                                                       forex                                  forex debit         USD                   -       (20,573.70)            -              -
        ACCO       ACCO          58554 10/15/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -         21,000.00            -
        ACCO       ACCO          58514 10/15/2013 CASH                                                                       debit                                  debit               CAD            (20,000.00)           -        (21,000.00)           -
        ACCO       ACCO          58642 10/18/2013 CASH                                                                       debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          58701 10/18/2013 WORK                                                                       forex                                  forex debit         USD                   -       (10,339.88)            -              -
        ACCO       ACCO          58701 10/18/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -         10,500.00            -
        ACCO       ACCO          58684 10/21/2013 XPHO                                                                       new phone                              debit               USD                   -          (600.00)            -              -
        ACCO       ACCO          58772 10/22/2013 BCHA      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13        18,000 Devon Ventures ck #114                  buy stock           CAD            (18,000.00)           -        (18,180.00)           -
        ACCO       ACCO          58876 10/24/2013 BSIT                                                                       forex                                  forex debit         USD          (119,213.20)    (120,405.33)            -              -
        ACCO       ACCO          58876 10/24/2013 BSIT                                                                       forex                                  forex credit        CAD           122,849.19             -       122,849.19             -
                                                                                                                                                                                                                                                                Document: 00118249068




        ACCO       ACCO          58863 10/24/2013 TDCH                                                                       Air Fares Ck #19                       debit               CAD             (2,578.88)           -         (3,872.42)           -
        ACCO       ACCO          58923 10/25/2013 CASH                                                                       debit                                  debit               CAD          (100,000.00)            -      (105,000.00)            -
        ACCO       ACCO          59001 10/28/2013 WORK                                                                       internal transfer                      debit               USD                   -      (250,100.00)            -              -
        ACCO       ACCO          59625 10/29/2013 BSIP                                                                       50% watch Payment AP                   debit               USD            (26,572.54)    (26,838.27)            -              -
        ACCO       ACCO          59333 10/31/2013 WORK                                                                       interest payment                       interest payment    USD                   -         1,124.49             -              -
        ACCO       ACCO          59334 10/31/2013 WORK                                                                       interest charge                        interest charge     CAD                   -              -             (0.01)           -
        ACCO       ACCO          59898 11/7/2013 BSIP                                                                        Cash Withdrawal 10K CHF                debit               USD            (10,996.44)    (11,106.40)            -              -
        ACCO       ACCO          59896 11/8/2013 HYPP                                                                        debit                                  debit               USD            (24,663.54)    (24,910.18)            -              -
        ACCO       ACCO          59920 11/13/2013 BCHA      L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18    200,000 Blackstone Capital ck #128              buy stock           CAD          (200,000.00)            -      (202,000.00)            -
        ACCO       ACCO          59933 11/13/2013 WORK                                                                       forex                                  forex debit         USD                   -      (101,655.49)            -              -
        ACCO       ACCO          59933 11/13/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -       104,743.52             -




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        ACCO       ACCO          60010 11/13/2013 WORK                                                                       forex                                  forex debit         USD                   -       (94,299.89)            -              -
        ACCO       ACCO          60010 11/13/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -         97,256.49            -
        ACCO       ACCO          60128 11/15/2013 WORK                                                                       forex                                  forex debit         USD                   -       (10,180.80)            -              -
        ACCO       ACCO          60128 11/15/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -         10,500.00            -
        ACCO       ACCO          60037 11/15/2013 CASH                                                                       debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          60125 11/19/2013 WORK                                                                       internal transfer                      debit               USD                   -      (400,100.00)            -              -
        ACCO       ACCO          60140 11/19/2013 LEPA                                                                       Hillside New Media TT                  debit               USD            (50,200.00)    (50,702.00)            -              -
        ACCO       ACCO          60316 11/22/2013 TDCH                                                                       Air Fares ck #23                       debit               CAD             (6,695.95)           -         (6,795.95)           -
        ACCO       ACCO          60337 11/22/2013 WORK                                                                       forex                                  forex debit         USD                   -        (6,589.35)            -              -
        ACCO       ACCO          60337 11/22/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -          6,795.95            -
        ACCO       ACCO          60565 11/29/2013 TDCH                                                                       Airfares ck #24                        debit               CAD             (7,512.40)           -         (7,612.40)           -
        ACCO       ACCO          60715 11/30/2013 WORK                                                                       interest payment                       interest payment    USD                   -           531.24             -              -
        ACCO       ACCO          60716 11/30/2013 WORK                                                                       interest charge                        interest charge     CAD                   -              -             (0.01)           -
        ACCO       ACCO          61219 12/1/2013 WORK                                                                        forex                                  forex debit         USD                   -       (11,217.77)            -              -
        ACCO       ACCO          61219 12/1/2013 WORK                                                                        forex                                  forex credit        CAD                   -              -         11,815.64            -
        ACCO       ACCO          61515 12/13/2013 SIL2                                                                       forex                                  forex debit         USD            (30,212.42)    (30,514.54)            -              -
        ACCO       ACCO          61515 12/13/2013 SIL2                                                                       forex                                  forex credit        CAD             31,500.00            -         31,500.00            -
        ACCO       ACCO          61432 12/13/2013 CASH                                                                       debit                                  debit               CAD            (30,000.00)           -        (31,500.00)           -
        ACCO       ACCO          61494 12/16/2013 WORK                                                                       internal transfer                      credit              USD                   -       245,000.00             -              -
        ACCO       ACCO          61491 12/16/2013 WORK                                                                       internal transfer                      credit              USD                   -       450,000.00             -              -
        ACCO       ACCO          61505 12/16/2013 BCHA                                                                       Van Police Gala draft                  debit               CAD             (1,000.00)           -         (1,100.00)           -
        ACCO       ACCO          61528 12/16/2013 WORK                                                                       forex                                  forex debit         USD                   -        (1,065.59)            -              -
                                                                                                                                                                                                                                                                Date Filed: 02/18/2025




        ACCO       ACCO          61528 12/16/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -          1,100.00            -
        ACCO       ACCO          61787 12/20/2013 CASH                                                                       debit                                  debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          61799 12/20/2013 BCHA      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13        35,000 Devon Ventures ck #151                  buy stock           CAD            (35,000.00)           -        (35,350.00)           -
        ACCO       ACCO          61818 12/20/2013 WORK                                                                       forex                                  forex debit         USD                   -       (39,365.76)            -              -
        ACCO       ACCO          61818 12/20/2013 WORK                                                                       forex                                  forex credit        CAD                   -              -         40,600.00            -
        ACCO       ACCO          62122 12/31/2013 WORK                                                                       custody fees                           debit               CAD                   -              -           (115.62)           -
        ACCO       ACCO          62252 12/31/2013 WORK                                                                       interest payment                       interest payment    USD                   -           491.05             -              -
        ACCO       ACCO          86592 1/1/2014 LOAN        L-BSCC    Charterhouse:Blackstone:6%                     70,000 loan advance                            buy stock           CAD                   -              -               -              -
        ACCO       ACCO          62526 1/2/2014 LENO                                                                         forex                                  forex debit         USD               (110.80)       (111.91)            -              -
        ACCO       ACCO          62526 1/2/2014 LENO                                                                         forex                                  forex credit        CAD                115.62            -            115.62            -
        ACCO       ACCO          61916 1/7/2014 BSIP                                                                         Rightscorp TT                          debit               USD          (150,138.61)    (151,640.00)            -              -




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         Account    Account    Batch      Batch      Bank                                    Symbol                                                Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                             Symbol                                                  Stock
          Code       Title      ID         Date      Code                                   Description                                          Description              Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          62824    1/8/2014 LENO                                                                        forex                                forex debit         USD            (13,917.09)    (14,056.26)            -              -
        ACCO       ACCO          62824    1/8/2014 LENO                                                                        forex                                forex credit        CAD             15,200.00            -         15,200.00            -
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        ACCO       ACCO          62773    1/9/2014 LEMI                                                                        Hillside New Media TT                credit              CAD             51,459.05            -         51,459.05            -
        ACCO       ACCO          62750    1/9/2014 VPQU                                                                        delivery RKR                         debit               USD                (44.60)       (144.60)            -              -
        ACCO       ACCO          62825    1/9/2014 WORK                                                                        forex                                forex debit         USD                   -      (174,743.56)            -              -
        ACCO       ACCO          62825    1/9/2014 WORK                                                                        forex                                forex credit        CAD                   -              -       186,035.95             -
        ACCO       ACCO          62792    1/9/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18      250,000 Blackstone Capital ck #156            buy stock           CAD          (250,000.00)            -      (252,500.00)            -
        ACCO       ACCO          63057   1/17/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18       (4,780) interest payment                     sell stock          CAD              4,780.00            -          4,680.00            -
        ACCO       ACCO          63242   1/22/2014 LEMI                                                                        forex                                forex debit         USD            (18,311.31)    (18,494.42)            -              -
        ACCO       ACCO          63242   1/22/2014 LEMI                                                                        forex                                forex credit        CAD             20,375.00            -         20,375.00            -
        ACCO       ACCO          63116   1/22/2014 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13          25,000 Devon Ventures ck #158                buy stock           CAD            (25,000.00)           -        (25,250.00)           -
        ACCO       ACCO          63117   1/23/2014 BSIB                                                                        Nano Viricdies TT                    debit               USD          (105,172.32)    (106,224.04)            -              -
        ACCO       ACCO          63419   1/29/2014 WORK                                                                        forex                                forex debit         USD                   -       (17,627.33)            -              -
        ACCO       ACCO          63419   1/29/2014 WORK                                                                        forex                                forex credit        CAD                   -              -         19,392.00            -
        ACCO       ACCO          63346   1/29/2014 LEMI                                                                        Hendrikus Veldhuis TT                debit               CAD            (19,200.00)           -        (19,392.00)           -
        ACCO       ACCO          63574   1/31/2014 WORK                                                                        interest payment                     interest payment    USD                   -           506.62             -              -
        ACCO       ACCO          63575   1/31/2014 WORK                                                                        interest payment                     interest payment    CAD                   -              -              1.05            -
        ACCO       ACCO          63933    2/5/2014 CASH                                                                        debit                                debit               CAD             (4,500.00)           -         (4,725.00)           -
        ACCO       ACCO          63946    2/5/2014 WORK                                                                        forex                                forex debit         USD                   -        (4,311.97)            -              -
        ACCO       ACCO          63946    2/5/2014 WORK                                                                        forex                                forex credit        CAD                   -              -          4,723.95            -
        ACCO       ACCO          64184   2/12/2014 CASH                                                                        debit                                debit               USD            (18,750.00)    (19,687.50)            -              -
        ACCO       ACCO          64265   2/14/2014 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13          17,500 Devon Ventures ck #166                buy stock           CAD            (17,500.00)           -        (17,675.00)           -
        ACCO       ACCO          64290   2/14/2014 WORK                                                                        forex                                forex debit         USD                   -       (16,261.16)            -              -
        ACCO       ACCO          64290   2/14/2014 WORK                                                                        forex                                forex credit        CAD                   -              -         17,675.00            -
        ACCO       ACCO          64671   2/21/2014 SIQU     ARW       Aroway Minerals                                  25,000 buy stock                             buy stock           CAD             (7,527.50)           -         (7,790.96)           -
        ACCO       ACCO          64695   2/21/2014 LELO                                                                        forex                                forex debit         USD             (6,941.30)     (7,010.71)            -              -
                                                                                                                                                                                                                                                                Document: 00118249068




        ACCO       ACCO          64695   2/21/2014 LELO                                                                        forex                                forex credit        CAD              7,690.96            -          7,690.96            -
        ACCO       ACCO          64689   2/26/2014 LELO                                                                        Blackrock Media TT                   debit               USD          (250,100.00)    (252,601.00)            -              -
        ACCO       ACCO          64911   2/26/2014 CASH                                                                        debit                                debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          64920   2/28/2014 WORK                                                                        interest payment                     interest payment    USD                   -           394.10             -              -
        ACCO       ACCO          64921   2/28/2014 WORK                                                                        interest charge                      interest charge     CAD                   -              -            (10.30)           -
        ACCO       ACCO          65275    3/1/2014 LEMI                                                                        forex                                forex debit         USD             (4,748.85)     (4,796.34)            -              -
        ACCO       ACCO          65275    3/1/2014 LEMI                                                                        forex                                forex credit        CAD              5,260.30            -          5,260.30            -
        ACCO       ACCO          65334    3/3/2014 REST     ORYN-R    Oryon Holdings                               10,807,815 receive stock                         buy stock           USD                   -          (100.00)            -              -
        ACCO       ACCO          65817    3/5/2014 LEMI                                                                        forex                                forex debit         USD             (4,734.42)     (4,781.76)            -              -
        ACCO       ACCO          65817    3/5/2014 LEMI                                                                        forex                                forex credit        CAD              5,250.00            -          5,250.00            -
        ACCO       ACCO          65303    3/5/2014 CASH                                                                        debit                                debit               CAD             (5,000.00)           -         (5,250.00)           -




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        ACCO       ACCO          65415    3/7/2014 WORK                                                                        internal transfer                    credit              USD                   -       173,000.00             -              -
        ACCO       ACCO          65671   3/13/2014 WORK                                                                        internal transfer                    credit              USD                   -       125,000.00             -              -
        ACCO       ACCO          65850   3/18/2014 WORK                                                                        Accord + Fdn 14 fees                 debit               USD                   -        (6,000.00)            -              -
        ACCO       ACCO          65868   3/18/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18      250,000 Blackstone Capital ck #181            buy stock           CAD          (250,000.00)            -      (252,500.00)            -
        ACCO       ACCO          65870   3/18/2014 CASH                                                                        debit                                debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          65975   3/18/2014 WORK                                                                        forex                                forex debit         USD                   -      (239,531.85)            -              -
        ACCO       ACCO          65975   3/18/2014 WORK                                                                        forex                                forex credit        CAD                   -              -       263,000.00             -
        ACCO       ACCO          66504   3/20/2014 LEMI                                                                        forex                                forex debit         USD             (1,955.42)     (1,974.97)            -              -
        ACCO       ACCO          66504   3/20/2014 CASH                                                                        forex                                forex credit        CAD              2,100.00            -          2,100.00            -
        ACCO       ACCO          66198   3/26/2014 CASH                                                                        debit                                debit               CAD             (2,000.00)           -         (2,100.00)           -
        ACCO       ACCO         122937   3/27/2014 LOAN     L-GREC    Charterhouse:Greenestone:3%Pledge                13,594 interest                              buy stock           CAD                   -              -         (4,531.00)           -
        ACCO       ACCO          66563   3/31/2014 WORK                                                                        custody fees                         debit               CAD                   -              -           (160.75)           -
        ACCO       ACCO          66686   3/31/2014 WORK                                                                        interest payment                     interest payment    USD                   -           308.39             -              -
        ACCO       ACCO          66687   3/31/2014 WORK                                                                        interest payment                     interest payment    CAD                   -              -              0.35            -
        ACCO       ACCO          66904    4/1/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18      100,000 Blackstone Capital ck #191            buy stock           CAD          (100,000.00)            -      (101,000.00)            -
        ACCO       ACCO          66941    4/1/2014 LEBU                                                                        forex                                forex debit         USD            (91,614.20)    (92,530.34)            -              -
        ACCO       ACCO          66941    4/1/2014 LEBU                                                                        forex                                forex credit        CAD           101,160.40             -       101,160.40             -
        ACCO       ACCO          67538   4/15/2014 CASH                                                                        debit                                debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          67611   4/15/2014 WORK                                                                        forex                                forex debit         USD                   -        (9,650.55)            -              -
        ACCO       ACCO          67611   4/15/2014 WORK                                                                        forex                                forex credit        CAD                   -              -         10,500.00            -
        ACCO       ACCO          75769   4/16/2014 SIQU                                                                        delivery ARW                         debit               CAD               (230.00)           -           (430.00)           -
        ACCO       ACCO          75811   4/16/2014 SIQU                                                                        delivery RKR                         debit               CAD               (230.00)           -           (430.00)           -
                                                                                                                                                                                                                                                                Date Filed: 02/18/2025




        ACCO       ACCO          67757   4/22/2014 LELO                                                                        forex                                forex debit         USD             (9,469.47)     (9,564.16)            -              -
        ACCO       ACCO          67757   4/22/2014 LELO                                                                        forex                                forex credit        CAD             10,500.00            -         10,500.00            -
        ACCO       ACCO          67713   4/22/2014 CASH                                                                        debit                                debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          67827   4/24/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18       50,000 Blackstone Capital ck #196            buy stock           CAD            (50,000.00)           -        (50,500.00)           -
        ACCO       ACCO          67896   4/24/2014 WORK                                                                        forex                                forex debit         USD                   -       (46,414.55)            -              -
        ACCO       ACCO          67896   4/24/2014 WORK                                                                        forex                                forex credit        CAD                   -              -         50,500.00            -
        ACCO       ACCO          67943   4/28/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18       50,000 Blackstone Capital ck #201            buy stock           CAD            (50,000.00)           -        (50,500.00)           -
        ACCO       ACCO          67960   4/28/2014 WORK                                                                        forex                                forex debit         USD                   -       (46,414.55)            -              -
        ACCO       ACCO          67960   4/28/2014 WORK                                                                        forex                                forex credit        CAD                   -              -         50,500.00            -
        ACCO       ACCO          68013   4/29/2014 CASH                                                                        debit                                debit               CAD            (50,000.00)           -        (52,500.00)           -
        ACCO       ACCO          68021   4/29/2014 SGPE                                                                        Forex                                forex debit         USD            (55,813.95)    (56,472.09)            -              -




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                                                             Symbol                                                 Stock
          Code       Title      ID         Date      Code                                   Description                                        Description                Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          68021   4/29/2014 CASH                                                                      Forex                                  forex credit        CAD             59,820.00            -         59,820.00            -
        ACCO       ACCO          67776   4/29/2014 LOAN     L-RPCC    Quarry:RPC:6%:Demand                           95,050 interest                                buy stock           CAD                   -              -        (15,842.00)           -
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        ACCO       ACCO          68029   4/29/2014 WORK                                                                      forex                                  forex debit         USD                   -        (7,832.57)            -              -
        ACCO       ACCO          68029   4/29/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -          8,522.00            -
        ACCO       ACCO          68255   4/30/2014 WORK                                                                      interest payment                       interest payment    USD                   -           154.93             -              -
        ACCO       ACCO          68256   4/30/2014 WORK                                                                      interest charge                        interest charge     CAD                   -              -             (1.97)           -
        ACCO       ACCO          68572    5/1/2014 SGPE                                                                      forex                                  forex debit         USD                (95.05)        (96.00)            -              -
        ACCO       ACCO          68572    5/1/2014 CASH                                                                      forex                                  forex credit        CAD                101.97            -            101.97            -
        ACCO       ACCO          68650    5/2/2014 FINC     RIHT      Rightscorp                                     15,000 buy stock                               buy stock           USD             (7,898.82)     (8,096.29)            -              -
        ACCO       ACCO          68544    5/2/2014 WORK                                                                      internal transfer                      credit              USD                   -       325,000.00             -              -
        ACCO       ACCO          68546    5/2/2014 WORK                                                                      internal transfer                      credit              USD                   -       329,000.00             -              -
        ACCO       ACCO          68777    5/7/2014 BCHA                                                                      forex                                  forex debit         USD            (20,514.08)    (20,719.22)            -              -
        ACCO       ACCO          68777    5/7/2014 CASH                                                                      forex                                  forex credit        CAD             21,805.00            -         21,805.00            -
        ACCO       ACCO          68751    5/8/2014 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13        25,000 Devon Ventures ck #206                  buy stock           CAD            (25,000.00)           -        (25,250.00)           -
        ACCO       ACCO          68746    5/8/2014 XPHO                                                                      4 new xphone licences                  debit               USD                   -        (1,000.00)            -              -
        ACCO       ACCO          68767    5/8/2014 CASH                                                                      debit                                  debit               CAD            (13,890.00)           -        (14,584.50)           -
        ACCO       ACCO          68813    5/8/2014 WORK                                                                      forex                                  forex debit         USD                   -        (1,214.06)            -              -
        ACCO       ACCO          68813    5/8/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -          1,299.50            -
        ACCO       ACCO          68778    5/8/2014 SGGO                                                                      forex Aris TT                          forex debit         USD            (15,915.56)    (16,174.72)            -              -
        ACCO       ACCO          68778    5/8/2014 CASH                                                                      forex Aris TT                          forex credit        CAD             16,730.00            -         16,730.00            -
        ACCO       ACCO          69043   5/20/2014 WORK                                                                      internal transfer                      debit               USD                   -       (20,100.00)            -              -
        ACCO       ACCO          69046   5/20/2014 BCHA                                                                      Creditloans Canada Financing ck #209   debit               CAD          (250,000.00)            -      (252,500.00)            -
        ACCO       ACCO          69048   5/20/2014 WORK                                                                      forex                                  forex debit         USD                   -      (235,898.13)            -              -
        ACCO       ACCO          69048   5/20/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -       252,500.00             -
        ACCO       ACCO          69334   5/23/2014 LEPI                                                                      forex                                  forex debit         USD            (14,029.91)    (14,170.21)            -              -
        ACCO       ACCO          69334   5/23/2014 LEPI                                                                      forex                                  forex credit        CAD             15,200.00            -         15,200.00            -
                                                                                                                                                                                                                                                                Document: 00118249068




        ACCO       ACCO          69270   5/28/2014 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13        25,000 Devon Ventures ck #217                  buy stock           CAD            (25,000.00)           -        (25,250.00)           -
        ACCO       ACCO          69271   5/28/2014 WORK                                                                      internal transfer                      credit              USD                   -        15,000.00             -              -
        ACCO       ACCO          69560   5/29/2014 WORK                                                                      interest payment                       interest payment    USD                   -           433.96             -              -
        ACCO       ACCO          69561   5/29/2014 WORK                                                                      interest charge                        interest charge     CAD                   -              -            (32.61)           -
        ACCO       ACCO          69364   5/30/2014 TDCH                                                                      Airfares                               debit               CAD             (2,578.44)           -         (2,678.44)           -
        ACCO       ACCO          68241   5/30/2014 LOAN     L-VELC    Coventry:Veldhuis:6%:Demand                    32,435 interest                                buy stock           CAD                   -              -         (5,406.00)           -
        ACCO       ACCO          69546   5/30/2014 WORK                                                                      forex                                  forex debit         USD                   -       (16,942.10)            -              -
        ACCO       ACCO          69546   5/30/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -         18,134.44            -
        ACCO       ACCO          69844    6/2/2014 HELI     RIHT      Rightscorp                                     46,700 buy stock                               buy stock           USD            (19,104.35)    (19,581.96)            -              -
        ACCO       ACCO          70179    6/2/2014 BCHA                                                                      forex                                  forex debit         USD            (28,006.00)    (28,286.06)            -              -
        ACCO       ACCO          70179    6/2/2014 CASH                                                                      forex                                  forex credit        CAD             29,560.00            -         29,560.00            -




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                                                                                                                                                                                                                                                                Page: 138




        ACCO       ACCO          70617    6/2/2014 SGPE                                                                      forex                                  forex debit         USD             (1,508.57)     (1,623.66)            -              -
        ACCO       ACCO          70617    6/2/2014 SGPE                                                                      forex                                  forex credit        CAD              1,613.18            -          1,613.18            -
        ACCO       ACCO          69887    6/3/2014 HELI     RIHT      Rightscorp                                      3,400 buy stock                               buy stock           USD             (1,404.00)     (1,504.00)            -              -
        ACCO       ACCO          69953    6/4/2014 HELI     RIHT      Rightscorp                                      5,000 buy stock                               buy stock           USD             (2,213.75)     (2,313.75)            -              -
        ACCO       ACCO          69930    6/4/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18    100,000 Blackstone Capital ck #219              buy stock           CAD          (100,000.00)            -      (101,000.00)            -
        ACCO       ACCO          69935    6/4/2014 WORK                                                                      internal transfer                      credit              USD                   -        30,000.00             -              -
        ACCO       ACCO          70186    6/4/2014 WORK                                                                      forex                                  forex debit         USD                   -       (94,878.33)            -              -
        ACCO       ACCO          70186    6/4/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -       101,009.61             -
        ACCO       ACCO          70002    6/6/2014 BCHA     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18     50,000 Blackstone Capital ck #220              buy stock           CAD            (50,000.00)           -        (50,500.00)           -
        ACCO       ACCO          70180    6/6/2014 SGPE                                                                      forex                                  forex debit         USD            (25,700.00)    (26,057.00)            -              -
        ACCO       ACCO          70180    6/6/2014 CASH                                                                      forex                                  forex credit        CAD             27,010.00            -         27,010.00            -
        ACCO       ACCO          70169   6/11/2014 CASH                                                                      debit                                  debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          70542   6/18/2014 SGPE     RKR       Rokmaster Resources                           (30,000) sell stock                             sell stock          CAD              4,048.90            -          3,907.19            -
        ACCO       ACCO          70465   6/18/2014 WORK                                                                      Loan                                   debit               USD                   -       (25,100.00)            -              -
        ACCO       ACCO          70648   6/20/2014 LEMI                                                                      forex                                  forex debit         USD               (531.06)       (536.37)            -              -
        ACCO       ACCO          70648   6/20/2014 LEMI                                                                      forex                                  forex credit        CAD                571.63            -            571.63            -
        ACCO       ACCO          70420   6/20/2014 LOAN     L-RPCC    Quarry:RPC:6%:Demand                           14,354 interest-closed                         buy stock           CAD                   -              -         (2,392.00)           -
        ACCO       ACCO          70421   6/20/2014 LOAN     L-BSCC    Charterhouse:Blackstone Capital:6%:11/7/18     22,197 interest-closed                         buy stock           CAD                   -              -         (3,700.00)           -
        ACCO       ACCO          70661   6/23/2014 CASH                                                                      debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          70831   6/23/2014 WORK                                                                      forex                                  forex debit         USD                   -        (8,606.27)            -              -
        ACCO       ACCO          70831   6/23/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -          9,137.67            -
        ACCO       ACCO          70771   6/24/2014 SGPE     RKR       Rokmaster Resources                           (11,500) sell stock                             sell stock          CAD              1,462.33            -          1,362.33            -
                                                                                                                                                                                                                                                                Date Filed: 02/18/2025




        ACCO       ACCO          73604   6/27/2014 WORK                                                                      custody fees                           debit               USD                   -           (89.00)            -              -
        ACCO       ACCO          73605   6/27/2014 WORK                                                                      custody fees                           debit               CAD                   -              -           (133.80)           -
        ACCO       ACCO          73902   6/27/2014 WORK                                                                      interest payment                       interest payment    USD                   -           193.98             -              -
        ACCO       ACCO          73903   6/27/2014 WORK                                                                      interest payment                       interest payment    CAD                   -              -              2.35            -
        ACCO       ACCO          74144   6/30/2014 LEMI                                                                      forex                                  forex debit         USD               (123.21)       (124.44)            -              -
        ACCO       ACCO          74144   6/30/2014 LEMI                                                                      forex                                  forex credit        CAD                131.45            -            131.45            -
        ACCO       ACCO          74316    7/3/2014 VERA     IRR       Inform Resources                              100,000 buy stock                               buy stock           CAD             (4,705.00)           -         (4,822.63)           -
        ACCO       ACCO          74336    7/7/2014 CASH                                                                      debit                                  debit               CAD            (50,000.00)           -        (52,500.00)           -
        ACCO       ACCO          74339    7/7/2014 WORK                                                                      internal transfer                      credit              USD                   -        85,000.00             -              -
        ACCO       ACCO          74346    7/7/2014 WORK                                                                      forex                                  forex debit         USD                   -       (54,422.10)            -              -
        ACCO       ACCO          74346    7/7/2014 WORK                                                                      forex                                  forex credit        CAD                   -              -         57,322.63            -




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                                                            Symbol                                              Stock
          Code       Title      ID        Date      Code                                     Description                                    Description           Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          74685 7/15/2014 SGPE                                                                     forex                             forex debit         USD            (10,117.00)    (10,117.00)            -              -
        ACCO       ACCO          74685 7/15/2014 CASH                                                                     forex                             forex credit        CAD             10,525.00            -         10,525.00            -
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        ACCO       ACCO          74606 7/16/2014 CASH                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          74489 7/30/2014 LOAN      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13       6,715 interest                           buy stock           CAD                   -              -         (1,119.00)           -
        ACCO       ACCO          74954 7/30/2014 WORK                                                                     forex                             forex debit         USD                   -        (1,038.64)            -              -
        ACCO       ACCO          74954 7/30/2014 WORK                                                                     forex                             forex credit        CAD                   -              -          1,094.00            -
        ACCO       ACCO          74994 7/31/2014 TDCH                                                                     Airfares ck #63                   debit               CAD             (6,636.56)           -         (6,736.56)           -
        ACCO       ACCO          75002 7/31/2014 WORK                                                                     forex                             forex debit         USD                   -        (6,395.69)            -              -
        ACCO       ACCO          75002 7/31/2014 WORK                                                                     forex                             forex credit        CAD                   -              -          6,736.56            -
        ACCO       ACCO          75168 7/31/2014 WORK                                                                     interest payment                  interest payment    USD                   -           199.49             -              -
        ACCO       ACCO          75169 7/31/2014 WORK                                                                     interest charge                   interest charge     CAD                   -              -            (12.56)           -
        ACCO       ACCO          75511 8/6/2014 CASH                                                                      debit                             debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          75954 8/6/2014 WORK                                                                      forex                             forex debit         USD                   -       (10,727.82)            -              -
        ACCO       ACCO          75954 8/6/2014 WORK                                                                      forex                             forex credit        CAD                   -              -         11,360.00            -
        ACCO       ACCO          75529 8/6/2014 WORK                                                                      forex                             forex debit         USD                   -        (9,980.62)            -              -
        ACCO       ACCO          75529 8/6/2014 WORK                                                                      forex                             forex credit        CAD                   -              -         10,512.56            -
        ACCO       ACCO          75922 8/18/2014 CASH                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          77622 8/27/2014 BCHA                                                                     Balckstone Capital ck #257        debit               CAD            (50,000.00)           -        (50,500.00)           -
        ACCO       ACCO          75678 8/27/2014 LOAN      L-GSVC    Charterhouse:Greenstone:6%:27/08/13           3,000 interest                           buy stock           CAD                   -              -           (500.00)           -
        ACCO       ACCO          76181 8/27/2014 WORK                                                                     forex                             forex debit         USD                   -       (47,646.75)            -              -
        ACCO       ACCO          76181 8/27/2014 WORK                                                                     forex                             forex credit        CAD                   -              -         51,000.00            -
        ACCO       ACCO          76650 8/29/2014 VERA      RIHT      Rightscorp                                   40,000 buy stock                          buy stock           USD            (16,093.00)    (16,495.33)            -              -
        ACCO       ACCO          76434 8/31/2014 WORK                                                                     interest payment                  interest payment    USD                   -           156.91             -              -
        ACCO       ACCO          76435 8/31/2014 WORK                                                                     interest payment                  interest payment    CAD                   -              -              0.58            -
        ACCO       ACCO          77089 9/5/2014 WORK                                                                      forex                             forex debit         USD                   -        (8,793.01)            -              -
        ACCO       ACCO          77089 9/5/2014 WORK                                                                      forex                             forex credit        CAD                   -              -          9,463.99            -
                                                                                                                                                                                                                                                        Document: 00118249068




        ACCO       ACCO          76863 9/5/2014 CASH                                                                      debit                             debit               CAD             (6,000.00)           -         (6,300.00)           -
        ACCO       ACCO          76866 9/5/2014 BCHA       L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13      20,000 Devon Ventures ck #258             buy stock           CAD            (20,000.00)           -        (20,200.00)           -
        ACCO       ACCO          76952 9/8/2014 SGGO                                                                      forex                             forex debit         USD            (14,004.86)    (14,144.91)            -              -
        ACCO       ACCO          76952 9/8/2014 SGGO                                                                      forex                             forex credit        CAD             15,000.00            -         15,000.00            -
        ACCO       ACCO          76989 9/10/2014 SGGO                                                                     forex                             forex debit         USD             (4,224.99)     (4,267.24)            -              -
        ACCO       ACCO          76989 9/10/2014 SGGO                                                                     forex                             forex credit        CAD              4,564.21            -          4,564.21            -
        ACCO       ACCO          77024 9/10/2014 LEMI                                                                     forex                             forex debit         USD             (2,477.44)     (2,502.21)            -              -
        ACCO       ACCO          77024 9/10/2014 LEMI                                                                     forex                             forex credit        CAD              2,721.22            -          2,721.22            -
        ACCO       ACCO          77037 9/11/2014 CASH                                                                     debit                             debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          77577 9/19/2014 BSIB                                                                     forex                             forex debit         USD             (9,573.76)     (9,669.50)            -              -
        ACCO       ACCO          77577 9/19/2014 BSIB                                                                     forex                             forex credit        CAD             10,500.00            -         10,500.00            -




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        ACCO       ACCO          77354 9/19/2014 CASH                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          77356 9/19/2014 WORK                                                                     internal transfer                 credit              USD                   -        34,950.00             -              -
        ACCO       ACCO          78278 9/23/2014 BCHA      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13      25,000 Devon Ventures ck #262             buy stock           CAD            (25,000.00)           -        (25,250.00)           -
        ACCO       ACCO          77856 9/30/2014 WORK                                                                     custody fees                      debit               USD                   -          (106.03)            -              -
        ACCO       ACCO          77857 9/30/2014 WORK                                                                     custody fees                      debit               CAD                   -              -           (121.19)           -
        ACCO       ACCO          77971 9/30/2014 WORK                                                                     interest payment                  interest payment    USD                   -            92.15             -              -
        ACCO       ACCO          77972 9/30/2014 WORK                                                                     interest charge                   interest charge     CAD                   -              -            (36.14)           -
        ACCO       ACCO          78242 10/1/2014 WORK                                                                     forex                             forex debit         USD                   -          (145.40)            -              -
        ACCO       ACCO          78242 10/1/2014 WORK                                                                     forex                             forex credit        CAD                   -              -            157.33            -
        ACCO       ACCO          78296 10/2/2014 VERA      BLO       Cannabix Technologies                       250,000 buy stock                          buy stock           CAD            (38,462.50)           -        (39,424.06)           -
        ACCO       ACCO          78474 10/2/2014 WORK                                                                     forex                             forex debit         USD                   -       (67,226.17)            -              -
        ACCO       ACCO          78474 10/2/2014 WORK                                                                     forex                             forex credit        CAD                   -              -         71,932.68            -
        ACCO       ACCO          78338 10/3/2014 CASH                                                                     debit                             debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          78445 10/8/2014 SGGO                                                                     forex                             forex debit         USD             (9,503.95)     (9,598.99)            -              -
        ACCO       ACCO          78445 10/8/2014 SGGO                                                                     forex                             forex credit        CAD             10,341.38            -         10,341.38            -
        ACCO       ACCO          78458 10/9/2014 BCHA      L-GSVC    Charterhouse:Greenstone:6%:27/08/13           7,000 Greenstone Ski Vacation ck #268    buy stock           CAD             (7,000.00)           -         (7,100.00)           -
        ACCO       ACCO          78523 10/10/2014 WORK                                                                    director fee                      debit               USD                   -          (100.00)            -              -
        ACCO       ACCO          78525 10/10/2014 VERA                                                                    Anthony Wonnacott TT              debit               USD          (100,100.00)    (101,101.00)            -              -
        ACCO       ACCO          78802 10/21/2014 VERA     BLO       Cannabix Technologies                      (250,000) sell stock                        sell stock          CAD             24,350.00            -         23,741.25            -
        ACCO       ACCO          79188 10/21/2014 BEAB     RIHT      Rightscorp                                  (50,000) sell stock                        sell stock          USD             12,055.95      11,633.99             -              -
        ACCO       ACCO          79039 10/21/2014 WORK                                                                    forex                             forex debit         CAD                   -              -         (8,591.25)           -
        ACCO       ACCO          79039 10/21/2014 WORK                                                                    forex                             forex credit        USD                   -         7,704.30             -              -
                                                                                                                                                                                                                                                        Date Filed: 02/18/2025




        ACCO       ACCO          79191 10/24/2014 SIHA     RIHT      Rightscorp                                  (20,000) sell stock                        sell stock          USD              4,635.89       4,473.63             -              -
        ACCO       ACCO          79189 10/24/2014 BEAB     RIHT      Rightscorp                                  (10,000) sell stock                        sell stock          USD              2,230.50       2,130.50             -              -
        ACCO       ACCO          78909 10/24/2014 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13      15,000 Devon Ventures ck #274             buy stock           CAD            (15,000.00)           -        (15,150.00)           -
        ACCO       ACCO          79637 10/30/2014 BEAB     RIHT      Rightscorp                                   (5,000) sell stock                        sell stock          USD              1,020.00         920.00             -              -
        ACCO       ACCO          79190 10/31/2014 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13      50,000 loan advance                       buy stock           CAD            (50,000.00)           -        (50,500.00)           -
        ACCO       ACCO          79192 10/31/2014 SIHA     RIHT      Rightscorp                                  (10,000) sell stock                        sell stock          USD              2,186.26       2,086.26             -              -
        ACCO       ACCO          79415 10/31/2014 WORK                                                                    interest charge                   interest charge     USD                   -          (637.76)            -              -
        ACCO       ACCO          79416 10/31/2014 WORK                                                                    interest charge                   interest charge     CAD                   -              -            (58.83)           -
        ACCO       ACCO          79757 11/4/2014 BCHA      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13     (50,000) Devon Ventures ck #43             sell stock          CAD             50,000.00            -         50,000.00            -
        ACCO       ACCO          79787 11/5/2014 CHSD      MAPG-E    Maple Leaf 1 oz gold coins                      200 receive gold coins                 buy stock           CAD                   -              -           (100.00)           -
        ACCO       ACCO          79801 11/5/2014 WORK                                                                     internal transfer                 debit               USD                   -      (200,100.00)            -              -




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         Account    Account    Batch     Batch      Bank                                     Symbol                                           Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                           Stock
          Code       Title      ID        Date      Code                                    Description                                   Description                Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          79839 11/6/2014 CASH                                                                   debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          79840 11/6/2014 WORK                                                                   Hys lunch                              debit               CAD                   -              -         (1,129.84)           -
                                                                                                                                                                                                                                                           Case: 24-1770




        ACCO       ACCO          79951 11/10/2014 CASH                                                                  debit                                  debit               USD             (5,000.00)     (5,250.00)            -              -
        ACCO       ACCO          80512 11/26/2014 HELH                                                                  Booth Udall TT                         debit               USD               (350.00)       (550.00)            -              -
        ACCO       ACCO          80727 11/30/2014 WORK                                                                  interest charge                        interest charge     USD                   -        (4,066.18)            -              -
        ACCO       ACCO          80728 11/30/2014 WORK                                                                  interest charge                        interest charge     CAD                   -              -           (302.54)           -
        ACCO       ACCO          80962 12/1/2014 HELH                                                                   forex                                  forex debit         USD            (11,471.98)    (11,586.70)            -              -
        ACCO       ACCO          80962 12/1/2014 CASH                                                                   forex                                  forex credit        CAD             12,591.21            -         12,591.21            -
        ACCO       ACCO          81005 12/2/2014 REST      ORYN-R    Oryon Holdings                        (10,807,815) deliver stock                          stock delivery      USD                   -          (500.00)            -              -
        ACCO       ACCO          81005 12/2/2014 REST                                                                   deliver stock                          debit               USD                   -          (100.00)            -              -
        ACCO       ACCO          81006 12/2/2014 BCEL                                                                   STC ck#1391                            debit               USD                (75.00)       (175.00)            -              -
        ACCO       ACCO          81185 12/5/2014 CASH                                                                   debit                                  debit               CAD            (20,000.00)           -        (21,000.00)           -
        ACCO       ACCO          81188 12/5/2014 LEMI      RCC       Red Rock Capital                            2,000 internal transfer                       transfer stock in   CAD                   -              -               -              -
        ACCO       ACCO          81189 12/5/2014 WORK                                                                   internal transfer                      credit              USD                   -         1,837.30             -              -
        ACCO       ACCO          81309 12/10/2014 REST     ORYN-E    Oryon Holdings                         10,807,815 receive stock                           buy stock           USD                   -          (100.00)            -              -
        ACCO       ACCO          81329 12/10/2014 WORK                                                                  internal transfer                      credit              USD                   -        35,424.79             -              -
        ACCO       ACCO          81330 12/10/2014 WORK                                                                  internal transfer                      credit              USD                   -        35,424.79             -              -
        ACCO       ACCO          81332 12/10/2014 WORK                                                                  internal transfer                      credit              USD                   -         2,163.13             -              -
        ACCO       ACCO          81333 12/10/2014 WORK                                                                  internal transfer                      credit              USD                   -         2,882.14             -              -
        ACCO       ACCO          81334 12/10/2014 WORK                                                                  internal transfer                      debit               USD                   -       (17,712.40)            -              -
        ACCO       ACCO          81455 12/15/2014 BCHA     L-BL1C    Charterhouse:Blaquiere:5%; 07/09/19        70,000 Blackstone Capital ck #291              buy stock           CAD            (70,000.00)           -        (70,700.00)           -
        ACCO       ACCO          81522 12/16/2014 BCHA                                                                  forex                                  forex debit         USD            (30,000.00)    (30,000.00)            -              -
        ACCO       ACCO          81522 12/16/2014 CASH                                                                  forex                                  forex credit        CAD             34,000.00            -         34,000.00            -
        ACCO       ACCO          81648 12/19/2014 HELR                                                                  forex                                  forex debit         USD            (28,781.21)    (28,781.21)            -              -
        ACCO       ACCO          81648 12/19/2014 CASH                                                                  forex                                  forex credit        CAD             32,450.00            -         32,450.00            -
        ACCO       ACCO          81652 12/19/2014 WORK                                                                  Xmas Lunch                             credit              CAD                   -              -          3,500.00            -
                                                                                                                                                                                                                                                           Document: 00118249068




        ACCO       ACCO          81661 12/19/2014 CASH                                                                  debit                                  debit               CAD               (500.00)           -           (600.00)           -
        ACCO       ACCO          81758 12/31/2014 WORK                                                                  interest charge                        interest charge     USD                   -        (4,808.10)            -              -
        ACCO       ACCO          81759 12/31/2014 WORK                                                                  interest charge                        interest charge     CAD                   -              -           (503.24)           -
        ACCO       ACCO          81961 12/31/2014 WORK                                                                  custody fees                           debit               USD                   -            (7.29)            -              -
        ACCO       ACCO          81962 12/31/2014 WORK                                                                  custody fees                           debit               CAD                   -              -            (72.51)           -
        ACCO       ACCO          86466 1/1/2015 SGGO                                                                    DTC RCC                                debit               USD               (500.00)       (700.00)            -              -
        ACCO       ACCO          86591 1/1/2015 LOAN       L-BL1C    Charterhouse:Blaquiere:5%                 (70,000) loan payment                           sell stock          CAD                   -              -               -              -
        ACCO       ACCO          82583 1/20/2015 CASH                                                                   debit                                  debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          83248 1/30/2015 BCHA                                                                   forex                                  forex debit         USD            (23,147.88)    (23,379.36)            -              -
        ACCO       ACCO          83248 1/30/2015 CASH                                                                   forex                                  forex credit        CAD             28,647.43            -         28,647.43            -
        ACCO       ACCO          83269 2/2/2015 WORK                                                                    Accord Accord Fdn 15 fees              debit               USD                   -        (6,000.00)            -              -




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        ACCO       ACCO          83241 2/2/2015 TDCH                                                                    Stubhub ck #87                         debit               CAD             (3,649.52)           -         (3,749.52)           -
        ACCO       ACCO          83307 2/3/2015 WORK                                                                    internal transfer close account HPTG   debit               USD                   -          (552.98)            -              -
        ACCO       ACCO          83571 2/10/2015 VALP                                                                   debit                                  debit               USD             (3,951.66)     (4,170.21)            -              -
        ACCO       ACCO          83592 2/14/2015 WORK                                                                   internal transfer close GRPH           credit              USD                   -           855.12             -              -
        ACCO       ACCO          85809 2/26/2015 CASH                                                                   debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          86408 3/10/2015 BCHA                                                                   forex                                  forex debit         CAD             (6,442.50)           -         (6,506.93)           -
        ACCO       ACCO          86408 3/10/2015 CASH                                                                   forex                                  forex credit        USD              5,000.00       5,000.00             -              -
        ACCO       ACCO          86446 3/12/2015 SAFE      MAPG-E    Maple Leaf 1 oz gold coins                    100 gold coins                              buy stock           CAD                   -              -           (100.00)           -
        ACCO       ACCO          86586 3/18/2015 CASH                                                                   debit                                  debit               USD             (5,000.00)     (5,250.00)            -              -
        ACCO       ACCO         122938 3/27/2015 LOAN      L-GREC    Charterhouse:Greenestone:3%Pledge          14,002 interest                                buy stock           CAD                   -              -         (4,667.00)           -
        ACCO       ACCO          86813 3/30/2015 SAFE      MAPG-E    Maple Leaf 1 oz gold coins                    130 gold coins                              buy stock           CAD                   -              -           (100.00)           -
        ACCO       ACCO          87137 3/30/2015 WORK                                                                   custody fees                           debit               USD                   -            (4.37)            -              -
        ACCO       ACCO          87138 3/30/2015 WORK                                                                   custody fees                           debit               CAD                   -              -            (42.09)           -
        ACCO       ACCO          87310 4/1/2015 BCHA                                                                    forex                                  forex debit         USD            (17,433.46)    (17,607.79)            -              -
        ACCO       ACCO          87310 4/1/2015 CASH                                                                    forex                                  forex credit        CAD             21,385.05            -         21,385.05            -
        ACCO       ACCO          87564 4/13/2015 SAFE      MAPG-E    Maple Leaf 1 oz gold coins                   (100) internal transfer                      stock delivery      CAD                   -              -           (100.00)           -
        ACCO       ACCO          87569 4/13/2015 CASH                                                                   debit                                  debit               CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO          87711 4/17/2015 VALP                                                                   forex                                  forex debit         USD             (8,740.62)     (8,928.03)            -              -
        ACCO       ACCO          87711 4/17/2015 VALP                                                                   forex                                  forex credit        CAD             10,664.43            -         10,664.43            -
        ACCO       ACCO          88201 4/30/2015 CCTA                                                                   Continental TT                         credit              USD             62,000.00      62,000.00             -              -
        ACCO       ACCO          88414 5/4/2015 CASH                                                                    debit                                  debit               USD             (2,000.00)     (2,100.00)            -              -
        ACCO       ACCO          88620 5/14/2015 TDCH                                                                   Airfares & Hotel ck #105               debit               CAD             (6,673.01)           -         (6,773.01)           -
                                                                                                                                                                                                                                                           Date Filed: 02/18/2025




        ACCO       ACCO          88635 5/14/2015 CASH                                                                   debit                                  debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          88986 5/28/2015 TDCH                                                                   Hotel ck #107                          debit               CAD               (318.97)           -           (418.97)           -
        ACCO       ACCO          89493 6/5/2015 WORK                                                                    internal transfer close MDDD           debit               USD                   -          (194.00)            -              -
        ACCO       ACCO          89644 6/15/2015 CASH                                                                   debit                                  debit               CAD             (2,500.00)           -         (2,625.00)           -
        ACCO       ACCO          89764 6/19/2015 BCHA      L-GSVC    Charterhouse:Greenstone:6%                  5,000 Greenstone Ski Vacations ck #487        buy stock           CAD             (5,000.00)           -         (5,100.00)           -
        ACCO       ACCO          90637 6/20/2015 LOAN      L-BSCC    Charterhouse:Blackstone:6%                 76,305 interest                                buy stock           CAD                   -              -        (12,718.00)           -
        ACCO       ACCO          89961 6/25/2015 CASH                                                                   debit                                  debit               CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          90262 6/30/2015 WORK                                                                   custody fees                           debit               USD                   -            (4.06)            -              -
        ACCO       ACCO          90263 6/30/2015 WORK                                                                   custody fees                           debit               CAD                   -              -            (25.12)           -
        ACCO       ACCO          90595 7/2/2015 BCHA       L-OILC    Charterhouse:OilSands:16%                  74,498 VC Holdings ck #491                     buy stock           CAD            (74,498.10)           -        (75,243.08)           -
        ACCO       ACCO          90658 7/6/2015 BCHA                                                                    VC Holdings ck #383                    credit              CAD             75,000.00            -         75,000.00            -




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         Account    Account    Batch     Batch      Bank                                      Symbol                                      Batch                  Transaction       Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                         Stock
          Code       Title      ID        Date      Code                                    Description                                Description               Description        Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO          90809 7/17/2015 BCHA      L-OILC    Charterhouse:OilSands:16%               82,505 VC Holdings ck #499                    buy stock              CAD            (82,505.03)           -        (83,330.08)           -
        ACCO       ACCO          90839 7/17/2015 BCHA      L-BSCC    Charterhouse:Blackstone:6%             (80,000) Blackstone Capital Partners ck #210   sell stock             CAD             80,000.00            -         80,000.00            -
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        ACCO       ACCO          90840 7/20/2015 BCHA      L-BSCC    Charterhouse:Blackstone:6%              50,000 Blackstone Capital ck #500             buy stock              CAD            (50,000.00)           -        (50,500.00)           -
        ACCO       ACCO          90868 7/22/2015 BCHA                                                                forex                                 forex debit            USD            (20,007.45)    (20,207.52)            -              -
        ACCO       ACCO          90868 7/22/2015 CASH                                                                forex                                 forex credit           CAD             25,300.00            -         25,300.00            -
        ACCO       ACCO          90886 7/23/2015 TDCH                                                                Airfares ck #115                      debit                  CAD               (762.92)           -           (862.92)           -
        ACCO       ACCO          91434 8/7/2015 VERA                                                                 forex                                 forex debit            USD            (44,108.61)    (44,549.70)            -              -
        ACCO       ACCO          91434 8/7/2015 VERA                                                                 forex                                 forex credit           CAD             56,878.38            -         56,878.38            -
        ACCO       ACCO          91361 8/27/2015 LOAN      L-GSVC    Charterhouse:Greenstone:6%               3,607 interest                               buy stock              CAD                   -              -           (601.17)           -
        ACCO       ACCO          92236 9/10/2015 TDCH                                                                airfares ckÃ¯Â¼Æ’119                  debit                  CAD             (1,835.32)           -         (1,935.32)           -
        ACCO       ACCO          92329 9/22/2015 WORK                                                                internal transfer                     credit                 USD                   -        75,500.00             -              -
        ACCO       ACCO          92486 9/25/2015 WORK                                                                forex                                 forex debit            CAD                   -              -        (99,000.00)           -
        ACCO       ACCO          92486 9/25/2015 WORK                                                                forex                                 forex credit           USD                   -        73,324.69             -              -
        ACCO       ACCO          92859 9/29/2015 WORK                                                                custody fees                          debit                  USD                   -            (5.21)            -              -
        ACCO       ACCO          92860 9/29/2015 WORK                                                                custody fees                          debit                  CAD                   -              -            (15.10)           -
        ACCO       ACCO          92534 9/30/2015 BCHA                                                                NSF                                   debit                  CAD                 (7.00)           -           (107.00)           -
        ACCO       ACCO          92469 9/30/2015 BCHA      L-BSCC    Charterhouse:Blackstone:6%            (100,000) interest payment ck #240              sell stock             CAD           100,000.00             -       100,000.00             -
        ACCO       ACCO          93002 10/2/2015 CASH                                                                debit                                 debit                  CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          93066 10/7/2015 WORK                                                                internal transfer                     credit                 USD                   -        19,100.00             -              -
        ACCO       ACCO          93094 10/8/2015 CASH                                                                debit                                 debit                  USD             (1,500.00)     (1,600.00)            -              -
        ACCO       ACCO          93320 10/20/2015 SGPE                                                               forex                                 forex debit            USD             (1,376.03)     (1,489.79)            -              -
        ACCO       ACCO          93320 10/20/2015 SGPE                                                               forex                                 forex credit           CAD              1,788.90            -          1,788.90            -
        ACCO       ACCO          93376 10/22/2015 CASH                                                               debit                                 debit                  CAD             (1,500.00)           -         (1,600.00)           -
        ACCO       ACCO          93993 11/5/2015 SAFE      MAPG-E    Maple Leaf 1 oz gold coins                 (30) deliver gold coins                    stock delivery         CAD                   -              -           (100.00)           -
        ACCO       ACCO          93995 11/5/2015 BCHA                                                                Blackstone Capital ck #252            debit                  CAD                   -              -        (29,700.00)           -
        ACCO       ACCO          93994 11/5/2015 BCHA      L-BSCC    Charterhouse:Blackstone:6%             (30,000) Blackstone Capital ck #252            sell stock             CAD             30,000.00            -         30,000.00            -
                                                                                                                                                                                                                                                          Document: 00118249068




        ACCO       ACCO          94046 11/10/2015 CASH                                                               debit                                 debit                  CAD            (10,000.00)           -        (10,500.00)           -
        ACCO       ACCO         104853 12/9/2015 WORK                                                                internal transfer                     credit                 USD                   -       129,000.00             -              -
        ACCO       ACCO          95002 12/10/2015 TDCH                                                               Skylink ck #204                       debit                  CAD               (173.86)           -           (273.86)           -
        ACCO       ACCO          95466 12/30/2015 WORK                                                               custody fees                          debit                  USD                   -            (3.32)            -              -
        ACCO       ACCO          95467 12/30/2015 WORK                                                               custody fees                          debit                  CAD                   -              -            (15.20)           -
        ACCO       ACCO          96851 2/22/2016 SBCH      L-GSVC    Charterhouse:Greenstone:6%              10,000 Greenstone Ski Vacations ck #79        buy stock              CAD            (10,000.00)           -        (10,100.00)           -
        ACCO       ACCO          97382 3/2/2016 VERA       IRR       Inform Resources                      (100,000) deliver stock                         stock delivery         CAD               (680.00)           -           (780.00)           -
        ACCO       ACCO          97404 3/2/2016 SIVA       IRR       Inform Resources                       100,000 receive stock                          buy stock              CAD               (200.00)           -           (800.00)           -
        ACCO       ACCO          97542 3/8/2016 WORK                                                                 Accord Fdn 2016 fees                  debit                  USD                   -        (6,000.00)            -              -
        ACCO       ACCO         122939 3/27/2016 LOAN      L-GREC    Charterhouse:Greenestone:3%Pledge       14,422 interest                               buy stock              CAD                   -              -         (4,807.00)           -
        ACCO       ACCO          98274 3/30/2016 WORK                                                                custody fees                          debit                  USD                   -            (1.36)            -              -




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        ACCO       ACCO          98275 3/30/2016 WORK                                                                custody fees                          debit                  CAD                   -              -             (6.71)           -
        ACCO       ACCO          98539 3/31/2016 CASH                                                                debit                                 debit                  CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO          99073 3/31/2016 WORK                                                                forex                                 forex debit            USD                   -       (29,175.62)            -              -
        ACCO       ACCO          99073 3/31/2016 WORK                                                                forex                                 forex credit           CAD                   -              -         36,550.24            -
        ACCO       ACCO          98999 4/18/2016 WORK                                                                director fee                          debit                  USD                   -          (100.00)            -              -
        ACCO       ACCO         100148 5/20/2016 WORK                                                                director fee Pine                     debit                  USD                   -          (100.00)            -              -
        ACCO       ACCO         101097 6/21/2016 SAFE      MAPG-E    Maple Leaf 1 oz gold coins                (103) sell gold coins                       sell stock             CAD                   -              -               -              -
        ACCO       ACCO         101102 6/21/2016 WORK                                                                sell gold coins                       credit                 USD                   -       130,707.00             -              -
        ACCO       ACCO         101441 6/29/2016 WORK                                                                custody fees                          debit                  USD                   -            (0.89)            -              -
        ACCO       ACCO         101442 6/29/2016 WORK                                                                custody fees                          debit                  CAD                   -              -             (5.08)           -
        ACCO       ACCO         101764 7/6/2016 XPHO                                                                 4 @6 mons services                    debit                  USD                   -        (1,800.00)            -              -
        ACCO       ACCO         104805 7/15/2016 SIVA      IRR       Inform Resources                      (100,000) stock split reverse 10:1              split stock out        CAD                   -              -               -              -
        ACCO       ACCO         104805 7/15/2016 SIVA      IRR       Inform Resources                        10,000 stock split reverse 10:1               split stock in                               -              -               -              -
        ACCO       ACCO         102027 7/17/2016 LOAN      L-BSCC    Charterhouse:Blackstone:6%              65,090 interest                               buy stock              CAD                   -              -        (10,848.00)           -
        ACCO       ACCO         102227 7/29/2016 BOSA                                                                forex                                 forex debit            USD             (8,297.18)     (8,380.15)            -              -
        ACCO       ACCO         102227 7/29/2016 BOSA                                                                forex                                 forex credit           CAD             10,853.08            -         10,853.08            -
        ACCO       ACCO         102634 8/4/2016 SAFE       MAPG-E    Maple Leaf 1 oz gold coins                  (7) deliver gold coins                    corporate action out   CAD                   -              -               -              -
        ACCO       ACCO         102840 8/12/2016 WORK                                                                forex                                 forex debit            USD                   -        (4,101.56)            -              -
        ACCO       ACCO         102840 8/12/2016 WORK                                                                forex                                 forex credit           CAD                   -              -          5,250.00            -
        ACCO       ACCO         102825 8/12/2016 CASH                                                                debit                                 debit                  CAD             (5,000.00)           -         (5,250.00)           -
        ACCO       ACCO         102684 8/27/2016 LOAN      L-GSVC    Charterhouse:Greenstone:6%               4,422 interest                               buy stock              CAD                   -              -           (737.00)           -
        ACCO       ACCO         103616 9/8/2016 CASH                                                                 debit                                 debit                  CAD             (5,000.00)           -         (5,250.00)           -
                                                                                                                                                                                                                                                          Date Filed: 02/18/2025




        ACCO       ACCO         103630 9/30/2016 WORK                                                                forex                                 forex debit            USD                   -        (8,989.90)            -              -
        ACCO       ACCO         103630 9/30/2016 WORK                                                                forex                                 forex credit           CAD                   -              -         11,596.97            -
        ACCO       ACCO         104495 9/30/2016 WORK                                                                custody fees                          debit                  USD                   -            (0.86)            -              -
        ACCO       ACCO         104496 9/30/2016 WORK                                                                custody fees                          debit                  CAD                   -              -            (44.57)           -
        ACCO       ACCO         104741 10/11/2016 CASH                                                               debit                                 debit                  CAD             (7,500.00)           -         (7,875.00)           -
        ACCO       ACCO         104763 10/12/2016 SAFE     MAPG-E    Maple Leaf 1 oz gold coins                (190) deliver gold coins                    stock delivery         CAD                   -              -           (100.00)           -
        ACCO       ACCO         106557 10/14/2016 WBMO                                                               Inform Resources TT                   credit                 CAD             15,039.05            -         15,039.05            -
        ACCO       ACCO         104856 10/17/2016 WBMO                                                               2 wires TT                            credit                 USD             25,000.00      25,000.00             -              -
        ACCO       ACCO         105007 10/19/2016 WORK                                                               forex                                 forex debit            USD                   -       (20,769.34)            -              -
        ACCO       ACCO         105007 10/19/2016 WORK                                                               forex                                 forex credit           CAD                   -              -         27,400.00            -
        ACCO       ACCO         104964 10/19/2016 WORK                                                               director fees                         debit                  USD                   -        (1,000.00)            -              -




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         Account    Account    Batch     Batch      Bank                                    Symbol                                         Batch                         Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                         Stock
          Code       Title      ID        Date      Code                                   Description                                  Description                      Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO         104965 10/21/2016 AFTR                                                                McMillan TT                                  debit               CAD            (25,039.73)           -        (25,640.52)            -
        ACCO       ACCO         105132 10/25/2016 CASH                                                                debit                                        debit               CAD            (10,000.00)           -        (10,500.00)            -
                                                                                                                                                                                                                                                                   Case: 24-1770




        ACCO       ACCO         106622 12/6/2016 WBQU                                                                 Pyronix Media TT                             debit               USD            (15,030.00)    (15,405.75)            -               -
        ACCO       ACCO         106785 12/9/2016 WBMO                                                                 Kancelaria Radcy TT                          debit               USD            (25,050.00)    (25,676.25)            -               -
        ACCO       ACCO         107108 12/21/2016 CANE     BRZ       Bearing Lithium                           5,000 buy stock                                     buy stock           CAD             (3,385.00)           -         (3,520.40)            -
        ACCO       ACCO         107178 12/30/2016 WORK                                                                custody fees                                 debit               USD                   -            (0.59)            -               -
        ACCO       ACCO         107179 12/30/2016 WORK                                                                custody fees                                 debit               CAD                   -              -            (10.50)            -
        ACCO       ACCO         115389 12/31/2016 SIMO     ARW       Aroway Minerals                        (187,000) write off stock                              sell stock          CAD                   -              -               -               -
        ACCO       ACCO         115955 12/31/2016 REST     ORYN-E    Oryon Holdings                      (10,807,815) write off stock                              sell stock          USD                   -              -               -               -
        ACCO       ACCO         115133 12/31/2016 LEMI     RCC       Red Rock Capital                         (2,000) write off stock                              stock delivery      CAD                   -              -               -               -
        ACCO       ACCO         107547 1/3/2017 XPHO                                                                  2 @ 3 mons services                          debit               USD                   -          (900.00)            -               -
        ACCO       ACCO         107702 1/5/2017 WORK                                                                  internal transfer                            debit               USD                   -        (5,000.00)            -               -
        ACCO       ACCO         107928 1/6/2017 WORK                                                                  forex                                        forex debit         USD                   -      (100,338.39)            -               -
        ACCO       ACCO         107928 1/6/2017 WORK                                                                  forex                                        forex credit        CAD                   -              -       130,439.91              -
        ACCO       ACCO         107691 1/6/2017 CANE       LBY       Liberty One Lithium                     300,000 buy stock                                     buy stock           CAD          (130,320.00)            -      (135,532.80)             -
        ACCO       ACCO         108611 1/11/2017 WBQU                                                                 forex                                        forex debit         USD            (15,126.30)    (15,277.56)            -               -
        ACCO       ACCO         108611 1/11/2017 WBQU                                                                 forex                                        forex credit        CAD             20,000.00            -         20,000.00             -
        ACCO       ACCO         108645 1/12/2017 WBMO                                                                 forex                                        forex debit         USD            (34,800.00)    (35,148.00)            -               -
        ACCO       ACCO         108645 1/12/2017 WBMO                                                                 forex                                        forex credit        CAD             45,318.69            -         45,318.69             -
        ACCO       ACCO         107833 1/13/2017 WORK                                                                 internal transfer shell purchase repayment   credit              USD                   -       100,000.00             -               -
        ACCO       ACCO         107845 1/13/2017 CASH                                                                 debit                                        debit               CAD            (40,000.00)           -        (42,000.00)            -
        ACCO       ACCO         108647 1/17/2017 WBMO                                                                 forex                                        forex debit         USD            (39,000.00)    (39,390.00)            -               -
        ACCO       ACCO         108647 1/17/2017 WBMO                                                                 forex                                        forex credit        CAD             50,787.10            -         50,787.10             -
        ACCO       ACCO         108157 1/19/2017 CASH                                                                 debit                                        debit               CAD             (9,000.00)           -         (9,450.00)            -
        ACCO       ACCO         108677 2/7/2017 WORK                                                                  internal transfer                            credit              CAD                   -              -       150,000.00              -
        ACCO       ACCO         108678 2/7/2017 WORK                                                                  internal transfer                            credit              CAD                   -              -       220,000.00              -
                                                                                                                                                                                                                                                                   Document: 00118249068




        ACCO       ACCO         108740 2/7/2017 WIVA       LBY       Liberty One Lithium                       7,500 buy stock                                     buy stock           CAD             (4,300.25)           -         (4,472.26)            -
        ACCO       ACCO         108777 2/11/2017 WORK                                                                 internal transfer                            credit              USD                   -        37,500.00             -               -
        ACCO       ACCO         108896 2/21/2017 WBMO                                                                 StartMonday TT CAD87062.50                   debit               USD            (66,362.66)    (68,021.73)            -               -
        ACCO       ACCO         108946 2/23/2017 AFTR                                                                 Glenridge Partners TT                        debit               USD             (5,045.00)     (5,171.13)            -               -
        ACCO       ACCO         117604 2/24/2017 SIQU                                                                 YouCaring Jennifer McGarry                   debit               EUR             (2,959.83)           -               -         (3,059.83)
        ACCO       ACCO         109356 2/28/2017 CANE      LBY       Liberty One Lithium                     200,000 buy stock                                     buy stock           CAD          (115,200.00)            -      (119,808.00)             -
        ACCO       ACCO         109537 3/1/2017 WORK                                                                  internal transfer MXN50k                     debit               USD                   -        (2,763.00)            -               -
        ACCO       ACCO         109346 3/3/2017 WBMO                                                                  Audience Marketing TT                        debit               USD            (10,020.00)    (10,270.50)            -               -
        ACCO       ACCO         109495 3/7/2017 WBRI                                                                  Beneficial Design TT                         debit               USD             (5,010.00)     (5,135.25)            -               -
        ACCO       ACCO         109522 3/8/2017 WBMO                                                                  Cheuram Consulting TT                        credit              USD             24,980.00      24,980.00             -               -
        ACCO       ACCO         109678 3/22/2017 WORK                                                                 forex                                        forex debit         CAD                   -              -        (37,706.66)            -




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        ACCO       ACCO         109678 3/22/2017 WORK                                                                 forex                                        forex credit        USD                   -        27,930.86             -               -
        ACCO       ACCO         109712 3/25/2017 WBRI                                                                 Beneficial Designs TT                        debit               USD             (5,010.00)     (5,135.25)            -               -
        ACCO       ACCO         122940 3/27/2017 LOAN      L-GREC    Charterhouse:Greenestone:3%Pledge        14,855 interest                                      buy stock           CAD                   -              -         (4,952.00)            -
        ACCO       ACCO         109801 3/30/2017 WORK                                                                 forex                                        forex debit         CAD                   -              -         (6,949.24)            -
        ACCO       ACCO         109801 3/30/2017 WORK                                                                 forex                                        forex credit        USD                   -         5,186.00             -               -
        ACCO       ACCO         110081 3/31/2017 WORK                                                                 custody fees                                 debit               CAD                   -              -           (391.26)            -
        ACCO       ACCO         110076 4/4/2017 AFTR                                                                  StartMonday Technology TT                    debit               CAD          (125,093.85)            -      (128,221.20)             -
        ACCO       ACCO         110159 4/5/2017 WBVA                                                                  forex                                        forex debit         USD            (85,000.00)    (85,850.00)            -               -
        ACCO       ACCO         110159 4/5/2017 WBVA                                                                  forex                                        forex credit        CAD           113,747.89             -       113,747.89              -
        ACCO       ACCO         110165 4/5/2017 REST                                                                  directors fee                                debit               CAD                   -              -         (1,300.00)            -
        ACCO       ACCO         110236 4/7/2017 AFTR                                                                  forex                                        forex debit         USD            (94,268.48)    (95,211.16)            -               -
        ACCO       ACCO         110236 4/7/2017 AFTR                                                                  forex                                        forex credit        CAD           125,000.00             -       125,000.00              -
        ACCO       ACCO         110216 4/10/2017 REST                                                                 directors fee                                debit               CAD                   -              -           (500.00)            -
        ACCO       ACCO         110372 4/26/2017 WORK                                                                 Office rent Jan-Apr 2017 4 mos               credit              CAD                   -              -          7,560.00             -
        ACCO       ACCO         110389 4/27/2017 WORK                                                                 internal transfer BL repayment               credit              USD                   -        20,500.00             -               -
        ACCO       ACCO         110632 4/27/2017 CANE      PRZ       Prize Mining                            715,000 receive stock DAP                             buy stock           CAD          (250,350.00)            -      (250,350.00)             -
        ACCO       ACCO         110394 4/27/2017 CANI      WGO       White Gold                               10,000 buy stock                                     buy stock           CAD            (19,452.30)           -        (20,230.39)            -
        ACCO       ACCO         110399 4/27/2017 CASH                                                                 debit                                        debit               CAD            (13,000.00)           -        (13,650.00)            -
        ACCO       ACCO         110430 4/28/2017 WORK                                                                 internal transfer adjust pyronix/prize       credit              USD                   -       195,000.00             -               -
        ACCO       ACCO         110589 4/28/2017 WORK                                                                 forex                                        forex debit         USD                   -      (144,263.62)            -               -
        ACCO       ACCO         110589 4/28/2017 WORK                                                                 forex                                        forex credit        CAD                   -              -       193,313.25              -
        ACCO       ACCO         111385 4/28/2017 WORK                                                                 forex                                        forex debit         USD                   -        (1,039.83)            -               -
                                                                                                                                                                                                                                                                   Date Filed: 02/18/2025




        ACCO       ACCO         111385 4/28/2017 WORK                                                                 forex                                        forex credit        EUR                   -              -               -            812.36
        ACCO       ACCO         110792 5/1/2017 CANI       WGO       White Gold                               10,000 buy stock                                     buy stock           CAD            (20,230.00)           -        (21,039.20)            -
        ACCO       ACCO         110793 5/3/2017 CANE       LBY       Liberty One Lithium                     171,000 buy stock                                     buy stock           CAD            (98,474.70)           -      (102,413.69)             -
        ACCO       ACCO         110701 5/3/2017 WBVA                                                                  DataMentors TT                               debit               USD             (5,694.27)     (5,836.63)            -               -
        ACCO       ACCO         111115 5/4/2017 WIVA                                                                  stock split IRR 10000                        debit               CAD                (25.00)           -           (125.00)            -
        ACCO       ACCO         110978 5/17/2017 WORK                                                                 internal transfer                            credit              USD                   -       360,000.00             -               -
        ACCO       ACCO         111031 5/19/2017 WBVA                                                                 Pamela Parmar TT                             debit               CAD            (62,499.75)           -        (64,062.24)            -
        ACCO       ACCO         111057 5/24/2017 WORK                                                                 director fee                                 debit               USD                   -          (100.00)            -               -
        ACCO       ACCO         111106 5/24/2017 WBSA                                                                 forex                                        forex debit         USD             (6,000.00)     (6,060.00)            -               -
        ACCO       ACCO         111106 5/24/2017 WBSA                                                                 forex                                        forex credit        EUR              5,349.94            -               -          5,349.94
        ACCO       ACCO         111056 5/25/2017 WBSA                                                                 Autobedrijf G.H. Wessel TT                   debit               EUR             (6,012.00)           -               -         (6,162.30)




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         Account    Account    Batch     Batch      Bank                                    Symbol                                      Batch               Transaction   Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                        Stock
          Code       Title      ID        Date      Code                                   Description                                Description           Description     Code     (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO         111454 5/26/2017 PESC                                                               debit trade 5K LND in error       debit               USD              (200.00)       (200.00)            -              -
        ACCO       ACCO         111123 5/29/2017 WORK                                                               director fees                     debit               USD                  -        (1,000.00)            -              -
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        ACCO       ACCO         111124 5/29/2017 WBVA                                                               StarMonday TT                     debit               CAD           (50,100.00)           -        (51,352.50)           -
        ACCO       ACCO         111125 5/29/2017 WBQU                                                               Fortuna Investments TT            debit               CAD           (35,070.00)           -        (35,946.75)           -
        ACCO       ACCO         115005 5/30/2017 WIVA                                                               Deposit fees IRR                  debit               CAD              (200.00)           -           (300.00)           -
        ACCO       ACCO         111449 6/1/2017 WIVA       IRR       Inform Resources                      (10,000) stock split 2:1                   split stock out     CAD                  -              -               -              -
        ACCO       ACCO         111449 6/1/2017 WIVA       IRR       Inform Resources                       20,000 stock split 2:1                    split stock in                           -              -               -              -
        ACCO       ACCO         111357 6/1/2017 WORK                                                                internal transfer                 credit              USD                  -       360,000.00             -              -
        ACCO       ACCO         111440 6/7/2017 WBQU                                                                McMillan TT LBY                   debit               CAD         (625,337.57)            -      (634,781.00)            -
        ACCO       ACCO         111437 6/7/2017 WBRI                                                                Beneficial Designs TT             debit               USD            (6,137.25)     (6,290.68)            -              -
        ACCO       ACCO         111501 6/12/2017 WORK                                                               director fee                      debit               USD                  -          (100.00)            -              -
        ACCO       ACCO         111502 6/12/2017 WBQU                                                               StartMonday TT                    debit               CAD           (70,140.00)           -        (71,893.50)           -
        ACCO       ACCO         111564 6/15/2017 WORK                                                               forex                             forex debit         USD                  -      (189,352.18)            -              -
        ACCO       ACCO         111564 6/15/2017 WORK                                                               forex                             forex credit        CAD                  -              -       248,051.36             -
        ACCO       ACCO         111050 6/20/2017 WBMO                                                               Liberty TT                        credit              CAD          119,936.28             -       119,936.28             -
        ACCO       ACCO         111589 6/20/2017 WBSA                                                               Burns, Figa & Will TT             debit               USD            (2,510.00)     (2,610.00)            -              -
        ACCO       ACCO         111603 6/22/2017 CANE      BRZ       Bearing Lithium                        (5,000) sell stock                        sell stock          CAD             4,615.00            -          4,430.40            -
        ACCO       ACCO         111607 6/22/2017 COQB                                                               1033405 BC Ltd draft              debit               CAD           (26,000.00)           -        (26,260.00)           -
        ACCO       ACCO         111623 6/22/2017 PESC                                                               forex                             forex debit         USD           (91,224.06)    (92,136.30)            -              -
        ACCO       ACCO         111623 6/22/2017 PESC                                                               forex                             forex credit        CAD          120,196.83             -       120,196.82             -
        ACCO       ACCO         111701 6/29/2017 COQB                                                               McMillan draft                    debit               CAD           (45,000.00)           -        (45,450.00)           -
        ACCO       ACCO         111847 6/29/2017 WORK                                                               custody fees                      debit               USD                  -            (0.74)            -              -
        ACCO       ACCO         111848 6/29/2017 WORK                                                               custody fees                      debit               CAD                  -              -           (519.68)           -
        ACCO       ACCO         112112 6/30/2017 WORK                                                               Office rent May-Jun 2017 2 mos    credit              CAD                  -              -          1,180.00            -
        ACCO       ACCO         112302 7/1/2017 WORK                                                                forex                             forex debit         USD                  -       (72,727.52)            -              -
        ACCO       ACCO         112302 7/1/2017 WORK                                                                forex                             forex credit        CAD                  -              -         90,318.94            -
                                                                                                                                                                                                                                                 Document: 00118249068




        ACCO       ACCO         112115 7/5/2017 COKE                                                                forex                             forex debit         USD           (81,829.44)    (82,647.73)            -              -
        ACCO       ACCO         112115 7/5/2017 COKE                                                                forex                             forex credit        CAD          105,723.64             -       105,723.64             -
        ACCO       ACCO         112020 7/17/2017 LOAN      L-BSCC    Charterhouse:Blackstone:6%             77,796 interest                           buy stock           CAD                  -              -        (12,966.00)           -
        ACCO       ACCO         112258 7/17/2017 WBVA                                                               forex 1256                        forex debit         USD           (28,000.00)    (28,280.00)            -              -
        ACCO       ACCO         112258 7/17/2017 WBVA                                                               forex 1256                        forex credit        CAD            35,340.24            -         35,340.24            -
        ACCO       ACCO         112272 7/18/2017 WBHI                                                               Leo Resources TT IB               debit               CAD         (100,200.00)            -      (102,705.00)            -
        ACCO       ACCO         112301 7/19/2017 WBHI                                                               forex                             forex debit         USD           (32,831.36)    (33,159.67)            -              -
        ACCO       ACCO         112301 7/19/2017 WBHI                                                               forex                             forex credit        CAD            41,180.17            -         41,180.17            -
        ACCO       ACCO         112300 7/20/2017 CASH                                                               debit                             debit               CAD           (14,000.00)           -        (14,700.00)           -
        ACCO       ACCO         112528 7/25/2017 WBVA                                                               forex 1303                        forex debit         USD         (140,087.51)    (141,488.39)            -              -
        ACCO       ACCO         112528 7/25/2017 WBVA                                                               forex 1303                        forex credit        CAD          175,000.00             -       175,000.00             -




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        ACCO       ACCO         112423 7/25/2017 WORK                                                               internal transfer                 credit              USD                  -       102,000.00             -              -
        ACCO       ACCO         112453 7/26/2017 CASH                                                               debit                             debit               CAD           (30,000.00)           -        (31,500.00)           -
        ACCO       ACCO         112845 8/3/2017 BEAP       AVN-E     Avonhurst Capital                     135,416 receive stock                      buy stock           CAD                  -              -           (600.00)           -
        ACCO       ACCO         112843 8/3/2017 BEAT       AVN-E     Avonhurst Capital                     187,500 receive stock                      buy stock           CAD                  -              -           (600.00)           -
        ACCO       ACCO         112794 8/3/2017 WBQU                                                                Evergreen TT GROG                 debit               USD           (10,020.00)    (10,270.50)            -              -
        ACCO       ACCO         112844 8/3/2017 BEAG       AVN-E     Avonhurst Capital                     171,250 receive stock                      buy stock           CAD                  -              -           (600.00)           -
        ACCO       ACCO         112883 8/8/2017 WBVA                                                                Nexus 21 TT                       debit               USD            (5,075.14)     (5,202.02)            -              -
        ACCO       ACCO         112882 8/8/2017 WBVA                                                                Brown Safe Manufacturing TT       debit               USD           (11,783.52)    (12,078.11)            -              -
        ACCO       ACCO         115178 8/22/2017 SIQU      RKR       Rokmaster Resources                   (50,000) internal transfer                 stock delivery      CAD                  -              -           (100.00)           -
        ACCO       ACCO         115178 8/22/2017 WILA      RKR       Rokmaster Resources                    50,000 internal transfer                  transfer stock in   CAD                  -              -               -              -
        ACCO       ACCO         122934 8/27/2017 LOAN      L-GSVC    Charterhouse:Greenstone:6%              4,982 interest                           buy stock           CAD                  -              -           (830.00)           -
        ACCO       ACCO         116028 9/14/2017 CASH                                                               debit                             debit               CAD           (15,160.00)           -        (15,918.00)           -
        ACCO       ACCO         116218 9/20/2017 CANI      ML        Milennial Lithium                      96,000 receive stock DAP                  buy stock           CAD         (120,000.00)            -      (120,000.00)            -
        ACCO       ACCO         116547 9/21/2017 WBSA                                                               outgoing wire fund card           debit               USD            (5,000.00)     (5,125.00)            -              -
        ACCO       ACCO         116233 9/28/2017 CANI      ML        Milennial Lithium                     (20,000) sell stock                        sell stock          CAD            27,690.00            -         26,582.40            -
        ACCO       ACCO         116781 9/30/2017 WORK                                                               Office rent Jul-Sep 2017 3 mos    credit              CAD                  -              -          1,770.00            -
        ACCO       ACCO         116417 9/30/2017 WORK                                                               custody fees                      debit               USD                  -            (0.70)            -              -
        ACCO       ACCO         116418 9/30/2017 WORK                                                               custody fees                      debit               CAD                  -              -           (642.66)           -
        ACCO       ACCO         116564 10/4/2017 CANI      ML        Milennial Lithium                     (20,000) sell stock                        sell stock          CAD            27,690.00            -         26,582.40            -
        ACCO       ACCO         116600 10/5/2017 CANI      ML        Milennial Lithium                     (20,000) sell stock                        sell stock          CAD            28,482.00            -         27,342.72            -
        ACCO       ACCO         116626 10/6/2017 CANI      ML        Milennial Lithium                     (20,000) sell stock                        sell stock          CAD            29,670.00            -         28,483.20            -
        ACCO       ACCO         116681 10/10/2017 CANI     ML        Milennial Lithium                     (16,000) sell stock                        sell stock          CAD            25,155.60            -         24,149.38            -
                                                                                                                                                                                                                                                 Date Filed: 02/18/2025




        ACCO       ACCO         116796 10/16/2017 BEAG     LBY       Liberty One Lithium                  (678,500) internal transfer                 stock delivery      CAD                  -              -           (100.00)           -
        ACCO       ACCO         117377 10/18/2017 WIHI                                                              Hadley Mining TT finders fee      debit               CAD           (86,250.00)           -        (88,406.25)           -
        ACCO       ACCO         116820 10/18/2017 CANI     ML        Milennial Lithium                     (48,000) sell stock                        sell stock          CAD          115,404.00             -       110,787.84             -
        ACCO       ACCO         116828 10/18/2017 CANI     ML        Milennial Lithium                      48,000 buy stock exercise warrants        buy stock           CAD           (72,000.00)           -        (72,000.00)           -
        ACCO       ACCO         116931 10/24/2017 CANE     PRZ       Prize Mining                          (14,500) sell stock                        sell stock          CAD             6,535.00            -          6,273.60            -
        ACCO       ACCO         117062 10/30/2017 CANE     PRZ       Prize Mining                          (20,000) sell stock                        sell stock          CAD             9,065.00            -          8,702.40            -
        ACCO       ACCO         117053 10/30/2017 CANE     PRZ       Prize Mining                           (5,500) sell stock                        sell stock          CAD             2,500.00            -          2,400.00            -
        ACCO       ACCO         117367 11/2/2017 WIVA                                                               rebalance IRR                     debit               CAD              (200.00)           -           (300.00)           -
        ACCO       ACCO         117746 11/20/2017 WIVA                                                              Montego Resources TT              debit               CAD         (150,000.00)            -      (153,750.00)            -
        ACCO       ACCO         117772 11/27/2017 CANE     PRZ       Prize Mining                         (675,000) sell stock                        sell stock          CAD          260,587.50             -       260,487.50             -
        ACCO       ACCO         118080 12/5/2017 CASH                                                               debit                             debit               CAD           (40,000.00)           -        (42,000.00)           -




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         Account    Account    Batch     Batch      Bank                                      Symbol                                      Batch                    Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                         Stock
          Code       Title      ID        Date      Code                                    Description                                Description                 Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO         117728 12/13/2017 BEAP     AVN-E     Avonhurst Capital                     (135,416) order DRS statement                     stock delivery      CAD               (175.00)           -           (175.00)           -
        ACCO       ACCO         117728 12/13/2017 REST     AVN-E     Avonhurst Capital                      135,416 order DRS statement                      transfer stock in   CAD                   -              -               -              -
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        ACCO       ACCO         122952 12/13/2017 LOAN     L-GSVC    Charterhouse:Greenstone:6%             (60,999) loan payment Gillespie & Co LLP         sell stock          CAD                   -              -               -              -
        ACCO       ACCO         118302 12/19/2017 WORK                                                               Office rent Oct-Dec 2017 3 mos          credit              CAD                   -              -          1,770.00            -
        ACCO       ACCO         118306 12/19/2017 CASH                                                               debit                                   debit               CAD          (250,000.00)            -      (262,500.00)            -
        ACCO       ACCO         118320 12/20/2017 WORK                                                               Directors fees                          debit               USD                   -        (1,000.00)            -              -
        ACCO       ACCO         118339 12/22/2017 WORK                                                               internal transfer                       credit              CAD                   -              -         61,000.00            -
        ACCO       ACCO         118333 12/22/2017 CASH                                                               debit                                   debit               CAD          (250,000.00)            -      (262,500.00)            -
        ACCO       ACCO         118346 12/27/2017 CANI     DLI       Desert Lion                             65,935 buy stock DAP                            buy stock           CAD          (120,101.70)            -      (120,101.70)            -
        ACCO       ACCO         118435 12/31/2017 WORK                                                               custody fees                            debit               USD                   -            (0.84)            -              -
        ACCO       ACCO         118436 12/31/2017 WORK                                                               custody fees                            debit               CAD                   -              -           (106.46)           -
        ACCO       ACCO         118706 1/12/2018 CANI      MC        M2 Cobalt                              500,000 receive stock                            buy stock           CAD                   -              -           (200.00)           -
        ACCO       ACCO         119351 2/5/2018 WISA                                                                 forex 2203                              forex debit         USD             (3,763.59)     (3,801.23)            -              -
        ACCO       ACCO         119351 2/5/2018 WISA                                                                 forex 2203                              forex credit        EUR              3,059.83            -               -         3,059.83
        ACCO       ACCO         119110 2/7/2018 CANI       MC-W      MC Coblat                              250,000 receive stock                            buy stock           CAD                   -              -           (200.00)           -
        ACCO       ACCO         119120 2/8/2018 CANI       DLI-W     Desert Lion                             49,451 receive stock                            buy stock           CAD                   -              -           (200.00)           -
        ACCO       ACCO         119126 2/8/2018 WORK                                                                 internal transfer                       credit              USD                   -       340,000.00             -              -
        ACCO       ACCO         119294 2/9/2018 LEEN       BOLT      Pacific Rim Cobalt                     200,000 receive stock                            buy stock           CAD                   -              -           (100.00)           -
        ACCO       ACCO         119254 2/20/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,500) sell stock                              sell stock          CAD              6,520.00            -          6,389.60            -
        ACCO       ACCO         119285 2/21/2018 LEEN      BOLT      Pacific Rim Cobalt                     (19,500) sell stock                              sell stock          CAD             11,783.50            -         11,547.83            -
        ACCO       ACCO         119293 2/22/2018 LEEN      BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              9,145.00            -          8,962.10            -
        ACCO       ACCO         119340 2/23/2018 LEEN      BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              8,910.00            -          8,731.80            -
        ACCO       ACCO         119522 2/26/2018 LEEN      BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              9,632.50            -          9,439.85            -
        ACCO       ACCO         119534 2/27/2018 LEEN      BOLT      Pacific Rim Cobalt                      (4,000) sell stock                              sell stock          CAD              2,460.00            -          2,360.00            -
        ACCO       ACCO         119584 2/28/2018 LEEN      BOLT      Pacific Rim Cobalt                     (26,000) sell stock                              sell stock          CAD             15,938.80            -         15,620.02            -
        ACCO       ACCO         119560 3/1/2018 LEEN       BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              9,038.50            -          8,857.73            -
                                                                                                                                                                                                                                                           Document: 00118249068




        ACCO       ACCO         119549 3/1/2018 CASH                                                                 debit                                   debit               CAD            (40,000.00)           -        (42,000.00)           -
        ACCO       ACCO         119547 3/2/2018 LEEN       BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              9,187.00            -          9,003.26            -
        ACCO       ACCO         119583 3/5/2018 LEEN       BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              9,484.00            -          9,294.32            -
        ACCO       ACCO         119594 3/6/2018 LEEN       BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD             10,820.50            -         10,604.09            -
        ACCO       ACCO         119616 3/8/2018 LEEN       BOLT      Pacific Rim Cobalt                      (3,000) sell stock                              sell stock          CAD              1,880.80            -          1,780.80            -
        ACCO       ACCO         119617 3/9/2018 LEEN       BOLT      Pacific Rim Cobalt                     (27,000) sell stock                              sell stock          CAD             17,087.20            -         16,745.46            -
        ACCO       ACCO         119635 3/12/2018 LEEN      BOLT      Pacific Rim Cobalt                      (5,000) sell stock                              sell stock          CAD              3,375.00            -          3,275.00            -
        ACCO       ACCO         119732 3/19/2018 LEEN      BOLT      Pacific Rim Cobalt                     100,000 receive stock                            buy stock           CAD                (84.00)           -           (184.00)           -
        ACCO       ACCO         119750 3/20/2018 LEEN      BOLT      Pacific Rim Cobalt                     (12,000) sell stock                              sell stock          CAD              7,105.00            -          6,962.90            -
        ACCO       ACCO         119749 3/21/2018 LEEN      BOLT      Pacific Rim Cobalt                      (3,000) sell stock                              sell stock          CAD              1,645.00            -          1,545.00            -
        ACCO       ACCO         119748 3/22/2018 LEEN      BOLT      Pacific Rim Cobalt                     (15,000) sell stock                              sell stock          CAD              8,435.00            -          8,266.30            -




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        ACCO       ACCO         119762 3/23/2018 LEEN      BOLT      Pacific Rim Cobalt                      (3,000) sell stock                              sell stock          CAD              1,615.00            -          1,515.00            -
        ACCO       ACCO         119757 3/23/2018 WORK                                                                ATT MX 322-274-2549 to Mar 21/19        debit               USD                   -        (1,300.00)            -              -
        ACCO       ACCO         119769 3/26/2018 LEEN      BOLT      Pacific Rim Cobalt                     (17,500) sell stock                              sell stock          CAD              9,860.00            -          9,662.80            -
        ACCO       ACCO         122941 3/27/2018 LOAN      L-GREC    Charterhouse:Greenestone:3%Pledge       15,301 interest                                 buy stock           CAD                   -              -         (5,100.00)           -
        ACCO       ACCO         119796 3/27/2018 LEEN      BOLT      Pacific Rim Cobalt                     (17,500) sell stock                              sell stock          CAD              9,670.00            -          9,476.60            -
        ACCO       ACCO         119795 3/28/2018 LEEN      BOLT      Pacific Rim Cobalt                     (22,000) sell stock                              sell stock          CAD             11,475.00            -         11,245.50            -
        ACCO       ACCO         119823 3/29/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              5,305.00            -          5,198.90            -
        ACCO       ACCO         119917 3/30/2018 WORK                                                                custody fees                            debit               USD                   -            (0.72)            -              -
        ACCO       ACCO         119918 3/30/2018 WORK                                                                custody fees                            debit               CAD                   -              -         (1,095.00)           -
        ACCO       ACCO         120136 3/31/2018 WORK                                                                Office rent Jan-Mar 2018 3 mos          credit              CAD                   -              -          1,770.00            -
        ACCO       ACCO         120221 4/25/2018 WISA                                                                refund 21/9/17 wire to fund card 2359   credit              USD              5,000.00       5,000.00             -              -
        ACCO       ACCO         120268 4/26/2018 CANI      DLI       Desert Lion                            (10,000) sell stock                              sell stock          CAD             11,642.00            -         11,176.32            -
        ACCO       ACCO         120234 4/26/2018 REST                                                                directors fees                          debit               USD                   -          (200.00)            -              -
        ACCO       ACCO         120266 4/27/2018 CANI      DLI       Desert Lion                            (10,000) sell stock                              sell stock          CAD             11,650.00            -         11,184.00            -
        ACCO       ACCO         120403 4/30/2018 CANI      DLI       Desert Lion                            (10,000) sell stock                              sell stock          CAD             11,850.00            -         11,376.00            -
        ACCO       ACCO         120237 5/1/2018 WISA                                                                 Tingle Merrett TT                       debit               CAD            (50,100.00)           -        (51,352.50)           -
        ACCO       ACCO         120434 5/1/2018 CANI       DLI       Desert Lion                               (600) sell stock                              sell stock          CAD                682.80            -            582.80            -
        ACCO       ACCO         120406 5/1/2018 LEEN       BOLT      Pacific Rim Cobalt                     450,000 receive stock                            buy stock           CAD                (84.00)           -           (184.00)           -
        ACCO       ACCO         120435 5/2/2018 CANI       DLI       Desert Lion                            (10,000) sell stock                              sell stock          CAD             10,550.00            -         10,128.00            -
        ACCO       ACCO         120461 5/3/2018 CANI       DLI       Desert Lion                             (9,400) sell stock                              sell stock          CAD             10,472.00            -         10,053.12            -
        ACCO       ACCO         120468 5/4/2018 CANI       DLI       Desert Lion                            (15,935) sell stock                              sell stock          CAD             18,324.82            -         17,591.83            -
        ACCO       ACCO         120509 5/10/2018 WILA      RKR       Rokmaster Resources                    (50,000) stock split 1:5 reverse                 split stock out     CAD                   -              -               -              -
                                                                                                                                                                                                                                                           Date Filed: 02/18/2025




        ACCO       ACCO         120509 5/10/2018 WILA      RKR       Rokmaster Resources                     10,000 stock split 1:5 reverse                  split stock in                            -              -               -              -
        ACCO       ACCO         120873 6/4/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,180.00            -          4,080.00            -
        ACCO       ACCO         120879 6/4/2018 REST                                                                 directors fee                           debit               USD                   -          (200.00)            -              -
        ACCO       ACCO         120878 6/4/2018 WORK                                                                 Office rent Apr-Jul 2018 4 mos          credit              CAD                   -              -          2,360.00            -
        ACCO       ACCO         120896 6/5/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,275.00            -          4,175.00            -
        ACCO       ACCO         120920 6/6/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,675.00            -          4,575.00            -
        ACCO       ACCO         120928 6/7/2018 REST                                                                 directors fee                           debit               USD                   -          (400.00)            -              -
        ACCO       ACCO         120931 6/7/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,255.00            -          4,155.00            -
        ACCO       ACCO         120960 6/8/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,425.00            -          4,325.00            -
        ACCO       ACCO         120976 6/11/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,325.00            -          4,225.00            -
        ACCO       ACCO         120992 6/12/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                              sell stock          CAD              4,425.00            -          4,325.00            -




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         Account    Account    Batch     Batch      Bank                                    Symbol                                       Batch                      Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                        Stock
          Code       Title      ID        Date      Code                                   Description                                 Description                  Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO         121004 6/13/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              4,625.00            -          4,525.00            -
        ACCO       ACCO         121014 6/14/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              4,155.00            -          4,055.00            -
                                                                                                                                                                                                                                                          Case: 24-1770




        ACCO       ACCO         121031 6/15/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              4,225.00            -          4,125.00            -
        ACCO       ACCO         121060 6/18/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,910.00            -          3,810.00            -
        ACCO       ACCO         121061 6/19/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,480.00            -          3,380.00            -
        ACCO       ACCO         121076 6/20/2018 LEEN      BOLT      Pacific Rim Cobalt                      (2,500) sell stock                               sell stock          CAD                855.00            -            755.00            -
        ACCO       ACCO         121077 6/21/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,705.00            -          3,605.00            -
        ACCO       ACCO         121087 6/22/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,967.50            -          3,867.50            -
        ACCO       ACCO         121093 6/25/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,735.00            -          3,635.00            -
        ACCO       ACCO         121101 6/26/2018 WILA                                                                Cryptocorp USA TT                        debit               USD            (15,030.00)    (15,405.75)            -              -
        ACCO       ACCO         121103 6/26/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,715.00            -          3,615.00            -
        ACCO       ACCO         121137 6/27/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,470.00            -          3,370.00            -
        ACCO       ACCO         121152 6/28/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,420.00            -          3,320.00            -
        ACCO       ACCO         121149 6/29/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,525.00            -          3,425.00            -
        ACCO       ACCO         121331 6/30/2018 WORK                                                                custody fees                             debit               USD                   -            (0.50)            -              -
        ACCO       ACCO         121332 6/30/2018 WORK                                                                custody fees                             debit               CAD                   -              -         (1,014.45)           -
        ACCO       ACCO         121325 7/3/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,405.00            -          3,305.00            -
        ACCO       ACCO         121398 7/4/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,530.00            -          3,430.00            -
        ACCO       ACCO         121411 7/5/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,355.00            -          3,255.00            -
        ACCO       ACCO         121429 7/9/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,605.00            -          3,505.00            -
        ACCO       ACCO         121436 7/10/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,811.50            -          3,711.50            -
        ACCO       ACCO         121446 7/11/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              4,400.00            -          4,300.00            -
        ACCO       ACCO         121447 7/12/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,890.00            -          3,790.00            -
        ACCO       ACCO         121452 7/13/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,700.00            -          3,600.00            -
        ACCO       ACCO         121462 7/16/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,705.00            -          3,605.00            -
        ACCO       ACCO         121469 7/17/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,700.00            -          3,600.00            -
                                                                                                                                                                                                                                                          Document: 00118249068




        ACCO       ACCO         121122 7/17/2018 LOAN      L-BSCC    Charterhouse:Blackstone:6%              82,463 interest                                  buy stock           CAD                   -              -        (13,744.00)           -
        ACCO       ACCO         121476 7/18/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,325.00            -          3,225.00            -
        ACCO       ACCO         121487 7/19/2018 LEEN                                                                exercise Inform warrants                 debit               CAD            (41,750.00)           -        (41,750.00)           -
        ACCO       ACCO         121488 7/19/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,625.00            -          3,525.00            -
        ACCO       ACCO         121501 7/20/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,410.00            -          3,310.00            -
        ACCO       ACCO         121508 7/23/2018 WORK                                                                internal transfer                        credit              CAD                   -              -         20,000.00            -
        ACCO       ACCO         121509 7/23/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,500.00            -          3,400.00            -
        ACCO       ACCO         121518 7/24/2018 LEEN      IRR       Inform Resources                     1,670,000 receive stock                             buy stock           CAD                (42.00)           -           (142.00)           -
        ACCO       ACCO         121517 7/24/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,425.00            -          3,325.00            -
        ACCO       ACCO         121528 7/25/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,500.00            -          3,400.00            -
        ACCO       ACCO         121549 7/26/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,326.50            -          3,226.50            -




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        ACCO       ACCO         121548 7/27/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,450.00            -          3,350.00            -
        ACCO       ACCO         121552 7/30/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,355.00            -          3,255.00            -
        ACCO       ACCO         121554 7/31/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,370.00            -          3,270.00            -
        ACCO       ACCO         121705 8/1/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,205.00            -          3,105.00            -
        ACCO       ACCO         121724 8/2/2018 BESQ                                                                 Booth Udall Fuller re: retainer top up   debit               USD             (1,888.85)     (1,988.85)            -              -
        ACCO       ACCO         121704 8/2/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,155.00            -          3,055.00            -
        ACCO       ACCO         121713 8/2/2018 WORK                                                                 internal transfer                        debit               CAD                   -              -        (40,100.00)           -
        ACCO       ACCO         121712 8/3/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              3,200.00            -          3,100.00            -
        ACCO       ACCO         121731 8/7/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              2,795.00            -          2,695.00            -
        ACCO       ACCO         121760 8/8/2018 LEEN       PGP       Power Group Projects                 2,000,000 receive stock                             buy stock           CAD                (84.00)           -           (184.00)           -
        ACCO       ACCO         121758 8/8/2018 LEEN       BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              2,696.00            -          2,596.00            -
        ACCO       ACCO         121759 8/9/2018 LEEN       BOLT      Pacific Rim Cobalt                      (7,500) sell stock                               sell stock          CAD              1,480.00            -          1,380.00            -
        ACCO       ACCO         123212 8/13/2018 BCHA      L-114C    Charterhouse:1146915:6%                350,000 1146915 BC Ltd loan advance               buy stock           CAD          (350,000.00)            -      (353,500.00)            -
        ACCO       ACCO         121819 8/16/2018 WIHI                                                                TT Issuer Direct Corp 1199               debit               USD            (75,150.00)    (77,028.75)            -              -
        ACCO       ACCO         122935 8/27/2018 LOAN      L-GSVC    Charterhouse:Greenstone:6%               1,621 interest                                  buy stock           CAD                   -              -           (270.00)           -
        ACCO       ACCO         122231 9/27/2018 CANI      MC        M2 Cobalt                              (14,000) sell stock                               sell stock          CAD              3,660.00            -          3,513.60            -
        ACCO       ACCO         122230 9/27/2018 CANI      WGO       White Gold                             (20,000) sell stock                               sell stock          CAD             19,770.00            -         18,979.20            -
        ACCO       ACCO         122241 9/28/2018 CANI      MC        M2 Cobalt                               (9,500) sell stock                               sell stock          CAD              2,535.00            -          2,433.60            -
        ACCO       ACCO         122347 9/30/2018 WORK                                                                custody fees                             debit               USD                   -            (0.34)            -              -
        ACCO       ACCO         122348 9/30/2018 WORK                                                                custody fees                             debit               CAD                   -              -         (2,231.79)           -
        ACCO       ACCO         122466 10/1/2018 CANI      MC        M2 Cobalt                               (3,000) sell stock                               sell stock          CAD                780.00            -            680.00            -
        ACCO       ACCO         122463 10/2/2018 CANI      MC        M2 Cobalt                              (73,500) sell stock                               sell stock          CAD             19,635.00            -         18,849.60            -
                                                                                                                                                                                                                                                          Date Filed: 02/18/2025




        ACCO       ACCO         122889 10/10/2018 WILA     RKR       Rokmaster Resources                    (10,000) write off stock                          sell stock          CAD                   -              -               -              -
        ACCO       ACCO         122893 10/10/2018 WIVA     IRR       Inform Resources                       (20,000) write off stock                          sell stock          CAD                   -              -               -              -
        ACCO       ACCO         122865 10/31/2018 LEEN     BOLT      Pacific Rim Cobalt                     450,000 receive stock                             buy stock           CAD                (65.63)           -           (165.63)           -
        ACCO       ACCO         122873 11/5/2018 CANI      MC        M2 Cobalt                              (21,500) sell stock                               sell stock          CAD              5,225.00            -          5,016.00            -
        ACCO       ACCO         122874 11/6/2018 CANI      MC        M2 Cobalt                              (26,500) sell stock                               sell stock          CAD              6,475.00            -          6,216.00            -
        ACCO       ACCO         122875 11/7/2018 CANI      MC        M2 Cobalt                              (52,000) sell stock                               sell stock          CAD             12,970.00            -         12,451.20            -
        ACCO       ACCO         122943 11/22/2018 LOAN     L-GREC    Charterhouse:Greenestone:3%Pledge       10,837 interest                                  buy stock           CAD                   -              -         (3,612.00)           -
        ACCO       ACCO         122942 11/24/2018 LOAN     L-GSVC    Charterhouse:Greenstone:6%                 442 interest                                  buy stock           CAD                   -              -            (74.00)           -
        ACCO       ACCO         122967 11/29/2018 LEEN     BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              1,442.50            -          1,342.50            -
        ACCO       ACCO         122968 11/30/2018 LEEN     BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              1,330.00            -          1,230.00            -
        ACCO       ACCO         122983 12/3/2018 LEEN      BOLT      Pacific Rim Cobalt                     (10,000) sell stock                               sell stock          CAD              1,355.00            -          1,255.00            -




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         Account    Account    Batch     Batch      Bank                                      Symbol                                    Batch                  Transaction    Currency   Cash Bank        Cash Acct      Cash Acct       Cash Acct
                                                            Symbol                                          Stock
          Code       Title      ID        Date      Code                                    Description                               Description              Description     Code      (in Curr)         (USD)          (CAD)           (EUR)
        ACCO       ACCO         122984 12/3/2018 CANI      MC        M2 Cobalt                                (41,500) sell stock                        sell stock          CAD             10,259.76            -          9,849.37            -
        ACCO       ACCO         123035 12/4/2018 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,330.00            -          1,230.00            -
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        ACCO       ACCO         123037 12/4/2018 CANI      MC        M2 Cobalt                                (19,500) sell stock                        sell stock          CAD              4,845.00            -          4,651.20            -
        ACCO       ACCO         123038 12/5/2018 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,155.00            -          1,055.00            -
        ACCO       ACCO         123039 12/5/2018 CANI      MC        M2 Cobalt                                (20,000) sell stock                        sell stock          CAD              4,850.00            -          4,656.00            -
        ACCO       ACCO         123043 12/6/2018 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,300.00            -          1,200.00            -
        ACCO       ACCO         123046 12/7/2018 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,275.00            -          1,175.00            -
        ACCO       ACCO         123053 12/10/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,350.00            -          1,250.00            -
        ACCO       ACCO         123055 12/10/2018 BCHA     L-GREC    Charterhouse:Greenestone:3%Pledge       (536,158) loan payment                      sell stock          CAD           536,158.00             -       536,158.00             -
        ACCO       ACCO         123056 12/10/2018 BCHA     L-GSVC    Charterhouse:Greenstone:6%               (29,075) loan payment                      sell stock          CAD             27,731.38            -         27,731.38            -
        ACCO       ACCO         123059 12/11/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,187.50            -          1,087.50            -
        ACCO       ACCO         123072 12/12/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,250.00            -          1,150.00            -
        ACCO       ACCO         123073 12/13/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,300.00            -          1,200.00            -
        ACCO       ACCO         123077 12/14/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,125.00            -          1,025.00            -
        ACCO       ACCO         123085 12/17/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,300.00            -          1,200.00            -
        ACCO       ACCO         123093 12/19/2018 LEEN     BOLT      Pacific Rim Cobalt                       (20,000) sell stock                        sell stock          CAD              2,347.50            -          2,247.50            -
        ACCO       ACCO         123109 12/20/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,245.00            -          1,145.00            -
        ACCO       ACCO         123110 12/21/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,105.00            -          1,005.00            -
        ACCO       ACCO         123111 12/21/2018 LEEN                                                                 Sweet Earth PP                    debit               CAD          (125,000.00)            -      (125,000.00)            -
        ACCO       ACCO         123112 12/21/2018 LEEN                                                                 forex                             forex debit         USD          (203,347.00)    (205,380.47)            -              -
        ACCO       ACCO         123112 12/21/2018 LEEN                                                                 forex                             forex credit        CAD           274,614.02             -       274,614.02             -
        ACCO       ACCO         123115 12/24/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,190.00            -          1,090.00            -
        ACCO       ACCO         123117 12/27/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,180.00            -          1,080.00            -
        ACCO       ACCO         123123 12/28/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,125.00            -          1,025.00            -
        ACCO       ACCO         123126 12/31/2018 LEEN     BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,180.00            -          1,080.00            -
        ACCO       ACCO         123199 1/2/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,255.00            -          1,155.00            -
                                                                                                                                                                                                                                                     Document: 00118249068




        ACCO       ACCO         123202 1/3/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,350.00            -          1,250.00            -
        ACCO       ACCO         123205 1/4/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,257.50            -          1,157.50            -
        ACCO       ACCO         123208 1/7/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,175.00            -          1,075.00            -
        ACCO       ACCO         123214 1/7/2019 LOAN       L-114C    Charterhouse:1146915:6%                    8,458 interest                           buy stock           CAD                   -              -         (1,410.00)           -
        ACCO       ACCO         123213 1/7/2019 BCHA       L-114C    Charterhouse:1146915:6%                 (250,000) loan payment                      sell stock          CAD           250,000.00             -       250,000.00             -
        ACCO       ACCO         123218 1/8/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,297.50            -          1,197.50            -
        ACCO       ACCO         123223 1/9/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,330.00            -          1,230.00            -
        ACCO       ACCO         123236 1/10/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,505.00            -          1,405.00            -
        ACCO       ACCO         123242 1/11/2019 CANI      MC        M2 Cobalt                                (10,000) sell stock                        sell stock          CAD              2,470.00            -          2,370.00            -
        ACCO       ACCO         123240 1/11/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,730.00            -          1,630.00            -
        ACCO       ACCO         123241 1/14/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,655.00            -          1,555.00            -




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        ACCO       ACCO         123243 1/14/2019 CANI      MC        M2 Cobalt                                 (9,000) sell stock                        sell stock          CAD              2,220.00            -          2,120.00            -
        ACCO       ACCO         123250 1/15/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,930.00            -          1,830.00            -
        ACCO       ACCO         123267 1/16/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,905.00            -          1,805.00            -
        ACCO       ACCO         123270 1/17/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,930.00            -          1,830.00            -
        ACCO       ACCO         123277 1/18/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,825.00            -          1,725.00            -
        ACCO       ACCO         123284 1/21/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,830.00            -          1,730.00            -
        ACCO       ACCO         123285 1/22/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,775.00            -          1,675.00            -
        ACCO       ACCO         123302 1/23/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,780.00            -          1,680.00            -
        ACCO       ACCO         123310 1/24/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,730.00            -          1,630.00            -
        ACCO       ACCO         123306 1/25/2019 CASH                                                                  debit                             debit               CAD            (28,060.00)           -        (29,463.00)           -
        ACCO       ACCO         123309 1/25/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,655.00            -          1,555.00            -
        ACCO       ACCO         123312 1/28/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,750.00            -          1,650.00            -
        ACCO       ACCO         123322 1/29/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,730.00            -          1,630.00            -
        ACCO       ACCO         123323 1/29/2019 WORK                                                                  director fees                     debit               USD                   -        (1,100.00)            -              -
        ACCO       ACCO         123326 1/30/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,725.00            -          1,625.00            -
        ACCO       ACCO         123344 1/31/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,750.00            -          1,650.00            -
        ACCO       ACCO         123385 2/1/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,800.00            -          1,700.00            -
        ACCO       ACCO         123390 2/4/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,792.48            -          1,692.48            -
        ACCO       ACCO         123422 2/11/2019 LEEN      PGP       Power Group Projects                  (2,000,000) stock split                       split stock out     CAD                   -              -               -              -
        ACCO       ACCO         123422 2/11/2019 LEEN      PGP       Power Group Projects                     200,000 stock split                        split stock in                            -              -               -              -
        ACCO       ACCO         123461 2/26/2019 REST                                                                  directors fee                     debit               USD                   -          (300.00)            -              -
        ACCO       ACCO         123633 3/26/2019 CANI      MC        M2 Cobalt                               (113,500) sell stock                        sell stock          CAD             19,364.09            -         18,589.53            -
                                                                                                                                                                                                                                                     Date Filed: 02/18/2025




        ACCO       ACCO         123644 3/29/2019 CANI      MC        M2 Cobalt                                (76,000) sell stock                        sell stock          CAD             12,760.00            -         12,249.60            -
        ACCO       ACCO         123696 4/1/2019 CANI       MC        M2 Cobalt                                (10,500) sell stock                        sell stock          CAD              1,715.00            -          1,615.00            -
        ACCO       ACCO         123787 5/2/2019 LEEN       BOLT      Pacific Rim Cobalt                       450,000 receive stock                      buy stock           CAD                (92.18)           -           (192.18)           -
        ACCO       ACCO         123949 5/6/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              2,005.00            -          1,905.00            -
        ACCO       ACCO         123948 5/7/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,755.00            -          1,655.00            -
        ACCO       ACCO         123947 5/8/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,945.00            -          1,845.00            -
        ACCO       ACCO         123946 5/9/2019 LEEN       BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,855.00            -          1,755.00            -
        ACCO       ACCO         123945 5/10/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,900.00            -          1,800.00            -
        ACCO       ACCO         123944 5/13/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,900.00            -          1,800.00            -
        ACCO       ACCO         123883 5/14/2019 EPBE                                                                  GT Law TT Roger                   debit               USD            (25,042.50)    (26,044.20)            -              -
        ACCO       ACCO         123943 5/15/2019 LEEN      BOLT      Pacific Rim Cobalt                       (10,000) sell stock                        sell stock          CAD              1,600.00            -          1,500.00            -




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         Account    Account    Batch     Batch      Bank                                   Symbol                                       Batch             Transaction      Currency   Cash Bank        Cash Acct   Cash Acct       Cash Acct
                                                            Symbol                                       Stock
          Code       Title      ID        Date      Code                                  Description                                Description          Description       Code      (in Curr)         (USD)       (CAD)           (EUR)
        ACCO       ACCO         123894 5/16/2019 CASH                                                               debit                           debit                 CAD            (10,000.00)           -     (10,500.00)           -
        ACCO       ACCO         123902 5/16/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,505.00            -       1,405.00            -
                                                                                                                                                                                                                                               Case: 24-1770




        ACCO       ACCO         123941 5/17/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,650.00            -       1,550.00            -
        ACCO       ACCO         123939 5/21/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,600.00            -       1,500.00            -
        ACCO       ACCO         123938 5/22/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,680.00            -       1,580.00            -
        ACCO       ACCO         123942 5/23/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,545.00            -       1,445.00            -
        ACCO       ACCO         123935 5/24/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,700.00            -       1,600.00            -
        ACCO       ACCO         123934 5/27/2019 LEEN      BOLT      Pacific Rim Cobalt                    (10,000) sell stock                      sell stock            CAD              1,830.00            -       1,730.00            -
        ACC1       ACCO         119585 2/9/2018 LEEN       LI        American Lithium                      850,000 receive stock                    buy stock             CAD                (84.00)           -        (184.00)           -
        ACC1       ACCO         119586 2/9/2018 LEEN       LI-W      American Lithium                      850,000 receive warrants 310120@75c      buy stock             CAD                   -              -        (100.00)           -
        ACC1       ACCO         119916 3/30/2018 WORK                                                               custody fees                    debit                 CAD                   -              -      (1,641.25)           -
        ACC1       ACCO         121330 6/30/2018 WORK                                                               custody fees                    debit                 CAD                   -              -        (972.31)           -
        ACC1       ACCO         121761 8/8/2018 LEEN       LI        American Lithium                      850,000 receive stock                    buy stock             CAD                (42.37)           -        (142.37)           -
        ACC1       ACCO         122346 9/30/2018 WORK                                                               custody fees                    debit                 CAD                   -              -        (967.43)           -
        ACC1       ACCO         122706 10/15/2018 LEEN     LI        American Lithium                     (350,000) sell stock                      sell stock            CAD           225,680.00             -    221,166.40             -
        ACC1       ACCO         122713 10/16/2018 LEEN     LI-W      American Lithium                      150,000 exercise warrants                symbol exchange out   CAD          (112,584.75)            -   (112,584.75)            -
        ACC1       ACCO         122713 10/16/2018 LEEN     LI        American Lithium                      300,000 exercise warrants                symbol exchange in    CAD                   -              -            -              -
        ACC1       ACCO         122723 10/17/2018 LEEN     LI        American Lithium                      (26,500) sell stock                      sell stock            CAD             18,082.15            -      17,720.51            -
        ACC1       ACCO         122734 10/18/2018 LEEN     LI        American Lithium                      (48,500) sell stock                      sell stock            CAD             33,110.35            -      32,448.14            -
        ACC1       ACCO         122735 10/19/2018 LEEN     LI        American Lithium                     (125,000) sell stock                      sell stock            CAD             86,337.50            -      84,610.75            -
        ACC1       ACCO         122737 10/19/2018 LEEN     LI-W      American Lithium                     (700,000) stock split                     split stock out       CAD                   -              -            -              -
        ACC1       ACCO         122737 10/19/2018 LEEN     LI-W      American Lithium                    1,400,000 stock split                      split stock in                              -              -            -              -
        ACC1       ACCO         122756 10/25/2018 LEEN     LI        American Lithium                     (105,000) sell stock                      sell stock            CAD             69,220.00            -      67,835.60            -
        ACC1       ACCO         122858 11/1/2018 LEEN      LI        American Lithium                      (47,500) sell stock                      sell stock            CAD             29,605.75            -      29,013.63            -
        ACC1       ACCO         122864 11/5/2018 LEEN      LI        American Lithium                       (2,000) sell stock                      sell stock            CAD              1,085.00            -         985.00            -
        ACC1       ACCO         123041 12/6/2018 CANI      LI        American Lithium                       50,000 buy stock                        buy stock             CAD            (21,654.10)           -     (22,520.26)           -
                                                                                                                                                                                                                                               Document: 00118249068




        ACC1       ACCO         123075 12/14/2018 CANI     LI        American Lithium                      300,000 buy stock                        buy stock             CAD          (136,380.00)            -   (141,835.20)            -
        ACC1       ACCO         123328 1/29/2019 LEEN      LI        American Lithium                      (10,500) sell stock                      sell stock            CAD              4,525.00            -       4,425.00            -
        ACC1       ACCO         123327 1/30/2019 LEEN      LI        American Lithium                     (114,500) sell stock                      sell stock            CAD             49,959.95            -      48,960.75            -
        ACC1       ACCO         123345 1/31/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,005.00            -       3,905.00            -
        ACC1       ACCO         123346 1/31/2019 LEEN                                                               VLT PP                          debit                 CAD          (150,000.00)            -   (150,000.00)            -
        ACC1       ACCO         123386 2/1/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,275.00            -       4,175.00            -
        ACC1       ACCO         123391 2/4/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,005.00            -       3,905.00            -
        ACC1       ACCO         123399 2/5/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,700.00            -       3,600.00            -
        ACC1       ACCO         123401 2/6/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,705.00            -       3,605.00            -
        ACC1       ACCO         123402 2/7/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,430.00            -       3,330.00            -
        ACC1       ACCO         123423 2/12/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,375.00            -       3,275.00            -




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        ACC1       ACCO         123424 2/13/2019 LEEN      LI        American Lithium                       (8,500) sell stock                      sell stock            CAD              3,125.00            -       3,025.00            -
        ACC1       ACCO         123430 2/14/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,625.00            -       3,525.00            -
        ACC1       ACCO         123431 2/15/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,830.00            -       3,730.00            -
        ACC1       ACCO         123437 2/19/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,755.00            -       3,655.00            -
        ACC1       ACCO         123443 2/20/2019 LEEN      LI        American Lithium                       (1,000) sell stock                      sell stock            CAD                375.00            -         275.00            -
        ACC1       ACCO         123444 2/20/2019 LEEN                                                               1166858 BC Ltd PP 1.2M shares   debit                 CAD            (60,000.00)           -     (60,000.00)           -
        ACC1       ACCO         123447 2/21/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,680.00            -       3,580.00            -
        ACC1       ACCO         123451 2/22/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,605.00            -       3,505.00            -
        ACC1       ACCO         123459 2/25/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,780.00            -       3,680.00            -
        ACC1       ACCO         123469 2/26/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,755.00            -       3,655.00            -
        ACC1       ACCO         123476 2/27/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,800.00            -       3,700.00            -
        ACC1       ACCO         123468 2/27/2019 LEEN      LI-W      American Lithium                      360,000 exercise warrants                symbol exchange out   CAD          (135,084.75)            -   (135,084.75)            -
        ACC1       ACCO         123468 2/27/2019 LEEN      LI        American Lithium                      360,000 exercise warrants                symbol exchange in    CAD                   -              -            -              -
        ACC1       ACCO         123538 2/28/2019 BPIE                                                               debit close account             debit                 CAD            (12,278.26)           -     (12,278.26)           -
        ACC1       ACCO         123480 2/28/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,655.00            -       3,555.00            -
        ACC1       ACCO         123553 3/5/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,655.00            -       3,555.00            -
        ACC1       ACCO         123559 3/6/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,780.00            -       3,680.00            -
        ACC1       ACCO         123561 3/7/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,805.00            -       3,705.00            -
        ACC1       ACCO         123568 3/8/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,850.00            -       3,750.00            -
        ACC1       ACCO         123576 3/11/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,855.00            -       3,755.00            -
        ACC1       ACCO         123588 3/13/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              3,855.00            -       3,755.00            -
        ACC1       ACCO         123589 3/14/2019 LEEN      LI        American Lithium                     (317,000) sell stock                      sell stock            CAD           140,902.42             -    138,084.37             -
                                                                                                                                                                                                                                               Date Filed: 02/18/2025




        ACC1       ACCO         123595 3/15/2019 LEEN      LI        American Lithium                      (20,500) sell stock                      sell stock            CAD              9,550.00            -       9,359.00            -
        ACC1       ACCO         123598 3/18/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,905.00            -       4,805.00            -
        ACC1       ACCO         123611 3/20/2019 LEEN      LI        American Lithium                      (75,000) sell stock                      sell stock            CAD             36,116.50            -      35,394.17            -
        ACC1       ACCO         123620 3/21/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,905.00            -       4,805.00            -
        ACC1       ACCO         123622 3/22/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,855.00            -       4,755.00            -
        ACC1       ACCO         123626 3/25/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,705.00            -       4,605.00            -
        ACC1       ACCO         123632 3/26/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,655.00            -       4,555.00            -
        ACC1       ACCO         123635 3/27/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,435.00            -       4,335.00            -
        ACC1       ACCO         123641 3/28/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,305.00            -       4,205.00            -
        ACC1       ACCO         123646 3/29/2019 LEEN      LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,105.00            -       4,005.00            -
        ACC1       ACCO         123705 4/1/2019 LEEN       LI        American Lithium                      (10,000) sell stock                      sell stock            CAD              4,330.00            -       4,230.00            -




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         Account    Account    Batch      Batch      Bank                                       Symbol                                    Batch                  Transaction    Currency   Cash Bank       Cash Acct   Cash Acct      Cash Acct
                                                             Symbol                                           Stock
          Code       Title      ID         Date      Code                                      Description                             Description               Description     Code      (in Curr)        (USD)       (CAD)          (EUR)
        ACC1       ACCO         123704    4/2/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              4,255.00           -      4,155.00            -
        ACC1       ACCO         123721    4/3/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              4,425.00           -      4,325.00            -
                                                                                                                                                                                                                                                  Case: 24-1770




        ACC1       ACCO         123720    4/4/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              4,330.00           -      4,230.00            -
        ACC1       ACCO         123733    4/5/2019 LEEN     LI        American Lithium                         (3,000) sell stock                          sell stock          CAD              1,300.00           -      1,200.00            -
        ACC1       ACCO         123738    4/8/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             4,365.00            -      4,265.00            -
        ACC1       ACCO         123746    4/9/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             4,205.00            -      4,105.00            -
        ACC1       ACCO         123745    4/9/2019 LEEN                                                                buy Brain Bioceutical USD75k        debit               CAD          (100,710.00)           -   (100,710.00)           -
        ACC1       ACCO         123744   4/10/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             4,285.00            -      4,185.00            -
        ACC1       ACCO         123758   4/11/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              4,205.00           -      4,105.00            -
        ACC1       ACCO         123765   4/12/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              4,155.00           -      4,055.00            -
        ACC1       ACCO         123766   4/16/2019 LEEN     LI        American Lithium                         (9,500) sell stock                          sell stock          CAD              3,922.50           -      3,822.50            -
        ACC1       ACCO         123767   4/16/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              3,905.00           -      3,805.00            -
        ACC1       ACCO         123770   4/17/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             3,630.00            -      3,530.00            -
        ACC1       ACCO         123778   4/22/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             3,305.00            -      3,205.00            -
        ACC1       ACCO         123779   4/22/2019 LEEN     CSI       Chemesis International                  135,135 buy stock                            buy stock           CAD          (249,999.75)           -   (254,999.74)           -
        ACC1       ACCO         123780   4/23/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             3,380.00            -      3,280.00            -
        ACC1       ACCO         123781   4/24/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              3,105.00           -      3,005.00            -
        ACC1       ACCO         123783   4/25/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              3,080.00           -      2,980.00            -
        ACC1       ACCO         123786   4/26/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,905.00           -      2,805.00            -
        ACC1       ACCO         123797   4/29/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,780.00            -      2,680.00            -
        ACC1       ACCO         123801   4/30/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,780.00            -      2,680.00            -
        ACC1       ACCO         123837    5/2/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,480.00            -      2,380.00            -
        ACC1       ACCO         123848    5/3/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,405.00            -      2,305.00            -
        ACC1       ACCO         123849    5/6/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,422.50           -      2,322.50            -
        ACC1       ACCO         123856    5/7/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,380.00           -      2,280.00            -
        ACC1       ACCO         123857    5/8/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,355.00           -      2,255.00            -
                                                                                                                                                                                                                                                  Document: 00118249068




        ACC1       ACCO         123859    5/9/2019 LEEN     LI        American Lithium                         (3,500) sell stock                          sell stock          CAD                855.00           -        755.00            -
        ACC1       ACCO         123863   5/10/2019 LEEN     LI        American Lithium                        (16,500) sell stock                          sell stock          CAD             4,010.00            -      3,910.00            -
        ACC1       ACCO         123882   5/13/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,405.00            -      2,305.00            -
        ACC1       ACCO         123887   5/14/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,480.00            -      2,380.00            -
        ACC1       ACCO         123893   5/15/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,405.00           -      2,305.00            -
        ACC1       ACCO         123904   5/17/2019 LEEN     CSI       Chemesis International                   (5,000) sell stock                          sell stock          CAD              9,155.00           -      8,971.90            -
        ACC1       ACCO         123903   5/17/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,355.00           -      2,255.00            -
        ACC1       ACCO         123911   5/21/2019 LEEN     CSI       Chemesis International                   (5,000) sell stock                          sell stock          CAD              9,533.50           -      9,342.83            -
        ACC1       ACCO         123912   5/21/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,405.00            -      2,305.00            -
        ACC1       ACCO         123918   5/22/2019 LEEN     CSI       Chemesis International                   (5,000) sell stock                          sell stock          CAD             9,533.50            -      9,342.83            -
        ACC1       ACCO         123919   5/22/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD             2,605.00            -      2,505.00            -




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        ACC1       ACCO         123920   5/23/2019 LEEN     CSI       Chemesis International                   (5,000) sell stock                          sell stock          CAD             9,385.00            -      9,197.30            -
        ACC1       ACCO         123921   5/23/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,605.00           -      2,505.00            -
        ACC1       ACCO         123927   5/24/2019 LEEN     CSI       Chemesis International                   (5,000) sell stock                          sell stock          CAD              9,187.00           -      9,003.26            -
        ACC1       ACCO         123928   5/24/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,505.00           -      2,405.00            -
        ACC1       ACCO         123933   5/27/2019 LEEN     LI        American Lithium                        (10,000) sell stock                          sell stock          CAD              2,605.00           -      2,505.00            -
                                                                                                                                                                                                                                                  Date Filed: 02/18/2025




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        HEAR Q Account Detail
                                                                                                                                                                                                                                                               2

         Account    Account     Batch   Batch     Bank                                Symbol                                               Batch                               Transaction      Currency    Cash Bank       Cash Acct       Cash Acct        Cash Acct
                                                          Symbol                                          Stock
          Code       Title       ID     Date      Code                               Description                                         Description                           Description       Code       (in Curr)        (USD)           (CAD)            (CHF)
        HEAR       HEAR           7257 11/15/2009 TDQB   L-SX2C    Quarry:Sexton:3%:30/6/17                 64,800 interest                                                buy stock           CAD                   -               -         (8,100.00)            -
                                                                                                                                                                                                                                                                         Case: 24-1770




        HEAR       HEAR           7258 11/15/2009 TDQB   L-SX1C    Quarry:Sexton:6%:15/11/12               141,000 interest                                                buy stock           CAD                   -               -        (23,500.00)            -
        HEAR       HEAR          22596 10/11/2010 WORK                                                              Partners in Travel 10 fees                             debit               USD                   -         (1,200.00)            -               -
        HEAR       HEAR           8398 11/15/2010 TDQB   L-SX1C    Quarry:Sexton:6%:15/11/12               149,460 interest                                                buy stock           CAD                   -               -        (24,910.00)            -
        HEAR       HEAR           8399 11/15/2010 TDQB   L-SX2C    Quarry:Sexton:3%:30/6/17                 69,984 interest                                                buy stock           CAD                   -               -         (8,748.00)            -
        HEAR       HEAR           7086 12/3/2010 TDQB    L-PEAC    Quarry:Peak Strategies:8%:24/11/09      279,848 internal transfer                                       transfer stock in   CAD                   -               -               -               -
        HEAR       HEAR           7036 12/10/2010 WORK                                                              Heartmore incorp                                       debit               USD                   -         (2,900.00)            -               -
        HEAR       HEAR           7085 12/10/2010 WORK                                                              transfer Heartland Fdn 10 fees                         debit               USD                   -         (3,500.00)            -               -
        HEAR       HEAR           7088 12/10/2010 TDCO   L-SKAC    Coventry:My Second Home:18%:19/4/12   1,305,500 internal transfer                                       transfer stock in   CAD                   -               -               -               -
        HEAR       HEAR           7068 12/10/2010 WORK                                                              internal transfer FCPG                                 credit              USD                   -         33,333.33             -               -
        HEAR       HEAR           7027 12/10/2010 RANQ                                                              Lakestone transfer                                     credit              USD             27,048.80       27,048.80             -               -
        HEAR       HEAR           7035 12/10/2010 WORK                                                              internal transfer Peak                                 debit               CAD                   -               -        (16,810.50)            -
        HEAR       HEAR           7089 12/10/2010 TDQB   L-SX1C    Quarry:Sexton:6%:15/11/12             2,350,000 internal transfer                                       transfer stock in   CAD                   -               -               -               -
        HEAR       HEAR           7090 12/10/2010 TDQB   L-SX2C    Quarry:Sexton:3%:30/6/17                810,000 internal transfer                                       transfer stock in   CAD                   -               -               -               -
        HEAR       HEAR           7091 12/10/2010 TDQB   L-WESC    Quarry:Westwood:8%:3/6/20               258,206 internal transfer                                       transfer stock in   CAD                   -               -               -               -
        HEAR       HEAR           7092 12/10/2010 TDQB   L-WESU    Quarry:Westwood:8%:3/6/20             3,072,531 internal transfer                                       transfer stock in   USD                   -               -               -               -
        HEAR       HEAR           6983 12/10/2010 BSIT                                                              forex                                                  forex debit         USD            (16,718.55)     (16,885.74)            -               -
        HEAR       HEAR           6983 12/10/2010 BSIT                                                              forex                                                  forex credit        CAD             16,810.50             -         16,810.50             -
        HEAR       HEAR           7272 12/15/2010 TDCO                                                              forex ck #63                                           forex debit         USD            (31,953.07)     (32,272.60)            -               -
        HEAR       HEAR           7272 12/15/2010 CASH                                                              forex ck #63                                           forex credit        CAD             31,600.00             -         31,600.00             -
        HEAR       HEAR           7510 12/21/2010 RANQ                                                              Rapatola transfer                                      credit              USD             26,174.03       26,174.03             -               -
        HEAR       HEAR           7790 12/24/2010 BSIT                                                              forex                                                  forex debit         USD             (5,133.61)      (5,184.95)            -               -
        HEAR       HEAR           7790 12/24/2010 BSIT                                                              forex                                                  forex credit        CAD              5,100.00             -          5,100.00             -
        HEAR       HEAR           7692 12/24/2010 TDQB                                                              Holmes ck #445 [Second Home]                           debit               CAD             (5,000.00)            -         (5,100.00)            -
        HEAR       HEAR           7842 12/30/2010 DGMI                                                              Health Beverage TT [PLSB]                              debit               USD            (20,070.00)     (20,270.70)            -               -
                                                                                                                                                                                                                                                                         Document: 00118249068




        HEAR       HEAR           8030 12/30/2010 WORK                                                              interest payment                                       interest payment    USD                   -             12.82             -               -
        HEAR       HEAR           8031 12/30/2010 WORK                                                              interest charge                                        interest charge     CAD                   -               -             (0.01)            -
        HEAR       HEAR           8494   1/5/2011 TDCO                                                              forex ck #79                                           forex debit         USD            (34,345.95)     (34,689.41)            -               -
        HEAR       HEAR           8494   1/5/2011 CASH                                                              forex ck #79                                           forex credit        CAD             33,658.01             -         33,658.01             -
        HEAR       HEAR           8395   1/5/2011 WORK                                                              internal transfer                                      credit              USD                   -        385,000.00             -               -
        HEAR       HEAR           8838 1/17/2011 DGMI                                                               Darlington Mines TT                                    debit               USD            (20,070.00)     (20,270.70)            -               -
        HEAR       HEAR           8837 1/17/2011 DGMI                                                               Health Beverage TT [PLSB]                              debit               USD            (80,070.00)     (80,870.70)            -               -
        HEAR       HEAR           9132 1/24/2011 WORK                                                               internal transfer                                      credit              USD                   -         50,000.00             -               -
        HEAR       HEAR           9144 1/24/2011 CASH                                                               debit                                                  debit               CAD            (30,000.00)            -        (31,500.00)            -
        HEAR       HEAR           9146 1/24/2011 TDQB                                                               Blackcomb Snowmobile ck #505                           debit               CAD            (20,000.00)            -        (20,200.00)            -
        HEAR       HEAR           9145 1/24/2011 TDQB                                                               [Whistler] ck #504                                     debit               CAD            (10,000.00)            -        (10,100.00)            -




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        HEAR       HEAR           9151 1/24/2011 TDCO                                                               forex ck #88                                           forex debit         USD            (63,255.58)     (63,888.14)            -               -
                                                                                                                                                                                                                                                                         Page: 149




        HEAR       HEAR           9151 1/24/2011 CASH                                                               forex ck #88                                           forex credit        CAD             61,800.00             -         61,800.00             -
        HEAR       HEAR           9558 1/30/2011 WORK                                                               interest payment                                       interest payment    USD                   -            212.80             -               -
        HEAR       HEAR           9559 1/30/2011 WORK                                                               interest charge                                        interest charge     CAD                   -               -           (110.66)            -
        HEAR       HEAR           9804 1/31/2011 TDCO                                                               forex ck #99                                           forex debit         USD               (113.15)        (114.28)            -               -
        HEAR       HEAR           9804 1/31/2011 CASH                                                               forex ck #99                                           forex credit        CAD                110.66             -            110.66             -
        HEAR       HEAR          10815 2/23/2011 TDQB                                                               Airtickets ck #593                                     debit               CAD             (5,584.27)            -         (5,684.27)            -
        HEAR       HEAR          10842 2/23/2011 WORK                                                               forex                                                  forex debit         USD                   -         (5,906.49)            -               -
        HEAR       HEAR          10842 2/23/2011 WORK                                                               forex                                                  forex credit        CAD                   -               -          5,684.27             -
        HEAR       HEAR          11600 2/28/2011 WORK                                                               interest payment                                       interest payment    USD                   -            190.46             -               -
        HEAR       HEAR          11113   3/1/2011 CASH                                                              debit [PLSB]                                           debit               CAD            (10,000.00)            -        (10,500.00)            -
        HEAR       HEAR          11535   3/1/2011 WORK                                                              forex                                                  forex debit         USD                   -        (97,433.39)            -               -
        HEAR       HEAR          11535   3/1/2011 WORK                                                              forex                                                  forex credit        CAD                   -               -         92,325.15             -
        HEAR       HEAR          11117   3/1/2011 TDQB                                                              2 Drafts: Shannon & Paul ck #619                       debit               CAD            (81,015.00)            -        (81,825.15)            -
        HEAR       HEAR          12741   3/7/2011 WORK                                                              Savary Capital subscription                            debit               CAD                   -               -           (500.00)            -
        HEAR       HEAR          12002   3/8/2011 TDCO                                                              forex ck $142                                          forex debit         USD            (16,790.14)     (16,958.04)            -               -
        HEAR       HEAR          12002   3/8/2011 CASH                                                              forex ck $142                                          forex credit        CAD             16,237.58             -         16,237.58             -
        HEAR       HEAR          12004   3/8/2011 WORK                                                              forex                                                  forex debit         USD                   -        (15,104.12)            -               -
        HEAR       HEAR          12004   3/8/2011 WORK                                                              forex                                                  forex credit        CAD                   -               -         14,462.42             -
        HEAR       HEAR          11945   3/8/2011 TDQB                                                              Draft to Anfield Sujir ck #636 [Savary subscription]   debit               CAD            (20,000.00)            -        (20,200.00)            -
        HEAR       HEAR          11944 3/14/2011 CASH                                                               debit [CLAR]                                           debit               CAD            (10,000.00)            -        (10,500.00)            -
        HEAR       HEAR          11946 3/14/2011 DGMN    RGR       Regal Resources                         187,500 internal transfer                                       transfer stock in   CAD                   -               -               -               -
        HEAR       HEAR          11978 3/15/2011 CASH                                                               debit                                                  debit               CAD            (20,000.00)            -        (21,000.00)            -
                                                                                                                                                                                                                                                                         Date Filed: 02/18/2025




        HEAR       HEAR          11979 3/15/2011 TDQB                                                               Blackcomb Snowmobile ck #651                           debit               CAD            (30,000.00)            -        (30,300.00)            -
        HEAR       HEAR          12059 3/15/2011 BSIT                                                               forex                                                  forex debit         USD            (52,320.23)     (52,843.43)            -               -
        HEAR       HEAR          12059 3/15/2011 BSIT                                                               forex                                                  forex credit        CAD             51,300.00             -         51,300.00             -
        HEAR       HEAR          12189 3/18/2011 CASH                                                               debit                                                  debit               USD            (10,000.00)     (10,500.00)            -               -
        HEAR       HEAR          12264 3/18/2011 WORK                                                               internal transfer                                      credit              USD                   -        125,000.00             -               -
        HEAR       HEAR          12243 3/18/2011 DGMI                                                               Pulse TT [PLSB]                                        credit              USD             44,985.00       44,985.00             -               -
        HEAR       HEAR          12263 3/19/2011 DGMI                                                               AbTech TT                                              debit               USD           (125,110.00)    (126,361.10)            -               -
        HEAR       HEAR          12312 3/21/2011 DGMN    RGR       Regal Resources                          (2,500) sell stock                                             sell stock          CAD              1,292.50             -          1,192.50             -
        HEAR       HEAR          12387 3/22/2011 WORK                                                               Kenco Director fees Gainey subscription                debit               CAD                   -               -         (1,000.00)            -
        HEAR       HEAR          12541 3/24/2011 DGMN    RGR       Regal Resources                          (2,500) sell stock                                             sell stock          CAD              1,192.50             -          1,092.50             -
        HEAR       HEAR          12813 3/30/2011 WORK                                                               custody fees                                           debit               CAD                   -               -           (237.25)            -




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        HEAR Q Account Detail
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         Account    Account     Batch    Batch     Bank                               Symbol                                      Batch                    Transaction      Currency    Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                           Symbol                                  Stock
          Code       Title       ID      Date      Code                              Description                                Description                Description       Code       (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          12915   3/30/2011 WORK                                                     interest payment                           interest payment    USD                   -             85.14             -              -
                                                                                                                                                                                                                                                    Case: 24-1770




        HEAR       HEAR          12916   3/30/2011 WORK                                                     interest charge                            interest charge     CAD                   -               -             (0.72)           -
        HEAR       HEAR          12739   3/31/2011 REST   SCA-E     Savary Gold                    400,000 receive stock                               buy stock           CAD                   -               -           (100.00)           -
        HEAR       HEAR          13682    4/8/2011 LEGR   QCCO      QC Holdings                     (3,900) sell stock                                 sell stock          USD             18,510.60       18,232.94             -              -
        HEAR       HEAR          13681    4/8/2011 LEGR   QCCO      QC Holdings                      3,900 buy stock                                   buy stock           USD            (20,337.72)     (20,642.79)            -              -
        HEAR       HEAR          13680    4/8/2011 LEGR                                              1,700 buy stock                                   buy stock           USD            (40,638.16)     (41,247.73)            -              -
        HEAR       HEAR          13679    4/8/2011 LEGR                                             (1,700) sell stock                                 sell stock          USD             39,861.00       39,263.08             -              -
        HEAR       HEAR          13737   4/12/2011 WORK                                                     Predator incorp                            debit               CAD                   -               -           (250.00)           -
        HEAR       HEAR          13703   4/12/2011 TDQB                                                     Draft to Century 21 ck #750                debit               CAD             (2,503.75)            -         (2,603.75)           -
        HEAR       HEAR          13895   4/12/2011 TDCO                                                     forex ck #167                              forex debit         USD               (264.53)        (267.18)            -              -
        HEAR       HEAR          13895   4/12/2011 CASH                                                     forex ck #167                              forex credit        CAD                250.00             -            250.00            -
        HEAR       HEAR          13714   4/12/2011 TDCO                                                     forex ck #164                              forex debit         USD             (1,749.30)      (1,766.79)            -              -
        HEAR       HEAR          13714   4/12/2011 CASH                                                     forex ck #164                              forex credit        CAD              1,656.72             -          1,656.72            -
        HEAR       HEAR          13923   4/15/2011 WORK                                                     internal transfer                          credit              USD                   -      2,063,659.00             -              -
        HEAR       HEAR          14043   4/19/2011 RANQ                                                     LMD Corp TT SURE                           debit               USD            (62,527.81)     (63,153.09)            -              -
        HEAR       HEAR          14035   4/19/2011 CASH                                                     debit SURE                                 debit               CAD            (12,500.00)            -        (13,125.00)           -
        HEAR       HEAR          14032   4/19/2011 WORK                                                     internal transfer                          credit              USD                   -        100,000.00             -              -
        HEAR       HEAR          14031   4/19/2011 WORK                                                     internal transfer                          debit               USD                   -       (400,100.00)            -              -
        HEAR       HEAR          14216   4/26/2011 CASH                                                     debit SURE                                 debit               CAD            (25,000.00)            -        (26,250.00)           -
        HEAR       HEAR          14245   4/26/2011 BSIT                                                     forex                                      forex debit         USD            (41,539.05)     (41,954.44)            -              -
        HEAR       HEAR          14245   4/26/2011 BSIT                                                     forex                                      forex credit        CAD             39,375.00             -         39,375.00            -
        HEAR       HEAR          14613   4/28/2011 WORK                                                     interest payment                           interest payment    USD                   -            753.49             -              -
        HEAR       HEAR          14614   4/28/2011 WORK                                                     interest charge                            interest charge     CAD                   -               -             (0.01)           -
        HEAR       HEAR          14860    5/3/2011 BSIT   PLSB      Pulse Beverage                 400,000 internal transfer                           transfer stock in   USD                   -               -               -              -
        HEAR       HEAR          14894    5/4/2011 WORK                                                     internal transfer                          credit              CAD                   -               -         50,000.00            -
                                                                                                                                                                                                                                                    Document: 00118249068




        HEAR       HEAR          15098    5/9/2011 RANQ                                                     R+B copies                                 debit               USD               (666.66)        (766.66)            -              -
        HEAR       HEAR          15190   5/10/2011 TDQB                                                     Draft to Donald Gurney ck #825             debit               CAD            (52,725.84)            -        (53,253.10)           -
        HEAR       HEAR          15306   5/11/2011 TDCO                                                     forex ck #192                              forex debit         USD            (15,016.81)     (15,166.98)            -              -
        HEAR       HEAR          15306   5/11/2011 CASH                                                     forex ck #192                              forex credit        CAD             14,253.11             -         14,253.11            -
        HEAR       HEAR          15258   5/11/2011 CASH                                                     debit                                      debit               CAD            (10,000.00)            -        (10,500.00)           -
        HEAR       HEAR          15473   5/17/2011 DGMI                                                     TGS TT                                     debit               USD           (200,110.00)    (202,111.10)            -              -
        HEAR       HEAR          17251   5/19/2011 WORK                                                     internal transfer                          debit               USD                   -       (100,100.00)            -              -
        HEAR       HEAR          16109   5/30/2011 TDQB                                                     Airfares ck #879                           debit               CAD             (3,906.85)            -         (4,006.85)           -
        HEAR       HEAR          16602   5/31/2011 BSIT                                                     forex                                      forex debit         USD             (4,104.55)      (4,145.60)            -              -
        HEAR       HEAR          16602   5/31/2011 BSIT                                                     forex                                      forex credit        CAD              4,006.86             -          4,006.86            -
        HEAR       HEAR          16368   5/31/2011 WORK                                                     interest payment                           interest payment    USD                   -          1,441.09             -              -




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        HEAR       HEAR          16369   5/31/2011 WORK                                                     interest charge                            interest charge     CAD                   -               -             (0.01)           -
                                                                                                                                                                                                                                                    Page: 150




        HEAR       HEAR          30690    6/3/2011 TDQB   L-WESU    Quarry:Westwood:8%:3/6/20      245,802 interest                                    buy stock           USD                   -        (30,725.25)            -              -
        HEAR       HEAR          18520    6/3/2011 TDQB   L-WESC    Quarry:Westwood:8%:3/6/20       20,656 interest                                    buy stock           CAD                   -               -         (2,582.06)           -
        HEAR       HEAR          16795    6/8/2011 TDQB                                                     Falcon Point Owners [predator] ck #909     debit               CAD               (322.19)            -           (422.19)           -
        HEAR       HEAR          16823    6/8/2011 TDCO                                                     forex ck #205                              forex debit         USD               (437.95)        (442.33)            -              -
        HEAR       HEAR          16823    6/8/2011 CASH                                                     forex ck #205                              forex credit        CAD                422.19             -            422.19            -
        HEAR       HEAR          16955   6/12/2011 WORK                                                     Heartmore 11 fees                          debit               USD                   -         (2,450.00)            -              -
        HEAR       HEAR          16987   6/12/2011 WORK                                                     Heartland Fdn 11 fees                      debit               USD                   -         (3,500.00)            -              -
        HEAR       HEAR          17087   6/14/2011 WORK                                                     Kendo Director fees- Gainey escrow agr     debit               USD                   -           (200.00)            -              -
        HEAR       HEAR          17181   6/16/2011 WORK                                                     internal transfer                          debit               CAD                   -               -        (25,100.00)           -
        HEAR       HEAR          17167   6/16/2011 TDQB                                                     Holmes & King ck #933                      debit               CAD             (5,000.00)            -         (5,100.00)           -
        HEAR       HEAR          17284   6/16/2011 DGMI                                                     forex                                      forex debit         USD             (9,513.43)      (9,608.56)            -              -
        HEAR       HEAR          17284   6/16/2011 DGMI                                                     forex                                      forex credit        CAD              9,228.99             -          9,228.99            -
        HEAR       HEAR          17172   6/16/2011 WORK                                                     Skaha AR 2008-11                           debit               CAD                   -               -           (245.00)           -
        HEAR       HEAR          17233   6/16/2011 TDCO                                                     forex ck #224                              forex debit         USD            (11,539.65)     (11,655.05)            -              -
        HEAR       HEAR          17233   6/16/2011 CASH                                                     forex ck #224                              forex credit        CAD             11,136.01             -         11,136.01            -
        HEAR       HEAR          17237   6/16/2011 WORK                                                     forex                                      forex debit         USD                   -         (1,888.55)            -              -
        HEAR       HEAR          17237   6/16/2011 WORK                                                     forex                                      forex credit        CAD                   -               -          1,822.49            -
        HEAR       HEAR          17240   6/16/2011 TDCO                                                     forex ck #224                              forex debit         USD             (8,556.80)      (8,642.37)            -              -
        HEAR       HEAR          17240   6/16/2011 CASH                                                     forex ck #224                              forex credit        CAD              8,257.51             -          8,257.51            -
        HEAR       HEAR          17371   6/21/2011 DGMI                                                     TGS Capital TT                             debit               USD           (150,110.00)    (151,611.10)            -              -
        HEAR       HEAR          17464   6/23/2011 DGMI                                                     Pacific Words TT                           debit               USD            (20,070.00)     (20,270.70)            -              -
        HEAR       HEAR          17590   6/27/2011 WORK                                                     Creative direct working Agr                debit               USD                   -           (100.00)            -              -
                                                                                                                                                                                                                                                    Date Filed: 02/18/2025




        HEAR       HEAR          17502   6/27/2011 TDQB                                                     Draft to Predator ck #954                  debit               CAD             (5,003.75)            -         (5,103.75)           -
        HEAR       HEAR          17512   6/27/2011 TDCO                                                     forex ck #228                              forex debit         USD             (5,256.15)      (5,308.71)            -              -
        HEAR       HEAR          17512   6/27/2011 CASH                                                     forex ck #228                              forex credit        CAD              5,103.75             -          5,103.75            -
        HEAR       HEAR          17704   6/30/2011 TDQB                                                     VC Management ck #965                      debit               CAD             (3,102.42)            -         (3,202.42)           -
        HEAR       HEAR          18791   6/30/2011 TDCO                                                     forex ck #245                              forex debit         USD             (1,932.25)      (1,951.57)            -              -
        HEAR       HEAR          18791   6/30/2011 CASH                                                     forex ck #245                              forex credit        CAD              1,797.24             -          1,797.24            -
        HEAR       HEAR          17851   6/30/2011 WORK                                                     custody fees                               debit               USD                   -         (1,189.10)            -              -
        HEAR       HEAR          17852   6/30/2011 WORK                                                     custody fees                               debit               CAD                   -               -           (187.06)           -
        HEAR       HEAR          17973   6/30/2011 WORK                                                     interest payment                           interest payment    USD                   -          1,028.09             -              -
        HEAR       HEAR          17974   6/30/2011 WORK                                                     interest charge                            interest charge     CAD                   -               -             (0.01)           -
        HEAR       HEAR          18223    7/1/2011 XPHO                                                     6 mos xphone service                       debit               USD                   -         (1,800.00)            -              -




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         Account    Account     Batch   Batch     Bank                               Symbol                                           Batch             Transaction     Currency    Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                        Stock
          Code       Title       ID     Date      Code                              Description                                     Description         Description      Code       (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          18597   7/5/2011 BSIT                                                            forex                             forex debit        USD             (2,698.08)      (2,725.06)            -              -
                                                                                                                                                                                                                                                Case: 24-1770




        HEAR       HEAR          18597   7/5/2011 BSIT                                                            forex                             forex credit       CAD              2,582.06             -          2,582.06            -
        HEAR       HEAR          18193   7/5/2011 TDCO                                                            forex ck #245                     forex debit        USD             (4,645.63)      (4,692.09)            -              -
        HEAR       HEAR          18193   7/5/2011 CASH                                                            forex ck #245                     forex credit       CAD              4,390.50             -          4,390.50            -
        HEAR       HEAR          18134   7/5/2011 TDQB                                                            air fare ck #981                  debit              CAD             (2,698.25)            -         (2,798.25)           -
        HEAR       HEAR          18503 7/13/2011 DGMI                                                             GR Capital TT                     debit              USD            (37,852.06)     (38,230.58)            -              -
        HEAR       HEAR          18507 7/13/2011 WORK                                                             internal transfer GRC             credit             USD                   -          5,741.21             -              -
        HEAR       HEAR          18505 7/13/2011 WORK                                                             internal transfer GRC             credit             USD                   -         21,356.77             -              -
        HEAR       HEAR          18504 7/13/2011 WORK                                                             internal transfer GRC             credit             USD                   -         17,484.08             -              -
        HEAR       HEAR          18677 7/18/2011 WORK                                                             forex                             forex debit        USD                   -         (2,274.95)            -              -
        HEAR       HEAR          18677 7/18/2011 WORK                                                             forex                             forex credit       CAD                   -               -          2,127.34            -
        HEAR       HEAR          18679 7/18/2011 TDCO                                                             forex ck #254                     forex debit        USD             (8,953.61)      (9,043.15)            -              -
        HEAR       HEAR          18679 7/18/2011 CASH                                                             forex ck #254                     forex credit       CAD              8,372.66             -          8,372.66            -
        HEAR       HEAR          21506 7/18/2011 WORK                                                             internal transfer                 debit              CAD                   -               -        (10,100.00)           -
        HEAR       HEAR          18942 7/26/2011 TDCO                                                             forex ck #259                     forex debit        USD               (107.74)        (108.82)            -              -
        HEAR       HEAR          18942 7/26/2011 CASH                                                             forex ck #259                     forex credit       CAD                100.00             -            100.00            -
        HEAR       HEAR          18857 7/26/2011 REST    SCA-E     Savary Gold                          (400,000) deliver stock                     stock delivery     CAD                   -               -           (100.00)           -
        HEAR       HEAR          18970 7/27/2011 LGTC                                                             652420 BC Ltd pay Savary loan     credit             CAD             19,490.00             -         19,490.00            -
        HEAR       HEAR          19089 7/27/2011 WORK                                                             forex                             forex debit        USD                   -         (6,163.20)            -              -
        HEAR       HEAR          19089 7/27/2011 WORK                                                             forex                             forex credit       CAD                   -               -          5,760.00            -
        HEAR       HEAR          18994 7/27/2011 TDQB                                                             Colin Bradley ck #1032            debit              CAD            (25,000.00)            -        (25,250.00)           -
        HEAR       HEAR          19147 7/29/2011 WORK                                                             interest payment                  interest payment   USD                   -            866.79             -              -
        HEAR       HEAR          19642   8/8/2011 TDCO                                                            forex ck #270                     forex debit        USD               (102.36)        (103.38)            -              -
        HEAR       HEAR          19642   8/8/2011 CASH                                                            forex ck #270                     forex credit       CAD                100.00             -            100.00            -
        HEAR       HEAR          19696 8/11/2011 DGMI                                                             TGS TT                            debit              USD           (100,110.00)    (101,111.10)            -              -
                                                                                                                                                                                                                                                Document: 00118249068




        HEAR       HEAR          20051 8/25/2011 WORK                                                             internal transfer                 credit             CAD                   -               -         50,000.00            -
        HEAR       HEAR          21507 8/26/2011 WORK                                                             internal transfer                 debit              CAD                   -               -        (10,100.00)           -
        HEAR       HEAR          20181 8/31/2011 TDQB                                                             VC Mgmt ck #1111                  debit              CAD             (2,700.00)            -         (2,800.00)           -
        HEAR       HEAR          20186 8/31/2011 WORK                                                             internal transfer                 debit              CAD                   -               -        (90,100.00)           -
        HEAR       HEAR          20269 8/31/2011 WORK                                                             interest payment                  interest payment   USD                   -          1,009.18             -              -
        HEAR       HEAR          20270 8/31/2011 WORK                                                             interest charge                   interest charge    CAD                   -               -            (28.33)           -
        HEAR       HEAR          20506   9/1/2011 WORK                                                            forex                             forex debit        USD                   -        (55,918.49)            -              -
        HEAR       HEAR          20506   9/1/2011 WORK                                                            forex                             forex credit       CAD                   -               -         53,428.33            -
        HEAR       HEAR          20597   9/2/2011 REST   PMC-E     Pembrooke Mining                      100,000 receive stock                      buy stock          CAD                   -               -           (100.00)           -
        HEAR       HEAR          20606   9/2/2011 WORK                                                            forex                             forex debit        USD                   -            (97.47)            -              -
        HEAR       HEAR          20606   9/2/2011 WORK                                                            forex                             forex credit       CAD                   -               -            100.00            -




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        HEAR       HEAR          20712   9/9/2011 DGMI                                                            Dorsey & Whitney [Belmont] TT     debit              USD           (500,150.00)    (505,151.50)            -              -
                                                                                                                                                                                                                                                Page: 151




        HEAR       HEAR          20714   9/9/2011 WORK                                                            Belmont subscribe to CRCL         debit              USD                   -         (1,000.00)            -              -
        HEAR       HEAR          20781 9/13/2011 WORK                                                             HappyFamily demand ltr            debit              USD                   -           (100.00)            -              -
        HEAR       HEAR          21020 9/16/2011 BSIT                                                             forex                             forex debit        USD            (10,264.23)     (10,366.87)            -              -
        HEAR       HEAR          21020 9/16/2011 BSIT                                                             forex                             forex credit       CAD             10,100.00             -         10,100.00            -
        HEAR       HEAR          20942 9/16/2011 WORK                                                             internal transfer                 debit              CAD                   -               -        (10,100.00)           -
        HEAR       HEAR          21479 9/27/2011 WORK                                                             forex                             forex debit        USD                   -        (19,923.77)            -              -
        HEAR       HEAR          21479 9/27/2011 WORK                                                             forex                             forex credit       CAD                   -               -         20,100.00            -
        HEAR       HEAR          21399 9/27/2011 WORK                                                             internal transfer CLAR            debit              CAD                   -               -        (20,100.00)           -
        HEAR       HEAR          21654 9/29/2011 WORK                                                             custody fees                      debit              USD                   -           (638.10)            -              -
        HEAR       HEAR          21655 9/29/2011 WORK                                                             custody fees                      debit              CAD                   -               -           (182.50)           -
        HEAR       HEAR          21770 9/29/2011 WORK                                                             interest payment                  interest payment   USD                   -            500.45             -              -
        HEAR       HEAR          21771 9/29/2011 WORK                                                             interest payment                  interest payment   CAD                   -               -              0.64            -
        HEAR       HEAR          22099 10/4/2011 DGMI                                                             Paul Sexton TT Palm               debit              USD            (15,023.33)     (15,173.56)            -              -
        HEAR       HEAR          22189 10/5/2011 WORK                                                             internal transfer                 credit             CAD                   -               -         50,000.00            -
        HEAR       HEAR          22262 10/6/2011 TDQB                                                             Falcon Point ck #$1200            debit              CAD             (1,478.22)            -         (1,578.22)           -
        HEAR       HEAR          22389 10/11/2011 WORK                                                            internal transfer                 debit              CAD                   -               -         (5,100.00)           -
        HEAR       HEAR          22378 10/14/2011 LGTC   SCA       Savary Gold                            10,000 receive stock                      buy stock          CAD                   -               -           (100.00)           -
        HEAR       HEAR          22522 10/14/2011 WORK                                                            internal transfer                 debit              CAD                   -               -        (15,000.00)           -
        HEAR       HEAR          22598 10/18/2011 WORK                                                            Partners in Travel 11 fees        debit              USD                   -         (1,200.00)            -              -
        HEAR       HEAR          22788 10/25/2011 DGMI                                                            TGS Capital TT                    debit              USD           (110,110.00)    (111,211.10)            -              -
        HEAR       HEAR          23043 10/31/2011 WORK                                                            internal transfer CLAR            debit              CAD                   -               -        (12,600.00)           -
        HEAR       HEAR          23235 10/31/2011 WORK                                                            interest payment                  interest payment   USD                   -            393.12             -              -
                                                                                                                                                                                                                                                Date Filed: 02/18/2025




        HEAR       HEAR          23236 10/31/2011 WORK                                                            interest payment                  interest payment   CAD                   -               -             25.77            -
        HEAR       HEAR          23612 11/9/2011 CASH                                                             debit                             debit              USD             (5,000.00)      (5,250.00)            -              -
        HEAR       HEAR          23875 11/15/2011 TDCO                                                            forex ck #348                     forex debit        USD            (19,258.03)     (19,450.61)            -              -
        HEAR       HEAR          23875 11/15/2011 CASH                                                            forex ck #348                     forex credit       CAD             19,486.81             -         19,486.81            -
        HEAR       HEAR          23741 11/15/2011 TDQB   L-SX1C    Quarry:Sexton:6%:15/11/12             158,428 interest                           buy stock          CAD                   -               -        (26,405.00)           -
        HEAR       HEAR          23743 11/15/2011 TDQB   L-SX2C    Quarry:Sexton:3%:30/6/17               75,583 interest                           buy stock          CAD                   -               -         (9,448.00)           -
        HEAR       HEAR          24162 11/22/2011 TDCO                                                            forex ck #359                     forex debit        USD            (11,427.94)     (11,542.22)            -              -
        HEAR       HEAR          24162 11/22/2011 CASH                                                            forex ck #359                     forex credit       CAD             11,791.59             -         11,791.59            -
        HEAR       HEAR          24075 11/22/2011 TDQB                                                            Airfare fee ck #1287              debit              CAD            (11,674.84)            -        (11,791.59)           -
        HEAR       HEAR          24669 11/24/2011 TDQB   L-PEAC    Quarry:Peak Strategies:8%:24/11/09     44,800 interest                           buy stock          CAD                   -               -         (5,600.00)           -
        HEAR       HEAR          24225 11/25/2011 BSIT                                                            forex                             forex debit        USD             (2,992.71)      (3,102.90)            -              -




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         Account    Account     Batch   Batch     Bank                                Symbol                                           Batch                     Transaction      Currency    Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                        Stock
          Code       Title       ID     Date      Code                               Description                                     Description                 Description       Code       (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          24225 11/25/2011 BSIT                                                           forex                                       forex credit        CHF              2,715.92             -               -          2,815.92
                                                                                                                                                                                                                                                              Case: 24-1770




        HEAR       HEAR          24201 11/25/2011 BSIT                                                           Wenger & Vieli TT                           debit               CHF             (2,715.92)            -               -         (2,815.92)
        HEAR       HEAR          24241 11/28/2011 DGMI                                                           Paul Sexton TT Palm                         debit               USD            (15,023.33)     (15,173.56)            -               -
        HEAR       HEAR          24298 11/28/2011 BSIT                                                           forex                                       forex debit         USD            (62,357.66)     (62,981.24)            -               -
        HEAR       HEAR          24298 11/28/2011 BSIT                                                           forex                                       forex credit        CAD             64,189.70             -         64,189.70             -
        HEAR       HEAR          24674 11/28/2011 WORK                                                           internal transfer CLAR                      debit               USD                   -        (15,100.00)            -               -
        HEAR       HEAR          24244 11/28/2011 BSIT                                                           Partners in Travel TT Peak                  debit               CAD            (72,000.00)            -        (72,720.00)            -
        HEAR       HEAR          24253 11/28/2011 DGMI                                                           forex                                       forex debit         USD             (8,204.94)      (8,286.99)            -               -
        HEAR       HEAR          24253 11/28/2011 DGMI                                                           forex                                       forex credit        CAD              8,530.30             -          8,530.30             -
        HEAR       HEAR          24403 11/29/2011 WORK                                                           interest payment                            interest payment    USD                   -            265.14             -               -
        HEAR       HEAR          24404 11/29/2011 WORK                                                           interest payment                            interest payment    CAD                   -               -              6.28             -
        HEAR       HEAR          24346 11/30/2011 FINC   PLSB      Pulse Beverage                       250,000 internal transfer PLSB                       transfer stock in   USD                   -               -               -               -
        HEAR       HEAR          24347 11/30/2011 FINC                                                           internal transfer PLSB                      debit               USD                   -       (100,100.00)            -               -
        HEAR       HEAR          24668 12/2/2011 TDQB    L-PEAC    Quarry:Peak Strategies:8%:24/11/09   (44,800) loan payment                                sell stock          CAD             44,800.00             -         44,800.00             -
        HEAR       HEAR          24675 12/2/2011 WORK                                                            internal transfer CLAR                      debit               CAD                   -               -        (15,100.00)            -
        HEAR       HEAR          24678 12/2/2011 WORK                                                            internal transfer Peak                      credit              CAD                   -               -         16,760.00             -
        HEAR       HEAR          24947 12/12/2011 DGMI                                                           Greenberg Traurig TT Happy Family           debit               USD            (15,025.00)     (15,175.25)            -               -
        HEAR       HEAR          25231 12/20/2011 LESH   PLSB      Pulse Beverage                       250,000 internal transfer                            transfer stock in   USD                   -               -               -               -
        HEAR       HEAR          25232 12/20/2011 LESH                                                           internal transfer PLSB                      debit               USD                   -        (20,100.00)            -               -
        HEAR       HEAR          25239 12/20/2011 TDQB                                                           Draft to Monte Cristo ck #1349              debit               CAD            (25,007.50)            -        (25,257.58)            -
        HEAR       HEAR          25428 12/31/2011 WORK                                                           interest payment                            interest payment    USD                   -             89.07             -               -
        HEAR       HEAR          25429 12/31/2011 WORK                                                           interest payment                            interest payment    CAD                   -               -             17.93             -
        HEAR       HEAR          25579 12/31/2011 WORK                                                           custody fees                                debit               USD                   -           (877.50)            -               -
        HEAR       HEAR          25580 12/31/2011 WORK                                                           custody fees                                debit               CAD                   -               -           (132.31)            -
        HEAR       HEAR          25987   1/1/2012 XPHO                                                           6 mos xphone service 3 58)                  debit               USD                   -         (3,600.00)            -               -
                                                                                                                                                                                                                                                              Document: 00118249068




        HEAR       HEAR          25842   1/4/2012 TDQB                                                           Airfare ck #1359                            debit               CAD                (78.40)            -           (178.40)            -
        HEAR       HEAR          26064 1/11/2012 DGMI                                                            Paul Sexton TT Palm                         debit               USD            (15,035.00)     (15,185.35)            -               -
        HEAR       HEAR          26149 1/13/2012 WORK                                                            internal transfer STEV                      credit              USD                   -        481,833.00             -               -
        HEAR       HEAR          26244 1/18/2012 DGMI                                                            TGS Capital TT                              debit               USD           (100,110.00)    (101,111.10)            -               -
        HEAR       HEAR          26245 1/18/2012 DGMI                                                            westwood Ventures TT                        debit               USD            (50,070.00)     (50,570.70)            -               -
        HEAR       HEAR          26421 1/24/2012 TDQB                                                            Draft to Predator Ridge Resort ck #1389     debit               CAD             (5,003.75)            -         (5,103.75)            -
        HEAR       HEAR          26567 1/27/2012 DGMI                                                            Pulse Beverage TT                           debit               USD           (100,110.00)    (101,111.10)            -               -
        HEAR       HEAR          26568 1/27/2012 WORK                                                            internal transfer                           credit              USD                   -         10,901.56             -               -
        HEAR       HEAR          26569 1/27/2012 DGMI                                                            Marcus Laun TT                              debit               USD            (11,070.00)     (11,180.70)            -               -
        HEAR       HEAR          26650 1/30/2012 CHSD    MAPG-E    Maple Leaf 1 oz gold coins               (10) deliver gold coins                          stock delivery      CAD                   -               -           (100.00)            -
        HEAR       HEAR          26703 1/30/2012 WORK                                                            forex                                       forex debit         USD                   -         (7,804.31)            -               -




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        HEAR       HEAR          26703 1/30/2012 WORK                                                            forex                                       forex credit        CAD                   -               -          7,687.83             -
                                                                                                                                                                                                                                                              Page: 152




        HEAR       HEAR          26649 1/30/2012 CHSD    MAPG-E    Maple Leaf 1 oz gold coins                10 buy gold coins                               buy stock           CAD                   -               -        (17,800.00)            -
        HEAR       HEAR          26761 1/30/2012 WORK                                                            interest payment                            interest payment    USD                   -            220.74             -               -
        HEAR       HEAR          26762 1/30/2012 WORK                                                            interest payment                            interest payment    CAD                   -               -              6.29             -
        HEAR       HEAR          27064   2/1/2012 TDCO                                                           forex ck #411                               forex debit         USD            (10,664.73)     (10,771.38)            -               -
        HEAR       HEAR          27064   2/1/2012 CASH                                                           forex ck #411                               forex credit        CAD             10,493.71             -         10,493.71             -
        HEAR       HEAR          27017   2/1/2012 CASH                                                           debit                                       debit               CAD            (10,000.00)            -        (10,500.00)            -
        HEAR       HEAR          27440 2/11/2012 WORK                                                            Heartmore 12 fees                           debit               USD                   -         (2,500.00)            -               -
        HEAR       HEAR          27594 2/14/2012 WORK                                                            internal transfer                           credit              CAD                   -               -         10,500.00             -
        HEAR       HEAR          27655 2/15/2012 WORK                                                            internal transfer STEV                      credit              USD                   -        364,000.00             -               -
        HEAR       HEAR          28024 2/22/2012 DGMI                                                            Paul Sexton TT Palm                         debit               USD            (15,022.34)     (15,172.56)            -               -
        HEAR       HEAR          28022 2/22/2012 CASH                                                            debit                                       debit               CAD            (10,000.00)            -        (10,500.00)            -
        HEAR       HEAR          28103 2/23/2012 DGMI                                                            McMillanTT Monterra                         debit               USD                (68.52)        (168.52)            -               -
        HEAR       HEAR          28154 2/24/2012 TDQB                                                            Airfare ck #1505                            debit               CAD            (10,288.31)            -        (10,391.19)            -
        HEAR       HEAR          28257 2/24/2012 TDCO                                                            forex ck #429                               forex debit         USD            (10,560.54)     (10,666.15)            -               -
        HEAR       HEAR          28257 2/24/2012 CASH                                                            forex ck #429                               forex credit        CAD             10,391.19             -         10,391.19             -
        HEAR       HEAR          28334 2/28/2012 TDQB                                                            2 Draft Paul & Shannon ck #1522             debit               CAD            (40,015.00)            -        (40,415.15)            -
        HEAR       HEAR          28344 2/28/2012 TDCO                                                            forex ck #426                               forex debit         USD            (41,115.38)     (41,526.53)            -               -
        HEAR       HEAR          28344 2/28/2012 CASH                                                            forex ck #426                               forex credit        CAD             40,415.15             -         40,415.15             -
        HEAR       HEAR          28405 2/29/2012 CASH                                                            James                                       debit               CAD            (10,000.00)            -        (10,500.00)            -
        HEAR       HEAR          28420 2/29/2012 DGMI                                                            Wilson Sonsini Goodrich TT                  debit               USD            (50,055.00)     (50,555.55)            -               -
        HEAR       HEAR          28422 2/29/2012 WORK                                                            QB subscribe to Manage IQ                   debit               USD                   -           (500.00)            -               -
        HEAR       HEAR          28734 2/29/2012 WORK                                                            interest payment                            interest payment    USD                   -            333.33             -               -
                                                                                                                                                                                                                                                              Date Filed: 02/18/2025




        HEAR       HEAR          28735 2/29/2012 WORK                                                            interest charge                             interest charge     CAD                   -               -             (4.60)            -
        HEAR       HEAR          29043   3/2/2012 TDCO                                                           forex ck #436                               forex debit         USD            (10,643.44)     (10,749.87)            -               -
        HEAR       HEAR          29043   3/2/2012 CASH                                                           forex ck #436                               forex credit        CAD             10,504.60             -         10,504.60             -
        HEAR       HEAR          28931   3/2/2012 DGMI                                                           IFS Trust TT                                credit              USD             80,000.00       80,000.00             -               -
        HEAR       HEAR          28995   3/5/2012 DGMI                                                           TGS Capital TT                              debit               USD            (50,070.00)     (50,570.70)            -               -
        HEAR       HEAR          28996   3/5/2012 DGMI                                                           Westwood Ventures TT                        debit               USD           (100,110.00)    (101,111.10)            -               -
        HEAR       HEAR          29248   3/8/2012 BSIT                                                           forex                                       forex debit         USD            (79,602.08)     (80,398.10)            -               -
        HEAR       HEAR          29248   3/8/2012 BSIT                                                           forex                                       forex credit        CAD             78,750.00             -         78,750.00             -
        HEAR       HEAR          29205   3/8/2012 CASH                                                           debit                                       debit               USD            (10,000.00)     (10,500.00)            -               -
        HEAR       HEAR          29207   3/8/2012 CASH                                                           debit                                       debit               CAD            (75,000.00)            -        (78,750.00)            -
        HEAR       HEAR          29542 3/16/2012 DGMI                                                            FCPG TT                                     debit               USD            (37,527.50)     (37,902.78)            -               -




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         Account    Account     Batch    Batch     Bank                                 Symbol                                       Batch                Transaction      Currency    Cash Bank        Cash Acct        Cash Acct        Cash Acct
                                                           Symbol                                     Stock
          Code       Title       ID      Date      Code                                Description                                 Description            Description       Code       (in Curr)         (USD)            (CAD)            (CHF)
        HEAR       HEAR          29596   3/19/2012 WORK                                                         Belmont FCPG Note                     debit               USD                    -            (100.00)             -              -
                                                                                                                                                                                                                                                      Case: 24-1770




        HEAR       HEAR          29805   3/23/2012 WORK                                                         internal transfer                     credit              USD                    -         100,000.00              -              -
        HEAR       HEAR          29809   3/23/2012 WORK                                                         internal transfer                     credit              USD                    -         432,750.00              -              -
        HEAR       HEAR          30055   3/29/2012 DGMI                                                         Paul Sexton TT Palm                   debit               USD             (15,023.33)      (15,173.56)             -              -
        HEAR       HEAR          30005   3/29/2012 WORK                                                         GR Capital balance Feb commission     credit              USD                    -           1,800.00              -              -
        HEAR       HEAR          30134   3/29/2012 WORK                                                         custody fees                          debit               USD                    -          (1,327.50)             -              -
        HEAR       HEAR          30135   3/29/2012 WORK                                                         custody fees                          debit               CAD                    -                -            (118.31)           -
        HEAR       HEAR          30252   3/29/2012 WORK                                                         interest payment                      interest payment    USD                    -             380.72              -              -
        HEAR       HEAR          30253   3/29/2012 WORK                                                         interest charge                       interest charge     CAD                    -                -              (0.01)           -
        HEAR       HEAR          30476   3/30/2012 WORK                                                         forex                                 forex debit         USD                    -            (122.19)             -              -
        HEAR       HEAR          30476   3/30/2012 WORK                                                         forex                                 forex credit        CAD                    -                -             118.32            -
        HEAR       HEAR          30704    4/4/2012 BSIT                                                         forex                                 forex debit         USD             (14,485.22)      (14,630.07)             -              -
        HEAR       HEAR          30704    4/4/2012 BSIT                                                         forex                                 forex credit        CAD              14,444.66              -          14,444.66            -
        HEAR       HEAR          30617    4/4/2012 TDQB                                                         Airfares ck #1651                     debit               CAD             (14,301.64)             -         (14,444.66)           -
        HEAR       HEAR          30750    4/5/2012 WORK                                                         Diamond Spot repayment                credit              USD                    -          20,000.00              -              -
        HEAR       HEAR          30741    4/5/2012 WORK                                                         internal transfer                     credit              USD                    -       2,250,000.00              -              -
        HEAR       HEAR          30909   4/10/2012 BSIT                                                         forex                                 forex debit         USD                 (50.31)          (50.81)             -              -
        HEAR       HEAR          30909   4/10/2012 BSIT                                                         forex                                 forex credit        CAD                  50.00              -              50.00            -
        HEAR       HEAR          30884   4/10/2012 DGMI                                                         Westwood Ventrues TT                  debit               USD            (100,110.00)     (101,111.10)             -              -
        HEAR       HEAR          30885   4/10/2012 DGMI                                                         TGS Capital TT                        debit               USD             (75,070.00)      (75,820.70)             -              -
        HEAR       HEAR          30886   4/10/2012 WORK                                                         Fedex #793403574322                   debit               CAD                    -                -             (50.00)           -
        HEAR       HEAR          30948   4/11/2012 WORK                                                         internal transfer ONCS                debit               USD                    -        (142,100.00)             -              -
        HEAR       HEAR          31053   4/13/2012 WORK                                                         internal transfer                     credit              USD                    -          68,000.00              -              -
        HEAR       HEAR          31434   4/23/2012 TDQB                                                         Airfares ck #1706                     debit               CAD              (1,114.04)             -          (1,214.04)           -
        HEAR       HEAR          31453   4/23/2012 WORK                                                         forex                                 forex debit         USD                    -          (1,258.31)             -              -
                                                                                                                                                                                                                                                      Document: 00118249068




        HEAR       HEAR          31453   4/23/2012 WORK                                                         forex                                 forex credit        CAD                    -                -           1,214.04            -
        HEAR       HEAR          31849   4/30/2012 WORK                                                         Partners in Travel 12 fees            debit               USD                    -          (1,200.00)             -              -
        HEAR       HEAR          31859   4/30/2012 WORK                                                         internal transfer ONCS                credit              USD                    -         269,500.00              -              -
        HEAR       HEAR          31927   4/30/2012 WORK                                                         interest payment                      interest payment    USD                    -           2,149.60              -              -
        HEAR       HEAR          32124    5/2/2012 DGMI                                                         Paul Sexton TT Palm                   debit               USD             (12,023.33)      (12,143.56)             -              -
        HEAR       HEAR          32328    5/7/2012 CASH                                                         debit                                 debit               USD              (5,000.00)       (5,250.00)             -              -
        HEAR       HEAR          32451    5/9/2012 CASH                                                         debit                                 debit               USD              (5,000.00)       (5,250.00)             -              -
        HEAR       HEAR          32520   5/10/2012 LGTC   SCZ       Santacruz Silver                    50,000 internal transfer                      transfer stock in   CAD                    -                -                -              -
        HEAR       HEAR          32782   5/17/2012 WORK                                                         internal transfer living exp          credit              CAD                    -                -         423,700.00            -
        HEAR       HEAR          32900   5/22/2012 TDQB                                                         Holmes & King ck #1772                debit               CAD              (5,000.00)             -          (5,100.00)           -
        HEAR       HEAR          33004   5/23/2012 TDQB                                                         airfares ck #1777                     debit               CAD              (3,918.21)             -          (4,018.21)           -




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        HEAR       HEAR          33151   5/28/2012 TDCO                                                         Airfares ck #75                       debit               CAD              (8,726.76)             -          (8,826.76)           -
                                                                                                                                                                                                                                                      Page: 153




        HEAR       HEAR          33181   5/28/2012 DGMI                                                         TGS Capital TT                        debit               USD             (75,070.00)      (75,820.70)             -              -
        HEAR       HEAR          33182   5/28/2012 DGMI                                                         Westwood Ventures TT                  debit               USD            (120,110.00)     (121,311.10)             -              -
        HEAR       HEAR          33280   5/30/2012 DGMI                                                         Paul Sexton TT                        debit               USD             (30,024.00)      (30,324.24)             -              -
        HEAR       HEAR          34525   5/31/2012 DGMI                                                         Coastal Integrated TT                 debit               CAD            (100,160.00)             -        (101,161.60)           -
        HEAR       HEAR          33543   5/31/2012 WORK                                                         interest payment                      interest payment    USD                    -           2,551.93              -              -
        HEAR       HEAR          33544   5/31/2012 WORK                                                         interest payment                      interest payment    CAD                    -                -             162.46            -
        HEAR       HEAR          35830    6/3/2012 TDQB   L-WESC    Quarry:Westwood:8%:3/6/20           22,309 interest                               buy stock           CAD                    -                -          (2,789.00)           -
        HEAR       HEAR          35831    6/3/2012 TDQB   L-WESU    Quarry:Westwood:8%:3/6/20          265,467 interest                               buy stock           USD                    -         (33,183.00)             -              -
        HEAR       HEAR          33811    6/4/2012 WORK                                                         internal transfer STVF                credit              USD                    -       1,595,000.00              -              -
        HEAR       HEAR          34005    6/7/2012 CASH                                                         debit                                 debit               CAD             (50,000.00)             -         (52,500.00)           -
        HEAR       HEAR          34026    6/7/2012 WORK                                                         Heartland Fdn 12 fees                 debit               USD                    -          (3,500.00)             -              -
        HEAR       HEAR          34092    6/8/2012 BSIT   SCZ       Santacruz Silver                    50,000 buy stock                              buy stock           CAD                    -                -         (40,000.00)           -
        HEAR       HEAR          34130    6/8/2012 LGTC   SCA       Savary Gold                        (10,000) LGTC DTC                              stock delivery      CAD                    -                -                -              -
        HEAR       HEAR          34130    6/8/2012 VPQU   SCA       Savary Gold                         10,000 LGTC DTC                               transfer stock in   CAD                    -                -                -              -
        HEAR       HEAR          34479   6/19/2012 WORK                                                         internal transfer CRCL                credit              USD                    -         102,000.00              -              -
        HEAR       HEAR          34480   6/19/2012 WORK                                                         internal transfer ECAU                debit               USD                    -        (225,100.00)             -              -
        HEAR       HEAR          34552   6/20/2012 HYPP                                                         forex                                 forex debit         USD          (1,983,234.71)   (2,003,067.06)             -              -
        HEAR       HEAR          34552   6/20/2012 HYPP                                                         forex                                 forex credit        CAD           2,011,000.00              -       2,011,000.00            -
        HEAR       HEAR          34598   6/21/2012 WORK                                                         internal transfer CLAR                debit               CAD                    -                -         (50,000.00)           -
        HEAR       HEAR          34759   6/25/2012 TDQB   L-SX2C    Quarry:Sexton:3%:30/6/17            49,872 interest                               buy stock           CAD                    -                -          (6,234.00)           -
        HEAR       HEAR          34772   6/26/2012 TDQB   L-SX2C    Quarry:Sexton:3%:30/6/17         2,029,761 DF Gurney draft ck #1854               buy stock           CAD          (2,029,768.50)             -      (2,050,066.19)           -
        HEAR       HEAR          35045   6/30/2012 WORK                                                         interest payment                      interest payment    USD                    -           2,838.43              -              -
                                                                                                                                                                                                                                                      Date Filed: 02/18/2025




        HEAR       HEAR          35046   6/30/2012 WORK                                                         interest payment                      interest payment    CAD                    -                -             501.26            -
        HEAR       HEAR          35395    7/1/2012 XPHO                                                         6 mos xphone service3 58)             debit               USD                    -          (3,600.00)             -              -
        HEAR       HEAR          35297    7/1/2012 WORK                                                         custody fees                          debit               USD                    -          (1,327.50)             -              -
        HEAR       HEAR          35298    7/1/2012 WORK                                                         custody fees                          debit               CAD                    -                -            (344.22)           -
        HEAR       HEAR          35854   7/17/2012 DGMI                                                         Pulse Beverage TT                     debit               USD            (250,110.00)     (252,611.10)             -              -
        HEAR       HEAR          36107   7/25/2012 TDQB                                                         Predator Ridge ck #7401               credit              CAD                 264.16              -             264.16            -
        HEAR       HEAR          36367   7/30/2012 WORK                                                         internal transfer GRPH                debit               USD                    -        (100,100.00)             -              -
        HEAR       HEAR          36426   7/30/2012 WORK                                                         interest payment                      interest payment    USD                    -           1,739.67              -              -
        HEAR       HEAR          36427   7/30/2012 WORK                                                         interest payment                      interest payment    CAD                    -                -              94.01            -
        HEAR       HEAR          37439   8/30/2012 DGMI                                                         Paul Sexton TT Palm                   debit               USD             (30,023.34)      (30,323.57)             -              -
        HEAR       HEAR          37535   8/31/2012 WORK                                                         interest payment                      interest payment    USD                    -           1,655.04              -              -




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         Account    Account     Batch   Batch     Bank                                 Symbol                                             Batch                       Transaction     Currency    Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                          Stock
          Code       Title       ID     Date      Code                                Description                                       Description                   Description      Code       (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          37536 8/31/2012 WORK                                                               interest payment                              interest payment   CAD                   -               -            100.54            -
                                                                                                                                                                                                                                                              Case: 24-1770




        HEAR       HEAR          38270 9/17/2012 TDQB                                                               Falcon Point ck #2055 [Predator]              debit              CAD             (1,478.22)            -         (1,578.22)           -
        HEAR       HEAR          38272 9/17/2012 WORK                                                               Fedex #7989 8119 3030                         debit              CAD                   -               -            (50.00)           -
        HEAR       HEAR          38286 9/17/2012 WORK                                                               internal transfer ECAU                        debit              USD                   -       (150,100.00)            -              -
        HEAR       HEAR          38560 9/24/2012 TDQB                                                               Thorsteinssons TT SURE                        credit             CAD            112,495.00             -        112,495.00            -
        HEAR       HEAR          38663 9/26/2012 WORK                                                               internal transfer CLAR                        debit              CAD                   -               -        (25,100.00)           -
        HEAR       HEAR          38696 9/26/2012 DGMI                                                               Paul Sexton TT                                debit              USD            (15,024.00)     (15,174.24)            -              -
        HEAR       HEAR          38740 9/27/2012 TDQB                                                               Neumeyer TT SURE                              credit             CAD             75,000.00             -         75,000.00            -
        HEAR       HEAR          38815 9/28/2012 WORK                                                               internal transfer CRCL                        credit             USD                   -        172,500.00             -              -
        HEAR       HEAR          38945 9/29/2012 WORK                                                               custody fees                                  debit              USD                   -         (1,170.00)            -              -
        HEAR       HEAR          38946 9/29/2012 WORK                                                               custody fees                                  debit              CAD                   -               -           (648.92)           -
        HEAR       HEAR          39088 9/29/2012 WORK                                                               interest payment                              interest payment   USD                   -          1,440.41             -              -
        HEAR       HEAR          39089 9/29/2012 WORK                                                               interest payment                              interest payment   CAD                   -               -            112.52            -
        HEAR       HEAR          39281 10/1/2012 WORK                                                               internal transfer GRPH                        debit              USD                   -       (900,100.00)            -              -
        HEAR       HEAR          39670 10/10/2012 CASH                                                              debit                                         debit              USD             (5,000.00)      (5,250.00)            -              -
        HEAR       HEAR          39671 10/10/2012 CASH                                                              debit                                         debit              CAD            (30,000.00)            -        (31,500.00)           -
        HEAR       HEAR          39847 10/16/2012 WORK                                                              Pacific Dominion subscription                 debit              CAD                   -               -           (500.00)           -
        HEAR       HEAR          39849 10/16/2012 BSIT                                                              Pacific Dominion TT                           debit              CAD            (26,250.00)            -        (26,512.50)           -
        HEAR       HEAR          39932 10/19/2012 DGMI                                                              TGS Capital TT                                debit              USD           (115,110.00)    (116,261.10)            -              -
        HEAR       HEAR          40028 10/22/2012 BMQB                                                              Predator Ridge ck #8786                       credit             CAD                554.32             -            554.32            -
        HEAR       HEAR          40090 10/23/2012 WORK                                                              Incorp Brooks                                 debit              CAD                   -               -           (250.00)           -
        HEAR       HEAR          98928 10/31/2012 LOAN   L-WESU    Quarry:Westwood:8%:3/6/20            (3,365,867) loan assumption                               sell stock         USD                   -               -               -              -
        HEAR       HEAR          40408 10/31/2012 DGMI                                                              Paul Sexton TT                                debit              USD            (12,023.00)     (12,143.23)            -              -
        HEAR       HEAR          40492 10/31/2012 WORK                                                              interest payment                              interest payment   USD                   -            836.67             -              -
        HEAR       HEAR          40493 10/31/2012 WORK                                                              interest payment                              interest payment   CAD                   -               -            210.37            -
                                                                                                                                                                                                                                                              Document: 00118249068




        HEAR       HEAR          41299 11/15/2012 WORK                                                              internal transfer ORYN                        credit             USD                   -        100,000.00             -              -
        HEAR       HEAR          41490 11/15/2012 BMQB   L-SX1C    Quarry:Sexton:6%:15/11/12               167,933 interest                                       buy stock          CAD                   -               -        (27,989.00)           -
        HEAR       HEAR          41483 11/21/2012 WORK                                                              internal transfer SURE                        credit             CAD                   -               -         80,000.00            -
        HEAR       HEAR          41488 11/21/2012 VERL   SURE      Sonora Resources                      1,706,000 buy stock                                      buy stock          USD                   -        (34,120.00)            -              -
        HEAR       HEAR          41486 11/24/2012 BMQB   L-PEAC    Quarry:Peak Strategies:8%:24/11/09       44,800 interest                                       buy stock          CAD                   -               -         (5,600.00)           -
        HEAR       HEAR          41604 11/26/2012 TDCO                                                              airfares ck #180                              debit              CAD             (2,201.18)            -         (2,301.18)           -
        HEAR       HEAR          41661 11/27/2012 WORK                                                              Directors fees OVX                            debit              CAD                   -               -           (300.00)           -
        HEAR       HEAR          41657 11/28/2012 BSIT                                                              Nevaro Capital TT OVX                         debit              CAD           (112,000.00)            -       (113,120.00)           -
        HEAR       HEAR          41708 11/28/2012 REST   OVX-E     Oculus Ventures                       3,582,000 receive stock                                  buy stock          CAD                   -               -           (100.00)           -
        HEAR       HEAR          41709 11/28/2012 WORK                                                              internal transfer ECAU                        debit              USD                   -       (400,100.00)            -              -
        HEAR       HEAR          41814 11/30/2012 BSIT                                                              Partners in Travel TT Peak                    debit              CAD            (72,000.00)            -        (72,720.00)           -




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        HEAR       HEAR          41799 11/30/2012 CASH                                                              debit                                         debit              USD             (5,000.00)      (5,250.00)            -              -
                                                                                                                                                                                                                                                              Page: 154




        HEAR       HEAR          41810 11/30/2012 DGMI                                                              Paul Sexton TT Palm                           debit              USD            (30,035.00)     (30,335.35)            -              -
        HEAR       HEAR          42029 11/30/2012 WORK                                                              interest payment                              interest payment   USD                   -            695.23             -              -
        HEAR       HEAR          42030 11/30/2012 WORK                                                              interest payment                              interest payment   CAD                   -               -            175.30            -
        HEAR       HEAR          42254 12/1/2012 SIL2                                                               forex                                         forex debit        USD            (35,674.24)     (36,030.98)            -              -
        HEAR       HEAR          42254 12/1/2012 SIL2                                                               forex                                         forex credit       CAD             35,000.00             -         35,000.00            -
        HEAR       HEAR          42211 12/3/2012 HYPP                                                               Riad Yassin TT OVX                            debit              CAD           (150,037.60)            -       (151,537.98)           -
        HEAR       HEAR          42279 12/3/2012 DGMI                                                               forex                                         forex debit        USD            (42,427.34)     (42,851.61)            -              -
        HEAR       HEAR          42279 12/3/2012 DGMI                                                               forex                                         forex credit       CAD             41,729.94             -         41,729.94            -
        HEAR       HEAR          42232 12/3/2012 BMQB                                                               Airfares ck #253                              debit              CAD               (201.60)            -           (301.60)           -
        HEAR       HEAR          42787 12/7/2012 HYPP                                                               forex                                         forex debit        USD             (2,195.80)      (2,217.76)            -              -
        HEAR       HEAR          42787 12/7/2012 HYPP                                                               forex                                         forex credit       CAD              2,140.23             -          2,140.23            -
        HEAR       HEAR          42540 12/7/2012 VERL                                                               forex                                         forex debit        USD             (1,019.13)      (1,029.32)            -              -
        HEAR       HEAR          42540 12/7/2012 VERL                                                               forex                                         forex credit       CAD                986.08             -            986.08            -
        HEAR       HEAR          42544 12/7/2012 WORK                                                               forex                                         forex debit        USD                   -         (8,791.50)            -              -
        HEAR       HEAR          42544 12/7/2012 WORK                                                               forex                                         forex credit       CAD                   -               -          8,422.16            -
        HEAR       HEAR          42618 12/7/2012 WORK                                                               forex                                         forex debit        USD                   -         (1,386.66)            -              -
        HEAR       HEAR          42618 12/7/2012 WORK                                                               forex                                         forex credit       CAD                   -               -          1,327.03            -
        HEAR       HEAR          42452 12/7/2012 VERL                                                               Talal Yassin TT OVX                           debit              CAD            (73,550.00)            -        (74,285.50)           -
        HEAR       HEAR          42478 12/10/2012 BMQB   L-PEAC    Quarry:Peak Strategies:8%:24/11/09      (44,800) interest payment                              sell stock         CAD             44,800.00             -         44,800.00            -
        HEAR       HEAR          42480 12/10/2012 WORK                                                              internal transfer Peak                        credit             CAD                   -               -         16,760.00            -
        HEAR       HEAR          42529 12/11/2012 HYPP   SURE      Sonora Resources                        101,450 buy stock                                      buy stock          USD             (8,311.99)      (8,519.79)            -              -
        HEAR       HEAR          43591 12/14/2012 HECN                                                              Tandem docs legal opinion re Nurture sale     debit              USD               (656.41)        (756.41)            -              -
                                                                                                                                                                                                                                                              Date Filed: 02/18/2025




        HEAR       HEAR          42688 12/14/2012 WORK                                                              Diectors fees                                 debit              CAD                   -               -           (100.00)           -
        HEAR       HEAR          42845 12/19/2012 HYPP   PLSB      Pulse Beverage                          (15,000) sell stock                                    sell stock         USD             10,046.93        9,795.76             -              -
        HEAR       HEAR          42903 12/20/2012 HYPP   PLSB      Pulse Beverage                          (12,812) sell stock                                    sell stock         USD              8,961.05        8,737.02             -              -
        HEAR       HEAR          43007 12/28/2012 HYPP   PLSB      Pulse Beverage                          (10,000) sell stock                                    sell stock         USD              6,216.49        6,061.08             -              -
        HEAR       HEAR          43057 12/29/2012 HYPP   PLSB      Pulse Beverage                           (5,000) sell stock                                    sell stock         USD              3,085.04        2,985.04             -              -
        HEAR       HEAR          48832 12/29/2012 WORK                                                              Statement SCZ                                 debit              CAD                   -               -         (4,260.00)           -
        HEAR       HEAR          43242 12/30/2012 WORK                                                              custody fees                                  debit              USD                   -         (2,139.67)            -              -
        HEAR       HEAR          43243 12/30/2012 WORK                                                              custody fees                                  debit              CAD                   -               -           (574.69)           -
        HEAR       HEAR          43562 12/31/2012 WORK                                                              forex                                         forex debit        USD                   -           (580.45)            -              -
        HEAR       HEAR          43562 12/31/2012 WORK                                                              forex                                         forex credit       CAD                   -               -            574.70            -
        HEAR       HEAR          43404 12/31/2012 WORK                                                              interest payment                              interest payment   USD                   -            332.25             -              -




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         Account    Account     Batch   Batch     Bank                               Symbol                                      Batch             Transaction     Currency    Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                  Stock
          Code       Title       ID     Date      Code                              Description                                Description         Description      Code       (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          43405 12/31/2012 WORK                                                     interest charge                     interest charge    CAD                   -               -             (0.01)           -
                                                                                                                                                                                                                                           Case: 24-1770




        HEAR       HEAR          43612   1/2/2013 XPHO                                                     6 mos xphone service 3)             debit              USD                   -         (1,800.00)            -              -
        HEAR       HEAR          43766   1/7/2013 HYPP   PLSB      Pulse Beverage                  (6,750) sell stock                          sell stock         USD              4,321.91        4,213.86             -              -
        HEAR       HEAR          44062 1/14/2013 WORK                                                      internal transfer STEV              credit             USD                   -         36,666.00             -              -
        HEAR       HEAR          44194 1/17/2013 WORK                                                      internal transfer PGroup            credit             USD                   -      1,050,000.00             -              -
        HEAR       HEAR          44228 1/17/2013 DGMI                                                      Tropnet Marketing TT                debit              USD            (25,070.00)     (25,320.70)            -              -
        HEAR       HEAR          44239 1/17/2013 DGMI                                                      Paul Sexton TT Palm                 debit              USD            (30,047.00)     (30,347.47)            -              -
        HEAR       HEAR          44260 1/18/2013 HYPP    PLSB      Pulse Beverage                 (10,000) sell stock                          sell stock         USD              6,809.37        6,639.14             -              -
        HEAR       HEAR          44552 1/26/2013 WORK                                                      internal transfer PGroup            credit             USD                   -         50,000.00             -              -
        HEAR       HEAR          44564 1/28/2013 CBHQ    PLSB      Pulse Beverage                 (20,000) sell stock                          sell stock         USD             14,222.29       13,866.73             -              -
        HEAR       HEAR          44656 1/30/2013 HYPP    PLSB      Pulse Beverage                 (10,000) sell stock                          sell stock         USD              7,777.89        7,583.44             -              -
        HEAR       HEAR          44708 1/31/2013 HYPP    PLSB      Pulse Beverage                  (4,100) sell stock                          sell stock         USD              3,053.59        2,953.59             -              -
        HEAR       HEAR          45189 1/31/2013 WORK                                                      forex                               forex debit        USD                   -        (32,390.52)            -              -
        HEAR       HEAR          45189 1/31/2013 WORK                                                      forex                               forex credit       CAD                   -               -         31,500.01            -
        HEAR       HEAR          44753 1/31/2013 CASH                                                      debit                               debit              USD             (9,000.00)      (9,450.00)            -              -
        HEAR       HEAR          44754 1/31/2013 CASH                                                      debit                               debit              CAD            (30,000.00)            -        (31,500.00)           -
        HEAR       HEAR          44755 1/31/2013 DGMI                                                      Marcus Laun TT                      debit              USD            (15,070.00)     (15,220.70)            -              -
        HEAR       HEAR          44958 1/31/2013 WORK                                                      interest payment                    interest payment   USD                   -            785.36             -              -
        HEAR       HEAR          44959 1/31/2013 WORK                                                      interest charge                     interest charge    CAD                   -               -             (0.01)           -
        HEAR       HEAR          45177   2/4/2013 HYPP   PLSB      Pulse Beverage                 (30,000) sell stock                          sell stock         USD             26,365.66       25,706.52             -              -
        HEAR       HEAR          45254   2/5/2013 HYPP   PLSB      Pulse Beverage                 (23,357) sell stock                          sell stock         USD             21,125.40       20,597.27             -              -
        HEAR       HEAR          45308   2/5/2013 DGMI                                                     Lawson Lundell TT                   debit              CAD            (30,100.00)            -        (30,401.00)           -
        HEAR       HEAR          45310   2/5/2013 BSIT                                                     forex                               forex debit        USD            (30,956.43)     (31,265.99)            -              -
        HEAR       HEAR          45310   2/5/2013 BSIT                                                     forex                               forex credit       CAD             30,401.00             -         30,401.00            -
        HEAR       HEAR          45323   2/6/2013 HYPP   PLSB      Pulse Beverage                 (40,000) sell stock                          sell stock         USD             40,231.03       39,225.25             -              -
                                                                                                                                                                                                                                           Document: 00118249068




        HEAR       HEAR          45373   2/6/2013 BOCG                                                     Robert Holmes ck #122               debit              CAD             (5,000.00)            -         (5,100.00)           -
        HEAR       HEAR          45419   2/6/2013 BSIT                                                     forex                               forex debit        USD             (5,244.09)      (5,296.53)            -              -
        HEAR       HEAR          45419   2/6/2013 BSIT                                                     forex                               forex credit       CAD              5,150.00             -          5,150.00            -
        HEAR       HEAR          45417   2/7/2013 WORK                                                     Fedex #7946 6414 9034               debit              CAD                   -               -            (50.00)           -
        HEAR       HEAR          45456   2/8/2013 DGMI                                                     forex                               forex debit        USD               (153.58)        (155.12)            -              -
        HEAR       HEAR          45456   2/8/2013 DGMI                                                     forex                               forex credit       CAD                152.04             -            152.04            -
        HEAR       HEAR          45451   2/8/2013 WORK                                                     Pacific Dominion subscription       debit              CAD                   -               -           (500.00)           -
        HEAR       HEAR          45487 2/11/2013 HYPP    PLSB      Pulse Beverage                 (23,647) sell stock                          sell stock         USD             24,800.38       24,180.37             -              -
        HEAR       HEAR          45530 2/12/2013 CASH                                                      debit                               debit              CAD            (50,000.00)            -        (52,500.00)           -
        HEAR       HEAR          45529 2/12/2013 DGMI                                                      Max Wright Estate TT                debit              CAD            (50,100.00)            -        (50,601.00)           -
        HEAR       HEAR          45647 2/12/2013 BSIT                                                      forex                               forex debit        USD               (353.46)        (356.99)            -              -




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        HEAR       HEAR          45647 2/12/2013 BSIT                                                      forex                               forex credit       CAD                350.00             -            350.00            -
                                                                                                                                                                                                                                           Page: 155




        HEAR       HEAR          45537 2/12/2013 DGMI                                                      Pacific Dominion Energy TT          debit              CAD            (25,050.00)            -        (25,300.50)           -
        HEAR       HEAR          45542 2/12/2013 DGMI                                                      forex                               forex debit        USD            (61,046.09)     (61,656.55)            -              -
        HEAR       HEAR          45542 2/12/2013 DGMI                                                      forex                               forex credit       CAD             60,435.59             -         60,435.59            -
        HEAR       HEAR          45543 2/12/2013 BSIT                                                      forex                               forex debit        USD            (70,036.81)     (70,737.18)            -              -
        HEAR       HEAR          45543 2/12/2013 BSIT                                                      forex                               forex credit       CAD             68,780.20             -         68,780.20            -
        HEAR       HEAR          45551 2/12/2013 WORK                                                      internal transfer ECAU              credit             USD                   -        775,000.00             -              -
        HEAR       HEAR          45582 2/13/2013 HYPP    PLSB      Pulse Beverage                 (10,000) sell stock                          sell stock         USD             10,224.16        9,968.56             -              -
        HEAR       HEAR          45696 2/15/2013 HYPP    PLSB      Pulse Beverage                 (14,850) sell stock                          sell stock         USD             15,408.76       15,023.54             -              -
        HEAR       HEAR          45769 2/19/2013 WORK                                                      internal transfer STEV              credit             USD                   -         55,000.00             -              -
        HEAR       HEAR          45775 2/19/2013 WORK                                                      internal transfer ECAU              credit             USD                   -      2,500,000.00             -              -
        HEAR       HEAR          45791 2/20/2013 DGMI                                                      Manage IQ TT                        credit             USD            100,000.00      100,000.00             -              -
        HEAR       HEAR          45802 2/20/2013 CBHQ    PLSB      Pulse Beverage                 (45,000) sell stock                          sell stock         USD             53,823.94       52,478.34             -              -
        HEAR       HEAR          45808 2/20/2013 DGMI                                                      Paul Sexton TT                      debit              USD            (24,035.00)     (24,275.35)            -              -
        HEAR       HEAR          45867 2/22/2013 DGMI                                                      DF Gurney TT Bridge Gate            debit              USD           (792,190.00)    (800,111.90)            -              -
        HEAR       HEAR          46027 2/26/2013 WORK                                                      Bridge Gate Incorp                  debit              CAD                   -               -           (600.00)           -
        HEAR       HEAR          46159 2/26/2013 DGMI                                                      forex                               forex debit        USD            (18,539.89)     (18,725.29)            -              -
        HEAR       HEAR          46159 2/26/2013 DGMI                                                      forex                               forex credit       CAD             18,787.65             -         18,787.65            -
        HEAR       HEAR          46117 2/27/2013 CASH                                                      debit                               debit              CAD            (12,000.00)            -        (12,600.00)           -
        HEAR       HEAR          46123 2/27/2013 DGMI                                                      Paul Sexton TT                      debit              USD            (26,045.00)     (26,305.45)            -              -
        HEAR       HEAR          46124 2/27/2013 DGMI                                                      TGS Capital TT                      debit              USD           (100,110.00)    (101,111.10)            -              -
        HEAR       HEAR          46125 2/27/2013 DGMI                                                      Solito Capital TT                   debit              USD           (125,110.00)    (126,361.10)            -              -
        HEAR       HEAR          46126 2/27/2013 BOCG                                                      Predator Ridge ck #154              debit              CAD             (5,000.00)            -         (5,100.00)           -
                                                                                                                                                                                                                                           Date Filed: 02/18/2025




        HEAR       HEAR          46388 2/28/2013 WORK                                                      interest payment                    interest payment   USD                   -          2,033.70             -              -
        HEAR       HEAR          46389 2/28/2013 WORK                                                      interest charge                     interest charge    CAD                   -               -             (0.01)           -
        HEAR       HEAR          46651   3/4/2013 CASH                                                     debit                               debit              USD            (15,000.00)     (15,750.00)            -              -
        HEAR       HEAR          46712   3/6/2013 VPQU   PLSB      Pulse Beverage                 (25,000) sell stock                          sell stock         USD             29,521.35       28,635.71             -              -
        HEAR       HEAR          46727   3/6/2013 DGMI                                                     Galloway Energy TT                  debit              CAD            (50,040.00)            -        (50,540.40)           -
        HEAR       HEAR          46779   3/6/2013 DGMN                                                     forex                               forex debit        USD            (33,279.38)     (33,612.17)            -              -
        HEAR       HEAR          46779   3/6/2013 DGMN                                                     forex                               forex credit       CAD             33,941.56             -         33,941.56            -
        HEAR       HEAR          46767   3/7/2013 BOCG                                                     DF Gurney ck forex balance          credit             CAD             15,294.87             -         15,294.87            -
        HEAR       HEAR          46787   3/7/2013 WORK                                                     internal transfer PLSB              credit             USD                   -        360,000.00             -              -
        HEAR       HEAR          46817   3/8/2013 VPQU   PLSB      Pulse Beverage                 (20,000) sell stock                          sell stock         USD             24,852.77       24,107.19             -              -
        HEAR       HEAR          46863   3/8/2013 WORK                                                     Heartmore 13 fees                   debit              USD                   -         (2,500.00)            -              -




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         Account    Account     Batch    Batch     Bank                               Symbol                                                Batch              Transaction         Currency    Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                           Symbol                                           Stock
          Code       Title       ID      Date      Code                              Description                                          Description          Description          Code       (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          46955   3/12/2013 DGMI                                                               forex                                forex debit            USD           (900,411.92)    (909,416.04)            -              -
                                                                                                                                                                                                                                                           Case: 24-1770




        HEAR       HEAR          46955   3/12/2013 DGMI                                                               forex                                forex credit           CAD            910,666.45             -        910,666.45            -
        HEAR       HEAR          47244   3/21/2013 VPQU   PLSB      Pulse Beverage                           (10,000) sell stock                           sell stock             USD             13,600.85       13,192.82             -              -
        HEAR       HEAR          47329   3/25/2013 VPQU   PLSB      Pulse Beverage                           (20,000) sell stock                           sell stock             USD             27,749.59       26,917.10             -              -
        HEAR       HEAR          47713   3/29/2013 WORK                                                               custody fees                         debit                  USD                   -         (2,380.43)            -              -
        HEAR       HEAR          47714   3/29/2013 WORK                                                               custody fees                         debit                  CAD                   -               -           (536.19)           -
        HEAR       HEAR          47855   3/29/2013 WORK                                                               interest payment                     interest payment       USD                   -          2,811.07             -              -
        HEAR       HEAR          47856   3/29/2013 WORK                                                               interest payment                     interest payment       CAD                   -               -            439.22            -
        HEAR       HEAR          48072    4/2/2013 VPQU   PLSB      Pulse Beverage                           (26,270) sell stock                           sell stock             USD             36,757.59       35,654.86             -              -
        HEAR       HEAR          48124    4/3/2013 VPQU   PLSB      Pulse Beverage                           (25,000) sell stock                           sell stock             USD             34,997.70       33,947.77             -              -
        HEAR       HEAR          48173    4/3/2013 DGMI                                                               Paul Sexton TT                       debit                  USD            (30,045.00)     (30,345.45)            -              -
        HEAR       HEAR          48234    4/4/2013 DGMI   L-SX3C    CityGroup:Sexton: 6%: 27/02/18           900,000 DF Gurney TT                          buy stock              CAD           (900,160.00)            -       (909,161.60)           -
        HEAR       HEAR          48335    4/8/2013 WORK                                                               internal transfer                    credit                 USD                   -      2,000,000.00             -              -
        HEAR       HEAR          48587   4/15/2013 CASH                                                               debit                                debit                  USD             (6,000.00)      (6,300.00)            -              -
        HEAR       HEAR          48603   4/15/2013 WORK                                                               internal transfer                    debit                  USD                   -       (450,100.00)            -              -
        HEAR       HEAR          48604   4/15/2013 WORK                                                               internal transfer                    credit                 USD                   -        125,000.00             -              -
        HEAR       HEAR          48605   4/15/2013 WORK                                                               internal transfer                    credit                 USD                   -        125,000.00             -              -
        HEAR       HEAR          48627   4/16/2013 BOCG                                                               buy 20 gold coins draft              debit                  USD            (28,722.00)     (30,158.10)            -              -
        HEAR       HEAR          48683   4/17/2013 WORK                                                               internal transfer                    debit                  USD                   -       (250,100.00)            -              -
        HEAR       HEAR          48693   4/17/2013 WORK                                                               Predator Annual Report 2012          debit                  CAD                   -               -           (123.00)           -
        HEAR       HEAR          48907   4/17/2013 HYPP                                                               forex                                forex debit            USD             (4,159.75)      (4,201.35)            -              -
        HEAR       HEAR          48907   4/17/2013 HYPP                                                               forex                                forex credit           CAD              4,260.00             -          4,260.00            -
        HEAR       HEAR          48743   4/18/2013 DGMI                                                               Galloway Energy TT                   debit                  CAD            (25,040.00)            -        (25,290.40)           -
        HEAR       HEAR          48763   4/18/2013 HYPP                                                               forex                                forex debit            USD            (23,515.51)     (23,750.67)            -              -
        HEAR       HEAR          48763   4/18/2013 HYPP                                                               forex                                forex credit           CAD             23,995.42             -         23,995.42            -
                                                                                                                                                                                                                                                           Document: 00118249068




        HEAR       HEAR          48995   4/23/2013 VERA                                                               forex                                forex debit            USD            (49,847.91)     (50,346.39)            -              -
        HEAR       HEAR          48995   4/23/2013 VERA                                                               forex                                forex credit           CAD             50,800.00             -         50,800.00            -
        HEAR       HEAR          48946   4/23/2013 BOCG                                                               Paul Sexton draft                    debit                  CAD           (426,039.84)            -       (430,300.24)           -
        HEAR       HEAR          49175   4/23/2013 BSIT                                                               forex                                forex debit            USD            (92,840.45)     (93,768.85)            -              -
        HEAR       HEAR          49175   4/23/2013 BSIT                                                               forex                                forex credit           CAD             93,044.70             -         93,044.70            -
        HEAR       HEAR          48972   4/23/2013 HYPP                                                               forex                                forex debit            USD           (279,023.70)    (281,813.94)            -              -
        HEAR       HEAR          48972   4/23/2013 HYPP                                                               forex                                forex credit           CAD            285,748.15             -        285,748.15            -
        HEAR       HEAR          48974   4/23/2013 WORK                                                               forex                                forex debit            USD                   -        (21,408.52)            -              -
        HEAR       HEAR          48974   4/23/2013 WORK                                                               forex                                forex credit           CAD                   -               -         21,707.39            -
        HEAR       HEAR          49068   4/25/2013 DGMI                                                               Paul Sexton TT                       debit                  USD            (30,045.00)     (30,345.45)            -              -
        HEAR       HEAR          49141   4/26/2013 WORK                                                               Directors fees-PLSB option           debit                  USD                   -         (1,000.00)            -              -




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        HEAR       HEAR          49206   4/29/2013 BOCG   L-SX3C    CityGroup:Sexton: 6%: 27/02/18               382 Donald Gurney Law ck #252             buy stock              CAD               (381.75)            -           (481.75)           -
                                                                                                                                                                                                                                                           Page: 156




        HEAR       HEAR          49129   4/29/2013 CASH                                                               debit                                debit                  CAD            (20,000.00)            -        (21,000.00)           -
        HEAR       HEAR          49431   4/30/2013 DGMN                                                               forex                                forex debit            USD               (479.33)        (484.12)            -              -
        HEAR       HEAR          49431   4/30/2013 DGMN                                                               forex                                forex credit           CAD                481.75             -            481.75            -
        HEAR       HEAR          49440   4/30/2013 BOCG   L-PEAC    Quarry:Peak Strategies:8%:24/11/09         8,649 interest                              buy stock              CAD                   -               -         (1,081.00)           -
        HEAR       HEAR          49441   4/30/2013 BOCG   L-PEAC    Quarry:Peak Strategies:8%:24/11/09      (288,497) loan payment                         sell stock             CAD            288,496.56             -        288,496.56            -
        HEAR       HEAR          49571   4/30/2013 WORK                                                               interest payment                     interest payment       USD                   -          3,874.34             -              -
        HEAR       HEAR          49572   4/30/2013 WORK                                                               interest payment                     interest payment       CAD                   -               -            110.90            -
        HEAR       HEAR          50010    5/6/2013 CASH                                                               take 500 silver coins                debit                  USD            (13,918.50)     (14,614.42)            -              -
        HEAR       HEAR          50419   5/15/2013 CBHQ   MEME      Meemee Media                             248,000 buy stock                             buy stock              USD           (151,164.09)    (154,943.19)            -              -
        HEAR       HEAR          50904   5/24/2013 DGMN                                                               TGS Capital TT                       debit                  USD           (150,110.00)    (151,611.10)            -              -
        HEAR       HEAR          50908   5/24/2013 DGMN                                                               Solito Capital TT                    debit                  USD           (200,110.00)    (202,111.10)            -              -
        HEAR       HEAR          51221   5/31/2013 CBHQ   MEME      Meemee Media                             199,000 buy stock                             buy stock              USD           (141,529.27)    (145,067.50)            -              -
        HEAR       HEAR          51484   5/31/2013 WORK                                                               interest payment                     interest payment       USD                   -          3,531.71             -              -
        HEAR       HEAR          51485   5/31/2013 WORK                                                               interest payment                     interest payment       CAD                   -               -            244.19            -
        HEAR       HEAR          51658    6/3/2013 CBHQ   PLSB      Pulse Beverage                            10,000 buy stock                             buy stock              USD            (12,644.24)     (12,960.35)            -              -
        HEAR       HEAR         103974    6/3/2013 LOAN                                                               credit re L-WESU interest adjust     credit                 USD                   -         50,524.00             -              -
        HEAR       HEAR         103970    6/3/2013 LOAN   L-WESU    Quarry:Westwood:8%:3/6/20               (404,197) adjust loan interest                 corporate action out   USD                   -               -               -              -
        HEAR       HEAR          51713    6/3/2013 DGMI                                                               Paul Sexton TT                       debit                  USD            (30,046.00)     (30,346.46)            -              -
        HEAR       HEAR          51251    6/3/2013 LOAN   L-WESC    Quarry:Westwood:8%:3/6/20                 24,094 interest                              buy stock              CAD                   -               -         (3,012.00)           -
        HEAR       HEAR          51252    6/3/2013 LOAN   L-WESU    Quarry:Westwood:8%:3/6/20                286,704 interest                              buy stock              USD                   -        (35,838.00)            -              -
        HEAR       HEAR          51907    6/5/2013 LESH   PLSB      Pulse Beverage                           (20,830) sell stock                           sell stock             USD             24,861.85       24,240.30             -              -
        HEAR       HEAR          51940    6/5/2013 BSIT                                                               forex                                forex debit            USD           (222,817.30)    (225,045.47)            -              -
                                                                                                                                                                                                                                                           Date Filed: 02/18/2025




        HEAR       HEAR          51940    6/5/2013 BSIT                                                               forex                                forex credit           CAD            227,095.39             -        227,095.39            -
        HEAR       HEAR          51830    6/5/2013 BCHA   L-SOLC    CharterHouse:Solito Capital:6%:5/6/18    350,000 Solito Capital ck #29                 buy stock              CAD           (350,000.00)            -       (353,500.00)           -
        HEAR       HEAR          51995    6/6/2013 LESH   PLSB      Pulse Beverage                            (5,500) sell stock                           sell stock             USD              6,604.57        6,439.46             -              -
        HEAR       HEAR          51887    6/6/2013 CASH                                                               buy 100 gold coins                   debit                  CAD           (150,803.75)            -       (158,343.94)           -
        HEAR       HEAR          52030    6/7/2013 LESH   PLSB      Pulse Beverage                            (3,525) sell stock                           sell stock             USD              4,253.26        4,146.93             -              -
        HEAR       HEAR          52106   6/10/2013 LESH   PLSB      Pulse Beverage                            (1,625) sell stock                           sell stock             USD              1,946.32        1,846.32             -              -
        HEAR       HEAR          52230   6/12/2013 LESH   PLSB      Pulse Beverage                           (11,900) sell stock                           sell stock             USD             14,755.47       14,386.58             -              -
        HEAR       HEAR          52167   6/12/2013 WORK                                                               internal transfer                    debit                  USD                   -       (250,100.00)            -              -
        HEAR       HEAR          52279   6/14/2013 BCHA                                                               forex                                forex debit            USD           (150,000.00)    (151,500.00)            -              -
        HEAR       HEAR          52279   6/14/2013 BCHA                                                               forex                                forex credit           CAD            151,865.00             -        151,865.00            -
        HEAR       HEAR          52394   6/17/2013 WORK                                                               forex                                forex debit            USD                   -         (1,130.06)            -              -




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         Account    Account     Batch    Batch     Bank                                Symbol                                     Batch             Transaction      Currency    Cash Bank        Cash Acct        Cash Acct       Cash Acct
                                                           Symbol                                   Stock
          Code       Title       ID      Date      Code                               Description                               Description         Description       Code       (in Curr)         (USD)            (CAD)           (CHF)
        HEAR       HEAR          52394   6/17/2013 WORK                                                       forex                             forex credit        CAD                    -                -          1,140.09            -
                                                                                                                                                                                                                                               Case: 24-1770




        HEAR       HEAR          52335   6/17/2013 CASH                                                       buy 100 gold coins                debit               CAD            (146,507.50)             -       (153,832.88)           -
        HEAR       HEAR          52365   6/17/2013 BCHA                                                       City of Vernon ck #40             debit               CAD              (1,046.34)             -         (1,046.34)           -
        HEAR       HEAR          52357   6/17/2013 WORK                                                       forex                             forex debit         USD                    -          (1,950.57)            -              -
        HEAR       HEAR          52357   6/17/2013 WORK                                                       forex                             forex credit        CAD                    -                -          1,967.88            -
        HEAR       HEAR          52403   6/18/2013 SIL2                                                       Tige Boats TT                     debit               USD            (124,276.52)     (125,519.29)            -              -
        HEAR       HEAR          52470   6/19/2013 WORK                                                       internal transfer                 debit               USD                    -        (250,100.00)            -              -
        HEAR       HEAR          52548   6/20/2013 WORK                                                       internal transfer TUNG/HEAR       credit              USD                    -         450,000.00             -              -
        HEAR       HEAR          52549   6/20/2013 WORK                                                       internal transfer TUNG            debit               USD                    -        (112,500.00)            -              -
        HEAR       HEAR          52550   6/20/2013 WORK                                                       internal transfer TUNG            debit               USD                    -        (112,500.00)            -              -
        HEAR       HEAR          52552   6/20/2013 WORK                                                       internal transfer                 credit              USD                    -          24,000.00             -              -
        HEAR       HEAR          52601   6/21/2013 BSIT                                                       forex                             forex debit         USD              (9,038.83)       (9,129.22)            -              -
        HEAR       HEAR          52601   6/21/2013 BSIT                                                       forex                             forex credit        CAD               9,309.99              -          9,309.99            -
        HEAR       HEAR          52590   6/21/2013 BSIT   ARW       Aroway Minerals                  699,158 buy stock                          buy stock           CAD                    -                -        (10,444.08)           -
        HEAR       HEAR          52710   6/25/2013 WORK                                                       internal transfer                 debit               USD                    -         (33,100.00)            -              -
        HEAR       HEAR          62612   6/26/2013 LOAN   L-SX2C    Quarry:Sexton:3%:30/6/17          93,000 interest                           buy stock           CAD                    -                -        (31,000.00)           -
        HEAR       HEAR          53523   6/28/2013 SIL2                                                       forex                             forex debit         USD              (5,506.09)       (5,561.15)            -              -
        HEAR       HEAR          53523   6/28/2013 SIL2                                                       forex                             forex credit        CAD               5,771.61              -          5,771.61            -
        HEAR       HEAR          52855   6/28/2013 BCHA                                                       Vancouver Police Fdn draft        debit               CAD              (5,007.50)             -         (5,107.50)           -
        HEAR       HEAR          52921   6/29/2013 WORK                                                       custody fees                      debit               USD                    -          (1,134.10)            -              -
        HEAR       HEAR          52922   6/29/2013 WORK                                                       custody fees                      debit               CAD                    -                -           (713.22)           -
        HEAR       HEAR          53216   6/29/2013 WORK                                                       interest payment                  interest payment    USD                    -           2,504.15             -              -
        HEAR       HEAR          53217   6/29/2013 WORK                                                       interest payment                  interest payment    CAD                    -                -             41.61            -
        HEAR       HEAR          53693    7/1/2013 BCHA                                                       forex                             forex debit         USD                  (7.21)           (7.28)            -              -
        HEAR       HEAR          53693    7/1/2013 BCHA                                                       forex                             forex credit        CAD                   7.50              -              7.50            -
                                                                                                                                                                                                                                               Document: 00118249068




        HEAR       HEAR          53894   7/11/2013 DGMI                                                       forex                             forex debit         USD            (277,737.26)     (280,514.63)            -              -
        HEAR       HEAR          53894   7/11/2013 DGMI                                                       forex                             forex credit        CAD             291,697.88              -        291,697.88            -
        HEAR       HEAR          53822   7/11/2013 CASH                                                       buy 200 gold coins                debit               CAD            (277,807.50)             -       (291,697.88)           -
        HEAR       HEAR          53921   7/15/2013 DGMI                                                       Paul Sexton TT                    debit               USD             (20,035.00)      (20,235.35)            -              -
        HEAR       HEAR          54263   7/24/2013 WORK                                                       PDX                               debit               CAD                    -                -            (20.00)           -
        HEAR       HEAR          54339   7/24/2013 WORK                                                       forex                             forex debit         USD                    -             (19.64)            -              -
        HEAR       HEAR          54339   7/24/2013 WORK                                                       forex                             forex credit        CAD                    -                -             20.00            -
        HEAR       HEAR          54295   7/25/2013 WORK                                                       internal transfer TUNG            debit               USD                    -        (200,000.00)            -              -
        HEAR       HEAR          54293   7/25/2013 WORK                                                       internal transfer TUNG            credit              USD                    -         800,000.00             -              -
        HEAR       HEAR          54297   7/25/2013 WORK                                                       internal transfer TUNG            debit               USD                    -        (200,000.00)            -              -
        HEAR       HEAR          54296   7/25/2013 BSIT                                                       Continental Stock TT              credit              USD           1,170,740.65     1,170,740.65             -              -




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        HEAR       HEAR          54306   7/25/2013 WORK                                                       internal transfer                 credit              USD                    -         375,000.00             -              -
                                                                                                                                                                                                                                               Page: 157




        HEAR       HEAR          54381   7/26/2013 VPQU   SCA       Savary Gold                      (10,000) sell stock                        sell stock          CAD                 608.84              -            508.84            -
        HEAR       HEAR          54480   7/29/2013 DGMN   RGR       Regal Resources                 (182,500) internal transfer                 stock delivery      CAD                    -                -           (100.00)           -
        HEAR       HEAR          54480   7/29/2013 HELH   RGR       Regal Resources                  182,500 internal transfer                  transfer stock in   CAD                    -                -               -              -
        HEAR       HEAR          54600   7/31/2013 WORK                                                       internal transfer                 credit              USD                    -         500,000.00             -              -
        HEAR       HEAR          54867   7/31/2013 WORK                                                       interest payment                  interest payment    USD                    -           2,719.77             -              -
        HEAR       HEAR          54868   7/31/2013 WORK                                                       interest payment                  interest payment    CAD                    -                -              0.07            -
        HEAR       HEAR          55160    8/2/2013 WORK                                                       forex                             forex debit         USD                    -             (90.20)            -              -
        HEAR       HEAR          55160    8/2/2013 WORK                                                       forex                             forex credit        CAD                    -                -             91.09            -
        HEAR       HEAR          55104    8/5/2013 WORK                                                       Neave incorp                      debit               CAD                    -                -           (500.00)           -
        HEAR       HEAR          55273    8/7/2013 WORK                                                       forex                             forex debit         USD                    -            (495.10)            -              -
        HEAR       HEAR          55273    8/7/2013 WORK                                                       forex                             forex credit        CAD                    -                -            500.00            -
        HEAR       HEAR          55369   8/12/2013 CASH                                                       debit                             debit               CAD             (10,000.00)             -        (10,500.00)           -
        HEAR       HEAR          55397   8/12/2013 WORK                                                       forex                             forex debit         USD                    -         (10,397.06)            -              -
        HEAR       HEAR          55397   8/12/2013 WORK                                                       forex                             forex credit        CAD                    -                -         10,500.00            -
        HEAR       HEAR          55432   8/13/2013 BSIT                                                       DF Gurney TT                      debit               CAD            (297,872.02)             -       (300,850.74)           -
        HEAR       HEAR          89803   8/13/2013 LOAN   L-NEAC    Charterhouse:Neave:3%:Demand     297,872 loan advance                       buy stock           CAD                    -                -           (100.00)           -
        HEAR       HEAR          55433   8/13/2013 WORK                                                       forex                             forex debit         USD                    -        (297,901.22)            -              -
        HEAR       HEAR          55433   8/13/2013 WORK                                                       forex                             forex credit        CAD                    -                -        300,850.74            -
        HEAR       HEAR          55557   8/18/2013 WORK                                                       Heartland Fdn 13 fees             debit               USD                    -          (3,500.00)            -              -
        HEAR       HEAR          55659   8/21/2013 WORK                                                       internal transfer                 credit              USD                    -         600,000.00             -              -
        HEAR       HEAR          56979   8/26/2013 HYPP                                                       delivery ARW                      debit               USD                (199.31)         (299.31)            -              -
        HEAR       HEAR          55904   8/29/2013 SIL2                                                       Paul Sexton TT                    debit               USD             (30,032.60)      (30,332.93)            -              -
                                                                                                                                                                                                                                               Date Filed: 02/18/2025




        HEAR       HEAR          56139   8/31/2013 WORK                                                       interest payment                  interest payment    USD                    -           4,265.36             -              -
        HEAR       HEAR          56140   8/31/2013 WORK                                                       interest payment                  interest payment    CAD                    -                -              0.39            -
        HEAR       HEAR          56363    9/4/2013 CBHQ   MEME      Meemee Media                    (447,000) internal transfer                 stock delivery      USD                (229.19)         (329.19)            -              -
        HEAR       HEAR          56363    9/4/2013 VPQU   MEME      Meemee Media                     447,000 internal transfer                  transfer stock in   USD                    -                -               -              -
        HEAR       HEAR          56446    9/4/2013 BSIT                                                       forex                             forex debit         USD              (9,596.55)       (9,692.52)            -              -
        HEAR       HEAR          56446    9/4/2013 BSIT                                                       forex                             forex credit        CAD               9,999.61              -          9,999.61            -
        HEAR       HEAR          56410    9/4/2013 CASH                                                       debit                             debit               CAD             (10,000.00)             -        (10,500.00)           -
        HEAR       HEAR          56660   9/10/2013 WORK                                                       forex                             forex debit         USD                    -        (116,103.18)            -              -
        HEAR       HEAR          56660   9/10/2013 WORK                                                       forex                             forex credit        CAD                    -                -        119,743.38            -
        HEAR       HEAR          56814   9/12/2013 BSIT                                                       forex                             forex debit         USD          (1,152,994.18)   (1,164,524.12)            -              -
        HEAR       HEAR          56814   9/12/2013 BSIT                                                       forex                             forex credit        CAD           1,183,317.93              -      1,183,317.93            -




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         Account    Account     Batch   Batch     Bank                               Symbol                                                Batch             Transaction     Currency     Cash Bank        Cash Acct       Cash Acct        Cash Acct
                                                          Symbol                                           Stock
          Code       Title       ID     Date      Code                              Description                                          Description         Description      Code        (in Curr)         (USD)           (CAD)            (CHF)
        HEAR       HEAR          56884 9/16/2013 XPHO                                                                replace xphone                      debit              USD                     -           (300.00)             -              -
                                                                                                                                                                                                                                                        Case: 24-1770




        HEAR       HEAR          56995 9/17/2013 BSIT    L-SX3C    CityGroup:Sexton: 6%: 27/02/18         1,226,611 DF Gurney TT                         buy stock          CAD           (1,226,611.48)            -      (1,238,877.58)           -
        HEAR       HEAR          57159 9/20/2013 WORK                                                                internal transfer GRWD              debit              USD                     -       (100,100.00)             -              -
        HEAR       HEAR          57224 9/23/2013 WORK                                                                internal transfer                   credit             USD                     -        200,000.00              -              -
        HEAR       HEAR          57439 9/27/2013 CASH                                                                debit                               debit              CAD              (30,000.00)            -         (31,500.00)           -
        HEAR       HEAR          57505 9/30/2013 SIL2                                                                Paul Sexton TT                      debit              USD              (20,035.78)     (20,236.14)             -              -
        HEAR       HEAR          57698 9/30/2013 WORK                                                                custody fees                        debit              USD                     -         (1,995.67)             -              -
        HEAR       HEAR          57699 9/30/2013 WORK                                                                custody fees                        debit              CAD                     -               -            (846.88)           -
        HEAR       HEAR          57868 9/30/2013 WORK                                                                interest payment                    interest payment   USD                     -          3,659.54              -              -
        HEAR       HEAR          57869 9/30/2013 WORK                                                                interest payment                    interest payment   CAD                     -               -             200.46            -
        HEAR       HEAR          58299 10/8/2013 CASH                                                                debit                               debit              CAD              (10,000.00)            -         (10,500.00)           -
        HEAR       HEAR          58556 10/15/2013 WORK                                                               forex                               forex debit        USD                     -           (492.82)             -              -
        HEAR       HEAR          58556 10/15/2013 WORK                                                               forex                               forex credit       CAD                     -               -             503.03            -
        HEAR       HEAR          58516 10/15/2013 CASH                                                               debit                               debit              CAD              (20,000.00)            -         (21,000.00)           -
        HEAR       HEAR          58879 10/24/2013 BSIT                                                               forex                               forex debit        USD             (101,892.29)    (102,911.21)             -              -
        HEAR       HEAR          58879 10/24/2013 BSIT                                                               forex                               forex credit       CAD              105,000.00             -         105,000.00            -
        HEAR       HEAR          58945 10/25/2013 CASH                                                               debit                               debit              CAD             (100,000.00)            -        (105,000.00)           -
        HEAR       HEAR          59003 10/28/2013 WORK                                                               internal transfer                   debit              USD                     -       (250,100.00)             -              -
        HEAR       HEAR          59092 10/30/2013 SIL2                                                               Manx Motors TT                      debit              USD              (30,053.84)     (30,354.38)             -              -
        HEAR       HEAR          59059 10/30/2013 SIL2                                                               Paul Sexton TT                      debit              USD              (20,033.00)     (20,233.33)             -              -
        HEAR       HEAR          59398 10/31/2013 WORK                                                               interest payment                    interest payment   USD                     -          3,391.12              -              -
        HEAR       HEAR          59399 10/31/2013 WORK                                                               interest payment                    interest payment   CAD                     -               -              12.75            -
        HEAR       HEAR          59743 11/6/2013 LELO                                                                TGS Capital TT                      debit              USD             (350,200.00)    (353,702.00)             -              -
        HEAR       HEAR          59744 11/6/2013 SIL2                                                                Paul Sexton TT                      debit              USD              (10,027.00)     (10,127.27)             -              -
        HEAR       HEAR          62611 11/15/2013 LOAN   L-SX1C    Quarry:Sexton:6%:15/11/12                178,009 interest                             buy stock          CAD                     -               -         (29,668.00)           -
                                                                                                                                                                                                                                                        Document: 00118249068




        HEAR       HEAR          60130 11/15/2013 WORK                                                               forex                               forex debit        USD                     -        (10,168.44)             -              -
        HEAR       HEAR          60130 11/15/2013 WORK                                                               forex                               forex credit       CAD                     -               -          10,487.25            -
        HEAR       HEAR          60036 11/15/2013 CASH                                                               debit                               debit              CAD              (10,000.00)            -         (10,500.00)           -
        HEAR       HEAR          60122 11/19/2013 WORK                                                               internal transfer                   debit              USD                     -       (250,100.00)             -              -
        HEAR       HEAR          60123 11/19/2013 WORK                                                               internal transfer                   debit              USD                     -       (400,100.00)             -              -
        HEAR       HEAR          60242 11/21/2013 VPQU   L-SSSC    Secure Self Storage: 3%: 21/11/13        900,000 DF Gurney TT                         buy stock          CAD             (900,000.00)            -        (927,000.00)           -
        HEAR       HEAR          60284 11/21/2013 VPQU                                                               forex                               forex debit        USD             (879,831.27)    (897,427.89)             -              -
        HEAR       HEAR          60284 11/21/2013 VPQU                                                               forex                               forex credit       CAD              927,000.00             -         927,000.00            -
        HEAR       HEAR          60310 11/22/2013 LOAN   L-SKAC    Coventry:My Second Home:18%:19/4/12   (1,305,500) loan adjust                         sell stock         CAD                     -               -                -              -
        HEAR       HEAR          60577 11/29/2013 SIL2                                                               Phenom Ventures TT                  debit              USD              (75,053.74)     (75,804.28)             -              -
        HEAR       HEAR          60780 11/30/2013 WORK                                                               interest payment                    interest payment   USD                     -          2,286.20              -              -




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        HEAR       HEAR          61247 12/9/2013 SIL2                                                                Paul Sexton TT                      debit              USD              (15,027.18)     (15,177.45)             -              -
                                                                                                                                                                                                                                                        Page: 158




        HEAR       HEAR          61518 12/13/2013 SIL2                                                               forex                               forex debit        USD              (60,424.83)     (61,029.08)             -              -
        HEAR       HEAR          61518 12/13/2013 SIL2                                                               forex                               forex credit       CAD               63,000.00             -          63,000.00            -
        HEAR       HEAR          61433 12/13/2013 CASH                                                               debit                               debit              CAD              (60,000.00)            -         (63,000.00)           -
        HEAR       HEAR          61487 12/16/2013 WORK                                                               internal transfer                   credit             USD                     -        250,000.00              -              -
        HEAR       HEAR          61490 12/16/2013 WORK                                                               internal transfer                   credit             USD                     -        500,000.00              -              -
        HEAR       HEAR          61496 12/16/2013 WORK                                                               internal transfer                   credit             USD                     -        245,000.00              -              -
        HEAR       HEAR          61802 12/20/2013 SIL2                                                               Nova Trek Capital TT                debit              USD             (450,054.10)    (454,554.64)             -              -
        HEAR       HEAR          61911 12/26/2013 LENO                                                               Nova Trek Capital TT                debit              USD             (370,940.00)    (380,213.50)             -              -
        HEAR       HEAR          62158 12/31/2013 WORK                                                               custody fees                        debit              USD                     -         (1,441.40)             -              -
        HEAR       HEAR          62159 12/31/2013 WORK                                                               custody fees                        debit              CAD                     -               -            (688.59)           -
        HEAR       HEAR          62319 12/31/2013 WORK                                                               interest payment                    interest payment   USD                     -          1,592.15              -              -
        HEAR       HEAR          62528   1/2/2014 LENO                                                               forex                               forex debit        USD                 (659.88)        (666.48)             -              -
        HEAR       HEAR          62528   1/2/2014 LENO                                                               forex                               forex credit       CAD                  688.59             -             688.59            -
        HEAR       HEAR          62653   1/3/2014 LENO                                                               forex                               forex debit        USD              (47,578.27)     (48,054.05)             -              -
        HEAR       HEAR          62653   1/3/2014 LENO                                                               forex                               forex credit       CAD               50,000.00             -          50,000.00            -
        HEAR       HEAR          62579   1/7/2014 LENO                                                               Paradise Island Vacation TT         debit              USD              (30,200.00)     (30,955.00)             -              -
        HEAR       HEAR          62741   1/8/2014 VPQU   MEME      Meemee Media                             (40,000) sell stock                          sell stock         USD               27,620.00       26,653.30              -              -
        HEAR       HEAR          62693   1/8/2014 VPQU                                                               delivery MEME                       debit              USD                 (122.66)        (222.66)             -              -
        HEAR       HEAR          62764   1/8/2014 WORK                                                               forex                               forex debit        USD                     -        (32,305.26)             -              -
        HEAR       HEAR          62764   1/8/2014 WORK                                                               forex                               forex credit       CAD                     -               -          34,027.03            -
        HEAR       HEAR          62702   1/8/2014 BCHA                                                               forex                               forex debit        CAD              (22,027.50)            -         (23,359.03)           -
        HEAR       HEAR          62702   1/8/2014 CASH                                                               forex                               forex credit       USD               20,000.00       21,000.00              -              -
                                                                                                                                                                                                                                                        Date Filed: 02/18/2025




        HEAR       HEAR          62711   1/8/2014 CASH                                                               debit                               debit              USD              (20,000.00)     (21,000.00)             -              -
        HEAR       HEAR          62818   1/9/2014 VPQU   MEME      Meemee Media                             (21,000) sell stock                          sell stock         USD               15,274.10       14,739.51              -              -
        HEAR       HEAR          62797   1/9/2014 LENO                                                               Paul Sexton TT                      debit              USD              (20,100.00)     (20,602.50)             -              -
        HEAR       HEAR          62872 1/10/2014 VPQU    MEME      Meemee Media                             (25,000) sell stock                          sell stock         USD               17,002.50       16,407.41              -              -
        HEAR       HEAR          62929 1/13/2014 VPQU    MEME      Meemee Media                             (19,000) sell stock                          sell stock         USD               12,538.80       12,099.94              -              -
        HEAR       HEAR          62968 1/14/2014 VPQU    MEME      Meemee Media                             (20,000) sell stock                          sell stock         USD               13,066.00       12,608.69              -              -
        HEAR       HEAR          62997 1/15/2014 VPQU    MEME      Meemee Media                             (16,950) sell stock                          sell stock         USD               10,546.30       10,177.18              -              -
        HEAR       HEAR          63034 1/16/2014 VPQU    MEME      Meemee Media                              (4,000) sell stock                          sell stock         USD                2,295.60        2,195.60              -              -
        HEAR       HEAR          63072 1/17/2014 SIQU    MEME      Meemee Media                             (20,000) sell stock                          sell stock         USD               10,592.00       10,221.28              -              -
        HEAR       HEAR          63043 1/17/2014 LEMI                                                                Peak Strategies TT                  debit              CAD              (38,200.00)            -         (38,582.00)           -
        HEAR       HEAR          63045 1/17/2014 WORK                                                                forex                               forex debit        USD                     -        (35,850.39)             -              -




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         Account    Account     Batch    Batch     Bank                                Symbol                                         Batch              Transaction     Currency     Cash Bank        Cash Acct        Cash Acct        Cash Acct
                                                           Symbol                                      Stock
          Code       Title       ID      Date      Code                               Description                                   Description          Description      Code        (in Curr)         (USD)            (CAD)            (CHF)
        HEAR       HEAR          63045   1/17/2014 WORK                                                          forex                               forex credit       CAD                     -                -          38,582.00            -
                                                                                                                                                                                                                                                     Case: 24-1770




        HEAR       HEAR          63101   1/21/2014 SIQU   MEME      Meemee Media                        (20,000) sell stock                          sell stock         USD               11,392.00        10,993.28              -              -
        HEAR       HEAR          63153   1/22/2014 SIQU   MEME      Meemee Media                         (1,000) sell stock                          sell stock         USD                  456.00           356.00              -              -
        HEAR       HEAR          63195   1/23/2014 SIQU   MEME      Meemee Media                         (6,000) sell stock                          sell stock         USD                3,137.00         3,027.20              -              -
        HEAR       HEAR          63360   1/29/2014 SIQU   MEME      Meemee Media                        (10,000) sell stock                          sell stock         USD                4,924.25         4,751.90              -              -
        HEAR       HEAR          63400   1/30/2014 SIQU   MEME      Meemee Media                        (10,000) sell stock                          sell stock         USD                4,949.00         4,775.78              -              -
        HEAR       HEAR          63422   1/30/2014 WORK                                                          forex                               forex debit        USD                     -         (17,323.88)             -              -
        HEAR       HEAR          63422   1/30/2014 WORK                                                          forex                               forex credit       CAD                     -                -          19,058.17            -
        HEAR       HEAR          63389   1/30/2014 TDCH                                                          Airfares                            debit              CAD              (18,869.48)             -         (19,058.17)           -
        HEAR       HEAR          63644   1/31/2014 WORK                                                          interest payment                    interest payment   USD                     -           1,434.71              -              -
        HEAR       HEAR          63645   1/31/2014 WORK                                                          interest charge                     interest charge    CAD                     -                -            (115.31)           -
        HEAR       HEAR          63951    2/1/2014 WORK                                                          forex                               forex debit        USD                     -            (105.25)             -              -
        HEAR       HEAR          63951    2/1/2014 WORK                                                          forex                               forex credit       CAD                     -                -             115.31            -
        HEAR       HEAR          63846    2/3/2014 SIQU   MEME      Meemee Media                         (6,500) sell stock                          sell stock         USD                3,246.20         3,132.58              -              -
        HEAR       HEAR          63926    2/4/2014 SIQU   MEME      Meemee Media                         (2,900) sell stock                          sell stock         USD                1,353.77         1,253.77              -              -
        HEAR       HEAR          63904    2/4/2014 LEMI                                                          Paul Sexton TT                      debit              USD              (20,100.00)      (20,301.00)             -              -
        HEAR       HEAR          64106    2/7/2014 SIQU   MEME      Meemee Media                        (10,000) sell stock                          sell stock         USD                4,850.00         4,680.25              -              -
        HEAR       HEAR          64221   2/12/2014 SIQU   MEME      Meemee Media                        (10,000) sell stock                          sell stock         USD                4,949.00         4,775.78              -              -
        HEAR       HEAR          64185   2/12/2014 CASH                                                          debit                               debit              USD              (18,750.00)      (19,687.50)             -              -
        HEAR       HEAR          64329   2/17/2014 CASH                                                          debit                               debit              CAD              (20,000.00)             -         (21,000.00)           -
        HEAR       HEAR          64337   2/17/2014 LEPE                                                          forex                               forex debit        USD              (32,727.88)      (33,055.16)             -              -
        HEAR       HEAR          64337   2/17/2014 CASH                                                          forex                               forex credit       CAD               34,900.00              -          34,900.00            -
        HEAR       HEAR          64581   2/24/2014 LELO                                                          Blackrock Media TT                  debit              USD             (500,200.00)     (505,202.00)             -              -
        HEAR       HEAR          64909   2/28/2014 LEMI                                                          Paul Sexton TT                      debit              USD              (20,100.00)      (20,301.00)             -              -
        HEAR       HEAR          64989   2/28/2014 WORK                                                          interest payment                    interest payment   USD                     -           1,199.22              -              -
                                                                                                                                                                                                                                                     Document: 00118249068




        HEAR       HEAR          64990   2/28/2014 WORK                                                          interest payment                    interest payment   CAD                     -                -               4.57            -
        HEAR       HEAR          65414    3/7/2014 WORK                                                          internal transfer                   credit             USD                     -         223,000.00              -              -
        HEAR       HEAR          66304   3/13/2014 BEAB                                                          Continental TT Happy Baby           credit             USD               20,513.20        20,513.20              -              -
        HEAR       HEAR          65673   3/13/2014 WORK                                                          internal transfer                   credit             USD                     -         250,000.00              -              -
        HEAR       HEAR          65907   3/19/2014 WORK                                                          Heartmore Heartland Fdn 14 fees     debit              USD                     -          (6,000.00)             -              -
        HEAR       HEAR          66602   3/31/2014 WORK                                                          custody fees                        debit              USD                     -          (1,103.82)             -              -
        HEAR       HEAR          66603   3/31/2014 WORK                                                          custody fees                        debit              CAD                     -                -            (806.26)           -
        HEAR       HEAR          66761   3/31/2014 WORK                                                          interest payment                    interest payment   USD                     -           1,229.25              -              -
        HEAR       HEAR          66762   3/31/2014 WORK                                                          interest payment                    interest payment   CAD                     -                -              11.81            -
        HEAR       HEAR          67243    4/1/2014 WORK                                                          forex                               forex debit        USD                     -          (2,305.45)             -              -
        HEAR       HEAR          67243    4/1/2014 WORK                                                          forex                               forex credit       CAD                     -                -           2,580.38            -




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        HEAR       HEAR          67097    4/4/2014 LOAN   L-SX3C    CityGroup:Sexton: 6%: 04/04/18       94,143 interest                             buy stock          CAD                     -                -         (15,690.50)           -
                                                                                                                                                                                                                                                     Page: 159




        HEAR       HEAR          67223    4/7/2014 SGPE                                                          Paul Sexton TT                      debit              USD              (20,000.00)      (20,300.00)             -              -
        HEAR       HEAR          67286    4/9/2014 SGGO                                                          Growth Equities TT                  debit              USD              (50,100.00)      (50,701.00)             -              -
        HEAR       HEAR          67337    4/9/2014 REST   OVX-E     Oculus Ventures                  (3,582,000) deliver stock                       stock delivery     CAD                     -                -            (100.00)           -
        HEAR       HEAR          67612    4/9/2014 WORK                                                          forex                               forex debit        USD                     -             (91.91)             -              -
        HEAR       HEAR          67612    4/9/2014 WORK                                                          forex                               forex credit       CAD                     -                -             100.00            -
        HEAR       HEAR          75800   4/16/2014 SIQU                                                          delivery MEME                       debit              USD                 (230.00)         (430.00)             -              -
        HEAR       HEAR          67705   4/17/2014 WORK                                                          forex                               forex debit        USD                     -            (231.05)             -              -
        HEAR       HEAR          67705   4/17/2014 WORK                                                          forex                               forex credit       CAD                     -                -             245.00            -
        HEAR       HEAR          67652   4/17/2014 WORK                                                          Predator 13/14 fees                 debit              CAD                     -                -            (245.00)           -
        HEAR       HEAR          68012   4/29/2014 CASH                                                          debit                               debit              CAD              (50,000.00)             -         (52,500.00)           -
        HEAR       HEAR          68023   4/29/2014 WORK                                                          Brooks Lane 13 fees                 debit              CAD                     -                -            (122.50)           -
        HEAR       HEAR          68030   4/29/2014 WORK                                                          forex                               forex debit        USD                     -         (48,365.34)             -              -
        HEAR       HEAR          68030   4/29/2014 WORK                                                          forex                               forex credit       CAD                     -                -          52,622.50            -
        HEAR       HEAR          68329   4/30/2014 WORK                                                          interest payment                    interest payment   USD                     -           1,259.75              -              -
        HEAR       HEAR          68330   4/30/2014 WORK                                                          interest payment                    interest payment   CAD                     -                -               1.29            -
        HEAR       HEAR          68494    5/1/2014 LELO                                                          TGS Capital TT                      debit              USD             (150,200.00)     (151,702.00)             -              -
        HEAR       HEAR          68496    5/1/2014 LEMI                                                          Paul Sexton TT                      debit              USD              (20,100.00)      (20,301.00)             -              -
        HEAR       HEAR          68541    5/2/2014 WORK                                                          internal transfer                   credit             USD                     -         987,000.00              -              -
        HEAR       HEAR          68625    5/5/2014 CASH                                                          debit                               debit              CAD              (20,000.00)             -         (21,000.00)           -
        HEAR       HEAR          68688    5/5/2014 WORK                                                          forex                               forex debit        USD                     -         (19,512.00)             -              -
        HEAR       HEAR          68688    5/5/2014 WORK                                                          forex                               forex credit       CAD                     -                -          20,998.71            -
        HEAR       HEAR          68739    5/8/2014 BCHA                                                          Predator Ridge Golf ck #205         debit              CAD               (5,000.00)             -          (5,100.00)           -
                                                                                                                                                                                                                                                     Date Filed: 02/18/2025




        HEAR       HEAR          68816    5/8/2014 WORK                                                          forex                               forex debit        USD                     -            (938.92)             -              -
        HEAR       HEAR          68816    5/8/2014 WORK                                                          forex                               forex credit       CAD                     -                -           1,005.00            -
        HEAR       HEAR          69005   5/14/2014 SGPE                                                          forex                               forex debit        USD           (1,113,482.42)   (1,124,717.24)             -              -
        HEAR       HEAR          69005   5/14/2014 SGPE                                                          forex                               forex credit       CAD            1,200,000.00              -       1,200,000.00            -
        HEAR       HEAR          68908   5/14/2014 SGPE                                                          James L Davidson TT Stor-It         debit              CAD           (1,200,000.00)             -      (1,212,100.00)           -
        HEAR       HEAR          69049   5/14/2014 WORK                                                          forex                               forex debit        USD                     -        (596,480.12)             -              -
        HEAR       HEAR          69049   5/14/2014 WORK                                                          forex                               forex credit       CAD                     -                -         638,458.79            -
        HEAR       HEAR          68910   5/14/2014 BCHA   L-SITC    Charterhouse:Stor-It:6%:Demand    1,900,000 James L Davidson draft               buy stock          CAD             (700,003.75)             -        (707,003.79)           -
        HEAR       HEAR          68917   5/14/2014 BCHA                                                          forex                               forex debit        USD              (80,000.00)      (80,800.00)             -              -
        HEAR       HEAR          68917   5/14/2014 CASH                                                          forex                               forex credit       CAD               84,740.00              -          84,740.00            -
        HEAR       HEAR          69026   5/19/2014 LELO                                                          Gottbetter & Partner TT             debit              USD             (200,200.00)     (202,202.00)             -              -




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         Account    Account     Batch   Batch     Bank                                Symbol                                       Batch             Transaction      Currency     Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                    Stock
          Code       Title       ID     Date      Code                               Description                                 Description         Description       Code        (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          69280 5/28/2014 SGPE                                                         The Jewelers TT                    debit               USD              (7,700.00)      (7,900.00)            -              -
                                                                                                                                                                                                                                               Case: 24-1770




        HEAR       HEAR          69273 5/28/2014 WORK                                                         internal transfer                  credit              USD                    -         33,750.00             -              -
        HEAR       HEAR          69275 5/28/2014 WORK                                                         internal transfer                  credit              USD                    -         52,000.00             -              -
        HEAR       HEAR          69283 5/28/2014 WORK                                                         director fee                       debit               USD                    -           (500.00)            -              -
        HEAR       HEAR          69631 5/29/2014 WORK                                                         interest payment                   interest payment    USD                    -            928.52             -              -
        HEAR       HEAR          69632 5/29/2014 WORK                                                         interest charge                    interest charge     CAD                    -               -            (16.16)           -
        HEAR       HEAR          69312 5/30/2014 BSIB                                                         Pacific Hunt Energy TT             debit               USD              (8,979.03)      (9,179.03)            -              -
        HEAR       HEAR          69371 5/30/2014 SGPE                                                         Raymond Chu TT                     debit               USD            (137,500.00)    (138,975.00)            -              -
        HEAR       HEAR          69372 5/30/2014 WORK                                                         director fee                       debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          69777 5/30/2014 WORK                                                         internal transfer SURE             debit               USD                    -        (27,978.86)            -              -
        HEAR       HEAR          70188   6/1/2014 WORK                                                        forex                              forex debit         USD                    -            (15.18)            -              -
        HEAR       HEAR          70188   6/1/2014 WORK                                                        forex                              forex credit        CAD                    -               -             16.16            -
        HEAR       HEAR          70210   6/3/2014 LOAN   L-WESU    Quarry:Westwood:8%:3/6/20         309,640 interest                            buy stock           USD                    -        (38,705.00)            -              -
        HEAR       HEAR          70209   6/3/2014 LOAN   L-WESC    Quarry:Westwood:8%:3/6/20          26,021 interest                            buy stock           CAD                    -               -         (3,253.00)           -
        HEAR       HEAR          69933   6/4/2014 WORK                                                        internal transfer                  credit              USD                    -         60,000.00             -              -
        HEAR       HEAR          70302   6/5/2014 LOAN   L-SX2C    Charterhouse:Sexton:3%:30/6/17     90,279 interest                            buy stock           CAD                    -               -        (30,093.00)           -
        HEAR       HEAR          88896   6/5/2014 LOAN   L-SOLC    Charterhouse:Solito:6%              3,500 interest                            buy stock           CAD                    -               -           (100.00)           -
        HEAR       HEAR          70315   6/5/2014 LOAN   L-SX1C    Charterhouse:Sexton:6%:Demand     103,909 interest                            buy stock           CAD                    -               -        (17,318.00)           -
        HEAR       HEAR         101224   6/5/2014 LOAN   L-SOLC    Charterhouse:Solito:6%             17,500 interest                            buy stock           CAD                    -               -               -              -
        HEAR       HEAR          70651   6/9/2014 LEMI                                                        forex                              forex debit         USD                (214.51)        (216.66)            -              -
        HEAR       HEAR          70651   6/9/2014 LEMI                                                        forex                              forex credit        CAD                 230.90             -            230.90            -
        HEAR       HEAR          70041   6/9/2014 LEBU                                                        Paul Sexton TT                     debit               USD             (25,100.00)     (25,351.00)            -              -
        HEAR       HEAR          70325 6/13/2014 STEL                                                         forex                              forex debit         USD             (30,248.13)     (30,550.61)            -              -
        HEAR       HEAR          70325 6/13/2014 STEL                                                         forex                              forex credit        CAD              32,987.10             -         32,987.10            -
        HEAR       HEAR          70373 6/16/2014 VPQU                                                         Euro-American Securities TT        debit               USD              (1,968.65)      (2,068.65)            -              -
                                                                                                                                                                                                                                               Document: 00118249068




        HEAR       HEAR          70570 6/18/2014 SGPE                                                         forex                              forex debit         USD             (16,543.87)     (16,809.31)            -              -
        HEAR       HEAR          70570 6/18/2014 CASH                                                         forex                              forex credit        CAD              17,446.00             -         17,446.00            -
        HEAR       HEAR          73640 6/27/2014 WORK                                                         custody fees                       debit               USD                    -           (828.47)            -              -
        HEAR       HEAR          73641 6/27/2014 WORK                                                         custody fees                       debit               CAD                    -               -           (676.45)           -
        HEAR       HEAR          73979 6/27/2014 WORK                                                         interest payment                   interest payment    USD                    -            110.74             -              -
        HEAR       HEAR          73980 6/27/2014 WORK                                                         interest charge                    interest charge     CAD                    -               -           (327.56)           -
        HEAR       HEAR          74145 6/30/2014 LEMI                                                         forex                              forex debit         USD              (3,048.74)      (3,079.23)            -              -
        HEAR       HEAR          74145 6/30/2014 LEMI                                                         forex                              forex credit        CAD               3,253.01             -          3,253.01            -
        HEAR       HEAR          70307 6/30/2014 LOAN    L-SX2C    Charterhouse:Sexton:3%:30/6/17      6,746 interest                            buy stock           CAD                    -               -         (2,249.00)           -
        HEAR       HEAR          74291   7/3/2014 SGPE                                                        Paul Sexton TT                     debit               USD             (20,000.00)     (20,300.00)            -              -
        HEAR       HEAR          74340   7/7/2014 WORK                                                        internal transfer                  credit              USD                    -         85,000.00             -              -




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        HEAR       HEAR          75651   7/9/2014 LEMI   ARW       Aroway Minerals                  (115,000) internal transfer                  stock delivery      CAD                    -               -           (100.00)           -
                                                                                                                                                                                                                                               Page: 160




        HEAR       HEAR          75651   7/9/2014 BEAG   ARW       Aroway Minerals                   115,000 internal transfer                   transfer stock in   CAD                    -               -               -              -
        HEAR       HEAR          75245 7/31/2014 WORK                                                         interest payment                   interest payment    USD                    -            140.06             -              -
        HEAR       HEAR          75246 7/31/2014 WORK                                                         interest charge                    interest charge     CAD                    -               -             (1.32)           -
        HEAR       HEAR          75729   8/1/2014 WORK                                                        forex                              forex debit         USD                    -            (93.80)            -              -
        HEAR       HEAR          75729   8/1/2014 WORK                                                        forex                              forex credit        CAD                    -               -            101.32            -
        HEAR       HEAR          75556   8/7/2014 SGPE                                                        Paul Sexton TT                     debit               USD             (20,000.00)     (20,300.00)            -              -
        HEAR       HEAR          89804 8/13/2014 LOAN    L-NEAC    Charterhouse:Neave:3%:Demand        8,936 interest                            buy stock           CAD                    -               -        (29,879.00)           -
        HEAR       HEAR          75994 8/20/2014 BCHA                                                         McCarthy Tetrault TT               credit              CAD             358,200.00             -        358,200.00            -
        HEAR       HEAR          76135 8/21/2014 WORK                                                         forex                              forex debit         CAD                    -               -       (145,727.11)           -
        HEAR       HEAR          76135 8/21/2014 WORK                                                         forex                              forex credit        USD                    -        133,849.52             -              -
        HEAR       HEAR          76054 8/21/2014 WORK                                                         internal transfer                  debit               USD                    -       (375,100.00)            -              -
        HEAR       HEAR          76184 8/21/2014 WORK                                                         forex                              forex debit         CAD                    -               -       (100,716.55)           -
        HEAR       HEAR          76184 8/21/2014 WORK                                                         forex                              forex credit        USD                    -         92,240.40             -              -
        HEAR       HEAR          76502 8/31/2014 WORK                                                         interest payment                   interest payment    USD                    -             84.99             -              -
        HEAR       HEAR          76503 8/31/2014 WORK                                                         interest payment                   interest payment    CAD                    -               -             43.49            -
        HEAR       HEAR          76836   9/1/2014 BSIB                                                        forex                              forex debit         CAD                (318.03)            -           (318.03)           -
        HEAR       HEAR          76836   9/1/2014 BSIB                                                        forex                              forex credit        USD                 295.79          295.79             -              -
        HEAR       HEAR          76714   9/3/2014 SGPE                                                        Paul Sexton TT                     debit               USD             (20,000.00)     (20,300.00)            -              -
        HEAR       HEAR          76795   9/4/2014 BSIB                                                        Transformity Media TT              debit               USD             (50,000.00)     (50,600.00)            -              -
        HEAR       HEAR          76838   9/4/2014 WORK                                                        forex                              forex debit         CAD                    -               -        (77,571.14)           -
        HEAR       HEAR          76838   9/4/2014 WORK                                                        forex                              forex credit        USD                    -         70,519.22             -              -
        HEAR       HEAR          77358 9/19/2014 WORK                                                         internal transfer                  credit              USD                    -         34,950.00             -              -
                                                                                                                                                                                                                                               Date Filed: 02/18/2025




        HEAR       HEAR          99019 9/20/2014 LOAN    L-SX3C    Charterhouse:Sexton:6%             33,477 interest                            buy stock           CAD                    -               -         (5,580.00)           -
        HEAR       HEAR          77631 9/30/2014 BCHA                                                         Gainey share sale                  credit              CAD             120,000.00             -        120,000.00            -
        HEAR       HEAR          77664 9/30/2014 CASH                                                         debit Gainey                       debit               CAD             (25,000.00)            -        (26,250.00)           -
        HEAR       HEAR          77894 9/30/2014 WORK                                                         custody fees                       debit               USD                    -           (605.79)            -              -
        HEAR       HEAR          77895 9/30/2014 WORK                                                         custody fees                       debit               CAD                    -               -           (628.68)           -
        HEAR       HEAR          78044 9/30/2014 WORK                                                         interest charge                    interest charge     USD                    -             (1.50)            -              -
        HEAR       HEAR          78045 9/30/2014 WORK                                                         interest payment                   interest payment    CAD                    -               -             37.55            -
        HEAR       HEAR          77665 10/1/2014 CASH                                                         debit Gainey                       debit               CAD             (22,500.00)            -        (23,750.00)           -
        HEAR       HEAR          78451 10/9/2014 SGPE                                                         Paul Sexton TT                     debit               USD             (20,000.00)     (20,300.00)            -              -
        HEAR       HEAR          79208 10/31/2014 SGPE                                                        Paul Sexton TT                     debit               USD             (20,000.00)     (20,300.00)            -              -
        HEAR       HEAR          79493 10/31/2014 WORK                                                        interest payment                   interest payment    USD                    -             12.25             -              -




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         Account    Account     Batch   Batch     Bank                                Symbol                                                       Batch                 Transaction      Currency     Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                                    Stock
          Code       Title       ID     Date      Code                               Description                                                 Description             Description       Code        (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          79494 10/31/2014 WORK                                                                        interest payment                       interest payment    CAD                    -               -             87.75            -
                                                                                                                                                                                                                                                                   Case: 24-1770




        HEAR       HEAR          79746 11/1/2014 SGTR                                                                         forex                                  forex debit         CAD              (6,894.26)            -         (6,963.20)           -
        HEAR       HEAR          79746 11/1/2014 SGTR                                                                         forex                                  forex credit        USD               5,995.04        5,995.04             -              -
        HEAR       HEAR          79906 11/3/2014 SGTR                                                                         forex                                  forex debit         CAD              (6,790.55)            -         (6,858.46)           -
        HEAR       HEAR          79906 11/3/2014 SGTR                                                                         forex                                  forex credit        USD               5,904.85        5,904.85             -              -
        HEAR       HEAR          79743 11/4/2014 WORK                                                                         Brooks Lane 14 fees                    debit               CAD                    -               -           (122.50)           -
        HEAR       HEAR          79795 11/5/2014 CHSD    MAPG-E    Maple Leaf 1 oz gold coins                            200 receive gold coins                      buy stock           CAD                    -               -           (100.00)           -
        HEAR       HEAR          79802 11/5/2014 WORK                                                                         internal transfer                      debit               USD                    -       (200,100.00)            -              -
        HEAR       HEAR          80328 11/5/2014 WORK                                                                         forex                                  forex debit         CAD                    -               -        (17,370.88)           -
        HEAR       HEAR          80328 11/5/2014 WORK                                                                         forex                                  forex credit        USD                    -         15,479.00             -              -
        HEAR       HEAR          79946 11/5/2014 WORK                                                                         forex                                  forex debit         CAD                    -               -        (62,224.88)           -
        HEAR       HEAR          79946 11/5/2014 WORK                                                                         forex                                  forex credit        USD                    -         54,215.74             -              -
        HEAR       HEAR          79905 11/7/2014 SGGO                                                                         forex                                  forex debit         CAD              (9,670.65)            -         (9,767.36)           -
        HEAR       HEAR          79905 11/7/2014 SGGO                                                                         forex                                  forex credit        USD               8,312.95        9,312.95             -              -
        HEAR       HEAR          80409 11/24/2014 SGGO                                                                        Paul Sexton TT                         debit               USD             (20,050.00)     (20,350.50)            -              -
        HEAR       HEAR          80410 11/24/2014 WORK                                                                        director fee                           debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          80263 11/30/2014 LOAN   L-SSSC    Charterhouse:Secure Self Storage:3%:21/11/13       27,000 interest                                buy stock           CAD                    -               -         (9,000.00)           -
        HEAR       HEAR          80801 11/30/2014 WORK                                                                        interest charge                        interest charge     USD                    -         (2,075.28)            -              -
        HEAR       HEAR          80802 11/30/2014 WORK                                                                        interest payment                       interest payment    CAD                    -               -              4.81            -
        HEAR       HEAR          81325 12/10/2014 CASH                                                                        debit                                  debit               CAD             (20,000.00)            -        (21,000.00)           -
        HEAR       HEAR          81331 12/10/2014 WORK                                                                        internal transfer                      credit              USD                    -         35,424.79             -              -
        HEAR       HEAR          81334 12/10/2014 WORK                                                                        internal transfer                      credit              USD                    -         17,712.40             -              -
        HEAR       HEAR          81663 12/19/2014 CASH                                                                        debit                                  debit               CAD                (500.00)            -           (600.00)           -
        HEAR       HEAR          81827 12/31/2014 WORK                                                                        interest charge                        interest charge     USD                    -         (2,038.42)            -              -
        HEAR       HEAR          81828 12/31/2014 WORK                                                                        interest charge                        interest charge     CAD                    -               -           (492.26)           -
                                                                                                                                                                                                                                                                   Document: 00118249068




        HEAR       HEAR          81995 12/31/2014 WORK                                                                        custody fees                           debit               USD                    -           (349.84)            -              -
        HEAR       HEAR          81996 12/31/2014 WORK                                                                        custody fees                           debit               CAD                    -               -           (372.78)           -
        HEAR       HEAR          82588 1/20/2015 CCQU                                                                         Paul Sexton TT                         debit               USD             (20,240.00)     (20,643.60)            -              -
        HEAR       HEAR          82591 1/20/2015 WORK                                                                         director fee                           debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          83283   2/2/2015 WORK                                                                        Heartmore Heartland Fdn 15 fees        debit               USD                    -         (6,000.00)            -              -
        HEAR       HEAR          86294   3/4/2015 CCQU                                                                        Paul Sexton TT                         debit               USD             (20,240.00)     (20,643.60)            -              -
        HEAR       HEAR          86393   3/9/2015 WORK                                                                        Bridge Gate 15 fees                    debit               CAD                    -               -           (285.00)           -
        HEAR       HEAR          87170 3/30/2015 WORK                                                                         custody fees                           debit               USD                    -           (275.94)            -              -
        HEAR       HEAR          87171 3/30/2015 WORK                                                                         custody fees                           debit               CAD                    -               -           (246.48)           -
        HEAR       HEAR          87248 3/31/2015 CCQU                                                                         Paul Sexton TT                         debit               USD             (20,240.00)     (20,643.60)            -              -
        HEAR       HEAR          87564 4/13/2015 SAFE    MAPG-E    Maple Leaf 1 oz gold coins                            100 internal transfer                       transfer stock in   CAD                    -               -               -              -




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        HEAR       HEAR          88198 4/30/2015 CCTA                                                                         Continental TT                         credit              USD             160,481.68      160,481.68             -              -
                                                                                                                                                                                                                                                                   Page: 161




        HEAR       HEAR          88496   5/8/2015 CCMO                                                                        Paul Sexton TT                         debit               USD             (20,240.00)     (20,744.80)            -              -
        HEAR       HEAR          88600 5/13/2015 WORK                                                                         Neave 14 annual report                 debit               CAD                    -               -           (245.00)           -
        HEAR       HEAR          88572 5/15/2015 LOAN    L-SITC    Charterhouse:Stor-It:6%                           114,000 interest                                buy stock           CAD                    -               -        (19,000.00)           -
        HEAR       HEAR          88710 5/19/2015 REST    PMC-E     Pembrooke Mining                                 (100,000) deliver stock                          stock delivery      CAD                    -               -           (100.00)           -
        HEAR       HEAR          88728 5/20/2015 VERA                                                                         Nova Trek Capital TT                   debit               USD            (160,581.00)    (162,186.81)            -              -
        HEAR       HEAR          88729 5/20/2015 WORK                                                                         director fee                           debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          88804 5/21/2015 WORK                                                                         Directors fees                         debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          88823 5/21/2015 WORK                                                                         Predator 15 annual report              debit               CAD                    -               -           (122.50)           -
        HEAR       HEAR          89797 5/30/2015 XPHO                                                                         #3 xphone sim one mon                  debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          89444   6/2/2015 SIRI   PLSB      Pulse Beverage                                     (5,000) sell stock                             sell stock          USD                 762.85          662.85             -              -
        HEAR       HEAR          89458   6/3/2015 SIRI   PLSB      Pulse Beverage                                     (5,000) sell stock                             sell stock          USD                 738.47          638.47             -              -
        HEAR       HEAR          98929   6/3/2015 LOAN   L-WESU    Quarry:Westwood:8%:3/6/20                        (410,080) loan assumption                        sell stock          USD                    -               -               -              -
        HEAR       HEAR          98930   6/3/2015 LOAN   L-WESC    Quarry:Westwood:8%:3/6/20                        (379,389) loan assumption                        sell stock          CAD                    -               -               -              -
        HEAR       HEAR          98934   6/3/2015 LOAN                                                                        internal transfer L-WESU               credit              USD                    -         92,326.00             -              -
        HEAR       HEAR          88891   6/3/2015 LOAN   L-WESC    Quarry:Westwood:8%:3/6/20                          28,103 interest                                buy stock           CAD                    -               -         (3,513.00)           -
        HEAR       HEAR          89478   6/4/2015 SIRI   PLSB      Pulse Beverage                                     (5,000) sell stock                             sell stock          USD                 747.92          647.92             -              -
        HEAR       HEAR          89509   6/5/2015 SIRI   PLSB      Pulse Beverage                                    (30,000) sell stock                             sell stock          USD               5,224.05        5,041.21             -              -
        HEAR       HEAR          89495   6/5/2015 WORK                                                                        internal transfer close MDDD           debit               USD                    -           (194.00)            -              -
        HEAR       HEAR          98935   6/5/2015 LOAN                                                                        adjust loan interest L-SX1C            credit              CAD                    -               -         97,462.00            -
        HEAR       HEAR          90650   6/5/2015 LOAN   L-SX1C    Charterhouse:Sexton:6%:05/06/19                    97,462 interest                                buy stock           CAD                    -               -        (32,487.00)           -
        HEAR       HEAR          98937   6/5/2015 LOAN   L-SX1C    Charterhouse:Sexton:6%:05/06/19                (3,346,201) close file                             sell stock          CAD                    -               -               -              -
        HEAR       HEAR          88897   6/5/2015 LOAN   L-SOLC    Charterhouse:Solito:6%                             22,260 interest                                buy stock           CAD                    -               -         (3,710.00)           -
                                                                                                                                                                                                                                                                   Date Filed: 02/18/2025




        HEAR       HEAR          89536   6/8/2015 SIRI   PLSB      Pulse Beverage                                     (5,000) sell stock                             sell stock          USD                 787.71          687.71             -              -
        HEAR       HEAR          89586 6/10/2015 SIRI    PLSB      Pulse Beverage                                    (10,000) sell stock                             sell stock          USD               1,672.26        1,572.26             -              -
        HEAR       HEAR          89619 6/11/2015 SIRI    PLSB      Pulse Beverage                                     (5,000) sell stock                             sell stock          USD                 738.96          638.96             -              -
        HEAR       HEAR          89629 6/12/2015 CCMO                                                                         Paul Sexton TT                         debit               USD             (15,180.00)     (15,583.60)            -              -
        HEAR       HEAR          89685 6/16/2015 BCHA                                                                         City of Vancouver ck #483 Predator     debit               CAD              (1,072.26)            -         (1,172.26)           -
        HEAR       HEAR          89968 6/25/2015 SIRI    PLSB      Pulse Beverage                                     (7,000) sell stock                             sell stock          USD                 807.02          707.02             -              -
        HEAR       HEAR          88894 6/30/2015 LOAN    L-SX2C    Charterhouse:Sexton:3%                             98,701 interest                                buy stock           CAD                    -               -        (32,900.00)           -
        HEAR       HEAR          90290 6/30/2015 WORK                                                                         custody fees                           debit               USD                    -           (249.97)            -              -
        HEAR       HEAR          90291 6/30/2015 WORK                                                                         custody fees                           debit               CAD                    -               -           (151.75)           -
        HEAR       HEAR          90644   7/2/2015 SIRI   PLSB      Pulse Beverage                                    (47,000) sell stock                             sell stock          USD               7,487.26        7,225.21             -              -
        HEAR       HEAR          91422   8/7/2015 CCMO                                                                        Paul Sexton TT                         debit               USD             (20,215.00)     (20,719.30)            -              -




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         Account    Account     Batch   Batch     Bank                                 Symbol                                           Batch             Transaction      Currency     Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                         Stock
          Code       Title       ID     Date      Code                                Description                                     Description         Description       Code        (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR          89805 8/13/2015 LOAN    L-NEAC    Charterhouse:Neave:3%:Demand             9,204 interest                            buy stock           CAD                    -               -         (3,068.00)           -
                                                                                                                                                                                                                                                    Case: 24-1770




        HEAR       HEAR          92195   9/8/2015 WORK                                                             director fee                       debit               USD                    -           (100.00)            -              -
        HEAR       HEAR          92237 9/10/2015 TDCH                                                              airfares ckÃ¯Â¼Æ’119               debit               CAD              (1,835.32)            -         (1,935.32)           -
        HEAR       HEAR          92202 9/11/2015 CCQU                                                              Paul Sexton TT                     debit               USD             (20,165.00)     (20,668.30)            -              -
        HEAR       HEAR          86681 9/20/2015 LOAN    L-SX3C    Charterhouse:Sexton:6%                 135,277 interest                            buy stock           CAD                    -               -        (22,546.00)           -
        HEAR       HEAR          92436 9/24/2015 SGTR                                                              forex                              forex debit         USD             (86,944.40)     (87,913.84)            -              -
        HEAR       HEAR          92436 9/24/2015 SGTR                                                              forex                              forex credit        CAD             114,448.97             -        114,448.97            -
        HEAR       HEAR          92884 9/29/2015 WORK                                                              custody fees                       debit               USD                    -           (188.45)            -              -
        HEAR       HEAR          92885 9/29/2015 WORK                                                              custody fees                       debit               CAD                    -               -            (98.08)           -
        HEAR       HEAR          93286 10/16/2015 SGPE   SCZ       Santacruz Silver                      (108,500) internal transfer                  stock delivery      CAD                (298.15)            -           (498.15)           -
        HEAR       HEAR          93286 10/16/2015 SIHI   SCZ       Santacruz Silver                       108,500 internal transfer                   transfer stock in   CAD                (100.00)            -           (100.00)           -
        HEAR       HEAR          93342 10/21/2015 CCQU                                                             Paul Sexton TT                     debit               USD             (20,165.00)     (20,668.30)            -              -
        HEAR       HEAR          93515 10/29/2015 REST                                                             Brooks Lane 15 fees                debit               CAD                    -               -           (122.50)           -
        HEAR       HEAR          94254 11/30/2015 LOAN   L-SSSC    Charterhouse:SecureSelfStorage:3%       27,810 interest                            buy stock           CAD                    -               -         (9,270.00)           -
        HEAR       HEAR          95055 12/8/2015 BAQU                                                              Paul Sexton TT                     debit               USD             (15,036.40)     (15,437.13)            -              -
        HEAR       HEAR         104854 12/9/2015 WORK                                                              internal transfer                  credit              USD                    -        129,000.00             -              -
        HEAR       HEAR         104855 12/9/2015 WORK                                                              internal transfer #2               credit              USD                    -        129,100.00             -              -
        HEAR       HEAR          95493 12/30/2015 WORK                                                             custody fees                       debit               USD                    -           (118.46)            -              -
        HEAR       HEAR          95494 12/30/2015 WORK                                                             custody fees                       debit               CAD                    -               -            (84.11)           -
        HEAR       HEAR          97302   3/1/2016 WORK                                                             Bridge Annual Report 2015          debit               CAD                    -               -           (245.00)           -
        HEAR       HEAR          97558   3/8/2016 WORK                                                             Heartmore Heartland 2016 fees      debit               USD                    -         (6,000.00)            -              -
        HEAR       HEAR          97945 3/23/2016 BAQU                                                              Paul Sexton TT                     debit               USD             (25,162.22)     (25,765.46)            -              -
        HEAR       HEAR          98952 3/30/2016 WORK                                                              forex                              forex debit         CAD                    -               -         (3,428.29)           -
        HEAR       HEAR          98952 3/30/2016 WORK                                                              forex                              forex credit        USD                    -          2,657.59             -              -
        HEAR       HEAR          98299 3/30/2016 WORK                                                              custody fees                       debit               USD                    -            (46.07)            -              -
                                                                                                                                                                                                                                                    Document: 00118249068




        HEAR       HEAR          98300 3/30/2016 WORK                                                              custody fees                       debit               CAD                    -               -            (50.65)           -
        HEAR       HEAR          98972 4/14/2016 WORK                                                              Directors fees                     debit               USD                    -           (300.00)            -              -
        HEAR       HEAR          99121 4/22/2016 CANE    SCZ       Santacruz Silver                       (11,500) sell stock                         sell stock          CAD               6,670.00             -          6,403.20            -
        HEAR       HEAR          99881   5/1/2016 WORK                                                             forex                              forex debit         USD                    -        (11,242.41)            -              -
        HEAR       HEAR          99881   5/1/2016 WORK                                                             forex                              forex credit        CAD                    -               -         14,277.86            -
        HEAR       HEAR         100191 5/15/2016 LOAN    L-SITC    Charterhouse:Stor-It:6%                120,840 interest                            buy stock           CAD                    -               -        (20,140.00)           -
        HEAR       HEAR         100335 5/31/2016 WORK                                                              Predator Annual Report 2016        debit               CAD                    -               -           (122.50)           -
        HEAR       HEAR         100749   6/1/2016 WORK                                                             forex                              forex debit         CAD                    -               -           (240.59)           -
        HEAR       HEAR         100749   6/1/2016 WORK                                                             forex                              forex credit        USD                    -            183.42             -              -
        HEAR       HEAR         100714   6/1/2016 WORK                                                             Bridge Gate Annual Report 2016     debit               CAD                    -               -           (245.00)           -
        HEAR       HEAR         101219   6/5/2016 LOAN   L-SOLC    Charterhouse:Solito:6%                  23,596 interest                            buy stock           CAD                    -               -         (3,933.00)           -




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        HEAR       HEAR         101005 6/16/2016 WBMO                                                              Specialized Loan TT                debit               USD            (111,536.18)    (113,866.90)            -              -
                                                                                                                                                                                                                                                    Page: 162




        HEAR       HEAR         101003 6/16/2016 WORK                                                              director fee                       debit               USD                    -           (100.00)            -              -
        HEAR       HEAR         101464 6/29/2016 WORK                                                              custody fees                       debit               USD                    -            (64.41)            -              -
        HEAR       HEAR         101465 6/29/2016 WORK                                                              custody fees                       debit               CAD                    -               -            (57.44)           -
        HEAR       HEAR         101221 6/30/2016 LOAN    L-SX2C    Charterhouse:Sexton:3%                 101,662 interest                            buy stock           CAD                    -               -        (33,887.00)           -
        HEAR       HEAR         101728   7/5/2016 WORK                                                             forex                              forex debit         CAD                    -               -       (107,090.25)           -
        HEAR       HEAR         101728   7/5/2016 WORK                                                             forex                              forex credit        USD                    -         82,543.26             -              -
        HEAR       HEAR         101896   7/5/2016 BCHA   L-SX3C    Charterhouse:Sexton:6%                (145,000) TD bank draft #78058378            sell stock          CAD             145,000.00             -        145,000.00            -
        HEAR       HEAR         101767   7/6/2016 XPHO                                                             3 @ 6 mos services                 debit               USD                    -         (1,800.00)            -              -
        HEAR       HEAR         102076 7/21/2016 BAQU                                                              Paul Sexton TT                     debit               USD             (30,100.00)     (30,802.00)            -              -
        HEAR       HEAR         103582   9/7/2016 BCHA   L-SX2C    Charterhouse:Sexton:3%                 (40,000) Paul Sexton ck #785                sell stock          CAD              40,000.00             -         39,600.00            -
        HEAR       HEAR         103628   9/9/2016 WORK                                                             forex                              forex debit         CAD                    -               -        (39,600.00)           -
        HEAR       HEAR         103628   9/9/2016 WORK                                                             forex                              forex credit        USD                    -         30,119.52             -              -
        HEAR       HEAR         103939 9/20/2016 LOAN    L-SX3C    Charterhouse:Sexton:6%              (2,386,448) close file                         sell stock          CAD                    -               -               -              -
        HEAR       HEAR         103699 9/20/2016 LOAN    L-SX3C    Charterhouse:Sexton:6%                 141,558 interest                            buy stock           CAD                    -               -        (23,593.00)           -
        HEAR       HEAR         110174 9/30/2016 WORK                                                              custody fees                       debit               USD                    -            (49.70)            -              -
        HEAR       HEAR         110175 9/30/2016 WORK                                                              custody fees                       debit               CAD                    -               -            (62.91)           -
        HEAR       HEAR         104764 10/12/2016 SAFE   MAPG-E    Maple Leaf 1 oz gold coins                (300) deliver gold coins                 stock delivery      CAD                    -               -           (100.00)           -
        HEAR       HEAR         105160 10/25/2016 WORK                                                             forex                              forex debit         USD                    -         (7,984.02)            -              -
        HEAR       HEAR         105160 10/25/2016 WORK                                                             forex                              forex credit        CAD                    -               -         10,540.52            -
        HEAR       HEAR         105793 11/30/2016 LOAN   L-SSSC    Charterhouse:SecureSelfStorage:3%       28,645 interest                            buy stock           CAD                    -               -         (9,548.00)           -
        HEAR       HEAR         106986 11/30/2016 WORK                                                             forex                              forex debit         USD                    -        (10,204.30)            -              -
        HEAR       HEAR         106986 11/30/2016 WORK                                                             forex                              forex credit        CAD                    -               -         13,469.67            -
                                                                                                                                                                                                                                                    Date Filed: 02/18/2025




        HEAR       HEAR         115285 12/31/2016 BEAP   PLSB      Pulse Beverage                         (68,311) write off stock                    sell stock          USD                    -               -               -              -
        HEAR       HEAR         115365 12/31/2016 BEAG   ARW       Aroway Minerals                       (208,000) write off stock                    sell stock          CAD                    -               -               -              -
        HEAR       HEAR         115366 12/31/2016 WIHI   ARW       Aroway Minerals                        (77,458) write off stock                    sell stock          CAD                    -               -               -              -
        HEAR       HEAR         115388 12/31/2016 SIMO   ARW       Aroway Minerals                       (120,000) write off stock                    sell stock          CAD                    -               -               -              -
        HEAR       HEAR         115452 12/31/2016 SIMO   SURE      Sonora Resources                    (1,807,450) write off stock                    sell stock          USD                    -               -               -              -
        HEAR       HEAR         115247 12/31/2016 HELI   RGR       Regal Resources                       (182,500) write off stock                    sell stock          CAD                    -               -               -              -
        HEAR       HEAR         115839 12/31/2016 WIRI   PLSB      Pulse Beverage                        (272,523) internal transfer                  stock delivery      USD                    -               -               -              -
        HEAR       HEAR         115290 12/31/2016 BEAP   ARW       Aroway Minerals                       (293,700) write off stock                    sell stock          CAD                    -               -               -              -
        HEAR       HEAR         121131 12/31/2016 LOAN   L-SITC    Charterhouse:Stor-It:3%               (119,130) interest payment                   sell stock          CAD                    -               -               -              -
        HEAR       HEAR         110172 12/31/2016 WORK                                                             custody fees                       debit               USD                    -            (30.45)            -              -
        HEAR       HEAR         110173 12/31/2016 WORK                                                             custody fees                       debit               CAD                    -               -            (42.48)           -




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        HEAR Q Account Detail
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         Account    Account     Batch   Batch     Bank                               Symbol                                             Batch                       Transaction      Currency     Cash Bank       Cash Acct       Cash Acct       Cash Acct
                                                          Symbol                                       Stock
          Code       Title       ID     Date      Code                              Description                                       Description                   Description       Code        (in Curr)        (USD)           (CAD)           (CHF)
        HEAR       HEAR         107551   1/3/2017 XPHO                                                           3 @ 3 mons services                            debit               USD                    -           (900.00)            -              -
                                                                                                                                                                                                                                                              Case: 24-1770




        HEAR       HEAR         107835 1/13/2017 WORK                                                            internal transfer shell purchase repayment     credit              USD                    -        100,000.00             -              -
        HEAR       HEAR         108779 2/11/2017 WORK                                                            internal transfer                              credit              USD                    -         37,500.00             -              -
        HEAR       HEAR         108817 2/14/2017 WBMO                                                            SLS Wire Clearing TT                           debit               USD            (139,450.00)    (142,936.25)            -              -
        HEAR       HEAR         108832 2/15/2017 WORK                                                            director fee                                   debit               USD                    -           (200.00)            -              -
        HEAR       HEAR         109519   3/8/2017 WORK                                                           internal transfer close PLSB                   credit              USD                    -          7,736.97             -              -
        HEAR       HEAR         110170 3/31/2017 WORK                                                            custody fees                                   debit               USD                    -            (19.33)            -              -
        HEAR       HEAR         110171 3/31/2017 WORK                                                            custody fees                                   debit               CAD                    -               -            (41.73)           -
        HEAR       HEAR         110868 5/10/2017 SIQU                                                            rebalance MEME                                 debit               USD                (105.00)        (205.00)            -              -
        HEAR       HEAR         111345 5/15/2017 LOAN    L-SITC    Charterhouse:Stor-It:3%               60,471 interest                                        buy stock           CAD                    -               -        (20,157.00)           -
        HEAR       HEAR         110979 5/17/2017 WORK                                                            internal transfer                              credit              USD                    -        360,000.00             -              -
        HEAR       HEAR         111390 5/31/2017 WORK                                                            forex                                          forex credit        CAD                    -               -         21,348.00            -
        HEAR       HEAR         111358   6/1/2017 WORK                                                           internal transfer                              credit              USD                    -        360,000.00             -              -
        HEAR       HEAR         112017   6/5/2017 LOAN   L-SOLC    Charterhouse:Solito:6%                25,011 interest                                        buy stock           CAD                    -               -         (4,169.00)           -
        HEAR       HEAR         111441   6/7/2017 WBVA                                                           McMillan TT LBY                                debit               CAD            (625,337.51)            -       (634,781.00)           -
        HEAR       HEAR         111862 6/29/2017 WORK                                                            custody fees                                   debit               USD                    -            (25.71)            -              -
        HEAR       HEAR         111863 6/29/2017 WORK                                                            custody fees                                   debit               CAD                    -               -            (32.76)           -
        HEAR       HEAR         112016 6/30/2017 LOAN    L-SX2C    Charterhouse:Sexton:3%               103,512 interest                                        buy stock           CAD                    -               -        (34,504.00)           -
        HEAR       HEAR         112789 7/20/2017 CASH                                                            debit                                          debit               CAD             (10,000.00)            -        (10,500.00)           -
        HEAR       HEAR         112312 7/20/2017 BCEL                                                            forex                                          forex debit         USD              (2,998.50)      (3,028.49)            -              -
        HEAR       HEAR         112312 7/20/2017 BCEL                                                            forex                                          forex credit        CAD               3,678.86             -          3,678.86            -
        HEAR       HEAR         112422 7/25/2017 WORK                                                            internal transfer                              credit              USD                    -        102,000.00             -              -
        HEAR       HEAR         112791 7/31/2017 WORK                                                            forex                                          forex credit        CAD                    -               -        680,307.90            -
        HEAR       HEAR         115165 8/22/2017 SIQU    MEME      Meemee Media                        (204,650) internal transfer                              stock delivery      USD                    -           (100.00)            -              -
        HEAR       HEAR         115165 8/22/2017 WILA    MEME      Meemee Media                         204,650 internal transfer                               transfer stock in   USD                    -               -               -              -
                                                                                                                                                                                                                                                              Document: 00118249068




        HEAR       HEAR         116429 9/30/2017 WORK                                                            custody fees                                   debit               USD                    -            (30.43)            -              -
        HEAR       HEAR         117978 11/6/2017 WILA                                                            forex AKE                                      forex debit         USD            (229,482.71)    (231,777.54)            -              -
        HEAR       HEAR         117978 11/6/2017 WILA                                                            forex AKE                                      forex credit        CAD             287,340.74             -        287,340.74            -
        HEAR       HEAR         117745 11/20/2017 WIVA                                                           Montego Resources TT                           debit               CAD            (150,000.00)            -       (153,750.00)           -
        HEAR       HEAR         117657 11/30/2017 LOAN   L-SSSC    Charterhouse:SecureSelfStorage:3%     29,504 interest                                        buy stock           CAD                    -               -         (9,834.50)           -
        HEAR       HEAR         118450 12/31/2017 WORK                                                           custody fees                                   debit               USD                    -            (21.62)            -              -
        HEAR       HEAR         118451 12/31/2017 WORK                                                           custody fees                                   debit               CAD                    -               -            (35.26)           -
        HEAR       HEAR         118861 1/30/2018 WORK                                                            internal transfer                              credit              USD                    -        175,000.00             -              -
        HEAR       HEAR         119125   2/8/2018 WORK                                                           internal transfer                              credit              USD                    -        340,000.00             -              -
        HEAR       HEAR         119579   3/1/2018 WISA                                                           Nir Reinhold TT 2224                           credit              CAD              65,546.92             -         65,546.92            -
        HEAR       HEAR         119744 3/21/2018 WISA                                                            Attribute TT                                   credit              USD              51,000.00       51,000.00             -              -




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        HEAR       HEAR         119745 3/21/2018 WISA                                                            Silbermann TT                                  credit              USD              23,000.00       23,000.00             -              -
                                                                                                                                                                                                                                                              Page: 163




        HEAR       HEAR         119758 3/23/2018 WORK                                                            ATT MX 322-274-2691 to Mar 21/19               debit               USD                    -         (1,300.00)            -              -
        HEAR       HEAR         119933 3/30/2018 WORK                                                            custody fees                                   debit               USD                    -            (23.53)            -              -
        HEAR       HEAR         119934 3/30/2018 WORK                                                            custody fees                                   debit               CAD                    -               -            (30.71)           -
        HEAR       HEAR         120061   4/3/2018 WISA                                                           Growth Circle TT                               debit               USD             (10,020.00)     (10,270.50)            -              -
        HEAR       HEAR         120235 4/26/2018 REST                                                            directors fee                                  debit               USD                    -           (200.00)            -              -
        HEAR       HEAR         120363 4/30/2018 WORK                                                            director fees                                  debit               USD                    -           (200.00)            -              -
        HEAR       HEAR         120239   5/1/2018 WIHI                                                           Tingle Merrett TT                              debit               CAD             (83,499.67)            -        (85,587.16)           -
        HEAR       HEAR         120416   5/1/2018 WIVA                                                           Voltaic Minerals TT                            debit               CAD             (90,180.00)            -        (92,434.50)           -
        HEAR       HEAR         121129 5/14/2018 LOAN    L-SITC    Charterhouse:Stor-It:3%               62,286 interest                                        buy stock           CAD                    -               -        (20,762.00)           -
        HEAR       HEAR         121132   6/5/2018 LOAN   L-SOLC    Charterhouse:Solito:6%                26,512 interest                                        buy stock           CAD                    -               -         (4,419.00)           -
        HEAR       HEAR         120954   6/8/2018 WORK                                                           director fee                                   debit               USD                    -           (100.00)            -              -
        HEAR       HEAR         120955   6/8/2018 WIHI                                                           Philips Paul TT                                debit               CAD            (100,200.00)            -       (102,705.00)           -
        HEAR       HEAR         121050 6/19/2018 REST                                                            directors fee                                  debit               USD                    -           (400.00)            -              -
        HEAR       HEAR         121135 6/30/2018 LOAN    L-SX2C    Charterhouse:Sexton:3%               106,617 interest                                        buy stock           CAD                    -               -        (35,539.00)           -
        HEAR       HEAR         121349 6/30/2018 WORK                                                            custody fees                                   debit               USD                    -            (23.53)            -              -
        HEAR       HEAR         121350 6/30/2018 WORK                                                            custody fees                                   debit               CAD                    -               -            (27.69)           -
        HEAR       HEAR         121820 8/23/2018 WORK                                                            Directors fees                                 debit               USD                    -           (100.00)            -              -
        HEAR       HEAR         122364 9/30/2018 WORK                                                            custody fees                                   debit               USD                    -            (21.94)            -              -
        HEAR       HEAR         122365 9/30/2018 WORK                                                            custody fees                                   debit               CAD                    -               -            (22.21)           -
        HEAR       HEAR         122642 10/10/2018 WILA   MEME      Meemee Media                        (204,650) write off stock                                sell stock          USD                    -               -               -              -
                                                                                                                                                                                                                                                              Date Filed: 02/18/2025




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                                                             Case 1:21-cv-11276-WGY                     Document 427-3                           Filed 12/08/23                   Page 1 of 16                                       EXHIBIT
        GARD Q Account Detail
                                                                                                                                                                                                                                          3

         Account    Account     Batch     Batch       Bank                               Symbol                                   Batch                  Transaction        Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                                  Stock
          Code       Title       ID        Date       Code                              Description                             Description              Description         Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD              78   9/3/2010 BCOA                                                        Imported Balance                     debit                  USD                  -       (14,972.11)           -              -
        GARD       GARD             236   9/3/2010 WORK                                                        Imported Balance                     debit                  USD                  -       (12,553.41)           -              -
                                                                                                                                                                                                                                                 Case: 24-1770




        GARD       GARD             308   9/3/2010 WORK                                                        Imported Balance                     credit                 CAD                  -              -        20,420.50            -
        GARD       GARD             381   9/3/2010 BQUA                                                        Imported Balance                     debit                  CAD                  -              -       (40,050.00)           -
        GARD       GARD             583   9/3/2010 BSIT                                                        Imported Balance                     debit                  USD                  -          (370.66)           -              -
        GARD       GARD             584   9/3/2010 BSIT                                                        Imported Balance                     credit                 CAD                  -              -           680.00            -
        GARD       GARD             706   9/3/2010 BSIT      AAPH      American Petro-Hunter           (1,000) Imported Holdings                    corporate action out                        -              -              -              -
        GARD       GARD             747   9/3/2010 CASH                                                        Imported Balance                     credit                 CAD                  -              -         9,470.00            -
        GARD       GARD             928   9/3/2010 DGMN                                                        Imported Balance                     debit                  USD                  -       (24,739.25)           -              -
        GARD       GARD             929   9/3/2010 DGMN                                                        Imported Balance                     credit                 CAD                  -              -         1,379.50            -
        GARD       GARD             953   9/3/2010 DGMN      AAPH      American Petro-Hunter          176,620 Imported Holdings                     corporate action in                         -              -              -              -
        GARD       GARD            1096   9/3/2010 DGPR                                                        Imported Balance                     credit                 USD                  -         1,910.00            -              -
        GARD       GARD            1107   9/3/2010 DGPR      AAPH      American Petro-Hunter           (3,000) Imported Holdings                    corporate action out                        -              -              -              -
        GARD       GARD            1146   9/3/2010 FCCN                                                        Imported Balance                     credit                 USD                  -        13,407.82            -              -
        GARD       GARD            1184   9/3/2010 FCCN      AAPH      American Petro-Hunter          (25,900) Imported Holdings                    corporate action out                        -              -              -              -
        GARD       GARD            1391   9/3/2010 JCIT                                                        Imported Balance                     credit                 USD                  -        29,191.33            -              -
        GARD       GARD            1415   9/3/2010 JCIT      AAPH      American Petro-Hunter          (29,500) Imported Holdings                    corporate action out                        -              -              -              -
        GARD       GARD            1621   9/3/2010 RANQ                                                        Imported Balance                     debit                  USD                  -       (15,136.13)           -              -
        GARD       GARD            1622   9/3/2010 RANQ                                                        Imported Balance                     credit                 CAD                  -              -        15,200.00            -
        GARD       GARD            1926   9/3/2010 LESH                                                        Imported Balance                     credit                 USD                  -        24,815.20            -              -
        GARD       GARD            1949   9/3/2010 LESH      AAPH      American Petro-Hunter          (79,006) Imported Holdings                    corporate action out                        -              -              -              -
        GARD       GARD            2050   9/3/2010 TDQB                                                        Imported Balance                     debit                  CAD                  -              -        (7,100.00)           -
        GARD       GARD            2374   9/9/2010 TDQB                                                        Ferrous Capital Corp. ck #142        debit                  CAD            (3,000.00)           -        (3,100.00)           -
                                                                                                                                                                                                                                                 Document: 00118249068




        GARD       GARD            2568 9/14/2010 RANQ                                                         forex                                forex debit            USD            (3,035.05)     (3,065.40)           -              -
        GARD       GARD            2568 9/14/2010 RANQ                                                         forex                                forex credit           CAD             3,100.00            -         3,100.00            -
        GARD       GARD            2780 9/17/2010 FCCN       AAPH      American Petro-Hunter           (5,000) sell stock                           sell stock             USD             1,668.10       1,568.10            -              -
        GARD       GARD            2732 9/17/2010 FCCN       AAPH      American Petro-Hunter           (5,000) sell stock                           sell stock             USD             1,499.97       1,399.97            -              -
        GARD       GARD            3535 9/30/2010 WORK                                                         interest charge                      interest charge        USD                  -            (0.01)           -              -
        GARD       GARD            3536 9/30/2010 WORK                                                         interest charge                      interest charge        CAD                  -              -            (0.01)           -
        GARD       GARD            3708 9/30/2010 WORK                                                         custody fees                         debit                  USD                  -           (24.69)           -              -
        GARD       GARD            4085 10/13/2010 FCCN      AAPH      American Petro-Hunter           (5,000) sell stock                           sell stock             USD             1,699.97       1,599.97            -              -
        GARD       GARD            4515 10/19/2010 WORK                                                        forex                                forex debit            USD                  -        (5,250.01)           -              -
        GARD       GARD            4515 10/19/2010 WORK                                                        forex                                forex credit           CAD                  -              -         5,250.01            -




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        GARD       GARD            4289 10/19/2010 CASH                                                        debit                                debit                  CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD            4537 10/20/2010 TDQB                                                        airfares ck #231                     debit                  CAD            (1,911.10)           -        (2,011.10)           -
        GARD       GARD            4730 10/20/2010 TDCO                                                        forex ck #30                         forex debit            USD            (2,003.52)     (2,023.56)           -              -
        GARD       GARD            4730 10/20/2010 CASH                                                        forex ck #30                         forex credit           CAD             2,011.10            -         2,011.10            -
        GARD       GARD            4884 10/29/2010 WORK                                                        interest charge                      interest charge        USD                  -           (28.39)           -              -
        GARD       GARD            5160 11/2/2010 FCCN       AAPH      American Petro-Hunter           (9,960) sell stock                           sell stock             USD             3,436.04       3,332.96            -              -
        GARD       GARD            5538 11/10/2010 WORK                                                        forex                                forex debit            USD                  -        (2,151.35)           -              -
        GARD       GARD            5538 11/10/2010 WORK                                                        forex                                forex credit           CAD                  -              -         2,100.00            -
        GARD       GARD            5510 11/10/2010 CASH                                                        debit                                debit                  CAD            (2,000.00)           -        (2,100.00)           -
        GARD       GARD            5612 11/12/2010 WORK                                                        Gardenwall Fdn 10 fees               debit                  USD                  -        (3,500.00)           -              -
        GARD       GARD            5792 11/17/2010 WORK                                                        Garden incorp                        debit                  USD                  -        (2,900.00)           -              -
        GARD       GARD            6000 11/23/2010 DGPR      UVFT      UV Flu                         750,000 internal transfer                     transfer stock in      USD                  -              -              -              -
        GARD       GARD            6175 11/29/2010 LESH      UVFT      UV Flu                         (25,000) sell stock                           sell stock             USD             5,377.14       5,269.60            -              -
        GARD       GARD            6244 11/29/2010 WORK                                                        interest charge                      interest charge        USD                  -          (116.74)           -              -
        GARD       GARD            6980 12/8/2010 BSIT       UVFT      UV Flu                         (40,000) sell stock                           sell stock             USD             7,510.47       7,322.71            -              -
        GARD       GARD            7220 12/10/2010 DGMN      EDE       Edge Resources                 249,000 buy stock                             buy stock              CAD           (71,112.20)           -       (72,890.00)           -
        GARD       GARD            7052 12/10/2010 TDQB                                                        Ardent cks #37-8                     credit                 CAD            70,000.00            -        70,000.00            -
        GARD       GARD            7281 12/13/2010 DGMN      EDE       Edge Resources                 (20,000) sell stock                           sell stock             CAD             5,543.00            -         5,404.43            -
        GARD       GARD            7338 12/14/2010 DGMN      EDE       Edge Resources                 (60,000) sell stock                           sell stock             CAD            15,976.60            -        15,577.18            -
        GARD       GARD            7428 12/15/2010 DGMN      EDE       Edge Resources                 (22,000) sell stock                           sell stock             CAD             5,800.20            -         5,655.19            -
                                                                                                                                                                                                                                                 Date Filed: 02/18/2025




        GARD       GARD            7271 12/15/2010 TDCO                                                        forex ck #63                         forex debit            USD            (2,922.29)     (2,951.51)           -              -
        GARD       GARD            7271 12/15/2010 CASH                                                        forex ck #63                         forex credit           CAD             2,890.00            -         2,890.00            -
        GARD       GARD            7576 12/16/2010 DGMN      EDE       Edge Resources                 (55,000) sell stock                           sell stock             CAD            15,259.25            -        14,877.77            -
        GARD       GARD            7577 12/17/2010 DGMN      EDE       Edge Resources                 (20,000) sell stock                           sell stock             CAD             5,494.00            -         5,356.65            -
        GARD       GARD            7750 12/22/2010 WORK                                                        forex                                forex debit            CAD                  -              -           (66.48)           -
        GARD       GARD            7750 12/22/2010 WORK                                                        forex                                forex credit           USD                  -            65.55            -              -
        GARD       GARD            7608 12/22/2010 WORK                                                        Sierra Director fees- FCPG note      debit                  USD                  -          (100.00)           -              -
        GARD       GARD            8025 12/30/2010 WORK                                                        interest charge                      interest charge        USD                  -           (22.23)           -              -
        GARD       GARD            8026 12/30/2010 WORK                                                        interest payment                     interest payment       CAD                  -              -            14.69            -
        GARD       GARD            8170 12/31/2010 WORK                                                        custody fees                         debit                  USD                  -          (146.94)           -              -




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         Account    Account     Batch     Batch      Bank                                  Symbol                                     Batch                     Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                                    Stock
          Code       Title       ID        Date       Code                                Description                               Description                 Description      Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD            8171 12/31/2010 WORK                                                           custody fees                             debit               CAD                  -              -           (50.40)           -
        GARD       GARD            8309   1/1/2011 WORK                                                           forex                                    forex debit         CAD                  -              -          (172.38)           -
                                                                                                                                                                                                                                                     Case: 24-1770




        GARD       GARD            8309   1/1/2011 WORK                                                           forex                                    forex credit        USD                  -           169.17            -              -
        GARD       GARD            8327   1/4/2011 TDCH                                                           ARW finders fee                          credit              CAD             3,600.00            -         3,600.00            -
        GARD       GARD            8573   1/6/2011 DGMN      EDE       Edge Resources                    (15,000) sell stock                               sell stock          CAD             4,256.50            -         4,150.09            -
        GARD       GARD            8627   1/7/2011 FINC      MCTH      Medical Connections                77,200 buy stock                                 buy stock           USD            (9,023.26)     (9,248.84)           -              -
        GARD       GARD            8846 1/13/2011 DGMN       EDE       Edge Resources                    (15,000) sell stock                               sell stock          CAD             4,850.50            -         4,729.24            -
        GARD       GARD            8794 1/13/2011 FINC       MCTH      Medical Connections               (77,200) sell stock                               sell stock          USD             9,501.58       9,264.04            -              -
        GARD       GARD            8950 1/19/2011 LESH       SMNG      Strategic Mining                  150,000 buy stock                                 buy stock           USD           (20,657.65)    (21,174.09)           -              -
        GARD       GARD            9029 1/19/2011 RANQ       EDE       Edge Resources                     (7,950) sell stock                               sell stock          CAD             2,832.01            -         2,732.01            -
        GARD       GARD            9124 1/19/2011 WORK                                                            forex                                    forex debit         CAD                  -              -       (21,582.07)           -
        GARD       GARD            9124 1/19/2011 WORK                                                            forex                                    forex credit        USD                  -        21,158.89            -              -
        GARD       GARD            8979 1/20/2011 CASH                                                            debit                                    debit               CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD            9174 1/24/2011 LESH       SMNG      Strategic Mining                  (50,000) sell stock                               sell stock          USD             5,867.11       5,720.43            -              -
        GARD       GARD            9268 1/24/2011 RANQ       EDE       Edge Resources                    (20,000) sell stock                               sell stock          CAD             7,324.89            -         7,215.02            -
        GARD       GARD            9247 1/25/2011 LESH       SMNG      Strategic Mining                  (60,000) sell stock                               sell stock          USD             5,726.35       5,583.19            -              -
        GARD       GARD            9465 1/25/2011 BSIT       UVFT      UV Flu                            (12,220) sell stock                               sell stock          USD               954.93         854.93            -              -
        GARD       GARD            9226 1/25/2011 BSIT       UVFT      UV Flu                           (120,000) sell stock                               sell stock          USD             8,423.52       8,212.93            -              -
        GARD       GARD            9271 1/26/2011 BSIT       UVFT      UV Flu                           (141,850) sell stock                               sell stock          USD            13,119.33      12,791.35            -              -
        GARD       GARD            9378 1/27/2011 RANQ       EDE       Edge Resources                    (14,050) sell stock                               sell stock          CAD             4,802.37            -         4,702.37            -
        GARD       GARD            9464 1/27/2011 BSIT       UVFT      UV Flu                            (61,900) sell stock                               sell stock          USD             5,505.03       5,367.40            -              -
        GARD       GARD            9552 1/30/2011 WORK                                                            interest charge                          interest charge     USD                  -            (0.01)           -              -
        GARD       GARD            9553 1/30/2011 WORK                                                            interest payment                         interest payment    CAD                  -              -            41.54            -
                                                                                                                                                                                                                                                     Document: 00118249068




        GARD       GARD           10013   2/4/2011 LESH      SMNG      Strategic Mining                  (40,000) sell stock                               sell stock          USD             3,622.11       3,522.11            -              -
        GARD       GARD           10522 2/16/2011 WORK                                                            internal transfer                        debit               CAD                  -              -          (500.00)           -
        GARD       GARD           11594 2/28/2011 WORK                                                            interest payment                         interest payment    USD                  -            33.03            -              -
        GARD       GARD           11595 2/28/2011 WORK                                                            interest payment                         interest payment    CAD                  -              -            37.11            -
        GARD       GARD           11269   3/1/2011 CASH                                                           debit                                    debit               USD            (5,000.00)     (5,250.00)           -              -
        GARD       GARD           11996 3/14/2011 TDCO                                                            forex ck #142                            forex debit         USD            (4,165.11)     (4,206.76)           -              -
        GARD       GARD           11996 3/14/2011 CASH                                                            forex ck #142                            forex credit        CAD             4,028.04            -         4,028.04            -
        GARD       GARD           11951 3/14/2011 TDQB                                                            2 Drafts to 1583542 Alberta ck #649      debit               CAD           (50,000.00)           -       (50,500.00)           -
        GARD       GARD           12262 3/18/2011 BSIT       AAPH      American Petro-Hunter             250,000 buy stock                                 buy stock           USD                  -       (50,100.00)           -              -
        GARD       GARD           12581 3/28/2011 VERL       AAPH      American Petro-Hunter             (20,000) sell stock                               sell stock          USD             6,971.25       6,796.97            -              -




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        GARD       GARD           12636 3/29/2011 WORK                                                            internal transfer                        debit               USD                  -        (8,750.00)           -              -
        GARD       GARD           12635 3/29/2011 WORK       AAPH      American Petro-Hunter              35,000 internal transfer                         transfer stock in   USD                  -              -              -              -
        GARD       GARD           13498 3/30/2011 WORK                                                            forex                                    forex debit         CAD                  -              -           (16.55)           -
        GARD       GARD           13498 3/30/2011 WORK                                                            forex                                    forex credit        USD                  -            17.36            -              -
        GARD       GARD           12810 3/30/2011 WORK                                                            custody fees                             debit               USD                  -          (307.97)           -              -
        GARD       GARD           12910 3/30/2011 WORK                                                            interest charge                          interest charge     USD                  -          (130.95)           -              -
        GARD       GARD           12911 3/30/2011 WORK                                                            interest payment                         interest payment    CAD                  -              -            16.55            -
        GARD       GARD           13147 3/31/2011 VERL       AAPH      American Petro-Hunter             (20,000) sell stock                               sell stock          USD             6,702.50       6,534.94            -              -
        GARD       GARD           13325   4/4/2011 VERL      AAPH      American Petro-Hunter             (20,000) sell stock                               sell stock          USD             6,543.34       6,379.76            -              -
        GARD       GARD           13390   4/5/2011 VERL      AAPH      American Petro-Hunter             (61,731) sell stock                               sell stock          USD            22,215.07      21,659.69            -              -
        GARD       GARD           13505   4/5/2011 FINC      AAPH      American Petro-Hunter             (17,500) sell stock                               sell stock          USD             6,223.23       6,067.65            -              -
        GARD       GARD           13663 4/11/2011 TDQB                                                            VC Management ck                         credit              CAD            11,250.00            -        11,250.00            -
        GARD       GARD           13835 4/14/2011 TDQB                                                            CIBC VISA ck #763                        debit               CAD           (10,000.00)           -       (10,100.00)           -
        GARD       GARD           13888 4/14/2011 WORK                                                            forex                                    forex debit         USD                  -       (10,189.29)           -              -
        GARD       GARD           13888 4/14/2011 WORK                                                            forex                                    forex credit        CAD                  -              -         9,504.22            -
        GARD       GARD           13836 4/14/2011 TDQB                                                            Ferrous Capital ck #765                  debit               CAD           (14,000.00)           -       (14,140.00)           -
        GARD       GARD           13894 4/14/2011 TDCO                                                            forex ck #167                            forex debit         USD            (3,688.33)     (3,725.21)           -              -
        GARD       GARD           13894 4/14/2011 CASH                                                            forex ck #167                            forex credit        CAD             3,485.78            -         3,485.78            -
        GARD       GARD           13879 4/15/2011 BSIT       AAPH      American Petro-Hunter             (20,000) sell stock                               sell stock          USD             6,965.78       6,791.64            -              -
        GARD       GARD           14608 4/28/2011 WORK                                                            interest charge                          interest charge     USD                  -           (29.01)           -              -
                                                                                                                                                                                                                                                     Date Filed: 02/18/2025




        GARD       GARD           14609 4/28/2011 WORK                                                            interest payment                         interest payment    CAD                  -              -             0.92            -
        GARD       GARD           14901   5/4/2011 TDQB                                                           VC Mgmt ck #208                          credit              CAD             6,688.03            -         6,688.03            -
        GARD       GARD           14920   5/4/2011 TDQB                                                           Ardent ck #66                            credit              CAD            40,000.00            -        40,000.00            -
        GARD       GARD           14921   5/4/2011 TDQB                                                           837310 BC ck #321                        credit              CAD            60,000.00            -        60,000.00            -
        GARD       GARD           15071   5/4/2011 VERN      AAPH      American Petro-Hunter              (1,524) sell stock 19/4/11                       sell stock          USD             4,400.00       4,300.00            -              -
        GARD       GARD           15076   5/4/2011 VERN      AAPH      American Petro-Hunter             (14,088) sell stock                               sell stock          USD             4,501.51       4,401.51            -              -
        GARD       GARD           15074   5/4/2011 VERN      AAPH      American Petro-Hunter             (38,044) sell stock 2/5/11                        sell stock          USD            12,906.07      12,712.48            -              -
        GARD       GARD           15010   5/4/2011 VERN      AAPH      American Petro-Hunter             374,850 imported holdings                         buy stock           USD                  -              -              -              -
        GARD       GARD           15019   5/5/2011 VERN      AAPH      American Petro-Hunter              (4,720) sell stock                               sell stock          USD             1,497.60       1,397.60            -              -
        GARD       GARD           16025   5/6/2011 BSIT      AAPH      American Petro-Hunter             165,682 receive stock                             buy stock           USD                  -          (100.00)           -              -




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                                                                                                                                                                                                                                                     Entry ID: 6700951
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         Account    Account     Batch      Batch      Bank                             Symbol                                     Batch                      Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                                Stock
          Code       Title       ID         Date      Code                            Description                               Description                  Description      Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           15036    5/6/2011 WORK                                                      internal transfer                         debit               USD                  -      (145,100.00)           -              -
        GARD       GARD           15038    5/6/2011 WORK                                                      forex                                     forex debit         CAD                  -              -      (106,688.95)           -
                                                                                                                                                                                                                                                  Case: 24-1770




        GARD       GARD           15038    5/6/2011 WORK                                                      forex                                     forex credit        USD                  -       109,584.34            -              -
        GARD       GARD           15608   5/12/2011 VERN     AAPH      American Petro-Hunter          (4,000) sell stock                                sell stock          USD             1,380.00       1,280.00            -              -
        GARD       GARD           15475   5/16/2011 DGPR     AAPH      American Petro-Hunter         (16,750) sell stock                                sell stock          USD             6,413.65       6,313.65            -              -
        GARD       GARD           15531   5/17/2011 VERN     AAPH      American Petro-Hunter         (51,221) sell stock                                sell stock          USD            20,546.94      20,238.74            -              -
        GARD       GARD           15610   5/18/2011 VERN     AAPH      American Petro-Hunter         (96,400) sell stock                                sell stock          USD            39,804.30      39,207.24            -              -
        GARD       GARD           15636   5/19/2011 VERN     AAPH      American Petro-Hunter         (76,000) sell stock                                sell stock          USD            41,076.96      40,460.81            -              -
        GARD       GARD           15689   5/20/2011 VERN     AAPH      American Petro-Hunter         (16,600) sell stock                                sell stock          USD             9,018.76       8,883.48            -              -
        GARD       GARD           15721   5/23/2011 BSIT     UVFT      UV Flu                       (349,030) internal transfer                         stock delivery      USD                  -              -              -              -
        GARD       GARD           15723   5/23/2011 VPQU     AAPH      American Petro-Hunter         233,487 internal transfer                          transfer stock in   USD                  -              -              -              -
        GARD       GARD           15767   5/23/2011 VERN     AAPH      American Petro-Hunter         (70,526) sell stock                                sell stock          USD            41,259.49      40,640.60            -              -
        GARD       GARD           17307   5/24/2011 TDQB                                                      Air Fares ck #855                         debit               CAD              (523.96)           -          (623.96)           -
        GARD       GARD           15803   5/24/2011 VPQU     AAPH      American Petro-Hunter         (18,006) sell stock                                sell stock          USD            10,739.21      10,578.12            -              -
        GARD       GARD           15837   5/25/2011 VPQU     AAPH      American Petro-Hunter         (63,440) sell stock                                sell stock          USD            38,009.23      37,439.09            -              -
        GARD       GARD           16546   5/31/2011 VPQU     AAPH      American Petro-Hunter          (1,000) sell stock                                sell stock          USD               471.88         371.88            -              -
        GARD       GARD           16363   5/31/2011 WORK                                                      interest payment                          interest payment    USD                  -            68.10            -              -
        GARD       GARD           16364   5/31/2011 WORK                                                      interest payment                          interest payment    CAD                  -              -             5.85            -
        GARD       GARD           16167    6/1/2011 CASH                                                      debit                                     debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           16600    6/1/2011 BSIT                                                      forex                                     forex debit         USD           (10,750.00)    (10,857.50)           -              -
        GARD       GARD           16600    6/1/2011 BSIT                                                      forex                                     forex credit        CAD            10,494.15            -        10,494.15            -
        GARD       GARD           16549    6/3/2011 VPQU     AAPH      American Petro-Hunter          (9,000) sell stock                                sell stock          USD             4,570.36       4,470.36            -              -
        GARD       GARD           16552    6/3/2011 VPQU     AAPH      American Petro-Hunter         (14,000) sell stock                                sell stock          USD             7,179.46       7,071.77            -              -
                                                                                                                                                                                                                                                  Document: 00118249068




        GARD       GARD           16558    6/3/2011 WORK                                                      internal transfer                         debit               USD                  -       (30,100.00)           -              -
        GARD       GARD           16561    6/3/2011 TDQB                                                      Ardent ck #897                            debit               CAD           (10,800.00)           -       (10,908.00)           -
        GARD       GARD           16562    6/3/2011 TDQB                                                      Ferrous ck #898                           debit               CAD            (9,200.00)           -        (9,300.00)           -
        GARD       GARD           16664    6/3/2011 TDCO                                                      forex ck #204                             forex debit         USD           (20,984.18)    (21,194.02)           -              -
        GARD       GARD           16664    6/3/2011 CASH                                                      forex ck #204                             forex credit        CAD            20,208.00            -        20,208.00            -
        GARD       GARD           16784    6/7/2011 VPQU     AAPH      American Petro-Hunter          (2,180) sell stock                                sell stock          USD             1,051.18         951.18            -              -
        GARD       GARD           16866    6/9/2011 TDQB                                                      Instar Capital ck #911                    debit               CAD           (82,500.00)           -       (83,325.00)           -
        GARD       GARD           17226    6/9/2011 TDCO                                                      forex ck #224                             forex debit         USD           (44,897.94)    (45,346.92)           -              -
        GARD       GARD           17226    6/9/2011 CASH                                                      forex ck #224                             forex credit        CAD            43,327.53            -        43,327.53            -
        GARD       GARD           17042    6/9/2011 WORK                                                      forex                                     forex debit         USD                  -       (41,948.30)           -              -




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        GARD       GARD           17042    6/9/2011 WORK                                                      forex                                     forex credit        CAD                  -              -        39,997.47            -
        GARD       GARD           16875    6/9/2011 VPQU     AAPH      American Petro-Hunter          (6,000) sell stock                                sell stock          USD             3,041.06       2,941.06            -              -
        GARD       GARD           17076   6/14/2011 VPQU     AAPH      American Petro-Hunter          (6,000) sell stock                                sell stock          USD             2,878.19       2,778.19            -              -
        GARD       GARD           17215   6/17/2011 WORK                                                      Garden Equities 11 fees                   debit               USD                  -        (2,450.00)           -              -
        GARD       GARD           17279   6/20/2011 WORK                                                      internal transfer                         credit              USD                  -        82,500.00            -              -
        GARD       GARD           17349   6/20/2011 TDCO                                                      forex ck #225                             forex debit         USD            (3,400.29)     (3,434.29)           -              -
        GARD       GARD           17349   6/20/2011 CASH                                                      forex ck #225                             forex credit        CAD             3,254.24            -         3,254.24            -
        GARD       GARD           17306   6/20/2011 TDQB                                                      Air fares ck #940                         debit               CAD            (2,530.28)           -        (2,630.28)           -
        GARD       GARD           17603   6/29/2011 BSIT     AAPH      American Petro-Hunter          (7,000) sell stock                                sell stock          USD             2,883.88       2,783.88            -              -
        GARD       GARD           17685   6/29/2011 VPQU     AAPH      American Petro-Hunter          (9,060) sell stock                                sell stock          USD             3,691.40       3,591.40            -              -
        GARD       GARD           17665   6/30/2011 CASH                                                      debit                                     debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           17675   6/30/2011 TDCO                                                      forex ck #240                             forex debit         USD           (11,063.43)    (11,174.06)           -              -
        GARD       GARD           17675   6/30/2011 CASH                                                      forex ck #240                             forex credit        CAD            10,500.00            -        10,500.00            -
        GARD       GARD           17681   6/30/2011 BSIT     AAPH      American Petro-Hunter          (2,000) sell stock                                sell stock          USD               901.10         801.10            -              -
        GARD       GARD           17687   6/30/2011 VPQU     AAPH      American Petro-Hunter          (9,500) sell stock                                sell stock          USD             4,523.89       4,423.89            -              -
        GARD       GARD           17849   6/30/2011 WORK                                                      custody fees                              debit               USD                  -          (447.61)           -              -
        GARD       GARD           17968   6/30/2011 WORK                                                      interest payment                          interest payment    USD                  -           104.30            -              -
        GARD       GARD           17969   6/30/2011 WORK                                                      interest charge                           interest charge     CAD                  -              -            (0.01)           -
        GARD       GARD           18211    7/5/2011 BSIT     AAPH      American Petro-Hunter          (6,000) sell stock                                sell stock          USD             3,030.35       2,930.35            -              -
        GARD       GARD           18396    7/7/2011 TDCO                                                      forex ck #249                             forex debit         USD            (5,514.35)     (5,569.49)           -              -
                                                                                                                                                                                                                                                  Date Filed: 02/18/2025




        GARD       GARD           18396    7/7/2011 CASH                                                      forex ck #249                             forex credit        CAD             5,250.01            -         5,250.01            -
        GARD       GARD           18535    7/7/2011 VPQU     AAPH      American Petro-Hunter          (1,600) sell stock                                sell stock          USD               819.82         719.82            -              -
        GARD       GARD           18349    7/7/2011 CASH                                                      debit                                     debit               CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD           18538   7/12/2011 VPQU     AAPH      American Petro-Hunter          (1,100) sell stock                                sell stock          USD               545.14         445.14            -              -
        GARD       GARD           18596   7/14/2011 BSIT                                                      forex                                     forex debit         USD           (31,671.99)    (31,988.71)           -              -
        GARD       GARD           18596   7/14/2011 BSIT                                                      forex                                     forex credit        CAD            30,310.10            -        30,310.10            -
        GARD       GARD           18529   7/14/2011 TDQB                                                      Certified Ardent Strategies ck #1001      debit               CAD           (30,010.00)           -       (30,310.10)           -
        GARD       GARD           18543   7/14/2011 VPQU     AAPH      American Petro-Hunter         (15,231) sell stock                                sell stock          USD             8,195.26       8,072.33            -              -
        GARD       GARD           18591   7/15/2011 BSIT     AAPH      American Petro-Hunter         (10,400) sell stock                                sell stock          USD             5,891.28       5,714.54            -              -
        GARD       GARD           18631   7/18/2011 BSIT     AAPH      American Petro-Hunter          (8,040) sell stock                                sell stock          USD             4,471.70       4,337.55            -              -




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         Account    Account     Batch     Batch      Bank                              Symbol                                           Batch                   Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                             Symbol                                       Stock
          Code       Title       ID        Date      Code                            Description                                      Description               Description      Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           18672 7/19/2011 VPQU      AAPH      American Petro-Hunter                (30,820) sell stock                             sell stock          USD            17,478.92      17,216.74            -              -
        GARD       GARD           18715 7/20/2011 BSIT      AAPH      American Petro-Hunter               (150,000) internal transfer                      stock delivery      USD                  -              -              -              -
                                                                                                                                                                                                                                                     Case: 24-1770




        GARD       GARD           18716 7/20/2011 REST      AAPH-R    American Petro-Hunter                150,000 internal transfer                       transfer stock in   USD                  -              -              -              -
        GARD       GARD           18728 7/20/2011 VPQU      AAPH      American Petro-Hunter                (20,400) sell stock                             sell stock          USD            11,176.00      11,008.36            -              -
        GARD       GARD           18773 7/21/2011 VPQU      AAPH      American Petro-Hunter                (12,060) sell stock                             sell stock          USD             6,561.01       6,461.01            -              -
        GARD       GARD           18978 7/27/2011 BSIT      AAPH      American Petro-Hunter                 (3,760) sell stock                             sell stock          USD             1,850.68       1,750.68            -              -
        GARD       GARD           18995 7/27/2011 TDQB                                                              Ardent ck #1033                        debit               CAD           (33,600.00)           -       (33,936.00)           -
        GARD       GARD           19392 7/27/2011 BSIT                                                              forex                                  forex debit         USD           (35,463.12)    (36,172.38)           -              -
        GARD       GARD           19392 7/27/2011 BSIT                                                              forex                                  forex credit        CAD            33,936.00            -        33,936.00            -
        GARD       GARD           19019 7/28/2011 BSIT      AAPH      American Petro-Hunter                 (4,807) sell stock                             sell stock          USD             2,657.17       2,557.17            -              -
        GARD       GARD           19062 7/29/2011 BSIT      AAPH      American Petro-Hunter                 (5,000) sell stock                             sell stock          USD             2,544.63       2,444.63            -              -
        GARD       GARD           19143 7/29/2011 WORK                                                              interest payment                       interest payment    USD                  -           123.21            -              -
        GARD       GARD           19466   8/3/2011 BSIT     AAPH      American Petro-Hunter                 (4,000) sell stock                             sell stock          USD             2,053.37       1,953.37            -              -
        GARD       GARD           19451   8/3/2011 TDQB                                                             airfares ck #1058                      debit               CAD              (311.49)           -          (411.49)           -
        GARD       GARD           19546   8/3/2011 TDCO                                                             forex                                  forex debit         USD              (440.54)       (444.95)           -              -
        GARD       GARD           19546   8/3/2011 CASH                                                             forex                                  forex credit        CAD               411.49            -           411.49            -
        GARD       GARD           19591   8/9/2011 CASH                                                             debit                                  debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           19641   8/9/2011 TDCO                                                             forex ck #270                          forex debit         USD           (10,747.31)    (10,854.78)           -              -
        GARD       GARD           19641   8/9/2011 CASH                                                             forex ck #270                          forex credit        CAD            10,500.00            -        10,500.00            -
        GARD       GARD           19812 8/15/2011 TDCO                                                              forex ck #272                          forex debit         USD           (51,646.83)    (52,163.30)           -              -
        GARD       GARD           19812 8/15/2011 CASH                                                              forex ck #272                          forex credit        CAD            49,995.00            -        49,995.00            -
        GARD       GARD           19765 8/15/2011 TDQB                                                              Ardent Strategies ck #1074             debit               CAD           (49,500.00)           -       (49,995.00)           -
        GARD       GARD           19811 8/16/2011 BSIT      AAPH      American Petro-Hunter                 (3,285) sell stock                             sell stock          USD             1,431.86       1,331.86            -              -
                                                                                                                                                                                                                                                     Document: 00118249068




        GARD       GARD           19852 8/17/2011 BSIT      AAPH      American Petro-Hunter                 (4,000) sell stock                             sell stock          USD             1,659.97       1,559.97            -              -
        GARD       GARD           20007 8/23/2011 BSIT      AAPH      American Petro-Hunter                  3,285 buy stock                               buy stock           USD            (1,431.86)     (1,531.86)           -              -
        GARD       GARD           19989 8/23/2011 BSIT      AAPH      American Petro-Hunter                 (3,285) sell stock                             sell stock          USD             1,405.86       1,305.86            -              -
        GARD       GARD           20077 8/26/2011 TDQB                                                              Airfare ck #1100                       debit               CAD            (3,495.22)           -        (3,595.22)           -
        GARD       GARD           20140 8/26/2011 TDCO                                                              forex ck #277                          forex debit         USD            (3,725.53)     (3,762.79)           -              -
        GARD       GARD           20140 8/26/2011 CASH                                                              forex ck #277                          forex credit        CAD             3,595.22            -         3,595.22            -
        GARD       GARD           20174 8/31/2011 DGMI                                                              Beechmont Investments TT               debit               USD           (44,375.50)    (44,819.25)           -              -
        GARD       GARD           20264 8/31/2011 WORK                                                              interest payment                       interest payment    USD                  -            97.62            -              -
        GARD       GARD           20594   9/7/2011 CASH                                                             debit                                  debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           20595   9/7/2011 TDQB                                                             Ardent Strategeies ck #1128            debit               CAD           (16,500.00)           -       (16,665.00)           -




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        GARD       GARD           20607   9/7/2011 WORK                                                             forex                                  forex debit         USD                  -        (3,821.50)           -              -
        GARD       GARD           20607   9/7/2011 WORK                                                             forex                                  forex credit        CAD                  -              -         3,651.32            -
        GARD       GARD           20692   9/7/2011 TDCO                                                             forex ck #279                          forex debit         USD           (24,190.99)    (24,432.90)           -              -
        GARD       GARD           20692   9/7/2011 CASH                                                             forex ck #279                          forex credit        CAD            23,513.68            -        23,513.68            -
        GARD       GARD           20829 9/14/2011 BSIT      AAPH      American Petro-Hunter                 (5,000) sell stock                             sell stock          USD             1,545.11       1,445.11            -              -
        GARD       GARD           20876 9/15/2011 BSIT      AAPH      American Petro-Hunter                 (4,258) sell stock                             sell stock          USD             1,277.84       1,177.84            -              -
        GARD       GARD           20919 9/16/2011 BSIT      AAPH      American Petro-Hunter                 (5,000) sell stock                             sell stock          USD             1,457.24       1,357.24            -              -
        GARD       GARD           20994 9/20/2011 BSIT      AAPH      American Petro-Hunter                (13,672) sell stock                             sell stock          USD             4,106.86       3,983.65            -              -
        GARD       GARD           21082 9/21/2011 BSIT      AAPH      American Petro-Hunter                 (7,000) sell stock                             sell stock          USD             2,049.74       1,949.74            -              -
        GARD       GARD           21140 9/22/2011 BSIT      AAPH      American Petro-Hunter                 (6,000) sell stock                             sell stock          USD             1,751.79       1,651.79            -              -
        GARD       GARD           21203 9/23/2011 BSIT      AAPH      American Petro-Hunter                 (3,000) sell stock                             sell stock          USD               856.16         756.16            -              -
        GARD       GARD           21268 9/23/2011 TDCO                                                              forex ck #293                          forex debit         USD            (2,880.73)     (2,909.54)           -              -
        GARD       GARD           21268 9/23/2011 CASH                                                              forex ck #293                          forex credit        CAD             2,935.27            -         2,935.27            -
        GARD       GARD           21221 9/23/2011 TDQB                                                              Airfares ck #1165                      debit               CAD            (2,384.58)           -        (2,484.58)           -
        GARD       GARD           21224 9/23/2011 TDQB                                                              Airfares ck #1165                      debit               CAD              (350.69)           -          (450.69)           -
        GARD       GARD           21343 9/27/2011 BSIT      AAPH      American Petro-Hunter                 (4,000) sell stock                             sell stock          USD             1,184.70       1,084.70            -              -
        GARD       GARD           21651 9/29/2011 WORK                                                              custody fees                           debit               USD                  -           (35.34)           -              -
        GARD       GARD           21765 9/29/2011 WORK                                                              interest payment                       interest payment    USD                  -            12.86            -              -
        GARD       GARD           22175 10/5/2011 TDQB                                                              Brown & Jackson airfares ck #1197      debit               CAD              (316.90)           -          (416.90)           -
        GARD       GARD           22187 10/5/2011 WORK                                                              internal transfer                      credit              CAD                  -              -        50,000.00            -
                                                                                                                                                                                                                                                     Date Filed: 02/18/2025




        GARD       GARD           22200 10/5/2011 TDCO                                                              forex ck #311                          forex debit         USD              (404.83)       (408.88)           -              -
        GARD       GARD           22200 10/5/2011 CASH                                                              forex ck #311                          forex credit        CAD               416.90            -           416.90            -
        GARD       GARD           22683 10/21/2011 WORK                                                             internal transfer                      credit              USD                  -       400,000.00            -              -
        GARD       GARD           22689 10/21/2011 TDQB     L-ARDC    Charterhouse:Ardent:8%:21/10/2016    400,000 loan advance                            buy stock           CAD          (400,007.50)           -      (404,007.58)           -
        GARD       GARD           22696 10/21/2011 CASH                                                             debit                                  debit               CAD           (15,000.00)           -       (15,750.00)           -
        GARD       GARD           22811 10/25/2011 WORK                                                             forex                                  forex debit         USD                  -      (373,470.63)           -              -
        GARD       GARD           22811 10/25/2011 WORK                                                             forex                                  forex credit        CAD                  -              -       370,512.82            -
        GARD       GARD           23084 10/28/2011 TDCO                                                             forex ck #337                          forex debit         USD            (1,343.53)     (1,356.97)           -              -
        GARD       GARD           23084 10/28/2011 CASH                                                             forex ck #337                          forex credit        CAD             1,344.76            -         1,344.76            -
        GARD       GARD           22969 10/28/2011 CASH                                                             debit                                  debit               CAD            (2,000.00)           -        (2,100.00)           -




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         Account    Account     Batch     Batch      Bank                             Symbol                                              Batch               Transaction    Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                             Symbol                                         Stock
          Code       Title       ID        Date      Code                            Description                                        Description           Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           23423 10/31/2011 TDCO                                                               forex ck #339                      forex debit        USD            (2,141.10)     (2,162.51)           -              -
        GARD       GARD           23423 10/31/2011 CASH                                                               forex ck #339                      forex credit       CAD             2,132.38            -         2,132.38            -
                                                                                                                                                                                                                                                  Case: 24-1770




        GARD       GARD           23229 10/31/2011 WORK                                                               interest payment                   interest payment   USD                  -            63.29            -              -
        GARD       GARD           23230 10/31/2011 WORK                                                               interest charge                    interest charge    CAD                  -              -          (954.07)           -
        GARD       GARD           23165 11/1/2011 TDQB                                                                Airfare ck #1244                   debit              CAD            (1,078.31)           -        (1,178.31)           -
        GARD       GARD           23795 11/15/2011 REST     UVFT-R    UV Flu                               1,943,178 receive stock                       buy stock          USD                  -          (100.00)           -              -
        GARD       GARD           23962 11/20/2011 WORK                                                               Gardenwall Fdn 11 fees             debit              USD                  -        (3,500.00)           -              -
        GARD       GARD           24234 11/22/2011 DGMI                                                               forex                              forex debit        USD            (7,752.76)     (7,830.29)           -              -
        GARD       GARD           24234 11/22/2011 DGMI                                                               forex                              forex credit       CAD             8,040.61            -         8,040.61            -
        GARD       GARD           24076 11/22/2011 TDQB                                                               Airfare fee ck #1287               debit              CAD            (7,940.61)           -        (8,040.61)           -
        GARD       GARD           24399 11/29/2011 WORK                                                               interest payment                   interest payment   USD                  -            28.58            -              -
        GARD       GARD           26201 12/2/2011 TDQB      L-ARDC    Charterhouse:Ardent:8%:21/10/2016       50,000 Ardent Strategies ck #1310          buy stock          CAD           (50,000.00)           -       (50,500.00)           -
        GARD       GARD           24740 12/2/2011 CBHQ                                                                forex                              forex debit        USD           (27,714.21)    (27,991.35)           -              -
        GARD       GARD           24740 12/2/2011 CBHQ                                                                forex                              forex credit       CAD            27,853.48            -        27,853.48            -
        GARD       GARD           25082 12/15/2011 CASH                                                               debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           25091 12/15/2011 CASH                                                               debit                              debit              USD            (5,000.00)     (5,250.00)           -              -
        GARD       GARD           25187 12/16/2011 TDCO                                                               forex ck #381                      forex debit        USD           (32,471.16)    (32,795.87)           -              -
        GARD       GARD           25187 12/16/2011 CASH                                                               forex ck #381                      forex credit       CAD            33,146.52            -        33,146.52            -
        GARD       GARD           25130 12/16/2011 WORK                                                               internal transfer STEV             credit             USD                  -       250,000.00            -              -
        GARD       GARD           25716 12/31/2011 WORK                                                               forex                              forex debit        USD                  -          (213.48)           -              -
        GARD       GARD           25716 12/31/2011 WORK                                                               forex                              forex credit       CAD                  -              -           215.38            -
        GARD       GARD           25423 12/31/2011 WORK                                                               interest payment                   interest payment   USD                  -           200.58            -              -
        GARD       GARD           25424 12/31/2011 WORK                                                               interest charge                    interest charge    CAD                  -              -          (215.38)           -
                                                                                                                                                                                                                                                  Document: 00118249068




        GARD       GARD           25576 12/31/2011 WORK                                                               custody fees                       debit              USD                  -           (27.34)           -              -
        GARD       GARD           26070   1/9/2012 BCEL                                                               Holladay ck #540                   debit              USD               (20.00)       (120.00)           -              -
        GARD       GARD           26068   1/9/2012 REST     UVFT-R    UV Flu                              (1,800,320) deliver stock                      stock delivery     USD                  -          (250.00)           -              -
        GARD       GARD           26068   1/9/2012 REST                                                               deliver stock                      debit              USD                  -           (75.00)           -              -
        GARD       GARD           26073 1/16/2012 SIL2      UVFT      UV Flu                                 968,348 receive stock                       buy stock          USD                  -          (100.00)           -              -
        GARD       GARD           26075 1/16/2012 HYPP      UVFT      UV Flu                                 831,972 receive stock                       buy stock          USD              (457.51)       (557.51)           -              -
        GARD       GARD           26302 1/17/2012 BCEL                                                                Holladay ck#547                    debit              USD               (20.00)       (120.00)           -              -
        GARD       GARD           26469 1/20/2012 SIL2      UVFT      UV Flu                                (968,348) stock split                        split stock out    USD                  -              -              -              -
        GARD       GARD           26469 1/20/2012 SIL2      UVFT      UV Flu                                 242,087 stock split                         split stock in                          -              -              -              -
        GARD       GARD           26472 1/20/2012 REST      UVFT-R    UV Flu                                (142,858) stock split                        split stock out    USD                  -              -              -              -




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        GARD       GARD           26472 1/20/2012 REST      UVFT-R    UV Flu                                  35,715 stock split                         split stock in                          -              -              -              -
        GARD       GARD           26474 1/20/2012 HYPP      UVFT      UV Flu                                (831,972) stock split                        split stock out    USD                  -              -              -              -
        GARD       GARD           26474 1/20/2012 HYPP      UVFT      UV Flu                                 207,993 stock split                         split stock in                          -              -              -              -
        GARD       GARD           26757 1/30/2012 WORK                                                                interest payment                   interest payment   USD                  -           173.84            -              -
        GARD       GARD           27257   2/7/2012 TDQB     L-ARDC    Charterhouse:Ardent:8%:21/10/2016      130,000 loan advance                        buy stock          CAD          (130,000.00)           -      (131,300.00)           -
        GARD       GARD           27315   2/7/2012 WORK                                                               forex                              forex debit        USD                  -       (23,378.14)           -              -
        GARD       GARD           27315   2/7/2012 WORK                                                               forex                              forex credit       CAD                  -              -        22,708.00            -
        GARD       GARD           27264   2/7/2012 TDQB                                                               forex                              forex debit        USD          (110,000.00)   (111,100.00)           -              -
        GARD       GARD           27264   2/7/2012 TDQB                                                               forex                              forex credit       CAD           108,592.00            -       108,592.00            -
        GARD       GARD           27354   2/9/2012 CASH                                                               debit                              debit              CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD           27527   2/9/2012 TDCO                                                               forex ck #414                      forex debit        USD            (5,335.16)     (5,388.51)           -              -
        GARD       GARD           27527   2/9/2012 CASH                                                               forex ck #414                      forex credit       CAD             5,250.00            -         5,250.00            -
        GARD       GARD           27437 2/11/2012 WORK                                                                Graden 12 fees                     debit              USD                  -        (2,500.00)           -              -
        GARD       GARD           27572 2/14/2012 SIL2      UVFT      UV Flu                                (202,117) sell stock                         sell stock         USD            32,059.54      31,097.75            -              -
        GARD       GARD           27595 2/14/2012 WORK                                                                internal transfer                  credit             CAD                  -              -        10,500.00            -
        GARD       GARD           27597 2/14/2012 CASH                                                                debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           27654 2/15/2012 WORK                                                                internal transfer STEV             credit             USD                  -        80,000.00            -              -
        GARD       GARD           27847 2/20/2012 HYPP      UVFT      UV Flu                                 (50,000) sell stock                         sell stock         USD             7,498.47       7,311.01            -              -
        GARD       GARD           28108 2/23/2012 DGMI                                                                McMillan TT Monterra               debit              USD                (6.85)       (106.85)           -              -
        GARD       GARD           28331 2/28/2012 CASH                                                                debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
                                                                                                                                                                                                                                                  Date Filed: 02/18/2025




        GARD       GARD           28343 2/28/2012 TDCO                                                                forex ck #426                      forex debit        USD           (10,681.92)    (10,788.74)           -              -
        GARD       GARD           28343 2/28/2012 CASH                                                                forex ck #426                      forex credit       CAD            10,500.00            -        10,500.00            -
        GARD       GARD           28360 2/29/2012 WORK                                                                sell 135k ARW to Pine              debit              CAD                  -              -       (87,750.00)           -
        GARD       GARD           28363 2/29/2012 WORK                                                                Pine spa                           debit              USD                  -          (100.00)           -              -
        GARD       GARD           28377 2/29/2012 BSIT                                                                forex                              forex debit        USD           (88,851.76)    (89,740.28)           -              -
        GARD       GARD           28377 2/29/2012 BSIT                                                                forex                              forex credit       CAD            87,750.00            -        87,750.00            -
        GARD       GARD           32378 2/29/2012 TDQB      L-PINC    Quarry:Pine:6%:Demand                   87,750 loan advance re buy 135k arw        buy stock          CAD                  -              -              -              -
        GARD       GARD           28730 2/29/2012 WORK                                                                interest payment                   interest payment   USD                  -           128.07            -              -
        GARD       GARD           29420 3/14/2012 WORK                                                                Red Rock 12 fees                   debit              USD                  -        (1,200.00)           -              -
        GARD       GARD           29444 3/15/2012 BSIT      ARW       Aroway Minerals                         75,000 buy stock                           buy stock          CAD           (61,587.51)           -       (63,435.14)           -




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         Account    Account     Batch      Batch       Bank                             Symbol                                           Batch                    Transaction    Currency   Cash Bank       Cash Acct       Cash Acct      Cash Acct
                                                               Symbol                                       Stock
          Code       Title       ID         Date       Code                            Description                                     Description                Description     Code      (in Curr)         (USD)          (CAD)          (EUR)
        GARD       GARD           29821   3/15/2012 WORK                                                             forex                                   forex debit        USD                  -        (64,171.36)           -              -
        GARD       GARD           29821   3/15/2012 WORK                                                             forex                                   forex credit       CAD                  -               -        63,435.14            -
                                                                                                                                                                                                                                                       Case: 24-1770




        GARD       GARD           29641   3/19/2012 DGMN      AAPH      American Petro-Hunter               (10,000) sell stock                              sell stock         USD             4,112.01        4,009.21            -              -
        GARD       GARD           29790   3/23/2012 BSIT      ARW       Aroway Minerals                     100,000 buy stock                                buy stock          CAD           (76,030.22)            -       (78,311.13)           -
        GARD       GARD           29806   3/23/2012 WORK                                                             internal transfer                       credit             USD                  -        192,250.00            -              -
        GARD       GARD           29899   3/23/2012 BSIT                                                             forex                                   forex debit        USD           (79,082.34)     (79,873.16)           -              -
        GARD       GARD           29899   3/23/2012 BSIT                                                             forex                                   forex credit       CAD            78,311.13             -        78,311.13            -
        GARD       GARD           29956   3/27/2012 VERL      AAPH      American Petro-Hunter               (10,000) sell stock                              sell stock         USD             3,061.35        2,961.35            -              -
        GARD       GARD           29942   3/27/2012 TDQB                                                             1/2 drafts to Red Rock ck #1603         debit              CAD           (31,261.25)            -       (31,573.86)           -
        GARD       GARD           29981   3/28/2012 BSIT      ARW       Aroway Minerals                      25,000 buy stock                                buy stock          CAD           (19,019.55)            -       (19,590.14)           -
        GARD       GARD           30088   3/29/2012 TDQB      L-ARDC    Charterhouse:Ardent:8%:21/10/2016    45,500 draft to Ardent Strategies ck #1611      buy stock          CAD           (45,507.50)            -       (45,962.57)           -
        GARD       GARD           30089   3/29/2012 BSIT                                                             forex                                   forex debit        USD          (100,553.04)    (101,558.57)           -              -
        GARD       GARD           30089   3/29/2012 BSIT                                                             forex                                   forex credit       CAD           100,000.00             -       100,000.00            -
        GARD       GARD           30093   3/29/2012 TDCO                                                             forex ck #449                           forex debit        USD           (38,333.66)     (38,717.00)           -              -
        GARD       GARD           30093   3/29/2012 CASH                                                             forex ck #449                           forex credit       CAD            37,489.77             -        37,489.77            -
        GARD       GARD           30027   3/29/2012 CASH                                                             debit                                   debit              CAD           (40,000.00)            -       (42,000.00)           -
        GARD       GARD           30130   3/29/2012 WORK                                                             custody fees                            debit              USD                  -            (99.57)           -              -
        GARD       GARD           30131   3/29/2012 WORK                                                             custody fees                            debit              CAD                  -               -          (380.40)           -
        GARD       GARD           30246   3/29/2012 WORK                                                             interest payment                        interest payment   USD                  -             64.67            -              -
        GARD       GARD           30247   3/29/2012 WORK                                                             interest charge                         interest charge    CAD                  -               -            (0.01)           -
        GARD       GARD           29864    4/1/2012 WORK                                                             internal transfer KOMK #2               debit              USD                  -        (50,100.00)           -              -
        GARD       GARD           30545    4/3/2012 WORK                                                             internal transfer                       credit             USD                  -      1,000,000.00            -              -
        GARD       GARD           30555    4/3/2012 HYPP      UVFT      UV Flu                              (27,500) sell stock                              sell stock         USD             3,187.59        3,087.59            -              -
                                                                                                                                                                                                                                                       Document: 00118249068




        GARD       GARD           30573    4/3/2012 WORK                                                             forex                                   forex debit        USD                  -           (410.20)           -              -
        GARD       GARD           30573    4/3/2012 WORK                                                             forex                                   forex credit       CAD                  -               -           396.39            -
        GARD       GARD           30584    4/3/2012 WORK                                                             forex                                   forex debit        USD                  -         (1,677.30)           -              -
        GARD       GARD           30584    4/3/2012 WORK                                                             forex                                   forex credit       CAD                  -               -         1,620.82            -
        GARD       GARD           30829   4/10/2012 WORK                                                             Venture Capital First 12 fees           debit              USD                  -         (1,200.00)           -              -
        GARD       GARD           30864   4/10/2012 HYPP      UVFT      UV Flu                              (38,850) sell stock                              sell stock         USD             4,536.21        4,422.80            -              -
        GARD       GARD           30946   4/11/2012 WORK                                                             internal transfer ONCS                  credit             USD                  -        269,000.00            -              -
        GARD       GARD           30976   4/12/2012 HYPP      UVFT      UV Flu                              (72,250) sell stock                              sell stock         USD             7,292.43        7,110.12            -              -
        GARD       GARD           31026   4/13/2012 SIL2      UVFT      UV Flu                              (39,970) sell stock                              sell stock         USD             3,124.96        3,024.96            -              -
        GARD       GARD           31029   4/13/2012 HYPP      UVFT      UV Flu                              (19,393) sell stock                              sell stock         USD             1,524.81        1,424.81            -              -




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        GARD       GARD           31139   4/17/2012 TDQB                                                             Ferrous Capital ck #1686                debit              CAD          (169,510.00)            -      (171,205.10)           -
        GARD       GARD           31138   4/17/2012 TDQB      L-ARDC    Charterhouse:Ardent:8%:21/10/2016   199,500 Ardent Strategies ck #1685               buy stock          CAD          (199,510.00)            -      (201,505.10)           -
        GARD       GARD           31161   4/17/2012 BSIT                                                             forex                                   forex debit        USD          (213,507.25)    (215,642.32)           -              -
        GARD       GARD           31161   4/17/2012 BSIT                                                             forex                                   forex credit       CAD           211,863.24             -       211,863.24            -
        GARD       GARD           31168   4/17/2012 TDCO                                                             forex ck #465                           forex debit        USD          (102,571.60)    (103,597.32)           -              -
        GARD       GARD           31168   4/17/2012 CASH                                                             forex ck #465                           forex credit       CAD            99,700.00             -        99,700.00            -
        GARD       GARD           31192   4/17/2012 BSIT                                                             forex                                   forex debit        USD           (61,621.40)     (62,237.61)           -              -
        GARD       GARD           31192   4/17/2012 BSIT                                                             forex                                   forex credit       CAD            61,146.96             -        61,146.96            -
        GARD       GARD           31684   4/27/2012 CASH                                                             debit                                   debit              CAD           (10,000.00)            -       (10,500.00)           -
        GARD       GARD           31695   4/27/2012 TDQB                                                             forex                                   forex debit        USD           (10,739.49)     (10,846.88)           -              -
        GARD       GARD           31695   4/27/2012 TDQB                                                             forex                                   forex credit       CAD            10,500.00             -        10,500.00            -
        GARD       GARD           31857   4/30/2012 WORK                                                             internal transfer ONCS                  credit             USD                  -         95,000.00            -              -
        GARD       GARD           31920   4/30/2012 WORK                                                             interest payment                        interest payment   USD                  -            673.70            -              -
        GARD       GARD           31921   4/30/2012 WORK                                                             interest charge                         interest charge    CAD                  -               -            (5.31)           -
        GARD       GARD           32084    5/1/2012 WORK                                                             forex                                   forex debit        USD                  -             (5.46)           -              -
        GARD       GARD           32084    5/1/2012 WORK                                                             forex                                   forex credit       CAD                  -               -             5.31            -
        GARD       GARD           32166    5/2/2012 BSIT                                                             forex                                   forex debit        USD           (25,458.25)     (25,712.83)           -              -
        GARD       GARD           32166    5/2/2012 BSIT                                                             forex                                   forex credit       CAD            25,000.00             -        25,000.00            -
        GARD       GARD           32104    5/2/2012 TDQB      L-ARDC    Charterhouse:Ardent:8%:21/10/2016   160,925 Ardent cc #1741                          buy stock          CAD          (160,935.00)            -      (162,544.35)           -
        GARD       GARD           32138    5/2/2012 TDCO                                                             forex ck #481                           forex debit        USD           (95,296.58)     (96,249.55)           -              -
                                                                                                                                                                                                                                                       Date Filed: 02/18/2025




        GARD       GARD           32138    5/2/2012 CASH                                                             forex ck #481                           forex credit       CAD            92,628.38             -        92,628.38            -
        GARD       GARD           32142    5/2/2012 TDQB                                                             forex                                   forex debit        USD           (53,181.69)     (53,713.51)           -              -
        GARD       GARD           32142    5/2/2012 TDQB                                                             forex                                   forex credit       CAD            52,229.68             -        52,229.68            -
        GARD       GARD           32194    5/3/2012 TDQB                                                             forex                                   forex debit        USD          (197,845.73)    (199,824.19)           -              -
        GARD       GARD           32194    5/3/2012 TDQB                                                             forex                                   forex credit       CAD           193,433.89             -       193,433.89            -
        GARD       GARD           32105    5/3/2012 TDQB                                                             Ferrous cc #1742                        debit              CAD          (198,760.00)            -      (200,747.60)           -
        GARD       GARD           32509   5/10/2012 CASH                                                             debit                                   debit              CAD           (20,000.00)            -       (21,000.00)           -
        GARD       GARD           32514   5/10/2012 BSIT                                                             forex                                   forex debit        USD           (21,016.80)     (21,226.97)           -              -
        GARD       GARD           32514   5/10/2012 BSIT                                                             forex                                   forex credit       CAD            21,000.00             -        21,000.00            -
        GARD       GARD           32556   5/11/2012 TDCO                                                             Red Rock draft ck #33                   debit              CAD            (5,003.75)            -        (5,103.75)           -




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         Account    Account     Batch      Batch      Bank                            Symbol                                     Batch              Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                               Stock
          Code       Title       ID         Date      Code                           Description                              Description            Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           32574   5/11/2012 BSIT                                                     forex                              forex debit        USD            (5,107.85)     (5,158.93)           -              -
        GARD       GARD           32574   5/11/2012 BSIT                                                     forex                              forex credit       CAD             5,103.75            -         5,103.75            -
                                                                                                                                                                                                                                         Case: 24-1770




        GARD       GARD           33026   5/23/2012 TDQB     L-PINC    Quarry:Pine:6%:Demand       149,600   Pine Strategies ck #1785           buy stock          CAD          (149,600.00)           -      (151,096.00)           -
        GARD       GARD           33235   5/23/2012 WORK                                                     forex                              forex debit        USD                  -      (169,592.41)           -              -
        GARD       GARD           33235   5/23/2012 WORK                                                     forex                              forex credit       CAD                  -              -       172,096.00            -
        GARD       GARD           33080   5/24/2012 CASH                                                     debit                              debit              CAD           (20,000.00)           -       (21,000.00)           -
        GARD       GARD           33086   5/24/2012 WORK                                                     BR repayment                       credit             USD                  -       130,000.00            -              -
        GARD       GARD           33255   5/30/2012 WORK                                                     internal transfer STVF             credit             USD                  -       700,000.00            -              -
        GARD       GARD           33535   5/31/2012 WORK                                                     interest payment                   interest payment   USD                  -           507.41            -              -
        GARD       GARD           33536   5/31/2012 WORK                                                     interest payment                   interest payment   CAD                  -              -             0.20            -
        GARD       GARD           34155    6/7/2012 BSIT                                                     forex                              forex debit        USD          (208,252.47)   (210,334.99)           -              -
        GARD       GARD           34155    6/7/2012 BSIT                                                     forex                              forex credit       CAD           211,668.80            -       211,668.80            -
        GARD       GARD           33993    6/7/2012 TDQB     L-PINC    Quarry:Pine:6%:Demand       450,500   Pine Strategies ck #1808           buy stock          CAD          (450,500.00)           -      (455,005.00)           -
        GARD       GARD           34059    6/8/2012 BSIT                                                     forex                              forex debit        USD          (368,375.16)   (372,058.91)           -              -
        GARD       GARD           34059    6/8/2012 BSIT                                                     forex                              forex credit       CAD           380,200.00            -       380,200.00            -
        GARD       GARD           33994    6/8/2012 TDQB                                                     Ferrous Capital ck #1809           debit              CAD          (145,500.00)           -      (146,955.00)           -
        GARD       GARD           34084    6/8/2012 TDCO                                                     forex                              forex debit        USD           (10,000.00)    (10,100.00)           -              -
        GARD       GARD           34084    6/8/2012 TDCO                                                     forex                              forex credit       CAD            10,091.00            -        10,091.00            -
        GARD       GARD           34559   6/18/2012 BSIT                                                     forex                              forex debit        USD           (10,361.16)    (10,464.77)           -              -
        GARD       GARD           34559   6/18/2012 BSIT                                                     forex                              forex credit       CAD            10,500.00            -        10,500.00            -
        GARD       GARD           34467   6/18/2012 CASH                                                     debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           34478   6/19/2012 WORK                                                     internal transfer CRCL             credit             USD                  -       291,500.00            -              -
        GARD       GARD           34483   6/19/2012 WORK                                                     internal transfer ECAU             debit              USD                  -      (225,100.00)           -              -
                                                                                                                                                                                                                                         Document: 00118249068




        GARD       GARD           34677   6/21/2012 WORK                                                     forex                              forex debit        USD                  -       (10,495.87)           -              -
        GARD       GARD           34677   6/21/2012 WORK                                                     forex                              forex credit       CAD                  -              -        10,500.00            -
        GARD       GARD           34640   6/21/2012 CASH                                                     debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           34976   6/29/2012 TDQB                                                     car & Hotel LA ck #1879            debit              CAD            (2,767.70)           -        (2,867.70)           -
        GARD       GARD           35037   6/30/2012 WORK                                                     interest payment                   interest payment   USD                  -           619.97            -              -
        GARD       GARD           35038   6/30/2012 WORK                                                     interest charge                    interest charge    CAD                  -              -            (0.01)           -
        GARD       GARD           35465    7/1/2012 TDCO                                                     forex                              forex debit        USD            (3,094.50)     (3,125.45)           -              -
        GARD       GARD           35465    7/1/2012 TDCO                                                     forex                              forex credit       CAD             3,117.71            -         3,117.71            -
        GARD       GARD           35292    7/1/2012 WORK                                                     custody fees                       debit              USD                  -           (13.78)           -              -
        GARD       GARD           35293    7/1/2012 WORK                                                     custody fees                       debit              CAD                  -              -          (250.00)           -




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        GARD       GARD           35904   7/16/2012 BSIT                                                     forex                              forex debit        USD           (82,064.67)    (82,885.32)           -              -
        GARD       GARD           35904   7/16/2012 BSIT                                                     forex                              forex credit       CAD            82,959.18            -        82,959.18            -
        GARD       GARD           35908   7/16/2012 TDCO                                                     forex ck #525                      forex debit        USD           (60,067.67)    (60,668.35)           -              -
        GARD       GARD           35908   7/16/2012 CASH                                                     forex ck #525                      forex credit       CAD            59,820.00            -        59,820.00            -
        GARD       GARD           35837   7/16/2012 TDQB     L-PINC    Quarry:Pine:6%:Demand       145,000   Pine Strategies Corp ck #1894      buy stock          CAD          (145,000.00)           -      (146,450.00)           -
        GARD       GARD           35840   7/16/2012 WORK                                                     forex                              forex debit        USD                  -        (3,650.58)           -              -
        GARD       GARD           35840   7/16/2012 WORK                                                     forex                              forex credit       CAD                  -              -         3,670.82            -
        GARD       GARD           35956   7/19/2012 CASH                                                     debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           35964   7/19/2012 BSIT                                                     forex                              forex debit        USD           (10,386.78)    (10,490.65)           -              -
        GARD       GARD           35964   7/19/2012 BSIT                                                     forex                              forex credit       CAD            10,500.00            -        10,500.00            -
        GARD       GARD           36419   7/30/2012 WORK                                                     interest payment                   interest payment   USD                  -           468.20            -              -
        GARD       GARD           37357   8/27/2012 TDQB                                                     forex                              forex debit        USD           (13,705.51)    (13,842.57)           -              -
        GARD       GARD           37357   8/27/2012 TDQB                                                     forex                              forex credit       CAD            13,473.89            -        13,473.89            -
        GARD       GARD           37338   8/27/2012 TDQB                                                     Ferrous Capital ck #1992           debit              CAD           (50,400.00)           -       (50,904.00)           -
        GARD       GARD           37339   8/27/2012 TDQB     L-PINC    Quarry:Pine:6%:Demand        90,250   Pine Strategies ck #1991           buy stock          CAD           (90,250.00)           -       (91,152.50)           -
        GARD       GARD           37340   8/27/2012 TDCO                                                     forex ck #556                      forex debit        USD           (51,177.07)    (51,688.84)           -              -
        GARD       GARD           37340   8/27/2012 CASH                                                     forex ck #556                      forex credit       CAD            49,850.00            -        49,850.00            -
        GARD       GARD           37381   8/27/2012 DGMN                                                     forex                              forex debit        USD           (80,169.24)    (80,970.93)           -              -
        GARD       GARD           37381   8/27/2012 DGMN                                                     forex                              forex credit       CAD            78,732.61            -        78,732.61            -
        GARD       GARD           37530   8/31/2012 WORK                                                     interest payment                   interest payment   USD                  -           409.71            -              -
                                                                                                                                                                                                                                         Date Filed: 02/18/2025




        GARD       GARD           38041   9/10/2012 CASH                                                     debit                              debit              CAD           (20,000.00)           -       (21,000.00)           -
        GARD       GARD           38096   9/10/2012 WORK                                                     forex                              forex debit        USD                  -       (22,073.88)           -              -
        GARD       GARD           38096   9/10/2012 WORK                                                     forex                              forex credit       CAD                  -              -        21,000.00            -
        GARD       GARD           38339   9/17/2012 TDCO                                                     forex ck #569                      forex debit        USD           (16,551.41)    (16,716.92)           -              -
        GARD       GARD           38339   9/17/2012 CASH                                                     forex ck #569                      forex credit       CAD            15,750.00            -        15,750.00            -
        GARD       GARD           38304   9/17/2012 CASH                                                     debit                              debit              CAD           (15,000.00)           -       (15,750.00)           -
        GARD       GARD           38289   9/17/2012 WORK                                                     internal transfer ECAU             debit              USD                  -      (300,100.00)           -              -
        GARD       GARD           38513   9/21/2012 CASH                                                     debit                              debit              USD            (5,000.00)     (5,250.00)           -              -
        GARD       GARD           38813   9/28/2012 WORK                                                     internal transfer CRCL             credit             USD                  -        77,500.00            -              -
        GARD       GARD           39316   9/29/2012 BSIT                                                     forex                              forex debit        USD              (301.91)       (304.93)           -              -




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         Account    Account     Batch     Batch      Bank                             Symbol                                           Batch              Transaction    Currency   Cash Bank       Cash Acct       Cash Acct      Cash Acct
                                                             Symbol                                       Stock
          Code       Title       ID        Date      Code                            Description                                    Description           Description     Code      (in Curr)         (USD)          (CAD)          (EUR)
        GARD       GARD           39316 9/29/2012 BSIT                                                             forex                             forex credit       CAD               295.00             -           295.00            -
        GARD       GARD           38941 9/29/2012 WORK                                                             custody fees                      debit              USD                  -            (11.98)           -              -
                                                                                                                                                                                                                                               Case: 24-1770




        GARD       GARD           38942 9/29/2012 WORK                                                             custody fees                      debit              CAD                  -               -          (295.00)           -
        GARD       GARD           39081 9/29/2012 WORK                                                             interest payment                  interest payment   USD                  -            151.38            -              -
        GARD       GARD           40353 10/21/2012 BMQB     L-ARDC    Charterhouse:Ardent:8%:21/10/2016    44,317 interest                           buy stock          CAD                  -               -        (7,386.00)           -
        GARD       GARD           40087 10/22/2012 CBHQ                                                            forex                             forex debit        USD           (27,736.09)     (28,013.45)           -              -
        GARD       GARD           40087 10/22/2012 CBHQ                                                            forex                             forex credit       CAD            27,283.99             -        27,283.99            -
        GARD       GARD           40034 10/22/2012 HYPP     ARW       Aroway Minerals                     440,000 buy stock                          buy stock          CAD                  -               -      (220,000.00)           -
        GARD       GARD           40072 10/22/2012 WORK                                                            forex                             forex debit        USD                  -        (49,308.10)           -              -
        GARD       GARD           40072 10/22/2012 WORK                                                            forex                             forex credit       CAD                  -               -        47,914.32            -
        GARD       GARD           40105 10/23/2012 CASH                                                            debit                             debit              CAD            (3,500.00)            -        (3,675.00)           -
        GARD       GARD           40336 10/30/2012 CASH                                                            debit                             debit              CAD            (5,000.00)            -        (5,250.00)           -
        GARD       GARD           40483 10/31/2012 WORK                                                            interest payment                  interest payment   USD                  -             46.60            -              -
        GARD       GARD           40484 10/31/2012 WORK                                                            interest charge                   interest charge    CAD                  -               -        (1,034.19)           -
        GARD       GARD           40747 11/1/2012 BSIT                                                             forex                             forex debit        USD            (3,019.47)      (3,049.66)           -              -
        GARD       GARD           40747 11/1/2012 BSIT                                                             forex                             forex credit       CAD             3,005.58             -         3,005.58            -
        GARD       GARD           40835 11/2/2012 BMQB      L-ARDC    Charterhouse:Ardent:8%:21/10/2016   (44,317) Ardent Strategies ck #107         sell stock         CAD            44,317.00             -        44,317.00            -
        GARD       GARD           41051 11/9/2012 CASH                                                             debit                             debit              USD            (2,500.00)      (2,625.00)           -              -
        GARD       GARD           41348 11/15/2012 BSIT                                                            forex                             forex debit        USD           (85,621.94)     (86,478.16)           -              -
        GARD       GARD           41348 11/15/2012 BSIT                                                            forex                             forex credit       CAD            85,236.64             -        85,236.64            -
        GARD       GARD           41298 11/15/2012 WORK                                                            internal transfer ORYN            credit             USD                  -        100,000.00            -              -
        GARD       GARD           41311 11/18/2012 WORK                                                            Gardenwall Fdn 12 fees            debit              USD                  -         (3,500.00)           -              -
        GARD       GARD           41337 11/19/2012 CASH                                                            debit                             debit              USD            (5,000.00)      (5,250.00)           -              -
                                                                                                                                                                                                                                               Document: 00118249068




        GARD       GARD           41338 11/19/2012 CASH                                                            debit                             debit              CAD            (2,000.00)            -        (2,100.00)           -
        GARD       GARD           42016 11/30/2012 WORK                                                            interest charge                   interest charge    USD                  -            (43.99)           -              -
        GARD       GARD           42017 11/30/2012 WORK                                                            interest charge                   interest charge    CAD                  -               -        (1,422.45)           -
        GARD       GARD           42233 12/3/2012 BMQB                                                             Airfares ck #253                  debit              CAD            (3,420.71)            -        (3,520.71)           -
        GARD       GARD           42446 12/7/2012 CASH                                                             debit                             debit              CAD            (5,000.00)            -        (5,250.00)           -
        GARD       GARD           42562 12/11/2012 CASH                                                            debit                             debit              USD           (10,000.00)     (10,500.00)           -              -
        GARD       GARD           42968 12/21/2012 XPHO                                                            buy phone                         debit              USD                  -           (300.00)           -              -
        GARD       GARD           42971 12/21/2012 WORK                                                            Fedex 794381821781                debit              USD                  -            (50.00)           -              -
        GARD       GARD           43237 12/30/2012 WORK                                                            custody fees                      debit              USD                  -             (4.29)           -              -
        GARD       GARD           43238 12/30/2012 WORK                                                            custody fees                      debit              CAD                  -               -          (712.00)           -




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        GARD       GARD           43393 12/31/2012 WORK                                                            interest charge                   interest charge    USD                  -           (165.87)           -              -
        GARD       GARD           43394 12/31/2012 WORK                                                            interest charge                   interest charge    CAD                  -               -          (904.23)           -
        GARD       GARD           44151 1/14/2013 DGMI                                                             forex                             forex debit        USD           (17,900.62)     (18,079.63)           -              -
        GARD       GARD           44151 1/14/2013 DGMI                                                             forex                             forex credit       CAD            17,524.90             -        17,524.90            -
        GARD       GARD           44040 1/14/2013 TDCH                                                             Airfares ck #2                    debit              CAD            (6,284.61)            -        (6,384.61)           -
        GARD       GARD           44056 1/14/2013 WORK                                                             internal transfer STEV            credit             USD                  -         30,000.00            -              -
        GARD       GARD           44457 1/23/2013 CASH                                                             debit                             debit              CAD            (5,000.00)            -        (5,250.00)           -
        GARD       GARD           44551 1/26/2013 WORK                                                             internal transfer PGroup          credit             USD                  -         50,000.00            -              -
        GARD       GARD           44583 1/26/2013 BSIT                                                             forex                             forex debit        USD           (37,509.24)     (37,884.33)           -              -
        GARD       GARD           44583 1/26/2013 BSIT                                                             forex                             forex credit       CAD            37,606.76             -        37,606.76            -
        GARD       GARD           45188 1/30/2013 WORK                                                             forex                             forex debit        USD                  -         (6,061.01)           -              -
        GARD       GARD           45188 1/30/2013 WORK                                                             forex                             forex credit       CAD                  -               -         5,894.38            -
        GARD       GARD           44948 1/31/2013 WORK                                                             interest charge                   interest charge    USD                  -            (99.90)           -              -
        GARD       GARD           44949 1/31/2013 WORK                                                             interest charge                   interest charge    CAD                  -               -          (644.38)           -
        GARD       GARD           45545 2/12/2013 WORK                                                             internal transfer                 credit             USD                  -        200,000.00            -              -
        GARD       GARD           45553 2/12/2013 WORK                                                             internal transfer ECAU            credit             USD                  -        775,000.00            -              -
        GARD       GARD           45651 2/13/2013 BSIT                                                             forex                             forex debit        USD           (31,811.76)     (32,129.88)           -              -
        GARD       GARD           45651 2/13/2013 BSIT                                                             forex                             forex credit       CAD            31,500.00             -        31,500.00            -
        GARD       GARD           45619 2/13/2013 CASH                                                             debit                             debit              CAD           (35,000.00)            -       (36,750.00)           -
        GARD       GARD           45765 2/19/2013 WORK                                                             internal transfer STEV            credit             USD                  -         45,000.00            -              -
                                                                                                                                                                                                                                               Date Filed: 02/18/2025




        GARD       GARD           45774 2/19/2013 WORK                                                             internal transfer ECAU            credit             USD                  -      2,500,000.00            -              -
        GARD       GARD           45541 2/25/2013 LOAN      L-PINC    Quarry:Pine:6%:Demand                39,596 interest                           buy stock          CAD                  -               -        (6,599.00)           -
        GARD       GARD           46166 2/25/2013 DGMI                                                             forex                             forex debit        USD          (607,865.10)    (613,943.75)           -              -
        GARD       GARD           46166 2/25/2013 DGMI                                                             forex                             forex credit       CAD           615,988.52             -       615,988.52            -
        GARD       GARD           46113 2/27/2013 WORK                                                             Valley Drive Incorp               debit              CAD                  -               -          (600.00)           -
        GARD       GARD           46378 2/28/2013 WORK                                                             interest payment                  interest payment   USD                  -          1,074.57            -              -
        GARD       GARD           46379 2/28/2013 WORK                                                             interest payment                  interest payment   CAD                  -               -            66.72            -
        GARD       GARD           46675   3/5/2013 HYPP                                                            forex                             forex debit        USD           (23,291.07)     (23,523.98)           -              -
        GARD       GARD           46675   3/5/2013 HYPP                                                            forex                             forex credit       CAD            23,787.16             -        23,787.16            -
        GARD       GARD           46686   3/5/2013 DGMI                                                            Ferrous Capital TT                debit              CAD          (155,660.00)            -      (157,216.60)           -




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         Account    Account     Batch      Batch      Bank                               Symbol                                          Batch              Transaction      Currency    Cash Bank        Cash Acct        Cash Acct       Cash Acct
                                                              Symbol                                      Stock
          Code       Title       ID         Date      Code                              Description                                    Description           Description      Code        (in Curr)         (USD)            (CAD)          (EUR)
        GARD       GARD           46728    3/6/2013 DGMI                                                             Galloway Energy TT                 debit               CAD             (50,040.00)            -         (50,540.40)           -
        GARD       GARD           46734    3/6/2013 DGMI                                                             Ardent Strategies TT               debit               CAD           (412,660.00)             -        (416,786.60)           -
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        GARD       GARD           46784    3/7/2013 DGMN                                                             forex                              forex debit         USD           (803,552.06)     (811,587.58)             -              -
        GARD       GARD           46784    3/7/2013 DGMN                                                             forex                              forex credit        CAD            819,541.31              -         819,540.71            -
        GARD       GARD           46820    3/8/2013 DGMN     L-JACC    CityGroup:Jackson: 6%: 08/03/18   1,000,000   Donald Gurney Law TT               buy stock           CAD         (1,000,225.00)             -      (1,025,230.63)           -
        GARD       GARD           46856    3/8/2013 WORK                                                             forex                              forex debit         USD                    -       (150,758.38)             -              -
        GARD       GARD           46856    3/8/2013 WORK                                                             forex                              forex credit        CAD                    -               -         152,311.96            -
        GARD       GARD           46861    3/8/2013 WORK                                                             Garden 13 fees                     debit               USD                    -         (2,500.00)             -              -
        GARD       GARD           46957   3/12/2013 DGMI                                                             Donald Gurney Law TT               debit               CAD           (580,225.00)             -        (580,325.00)           -
        GARD       GARD           46970   3/12/2013 WORK     ORYN      Oryon Holdings                     500,000    internal transfer                  transfer stock in   USD                    -           (100.00)             -              -
        GARD       GARD           46973   3/12/2013 WORK                                                             buy ORYN 500 000                   debit               USD                    -       (125,100.00)             -              -
        GARD       GARD           46954   3/12/2013 DGMI                                                             forex                              forex debit         USD           (621,151.37)     (627,362.88)             -              -
        GARD       GARD           46954   3/12/2013 DGMI                                                             forex                              forex credit        CAD            631,305.41              -         631,305.41            -
        GARD       GARD           47998   3/29/2013 WORK                                                             forex                              forex debit         USD                    -           (696.96)             -              -
        GARD       GARD           47998   3/29/2013 WORK                                                             forex                              forex credit        CAD                    -               -             704.00            -
        GARD       GARD           47707   3/29/2013 WORK                                                             custody fees                       debit               USD                    -           (410.04)             -              -
        GARD       GARD           47708   3/29/2013 WORK                                                             custody fees                       debit               CAD                    -               -            (704.00)           -
        GARD       GARD           47847   3/29/2013 WORK                                                             interest payment                   interest payment    USD                    -          1,297.95              -              -
        GARD       GARD           48155    4/2/2013 BSIT                                                             forex                              forex debit         USD             (10,290.31)     (10,393.21)             -              -
        GARD       GARD           48155    4/2/2013 BSIT                                                             forex                              forex credit        CAD              10,334.56             -          10,334.56            -
        GARD       GARD           48143    4/3/2013 BOCG                                                             Airfares ck #210                   debit               CAD             (10,232.24)            -         (10,334.56)           -
        GARD       GARD           48261    4/5/2013 CBHQ     ARW       Aroway Minerals                     64,500    buy stock                          buy stock           CAD             (26,881.35)            -         (27,553.38)           -
        GARD       GARD           48263    4/5/2013 CBHQ     ARW       Aroway Minerals                    125,000    buy stock                          buy stock           CAD             (53,328.13)            -         (54,661.33)           -
                                                                                                                                                                                                                                                       Document: 00118249068




        GARD       GARD           48333    4/8/2013 WORK                                                             internal transfer                  credit              USD                    -      2,000,000.00              -              -
        GARD       GARD           48369    4/9/2013 CBHQ     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (84,369.50)            -         (86,478.74)           -
        GARD       GARD           48370    4/9/2013 CBHQ     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (82,336.50)            -         (84,394.91)           -
        GARD       GARD           48458    4/9/2013 HYPP                                                             forex                              forex debit         USD           (178,306.09)     (180,089.15)             -              -
        GARD       GARD           48458    4/9/2013 HYPP                                                             forex                              forex credit        CAD            180,000.00              -         180,000.00            -
        GARD       GARD           48461    4/9/2013 CBHQ                                                             forex                              forex debit         USD           (206,367.06)     (208,430.73)             -              -
        GARD       GARD           48461    4/9/2013 CBHQ                                                             forex                              forex credit        CAD            205,603.50              -         205,603.50            -
        GARD       GARD           48406   4/10/2013 CBHQ     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (85,386.00)            -         (87,520.65)           -
        GARD       GARD           48434   4/10/2013 BOCG                                                             buy 20 gold coins draft            debit               USD             (32,223.40)     (33,834.57)             -              -
        GARD       GARD           48459   4/11/2013 CBHQ     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (88,834.68)            -         (91,055.55)           -




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        GARD       GARD           48464   4/11/2013 BOCG                                                             buy 40 gold coins draft            debit               USD             (64,648.50)     (67,880.93)             -              -
        GARD       GARD           48629   4/11/2013 BSIT                                                             forex                              forex debit         USD           (130,817.42)     (132,125.59)             -              -
        GARD       GARD           48629   4/11/2013 BSIT                                                             forex                              forex credit        CAD             132,047.11             -         132,047.11            -
        GARD       GARD           48521   4/12/2013 CBHQ     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (89,452.00)            -         (91,688.30)           -
        GARD       GARD           48616   4/15/2013 HYPP     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (85,166.00)            -         (87,295.15)           -
        GARD       GARD           48635   4/15/2013 BSIT                                                             forex                              forex debit         USD             (89,201.99)     (90,094.01)             -              -
        GARD       GARD           48635   4/15/2013 BSIT                                                             forex                              forex credit        CAD              90,040.47             -          90,040.47            -
        GARD       GARD           48639   4/15/2013 WORK                                                             forex                              forex debit         USD                    -        (74,226.04)             -              -
        GARD       GARD           48639   4/15/2013 WORK                                                             forex                              forex credit        CAD                    -               -          74,181.95            -
        GARD       GARD           48605   4/15/2013 WORK                                                             internal transfer                  debit               USD                    -       (125,100.00)             -              -
        GARD       GARD           48617   4/16/2013 HYPP     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (75,051.00)            -         (76,927.27)           -
        GARD       GARD           48670   4/17/2013 HYPP     ARW       Aroway Minerals                    200,000    buy stock                          buy stock           CAD             (73,028.00)            -         (74,853.70)           -
        GARD       GARD           48672   4/17/2013 HYPP                                                             forex                              forex debit         USD             (73,357.22)     (74,090.79)             -              -
        GARD       GARD           48672   4/17/2013 HYPP                                                             forex                              forex credit        CAD              74,853.70             -          74,853.70            -
        GARD       GARD           48682   4/17/2013 WORK                                                             internal transfer                  debit               USD                    -       (250,100.00)             -              -
        GARD       GARD           48711   4/18/2013 HYPP     ARW       Aroway Minerals                    183,000    buy stock                          buy stock           CAD             (66,820.62)            -         (68,491.14)           -
        GARD       GARD           48742   4/18/2013 DGMI                                                             Galloway Energy TT                 debit               CAD             (25,040.00)            -         (25,290.40)           -
        GARD       GARD           48762   4/18/2013 HYPP                                                             forex                              forex debit         USD             (91,905.91)     (92,824.97)             -              -
        GARD       GARD           48762   4/18/2013 HYPP                                                             forex                              forex credit        CAD              93,781.54             -          93,781.54            -
        GARD       GARD           49174   4/26/2013 BSIT                                                             forex                              forex debit         USD             (19,401.74)     (19,595.76)             -              -
                                                                                                                                                                                                                                                       Date Filed: 02/18/2025




        GARD       GARD           49174   4/26/2013 BSIT                                                             forex                              forex credit        CAD              19,444.42             -          19,444.42            -
        GARD       GARD           49108   4/26/2013 DGMI                                                             Donald Gurney Law TT               debit               CAD             (11,847.90)            -         (11,966.38)           -
        GARD       GARD           49162   4/29/2013 HYPP     ARW       Aroway Minerals                     25,000    buy stock                          buy stock           CAD              (7,295.65)            -          (7,478.04)           -
        GARD       GARD           49235   4/29/2013 BOCG                                                             Airfares ck #253                   debit               CAD                (346.77)            -            (446.77)           -
        GARD       GARD           49953   4/30/2013 WORK                                                             internal transfer RCCV             debit               CAD                    -               -         (50,450.00)           -
        GARD       GARD           49429   4/30/2013 DGMN                                                             forex                              forex debit         USD                (444.53)        (448.98)             -              -
        GARD       GARD           49429   4/30/2013 DGMN                                                             forex                              forex credit        CAD                 454.51             -             454.51            -
        GARD       GARD           49561   4/30/2013 WORK                                                             interest payment                   interest payment    USD                    -          1,601.45              -              -
        GARD       GARD           49562   4/30/2013 WORK                                                             interest payment                   interest payment    CAD                    -               -              10.16            -
        GARD       GARD           49986    5/1/2013 DGMI                                                             forex                              forex debit         USD             (50,607.25)     (51,113.32)             -              -




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         Account    Account     Batch      Batch       Bank                               Symbol                                                Batch              Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                               Symbol                                             Stock
          Code       Title       ID         Date       Code                              Description                                          Description           Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           49986    5/1/2013 DGMI                                                                    forex                              forex credit       CAD            50,439.84            -        50,439.84            -
        GARD       GARD           50035    5/6/2013 VERN                                                                    forex                              forex debit        USD           (30,986.40)    (31,296.26)           -              -
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        GARD       GARD           50035    5/6/2013 VERN                                                                    forex                              forex credit       CAD            30,576.45            -        40,576.45            -
        GARD       GARD           50548    5/8/2013 BSIT                                                                    forex                              forex debit        USD          (332,745.00)   (336,072.45)           -              -
        GARD       GARD           50548    5/8/2013 BSIT                                                                    forex                              forex credit       CAD           338,335.15            -       338,335.15            -
        GARD       GARD           50200   5/10/2013 CASH                                                                    debit                              debit              USD            (3,000.00)     (3,150.00)           -              -
        GARD       GARD           50210   5/10/2013 DGMN                                                                    Ardent Strategies TT               debit              CAD          (375,160.00)           -      (378,911.60)           -
        GARD       GARD           50635   5/21/2013 CASH                                                                    debit                              debit              USD            (2,000.00)     (2,100.00)           -              -
        GARD       GARD           50923   5/24/2013 DGMN                                                                    Fitzroy TT                         credit             USD           125,000.00     125,000.00            -              -
        GARD       GARD           50925   5/24/2013 VERN      ORYN      Oryon Holdings                            (500,000) internal transfer                  stock delivery     USD                  -          (100.00)           -              -
        GARD       GARD           51146   5/29/2013 CBHQ                                                                    forex                              forex debit        USD            (5,584.86)     (5,640.71)           -              -
        GARD       GARD           51146   5/29/2013 CBHQ                                                                    forex                              forex credit       CAD             5,665.84            -         5,665.84            -
        GARD       GARD           51081   5/29/2013 TDCH                                                                    Airfares ck #8                     debit              CAD            (5,565.84)           -        (5,665.84)           -
        GARD       GARD           51190   5/30/2013 TDCH                                                                    Airfares ck #11                    debit              CAD               (52.50)           -          (152.50)           -
        GARD       GARD           51224   5/30/2013 BSIT                                                                    forex                              forex debit        USD              (149.69)       (151.19)           -              -
        GARD       GARD           51224   5/30/2013 BSIT                                                                    forex                              forex credit       CAD               152.50            -           152.50            -
        GARD       GARD           51205   5/31/2013 VERN                                                                    forex                              forex debit        USD           (16,526.68)    (16,691.94)           -              -
        GARD       GARD           51205   5/31/2013 VERN                                                                    forex                              forex credit       CAD            16,712.20            -        16,712.20            -
        GARD       GARD           51473   5/31/2013 WORK                                                                    interest payment                   interest payment   USD                  -         1,251.66            -              -
        GARD       GARD           51474   5/31/2013 WORK                                                                    interest payment                   interest payment   CAD                  -              -            22.99            -
        GARD       GARD           51963    6/7/2013 DGMI                                                                    forex                              forex debit        USD           (53,741.42)    (54,278.83)           -              -
        GARD       GARD           51963    6/7/2013 DGMI                                                                    forex                              forex credit       CAD            54,618.48            -        54,618.48            -
        GARD       GARD           51971    6/7/2013 CASH                                                                    buy 30 gold coins                  debit              CAD           (44,072.00)           -       (46,275.60)           -
                                                                                                                                                                                                                                                        Document: 00118249068




        GARD       GARD           52050   6/10/2013 DGMN                                                                    forex                              forex debit        USD           (82,189.07)    (83,010.96)           -              -
        GARD       GARD           52050   6/10/2013 DGMN                                                                    forex                              forex credit       CAD            82,893.43            -        82,893.43            -
        GARD       GARD           52020   6/10/2013 CASH                                                                    buy 70 gold coins                  debit              CAD          (102,830.00)           -      (107,971.50)           -
        GARD       GARD           52166   6/12/2013 WORK                                                                    internal transfer                  debit              USD                  -      (250,100.00)           -              -
        GARD       GARD           52472   6/19/2013 WORK                                                                    internal transfer                  debit              USD                  -      (150,100.00)           -              -
        GARD       GARD           52593   6/20/2013 BSIT                                                                    forex                              forex debit        USD           (31,165.05)    (31,476.70)           -              -
        GARD       GARD           52593   6/20/2013 BSIT                                                                    forex                              forex credit       CAD            32,100.00            -        32,100.00            -
        GARD       GARD           52550   6/20/2013 WORK                                                                    internal transfer TUNG             credit             USD                  -       112,400.00            -              -
        GARD       GARD           52559   6/20/2013 WORK                                                                    internal transfer                  credit             USD                  -        20,000.00            -              -
        GARD       GARD           52571   6/21/2013 BSIT      ARW       Aroway Minerals                             80,000 buy stock                           buy stock          CAD                  -              -       (32,100.00)           -




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                                                                                                                                                                                                                                                        Page: 173




        GARD       GARD           53522   6/29/2013 SIL2                                                                    forex                              forex debit        USD              (904.40)       (913.44)           -              -
        GARD       GARD           53522   6/29/2013 SIL2                                                                    forex                              forex credit       CAD               948.01            -           948.01            -
        GARD       GARD           52914   6/29/2013 WORK                                                                    custody fees                       debit              USD                  -          (622.27)           -              -
        GARD       GARD           52915   6/29/2013 WORK                                                                    custody fees                       debit              CAD                  -              -          (961.44)           -
        GARD       GARD           53205   6/29/2013 WORK                                                                    interest payment                   interest payment   USD                  -           941.39            -              -
        GARD       GARD           53206   6/29/2013 WORK                                                                    interest payment                   interest payment   CAD                  -              -             5.69            -
        GARD       GARD           53689    7/8/2013 CASH                                                                    debit                              debit              CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD           53901    7/8/2013 WORK                                                                    forex                              forex debit        USD                  -      (638,119.55)           -              -
        GARD       GARD           53901    7/8/2013 WORK                                                                    forex                              forex credit       CAD                  -              -       663,559.48            -
        GARD       GARD           53692    7/8/2013 BCHA                                                                    forex                              forex debit        USD            (5,050.16)     (5,100.66)           -              -
        GARD       GARD           53692    7/8/2013 BCHA                                                                    forex                              forex credit       CAD             5,250.00            -         5,250.00            -
        GARD       GARD           53701    7/8/2013 DGMN                                                                    Ardent Strategies TT               debit              CAD          (420,160.00)           -      (424,361.60)           -
        GARD       GARD           54070   7/11/2013 WORK                                                                    forex                              forex debit        USD                  -       (51,083.74)           -              -
        GARD       GARD           54070   7/11/2013 WORK                                                                    forex                              forex credit       CAD                  -              -        52,500.00            -
        GARD       GARD           53840   7/11/2013 CASH                                                                    buy 200 gold coins                 debit              CAD          (277,807.50)           -      (291,697.88)           -
        GARD       GARD           54297   7/25/2013 WORK                                                                    internal transfer TUNG             credit             USD                  -       200,000.00            -              -
        GARD       GARD           54516   7/30/2013 BCHA      L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13     50,000 Devon Ventures ck #76               buy stock          CAD           (50,000.00)           -       (50,500.00)           -
        GARD       GARD           54571   7/30/2013 WORK                                                                    forex                              forex debit        USD                  -       (50,004.90)           -              -
        GARD       GARD           54571   7/30/2013 WORK                                                                    forex                              forex credit       CAD                  -              -        50,500.00            -
        GARD       GARD           54599   7/31/2013 WORK                                                                    internal transfer                  credit             USD                  -       500,000.00            -              -
                                                                                                                                                                                                                                                        Date Filed: 02/18/2025




        GARD       GARD           54857   7/31/2013 WORK                                                                    interest payment                   interest payment   USD                  -           495.93            -              -
        GARD       GARD           54858   7/31/2013 WORK                                                                    interest payment                   interest payment   CAD                  -              -            19.66            -
        GARD       GARD           55657   8/21/2013 WORK                                                                    internal transfer                  credit             USD                  -       600,000.00            -              -
        GARD       GARD           56130   8/31/2013 WORK                                                                    interest payment                   interest payment   USD                  -         1,014.46            -              -
        GARD       GARD           56131   8/31/2013 WORK                                                                    interest payment                   interest payment   CAD                  -              -             0.02            -
        GARD       GARD           56303    9/3/2013 CASH                                                                    debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           56445    9/3/2013 BSIT                                                                    forex                              forex debit        USD           (10,153.86)    (10,255.40)           -              -
        GARD       GARD           56445    9/3/2013 BSIT                                                                    forex                              forex credit       CAD            10,580.32            -        10,580.32            -
        GARD       GARD           56702    9/4/2013 CBHQ                                                                    delivery ARW                       debit              USD              (229.20)       (229.20)           -              -
        GARD       GARD           56345    9/4/2013 CBHQ      ARW       Aroway Minerals                           (884,583) internal transfer                  stock delivery     CAD                  -              -          (100.00)           -




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         Account    Account     Batch     Batch      Bank                             Symbol                                                    Batch               Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                             Symbol                                               Stock
          Code       Title       ID        Date      Code                            Description                                              Description           Description      Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           56345   9/4/2013 VPQU     ARW       Aroway Minerals                              884,583 internal transfer                   transfer stock in   CAD                  -              -              -              -
        GARD       GARD           56539   9/7/2013 WORK                                                                     Gardenwall Fdn 13 fees             debit               USD                  -        (3,500.00)           -              -
                                                                                                                                                                                                                                                         Case: 24-1770




        GARD       GARD           56928 9/17/2013 WORK                                                                      internal transfer                  credit              USD                  -        18,750.00            -              -
        GARD       GARD           57158 9/20/2013 WORK                                                                      internal transfer GRWD             debit               USD                  -      (100,100.00)           -              -
        GARD       GARD           57309 9/23/2013 BSIT                                                                      forex                              forex debit         USD           (10,110.80)    (10,211.91)           -              -
        GARD       GARD           57309 9/23/2013 BSIT                                                                      forex                              forex credit        CAD            10,357.50            -        10,357.50            -
        GARD       GARD           57209 9/23/2013 BCHA                                                                      Vancouver Police draft             debit               CAD            (5,007.50)           -        (5,107.50)           -
        GARD       GARD           57223 9/23/2013 WORK                                                                      internal transfer                  credit              USD                  -       200,000.00            -              -
        GARD       GARD           57266 9/24/2013 CASH                                                                      debit                              debit               CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD           57479 9/30/2013 CASH                                                                      debit                              debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           57482 9/30/2013 LEMI                                                                      forex                              forex debit         USD           (10,180.34)    (10,282.14)           -              -
        GARD       GARD           57482 9/30/2013 LEMI                                                                      forex                              forex credit        CAD            10,500.00            -        10,500.00            -
        GARD       GARD           57487 9/30/2013 CASH                                                                      buy 100 gold coins                 debit               CAD          (141,903.75)           -      (148,998.94)           -
        GARD       GARD           57648 9/30/2013 WORK                                                                      forex                              forex debit         USD                  -      (145,974.26)           -              -
        GARD       GARD           57648 9/30/2013 WORK                                                                      forex                              forex credit        CAD                  -              -       148,998.94            -
        GARD       GARD           57693 9/30/2013 WORK                                                                      custody fees                       debit               USD                  -          (722.69)           -              -
        GARD       GARD           57694 9/30/2013 WORK                                                                      custody fees                       debit               CAD                  -              -        (1,145.55)           -
        GARD       GARD           57859 9/30/2013 WORK                                                                      interest payment                   interest payment    USD                  -         1,304.73            -              -
        GARD       GARD           57860 9/30/2013 WORK                                                                      interest payment                   interest payment    CAD                  -              -             0.15            -
        GARD       GARD           58071 10/1/2013 SBCH                                                                      forex                              forex debit         USD            (2,106.29)     (2,127.35)           -              -
        GARD       GARD           58071 10/1/2013 CASH                                                                      forex                              forex credit        CAD             2,124.79            -         2,124.79            -
        GARD       GARD           58032 10/1/2013 TDCH                                                                      Air Fares ck #16                   debit               CAD              (879.40)           -          (979.39)           -
        GARD       GARD           58160 10/3/2013 VERL      AAPH      American Petro-Hunter                        (27,550) sell stock                         sell stock          USD               541.75         441.75            -              -
                                                                                                                                                                                                                                                         Document: 00118249068




        GARD       GARD           58246 10/7/2013 VPQU      ARW       Aroway Minerals                           (1,236,500) deliver stock                      stock delivery      CAD                  -              -              -              -
        GARD       GARD           58735 10/7/2013 VPQU                                                                      ARW                                debit               USD              (439.58)       (539.58)           -              -
        GARD       GARD           58250 10/7/2013 REST                                                                      directors fee                      debit               USD                  -          (200.00)           -              -
        GARD       GARD           58457 10/8/2013 BSIT                                                                      forex                              forex debit         USD           (20,602.62)    (20,808.65)           -              -
        GARD       GARD           58457 10/8/2013 BSIT                                                                      forex                              forex credit        CAD            21,179.49            -        21,179.49            -
        GARD       GARD           58289 10/8/2013 CASH                                                                      debit                              debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           58423 10/8/2013 SBCH                                                                      forex                              forex debit         USD           (10,445.40)    (10,549.85)           -              -
        GARD       GARD           58423 10/8/2013 CASH                                                                      forex                              forex credit        CAD            10,600.00            -        10,600.00            -
        GARD       GARD           58426 10/11/2013 BCHA                                                                     forex                              forex debit         CAD           (10,573.75)           -       (10,679.49)           -
        GARD       GARD           58426 10/11/2013 CASH                                                                     forex                              forex credit        USD            10,000.00      10,000.00            -              -




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        GARD       GARD           58436 10/11/2013 CASH                                                                     debit                              debit               USD           (10,000.00)    (10,500.00)           -              -
        GARD       GARD           58437 10/11/2013 CASH                                                                     debit                              debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           58555 10/15/2013 WORK                                                                     forex                              forex debit         USD                  -       (20,573.70)           -              -
        GARD       GARD           58555 10/15/2013 WORK                                                                     forex                              forex credit        CAD                  -              -        21,000.00            -
        GARD       GARD           58515 10/15/2013 CASH                                                                     debit                              debit               CAD           (20,000.00)           -       (21,000.00)           -
        GARD       GARD           58646 10/18/2013 CASH                                                                     debit                              debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           58702 10/18/2013 WORK                                                                     forex                              forex debit         USD                  -       (10,339.88)           -              -
        GARD       GARD           58702 10/18/2013 WORK                                                                     forex                              forex credit        CAD                  -              -        10,500.00            -
        GARD       GARD           62623 10/21/2013 LOAN     L-ARDC    Charterhouse:Ardent:8%:21/10/2016             59,156 interest                            buy stock           CAD                  -              -        (9,859.00)           -
        GARD       GARD           58850 10/24/2013 CASH                                                                     debit                              debit               CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           58875 10/24/2013 BSIT                                                                     forex                              forex debit         USD          (111,984.47)   (113,104.31)           -              -
        GARD       GARD           58875 10/24/2013 BSIT                                                                     forex                              forex credit        CAD           115,400.00            -       115,400.00            -
        GARD       GARD           58922 10/25/2013 CASH                                                                     debit                              debit               CAD          (100,000.00)           -      (105,000.00)           -
        GARD       GARD           58933 10/25/2013 BSIT     ARW       Aroway Minerals                             (400,000) internal transfer                  stock delivery      CAD                  -              -              -              -
        GARD       GARD           58935 10/25/2013 REST     ARW-R     Aroway Minerals                              400,000 internal transfer                   transfer stock in   CAD                  -              -              -              -
        GARD       GARD           59766 10/28/2013 VPQU                                                                     ARW cert                           debit               USD              (223.20)       (323.20)           -              -
        GARD       GARD           60442 10/28/2013 VPQU                                                                     DHL ARW                            debit               USD               (84.94)        (84.94)           -              -
        GARD       GARD           59097 10/28/2013 WORK                                                                     forex                              forex debit         USD                  -          (193.92)           -              -
        GARD       GARD           59097 10/28/2013 WORK                                                                     forex                              forex credit        CAD                  -              -           200.00            -
        GARD       GARD           59002 10/28/2013 WORK                                                                     internal transfer                  debit               USD                  -      (250,100.00)           -              -
                                                                                                                                                                                                                                                         Date Filed: 02/18/2025




        GARD       GARD           59021 10/28/2013 VPQU     ARW       Aroway Minerals                             (133,958) order certificate                  stock delivery      CAD                  -              -          (100.00)           -
        GARD       GARD           59022 10/28/2013 HYPP     ARW       Aroway Minerals                             (947,042) deliver stock                      stock delivery      CAD                  -              -          (100.00)           -
        GARD       GARD           59023 10/28/2013 REST                                                                     directors fee                      debit               USD                  -          (200.00)           -              -
        GARD       GARD           59626 10/29/2013 BSIP                                                                     50% watch Payment AP               debit               USD           (26,572.54)    (26,838.27)           -              -
        GARD       GARD           59388 10/31/2013 WORK                                                                     interest payment                   interest payment    USD                  -         1,203.43            -              -
        GARD       GARD           59389 10/31/2013 WORK                                                                     interest payment                   interest payment    CAD                  -              -             4.66            -
        GARD       GARD           59897 11/7/2013 BSIP                                                                      Cash Withdrawal 10K CHF            debit               USD           (10,996.44)    (11,106.40)           -              -
        GARD       GARD           60129 11/15/2013 WORK                                                                     forex                              forex debit         USD                  -       (71,879.27)           -              -
        GARD       GARD           60129 11/15/2013 WORK                                                                     forex                              forex credit        CAD                  -              -        74,132.91            -
        GARD       GARD           60026 11/15/2013 BCHA     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13       63,000 Devon Ventures draft                buy stock           CAD           (63,007.50)           -       (63,637.57)           -




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         Account    Account     Batch     Batch       Bank                             Symbol                                                  Batch                    Transaction    Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                                             Stock
          Code       Title       ID        Date       Code                            Description                                            Description                Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           60038 11/15/2013 CASH                                                                    debit                                   debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           60124 11/19/2013 WORK                                                                    internal transfer                       debit              USD                  -      (400,100.00)           -              -
                                                                                                                                                                                                                                                            Case: 24-1770




        GARD       GARD           60174 11/20/2013 WORK                                                                    Directors fees                          debit              CAD                  -              -          (200.00)           -
        GARD       GARD           60197 11/20/2013 WORK                                                                    forex                                   forex debit        USD                  -          (193.92)           -              -
        GARD       GARD           60197 11/20/2013 WORK                                                                    forex                                   forex credit       CAD                  -              -           200.00            -
        GARD       GARD           60263 11/21/2013 REST                                                                    directors fee                           debit              USD                  -          (300.00)           -              -
        GARD       GARD           60317 11/22/2013 TDCH                                                                    Air Fares ck #23                        debit              CAD            (6,695.95)           -        (6,795.95)           -
        GARD       GARD           60339 11/22/2013 WORK                                                                    forex                                   forex debit        USD                  -        (6,589.35)           -              -
        GARD       GARD           60339 11/22/2013 WORK                                                                    forex                                   forex credit       CAD                  -              -         6,795.95            -
        GARD       GARD           60558 11/28/2013 CASH                                                                    debit                                   debit              CAD           (20,000.00)           -       (21,000.00)           -
        GARD       GARD           60992 11/29/2013 LEMI      ARW       Aroway Minerals                             60,000 buy stock                                buy stock          CAD           (12,268.19)           -       (12,574.89)           -
        GARD       GARD           60566 11/29/2013 TDCH                                                                    Airfares ck #24                         debit              CAD            (7,512.40)           -        (7,612.40)           -
        GARD       GARD           60771 11/30/2013 WORK                                                                    interest payment                        interest payment   USD                  -           704.46            -              -
        GARD       GARD           60772 11/30/2013 WORK                                                                    interest charge                         interest charge    CAD                  -              -            (0.01)           -
        GARD       GARD           61223 12/2/2013 WORK                                                                     forex                                   forex debit        USD                  -      (312,482.95)           -              -
        GARD       GARD           61223 12/2/2013 WORK                                                                     forex                                   forex credit       CAD                  -              -       329,137.30            -
        GARD       GARD           60966 12/2/2013 REST       ARW-R     Aroway Minerals                           (400,000) deliver stock                           stock delivery     CAD                  -              -          (100.00)           -
        GARD       GARD           60970 12/2/2013 BSIT                                                                     Ferrous Capital TT                      debit              CAD          (285,000.00)           -      (287,850.00)           -
        GARD       GARD           61517 12/13/2013 SIL2                                                                    forex                                   forex debit        USD           (30,212.42)    (30,514.54)           -              -
        GARD       GARD           61517 12/13/2013 SIL2                                                                    forex                                   forex credit       CAD            31,500.00            -        31,500.00            -
        GARD       GARD           61431 12/13/2013 CASH                                                                    debit                                   debit              CAD           (30,000.00)           -       (31,500.00)           -
        GARD       GARD           61495 12/16/2013 WORK                                                                    internal transfer                       credit             USD                  -       245,000.00            -              -
        GARD       GARD           61492 12/16/2013 WORK                                                                    internal transfer                       credit             USD                  -       450,000.00            -              -
                                                                                                                                                                                                                                                            Document: 00118249068




        GARD       GARD           61786 12/20/2013 CASH                                                                    debit                                   debit              CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD           61822 12/20/2013 WORK                                                                    forex                                   forex debit        USD                  -        (5,090.40)           -              -
        GARD       GARD           61822 12/20/2013 WORK                                                                    forex                                   forex credit       CAD                  -              -         5,250.00            -
        GARD       GARD           62153 12/31/2013 WORK                                                                    custody fees                            debit              CAD                  -              -           (34.01)           -
        GARD       GARD           62312 12/31/2013 WORK                                                                    interest payment                        interest payment   USD                  -           520.35            -              -
        GARD       GARD           62313 12/31/2013 WORK                                                                    interest charge                         interest charge    CAD                  -              -           (27.08)           -
        GARD       GARD           62763   1/1/2014 WORK                                                                    forex                                   forex debit        USD                  -        (9,418.13)           -              -
        GARD       GARD           62763   1/1/2014 WORK                                                                    forex                                   forex credit       CAD                  -              -         9,920.09            -
        GARD       GARD           63008 1/16/2014 BCHA       L-ARDC    Charterhouse:Ardent:8%:21/10/2016          (59,156) Interest payment                        sell stock         CAD            59,156.00            -        59,156.00            -
        GARD       GARD           63125 1/22/2014 LEMI       ARW       Aroway Minerals                            (60,000) order certificate for Govinda Gill      stock delivery     CAD                  -              -          (100.00)           -




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        GARD       GARD           63634 1/31/2014 WORK                                                                     interest payment                        interest payment   USD                  -           777.16            -              -
        GARD       GARD           63635 1/31/2014 WORK                                                                     interest payment                        interest payment   CAD                  -              -            25.90            -
        GARD       GARD           64141 2/11/2014 TDCH                                                                     Airfares                                debit              CAD           (11,134.84)           -       (11,246.19)           -
        GARD       GARD           64259 2/14/2014 CASH                                                                     debit                                   debit              CAD           (20,000.00)           -       (21,000.00)           -
        GARD       GARD           64266 2/14/2014 BCHA       L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13     17,500 Devon Ventures ck #166                   buy stock          CAD           (17,500.00)           -       (17,675.00)           -
        GARD       GARD           64631 2/24/2014 VERL                                                                     forex                                   forex debit        USD              (366.45)       (370.11)           -              -
        GARD       GARD           64631 2/24/2014 VERL                                                                     forex                                   forex credit       CAD               400.00            -           400.00            -
        GARD       GARD           64576 2/24/2014 CASH                                                                     debit                                   debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           64579 2/24/2014 WORK                                                                     forex                                   forex debit        USD                  -        (1,230.94)           -              -
        GARD       GARD           64579 2/24/2014 WORK                                                                     forex                                   forex credit       CAD                  -              -         1,339.29            -
        GARD       GARD           64697 2/25/2014 LELO                                                                     forex                                   forex debit        USD            (8,328.52)     (8,411.81)           -              -
        GARD       GARD           64697 2/25/2014 LELO                                                                     forex                                   forex credit       CAD             9,228.00            -         9,228.00            -
        GARD       GARD           64345 2/25/2014 LOAN       L-PINC    Quarry:Pine:6%:Demand                       57,762 interest                                 buy stock          CAD                  -              -        (9,628.00)           -
        GARD       GARD           64690 2/26/2014 LELO                                                                     Blackrock Media TT                      debit              USD          (250,100.00)   (252,601.00)           -              -
        GARD       GARD           64980 2/28/2014 WORK                                                                     interest payment                        interest payment   USD                  -           680.65            -              -
        GARD       GARD           64981 2/28/2014 WORK                                                                     interest payment                        interest payment   CAD                  -              -            22.64            -
        GARD       GARD           65416   3/7/2014 WORK                                                                    internal transfer                       credit             USD                  -        63,000.00            -              -
        GARD       GARD           65417   3/7/2014 WORK                                                                    internal transfer                       credit             USD                  -       110,000.00            -              -
        GARD       GARD           66512   3/8/2014 LOAN      L-JACC    CityGroup:Jackson: 6%: 08/03/18             60,000 interest                                 buy stock          CAD                  -              -       (10,000.00)           -
        GARD       GARD           65452 3/10/2014 TDCH                                                                     Airfares ck #37                         debit              CAD              (483.77)           -          (583.77)           -
                                                                                                                                                                                                                                                            Date Filed: 02/18/2025




        GARD       GARD           65515 3/11/2014 BCHA                                                                     forex                                   forex debit        CAD           (11,317.50)           -       (11,430.67)           -
        GARD       GARD           65515 3/11/2014 CASH                                                                     forex                                   forex credit       USD            10,000.00      10,000.00            -              -
        GARD       GARD           65821 3/11/2014 LEMI                                                                     forex                                   forex debit        USD           (10,814.14)    (10,922.28)           -              -
        GARD       GARD           65821 3/11/2014 LEMI                                                                     forex                                   forex credit       CAD            11,991.80            -        11,991.80            -
        GARD       GARD           65525 3/11/2014 CASH                                                                     debit                                   debit              USD           (10,000.00)    (10,500.00)           -              -
        GARD       GARD           65672 3/13/2014 WORK                                                                     internal transfer                       credit             USD                  -       125,000.00            -              -
        GARD       GARD           65905 3/19/2014 WORK                                                                     Garden 14 fees                          debit              USD                  -        (2,500.00)           -              -
        GARD       GARD           68592 3/20/2014 SGPE       L-SUMC    Charterhouse:Summy:6% Demand                25,000 Parkside TT Summy                        buy stock          CAD           (25,025.00)           -       (25,900.88)           -
        GARD       GARD           67731 3/20/2014 LEMI                                                                     forex                                   forex debit        USD           (31,380.53)    (31,694.34)           -              -
        GARD       GARD           67731 3/20/2014 CASH                                                                     forex                                   forex credit       CAD            33,700.67            -        33,700.67            -




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         Account    Account     Batch      Batch      Bank                              Symbol                                                 Batch              Transaction     Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                                             Stock
          Code       Title       ID         Date      Code                             Description                                           Description           Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           66525   3/31/2014 CASH                                                                   debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           66752   3/31/2014 WORK                                                                   interest payment                   interest payment   USD                  -           731.46            -              -
                                                                                                                                                                                                                                                       Case: 24-1770




        GARD       GARD           66753   3/31/2014 WORK                                                                   interest charge                    interest charge    CAD                  -              -          (415.13)           -
        GARD       GARD           66942    4/1/2014 LEBU                                                                   forex                              forex debit        USD           (47,644.87)    (48,121.32)           -              -
        GARD       GARD           66942    4/1/2014 LEBU                                                                   forex                              forex credit       CAD            52,609.47            -        52,609.47            -
        GARD       GARD           67242    4/1/2014 WORK                                                                   forex                              forex debit        USD                  -        (1,111.19)           -              -
        GARD       GARD           67242    4/1/2014 WORK                                                                   forex                              forex credit       CAD                  -              -         1,209.00            -
        GARD       GARD           67880   4/25/2014 REST     AAPH-R    American Petro-Hunter                     (150,000) deliver stock                      stock delivery     USD                  -          (100.00)           -              -
        GARD       GARD           68320   4/30/2014 WORK                                                                   interest payment                   interest payment   USD                  -           705.00            -              -
        GARD       GARD           68321   4/30/2014 WORK                                                                   interest payment                   interest payment   CAD                  -              -            26.05            -
        GARD       GARD           68514    5/1/2014 TDCH                                                                   Airfares                           debit              CAD            (8,621.10)           -        (8,721.10)           -
        GARD       GARD           68617    5/2/2014 HELI                                                                   forex                              forex debit        USD          (450,335.73)   (454,839.09)           -              -
        GARD       GARD           68617    5/2/2014 HELI                                                                   forex                              forex credit       CAD           488,828.97            -       488,828.97            -
        GARD       GARD           68543    5/2/2014 WORK                                                                   internal transfer                  credit             USD                  -       325,000.00            -              -
        GARD       GARD           68547    5/2/2014 WORK                                                                   internal transfer                  credit             USD                  -       329,000.00            -              -
        GARD       GARD           68595    5/2/2014 HELI     L-SUMC    Charterhouse:Summy:6% Demand               506,954 Bell Alliance TT Summy              buy stock          CAD          (506,954.20)           -      (519,628.05)           -
        GARD       GARD           68766    5/8/2014 CASH                                                                   debit                              debit              CAD           (50,000.00)           -       (52,500.00)           -
        GARD       GARD           68815    5/8/2014 WORK                                                                   forex                              forex debit        USD                  -       (49,048.13)           -              -
        GARD       GARD           68815    5/8/2014 WORK                                                                   forex                              forex credit       CAD                  -              -        52,500.00            -
        GARD       GARD           69215   5/20/2014 WORK                                                                   forex                              forex debit        USD                  -       (78,477.00)           -              -
        GARD       GARD           69215   5/20/2014 WORK                                                                   forex                              forex credit       CAD                  -              -        84,000.00            -
        GARD       GARD           69071   5/20/2014 CASH                                                                   debit                              debit              CAD           (80,000.00)           -       (84,000.00)           -
        GARD       GARD           69272   5/28/2014 WORK                                                                   internal transfer                  credit             USD                  -        15,000.00            -              -
                                                                                                                                                                                                                                                       Document: 00118249068




        GARD       GARD           69622   5/29/2014 WORK                                                                   interest payment                   interest payment   USD                  -           784.54            -              -
        GARD       GARD           69623   5/29/2014 WORK                                                                   interest payment                   interest payment   CAD                  -              -             0.84            -
        GARD       GARD           69366   5/30/2014 TDCH                                                                   Airfares                           debit              CAD              (830.54)           -          (930.54)           -
        GARD       GARD           69548   5/30/2014 WORK                                                                   forex                              forex debit        USD                  -          (860.95)           -              -
        GARD       GARD           69548   5/30/2014 WORK                                                                   forex                              forex credit       CAD                  -              -           921.54            -
        GARD       GARD           70619    6/2/2014 SGPE                                                                   forex                              forex debit        USD           (18,524.02)    (18,809.26)           -              -
        GARD       GARD           70619    6/2/2014 SGPE                                                                   forex                              forex credit       CAD            19,808.53            -        19,808.53            -
        GARD       GARD           69936    6/4/2014 WORK                                                                   internal transfer                  credit             USD                  -        30,000.00            -              -
        GARD       GARD           70014    6/6/2014 VERA     BXE       Bellatrix Exploration                       20,000 buy stock                           buy stock          CAD          (191,730.07)           -      (196,523.32)           -
        GARD       GARD           70187    6/6/2014 WORK                                                                   forex                              forex debit        USD                  -       (11,224.87)           -              -




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        GARD       GARD           70187    6/6/2014 WORK                                                                   forex                              forex credit       CAD                  -              -        11,950.25            -
        GARD       GARD           70090    6/9/2014 VERA     BXE       Bellatrix Exploration                       30,000 buy stock                           buy stock          CAD          (285,953.45)           -      (293,102.29)           -
        GARD       GARD           70158   6/10/2014 VERA                                                                   forex                              forex debit        USD          (444,232.79)   (448,675.12)           -              -
        GARD       GARD           70158   6/10/2014 VERA                                                                   forex                              forex credit       CAD           477,683.52            -       477,683.52            -
        GARD       GARD           70207   6/11/2014 VERA     BXE       Bellatrix Exploration                      (50,000) deliver stock                      stock delivery     CAD              (200.00)           -          (300.00)           -
        GARD       GARD           70328   6/13/2014 VERA                                                                   forex                              forex debit        USD              (187.78)       (189.66)           -              -
        GARD       GARD           70328   6/13/2014 VERA                                                                   forex                              forex credit       CAD               200.00            -           200.00            -
        GARD       GARD           70440   6/17/2014 BCHA     L-SUMC    Charterhouse:Summy:6% Demand                 9,109 District of Summerland ck #229      buy stock          CAD            (9,108.53)           -        (9,208.53)           -
        GARD       GARD           70463   6/18/2014 CASH                                                                   debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           73970   6/27/2014 WORK                                                                   interest payment                   interest payment   USD                  -           528.99            -              -
        GARD       GARD           73971   6/27/2014 WORK                                                                   interest charge                    interest charge    CAD                  -              -          (619.89)           -
        GARD       GARD           74143   6/30/2014 LEMI                                                                   forex                              forex debit        USD              (580.98)       (586.79)           -              -
        GARD       GARD           74143   6/30/2014 LEMI                                                                   forex                              forex credit       CAD               619.89            -           619.89            -
        GARD       GARD           74337    7/7/2014 CASH                                                                   debit                              debit              CAD           (20,000.00)           -       (21,000.00)           -
        GARD       GARD           74338    7/7/2014 WORK                                                                   internal transfer                  credit             USD                  -        85,000.00            -              -
        GARD       GARD           74347    7/7/2014 WORK                                                                   forex                              forex debit        USD                  -       (19,937.40)           -              -
        GARD       GARD           74347    7/7/2014 WORK                                                                   forex                              forex credit       CAD                  -              -        21,000.00            -
        GARD       GARD           74896   7/16/2014 SGPE                                                                   forex                              forex debit        USD           (10,371.63)    (10,575.35)           -              -
        GARD       GARD           74896   7/16/2014 SGPE                                                                   forex                              forex credit       CAD            10,933.50            -        10,933.50            -
        GARD       GARD           74598   7/16/2014 CASH                                                                   debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
                                                                                                                                                                                                                                                       Date Filed: 02/18/2025




        GARD       GARD           74658   7/17/2014 BCEL                                                                   Computershare ck #178              debit              CAD               (21.00)           -          (121.00)           -
        GARD       GARD           74798   7/23/2014 TDCH                                                                   Insurance ck #62                   debit              CAD              (212.50)           -          (312.50)           -
        GARD       GARD           75003   7/30/2014 WORK                                                                   forex                              forex debit        USD                  -      (239,723.50)           -              -
        GARD       GARD           75003   7/30/2014 WORK                                                                   forex                              forex credit       CAD                  -              -       252,500.00            -
        GARD       GARD           74490   7/30/2014 LOAN     L-DEVC    Charterhouse:Devon Ventures:6%:30/07/13      6,715 interest                            buy stock          CAD                  -              -        (1,119.00)           -
        GARD       GARD           74956   7/30/2014 WORK                                                                   forex                              forex debit        USD                  -        (1,062.38)           -              -
        GARD       GARD           74956   7/30/2014 WORK                                                                   forex                              forex credit       CAD                  -              -         1,119.00            -
        GARD       GARD           74969   7/30/2014 BCHA     L-ARDC    Charterhouse:Ardent:6%:Demand              250,000 Ardent Strategies ck #250           buy stock          CAD          (250,000.00)           -      (252,500.00)           -
        GARD       GARD           75234   7/31/2014 WORK                                                                   interest payment                   interest payment   USD                  -           488.78            -              -
        GARD       GARD           75235   7/31/2014 WORK                                                                   interest charge                    interest charge    CAD                  -              -            (0.75)           -




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         Account    Account     Batch     Batch      Bank                              Symbol                                         Batch               Transaction    Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                             Symbol                                     Stock
          Code       Title       ID        Date      Code                             Description                                   Description           Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           75728   8/1/2014 WORK                                                           forex                              forex debit        USD                  -            (0.71)           -              -
        GARD       GARD           75728   8/1/2014 WORK                                                           forex                              forex credit       CAD                  -              -             0.75            -
                                                                                                                                                                                                                                              Case: 24-1770




        GARD       GARD           76496 8/31/2014 WORK                                                            interest payment                   interest payment   USD                  -           263.43            -              -
        GARD       GARD           76997 9/10/2014 CASH                                                            debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           77092 9/10/2014 WORK                                                            forex                              forex debit        USD                  -       (36,600.39)           -              -
        GARD       GARD           77092 9/10/2014 WORK                                                            forex                              forex credit       CAD                  -              -        39,162.34            -
        GARD       GARD           77043 9/11/2014 SBCH      L-SUMC    Charterhouse:Summy:6% Demand            74 District of Summerland ck #19       buy stock          CAD               (74.03)           -          (174.03)           -
        GARD       GARD           77077 9/12/2014 BCHA                                                            forex                              forex debit        CAD           (28,206.25)           -       (28,488.31)           -
        GARD       GARD           77077 9/12/2014 CASH                                                            forex                              forex credit       USD            25,000.00      25,000.00            -              -
        GARD       GARD           77174 9/16/2014 CASH                                                            debit                              debit              USD           (20,000.00)    (21,000.00)           -              -
        GARD       GARD           77357 9/19/2014 WORK                                                            internal transfer                  credit             USD                  -        34,950.00            -              -
        GARD       GARD           78037 9/30/2014 WORK                                                            interest payment                   interest payment   USD                  -           250.17            -              -
        GARD       GARD           78038 9/30/2014 WORK                                                            interest payment                   interest payment   CAD                  -              -             1.57            -
        GARD       GARD           78407 10/8/2014 SGPE                                                            Buan Hau Holding TT cancel         debit              USD                  -          (200.00)           -              -
        GARD       GARD           78487 10/9/2014 SGPE                                                            Adisak Ploychattakool TT           debit              USD           (68,000.00)    (68,780.00)           -              -
        GARD       GARD           78524 10/13/2014 WORK                                                           director fee                       debit              USD                  -          (100.00)           -              -
        GARD       GARD           78526 10/13/2014 VERA                                                           Anthony Wonnacott TT               debit              USD          (100,100.00)   (101,101.00)           -              -
        GARD       GARD           78553 10/13/2014 WORK                                                           Gardenwall Fdn 14 fees             debit              USD                  -        (3,500.00)           -              -
        GARD       GARD           78617 10/14/2014 SGGO                                                           forex                              forex debit        USD           (14,847.00)    (14,847.00)           -              -
        GARD       GARD           78617 10/14/2014 SGGO                                                           forex                              forex credit       CAD            16,515.94            -        16,515.94            -
        GARD       GARD           78614 10/14/2014 CASH                                                           debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           78707 10/21/2014 LOAN     L-ARDC    Charterhouse:Ardent:6%:Demand       88,160 interest                            buy stock          CAD                  -              -       (14,693.00)           -
        GARD       GARD           79031 10/21/2014 WORK                                                           forex                              forex debit        USD                  -        (1,425.24)           -              -
                                                                                                                                                                                                                                              Document: 00118249068




        GARD       GARD           79031 10/21/2014 WORK                                                           forex                              forex credit       CAD                  -              -         1,558.00            -
        GARD       GARD           78925 10/24/2014 SGPE                                                           forex                              forex debit        USD           (12,041.38)    (12,041.38)           -              -
        GARD       GARD           78925 10/24/2014 CASH                                                           forex                              forex credit       CAD            13,135.00            -        13,135.00            -
        GARD       GARD           79485 10/31/2014 WORK                                                           interest payment                   interest payment   USD                  -           157.71            -              -
        GARD       GARD           79486 10/31/2014 WORK                                                           interest charge                    interest charge    CAD                  -              -           (11.57)           -
        GARD       GARD           79673 11/3/2014 CASH                                                            debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           79803 11/5/2014 WORK                                                            internal transfer                  debit              USD                  -      (200,100.00)           -              -
        GARD       GARD           79831 11/6/2014 CHSD      MAPG-E    Maple Leaf 1 oz gold coins             100 receive gold coins                  buy stock          CAD                  -              -          (100.00)           -
        GARD       GARD           80793 11/30/2014 WORK                                                           interest charge                    interest charge    USD                  -        (1,503.38)           -              -
        GARD       GARD           80794 11/30/2014 WORK                                                           interest charge                    interest charge    CAD                  -              -           (84.05)           -




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        GARD       GARD           81326 12/10/2014 WORK                                                           internal transfer                  credit             USD                  -        45,282.14            -              -
        GARD       GARD           81332 12/10/2014 WORK                                                           internal transfer                  debit              USD                  -        (2,163.13)           -              -
        GARD       GARD           81361 12/11/2014 HELH                                                           forex                              forex debit        USD           (28,275.43)    (28,275.43)           -              -
        GARD       GARD           81361 12/11/2014 CASH                                                           forex                              forex credit       CAD            31,380.00            -        31,380.00            -
        GARD       GARD           81358 12/11/2014 CASH                                                           debit                              debit              CAD           (40,000.00)           -       (42,000.00)           -
        GARD       GARD           81417 12/15/2014 SBCH     L-SUMC    Charterhouse:Summy:6% Demand           100 District of Summerland ck #39       buy stock          CAD              (100.00)           -          (200.00)           -
        GARD       GARD           81662 12/19/2014 CASH                                                           debit                              debit              CAD              (500.00)           -          (600.00)           -
        GARD       GARD           90624 12/31/2014 LOAN     L-ARDC    Charterhouse:Ardent:6%:Demand       20,440 interest                            buy stock          CAD                  -              -        (3,406.00)           -
        GARD       GARD           90625 12/31/2014 LOAN     L-ARDC    Charterhouse:Ardent:6%:Demand   (1,771,774) loan assignment                    sell stock         CAD                  -              -              -              -
        GARD       GARD           83484 12/31/2014 LOAN     L-PINC    Quarry:Pine:6%:Demand               51,729 interest                            buy stock          CAD                  -              -        (8,622.00)           -
        GARD       GARD           90626 12/31/2014 LOAN     L-PINC    Quarry:Pine:6%:Demand           (1,072,187) loan assignment                    sell stock         CAD                  -              -              -              -
        GARD       GARD           90627 12/31/2014 WORK                                                           Directors fee                      debit              USD                  -          (200.00)           -              -
        GARD       GARD           81822 12/31/2014 WORK                                                           interest charge                    interest charge    USD                  -        (1,604.39)           -              -
        GARD       GARD           81823 12/31/2014 WORK                                                           interest charge                    interest charge    CAD                  -              -          (249.36)           -
        GARD       GARD           83249 1/30/2015 BCHA                                                            forex                              forex debit        USD            (2,174.43)     (2,196.17)           -              -
        GARD       GARD           83249 1/30/2015 CASH                                                            forex                              forex credit       CAD             2,641.02            -         2,641.02            -
        GARD       GARD           83282   2/2/2015 WORK                                                           Garden 2015 fees                   debit              USD                  -        (2,500.00)           -              -
        GARD       GARD           85687 2/23/2015 WORK                                                            vote for Red Rock                  debit              USD                  -          (100.00)           -              -
        GARD       GARD           85808 2/26/2015 CASH                                                            debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           86299   3/8/2015 LOAN     L-JACC    CityGroup:Jackson:6%                63,600 interest                            buy stock          CAD                  -              -       (10,600.00)           -
                                                                                                                                                                                                                                              Date Filed: 02/18/2025




        GARD       GARD           87447   4/1/2015 BCHA                                                           forex                              forex debit        USD           (25,856.07)    (26,114.63)           -              -
        GARD       GARD           87447   4/1/2015 CASH                                                           forex                              forex credit       CAD            31,544.41            -        31,544.41            -
        GARD       GARD           87311   4/1/2015 BCHA                                                           forex                              forex debit        USD           (12,566.54)    (12,692.21)           -              -
        GARD       GARD           87311   4/1/2015 CASH                                                           forex                              forex credit       CAD            15,414.95            -        15,414.95            -
        GARD       GARD           87516   4/9/2015 WORK                                                           forex                              forex debit        USD                  -       (12,511.25)           -              -
        GARD       GARD           87516   4/9/2015 WORK                                                           forex                              forex credit       CAD                  -              -        15,185.69            -
        GARD       GARD           87484   4/9/2015 CASH                                                           debit                              debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           87799 4/21/2015 SGGO                                                            cash                               debit              USD            (9,256.20)     (9,824.01)           -              -
        GARD       GARD           88619 5/14/2015 TDCH                                                            Airfares & Hotel ck #105           debit              CAD            (3,274.00)           -        (3,374.00)           -
        GARD       GARD           88819 5/14/2015 WORK                                                            forex                              forex debit        USD                  -        (2,841.52)           -              -




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         Account    Account     Batch     Batch       Bank                              Symbol                                      Batch                         Transaction    Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                              Symbol                                  Stock
          Code       Title       ID        Date       Code                             Description                                Description                     Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD           88819 5/14/2015 WORK                                                          forex                                        forex credit       CAD                  -              -         3,432.61            -
        GARD       GARD           88987 5/28/2015 TDCH                                                          Hotel ck #107                                debit              CAD              (318.97)           -          (418.97)           -
                                                                                                                                                                                                                                                         Case: 24-1770




        GARD       GARD           89494   6/5/2015 WORK                                                         internal transfer close MDDD                 debit              USD                  -          (194.00)           -              -
        GARD       GARD           89821 6/23/2015 TDCH       L-SUMC    Charterhouse:Summy:6% Demand        213 All West Insurance ck #112                    buy stock          CAD              (212.50)           -          (312.50)           -
        GARD       GARD           89691 6/25/2015 BCHA       L-SUMC    Charterhouse:Summy:6% Demand      8,817 Property tax ck #471                          buy stock          CAD            (8,816.84)           -        (8,916.84)           -
        GARD       GARD           90416 6/30/2015 WORK                                                          interest charge                              interest charge    USD                  -        (3,192.55)           -              -
        GARD       GARD           90666   7/2/2015 WORK                                                         forex                                        forex debit        USD                  -        (1,040.16)           -              -
        GARD       GARD           90666   7/2/2015 WORK                                                         forex                                        forex credit       CAD                  -              -         1,271.43            -
        GARD       GARD           90607   7/3/2015 VPQU                                                         forex                                        forex debit        USD            (7,852.97)     (7,931.50)           -              -
        GARD       GARD           90607   7/3/2015 VPQU                                                         forex                                        forex credit       CAD             9,695.03            -         9,695.03            -
        GARD       GARD           90654   7/6/2015 VPQU                                                         forex                                        forex debit        USD              (446.77)       (451.24)           -              -
        GARD       GARD           90654   7/6/2015 VPQU                                                         forex                                        forex credit       CAD               551.57            -           551.57            -
        GARD       GARD           90784 7/15/2015 CASH                                                          debit                                        debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           91436   8/7/2015 VERA                                                         forex                                        forex debit        USD            (8,245.61)     (8,328.07)           -              -
        GARD       GARD           91436   8/7/2015 VERA                                                         forex                                        forex credit       CAD            10,632.77            -        10,632.77            -
        GARD       GARD           91529 8/17/2015 BCHA       L-SUMC    Charterhouse:Summy:6% Demand        100 District of Summerland ck #513                buy stock          CAD              (100.00)           -          (200.00)           -
        GARD       GARD           92398   9/1/2015 WORK                                                         forex                                        forex debit        CAD                  -              -        (4,563.08)           -
        GARD       GARD           92398   9/1/2015 WORK                                                         forex                                        forex credit       USD                  -         3,386.03            -              -
        GARD       GARD           92330 9/22/2015 LOAN       L-SUMC    Charterhouse:Summy:6% Demand   (550,367) loan cancel                                  sell stock         CAD                  -              -              -              -
        GARD       GARD           92341 9/22/2015 WORK                                                          adjust Summy s/h loan                        debit              CAD                  -              -          (332.00)           -
        GARD       GARD           92994 10/1/2015 WORK                                                          forex                                        forex debit        CAD                  -              -            (0.19)           -
        GARD       GARD           92994 10/1/2015 WORK                                                          forex                                        forex credit       USD                  -             0.14            -              -
        GARD       GARD           93031 10/5/2015 CASH                                                          debit                                        debit              CAD           (10,000.00)           -       (10,500.00)           -
                                                                                                                                                                                                                                                         Document: 00118249068




        GARD       GARD           93150 10/12/2015 WORK                                                         Gardenwall Fdn 15 fees                       debit              USD                  -        (3,500.00)           -              -
        GARD       GARD           93235 10/15/2015 REST                                                         Summy 15 fees                                debit              CAD                  -              -          (122.50)           -
        GARD       GARD           93241 10/15/2015 BCHA                                                         District of Summerland ck #535 Summy         debit              CAD              (100.00)           -          (200.00)           -
        GARD       GARD           93398 10/22/2015 SIRI                                                         forex                                        forex debit        USD            (8,270.29)     (8,352.99)           -              -
        GARD       GARD           93398 10/22/2015 SIRI                                                         forex                                        forex credit       CAD            10,822.50            -        10,822.50            -
        GARD       GARD           94062 11/10/2015 WORK                                                         forex                                        forex debit        USD                  -           (90.48)           -              -
        GARD       GARD           94062 11/10/2015 WORK                                                         forex                                        forex credit       CAD                  -              -           118.85            -
        GARD       GARD           94080 11/10/2015 CASH                                                         debit                                        debit              CAD           (10,000.00)           -       (10,500.00)           -
        GARD       GARD           94960 12/9/2015 WORK                                                          internal transfer                            credit             USD                  -       129,000.00            -              -
        GARD       GARD           96574   2/1/2016 WORK                                                         forex                                        forex debit        USD                  -        (8,172.31)           -              -




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                                                                                                                                                                                                                                                         Page: 178




        GARD       GARD           96574   2/1/2016 WORK                                                         forex                                        forex credit       CAD                  -              -        11,084.11            -
        GARD       GARD           97556   3/8/2016 WORK                                                         Garden 2016 fees                             debit              USD                  -        (2,500.00)           -              -
        GARD       GARD           97671   3/8/2016 WORK                                                         forex                                        forex debit        USD                  -        (8,499.92)           -              -
        GARD       GARD           97671   3/8/2016 WORK                                                         forex                                        forex credit       CAD                  -              -        11,236.00            -
        GARD       GARD           97629   3/8/2016 LOAN      L-JACC    CityGroup:Jackson:6%             67,416 interest                                      buy stock          CAD                  -              -       (11,236.00)           -
        GARD       GARD          104727 3/29/2016 CSOP                                                          SA Lauramar TT EUR5 562.50                   debit              USD            (6,351.69)     (6,578.72)           -              -
        GARD       GARD          101154 6/23/2016 SBCH                                                          District of Summerland ck #219 Summy         debit              CAD            (8,147.08)           -        (8,247.08)           -
        GARD       GARD          101766   7/6/2016 XPHO                                                         2 @6 mons services                           debit              USD                  -        (1,800.00)           -              -
        GARD       GARD          102067 7/21/2016 WORK                                                          forex                                        forex debit        USD                  -          (366.73)           -              -
        GARD       GARD          102067 7/21/2016 WORK                                                          forex                                        forex credit       CAD                  -              -           469.41            -
        GARD       GARD          102229 7/29/2016 BOSA                                                          forex                                        forex debit        USD            (4,126.99)     (4,168.26)           -              -
        GARD       GARD          102229 7/29/2016 BOSA                                                          forex                                        forex credit       CAD             5,398.28            -         5,398.28            -
        GARD       GARD          104765 10/12/2016 SAFE      MAPG-E    Maple Leaf 1 oz gold coins         (100) deliver gold coins                           stock delivery     CAD                  -              -          (100.00)           -
        GARD       GARD          106010 11/19/2016 WORK                                                         Gardenwall Fdn 2016 fees                     debit              USD                  -        (3,500.00)           -              -
        GARD       GARD          107702   1/5/2017 WORK                                                         internal transfer                            credit             USD                  -         5,000.00            -              -
        GARD       GARD          107834 1/13/2017 WORK                                                          internal transfer shell purchase repayment   credit             USD                  -       100,000.00            -              -
        GARD       GARD          108778 2/11/2017 WORK                                                          internal transfer                            credit             USD                  -        37,500.00            -              -
        GARD       GARD          109643   3/8/2017 LOAN      L-JACC    CityGroup:Jackson:6%             71,461 interest                                      buy stock          CAD                  -              -       (11,910.00)           -
        GARD       GARD          109557   3/8/2017 WBHI                                                         forex                                        forex debit        USD           (37,020.59)    (37,390.80)           -              -
        GARD       GARD          109557   3/8/2017 WBHI                                                         forex                                        forex credit       CAD            49,750.00            -        49,750.00            -
                                                                                                                                                                                                                                                         Date Filed: 02/18/2025




        GARD       GARD          109525   3/8/2017 WBHI                                                         Dane Nicholas Stevens TT                     debit              CAD           (49,750.00)           -       (50,993.75)           -
        GARD       GARD          109676 3/22/2017 WORK                                                          forex                                        forex debit        USD                  -        (9,964.96)           -              -
        GARD       GARD          109676 3/22/2017 WORK                                                          forex                                        forex credit       CAD                  -              -        13,153.75            -
        GARD       GARD          110814   5/9/2017 AFTR                                                         Nuova Accademia TT                           debit              EUR            (3,047.54)           -              -        (3,147.54)
        GARD       GARD          110917   5/9/2017 WORK                                                         forex                                        forex debit        USD                  -        (3,493.77)           -              -
        GARD       GARD          110917   5/9/2017 WORK                                                         forex                                        forex credit       EUR                  -              -              -         3,147.54
        GARD       GARD          110977 5/17/2017 WORK                                                          internal transfer                            credit             USD                  -        80,000.00            -              -
        GARD       GARD          111356   6/1/2017 WORK                                                         internal transfer                            credit             USD                  -        80,000.00            -              -
        GARD       GARD          111387   6/2/2017 WORK                                                         forex                                        forex debit        USD                  -        (3,917.91)           -              -
        GARD       GARD          111387   6/2/2017 WORK                                                         forex                                        forex credit       CAD                  -              -         5,250.00            -




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         Account    Account     Batch     Batch      Bank                               Symbol                                     Batch                Transaction    Currency   Cash Bank       Cash Acct      Cash Acct      Cash Acct
                                                             Symbol                                  Stock
          Code       Title       ID        Date      Code                              Description                              Description             Description     Code      (in Curr)        (USD)          (CAD)          (EUR)
        GARD       GARD          111379   6/2/2017 CASH                                                        debit                               debit              CAD            (5,000.00)           -        (5,250.00)           -
        GARD       GARD          112790 7/20/2017 CASH                                                         debit                               debit              CAD           (10,000.00)           -       (10,500.00)           -
                                                                                                                                                                                                                                               Case: 24-1770




        GARD       GARD          115157 7/20/2017 WORK                                                         forex                               forex debit        USD                  -       (16,800.00)           -              -
        GARD       GARD          115157 7/20/2017 WORK                                                         forex                               forex credit       CAD                  -              -        21,000.00            -
        GARD       GARD          112424 7/25/2017 WORK                                                         internal transfer                   credit             USD                  -        36,000.00            -              -
        GARD       GARD          115102 8/18/2017 WORK                                                         director fees                       debit              USD                  -          (100.00)           -              -
        GARD       GARD          115138 8/21/2017 AFTR                                                         Nuova Accademia TT Chantel DeWaal   debit              EUR           (14,753.50)           -              -       (15,122.34)
        GARD       GARD          115159 8/21/2017 WORK                                                         forex                               forex debit        USD                  -       (17,995.58)           -              -
        GARD       GARD          115159 8/21/2017 WORK                                                         forex                               forex credit       EUR                  -              -              -        15,122.34
        GARD       GARD          116097 9/19/2017 WIHI                                                         EUR9,000                            debit              USD           (11,189.54)    (11,749.02)           -              -
        GARD       GARD          118206 12/13/2017 WORK                                                        internal transfer EUR13k            debit              USD                  -       (13,020.00)           -              -
        GARD       GARD          118300 12/19/2017 WORK                                                        director fees                       debit              USD                  -        (1,000.00)           -              -
        GARD       GARD          118337 12/22/2017 CASH                                                        debit                               debit              CAD           (50,000.00)           -       (52,500.00)           -
        GARD       GARD          118343 12/27/2017 WORK                                                        director fees                       debit              USD                  -        (1,000.00)           -              -
        GARD       GARD          118832   1/1/2018 REST                                                        sub agreement                       debit              CAD                  -              -        (1,000.00)           -
        GARD       GARD          118709 1/16/2018 WISA                                                         Isodiol TT                          debit              CAD          (200,250.00)           -      (205,256.25)           -
        GARD       GARD          118831 1/25/2018 REST      ISOL-E    Isodiol International           160,000 receive stock                        buy stock          CAD                  -              -          (100.00)           -
        GARD       GARD          118833 1/26/2018 REST      ISOL-E    Isodiol International          (160,000) deliver stock                       stock delivery     CAD                  -              -          (100.00)           -
        GARD       GARD          118833 1/26/2018 REST                                                         deliver stock                       debit              CAD                  -              -           (50.00)           -
        GARD       GARD          119127   2/8/2018 WORK                                                        internal transfer                   credit             USD                  -       120,000.00            -              -
        GARD       GARD          119669 3/14/2018 BCHA                                                         forex                               forex debit        USD          (100,000.00)   (101,000.00)           -              -
        GARD       GARD          119669 3/14/2018 BCHA                                                         forex                               forex credit       CAD           128,250.00            -       128,250.00            -
        GARD       GARD          118851 3/15/2018 WISA                                                         Isodiol TT                          credit             CAD           200,000.00            -       200,000.00            -
                                                                                                                                                                                                                                               Document: 00118249068




        GARD       GARD          120049   4/2/2018 REST     ISOL-E    Isodiol International           160,000 receive stock (returned)             buy stock          CAD                  -              -          (100.00)           -
        GARD       GARD          120242   4/5/2018 WIGO                                                        forex 2316                          forex debit        USD           (16,300.00)    (16,463.00)           -              -
        GARD       GARD          120242   4/5/2018 WIGO                                                        forex 2316                          forex credit       CAD            20,711.46            -        20,711.46            -
        GARD       GARD          120243   4/9/2018 WILA                                                        forex 2320                          forex debit        USD           (59,000.00)    (59,590.00)           -              -
        GARD       GARD          120243   4/9/2018 WILA                                                        forex 2320                          forex credit       CAD            75,107.27            -        75,107.27            -
        GARD       GARD          120592 5/18/2018 CANE                                                         forex                               forex debit        USD           (50,351.29)    (50,854.80)           -              -
        GARD       GARD          120592 5/18/2018 CANE                                                         forex                               forex credit       CAD            64,500.00            -        64,500.00            -
        GARD       GARD          120995 6/12/2018 WORK                                                         internal transfer Summy             debit              CAD                  -              -      (600,000.00)           -
        GARD       GARD          120997 6/12/2018 WORK                                                         internal transfer Summy             debit              CAD                  -              -      (600,000.00)           -
        GARD       GARD          120989 6/12/2018 BCHA      L-FERC    Charterhouse:Ferrous:3%        (900,000) Ferrous loan payment                sell stock         CAD           900,000.00            -       900,000.00            -




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        GARD       GARD          121328 6/12/2018 WORK                                                         forex                               forex debit        USD                  -       (33,525.23)           -              -
        GARD       GARD          121328 6/12/2018 WORK                                                         forex                               forex credit       CAD                  -              -        43,582.80            -
        GARD       GARD          121029 6/15/2018 REST                                                         directors fee                       debit              USD                  -          (400.00)           -              -
        GARD       GARD          121030 6/15/2018 WORK                                                         Directors fees                      debit              USD                  -        (1,000.00)           -              -
        GARD       GARD          121484 7/18/2018 REST                                                         directors fee                       debit              USD                  -          (500.00)           -              -
                                                                                                                                                                                                                                               Date Filed: 02/18/2025




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                                                                                                                                                                                              4

        Database   Account    Account   Account   Batch           Batch     Bank     Batch                                    Currency    Cash Bank        Cash Acct         Cash Acct        Cash Acct
        Source     ID         Code      Title     ID              Date      Code     Description                              Code       (in Curr)        (USD)             (CAD)            (EUR)
                                                                                                                                                                                                             Case: 24-1770




        XM LIVE              3 CELT     CELT              22513     8/27/2009 REST   receive stock                            USD                                  50.00              -               -
        XM LIVE              3 CELT     CELT              24939     2/10/2010 REST   warrants @ 24c exp 10/2/12               CAD                                    -              50.00             -
        XM LIVE              3 CELT     CELT               5480      7/4/2010 REST   warrants expire 4/7/10                   CAD                                    -              45.00             -
        XM LIVE              3 CELT     CELT               2869      7/8/2010 BCEL   Stocktrans ck #225                       USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               3047     8/17/2010 REST   del #130                                 USD                                  67.50              -               -
        XM LIVE              3 CELT     CELT               3048     8/17/2010 REST   del #130                                 USD                                  67.50              -               -
        XM LIVE              3 CELT     CELT               2884     8/17/2010 BCEL   Continental ck #241                      USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               3049     8/26/2010 REST   del #1364 to Corporate Profile           USD                                  90.00              -               -
        XM LIVE              3 CELT     CELT               2878     8/26/2010 BCEL   Empire ck #243                           USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               3063     8/30/2010 REST   del #1693 to broker                      USD                                 135.00              -               -
        XM LIVE              3 CELT     CELT                 26      9/3/2010 BCEL   Imported Balance                         CAD                     -              -             945.00             -
        XM LIVE              3 CELT     CELT                 28      9/3/2010 BCEL   Imported Balance                         USD                     -         9,045.00              -               -
        XM LIVE              3 CELT     CELT                 94      9/3/2010 BCOA   Imported Balance                         USD                     -        (7,560.00)             -               -
        XM LIVE              3 CELT     CELT                209      9/3/2010 WORK   Imported Balance                         CAD                     -              -           2,815.11             -
        XM LIVE              3 CELT     CELT                210      9/3/2010 WORK   Imported Balance                         USD                     -         7,560.00              -               -
        XM LIVE              3 CELT     CELT                436      9/3/2010 BQUA   Imported Balance                         CAD                     -              -        (625,493.54)            -
                                                                                                                                                                                                             Document: 00118249068




        XM LIVE              3 CELT     CELT                599      9/3/2010 BSIT   Imported Balance                         USD                     -       (17,135.00)             -               -
        XM LIVE              3 CELT     CELT                600      9/3/2010 BSIT   Imported Balance                         CAD                     -              -          17,641.19             -
        XM LIVE              3 CELT     CELT                756      9/3/2010 CASH   Imported Balance                         CAD                     -              -         (11,841.45)            -
        XM LIVE              3 CELT     CELT                784      9/3/2010 CASH   Imported Balance                         USD                     -        (2,000.00)             -               -
        XM LIVE              3 CELT     CELT               1610      9/3/2010 RANQ   Imported Balance                         USD                     -       (19,565.00)             -               -
        XM LIVE              3 CELT     CELT               1611      9/3/2010 RANQ   Imported Balance                         CAD                     -              -          19,237.64             -
        XM LIVE              3 CELT     CELT               1763      9/3/2010 REST   Imported Balance                         CAD                     -              -           2,385.00             -




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                                                                                                                                                                                                             Page: 180




        XM LIVE              3 CELT     CELT               1766      9/3/2010 REST   Imported Balance                         USD                     -        38,295.00              -               -
        XM LIVE              3 CELT     CELT               1990      9/3/2010 TDCO   Imported Balance                         USD                     -        (6,030.00)             -               -
        XM LIVE              3 CELT     CELT               2007      9/3/2010 TDQB   Imported Balance                         CAD                     -              -         516,720.00             -
        XM LIVE              3 CELT     CELT               8816      9/3/2010 REST   receive stock                            USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               8817      9/3/2010 REST   deliver stock                            USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               9058      9/3/2010 REST   receive stock                            USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               3916      9/3/2010 REST   receive stock                            USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               5349      9/3/2010 REST   receive stock                            USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               3050      9/6/2010 REST   del #2090 to Corporate Profile           USD                                  90.00              -               -
        XM LIVE              3 CELT     CELT               3059      9/6/2010 REST   del certs to brokers                     USD                                 360.00              -               -
        XM LIVE              3 CELT     CELT               2879      9/7/2010 BCEL   Empire ck #246                           USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               2883      9/7/2010 BCEL   Holladay ck #248                         USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               2771      9/9/2010 REST   del #2091 to client                      USD                               1,800.00              -               -
        XM LIVE              3 CELT     CELT               2469      9/9/2010 BCEL   Computershare ck #44                     CAD                                    -              45.00             -
        XM LIVE              3 CELT     CELT               2655      9/9/2010 REST   del #70 to TA                            CAD                                    -              45.00             -
                                                                                                                                                                                                             Date Filed: 02/18/2025




        XM LIVE              3 CELT     CELT               2877      9/9/2010 BCEL   Empire ck #249                           USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               2876      9/9/2010 REST   del to Corporate Profile                 USD                                  90.00              -               -
        XM LIVE              3 CELT     CELT               2886      9/9/2010 REST   Stock delivery                           USD                                  90.00              -               -
        XM LIVE              3 CELT     CELT               3918     9/10/2010 BCEL   Lawler ck #250                           USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               2772     9/14/2010 REST   del to VICD                              USD                                  45.00              -               -
        XM LIVE              3 CELT     CELT               3056     9/14/2010 REST   del #3005 to Patrick Smyth               USD                                  67.50              -               -
        XM LIVE              3 CELT     CELT               3057     9/14/2010 REST   del #3005 to Allen Schwabe               USD                                  67.50              -               -



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        XM LIVE   3 CELT   CELT     2564   9/14/2010 RANQ   forex                                USD      (2,584.00)   (2,610.00)        -             -
        XM LIVE   3 CELT   CELT     2564   9/14/2010 RANQ   forex                                CAD       2,639.30          -      2,639.30           -
        XM LIVE   3 CELT   CELT     3067   9/14/2010 REST   del #456 511                         USD                      405.00         -             -
                                                                                                                                                                Case: 24-1770




        XM LIVE   3 CELT   CELT     2881   9/14/2010 BCEL   Holladay ck #252                     USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     2885   9/14/2010 BCEL   Empire ck #251                       USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     4640   9/15/2010 REST   receive stock                        USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3013   9/17/2010 BCEL   Empire ck #254                       USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3058   9/17/2010 REST   del #3006-8 76 to Delphina           USD                      360.00         -             -
        XM LIVE   3 CELT   CELT     3068   9/17/2010 REST   Stock delivery                       USD                      495.00         -             -
        XM LIVE   3 CELT   CELT     2882   9/17/2010 BCEL   Holladay ck #253                     USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     2875   9/21/2010 REST   del to PRIM                          USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     2873   9/21/2010 REST   del to Floyd Cochran                 USD                       90.00         -             -
        XM LIVE   3 CELT   CELT     2874   9/21/2010 BCEL   Empire ck #255                       USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     2880   9/21/2010 REST   transfer stock                       USD                         -           -             -
        XM LIVE   3 CELT   CELT     3015   9/22/2010 BCEL   Transhare ck #257                    USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     2945   9/22/2010 BCEL   Holladay ck #256                     USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3052   9/22/2010 REST   trans #181 to Bluewater              USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3053   9/22/2010 REST   trans #181 to Bluewater              USD                       45.00         -             -
                                                                                                                                                                Document: 00118249068




        XM LIVE   3 CELT   CELT     2946   9/22/2010 REST   del to Marcus Laun                   USD                       90.00         -             -
        XM LIVE   3 CELT   CELT     3024   9/24/2010 REST   transfer stock                       USD                         -           -             -
        XM LIVE   3 CELT   CELT     3025   9/24/2010 REST   transfer stock                       USD                         -           -             -
        XM LIVE   3 CELT   CELT     3849   9/26/2010 REST   internal transfer                    USD                         -           -             -
        XM LIVE   3 CELT   CELT     3855   9/26/2010 REST   internal transfer                    USD                         -           -             -
        XM LIVE   3 CELT   CELT     3854   9/26/2010 REST   internal transfer                    USD                         -           -             -
        XM LIVE   3 CELT   CELT     3858   9/26/2010 REST   internal transfer                    USD                         -           -             -




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        XM LIVE   3 CELT   CELT     3251   9/28/2010 BCEL   Island ck #259                       USD                       45.00         -             -
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        XM LIVE   3 CELT   CELT     3253   9/28/2010 BCEL   Holladay ck #258                     USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3256   9/28/2010 REST   del to TA                            USD                      180.00         -             -
        XM LIVE   3 CELT   CELT     6958   9/28/2010 REST   deliver stock                        USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3252   9/29/2010 BCEL   Empire ck #260                       USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3258   9/29/2010 REST   del to TA                            USD                      225.00         -             -
        XM LIVE   3 CELT   CELT     3375   9/30/2010 BCEL   commission withdrawal                USD            -        (855.00)        -             -
        XM LIVE   3 CELT   CELT     3375   9/30/2010 BCEL   commission withdrawal                USD            -         855.00         -             -
        XM LIVE   3 CELT   CELT     3376   9/30/2010 BCEL   commission withdrawal                CAD            -            -        (90.00)          -
        XM LIVE   3 CELT   CELT     3376   9/30/2010 BCEL   commission withdrawal                CAD            -            -         90.00           -
        XM LIVE   3 CELT   CELT     3427   9/30/2010 REST   commission withdrawal                USD            -      (5,445.00)        -             -
        XM LIVE   3 CELT   CELT     3427   9/30/2010 REST   commission withdrawal                USD            -       5,445.00         -             -
        XM LIVE   3 CELT   CELT     3428   9/30/2010 REST   commission withdrawal                CAD            -            -       (135.00)          -
        XM LIVE   3 CELT   CELT     3428   9/30/2010 REST   commission withdrawal                CAD            -            -        135.00           -
        XM LIVE   3 CELT   CELT     3254   9/30/2010 REST   del to TA                            USD                       90.00         -             -
                                                                                                                                                                Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     3361   9/30/2010 REST   deliver stock                        USD                      270.00         -             -
        XM LIVE   3 CELT   CELT     3360   9/30/2010 BCEL   Empire ck #263                       USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3363   9/30/2010 BCEL   Transhare ck #262                    USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3365   9/30/2010 REST   deliver stock                        USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3364   9/30/2010 REST   deliver stock                        USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3366   9/30/2010 BCEL   Holladay ck #261                     USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     3367   9/30/2010 REST   deliver stock                        USD                       90.00         -             -



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        XM LIVE   3 CELT   CELT     3297 9/30/2010 BCEL    Equity ck #45                      CAD                         -          45.00           -
        XM LIVE   3 CELT   CELT     3300 9/30/2010 REST    medallion p/a                      CAD                         -          90.00           -
        XM LIVE   3 CELT   CELT     3358 10/1/2010 REST    deliver stock R 144                USD                      765.00          -             -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     3357 10/1/2010 BCEL    Empire ck #264                     USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3917 10/1/2010 REST    receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3359 10/5/2010 REST    receive stock                      USD                         -            -             -
        XM LIVE   3 CELT   CELT     3981 10/5/2010 BCEL    Holladay ck #265                   USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3979 10/5/2010 REST    deliver stock                      USD                      360.00          -             -
        XM LIVE   3 CELT   CELT     3898 10/8/2010 REST    deliver stock                      USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     3908 10/8/2010 BCEL    Island ck #267                     USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3909 10/8/2010 REST    receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3910 10/8/2010 REST    deliver stock                      USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     3901 10/8/2010 REST    deliver to Biarritz                USD                       90.00          -             -
        XM LIVE   3 CELT   CELT     3900 10/8/2010 BCEL    Empire ck #266                     USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3906 10/8/2010 REST    receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3907 10/8/2010 REST    receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     3984 10/12/2010 CASH   debit                              CAD      (3,500.00)         -      (3,500.00)          -
        XM LIVE   3 CELT   CELT     3996 10/12/2010 BSIT   forex                              USD      (6,300.00)   (6,300.00)         -             -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     3996 10/12/2010 BSIT   forex                              CAD       6,363.00          -       6,363.00           -
        XM LIVE   3 CELT   CELT     4070 10/13/2010 REST   internal transfer                  USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4071 10/13/2010 REST   internal transfer                  USD                         -            -             -
        XM LIVE   3 CELT   CELT     4160 10/14/2010 REST   internal transfer                  USD                         -            -             -
        XM LIVE   3 CELT   CELT     4159 10/14/2010 REST   internal transfer                  USD                         -            -             -
        XM LIVE   3 CELT   CELT     4406 10/14/2010 BCEL   Empire ck #269                     USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4197 10/15/2010 REST   receive stock                      USD                       45.00          -             -




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        XM LIVE   3 CELT   CELT     4237 10/15/2010 REST   receive stock                      USD                       45.00          -             -
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        XM LIVE   3 CELT   CELT     4198 10/15/2010 REST   receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4202 10/15/2010 REST   internal transfer                  USD                         -            -             -
        XM LIVE   3 CELT   CELT     4276 10/18/2010 REST   deliver stock                      USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     4277 10/18/2010 BCEL   Holladay ch#270                    USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4279 10/18/2010 REST   deliver stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4281 10/18/2010 BCEL   Aspen ck#268                       USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4283 10/18/2010 REST   deliver stock                      USD                      630.00          -             -
        XM LIVE   3 CELT   CELT     4284 10/18/2010 BCEL   Holladay ck#270                    USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4240 10/18/2010 REST   deliver stock                      USD                      315.00          -             -
        XM LIVE   3 CELT   CELT     4241 10/18/2010 BCEL   Holladay ck #270                   USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4248 10/18/2010 BCEL   Holladay ck #270                   USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4249 10/18/2010 BCEL   Holladay ck#270                    USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4254 10/18/2010 REST   receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4280 10/18/2010 REST   deliver stock                      USD                      180.00          -             -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     4270 10/19/2010 REST   receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4271 10/19/2010 REST   receive stock                      USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4359 10/20/2010 REST   deliver stock                      USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     4358 10/20/2010 REST   deliver stock                      USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     4340 10/20/2010 REST   deliver stock                      USD                      315.00          -             -
        XM LIVE   3 CELT   CELT     4341 10/20/2010 BCEL   Stocktrans ck#274                  USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     4351 10/20/2010 BCEL   Transfer Online ck#273             USD                       45.00          -             -



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        XM LIVE   3 CELT   CELT     4352 10/20/2010 BCEL   Lawler & Associates Re: CMIN Opinions ck#275     USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4356 10/20/2010 BCEL   First American ck#272                            USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4361 10/20/2010 BCEL   Empire ck#271                                    USD                   45.00       -             -
                                                                                                                                                                     Case: 24-1770




        XM LIVE   3 CELT   CELT     4350 10/20/2010 REST   deliver stock R144                               USD                  675.00       -             -
        XM LIVE   3 CELT   CELT     4355 10/20/2010 REST   deliver stock                                    USD                   90.00       -             -
        XM LIVE   3 CELT   CELT     4403 10/21/2010 BCEL   Empire ck#276                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4407 10/21/2010 REST   cancel stock                                     USD                   90.00       -             -
        XM LIVE   3 CELT   CELT     4443 10/22/2010 REST   deliver stock                                    USD                  225.00       -             -
        XM LIVE   3 CELT   CELT     4444 10/22/2010 BCEL   Island ck#277                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     3255 10/26/2010 REST   receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4656 10/27/2010 REST   deliver stock                                    USD                   90.00       -             -
        XM LIVE   3 CELT   CELT     4657 10/27/2010 BCEL   Holladay ck#281                                  USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4659 10/27/2010 BCEL   Holladay ck#279                                  USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4663 10/27/2010 REST   deliver stock                                    USD                  180.00       -             -
        XM LIVE   3 CELT   CELT     4664 10/27/2010 BCEL   Holladay ck#281                                  USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4666 10/27/2010 REST   deliver stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4667 10/27/2010 BCEL   Island ck#280                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4717 10/28/2010 REST   deliver stock                                    USD                  135.00       -             -
                                                                                                                                                                     Document: 00118249068




        XM LIVE   3 CELT   CELT     4718 10/28/2010 BCEL   Holladay ck#282                                  USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4720 10/28/2010 BCEL   Lawler re: AZNG Opinions ck#283                  USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4749 10/28/2010 REST   receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4591 10/28/2010 REST   receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4593 10/28/2010 REST   receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4592 10/28/2010 REST   receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4787 10/29/2010 BCEL   Interwest ck#284                                 USD                   45.00       -             -




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        XM LIVE   3 CELT   CELT     4796 10/29/2010 BCEL   Empire ck#285 re: CLNO                           USD                   45.00       -             -
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        XM LIVE   3 CELT   CELT     4785 10/29/2010 REST   deliver stock                                    USD                1,440.00       -             -
        XM LIVE   3 CELT   CELT     4792 10/29/2010 REST   deliver stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4794 10/29/2010 BCEL   Empire ck#285                                    USD                   33.75       -             -
        XM LIVE   3 CELT   CELT     4805 10/29/2010 REST   receive stock                                    CAD                     -       45.00           -
        XM LIVE   3 CELT   CELT     4812 10/29/2010 REST   receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     4814 10/29/2010 REST   deliver stock to David Ring                      USD                   90.00       -             -
        XM LIVE   3 CELT   CELT     4962 10/30/2010 BCEL   commission withdrawal                            USD          -    (1,248.75)      -             -
        XM LIVE   3 CELT   CELT     4962 10/30/2010 BCEL   commission withdrawal                            USD          -     1,248.75       -             -
        XM LIVE   3 CELT   CELT     5011 10/30/2010 REST   commission withdrawal                            USD          -    (7,380.00)      -             -
        XM LIVE   3 CELT   CELT     5011 10/30/2010 REST   commission withdrawal                            USD          -     7,380.00       -             -
        XM LIVE   3 CELT   CELT     5012 10/30/2010 REST   commission withdrawal                            CAD          -          -      (45.00)          -
        XM LIVE   3 CELT   CELT     5012 10/30/2010 REST   commission withdrawal                            CAD          -          -       45.00           -
        XM LIVE   3 CELT   CELT     5638 11/1/2010 REST    receive stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     5091 11/1/2010 REST    deliver stock                                    USD                   45.00       -             -
                                                                                                                                                                     Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     5092 11/1/2010 BCEL    Empire ck#287                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     5096 11/1/2010 REST    deliver stock                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     5097 11/1/2010 BCEL    Empire ck#287                                    USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     5100 11/1/2010 REST    deliver stock                                    USD                  135.00       -             -
        XM LIVE   3 CELT   CELT     5101 11/1/2010 BCEL    Holladay ck#286                                  USD                   45.00       -             -
        XM LIVE   3 CELT   CELT     5139 11/2/2010 REST    deliver stock                                    USD                  135.00       -             -
        XM LIVE   3 CELT   CELT     5140 11/2/2010 BCEL    OTR Inc. ck#289                                  USD                   45.00       -             -



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        XM LIVE   3 CELT   CELT     5145 11/2/2010 BCEL    Holladay ck#288                              USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5144 11/2/2010 REST    deliver stock                                USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     5148 11/2/2010 BCEL    Empire ck#290                                USD                       45.00          -             -
                                                                                                                                                                        Case: 24-1770




        XM LIVE   3 CELT   CELT     5147 11/2/2010 REST    deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5185 11/3/2010 REST    deliver stock to client                      CAD                         -          45.00           -
        XM LIVE   3 CELT   CELT     5752 11/4/2010 REST    deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5278 11/5/2010 CASH    debit                                        CAD      (3,500.00)         -      (3,500.00)          -
        XM LIVE   3 CELT   CELT     5357 11/5/2010 WORK    forex                                        USD            -      (8,628.75)         -             -
        XM LIVE   3 CELT   CELT     5357 11/5/2010 WORK    forex                                        CAD            -            -       8,469.12           -
        XM LIVE   3 CELT   CELT     5350 11/8/2010 REST    deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5439 11/9/2010 BCEL    Lawler ck#293 re: 144 opinion                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5440 11/9/2010 BCEL    Lawler ck#293 re: FEWP 144 Opinion           USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5486 11/9/2010 REST    receive stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5437 11/9/2010 REST    deliver stock                                USD                      270.00          -             -
        XM LIVE   3 CELT   CELT     5481 11/9/2010 REST    receive stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5441 11/9/2010 REST    deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5424 11/9/2010 REST    deliver stock                                USD                      315.00          -             -
        XM LIVE   3 CELT   CELT     5425 11/9/2010 BCEL    Empire ck#291                                USD                       45.00          -             -
                                                                                                                                                                        Document: 00118249068




        XM LIVE   3 CELT   CELT     5429 11/9/2010 REST    deliver stock                                USD                      270.00          -             -
        XM LIVE   3 CELT   CELT     5430 11/9/2010 BCEL    Holladay ck#292                              USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5435 11/9/2010 REST    deliver stock                                USD                    1,575.00          -             -
        XM LIVE   3 CELT   CELT     5438 11/9/2010 BCEL    Holladay ck#292                              USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5494 11/10/2010 REST   receive stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5578 11/12/2010 REST   receive stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5436 11/12/2010 REST   receive stock                                USD                       45.00          -             -




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        XM LIVE   3 CELT   CELT     5647 11/12/2010 REST   deliver stock                                USD                      225.00          -             -
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        XM LIVE   3 CELT   CELT     5639 11/12/2010 REST   deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5661 11/12/2010 BCEL   Holladay ck#296                              USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5663 11/12/2010 REST   deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5664 11/12/2010 REST   deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5644 11/12/2010 BCEL   Empire ck#295                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5668 11/12/2010 REST   deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5669 11/12/2010 REST   deliver stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5643 11/12/2010 REST   deliver stock                                USD                       90.00          -             -
        XM LIVE   3 CELT   CELT     5588 11/12/2010 REST   receive stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5688 11/12/2010 REST   deliver stock                                USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     5689 11/12/2010 REST   deliver stock                                USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     5690 11/12/2010 BCEL   Continental ck#294                           USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5691 11/12/2010 BCEL   Continental ck#294                           USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5641 11/15/2010 REST   deliver stock                                USD                      135.00          -             -
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        XM LIVE   3 CELT   CELT     5727 11/16/2010 REST   deliver stock                                USD                       90.00          -             -
        XM LIVE   3 CELT   CELT     5728 11/16/2010 BCEL   Empire ck#297                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5732 11/16/2010 REST   deliver stock                                CAD                         -          90.00           -
        XM LIVE   3 CELT   CELT     5735 11/16/2010 BCEL   Computershare ck #46                         CAD                         -          45.00           -
        XM LIVE   3 CELT   CELT     5741 11/16/2010 REST   receive stock                                USD                       45.00          -             -
        XM LIVE   3 CELT   CELT     5780 11/17/2010 REST   deliver stock                                USD                      135.00          -             -
        XM LIVE   3 CELT   CELT     5781 11/17/2010 BCEL   Holladay ck#298                              USD                       45.00          -             -



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        XM LIVE   3 CELT   CELT     5782 11/17/2010 REST   deliver stock                           USD                      135.00         -             -
        XM LIVE   3 CELT   CELT     5785 11/17/2010 BCEL   Holladay ck #155                        USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     5825 11/18/2010 REST   internal transfer                       USD                       45.00         -             -
                                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     5824 11/18/2010 REST   internal transfer                       USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     5815 11/18/2010 REST   receive stock                           CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     5816 11/18/2010 REST   deliver stock                           CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     5847 11/19/2010 REST   receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     5861 11/19/2010 BCEL   Computershare ck#47                     CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     5862 11/19/2010 REST   deliver stock                           CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     5990 11/22/2010 REST   receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6066 11/25/2010 BCEL   Equity Financial Trust ck #48           CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     6077 11/26/2010 REST   receive stock                           CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     6078 11/26/2010 REST   deliver stock                           CAD                         -        405.00           -
        XM LIVE   3 CELT   CELT     6079 11/26/2010 REST   deliver stock                           CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     6358 11/30/2010 BCEL   commission withdrawal                   USD            -        (810.00)        -             -
        XM LIVE   3 CELT   CELT     6358 11/30/2010 BCEL   commission withdrawal                   USD            -         810.00         -             -
        XM LIVE   3 CELT   CELT     6359 11/30/2010 BCEL   commission withdrawal                   CAD            -            -       (135.00)          -
        XM LIVE   3 CELT   CELT     6359 11/30/2010 BCEL   commission withdrawal                   CAD            -            -        135.00           -
                                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     6423 11/30/2010 REST   commission withdrawal                   USD            -      (5,085.00)        -             -
        XM LIVE   3 CELT   CELT     6423 11/30/2010 REST   commission withdrawal                   USD            -       5,085.00         -             -
        XM LIVE   3 CELT   CELT     6424 11/30/2010 REST   commission withdrawal                   CAD            -            -       (810.00)          -
        XM LIVE   3 CELT   CELT     6424 11/30/2010 REST   commission withdrawal                   CAD            -            -        810.00           -
        XM LIVE   3 CELT   CELT     6639 11/30/2010 RANQ   forex                                   USD      (5,895.00)   (5,895.00)        -             -
        XM LIVE   3 CELT   CELT     6639 11/30/2010 RANQ   forex                                   CAD       5,942.75          -      5,942.75           -
        XM LIVE   3 CELT   CELT     6483 12/1/2010 REST    receive stock                           USD                       45.00         -             -




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        XM LIVE   3 CELT   CELT     6684 12/2/2010 REST    deliver warrant to ACCO                 CAD                         -         45.00           -
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        XM LIVE   3 CELT   CELT     6685 12/2/2010 REST    deliver warrant to GARD                 CAD                         -         45.00           -
        XM LIVE   3 CELT   CELT     6550 12/2/2010 BCEL    Holladay ck#300                         USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6552 12/2/2010 REST    deliver stock                           USD                      135.00         -             -
        XM LIVE   3 CELT   CELT     6553 12/2/2010 BCEL    Holladay ck#300                         USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6557 12/2/2010 BCEL    Holladay ck#300                         USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6558 12/2/2010 REST    receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6559 12/2/2010 REST    receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6555 12/2/2010 REST    deliver stock                           USD                       90.00         -             -
        XM LIVE   3 CELT   CELT     6549 12/2/2010 BCEL    Holladay ck#300 [Plandel]               USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6607 12/3/2010 REST    receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     7139 12/3/2010 REST    receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6663 12/3/2010 REST    deliver stock                           USD                      405.00         -             -
        XM LIVE   3 CELT   CELT     6661 12/3/2010 BCEL    Routh ck #156                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6630 12/3/2010 REST    deliver stock                           USD                      112.50         -             -
                                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     6632 12/3/2010 REST    deliver stock                           USD                      112.50         -             -
        XM LIVE   3 CELT   CELT     6633 12/3/2010 BCEL    Continental ck#301                      USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6636 12/3/2010 BCEL    Continental ck#301                      USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6649 12/3/2010 REST    deliver stock                           USD                       90.00         -             -
        XM LIVE   3 CELT   CELT     6650 12/3/2010 BCEL    Empire ck#301                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6662 12/3/2010 REST    receive stock                           USD                       45.00         -             -
        XM LIVE   3 CELT   CELT     6770 12/6/2010 REST    receive stock                           USD                       45.00         -             -



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        XM LIVE   3 CELT   CELT     6771 12/6/2010 REST    receive stock                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6747 12/6/2010 REST    deliver stock                           USD                     135.00         -             -
        XM LIVE   3 CELT   CELT     6748 12/6/2010 BCEL    Action ck#303                           USD                      45.00         -             -
                                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     6750 12/6/2010 REST    deliver stock                           USD                      90.00         -             -
        XM LIVE   3 CELT   CELT     6751 12/6/2010 BCEL    Holladay ck#304                         USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6754 12/6/2010 BCEL    Holladay ck#304                         USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6895 12/7/2010 REST    deliver stock to Westbank               USD                      90.00         -             -
        XM LIVE   3 CELT   CELT     6893 12/7/2010 BCEL    Lawler ck#305 Re: Oppenheimer           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6836 12/7/2010 REST    receive stock                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6896 12/7/2010 BCEL    Holladay ck#306                         USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6894 12/7/2010 BCEL    Holladay ck#158                         USD                        -           -             -
        XM LIVE   3 CELT   CELT     6999 12/8/2010 BCEL    Routh ck#67                             USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6884 12/8/2010 REST    deliver stock                           USD                   1,125.00         -             -
        XM LIVE   3 CELT   CELT     6998 12/8/2010 REST    deliver stock                           USD                      90.00         -             -
        XM LIVE   3 CELT   CELT     6885 12/8/2010 BCEL    Empire ck#309                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6886 12/8/2010 BCEL    Empire ck#309                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6897 12/8/2010 REST    deliver stock                           USD                     225.00         -             -
        XM LIVE   3 CELT   CELT     6898 12/8/2010 BCEL    Holladay ck#307                         USD                      45.00         -             -
                                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     6900 12/8/2010 REST    deliver stock                           USD                      90.00         -             -
        XM LIVE   3 CELT   CELT     6901 12/8/2010 BCEL    Pacific Stock ck#308                    USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     6905 12/8/2010 REST    deliver stock                           USD                     630.00         -             -
        XM LIVE   3 CELT   CELT     6906 12/8/2010 BCEL    Routh ck#157                            USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7122 12/9/2010 REST    deliver stock                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7125 12/9/2010 REST    deliver stock                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     9039 12/9/2010 REST    receive stock                           USD                      45.00         -             -




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        XM LIVE   3 CELT   CELT     9041 12/9/2010 REST    receive stock                           USD                      45.00         -             -
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        XM LIVE   3 CELT   CELT     7000 12/10/2010 REST   deliver stock                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7039 12/10/2010 CASH   debit                                   CAD      (3,500.00)        -     (3,500.00)          -
        XM LIVE   3 CELT   CELT     7129 12/13/2010 BCEL   Action ck#310                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7140 12/13/2010 REST   deliver stock                           USD                     270.00         -             -
        XM LIVE   3 CELT   CELT     7141 12/13/2010 BCEL   Empire ck#321                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7143 12/13/2010 BCEL   Empire ck#321                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7145 12/13/2010 REST   deliver stock                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7261 12/13/2010 REST   deliver stock                           USD                   1,170.00         -             -
        XM LIVE   3 CELT   CELT     7242 12/15/2010 REST   deliver stock                           USD                      90.00         -             -
        XM LIVE   3 CELT   CELT     7243 12/15/2010 BCEL   Holladay ck#323                         USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7451 12/15/2010 REST   deliver stock                           CAD                        -         90.00           -
        XM LIVE   3 CELT   CELT     7250 12/15/2010 REST   internal transfer                       CAD                        -         45.00           -
        XM LIVE   3 CELT   CELT     7262 12/15/2010 BCEL   Action ck#322                           USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7449 12/20/2010 BCEL   Holladay ck#326 SNDC SH List)           USD                      45.00         -             -
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        XM LIVE   3 CELT   CELT     7439 12/20/2010 BCEL   Equity ck #49                           CAD                        -         45.00           -
        XM LIVE   3 CELT   CELT     7444 12/20/2010 BCEL   Continental ck#324                      USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7445 12/20/2010 BCEL   Continental ck#324                      USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7447 12/20/2010 BCEL   Holladay ck#326                         USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7450 12/20/2010 BCEL   Holladay ck#325                         USD                      45.00         -             -
        XM LIVE   3 CELT   CELT     7442 12/20/2010 REST   deliver stock                           USD                      67.50         -             -
        XM LIVE   3 CELT   CELT     7443 12/20/2010 REST   deliver stock                           USD                      67.50         -             -



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        XM LIVE   3 CELT   CELT     7446 12/20/2010 REST   deliver stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7545 12/21/2010 REST   deliver stock                                  USD                  337.50         -             -
        XM LIVE   3 CELT   CELT     7546 12/21/2010 REST   deliver stock                                  USD                  337.50         -             -
                                                                                                                                                                     Case: 24-1770




        XM LIVE   3 CELT   CELT     7547 12/21/2010 BCEL   Transhare ck#327                               USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7548 12/21/2010 BCEL   Transhare ck#327                               USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7632 12/22/2010 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7633 12/22/2010 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7631 12/22/2010 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7638 12/23/2010 REST   deliver stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7636 12/23/2010 BCEL   Lawler ck#330 re: Oppenheimer 2nd Opinon       USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7639 12/23/2010 BCEL   Empire ck#329                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7643 12/23/2010 REST   deliver stock                                  USD                   90.00         -             -
        XM LIVE   3 CELT   CELT     7644 12/23/2010 BCEL   Holladay ck#328                                USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7687 12/24/2010 REST   internal transfer                              USD                     -           -             -
        XM LIVE   3 CELT   CELT     7834 12/30/2010 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7832 12/30/2010 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7833 12/30/2010 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7835 12/30/2010 REST   receive stock                                  USD                   45.00         -             -
                                                                                                                                                                     Document: 00118249068




        XM LIVE   3 CELT   CELT     7836 12/30/2010 REST   deliver stock                                  USD                  315.00         -             -
        XM LIVE   3 CELT   CELT     7837 12/30/2010 BCEL   Holladay ck#331                                USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     7873 12/31/2010 BCEL   commission withdrawal                          USD          -    (1,665.00)        -             -
        XM LIVE   3 CELT   CELT     7873 12/31/2010 BCEL   commission withdrawal                          USD          -     1,665.00         -             -
        XM LIVE   3 CELT   CELT     7874 12/31/2010 BCEL   commission withdrawal                          CAD          -          -        (45.00)          -
        XM LIVE   3 CELT   CELT     7874 12/31/2010 BCEL   commission withdrawal                          CAD          -          -         45.00           -
        XM LIVE   3 CELT   CELT     7939 12/31/2010 REST   commission withdrawal                          USD          -    (7,200.00)        -             -




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        XM LIVE   3 CELT   CELT     7939 12/31/2010 REST   commission withdrawal                          USD          -     7,200.00         -             -
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        XM LIVE   3 CELT   CELT     7940 12/31/2010 REST   commission withdrawal                          CAD          -          -       (225.00)          -
        XM LIVE   3 CELT   CELT     7940 12/31/2010 REST   commission withdrawal                          CAD          -          -        225.00           -
        XM LIVE   3 CELT   CELT     8132 12/31/2010 WORK   forex                                          USD          -    (8,865.00)        -             -
        XM LIVE   3 CELT   CELT     8132 12/31/2010 WORK   forex                                          CAD          -          -      8,699.71           -
        XM LIVE   3 CELT   CELT     8374   1/5/2011 REST   receive stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     9882   1/5/2011 REST   receive stock                                  CAD                     -         45.00           -
        XM LIVE   3 CELT   CELT     9884   1/5/2011 REST   deliver stock                                  CAD                     -         45.00           -
        XM LIVE   3 CELT   CELT     8431   1/6/2011 REST   deliver stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8432   1/6/2011 REST   deliver stock                                  USD                   90.00         -             -
        XM LIVE   3 CELT   CELT     8433   1/6/2011 BCEL   Action ck#333                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8444   1/6/2011 REST   deliver stock                                  USD                   90.00         -             -
        XM LIVE   3 CELT   CELT     8446   1/6/2011 BCEL   Empire ck#335                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8448   1/6/2011 REST   deliver stock                                  USD                  405.00         -             -
        XM LIVE   3 CELT   CELT     8449   1/6/2011 BCEL   Island ck#334                                  USD                   45.00         -             -
                                                                                                                                                                     Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     8451   1/6/2011 REST   deliver stock                                  USD                   90.00         -             -
        XM LIVE   3 CELT   CELT     8452   1/6/2011 BCEL   Holladay ck#332                                USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8502   1/7/2011 BCEL   Pacific ck#339                                 USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8507   1/7/2011 BCEL   Island ck#336                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8506   1/7/2011 BCEL   Empire ck#337                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8509   1/7/2011 REST   deliver stock                                  USD                   45.00         -             -
        XM LIVE   3 CELT   CELT     8510   1/7/2011 BCEL   Continental ck#338                             USD                   45.00         -             -



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        XM LIVE   3 CELT   CELT     8661    1/7/2011 REST   receive stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8501    1/7/2011 REST   deliver stock                       USD                315.00      -            -
        XM LIVE   3 CELT   CELT     8665   1/10/2011 REST   deliver stock with med pa           CAD                   -     135.00          -
                                                                                                                                                     Case: 24-1770




        XM LIVE   3 CELT   CELT     8650   1/12/2011 BCEL   Computershare ck #50                CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8668   1/12/2011 REST   receive stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8669   1/12/2011 REST   deliver stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8733   1/13/2011 REST   deliver stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8732   1/13/2011 REST   receive stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8721   1/13/2011 REST   deliver stock                       USD                135.00      -            -
        XM LIVE   3 CELT   CELT     8722   1/13/2011 REST   deliver stock                       USD                135.00      -            -
        XM LIVE   3 CELT   CELT     8723   1/13/2011 BCEL   Transhare ck#342                    USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8724   1/13/2011 BCEL   Transhare ck#342                    USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8725   1/13/2011 REST   deliver stock                       USD                 90.00      -            -
        XM LIVE   3 CELT   CELT     8726   1/13/2011 BCEL   Island ck#340                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8727   1/13/2011 REST   deliver stock                       USD                 90.00      -            -
        XM LIVE   3 CELT   CELT     8728   1/13/2011 BCEL   Holladay ck#341                     USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8715   1/13/2011 REST   receive stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8731   1/13/2011 REST   receive stock                       CAD                   -      45.00          -
                                                                                                                                                     Document: 00118249068




        XM LIVE   3 CELT   CELT     8813   1/14/2011 REST   deliver stock                       USD                135.00      -            -
        XM LIVE   3 CELT   CELT     8814   1/14/2011 BCEL   Holladay ck#343                     USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8770   1/14/2011 REST   deliver stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8771   1/14/2011 BCEL   Action ck#344                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8822   1/17/2011 REST   deliver stock                       USD                157.50      -            -
        XM LIVE   3 CELT   CELT     8823   1/17/2011 REST   deliver stock                       USD                157.50      -            -
        XM LIVE   3 CELT   CELT     8824   1/17/2011 BCEL   Transhare ck#345                    USD                 45.00      -            -




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        XM LIVE   3 CELT   CELT     8825   1/17/2011 BCEL   Transhare ck#345                    USD                 45.00      -            -
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        XM LIVE   3 CELT   CELT     9969   1/17/2011 REST   receive stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8858   1/18/2011 BCEL   Computershare ck #61                CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8868   1/18/2011 REST   receive stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8869   1/18/2011 REST   deliver stock                       USD                 90.00      -            -
        XM LIVE   3 CELT   CELT     8870   1/18/2011 BCEL   Empire ck#346                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8886   1/18/2011 REST   receive stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8930   1/19/2011 REST   receive stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8973   1/19/2011 REST   deliver stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8974   1/19/2011 BCEL   Holladay ck#348                     USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8976   1/19/2011 BCEL   Routh ck#347                        USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8975   1/19/2011 REST   deliver stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8915   1/19/2011 REST   receive stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8916   1/19/2011 REST   deliver stock                       CAD                   -      45.00          -
        XM LIVE   3 CELT   CELT     8917   1/19/2011 REST   deliver stock                       CAD                   -      45.00          -
                                                                                                                                                     Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     9050   1/20/2011 REST   deliver stock                       USD                450.00      -            -
        XM LIVE   3 CELT   CELT     9054   1/20/2011 BCEL   Holladay ck#350                     USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8993   1/20/2011 BCEL   Action ck#349                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8990   1/20/2011 REST   receive stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8991   1/20/2011 REST   receive stock                       USD                 45.00      -            -
        XM LIVE   3 CELT   CELT     8992   1/21/2011 REST   deliver stock                       USD                135.00      -            -
        XM LIVE   3 CELT   CELT     9038   1/21/2011 BCEL   Computershare ck #62                CAD                   -      45.00          -



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        XM LIVE   3 CELT   CELT      9048   1/21/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9049   1/21/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9051   1/21/2011 REST   receive stock                           CAD                    -     45.00       -
                                                                                                                                                       Case: 24-1770




        XM LIVE   3 CELT   CELT      9053   1/21/2011 REST   deliver stock                           CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT      9067   1/21/2011 REST   deliver stock                           USD                 360.00     -         -
        XM LIVE   3 CELT   CELT      9068   1/21/2011 BCEL   Holladay ck#352                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9072   1/21/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9073   1/21/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9078   1/21/2011 REST   receive stock                           CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT      9074   1/21/2011 BCEL   Transhare ck#351                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9076   1/21/2011 BCEL   Transhare ck#351                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9147   1/24/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9118   1/24/2011 BCEL   Cella Lange & Cella ck #311             USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     25176   1/24/2011 REST   receive stock                           USD                  50.00     -         -
        XM LIVE   3 CELT   CELT      9425   1/24/2011 REST   receive stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9426   1/24/2011 REST   receive stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9150   1/24/2011 REST   deliver stock                           USD                 157.50     -         -
        XM LIVE   3 CELT   CELT      9153   1/24/2011 REST   deliver stock                           USD                 157.50     -         -
                                                                                                                                                       Document: 00118249068




        XM LIVE   3 CELT   CELT      9154   1/24/2011 BCEL   Continental ck#253                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9156   1/24/2011 BCEL   Continental ck#253                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9165   1/24/2011 REST   deliver stock                           USD                  90.00     -         -
        XM LIVE   3 CELT   CELT      9166   1/24/2011 BCEL   Action ck#354                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9168   1/24/2011 BCEL   Island ck # 312                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9194   1/25/2011 REST   receive stock Kingsmere #4140           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9228   1/25/2011 BCEL   Computershare ck #63                    CAD                    -     45.00       -




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        XM LIVE   3 CELT   CELT      9232   1/25/2011 REST   receive stock                           CAD                    -     45.00       -
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        XM LIVE   3 CELT   CELT      9241   1/25/2011 REST   deliver stock                           CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT      9243   1/25/2011 REST   internal transfer                       USD                    -       -         -
        XM LIVE   3 CELT   CELT      9244   1/25/2011 REST   internal transfer                       USD                    -       -         -
        XM LIVE   3 CELT   CELT      9319   1/26/2011 REST   resubmit certificate                    USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9455   1/26/2011 REST   receive stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9277   1/26/2011 REST   deliver stock                           USD                  90.00     -         -
        XM LIVE   3 CELT   CELT      9278   1/26/2011 BCEL   Holladay ck#355                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9285   1/26/2011 REST   deliver stock                           USD                 135.00     -         -
        XM LIVE   3 CELT   CELT      9290   1/26/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9291   1/26/2011 REST   deliver stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9296   1/26/2011 REST   sell stock                              USD                    -       -         -
        XM LIVE   3 CELT   CELT     16617   1/26/2011 BCEL   Transfer Online ck #356                 USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9328   1/27/2011 REST   deliver stock                           USD                 225.00     -         -
        XM LIVE   3 CELT   CELT      9330   1/27/2011 REST   deliver stock                           USD                 225.00     -         -
                                                                                                                                                       Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT      9332   1/27/2011 BCEL   Transhare ck#357                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9334   1/27/2011 BCEL   Transhare ck#357                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9360   1/27/2011 BCEL   computershare ck #64                    CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT      9486   1/27/2011 REST   receive stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9485   1/27/2011 REST   receive stock                           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9456   1/28/2011 BCEL   Continental ck #314                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT      9883   1/28/2011 REST   receive stock                           CAD                    -     45.00       -



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        XM LIVE   3 CELT   CELT      9885   1/28/2011 REST   deliver stock                       CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT      9408   1/28/2011 BCEL   Action ck #313                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9416   1/28/2011 REST   deliver stock                       USD                       135.00          -          -
                                                                                                                                                               Case: 24-1770




        XM LIVE   3 CELT   CELT      9417   1/28/2011 BCEL   Action ck#359                       USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9419   1/28/2011 REST   deliver stock                       USD                       495.00          -          -
        XM LIVE   3 CELT   CELT      9420   1/28/2011 REST   deliver stock                       USD                       495.00          -          -
        XM LIVE   3 CELT   CELT      9422   1/28/2011 BCEL   Transhare ck#358                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9423   1/28/2011 BCEL   Transhare ck#358                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9652   1/31/2011 BCEL   commission withdrawal               USD             -      (1,620.00)         -          -
        XM LIVE   3 CELT   CELT      9652   1/31/2011 BCEL   commission withdrawal               USD             -       1,620.00          -          -
        XM LIVE   3 CELT   CELT      9653   1/31/2011 BCEL   commission withdrawal               CAD             -            -        (225.00)       -
        XM LIVE   3 CELT   CELT      9653   1/31/2011 BCEL   commission withdrawal               CAD             -            -         225.00        -
        XM LIVE   3 CELT   CELT      9718   1/31/2011 REST   commission withdrawal               USD             -      (6,840.00)         -          -
        XM LIVE   3 CELT   CELT      9718   1/31/2011 REST   commission withdrawal               USD             -       6,840.00          -          -
        XM LIVE   3 CELT   CELT      9719   1/31/2011 REST   commission withdrawal               CAD             -            -        (945.00)       -
        XM LIVE   3 CELT   CELT      9719   1/31/2011 REST   commission withdrawal               CAD             -            -         945.00        -
        XM LIVE   3 CELT   CELT      9479   1/31/2011 REST   sell stock                          USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9478   1/31/2011 REST   buy stock                           USD                        45.00          -          -
                                                                                                                                                               Document: 00118249068




        XM LIVE   3 CELT   CELT      9468   1/31/2011 REST   receive stock                       USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9469   1/31/2011 REST   receive stock                       USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9474   1/31/2011 REST   deliver stock                       USD                       135.00          -          -
        XM LIVE   3 CELT   CELT      9797   1/31/2011 TDCO   forex ck #99                        USD       (8,376.24)   (8,460.00)         -          -
        XM LIVE   3 CELT   CELT      9797   1/31/2011 CASH   forex ck #99                        CAD        8,191.82          -       8,191.82        -
        XM LIVE   3 CELT   CELT      9482   1/31/2011 CASH   debit                               CAD       (7,000.00)         -      (7,000.00)       -
        XM LIVE   3 CELT   CELT      9496   1/31/2011 REST   receive stock                       USD                        45.00          -          -




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        XM LIVE   3 CELT   CELT      9503   1/31/2011 REST   receive stock                       USD                        45.00          -          -
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        XM LIVE   3 CELT   CELT      9795    2/1/2011 REST   deliver stock                       USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9832    2/1/2011 REST   receive stock                       CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT      9833    2/1/2011 REST   deliver stock                       USD                       180.00          -          -
        XM LIVE   3 CELT   CELT      9834    2/1/2011 BCEL   Pacific ck #69                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9892    2/2/2011 REST   receive stock                       USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9956    2/3/2011 REST   deliver stock EH&P                  USD                     8,437.50          -          -
        XM LIVE   3 CELT   CELT      9933    2/3/2011 REST   deliver stock                       USD                       157.50          -          -
        XM LIVE   3 CELT   CELT      9932    2/3/2011 REST   deliver stock                       USD                       157.50          -          -
        XM LIVE   3 CELT   CELT      9934    2/3/2011 BCEL   Continental ck #70                  USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9935    2/3/2011 BCEL   Continental ck #70                  USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     10712    2/3/2011 REST   deliver warrants M Steele           CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT      9960    2/3/2011 BCEL   Island ck #72 375 379               USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9959    2/3/2011 BCEL   Island ck #72 375 379               USD                        45.00          -          -
        XM LIVE   3 CELT   CELT      9957    2/3/2011 REST   deliver stock                       USD                       135.00          -          -
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        XM LIVE   3 CELT   CELT      9958    2/3/2011 REST   deliver stock                       USD                       135.00          -          -
        XM LIVE   3 CELT   CELT      9966    2/3/2011 REST   deliver stock                       USD                       135.00          -          -
        XM LIVE   3 CELT   CELT      9967    2/3/2011 BCEL   Transfer Online ck #71              USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     10180    2/7/2011 REST   receive stock                       CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     10047    2/7/2011 REST   internal transfer                   USD                          -            -          -
        XM LIVE   3 CELT   CELT     10048    2/7/2011 REST   internal transfer                   USD                          -            -          -
        XM LIVE   3 CELT   CELT     10186    2/8/2011 REST   receive stock                       USD                        45.00          -          -



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        XM LIVE   3 CELT   CELT     10146    2/8/2011 REST   deliver stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10150    2/8/2011 REST   deliver stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10181    2/9/2011 REST   receive stock                      USD                  45.00      -         -
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        XM LIVE   3 CELT   CELT     10189    2/9/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10233   2/10/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     39450   2/10/2011 REST   receive stock                      USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     10265   2/10/2011 REST   deliver stock                      USD                 675.00      -         -
        XM LIVE   3 CELT   CELT     10270   2/10/2011 BCEL   Holladay ck #73                    USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10269   2/10/2011 REST   deliver stock                      USD                 360.00      -         -
        XM LIVE   3 CELT   CELT     10272   2/10/2011 REST   deliver stock                      USD                 360.00      -         -
        XM LIVE   3 CELT   CELT     10273   2/10/2011 BCEL   Holladay ck #159                   USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10274   2/10/2011 BCEL   Holladay ck#159                    USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10346   2/11/2011 REST   deliver stock                      USD                 225.00      -         -
        XM LIVE   3 CELT   CELT     10332   2/11/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10333   2/11/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10334   2/11/2011 REST   deliver stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10335   2/11/2011 REST   deliver stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10347   2/11/2011 BCEL   Holladay ck #160                   USD                  45.00      -         -
                                                                                                                                                   Document: 00118249068




        XM LIVE   3 CELT   CELT     10410   2/14/2011 BCEL   Holladay ck #315                   USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10411   2/14/2011 BCEL   Transfer Online ck #316            USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10409   2/14/2011 REST   deliver stock                      USD                 180.00      -         -
        XM LIVE   3 CELT   CELT     10407   2/14/2011 REST   deliver stock                      CAD                    -      90.00       -
        XM LIVE   3 CELT   CELT     10412   2/14/2011 REST   deliver stock                      USD                 315.00      -         -
        XM LIVE   3 CELT   CELT     10471   2/15/2011 REST   deliver stock                      USD                 360.00      -         -
        XM LIVE   3 CELT   CELT     10473   2/15/2011 REST   deliver stock                      USD                 135.00      -         -




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        XM LIVE   3 CELT   CELT     10472   2/15/2011 BCEL   Transhare ck #317                  USD                  45.00      -         -
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        XM LIVE   3 CELT   CELT     10474   2/15/2011 BCEL   Holladay ck #318                   USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10547   2/16/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10548   2/16/2011 REST   deliver stock                      CAD                    -      45.00       -
        XM LIVE   3 CELT   CELT     10550   2/16/2011 REST   internal transfer                  CAD                    -      45.00       -
        XM LIVE   3 CELT   CELT     10549   2/16/2011 REST   deliver warrants                   CAD                    -      45.00       -
        XM LIVE   3 CELT   CELT     10604   2/17/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10801   2/18/2011 REST   deliver stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10802   2/18/2011 BCEL   Signature ck #360                  USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10689   2/18/2011 BCEL   Holladay ck #319                   USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10693   2/18/2011 REST   deliver stock                      USD                 112.50      -         -
        XM LIVE   3 CELT   CELT     10690   2/18/2011 REST   deliver stock                      USD                 112.50      -         -
        XM LIVE   3 CELT   CELT     10638   2/18/2011 REST   receive stock                      CAD                    -      45.00       -
        XM LIVE   3 CELT   CELT     10684   2/18/2011 REST   deliver stock                      CAD                    -     180.00       -
        XM LIVE   3 CELT   CELT     10685   2/18/2011 BCEL   Transhare ck #320                  USD                  45.00      -         -
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        XM LIVE   3 CELT   CELT     10675   2/18/2011 REST   receive stock 1 p/a                USD                  90.00      -         -
        XM LIVE   3 CELT   CELT     10686   2/18/2011 REST   deliver stock                      USD                 180.00      -         -
        XM LIVE   3 CELT   CELT     10721   2/21/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10747   2/21/2011 BCEL   Computershare ck #66               CAD                    -      45.00       -
        XM LIVE   3 CELT   CELT     10799   2/21/2011 REST   receive stock                      USD                  45.00      -         -
        XM LIVE   3 CELT   CELT     10781   2/22/2011 REST   deliver stock                      USD                 270.00      -         -
        XM LIVE   3 CELT   CELT     10749   2/22/2011 REST   receive stock                      CAD                    -      45.00       -



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        XM LIVE   3 CELT   CELT     10750   2/22/2011 REST   deliver stock                      CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     10784   2/22/2011 BCEL   Routh ck #361                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     10816   2/23/2011 REST   receive stock                      USD                        45.00         -          -
                                                                                                                                                             Case: 24-1770




        XM LIVE   3 CELT   CELT     10822   2/23/2011 BCEL   Equity Financial ck #67            CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     10845   2/23/2011 REST   deliver stock                      USD                        90.00         -          -
        XM LIVE   3 CELT   CELT     34869   2/23/2011 REST   $0.25 expire 220214                USD                       100.00         -          -
        XM LIVE   3 CELT   CELT     34870   2/23/2011 REST   $0.25 expire 220214                USD                       100.00         -          -
        XM LIVE   3 CELT   CELT     10847   2/23/2011 BCEL   Routh ck #362                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     10848   2/23/2011 REST   deliver stock                      USD                       540.00         -          -
        XM LIVE   3 CELT   CELT     10916   2/24/2011 REST   deliver stock                      USD                        90.00         -          -
        XM LIVE   3 CELT   CELT     11077   2/24/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11078   2/24/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     10922   2/24/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     10924   2/24/2011 BCEL   Routh ck #362                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     10918   2/24/2011 BCEL   Island ck #363                     USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     16618   2/24/2011 BCEL   Island ck #372                     USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     12257   2/25/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11139   2/28/2011 BCEL   commission withdrawal              USD             -        (945.00)        -          -
                                                                                                                                                             Document: 00118249068




        XM LIVE   3 CELT   CELT     11139   2/28/2011 BCEL   commission withdrawal              USD             -         945.00         -          -
        XM LIVE   3 CELT   CELT     11140   2/28/2011 BCEL   commission withdrawal              CAD             -            -        (90.00)       -
        XM LIVE   3 CELT   CELT     11140   2/28/2011 BCEL   commission withdrawal              CAD             -            -         90.00        -
        XM LIVE   3 CELT   CELT     11211   2/28/2011 REST   commission withdrawal              USD             -      (6,210.00)        -          -
        XM LIVE   3 CELT   CELT     11211   2/28/2011 REST   commission withdrawal              USD             -       6,210.00         -          -
        XM LIVE   3 CELT   CELT     11212   2/28/2011 REST   commission withdrawal              CAD             -            -       (720.00)       -
        XM LIVE   3 CELT   CELT     11212   2/28/2011 REST   commission withdrawal              CAD             -            -        720.00        -




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        XM LIVE   3 CELT   CELT     11076   2/28/2011 REST   receive stock                      USD                        45.00         -          -
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        XM LIVE   3 CELT   CELT     11496   2/28/2011 TDCO   forex ck #137                      USD       (7,084.16)   (7,155.00)        -          -
        XM LIVE   3 CELT   CELT     11496   2/28/2011 CASH   forex ck #137                      CAD        6,779.88          -      6,779.88        -
        XM LIVE   3 CELT   CELT     11088   2/28/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11130    3/1/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11133    3/1/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11135    3/1/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11289    3/1/2011 BCEL   Empire ck #364                     USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11290    3/1/2011 BCEL   Empire ck 364                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11288    3/1/2011 REST   deliver stock                      USD                       720.00         -          -
        XM LIVE   3 CELT   CELT     11278    3/2/2011 REST   receive stock                      CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     11798    3/2/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11381    3/3/2011 REST   deliver stock                      USD                       135.00         -          -
        XM LIVE   3 CELT   CELT     11320    3/3/2011 REST   deliver stock                      USD                       180.00         -          -
        XM LIVE   3 CELT   CELT     11321    3/3/2011 BCEL   Nevada Agency ck #366              USD                        45.00         -          -
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        XM LIVE   3 CELT   CELT     15724    3/3/2011 REST   deliver stock                      USD                        90.00         -          -
        XM LIVE   3 CELT   CELT     15725    3/3/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11299    3/3/2011 REST   deliver stock                      USD                       180.00         -          -
        XM LIVE   3 CELT   CELT     11382    3/3/2011 REST   deliver stock                      USD                        90.00         -          -
        XM LIVE   3 CELT   CELT     11383    3/3/2011 BCEL   Island ck #367                     USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     11385    3/3/2011 BCEL   Island ck #368                     USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     16619    3/3/2011 BCEL   Island ck #371                     USD                        45.00         -          -



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        XM LIVE   3 CELT   CELT     11372    3/4/2011 REST   deliver stock                         CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     11421    3/4/2011 REST   deliver stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11377    3/4/2011 REST   deliver stock                         USD                 405.00     -         -
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        XM LIVE   3 CELT   CELT     11378    3/4/2011 BCEL   Holladay ck #370                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11511    3/7/2011 REST   deliver stock                         USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     11466    3/7/2011 REST   deliver stock                         USD                 675.00     -         -
        XM LIVE   3 CELT   CELT     11467    3/7/2011 BCEL   Holladay ck #373                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11468    3/7/2011 BCEL   Holladay Stock ck #369                USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11694    3/9/2011 REST   deliver stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11695    3/9/2011 REST   deliver stock                         USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     11698    3/9/2011 REST   deliver stock                         USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     11699    3/9/2011 BCEL   Continental ck #374                   USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11701    3/9/2011 BCEL   Continental ck #374                   USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11724    3/9/2011 REST   deliver stock                         USD                 405.00     -         -
        XM LIVE   3 CELT   CELT     11725    3/9/2011 BCEL   Action ck #376                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11800    3/9/2011 REST   receive stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11801    3/9/2011 REST   receive stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11745   3/10/2011 REST   receive stock                         USD                  45.00     -         -
                                                                                                                                                     Document: 00118249068




        XM LIVE   3 CELT   CELT     11756   3/10/2011 REST   internal transfer                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11755   3/10/2011 REST   internal transfer                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11799   3/10/2011 BCEL   Standard ck #377 381                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11796   3/10/2011 REST   deliver stock                         USD                 360.00     -         -
        XM LIVE   3 CELT   CELT     11808   3/10/2011 REST   deliver stock                         USD                 135.00     -         -
        XM LIVE   3 CELT   CELT     13520   3/10/2011 REST   deliver stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11802   3/10/2011 REST   deliver stock                         USD                  45.00     -         -




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        XM LIVE   3 CELT   CELT     11803   3/10/2011 REST   deliver stock                         USD                  45.00     -         -
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        XM LIVE   3 CELT   CELT     11804   3/10/2011 BCEL   Holladay ck #378                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11805   3/10/2011 BCEL   Holladay ck #378                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11836   3/11/2011 REST   receive stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11851   3/11/2011 REST   deliver stock                         USD                 270.00     -         -
        XM LIVE   3 CELT   CELT     11852   3/11/2011 BCEL   Holladay ck #382                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11855   3/11/2011 REST   receive stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11861   3/11/2011 BCEL   Nevada Agency ck #383                 USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11837   3/11/2011 REST   receive stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11860   3/11/2011 REST   deliver stock                         USD                 180.00     -         -
        XM LIVE   3 CELT   CELT     11859   3/11/2011 REST   receive stock                         USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     12015   3/14/2011 REST   sell stock                            USD                    -       -         -
        XM LIVE   3 CELT   CELT     11939   3/14/2011 REST   receive stock [stock split]           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     11940   3/14/2011 REST   receive stock [stock split]           USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     12016   3/14/2011 REST   receive stock                         USD                  45.00     -         -
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        XM LIVE   3 CELT   CELT     12023   3/15/2011 BCEL   Transhare ck #384                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     12024   3/15/2011 REST   deliver stock                         USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     12025   3/15/2011 REST   deliver stock                         USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     12078   3/16/2011 REST   deliver stock                         USD                 360.00     -         -
        XM LIVE   3 CELT   CELT     12079   3/16/2011 BCEL   Holladay ck #385                      USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     12146   3/17/2011 REST   receive stock                         CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     12150   3/17/2011 BCEL   Signature ck #386                     USD                  45.00     -         -



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        XM LIVE   3 CELT   CELT     12155   3/17/2011 REST   deliver stock                     USD                  225.00         -          -
        XM LIVE   3 CELT   CELT     12157   3/17/2011 BCEL   Island ck #387                    USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12254   3/18/2011 REST   deliver stock                     USD                  350.00         -          -
                                                                                                                                                       Case: 24-1770




        XM LIVE   3 CELT   CELT     12234   3/18/2011 REST   receive stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     12245   3/18/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12249   3/18/2011 REST   deliver stock                     USD                   90.00         -          -
        XM LIVE   3 CELT   CELT     12250   3/18/2011 BCEL   Island ck #389                    USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12251   3/18/2011 BCEL   Nevada ck #388                    USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12246   3/18/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12523   3/23/2011 REST   deliver stock                     CAD                     -         90.00        -
        XM LIVE   3 CELT   CELT     12454   3/24/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12460   3/24/2011 BCEL   Action ck #390 391                USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12458   3/24/2011 REST   deliver stock                     USD                  270.00         -          -
        XM LIVE   3 CELT   CELT     12775   3/24/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12776   3/24/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12456   3/24/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12457   3/24/2011 REST   deliver stock                     USD                  180.00         -          -
        XM LIVE   3 CELT   CELT     12526   3/25/2011 REST   deliver stock                     USD                  270.00         -          -
                                                                                                                                                       Document: 00118249068




        XM LIVE   3 CELT   CELT     12506   3/25/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12525   3/25/2011 BCEL   Computershare ck #68              CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     12529   3/25/2011 REST   deliver stock                     CAD                     -         90.00        -
        XM LIVE   3 CELT   CELT     12530   3/25/2011 BCEL   Computershare ck #69 70           CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     12637   3/29/2011 REST   deliver stock                     USD                  225.00         -          -
        XM LIVE   3 CELT   CELT     12638   3/29/2011 BCEL   ClearTrust ck #392                USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12704   3/30/2011 REST   deliver stock                     USD                   45.00         -          -




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        XM LIVE   3 CELT   CELT     12705   3/30/2011 BCEL   Holladay ck #393                  USD                   45.00         -          -
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        XM LIVE   3 CELT   CELT     12707   3/30/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     12708   3/30/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     13018   3/31/2011 BCEL   commission withdrawal             USD          -    (1,125.00)        -          -
        XM LIVE   3 CELT   CELT     13018   3/31/2011 BCEL   commission withdrawal             USD          -     1,125.00         -          -
        XM LIVE   3 CELT   CELT     13019   3/31/2011 BCEL   commission withdrawal             CAD          -          -        (90.00)       -
        XM LIVE   3 CELT   CELT     13019   3/31/2011 BCEL   commission withdrawal             CAD          -          -         90.00        -
        XM LIVE   3 CELT   CELT     13094   3/31/2011 REST   commission withdrawal             USD          -    (7,605.00)        -          -
        XM LIVE   3 CELT   CELT     13094   3/31/2011 REST   commission withdrawal             USD          -     7,605.00         -          -
        XM LIVE   3 CELT   CELT     13095   3/31/2011 REST   commission withdrawal             CAD          -          -       (495.00)       -
        XM LIVE   3 CELT   CELT     13095   3/31/2011 REST   commission withdrawal             CAD          -          -        495.00        -
        XM LIVE   3 CELT   CELT     13167   3/31/2011 REST   receive stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     12739   3/31/2011 REST   receive stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     12740   3/31/2011 REST   receive stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     12742   3/31/2011 REST   receive stock                     USD                   45.00         -          -
                                                                                                                                                       Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     13211   3/31/2011 WORK   forex                             USD          -    (8,730.00)        -          -
        XM LIVE   3 CELT   CELT     13211   3/31/2011 WORK   forex                             CAD          -          -      8,365.50        -
        XM LIVE   3 CELT   CELT     13603   3/31/2011 REST   deliver stock                     USD                   90.00         -          -
        XM LIVE   3 CELT   CELT     13170    4/1/2011 REST   deliver stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     13184    4/1/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     13910    4/1/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     17050    4/1/2011 REST   receive stock                     USD                   45.00         -          -



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        XM LIVE   3 CELT   CELT     13320    4/4/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13313    4/4/2011 REST   deliver stock                     USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     13314    4/4/2011 BCEL   Holladay ck #394                  USD                  45.00     -         -
                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     13604    4/4/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13425    4/6/2011 REST   deliver stock                     USD                 315.00     -         -
        XM LIVE   3 CELT   CELT     13409    4/6/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13426    4/6/2011 BCEL   Action ck #395                    USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13427    4/6/2011 BCEL   Action ck #395                    USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13533    4/7/2011 REST   deliver stock                     USD                 135.00     -         -
        XM LIVE   3 CELT   CELT     13561    4/8/2011 REST   internal transfer                 USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13607    4/8/2011 REST   buy stock                         USD                    -       -         -
        XM LIVE   3 CELT   CELT     13606    4/8/2011 REST   sell stock                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13590    4/8/2011 REST   receive stock                     CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     13592    4/8/2011 REST   receive stock                     CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     13593    4/8/2011 REST   deliver stock                     USD                 900.00     -         -
        XM LIVE   3 CELT   CELT     13595    4/8/2011 BCEL   Routh ck #396                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13596    4/8/2011 BCEL   Routh ck #397                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13666   4/11/2011 REST   deliver stock                     CAD                    -     90.00       -
                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     13824   4/13/2011 BCEL   Computershare ck #73              CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     13795   4/13/2011 REST   deliver stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13855   4/13/2011 REST   deliver stock                     USD                 135.00     -         -
        XM LIVE   3 CELT   CELT     13826   4/14/2011 REST   receive stock                     CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     13831   4/14/2011 REST   deliver stock                     CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     13829   4/14/2011 REST   deliver stock                     CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     13858   4/14/2011 REST   receive stock                     USD                  45.00     -         -




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        XM LIVE   3 CELT   CELT     13856   4/14/2011 BCEL   Transhare ck #399                 USD                  45.00     -         -
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        XM LIVE   3 CELT   CELT     13859   4/14/2011 REST   deliver stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13890   4/15/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     22618   4/18/2011 REST   receive stock                     USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     14025   4/18/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13978   4/18/2011 REST   deliver stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13979   4/18/2011 BCEL   Holladay ck #419                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13985   4/18/2011 REST   buy stock                         USD                    -       -         -
        XM LIVE   3 CELT   CELT     13984   4/18/2011 REST   sell stock                        USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     13990   4/18/2011 REST   internal transfer                 USD                    -       -         -
        XM LIVE   3 CELT   CELT     13991   4/18/2011 REST   internal transfer                 USD                    -       -         -
        XM LIVE   3 CELT   CELT     13993   4/18/2011 REST   internal transfer                 USD                    -       -         -
        XM LIVE   3 CELT   CELT     14021   4/19/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     14029   4/19/2011 REST   receive stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     14039   4/19/2011 REST   receive stock                     USD                  45.00     -         -
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        XM LIVE   3 CELT   CELT     14040   4/19/2011 REST   deliver stock                     USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     14054   4/19/2011 REST   deliver stock                     USD                 135.00     -         -
        XM LIVE   3 CELT   CELT     14055   4/19/2011 BCEL   ClearTrust ck #420                USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     14059   4/19/2011 REST   deliver stock                     USD                 315.00     -         -
        XM LIVE   3 CELT   CELT     14060   4/19/2011 BCEL   Quicksilver ck #421               USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     14062   4/19/2011 REST   deliver stock                     USD                 945.00     -         -
        XM LIVE   3 CELT   CELT     14063   4/19/2011 BCEL   Routh ck #422                     USD                  45.00     -         -



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        XM LIVE   3 CELT   CELT     14087   4/20/2011 REST   deliver stock                     USD                       270.00          -          -
        XM LIVE   3 CELT   CELT     14106   4/20/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14088   4/20/2011 BCEL   Action ck #423                    USD                        45.00          -          -
                                                                                                                                                             Case: 24-1770




        XM LIVE   3 CELT   CELT     14102   4/20/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14103   4/20/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14169   4/24/2011 REST   internal transfer                 USD                          -            -          -
        XM LIVE   3 CELT   CELT     14170   4/24/2011 REST   internal transfer                 USD                          -            -          -
        XM LIVE   3 CELT   CELT     14207   4/25/2011 REST   deliver stock                     USD                        90.00          -          -
        XM LIVE   3 CELT   CELT     14203   4/25/2011 REST   deliver stock                     USD                       180.00          -          -
        XM LIVE   3 CELT   CELT     14204   4/25/2011 BCEL   Island ck #424                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14208   4/25/2011 BCEL   Natco ck #425                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14224   4/26/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14229   4/26/2011 BCEL   Island ck #427                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14276   4/26/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14278   4/26/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14304   4/27/2011 REST   deliver stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14307   4/27/2011 REST   deliver stock                     USD                        90.00          -          -
        XM LIVE   3 CELT   CELT     14308   4/27/2011 BCEL   Natco ck #431                     USD                        45.00          -          -
                                                                                                                                                             Document: 00118249068




        XM LIVE   3 CELT   CELT     14311   4/27/2011 REST   deliver stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14312   4/27/2011 BCEL   Empire ck #426                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14313   4/27/2011 BCEL   Empire ck #429                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14314   4/27/2011 BCEL   Pacific ck #430                   USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14317   4/27/2011 REST   deliver stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14432   4/29/2011 BCEL   commission withdrawal             USD             -        (810.00)         -          -
        XM LIVE   3 CELT   CELT     14432   4/29/2011 BCEL   commission withdrawal             USD             -         810.00          -          -




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        XM LIVE   3 CELT   CELT     14433   4/29/2011 BCEL   commission withdrawal             CAD             -            -         (45.00)       -
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        XM LIVE   3 CELT   CELT     14433   4/29/2011 BCEL   commission withdrawal             CAD             -            -          45.00        -
        XM LIVE   3 CELT   CELT     14506   4/29/2011 REST   commission withdrawal             USD             -      (4,995.00)         -          -
        XM LIVE   3 CELT   CELT     14506   4/29/2011 REST   commission withdrawal             USD             -       4,995.00          -          -
        XM LIVE   3 CELT   CELT     14507   4/29/2011 REST   commission withdrawal             CAD             -            -        (405.00)       -
        XM LIVE   3 CELT   CELT     14507   4/29/2011 REST   commission withdrawal             CAD             -            -         405.00        -
        XM LIVE   3 CELT   CELT     14831   4/29/2011 BSIT   forex                             USD       (5,747.52)   (5,805.00)         -          -
        XM LIVE   3 CELT   CELT     14831   4/29/2011 BSIT   forex                             CAD        5,468.78          -       5,468.78        -
        XM LIVE   3 CELT   CELT     14784    5/2/2011 CASH   debit                             CAD       (4,000.00)         -      (4,000.00)       -
        XM LIVE   3 CELT   CELT     14824    5/3/2011 REST   deliver stock                     USD                        90.00          -          -
        XM LIVE   3 CELT   CELT     14825    5/3/2011 BCEL   Holladay ck #432                  USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14896    5/3/2011 BCEL   Holladay ck #432                  USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14852    5/3/2011 REST   deliver stock                     USD                        90.00          -          -
        XM LIVE   3 CELT   CELT     14853    5/3/2011 BCEL   Holladay ck #433                  USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     14916    5/4/2011 REST   receive stock                     CAD                          -          45.00        -
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        XM LIVE   3 CELT   CELT     14961    5/5/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     15020    5/6/2011 REST   receive stock                     EUR                          -            -        45.00
        XM LIVE   3 CELT   CELT     15022    5/6/2011 REST   deliver stock                     EUR                          -            -        45.00
        XM LIVE   3 CELT   CELT     15105    5/9/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     15106    5/9/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     15107    5/9/2011 REST   receive stock                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     15532    5/9/2011 REST   deliver stock                     USD                        45.00          -          -



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        XM LIVE   3 CELT   CELT     15132    5/9/2011 REST   internal transfer                              USD                    -       -         -
        XM LIVE   3 CELT   CELT     15133    5/9/2011 REST   internal transfer                              USD                    -       -         -
        XM LIVE   3 CELT   CELT     15136    5/9/2011 BCEL   NATCO ck #398                                  USD                  45.00     -         -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     15209   5/10/2011 BCEL   Lawler ck#435 Braeden                          USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15186   5/10/2011 REST   receive stock                                  CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     15187   5/10/2011 REST   receive warrant                                CAD                    -     45.00       -
        XM LIVE   3 CELT   CELT     15208   5/10/2011 BCEL   Lawler ck #435                                 USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     15211   5/10/2011 REST   deliver stock                                  USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     15212   5/10/2011 BCEL   Standard ck #434                               USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15241   5/11/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15242   5/11/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15245   5/11/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15248   5/11/2011 BCEL   Holladay ck #436                               USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15221   5/11/2011 REST   deliver stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     17052   5/11/2011 REST   deliver stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15247   5/11/2011 REST   deliver stock                                  USD                 225.00     -         -
        XM LIVE   3 CELT   CELT     15220   5/11/2011 REST   deliver stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15326   5/12/2011 REST   deliver stock                                  USD                  45.00     -         -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     15327   5/12/2011 REST   deliver stock                                  USD                 225.00     -         -
        XM LIVE   3 CELT   CELT     15328   5/12/2011 BCEL   Natco ck #437                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15372   5/13/2011 REST   deliver stock                                  USD                  90.00     -         -
        XM LIVE   3 CELT   CELT     15373   5/13/2011 BCEL   Island ck #438                                 USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15404   5/16/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15405   5/16/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15406   5/16/2011 REST   receive stock                                  USD                  45.00     -         -




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        XM LIVE   3 CELT   CELT     15407   5/16/2011 REST   receive stock                                  USD                  45.00     -         -
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        XM LIVE   3 CELT   CELT     15533   5/17/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15534   5/17/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15448   5/17/2011 BCEL   Lawler ck #440 re: Thwi Opinions x 6           USD                 180.00     -         -
        XM LIVE   3 CELT   CELT     15498   5/18/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15499   5/18/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15507   5/18/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15543   5/18/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15550   5/18/2011 REST   deliver stock                                  USD                 405.00     -         -
        XM LIVE   3 CELT   CELT     15551   5/18/2011 BCEL   Natco ck #441                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15612   5/19/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15705   5/19/2011 REST   deliver stock                                  USD                 180.00     -         -
        XM LIVE   3 CELT   CELT     15706   5/19/2011 REST   deliver stock                                  USD                 180.00     -         -
        XM LIVE   3 CELT   CELT     15707   5/19/2011 BCEL   Empire ck #442                                 USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15708   5/19/2011 BCEL   Empire ck #442                                 USD                  45.00     -         -
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        XM LIVE   3 CELT   CELT     15615   5/19/2011 REST   deliver stock                                  USD                 810.00     -         -
        XM LIVE   3 CELT   CELT     15611   5/19/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15613   5/19/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15614   5/19/2011 REST   receive stock                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15616   5/19/2011 BCEL   Routh ck #444                                  USD                  45.00     -         -
        XM LIVE   3 CELT   CELT     15620   5/19/2011 REST   deliver stock                                  USD                 225.00     -         -
        XM LIVE   3 CELT   CELT     15621   5/19/2011 BCEL   Routh ck #443                                  USD                  45.00     -         -



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        XM LIVE   3 CELT   CELT     15703   5/20/2011 REST   receive stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15671   5/20/2011 REST   receive stock                     CAD                     -        45.00        -
        XM LIVE   3 CELT   CELT     15715   5/20/2011 REST   receive stock                     USD                   45.00        -          -
                                                                                                                                                      Case: 24-1770




        XM LIVE   3 CELT   CELT     15674   5/22/2011 REST   internal transfer                 USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15704   5/23/2011 REST   deliver stock                     USD                   90.00        -          -
        XM LIVE   3 CELT   CELT     15716   5/23/2011 REST   deliver stock                     USD                  135.00        -          -
        XM LIVE   3 CELT   CELT     15726   5/23/2011 REST   deliver stock                     USD                  180.00        -          -
        XM LIVE   3 CELT   CELT     15727   5/23/2011 BCEL   Action ck #445                    USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15772   5/24/2011 REST   deliver stock                     CAD                     -        45.00        -
        XM LIVE   3 CELT   CELT     15804   5/24/2011 REST   receive stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15805   5/24/2011 REST   receive stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15834   5/25/2011 BCEL   Computershare ck #74              CAD                     -        45.00        -
        XM LIVE   3 CELT   CELT     15921   5/25/2011 BCEL   Action ck #446                    USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15920   5/25/2011 REST   deliver stock                     USD                  180.00        -          -
        XM LIVE   3 CELT   CELT     15859   5/25/2011 REST   deliver stock                     CAD                     -        45.00        -
        XM LIVE   3 CELT   CELT     15911   5/26/2011 BCEL   Computershare ck #75              CAD                     -        45.00        -
        XM LIVE   3 CELT   CELT     15925   5/26/2011 REST   deliver stock                     USD                   90.00        -          -
        XM LIVE   3 CELT   CELT     15926   5/26/2011 BCEL   Pacific ck #449                   USD                   45.00        -          -
                                                                                                                                                      Document: 00118249068




        XM LIVE   3 CELT   CELT     15928   5/26/2011 REST   deliver stock                     USD                  225.00        -          -
        XM LIVE   3 CELT   CELT     15929   5/26/2011 BCEL   Action ck #447                    USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     15917   5/26/2011 REST   deliver stock                     CAD                     -        45.00        -
        XM LIVE   3 CELT   CELT     15937   5/26/2011 REST   receive stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16003   5/27/2011 BCEL   Natco ck #450                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16004   5/27/2011 REST   deliver stock                     USD                  180.00        -          -
        XM LIVE   3 CELT   CELT     16005   5/27/2011 BCEL   Action ck #448                    USD                   45.00        -          -




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        XM LIVE   3 CELT   CELT     16008   5/27/2011 REST   receive stock                     USD                   45.00        -          -
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        XM LIVE   3 CELT   CELT     16096   5/30/2011 REST   receive stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16097   5/30/2011 REST   receive stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16114   5/30/2011 REST   deliver stock                     USD                   90.00        -          -
        XM LIVE   3 CELT   CELT     16115   5/30/2011 BCEL   Holladay ck #451                  USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16118   5/30/2011 REST   deliver stock                     USD                   90.00        -          -
        XM LIVE   3 CELT   CELT     16117   5/30/2011 REST   deliver stock                     USD                   90.00        -          -
        XM LIVE   3 CELT   CELT     16119   5/30/2011 BCEL   Empire ck #452                    USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16120   5/30/2011 BCEL   Empire ck #452                    USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16125   5/30/2011 REST   deliver stock                     USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16126   5/30/2011 BCEL   Island ck #454                    USD                   45.00        -          -
        XM LIVE   3 CELT   CELT     16192   5/31/2011 BCEL   commission withdrawal             USD          -    (1,485.00)       -          -
        XM LIVE   3 CELT   CELT     16192   5/31/2011 BCEL   commission withdrawal             USD          -     1,485.00        -          -
        XM LIVE   3 CELT   CELT     16193   5/31/2011 BCEL   commission withdrawal             CAD          -          -       (90.00)       -
        XM LIVE   3 CELT   CELT     16193   5/31/2011 BCEL   commission withdrawal             CAD          -          -        90.00        -
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        XM LIVE   3 CELT   CELT     16264   5/31/2011 REST   commission withdrawal             USD          -    (6,075.00)       -          -
        XM LIVE   3 CELT   CELT     16264   5/31/2011 REST   commission withdrawal             USD          -     6,075.00        -          -
        XM LIVE   3 CELT   CELT     16265   5/31/2011 REST   commission withdrawal             CAD          -          -      (315.00)       -
        XM LIVE   3 CELT   CELT     16265   5/31/2011 REST   commission withdrawal             CAD          -          -       315.00        -
        XM LIVE   3 CELT   CELT     16266   5/31/2011 REST   commission withdrawal             EUR          -          -          -       (90.00)
        XM LIVE   3 CELT   CELT     16266   5/31/2011 REST   commission withdrawal             EUR          -          -          -        90.00
        XM LIVE   3 CELT   CELT     16137   5/31/2011 REST   deliver stock                     USD                  135.00        -          -



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        XM LIVE   3 CELT   CELT     16500   5/31/2011 WORK   forex                              EUR             -            -            -       (90.00)
        XM LIVE   3 CELT   CELT     16500   5/31/2011 WORK   forex                              CAD             -            -         125.94        -
        XM LIVE   3 CELT   CELT     16593   5/31/2011 BSIT   forex                              USD       (7,485.15)   (7,560.00)         -          -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     16593   5/31/2011 BSIT   forex                              CAD        7,307.00          -       7,307.00        -
        XM LIVE   3 CELT   CELT     16128   5/31/2011 REST   deliver stock                      USD                       157.50          -          -
        XM LIVE   3 CELT   CELT     16129   5/31/2011 REST   deliver stock                      USD                       157.50          -          -
        XM LIVE   3 CELT   CELT     16130   5/31/2011 BCEL   Empire ck #453                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16131   5/31/2011 BCEL   Empire ck #453                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16138   5/31/2011 BCEL   Colonial ck #455                   USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16300    6/1/2011 CASH   debit                              CAD       (3,500.00)         -      (3,500.00)       -
        XM LIVE   3 CELT   CELT     16180    6/1/2011 REST   deliver stock                      USD                       180.00          -          -
        XM LIVE   3 CELT   CELT     16181    6/1/2011 BCEL   Action ck #456                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16187    6/1/2011 REST   receive stock                      CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     16188    6/1/2011 REST   receive stock                      CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     17015    6/2/2011 REST   receive stock                      CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     16496    6/2/2011 REST   receive stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16510    6/2/2011 BCEL   Action ck #457                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16685    6/3/2011 REST   deliver stock                      USD                       315.00          -          -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     16569    6/3/2011 REST   receive stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16570    6/3/2011 REST   receive stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16571    6/3/2011 REST   receive stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16564    6/3/2011 REST   deliver stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     17048    6/3/2011 REST   deliver stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16686    6/3/2011 BCEL   Action ck #458                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16747    6/6/2011 REST   receive stock                      USD                        45.00          -          -




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        XM LIVE   3 CELT   CELT     16675    6/6/2011 BCEL   Computershare ck# 77               CAD                          -          45.00        -
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        XM LIVE   3 CELT   CELT     16679    6/6/2011 BCEL   Computershare ck #77               CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     16680    6/6/2011 BCEL   Computershare ck #77               CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     16681    6/6/2011 REST   deliver stock                      CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     16684    6/6/2011 REST   deliver stock                      CAD                          -          45.00        -
        XM LIVE   3 CELT   CELT     16690    6/6/2011 REST   deliver stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16691    6/6/2011 BCEL   Transfer Online ck #459            USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16693    6/6/2011 REST   deliver stock                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16694    6/6/2011 BCEL   Island ck #460                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16735    6/7/2011 REST   deliver stock                      USD                       382.50          -          -
        XM LIVE   3 CELT   CELT     16736    6/7/2011 REST   deliver stock                      USD                       247.50          -          -
        XM LIVE   3 CELT   CELT     16737    6/7/2011 BCEL   Empire ck # 464                    USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16738    6/7/2011 BCEL   Empire ck #464                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16743    6/7/2011 REST   deliver stock                      USD                       270.00          -          -
        XM LIVE   3 CELT   CELT     16744    6/7/2011 BCEL   Empire ck #462                     USD                        45.00          -          -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     16745    6/7/2011 BCEL   Empire ck #462                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16746    6/7/2011 BCEL   Empire ck #462                     USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16748    6/7/2011 REST   deliver stock                      USD                       135.00          -          -
        XM LIVE   3 CELT   CELT     16749    6/7/2011 BCEL   Holladay ck #461                   USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16752    6/7/2011 REST   deliver stock                      USD                       135.00          -          -
        XM LIVE   3 CELT   CELT     16754    6/7/2011 BCEL   Natco ck #463                      USD                        45.00          -          -
        XM LIVE   3 CELT   CELT     16753    6/7/2011 REST   sell stock to Gutierrez            USD                       270.00          -          -



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        XM LIVE   3 CELT   CELT     16727    6/7/2011 REST   deliver stock                      CAD                           -          45.00        -
        XM LIVE   3 CELT   CELT     16728    6/7/2011 BCEL   Equity ck #78                      CAD                           -          45.00        -
        XM LIVE   3 CELT   CELT     16993   6/10/2011 REST   deliver stock                      USD                        450.00          -          -
                                                                                                                                                               Case: 24-1770




        XM LIVE   3 CELT   CELT     17016   6/10/2011 REST   deliver stock                      CAD                           -          45.00        -
        XM LIVE   3 CELT   CELT     17017   6/10/2011 BCEL   Computershare ck #79               CAD                           -          45.00        -
        XM LIVE   3 CELT   CELT     16920   6/10/2011 BCEL   Colonial ck #465                   USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     16994   6/10/2011 BCEL   Holladay ck #466                   USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17021   6/13/2011 REST   deliver stock                      USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17022   6/13/2011 BCEL   Island ck #467                     USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17315   6/20/2011 REST   deliver stock                      USD                         90.00          -          -
        XM LIVE   3 CELT   CELT     17310   6/20/2011 REST   deliver stock                      USD                        315.00          -          -
        XM LIVE   3 CELT   CELT     17312   6/20/2011 REST   deliver stock                      USD                        135.00          -          -
        XM LIVE   3 CELT   CELT     17313   6/20/2011 BCEL   Holladay ck #468                   USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17311   6/20/2011 BCEL   Transfer Online ck #469            USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17316   6/20/2011 BCEL   Holladay ck #470                   USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17403   6/21/2011 REST   deliver stock                      USD                         90.00          -          -
        XM LIVE   3 CELT   CELT     17404   6/21/2011 BCEL   Holladay ck #471                   USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17405   6/21/2011 BCEL   Holladay ck #471                   USD                         45.00          -          -
                                                                                                                                                               Document: 00118249068




        XM LIVE   3 CELT   CELT     19381   6/22/2011 REST   receive stock                      USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17466   6/23/2011 REST   receive stock                      USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17483   6/24/2011 REST   receive stock                      USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17525   6/27/2011 REST   receive stock                      CAD                           -          45.00        -
        XM LIVE   3 CELT   CELT     17632   6/28/2011 BCEL   Action ck #473                     USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17538   6/28/2011 REST   deliver stock                      USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17588   6/29/2011 REST   receive stock                      USD                         45.00          -          -




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        XM LIVE   3 CELT   CELT     17623   6/29/2011 REST   receive stock                      USD                         45.00          -          -
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        XM LIVE   3 CELT   CELT     17624   6/29/2011 REST   receive stock                      USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17631   6/29/2011 REST   deliver stock                      USD                        135.00          -          -
        XM LIVE   3 CELT   CELT     17634   6/29/2011 REST   deliver stock                      USD                        135.00          -          -
        XM LIVE   3 CELT   CELT     17635   6/29/2011 BCEL   ClearTrust ck #475                 USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17637   6/29/2011 REST   deliver stock                      USD                        135.00          -          -
        XM LIVE   3 CELT   CELT     17640   6/29/2011 BCEL   Action ck #476                     USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     17708   6/30/2011 BCEL   commission withdrawal              USD             -       (1,170.00)         -          -
        XM LIVE   3 CELT   CELT     17708   6/30/2011 BCEL   commission withdrawal              USD             -        1,170.00          -          -
        XM LIVE   3 CELT   CELT     17709   6/30/2011 BCEL   commission withdrawal              CAD             -             -        (225.00)       -
        XM LIVE   3 CELT   CELT     17709   6/30/2011 BCEL   commission withdrawal              CAD             -             -         225.00        -
        XM LIVE   3 CELT   CELT     17777   6/30/2011 REST   commission withdrawal              USD             -      (12,532.50)         -          -
        XM LIVE   3 CELT   CELT     17777   6/30/2011 REST   commission withdrawal              USD             -       12,532.50          -          -
        XM LIVE   3 CELT   CELT     17778   6/30/2011 REST   commission withdrawal              CAD             -             -        (360.00)       -
        XM LIVE   3 CELT   CELT     17778   6/30/2011 REST   commission withdrawal              CAD             -             -         360.00        -
                                                                                                                                                               Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     18277   6/30/2011 CASH   debit                              CAD       (3,500.00)          -      (3,500.00)       -
        XM LIVE   3 CELT   CELT     18189   6/30/2011 TDCO   forex ck #245                      USD      (13,566.83)   (13,702.50)         -          -
        XM LIVE   3 CELT   CELT     18189   6/30/2011 CASH   forex ck #245                      CAD       12,821.76           -      12,821.76        -
        XM LIVE   3 CELT   CELT     17627   6/30/2011 REST   deliver stock                      USD                        225.00          -          -
        XM LIVE   3 CELT   CELT     17628   6/30/2011 BCEL   Holladay ck #474                   USD                         45.00          -          -
        XM LIVE   3 CELT   CELT     18124    7/4/2011 BCEL   Computershare ck #80               CAD                           -          45.00        -
        XM LIVE   3 CELT   CELT     18301    7/4/2011 REST   receive stock                      USD                         45.00          -          -



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        XM LIVE   3 CELT   CELT     18187    7/5/2011 REST   deliver stock                      CAD                          -         90.00        -
        XM LIVE   3 CELT   CELT     18300    7/6/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18302    7/6/2011 REST   deliver stock                      USD                        45.00         -          -
                                                                                                                                                             Case: 24-1770




        XM LIVE   3 CELT   CELT     18303    7/6/2011 BCEL   Holladay ck #477                   USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18306    7/7/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18308    7/7/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18309    7/7/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18470   7/12/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18489   7/13/2011 REST   deliver stock                      USD                        90.00         -          -
        XM LIVE   3 CELT   CELT     18490   7/13/2011 BCEL   Holladay ck #478                   USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18948   7/20/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18716   7/20/2011 REST   internal transfer                  USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18949   7/22/2011 REST   deliver stock                      USD                       180.00         -          -
        XM LIVE   3 CELT   CELT     18807   7/22/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18809   7/22/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18842   7/22/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18843   7/22/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     18950   7/22/2011 BCEL   Transfer Online ck #479            USD                        45.00         -          -
                                                                                                                                                             Document: 00118249068




        XM LIVE   3 CELT   CELT     18857   7/26/2011 REST   deliver stock                      CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     18860   7/26/2011 REST   deliver stock                      CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     19362   7/28/2011 REST   deliver stock                      USD                       270.00         -          -
        XM LIVE   3 CELT   CELT     19363   7/28/2011 BCEL   Action ck #480                     USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19379   7/29/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19263   7/31/2011 BCEL   commission withdrawal              USD             -        (135.00)        -          -
        XM LIVE   3 CELT   CELT     19263   7/31/2011 BCEL   commission withdrawal              USD             -         135.00         -          -




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        XM LIVE   3 CELT   CELT     19264   7/31/2011 BCEL   commission withdrawal              CAD             -            -        (45.00)       -
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        XM LIVE   3 CELT   CELT     19264   7/31/2011 BCEL   commission withdrawal              CAD             -            -         45.00        -
        XM LIVE   3 CELT   CELT     19321   7/31/2011 REST   commission withdrawal              USD             -      (1,260.00)        -          -
        XM LIVE   3 CELT   CELT     19321   7/31/2011 REST   commission withdrawal              USD             -       1,260.00         -          -
        XM LIVE   3 CELT   CELT     19322   7/31/2011 REST   commission withdrawal              CAD             -            -       (180.00)       -
        XM LIVE   3 CELT   CELT     19322   7/31/2011 REST   commission withdrawal              CAD             -            -        180.00        -
        XM LIVE   3 CELT   CELT     19366    8/1/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19367    8/1/2011 REST   deliver stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19422    8/2/2011 REST   deliver stock                      USD                       180.00         -          -
        XM LIVE   3 CELT   CELT     19423    8/2/2011 BCEL   Holladay ck #478                   USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19427    8/2/2011 BCEL   Holladay ck #481                   USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19426    8/2/2011 REST   deliver stock                      USD                       180.00         -          -
        XM LIVE   3 CELT   CELT     19410    8/2/2011 BSIT   forex                              USD       (1,381.19)   (1,395.00)        -          -
        XM LIVE   3 CELT   CELT     19410    8/2/2011 BSIT   forex                              CAD        1,321.71          -      1,321.71        -
        XM LIVE   3 CELT   CELT     19632    8/3/2011 REST   receive stock                      USD                        45.00         -          -
                                                                                                                                                             Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     19630    8/3/2011 REST   receive stock                      USD                        50.00         -          -
        XM LIVE   3 CELT   CELT     19443    8/3/2011 REST   receive stock                      CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     19438    8/3/2011 REST   adjust                             USD                          -           -          -
        XM LIVE   3 CELT   CELT     19457    8/3/2011 REST   receive stock                      CAD                          -         45.00        -
        XM LIVE   3 CELT   CELT     29466    8/4/2011 REST   deliver stock                      USD                        50.00         -          -
        XM LIVE   3 CELT   CELT     19517    8/5/2011 REST   receive stock                      USD                        45.00         -          -
        XM LIVE   3 CELT   CELT     19518    8/5/2011 REST   receive stock                      USD                        45.00         -          -



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        XM LIVE   3 CELT   CELT     19519    8/5/2011 REST   deliver stock                     USD                   90.00         -          -
        XM LIVE   3 CELT   CELT     19520    8/5/2011 BCEL   Holladay ck #482                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19521    8/5/2011 REST   deliver stock                     USD                   45.00         -          -
                                                                                                                                                       Case: 24-1770




        XM LIVE   3 CELT   CELT     19522    8/5/2011 BCEL   Holladay ck #482                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19635    8/8/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19923   8/10/2011 REST   deliver stock                     CAD                     -         90.00        -
        XM LIVE   3 CELT   CELT     19683   8/10/2011 REST   deliver stock                     USD                  300.00         -          -
        XM LIVE   3 CELT   CELT     19687   8/10/2011 BCEL   Transfer Online                   USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19675   8/10/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19676   8/10/2011 BCEL   Holladay ck #485                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19677   8/10/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19678   8/10/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19679   8/10/2011 BCEL   Holladay ck #486                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19680   8/10/2011 BCEL   Holladay ck #486                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19684   8/10/2011 BCEL   Holladay ck #484                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19686   8/10/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19808   8/11/2011 REST   deliver stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     19807   8/12/2011 REST   deliver stock                     CAD                     -         45.00        -
                                                                                                                                                       Document: 00118249068




        XM LIVE   3 CELT   CELT     19806   8/12/2011 REST   deliver stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     19753   8/15/2011 BCEL   ComputerShare ck #81              CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     19975   8/22/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     19978   8/23/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     20012   8/24/2011 REST   deliver stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     20015   8/24/2011 REST   deliver stock                     USD                   90.00         -          -
        XM LIVE   3 CELT   CELT     20016   8/24/2011 BCEL   Holladay ck #487                  USD                   45.00         -          -




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        XM LIVE   3 CELT   CELT     20054   8/25/2011 REST   deliver stock                     USD                  405.00         -          -
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        XM LIVE   3 CELT   CELT     20055   8/25/2011 BCEL   Holladay ck #488                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     20106   8/29/2011 REST   deliver stock                     USD                  225.00         -          -
        XM LIVE   3 CELT   CELT     20107   8/29/2011 BCEL   Holladay ck #489                  USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     20374   8/31/2011 BCEL   commission withdrawal             USD          -      (585.00)        -          -
        XM LIVE   3 CELT   CELT     20374   8/31/2011 BCEL   commission withdrawal             USD          -       585.00         -          -
        XM LIVE   3 CELT   CELT     20375   8/31/2011 BCEL   commission withdrawal             CAD          -          -        (45.00)       -
        XM LIVE   3 CELT   CELT     20375   8/31/2011 BCEL   commission withdrawal             CAD          -          -         45.00        -
        XM LIVE   3 CELT   CELT     20443   8/31/2011 REST   commission withdrawal             USD          -    (2,790.00)        -          -
        XM LIVE   3 CELT   CELT     20443   8/31/2011 REST   commission withdrawal             USD          -     2,790.00         -          -
        XM LIVE   3 CELT   CELT     20444   8/31/2011 REST   commission withdrawal             CAD          -          -       (360.00)       -
        XM LIVE   3 CELT   CELT     20444   8/31/2011 REST   commission withdrawal             CAD          -          -        360.00        -
        XM LIVE   3 CELT   CELT     20170   8/31/2011 REST   CLNO Proxy signatures             USD                  405.00         -          -
        XM LIVE   3 CELT   CELT     20176   8/31/2011 REST   receive stock                     USD                   45.00         -          -
        XM LIVE   3 CELT   CELT     20177   8/31/2011 REST   receive stock                     USD                   45.00         -          -
                                                                                                                                                       Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     20507    9/1/2011 WORK   forex                             USD          -    (3,375.00)        -          -
        XM LIVE   3 CELT   CELT     20507    9/1/2011 WORK   forex                             CAD          -          -      3,224.70        -
        XM LIVE   3 CELT   CELT     20597    9/2/2011 REST   receive stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     20601    9/2/2011 REST   receive stock                     CAD                     -         45.00        -
        XM LIVE   3 CELT   CELT     20518    9/2/2011 REST   AVOE Proxy Signatures             USD                  315.00         -          -
        XM LIVE   3 CELT   CELT     20520    9/2/2011 REST   deliver stock                     USD                  315.00         -          -
        XM LIVE   3 CELT   CELT     20523    9/2/2011 BCEL   Holladay ck #490                  USD                   45.00         -          -



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        XM LIVE   3 CELT   CELT     20526    9/2/2011 CASH   debit                             CAD       (3,500.00)      -     (3,500.00)       -
        XM LIVE   3 CELT   CELT     20531    9/2/2011 REST   deliver stock                     USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20585    9/6/2011 REST   receive stock                     USD                     45.00         -          -
                                                                                                                                                         Case: 24-1770




        XM LIVE   3 CELT   CELT     20586    9/6/2011 REST   receive stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20587    9/6/2011 REST   deliver stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20589    9/6/2011 BCEL   Holladay ck #491                  USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20590    9/7/2011 REST   deliver stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20656    9/8/2011 REST   receive stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20657    9/8/2011 REST   receive stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20856    9/8/2011 REST   receive stock                     CAD                       -         50.00        -
        XM LIVE   3 CELT   CELT     20658    9/8/2011 REST   receive stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20663    9/8/2011 REST   receive stock                     CAD                       -         45.00        -
        XM LIVE   3 CELT   CELT     20664    9/8/2011 REST   receive stock                     CAD                       -         45.00        -
        XM LIVE   3 CELT   CELT     20667    9/8/2011 REST   receive stock                     CAD                       -         45.00        -
        XM LIVE   3 CELT   CELT     21238    9/8/2011 REST   deliver stock                     CAD                       -        100.00        -
        XM LIVE   3 CELT   CELT     20708    9/9/2011 REST   receive stock                     USD                     45.00         -          -
        XM LIVE   3 CELT   CELT     20709    9/9/2011 REST   receive stock 1 p/a               USD                     90.00         -          -
        XM LIVE   3 CELT   CELT     20768    9/9/2011 REST   deliver stock                     USD                    100.00         -          -
                                                                                                                                                         Document: 00118249068




        XM LIVE   3 CELT   CELT     20770    9/9/2011 REST   deliver stock                     USD                    200.00         -          -
        XM LIVE   3 CELT   CELT     20771    9/9/2011 BCEL   Holladay ck #493                  USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20752   9/12/2011 BCEL   Computershare                     CAD                       -         50.00        -
        XM LIVE   3 CELT   CELT     20753   9/12/2011 BCEL   Computershare                     CAD                       -         50.00        -
        XM LIVE   3 CELT   CELT     20756   9/12/2011 REST   deliver stock 2 p/a               USD                    150.00         -          -
        XM LIVE   3 CELT   CELT     20755   9/12/2011 REST   deliver stock                     CAD                       -        100.00        -
        XM LIVE   3 CELT   CELT     20857   9/12/2011 REST   deliver stock                     CAD                       -        150.00        -




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        XM LIVE   3 CELT   CELT     22029   9/12/2011 REST   receive stock                     USD                     50.00         -          -
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        XM LIVE   3 CELT   CELT     20764   9/12/2011 REST   receive stock                     USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20773   9/12/2011 REST   deliver stock                     USD                    100.00         -          -
        XM LIVE   3 CELT   CELT     20774   9/12/2011 BCEL   Signature ck #492                 USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20815   9/13/2011 BCEL   Holladay ck #495                  USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20821   9/13/2011 REST   deliver stock                     USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20822   9/13/2011 REST   deliver stock                     USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20823   9/13/2011 BCEL   Empire ck #494                    USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20824   9/13/2011 BCEL   Empire ck #494                    USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20797   9/13/2011 REST   deliver stock 2 p/a               USD                    100.00         -          -
        XM LIVE   3 CELT   CELT     20814   9/13/2011 REST   deliver stock                     USD                    450.00         -          -
        XM LIVE   3 CELT   CELT     20841   9/14/2011 REST   deliver stock                     USD                    150.00         -          -
        XM LIVE   3 CELT   CELT     20843   9/14/2011 REST   receive stock                     CAD                       -         50.00        -
        XM LIVE   3 CELT   CELT     20905   9/15/2011 BCEL   Interwest ck #496                 USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20908   9/15/2011 BCEL   Holladay ck #498                  USD                     50.00         -          -
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        XM LIVE   3 CELT   CELT     20909   9/15/2011 REST   deliver stock                     USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20910   9/15/2011 REST   deliver stock                     USD                    200.00         -          -
        XM LIVE   3 CELT   CELT     20911   9/15/2011 BCEL   Holladay ck #498                  USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20907   9/15/2011 REST   5xPAs 5xSPAs re: THWI             USD                    500.00         -          -
        XM LIVE   3 CELT   CELT     20903   9/15/2011 REST   receive stock                     USD                     50.00         -          -
        XM LIVE   3 CELT   CELT     20904   9/15/2011 REST   deliver stock                     USD                    150.00         -          -
        XM LIVE   3 CELT   CELT     21168   9/15/2011 BCEL   Computershare ck #91              CAD                       -         50.00        -



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        XM LIVE   3 CELT   CELT     20902   9/15/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     20938   9/16/2011 REST   deliver stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     20982   9/16/2011 REST   receive stock                     USD                  50.00      -         -
                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     21014   9/19/2011 REST   deliver stock                     USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     21027   9/19/2011 REST   deliver stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21028   9/19/2011 REST   deliver stock                     USD                 450.00      -         -
        XM LIVE   3 CELT   CELT     21029   9/19/2011 BCEL   Holladay ck #497                  USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     20983   9/19/2011 REST   deliver stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     20980   9/19/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     20981   9/19/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     20984   9/19/2011 BCEL   Holladay ck #497                  USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21012   9/20/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21013   9/20/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21033   9/20/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21036   9/20/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21034   9/20/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21111   9/20/2011 REST   deliver stock                     USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     21113   9/20/2011 BCEL   Island ck #500                    USD                  50.00      -         -
                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     21116   9/20/2011 BCEL   Holladay ck #499                  USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21122   9/21/2011 REST   deliver stock                     USD                  75.00      -         -
        XM LIVE   3 CELT   CELT     22094   9/21/2011 REST   deliver stock                     USD                  75.00      -         -
        XM LIVE   3 CELT   CELT     21150   9/21/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21095   9/21/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21161   9/21/2011 REST   deliver stock                     CAD                    -      50.00       -
        XM LIVE   3 CELT   CELT     21163   9/21/2011 REST   deliver stock                     CAD                    -     100.00       -




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        XM LIVE   3 CELT   CELT     21164   9/21/2011 REST   deliver stock                     CAD                    -      50.00       -
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        XM LIVE   3 CELT   CELT     21167   9/21/2011 REST   deliver stock                     CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     21112   9/21/2011 REST   deliver stock                     USD                 800.00      -         -
        XM LIVE   3 CELT   CELT     21118   9/21/2011 REST   deliver stock                     USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     21120   9/21/2011 BCEL   Routh ck #501                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21123   9/21/2011 BCEL   Routh ck #501                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21187   9/22/2011 REST   deliver stock                     USD                 750.00      -         -
        XM LIVE   3 CELT   CELT     21188   9/22/2011 BCEL   Columbia ck #503                  USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21173   9/22/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21254   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21205   9/23/2011 REST   deliver stock                     USD                 550.00      -         -
        XM LIVE   3 CELT   CELT     21206   9/23/2011 BCEL   Holladay ck #504                  USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21213   9/23/2011 BCEL   Computershare ck #93              CAD                    -      50.00       -
        XM LIVE   3 CELT   CELT     21214   9/23/2011 BCEL   Computershare ck #93              CAD                    -      50.00       -
        XM LIVE   3 CELT   CELT     21426   9/23/2011 REST   receive stock                     USD                  50.00      -         -
                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     21333   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21339   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21359   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21348   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21417   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21229   9/23/2011 REST   receive stock                     USD                  50.00      -         -
        XM LIVE   3 CELT   CELT     21227   9/23/2011 REST   receive stock                     USD                  50.00      -         -



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        XM LIVE   3 CELT   CELT     21233   9/23/2011 REST   deliver stock                               CAD                          -         100.00        -
        XM LIVE   3 CELT   CELT     21239   9/23/2011 REST   receive stock                               CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     21416   9/23/2011 REST   receive stock                               USD                        50.00          -          -
                                                                                                                                                                       Case: 24-1770




        XM LIVE   3 CELT   CELT     21419   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21420   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21421   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21422   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21423   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21424   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21425   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21428   9/23/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21449   9/26/2011 BCEL   Holladay ck #505                            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21453   9/26/2011 REST   deliver stock                               USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     21454   9/26/2011 BCEL   Holladay ck #505                            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21318   9/26/2011 REST   Volation/Certification/Signatures           USD                     2,350.00          -          -
        XM LIVE   3 CELT   CELT     21280   9/26/2011 REST   internal transfer                           USD                          -            -          -
        XM LIVE   3 CELT   CELT     21319   9/26/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21320   9/26/2011 REST   receive stock                               USD                        50.00          -          -
                                                                                                                                                                       Document: 00118249068




        XM LIVE   3 CELT   CELT     21321   9/26/2011 BCEL   Holladay ck #505                            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21330   9/26/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21334   9/26/2011 REST   deliver stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21340   9/26/2011 REST   deliver stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21360   9/26/2011 REST   deliver stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21352   9/26/2011 REST   deliver stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21448   9/26/2011 REST   deliver stock                               USD                       800.00          -          -




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        XM LIVE   3 CELT   CELT     21279   9/26/2011 REST   internal transfer                           USD                          -            -          -
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        XM LIVE   3 CELT   CELT     21441   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21442   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21443   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21444   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21445   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21446   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21455   9/27/2011 REST   deliver stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21456   9/27/2011 BCEL   Routh ck #506                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21458   9/27/2011 REST   deliver stock                               USD                       350.00          -          -
        XM LIVE   3 CELT   CELT     21459   9/27/2011 BCEL   Columbia ck #507                            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21381   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21331   9/27/2011 REST   deliver stock/Med PA                        USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     21429   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21430   9/27/2011 REST   receive stock                               USD                        50.00          -          -
                                                                                                                                                                       Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     21432   9/27/2011 REST   receive stock                               USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21512   9/28/2011 CASH   debit                                       USD       (1,000.00)   (1,000.00)         -          -
        XM LIVE   3 CELT   CELT     21513   9/28/2011 CASH   debit                                       CAD       (2,500.00)         -      (2,500.00)       -
        XM LIVE   3 CELT   CELT     21557   9/29/2011 REST   deliver stock                               USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     21560   9/29/2011 BCEL   Empire ck #400                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     21889   9/30/2011 BCEL   commission withdrawal                       USD             -      (1,190.00)         -          -
        XM LIVE   3 CELT   CELT     21889   9/30/2011 BCEL   commission withdrawal                       USD             -       1,190.00          -          -



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        XM LIVE   3 CELT   CELT     21890 9/30/2011 BCEL    commission withdrawal                        CAD          -           -        (250.00)       -
        XM LIVE   3 CELT   CELT     21890 9/30/2011 BCEL    commission withdrawal                        CAD          -           -         250.00        -
        XM LIVE   3 CELT   CELT     21945 9/30/2011 REST    commission withdrawal                        USD          -    (13,130.00)         -          -
                                                                                                                                                                   Case: 24-1770




        XM LIVE   3 CELT   CELT     21945 9/30/2011 REST    commission withdrawal                        USD          -     13,130.00          -          -
        XM LIVE   3 CELT   CELT     21946 9/30/2011 REST    commission withdrawal                        CAD          -           -      (1,125.00)       -
        XM LIVE   3 CELT   CELT     21946 9/30/2011 REST    commission withdrawal                        CAD          -           -       1,125.00        -
        XM LIVE   3 CELT   CELT     22102 9/30/2011 WORK    forex                                        USD          -    (13,320.00)         -          -
        XM LIVE   3 CELT   CELT     22102 9/30/2011 WORK    forex                                        CAD          -           -      13,596.00        -
        XM LIVE   3 CELT   CELT     21603 9/30/2011 REST    receive stock 1 p/a                          USD                   100.00          -          -
        XM LIVE   3 CELT   CELT     22031 10/3/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22043 10/3/2011 REST    receive stock 2 p/as                         USD                   150.00          -          -
        XM LIVE   3 CELT   CELT     22045 10/4/2011 REST    deliver stock                                USD                   100.00          -          -
        XM LIVE   3 CELT   CELT     22046 10/4/2011 REST    deliver stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22047 10/4/2011 BCEL    ClearTrust ck #508                           USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22051 10/4/2011 BCEL    Holladay ck #509                             USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22049 10/4/2011 REST    deliver stock                                USD                 2,100.00          -          -
        XM LIVE   3 CELT   CELT     22056 10/4/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22118 10/4/2011 REST    deliver stock                                USD                    50.00          -          -
                                                                                                                                                                   Document: 00118249068




        XM LIVE   3 CELT   CELT     22119 10/4/2011 BCEL    Signature ck #510                            USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22059 10/4/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     23033 10/5/2011 REST    deliver stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22208 10/5/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22237 10/6/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22238 10/6/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22239 10/6/2011 REST    receive stock                                USD                    50.00          -          -




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        XM LIVE   3 CELT   CELT     22243 10/6/2011 REST    deliver stock                                USD                   100.00          -          -
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        XM LIVE   3 CELT   CELT     22244 10/6/2011 BCEL    Signature ck #511                            USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22246 10/6/2011 REST    deliver stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22248 10/6/2011 BCEL    Lawler & Associates Re: 4 Opinions           USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22249 10/6/2011 REST    deliver stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22250 10/6/2011 BCEL    Action ck #513                               USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22252 10/6/2011 BCEL    Empire ck #514                               USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22255 10/6/2011 REST    deliver stock                                USD                   150.00          -          -
        XM LIVE   3 CELT   CELT     22256 10/6/2011 REST    deliver stock                                USD                   150.00          -          -
        XM LIVE   3 CELT   CELT     22257 10/6/2011 BCEL    Continental ck #515                          USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22258 10/6/2011 BCEL    Continental ck #515                          USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22251 10/6/2011 REST    deliver stock                                USD                   300.00          -          -
        XM LIVE   3 CELT   CELT     22318 10/7/2011 REST    receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22317 10/7/2011 REST    deliver stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22320 10/7/2011 REST    receive stock                                USD                    50.00          -          -
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        XM LIVE   3 CELT   CELT     22347 10/11/2011 REST   deliver stock                                USD                   750.00          -          -
        XM LIVE   3 CELT   CELT     22348 10/11/2011 BCEL   Holladay ck #516                             USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22351 10/11/2011 REST   deliver stock                                USD                   450.00          -          -
        XM LIVE   3 CELT   CELT     22352 10/11/2011 BCEL   Holladay ck #517                             USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22430 10/11/2011 REST   receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22435 10/11/2011 REST   receive stock                                USD                    50.00          -          -
        XM LIVE   3 CELT   CELT     22459 10/12/2011 REST   deliver stock                                USD                    50.00          -          -



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        XM LIVE   3 CELT   CELT     22460 10/12/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22977 10/12/2011 REST   receive stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     23726 10/13/2011 REST   deliver stock                     USD                         50.00         -          -
                                                                                                                                                            Case: 24-1770




        XM LIVE   3 CELT   CELT     22506 10/13/2011 REST   receive stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22507 10/13/2011 REST   receive stock                     CAD                           -         50.00        -
        XM LIVE   3 CELT   CELT     22620 10/14/2011 REST   deliver stock                     USD                        775.00         -          -
        XM LIVE   3 CELT   CELT     22621 10/14/2011 BCEL   Island ck #518                    USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22627 10/14/2011 REST   deliver stock                     USD                        775.00         -          -
        XM LIVE   3 CELT   CELT     22628 10/14/2011 BCEL   Island ck #518                    USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22560 10/14/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22561 10/17/2011 REST   2 spa                             USD                        100.00         -          -
        XM LIVE   3 CELT   CELT     22563 10/17/2011 REST   TRON spas                         USD                        525.00         -          -
        XM LIVE   3 CELT   CELT     22559 10/17/2011 REST   receive stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22562 10/17/2011 REST   SPA\\\s re: TRON                  USD                        525.00         -          -
        XM LIVE   3 CELT   CELT     22591 10/18/2011 BCEL   Computershare                     CAD                           -         50.00        -
        XM LIVE   3 CELT   CELT     23038 10/18/2011 REST   deliver stock                     CAD                           -         50.00        -
        XM LIVE   3 CELT   CELT     22634 10/19/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22638 10/19/2011 REST   receive stock                     USD                         50.00         -          -
                                                                                                                                                            Document: 00118249068




        XM LIVE   3 CELT   CELT     22646 10/19/2011 REST   receive stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22662 10/20/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22663 10/20/2011 BCEL   Action ck #519                    USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22906 10/24/2011 REST   receive stock                     CAD                           -         50.00        -
        XM LIVE   3 CELT   CELT     23413 10/24/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     23414 10/24/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22747 10/24/2011 REST   receive stock                     USD                         50.00         -          -




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        XM LIVE   3 CELT   CELT     22748 10/24/2011 REST   receive stock                     USD                         50.00         -          -
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        XM LIVE   3 CELT   CELT     22749 10/24/2011 REST   deliver stock                     USD                        450.00         -          -
        XM LIVE   3 CELT   CELT     22750 10/24/2011 BCEL   Interwest ck #520                 USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22851 10/26/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22921 10/27/2011 REST   internal transfer                 USD                           -           -          -
        XM LIVE   3 CELT   CELT     22909 10/27/2011 REST   exercise warrants                 CAD                           -        150.00        -
        XM LIVE   3 CELT   CELT     22920 10/27/2011 REST   receive stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22986 10/28/2011 REST   deliver stock                     USD                      2,450.00         -          -
        XM LIVE   3 CELT   CELT     22987 10/28/2011 REST   deliver stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22976 10/28/2011 REST   receive stock                     USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     22988 10/30/2011 BCEL   Holladay ck #521                  USD                         50.00         -          -
        XM LIVE   3 CELT   CELT     23098 10/31/2011 BCEL   commission withdrawal             USD             -         (900.00)        -          -
        XM LIVE   3 CELT   CELT     23098 10/31/2011 BCEL   commission withdrawal             USD             -          900.00         -          -
        XM LIVE   3 CELT   CELT     23099 10/31/2011 BCEL   commission withdrawal             CAD             -             -       (100.00)       -
        XM LIVE   3 CELT   CELT     23099 10/31/2011 BCEL   commission withdrawal             CAD             -             -        100.00        -
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        XM LIVE   3 CELT   CELT     23142 10/31/2011 REST   commission withdrawal             USD             -      (12,295.00)        -          -
        XM LIVE   3 CELT   CELT     23142 10/31/2011 REST   commission withdrawal             USD             -       12,295.00         -          -
        XM LIVE   3 CELT   CELT     23143 10/31/2011 REST   commission withdrawal             CAD             -             -       (250.00)       -
        XM LIVE   3 CELT   CELT     23143 10/31/2011 REST   commission withdrawal             CAD             -             -        250.00        -
        XM LIVE   3 CELT   CELT     23420 10/31/2011 TDCO   forex ck #339                     USD       (4,949.24)    (4,998.73)        -          -
        XM LIVE   3 CELT   CELT     23420 10/31/2011 CASH   forex ck #339                     CAD        4,929.08           -      4,929.08        -
        XM LIVE   3 CELT   CELT     23036 10/31/2011 BCEL   Computershare ck #95              CAD                           -         50.00        -



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        XM LIVE   3 CELT   CELT     23053 10/31/2011 REST   deliver stock                              USD                       400.00          -          -
        XM LIVE   3 CELT   CELT     23045 10/31/2011 REST   deliver stock                              USD                       400.00          -          -
        XM LIVE   3 CELT   CELT     23046 10/31/2011 BCEL   Routh ck #523                              USD                        50.00          -          -
                                                                                                                                                                     Case: 24-1770




        XM LIVE   3 CELT   CELT     23050 10/31/2011 BCEL   Transfer Online ck #522                    USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23352 11/1/2011 REST    deliver stock                              USD                       500.00          -          -
        XM LIVE   3 CELT   CELT     23353 11/1/2011 BCEL    Action ck #524                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23161 11/1/2011 REST    receive stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23162 11/1/2011 REST    receive stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23433 11/3/2011 REST    deliver stock                              USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     23449 11/3/2011 REST    receive stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23476 11/4/2011 REST    GSDC Sellers Rep Ltr x 3                   USD                       150.00          -          -
        XM LIVE   3 CELT   CELT     23521 11/4/2011 TDCO    forex ck #342                              USD       (7,485.68)   (7,560.54)         -          -
        XM LIVE   3 CELT   CELT     23521 11/4/2011 CASH    forex ck #342                              CAD        7,500.00          -       7,500.00        -
        XM LIVE   3 CELT   CELT     23487 11/4/2011 CASH    debit                                      CAD       (7,500.00)         -      (7,500.00)       -
        XM LIVE   3 CELT   CELT     23580 11/8/2011 REST    deliver stock                              USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     23581 11/8/2011 BCEL    Signature ck #525                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23616 11/9/2011 BCEL    Action ck #526                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23615 11/9/2011 REST    deliver stock                              USD                       500.00          -          -
                                                                                                                                                                     Document: 00118249068




        XM LIVE   3 CELT   CELT     23796 11/15/2011 REST   deliver stock                              USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     23797 11/15/2011 BCEL   Continental ck #527                        USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23799 11/15/2011 REST   deliver stock                              USD                       800.00          -          -
        XM LIVE   3 CELT   CELT     23800 11/15/2011 BCEL   Action ck #528                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23761 11/15/2011 REST   receive stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23794 11/15/2011 REST   receive stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     23795 11/15/2011 REST   receive stock                              USD                        50.00          -          -




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        XM LIVE   3 CELT   CELT     23865 11/16/2011 REST   deliver stock                              USD                       100.00          -          -
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        XM LIVE   3 CELT   CELT     23864 11/16/2011 REST   deliver stock                              USD                     1,150.00          -          -
        XM LIVE   3 CELT   CELT     23866 11/16/2011 BCEL   Holladay ck #529                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24066 11/21/2011 REST   receive stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24011 11/21/2011 REST   deliver stock                              USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     24013 11/21/2011 BCEL   Holladay ck #530                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24009 11/21/2011 REST   deliver stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24068 11/22/2011 REST   deliver stock                              USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     24069 11/22/2011 BCEL   Columbia ck #531                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24113 11/23/2011 REST   deliver stock                              USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24114 11/23/2011 BCEL   Securities Transfer Corp ck #532           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24176 11/24/2011 REST   receive stock                              CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     24240 11/28/2011 BCEL   Computershare ck #96                       CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     24245 11/28/2011 REST   deliver stock                              CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     24256 11/28/2011 REST   receive stock                              USD                        50.00          -          -
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        XM LIVE   3 CELT   CELT     24269 11/28/2011 REST   deliver stock                              USD                       400.00          -          -
        XM LIVE   3 CELT   CELT     24270 11/28/2011 BCEL   Holladay ck #533                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24271 11/28/2011 BCEL   Holladay ck #533                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24517 11/30/2011 BCEL   commission withdrawal                      USD             -        (550.00)         -          -
        XM LIVE   3 CELT   CELT     24517 11/30/2011 BCEL   commission withdrawal                      USD             -         550.00          -          -
        XM LIVE   3 CELT   CELT     24518 11/30/2011 BCEL   commission withdrawal                      CAD             -            -         (50.00)       -
        XM LIVE   3 CELT   CELT     24518 11/30/2011 BCEL   commission withdrawal                      CAD             -            -          50.00        -



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        XM LIVE   3 CELT   CELT     24582 11/30/2011 REST   commission withdrawal                     USD             -      (5,040.00)         -          -
        XM LIVE   3 CELT   CELT     24582 11/30/2011 REST   commission withdrawal                     USD             -       5,040.00          -          -
        XM LIVE   3 CELT   CELT     24583 11/30/2011 REST   commission withdrawal                     CAD             -            -        (100.00)       -
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        XM LIVE   3 CELT   CELT     24583 11/30/2011 REST   commission withdrawal                     CAD             -            -         100.00        -
        XM LIVE   3 CELT   CELT     24646 11/30/2011 REST   deliver stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24647 11/30/2011 BCEL   Action ck #534                            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24645 12/1/2011 REST    receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24808 12/5/2011 REST    receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24809 12/5/2011 REST    deliver stock                             USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     24810 12/5/2011 BCEL    Aspen ck #535                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24812 12/6/2011 REST    deliver stock                             USD                       300.00          -          -
        XM LIVE   3 CELT   CELT     24813 12/6/2011 BCEL    Holladay ck #536                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24917 12/6/2011 BCEL    Holladay ck #537                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24918 12/6/2011 BCEL    Holladay ck #537                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24919 12/6/2011 BCEL    Holladay ck #537                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24920 12/6/2011 BCEL    Holladay ck #537                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24921 12/6/2011 BCEL    Holladay ck #537                          USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24837 12/7/2011 CASH    debit                                     CAD       (6,000.00)         -      (6,000.00)       -
                                                                                                                                                                    Document: 00118249068




        XM LIVE   3 CELT   CELT     24838 12/7/2011 TDCO    forex ck #364                             USD       (5,873.91)   (5,932.65)         -          -
        XM LIVE   3 CELT   CELT     24838 12/7/2011 CASH    forex ck #364                             CAD        5,850.00          -       5,850.00        -
        XM LIVE   3 CELT   CELT     24914 12/9/2011 REST    receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24915 12/9/2011 REST    receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24916 12/9/2011 REST    receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24972 12/12/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     24986 12/13/2011 REST   Issued July 21 2011 certs 85-90           USD                        50.00          -          -




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        XM LIVE   3 CELT   CELT     25008 12/13/2011 REST   receive stock-free Jan 13 2012            CAD                          -          50.00        -
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        XM LIVE   3 CELT   CELT     25009 12/13/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25049 12/13/2011 REST   deliver stock                             USD                       150.00          -          -
        XM LIVE   3 CELT   CELT     25050 12/13/2011 BCEL   Natco ck #538                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25179 12/16/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25182 12/16/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25184 12/16/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25185 12/16/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25775 12/20/2011 REST   receive stock                             CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     25776 12/20/2011 REST   deliver stock mpa                         CAD                          -         100.00        -
        XM LIVE   3 CELT   CELT     25258 12/21/2011 REST   deliver stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25259 12/21/2011 BCEL   Securities Transfer Corp.                 USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     27820 12/28/2011 REST   deliver gold coins                        CAD                          -            -          -
        XM LIVE   3 CELT   CELT     25355 12/29/2011 REST   receive stock                             USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25354 12/29/2011 REST   deliver stock Farquhar Holdings           USD                       200.00          -          -
                                                                                                                                                                    Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     25642 12/31/2011 BCEL   commission withdrawal                     USD             -        (500.00)         -          -
        XM LIVE   3 CELT   CELT     25642 12/31/2011 BCEL   commission withdrawal                     USD             -         500.00          -          -
        XM LIVE   3 CELT   CELT     25690 12/31/2011 REST   commission withdrawal                     USD             -      (1,550.00)         -          -
        XM LIVE   3 CELT   CELT     25690 12/31/2011 REST   commission withdrawal                     USD             -       1,550.00          -          -
        XM LIVE   3 CELT   CELT     25691 12/31/2011 REST   commission withdrawal                     CAD             -            -        (100.00)       -
        XM LIVE   3 CELT   CELT     25691 12/31/2011 REST   commission withdrawal                     CAD             -            -         100.00        -
        XM LIVE   3 CELT   CELT     34868 12/31/2011 REST   warrants expired                          CAD                          -         100.00        -



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        XM LIVE   3 CELT   CELT     25795    1/3/2012 REST   internal transfer                       USD                          -            -          -
        XM LIVE   3 CELT   CELT     25835    1/4/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25935    1/4/2012 REST   receive stock                           USD                        50.00          -          -
                                                                                                                                                                   Case: 24-1770




        XM LIVE   3 CELT   CELT     25836    1/4/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25913    1/5/2012 CASH   debit                                   CAD       (2,000.00)         -      (2,000.00)       -
        XM LIVE   3 CELT   CELT     25914    1/5/2012 BSIT   forex                                   USD       (1,883.80)   (1,902.64)         -          -
        XM LIVE   3 CELT   CELT     25914    1/5/2012 BSIT   forex                                   CAD        1,900.00          -       1,900.00        -
        XM LIVE   3 CELT   CELT     25925    1/6/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25926    1/6/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25946    1/8/2012 REST   Directors fees                          USD                       700.00          -          -
        XM LIVE   3 CELT   CELT     26070    1/9/2012 BCEL   Holladay ck #540                        USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26071    1/9/2012 BCEL   Holladay ck #540                        USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25952    1/9/2012 REST   deliver stock                           USD                          -            -          -
        XM LIVE   3 CELT   CELT     25953    1/9/2012 REST   deliver stock + close account           USD                          -            -          -
        XM LIVE   3 CELT   CELT     25951    1/9/2012 REST   deliver stock + close account           USD                          -            -          -
        XM LIVE   3 CELT   CELT     25954    1/9/2012 REST   deliver stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26069    1/9/2012 REST   deliver stock                           USD                       125.00          -          -
        XM LIVE   3 CELT   CELT     25972    1/9/2012 REST   receive stock                           USD                        50.00          -          -
                                                                                                                                                                   Document: 00118249068




        XM LIVE   3 CELT   CELT     25974    1/9/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25976    1/9/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25978    1/9/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25980    1/9/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     25982    1/9/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26068    1/9/2012 REST   deliver stock                           USD                       125.00          -          -
        XM LIVE   3 CELT   CELT     26077   1/12/2012 BCEL   Action ck#541                           USD                        50.00          -          -




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        XM LIVE   3 CELT   CELT     26079   1/12/2012 BCEL   Empire ck#542                           USD                        50.00          -          -
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        XM LIVE   3 CELT   CELT     26082   1/12/2012 BCEL   Action ck#544                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26086   1/12/2012 BCEL   Action ck#544                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26089   1/12/2012 BCEL   ClearTrust ck#545                       USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26092   1/12/2012 BCEL   Transfer Online ck#543                  USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26094   1/12/2012 REST   deliver stock                           USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     26091   1/12/2012 REST   deliver stock                           USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     26088   1/12/2012 REST   deliver stock                           USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     26078   1/12/2012 REST   deliver stock                           USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     26085   1/12/2012 REST   deliver stock                           USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     26081   1/12/2012 REST   deliver stock                           USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     26145   1/13/2012 REST   deliver stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26144   1/13/2012 REST   receive stock                           USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26288   1/17/2012 BCEL   Holladay ck#547                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26301   1/17/2012 BCEL   Holladay ck#547                         USD                        50.00          -          -
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        XM LIVE   3 CELT   CELT     26302   1/17/2012 BCEL   Holladay ck#547                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26286   1/17/2012 REST   deliver stock                           USD                       250.00          -          -
        XM LIVE   3 CELT   CELT     26214   1/17/2012 REST   deliver stock                           USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     26217   1/17/2012 BCEL   Transfer Online ck#546                  USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26293   1/18/2012 BCEL   Holladay ck#548                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26291   1/18/2012 REST   deliver stock                           USD                     1,300.00          -          -
        XM LIVE   3 CELT   CELT     26251   1/18/2012 REST   receive stock                           USD                        50.00          -          -



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        XM LIVE   3 CELT   CELT     26287   1/19/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26272   1/19/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26324   1/20/2012 BCEL   Island ck#549                        USD                   50.00        -          -
                                                                                                                                                         Case: 24-1770




        XM LIVE   3 CELT   CELT     26323   1/20/2012 REST   deliver stock                        USD                  400.00        -          -
        XM LIVE   3 CELT   CELT     26366   1/20/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26318   1/20/2012 BCEL   Computershare ck #98                 CAD                     -        50.00        -
        XM LIVE   3 CELT   CELT     26332   1/23/2012 BCEL   Holladay ck#550                      USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26333   1/23/2012 BCEL   Holladay ck#550                      USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26367   1/23/2012 REST   deliver stock                        USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     26353   1/23/2012 REST   deliver stock                        CAD                     -          -          -
        XM LIVE   3 CELT   CELT     26331   1/23/2012 REST   deliver stock                        USD                  200.00        -          -
        XM LIVE   3 CELT   CELT     26368   1/23/2012 BCEL   Holladay ck#552                      USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26541   1/25/2012 REST   deliver stock                        USD                2,200.00        -          -
        XM LIVE   3 CELT   CELT     26443   1/25/2012 REST   receive stock                        CAD                     -        50.00        -
        XM LIVE   3 CELT   CELT     26542   1/25/2012 BCEL   Holladay ck#551                      USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26485   1/26/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26496   1/26/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26547   1/27/2012 REST   deliver stock                        USD                  100.00        -          -
                                                                                                                                                         Document: 00118249068




        XM LIVE   3 CELT   CELT     26548   1/27/2012 BCEL   Securities Transfer ck#553           USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26543   1/27/2012 BCEL   Computershare ck #99                 CAD                     -        50.00        -
        XM LIVE   3 CELT   CELT     26564   1/27/2012 REST   deliver stock                        CAD                     -        50.00        -
        XM LIVE   3 CELT   CELT     26565   1/27/2012 REST   Fedex #793167123952                  USD                   25.00        -          -
        XM LIVE   3 CELT   CELT     26624   1/30/2012 REST   deliver stock                        USD                  150.00        -          -
        XM LIVE   3 CELT   CELT     26623   1/30/2012 REST   deliver stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26622   1/30/2012 REST   deliver stock                        USD                   50.00        -          -




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        XM LIVE   3 CELT   CELT     26625   1/30/2012 BCEL   Columbia ck#554                      USD                   50.00        -          -
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        XM LIVE   3 CELT   CELT     26880   1/31/2012 BCEL   commission withdrawal                USD          -    (1,100.00)       -          -
        XM LIVE   3 CELT   CELT     26880   1/31/2012 BCEL   commission withdrawal                USD          -     1,100.00        -          -
        XM LIVE   3 CELT   CELT     26881   1/31/2012 BCEL   commission withdrawal                CAD          -          -      (100.00)       -
        XM LIVE   3 CELT   CELT     26881   1/31/2012 BCEL   commission withdrawal                CAD          -          -       100.00        -
        XM LIVE   3 CELT   CELT     26925   1/31/2012 REST   commission withdrawal                USD          -    (9,451.08)       -          -
        XM LIVE   3 CELT   CELT     26925   1/31/2012 REST   commission withdrawal                USD          -     9,451.08        -          -
        XM LIVE   3 CELT   CELT     26926   1/31/2012 REST   commission withdrawal                CAD          -          -      (250.00)       -
        XM LIVE   3 CELT   CELT     26926   1/31/2012 REST   commission withdrawal                CAD          -          -       250.00        -
        XM LIVE   3 CELT   CELT     26694   1/31/2012 REST   deliver stock                        USD                2,750.00        -          -
        XM LIVE   3 CELT   CELT     26695   1/31/2012 BCEL   Empire ck#555                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26696   1/31/2012 REST   deliver stock                        USD                  300.00        -          -
        XM LIVE   3 CELT   CELT     26697   1/31/2012 BCEL   Securities Transfer ck#556           USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26709   1/31/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     26710   1/31/2012 REST   receive stock                        USD                   50.00        -          -
                                                                                                                                                         Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     27202    2/1/2012 REST   receive stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     28418    2/1/2012 REST   deliver stock                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     27135    2/3/2012 REST   deliver stock                        USD                1,200.00        -          -
        XM LIVE   3 CELT   CELT     27124    2/3/2012 BCEL   Action ck#558                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     27136    2/3/2012 BCEL   Action ck#557                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     27119    2/3/2012 REST   deliver stock                        USD                  550.00        -          -
        XM LIVE   3 CELT   CELT     27147    2/3/2012 REST   receive stock                        USD                   50.00        -          -



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        XM LIVE   3 CELT   CELT     27203    2/3/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27164    2/3/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27163    2/3/2012 REST   receive stock                                   USD                         50.00           -          -
                                                                                                                                                                             Case: 24-1770




        XM LIVE   3 CELT   CELT     27201    2/6/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27204    2/6/2012 REST   deliver stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27205    2/6/2012 REST   deliver stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27206    2/6/2012 REST   deliver stock                                   USD                        250.00           -          -
        XM LIVE   3 CELT   CELT     27207    2/6/2012 BCEL   Holladay ck#559                                 USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27268    2/7/2012 REST   deliver stock                                   USD                      1,750.00           -          -
        XM LIVE   3 CELT   CELT     27269    2/7/2012 BCEL   Holladay ck#560                                 USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27252    2/7/2012 REST   receive stock                                   CAD                           -           50.00        -
        XM LIVE   3 CELT   CELT     27251    2/7/2012 REST   receive stock                                   CAD                           -           50.00        -
        XM LIVE   3 CELT   CELT     41621    2/8/2012 REST   receive stock                                   CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     27481    2/9/2012 REST   deliver stock                                   USD                        350.00           -          -
        XM LIVE   3 CELT   CELT     27482    2/9/2012 REST   deliver stock                                   USD                        350.00           -          -
        XM LIVE   3 CELT   CELT     27483    2/9/2012 BCEL   Island ck#561                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27484    2/9/2012 BCEL   Island ck#561                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27487   2/10/2012 REST   deliver stock                                   USD                        100.00           -          -
                                                                                                                                                                             Document: 00118249068




        XM LIVE   3 CELT   CELT     27488   2/10/2012 BCEL   Securities Transfer ck#562                      USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27492   2/10/2012 BCEL   Holladay ck#563                                 USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27414   2/10/2012 REST   receive stock                                   USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     27490   2/10/2012 REST   deliver stock                                   USD                        300.00           -          -
        XM LIVE   3 CELT   CELT     27494   2/10/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27415   2/10/2012 REST   deliver stock                                   USD                        150.00           -          -
        XM LIVE   3 CELT   CELT     27416   2/10/2012 REST   deliver stock                                   CAD                           -           50.00        -




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        XM LIVE   3 CELT   CELT     27621   2/13/2012 BCEL   Holladay ck#564                                 USD                         50.00           -          -
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        XM LIVE   3 CELT   CELT     27497   2/13/2012 BCEL   Computershare ck #100                           CAD                           -           50.00        -
        XM LIVE   3 CELT   CELT     27510   2/13/2012 REST   deliver stock                                   CAD                           -          150.00        -
        XM LIVE   3 CELT   CELT     27543   2/13/2012 REST   deliver stock                                   CAD                           -          150.00        -
        XM LIVE   3 CELT   CELT     27696   2/14/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27626   2/15/2012 CASH   debit                                           CAD      (10,000.00)          -      (10,000.00)       -
        XM LIVE   3 CELT   CELT     27701   2/15/2012 BSIT   forex                                           USD      (10,882.69)   (10,991.52)          -          -
        XM LIVE   3 CELT   CELT     27701   2/15/2012 BSIT   forex                                           CAD       10,815.31           -       10,815.31        -
        XM LIVE   3 CELT   CELT     27648   2/15/2012 REST   deliver stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27649   2/15/2012 REST   ABHD 144 Ltr & Lawler Opinion + Fedex           USD                        250.00           -          -
        XM LIVE   3 CELT   CELT     27693   2/16/2012 REST   deliver stock                                   USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     27694   2/16/2012 BCEL   Natco ck#565                                    USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27741   2/16/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27742   2/16/2012 REST   receive stock                                   USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27793   2/17/2012 REST   Proxy 3 signatures                              USD                        150.00           -          -
                                                                                                                                                                             Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     27870   2/17/2012 REST   deliver stock                                   USD                        250.00           -          -
        XM LIVE   3 CELT   CELT     27874   2/17/2012 REST   deliver stock                                   USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     27876   2/17/2012 BCEL   Columbia ck#567                                 USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27924   2/20/2012 REST   deliver stock                                   USD                        550.00           -          -
        XM LIVE   3 CELT   CELT     27921   2/20/2012 REST   deliver stock                                   USD                      1,200.00           -          -
        XM LIVE   3 CELT   CELT     27922   2/20/2012 BCEL   Holladay ck#569                                 USD                         50.00           -          -
        XM LIVE   3 CELT   CELT     27925   2/20/2012 BCEL   Island ck#568                                   USD                         50.00           -          -



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        XM LIVE   3 CELT   CELT     27944   2/21/2012 BCEL   Holladay ck#572                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     27945   2/21/2012 BCEL   Holladay ck#572                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     27946   2/21/2012 BCEL   Holladay ck#572                   USD                         50.00          -          -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     27947   2/21/2012 REST   deliver stock                     USD                        450.00          -          -
        XM LIVE   3 CELT   CELT     27948   2/21/2012 BCEL   Holladay ck#571                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     27951   2/21/2012 BCEL   Island ck#570                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28077   2/21/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28085   2/21/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     27950   2/21/2012 REST   deliver stock                     USD                        500.00          -          -
        XM LIVE   3 CELT   CELT     28078   2/22/2012 REST   deliver stock                     USD                        150.00          -          -
        XM LIVE   3 CELT   CELT     28079   2/22/2012 BCEL   Empire ck#574                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28081   2/22/2012 BCEL   Holladay ck#576                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28087   2/22/2012 REST   deliver stock                     USD                        150.00          -          -
        XM LIVE   3 CELT   CELT     28089   2/22/2012 REST   deliver stock                     USD                      1,000.00          -          -
        XM LIVE   3 CELT   CELT     28090   2/22/2012 BCEL   Holladay ck#573                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28174   2/22/2012 REST   deliver stock                     USD                      1,800.00          -          -
        XM LIVE   3 CELT   CELT     28175   2/22/2012 BCEL   Empire ck#575                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28180   2/23/2012 REST   deliver stock                     USD                        500.00          -          -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     28075   2/23/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28181   2/23/2012 BCEL   Island ck#577                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28142   2/24/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28277   2/27/2012 REST   receive stock                     USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     28364   2/28/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28599   2/29/2012 BCEL   commission withdrawal             USD             -       (1,350.00)         -          -
        XM LIVE   3 CELT   CELT     28599   2/29/2012 BCEL   commission withdrawal             USD             -        1,350.00          -          -




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        XM LIVE   3 CELT   CELT     28600   2/29/2012 BCEL   commission withdrawal             CAD             -             -         (50.00)       -
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        XM LIVE   3 CELT   CELT     28600   2/29/2012 BCEL   commission withdrawal             CAD             -             -          50.00        -
        XM LIVE   3 CELT   CELT     28654   2/29/2012 REST   commission withdrawal             USD             -      (16,090.00)         -          -
        XM LIVE   3 CELT   CELT     28654   2/29/2012 REST   commission withdrawal             USD             -       16,090.00          -          -
        XM LIVE   3 CELT   CELT     28655   2/29/2012 REST   commission withdrawal             CAD             -             -        (450.00)       -
        XM LIVE   3 CELT   CELT     28655   2/29/2012 REST   commission withdrawal             CAD             -             -         450.00        -
        XM LIVE   3 CELT   CELT     28385   2/29/2012 BCEL   Island ck#578                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28390   2/29/2012 REST   deliver stock                     USD                        450.00          -          -
        XM LIVE   3 CELT   CELT     28392   2/29/2012 BCEL   Natco ck#579                      USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28400   2/29/2012 REST   deliver stock                     USD                        400.00          -          -
        XM LIVE   3 CELT   CELT     28401   2/29/2012 BCEL   Holladay ck#580                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28402   2/29/2012 BCEL   Holladay ck#581                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28383   2/29/2012 REST   deliver stock                     USD                        200.00          -          -
        XM LIVE   3 CELT   CELT     36756    3/1/2012 REST   receive stock                     USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     28933    3/1/2012 WORK   forex                             USD             -       (2,398.67)         -          -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     28933    3/1/2012 WORK   forex                             CAD             -             -       2,334.69        -
        XM LIVE   3 CELT   CELT     28982    3/2/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28922    3/2/2012 CASH   debit                             CAD       (4,000.00)          -      (4,000.00)       -
        XM LIVE   3 CELT   CELT     28925    3/2/2012 REST   receive stock                     USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28946    3/2/2012 REST   deliver stock                     USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     28947    3/2/2012 BCEL   Holladay ck#401                   USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     28949    3/2/2012 REST   deliver stock                     USD                        200.00          -          -



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        XM LIVE   3 CELT   CELT     28950    3/2/2012 BCEL   Action ck#582                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     28953    3/2/2012 REST   deliver stock                      USD                  250.00   -           -
        XM LIVE   3 CELT   CELT     28954    3/2/2012 BCEL   Action ck#582                      USD                   50.00   -           -
                                                                                                                                                   Case: 24-1770




        XM LIVE   3 CELT   CELT     28997    3/5/2012 REST   deliver stock                      USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     28998    3/5/2012 BCEL   Holladay ck#583                    USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29002    3/5/2012 BCEL   Action ck#584                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29004    3/5/2012 REST   deliver stock                      USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     29005    3/5/2012 BCEL   Action ck#584                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29008    3/5/2012 REST   deliver stock                      USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     29009    3/5/2012 BCEL   Empire ck#585                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29011    3/5/2012 REST   deliver stock                      USD                  150.00   -           -
        XM LIVE   3 CELT   CELT     29012    3/5/2012 BCEL   Empire ck#585                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29083    3/6/2012 REST   deliver stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29084    3/6/2012 REST   deliver stock                      USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     29085    3/6/2012 BCEL   Action ck#586                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29088    3/6/2012 REST   deliver stock                      USD                  250.00   -           -
        XM LIVE   3 CELT   CELT     29089    3/6/2012 BCEL   Action ck#586                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29092    3/6/2012 REST   deliver stock                      USD                  550.00   -           -
                                                                                                                                                   Document: 00118249068




        XM LIVE   3 CELT   CELT     29093    3/6/2012 BCEL   Island ck#587                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29095    3/6/2012 REST   deliver stock                      USD                  750.00   -           -
        XM LIVE   3 CELT   CELT     29096    3/6/2012 BCEL   Island ck#587                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29160    3/7/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29159    3/7/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29199    3/7/2012 REST   deliver stock                      USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     29201    3/7/2012 BCEL   Island ck#588                      USD                   50.00   -           -




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        XM LIVE   3 CELT   CELT     29310    3/8/2012 REST   receive stock                      USD                   50.00   -           -
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        XM LIVE   3 CELT   CELT     29202    3/8/2012 REST   Signatures x 7 proxies             USD                  350.00   -           -
        XM LIVE   3 CELT   CELT     29203    3/8/2012 REST   deliver stock                      USD                  250.00   -           -
        XM LIVE   3 CELT   CELT     29204    3/8/2012 BCEL   Island ck#589                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29332   3/12/2012 REST   receive dividend stock             USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29333   3/12/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29358   3/13/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29521   3/15/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29522   3/15/2012 REST   deliver stock                      USD                  250.00   -           -
        XM LIVE   3 CELT   CELT     29523   3/15/2012 BCEL   Holladay ck#590                    USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29524   3/15/2012 BCEL   Holladay ck#590                    USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29525   3/15/2012 BCEL   Island ck#591                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29529   3/15/2012 REST   deliver stock                      USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     29577   3/16/2012 BCEL   Island ck#592                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29576   3/16/2012 REST   deliver stock                      USD                1,800.00   -           -
                                                                                                                                                   Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     29546   3/16/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29547   3/16/2012 REST   receive stock                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29682   3/20/2012 BCEL   Signature ck#594                   USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29623   3/20/2012 REST   deliver stock                      USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     29624   3/20/2012 BCEL   Island ck#593                      USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     29681   3/20/2012 REST   deliver stock                      USD                1,100.00   -           -
        XM LIVE   3 CELT   CELT     29704   3/21/2012 REST   deliver stock                      USD                1,000.00   -           -



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        XM LIVE   3 CELT   CELT     29705   3/21/2012 BCEL   Island ck#596                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30012   3/26/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     29897   3/26/2012 REST   deliver stock                         USD                        500.00          -          -
                                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     29898   3/26/2012 BCEL   Island ck#595                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     29988   3/26/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     29937   3/27/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30028   3/27/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     29987   3/28/2012 REST   receive stock                         USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     30013   3/29/2012 REST   deliver stock                         USD                        400.00          -          -
        XM LIVE   3 CELT   CELT     30011   3/29/2012 REST   deliver stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30014   3/29/2012 BCEL   Pacific ck#597                        USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30020   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30021   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30024   3/29/2012 BCEL   Island ck#598                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30029   3/29/2012 REST   deliver stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30030   3/29/2012 BCEL   Holladay ck#599                       USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30036   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30037   3/29/2012 REST   receive stock                         USD                         50.00          -          -
                                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     30038   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30039   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30040   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30043   3/29/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30372   3/30/2012 BCEL   commission withdrawal                 USD             -       (1,250.00)         -          -
        XM LIVE   3 CELT   CELT     30372   3/30/2012 BCEL   commission withdrawal                 USD             -        1,250.00          -          -
        XM LIVE   3 CELT   CELT     30429   3/30/2012 REST   commission withdrawal                 USD             -      (11,300.00)         -          -




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        XM LIVE   3 CELT   CELT     30429   3/30/2012 REST   commission withdrawal                 USD             -       11,300.00          -          -
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        XM LIVE   3 CELT   CELT     30470   3/30/2012 BCEL   Transfer Online Inc ck #402           USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30738    4/2/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30580    4/3/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30594    4/3/2012 REST   Agreement signature x 42              USD                      2,100.00          -          -
        XM LIVE   3 CELT   CELT     30726    4/4/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30703    4/4/2012 BSIT   forex                                 USD       (5,014.04)    (5,064.18)         -          -
        XM LIVE   3 CELT   CELT     30703    4/4/2012 BSIT   forex                                 CAD        5,000.00           -       5,000.00        -
        XM LIVE   3 CELT   CELT     30663    4/4/2012 CASH   debit                                 CAD       (5,000.00)          -      (5,000.00)       -
        XM LIVE   3 CELT   CELT     30778    4/5/2012 REST   deliver stock                         USD                        350.00          -          -
        XM LIVE   3 CELT   CELT     30779    4/5/2012 BCEL   Worldwide ck#600                      USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30781    4/5/2012 REST   deliver stock                         USD                         75.00          -          -
        XM LIVE   3 CELT   CELT     30782    4/5/2012 REST   deliver stock                         USD                         75.00          -          -
        XM LIVE   3 CELT   CELT     30783    4/5/2012 BCEL   Empire ck#601                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30784    4/5/2012 BCEL   Empire ck#601                         USD                         50.00          -          -
                                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     30787    4/5/2012 BCEL   Empire ck#602                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30788    4/5/2012 BCEL   Empire ck#602                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30790    4/5/2012 BCEL   Signature ck#603                      USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30789    4/5/2012 REST   deliver stock                         USD                        500.00          -          -
        XM LIVE   3 CELT   CELT     30737    4/5/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30751    4/5/2012 REST   receive stock                         USD                         50.00          -          -
        XM LIVE   3 CELT   CELT     30962    4/9/2012 REST   receive stock                         USD                         50.00          -          -



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        XM LIVE   3 CELT   CELT     30961    4/9/2012 REST   receive stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     30795    4/9/2012 BCEL   Island ck#604                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     30794    4/9/2012 REST   deliver stock                    USD                 450.00     -         -
                                                                                                                                                Case: 24-1770




        XM LIVE   3 CELT   CELT     30810    4/9/2012 BCEL   Island ck#605                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     30811    4/9/2012 REST   deliver stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     30817    4/9/2012 REST   deliver stock                    USD                 250.00     -         -
        XM LIVE   3 CELT   CELT     30818    4/9/2012 BCEL   Island ck#606                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     30880   4/10/2012 BCEL   Island ck#607                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     32725   4/11/2012 REST   deliver stock                    USD                 100.00     -         -
        XM LIVE   3 CELT   CELT     30953   4/11/2012 REST   deliver stock                    USD                 500.00     -         -
        XM LIVE   3 CELT   CELT     30954   4/11/2012 BCEL   Action ck#608                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     30957   4/11/2012 REST   receive stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31061   4/12/2012 REST   deliver stock                    USD                 550.00     -         -
        XM LIVE   3 CELT   CELT     31062   4/12/2012 BCEL   Action ck#609                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     34633   4/12/2012 REST   deliver stock                    USD                 100.00     -         -
        XM LIVE   3 CELT   CELT     31066   4/13/2012 REST   Fedex #798283445923              USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31083   4/13/2012 REST   receive warrants                 CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     31197   4/17/2012 BCEL   Island ck#611                    USD                 100.00     -         -
                                                                                                                                                Document: 00118249068




        XM LIVE   3 CELT   CELT     31180   4/17/2012 REST   receive stock                    CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     31181   4/17/2012 REST   receive stock                    CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     31182   4/17/2012 REST   receive stock                    CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     31194   4/17/2012 REST   deliver stock                    USD                 200.00     -         -
        XM LIVE   3 CELT   CELT     31195   4/17/2012 BCEL   Island ck#611                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31199   4/17/2012 REST   deliver stock                    USD                 400.00     -         -
        XM LIVE   3 CELT   CELT     31200   4/17/2012 BCEL   Action ck#610                    USD                  50.00     -         -




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        XM LIVE   3 CELT   CELT     31196   4/17/2012 REST   deliver stock                    USD                 300.00     -         -
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        XM LIVE   3 CELT   CELT     31231   4/18/2012 REST   receive stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31232   4/18/2012 REST   receive stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31283   4/18/2012 REST   deliver stock                    USD                 100.00     -         -
        XM LIVE   3 CELT   CELT     31284   4/18/2012 BCEL   Island ck#612                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     33008   4/18/2012 REST   receive stock                    USD                 100.00     -         -
        XM LIVE   3 CELT   CELT     31245   4/18/2012 REST   receive stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31246   4/18/2012 REST   receive stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31301   4/19/2012 BCEL   Holladay ck #613                 USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31286   4/19/2012 REST   deliver stock                    CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     31287   4/19/2012 REST   deliver stock                    CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     31288   4/19/2012 REST   deliver stock                    CAD                    -     50.00       -
        XM LIVE   3 CELT   CELT     33015   4/19/2012 REST   deliver stock                    USD                 200.00     -         -
        XM LIVE   3 CELT   CELT     33018   4/19/2012 BCEL   Island ck#614                    USD                 100.00     -         -
        XM LIVE   3 CELT   CELT     31292   4/19/2012 REST   deliver stock                    USD                 200.00     -         -
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        XM LIVE   3 CELT   CELT     31293   4/19/2012 REST   deliver stock                    USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31294   4/19/2012 BCEL   Holladay ck#613                  USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31296   4/19/2012 BCEL   Holladay ck#613                  USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31297   4/19/2012 BCEL   Holladay ck#613                  USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31298   4/19/2012 BCEL   Holladay ck#613                  USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31299   4/19/2012 BCEL   Holladay ck#613                  USD                  50.00     -         -
        XM LIVE   3 CELT   CELT     31300   4/19/2012 BCEL   Holladay ck#613                  USD                  50.00     -         -



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        XM LIVE   3 CELT   CELT     31305   4/19/2012 REST   deliver stock                         USD                       250.00          -          -
        XM LIVE   3 CELT   CELT     31306   4/19/2012 BCEL   Empire ck#615                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     26227   4/20/2012 REST   receive stock                         CAD                          -          50.00        -
                                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     31433   4/23/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31445   4/23/2012 REST   deliver stock                         USD                       650.00          -          -
        XM LIVE   3 CELT   CELT     31447   4/23/2012 BCEL   Securities Transfer ck#616            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31457   4/23/2012 BCEL   Island ck#617                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31861   4/23/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31533   4/25/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31536   4/25/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31537   4/25/2012 REST   deliver stock                         USD                       150.00          -          -
        XM LIVE   3 CELT   CELT     31538   4/25/2012 BCEL   Securities Transfer ck#618            USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31578   4/26/2012 REST   deliver stock                         USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     31613   4/26/2012 REST   deliver stock                         USD                       450.00          -          -
        XM LIVE   3 CELT   CELT     31614   4/26/2012 BCEL   Action ck#619                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31664   4/27/2012 REST   deliver stock                         USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     31666   4/27/2012 BCEL   Holladay ck#620                       USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31704   4/27/2012 REST   receive stock                         USD                        50.00          -          -
                                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     31706   4/27/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     31749   4/30/2012 BCEL   commission withdrawal                 USD             -      (1,550.00)         -          -
        XM LIVE   3 CELT   CELT     31749   4/30/2012 BCEL   commission withdrawal                 USD             -       1,550.00          -          -
        XM LIVE   3 CELT   CELT     31750   4/30/2012 BCEL   commission withdrawal                 CAD             -            -         (50.00)       -
        XM LIVE   3 CELT   CELT     31750   4/30/2012 BCEL   commission withdrawal                 CAD             -            -          50.00        -
        XM LIVE   3 CELT   CELT     31811   4/30/2012 REST   commission withdrawal                 USD             -      (8,900.00)         -          -
        XM LIVE   3 CELT   CELT     31811   4/30/2012 REST   commission withdrawal                 USD             -       8,900.00          -          -




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        XM LIVE   3 CELT   CELT     31812   4/30/2012 REST   commission withdrawal                 CAD             -            -        (550.00)       -
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        XM LIVE   3 CELT   CELT     31812   4/30/2012 REST   commission withdrawal                 CAD             -            -         550.00        -
        XM LIVE   3 CELT   CELT     31839   4/30/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     32056    5/1/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     32057    5/1/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     32049    5/1/2012 BCEL   Computershare ck #101                 CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     31687    5/1/2012 REST   deliver stock                         CAD                          -         150.00        -
        XM LIVE   3 CELT   CELT     31742    5/2/2012 BCEL   Computershare ck #102                 CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     32115    5/2/2012 REST   deliver stock David Laidlaw           CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     32116    5/2/2012 REST   deliver stock Ruth Swanwick           CAD                          -          50.00        -
        XM LIVE   3 CELT   CELT     32148    5/2/2012 REST   Directors fees                        USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     32147    5/2/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     32144    5/2/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     32170    5/3/2012 REST   receive stock                         USD                        50.00          -          -
        XM LIVE   3 CELT   CELT     32171    5/3/2012 REST   receive stock                         USD                        50.00          -          -
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        XM LIVE   3 CELT   CELT     32187    5/3/2012 CASH   debit                                 CAD       (7,000.00)         -      (7,000.00)       -
        XM LIVE   3 CELT   CELT     32188    5/3/2012 CASH   debit                                 USD       (1,000.00)   (1,000.00)         -          -
        XM LIVE   3 CELT   CELT     32193    5/3/2012 TDQB   forex                                 USD       (6,545.97)   (6,611.43)         -          -
        XM LIVE   3 CELT   CELT     32193    5/3/2012 TDQB   forex                                 CAD        6,400.00          -       6,400.00        -
        XM LIVE   3 CELT   CELT     32262    5/4/2012 REST   Directors fees NECA                   USD                       300.00          -          -
        XM LIVE   3 CELT   CELT     32256    5/4/2012 BCEL   Holladay ck#621                       USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     32257    5/4/2012 BCEL   Holladay ck#621                       USD                       100.00          -          -



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        XM LIVE   3 CELT   CELT     33020    5/4/2012 REST   SPA                                               USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32236    5/4/2012 REST   deliver stock                                     USD                1,000.00      -         -
        XM LIVE   3 CELT   CELT     32239    5/4/2012 BCEL   Island ck#622                                     USD                  100.00      -         -
                                                                                                                                                                   Case: 24-1770




        XM LIVE   3 CELT   CELT     32243    5/4/2012 REST   deliver stock                                     USD                  600.00      -         -
        XM LIVE   3 CELT   CELT     32244    5/4/2012 BCEL   Island ck#622                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32248    5/4/2012 BCEL   Holladay ck#621                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32251    5/4/2012 REST   deliver stock                                     USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     32252    5/4/2012 BCEL   Holladay ck#621                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32263    5/4/2012 REST   Directors fees                                    USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     32261    5/4/2012 REST   SPA re: Meze                                      USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32259    5/4/2012 REST   SPA x 2 re: Crcl                                  USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     32258    5/4/2012 REST   SPA re: Oryn                                      USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     32254    5/4/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32247    5/4/2012 REST   deliver stock                                     USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     32472    5/8/2012 REST   deliver stock                                     USD                  600.00      -         -
        XM LIVE   3 CELT   CELT     32473    5/8/2012 BCEL   NATCO ck #403                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32439    5/9/2012 BCEL   Holladay ck #405                                  USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32445    5/9/2012 REST   deliver stock to East Shore Enterprises           USD                  500.00      -         -
                                                                                                                                                                   Document: 00118249068




        XM LIVE   3 CELT   CELT     32457    5/9/2012 BCEL   Holladay ck #405                                  USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32453    5/9/2012 REST   deliver stock                                     USD                  500.00      -         -
        XM LIVE   3 CELT   CELT     32469    5/9/2012 REST   internal transfer                                 USD                     -        -         -
        XM LIVE   3 CELT   CELT     32470    5/9/2012 REST   internal transfer                                 USD                     -        -         -
        XM LIVE   3 CELT   CELT     32569   5/11/2012 REST   receive stock                                     CAD                     -     100.00       -
        XM LIVE   3 CELT   CELT     32766   5/16/2012 BCEL   Holladay ck#623                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32769   5/16/2012 REST   deliver stock                                     USD                  800.00      -         -




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        XM LIVE   3 CELT   CELT     32772   5/16/2012 BCEL   Holladay ck#624                                   USD                  100.00      -         -
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        XM LIVE   3 CELT   CELT     32774   5/16/2012 BCEL   Holladay ck#624                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32726   5/16/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32727   5/16/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32767   5/16/2012 REST   Directors fees + fedex                            USD                  150.00      -         -
        XM LIVE   3 CELT   CELT     32773   5/16/2012 REST   deliver stock                                     USD                  800.00      -         -
        XM LIVE   3 CELT   CELT     32787   5/17/2012 REST   deliver stock                                     USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     32788   5/17/2012 BCEL   Holladay ck#625                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32781   5/17/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32849   5/18/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32819   5/18/2012 REST   deliver stock                                     USD                1,000.00      -         -
        XM LIVE   3 CELT   CELT     32821   5/18/2012 BCEL   Island ck#626                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32822   5/18/2012 BCEL   Holladay ck#627                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32828   5/18/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32829   5/18/2012 REST   receive stock                                     USD                  100.00      -         -
                                                                                                                                                                   Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     32830   5/18/2012 REST   deliver stock                                     USD                  900.00      -         -
        XM LIVE   3 CELT   CELT     32947   5/22/2012 REST   deliver stock                                     USD                  700.00      -         -
        XM LIVE   3 CELT   CELT     32948   5/22/2012 BCEL   Natco ck#629                                      USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32949   5/22/2012 BCEL   Island ck#630                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32952   5/22/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32953   5/22/2012 REST   receive stock                                     USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     32954   5/22/2012 REST   receive stock                                     USD                  100.00      -         -



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        XM LIVE   3 CELT   CELT     32955   5/22/2012 REST   deliver stock                        USD                      1,100.00           -          -
        XM LIVE   3 CELT   CELT     32956   5/22/2012 BCEL   Island ck#628                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     32960   5/22/2012 REST   deliver stock                        USD                        600.00           -          -
                                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     32961   5/22/2012 BCEL   Holladay ck#631                      USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33079   5/24/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33059   5/24/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33162   5/25/2012 BCEL   Island ck#632                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33161   5/25/2012 REST   deliver stock                        USD                      1,100.00           -          -
        XM LIVE   3 CELT   CELT     33166   5/28/2012 REST   deliver stock                        USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     33168   5/28/2012 BCEL   Island ck#633                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33876   5/29/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33329   5/30/2012 REST   Letter to TA + Fedex                 USD                        150.00           -          -
        XM LIVE   3 CELT   CELT     33334   5/30/2012 REST   deliver stock                        USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     33336   5/30/2012 BCEL   Holladay ck#634                      USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33342   5/30/2012 REST   deliver stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33381   5/31/2012 BCEL   commission withdrawal                USD             -       (2,500.00)          -          -
        XM LIVE   3 CELT   CELT     33381   5/31/2012 BCEL   commission withdrawal                USD             -        2,500.00           -          -
        XM LIVE   3 CELT   CELT     33382   5/31/2012 BCEL   commission withdrawal                CAD             -             -          (50.00)       -
                                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     33382   5/31/2012 BCEL   commission withdrawal                CAD             -             -           50.00        -
        XM LIVE   3 CELT   CELT     33442   5/31/2012 REST   commission withdrawal                USD             -      (15,833.92)          -          -
        XM LIVE   3 CELT   CELT     33442   5/31/2012 REST   commission withdrawal                USD             -       15,833.92           -          -
        XM LIVE   3 CELT   CELT     33443   5/31/2012 REST   commission withdrawal                CAD             -             -         (200.00)       -
        XM LIVE   3 CELT   CELT     33443   5/31/2012 REST   commission withdrawal                CAD             -             -          200.00        -
        XM LIVE   3 CELT   CELT     33355   5/31/2012 REST   deliver stock                        USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     33356   5/31/2012 BCEL   Action ck#636                        USD                        100.00           -          -




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        XM LIVE   3 CELT   CELT     33680    6/1/2012 BCEL   Computershare ck #103                CAD                           -          100.00        -
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        XM LIVE   3 CELT   CELT     36073    6/1/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33721    6/1/2012 CASH   debit                                CAD      (24,710.00)          -      (24,710.00)       -
        XM LIVE   3 CELT   CELT     33738    6/1/2012 REST   deliver stock                        CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     33740    6/1/2012 WORK   forex                                USD             -      (24,243.96)          -          -
        XM LIVE   3 CELT   CELT     33740    6/1/2012 WORK   forex                                CAD             -             -       24,460.00        -
        XM LIVE   3 CELT   CELT     33956    6/1/2012 REST   internal transfer                    USD                           -             -          -
        XM LIVE   3 CELT   CELT     33816    6/4/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33882    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33754    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33846    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33855    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33856    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33860    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33863    6/5/2012 REST   receive stock                        USD                        100.00           -          -
                                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     33866    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34456    6/5/2012 BCEL   Lawler & Associates ck#637           USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33869    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33872    6/5/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33877    6/5/2012 REST   deliver stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33878    6/5/2012 BCEL   Securities Tranfer ck#638            USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     33883    6/5/2012 REST   deliver stock                        USD                        200.00           -          -



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        XM LIVE   3 CELT   CELT     33894    6/5/2012 REST   internal transfer                                  USD               100.00      -         -
        XM LIVE   3 CELT   CELT     33966    6/6/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34031    6/7/2012 REST   receive stock                                      USD               100.00      -         -
                                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     34032    6/7/2012 REST   deliver stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34033    6/7/2012 REST   deliver stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34034    6/7/2012 BCEL   Island ck#639                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34035    6/7/2012 BCEL   Island ck#639                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34038    6/7/2012 BCEL   Island ck#639                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34041    6/7/2012 REST   deliver stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34042    6/7/2012 REST   deliver stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34152    6/8/2012 REST   deliver stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34088    6/8/2012 REST   deliver stock                                      USD               200.00      -         -
        XM LIVE   3 CELT   CELT     34178    6/8/2012 BCEL   Holladay ck#641                                    USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34089    6/8/2012 BCEL   Island ck#640                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34180   6/11/2012 REST   deliver stock                                      USD               200.00      -         -
        XM LIVE   3 CELT   CELT     34192   6/11/2012 REST   internal transfer                                  USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34280   6/12/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34257   6/12/2012 REST   cancel warrant                                     CAD                  -     100.00       -
                                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     34331   6/14/2012 REST   deliver stock                                      USD               600.00      -         -
        XM LIVE   3 CELT   CELT     34332   6/14/2012 BCEL   Natco ck#642                                       USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34366   6/15/2012 BCEL   Action ck#643                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34368   6/15/2012 BCEL   Action ck#643                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34369   6/15/2012 BCEL   Action ck#643                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34370   6/15/2012 BCEL   Action ck#643                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34371   6/15/2012 BCEL   Action ck#643                                      USD               100.00      -         -




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        XM LIVE   3 CELT   CELT     34372   6/15/2012 BCEL   Action ck#643                                      USD               100.00      -         -
                                                                                                                                                                 Page: 220




        XM LIVE   3 CELT   CELT     34374   6/15/2012 BCEL   Action ck#644                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34846   6/15/2012 REST   receive stock                                      CAD                  -     100.00       -
        XM LIVE   3 CELT   CELT     34455   6/18/2012 REST   Warrants expired                                   USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34447   6/18/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34460   6/18/2012 BCEL   Securities Transfer Corp. ck#645                   USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34461   6/18/2012 REST   deliver stock                                      USD             2,700.00      -         -
        XM LIVE   3 CELT   CELT     34463   6/18/2012 BCEL   Transfer Online ck#646                             USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34524   6/19/2012 REST   $0.75 to 050614                                    USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34612   6/19/2012 REST   memo/fedex#793699723650 to island stock transfer   USD               200.00      -         -
        XM LIVE   3 CELT   CELT     34614   6/19/2012 BCEL   Island ck#647 **VOID**                             USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34583   6/20/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34634   6/21/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34636   6/21/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34671   6/22/2012 REST   receive stock                                      USD               100.00      -         -
                                                                                                                                                                 Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     34703   6/22/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34705   6/22/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34706   6/22/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34707   6/22/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34708   6/22/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34709   6/22/2012 REST   receive stock                                      USD               100.00      -         -
        XM LIVE   3 CELT   CELT     34710   6/22/2012 REST   receive stock                                      USD               100.00      -         -



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        XM LIVE   3 CELT   CELT     34670   6/22/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37059   6/26/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34788   6/26/2012 REST   signatures x 4                             USD                        400.00           -          -
                                                                                                                                                                        Case: 24-1770




        XM LIVE   3 CELT   CELT     34789   6/26/2012 REST   deliver stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34791   6/26/2012 REST   deliver stock                              USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     34792   6/26/2012 BCEL   Action ck#649                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34794   6/26/2012 REST   deliver stock                              USD                        300.00           -          -
        XM LIVE   3 CELT   CELT     34795   6/26/2012 BCEL   Transfer Online ck#648                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34801   6/26/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34800   6/26/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34861   6/27/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34862   6/27/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34895   6/28/2012 REST   fedex to island #793734393669              USD                         25.00           -          -
        XM LIVE   3 CELT   CELT     34893   6/28/2012 REST   fedex to island #793734393669              USD                         25.00           -          -
        XM LIVE   3 CELT   CELT     34896   6/28/2012 BCEL   Island ck#651                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34897   6/28/2012 BCEL   Island ck#651                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     34924   6/28/2012 REST   receive stock                              CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     34926   6/28/2012 REST   directors fees                             USD                        100.00           -          -
                                                                                                                                                                        Document: 00118249068




        XM LIVE   3 CELT   CELT     34931   6/29/2012 WORK   internal transfer                          CAD             -             -         (850.00)       -
        XM LIVE   3 CELT   CELT     35162   6/30/2012 BCEL   commission withdrawal                      USD             -       (2,100.00)          -          -
        XM LIVE   3 CELT   CELT     35162   6/30/2012 BCEL   commission withdrawal                      USD             -        2,100.00           -          -
        XM LIVE   3 CELT   CELT     35163   6/30/2012 BCEL   commission withdrawal                      CAD             -             -         (100.00)       -
        XM LIVE   3 CELT   CELT     35163   6/30/2012 BCEL   commission withdrawal                      CAD             -             -          100.00        -
        XM LIVE   3 CELT   CELT     35225   6/30/2012 REST   commission withdrawal                      USD             -       (9,850.00)          -          -
        XM LIVE   3 CELT   CELT     35225   6/30/2012 REST   commission withdrawal                      USD             -        9,850.00           -          -




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        XM LIVE   3 CELT   CELT     35226   6/30/2012 REST   commission withdrawal                      CAD             -             -         (500.00)       -
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        XM LIVE   3 CELT   CELT     35226   6/30/2012 REST   commission withdrawal                      CAD             -             -          500.00        -
        XM LIVE   3 CELT   CELT     36235    7/1/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     35461    7/2/2012 TDCO   forex                                      USD        (248.14)       (250.62)          -          -
        XM LIVE   3 CELT   CELT     35461    7/2/2012 TDCO   forex                                      CAD         250.00            -          250.00        -
        XM LIVE   3 CELT   CELT     35541    7/3/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     35440    7/3/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     35545    7/3/2012 BCEL   Computershare ck #104                      CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     35574    7/3/2012 REST   deliver stock                              USD                        700.00           -          -
        XM LIVE   3 CELT   CELT     35487    7/4/2012 CASH   debit                                      CAD      (15,000.00)          -      (15,000.00)       -
        XM LIVE   3 CELT   CELT     35508    7/4/2012 WORK   forex                                      USD             -      (15,037.22)          -          -
        XM LIVE   3 CELT   CELT     35508    7/4/2012 WORK   forex                                      CAD             -             -       15,000.00        -
        XM LIVE   3 CELT   CELT     37060    7/4/2012 REST   deliver stock                              USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     37061    7/4/2012 BCEL   Quicksilver ck#652                         USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     35575    7/4/2012 BCEL   Holladay ck#654                            USD                        100.00           -          -
                                                                                                                                                                        Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     35544    7/5/2012 REST   deliver stock                              CAD                           -          200.00        -
        XM LIVE   3 CELT   CELT     35570    7/6/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     35581    7/6/2012 REST   deliver stock                              USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     35582    7/6/2012 BCEL   Action ck#655                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     35601    7/7/2012 REST   $0.22 to 010213; $0.35 to 010214           CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     35604    7/7/2012 REST   convert loan to MHI stock                  CAD                           -             -          -
        XM LIVE   3 CELT   CELT     35685    7/9/2012 REST   receive stock                              USD                        100.00           -          -



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        XM LIVE   3 CELT   CELT     35684    7/9/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35686    7/9/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35687    7/9/2012 REST   receive stock                                    USD                 100.00      -         -
                                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     35692    7/9/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35695    7/9/2012 REST   deliver stock                                    USD                 500.00      -         -
        XM LIVE   3 CELT   CELT     35696    7/9/2012 BCEL   Action ck#656                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35748   7/10/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     35749   7/10/2012 REST   deliver stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35750   7/10/2012 REST   deliver stock                                    USD                 800.00      -         -
        XM LIVE   3 CELT   CELT     35751   7/10/2012 BCEL   Signature ck#657                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35752   7/10/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     35753   7/10/2012 BCEL   Empire ck#658                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35701   7/10/2012 REST   144 rep ltr x 4                                  USD                 400.00      -         -
        XM LIVE   3 CELT   CELT     35755   7/12/2012 REST   directors fees                                   USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35779   7/12/2012 BCEL   Securities Transfer Corp. ck#659                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35778   7/12/2012 REST   deliver stock                                    USD                 700.00      -         -
        XM LIVE   3 CELT   CELT     34459   7/12/2012 REST   deliver stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35785   7/13/2012 REST   deliver stock                                    USD                 800.00      -         -
                                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     35786   7/13/2012 BCEL   Securities Transfer Corp. ck#660                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35788   7/13/2012 REST   deliver stock                                    USD                 300.00      -         -
        XM LIVE   3 CELT   CELT     35789   7/13/2012 BCEL   TOL ck#661                                       USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35790   7/13/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     35791   7/13/2012 BCEL   Empire ck#662                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35873   7/16/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     35876   7/16/2012 REST   receive stock                                    USD                 100.00      -         -




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        XM LIVE   3 CELT   CELT     35944   7/17/2012 BCEL   Computershare ck #105                            CAD                    -     100.00       -
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        XM LIVE   3 CELT   CELT     35878   7/17/2012 REST   deliver stock                                    USD                 600.00      -         -
        XM LIVE   3 CELT   CELT     35879   7/17/2012 BCEL   Securities Transfer Corp. ck#663                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36028   7/23/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     36075   7/23/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36076   7/23/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36188   7/25/2012 REST   receive stock                                    CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     36167   7/25/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36364   7/26/2012 BCEL   Computershare ck #106                            CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     36168   7/26/2012 REST   deliver stock                                    CAD                    -     200.00       -
        XM LIVE   3 CELT   CELT     36189   7/27/2012 REST   receive stock                                    CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     36191   7/27/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36192   7/27/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36227   7/27/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     36228   7/27/2012 BCEL   Signature ck#664                                 USD                 100.00      -         -
                                                                                                                                                                 Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     36230   7/27/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     36232   7/27/2012 REST   deliver stock                                    USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     36233   7/27/2012 BCEL   Empire ck#665                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36236   7/27/2012 REST   annual list signature + fedex: 798672207758      USD                 150.00      -         -
        XM LIVE   3 CELT   CELT     36237   7/27/2012 BCEL   Secretary of State ck#666                        USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36194   7/27/2012 REST   receive stock                                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     36243   7/27/2012 REST   deliver stock                                    USD                 400.00      -         -



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        XM LIVE   3 CELT   CELT     36245   7/27/2012 BCEL   TOL ck#669                                   USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36240   7/27/2012 BCEL   Holladay ck#668                              USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36239   7/27/2012 REST   deliver stock                                USD                   400.00        -          -
                                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     36543   7/27/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36545   7/27/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36549   7/27/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36551   7/27/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36238   7/27/2012 BCEL   American Corporate ck#667                    USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36210   7/30/2012 REST   internal transfer                            USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36244   7/30/2012 REST   deliver stock                                USD                   400.00        -          -
        XM LIVE   3 CELT   CELT     36246   7/30/2012 BCEL   TOL ck#670                                   USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36274   7/31/2012 BCEL   commission withdrawal                        USD          -     (1,800.00)       -          -
        XM LIVE   3 CELT   CELT     36274   7/31/2012 BCEL   commission withdrawal                        USD          -      1,800.00        -          -
        XM LIVE   3 CELT   CELT     36275   7/31/2012 BCEL   commission withdrawal                        CAD          -           -      (200.00)       -
        XM LIVE   3 CELT   CELT     36275   7/31/2012 BCEL   commission withdrawal                        CAD          -           -       200.00        -
        XM LIVE   3 CELT   CELT     36330   7/31/2012 REST   commission withdrawal                        USD          -    (10,800.00)       -          -
        XM LIVE   3 CELT   CELT     36330   7/31/2012 REST   commission withdrawal                        USD          -     10,800.00        -          -
        XM LIVE   3 CELT   CELT     36331   7/31/2012 REST   commission withdrawal                        CAD          -           -      (700.00)       -
                                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     36331   7/31/2012 REST   commission withdrawal                        CAD          -           -       700.00        -
        XM LIVE   3 CELT   CELT     36270   7/31/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36317   7/31/2012 REST   deliver stock                                USD                   800.00        -          -
        XM LIVE   3 CELT   CELT     36355   7/31/2012 BCEL   Holladay ck#671                              USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36696    8/1/2012 REST   receive stock                                CAD                      -       100.00        -
        XM LIVE   3 CELT   CELT     36704    8/1/2012 BCEL   Equity Financial Trust ck #107               CAD                      -       100.00        -
        XM LIVE   3 CELT   CELT     36635    8/1/2012 BCEL   Holladay ck#672                              USD                   100.00        -          -




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        XM LIVE   3 CELT   CELT     36648    8/1/2012 BCEL   Island ck#673                                USD                   100.00        -          -
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        XM LIVE   3 CELT   CELT     36645    8/1/2012 REST   deliver stock                                USD                   200.00        -          -
        XM LIVE   3 CELT   CELT     36584    8/1/2012 REST   deliver stock                                USD                   400.00        -          -
        XM LIVE   3 CELT   CELT     36662    8/1/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36652    8/2/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36663    8/2/2012 REST   deliver stock                                USD                   300.00        -          -
        XM LIVE   3 CELT   CELT     36664    8/2/2012 BCEL   Island ck#674                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36667    8/2/2012 REST   deliver stock                                USD                 1,000.00        -          -
        XM LIVE   3 CELT   CELT     36668    8/2/2012 BCEL   Holladay ck#675                              USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36672    8/2/2012 REST   fedex #793863573296                          USD                    50.00        -          -
        XM LIVE   3 CELT   CELT     36673    8/2/2012 BCEL   Signature ck#676                             USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36706    8/3/2012 BCEL   Equity Financial Trust ck #108               CAD                      -       100.00        -
        XM LIVE   3 CELT   CELT     36752    8/3/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36754    8/7/2012 REST   deliver stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36760    8/7/2012 BCEL   Securities Transfer Corp. ck#677             USD                   100.00        -          -
                                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     36759    8/7/2012 REST   deliver stock                                USD                   400.00        -          -
        XM LIVE   3 CELT   CELT     36845    8/9/2012 BCEL   Signature Stock Transfer ck #406             USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     37063   8/10/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36867   8/10/2012 REST   deliver stock: Fedex #798723062647           USD                    50.00        -          -
        XM LIVE   3 CELT   CELT     58347   8/11/2012 REST   warrants expired                             CAD                      -       100.00        -
        XM LIVE   3 CELT   CELT     37064   8/13/2012 REST   receive stock                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     36895   8/13/2012 REST   receive stock                                USD                   100.00        -          -



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        XM LIVE   3 CELT   CELT     36965   8/15/2012 CASH   debit                                       CAD      (15,000.00)          -      (15,000.00)       -
        XM LIVE   3 CELT   CELT     36967   8/15/2012 TDCO   forex ck #543                               USD      (14,491.76)   (14,636.68)          -          -
        XM LIVE   3 CELT   CELT     36967   8/15/2012 CASH   forex ck #543                               CAD       14,100.00           -       14,100.00        -
                                                                                                                                                                         Case: 24-1770




        XM LIVE   3 CELT   CELT     37066   8/16/2012 BCEL   NATCO ck#678                                USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37068   8/16/2012 REST   Ltr to TA and Fedex #798761276742           USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     51248   8/16/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37065   8/16/2012 REST   deliver stock                               USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     37179   8/20/2012 REST   deliver stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37112   8/20/2012 REST   deliver stock                               USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     37114   8/20/2012 BCEL   Island ck#679                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37117   8/20/2012 REST   deliver stock                               USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     37118   8/20/2012 BCEL   Quicksilver ck#681                          USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37180   8/21/2012 REST   deliver stock                               USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     37181   8/21/2012 BCEL   Island ck#680                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37183   8/21/2012 REST   deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     37184   8/21/2012 BCEL   Quicksilver ck#682                          USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37193   8/22/2012 REST   deliver stock                               USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     37194   8/22/2012 BCEL   Quicksilver ck#683                          USD                        100.00           -          -
                                                                                                                                                                         Document: 00118249068




        XM LIVE   3 CELT   CELT     37196   8/22/2012 REST   deliver stock                               USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     37197   8/22/2012 BCEL   Island ck#684                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37216   8/22/2012 REST   signed proxy X 19                           USD                      1,900.00           -          -
        XM LIVE   3 CELT   CELT     37274   8/23/2012 REST   deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     37275   8/23/2012 BCEL   Quicksilver ck#686                          USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37277   8/23/2012 BCEL   Action ck#685                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37278   8/23/2012 BCEL   Action ck#685                               USD                        100.00           -          -




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        XM LIVE   3 CELT   CELT     37279   8/23/2012 REST   fedex: 798813111879                         USD                         25.00           -          -
                                                                                                                                                                         Page: 224




        XM LIVE   3 CELT   CELT     37280   8/23/2012 REST   fedex: 798813111879                         USD                         25.00           -          -
        XM LIVE   3 CELT   CELT     37281   8/24/2012 REST   deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     37282   8/24/2012 BCEL   Quicksilver ck#687                          USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37399   8/29/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37400   8/29/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37403   8/29/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37658   8/31/2012 BCEL   commission withdrawal                       USD             -       (1,900.00)          -          -
        XM LIVE   3 CELT   CELT     37658   8/31/2012 BCEL   commission withdrawal                       USD             -        1,900.00           -          -
        XM LIVE   3 CELT   CELT     37659   8/31/2012 BCEL   commission withdrawal                       CAD             -             -         (300.00)       -
        XM LIVE   3 CELT   CELT     37659   8/31/2012 BCEL   commission withdrawal                       CAD             -             -          300.00        -
        XM LIVE   3 CELT   CELT     37718   8/31/2012 REST   commission withdrawal                       USD             -      (10,750.00)          -          -
        XM LIVE   3 CELT   CELT     37718   8/31/2012 REST   commission withdrawal                       USD             -       10,750.00           -          -
        XM LIVE   3 CELT   CELT     37719   8/31/2012 REST   commission withdrawal                       CAD             -             -         (100.00)       -
        XM LIVE   3 CELT   CELT     37719   8/31/2012 REST   commission withdrawal                       CAD             -             -          100.00        -
                                                                                                                                                                         Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     37771   8/31/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37772   8/31/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     43775    9/4/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37803    9/4/2012 REST   deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     37804    9/4/2012 BCEL   Island ck#688                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37808    9/4/2012 REST   deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     37809    9/4/2012 BCEL   World Wide ck#689                           USD                        100.00           -          -



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        XM LIVE   3 CELT   CELT     37812    9/4/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37815    9/4/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37837    9/5/2012 REST   deliver stock                              USD                        600.00           -          -
                                                                                                                                                                        Case: 24-1770




        XM LIVE   3 CELT   CELT     37838    9/5/2012 BCEL   Island ck#690                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37839    9/5/2012 BCEL   Island ck#691                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37842    9/5/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37843    9/5/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37858    9/5/2012 REST   directors fees                             USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37861    9/5/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37862    9/5/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37950    9/6/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37949    9/6/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37951    9/6/2012 REST   deliver stock                              USD                      1,000.00           -          -
        XM LIVE   3 CELT   CELT     37952    9/6/2012 BCEL   Island ck#692                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     37957    9/6/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38005    9/7/2012 REST   deliver stock                              USD                      1,500.00           -          -
        XM LIVE   3 CELT   CELT     38006    9/7/2012 REST   deliver stock                              USD                           -             -          -
        XM LIVE   3 CELT   CELT     38007    9/7/2012 BCEL   Action ck#693                              USD                        100.00           -          -
                                                                                                                                                                        Document: 00118249068




        XM LIVE   3 CELT   CELT     38010    9/7/2012 REST   deliver stock                              USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     38011    9/7/2012 BCEL   Securities Transfer Corp. ck#694           USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38034   9/10/2012 REST   deliver stock                              USD                      1,500.00           -          -
        XM LIVE   3 CELT   CELT     38035   9/10/2012 BCEL   Globex ck#695                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38053   9/10/2012 CASH   debit                                      CAD      (15,000.00)          -      (15,000.00)       -
        XM LIVE   3 CELT   CELT     38093   9/10/2012 WORK   forex                                      USD             -      (15,346.60)          -          -
        XM LIVE   3 CELT   CELT     38093   9/10/2012 WORK   forex                                      CAD             -             -       14,600.00        -




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        XM LIVE   3 CELT   CELT     38123   9/12/2012 REST   receive stock                              USD                        100.00           -          -
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        XM LIVE   3 CELT   CELT     38124   9/12/2012 REST   deliver stock                              USD                        600.00           -          -
        XM LIVE   3 CELT   CELT     38125   9/12/2012 BCEL   Action ck#696                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38127   9/12/2012 BCEL   Empire ck# 697                             USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38126   9/12/2012 REST   deliver stock                              USD                        600.00           -          -
        XM LIVE   3 CELT   CELT     38190   9/13/2012 REST   deliver stock                              USD                        700.00           -          -
        XM LIVE   3 CELT   CELT     38187   9/13/2012 REST   deliver stock                              USD                        600.00           -          -
        XM LIVE   3 CELT   CELT     38188   9/13/2012 BCEL   Empire ck#698                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38191   9/13/2012 BCEL   Securities Transfer ck#699                 USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38192   9/13/2012 BCEL   Lawler & Associates ck#700                 USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38195   9/13/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38231   9/14/2012 REST   deliver stock                              USD                      2,100.00           -          -
        XM LIVE   3 CELT   CELT     38232   9/14/2012 BCEL   Globex ck#701                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38236   9/14/2012 REST   deliver stock                              USD                        500.00           -          -
        XM LIVE   3 CELT   CELT     38237   9/14/2012 BCEL   Empire ck#702                              USD                        100.00           -          -
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        XM LIVE   3 CELT   CELT     38276   9/17/2012 REST   receive stock                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38294   9/17/2012 REST   deliver stock                              USD                        500.00           -          -
        XM LIVE   3 CELT   CELT     38295   9/17/2012 BCEL   Securities Transfer ck#703                 USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38298   9/17/2012 REST   deliver stock                              USD                        500.00           -          -
        XM LIVE   3 CELT   CELT     38300   9/17/2012 REST   deliver stock                              USD                        900.00           -          -
        XM LIVE   3 CELT   CELT     38301   9/17/2012 BCEL   Empire ck#705                              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     38299   9/17/2012 BCEL   Action ck#704                              USD                        100.00           -          -



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        XM LIVE   3 CELT   CELT     38303   9/17/2012 REST   deliver stock                         USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     38305   9/17/2012 BCEL   Empire ck#705                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38307   9/17/2012 REST   deliver stock                         USD                2,100.00   -           -
                                                                                                                                                      Case: 24-1770




        XM LIVE   3 CELT   CELT     38308   9/17/2012 BCEL   Globex ck#706                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38311   9/17/2012 REST   receive stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38312   9/17/2012 REST   receive stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38357   9/18/2012 REST   deliver stock                         USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     38358   9/18/2012 BCEL   Signature ck#707                      USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38361   9/18/2012 REST   deliver stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38362   9/18/2012 BCEL   Action ck#708                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38363   9/18/2012 REST   deliver stock                         USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     38364   9/18/2012 BCEL   Holladay ck#710                       USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38365   9/18/2012 BCEL   Holladay ck#710                       USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38366   9/18/2012 BCEL   Holladay ck#710                       USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38369   9/18/2012 REST   deliver stock                         USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     38370   9/18/2012 BCEL   Empire ck#711                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38372   9/18/2012 REST   deliver stock                         USD                  900.00   -           -
        XM LIVE   3 CELT   CELT     38373   9/18/2012 BCEL   Empire ck#711                         USD                  100.00   -           -
                                                                                                                                                      Document: 00118249068




        XM LIVE   3 CELT   CELT     38375   9/18/2012 REST   deliver stock                         USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     38376   9/18/2012 BCEL   Lawler & Associates ck# 712           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38377   9/18/2012 BCEL   Securities Transfer ck#713            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38392   9/19/2012 REST   deliver stock                         USD                     -     -           -
        XM LIVE   3 CELT   CELT     38410   9/19/2012 REST   receive stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38458   9/20/2012 REST   receive stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38459   9/20/2012 REST   deliver stock                         USD                  900.00   -           -




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        XM LIVE   3 CELT   CELT     38460   9/20/2012 BCEL   Empire ck#717                         USD                  100.00   -           -
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        XM LIVE   3 CELT   CELT     38463   9/20/2012 REST   deliver stock                         USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     38464   9/20/2012 BCEL   Holladay ck#714                       USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38466   9/20/2012 REST   deliver stock                         USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     38468   9/20/2012 BCEL   Holladay ck#715                       USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38470   9/20/2012 REST   deliver stock                         USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     38471   9/20/2012 BCEL   Securities Transfer ck#716            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38473   9/20/2012 REST   deliver stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38474   9/20/2012 REST   deliver stock                         USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     38475   9/20/2012 BCEL   Securities Transfer ck#716            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38477   9/20/2012 REST   deliver stock                         USD                  800.00   -           -
        XM LIVE   3 CELT   CELT     38478   9/20/2012 BCEL   Empire ck#717                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38502   9/21/2012 REST   receive stock                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38514   9/21/2012 REST   deliver stock                         USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     38515   9/21/2012 BCEL   Signature ck#718                      USD                  100.00   -           -
                                                                                                                                                      Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     38519   9/21/2012 REST   deliver stock                         USD                2,100.00   -           -
        XM LIVE   3 CELT   CELT     38520   9/21/2012 BCEL   Globex ck#719                         USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38522   9/21/2012 REST   deliver stock                         USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     38524   9/21/2012 BCEL   Securities Transfer ck#720            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38527   9/21/2012 REST   deliver stock                         USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     38528   9/21/2012 BCEL   Holladay ck#721                       USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     38530   9/21/2012 REST   deliver stock                         USD                  600.00   -           -



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        XM LIVE   3 CELT   CELT     38531   9/21/2012 BCEL   Empire ck#722                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38564   9/24/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38570   9/24/2012 REST   deliver stock                          USD                   200.00    -           -
                                                                                                                                                         Case: 24-1770




        XM LIVE   3 CELT   CELT     38571   9/24/2012 BCEL   Action ck#723                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38573   9/24/2012 REST   deliver stock                          USD                   900.00    -           -
        XM LIVE   3 CELT   CELT     38574   9/24/2012 BCEL   Empire ck#724                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38576   9/24/2012 REST   deliver stock                          USD                   300.00    -           -
        XM LIVE   3 CELT   CELT     38579   9/24/2012 BCEL   Securities Transfer ck#725             USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38589   9/24/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38600   9/25/2012 REST   SPA for VPQU                           USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38612   9/25/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38613   9/25/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38731   9/26/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38742   9/27/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38750   9/27/2012 REST   2 x PA + Fedex: 799070811787           USD                   250.00    -           -
        XM LIVE   3 CELT   CELT     38751   9/27/2012 REST   deliver stock                          USD                 1,100.00    -           -
        XM LIVE   3 CELT   CELT     38752   9/27/2012 BCEL   Island ck#726                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38755   9/27/2012 REST   deliver stock                          USD                   600.00    -           -
                                                                                                                                                         Document: 00118249068




        XM LIVE   3 CELT   CELT     38756   9/27/2012 BCEL   Securities Transfer ck#727             USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38759   9/27/2012 REST   deliver stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38760   9/27/2012 BCEL   Holladay ck#728                        USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38761   9/27/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38762   9/27/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38792   9/28/2012 REST   deliver stock                          USD                   300.00    -           -
        XM LIVE   3 CELT   CELT     38793   9/28/2012 BCEL   Island ck#729                          USD                   100.00    -           -




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        XM LIVE   3 CELT   CELT     38795   9/28/2012 REST   deliver stock                          USD                   800.00    -           -
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        XM LIVE   3 CELT   CELT     38796   9/28/2012 BCEL   Island ck#730                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38817   9/28/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38789   9/28/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38801   9/28/2012 REST   deliver stock                          USD                   200.00    -           -
        XM LIVE   3 CELT   CELT     38818   9/28/2012 REST   deliver stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     38825   9/30/2012 BCEL   commission withdrawal                  USD          -     (4,800.00)   -           -
        XM LIVE   3 CELT   CELT     38825   9/30/2012 BCEL   commission withdrawal                  USD          -      4,800.00    -           -
        XM LIVE   3 CELT   CELT     38886   9/30/2012 REST   commission withdrawal                  USD          -    (32,850.00)   -           -
        XM LIVE   3 CELT   CELT     38886   9/30/2012 REST   commission withdrawal                  USD          -     32,850.00    -           -
        XM LIVE   3 CELT   CELT     39260   10/1/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     39261   10/1/2012 REST   receive stock                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     39274   10/1/2012 REST   deliver stock                          USD                 1,200.00    -           -
        XM LIVE   3 CELT   CELT     39266   10/1/2012 REST   deliver stock                          USD                   600.00    -           -
        XM LIVE   3 CELT   CELT     39267   10/1/2012 BCEL   Securities Transfer ck#731             USD                   100.00    -           -
                                                                                                                                                         Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     39270   10/1/2012 REST   deliver stock                          USD                 1,400.00    -           -
        XM LIVE   3 CELT   CELT     39271   10/1/2012 BCEL   Empire ck#732                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     39275   10/1/2012 BCEL   Signature ck#733                       USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     39277   10/1/2012 REST   deliver stock                          USD                   800.00    -           -
        XM LIVE   3 CELT   CELT     39278   10/1/2012 BCEL   Island ck#734                          USD                   100.00    -           -
        XM LIVE   3 CELT   CELT     39377   10/2/2012 REST   deliver stock                          USD                   300.00    -           -
        XM LIVE   3 CELT   CELT     39378   10/2/2012 BCEL   Securities Transfer ck#735             USD                   100.00    -           -



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        XM LIVE   3 CELT   CELT     39511 10/3/2012 REST    deliver stock                               USD                        600.00           -          -
        XM LIVE   3 CELT   CELT     39519 10/3/2012 BCEL    NATCO ck#736                                USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39523 10/3/2012 REST    deliver stock                               USD                        800.00           -          -
                                                                                                                                                                        Case: 24-1770




        XM LIVE   3 CELT   CELT     39528 10/3/2012 BCEL    Island ck#737                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39395 10/3/2012 REST    receive stock                               CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     39396 10/3/2012 REST    receive warrants 12c 14/08/14               CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     39419 10/3/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39532 10/4/2012 BCEL    Holladay ck#738                             USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39533 10/4/2012 REST    deliver stock                               USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     39534 10/4/2012 BCEL    Island ck#739                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39537 10/4/2012 REST    deliver stock                               USD                        300.00           -          -
        XM LIVE   3 CELT   CELT     39538 10/4/2012 BCEL    Securities Transfer ck#740                  USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39477 10/4/2012 REST    rejected from TA as co changed TA           USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39556 10/4/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39531 10/4/2012 REST    deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     39495 10/5/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39496 10/5/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39497 10/5/2012 REST    receive stock                               USD                        100.00           -          -
                                                                                                                                                                        Document: 00118249068




        XM LIVE   3 CELT   CELT     39517 10/5/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39518 10/5/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39536 10/5/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39597 10/5/2012 REST    deliver stock                               USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     39598 10/5/2012 BCEL    Holladay ck#742                             USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39599 10/5/2012 REST    deliver stock                               USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     39600 10/5/2012 BCEL    Island ck#743                               USD                        100.00           -          -




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        XM LIVE   3 CELT   CELT     39539 10/5/2012 CASH    debit                                       CAD      (10,000.00)          -      (10,000.00)       -
                                                                                                                                                                        Page: 228




        XM LIVE   3 CELT   CELT     39605 10/5/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39624 10/5/2012 BCEL    Lawler & Accociates ck#741                  USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40058 10/5/2012 WORK    forex                                       USD             -      (10,290.89)          -          -
        XM LIVE   3 CELT   CELT     40058 10/5/2012 WORK    forex                                       CAD             -             -       10,000.00        -
        XM LIVE   3 CELT   CELT     39606 10/9/2012 REST    receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39607 10/9/2012 REST    deliver stock                               USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     39610 10/9/2012 BCEL    Signature ck#744                            USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39612 10/9/2012 REST    deliver stock                               USD                        600.00           -          -
        XM LIVE   3 CELT   CELT     39613 10/9/2012 BCEL    V Stock Transfer ck#745                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39614 10/9/2012 REST    deliver stock                               USD                        700.00           -          -
        XM LIVE   3 CELT   CELT     39615 10/9/2012 BCEL    Holladay ck#746                             USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39618 10/9/2012 REST    deliver stock                               USD                        700.00           -          -
        XM LIVE   3 CELT   CELT     39619 10/9/2012 BCEL    Action ck#747                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39623 10/9/2012 REST    deliver stock                               USD                        900.00           -          -
                                                                                                                                                                        Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     39625 10/9/2012 BCEL    Action ck#748                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39679 10/10/2012 REST   deliver stock                               USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     39682 10/10/2012 REST   deliver stock                               USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     39683 10/10/2012 BCEL   Action ck#750                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39680 10/10/2012 BCEL   Holladay ck#749                             USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39688 10/11/2012 REST   receive stock                               USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     39691 10/11/2012 REST   deliver stock                               USD                        200.00           -          -



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        XM LIVE   3 CELT   CELT     39692 10/11/2012 BCEL   Holladay ck#752                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39696 10/11/2012 REST   deliver stock                          USD                 800.00   -           -
        XM LIVE   3 CELT   CELT     39697 10/11/2012 BCEL   Action ck#751                          USD                 100.00   -           -
                                                                                                                                                     Case: 24-1770




        XM LIVE   3 CELT   CELT     39705 10/11/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39686 10/11/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39749 10/12/2012 REST   deliver stock                          USD                 200.00   -           -
        XM LIVE   3 CELT   CELT     39750 10/12/2012 BCEL   Holladay ck#753                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39752 10/12/2012 REST   deliver stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39753 10/12/2012 BCEL   Holladay ck#753                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39833 10/15/2012 REST   signature for engagement ltr           USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39803 10/15/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39835 10/16/2012 BCEL   Lawler & Associates ck#754             USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39836 10/16/2012 BCEL   Empire ck#755                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39838 10/16/2012 BCEL   Holladay ck#756                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39839 10/16/2012 REST   deliver stock                          USD                 300.00   -           -
        XM LIVE   3 CELT   CELT     39840 10/16/2012 BCEL   Holladay ck#756                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39843 10/16/2012 BCEL   Action ck#757                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39845 10/16/2012 REST   deliver stock                          USD                 500.00   -           -
                                                                                                                                                     Document: 00118249068




        XM LIVE   3 CELT   CELT     39846 10/16/2012 BCEL   Action ck#757                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40019 10/17/2012 REST   deliver stock                          USD                 600.00   -           -
        XM LIVE   3 CELT   CELT     40007 10/17/2012 REST   deliver stock                          USD                 500.00   -           -
        XM LIVE   3 CELT   CELT     40008 10/17/2012 BCEL   Lawler & Associates ck#758             USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40009 10/17/2012 BCEL   Securities Transfer ck#760             USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40011 10/17/2012 REST   deliver stock                          USD                 400.00   -           -
        XM LIVE   3 CELT   CELT     40012 10/17/2012 BCEL   Action ck#759                          USD                 100.00   -           -




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        XM LIVE   3 CELT   CELT     40014 10/17/2012 BCEL   Action ck#759                          USD                 100.00   -           -
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        XM LIVE   3 CELT   CELT     40013 10/17/2012 REST   deliver stock                          USD                 300.00   -           -
        XM LIVE   3 CELT   CELT     40016 10/17/2012 REST   deliver stock                          USD                 700.00   -           -
        XM LIVE   3 CELT   CELT     40017 10/17/2012 BCEL   Securities Transfer ck#760             USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40020 10/17/2012 BCEL   Securities Transfer ck#760             USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40005 10/18/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40018 10/18/2012 REST   DWAC form for TA                       USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40022 10/18/2012 REST   deliver stock                          USD                 400.00   -           -
        XM LIVE   3 CELT   CELT     40023 10/18/2012 BCEL   Action ck#761                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40004 10/19/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40024 10/19/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     39970 10/19/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40778 10/21/2012 BCEL   Empire ck#407                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40207 10/22/2012 REST   deliver stock                          USD                 200.00   -           -
        XM LIVE   3 CELT   CELT     40025 10/22/2012 REST   deliver stock                          USD                 400.00   -           -
                                                                                                                                                     Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     40026 10/22/2012 BCEL   Action ck#762                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40030 10/22/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40252 10/23/2012 REST   deliver stock                          USD                 200.00   -           -
        XM LIVE   3 CELT   CELT     40253 10/23/2012 REST   deliver stock                          USD                 200.00   -           -
        XM LIVE   3 CELT   CELT     40101 10/23/2012 REST   receive stock                          USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40110 10/23/2012 REST   SPA                                    USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     40112 10/23/2012 REST   receive stock                          USD                 100.00   -           -



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                                                                                                                                              4 (Part 2)
        XM LIVE   3 CELT   CELT     40113 10/23/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40114 10/23/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40205 10/24/2012 REST   deliver stock                        USD                        600.00           -          -
                                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     40218 10/24/2012 REST   deliver stock                        USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     40202 10/24/2012 REST   deliver stock                        USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     40209 10/24/2012 BCEL   Action ck#763                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40216 10/24/2012 BCEL   Securities Transfer ck#764           USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40220 10/24/2012 BCEL   Globex ck#765                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40215 10/24/2012 REST   deliver stock                        USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     40183 10/25/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40222 10/25/2012 REST   SPA                                  USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40227 10/25/2012 REST   deliver stock                        USD                        900.00           -          -
        XM LIVE   3 CELT   CELT     40228 10/25/2012 BCEL   Holladay ck#766                      USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40713 10/26/2012 BCEL   Greenberg Traurig ck#768             CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     40714 10/26/2012 REST   fedex #793945055735                  CAD                           -           50.00        -
        XM LIVE   3 CELT   CELT     40352 10/26/2012 BCEL   forex                                USD                         10.00           -          -
        XM LIVE   3 CELT   CELT     40264 10/26/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40265 10/26/2012 REST   deliver stock                        USD                        700.00           -          -
                                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     40266 10/26/2012 BCEL   Holladay ck#767                      USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40269 10/26/2012 REST   deliver stock                        USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     40270 10/26/2012 BCEL   Island ck#769                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40275 10/26/2012 REST   deliver stock                        USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     40276 10/26/2012 REST   receive stock                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40277 10/26/2012 BCEL   Signature ck#770                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40328 10/29/2012 REST   deliver stock                        USD                        200.00           -          -




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        XM LIVE   3 CELT   CELT     40329 10/29/2012 BCEL   Holladay ck#771                      USD                        100.00           -          -
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        XM LIVE   3 CELT   CELT     40359 10/30/2012 REST   internal transfer                    USD                           -             -          -
        XM LIVE   3 CELT   CELT     40364 10/30/2012 REST   spa x 2                              USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     40369 10/30/2012 REST   deliver stock                        USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     40370 10/30/2012 BCEL   Globex ck#773                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40372 10/30/2012 REST   deliver stock                        USD                        600.00           -          -
        XM LIVE   3 CELT   CELT     40373 10/30/2012 BCEL   Empire ck#774                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40375 10/30/2012 REST   deliver stock                        USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     40376 10/30/2012 BCEL   NATCO ck#775                         USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40378 10/30/2012 REST   deliver stock                        USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     40379 10/30/2012 BCEL   Island ck#777                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40734 10/31/2012 BSIT   forex                                USD       (9,843.96)    (9,942.40)          -          -
        XM LIVE   3 CELT   CELT     40734 10/31/2012 BSIT   forex                                CAD        9,798.68           -        9,798.68        -
        XM LIVE   3 CELT   CELT     40401 10/31/2012 CASH   debit                                CAD      (10,000.00)          -      (10,000.00)       -
        XM LIVE   3 CELT   CELT     40777 10/31/2012 REST   deliver stock                        USD                        200.00           -          -
                                                                                                                                                                 Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     40779 10/31/2012 REST   deliver stock                        USD                        800.00           -          -
        XM LIVE   3 CELT   CELT     40780 10/31/2012 BCEL   Island ck#778                        USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     40450 10/31/2012 WORK   interest payment                     USD             -          165.68           -          -
        XM LIVE   3 CELT   CELT     40451 10/31/2012 WORK   interest payment                     CAD             -             -            1.32        -
        XM LIVE   3 CELT   CELT     40630 11/1/2012 BCEL    commission withdrawal                USD             -       (5,210.00)          -          -
        XM LIVE   3 CELT   CELT     40630 11/1/2012 BCEL    commission withdrawal                USD             -        5,210.00           -          -
        XM LIVE   3 CELT   CELT     40692 11/1/2012 REST    commission withdrawal                USD             -      (31,350.00)          -          -



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        XM LIVE   3 CELT   CELT     40692 11/1/2012 REST    commission withdrawal                       USD          -    31,350.00       -          -
        XM LIVE   3 CELT   CELT     40693 11/1/2012 REST    commission withdrawal                       CAD          -          -     (200.00)       -
        XM LIVE   3 CELT   CELT     40693 11/1/2012 REST    commission withdrawal                       CAD          -          -      200.00        -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     40783 11/1/2012 BCEL    Lawler & Associates ck#779                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40784 11/1/2012 REST    fedex to lawler                             USD                   50.00       -          -
        XM LIVE   3 CELT   CELT     40785 11/1/2012 REST    deliver stock                               USD                  800.00       -          -
        XM LIVE   3 CELT   CELT     40786 11/1/2012 BCEL    Island ck#780                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40836 11/2/2012 REST    deliver stock                               USD                  800.00       -          -
        XM LIVE   3 CELT   CELT     40837 11/2/2012 BCEL    Island ck#781                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40839 11/2/2012 REST    fedex#793991462597 to CH re: GBTR           USD                   50.00       -          -
        XM LIVE   3 CELT   CELT     40849 11/2/2012 REST    receive stock                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40883 11/5/2012 REST    spa                                         USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40884 11/5/2012 REST    deliver stock                               USD                1,600.00       -          -
        XM LIVE   3 CELT   CELT     40885 11/5/2012 BCEL    Securities Transfer ck#782                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40889 11/5/2012 REST    deliver stock                               USD                  900.00       -          -
        XM LIVE   3 CELT   CELT     40890 11/5/2012 BCEL    Holladay ck#783                             USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40895 11/5/2012 REST    deliver stock                               USD                  900.00       -          -
        XM LIVE   3 CELT   CELT     40896 11/5/2012 BCEL    Securities Transfer ck#784                  USD                  100.00       -          -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     40925 11/6/2012 REST    deliver stock                               USD                  900.00       -          -
        XM LIVE   3 CELT   CELT     40926 11/6/2012 BCEL    Securities Transfer ck#785                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40929 11/6/2012 REST    deliver stock                               USD                  800.00       -          -
        XM LIVE   3 CELT   CELT     40930 11/6/2012 BCEL    Holladay ck#786                             USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     40977 11/7/2012 REST    receive stock                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41000 11/8/2012 REST    deliver stock                               USD                1,000.00       -          -
        XM LIVE   3 CELT   CELT     41001 11/8/2012 BCEL    Holladay ck#787                             USD                  100.00       -          -




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        XM LIVE   3 CELT   CELT     41043 11/9/2012 REST    deliver stock                               USD                1,000.00       -          -
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        XM LIVE   3 CELT   CELT     41045 11/9/2012 BCEL    Holladay ck#788                             USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41234 11/15/2012 BCEL   Island ck#790 **VOID**                      USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41233 11/15/2012 REST   deliver stock                               USD                  200.00       -          -
        XM LIVE   3 CELT   CELT     41208 11/15/2012 REST   SPA\s X 2                                   USD                  200.00       -          -
        XM LIVE   3 CELT   CELT     41228 11/15/2012 REST   deliver stock                               USD                  700.00       -          -
        XM LIVE   3 CELT   CELT     41229 11/15/2012 BCEL   Securities Transfer ck#789                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41236 11/15/2012 REST   deliver stock                               USD                1,100.00       -          -
        XM LIVE   3 CELT   CELT     41239 11/15/2012 BCEL   Holladay ck#791                             USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41267 11/16/2012 REST   deliver stock                               USD                1,300.00       -          -
        XM LIVE   3 CELT   CELT     41269 11/16/2012 BCEL   Holladay ck#792                             USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41271 11/16/2012 REST   deliver stock                               USD                  300.00       -          -
        XM LIVE   3 CELT   CELT     41272 11/16/2012 BCEL   Securities Transfer ck#793                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41281 11/16/2012 REST   receive stock                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41331 11/19/2012 REST   deliver stock                               USD                  400.00       -          -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     41332 11/19/2012 BCEL   Securities Transfer ck#794                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41398 11/20/2012 BCEL   Action ck#795                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41415 11/20/2012 REST   receive stock                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41458 11/21/2012 REST   receive stock                               USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41475 11/21/2012 BCEL   Securities Transfer ck#796                  USD                  100.00       -          -
        XM LIVE   3 CELT   CELT     41474 11/21/2012 REST   deliver stock                               USD                  300.00       -          -
        XM LIVE   3 CELT   CELT     41499 11/21/2012 REST   receive stock                               USD                  100.00       -          -



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        XM LIVE   3 CELT   CELT     41544 11/22/2012 REST   spa x 3                                              USD                     300.00           -          -
        XM LIVE   3 CELT   CELT     41543 11/22/2012 REST   Directors fees                                       USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41545 11/22/2012 REST   Directors fees                                       USD                     100.00           -          -
                                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     41600 11/26/2012 REST   spa                                                  USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41607 11/26/2012 REST   deliver stock                                        USD                     800.00           -          -
        XM LIVE   3 CELT   CELT     41608 11/26/2012 BCEL   Island ck#797                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41647 11/27/2012 BCEL   Sadler Gibb CPA ck #409 [Lingas]                     USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41667 11/27/2012 REST   spa                                                  USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41708 11/28/2012 REST   receive stock                                        CAD                        -          100.00        -
        XM LIVE   3 CELT   CELT     41842 11/30/2012 BCEL   commission withdrawal                                USD          -       (2,300.00)          -          -
        XM LIVE   3 CELT   CELT     41842 11/30/2012 BCEL   commission withdrawal                                USD          -        2,300.00           -          -
        XM LIVE   3 CELT   CELT     41843 11/30/2012 BCEL   commission withdrawal                                CAD          -             -         (100.00)       -
        XM LIVE   3 CELT   CELT     41843 11/30/2012 BCEL   commission withdrawal                                CAD          -             -          100.00        -
        XM LIVE   3 CELT   CELT     41927 11/30/2012 REST   commission withdrawal                                USD          -      (17,150.00)          -          -
        XM LIVE   3 CELT   CELT     41927 11/30/2012 REST   commission withdrawal                                USD          -       17,150.00           -          -
        XM LIVE   3 CELT   CELT     41928 11/30/2012 REST   commission withdrawal                                CAD          -             -         (250.00)       -
        XM LIVE   3 CELT   CELT     41928 11/30/2012 REST   commission withdrawal                                CAD          -             -          250.00        -
        XM LIVE   3 CELT   CELT     41781 11/30/2012 REST   deliver stock                                        USD                     300.00           -          -
                                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     41782 11/30/2012 REST   deliver stock                                        USD                     200.00           -          -
        XM LIVE   3 CELT   CELT     41784 11/30/2012 BCEL   Holladay ck#798                                      USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41786 11/30/2012 BCEL   Action ck#799                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     41806 11/30/2012 CASH   debit                                                CAD   (10,000.00)          -      (10,000.00)       -
        XM LIVE   3 CELT   CELT     41829 11/30/2012 DGMI   forex                                                USD   (10,181.45)   (10,283.26)          -          -
        XM LIVE   3 CELT   CELT     41829 11/30/2012 DGMI   forex                                                CAD    10,000.00           -       10,000.00        -
        XM LIVE   3 CELT   CELT     41977 11/30/2012 WORK   interest payment                                     USD          -           54.11           -          -




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        XM LIVE   3 CELT   CELT     41978 11/30/2012 WORK   interest payment                                     CAD          -             -            0.01        -
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        XM LIVE   3 CELT   CELT     42275 12/4/2012 REST    redelivery to TA Fedex #794216505838                 USD                      50.00           -          -
        XM LIVE   3 CELT   CELT     42276 12/4/2012 REST    deliver stock                                        USD                     800.00           -          -
        XM LIVE   3 CELT   CELT     42277 12/4/2012 BCEL    Action ck#800                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42384 12/6/2012 REST    reissuance of certificates and fedex# 794236392009   USD                     200.00           -          -
        XM LIVE   3 CELT   CELT     42385 12/6/2012 BCEL    Action ck#821                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42387 12/6/2012 BCEL    Empire ck#822                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42407 12/6/2012 REST    receive stock                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42386 12/6/2012 REST    deliver stock                                        USD                   1,100.00           -          -
        XM LIVE   3 CELT   CELT     42370 12/6/2012 REST    receive stock                                        CAD                        -          100.00        -
        XM LIVE   3 CELT   CELT     42442 12/7/2012 BCEL    Empire ck#823                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42441 12/7/2012 REST    deliver stock                                        USD                   1,000.00           -          -
        XM LIVE   3 CELT   CELT     42444 12/7/2012 REST    Directors fees fedex #794249782991                   USD                     850.00           -          -
        XM LIVE   3 CELT   CELT     58349 12/9/2012 REST    warrants expired                                     CAD                        -          100.00        -
        XM LIVE   3 CELT   CELT     42496 12/10/2012 BCEL   Empire ck#824                                        USD                     100.00           -          -
                                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     42495 12/10/2012 REST   deliver stock                                        USD                   1,100.00           -          -
        XM LIVE   3 CELT   CELT     42551 12/11/2012 REST   deliver stock                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42553 12/11/2012 REST   deliver stock                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42548 12/11/2012 BCEL   Colleen Scammell ck #110                             CAD                        -          100.00        -
        XM LIVE   3 CELT   CELT     42560 12/11/2012 BCEL   Computershare ck #111                                CAD                        -          100.00        -
        XM LIVE   3 CELT   CELT     42577 12/11/2012 REST   receive stock                                        USD                     100.00           -          -
        XM LIVE   3 CELT   CELT     42608 12/12/2012 BCEL   Island Stock ck #801                                 USD                     101.00           -          -



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        XM LIVE   3 CELT   CELT     42717 12/13/2012 REST   receive stock                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42696 12/14/2012 REST   deliver stock                              USD                1,100.00        -          -
        XM LIVE   3 CELT   CELT     42697 12/14/2012 BCEL   Empire ck#825                              USD                  100.00        -          -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     42699 12/14/2012 REST   deliver stock                              USD                  800.00        -          -
        XM LIVE   3 CELT   CELT     42700 12/14/2012 BCEL   Quicksilver ck#826                         USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42702 12/14/2012 REST   deliver stock                              USD                1,100.00        -          -
        XM LIVE   3 CELT   CELT     42703 12/14/2012 BCEL   Securities Transfer Corp.                  USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42749 12/17/2012 REST   deliver stock                              USD                  300.00        -          -
        XM LIVE   3 CELT   CELT     42718 12/17/2012 REST   deliver stock                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42743 12/17/2012 REST   receive stock                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42744 12/17/2012 REST   deliver stock                              CAD                     -       100.00        -
        XM LIVE   3 CELT   CELT     42745 12/17/2012 REST   deliver stock                              USD                  200.00        -          -
        XM LIVE   3 CELT   CELT     42747 12/17/2012 BCEL   Quicksilver ck#828                         USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42750 12/17/2012 BCEL   NATCO ck#829                               USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42754 12/17/2012 BCEL   Empire ck#830                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42753 12/17/2012 REST   deliver stock                              USD                1,100.00        -          -
        XM LIVE   3 CELT   CELT     42761 12/17/2012 BCEL   IncNow ck #410                             USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42810 12/18/2012 REST   Directors fees                             USD                  200.00        -          -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     42811 12/18/2012 REST   deliver stock                              USD                  700.00        -          -
        XM LIVE   3 CELT   CELT     42812 12/18/2012 BCEL   Empire ck#831                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42814 12/18/2012 REST   deliver stock                              USD                  800.00        -          -
        XM LIVE   3 CELT   CELT     42815 12/18/2012 BCEL   Holladay ck#832                            USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42855 12/19/2012 BCEL   Glendale Securities ck#804                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42918 12/20/2012 REST   deliver stock                              USD                  800.00        -          -
        XM LIVE   3 CELT   CELT     42919 12/20/2012 BCEL   Quicksilver ck#833                         USD                  100.00        -          -




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        XM LIVE   3 CELT   CELT     42926 12/20/2012 BCEL   Island ck#834                              USD                  100.00        -          -
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        XM LIVE   3 CELT   CELT     42927 12/20/2012 REST   fedex #794369245862                        USD                   50.00        -          -
        XM LIVE   3 CELT   CELT     42930 12/20/2012 BCEL   Holladay ck#836                            USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42931 12/20/2012 REST   deliver stock                              USD                  400.00        -          -
        XM LIVE   3 CELT   CELT     42932 12/20/2012 BCEL   Holladay ck#836                            USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     42945 12/21/2012 REST   deliver stock                              USD                  500.00        -          -
        XM LIVE   3 CELT   CELT     42946 12/21/2012 BCEL   Holladay ck#837                            USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44045 12/22/2012 REST   receive stock                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44270 12/25/2012 REST   receive stock                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     43070 12/29/2012 REST   internal transfer Floyd Cochrane           USD                     -          -          -
        XM LIVE   3 CELT   CELT     43093 12/31/2012 BCEL   commission withdrawal                      USD          -    (2,101.00)       -          -
        XM LIVE   3 CELT   CELT     43093 12/31/2012 BCEL   commission withdrawal                      USD          -     2,101.00        -          -
        XM LIVE   3 CELT   CELT     43094 12/31/2012 BCEL   commission withdrawal                      CAD          -          -      (200.00)       -
        XM LIVE   3 CELT   CELT     43094 12/31/2012 BCEL   commission withdrawal                      CAD          -          -       200.00        -
        XM LIVE   3 CELT   CELT     43170 12/31/2012 REST   commission withdrawal                      USD          -   (11,500.00)       -          -
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        XM LIVE   3 CELT   CELT     43170 12/31/2012 REST   commission withdrawal                      USD          -    11,500.00        -          -
        XM LIVE   3 CELT   CELT     43171 12/31/2012 REST   commission withdrawal                      CAD          -          -      (300.00)       -
        XM LIVE   3 CELT   CELT     43171 12/31/2012 REST   commission withdrawal                      CAD          -          -       300.00        -
        XM LIVE   3 CELT   CELT     44272 12/31/2012 REST   deliver stock                              USD                  400.00        -          -
        XM LIVE   3 CELT   CELT     45356 12/31/2012 REST   deliver stock                              USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     43350 12/31/2012 WORK   interest payment                           CAD          -          -         0.31        -
        XM LIVE   3 CELT   CELT     43594   1/2/2013 REST   receive stock                              USD                  100.00        -          -



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        XM LIVE     3 CELT   CELT     43596    1/2/2013 REST   pa + fedex #794425473243                     USD                       150.00          -          -
        XM LIVE     3 CELT   CELT     43599    1/2/2013 REST   deliver stock                                USD                       500.00          -          -
        XM LIVE     3 CELT   CELT     43600    1/2/2013 BCEL   Holladay ck#838                              USD                       100.00          -          -
                                                                                                                                                                          Case: 24-1770




        XM LIVE     3 CELT   CELT     43602    1/2/2013 REST   deliver stock                                USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     43603    1/2/2013 BCEL   Action ck#839                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43682    1/3/2013 REST   deliver stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43683    1/3/2013 REST   deliver stock                                USD                       800.00          -          -
        XM LIVE     3 CELT   CELT     43684    1/3/2013 BCEL   Holladay ck#840                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43686    1/3/2013 REST   deliver stock                                USD                       900.00          -          -
        XM LIVE     3 CELT   CELT     43687    1/3/2013 BCEL   Empire ck#361                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43689    1/3/2013 REST   deliver stock                                USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     43690    1/3/2013 BCEL   Holladay ck#362                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43716    1/4/2013 REST   deliver stock                                USD                       600.00          -          -
        XM LIVE     3 CELT   CELT     43717    1/4/2013 BCEL   Holladay ck#863                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43794    1/7/2013 REST   deliver stock 6 stock powers                 USD                       600.00          -          -
        XM LIVE     3 CELT   CELT     43847    1/7/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43838    1/8/2013 BCEL   Holladay ck#865 Braeden                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     44274    1/8/2013 REST   receive stock                                USD                       100.00          -          -
                                                                                                                                                                          Document: 00118249068




        XM LIVE     3 CELT   CELT     43833    1/8/2013 REST   deliver stock                                USD                       600.00          -          -
        XM LIVE     3 CELT   CELT     43835    1/8/2013 BCEL   Action ck#864                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43840    1/8/2013 REST   deliver stock                                USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     43841    1/8/2013 BCEL   Holladay ck#865                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43843    1/8/2013 REST   deliver stock                                USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     43844    1/8/2013 BCEL   Holladay ck#865                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43845    1/8/2013 BCEL   0887212 BC ck #115                           CAD                          -         100.00        -




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        XM LIVE     3 CELT   CELT     43848    1/8/2013 REST   deliver stock                                USD                       600.00          -          -
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        XM LIVE     3 CELT   CELT     43849    1/8/2013 BCEL   Interwest ck#866                             USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43855    1/8/2013 REST   receive stock                                CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     43858    1/8/2013 REST   Wrts @0.10 \til Nov 26 2013                  CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     43939   1/10/2013 BCEL   Computershare ck #116                        CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     43942   1/10/2013 REST   signatures x 37                              USD                     3,700.00          -          -
        XM LIVE     3 CELT   CELT     43943   1/10/2013 REST   deliver stock: Fedex #794487308428           USD                        50.00          -          -
        XM LIVE     3 CELT   CELT     43955   1/10/2013 REST   deliver stock                                USD                     1,000.00          -          -
        XM LIVE     3 CELT   CELT     43956   1/10/2013 REST   LLC certification requested by TA            USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43957   1/10/2013 BCEL   Holladay ck#867                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43959   1/10/2013 REST   deliver stock                                USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     43960   1/10/2013 BCEL   Holladay ck#867                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43962   1/10/2013 REST   deliver stock                                USD                       600.00          -          -
        XM LIVE     3 CELT   CELT     43963   1/10/2013 BCEL   Action ck#868                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     43974   1/11/2013 REST   deliver stock                                USD                       100.00          -          -
                                                                                                                                                                          Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     43975   1/11/2013 REST   deliver stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     44148   1/11/2013 DGMI   forex                                        USD      (6,281.52)    (6,344.34)         -          -
        XM LIVE     3 CELT   CELT     44148   1/11/2013 DGMI   forex                                        CAD       6,149.68           -       6,149.68        -
        XM LIVE     3 CELT   CELT     44008   1/11/2013 WORK   internal transfer                            USD            -      (80,000.00)         -          -
        XM LIVE   219 CEL1   CELT     44008   1/11/2013 WORK   internal transfer                            USD            -       80,000.00          -          -
        XM LIVE     3 CELT   CELT     43938   1/11/2013 CASH   debit                                        CAD      (7,000.00)          -      (7,000.00)       -
        XM LIVE     3 CELT   CELT     43998   1/11/2013 REST   deliver stock                                CAD                          -         200.00        -



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        XM LIVE   3 CELT   CELT     44021   1/14/2013 BCEL   Securites Transfer draft #412                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44086   1/14/2013 BCEL   Island ck#869                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44085   1/14/2013 REST   deliver stock                                 USD                 400.00      -         -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     44039   1/14/2013 BCEL   Donald Gurney Law ck #117 [Chalice]           CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     44064   1/14/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44111   1/15/2013 REST   deliver stock                                 USD               1,100.00      -         -
        XM LIVE   3 CELT   CELT     44104   1/15/2013 REST   SPA                                           USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44105   1/15/2013 REST   deliver stock                                 USD                 400.00      -         -
        XM LIVE   3 CELT   CELT     44106   1/15/2013 BCEL   Action ck#870                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44108   1/15/2013 REST   deliver stock                                 USD                 600.00      -         -
        XM LIVE   3 CELT   CELT     44109   1/15/2013 BCEL   Action ck#870                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44113   1/15/2013 BCEL   Securities Transfer ck#871                    USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44128   1/15/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44143   1/16/2013 REST   deliver stock                                 USD                 300.00      -         -
        XM LIVE   3 CELT   CELT     44144   1/16/2013 BCEL   Action ck#872                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44161   1/16/2013 REST   SPA                                           USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44171   1/16/2013 REST   internal transfer                             USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44173   1/16/2013 REST   receive stock                                 USD                 100.00      -         -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     46067   1/16/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     46066   1/16/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44172   1/16/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44221   1/17/2013 REST   deliver stock                                 USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     44222   1/17/2013 REST   deliver stock                                 USD                 600.00      -         -
        XM LIVE   3 CELT   CELT     44223   1/17/2013 BCEL   Action ck#911                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44224   1/17/2013 BCEL   Action ck#911                                 USD                 100.00      -         -




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        XM LIVE   3 CELT   CELT     44253   1/18/2013 REST   internal transfer                             USD                 100.00      -         -
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        XM LIVE   3 CELT   CELT     44267   1/18/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44269   1/18/2013 REST   deliver stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44275   1/18/2013 REST   SPA                                           USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44294   1/18/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44295   1/18/2013 REST   receive stock                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44354   1/21/2013 REST   deliver stock                                 USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     44355   1/21/2013 BCEL   Holladay ck#912                               USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44358   1/21/2013 REST   SPA x 2                                       USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     44359   1/21/2013 BCEL   Action ck#913                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44357   1/21/2013 REST   deliver stock                                 USD                 600.00      -         -
        XM LIVE   3 CELT   CELT     44379   1/22/2013 BCEL   Empire ck#914                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44382   1/22/2013 REST   deliver stock                                 USD                 900.00      -         -
        XM LIVE   3 CELT   CELT     44383   1/22/2013 BCEL   Empire ck#914                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     44388   1/22/2013 REST   deliver stock                                 USD                 200.00      -         -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     44389   1/22/2013 BCEL   Quicksilver ck#915                            USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     46064   1/22/2013 BCEL   Empire ck#914                                 USD                 100.00      -         -
        XM LIVE   3 CELT   CELT     46065   1/22/2013 REST   deliver stock                                 USD                 700.00      -         -
        XM LIVE   3 CELT   CELT     44378   1/22/2013 REST   deliver stock                                 USD                 200.00      -         -
        XM LIVE   3 CELT   CELT     44461   1/23/2013 REST   receive stock                                 CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     44462   1/23/2013 REST   receive stock                                 CAD                    -     100.00       -
        XM LIVE   3 CELT   CELT     44473   1/24/2013 REST   receive stock                                 USD                 100.00      -         -



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        XM LIVE   3 CELT   CELT     44519   1/25/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44520   1/25/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44529   1/25/2013 REST   deliver stock                                 USD                  100.00        -          -
                                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     44633   1/25/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44547   1/25/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44597   1/28/2013 REST   deliver stock                                 USD                  400.00        -          -
        XM LIVE   3 CELT   CELT     44598   1/28/2013 BCEL   Scott Lawler Attorney at Law ck#916           USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44579   1/28/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44599   1/28/2013 BCEL   Island ck#917 ***VOID***                      USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     45142   1/29/2013 REST   SPA                                           USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44631   1/29/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44605   1/29/2013 BCEL   Part Time CFO ck #118                         CAD                     -       100.00        -
        XM LIVE   3 CELT   CELT     44618   1/29/2013 REST   deliver stock                                 USD                  600.00        -          -
        XM LIVE   3 CELT   CELT     44619   1/29/2013 BCEL   Columbia ck#918                               USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44621   1/29/2013 REST   deliver stock                                 USD                  200.00        -          -
        XM LIVE   3 CELT   CELT     44622   1/29/2013 BCEL   Holladay ck#919                               USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44624   1/29/2013 REST   PA + Fedex #794629636999                      USD                  200.00        -          -
        XM LIVE   3 CELT   CELT     44625   1/29/2013 BCEL   Holladay ck#919                               USD                  100.00        -          -
                                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     46061   1/29/2013 BCEL   Empire ck#920                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     46062   1/29/2013 REST   deliver stock                                 USD                  700.00        -          -
        XM LIVE   3 CELT   CELT     45141   1/29/2013 REST   Directors fees                                USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44681   1/30/2013 REST   deliver stock                                 USD                  600.00        -          -
        XM LIVE   3 CELT   CELT     44682   1/30/2013 BCEL   Columbia ck#921                               USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44684   1/30/2013 REST   deliver stock                                 USD                  200.00        -          -
        XM LIVE   3 CELT   CELT     44685   1/30/2013 BCEL   First American ck#922                         USD                  100.00        -          -




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        XM LIVE   3 CELT   CELT     44687   1/30/2013 REST   deliver stock                                 USD                  400.00        -          -
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        XM LIVE   3 CELT   CELT     44688   1/30/2013 BCEL   Holladay ck#923                               USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44690   1/30/2013 REST   SPA x 2 + Fedex #794642079227                 USD                  300.00        -          -
        XM LIVE   3 CELT   CELT     44691   1/30/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44650   1/30/2013 REST   receive stock                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44756   1/31/2013 BCEL   commission withdrawal                         USD          -    (4,100.00)       -          -
        XM LIVE   3 CELT   CELT     44756   1/31/2013 BCEL   commission withdrawal                         USD          -     4,100.00        -          -
        XM LIVE   3 CELT   CELT     44757   1/31/2013 BCEL   commission withdrawal                         CAD          -          -      (500.00)       -
        XM LIVE   3 CELT   CELT     44757   1/31/2013 BCEL   commission withdrawal                         CAD          -          -       500.00        -
        XM LIVE   3 CELT   CELT     44840   1/31/2013 REST   commission withdrawal                         USD          -   (27,800.00)       -          -
        XM LIVE   3 CELT   CELT     44840   1/31/2013 REST   commission withdrawal                         USD          -    27,800.00        -          -
        XM LIVE   3 CELT   CELT     44841   1/31/2013 REST   commission withdrawal                         CAD          -          -      (600.00)       -
        XM LIVE   3 CELT   CELT     44841   1/31/2013 REST   commission withdrawal                         CAD          -          -       600.00        -
        XM LIVE   3 CELT   CELT     44728   1/31/2013 REST   deliver stock                                 USD                  300.00        -          -
        XM LIVE   3 CELT   CELT     44729   1/31/2013 BCEL   First American ck#924                         USD                  100.00        -          -
                                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     44732   1/31/2013 REST   SPA x 3 + Fedex #794651591487                 USD                  400.00        -          -
        XM LIVE   3 CELT   CELT     44734   1/31/2013 BCEL   Holladay ck#925                               USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     44736   1/31/2013 REST   deliver stock                                 USD                1,400.00        -          -
        XM LIVE   3 CELT   CELT     44737   1/31/2013 BCEL   Island ck#927                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     46059   1/31/2013 BCEL   Empire ck#926                                 USD                  100.00        -          -
        XM LIVE   3 CELT   CELT     46060   1/31/2013 REST   deliver stock                                 USD                  700.00        -          -
        XM LIVE   3 CELT   CELT     44863   1/31/2013 WORK   internal transfer                             USD          -   (20,000.00)       -          -



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        XM LIVE   219 CEL1   CELT     44863   1/31/2013 WORK   internal transfer                            USD             -      20,000.00           -          -
        XM LIVE     3 CELT   CELT     44907   1/31/2013 WORK   interest payment                             USD             -          25.74           -          -
        XM LIVE     3 CELT   CELT     44908   1/31/2013 WORK   interest payment                             CAD             -            -            0.26        -
                                                                                                                                                                           Case: 24-1770




        XM LIVE   219 CEL1   CELT     44906   1/31/2013 WORK   interest payment                             USD             -           8.22           -          -
        XM LIVE     3 CELT   CELT     45157    2/1/2013 REST   medallion PA + Fedex #800720581721           USD                       250.00           -          -
        XM LIVE     3 CELT   CELT     45162    2/1/2013 REST   deliver stock                                USD                       800.00           -          -
        XM LIVE     3 CELT   CELT     45163    2/1/2013 BCEL   Island ck#929                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45165    2/1/2013 REST   PA + Fedex #794657856643                     USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     45166    2/1/2013 BCEL   Holladay ck#930                              USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45185    2/1/2013 WORK   forex                                        USD             -      (9,152.96)          -          -
        XM LIVE     3 CELT   CELT     45185    2/1/2013 WORK   forex                                        CAD             -            -        8,899.74        -
        XM LIVE     3 CELT   CELT     44724    2/1/2013 CASH   debit                                        CAD      (10,000.00)         -      (10,000.00)       -
        XM LIVE     3 CELT   CELT     45122    2/1/2013 REST   deliver stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45124    2/1/2013 REST   internal transfer                            USD                          -             -          -
        XM LIVE     3 CELT   CELT     46055    2/1/2013 BCEL   Empire ck#931                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     46057    2/1/2013 REST   deliver stock                                USD                       900.00           -          -
        XM LIVE     3 CELT   CELT     45273    2/3/2013 REST   SPA                                          USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45171    2/4/2013 REST   receive stock                                USD                       100.00           -          -
                                                                                                                                                                           Document: 00118249068




        XM LIVE     3 CELT   CELT     45172    2/4/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45281    2/5/2013 REST   deliver stock                                USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     45282    2/5/2013 BCEL   Securities Transfer ck#934                   USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     46053    2/5/2013 BCEL   Empire ck#935                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     46054    2/5/2013 REST   deliver stock                                USD                       700.00           -          -
        XM LIVE     3 CELT   CELT     45350    2/6/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45355    2/6/2013 REST   receive stock                                USD                       100.00           -          -




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        XM LIVE     3 CELT   CELT     45363    2/6/2013 REST   deliver stock                                USD                       300.00           -          -
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        XM LIVE     3 CELT   CELT     45364    2/6/2013 BCEL   Pacific Stock Transfer ck#937                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     46049    2/6/2013 REST   deliver stock                                USD                       800.00           -          -
        XM LIVE     3 CELT   CELT     46050    2/6/2013 BCEL   Empire ck#936                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     46051    2/6/2013 REST   deliver stock                                USD                       500.00           -          -
        XM LIVE     3 CELT   CELT     45422    2/7/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45416    2/7/2013 BCEL   Computershare ck #119                        CAD                          -          100.00        -
        XM LIVE     3 CELT   CELT     45514   2/12/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45523   2/12/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45532   2/12/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45535   2/12/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45590   2/12/2013 REST   deliver stock                                USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     45591   2/12/2013 BCEL   Pacific ck#940                               USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45594   2/12/2013 REST   deliver stock                                USD                       400.00           -          -
        XM LIVE     3 CELT   CELT     45595   2/12/2013 BCEL   Holladay ck#941                              USD                       100.00           -          -
                                                                                                                                                                           Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     45597   2/12/2013 REST   deliver stock                                USD                       600.00           -          -
        XM LIVE     3 CELT   CELT     45598   2/12/2013 BCEL   Signature ck#942                             USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45600   2/12/2013 REST   PA + Fedex#794738119360                      USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     45602   2/12/2013 BCEL   Signature ck#943                             USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     46045   2/12/2013 BCEL   Empire ck#938                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45604   2/13/2013 REST   receive stock                                USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     45608   2/13/2013 REST   deliver stock                                USD                       100.00           -          -



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        XM LIVE   3 CELT   CELT     45609   2/13/2013 REST   Fedex#794747464550                   USD                  25.00   -           -
        XM LIVE   3 CELT   CELT     45610   2/13/2013 REST   Fedex#794747464550                   USD                  25.00   -           -
        XM LIVE   3 CELT   CELT     45611   2/13/2013 BCEL   Island ck#944                        USD                 100.00   -           -
                                                                                                                                                    Case: 24-1770




        XM LIVE   3 CELT   CELT     45612   2/13/2013 BCEL   Island ck#944                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45613   2/13/2013 REST   deliver stock                        USD                 600.00   -           -
        XM LIVE   3 CELT   CELT     45614   2/13/2013 BCEL   Signature ck#945                     USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45622   2/13/2013 REST   receive stock                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45674   2/14/2013 REST   deliver stock                        USD                 500.00   -           -
        XM LIVE   3 CELT   CELT     45665   2/14/2013 REST   deliver stock                        USD                 600.00   -           -
        XM LIVE   3 CELT   CELT     45666   2/14/2013 BCEL   West Coast ck#946                    USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45668   2/14/2013 REST   deliver stock                        USD                 400.00   -           -
        XM LIVE   3 CELT   CELT     45669   2/14/2013 BCEL   Securities Transfer ck#947           USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45671   2/14/2013 REST   deliver stock                        USD                 400.00   -           -
        XM LIVE   3 CELT   CELT     45672   2/14/2013 BCEL   Securities Transfer ck#947           USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45675   2/14/2013 BCEL   Holladay ck#948                      USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45677   2/14/2013 REST   deliver stock                        USD                 400.00   -           -
        XM LIVE   3 CELT   CELT     45678   2/14/2013 BCEL   Pacific ck#949                       USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45700   2/15/2013 REST   receive stock                        USD                 100.00   -           -
                                                                                                                                                    Document: 00118249068




        XM LIVE   3 CELT   CELT     45712   2/15/2013 REST   deliver stock                        USD                 900.00   -           -
        XM LIVE   3 CELT   CELT     45713   2/15/2013 BCEL   West Coast ck#950                    USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45716   2/15/2013 BCEL   Pacific ck#951                       USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45718   2/15/2013 REST   deliver stock                        USD                 500.00   -           -
        XM LIVE   3 CELT   CELT     45719   2/15/2013 BCEL   Securities Transfer ck#952           USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45715   2/15/2013 REST   deliver stock                        USD               1,200.00   -           -
        XM LIVE   3 CELT   CELT     45743   2/18/2013 REST   deliver stock                        USD                 200.00   -           -




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        XM LIVE   3 CELT   CELT     45744   2/18/2013 BCEL   Pacific ck#953                       USD                 100.00   -           -
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        XM LIVE   3 CELT   CELT     45746   2/18/2013 REST   deliver stock                        USD                 300.00   -           -
        XM LIVE   3 CELT   CELT     45747   2/18/2013 REST   deliver stock                        USD                 600.00   -           -
        XM LIVE   3 CELT   CELT     45748   2/18/2013 BCEL   Securities Transfer ck#954           USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45749   2/18/2013 BCEL   West Coast ck#955                    USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45767   2/19/2013 REST   Directors fees                       USD                 200.00   -           -
        XM LIVE   3 CELT   CELT     45818   2/20/2013 REST   receive stock                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45850   2/20/2013 REST   receive stock                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45851   2/21/2013 REST   deliver stock                        USD                 400.00   -           -
        XM LIVE   3 CELT   CELT     45852   2/21/2013 BCEL   West Coast ck#956                    USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45854   2/21/2013 REST   deliver stock                        USD                 300.00   -           -
        XM LIVE   3 CELT   CELT     45855   2/21/2013 BCEL   Island ck#957                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45857   2/21/2013 REST   deliver stock                        USD                 300.00   -           -
        XM LIVE   3 CELT   CELT     45858   2/21/2013 BCEL   Securities Transfer ck#958           USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45860   2/21/2013 REST   deliver stock                        USD                 300.00   -           -
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        XM LIVE   3 CELT   CELT     45861   2/21/2013 BCEL   Pacific ck#959                       USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45908   2/22/2013 REST   deliver stock                        USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45909   2/22/2013 REST   deliver stock                        USD                 300.00   -           -
        XM LIVE   3 CELT   CELT     45910   2/22/2013 BCEL   West Coast ck#960                    USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45912   2/22/2013 REST   deliver stock                        USD                 800.00   -           -
        XM LIVE   3 CELT   CELT     45913   2/22/2013 BCEL   Pacific ck#961                       USD                 100.00   -           -
        XM LIVE   3 CELT   CELT     45915   2/22/2013 REST   deliver stock                        USD                 200.00   -           -



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        XM LIVE     3 CELT   CELT     45917   2/22/2013 BCEL   Securities Transfer ck#962                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45919   2/22/2013 BCEL   Scott Lawler Attorney at Law ck#963            USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45920   2/22/2013 REST   fedex #794818682816                            USD                    50.00        -          -
                                                                                                                                                                      Case: 24-1770




        XM LIVE     3 CELT   CELT     46037   2/22/2013 REST   Directors fees NORX                            USD                   600.00        -          -
        XM LIVE     3 CELT   CELT     45923   2/22/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45980   2/25/2013 BCEL   ClearTrust ck#966 **VOID**                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45972   2/25/2013 REST   fedex#794832405297                             USD                    50.00        -          -
        XM LIVE     3 CELT   CELT     45973   2/25/2013 REST   deliver stock                                  USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     45974   2/25/2013 BCEL   West Coast ck#964                              USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45976   2/25/2013 REST   deliver stock                                  USD                   400.00        -          -
        XM LIVE     3 CELT   CELT     45977   2/25/2013 BCEL   Securities Transfer ck#965                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45982   2/25/2013 REST   deliver stock                                  USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     45983   2/25/2013 BCEL   Pacific ck#967                                 USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45985   2/25/2013 BCEL   Scott Lawler Attorney at Law ck#968            USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     45979   2/25/2013 REST   deliver stock                                  USD                   200.00        -          -
        XM LIVE     3 CELT   CELT     46018   2/26/2013 REST   deliver stock                                  USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     46019   2/26/2013 BCEL   Action ck#969                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46021   2/26/2013 REST   deliver stock                                  USD                   300.00        -          -
                                                                                                                                                                      Document: 00118249068




        XM LIVE     3 CELT   CELT     46022   2/26/2013 BCEL   Island ck#970                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46024   2/26/2013 REST   directors fees PSON                            USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46029   2/26/2013 BCEL   Signature ck#971                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46030   2/26/2013 REST   deliver stock                                  USD                   400.00        -          -
        XM LIVE     3 CELT   CELT     46031   2/26/2013 BCEL   Island ck#972                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46028   2/26/2013 REST   deliver stock Baracuda                         USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     46026   2/26/2013 REST   deliver stock Baracuda                         USD                   600.00        -          -




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        XM LIVE     3 CELT   CELT     46086   2/27/2013 REST   receive stock                                  USD                   100.00        -          -
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        XM LIVE     3 CELT   CELT     46109   2/27/2013 REST   deliver stock                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46110   2/27/2013 BCEL   Island ck#973                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46284   2/27/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46181   2/28/2013 BCEL   commission withdrawal                          USD          -     (4,400.00)       -          -
        XM LIVE     3 CELT   CELT     46181   2/28/2013 BCEL   commission withdrawal                          USD          -      4,400.00        -          -
        XM LIVE     3 CELT   CELT     46182   2/28/2013 BCEL   commission withdrawal                          CAD          -           -      (100.00)       -
        XM LIVE     3 CELT   CELT     46182   2/28/2013 BCEL   commission withdrawal                          CAD          -           -       100.00        -
        XM LIVE     3 CELT   CELT     46321   2/28/2013 WORK   internal transfer                              USD          -    (20,000.00)       -          -
        XM LIVE   219 CEL1   CELT     46321   2/28/2013 WORK   internal transfer                              USD          -     20,000.00        -          -
        XM LIVE     3 CELT   CELT     46137   2/28/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46268   2/28/2013 REST   commission withdrawal                          USD          -    (22,000.00)       -          -
        XM LIVE     3 CELT   CELT     46268   2/28/2013 REST   commission withdrawal                          USD          -     19,400.00        -          -
        XM LIVE     3 CELT   CELT     46293   2/28/2013 REST   deliver stock                                  USD                   200.00        -          -
        XM LIVE     3 CELT   CELT     46294   2/28/2013 BCEL   Action ck#975                                  USD                   100.00        -          -
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        XM LIVE     3 CELT   CELT     46296   2/28/2013 REST   deliver stock                                  USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     46297   2/28/2013 REST   PA & Indemnity + Fedex #794865156096           USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     46298   2/28/2013 BCEL   Empire ck#976                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46299   2/28/2013 BCEL   Pacific ck#977                                 USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46302   2/28/2013 REST   deliver stock                                  USD                   200.00        -          -
        XM LIVE     3 CELT   CELT     46304   2/28/2013 BCEL   Island ck#978                                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     46346   2/28/2013 WORK   interest payment                               USD          -          4.37        -          -



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        XM LIVE   219 CEL1   CELT     46345   2/28/2013 WORK   interest payment                             USD             -         230.16          -          -
        XM LIVE     3 CELT   CELT     47076    3/1/2013 REST   deliver stock                                USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     47077    3/1/2013 BCEL   Island ck #974                               USD                       100.00          -          -
                                                                                                                                                                          Case: 24-1770




        XM LIVE     3 CELT   CELT     46589    3/1/2013 REST   deliver stock                                USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     46566    3/1/2013 CASH   debit                                        USD       (1,000.00)   (1,000.00)         -          -
        XM LIVE     3 CELT   CELT     46567    3/1/2013 CASH   debit                                        CAD       (4,500.00)         -      (4,500.00)       -
        XM LIVE     3 CELT   CELT     46582    3/1/2013 WORK   forex                                        USD             -      (4,356.86)         -          -
        XM LIVE     3 CELT   CELT     46582    3/1/2013 WORK   forex                                        CAD             -            -       4,400.00        -
        XM LIVE     3 CELT   CELT     46590    3/1/2013 BCEL   Action ck#981                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46646    3/4/2013 REST   deliver stock                                USD                     1,700.00          -          -
        XM LIVE     3 CELT   CELT     46647    3/4/2013 BCEL   Empire ck #980                               USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46670    3/5/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46683    3/5/2013 BCEL   Computershare ck #120                        CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     46803    3/7/2013 REST   deliver stock                                USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     46795    3/7/2013 REST   deliver stock                                USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     46785    3/7/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46796    3/7/2013 BCEL   Empire ck #983                               USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46797    3/7/2013 BCEL   Empire ck #982                               USD                       100.00          -          -
                                                                                                                                                                          Document: 00118249068




        XM LIVE     3 CELT   CELT     46793    3/7/2013 REST   deliver stock                                USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     46804    3/8/2013 BCEL   Action ck#984                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46871    3/8/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46859    3/8/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48325    3/8/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46929   3/11/2013 REST   deliver stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46798   3/11/2013 REST   receive stock                                USD                       100.00          -          -




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        XM LIVE     3 CELT   CELT     46799   3/11/2013 REST   receive stock                                USD                       100.00          -          -
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        XM LIVE     3 CELT   CELT     46980   3/12/2013 REST   deliver stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47007   3/13/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47008   3/13/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47011   3/13/2013 BCEL   Empire ck #979                               USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47012   3/13/2013 BCEL   Empire ck #985                               USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     46987   3/13/2013 REST   deliver stock                                USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     47010   3/13/2013 REST   deliver stock                                USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     47049   3/14/2013 REST   deliver stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47086   3/15/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47129   3/18/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47130   3/18/2013 REST   Medallion PA + Fedex #799307058275           USD                       250.00          -          -
        XM LIVE     3 CELT   CELT     47131   3/18/2013 BCEL   Action ck#991                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47132   3/18/2013 REST   deliver stock                                USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     47133   3/18/2013 BCEL   Action ck#992                                USD                       100.00          -          -
                                                                                                                                                                          Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     47135   3/18/2013 REST   deliver stock                                USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     47136   3/18/2013 BCEL   Empire ck#993                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47126   3/18/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47184   3/19/2013 REST   deliver stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47289   3/19/2013 REST   DAP instructions to BSI                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47261   3/21/2013 REST   receive stock                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     47275   3/21/2013 REST   deliver stock                                USD                     3,000.00          -          -



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        XM LIVE     3 CELT   CELT     47276   3/21/2013 REST   deliver stock                                     USD                   600.00    -           -
        XM LIVE     3 CELT   CELT     47277   3/21/2013 BCEL   Empire ck#994                                     USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47280   3/21/2013 REST   deliver stock                                     USD                   200.00    -           -
                                                                                                                                                                      Case: 24-1770




        XM LIVE     3 CELT   CELT     47281   3/21/2013 BCEL   Securities Transfer ck#995                        USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47283   3/21/2013 REST   deliver stock                                     USD                   300.00    -           -
        XM LIVE     3 CELT   CELT     47284   3/21/2013 BCEL   Island ck#996                                     USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47286   3/21/2013 REST   deliver stock                                     USD                   400.00    -           -
        XM LIVE     3 CELT   CELT     47287   3/21/2013 BCEL   West Coast ck#997                                 USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47456   3/22/2013 REST   receive stock                                     USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47350   3/25/2013 REST   deliver stock                                     USD                   600.00    -           -
        XM LIVE     3 CELT   CELT     47351   3/25/2013 BCEL   West Coast ck#998                                 USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47353   3/25/2013 REST   deliver stock                                     USD                   300.00    -           -
        XM LIVE     3 CELT   CELT     47355   3/25/2013 BCEL   Empire ck#999                                     USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47357   3/25/2013 REST   certificate re-register + fedex #799362756573     USD                   400.00    -           -
        XM LIVE     3 CELT   CELT     47358   3/25/2013 BCEL   Empire ck#1000                                    USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47361   3/25/2013 REST   deliver stock                                     USD                   200.00    -           -
        XM LIVE     3 CELT   CELT     47362   3/25/2013 BCEL   Pacific ck#1001                                   USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47395   3/26/2013 REST   receive stock                                     USD                   100.00    -           -
                                                                                                                                                                      Document: 00118249068




        XM LIVE     3 CELT   CELT     47414   3/26/2013 REST   deliver stock                                     USD                   200.00    -           -
        XM LIVE     3 CELT   CELT     47415   3/26/2013 BCEL   Signature ck#1002                                 USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47417   3/26/2013 REST   deliver stock                                     USD                   400.00    -           -
        XM LIVE     3 CELT   CELT     47419   3/26/2013 BCEL   Empire ck#1003                                    USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47422   3/26/2013 REST   deliver stock                                     USD                   800.00    -           -
        XM LIVE     3 CELT   CELT     47423   3/26/2013 BCEL   West Coast ck#1004                                USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47459   3/27/2013 REST   deliver stock                                     USD                   800.00    -           -




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        XM LIVE     3 CELT   CELT     47460   3/27/2013 BCEL   Island ck#1005                                    USD                   100.00    -           -
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        XM LIVE     3 CELT   CELT     47462   3/27/2013 REST   deliver stock                                     USD                   600.00    -           -
        XM LIVE     3 CELT   CELT     47463   3/27/2013 BCEL   Empire ck#1006                                    USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47466   3/27/2013 REST   deliver stock                                     USD                   600.00    -           -
        XM LIVE     3 CELT   CELT     47468   3/27/2013 BCEL   Quicksilver ck#1007                               USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47521   3/28/2013 REST   deliver stock                                     USD                   900.00    -           -
        XM LIVE     3 CELT   CELT     47522   3/28/2013 BCEL   Signature ck#1008                                 USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47524   3/28/2013 REST   deliver stock                                     USD                 1,000.00    -           -
        XM LIVE     3 CELT   CELT     47525   3/28/2013 BCEL   Empire ck#1009                                    USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47527   3/28/2013 REST   pa/indemnity/spa + fedex #799395727248            USD                   300.00    -           -
        XM LIVE     3 CELT   CELT     47528   3/28/2013 BCEL   Empire ck#1010                                    USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47530   3/28/2013 BCEL   Action ck#1011                                    USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47535   3/28/2013 REST   receive stock                                     USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47536   3/28/2013 REST   receive stock                                     USD                   100.00    -           -
        XM LIVE     3 CELT   CELT     47529   3/28/2013 REST   deliver stock                                     USD                   400.00    -           -
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        XM LIVE     3 CELT   CELT     47814   3/29/2013 WORK   interest payment                                  USD          -          2.61    -           -
        XM LIVE   219 CEL1   CELT     47813   3/29/2013 WORK   interest payment                                  USD          -        286.60    -           -
        XM LIVE     3 CELT   CELT     47559   3/30/2013 BCEL   commission withdrawal                             USD          -     (3,200.00)   -           -
        XM LIVE     3 CELT   CELT     47559   3/30/2013 BCEL   commission withdrawal                             USD          -      3,200.00    -           -
        XM LIVE     3 CELT   CELT     47641   3/30/2013 REST   commission withdrawal                             USD          -    (19,950.00)   -           -
        XM LIVE     3 CELT   CELT     47641   3/30/2013 REST   commission withdrawal                             USD          -     19,950.00    -           -
        XM LIVE     3 CELT   CELT     47667   3/30/2013 WORK   internal transfer                                 USD          -    (20,000.00)   -           -



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        XM LIVE   219 CEL1   CELT     47667   3/30/2013 WORK   internal transfer                               USD             -      20,000.00          -          -
        XM LIVE     3 CELT   CELT     48153    4/1/2013 BSIT   forex                                           USD       (4,978.59)   (5,028.38)         -          -
        XM LIVE     3 CELT   CELT     48153    4/1/2013 BSIT   forex                                           CAD        5,000.00          -       5,000.00        -
                                                                                                                                                                             Case: 24-1770




        XM LIVE     3 CELT   CELT     47489    4/1/2013 CASH   debit                                           CAD       (5,000.00)         -      (5,000.00)       -
        XM LIVE     3 CELT   CELT     48067    4/2/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48071    4/2/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48094    4/2/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48104    4/2/2013 REST   deliver stock                                   USD                       500.00          -          -
        XM LIVE     3 CELT   CELT     48105    4/2/2013 BCEL   Empire ck#112                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48107    4/2/2013 REST   deliver stock                                   USD                       800.00          -          -
        XM LIVE     3 CELT   CELT     48108    4/2/2013 BCEL   Empire ck#112                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48113    4/2/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48114    4/2/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48115    4/2/2013 REST   DAP & DTC instructions + SPA re: PSON           USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     48188    4/3/2013 REST   Directors fees PSON                             USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48169    4/3/2013 REST   deliver stock                                   USD                       800.00          -          -
        XM LIVE     3 CELT   CELT     48170    4/3/2013 BCEL   Signature ck#1013                               USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48174    4/3/2013 BCEL   Island ck#1014                                  USD                       100.00          -          -
                                                                                                                                                                             Document: 00118249068




        XM LIVE     3 CELT   CELT     48175    4/3/2013 REST   deliver stock                                   USD                       600.00          -          -
        XM LIVE     3 CELT   CELT     48176    4/3/2013 BCEL   Island ck#1014                                  USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48178    4/3/2013 REST   deliver stock                                   USD                       600.00          -          -
        XM LIVE     3 CELT   CELT     48179    4/3/2013 BCEL   Action ck#1015                                  USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48181    4/3/2013 REST   deliver stock                                   USD                     1,200.00          -          -
        XM LIVE     3 CELT   CELT     48182    4/3/2013 BCEL   Holladay ck#1016                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48184    4/3/2013 REST   deliver stock                                   USD                       300.00          -          -




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        XM LIVE     3 CELT   CELT     48185    4/3/2013 BCEL   Holladay ck#1016                                USD                       100.00          -          -
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        XM LIVE     3 CELT   CELT     48187    4/3/2013 BCEL   Holladay ck#1016                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48251    4/4/2013 REST   22c to April 26 2014                            CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     48250    4/4/2013 REST   receive stock                                   CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     48273    4/5/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48296    4/5/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48275    4/5/2013 BCEL   Holladay ck#1017                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48276    4/5/2013 BCEL   Holladay ck#1017                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48277    4/5/2013 REST   deliver stock                                   USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     48278    4/5/2013 BCEL   Presidents ck#1018                              USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48280    4/5/2013 REST   deliver stock                                   USD                     1,000.00          -          -
        XM LIVE     3 CELT   CELT     48281    4/5/2013 BCEL   Globex ck#1019                                  USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48283    4/5/2013 REST   deliver stock                                   USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     48285    4/5/2013 BCEL   Holladay ck#1020                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48287    4/5/2013 REST   deliver stock                                   USD                       400.00          -          -
                                                                                                                                                                             Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     48288    4/5/2013 BCEL   Action ck#1021                                  USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48295    4/5/2013 REST   receive stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48297    4/5/2013 REST   DTC instructions x 2                            USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     48379    4/9/2013 REST   deliver stock                                   USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48414   4/10/2013 REST   DTC instructions x 4                            USD                       400.00          -          -
        XM LIVE     3 CELT   CELT     48415   4/10/2013 REST   DAP instructions                                USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     48422   4/10/2013 REST   deliver stock                                   USD                       100.00          -          -



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        XM LIVE   3 CELT   CELT     48423   4/10/2013 REST   deliver stock                                    USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     48424   4/10/2013 BCEL   Holladay ck#1022                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48426   4/10/2013 REST   deliver stock                                    USD                  600.00      -         -
                                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     48427   4/10/2013 BCEL   Action ck#1023                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48472   4/11/2013 REST   DTC instructions x 2 + SPA                       USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     48475   4/11/2013 REST   DTC instructions x 2 + SPA                       USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     48532   4/12/2013 REST   DTC instructions x 2 + SPA + indemnity           USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     48530   4/12/2013 REST   Fedex# 799516052093                              USD                   50.00      -         -
        XM LIVE   3 CELT   CELT     48531   4/12/2013 BCEL   Island ck#1024                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48535   4/12/2013 REST   deliver stock                                    USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     48536   4/12/2013 BCEL   Securities Transfer ck#1025                      USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48538   4/12/2013 REST   deliver stock                                    USD                  800.00      -         -
        XM LIVE   3 CELT   CELT     48539   4/12/2013 BCEL   Action ck#1026                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48666   4/17/2013 REST   receive stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48710   4/18/2013 REST   DTC instructions x 2 + SPA + Indemnity           USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     48733   4/18/2013 REST   deliver stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48734   4/18/2013 BCEL   Presidents ck#1027                               USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48735   4/18/2013 REST   fedex#799560798322                               USD                   50.00      -         -
                                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     48736   4/18/2013 REST   deliver stock                                    USD                  900.00      -         -
        XM LIVE   3 CELT   CELT     48737   4/18/2013 BCEL   Action ck#1028                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48714   4/18/2013 REST   Directors fees                                   USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     48802   4/19/2013 REST   DSR for Lemi x 2                                 USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     48815   4/19/2013 REST   receive stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48817   4/19/2013 REST   receive stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48796   4/19/2013 REST   Directors fees                                   USD                  200.00      -         -




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        XM LIVE   3 CELT   CELT     48947   4/23/2013 REST   receive stock                                    USD                  100.00      -         -
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        XM LIVE   3 CELT   CELT     48960   4/23/2013 REST   deliver stock                                    USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     48959   4/23/2013 REST   deliver stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48961   4/23/2013 BCEL   Empire ck#1029                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     48962   4/23/2013 BCEL   Holladay ck#1030                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49008   4/24/2013 REST   receive stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49014   4/24/2013 REST   deliver stock                                    USD                1,300.00      -         -
        XM LIVE   3 CELT   CELT     50283   4/24/2013 REST   receive stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50282   4/24/2013 REST   receive stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49015   4/24/2013 REST   deliver stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49016   4/24/2013 REST   deliver stock                                    USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     49017   4/24/2013 BCEL   Action ck#1031                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49019   4/24/2013 REST   deliver stock                                    USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     49020   4/24/2013 BCEL   Action ck#1031                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49021   4/24/2013 REST   deliver stock                                    USD                  300.00      -         -
                                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     49022   4/24/2013 BCEL   Empire ck#1032                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49401   4/25/2013 REST   receive stock                                    CAD                     -     100.00       -
        XM LIVE   3 CELT   CELT     49101   4/26/2013 REST   deliver stock                                    USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     49102   4/26/2013 BCEL   Action ck#1033                                   USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49104   4/26/2013 REST   deliver stock                                    USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     58245   4/29/2013 REST   deliver stock                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     49414   4/29/2013 REST   deliver stock                                    CAD                     -     400.00       -



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        XM LIVE     3 CELT   CELT     49731   4/29/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49211   4/29/2013 REST   deliver stock                      USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     49212   4/29/2013 BCEL   Action ck#1034                     USD                        100.00           -          -
                                                                                                                                                                  Case: 24-1770




        XM LIVE     3 CELT   CELT     49214   4/29/2013 REST   deliver stock                      USD                        600.00           -          -
        XM LIVE     3 CELT   CELT     49215   4/29/2013 BCEL   Holladay ck#1035                   USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49217   4/29/2013 REST   deliver stock                      USD                        900.00           -          -
        XM LIVE     3 CELT   CELT     49218   4/29/2013 BCEL   Empire ck#1036                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49732   4/29/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49276   4/30/2013 BCEL   commission withdrawal              USD             -       (3,100.00)          -          -
        XM LIVE     3 CELT   CELT     49276   4/30/2013 BCEL   commission withdrawal              USD             -        3,100.00           -          -
        XM LIVE     3 CELT   CELT     49364   4/30/2013 REST   commission withdrawal              USD             -      (18,900.00)          -          -
        XM LIVE     3 CELT   CELT     49364   4/30/2013 REST   commission withdrawal              USD             -       18,900.00           -          -
        XM LIVE     3 CELT   CELT     49365   4/30/2013 REST   commission withdrawal              CAD             -             -         (200.00)       -
        XM LIVE     3 CELT   CELT     49365   4/30/2013 REST   commission withdrawal              CAD             -             -          200.00        -
        XM LIVE     3 CELT   CELT     49465   4/30/2013 REST   commission withdrawal              USD             -         (200.00)          -          -
        XM LIVE     3 CELT   CELT     49465   4/30/2013 REST   commission withdrawal              USD             -          200.00           -          -
        XM LIVE     3 CELT   CELT     49466   4/30/2013 REST   commission withdrawal              CAD             -             -         (500.00)       -
        XM LIVE     3 CELT   CELT     49466   4/30/2013 REST   commission withdrawal              CAD             -             -          500.00        -
                                                                                                                                                                  Document: 00118249068




        XM LIVE     3 CELT   CELT     49480   4/30/2013 REST   deliver stock                      USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     49481   4/30/2013 BCEL   Island ck#1037                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49483   4/30/2013 REST   deliver stock                      USD                        200.00           -          -
        XM LIVE     3 CELT   CELT     49484   4/30/2013 BCEL   Presidents ck#1038                 USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49407   4/30/2013 WORK   internal transfer                  USD             -      (10,000.00)          -          -
        XM LIVE   219 CEL1   CELT     49407   4/30/2013 WORK   internal transfer                  USD             -       10,000.00           -          -
        XM LIVE     3 CELT   CELT     49422   4/30/2013 REST   receive stock                      USD                        100.00           -          -




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        XM LIVE     3 CELT   CELT     49423   4/30/2013 REST   receive stock                      USD                        100.00           -          -
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        XM LIVE     3 CELT   CELT     49478   4/30/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49479   4/30/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49525   4/30/2013 WORK   interest payment                   USD             -            1.85           -          -
        XM LIVE     3 CELT   CELT     49526   4/30/2013 WORK   interest payment                   CAD             -             -            0.02        -
        XM LIVE   219 CEL1   CELT     49524   4/30/2013 WORK   interest payment                   USD             -          370.42           -          -
        XM LIVE     3 CELT   CELT     49251    5/1/2013 CASH   debit                              CAD      (10,000.00)          -      (10,000.00)       -
        XM LIVE     3 CELT   CELT     49722    5/1/2013 BCEL   Equity Financial ck #139           CAD                           -          100.00        -
        XM LIVE     3 CELT   CELT     49415    5/1/2013 REST   receive stock                      CAD                           -          100.00        -
        XM LIVE     3 CELT   CELT     49734    5/1/2013 DGMN   forex                              USD       (9,253.27)    (9,345.80)          -          -
        XM LIVE     3 CELT   CELT     49734    5/1/2013 DGMN   forex                              CAD        9,299.98           -        9,299.98        -
        XM LIVE     3 CELT   CELT     50651    5/1/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49974    5/2/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49776    5/2/2013 REST   receive stock                      USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49778    5/2/2013 REST   receive stock                      USD                        100.00           -          -
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        XM LIVE     3 CELT   CELT     49823    5/2/2013 REST   directors fees                     USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     49825    5/2/2013 REST   directors fees                     USD                        400.00           -          -
        XM LIVE     3 CELT   CELT     49827    5/2/2013 BCEL   Empire ck#1039                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49829    5/2/2013 BCEL   Empire ck#1040                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49831    5/2/2013 BCEL   Empire ck#1040                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     49832    5/2/2013 REST   deliver stock                      USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     49833    5/2/2013 BCEL   Presidents ck#1042                 USD                        100.00           -          -



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        XM LIVE   3 CELT   CELT     49835    5/2/2013 REST   deliver stock                                    USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     49836    5/2/2013 BCEL   Empire ck#1041                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     49856    5/3/2013 REST   directors fees Braeden                           USD                3,000.00   -           -
                                                                                                                                                                 Case: 24-1770




        XM LIVE   3 CELT   CELT     49915    5/3/2013 REST   deliver stock                                    USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     49911    5/3/2013 REST   deliver stock                                    USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     49912    5/3/2013 BCEL   Globex ck#1043                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     49916    5/3/2013 REST   deliver stock                                    USD                  800.00   -           -
        XM LIVE   3 CELT   CELT     49917    5/3/2013 BCEL   Action ck#1044                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     49919    5/3/2013 REST   deliver stock                                    USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     49920    5/3/2013 BCEL   Action ck#1044                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     49922    5/3/2013 REST   deliver stock                                    USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     49923    5/3/2013 BCEL   Presidents ck#1045                               USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50023    5/3/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50058    5/6/2013 REST   fedex #799692696417                              USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     50003    5/6/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50004    5/6/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50006    5/6/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50007    5/6/2013 REST   receive stock                                    USD                  100.00   -           -
                                                                                                                                                                 Document: 00118249068




        XM LIVE   3 CELT   CELT     50019    5/6/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50020    5/6/2013 REST   directors fees                                   USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     50021    5/6/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50056    5/7/2013 REST   deliver stock                                    USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     50057    5/7/2013 BCEL   Holladay ck#1046                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50060    5/7/2013 REST   fedex #799701594512                              USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     50061    5/7/2013 BCEL   Scott Lawler ck#1047                             USD                  100.00   -           -




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        XM LIVE   3 CELT   CELT     50103    5/8/2013 REST   receive stock                                    USD                  100.00   -           -
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        XM LIVE   3 CELT   CELT     50167    5/9/2013 REST   deliver stock                                    USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     50169    5/9/2013 BCEL   Action ck#1049                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50172    5/9/2013 REST   directors fees                                   USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     50173    5/9/2013 REST   fedex #799722899911                              USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     50175    5/9/2013 BCEL   W.Scott Lawler Attorney at Law ck#1048           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50516   5/13/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50296   5/13/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50464   5/13/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50465   5/13/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50340   5/14/2013 REST   receive stock                                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50343   5/14/2013 REST   deliver stock                                    USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     50345   5/14/2013 BCEL   Securities Transfer ck#1050                      USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50347   5/14/2013 REST   deliver stock                                    USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     50344   5/14/2013 REST   deliver stock                                    USD                  500.00   -           -
                                                                                                                                                                 Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     50348   5/14/2013 BCEL   Securities Transfer ck#1051                      USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50350   5/14/2013 REST   deliver stock                                    USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     50351   5/14/2013 BCEL   Presidents ck#1052                               USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50353   5/14/2013 REST   deliver stock                                    USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     50354   5/14/2013 BCEL   Action ck#1053                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     50401   5/15/2013 REST   deliver stock                                    USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     50402   5/15/2013 BCEL   Securities Transfer ck#1054                      USD                  100.00   -           -



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        XM LIVE   3 CELT   CELT     50404   5/15/2013 REST   directors fee                                  USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50438   5/15/2013 BCEL   Computershare ck #141                          CAD                     -     100.00       -
        XM LIVE   3 CELT   CELT     50550   5/16/2013 REST   deliver stock                                  USD                  500.00      -         -
                                                                                                                                                                Case: 24-1770




        XM LIVE   3 CELT   CELT     50551   5/16/2013 BCEL   Action ck#1057                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50553   5/16/2013 REST   deliver stock                                  USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     50554   5/16/2013 BCEL   Action ck#1057                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50556   5/16/2013 REST   deliver stock                                  USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     50557   5/16/2013 BCEL   Presidents ck#1058                             USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50559   5/16/2013 REST   deliver stock                                  USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     50560   5/16/2013 BCEL   Globex ck#1059                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50521   5/16/2013 REST   directors fees                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50522   5/16/2013 REST   deliver stock                                  USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     50523   5/16/2013 BCEL   STC ck#1055                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50525   5/16/2013 REST   deliver stock                                  USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     50524   5/16/2013 BCEL   STC ck#1056                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50526   5/16/2013 BCEL   Action ck#1057                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50568   5/17/2013 REST   directors fee                                  USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     50571   5/17/2013 REST   deliver stock                                  USD                  400.00      -         -
                                                                                                                                                                Document: 00118249068




        XM LIVE   3 CELT   CELT     50572   5/17/2013 BCEL   Action ck#1060                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50620   5/20/2013 REST   directors fees                                 USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     50647   5/21/2013 REST   receive stock                                  USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50660   5/21/2013 REST   deliver stock                                  USD                  200.00      -         -
        XM LIVE   3 CELT   CELT     50661   5/21/2013 BCEL   Holladay ck#1061                               USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50662   5/21/2013 BCEL   Action ck#1062                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50664   5/21/2013 REST   deliver stock                                  USD                  400.00      -         -




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        XM LIVE   3 CELT   CELT     50665   5/21/2013 BCEL   Action ck#1062                                 USD                  100.00      -         -
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        XM LIVE   3 CELT   CELT     50667   5/21/2013 REST   directors fees + fedex #799818214673           USD                1,600.00      -         -
        XM LIVE   3 CELT   CELT     50668   5/21/2013 BCEL   Columbia ck#1063                               USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50669   5/21/2013 REST   deliver stock                                  USD                  500.00      -         -
        XM LIVE   3 CELT   CELT     50670   5/21/2013 BCEL   STC ck#1064                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50672   5/21/2013 REST   deliver stock                                  USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     50673   5/21/2013 BCEL   Empire ck#1065                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50770   5/22/2013 REST   deliver stock                                  USD                  800.00      -         -
        XM LIVE   3 CELT   CELT     50910   5/22/2013 REST   deliver stock                                  CAD                     -     100.00       -
        XM LIVE   3 CELT   CELT     50760   5/22/2013 REST   deliver stock                                  USD                  500.00      -         -
        XM LIVE   3 CELT   CELT     50762   5/22/2013 BCEL   Action ck#1066                                 USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50764   5/22/2013 REST   deliver stock                                  USD                  500.00      -         -
        XM LIVE   3 CELT   CELT     50765   5/22/2013 BCEL   STC ck#1067                                    USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50767   5/22/2013 REST   deliver stock                                  USD                  900.00      -         -
        XM LIVE   3 CELT   CELT     50768   5/22/2013 BCEL   Empire ck#1068                                 USD                  100.00      -         -
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        XM LIVE   3 CELT   CELT     50772   5/22/2013 BCEL   Philadelphia ck#1069                           USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50825   5/23/2013 REST   directors fees                                 USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     50826   5/23/2013 REST   directors fees                                 USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     50827   5/23/2013 REST   directors fees                                 USD                  300.00      -         -
        XM LIVE   3 CELT   CELT     50828   5/23/2013 REST   deliver stock                                  USD                  400.00      -         -
        XM LIVE   3 CELT   CELT     50829   5/23/2013 BCEL   Holladay ck#1070                               USD                  100.00      -         -
        XM LIVE   3 CELT   CELT     50832   5/23/2013 BCEL   Philadelphia ck#1071                           USD                  100.00      -         -



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        XM LIVE   3 CELT   CELT     50834   5/23/2013 REST   deliver stock                     USD                        500.00           -          -
        XM LIVE   3 CELT   CELT     50835   5/23/2013 BCEL   Empire ck#1072                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50837   5/23/2013 REST   deliver stock                     USD                        400.00           -          -
                                                                                                                                                               Case: 24-1770




        XM LIVE   3 CELT   CELT     50838   5/23/2013 BCEL   Action ck#1073                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50840   5/23/2013 REST   deliver stock                     USD                        400.00           -          -
        XM LIVE   3 CELT   CELT     50841   5/23/2013 BCEL   Empire ck#1074                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50815   5/23/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50816   5/23/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50831   5/23/2013 REST   deliver stock                     USD                        900.00           -          -
        XM LIVE   3 CELT   CELT     50892   5/24/2013 REST   directors fees                    USD                        300.00           -          -
        XM LIVE   3 CELT   CELT     50907   5/24/2013 BCEL   Computershare ck #142             CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     50911   5/24/2013 REST   receive stock                     CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     50912   5/24/2013 REST   deliver stock                     CAD                           -          100.00        -
        XM LIVE   3 CELT   CELT     50949   5/27/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50950   5/27/2013 REST   deliver stock                     USD                      1,200.00           -          -
        XM LIVE   3 CELT   CELT     50952   5/27/2013 BCEL   STC ck#1075                       USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50954   5/27/2013 REST   deliver stock                     USD                        200.00           -          -
        XM LIVE   3 CELT   CELT     50955   5/27/2013 BCEL   Columbia ck#1076                  USD                        100.00           -          -
                                                                                                                                                               Document: 00118249068




        XM LIVE   3 CELT   CELT     50928   5/27/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51014   5/28/2013 REST   deliver stock                     USD                        300.00           -          -
        XM LIVE   3 CELT   CELT     50989   5/28/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     50988   5/28/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51003   5/28/2013 BCEL   Empire ck#1077                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51005   5/28/2013 REST   deliver stock                     USD                        500.00           -          -
        XM LIVE   3 CELT   CELT     51006   5/28/2013 BCEL   Action ck#1078                    USD                        100.00           -          -




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        XM LIVE   3 CELT   CELT     51008   5/28/2013 REST   deliver stock                     USD                      1,000.00           -          -
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        XM LIVE   3 CELT   CELT     51009   5/28/2013 BCEL   Philadelphia ck#1079              USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51011   5/28/2013 REST   deliver stock                     USD                        900.00           -          -
        XM LIVE   3 CELT   CELT     51012   5/28/2013 BCEL   Globex ck#1080                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51015   5/28/2013 BCEL   Globex ck#1080                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51018   5/28/2013 REST   deliver stock                     USD                        300.00           -          -
        XM LIVE   3 CELT   CELT     51019   5/28/2013 BCEL   Globex ck#1080                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51002   5/28/2013 REST   deliver stock                     USD                        900.00           -          -
        XM LIVE   3 CELT   CELT     51022   5/28/2013 BCEL   Empire ck#1081                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51084   5/29/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51086   5/29/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51104   5/29/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51106   5/29/2013 REST   directors fees                    USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51147   5/30/2013 CASH   debit                             CAD      (10,000.00)          -      (10,000.00)       -
        XM LIVE   3 CELT   CELT     51167   5/30/2013 DGMI   forex                             USD       (9,768.12)    (9,865.80)          -          -
                                                                                                                                                               Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     51167   5/30/2013 DGMI   forex                             CAD       10,000.00           -       10,000.00        -
        XM LIVE   3 CELT   CELT     51196   5/30/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE   3 CELT   CELT     51256   5/31/2013 BCEL   commission withdrawal             USD             -       (5,200.00)          -          -
        XM LIVE   3 CELT   CELT     51256   5/31/2013 BCEL   commission withdrawal             USD             -        5,200.00           -          -
        XM LIVE   3 CELT   CELT     51257   5/31/2013 BCEL   commission withdrawal             CAD             -             -         (300.00)       -
        XM LIVE   3 CELT   CELT     51257   5/31/2013 BCEL   commission withdrawal             CAD             -             -          300.00        -
        XM LIVE   3 CELT   CELT     51354   5/31/2013 REST   commission withdrawal             USD             -      (32,450.00)          -          -



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        XM LIVE     3 CELT   CELT     51354   5/31/2013 REST   commission withdrawal                        USD          -     32,450.00        -          -
        XM LIVE     3 CELT   CELT     51355   5/31/2013 REST   commission withdrawal                        CAD          -           -      (355.00)       -
        XM LIVE     3 CELT   CELT     51355   5/31/2013 REST   commission withdrawal                        CAD          -           -       355.00        -
                                                                                                                                                                    Case: 24-1770




        XM LIVE     3 CELT   CELT     51666   5/31/2013 REST   fedex #:799897722529                         USD                    50.00        -          -
        XM LIVE     3 CELT   CELT     51667   5/31/2013 REST   deliver stock                                USD                   200.00        -          -
        XM LIVE     3 CELT   CELT     51233   5/31/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51671   5/31/2013 REST   deliver stock                                USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     51674   5/31/2013 BCEL   Holladay ck#1082                             USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51681   5/31/2013 BCEL   Empire ck#1083                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51684   5/31/2013 BCEL   Empire ck#1084                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51238   5/31/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51679   5/31/2013 REST   deliver stock                                USD                   800.00        -          -
        XM LIVE     3 CELT   CELT     51685   5/31/2013 REST   deliver stock                                USD                   200.00        -          -
        XM LIVE     3 CELT   CELT     51686   5/31/2013 BCEL   Empire ck#1085                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51688   5/31/2013 REST   deliver stock                                USD                 1,100.00        -          -
        XM LIVE     3 CELT   CELT     51689   5/31/2013 BCEL   Philadelphia ck#1086                         USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51693   5/31/2013 REST   directors fee + Fedex#799897887518           USD                   150.00        -          -
        XM LIVE     3 CELT   CELT     51694   5/31/2013 BCEL   Action ck#1087                               USD                   100.00        -          -
                                                                                                                                                                    Document: 00118249068




        XM LIVE     3 CELT   CELT     51394   5/31/2013 WORK   internal transfer                            USD          -    (20,000.00)       -          -
        XM LIVE   219 CEL1   CELT     51394   5/31/2013 WORK   internal transfer                            USD          -     20,000.00        -          -
        XM LIVE     3 CELT   CELT     51432   5/31/2013 WORK   interest payment                             USD          -          3.72        -          -
        XM LIVE     3 CELT   CELT     51433   5/31/2013 WORK   interest payment                             CAD          -           -         0.02        -
        XM LIVE   219 CEL1   CELT     51431   5/31/2013 WORK   interest payment                             USD          -        386.12        -          -
        XM LIVE     3 CELT   CELT     51723    6/3/2013 REST   deliver stock                                USD                   800.00        -          -
        XM LIVE     3 CELT   CELT     51670    6/3/2013 REST   deliver stock                                USD                   100.00        -          -




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        XM LIVE     3 CELT   CELT     51727    6/3/2013 BCEL   Holladay ck#1089 **VOID**                    USD                   100.00        -          -
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        XM LIVE     3 CELT   CELT     51724    6/3/2013 BCEL   Globex ck#1088                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51731    6/3/2013 REST   deliver stock                                USD                 1,200.00        -          -
        XM LIVE     3 CELT   CELT     51732    6/3/2013 BCEL   Philadelphia ck#1090                         USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51734    6/3/2013 REST   deliver stock                                USD                   600.00        -          -
        XM LIVE     3 CELT   CELT     51735    6/3/2013 BCEL   Empire ck#1091                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51726    6/3/2013 REST   deliver stock                                USD                   500.00        -          -
        XM LIVE     3 CELT   CELT     58803    6/5/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51808    6/5/2013 BCEL   IncSmart biz ck #418                         USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51820    6/5/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55685    6/5/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51833    6/5/2013 REST   deliver stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51860    6/6/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51866    6/6/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51877    6/6/2013 REST   deliver stock                                USD                   900.00        -          -
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        XM LIVE     3 CELT   CELT     51879    6/6/2013 BCEL   Empire ck#1092                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51880    6/6/2013 BCEL   Empire ck#1093                               USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51869    6/6/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     51917    6/7/2013 REST   receive stock                                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     52028   6/10/2013 REST   directors fee                                USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     52029   6/10/2013 REST   directors fee                                USD                   800.00        -          -
        XM LIVE     3 CELT   CELT     53906   6/11/2013 REST   receive stock                                USD                   100.00        -          -



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        XM LIVE   3 CELT   CELT     52084   6/11/2013 REST   deliver stock                     USD                1,000.00   -           -
        XM LIVE   3 CELT   CELT     52085   6/11/2013 BCEL   Action ck#1094                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52089   6/11/2013 REST   deliver stock                     USD                  200.00   -           -
                                                                                                                                                  Case: 24-1770




        XM LIVE   3 CELT   CELT     52090   6/11/2013 BCEL   Island ck#1095                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52092   6/11/2013 REST   deliver stock                     USD                1,000.00   -           -
        XM LIVE   3 CELT   CELT     52093   6/11/2013 BCEL   Holladay ck#1096                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52096   6/11/2013 REST   deliver stock                     USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     52097   6/11/2013 BCEL   Globex ck#1097                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52099   6/11/2013 REST   deliver stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52100   6/11/2013 BCEL   Presidents ck#1098                USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52152   6/12/2013 REST   deliver stock                     USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     52153   6/12/2013 BCEL   Empire ck#1099                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52154   6/12/2013 REST   directors fee                     USD                1,300.00   -           -
        XM LIVE   3 CELT   CELT     52210   6/13/2013 REST   directors fee                     USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     52211   6/13/2013 REST   deliver stock                     USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     52212   6/13/2013 BCEL   Empire ck#1100                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52215   6/13/2013 BCEL   Empire ck#1101                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52217   6/13/2013 REST   deliver stock                     USD                  800.00   -           -
                                                                                                                                                  Document: 00118249068




        XM LIVE   3 CELT   CELT     52219   6/13/2013 REST   deliver stock                     USD                  800.00   -           -
        XM LIVE   3 CELT   CELT     52220   6/13/2013 REST   deliver stock                     USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     52221   6/13/2013 BCEL   Globex ck#1102                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52222   6/13/2013 BCEL   Holladay ck#1103                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52224   6/13/2013 BCEL   Empire ck#1104                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52214   6/13/2013 REST   deliver stock                     USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     52275   6/14/2013 REST   directors fee                     USD                  300.00   -           -




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        XM LIVE   3 CELT   CELT     52276   6/14/2013 REST   directors fee                     USD                  200.00   -           -
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        XM LIVE   3 CELT   CELT     52280   6/14/2013 REST   deliver stock                     USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     52281   6/14/2013 BCEL   Empire ck#1105                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52283   6/14/2013 REST   deliver stock                     USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     52284   6/14/2013 BCEL   Action ck#1106                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52288   6/14/2013 REST   deliver stock                     USD                  900.00   -           -
        XM LIVE   3 CELT   CELT     52289   6/14/2013 BCEL   Holladay ck#1107                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52311   6/17/2013 REST   deliver stock                     USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     52312   6/17/2013 BCEL   Empire ck#1108                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52313   6/17/2013 BCEL   Empire ck#1109                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52314   6/17/2013 BCEL   Empire ck#1110                    USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52315   6/17/2013 REST   deliver stock                     USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     51898   6/17/2013 REST   deliver stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52467   6/19/2013 REST   receive stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     55381   6/21/2013 REST   receive stock                     USD                  100.00   -           -
                                                                                                                                                  Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     55382   6/24/2013 REST   receive stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52659   6/24/2013 REST   receive stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52662   6/24/2013 REST   receive stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52663   6/24/2013 REST   receive stock                     USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     52667   6/24/2013 REST   deliver stock                     USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     52664   6/24/2013 REST   deliver stock                     USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     52665   6/24/2013 BCEL   TOL ck#1111                       USD                  100.00   -           -



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        XM LIVE     3 CELT   CELT     52668   6/24/2013 BCEL   Presidents ck#1112                USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52708   6/25/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52721   6/25/2013 REST   deliver stock                     USD                        100.00           -          -
                                                                                                                                                                 Case: 24-1770




        XM LIVE     3 CELT   CELT     52722   6/25/2013 BCEL   Holladay ck#1113                  USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52723   6/25/2013 BCEL   Holladay ck#1114                  USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52724   6/25/2013 BCEL   NATCO ck#1115                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52725   6/25/2013 REST   deliver stock                     USD                        600.00           -          -
        XM LIVE     3 CELT   CELT     52731   6/26/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52765   6/26/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52767   6/26/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52853   6/27/2013 REST   deliver stock                     USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     52854   6/27/2013 BCEL   Empire ck#805                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     52806   6/27/2013 REST   receive stock                     CAD                           -          100.00        -
        XM LIVE     3 CELT   CELT     53521   6/27/2013 SIL2   forex                             USD      (18,877.61)   (19,066.39)          -          -
        XM LIVE     3 CELT   CELT     53521   6/27/2013 SIL2   forex                             CAD       19,787.93           -       19,787.93        -
        XM LIVE     3 CELT   CELT     52810   6/27/2013 CASH   debit                             CAD      (10,000.00)          -      (10,000.00)       -
        XM LIVE     3 CELT   CELT     52814   6/27/2013 REST   receive stock                     CAD                           -          100.00        -
        XM LIVE     3 CELT   CELT     52815   6/27/2013 REST   receive warrants                  CAD                           -          100.00        -
                                                                                                                                                                 Document: 00118249068




        XM LIVE     3 CELT   CELT     52807   6/27/2013 REST   receive warrants                  CAD                           -          100.00        -
        XM LIVE     3 CELT   CELT     52852   6/28/2013 REST   directors fees                    USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     53644   6/28/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53167   6/29/2013 WORK   interest payment                  USD             -            9.58           -          -
        XM LIVE     3 CELT   CELT     53168   6/29/2013 WORK   interest payment                  CAD             -             -            0.47        -
        XM LIVE   219 CEL1   CELT     53166   6/29/2013 WORK   interest payment                  USD             -          408.26           -          -
        XM LIVE     3 CELT   CELT     53001   6/30/2013 BCEL   commission withdrawal             USD             -       (3,600.00)          -          -




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        XM LIVE     3 CELT   CELT     53001   6/30/2013 BCEL   commission withdrawal             USD             -        3,600.00           -          -
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        XM LIVE     3 CELT   CELT     53098   6/30/2013 REST   commission withdrawal             USD             -      (23,400.00)          -          -
        XM LIVE     3 CELT   CELT     53098   6/30/2013 REST   commission withdrawal             USD             -       23,400.00           -          -
        XM LIVE     3 CELT   CELT     53099   6/30/2013 REST   commission withdrawal             CAD             -             -         (400.00)       -
        XM LIVE     3 CELT   CELT     53099   6/30/2013 REST   commission withdrawal             CAD             -             -          400.00        -
        XM LIVE     3 CELT   CELT     53126   6/30/2013 WORK   internal transfer                 USD             -      (20,000.00)          -          -
        XM LIVE   219 CEL1   CELT     53126   6/30/2013 WORK   internal transfer                 USD             -       20,000.00           -          -
        XM LIVE     3 CELT   CELT     53497    7/2/2013 BCEL   Empire ck# 1117                   USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53498    7/2/2013 BCEL   Empire ck#1118                    USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53486    7/2/2013 BCEL   TOL ck#1116                       USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53496    7/2/2013 REST   deliver stock                     USD                      4,000.00           -          -
        XM LIVE     3 CELT   CELT     54102    7/2/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53485    7/2/2013 REST   deliver stock                     USD                        400.00           -          -
        XM LIVE     3 CELT   CELT     53508    7/3/2013 REST   directors fees                    USD                        300.00           -          -
        XM LIVE     3 CELT   CELT     53518    7/3/2013 REST   deliver stock                     USD                        100.00           -          -
                                                                                                                                                                 Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     53575    7/3/2013 REST   receive stock                     USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53576    7/3/2013 REST   deliver stock                     USD                        400.00           -          -
        XM LIVE     3 CELT   CELT     53577    7/3/2013 BCEL   STC ck#1120                       USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53579    7/3/2013 REST   deliver stock                     USD                        700.00           -          -
        XM LIVE     3 CELT   CELT     53580    7/3/2013 BCEL   Presidents ck#1119                USD                        100.00           -          -
        XM LIVE     3 CELT   CELT     53635    7/5/2013 TDCH   Health ck #2                      CAD      (14,075.00)          -      (14,075.00)       -
        XM LIVE     3 CELT   CELT     53879    7/5/2013 REST   receive stock                     USD                        100.00           -          -



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        XM LIVE   3 CELT   CELT     53646    7/5/2013 REST   directors fee                                 USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     53647    7/5/2013 REST   deliver stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53648    7/5/2013 BCEL   NATCO ck#1121                                 USD                  100.00   -           -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     53649    7/5/2013 REST   deliver stock                                 USD                  800.00   -           -
        XM LIVE   3 CELT   CELT     53650    7/5/2013 BCEL   Empire ck#1122                                USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53652    7/5/2013 REST   deliver stock                                 USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     53653    7/5/2013 BCEL   ClearTrust ck#1123                            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53657    7/5/2013 REST   deliver stock                                 USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     53658    7/5/2013 BCEL   Presidents ck#1124                            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53881   7/12/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53924   7/15/2013 REST   deliver stock                                 USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     53925   7/15/2013 BCEL   Cleartrust ck#1125                            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53927   7/15/2013 REST   deliver stock                                 USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     53928   7/15/2013 BCEL   Presidents ck#1126                            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53929   7/15/2013 REST   deliver stock                                 USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     53930   7/15/2013 BCEL   Presidents ck#1126                            USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53932   7/15/2013 REST   directors fee + fedex#796233790618            USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     53933   7/15/2013 BCEL   Holladay ck#1127                              USD                  100.00   -           -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     53971   7/16/2013 BCEL   Scott Lawler ck#1130                          USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53943   7/16/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53944   7/16/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53966   7/16/2013 REST   directors fee + fedex #796244567894           USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     53967   7/16/2013 BCEL   Holladay ck#1128                              USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     53968   7/16/2013 REST   deliver stock                                 USD                1,300.00   -           -
        XM LIVE   3 CELT   CELT     53969   7/16/2013 BCEL   ClearTrust ck#1129                            USD                  100.00   -           -




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        XM LIVE   3 CELT   CELT     53972   7/16/2013 REST   fedex #796245155521                           USD                   50.00   -           -
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        XM LIVE   3 CELT   CELT     54014   7/17/2013 BCEL   STC ck#1131                                   USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54013   7/17/2013 REST   deliver stock                                 USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     54015   7/17/2013 REST   directors fee + fedex #796253602210           USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     54016   7/17/2013 BCEL   Holladay ck#1132                              USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54017   7/17/2013 REST   directors fee + fedex #796254263685           USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     54018   7/17/2013 BCEL   Empire ck#1133                                USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54089   7/18/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54043   7/18/2013 BCEL   forex                                         CAD                     -     -           -
        XM LIVE   3 CELT   CELT     54103   7/19/2013 REST   directors fee + fedex #796273330063           USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     54104   7/19/2013 BCEL   Holladay ck#1134                              USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54105   7/19/2013 REST   proxy signatures                              USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     54167   7/22/2013 REST   directors fee + fedex #796286354900           USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     54168   7/22/2013 BCEL   Holladay ck#1135                              USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54170   7/22/2013 REST   receive stock                                 USD                  100.00   -           -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     54174   7/22/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54175   7/22/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54542   7/22/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54180   7/22/2013 REST   deliver stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54328   7/22/2013 REST   receive stock                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     54224   7/23/2013 REST   fedex# 796297715212                           USD                   50.00   -           -
        XM LIVE   3 CELT   CELT     54225   7/23/2013 REST   deliver stock                                 USD                  900.00   -           -



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        XM LIVE   3 CELT   CELT     54226   7/23/2013 BCEL   Empire ck#1136                                USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54229   7/23/2013 BCEL   STC ck#1137                                   USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54230   7/23/2013 BCEL   Presidents ck#1138                            USD                        100.00          -          -
                                                                                                                                                                          Case: 24-1770




        XM LIVE   3 CELT   CELT     54231   7/23/2013 REST   deliver stock                                 USD                        200.00          -          -
        XM LIVE   3 CELT   CELT     54228   7/23/2013 REST   deliver stock                                 USD                        700.00          -          -
        XM LIVE   3 CELT   CELT     54310   7/24/2013 REST   deliver stock Heather Ferris                  CAD                           -         100.00        -
        XM LIVE   3 CELT   CELT     54349   7/25/2013 REST   deliver stock                                 USD                        200.00          -          -
        XM LIVE   3 CELT   CELT     54350   7/25/2013 REST   directors fee                                 USD                        600.00          -          -
        XM LIVE   3 CELT   CELT     54353   7/25/2013 REST   directors fee + fedex #796320960750           USD                        300.00          -          -
        XM LIVE   3 CELT   CELT     54354   7/25/2013 BCEL   Empire ck#1140                                USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54355   7/25/2013 REST   deliver stock                                 USD                        300.00          -          -
        XM LIVE   3 CELT   CELT     54351   7/25/2013 REST   proxy                                         USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54356   7/25/2013 BCEL   ClearTrust ck#1141                            USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54411   7/25/2013 BCEL   NATCO ck#1139                                 USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54342   7/25/2013 BCEL   forex                                         CAD                           -            -          -
        XM LIVE   3 CELT   CELT     54410   7/25/2013 REST   deliver stock                                 USD                      1,600.00          -          -
        XM LIVE   3 CELT   CELT     54606   7/26/2013 REST   receive stock                                 USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54607   7/26/2013 REST   receive stock                                 USD                        100.00          -          -
                                                                                                                                                                          Document: 00118249068




        XM LIVE   3 CELT   CELT     54393   7/26/2013 REST   directors fee                                 USD                        300.00          -          -
        XM LIVE   3 CELT   CELT     54413   7/26/2013 REST   deliver stock                                 USD                        800.00          -          -
        XM LIVE   3 CELT   CELT     54414   7/26/2013 BCEL   Empire ck#1142                                USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54415   7/26/2013 REST   deliver stock                                 USD                        200.00          -          -
        XM LIVE   3 CELT   CELT     54416   7/26/2013 BCEL   Pacific ck#1143                               USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54418   7/26/2013 REST   deliver stock                                 USD                        300.00          -          -
        XM LIVE   3 CELT   CELT     54417   7/26/2013 BCEL   ClearTrust ck#1144                            USD                        100.00          -          -




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        XM LIVE   3 CELT   CELT     58344   7/28/2013 REST   warrants expired                              CAD                           -         100.00        -
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        XM LIVE   3 CELT   CELT     54473   7/29/2013 REST   receive stock                                 CAD                           -         100.00        -
        XM LIVE   3 CELT   CELT     54469   7/29/2013 REST   deliver stock                                 USD                        400.00          -          -
        XM LIVE   3 CELT   CELT     54470   7/29/2013 BCEL   ClearTrust ck#1145                            USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54472   7/29/2013 REST   receive stock                                 USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54489   7/29/2013 BCEL   ND Design ck #812                             USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54544   7/30/2013 REST   deliver stock                                 USD                        400.00          -          -
        XM LIVE   3 CELT   CELT     54532   7/30/2013 CASH   debit                                         CAD       (7,000.00)          -      (7,000.00)       -
        XM LIVE   3 CELT   CELT     54524   7/30/2013 BCEL   forex                                         CAD                           -          50.00        -
        XM LIVE   3 CELT   CELT     54546   7/30/2013 BCEL   Island ck#1146                                USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54548   7/30/2013 REST   deliver stock                                 USD                      1,600.00          -          -
        XM LIVE   3 CELT   CELT     54549   7/30/2013 BCEL   Globex ck#1147                                USD                        100.00          -          -
        XM LIVE   3 CELT   CELT     54579   7/30/2013 WORK   forex                                         USD             -      (10,131.27)         -          -
        XM LIVE   3 CELT   CELT     54579   7/30/2013 WORK   forex                                         CAD             -             -      10,231.58        -
        XM LIVE   3 CELT   CELT     54622   7/31/2013 BCEL   commission withdrawal                         USD             -       (3,400.00)         -          -
                                                                                                                                                                          Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     54622   7/31/2013 BCEL   commission withdrawal                         USD             -        3,400.00          -          -
        XM LIVE   3 CELT   CELT     54623   7/31/2013 BCEL   commission withdrawal                         CAD             -             -         (50.00)       -
        XM LIVE   3 CELT   CELT     54623   7/31/2013 BCEL   commission withdrawal                         CAD             -             -          50.00        -
        XM LIVE   3 CELT   CELT     54710   7/31/2013 REST   commission withdrawal                         USD             -      (23,800.00)         -          -
        XM LIVE   3 CELT   CELT     54710   7/31/2013 REST   commission withdrawal                         USD             -       23,800.00          -          -
        XM LIVE   3 CELT   CELT     54711   7/31/2013 REST   commission withdrawal                         CAD             -             -        (100.00)       -
        XM LIVE   3 CELT   CELT     54711   7/31/2013 REST   commission withdrawal                         CAD             -             -         100.00        -



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        XM LIVE     3 CELT   CELT     54749   7/31/2013 WORK   internal transfer                 USD          -    (15,000.00)    -         -
        XM LIVE   219 CEL1   CELT     54749   7/31/2013 WORK   internal transfer                 USD          -     15,000.00     -         -
        XM LIVE     3 CELT   CELT     54817   7/31/2013 WORK   interest payment                  USD          -          0.06     -         -
                                                                                                                                                     Case: 24-1770




        XM LIVE     3 CELT   CELT     54818   7/31/2013 WORK   interest payment                  CAD          -           -      1.49       -
        XM LIVE   219 CEL1   CELT     54816   7/31/2013 WORK   interest payment                  USD          -        505.40     -         -
        XM LIVE     3 CELT   CELT     55002    8/1/2013 REST   deliver stock                     USD                   300.00     -         -
        XM LIVE     3 CELT   CELT     55007    8/1/2013 BCEL   Empire ck#811                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55010    8/1/2013 BCEL   Island ck#1148                    USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55011    8/1/2013 REST   directors fee                     USD                   300.00     -         -
        XM LIVE     3 CELT   CELT     55012    8/1/2013 REST   deliver stock                     USD                   400.00     -         -
        XM LIVE     3 CELT   CELT     55143    8/5/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55145    8/5/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55231    8/6/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55213    8/7/2013 REST   directors fee                     USD                   200.00     -         -
        XM LIVE     3 CELT   CELT     55233    8/7/2013 REST   deliver stock                     USD                   200.00     -         -
        XM LIVE     3 CELT   CELT     55236    8/7/2013 BCEL   Presidents ck#1149                USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55240    8/7/2013 REST   deliver stock                     USD                   400.00     -         -
        XM LIVE     3 CELT   CELT     55241    8/7/2013 BCEL   Empire ck#1150                    USD                   100.00     -         -
                                                                                                                                                     Document: 00118249068




        XM LIVE     3 CELT   CELT     55243    8/7/2013 REST   deliver stock                     USD                   200.00     -         -
        XM LIVE     3 CELT   CELT     55246    8/7/2013 BCEL   Action ck#1151                    USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55247    8/7/2013 REST   deliver stock                     USD                   200.00     -         -
        XM LIVE     3 CELT   CELT     55248    8/7/2013 BCEL   Presidents ck#1152                USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55290    8/8/2013 REST   directors fees                    USD                   900.00     -         -
        XM LIVE     3 CELT   CELT     55291    8/8/2013 REST   directors fee                     USD                   200.00     -         -
        XM LIVE     3 CELT   CELT     55292    8/8/2013 REST   audit letter                      USD                   100.00     -         -




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        XM LIVE     3 CELT   CELT     55293    8/8/2013 REST   directors fee                     USD                   300.00     -         -
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        XM LIVE     3 CELT   CELT     55294    8/8/2013 REST   deliver stock                     USD                   600.00     -         -
        XM LIVE     3 CELT   CELT     55295    8/8/2013 BCEL   Holladay ck#1153                  USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55297    8/8/2013 REST   deliver stock                     USD                   600.00     -         -
        XM LIVE     3 CELT   CELT     55298    8/8/2013 BCEL   Holladay ck#1153                  USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55300    8/8/2013 REST   deliver stock                     USD                   900.00     -         -
        XM LIVE     3 CELT   CELT     55301    8/8/2013 BCEL   Empire ck#1154                    USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55327    8/8/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55328    8/9/2013 REST   directors fee                     USD                   300.00     -         -
        XM LIVE     3 CELT   CELT     55326    8/9/2013 REST   directors fee                     USD                 1,000.00     -         -
        XM LIVE     3 CELT   CELT     55331    8/9/2013 REST   deliver stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55332    8/9/2013 BCEL   Globex ck#1155                    USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55391   8/12/2013 BCEL   Lori Page ck #813                 USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55858   8/14/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55861   8/14/2013 REST   receive stock                     USD                   100.00     -         -
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        XM LIVE     3 CELT   CELT     55481   8/15/2013 REST   deliver stock                     USD                   600.00     -         -
        XM LIVE     3 CELT   CELT     55482   8/15/2013 BCEL   Presidents ck#1156                USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55529   8/16/2013 REST   deliver stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55591   8/19/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55593   8/19/2013 REST   receive stock                     USD                   100.00     -         -
        XM LIVE     3 CELT   CELT     55600   8/19/2013 REST   directors fee                     USD                   200.00     -         -
        XM LIVE     3 CELT   CELT     55601   8/19/2013 REST   directors fee                     USD                   400.00     -         -



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        XM LIVE     3 CELT   CELT     55618   8/20/2013 REST   directors fee                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55635   8/20/2013 REST   directors fee                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55636   8/20/2013 REST   directors fee                     USD                   200.00        -          -
                                                                                                                                                         Case: 24-1770




        XM LIVE     3 CELT   CELT     55637   8/20/2013 REST   directors fee                     USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     55638   8/20/2013 REST   directors fee                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55639   8/20/2013 REST   deliver stock                     USD                   400.00        -          -
        XM LIVE     3 CELT   CELT     55640   8/20/2013 BCEL   Presidents ck#1157                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55681   8/22/2013 REST   receive stock                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55716   8/22/2013 REST   receive stock                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55750   8/22/2013 REST   receive stock                     USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55767   8/26/2013 REST   deliver stock                     USD                 1,800.00        -          -
        XM LIVE     3 CELT   CELT     55768   8/26/2013 BCEL   Holladay ck#1158                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55769   8/26/2013 BCEL   Holladay ck#1159                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55770   8/26/2013 BCEL   Holladay ck#1159                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55771   8/26/2013 REST   deliver stock                     USD                   400.00        -          -
        XM LIVE     3 CELT   CELT     55797   8/27/2013 REST   directors fee                     USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     55817   8/27/2013 BCEL   Presidents ck#1160                USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55799   8/27/2013 REST   directors fee                     USD                   300.00        -          -
                                                                                                                                                         Document: 00118249068




        XM LIVE     3 CELT   CELT     55816   8/27/2013 REST   deliver stock                     USD                   400.00        -          -
        XM LIVE     3 CELT   CELT     55850   8/28/2013 REST   directors fee                     USD                   300.00        -          -
        XM LIVE     3 CELT   CELT     55851   8/28/2013 REST   directors fee                     USD                   600.00        -          -
        XM LIVE     3 CELT   CELT     55852   8/28/2013 REST   deliver stock                     USD                   900.00        -          -
        XM LIVE     3 CELT   CELT     55853   8/28/2013 REST   deliver stock                     USD                   900.00        -          -
        XM LIVE     3 CELT   CELT     55854   8/28/2013 BCEL   Island ck#1161                    USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55855   8/28/2013 REST   deliver stock                     USD                   400.00        -          -




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        XM LIVE     3 CELT   CELT     55856   8/28/2013 BCEL   Empire ck#1162                    USD                   100.00        -          -
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        XM LIVE     3 CELT   CELT     55859   8/28/2013 REST   deliver stock                     USD                   400.00        -          -
        XM LIVE     3 CELT   CELT     55860   8/28/2013 BCEL   STC ck#1163                       USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55862   8/28/2013 REST   deliver stock                     USD                   700.00        -          -
        XM LIVE     3 CELT   CELT     55863   8/28/2013 BCEL   Empire ck#1164                    USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55901   8/29/2013 REST   directors fees                    USD                 4,500.00        -          -
        XM LIVE     3 CELT   CELT     55907   8/29/2013 REST   deliver stock                     USD                   600.00        -          -
        XM LIVE     3 CELT   CELT     55908   8/29/2013 BCEL   Holladay ck#1165                  USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55911   8/29/2013 BCEL   STC ck#1166                       USD                   100.00        -          -
        XM LIVE     3 CELT   CELT     55910   8/29/2013 REST   deliver stock                     USD                 2,000.00        -          -
        XM LIVE     3 CELT   CELT     55933   8/30/2013 BCEL   commission withdrawal             USD          -     (2,300.00)       -          -
        XM LIVE     3 CELT   CELT     55933   8/30/2013 BCEL   commission withdrawal             USD          -      2,300.00        -          -
        XM LIVE     3 CELT   CELT     55996   8/30/2013 REST   commission withdrawal             USD          -    (25,700.00)       -          -
        XM LIVE     3 CELT   CELT     55996   8/30/2013 REST   commission withdrawal             USD          -     25,700.00        -          -
        XM LIVE     3 CELT   CELT     55997   8/30/2013 REST   commission withdrawal             CAD          -           -      (100.00)       -
                                                                                                                                                         Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     55997   8/30/2013 REST   commission withdrawal             CAD          -           -       100.00        -
        XM LIVE     3 CELT   CELT     56039   8/30/2013 WORK   internal transfer                 USD          -    (20,000.00)       -          -
        XM LIVE   219 CEL1   CELT     56039   8/30/2013 WORK   internal transfer                 USD          -     20,000.00        -          -
        XM LIVE     3 CELT   CELT     56090   8/31/2013 WORK   interest payment                  USD          -          2.20        -          -
        XM LIVE     3 CELT   CELT     56091   8/31/2013 WORK   interest payment                  CAD          -           -         0.13        -
        XM LIVE   219 CEL1   CELT     56089   8/31/2013 WORK   interest payment                  USD          -        531.21        -          -
        XM LIVE     3 CELT   CELT     57085    9/2/2013 REST   receive stock                     USD                   100.00        -          -



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        XM LIVE   3 CELT   CELT     56343    9/3/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56305    9/3/2013 CASH   debit                                         CAD       (7,000.00)         -      (7,000.00)       -
        XM LIVE   3 CELT   CELT     56444    9/3/2013 BSIT   forex                                         USD       (6,476.37)   (6,541.13)         -          -
                                                                                                                                                                         Case: 24-1770




        XM LIVE   3 CELT   CELT     56444    9/3/2013 BSIT   forex                                         CAD        6,748.38          -       6,748.38        -
        XM LIVE   3 CELT   CELT     56397    9/4/2013 REST   deliver stock                                 USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     56398    9/4/2013 BCEL   Empire ck#1168                                USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56400    9/4/2013 REST   directors fee                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56401    9/4/2013 REST   directors fee                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56412    9/4/2013 REST   deliver stock                                 USD                     1,200.00          -          -
        XM LIVE   3 CELT   CELT     56413    9/4/2013 BCEL   Holladay ck#1167                              USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56415    9/4/2013 REST   deliver stock                                 USD                       600.00          -          -
        XM LIVE   3 CELT   CELT     56416    9/4/2013 BCEL   Holladay ck#1169                              USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56418    9/4/2013 REST   deliver stock                                 USD                     1,200.00          -          -
        XM LIVE   3 CELT   CELT     56419    9/4/2013 BCEL   STC ck#1170                                   USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56470    9/5/2013 REST   directors fee                                 USD                       300.00          -          -
        XM LIVE   3 CELT   CELT     56442    9/5/2013 BCEL   Holladay Stock ck #814                        USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56468    9/5/2013 REST   directors fee                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56469    9/5/2013 REST   directors fee                                 USD                       300.00          -          -
                                                                                                                                                                         Document: 00118249068




        XM LIVE   3 CELT   CELT     56499    9/6/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56513    9/6/2013 REST   deliver stock                                 USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     56604    9/9/2013 REST   deliver stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56636   9/10/2013 REST   deliver stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56637   9/10/2013 REST   deliver stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56644   9/10/2013 REST   receive stock                                 CAD                          -         100.00        -
        XM LIVE   3 CELT   CELT     56706   9/11/2013 REST   receive stock                                 USD                       100.00          -          -




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        XM LIVE   3 CELT   CELT     56707   9/11/2013 REST   receive stock                                 USD                       100.00          -          -
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        XM LIVE   3 CELT   CELT     56708   9/11/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56716   9/11/2013 REST   directors fee                                 USD                       600.00          -          -
        XM LIVE   3 CELT   CELT     56717   9/11/2013 REST   deliver stock                                 USD                     1,000.00          -          -
        XM LIVE   3 CELT   CELT     56719   9/11/2013 REST   directors fee                                 USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     56738   9/12/2013 REST   directors fee                                 USD                       600.00          -          -
        XM LIVE   3 CELT   CELT     56745   9/12/2013 REST   directors fee                                 USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     56768   9/12/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56749   9/12/2013 BCEL   Island ck#1172                                USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56748   9/12/2013 REST   director fee + fedex #796673798966            USD                       150.00          -          -
        XM LIVE   3 CELT   CELT     56767   9/12/2013 BCEL   Computershare ck #147                         CAD                          -         100.00        -
        XM LIVE   3 CELT   CELT     56790   9/13/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56817   9/13/2013 REST   directors fee                                 USD                       300.00          -          -
        XM LIVE   3 CELT   CELT     56818   9/13/2013 REST   directors fee                                 USD                       200.00          -          -
        XM LIVE   3 CELT   CELT     56829   9/13/2013 BCEL   Holladay Stock ck #817                        USD                       100.00          -          -
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        XM LIVE   3 CELT   CELT     56830   9/13/2013 BCEL   Empire Stock ck #816                          USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56994   9/16/2013 REST   receive stock                                 CAD                          -         100.00        -
        XM LIVE   3 CELT   CELT     56898   9/16/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56894   9/16/2013 REST   deliver stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56895   9/16/2013 REST   directors fee + fedex #796698654898           USD                       250.00          -          -
        XM LIVE   3 CELT   CELT     56896   9/16/2013 REST   receive stock                                 USD                       100.00          -          -
        XM LIVE   3 CELT   CELT     56897   9/16/2013 REST   receive stock                                 USD                       100.00          -          -



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        XM LIVE   3 CELT   CELT     56900   9/16/2013 REST   directors fee                        USD                      600.00         -          -
        XM LIVE   3 CELT   CELT     56998   9/17/2013 REST   directors fee                        USD                      300.00         -          -
        XM LIVE   3 CELT   CELT     56920   9/17/2013 REST   deliver stock                        USD                      100.00         -          -
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        XM LIVE   3 CELT   CELT     56922   9/17/2013 BCEL   Empire ck#1173                       USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     56993   9/17/2013 REST   receive stock                        CAD                         -        100.00        -
        XM LIVE   3 CELT   CELT     57020   9/18/2013 REST   deliver stock                        USD                      200.00         -          -
        XM LIVE   3 CELT   CELT     57049   9/18/2013 REST   deliver stock                        CAD                         -        200.00        -
        XM LIVE   3 CELT   CELT     57051   9/18/2013 REST   deliver stock                        USD                      600.00         -          -
        XM LIVE   3 CELT   CELT     57052   9/18/2013 BCEL   STC ck#1174                          USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57076   9/19/2013 BCEL   Equity Transfer ck #148              CAD                         -        100.00        -
        XM LIVE   3 CELT   CELT     57099   9/19/2013 REST   deliver stock                        USD                      400.00         -          -
        XM LIVE   3 CELT   CELT     57080   9/19/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57082   9/19/2013 REST   directors fee                        USD                      200.00         -          -
        XM LIVE   3 CELT   CELT     57083   9/19/2013 REST   directors fee                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57084   9/19/2013 BCEL   Richardson & Patel ck#1175           USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57096   9/19/2013 REST   deliver stock                        USD                      400.00         -          -
        XM LIVE   3 CELT   CELT     57097   9/19/2013 BCEL   NATCO ck#1176                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57100   9/19/2013 BCEL   Globex ck#1177                       USD                      100.00         -          -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     57137   9/20/2013 REST   deliver stock                        USD                      700.00         -          -
        XM LIVE   3 CELT   CELT     57206   9/20/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57160   9/20/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57144   9/20/2013 REST   directors fee                        USD                      400.00         -          -
        XM LIVE   3 CELT   CELT     57161   9/20/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57138   9/20/2013 BCEL   Globex ck#1178                       USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57147   9/20/2013 REST   directors fee                        USD                      300.00         -          -




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        XM LIVE   3 CELT   CELT     58949   9/20/2013 REST   deliver stock                        CAD                         -        100.00        -
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        XM LIVE   3 CELT   CELT     57215   9/23/2013 REST   deliver stock                        USD                      900.00         -          -
        XM LIVE   3 CELT   CELT     57212   9/23/2013 REST   deliver stock                        USD                      400.00         -          -
        XM LIVE   3 CELT   CELT     57214   9/23/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57217   9/23/2013 BCEL   Globex ck#1179                       USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57257   9/24/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57269   9/24/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57291   9/25/2013 BCEL   V-Stock ck#1180                      USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57292   9/25/2013 REST   fedex #796766966566                  USD                       50.00         -          -
        XM LIVE   3 CELT   CELT     57293   9/25/2013 REST   receive stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57301   9/25/2013 REST   directors fee                        USD                      450.00         -          -
        XM LIVE   3 CELT   CELT     57318   9/25/2013 REST   directors fee                        USD                      300.00         -          -
        XM LIVE   3 CELT   CELT     60371   9/25/2013 REST   deliver stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57325   9/25/2013 REST   deliver stock                        USD                    1,400.00         -          -
        XM LIVE   3 CELT   CELT     57326   9/25/2013 BCEL   Signature ck#1181                    USD                      100.00         -          -
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        XM LIVE   3 CELT   CELT     57403   9/26/2013 REST   directors fee                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57404   9/26/2013 REST   deliver stock                        USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57406   9/26/2013 REST   deliver stock                        USD                      400.00         -          -
        XM LIVE   3 CELT   CELT     57407   9/26/2013 BCEL   Pacific ck#1182                      USD                      100.00         -          -
        XM LIVE   3 CELT   CELT     57409   9/26/2013 REST   directors fee                        USD                      300.00         -          -
        XM LIVE   3 CELT   CELT     57410   9/26/2013 REST   directors fee                        USD                      400.00         -          -
        XM LIVE   3 CELT   CELT     57400   9/27/2013 CASH   debit                                CAD       (6,000.00)        -     (6,000.00)       -



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        XM LIVE     3 CELT   CELT     57647   9/27/2013 WORK   forex                                         USD          -     (5,192.41)        -          -
        XM LIVE     3 CELT   CELT     57647   9/27/2013 WORK   forex                                         CAD          -           -      5,300.00        -
        XM LIVE     3 CELT   CELT     57519   9/30/2013 BCEL   commission withdrawal                         USD          -     (1,900.00)        -          -
                                                                                                                                                                      Case: 24-1770




        XM LIVE     3 CELT   CELT     57519   9/30/2013 BCEL   commission withdrawal                         USD          -      1,900.00         -          -
        XM LIVE     3 CELT   CELT     57520   9/30/2013 BCEL   commission withdrawal                         CAD          -           -       (200.00)       -
        XM LIVE     3 CELT   CELT     57520   9/30/2013 BCEL   commission withdrawal                         CAD          -           -        200.00        -
        XM LIVE     3 CELT   CELT     57597   9/30/2013 REST   commission withdrawal                         USD          -    (19,300.00)        -          -
        XM LIVE     3 CELT   CELT     57597   9/30/2013 REST   commission withdrawal                         USD          -     19,300.00         -          -
        XM LIVE     3 CELT   CELT     57598   9/30/2013 REST   commission withdrawal                         CAD          -           -       (500.00)       -
        XM LIVE     3 CELT   CELT     57598   9/30/2013 REST   commission withdrawal                         CAD          -           -        500.00        -
        XM LIVE     3 CELT   CELT     58079   9/30/2013 BCEL   Richardson & Patel ck#1185                    USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     57497   9/30/2013 REST   directors fee                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     57513   9/30/2013 REST   deliver stock                                 USD                   200.00         -          -
        XM LIVE     3 CELT   CELT     57514   9/30/2013 BCEL   Empire ck#1183                                USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     57516   9/30/2013 REST   deliver stock                                 USD                   200.00         -          -
        XM LIVE     3 CELT   CELT     57517   9/30/2013 BCEL   Action ck#1184                                USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     57642   9/30/2013 WORK   internal transfer                             USD          -    (20,000.00)        -          -
        XM LIVE   219 CEL1   CELT     57642   9/30/2013 WORK   internal transfer                             USD          -     20,000.00         -          -
                                                                                                                                                                      Document: 00118249068




        XM LIVE     3 CELT   CELT     57829   9/30/2013 WORK   interest payment                              USD          -          2.87         -          -
        XM LIVE   219 CEL1   CELT     57828   9/30/2013 WORK   interest payment                              USD          -        563.16         -          -
        XM LIVE     3 CELT   CELT     57803   10/1/2013 REST   deliver stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     57802   10/1/2013 REST   deliver stock                                 USD                   300.00         -          -
        XM LIVE     3 CELT   CELT     58028   10/1/2013 REST   deliver stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58223   10/1/2013 REST   receive stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58034   10/1/2013 REST   receive stock                                 USD                   100.00         -          -




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        XM LIVE     3 CELT   CELT     58068   10/2/2013 REST   SPA\s X 21                                    USD                 2,100.00         -          -
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        XM LIVE     3 CELT   CELT     58077   10/2/2013 REST   directors fee                                 USD                   300.00         -          -
        XM LIVE     3 CELT   CELT     58191   10/2/2013 REST   deliver stock                                 USD                   700.00         -          -
        XM LIVE     3 CELT   CELT     58194   10/2/2013 BCEL   Globex ck#1188                                USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58148   10/2/2013 REST   deliver stock                                 USD                   600.00         -          -
        XM LIVE     3 CELT   CELT     58149   10/2/2013 BCEL   Signature ck#1186                             USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58151   10/2/2013 REST   directors fee + fedex #796825703135           USD                   200.00         -          -
        XM LIVE     3 CELT   CELT     58152   10/2/2013 BCEL   Pacific ck#1187                               USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58199   10/3/2013 REST   directors fee + fedex #796835785673           USD                   150.00         -          -
        XM LIVE     3 CELT   CELT     58200   10/3/2013 REST   deliver stock                                 USD                   400.00         -          -
        XM LIVE     3 CELT   CELT     58201   10/3/2013 REST   deliver stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58202   10/3/2013 BCEL   Island ck#1189                                USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58146   10/3/2013 REST   directors fee                                 USD                   300.00         -          -
        XM LIVE     3 CELT   CELT     58204   10/3/2013 REST   deliver stock                                 USD                 1,700.00         -          -
        XM LIVE     3 CELT   CELT     58205   10/3/2013 BCEL   Globex ck#1190                                USD                   100.00         -          -
                                                                                                                                                                      Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     58173   10/4/2013 REST   deliver stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58244   10/4/2013 REST   receive stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58209   10/4/2013 REST   deliver stock                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58210   10/4/2013 BCEL   Action ck#1191                                USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58213   10/4/2013 BCEL   Natco ck#1192                                 USD                   100.00         -          -
        XM LIVE     3 CELT   CELT     58215   10/4/2013 REST   directors fee                                 USD                   200.00         -          -
        XM LIVE     3 CELT   CELT     58211   10/4/2013 REST   deliver stock                                 USD                   400.00         -          -



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        XM LIVE   3 CELT   CELT     58242 10/7/2013 REST    directors fee                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58250 10/7/2013 REST    directors fee                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     58264 10/7/2013 BCEL    Natco ck#1193                                  USD                  100.00   -           -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     58266 10/7/2013 REST    deliver stock                                  USD                  900.00   -           -
        XM LIVE   3 CELT   CELT     58267 10/7/2013 BCEL    Globex ck#1194                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58269 10/7/2013 REST    deliver stock                                  USD                1,100.00   -           -
        XM LIVE   3 CELT   CELT     58270 10/7/2013 BCEL    Globex ck#1195                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58296 10/8/2013 REST    directors fee                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58297 10/8/2013 REST    directors fee                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58353 10/8/2013 REST    deliver stock                                  USD                1,400.00   -           -
        XM LIVE   3 CELT   CELT     58355 10/8/2013 BCEL    Globex ck#1196                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58357 10/8/2013 REST    deliver stock                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58358 10/8/2013 BCEL    Empire ck#1197                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58332 10/9/2013 REST    receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58350 10/9/2013 REST    receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58360 10/9/2013 REST    deliver stock                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     58361 10/9/2013 BCEL    Natco ck#1198                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58364 10/9/2013 REST    deliver stock                                  USD                1,800.00   -           -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     58365 10/9/2013 BCEL    Globex ck#1199                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58368 10/9/2013 BCEL    Scott Lawler Attorney at Law ck#1200           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58369 10/9/2013 REST    deliver stock                                  USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     58371 10/9/2013 BCEL    Island ck#1201                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58440 10/14/2013 REST   directors fee                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58441 10/14/2013 REST   directors fee                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58527 10/15/2013 REST   deliver stock                                  USD                  700.00   -           -




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        XM LIVE   3 CELT   CELT     58528 10/15/2013 BCEL   Empire ck #1202                                USD                  100.00   -           -
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        XM LIVE   3 CELT   CELT     58530 10/15/2013 REST   receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58549 10/16/2013 REST   directors fee                                  USD                  300.00   -           -
        XM LIVE   3 CELT   CELT     58579 10/16/2013 REST   deliver stock                                  USD                  900.00   -           -
        XM LIVE   3 CELT   CELT     58574 10/16/2013 REST   deliver stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58577 10/16/2013 BCEL   Natco ck#1203                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58580 10/16/2013 BCEL   Globex ck#1204                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58576 10/16/2013 REST   deliver stock                                  USD                  900.00   -           -
        XM LIVE   3 CELT   CELT     60066 10/18/2013 REST   internal transfer                              USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58693 10/18/2013 REST   receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58696 10/21/2013 BCEL   Natco ck#1205                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58698 10/21/2013 BCEL   Scott Lawler Attorney at Law ck#1206           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58699 10/21/2013 REST   deliver stock                                  USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     58700 10/21/2013 BCEL   Presidents ck#1207                             USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58712 10/21/2013 REST   deliver stock                                  USD                1,100.00   -           -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     58713 10/21/2013 BCEL   Globex ck#1208                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58715 10/21/2013 REST   deliver stock                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     58716 10/21/2013 BCEL   Philadelphia ck#1209                           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58718 10/21/2013 REST   directors fee                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58695 10/21/2013 REST   deliver stock                                  USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     58765 10/22/2013 REST   deliver stock                                  USD                1,500.00   -           -
        XM LIVE   3 CELT   CELT     58756 10/22/2013 REST   deliver stock                                  USD                1,000.00   -           -



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        XM LIVE   3 CELT   CELT     58757 10/22/2013 BCEL   Pacific ck#1210                                USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58759 10/22/2013 REST   deliver stock                                  USD                  600.00   -           -
        XM LIVE   3 CELT   CELT     58760 10/22/2013 BCEL   Columbia ck#1211                               USD                  100.00   -           -
                                                                                                                                                              Case: 24-1770




        XM LIVE   3 CELT   CELT     58762 10/22/2013 REST   deliver stock                                  USD                1,200.00   -           -
        XM LIVE   3 CELT   CELT     58763 10/22/2013 BCEL   Globex ck#1212                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58766 10/22/2013 BCEL   Action ck#1213                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58768 10/22/2013 BCEL   Action ck#1213                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58770 10/22/2013 BCEL   Natco ck#1214                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58769 10/22/2013 REST   deliver stock                                  USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     58871 10/23/2013 BCEL   Action ck#1217 **VOID**                        USD                     -     -           -
        XM LIVE   3 CELT   CELT     58865 10/23/2013 REST   deliver stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58867 10/23/2013 REST   deliver stock                                  USD                  800.00   -           -
        XM LIVE   3 CELT   CELT     58868 10/23/2013 BCEL   Holladay ck#1216                               USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58870 10/23/2013 REST   deliver stock                                  USD                2,700.00   -           -
        XM LIVE   3 CELT   CELT     58884 10/23/2013 BCEL   Globex ck#1218                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58886 10/23/2013 BCEL   Globex ck#1218                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58883 10/23/2013 REST   deliver stock                                  USD                1,000.00   -           -
        XM LIVE   3 CELT   CELT     58860 10/24/2013 REST   internal transfer                              USD                     -     -           -
                                                                                                                                                              Document: 00118249068




        XM LIVE   3 CELT   CELT     58887 10/24/2013 BCEL   Globex ck#1219                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58889 10/24/2013 BCEL   Globex ck#1221                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58897 10/24/2013 REST   receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58899 10/24/2013 REST   receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58900 10/24/2013 REST   deliver stock                                  USD                  400.00   -           -
        XM LIVE   3 CELT   CELT     58901 10/24/2013 BCEL   Presidents ck#1222                             USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58984 10/25/2013 BCEL   Scott Lawler ck#1227                           USD                  100.00   -           -




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        XM LIVE   3 CELT   CELT     58974 10/25/2013 REST   deliver stock                                  USD                1,700.00   -           -
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        XM LIVE   3 CELT   CELT     58975 10/25/2013 BCEL   Globex ck#1225                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58977 10/25/2013 REST   deliver stock                                  USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     58978 10/25/2013 BCEL   Holladay ck#1224                               USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58982 10/25/2013 BCEL   Natco ck#1126                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58985 10/25/2013 BCEL   Scott Lawler Attorney at Law ck#1227           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58935 10/25/2013 REST   internal transfer                              CAD                     -     -           -
        XM LIVE   3 CELT   CELT     58938 10/25/2013 BCEL   Scott Lawler Attorney at Law ck#1223           USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     59015 10/25/2013 REST   deliver stock                                  USD                2,000.00   -           -
        XM LIVE   3 CELT   CELT     59016 10/25/2013 BCEL   Globex ck#1228                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     58981 10/25/2013 REST   deliver stock                                  USD                  700.00   -           -
        XM LIVE   3 CELT   CELT     58973 10/28/2013 REST   directors fee                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     59023 10/28/2013 REST   directors fee                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     59024 10/28/2013 REST   directors fee                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     59048 10/29/2013 REST   receive stock                                  USD                  100.00   -           -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     59104 10/30/2013 REST   deliver stock                                  USD                2,000.00   -           -
        XM LIVE   3 CELT   CELT     59107 10/30/2013 BCEL   Action ck#1229                                 USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     59113 10/30/2013 REST   receive stock                                  USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     59115 10/30/2013 REST   deliver stock                                  USD                  200.00   -           -
        XM LIVE   3 CELT   CELT     59116 10/30/2013 BCEL   Presidents ck#1230                             USD                  100.00   -           -
        XM LIVE   3 CELT   CELT     59117 10/30/2013 REST   deliver stock                                  USD                  500.00   -           -
        XM LIVE   3 CELT   CELT     59118 10/30/2013 BCEL   Holladay ck#1231                               USD                  100.00   -           -



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        XM LIVE     3 CELT   CELT     59123 10/30/2013 REST   directors fee                                 USD                        500.00          -          -
        XM LIVE     3 CELT   CELT     59106 10/30/2013 REST   receive stock                                 USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     59171 10/31/2013 BCEL   commission withdrawal                         USD             -       (4,800.00)         -          -
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        XM LIVE     3 CELT   CELT     59171 10/31/2013 BCEL   commission withdrawal                         USD             -        4,800.00          -          -
        XM LIVE     3 CELT   CELT     59249 10/31/2013 REST   commission withdrawal                         USD             -      (41,550.00)         -          -
        XM LIVE     3 CELT   CELT     59249 10/31/2013 REST   commission withdrawal                         USD             -       41,550.00          -          -
        XM LIVE     3 CELT   CELT     59250 10/31/2013 REST   commission withdrawal                         CAD             -             -        (350.00)       -
        XM LIVE     3 CELT   CELT     59250 10/31/2013 REST   commission withdrawal                         CAD             -             -         350.00        -
        XM LIVE     3 CELT   CELT     59616 10/31/2013 REST   receive stock                                 USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     59158 10/31/2013 CASH   debit                                         CAD       (5,000.00)          -      (5,000.00)       -
        XM LIVE     3 CELT   CELT     59299 10/31/2013 WORK   internal transfer                             USD             -      (40,000.00)         -          -
        XM LIVE   219 CEL1   CELT     59299 10/31/2013 WORK   internal transfer                             USD             -       40,000.00          -          -
        XM LIVE     3 CELT   CELT     59358 10/31/2013 WORK   interest payment                              USD             -            0.16          -          -
        XM LIVE   219 CEL1   CELT     59357 10/31/2013 WORK   interest payment                              USD             -          635.92          -          -
        XM LIVE     3 CELT   CELT     59684 11/1/2013 WORK    forex                                         USD             -       (4,508.64)         -          -
        XM LIVE     3 CELT   CELT     59684 11/1/2013 WORK    forex                                         CAD             -             -       4,650.00        -
        XM LIVE     3 CELT   CELT     59614 11/1/2013 REST    deliver stock                                 USD                        500.00          -          -
        XM LIVE     3 CELT   CELT     59615 11/1/2013 BCEL    STC ck#1232                                   USD                        100.00          -          -
                                                                                                                                                                           Document: 00118249068




        XM LIVE     3 CELT   CELT     59617 11/1/2013 REST    deliver stock                                 USD                      2,000.00          -          -
        XM LIVE     3 CELT   CELT     59618 11/1/2013 BCEL    Globex ck#1233                                USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     59595 11/1/2013 REST    receive stock                                 USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60007 11/13/2013 REST   deliver stock                                 USD                        200.00          -          -
        XM LIVE     3 CELT   CELT     60009 11/13/2013 BCEL   Pacific ck#1234                               USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     59621 11/13/2013 REST   deliver stock                                 USD                        200.00          -          -
        XM LIVE     3 CELT   CELT     60017 11/13/2013 BCEL   Natco ck#1235                                 USD                        100.00          -          -




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        XM LIVE     3 CELT   CELT     60075 11/13/2013 REST   deliver stock                                 USD                        400.00          -          -
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        XM LIVE     3 CELT   CELT     60076 11/13/2013 BCEL   Island ck#1236                                USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     59929 11/13/2013 REST   directors fee                                 USD                        400.00          -          -
        XM LIVE     3 CELT   CELT     60078 11/18/2013 REST   directors fee                                 USD                        300.00          -          -
        XM LIVE     3 CELT   CELT     60082 11/18/2013 BCEL   Natco ck#1237                                 USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60091 11/18/2013 REST   directors fee                                 USD                        400.00          -          -
        XM LIVE     3 CELT   CELT     60094 11/18/2013 REST   directors fee                                 USD                        500.00          -          -
        XM LIVE     3 CELT   CELT     60184 11/19/2013 BCEL   Globex ck#1240                                USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60183 11/19/2013 REST   deliver stock                                 USD                      2,900.00          -          -
        XM LIVE     3 CELT   CELT     60189 11/19/2013 REST   deliver stock                                 USD                        200.00          -          -
        XM LIVE     3 CELT   CELT     60190 11/19/2013 BCEL   Presidents ck#1241                            USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60191 11/19/2013 BCEL   Empire ck#1242                                USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60192 11/19/2013 REST   directors fee + fedex #797199248570           USD                        200.00          -          -
        XM LIVE     3 CELT   CELT     60145 11/19/2013 BCEL   Globex ck#1238                                USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60146 11/19/2013 REST   directors fee                                 USD                        600.00          -          -
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        XM LIVE     3 CELT   CELT     60151 11/19/2013 REST   deliver stock                                 USD                        900.00          -          -
        XM LIVE     3 CELT   CELT     60152 11/19/2013 BCEL   Globex ck#1239                                USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60178 11/20/2013 REST   receive stock                                 USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60179 11/20/2013 REST   receive stock                                 USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60199 11/20/2013 REST   deliver stock                                 USD                        600.00          -          -
        XM LIVE     3 CELT   CELT     60200 11/20/2013 BCEL   Holladay ck#1243                              USD                        100.00          -          -
        XM LIVE     3 CELT   CELT     60248 11/21/2013 REST   receive stock                                 USD                        100.00          -          -



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        XM LIVE   3 CELT   CELT     60249 11/21/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60244 11/21/2013 REST   directors fee                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60263 11/21/2013 REST   directors fee                                  USD                   300.00        -          -
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        XM LIVE   3 CELT   CELT     60257 11/21/2013 REST   deliver stock                                  USD                 1,200.00        -          -
        XM LIVE   3 CELT   CELT     60258 11/21/2013 BCEL   Globex ck#1244                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60260 11/21/2013 REST   deliver stock                                  USD                   400.00        -          -
        XM LIVE   3 CELT   CELT     60261 11/21/2013 BCEL   Holladay ck#1245                               USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60297 11/22/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60298 11/22/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60301 11/22/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60302 11/22/2013 REST   receive stock                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60374 11/22/2013 BCEL   Empire ck#1248                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60376 11/22/2013 REST   deliver stock                                  USD                   900.00        -          -
        XM LIVE   3 CELT   CELT     60377 11/22/2013 BCEL   Globex ck#1249                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60380 11/22/2013 BCEL   Globex ck#1250                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60382 11/22/2013 REST   deliver stock                                  USD                   400.00        -          -
        XM LIVE   3 CELT   CELT     60383 11/22/2013 BCEL   Holladay ck#1246                               USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60385 11/22/2013 REST   deliver stock                                  USD                 1,300.00        -          -
                                                                                                                                                                   Document: 00118249068




        XM LIVE   3 CELT   CELT     60386 11/22/2013 BCEL   Action ck#1247                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60379 11/22/2013 REST   deliver stock                                  USD                 1,300.00        -          -
        XM LIVE   3 CELT   CELT     60373 11/22/2013 REST   deliver stock                                  USD                   600.00        -          -
        XM LIVE   3 CELT   CELT     60389 11/25/2013 BCEL   Equity Financial ck #149                       CAD                      -       100.00        -
        XM LIVE   3 CELT   CELT     60402 11/25/2013 REST   deliver stock                                  USD                 1,100.00        -          -
        XM LIVE   3 CELT   CELT     60403 11/25/2013 REST   deliver stock                                  USD                      -          -          -
        XM LIVE   3 CELT   CELT     60405 11/25/2013 BCEL   Globex ck#1252                                 USD                   100.00        -          -




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        XM LIVE   3 CELT   CELT     60408 11/25/2013 REST   deliver stock                                  USD                 1,000.00        -          -
                                                                                                                                                                   Page: 261




        XM LIVE   3 CELT   CELT     60415 11/25/2013 BCEL   Action ck#1253                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60417 11/25/2013 REST   directors fee + fedex #797247236274            USD                   250.00        -          -
        XM LIVE   3 CELT   CELT     60418 11/25/2013 BCEL   Empire ck#1254                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60420 11/25/2013 REST   transfers + fedex #797247368835                USD                   500.00        -          -
        XM LIVE   3 CELT   CELT     60421 11/25/2013 BCEL   Island ck#1255                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60422 11/25/2013 BCEL   Globex ck#1256                                 USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60469 11/26/2013 REST   directors fee                                  USD                   500.00        -          -
        Pre2015   3 CELT   CELT     76418 11/26/2013 REST   warrants expired                               CAD                      -       100.00        -
        XM LIVE   3 CELT   CELT     60487 11/26/2013 REST   deliver stock                                  USD                 4,000.00        -          -
        XM LIVE   3 CELT   CELT     60488 11/26/2013 BCEL   V-Stock ck#1257                                USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60527 11/27/2013 REST   directors fee                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60528 11/27/2013 REST   directors fee                                  USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60555 11/28/2013 BCEL   Scott Lawler Attorney at Law ck#1259           USD                   100.00        -          -
        XM LIVE   3 CELT   CELT     60556 11/28/2013 REST   fedex #797272698433                            USD                    50.00        -          -
                                                                                                                                                                   Date Filed: 02/18/2025




        XM LIVE   3 CELT   CELT     60582 11/29/2013 BCEL   commission withdrawal                          USD          -     (2,600.00)       -          -
        XM LIVE   3 CELT   CELT     60582 11/29/2013 BCEL   commission withdrawal                          USD          -      2,600.00        -          -
        XM LIVE   3 CELT   CELT     60583 11/29/2013 BCEL   commission withdrawal                          CAD          -           -      (100.00)       -
        XM LIVE   3 CELT   CELT     60583 11/29/2013 BCEL   commission withdrawal                          CAD          -           -       100.00        -
        XM LIVE   3 CELT   CELT     60652 11/29/2013 REST   commission withdrawal                          USD          -    (25,700.00)       -          -
        XM LIVE   3 CELT   CELT     60652 11/29/2013 REST   commission withdrawal                          USD          -     25,700.00        -          -
        XM LIVE   3 CELT   CELT     60690 11/29/2013 WORK   internal transfer                              USD          -    (20,000.00)       -          -



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        XM LIVE   219 CEL1   CELT     60690 11/29/2013 WORK   internal transfer                              USD             -      20,000.00           -          -
        XM LIVE     3 CELT   CELT     60691 11/29/2013 REST   directors fee                                  USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     60692 11/29/2013 REST   deliver stock                                  USD                       800.00           -          -
                                                                                                                                                                            Case: 24-1770




        XM LIVE     3 CELT   CELT     60695 11/29/2013 BCEL   Island ck#1260                                 USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     60739 11/30/2013 WORK   interest payment                               USD             -           1.59           -          -
        XM LIVE     3 CELT   CELT     60740 11/30/2013 WORK   interest payment                               CAD             -            -            0.01        -
        XM LIVE   219 CEL1   CELT     60738 11/30/2013 WORK   interest payment                               USD             -         715.71           -          -
        XM LIVE     3 CELT   CELT     61222 12/2/2013 WORK    forex                                          USD             -      (9,399.05)          -          -
        XM LIVE     3 CELT   CELT     61222 12/2/2013 WORK    forex                                          CAD             -            -        9,899.99        -
        XM LIVE     3 CELT   CELT     60949 12/2/2013 BCEL    TMX Equity Transfer ck #150                    CAD                          -          100.00        -
        XM LIVE     3 CELT   CELT     60962 12/2/2013 CASH    debit                                          CAD      (10,000.00)         -      (10,000.00)       -
        XM LIVE     3 CELT   CELT     60966 12/2/2013 REST    deliver stock                                  CAD                          -          100.00        -
        XM LIVE     3 CELT   CELT     61023 12/3/2013 BCEL    Computershare ck #152                          CAD                          -          100.00        -
        XM LIVE     3 CELT   CELT     61106 12/4/2013 REST    deliver stock                                  USD                     1,200.00           -          -
        XM LIVE     3 CELT   CELT     61107 12/4/2013 BCEL    Island ck#1261                                 USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61110 12/5/2013 REST    receive stock                                  USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61117 12/5/2013 BCEL    Booth Udall Fuller ck#1262                     USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61118 12/5/2013 BCEL    Booth Udall Fuller ck#1262                     USD                       100.00           -          -
                                                                                                                                                                            Document: 00118249068




        XM LIVE     3 CELT   CELT     61120 12/5/2013 REST    deliver stock                                  USD                       600.00           -          -
        XM LIVE     3 CELT   CELT     61121 12/5/2013 BCEL    Island ck#1263                                 USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61124 12/5/2013 REST    directors fee                                  USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61125 12/5/2013 REST    directors fee                                  USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     61126 12/5/2013 REST    directors fee                                  USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61127 12/5/2013 REST    directors fee                                  USD                     1,000.00           -          -
        XM LIVE     3 CELT   CELT     61128 12/5/2013 REST    directors fee                                  USD                       200.00           -          -




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        XM LIVE     3 CELT   CELT     61872 12/6/2013 REST    internal transfer                              USD                       100.00           -          -
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        XM LIVE     3 CELT   CELT     61172 12/6/2013 REST    directors fee                                  USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     61175 12/6/2013 BCEL    Booth Udall Fuller ck#1264                     USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61176 12/6/2013 BCEL    Booth Udall Fuller ck#1264                     USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61177 12/6/2013 BCEL    Booth Udall Fuller ck#1264                     USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61198 12/6/2013 REST    receive stock                                  USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61242 12/9/2013 REST    receive stock                                  USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61346 12/9/2013 REST    directors fee                                  USD                       300.00           -          -
        XM LIVE     3 CELT   CELT     61243 12/9/2013 REST    directors fee                                  USD                       400.00           -          -
        XM LIVE     3 CELT   CELT     61353 12/12/2013 REST   dividend certificates                          USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61355 12/12/2013 REST   dividend certificates                          USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61369 12/12/2013 REST   directors fee                                  USD                       200.00           -          -
        XM LIVE     3 CELT   CELT     61377 12/12/2013 REST   deliver stock                                  USD                     1,000.00           -          -
        XM LIVE     3 CELT   CELT     61373 12/12/2013 REST   directors fee + fedex # 797389817618           USD                       400.00           -          -
        XM LIVE     3 CELT   CELT     61374 12/12/2013 BCEL   Holladay ck#1265                               USD                       100.00           -          -
                                                                                                                                                                            Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     61375 12/12/2013 REST   deliver stock                                  CAD                          -          100.00        -
        XM LIVE     3 CELT   CELT     61378 12/12/2013 BCEL   Empire ck#1266                                 USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61380 12/12/2013 REST   deliver stock                                  USD                       400.00           -          -
        XM LIVE     3 CELT   CELT     61381 12/12/2013 BCEL   Empire ck#1267                                 USD                       100.00           -          -
        XM LIVE     3 CELT   CELT     61385 12/12/2013 REST   deliver stock                                  USD                       300.00           -          -
        XM LIVE     3 CELT   CELT     61386 12/12/2013 BCEL   Natco ck#1268                                  USD                       100.00           -          -
        XM LIVE   219 CEL1   CELT     61435 12/13/2013 WORK   Merry Xmas 2013!                               CAD             -            -      100,000.00        -



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        XM LIVE   219 CEL1   CELT     61452 12/13/2013 WORK   forex                                USD          -   (309,641.18)          -          -
        XM LIVE   219 CEL1   CELT     61452 12/13/2013 WORK   forex                                CAD          -           -      325,123.24        -
        XM LIVE     3 CELT   CELT     61541 12/16/2013 REST   directors fee re: SNWR               USD                   200.00           -          -
                                                                                                                                                              Case: 24-1770




        XM LIVE     3 CELT   CELT     61554 12/16/2013 REST   deliver stock                        USD                   300.00           -          -
        XM LIVE     3 CELT   CELT     61556 12/16/2013 BCEL   Quicksilver ck#1269                  USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61623 12/17/2013 REST   directors fee                        USD                   600.00           -          -
        XM LIVE     3 CELT   CELT     61624 12/17/2013 REST   directors fee                        USD                   300.00           -          -
        XM LIVE     3 CELT   CELT     61625 12/17/2013 REST   deliver stock                        USD                   400.00           -          -
        XM LIVE     3 CELT   CELT     61626 12/17/2013 BCEL   Empire ck#1270                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61628 12/17/2013 REST   deliver stock                        USD                 1,500.00           -          -
        XM LIVE     3 CELT   CELT     61629 12/17/2013 BCEL   Island ck#1271                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61632 12/17/2013 REST   deliver stock                        USD                   500.00           -          -
        XM LIVE     3 CELT   CELT     61633 12/17/2013 BCEL   Action ck#1272                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61611 12/17/2013 REST   receive stock                        USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61690 12/18/2013 REST   deliver stock                        USD                   400.00           -          -
        XM LIVE     3 CELT   CELT     61669 12/18/2013 REST   directors fee                        USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61670 12/18/2013 REST   directors fee                        USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61692 12/18/2013 BCEL   Presidents ck#1273                   USD                   100.00           -          -
                                                                                                                                                              Document: 00118249068




        XM LIVE     3 CELT   CELT     61695 12/18/2013 REST   deliver stock                        USD                   500.00           -          -
        XM LIVE     3 CELT   CELT     61696 12/18/2013 BCEL   Action ck#1274                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61699 12/18/2013 REST   deliver stock                        USD                   700.00           -          -
        XM LIVE     3 CELT   CELT     61700 12/18/2013 BCEL   Island ck#1275                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61754 12/19/2013 REST   deliver stock                        USD                   200.00           -          -
        XM LIVE     3 CELT   CELT     61794 12/20/2013 REST   directors fee                        USD                   400.00           -          -
        XM LIVE     3 CELT   CELT     62630 12/20/2013 REST   receive stock                        USD                   100.00           -          -




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        XM LIVE     3 CELT   CELT     61806 12/20/2013 REST   deliver stock                        USD                 1,400.00           -          -
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        XM LIVE     3 CELT   CELT     61807 12/20/2013 BCEL   Island ck#1277                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61810 12/20/2013 REST   deliver stock                        USD                   600.00           -          -
        XM LIVE     3 CELT   CELT     61811 12/20/2013 BCEL   Action ck#1278                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61812 12/20/2013 BCEL   Action ck#1279                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61891 12/23/2013 REST   deliver stock                        USD                   200.00           -          -
        XM LIVE     3 CELT   CELT     61892 12/23/2013 BCEL   Island ck#1280                       USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61893 12/23/2013 BCEL   Holladay ck#1281                     USD                   100.00           -          -
        XM LIVE     3 CELT   CELT     61944 12/31/2013 BCEL   commission withdrawal                USD          -     (2,400.00)          -          -
        XM LIVE     3 CELT   CELT     61944 12/31/2013 BCEL   commission withdrawal                USD          -      2,400.00           -          -
        XM LIVE     3 CELT   CELT     61945 12/31/2013 BCEL   commission withdrawal                CAD          -           -         (200.00)       -
        XM LIVE     3 CELT   CELT     61945 12/31/2013 BCEL   commission withdrawal                CAD          -           -          200.00        -
        XM LIVE     3 CELT   CELT     62029 12/31/2013 REST   commission withdrawal                USD          -    (16,500.00)          -          -
        XM LIVE     3 CELT   CELT     62029 12/31/2013 REST   commission withdrawal                USD          -     16,500.00           -          -
        XM LIVE     3 CELT   CELT     62030 12/31/2013 REST   commission withdrawal                CAD          -           -         (200.00)       -
                                                                                                                                                              Date Filed: 02/18/2025




        XM LIVE     3 CELT   CELT     62030 12/31/2013 REST   commission withdrawal                CAD          -           -          200.00        -
        XM LIVE     3 CELT   CELT     62069 12/31/2013 WORK   internal transfer                    USD          -    (15,000.00)          -          -
        XM LIVE   219 CEL1   CELT     62069 12/31/2013 WORK   internal transfer                    USD          -     15,000.00           -          -
        XM LIVE     3 CELT   CELT     62277 12/31/2013 WORK   interest payment                     USD          -          0.61           -          -
        XM LIVE     3 CELT   CELT     62278 12/31/2013 WORK   interest payment                     CAD          -           -            0.01        -
        Pre2015     3 CELT   CELT     70960 12/31/2013 REST   commission opening balance           USD          -        200.00           -          -
        Pre2015     3 CELT   CELT     70961 12/31/2013 REST   commission opening balance           CAD          -           -          100.00        -



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        XM LIVE   219 CEL1   CELT     62275 12/31/2013 WORK   interest payment                   USD             -         306.63          -          -
        XM LIVE   219 CEL1   CELT     62276 12/31/2013 WORK   interest payment                   CAD             -            -         663.89        -
        Pre2015     3 CELT   CELT     78785   1/1/2014 REST   stock took back                    CAD                          -         100.00        -
                                                                                                                                                               Case: 24-1770




        XM LIVE     3 CELT   CELT     62864   1/3/2014 REST   directors fee                      USD                       500.00          -          -
        XM LIVE     3 CELT   CELT     62503   1/3/2014 REST   directors fee                      USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     62560   1/6/2014 REST   receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62562   1/6/2014 REST   receive stock                      CAD                          -         100.00        -
        XM LIVE     3 CELT   CELT     62626   1/7/2014 REST   directors fee                      USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     62627   1/7/2014 REST   receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62639   1/7/2014 REST   receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62632   1/7/2014 REST   receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62637   1/7/2014 REST   receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62638   1/7/2014 REST   receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62655   1/7/2014 REST   deliver stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62657   1/7/2014 BCEL   Empire ck#1282                     USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62786   1/9/2014 REST   directors fee                      USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     62790   1/9/2014 REST   directors fee                      USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     62791   1/9/2014 REST   directors fee                      USD                       300.00          -          -
                                                                                                                                                               Document: 00118249068




        XM LIVE     3 CELT   CELT     62841 1/10/2014 WORK    internal transfer                  USD             -       5,000.00          -          -
        XM LIVE     3 CELT   CELT     62867 1/13/2014 REST    directors fee                      USD                       200.00          -          -
        XM LIVE     3 CELT   CELT     62977 1/13/2014 LENO    forex                              USD       (5,169.04)   (5,220.73)         -          -
        XM LIVE     3 CELT   CELT     62977 1/13/2014 LENO    forex                              CAD        5,599.99          -       5,599.99        -
        XM LIVE     3 CELT   CELT     62895 1/13/2014 CASH    debit                              CAD       (6,000.00)         -      (6,000.00)       -
        Pre2015     3 CELT   CELT     63121 1/13/2014 REST    receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62987 1/14/2014 REST    deliver stock                      USD                       100.00          -          -




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        XM LIVE     3 CELT   CELT     62937 1/14/2014 REST    directors fee                      USD                       200.00          -          -
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        XM LIVE     3 CELT   CELT     62941 1/14/2014 REST    directors fee                      USD                       300.00          -          -
        XM LIVE     3 CELT   CELT     62944 1/14/2014 REST    receive stock                      USD                       100.00          -          -
        XM LIVE     3 CELT   CELT     62945 1/14/2014 REST    receive stock                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     63122 1/15/2014 REST    deliver stock                      USD                       500.00          -          -
        Pre2015     3 CELT   CELT     63123 1/15/2014 BCEL    Madison ck#1283                    USD                       100.00          -          -
        Pre2015     3 CELT   CELT     63119 1/22/2014 REST    directors fee                      USD                       200.00          -          -
        Pre2015     3 CELT   CELT     64065 1/24/2014 REST    receive stock                      CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     63274 1/27/2014 REST    directors fee                      USD                       400.00          -          -
        Pre2015     3 CELT   CELT     63294 1/28/2014 REST    directors fee                      USD                       200.00          -          -
        Pre2015     3 CELT   CELT     63305 1/28/2014 REST    directors fee                      USD                       200.00          -          -
        Pre2015     3 CELT   CELT     63309 1/28/2014 REST    directors fee                      USD                       300.00          -          -
        Pre2015     3 CELT   CELT     63299 1/28/2014 REST    receive stock                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     63320 1/28/2014 REST    receive stock                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     63322 1/28/2014 REST    receive stock                      USD                       100.00          -          -
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        Pre2015     3 CELT   CELT     63351 1/29/2014 REST    directors fee                      USD                       700.00          -          -
        Pre2015     3 CELT   CELT     63375 1/30/2014 BCEL    Equity Transfer ck #154            CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     63393 1/30/2014 REST    pick up                            CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     63430 1/31/2014 BCEL    commission withdrawal              USD             -        (200.00)         -          -
        Pre2015     3 CELT   CELT     63430 1/31/2014 BCEL    commission withdrawal              USD             -         200.00          -          -
        Pre2015     3 CELT   CELT     63431 1/31/2014 BCEL    commission withdrawal              CAD             -            -        (100.00)       -
        Pre2015     3 CELT   CELT     63431 1/31/2014 BCEL    commission withdrawal              CAD             -            -         100.00        -



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        Pre2015     3 CELT   CELT     63511   1/31/2014 REST   commission withdrawal              USD          -    (6,600.00)        -          -
        Pre2015     3 CELT   CELT     63511   1/31/2014 REST   commission withdrawal              USD          -     6,600.00         -          -
        Pre2015     3 CELT   CELT     63512   1/31/2014 REST   commission withdrawal              CAD          -          -       (500.00)       -
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        Pre2015     3 CELT   CELT     63512   1/31/2014 REST   commission withdrawal              CAD          -          -        500.00        -
        Pre2015     3 CELT   CELT     63561   1/31/2014 REST   receive stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63601   1/31/2014 WORK   interest payment                   USD          -         4.04         -          -
        Pre2015     3 CELT   CELT     63602   1/31/2014 WORK   interest payment                   CAD          -          -          0.15        -
        Pre2015   219 CEL1   CELT     63599   1/31/2014 WORK   interest payment                   USD          -        39.00         -          -
        Pre2015   219 CEL1   CELT     63600   1/31/2014 WORK   interest payment                   CAD          -          -      1,084.88        -
        Pre2015     3 CELT   CELT     76738    2/1/2014 REST   warrant expired                    CAD                     -           -          -
        Pre2015     3 CELT   CELT     63913    2/4/2014 REST   directors fee                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63914    2/4/2014 REST   directors fee                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63915    2/4/2014 REST   directors fee                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63916    2/4/2014 REST   directors fee                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63912    2/4/2014 REST   directors fee                      USD                  400.00         -          -
        Pre2015     3 CELT   CELT     63917    2/4/2014 REST   directors fee                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63898    2/4/2014 REST   deliver stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     63908    2/4/2014 REST   directors fee                      USD                  300.00         -          -
                                                                                                                                                          Document: 00118249068




        Pre2015     3 CELT   CELT     63945    2/5/2014 BCEL   Equity Transfer ck #155            CAD                     -        100.00        -
        Pre2015     3 CELT   CELT     63970    2/5/2014 REST   directors fee                      USD                  300.00         -          -
        Pre2015     3 CELT   CELT     64011    2/6/2014 REST   directors fee                      USD                  200.00         -          -
        Pre2015     3 CELT   CELT     64021    2/6/2014 REST   directors fee                      USD                  300.00         -          -
        Pre2015     3 CELT   CELT     64024    2/6/2014 REST   directors fee                      USD                1,000.00         -          -
        Pre2015     3 CELT   CELT     64029    2/6/2014 REST   directors fee                      USD                  300.00         -          -
        Pre2015     3 CELT   CELT     64031    2/6/2014 REST   directors fee                      USD                  300.00         -          -




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        Pre2015     3 CELT   CELT     64077    2/7/2014 REST   directors fee                      USD                  200.00         -          -
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        Pre2015     3 CELT   CELT     64195    2/7/2014 REST   directors fee                      USD                  200.00         -          -
        Pre2015     3 CELT   CELT     64194   2/12/2014 REST   directors fee                      USD                  200.00         -          -
        Pre2015     3 CELT   CELT     64196   2/12/2014 REST   directors fee                      USD                  900.00         -          -
        Pre2015     3 CELT   CELT     64197   2/12/2014 BCEL   Computershare ck #156              CAD                     -        100.00        -
        Pre2015     3 CELT   CELT     64204   2/12/2014 REST   receive stock                      CAD                     -        100.00        -
        Pre2015     3 CELT   CELT     64209   2/12/2014 REST   directors fee                      USD                  300.00         -          -
        Pre2015     3 CELT   CELT     64246   2/13/2014 REST   deliver stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     67643   2/17/2014 REST   receive stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64411   2/18/2014 REST   deliver stock                      USD                  400.00         -          -
        Pre2015     3 CELT   CELT     64414   2/18/2014 BCEL   Action ck#1284                     USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64371   2/18/2014 REST   receive stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64382   2/18/2014 REST   receive stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64383   2/18/2014 REST   receive stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64421   2/19/2014 BCEL   Action ck#1285                     USD                  100.00         -          -
                                                                                                                                                          Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     64420   2/19/2014 REST   deliver stock                      USD                2,300.00         -          -
        Pre2015     3 CELT   CELT     64424   2/19/2014 REST   deliver stock                      CAD                     -        200.00        -
        Pre2015     3 CELT   CELT     64426   2/19/2014 REST   deliver stock                      USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64427   2/19/2014 REST   deliver stock                      USD                1,300.00         -          -
        Pre2015     3 CELT   CELT     64428   2/19/2014 BCEL   Action ck#1285                     USD                  100.00         -          -
        Pre2015     3 CELT   CELT     64429   2/19/2014 REST   deliver stock                      USD                  600.00         -          -
        Pre2015     3 CELT   CELT     64430   2/19/2014 BCEL   Globex ck#1287                     USD                  100.00         -          -



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        Pre2015     3 CELT   CELT     64431   2/19/2014 REST   deliver stock                                 USD                   600.00        -          -
        Pre2015     3 CELT   CELT     64432   2/19/2014 BCEL   Globex ck#1286                                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     64504   2/20/2014 REST   deliver stock                                 USD                   600.00        -          -
                                                                                                                                                                     Case: 24-1770




        Pre2015     3 CELT   CELT     64505   2/20/2014 BCEL   Empire ck#1288                                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     64508   2/20/2014 REST   directors fee                                 USD                   800.00        -          -
        Pre2015     3 CELT   CELT     64509   2/20/2014 REST   directors fee                                 USD                   900.00        -          -
        Pre2015     3 CELT   CELT     64525   2/20/2014 REST   deliver stock                                 USD                   600.00        -          -
        Pre2015     3 CELT   CELT     64471   2/20/2014 BCEL   Equity Transfer ck #157                       CAD                      -       100.00        -
        Pre2015     3 CELT   CELT     64493   2/20/2014 BCEL   Equity Transfer ck #158                       CAD                      -       100.00        -
        Pre2015     3 CELT   CELT     64543   2/21/2014 REST   deliver stock                                 USD                   400.00        -          -
        Pre2015     3 CELT   CELT     64544   2/21/2014 BCEL   Island ck#1289                                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65294   2/24/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65568   2/25/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     64638   2/25/2014 BCEL   Computershare ck #159                         CAD                      -       100.00        -
        Pre2015     3 CELT   CELT     65567   2/25/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     64680   2/26/2014 BCEL   Equity Transfer ck #160                       CAD                      -       100.00        -
        Pre2015   219 CEL1   CELT     64705   2/26/2014 WORK   POAI filings                                  USD          -     20,000.00        -          -
        Pre2015     3 CELT   CELT     64694   2/26/2014 REST   receive stock                                 USD                   100.00        -          -
                                                                                                                                                                     Document: 00118249068




        Pre2015     3 CELT   CELT     64767   2/28/2014 BCEL   commission withdrawal                         USD          -       (700.00)       -          -
        Pre2015     3 CELT   CELT     64767   2/28/2014 BCEL   commission withdrawal                         USD          -        700.00        -          -
        Pre2015     3 CELT   CELT     64768   2/28/2014 BCEL   commission withdrawal                         CAD          -           -      (600.00)       -
        Pre2015     3 CELT   CELT     64768   2/28/2014 BCEL   commission withdrawal                         CAD          -           -       600.00        -
        Pre2015     3 CELT   CELT     64856   2/28/2014 REST   commission withdrawal                         USD          -    (14,700.00)       -          -
        Pre2015     3 CELT   CELT     64856   2/28/2014 REST   commission withdrawal                         USD          -     14,700.00        -          -
        Pre2015     3 CELT   CELT     64857   2/28/2014 REST   commission withdrawal                         CAD          -           -      (900.00)       -




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        Pre2015     3 CELT   CELT     64857   2/28/2014 REST   commission withdrawal                         CAD          -           -       900.00        -
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        Pre2015     3 CELT   CELT     64905   2/28/2014 WORK   internal transfer                             USD          -    (20,000.00)       -          -
        Pre2015   219 CEL1   CELT     64905   2/28/2014 WORK   internal transfer                             USD          -     20,000.00        -          -
        Pre2015     3 CELT   CELT     64948   2/28/2014 WORK   interest payment                              USD          -          8.13        -          -
        Pre2015     3 CELT   CELT     64949   2/28/2014 WORK   interest payment                              CAD          -           -         0.50        -
        Pre2015   219 CEL1   CELT     64946   2/28/2014 WORK   interest payment                              USD          -         41.89        -          -
        Pre2015   219 CEL1   CELT     64947   2/28/2014 WORK   interest payment                              CAD          -           -       982.39        -
        Pre2015     3 CELT   CELT     65173    3/3/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65176    3/3/2014 REST   directors fee                                 USD                   600.00        -          -
        Pre2015     3 CELT   CELT     65168    3/3/2014 REST   directors fee                                 USD                   900.00        -          -
        Pre2015     3 CELT   CELT     65169    3/3/2014 REST   directors fee                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     65334    3/3/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65240    3/4/2014 REST   directors fee & fedex #798108568425           USD                   300.00        -          -
        Pre2015     3 CELT   CELT     65241    3/4/2014 BCEL   Holladay ck#1290                              USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65242    3/4/2014 REST   deliver stock                                 USD                   800.00        -          -
                                                                                                                                                                     Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     65247    3/4/2014 REST   directors fee                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     65336    3/5/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65337    3/5/2014 REST   directors fee & fedex #798120562185           USD                   200.00        -          -
        Pre2015     3 CELT   CELT     65338    3/5/2014 BCEL   Holladay ck#1291                              USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65339    3/5/2014 REST   deliver stock                                 USD                   700.00        -          -
        Pre2015     3 CELT   CELT     65340    3/5/2014 BCEL   Empire ck#1292                                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     65342    3/5/2014 REST   deliver stock                                 USD                   200.00        -          -



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        Pre2015     3 CELT   CELT     65343    3/5/2014 REST   deliver stock                                 USD                       200.00           -          -
        Pre2015     3 CELT   CELT     65344    3/5/2014 BCEL   TOL ck#1293                                   USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65345    3/5/2014 BCEL   TOL ck#1293                                   USD                       100.00           -          -
                                                                                                                                                                            Case: 24-1770




        Pre2015     3 CELT   CELT     65348    3/5/2014 REST   deliver stock                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65349    3/5/2014 BCEL   Globex ck#1294                                USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65350    3/6/2014 REST   directors fee & fedex #798137836766           USD                       200.00           -          -
        Pre2015     3 CELT   CELT     65351    3/6/2014 BCEL   Holladay ck#1295                              USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65352    3/6/2014 REST   deliver stock                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65353    3/6/2014 BCEL   Madison ck#1296                               USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65355    3/6/2014 BCEL   Globex ck#1297                                USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65356    3/6/2014 BCEL   Globex ck#1297                                USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65357    3/6/2014 REST   directors fee & fedex #798137853677           USD                       225.00           -          -
        Pre2015     3 CELT   CELT     65358    3/6/2014 REST   directors fee & fedex #798137853677           USD                       225.00           -          -
        Pre2015     3 CELT   CELT     65360    3/6/2014 REST   directors fee                                 USD                       200.00           -          -
        Pre2015     3 CELT   CELT     65382    3/7/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65386    3/7/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65389    3/7/2014 REST   directors fee                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65396    3/7/2014 REST   directors fee                                 USD                       400.00           -          -
                                                                                                                                                                            Document: 00118249068




        Pre2015     3 CELT   CELT     65400    3/7/2014 REST   directors fee & fedex #798148616207           USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65401    3/7/2014 BCEL   Holladay ck#1298                              USD                       100.00           -          -
        Pre2015     3 CELT   CELT     66191   3/10/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65477   3/10/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65478   3/10/2014 REST   directors fee & fedex #798168563315           USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65480   3/10/2014 BCEL   Pacific ck#1299                               USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65516   3/11/2014 REST   deliver stock                                 USD                       100.00           -          -




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        Pre2015     3 CELT   CELT     65820   3/11/2014 LEMI   forex                                         USD       (2,614.62)   (2,640.77)          -          -
                                                                                                                                                                            Page: 267




        Pre2015     3 CELT   CELT     65820   3/11/2014 LEMI   forex                                         CAD        2,899.35          -        2,899.35        -
        Pre2015   219 CEL1   CELT     80368   3/11/2014 BCHA   Alistair Yule ck #175                         CAD      (50,000.00)         -      (50,000.00)       -
        Pre2015     3 CELT   CELT     65523   3/11/2014 CASH   debit                                         CAD       (5,000.00)         -       (5,000.00)       -
        Pre2015     3 CELT   CELT     65585   3/11/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65584   3/11/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65545   3/11/2014 REST   directors fee                                 USD                       200.00           -          -
        Pre2015     3 CELT   CELT     65674   3/12/2014 REST   deliver stock                                 USD                       600.00           -          -
        Pre2015     3 CELT   CELT     65677   3/12/2014 REST   deliver stock                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65678   3/12/2014 BCEL   Natco ck#1300                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65578   3/12/2014 REST   directors fee                                 USD                       400.00           -          -
        Pre2015     3 CELT   CELT     65579   3/12/2014 REST   directors fee                                 USD                       600.00           -          -
        Pre2015     3 CELT   CELT     65712   3/14/2014 REST   receive stock                                 CAD                          -          100.00        -
        Pre2015     3 CELT   CELT     65713   3/14/2014 REST   receive stock                                 CAD                          -          100.00        -
        Pre2015     3 CELT   CELT     65714   3/14/2014 REST   receive stock                                 CAD                          -          100.00        -
                                                                                                                                                                            Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     65715   3/14/2014 REST   receive stock                                 CAD                          -          100.00        -
        Pre2015   219 CEL1   CELT     65724   3/14/2014 WORK   BMAV 2 x 10Q                                  USD             -       3,000.00           -          -
        Pre2015     3 CELT   CELT     65857   3/17/2014 REST   deliver stock                                 USD                       200.00           -          -
        Pre2015     3 CELT   CELT     65881   3/18/2014 BCEL   STC ck#1303 **VOID**                          USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65860   3/18/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     65863   3/18/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     65874   3/18/2014 REST   directors fee                                 USD                       600.00           -          -



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        Pre2015     3 CELT   CELT     65875   3/18/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     65876   3/18/2014 REST   directors fee + fedex #798260199269           USD                        200.00          -          -
        Pre2015     3 CELT   CELT     65877   3/18/2014 REST   deliver stock                                 USD                        900.00          -          -
                                                                                                                                                                            Case: 24-1770




        Pre2015     3 CELT   CELT     65880   3/18/2014 REST   deliver stock                                 USD                      1,000.00          -          -
        Pre2015     3 CELT   CELT     65883   3/18/2014 BCEL   Holladay ck#1304                              USD                        100.00          -          -
        Pre2015     3 CELT   CELT     65926   3/19/2014 REST   directors fee                                 USD                        200.00          -          -
        Pre2015     3 CELT   CELT     65927   3/19/2014 REST   directors fee                                 USD                        400.00          -          -
        Pre2015     3 CELT   CELT     65930   3/19/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     65932   3/19/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     65944   3/19/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66188   3/21/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66076   3/21/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66078   3/21/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66204   3/26/2014 REST   deliver stock                                 USD                        900.00          -          -
        Pre2015     3 CELT   CELT     66205   3/26/2014 BCEL   Columbia ck#1305                              USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66206   3/26/2014 REST   deliver stock                                 USD                      1,000.00          -          -
        Pre2015     3 CELT   CELT     66207   3/26/2014 BCEL   Globex ck#1306                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66211   3/26/2014 REST   directors fee + fedex #798346012344           USD                        300.00          -          -
                                                                                                                                                                            Document: 00118249068




        Pre2015     3 CELT   CELT     66212   3/26/2014 BCEL   Action ck#1308                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66213   3/26/2014 BCEL   Holladay ck#1309                              USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66214   3/26/2014 REST   directors fee + fedex #798346012344           USD                        200.00          -          -
        Pre2015     3 CELT   CELT     66248   3/27/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66510   3/27/2014 REST   deliver stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66511   3/27/2014 REST   deliver stock                                 USD                        400.00          -          -
        Pre2015     3 CELT   CELT     66513   3/27/2014 BCEL   Action ck#1311                                USD                        100.00          -          -




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        Pre2015     3 CELT   CELT     66515   3/27/2014 REST   deliver stock                                 USD                        800.00          -          -
                                                                                                                                                                            Page: 268




        Pre2015     3 CELT   CELT     66518   3/27/2014 BCEL   West Coast ck#1310                            USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66521   3/28/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     66329   3/31/2014 BCEL   commission withdrawal                         USD             -       (2,100.00)         -          -
        Pre2015     3 CELT   CELT     66329   3/31/2014 BCEL   commission withdrawal                         USD             -        2,100.00          -          -
        Pre2015     3 CELT   CELT     66417   3/31/2014 REST   commission withdrawal                         USD             -      (18,150.00)         -          -
        Pre2015     3 CELT   CELT     66417   3/31/2014 REST   commission withdrawal                         USD             -       18,150.00          -          -
        Pre2015     3 CELT   CELT     66418   3/31/2014 REST   commission withdrawal                         CAD             -             -        (400.00)       -
        Pre2015     3 CELT   CELT     66418   3/31/2014 REST   commission withdrawal                         CAD             -             -         400.00        -
        Pre2015     3 CELT   CELT     69254   3/31/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66478   3/31/2014 WORK   internal transfer                             USD             -      (20,000.00)         -          -
        Pre2015   219 CEL1   CELT     66478   3/31/2014 WORK   internal transfer                             USD             -       20,000.00          -          -
        Pre2015     3 CELT   CELT     66718   3/31/2014 WORK   interest payment                              USD             -            3.73          -          -
        Pre2015     3 CELT   CELT     66719   3/31/2014 WORK   interest payment                              CAD             -             -           0.59        -
        Pre2015   219 CEL1   CELT     66716   3/31/2014 WORK   interest payment                              USD             -          150.17          -          -
                                                                                                                                                                            Date Filed: 02/18/2025




        Pre2015   219 CEL1   CELT     66717   3/31/2014 WORK   interest payment                              CAD             -             -       1,003.85        -
        Pre2015     3 CELT   CELT     66919    4/1/2014 CASH   debit                                         CAD       (4,000.00)          -      (4,000.00)       -
        Pre2015     3 CELT   CELT     66922    4/1/2014 CASH   debit                                         USD       (2,000.00)    (2,000.00)         -          -
        Pre2015     3 CELT   CELT     67549    4/1/2014 REST   receive stock via book from at TA             USD                        100.00          -          -
        Pre2015     3 CELT   CELT     66947    4/1/2014 WORK   forex                                         USD             -       (1,789.39)         -          -
        Pre2015     3 CELT   CELT     66947    4/1/2014 WORK   forex                                         CAD             -             -       1,956.29        -
        Pre2015     3 CELT   CELT     67103    4/3/2014 REST   directors fee                                 USD                        900.00          -          -



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        Pre2015   3 CELT   CELT     67107    4/3/2014 REST   directors fee                                 USD                  600.00      -         -
        Pre2015   3 CELT   CELT     69917    4/4/2014 REST   warrant expired                               CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67473    4/4/2014 REST   directors fee + fedex #798448851371           USD                  150.00      -         -
                                                                                                                                                               Case: 24-1770




        Pre2015   3 CELT   CELT     67146    4/4/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67150    4/4/2014 REST   receive stock                                 CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67151    4/4/2014 REST   receive stock                                 CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67166    4/4/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67156    4/4/2014 BCEL   Peck ck #163 BCSC                             CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67542    4/4/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67173    4/5/2014 REST   directors fee                                 USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67778    4/7/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67274    4/8/2014 REST   deliver stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67337    4/9/2014 REST   deliver stock                                 CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67388   4/10/2014 REST   deliver stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67779   4/14/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67780   4/14/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67781   4/14/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67782   4/14/2014 REST   receive stock                                 USD                  100.00      -         -
                                                                                                                                                               Document: 00118249068




        Pre2015   3 CELT   CELT     67784   4/14/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67487   4/14/2014 BCEL   Computershare ck #165                         CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67491   4/14/2014 REST   directors fee                                 USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67492   4/14/2014 REST   directors fee                                 USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67543   4/14/2014 REST   fedex #798545065277                           USD                   50.00      -         -
        Pre2015   3 CELT   CELT     67544   4/14/2014 REST   deliver stock                                 USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67545   4/14/2014 BCEL   Presidents ck#1312                            USD                  100.00      -         -




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        Pre2015   3 CELT   CELT     67550   4/14/2014 REST   deliver stock                                 USD                1,500.00      -         -
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        Pre2015   3 CELT   CELT     67561   4/15/2014 REST   directors fee                                 USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67562   4/15/2014 REST   director fee                                  USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67551   4/15/2014 BCEL   V-Stock ck#1313                               USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67554   4/15/2014 REST   directors fee                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67555   4/15/2014 REST   directors fees                                USD                  200.00      -         -
        Pre2015   3 CELT   CELT     67560   4/15/2014 REST   directors fees                                USD                1,200.00      -         -
        Pre2015   3 CELT   CELT     67589   4/16/2014 BCEL   CST ck #166                                   CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67698   4/22/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67727   4/22/2014 REST   deliver stock                                 USD                  500.00      -         -
        Pre2015   3 CELT   CELT     67723   4/22/2014 BCEL   Computershare ck #167                         CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67728   4/22/2014 BCEL   Island ck#1314                                USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67788   4/23/2014 BCEL   Island ck#1315                                USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67768   4/23/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67787   4/23/2014 REST   deliver stock                                 USD                  300.00      -         -
                                                                                                                                                               Date Filed: 02/18/2025




        Pre2015   3 CELT   CELT     67790   4/24/2014 REST   directors fee                                 USD                  300.00      -         -
        Pre2015   3 CELT   CELT     67793   4/24/2014 REST   deliver stock                                 CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67794   4/24/2014 REST   deliver stock                                 CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67795   4/24/2014 REST   deliver stock                                 CAD                     -     100.00       -
        Pre2015   3 CELT   CELT     67834   4/24/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67992   4/25/2014 REST   receive stock                                 USD                  100.00      -         -
        Pre2015   3 CELT   CELT     67873   4/25/2014 REST   directors fee                                 USD                  200.00      -         -



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        Pre2015     3 CELT   CELT     67879   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67880   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70115   4/25/2014 REST   receive stock                                 USD                        100.00           -          -
                                                                                                                                                                             Case: 24-1770




        Pre2015     3 CELT   CELT     70116   4/25/2014 REST   receive stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67898   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67904   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67906   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67912   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67913   4/25/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67941   4/28/2014 REST   directors fee + fedex #798682148550           USD                        150.00           -          -
        Pre2015     3 CELT   CELT     67942   4/28/2014 BCEL   Island ck#1316                                USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67954   4/28/2014 REST   directors fee                                 USD                        300.00           -          -
        Pre2015     3 CELT   CELT     67955   4/28/2014 REST   directors fee                                 USD                        300.00           -          -
        Pre2015     3 CELT   CELT     67967   4/28/2014 REST   deliver stock                                 USD                        200.00           -          -
        Pre2015     3 CELT   CELT     67958   4/28/2014 REST   deliver stock                                 CAD                           -          200.00        -
        Pre2015     3 CELT   CELT     76420   4/28/2014 REST   deliver stock                                 CAD                           -          200.00        -
        Pre2015     3 CELT   CELT     67973   4/29/2014 REST   directors fee                                 USD                        300.00           -          -
        Pre2015     3 CELT   CELT     67997   4/29/2014 REST   deliver stock                                 USD                        600.00           -          -
                                                                                                                                                                             Document: 00118249068




        Pre2015     3 CELT   CELT     68001   4/29/2014 REST   directors fee                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     67999   4/29/2014 BCEL   STC ck#1317 ** VOID**                         USD                        100.00           -          -
        Pre2015     3 CELT   CELT     68074   4/30/2014 BCEL   commission withdrawal                         USD             -         (800.00)          -          -
        Pre2015     3 CELT   CELT     68074   4/30/2014 BCEL   commission withdrawal                         USD             -          800.00           -          -
        Pre2015     3 CELT   CELT     68075   4/30/2014 BCEL   commission withdrawal                         CAD             -             -         (400.00)       -
        Pre2015     3 CELT   CELT     68075   4/30/2014 BCEL   commission withdrawal                         CAD             -             -          400.00        -
        Pre2015     3 CELT   CELT     68162   4/30/2014 REST   commission withdrawal                         USD             -      (14,250.00)          -          -




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        Pre2015     3 CELT   CELT     68162   4/30/2014 REST   commission withdrawal                         USD             -       14,250.00           -          -
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        Pre2015     3 CELT   CELT     68163   4/30/2014 REST   commission withdrawal                         CAD             -             -         (900.00)       -
        Pre2015     3 CELT   CELT     68163   4/30/2014 REST   commission withdrawal                         CAD             -             -          900.00        -
        Pre2015     3 CELT   CELT     68061   4/30/2014 REST   directors fee                                 USD                        400.00           -          -
        Pre2015     3 CELT   CELT     68288   4/30/2014 WORK   interest payment                              USD             -            0.41           -          -
        Pre2015   219 CEL1   CELT     68286   4/30/2014 WORK   interest payment                              USD             -          198.59           -          -
        Pre2015   219 CEL1   CELT     68287   4/30/2014 WORK   interest payment                              CAD             -             -          934.17        -
        Pre2015     3 CELT   CELT     68493    5/1/2014 BCEL   Computershare ck #168                         CAD                           -          100.00        -
        Pre2015     3 CELT   CELT     68509    5/1/2014 CASH   debit                                         USD       (1,000.00)    (1,000.00)          -          -
        Pre2015     3 CELT   CELT     68510    5/1/2014 CASH   debit                                         CAD      (10,000.00)          -      (10,000.00)       -
        Pre2015     3 CELT   CELT     68573    5/1/2014 SGPE   forex                                         USD       (9,641.49)    (9,737.90)          -          -
        Pre2015     3 CELT   CELT     68573    5/1/2014 CASH   forex                                         CAD       10,343.12           -       10,343.12        -
        Pre2015     3 CELT   CELT     68550    5/2/2014 BCEL   STC ck#1318                                   USD                        100.00           -          -
        Pre2015     3 CELT   CELT     68569    5/2/2014 REST   fedex: 798740791509                           USD                         50.00           -          -
        Pre2015     3 CELT   CELT     68570    5/2/2014 REST   receive stock                                 USD                        100.00           -          -
                                                                                                                                                                             Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     68571    5/2/2014 REST   receive stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     68579    5/2/2014 REST   directors fee                                 USD                        300.00           -          -
        Pre2015     3 CELT   CELT     68580    5/2/2014 REST   directors fee                                 USD                        300.00           -          -
        Pre2015     3 CELT   CELT     68584    5/2/2014 REST   deliver stock                                 USD                        200.00           -          -
        Pre2015     3 CELT   CELT     68585    5/2/2014 BCEL   Island ck#1319                                USD                        100.00           -          -
        Pre2015     3 CELT   CELT     68587    5/2/2014 REST   deliver stock                                 USD                      6,000.00           -          -
        Pre2015     3 CELT   CELT     68588    5/2/2014 BCEL   Columbia ck#1302                              USD                        100.00           -          -



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        Pre2015     3 CELT   CELT     68613    5/5/2014 REST   deliver stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     68686    5/6/2014 REST   receive stock                     CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     68769    5/8/2014 REST   deliver stock                     USD                     100.00           -          -
                                                                                                                                                              Case: 24-1770




        Pre2015     3 CELT   CELT     68770    5/8/2014 REST   deliver stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     68779    5/8/2014 REST   receive stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     68780    5/8/2014 REST   receive stock                     CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     70229    5/9/2014 REST   receive stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     68878   5/13/2014 REST   directors fee                     USD                     300.00           -          -
        Pre2015     3 CELT   CELT     68881   5/13/2014 REST   directors fee                     USD                     300.00           -          -
        Pre2015     3 CELT   CELT     68882   5/13/2014 REST   directors fee                     USD                     300.00           -          -
        Pre2015     3 CELT   CELT     68884   5/13/2014 REST   directors fee                     USD                     300.00           -          -
        Pre2015     3 CELT   CELT     68928   5/15/2014 REST   directors fee                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     68929   5/15/2014 REST   directors fee                     USD                     200.00           -          -
        Pre2015     3 CELT   CELT     68931   5/15/2014 REST   directors fees                    USD                     300.00           -          -
        Pre2015     3 CELT   CELT     68948   5/15/2014 REST   receive stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     68961   5/15/2014 REST   receive stock                     CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     69067   5/20/2014 REST   receive stock                     CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     69092   5/21/2014 BCEL   Computershare ck #169             CAD                        -          100.00        -
                                                                                                                                                              Document: 00118249068




        Pre2015     3 CELT   CELT     69093   5/21/2014 BCEL   Computershare ck #169             CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     69107   5/21/2014 REST   deliver stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69108   5/21/2014 REST   deliver stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69109   5/21/2014 REST   directors fee                     USD                     300.00           -          -
        Pre2015     3 CELT   CELT     69131   5/22/2014 REST   deliver stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69177   5/22/2014 REST   receive stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69138   5/22/2014 REST   receive stock                     USD                     100.00           -          -




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        Pre2015     3 CELT   CELT     69140   5/22/2014 BCEL   Computershare ck #170             CAD                        -          100.00        -
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        Pre2015     3 CELT   CELT     69141   5/22/2014 BCEL   Computershare ck #170             CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     69176   5/23/2014 REST   receive stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69197   5/26/2014 REST   receive stock                     USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69788   5/27/2014 REST   deliver stock                     USD                     700.00           -          -
        Pre2015     3 CELT   CELT     69202   5/27/2014 BCEL   Computerhsare ck #171             CAD                        -          100.00        -
        Pre2015     3 CELT   CELT     69259   5/27/2014 REST   deliver stock                     USD                     400.00           -          -
        Pre2015     3 CELT   CELT     69260   5/27/2014 BCEL   Island ck#1321                    USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69277   5/27/2014 BCEL   VStock ck#1323                    USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69276   5/27/2014 REST   deliver stock                     USD                     600.00           -          -
        Pre2015     3 CELT   CELT     69212   5/27/2014 BCEL   Globex Transfer ck #851           USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69785   5/28/2014 REST   deliver stock                     USD                     600.00           -          -
        Pre2015     3 CELT   CELT     69786   5/28/2014 BCEL   Signature ck#1324                 USD                     100.00           -          -
        Pre2015     3 CELT   CELT     69789   5/28/2014 BCEL   Madison ck#1322                   USD                     100.00           -          -
        Pre2015     3 CELT   CELT     70005   5/28/2014 REST   receive stock                     USD                     100.00           -          -
                                                                                                                                                              Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     69318   5/29/2014 CASH   debit                             CAD      (10,000.00)       -      (10,000.00)       -
        Pre2015     3 CELT   CELT     69594   5/29/2014 WORK   interest payment                  USD             -         3.43           -          -
        Pre2015   219 CEL1   CELT     69592   5/29/2014 WORK   interest payment                  USD             -       192.44           -          -
        Pre2015   219 CEL1   CELT     69593   5/29/2014 WORK   interest payment                  CAD             -          -          905.26        -
        Pre2015     3 CELT   CELT     69387   5/30/2014 BCEL   commission withdrawal             USD             -      (600.00)          -          -
        Pre2015     3 CELT   CELT     69387   5/30/2014 BCEL   commission withdrawal             USD             -       600.00           -          -
        Pre2015     3 CELT   CELT     69388   5/30/2014 BCEL   commission withdrawal             CAD             -          -         (600.00)       -



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        Pre2015     3 CELT   CELT     69388   5/30/2014 BCEL   commission withdrawal                         CAD             -             -         600.00        -
        Pre2015     3 CELT   CELT     69480   5/30/2014 REST   commission withdrawal                         USD             -      (11,450.00)         -          -
        Pre2015     3 CELT   CELT     69480   5/30/2014 REST   commission withdrawal                         USD             -       11,450.00          -          -
                                                                                                                                                                            Case: 24-1770




        Pre2015     3 CELT   CELT     69481   5/30/2014 REST   commission withdrawal                         CAD             -             -        (300.00)       -
        Pre2015     3 CELT   CELT     69481   5/30/2014 REST   commission withdrawal                         CAD             -             -         300.00        -
        Pre2015     3 CELT   CELT     69547   5/30/2014 WORK   forex                                         USD             -       (8,501.68)         -          -
        Pre2015     3 CELT   CELT     69547   5/30/2014 WORK   forex                                         CAD             -             -       9,100.00        -
        Pre2015   219 CEL1   CELT     69779   5/30/2014 WORK   forex                                         USD             -      (27,878.86)         -          -
        Pre2015   219 CEL1   CELT     69779   5/30/2014 WORK   forex                                         CAD             -             -      30,636.11        -
        Pre2015     3 CELT   CELT     69784    6/1/2014 REST   directors fees                                USD                        200.00          -          -
        Pre2015     3 CELT   CELT     69792    6/1/2014 REST   directors fees                                USD                        300.00          -          -
        Pre2015     3 CELT   CELT     69793    6/1/2014 REST   directors fees                                USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70618    6/2/2014 SGPE   forex                                         USD       (1,870.31)    (1,989.01)         -          -
        Pre2015     3 CELT   CELT     70618    6/2/2014 SGPE   forex                                         CAD        2,000.00           -       2,000.00        -
        Pre2015     3 CELT   CELT     69870    6/3/2014 REST   deliver stock                                 CAD                           -         200.00        -
        Pre2015     3 CELT   CELT     69872    6/3/2014 REST   directors fee + fedex #770185527626           USD                        550.00          -          -
        Pre2015     3 CELT   CELT     69873    6/3/2014 BCEL   Island ck#1325                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     69877    6/3/2014 REST   directors fee                                 USD                        300.00          -          -
                                                                                                                                                                            Document: 00118249068




        Pre2015     3 CELT   CELT     69874    6/3/2014 REST   directors fee                                 USD                        600.00          -          -
        Pre2015     3 CELT   CELT     70049    6/4/2014 REST   deliver stock                                 USD                        900.00          -          -
        Pre2015     3 CELT   CELT     70051    6/4/2014 BCEL   Holladay ck#1327                              USD                        100.00          -          -
        Pre2015     3 CELT   CELT     70053    6/4/2014 BCEL   Transhare ck#1328                             USD                        100.00          -          -
        Pre2015     3 CELT   CELT     70052    6/4/2014 BCEL   Island ck#1326                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     70054    6/4/2014 BCEL   Globex ck#1329                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     70056    6/4/2014 REST   deliver stock                                 USD                        400.00          -          -




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        Pre2015     3 CELT   CELT     70058    6/4/2014 REST   deliver stock                                 USD                        600.00          -          -
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        Pre2015     3 CELT   CELT     70061    6/4/2014 REST   fedex #770188624239                           USD                         50.00          -          -
        Pre2015     3 CELT   CELT     70064    6/4/2014 REST   deliver stock                                 USD                        800.00          -          -
        Pre2015     3 CELT   CELT     70065    6/4/2014 BCEL   VStock ck#1330                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     70227    6/5/2014 REST   receive stock                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     69999    6/6/2014 REST   internal transfer                             CAD                           -         100.00        -
        Pre2015     3 CELT   CELT     70067    6/9/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70068    6/9/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70069    6/9/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70070    6/9/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70071    6/9/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70072    6/9/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70132   6/10/2014 REST   deliver stock                                 USD                        200.00          -          -
        Pre2015     3 CELT   CELT     70133   6/10/2014 BCEL   Action ck#1331                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     70135   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
                                                                                                                                                                            Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     70136   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70137   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70138   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70139   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70140   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70141   6/10/2014 REST   directors fee                                 USD                        300.00          -          -
        Pre2015     3 CELT   CELT     70103   6/10/2014 REST   receive stock                                 USD                        100.00          -          -



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        Pre2015     3 CELT   CELT     70109   6/10/2014 REST   receive stock                                       USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70184   6/11/2014 REST   receive stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70218   6/11/2014 REST   fedex# 770274861783                                 USD                        50.00          -          -
                                                                                                                                                                                 Case: 24-1770




        Pre2015     3 CELT   CELT     70219   6/11/2014 REST   deliver stock                                       CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     70221   6/11/2014 REST   deliver stock                                       USD                       200.00          -          -
        Pre2015     3 CELT   CELT     70222   6/11/2014 BCEL   Presidents ck#1332                                  USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70224   6/11/2014 REST   deliver stock                                       USD                       600.00          -          -
        Pre2015     3 CELT   CELT     70225   6/11/2014 BCEL   Holladay ck#1333                                    USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70228   6/11/2014 REST   directors fee                                       USD                     1,000.00          -          -
        Pre2015     3 CELT   CELT     70394   6/12/2014 REST   deliver stock                                       USD                       200.00          -          -
        Pre2015     3 CELT   CELT     70395   6/12/2014 BCEL   Presidents ck#1335                                  USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70397   6/12/2014 REST   deliver stock                                       USD                       200.00          -          -
        Pre2015     3 CELT   CELT     70398   6/12/2014 BCEL   Action ck#1336                                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70259   6/12/2014 BCEL   Computershare ck #173                               CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70245   6/12/2014 REST   receive stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70318   6/12/2014 REST   directors fee + fedex #770276239696                 USD                       300.00          -          -
        Pre2015     3 CELT   CELT     70319   6/12/2014 BCEL   Action ck#1334                                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70299   6/13/2014 REST   deliver stock                                       CAD                          -            -          -
                                                                                                                                                                                 Document: 00118249068




        Pre2015     3 CELT   CELT     70300   6/13/2014 REST   receive stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     74912   6/13/2014 REST   receive stock held in book form at the TA Island)   USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70368   6/16/2014 REST   deliver stock                                       USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70392   6/17/2014 BCEL   Valiant Trust ck #174 VML                           CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70401   6/17/2014 REST   directors fee                                       USD                       200.00          -          -
        Pre2015     3 CELT   CELT     70402   6/17/2014 REST   directors fee                                       USD                       200.00          -          -
        Pre2015     3 CELT   CELT     70403   6/17/2014 REST   directors fee                                       USD                       200.00          -          -




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        Pre2015     3 CELT   CELT     70404   6/17/2014 REST   directors fee                                       USD                       200.00          -          -
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        Pre2015     3 CELT   CELT     70488   6/17/2014 REST   deliver stock                                       CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     70494   6/17/2014 REST   deliver stock                                       USD                     2,400.00          -          -
        Pre2015     3 CELT   CELT     70495   6/17/2014 BCEL   Globex ck#1337                                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70422   6/17/2014 BCEL   Computershare ck #175                               CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70424   6/17/2014 BCEL   Computershare ck #175                               CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70581   6/18/2014 REST   deliver stock                                       USD                       600.00          -          -
        Pre2015     3 CELT   CELT     70582   6/18/2014 BCEL   Island ck#1339                                      USD                       100.00          -          -
        Pre2015     3 CELT   CELT     70423   6/18/2014 REST   deliver stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70472   6/18/2014 REST   deliver stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70473   6/18/2014 REST   deliver stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70474   6/18/2014 REST   deliver stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70475   6/18/2014 REST   deliver stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70480   6/18/2014 REST   deliver stock                                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     70496   6/18/2014 BCEL   VStock ck#1338                                      USD                       100.00          -          -
                                                                                                                                                                                 Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     70579   6/19/2014 CASH   debit                                               CAD      (2,000.00)          -      (2,000.00)       -
        Pre2015     3 CELT   CELT     70584   6/20/2014 REST   deliver stock                                       CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     70585   6/20/2014 REST   deliver stock                                       CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     70588   6/20/2014 REST   deliver stock                                       CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     70609   6/20/2014 REST   deliver stock                                       CAD                          -         200.00        -
        Pre2015   219 CEL1   CELT     70664   6/23/2014 WORK   forex                                               USD            -      (53,049.86)         -          -
        Pre2015   219 CEL1   CELT     70664   6/23/2014 WORK   forex                                               CAD            -             -      57,553.34        -



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        Pre2015     3 CELT   CELT     70687   6/23/2014 BCEL   Computershare ck #176                         CAD                           -          100.00        -
        Pre2015     3 CELT   CELT     70692   6/23/2014 REST   receive stock rejected by the TA)             USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70828   6/25/2014 REST   directors fee + fedex #770419055310           USD                        350.00           -          -
                                                                                                                                                                             Case: 24-1770




        Pre2015     3 CELT   CELT     70829   6/25/2014 REST   directors fee + fedex #770419055310           USD                        350.00           -          -
        Pre2015     3 CELT   CELT     70830   6/25/2014 REST   directors fee + fedex #770419055310           USD                        150.00           -          -
        Pre2015     3 CELT   CELT     70846   6/25/2014 BCEL   Globex Transfer ck #854                       USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70893   6/26/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70894   6/26/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70895   6/26/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70896   6/26/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     70897   6/26/2014 REST   deliver stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     73936   6/27/2014 WORK   interest payment                              USD             -            4.83           -          -
        Pre2015     3 CELT   CELT     73937   6/27/2014 WORK   interest payment                              CAD             -             -            0.93        -
        Pre2015   219 CEL1   CELT     73934   6/27/2014 WORK   interest payment                              USD             -          104.65           -          -
        Pre2015   219 CEL1   CELT     73935   6/27/2014 WORK   interest payment                              CAD             -             -        1,004.09        -
        Pre2015     3 CELT   CELT     73714   6/28/2014 BCEL   commission withdrawal                         USD             -       (1,800.00)          -          -
        Pre2015     3 CELT   CELT     73714   6/28/2014 BCEL   commission withdrawal                         USD             -        1,800.00           -          -
        Pre2015     3 CELT   CELT     73715   6/28/2014 BCEL   commission withdrawal                         CAD             -             -         (500.00)       -
                                                                                                                                                                             Document: 00118249068




        Pre2015     3 CELT   CELT     73715   6/28/2014 BCEL   commission withdrawal                         CAD             -             -          500.00        -
        Pre2015     3 CELT   CELT     73815   6/28/2014 REST   commission withdrawal                         USD             -      (19,000.00)          -          -
        Pre2015     3 CELT   CELT     73815   6/28/2014 REST   commission withdrawal                         USD             -       19,000.00           -          -
        Pre2015     3 CELT   CELT     73816   6/28/2014 REST   commission withdrawal                         CAD             -             -       (2,400.00)       -
        Pre2015     3 CELT   CELT     73816   6/28/2014 REST   commission withdrawal                         CAD             -             -        2,400.00        -
        Pre2015     3 CELT   CELT     76012   6/30/2014 BCEL   John Punzo ck #177                            CAD                           -          150.00        -
        Pre2015   219 CEL1   CELT     80084   6/30/2014 WORK   BMAV 10K                                      USD             -        2,500.00           -          -




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        Pre2015     3 CELT   CELT     74272    7/2/2014 REST   directors fees                                USD                        300.00           -          -
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        Pre2015     3 CELT   CELT     74275    7/2/2014 REST   deliver stock                                 USD                      1,300.00           -          -
        Pre2015     3 CELT   CELT     74276    7/2/2014 BCEL   Transhare ck#1340                             USD                        100.00           -          -
        Pre2015     3 CELT   CELT     74289    7/3/2014 CASH   debit                                         CAD      (10,000.00)          -      (10,000.00)       -
        Pre2015     3 CELT   CELT     74298    7/3/2014 BMRR   forex                                         USD       (6,791.38)    (6,859.29)          -          -
        Pre2015     3 CELT   CELT     74298    7/3/2014 BMRR   forex                                         CAD        7,099.07           -        7,099.07        -
        Pre2015     3 CELT   CELT     74358    7/8/2014 REST   directors fee                                 USD                        300.00           -          -
        Pre2015     3 CELT   CELT     74381    7/8/2014 SGPE   Dr James Kustin TT                            USD      (13,950.00)   (13,950.00)          -          -
        Pre2015     3 CELT   CELT     74426    7/9/2014 REST   directors fee                                 USD                        400.00           -          -
        Pre2015     3 CELT   CELT     74443    7/9/2014 REST   directors fee +fedex #770559619484            USD                        400.00           -          -
        Pre2015     3 CELT   CELT     74446    7/9/2014 BCEL   Action ck#1341                                USD                        100.00           -          -
        Pre2015     3 CELT   CELT     74449    7/9/2014 REST   receive stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     74481   7/11/2014 REST   directors fee                                 USD                        200.00           -          -
        Pre2015     3 CELT   CELT     74733   7/11/2014 REST   directors fee + fedex #770578057006           USD                        400.00           -          -
        Pre2015     3 CELT   CELT     74734   7/11/2014 BCEL   Action ck#1342                                USD                        100.00           -          -
                                                                                                                                                                             Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     74503   7/11/2014 REST   receive stock                                 USD                        100.00           -          -
        Pre2015     3 CELT   CELT     76736   7/14/2014 REST   warrant expired                               CAD                           -             -          -
        Pre2015     3 CELT   CELT     74616   7/16/2014 REST   receive stock                                 CAD                           -          100.00        -
        Pre2015     3 CELT   CELT     74617   7/16/2014 REST   receive stock                                 CAD                           -          100.00        -
        Pre2015     3 CELT   CELT     74618   7/16/2014 REST   receive stock                                 CAD                           -          100.00        -
        Pre2015     3 CELT   CELT     74658   7/17/2014 BCEL   Computershare ck #178                         CAD                           -          100.00        -
        Pre2015     3 CELT   CELT     74721   7/21/2014 REST   directors fee                                 USD                        200.00           -          -



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        Pre2015     3 CELT   CELT     74722   7/21/2014 REST   directors fee                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     74723   7/21/2014 REST   directors fee                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     74724   7/21/2014 REST   directors fee                                 USD                   200.00        -          -
                                                                                                                                                                     Case: 24-1770




        Pre2015     3 CELT   CELT     74725   7/21/2014 REST   directors fee                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     74726   7/21/2014 REST   directors fee                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     74743   7/21/2014 REST   deliver stock                                 USD                   400.00        -          -
        Pre2015     3 CELT   CELT     74744   7/21/2014 BCEL   Action ck# 1343                               USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74913   7/22/2014 REST   directors fee + fedex #770663658844           USD                   500.00        -          -
        Pre2015     3 CELT   CELT     74914   7/22/2014 BCEL   Action ck#1345                                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74915   7/22/2014 REST   deliver stock                                 USD                   200.00        -          -
        Pre2015     3 CELT   CELT     74916   7/22/2014 BCEL   Quicksilver ck#1344                           USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74774   7/22/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74776   7/22/2014 REST   directors fee                                 USD                   300.00        -          -
        Pre2015     3 CELT   CELT     74830   7/25/2014 REST   directors fee                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74831   7/25/2014 REST   directors fee                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74832   7/25/2014 REST   directors fee                                 USD                   300.00        -          -
        Pre2015     3 CELT   CELT     74867   7/25/2014 REST   receive stock                                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     74917   7/29/2014 REST   deliver stock                                 CAD                      -       400.00        -
                                                                                                                                                                     Document: 00118249068




        Pre2015     3 CELT   CELT     75023   7/29/2014 REST   deliver stock                                 USD                   800.00        -          -
        Pre2015     3 CELT   CELT     75021   7/29/2014 BCEL   West Coast ck#1346 ***VOID***                 USD                   100.00        -          -
        Pre2015     3 CELT   CELT     75016   7/30/2014 REST   diretors fee                                  USD                   300.00        -          -
        Pre2015     3 CELT   CELT     75020   7/30/2014 REST   directors fee + fedex #770726099982           USD                   250.00        -          -
        Pre2015     3 CELT   CELT     75022   7/30/2014 BCEL   The Corporate Place ck#1347                   USD                   100.00        -          -
        Pre2015     3 CELT   CELT     75024   7/30/2014 REST   deliver stock                                 USD                   400.00        -          -
        Pre2015     3 CELT   CELT     75025   7/30/2014 BCEL   Island ck#1348                                USD                   100.00        -          -




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        Pre2015     3 CELT   CELT     75027   7/30/2014 BCEL   Action ck #1349                               USD                   100.00        -          -
                                                                                                                                                                     Page: 275




        Pre2015     3 CELT   CELT     75028   7/30/2014 REST   directors fee + fedex #770726353588           USD                   400.00        -          -
        Pre2015     3 CELT   CELT     75029   7/30/2014 REST   deliver stock                                 USD                 1,500.00        -          -
        Pre2015     3 CELT   CELT     75030   7/30/2014 BCEL   Globex ck#1350                                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     75032   7/30/2014 REST   deliver stock                                 USD                   500.00        -          -
        Pre2015     3 CELT   CELT     75033   7/30/2014 BCEL   West Coast ck #1351 ***VOID***                USD                   100.00        -          -
        Pre2015     3 CELT   CELT     75050   7/31/2014 BCEL   commission withdrawal                         USD          -     (1,400.00)       -          -
        Pre2015     3 CELT   CELT     75050   7/31/2014 BCEL   commission withdrawal                         USD          -      1,400.00        -          -
        Pre2015     3 CELT   CELT     75051   7/31/2014 BCEL   commission withdrawal                         CAD          -           -      (100.00)       -
        Pre2015     3 CELT   CELT     75051   7/31/2014 BCEL   commission withdrawal                         CAD          -           -       100.00        -
        Pre2015     3 CELT   CELT     75103   7/31/2014 REST   commission withdrawal                         USD          -    (11,950.00)       -          -
        Pre2015     3 CELT   CELT     75103   7/31/2014 REST   commission withdrawal                         USD          -     11,950.00        -          -
        Pre2015     3 CELT   CELT     75104   7/31/2014 REST   commission withdrawal                         CAD          -           -      (700.00)       -
        Pre2015     3 CELT   CELT     75104   7/31/2014 REST   commission withdrawal                         CAD          -           -       700.00        -
        Pre2015     3 CELT   CELT     75606   7/31/2014 WORK   internal transfer                             USD          -    (10,000.00)       -          -
                                                                                                                                                                     Date Filed: 02/18/2025




        Pre2015   219 CEL1   CELT     75606   7/31/2014 WORK   internal transfer                             USD          -     10,000.00        -          -
        Pre2015     3 CELT   CELT     75039   7/31/2014 BCEL   V-Stock ck #1353 ***VOID***                   USD                   100.00        -          -
        Pre2015     3 CELT   CELT     75037   7/31/2014 REST   deliver stock                                 USD                   500.00        -          -
        Pre2015     3 CELT   CELT     75034   7/31/2014 REST   deliver stock                                 USD                   400.00        -          -
        Pre2015     3 CELT   CELT     75035   7/31/2014 BCEL   Action ck #1352                               USD                   100.00        -          -
        Pre2015     3 CELT   CELT     75204   7/31/2014 WORK   interest payment                              USD          -         10.28        -          -
        Pre2015     3 CELT   CELT     75205   7/31/2014 WORK   interest payment                              CAD          -           -         0.40        -



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        Pre2015   219 CEL1   CELT     75202   7/31/2014 WORK   interest payment                              USD             -           0.29           -          -
        Pre2015   219 CEL1   CELT     75203   7/31/2014 WORK   interest payment                              CAD             -            -        1,313.12        -
        Pre2015     3 CELT   CELT     75925    8/1/2014 REST   directors fees                                USD                       300.00           -          -
                                                                                                                                                                            Case: 24-1770




        Pre2015     3 CELT   CELT     76670    8/1/2014 REST   deliver stock to ACCO)                        USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76405    8/1/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76410    8/4/2014 REST   receive stock rejected by TA)                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     75449    8/5/2014 REST   deliver stock                                 USD                       200.00           -          -
        Pre2015     3 CELT   CELT     75567    8/7/2014 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)       -
        Pre2015     3 CELT   CELT     75602    8/7/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     75581    8/7/2014 SGPE   forex                                         USD       (9,155.00)   (9,155.00)          -          -
        Pre2015     3 CELT   CELT     75581    8/7/2014 CASH   forex                                         CAD        9,679.87          -        9,879.87        -
        Pre2015     3 CELT   CELT     75679    8/8/2014 REST   directors fee + fedex #770795131224           USD                       150.00           -          -
        Pre2015     3 CELT   CELT     75681    8/8/2014 BCEL   Globex ck #1354                               USD                       100.00           -          -
        Pre2015     3 CELT   CELT     75603    8/8/2014 BCEL   Computershare ck #179                         CAD                          -          100.00        -
        Pre2015     3 CELT   CELT     75605    8/8/2014 REST   receive stock                                 CAD                          -          100.00        -
        Pre2015     3 CELT   CELT     75680   8/12/2014 REST   directors fee + fedex #770819669141           USD                       200.00           -          -
        Pre2015     3 CELT   CELT     75682   8/12/2014 BCEL   Globex ck #1355                               USD                       100.00           -          -
        Pre2015     3 CELT   CELT     75683   8/12/2014 REST   directors fee                                 USD                       300.00           -          -
                                                                                                                                                                            Document: 00118249068




        Pre2015     3 CELT   CELT     75685   8/12/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     75686   8/12/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     75687   8/12/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     75711   8/13/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     75712   8/13/2014 REST   directors fee                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     75720   8/13/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     75722   8/13/2014 REST   receive stock                                 CAD                          -          100.00        -




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        Pre2017     3 ESQ    ESQ      88699   8/14/2014 REST   warrants expired                              CAD                          -          100.00        -
                                                                                                                                                                            Page: 276




        Pre2015     3 CELT   CELT     76048   8/21/2014 BCEL   92 Resources ck #180                          CAD                          -          240.00        -
        Pre2015     3 CELT   CELT     78769   8/22/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76107   8/25/2014 BCEL   Computershare ck #181                         CAD                          -          100.00        -
        Pre2015     3 CELT   CELT     76409   8/25/2014 REST   receive stock                                 USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76225   8/27/2014 BCEL   Holladay ck #1359 ***VOID***                  USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76179   8/27/2014 CASH   debit                                         CAD       (8,000.00)         -       (8,000.00)       -
        Pre2015     3 CELT   CELT     76682   8/27/2014 REST   deliver stock                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     76222   8/27/2014 BCEL   V-Stock ck #1358 **VOID**                     USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76224   8/27/2014 REST   deliver stock                                 USD                       400.00           -          -
        Pre2015     3 CELT   CELT     76213   8/27/2014 REST   deliver stock                                 CAD                          -          700.00        -
        Pre2015     3 CELT   CELT     76215   8/27/2014 REST   deliver stock                                 USD                       300.00           -          -
        Pre2015     3 CELT   CELT     76216   8/27/2014 BCEL   Presidents ck #1356                           USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76219   8/27/2014 BCEL   Globex ck #1357                               USD                       100.00           -          -
        Pre2015     3 CELT   CELT     76220   8/27/2014 REST   receive stock                                 USD                       100.00           -          -
                                                                                                                                                                            Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     76221   8/27/2014 REST   deliver stock                                 USD                       500.00           -          -
        Pre2015     3 CELT   CELT     76209   8/28/2014 WORK   forex                                         USD             -        (143.23)          -          -
        Pre2015     3 CELT   CELT     76209   8/28/2014 WORK   forex                                         CAD             -            -          153.31        -
        Pre2015     3 CELT   CELT     76278   8/29/2014 BCEL   commission withdrawal                         USD             -        (600.00)          -          -
        Pre2015     3 CELT   CELT     76278   8/29/2014 BCEL   commission withdrawal                         USD             -         600.00           -          -
        Pre2015     3 CELT   CELT     76279   8/29/2014 BCEL   commission withdrawal                         CAD             -            -         (590.00)       -
        Pre2015     3 CELT   CELT     76279   8/29/2014 BCEL   commission withdrawal                         CAD             -            -          590.00        -



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        Pre2015     3 CELT   CELT     76329   8/29/2014 REST   commission withdrawal                          USD             -      (4,450.00)        -          -
        Pre2015     3 CELT   CELT     76329   8/29/2014 REST   commission withdrawal                          USD             -       4,450.00         -          -
        Pre2015     3 CELT   CELT     76330   8/29/2014 REST   commission withdrawal                          CAD             -            -       (900.00)       -
                                                                                                                                                                           Case: 24-1770




        Pre2015     3 CELT   CELT     76330   8/29/2014 REST   commission withdrawal                          CAD             -            -        900.00        -
        Pre2015     3 CELT   CELT     76412   8/29/2014 REST   directors fee                                  USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76467   8/31/2014 WORK   interest payment                               USD             -           2.03         -          -
        Pre2015     3 CELT   CELT     76468   8/31/2014 WORK   interest payment                               CAD             -            -          0.50        -
        Pre2015   219 CEL1   CELT     76465   8/31/2014 WORK   interest payment                               USD             -          25.75         -          -
        Pre2015   219 CEL1   CELT     76466   8/31/2014 WORK   interest payment                               CAD             -            -      1,200.60        -
        Pre2015     3 CELT   CELT     76833    9/1/2014 BSIB   forex                                          USD       (5,278.90)   (5,331.69)        -          -
        Pre2015     3 CELT   CELT     76833    9/1/2014 BSIB   forex                                          CAD        5,675.92          -      5,675.92        -
        Pre2015     3 CELT   CELT     76683    9/2/2014 REST   directors fee                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     76685    9/2/2014 REST   directors fee                                  USD                       200.00         -          -
        Pre2015     3 CELT   CELT     76686    9/2/2014 REST   directors fee                                  CAD                          -        200.00        -
        Pre2015     3 CELT   CELT     76689    9/2/2014 REST   directors fee                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     76690    9/2/2014 REST   directors fee                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     76695    9/2/2014 REST   deliver stock                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     76697    9/2/2014 REST   deliver stock                                  USD                       300.00         -          -
                                                                                                                                                                           Document: 00118249068




        Pre2015     3 CELT   CELT     76698    9/2/2014 BCEL   V-Stock ck#1360                                USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76739    9/3/2014 REST   deliver stock                                  USD                       900.00         -          -
        Pre2015     3 CELT   CELT     76740    9/3/2014 REST   deliver stock                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     76741    9/3/2014 BCEL   Signature ck#1361                              USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76744    9/3/2014 REST   directors fee + fedex #771032712927            USD                       500.00         -          -
        Pre2015     3 CELT   CELT     76745    9/3/2014 BCEL   Action ck #1362                                USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76798    9/4/2014 REST   deliver stock                                  USD                       200.00         -          -




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        Pre2015     3 CELT   CELT     76797    9/4/2014 REST   deliver stock                                  USD                       200.00         -          -
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        Pre2015     3 CELT   CELT     77141    9/5/2014 REST   receive stock in book form at Island           USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76911    9/5/2014 REST   receive stock                                  USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76924    9/8/2014 REST   directors fee                                  USD                       200.00         -          -
        Pre2015     3 CELT   CELT     76927    9/8/2014 REST   directors fee                                  USD                       600.00         -          -
        Pre2015     3 CELT   CELT     76930    9/8/2014 REST   directors fee                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     76934    9/8/2014 REST   deliver stock                                  USD                       400.00         -          -
        Pre2015     3 CELT   CELT     76935    9/8/2014 BCEL   Island ck #1363                                USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76937    9/8/2014 REST   deliver stock                                  USD                       200.00         -          -
        Pre2015     3 CELT   CELT     76938    9/8/2014 BCEL   STC ck #1364                                   USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76940    9/8/2014 REST   deliver stock                                  USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76941    9/8/2014 REST   deliver stock                                  USD                     1,000.00         -          -
        Pre2015     3 CELT   CELT     76942    9/8/2014 BCEL   Globex ck #1365                                USD                       100.00         -          -
        Pre2015     3 CELT   CELT     76977    9/9/2014 REST   receive stock                                  CAD                          -        100.00        -
        Pre2015     3 CELT   CELT     77046   9/11/2014 REST   Directors fees                                 USD                    11,000.00         -          -
                                                                                                                                                                           Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     77045   9/11/2014 REST   Directors fees                                 USD                    11,000.00         -          -
        Pre2015     3 CELT   CELT     77142   9/12/2014 REST   directors fee                                  USD                       400.00         -          -
        Pre2015     3 CELT   CELT     77188   9/16/2014 REST   deliver stock                                  USD                       900.00         -          -
        Pre2015     3 CELT   CELT     77189   9/16/2014 BCEL   Action ck #1366                                USD                       100.00         -          -
        Pre2015     3 CELT   CELT     77191   9/16/2014 REST   directors fee                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     77183   9/16/2014 REST   directors fee                                  USD                       300.00         -          -
        Pre2015     3 CELT   CELT     77185   9/16/2014 REST   deliver stock per pina request                 USD                       400.00         -          -



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        Pre2015     3 CELT   CELT     77186   9/16/2014 REST   deliver stock per acco request                  USD                        800.00          -          -
        Pre2015     3 CELT   CELT     77187   9/16/2014 REST   deliver stock per acco request                  USD                           -            -          -
        Pre2015     3 CELT   CELT     77303   9/18/2014 REST   directors fee                                   CAD                           -         600.00        -
                                                                                                                                                                              Case: 24-1770




        Pre2015     3 CELT   CELT     77309   9/19/2014 REST   directors fee                                   USD                        300.00          -          -
        Pre2015     3 CELT   CELT     77310   9/19/2014 REST   directors fee                                   USD                        300.00          -          -
        Pre2015     3 CELT   CELT     77374   9/19/2014 REST   deliver stock                                   USD                        700.00          -          -
        Pre2015     3 CELT   CELT     77377   9/19/2014 BCEL   Action ck #1367                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77308   9/19/2014 REST   deliver stock per lion                          USD                        300.00          -          -
        Pre2015     3 CELT   CELT     79971   9/19/2014 REST   deliver stock per lion                          USD                      1,400.00          -          -
        Pre2015     3 CELT   CELT     77450   9/19/2014 REST   receive stock                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77375   9/22/2014 REST   directors fee                                   USD                        200.00          -          -
        Pre2015     3 CELT   CELT     77376   9/22/2014 REST   directors fee                                   USD                        200.00          -          -
        Pre2015     3 CELT   CELT     77379   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77380   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77381   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77382   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77383   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77384   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
                                                                                                                                                                              Document: 00118249068




        Pre2015     3 CELT   CELT     77385   9/22/2014 REST   directors fee                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77405   9/22/2014 REST   deliver stock                                   USD                        700.00          -          -
        Pre2015     3 CELT   CELT     77406   9/22/2014 BCEL   Action ck #1368                                 USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77410   9/22/2014 REST   proxy                                           USD                      1,100.00          -          -
        Pre2015     3 CELT   CELT     77444   9/23/2014 REST   directors fee                                   USD                        200.00          -          -
        Pre2015     3 CELT   CELT     77446   9/23/2014 REST   directors fee                                   USD                        300.00          -          -
        Pre2015     3 CELT   CELT     77447   9/23/2014 REST   directors fee                                   USD                        300.00          -          -




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        Pre2015   219 CEL1   CELT     77458   9/24/2014 SGGO   forex                                           USD      (22,135.65)   (22,357.01)         -          -
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        Pre2015   219 CEL1   CELT     77458   9/24/2014 SGGO   forex                                           CAD       24,000.00           -      24,000.00        -
        Pre2015     3 CELT   CELT     77473   9/24/2014 REST   directors fee                                   USD                        300.00          -          -
        Pre2015     3 CELT   CELT     77475   9/24/2014 REST   deliver stock                                   USD                        300.00          -          -
        Pre2015     3 CELT   CELT     77476   9/24/2014 BCEL   Pacific ck #1369                                USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77520   9/26/2014 REST   deliver stock client confirms receipt           CAD                           -         100.00        -
        Pre2015   219 CEL1   CELT     78806   9/29/2014 SIMO   forex                                           USD      (10,941.74)   (11,151.16)         -          -
        Pre2015   219 CEL1   CELT     78806   9/29/2014 SIMO   forex                                           CAD       12,000.00           -      12,000.00        -
        Pre2015     3 CELT   CELT     77666   9/30/2014 BCEL   commission withdrawal                           USD             -       (1,000.00)         -          -
        Pre2015     3 CELT   CELT     77666   9/30/2014 BCEL   commission withdrawal                           USD             -        1,000.00          -          -
        Pre2015     3 CELT   CELT     77749   9/30/2014 REST   commission withdrawal                           USD             -      (38,500.00)         -          -
        Pre2015     3 CELT   CELT     77749   9/30/2014 REST   commission withdrawal                           USD             -       38,500.00          -          -
        Pre2015     3 CELT   CELT     77750   9/30/2014 REST   commission withdrawal                           CAD             -             -        (700.00)       -
        Pre2015     3 CELT   CELT     77750   9/30/2014 REST   commission withdrawal                           CAD             -             -         700.00        -
        Pre2015     3 CELT   CELT     77852   9/30/2014 REST   directors fee                                   USD                        300.00          -          -
                                                                                                                                                                              Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     77853   9/30/2014 REST   directors fee                                   USD                        300.00          -          -
        Pre2015     3 CELT   CELT     78201   9/30/2014 REST   deliver stock back to pina                      USD                        200.00          -          -
        Pre2015   219 CEL1   CELT     80085   9/30/2014 WORK   BMAV 10Q                                        USD             -        1,500.00          -          -
        Pre2015     3 CELT   CELT     78200   9/30/2014 REST   receive stock                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     83604   9/30/2014 REST   receive stock                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     77643   9/30/2014 REST   receive stock                                   USD                        100.00          -          -
        Pre2015     3 CELT   CELT     78196   9/30/2014 REST   receive stock                                   USD                        100.00          -          -



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        Pre2015     3 CELT   CELT     77831 9/30/2014 WORK    internal transfer                             USD             -      (30,000.00)          -         -
        Pre2015   219 CEL1   CELT     77831 9/30/2014 WORK    internal transfer                             USD             -       30,000.00           -         -
        Pre2015     3 CELT   CELT     78006 9/30/2014 WORK    interest payment                              USD             -            0.25           -         -
                                                                                                                                                                           Case: 24-1770




        Pre2015     3 CELT   CELT     78007 9/30/2014 WORK    interest payment                              CAD             -             -            0.02       -
        Pre2015   219 CEL1   CELT     78004 9/30/2014 WORK    interest payment                              USD             -           20.63           -         -
        Pre2015   219 CEL1   CELT     78005 9/30/2014 WORK    interest payment                              CAD             -             -        1,178.64       -
        Pre2015     3 CELT   CELT     78195 10/1/2014 REST    directors fee + fedex #771347952651           USD                        150.00           -         -
        Pre2015     3 CELT   CELT     78199 10/1/2014 REST    deliver stock back to lotu                    USD                        200.00           -         -
        Pre2015     3 CELT   CELT     78204 10/1/2014 REST    directors fee + fedex #771350646253           USD                        400.00           -         -
        Pre2015     3 CELT   CELT     78205 10/1/2014 BCEL    Holladay ck#1370                              USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78206 10/1/2014 REST    directors fee + fedex #771352084526           USD                      1,600.00           -         -
        Pre2015     3 CELT   CELT     78207 10/1/2014 BCEL    Pacific ck #1371                              USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78356 10/6/2014 REST    directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     78359 10/6/2014 REST    deliver stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78476 10/6/2014 WORK    forex                                         USD             -       (8,632.15)          -         -
        Pre2015     3 CELT   CELT     78476 10/6/2014 WORK    forex                                         CAD             -             -        9,299.98       -
        Pre2015     3 CELT   CELT     78339 10/6/2014 CASH    debit                                         CAD      (10,000.00)          -      (10,000.00)      -
        Pre2015     3 CELT   CELT     78401 10/8/2014 BCEL    Globex Transfer ck #879                       USD                        100.00           -         -
                                                                                                                                                                           Document: 00118249068




        Pre2015     3 CELT   CELT     78404 10/8/2014 REST    receive stock                                 CAD                           -          100.00       -
        Pre2015     3 CELT   CELT     78408 10/8/2014 REST    receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78805 10/8/2014 SIQU    forex                                         USD      (10,999.92)   (11,209.92)          -         -
        Pre2015     3 CELT   CELT     78805 10/8/2014 SIQU    forex                                         CAD       12,000.00           -       12,000.00       -
        Pre2015     3 CELT   CELT     78488 10/9/2014 REST    directors fee                                 USD                        600.00           -         -
        Pre2015     3 CELT   CELT     78570 10/13/2014 REST   directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     78643 10/15/2014 REST   deliver stock                                 USD                      1,400.00           -         -




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        Pre2015     3 CELT   CELT     78657 10/15/2014 BCEL   Island ck#1372                                USD                        100.00           -         -
                                                                                                                                                                           Page: 279




        Pre2015     3 CELT   CELT     78658 10/15/2014 REST   deliver stock                                 USD                      1,100.00           -         -
        Pre2015     3 CELT   CELT     78660 10/15/2014 BCEL   Signature ck#1373                             USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78663 10/15/2014 REST   directors fee                                 USD                        600.00           -         -
        Pre2015     3 CELT   CELT     78656 10/15/2014 REST   deliver stock                                 USD                        200.00           -         -
        Pre2015     3 CELT   CELT     80030 10/16/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78766 10/20/2014 BCEL   V-Stock ck#1375 ***VOID***                    USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78733 10/20/2014 REST   directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     78738 10/20/2014 REST   directors fee                                 USD                        400.00           -         -
        Pre2015     3 CELT   CELT     78740 10/20/2014 REST   directors fee                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78745 10/20/2014 REST   directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     78751 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78752 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78753 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78754 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
                                                                                                                                                                           Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     78755 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78758 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78759 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78760 10/20/2014 REST   receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78761 10/20/2014 REST   deliver stock per wate                        USD                        100.00           -         -
        Pre2015     3 CELT   CELT     78762 10/20/2014 REST   deliver stock                                 USD                        400.00           -         -
        Pre2015     3 CELT   CELT     78763 10/20/2014 BCEL   Island ck#1374                                USD                        100.00           -         -



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                                                                                                                                                             4 (Part 3)
        Pre2015     3 CELT   CELT     78765 10/20/2014 REST   deliver stock                                 USD                       400.00          -          -
        Pre2015     3 CELT   CELT     78818 10/22/2014 BCEL   Computershare ck #188                         CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     78964 10/22/2014 REST   deliver stock                                 USD                       400.00          -          -
                                                                                                                                                                          Case: 24-1770




        Pre2015     3 CELT   CELT     78965 10/22/2014 BCEL   Action ck#1376                                USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78898 10/23/2014 REST   directors fee                                 USD                       200.00          -          -
        Pre2015     3 CELT   CELT     78899 10/23/2014 REST   deliver stock to CH per SOLE                  USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78900 10/23/2014 REST   deliver stock to 3rd party per SUMM           USD                       200.00          -          -
        Pre2015     3 CELT   CELT     78858 10/23/2014 REST   receive stock                                 CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     78860 10/23/2014 REST   receive stock                                 CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     78861 10/23/2014 BCEL   Equitiy Financial ck #189                     CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     78864 10/23/2014 REST   receive stock                                 CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     78859 10/23/2014 REST   receive stock                                 CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     78967 10/24/2014 REST   deliver stock                                 USD                       400.00          -          -
        Pre2015     3 CELT   CELT     78968 10/24/2014 BCEL   Action ck#1377                                USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78931 10/27/2014 REST   directors fee                                 USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78932 10/27/2014 REST   directors fee                                 USD                       300.00          -          -
        Pre2015     3 CELT   CELT     78947 10/27/2014 REST   receive stock                                 USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78960 10/27/2014 BCEL   Computershare ck #190                         CAD                          -         100.00        -
                                                                                                                                                                          Document: 00118249068




        Pre2015     3 CELT   CELT     78970 10/27/2014 REST   deliver stock                                 USD                       400.00          -          -
        Pre2015     3 CELT   CELT     78971 10/27/2014 BCEL   Island ck#1379                                USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78972 10/27/2014 BCEL   Action ck#1378                                USD                       100.00          -          -
        Pre2015     3 CELT   CELT     78974 10/27/2014 REST   deliver stock                                 USD                       400.00          -          -
        Pre2015     3 CELT   CELT     79098 10/29/2014 REST   receive stock                                 CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     80031 10/29/2014 BCEL   Globex ck#1380                                USD                       100.00          -          -
        Pre2015     3 CELT   CELT     79073 10/29/2014 BCEL   CST Stock Transfer ck #192                    CAD                          -         100.00        -




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        Pre2015     3 CELT   CELT     79099 10/30/2014 REST   deliver stock to Acco                         CAD                          -         400.00        -
                                                                                                                                                                          Page: 280




        Pre2015     3 CELT   CELT     79138 10/30/2014 CASH   debit                                         USD      (2,000.00)    (2,000.00)         -          -
        Pre2015     3 CELT   CELT     79139 10/30/2014 CASH   debit                                         CAD      (8,800.00)          -      (8,800.00)       -
        Pre2015     3 CELT   CELT     79143 10/30/2014 BCEL   Equity Transfer ck #195                       CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     79230 10/31/2014 BCEL   commission withdrawal                         USD            -         (900.00)         -          -
        Pre2015     3 CELT   CELT     79230 10/31/2014 BCEL   commission withdrawal                         USD            -          900.00          -          -
        Pre2015     3 CELT   CELT     79231 10/31/2014 BCEL   commission withdrawal                         CAD            -             -        (600.00)       -
        Pre2015     3 CELT   CELT     79231 10/31/2014 BCEL   commission withdrawal                         CAD            -             -         600.00        -
        Pre2015     3 CELT   CELT     79302 10/31/2014 REST   commission withdrawal                         USD            -      (13,550.00)         -          -
        Pre2015     3 CELT   CELT     79302 10/31/2014 REST   commission withdrawal                         USD            -       13,550.00          -          -
        Pre2015     3 CELT   CELT     79303 10/31/2014 REST   commission withdrawal                         CAD            -             -      (1,900.00)       -
        Pre2015     3 CELT   CELT     79303 10/31/2014 REST   commission withdrawal                         CAD            -             -       1,900.00        -
        Pre2015     3 CELT   CELT     79216 10/31/2014 REST   deliver stock                                 CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     79218 10/31/2014 REST   deliver stock                                 CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     79220 10/31/2014 REST   deliver stock                                 CAD                          -         200.00        -
                                                                                                                                                                          Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     79222 10/31/2014 REST   deliver stock                                 CAD                          -         200.00        -
        Pre2015     3 CELT   CELT     79450 10/31/2014 WORK   interest payment                              USD            -            1.33          -          -
        Pre2015     3 CELT   CELT     79451 10/31/2014 WORK   interest payment                              CAD            -             -           7.57        -
        Pre2015   219 CEL1   CELT     79448 10/31/2014 WORK   interest payment                              USD            -           16.93          -          -
        Pre2015   219 CEL1   CELT     79449 10/31/2014 WORK   interest payment                              CAD            -             -       1,298.39        -
        Pre2015     3 CELT   CELT     79835 11/6/2014 REST    receive stock                                 CAD                          -         100.00        -
        Pre2015     3 CELT   CELT     79834 11/6/2014 REST    receive stock                                 CAD                          -         100.00        -



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        Pre2015     3 CELT   CELT     79879 11/6/2014 REST    receive stock                                 USD                    100.00          -         -
        Pre2015     3 CELT   CELT     79874 11/7/2014 REST    directors fee                                 USD                    300.00          -         -
        Pre2015     3 CELT   CELT     79876 11/7/2014 REST    receive stock                                 USD                    100.00          -         -
                                                                                                                                                                      Case: 24-1770




        Pre2015     3 CELT   CELT     79877 11/7/2014 REST    receive stock                                 USD                    100.00          -         -
        Pre2015     3 CELT   CELT     79880 11/7/2014 REST    deliver stock per summ                        USD                    200.00          -         -
        Pre2015     3 CELT   CELT     79912 11/10/2014 BCEL   computershare #198                            CAD                       -         100.00       -
        Pre2015     3 CELT   CELT     79974 11/11/2014 REST   deliver stock per snwr                        USD                    200.00          -         -
        Pre2015     3 CELT   CELT     80034 11/12/2014 REST   deliver stock                                 CAD                       -         200.00       -
        Pre2015     3 CELT   CELT     80036 11/12/2014 REST   deliver stock                                 CAD                       -         200.00       -
        Pre2015     3 CELT   CELT     80039 11/12/2014 REST   deliver stock                                 CAD                       -         200.00       -
        Pre2015     3 CELT   CELT     80041 11/12/2014 REST   deliver stock                                 USD                    400.00          -         -
        Pre2015     3 CELT   CELT     80042 11/12/2014 BCEL   Pacific ck#1381                               USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80044 11/12/2014 BCEL   Island ck#1382                                USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80046 11/12/2014 REST   deliver stock                                 USD                    300.00          -         -
        Pre2015     3 CELT   CELT     80050 11/12/2014 BCEL   Island ck#1384                                USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80052 11/12/2014 REST   deliver stock                                 USD                    400.00          -         -
        Pre2015     3 CELT   CELT     80053 11/12/2014 BCEL   Action ck#1385                                USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80043 11/12/2014 REST   deliver stock                                 USD                    600.00          -         -
                                                                                                                                                                      Document: 00118249068




        Pre2015     3 CELT   CELT     80049 11/12/2014 REST   deliver stock                                 USD                    800.00          -         -
        Pre2015     3 CELT   CELT     80047 11/12/2014 BCEL   Action ck#1383 **VOID**                       USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80090 11/13/2014 BCEL   Globex Transfer ck #885 Oct 31                USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80102 11/13/2014 REST   receive stock                                 USD                       -            -         -
        Pre2015     3 CELT   CELT     80101 11/13/2014 REST   receive stock                                 USD                       -            -         -
        Pre2015     3 CELT   CELT     80174 11/14/2014 REST   receive stock                                 CAD                       -         100.00       -
        Pre2015     3 CELT   CELT     80144 11/14/2014 BCEL   computershare ck #199                         CAD                       -         100.00       -




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        Pre2015     3 CELT   CELT     80145 11/14/2014 REST   directors fee                                 USD                    100.00          -         -
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        Pre2015     3 CELT   CELT     80148 11/17/2014 REST   directors fee                                 USD                    400.00          -         -
        Pre2015     3 CELT   CELT     80170 11/17/2014 BCEL   Island ck#1386                                USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80172 11/17/2014 BCEL   Island ck #1386                               USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80175 11/17/2014 REST   deliver stock per client                      CAD                       -         300.00       -
        Pre2015     3 CELT   CELT     80191 11/17/2014 REST   deliver stock                                 USD                    500.00          -         -
        Pre2015     3 CELT   CELT     80192 11/17/2014 BCEL   Pacific ck#1987                               USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80195 11/17/2014 REST   receive stock                                 CAD                       -         100.00       -
        Pre2015     3 CELT   CELT     80237 11/18/2014 REST   receive stock                                 CAD                       -         100.00       -
        Pre2015     3 CELT   CELT     80282 11/19/2014 REST   directors fee                                 USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80283 11/19/2014 REST   directors fee                                 USD                    300.00          -         -
        Pre2015     3 CELT   CELT     80269 11/19/2014 REST   receive stock                                 USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80322 11/20/2014 REST   deliver stock                                 USD                    100.00          -         -
        Pre2015   219 CEL1   CELT     80369 11/21/2014 BCHA   First Line Mortgages draft                    CAD      (96,007.50)      -     (96,007.50)      -
        Pre2015   219 CEL1   CELT     80370 11/21/2014 WORK   fedex 771952031014 First Line                 CAD             -         -         (50.00)      -
                                                                                                                                                                      Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     80372 11/21/2014 REST   directors fee + fedex #771955306694           USD                    200.00          -         -
        Pre2015     3 CELT   CELT     80373 11/21/2014 BCEL   Action ck#1388                                USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80374 11/21/2014 REST   deliver stock                                 CAD                       -         200.00       -
        Pre2015     3 CELT   CELT     80378 11/21/2014 BCEL   Holladay ck #886                              USD                    100.00          -         -
        Pre2015     3 CELT   CELT     80432 11/24/2014 REST   directors fee                                 USD                    300.00          -         -
        Pre2015     3 CELT   CELT     80397 11/24/2014 REST   receive stock                                 CAD                       -         100.00       -
        Pre2015     3 CELT   CELT     80513 11/24/2014 REST   directors fee                                 USD                    400.00          -         -



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        Pre2015     3 CELT   CELT     81245 11/24/2014 REST   directors fee + fedex: 771954410226           USD                        250.00           -         -
        Pre2015     3 CELT   CELT     80463 11/25/2014 BCEL   Equity Financial ck #200 NTY                  CAD                           -          100.00       -
        Pre2015     3 CELT   CELT     80517 11/26/2014 REST   deliver stock                                 USD                        500.00           -         -
                                                                                                                                                                           Case: 24-1770




        Pre2015     3 CELT   CELT     80518 11/26/2014 BCEL   Pacific ck#1389                               USD                        100.00           -         -
        Pre2015     3 CELT   CELT     80519 11/26/2014 BCEL   Action ck#1390                                USD                        100.00           -         -
        Pre2015     3 CELT   CELT     80520 11/26/2014 REST   deliver stock                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     81756 11/26/2014 REST   stock cancelled to treasury                   USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81757 11/26/2014 REST   stock cancelled to treasury                   USD                        100.00           -         -
        Pre2015     3 CELT   CELT     80530 11/27/2014 CASH   debit                                         CAD      (10,000.00)          -      (10,000.00)      -
        Pre2015     3 CELT   CELT     80568 11/29/2014 BCEL   commission withdrawal                         USD             -       (1,400.00)          -         -
        Pre2015     3 CELT   CELT     80568 11/29/2014 BCEL   commission withdrawal                         USD             -        1,400.00           -         -
        Pre2015     3 CELT   CELT     80569 11/29/2014 BCEL   commission withdrawal                         CAD             -             -         (200.00)      -
        Pre2015     3 CELT   CELT     80569 11/29/2014 BCEL   commission withdrawal                         CAD             -             -          200.00       -
        Pre2015     3 CELT   CELT     80636 11/29/2014 REST   commission withdrawal                         USD             -      (13,500.00)          -         -
        Pre2015     3 CELT   CELT     80636 11/29/2014 REST   commission withdrawal                         USD             -       13,500.00           -         -
        Pre2015     3 CELT   CELT     80637 11/29/2014 REST   commission withdrawal                         CAD             -             -       (1,700.00)      -
        Pre2015     3 CELT   CELT     80637 11/29/2014 REST   commission withdrawal                         CAD             -             -        1,700.00       -
        Pre2015     3 CELT   CELT     80714 11/29/2014 WORK   internal transfer                             USD             -      (10,000.00)          -         -
                                                                                                                                                                           Document: 00118249068




        Pre2015   219 CEL1   CELT     80714 11/29/2014 WORK   internal transfer                             USD             -       10,000.00           -         -
        Pre2015     3 CELT   CELT     80761 11/30/2014 WORK   interest payment                              USD             -            1.72           -         -
        Pre2015     3 CELT   CELT     80762 11/30/2014 WORK   interest payment                              CAD             -             -            4.07       -
        Pre2015   219 CEL1   CELT     80759 11/30/2014 WORK   interest payment                              USD             -           23.00           -         -
        Pre2015   219 CEL1   CELT     80760 11/30/2014 WORK   interest payment                              CAD             -             -        1,180.76       -
        Pre2015     3 CELT   CELT     80977 12/1/2014 REST    directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     81497 12/1/2014 REST    receive stock                                 USD                        100.00           -         -




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        Pre2015     3 CELT   CELT     81498 12/1/2014 REST    receive stock                                 USD                        100.00           -         -
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        Pre2015     3 CELT   CELT     81161 12/1/2014 REST    receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81163 12/1/2014 REST    receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     80960 12/1/2014 HELH    forex                                         USD       (2,176.06)    (2,197.82)          -         -
        Pre2015     3 CELT   CELT     80960 12/1/2014 CASH    forex                                         CAD        2,388.36           -        2,388.36       -
        Pre2015     3 CELT   CELT     80999 12/2/2014 REST    directors fee                                 USD                      1,000.00           -         -
        Pre2015     3 CELT   CELT     81002 12/2/2014 REST    deliver stock                                 CAD                           -          200.00       -
        Pre2015     3 CELT   CELT     81005 12/2/2014 REST    deliver stock                                 USD                        500.00           -         -
        Pre2015     3 CELT   CELT     81006 12/2/2014 BCEL    STC ck#1391                                   USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81165 12/3/2014 REST    receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81137 12/4/2014 REST    directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     81125 12/4/2014 BCEL    Booth Udall ck #890                           USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81112 12/4/2014 REST    receive stock                                 CAD                           -          100.00       -
        Pre2015     3 CELT   CELT     81129 12/4/2014 BCEL    Holladay ck #891                              USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81173 12/5/2014 REST    deliver stock                                 USD                        100.00           -         -
                                                                                                                                                                           Date Filed: 02/18/2025




        Pre2015     3 CELT   CELT     81174 12/5/2014 BCEL    Holladay ck#1392                              USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81311 12/8/2014 REST    receive stock                                 USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81712 12/8/2014 REST    directors fees                                USD                      1,000.00           -         -
        Pre2015     3 CELT   CELT     81233 12/8/2014 BCEL    Globex Transfer ck #892                       USD                        100.00           -         -
        Pre2015     3 CELT   CELT     81242 12/8/2014 REST    directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     81539 12/10/2014 REST   directors fee                                 USD                        300.00           -         -
        Pre2015     3 CELT   CELT     81309 12/10/2014 REST   receive stock                                 USD                        100.00           -         -



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        Pre2015     3 CELT   CELT     81342 12/10/2014 BCEL   Computershare ck #206 GVR                 CAD                          -          100.00       -
        Pre2015   219 CEL1   CELT     81413 12/15/2014 BCHA   First Line Mortgage draft                 CAD      (96,007.50)         -      (96,007.50)      -
        Pre2015     3 CELT   CELT     81441 12/15/2014 REST   directors fee                             USD                       300.00           -         -
                                                                                                                                                                      Case: 24-1770




        Pre2015     3 CELT   CELT     81442 12/15/2014 BCEL   Action ck#1393                            USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81495 12/16/2014 REST   receive stock                             USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81496 12/16/2014 REST   directors fees                            USD                       700.00           -         -
        Pre2015   219 CEL1   CELT     81555 12/17/2014 WORK   PDKI filings                              USD             -      20,000.00           -         -
        Pre2015   219 CEL1   CELT     81577 12/18/2014 WORK   Merry Xmas!                               CAD             -            -       80,000.00       -
        Pre2015     3 CELT   CELT     81599 12/18/2014 BCEL   Computershare ck #401                     CAD                          -          100.00       -
        Pre2015     3 CELT   CELT     81611 12/18/2014 REST   receive stock                             USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81642 12/19/2014 REST   receive stock                             USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81689 12/19/2014 REST   receive stock                             USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81690 12/19/2014 REST   receive stock                             USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81688 12/22/2014 REST   directors fees                            USD                       300.00           -         -
        Pre2015     3 CELT   CELT     81697 12/22/2014 REST   deliver stock                             CAD                          -          400.00       -
        Pre2015     3 CELT   CELT     81715 12/23/2014 BCEL   Holladay ck#893                           USD                       100.00           -         -
        Pre2015     3 CELT   CELT     81714 12/23/2014 REST   deliver stock                             USD                       200.00           -         -
        Pre2015     3 CELT   CELT     81726 12/24/2014 BCEL   Holladay ck#1394                          USD                       100.00           -         -
                                                                                                                                                                      Document: 00118249068




        Pre2015     3 CELT   CELT     81727 12/24/2014 REST   change TA + fedex #772385211580           USD                       550.00           -         -
        Pre2015     3 CELT   CELT     82064 12/31/2014 BCEL   commission withdrawal                     USD             -        (800.00)          -         -
        Pre2015     3 CELT   CELT     82064 12/31/2014 BCEL   commission withdrawal                     USD             -         800.00           -         -
        Pre2015     3 CELT   CELT     82065 12/31/2014 BCEL   commission withdrawal                     CAD             -            -         (200.00)      -
        Pre2015     3 CELT   CELT     82065 12/31/2014 BCEL   commission withdrawal                     CAD             -            -          200.00       -
        Pre2015     3 CELT   CELT     82121 12/31/2014 REST   commission withdrawal                     USD             -      (2,300.00)          -         -
        Pre2015     3 CELT   CELT     82121 12/31/2014 REST   commission withdrawal                     USD             -       2,300.00           -         -




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        Pre2015     3 CELT   CELT     82122 12/31/2014 REST   commission withdrawal                     CAD             -            -         (700.00)      -
                                                                                                                                                                      Page: 283




        Pre2015     3 CELT   CELT     82122 12/31/2014 REST   commission withdrawal                     CAD             -            -          700.00       -
        Pre2017     3 ESQ    ESQ      88533 12/31/2014 REST   cancel warrants                           CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      88535 12/31/2014 REST   destroy certificate                       USD                          -             -         -
        Pre2017     3 ESQ    ESQ      88536 12/31/2014 REST   destroy certificate                       USD                          -             -         -
        Pre2015     3 CELT   CELT     81789 12/31/2014 WORK   interest payment                          USD             -           3.79           -         -
        Pre2015   219 CEL1   CELT     81787 12/31/2014 WORK   interest payment                          USD             -          72.26           -         -
        Pre2015   219 CEL1   CELT     81788 12/31/2014 WORK   interest payment                          CAD             -            -        1,017.87       -
        Pre2017     3 ESQ    ESQ      82290   1/5/2015 BCEL   Computershare ck#403                      USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82292   1/5/2015 BCEL   Booth Udall Fuller ck#895                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82293   1/5/2015 BCEL   Booth Udall Fuller ck#895                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82294   1/5/2015 CASH   debit                                     CAD       (9,000.00)         -       (9,000.00)      -
        Pre2017     3 ESQ    ESQ      82296   1/5/2015 REST   receive stock                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82337   1/5/2015 WORK   forex                                     USD             -      (6,933.05)          -         -
        Pre2017     3 ESQ    ESQ      82337   1/5/2015 WORK   forex                                     CAD             -            -        8,100.00       -
                                                                                                                                                                      Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      82329   1/6/2015 REST   receive stock                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82333   1/6/2015 REST   deliver stock                             USD                       400.00           -         -
        Pre2017     3 ESQ    ESQ      82334   1/6/2015 BCEL   Action ck#1395                            USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82335   1/6/2015 REST   deliver stock                             USD                     1,000.00           -         -
        Pre2017     3 ESQ    ESQ      82339   1/6/2015 BCEL   Empire ck#1396                            USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82433   1/8/2015 REST   receive stock                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      82434   1/8/2015 REST   receive stock                             USD                       100.00           -         -



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        Pre2017     3 ESQ    ESQ      93202    1/9/2015 REST   deliver stock                                   CAD                     -         200.00       -
        Pre2017     3 ESQ    ESQ      82425    1/9/2015 BCEL   Empire ck#1397                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82426    1/9/2015 REST   directors fee + fedex #772532346865             USD                  400.00          -         -
                                                                                                                                                                       Case: 24-1770




        Pre2017     3 ESQ    ESQ      82430    1/9/2015 REST   directors fee                                   USD                  200.00          -         -
        Pre2017     3 ESQ    ESQ      82432    1/9/2015 REST   deliver stock                                   USD                  300.00          -         -
        Pre2017     3 ESQ    ESQ      82459   1/12/2015 REST   directors fee                                   USD                  800.00          -         -
        Pre2017     3 ESQ    ESQ      82464   1/12/2015 REST   directors fee + fedex #772555366272             USD                  300.00          -         -
        Pre2017     3 ESQ    ESQ      82465   1/12/2015 BCEL   Action ck#1398                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82473   1/13/2015 BCEL   Harold P. Gewerter ck#896                       USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82492   1/14/2015 REST   directors fee                                   USD                  300.00          -         -
        Pre2017     3 ESQ    ESQ      82494   1/14/2015 REST   deliver stock per VICD                          USD                  200.00          -         -
        Pre2017     3 ESQ    ESQ      82495   1/14/2015 REST   deliver stock                                   USD                1,600.00          -         -
        Pre2017     3 ESQ    ESQ      82496   1/14/2015 BCEL   Island ck#1399                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82521   1/15/2015 REST   deliver stock                                   USD                  200.00          -         -
        Pre2017     3 ESQ    ESQ      89386   1/15/2015 BEAG   deliver stock DTC                               USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      89387   1/15/2015 SIHI   receive stock DTC                               USD                     -            -         -
        Pre2017     3 ESQ    ESQ      89391   1/15/2015 SIQU   deliver stock DTC                               CAD                     -         100.00       -
        Pre2017     3 ESQ    ESQ      82574   1/19/2015 REST   receive stock                                   USD                  100.00          -         -
                                                                                                                                                                       Document: 00118249068




        Pre2017     3 ESQ    ESQ      82575   1/19/2015 REST   receive stock                                   USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82606   1/21/2015 REST   directors fee                                   USD                  200.00          -         -
        Pre2017     3 ESQ    ESQ      82629   1/22/2015 BCEL   Booth Udall Fuller ck#1400                      USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82677   1/22/2015 BCEL   Empire ck#1404                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82630   1/22/2015 REST   receive stock                                   USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82631   1/22/2015 REST   directors fees                                  USD                  700.00          -         -
        Pre2017     3 ESQ    ESQ      82632   1/22/2015 REST   directors fees                                  USD                  900.00          -         -




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        Pre2017     3 ESQ    ESQ      82636   1/22/2015 REST   deliver stock                                   USD                  100.00          -         -
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        Pre2017     3 ESQ    ESQ      82637   1/22/2015 BCEL   Empire ck#1401                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82638   1/22/2015 REST   deliver stock                                   USD                  600.00          -         -
        Pre2017     3 ESQ    ESQ      82639   1/22/2015 BCEL   Island ck#1402                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82641   1/22/2015 REST   deliver stock                                   USD                  800.00          -         -
        Pre2017     3 ESQ    ESQ      82642   1/22/2015 BCEL   Empire ck#1403                                  USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82676   1/23/2015 BCEL   Quicksilver ck#1405 **VOID**                    USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      82675   1/23/2015 REST   directors fee and fedex #772695146812           USD                  500.00          -         -
        Pre2017     3 ESQ    ESQ      89390   1/26/2015 BEAG   receive stock DTC                               CAD                     -         100.00       -
        Pre2017     3 ESQ    ESQ      87302   1/26/2015 REST   receive stock                                   CAD                     -         100.00       -
        Pre2017     3 ESQ    ESQ      83059   1/29/2015 WORK   interest payment                                USD          -         1.27          -         -
        Pre2017     3 ESQ    ESQ      83060   1/29/2015 WORK   interest payment                                CAD          -          -           0.10       -
        Pre2017   219 ESQ1   ESQ1     83057   1/29/2015 WORK   interest payment                                USD          -        92.38          -         -
        Pre2017   219 ESQ1   ESQ1     83058   1/29/2015 WORK   interest payment                                CAD          -          -         955.85       -
        Pre2017     3 ESQ    ESQ      82876   1/30/2015 BCEL   commission withdrawal                           USD          -    (1,500.00)         -         -
                                                                                                                                                                       Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      82876   1/30/2015 BCEL   commission withdrawal                           USD          -     1,500.00          -         -
        Pre2017     3 ESQ    ESQ      82938   1/30/2015 REST   commission withdrawal                           USD          -   (10,100.00)         -         -
        Pre2017     3 ESQ    ESQ      82938   1/30/2015 REST   commission withdrawal                           USD          -    10,100.00          -         -
        Pre2017     3 ESQ    ESQ      82939   1/30/2015 REST   commission withdrawal                           CAD          -          -      (1,200.00)      -
        Pre2017     3 ESQ    ESQ      82939   1/30/2015 REST   commission withdrawal                           CAD          -          -       1,200.00       -
        Pre2017     3 ESQ    ESQ      83367    2/2/2015 REST   receive stock                                   USD                  100.00          -         -
        Pre2017     3 ESQ    ESQ      83551    2/2/2015 REST   receive stock                                   CAD                     -         100.00       -



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        Pre2017   3 ESQ   ESQ     83325    2/3/2015 REST   directors fee                                 USD                     1,100.00           -         -
        Pre2017   3 ESQ   ESQ     83357    2/4/2015 REST   directors fees                                USD                       500.00           -         -
        Pre2017   3 ESQ   ESQ     83358    2/4/2015 REST   fedex #772825345085                           CAD                          -           50.00       -
                                                                                                                                                                       Case: 24-1770




        Pre2017   3 ESQ   ESQ     83410    2/4/2015 BCEL   Action ck#1406                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83411    2/4/2015 BCEL   Action ck#1406                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83366    2/4/2015 REST   deliver stock per sent                        USD                       300.00           -         -
        Pre2017   3 ESQ   ESQ     83552    2/4/2015 REST   deliver stock                                 CAD                          -          200.00       -
        Pre2017   3 ESQ   ESQ     83389    2/5/2015 VPQU   forex                                         USD         (388.19)      (92.07)          -         -
        Pre2017   3 ESQ   ESQ     83389    2/5/2015 VPQU   forex                                         CAD          477.36          -          477.36       -
        Pre2017   3 ESQ   ESQ     83390    2/5/2015 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)      -
        Pre2017   3 ESQ   ESQ     83397    2/5/2015 REST   receive stock                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83427    2/5/2015 WORK   forex                                         USD             -      (6,711.33)          -         -
        Pre2017   3 ESQ   ESQ     83427    2/5/2015 WORK   forex                                         CAD             -            -        8,322.54       -
        Pre2017   3 ESQ   ESQ     89767    2/6/2015 BEAT   deliver stock DTC                             USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     89768    2/6/2015 SIHI   receive stock DTC                             USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83479   2/10/2015 BCEL   Quicksilver ck#1407                           USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83513   2/10/2015 REST   deliver stock                                 USD                       400.00           -         -
        Pre2017   3 ESQ   ESQ     83514   2/10/2015 BCEL   Empire ck#1408                                USD                       100.00           -         -
                                                                                                                                                                       Document: 00118249068




        Pre2017   3 ESQ   ESQ     83517   2/10/2015 REST   deliver stock                                 USD                       800.00           -         -
        Pre2017   3 ESQ   ESQ     83518   2/10/2015 BCEL   Island ck#1409                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83520   2/10/2015 REST   deliver stock                                 USD                     1,400.00           -         -
        Pre2017   3 ESQ   ESQ     83521   2/10/2015 BCEL   Action ck#1410                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83523   2/10/2015 REST   directors fee + fedex #772882182460           USD                       500.00           -         -
        Pre2017   3 ESQ   ESQ     83524   2/10/2015 BCEL   Empire ck#1411                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83525   2/10/2015 REST   deliver stock                                 USD                       200.00           -         -




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        Pre2017   3 ESQ   ESQ     83526   2/10/2015 BCEL   Island ck#1412                                USD                       100.00           -         -
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        Pre2017   3 ESQ   ESQ     83529   2/11/2015 BCEL   Transhare ck#1413 **VOID**                    USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83532   2/11/2015 BCEL   Transhare ck#1414 **VOID**                    USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83502   2/11/2015 REST   receive stock                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83528   2/11/2015 REST   deliver stock                                 USD                       500.00           -         -
        Pre2017   3 ESQ   ESQ     83531   2/11/2015 REST   deliver stock                                 USD                       500.00           -         -
        Pre2017   3 ESQ   ESQ     83534   2/11/2015 REST   deliver stock                                 USD                       800.00           -         -
        Pre2017   3 ESQ   ESQ     83535   2/11/2015 BCEL   Island ck#1415                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83553   2/12/2015 REST   deliver stock                                 CAD                          -          100.00       -
        Pre2017   3 ESQ   ESQ     83601   2/16/2015 REST   deliver stock per LOTU                        USD                     1,200.00           -         -
        Pre2017   3 ESQ   ESQ     83659   2/18/2015 REST   directors fee                                 USD                       300.00           -         -
        Pre2017   3 ESQ   ESQ     83668   2/18/2015 REST   deliver stock                                 USD                       400.00           -         -
        Pre2017   3 ESQ   ESQ     83669   2/18/2015 BCEL   Island ck#1416                                USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     83671   2/18/2015 REST   deliver stock                                 USD                       300.00           -         -
        Pre2017   3 ESQ   ESQ     83673   2/18/2015 BCEL   Columbia ck#1418                              USD                       100.00           -         -
                                                                                                                                                                       Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     83730   2/20/2015 REST   directors fee                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     85781   2/25/2015 BCEL   Printing & Proxy ck #898                      USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     85780   2/25/2015 BCEL   Action Stock ck #897                          USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ     85736   2/25/2015 BCHA   Vancouver Auto Liquidation draft              CAD      (15,687.50)         -      (15,687.50)      -
        Pre2017   3 ESQ   ESQ     85769   2/25/2015 REST   deliver stock                                 USD                       400.00           -         -
        Pre2017   3 ESQ   ESQ     85759   2/25/2015 REST   directors fee                                 CAD                          -          400.00       -
        Pre2017   3 ESQ   ESQ     85770   2/25/2015 BCEL   Vstock ck#1419                                USD                       100.00           -         -



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        Pre2017     3 ESQ    ESQ      85772   2/25/2015 REST   deliver stock                      USD                        800.00           -         -
        Pre2017     3 ESQ    ESQ      85775   2/25/2015 BCEL   Island ck#1420                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      85767   2/26/2015 CASH   debit                              CAD      (10,000.00)          -      (10,000.00)      -
                                                                                                                                                                 Case: 24-1770




        Pre2017     3 ESQ    ESQ      85832   2/28/2015 BCEL   commission withdrawal              USD             -       (1,700.00)          -         -
        Pre2017     3 ESQ    ESQ      85832   2/28/2015 BCEL   commission withdrawal              USD             -        1,700.00           -         -
        Pre2017     3 ESQ    ESQ      85900   2/28/2015 REST   commission withdrawal              USD             -      (10,900.00)          -         -
        Pre2017     3 ESQ    ESQ      85900   2/28/2015 REST   commission withdrawal              USD             -       10,900.00           -         -
        Pre2017     3 ESQ    ESQ      85901   2/28/2015 REST   commission charge                  CAD             -             -         (150.00)      -
        Pre2017     3 ESQ    ESQ      85901   2/28/2015 REST   commission charge                  CAD             -             -          150.00       -
        Pre2017     3 ESQ    ESQ      86030   2/28/2015 WORK   interest payment                   USD             -            5.73           -         -
        Pre2017     3 ESQ    ESQ      86031   2/28/2015 WORK   interest payment                   CAD             -             -            0.20       -
        Pre2017   219 ESQ1   ESQ1     86028   2/28/2015 WORK   interest payment                   USD             -           95.79           -         -
        Pre2017   219 ESQ1   ESQ1     86029   2/28/2015 WORK   interest payment                   CAD             -             -          991.16       -
        Pre2017     3 ESQ    ESQ      89770    3/2/2015 BEAT   receive stock DTC                  CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      89771    3/2/2015 BEAT   receive stock DTC                  CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      89773    3/2/2015 BEAT   receive stock DTC                  CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      89774    3/2/2015 BEAT   receive stock DTC                  CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      86242    3/2/2015 WORK   forex                              USD             -      (17,740.93)          -         -
                                                                                                                                                                 Document: 00118249068




        Pre2017     3 ESQ    ESQ      86242    3/2/2015 WORK   forex                              CAD             -             -       21,078.33       -
        Pre2017     3 ESQ    ESQ      86341    3/5/2015 REST   directors fee                      USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      86319    3/5/2015 REST   directors fee                      USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      86343    3/9/2015 REST   directors fee                      USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      89765   3/10/2015 BEAP   deliver stock DTC                  USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      89766   3/10/2015 SIQU   receive stock DTC                  USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86431   3/10/2015 REST   receive stock                      USD                        100.00           -         -




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        Pre2017     3 ESQ    ESQ      86432   3/12/2015 REST   directors fee                      USD                      1,700.00           -         -
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        Pre2017     3 ESQ    ESQ      86515   3/16/2015 REST   directors fee                      USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86516   3/16/2015 REST   directors fee                      USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86518   3/16/2015 REST   deliver stock                      USD                        600.00           -         -
        Pre2017     3 ESQ    ESQ      86519   3/16/2015 BCEL   Island ck#1421                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86517   3/16/2015 REST   receive stock                      USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86560   3/17/2015 REST   receive stock                      USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86570   3/18/2015 REST   directors fee                      USD                        200.00           -         -
        Pre2017     3 ESQ    ESQ      86612   3/19/2015 REST   deliver stock                      USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86613   3/19/2015 REST   deliver stock                      USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86650   3/20/2015 BCEL   Empire ck#1422                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86652   3/20/2015 REST   deliver stock                      USD                        600.00           -         -
        Pre2017     3 ESQ    ESQ      86653   3/20/2015 BCEL   Island ck#1423                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      89772   3/20/2015 BEAT   receive stock DTC                  CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      86645   3/20/2015 REST   deliver stock per MONT             USD                        100.00           -         -
                                                                                                                                                                 Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      86649   3/20/2015 REST   deliver stock                      USD                        800.00           -         -
        Pre2017     3 ESQ    ESQ      86670   3/23/2015 REST   deliver stock                      USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      86671   3/23/2015 BCEL   Empire ck#1424                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86674   3/23/2015 REST   deliver stock                      USD                      1,000.00           -         -
        Pre2017     3 ESQ    ESQ      86675   3/23/2015 BCEL   Island ck#1425                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      86692   3/24/2015 REST   deliver stock                      USD                      1,000.00           -         -
        Pre2017     3 ESQ    ESQ      86693   3/24/2015 BCEL   Empire ck#1426                     USD                        100.00           -         -



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        Pre2017     3 ESQ    ESQ      86982   3/30/2015 WORK   interest payment                                  USD             -            0.49           -         -
        Pre2017   219 ESQ1   ESQ1     86980   3/30/2015 WORK   interest payment                                  USD             -           92.82           -         -
        Pre2017   219 ESQ1   ESQ1     86981   3/30/2015 WORK   interest payment                                  CAD             -             -          960.49       -
                                                                                                                                                                                Case: 24-1770




        Pre2017     3 ESQ    ESQ      86833   3/31/2015 BCEL   commission withdrawal                             USD             -         (600.00)          -         -
        Pre2017     3 ESQ    ESQ      86833   3/31/2015 BCEL   commission withdrawal                             USD             -          600.00           -         -
        Pre2017     3 ESQ    ESQ      86886   3/31/2015 REST   commission withdrawal                             USD             -       (7,900.00)          -         -
        Pre2017     3 ESQ    ESQ      86886   3/31/2015 REST   commission withdrawal                             USD             -        7,900.00           -         -
        Pre2017     3 ESQ    ESQ      87420   3/31/2015 REST   deliver stock                                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87265   3/31/2015 WORK   forex                                             USD             -       (8,500.49)          -         -
        Pre2017     3 ESQ    ESQ      87265   3/31/2015 WORK   forex                                             CAD             -             -       10,662.62       -
        Pre2017   219 ESQ1   ESQ1     87266   3/31/2015 WORK   forex                                             USD             -       (9,036.33)          -         -
        Pre2017   219 ESQ1   ESQ1     87266   3/31/2015 WORK   forex                                             CAD             -             -       11,326.14       -
        Pre2017     3 ESQ    ESQ      87322    4/1/2015 REST   directors fee                                     USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      87324    4/1/2015 REST   directors fee                                     USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      87314    4/2/2015 CASH   debit                                             CAD      (10,000.00)          -      (10,000.00)      -
        Pre2017     3 ESQ    ESQ      87608    4/3/2015 REST   receive stock                                     CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      89416    4/6/2015 BEAP   deliver stock DTC                                 USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      89417    4/6/2015 SIHI   receive stock DTC                                 USD                           -             -         -
                                                                                                                                                                                Document: 00118249068




        Pre2017     3 ESQ    ESQ      87510    4/6/2015 REST   receive stock                                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87512    4/6/2015 REST   receive stock                                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87513    4/6/2015 REST   receive stock                                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87514    4/6/2015 REST   receive stock                                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87368    4/6/2015 REST   deliver stock                                     USD                           -             -         -
        Pre2017     3 ESQ    ESQ      87373    4/6/2015 REST   deliver stock                                     USD                        200.00           -         -
        Pre2017     3 ESQ    ESQ      87374    4/6/2015 BCEL   Island ck#1427                                    USD                        100.00           -         -




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        Pre2017     3 ESQ    ESQ      87375    4/6/2015 REST   directors fee                                     USD                        100.00           -         -
                                                                                                                                                                                Page: 287




        Pre2017     3 ESQ    ESQ      87439    4/8/2015 REST   receive stock                                     CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      87440    4/8/2015 REST   receive stock                                     CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      87441    4/8/2015 REST   receive stock                                     CAD                           -          100.00       -
        Pre2017   219 ESQ1   ESQ1     87511   4/10/2015 WORK   forex                                             USD             -      (30,000.00)          -         -
        Pre2017   219 ESQ1   ESQ1     87511   4/10/2015 WORK   forex                                             CAD             -             -       37,396.04       -
        Pre2017     3 ESQ    ESQ      87603   4/14/2015 BCEL   Globex ck#1428                                    USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87604   4/14/2015 REST   fedex#773370841090                                USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      87609   4/15/2015 REST   deliver stock                                     CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      87611   4/15/2015 REST   deliver stock                                     CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      87612   4/15/2015 REST   deliver stock                                     CAD                           -          100.00       -
        Pre2017     3 ESQ    ESQ      87614   4/15/2015 REST   fedex #773371005935                               USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      87615   4/15/2015 BCEL   Booth Udall Fuller ck#1429                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87618   4/15/2015 REST   directors fee                                     USD                        600.00           -         -
        Pre2017     3 ESQ    ESQ      87616   4/15/2015 REST   deliver stock                                     CAD                           -          100.00       -
                                                                                                                                                                                Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      87653   4/15/2015 BCEL   Empire ck#1430                                    USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87655   4/15/2015 REST   receive stock held in book form INLAND)           USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87656   4/15/2015 REST   directors fee                                     USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      87687   4/16/2015 REST   destroy certs                                     USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      87690   4/17/2015 REST   directors fee                                     USD                        200.00           -         -
        Pre2017     3 ESQ    ESQ      89414   4/17/2015 BEAP   deliver stock DTC                                 USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      89415   4/17/2015 SIHI   receive stock DTC                                 USD                           -             -         -



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        Pre2017     3 ESQ    ESQ      89389   4/17/2015 SIQU   receive stock DTC                  USD                         -            -         -
        Pre2017     3 ESQ    ESQ      89388   4/17/2015 BEAG   deliver stock DTC                  USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      87857   4/23/2015 REST   receive stock                      USD                      100.00          -         -
                                                                                                                                                              Case: 24-1770




        Pre2017     3 ESQ    ESQ      87863   4/23/2015 REST   deliver stock                      CAD                         -         600.00       -
        Pre2017     3 ESQ    ESQ      87610   4/24/2015 BEAG   receive stock                      CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      87617   4/24/2015 BEAG   receive stock                      CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      87894   4/27/2015 REST   deliver stock per LACR             USD                    2,000.00          -         -
        Pre2017     3 ESQ    ESQ      87895   4/27/2015 REST   deliver stock per LACR             USD                    1,000.00          -         -
        Pre2017     3 ESQ    ESQ      87955   4/28/2015 REST   deliver stock per AKUM             USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88204   4/30/2015 BCEL   commission withdrawal              USD            -        (400.00)         -         -
        Pre2017     3 ESQ    ESQ      88204   4/30/2015 BCEL   commission withdrawal              USD            -         400.00          -         -
        Pre2017     3 ESQ    ESQ      88280   4/30/2015 REST   commission withdrawal              USD            -      (6,000.00)         -         -
        Pre2017     3 ESQ    ESQ      88280   4/30/2015 REST   commission withdrawal              USD            -       6,000.00          -         -
        Pre2017     3 ESQ    ESQ      88281   4/30/2015 REST   commission withdrawal              CAD            -            -      (1,500.00)      -
        Pre2017     3 ESQ    ESQ      88281   4/30/2015 REST   commission withdrawal              CAD            -            -       1,500.00       -
        Pre2017     3 ESQ    ESQ      87989   4/30/2015 CASH   debit                              CAD      (5,000.00)         -      (5,000.00)      -
        Pre2017     3 ESQ    ESQ      88039   4/30/2015 WORK   interest payment                   CAD            -            -           0.32       -
        Pre2017   219 ESQ1   ESQ1     88037   4/30/2015 WORK   interest payment                   USD            -          24.66          -         -
                                                                                                                                                              Document: 00118249068




        Pre2017   219 ESQ1   ESQ1     88038   4/30/2015 WORK   interest payment                   CAD            -            -       1,122.58       -
        Pre2017     3 ESQ    ESQ      88402    5/1/2015 WORK   forex                              USD            -      (6,400.00)         -         -
        Pre2017     3 ESQ    ESQ      88402    5/1/2015 WORK   forex                              CAD            -            -       7,662.19       -
        Pre2017     3 ESQ    ESQ      88523   5/11/2015 REST   deliver stock per LOTU             USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88530   5/11/2015 REST   deliver stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88531   5/11/2015 REST   deliver stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88538   5/11/2015 REST   fedex: 77357588817                 USD                       50.00          -         -




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        Pre2017     3 ESQ    ESQ      88539   5/11/2015 REST   receive stock                      USD                      100.00          -         -
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        Pre2017     3 ESQ    ESQ      88626   5/14/2015 REST   internal transfer                  CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      88632   5/14/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88633   5/14/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88634   5/14/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      86651   5/15/2015 BEAP   receive stock via DWAC             USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      86694   5/15/2015 BEAT   receive stock via DWAC             USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88710   5/19/2015 REST   deliver stock                      CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      93547   5/21/2015 REST   warrants expired                   CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      88809   5/21/2015 REST   receive stock                      CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      88878   5/22/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88880   5/25/2015 BEAG   receive stock                      CAD                         -         100.00       -
        Pre2017     3 ESQ    ESQ      88879   5/25/2015 REST   deliver stock                      CAD                         -         200.00       -
        Pre2017     3 ESQ    ESQ      88884   5/25/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88885   5/25/2015 REST   receive stock                      USD                      100.00          -         -
                                                                                                                                                              Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      88889   5/25/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      88890   5/25/2015 REST   receive stock                      USD                      100.00          -         -
        Pre2017     3 ESQ    ESQ      89032   5/29/2015 BEAG   commission withdrawal              CAD            -            -        (100.00)      -
        Pre2017     3 ESQ    ESQ      89032   5/29/2015 BEAG   commission withdrawal              CAD            -            -         100.00       -
        Pre2017     3 ESQ    ESQ      89040   5/29/2015 BEAP   commission withdrawal              USD            -        (100.00)         -         -
        Pre2017     3 ESQ    ESQ      89040   5/29/2015 BEAP   commission withdrawal              USD            -         100.00          -         -
        Pre2017     3 ESQ    ESQ      89051   5/29/2015 BEAT   commission withdrawal              USD            -        (100.00)         -         -



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        Pre2017     3 ESQ    ESQ      89051   5/29/2015 BEAT   commission withdrawal                         USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      89094   5/29/2015 REST   commission withdrawal                         USD             -      (1,250.00)          -         -
        Pre2017     3 ESQ    ESQ      89094   5/29/2015 REST   commission withdrawal                         USD             -       1,250.00           -         -
                                                                                                                                                                           Case: 24-1770




        Pre2017     3 ESQ    ESQ      89095   5/29/2015 REST   commission withdrawal                         CAD             -            -         (800.00)      -
        Pre2017     3 ESQ    ESQ      89095   5/29/2015 REST   commission withdrawal                         CAD             -            -          800.00       -
        Pre2017     3 ESQ    ESQ      89116   5/29/2015 SIHI   commission withdrawal                         USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      89116   5/29/2015 SIHI   commission withdrawal                         USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      89363   5/29/2015 BCEL   Island ck#1431                                USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89362   5/29/2015 REST   deliver stock                                 USD                     1,000.00           -         -
        Pre2017     3 ESQ    ESQ      89165   5/29/2015 WORK   internal transfer DWAC commissions            USD             -       3,000.00           -         -
        Pre2017     3 ESQ    ESQ      89204   5/30/2015 WORK   interest payment                              USD             -           0.25           -         -
        Pre2017     3 ESQ    ESQ      89205   5/30/2015 WORK   interest payment                              CAD             -            -            0.10       -
        Pre2017   219 ESQ1   ESQ1     89202   5/30/2015 WORK   interest payment                              USD             -           0.06           -         -
        Pre2017   219 ESQ1   ESQ1     89203   5/30/2015 WORK   interest payment                              CAD             -            -        1,118.88       -
        Pre2017     3 ESQ    ESQ      89002    6/1/2015 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)      -
        Pre2017     3 ESQ    ESQ      89380    6/1/2015 WORK   forex                                         USD             -      (4,550.25)          -         -
        Pre2017     3 ESQ    ESQ      89380    6/1/2015 WORK   forex                                         CAD             -            -        5,631.50       -
        Pre2017     3 ESQ    ESQ      89396    6/1/2015 BCEL   Action ck#1432                                USD                       100.00           -         -
                                                                                                                                                                           Document: 00118249068




        Pre2017     3 ESQ    ESQ      89397    6/1/2015 REST   fedex #773727669694                           USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      89398    6/1/2015 BCEL   Action ck#1433                                USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89399    6/1/2015 REST   fedex #773727669694                           USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      89400    6/1/2015 REST   deliver stock                                 USD                     1,800.00           -         -
        Pre2017     3 ESQ    ESQ      89401    6/1/2015 BCEL   Island ck#1434                                USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89434    6/2/2015 REST   deliver stock                                 USD                     1,600.00           -         -
        Pre2017     3 ESQ    ESQ      89435    6/2/2015 BCEL   Island ck#1435                                USD                       100.00           -         -




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        Pre2017     3 ESQ    ESQ      89436    6/5/2015 BEAT   receive stock via DWAC                        USD                       100.00           -         -
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        Pre2017     3 ESQ    ESQ      89526    6/8/2015 REST   deliver stock                                 USD                     1,400.00           -         -
        Pre2017     3 ESQ    ESQ      89527    6/8/2015 BCEL   Island ck#910                                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89520    6/8/2015 REST   directors fee                                 USD                       400.00           -         -
        Pre2017     3 ESQ    ESQ      89364   6/12/2015 SIHI   receive stock                                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89402   6/12/2015 SIHI   receive stock                                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89528   6/12/2015 BEAG   receive stock via dwac                        USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      93548   6/13/2015 REST   warrants expired                              CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      89653   6/15/2015 REST   deliver stock                                 CAD                          -          400.00       -
        Pre2017     3 ESQ    ESQ      89655   6/15/2015 REST   deliver stock                                 CAD                          -          400.00       -
        Pre2017     3 ESQ    ESQ      90731   6/19/2015 SIQU   receive stock via 3rd party DTC               USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89654   6/22/2015 BEAT   receive stock                                 CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      89656   6/22/2015 BEAT   receive stock                                 CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      89934   6/22/2015 REST   directors fee                                 USD                       300.00           -         -
        Pre2017     3 ESQ    ESQ      89905   6/25/2015 REST   directors fee                                 USD                       200.00           -         -
                                                                                                                                                                           Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      89927   6/25/2015 REST   directors fee                                 USD                       400.00           -         -
        Pre2017     3 ESQ    ESQ      89937   6/25/2015 REST   Warrant cancelled                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89938   6/25/2015 REST   Warrant cancelled                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      88883   6/29/2015 SIHI   receive stock from Jacob Securities           USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89936   6/29/2015 SIHI   receive stock DTC                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89904   6/29/2015 BEAP   deliver stock to Laith Reynolds               USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89933   6/29/2015 SIMO   receive stock DTC                             USD                       100.00           -         -



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        Pre2017     3 ESQ    ESQ      89930   6/29/2015 SIHI   receive stock DTC                                   USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89998   6/29/2015 REST   deliver stock                                       CAD                          -          400.00       -
        Pre2017     3 ESQ    ESQ      89931   6/29/2015 BEAP   deliver stock DTC                                   USD                       100.00           -         -
                                                                                                                                                                                 Case: 24-1770




        Pre2017     3 ESQ    ESQ      89935   6/29/2015 BEAG   deliver stock to siha                               USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90032   6/30/2015 BCEL   commission withdrawal                               USD            -         (600.00)          -         -
        Pre2017     3 ESQ    ESQ      90032   6/30/2015 BCEL   commission withdrawal                               USD            -          600.00           -         -
        Pre2017     3 ESQ    ESQ      90039   6/30/2015 BEAG   commission withdrawal                               USD            -         (400.00)          -         -
        Pre2017     3 ESQ    ESQ      90039   6/30/2015 BEAG   commission withdrawal                               USD            -          400.00           -         -
        Pre2017     3 ESQ    ESQ      90040   6/30/2015 BEAG   commission withdrawal                               CAD            -             -         (300.00)      -
        Pre2017     3 ESQ    ESQ      90040   6/30/2015 BEAG   commission withdrawal                               CAD            -             -          300.00       -
        Pre2017     3 ESQ    ESQ      90049   6/30/2015 BEAP   commission withdrawal                               USD            -         (500.00)          -         -
        Pre2017     3 ESQ    ESQ      90049   6/30/2015 BEAP   commission withdrawal                               USD            -          500.00           -         -
        Pre2017     3 ESQ    ESQ      90056   6/30/2015 BEAT   commission withdrawal                               USD            -         (200.00)          -         -
        Pre2017     3 ESQ    ESQ      90056   6/30/2015 BEAT   commission withdrawal                               USD            -          200.00           -         -
        Pre2017     3 ESQ    ESQ      90057   6/30/2015 BEAT   commission withdrawal                               CAD            -             -         (700.00)      -
        Pre2017     3 ESQ    ESQ      90057   6/30/2015 BEAT   commission withdrawal                               CAD            -             -          700.00       -
        Pre2017     3 ESQ    ESQ      90113   6/30/2015 REST   commission withdrawal                               USD            -       (7,400.00)          -         -
        Pre2017     3 ESQ    ESQ      90113   6/30/2015 REST   commission withdrawal                               USD            -        7,400.00           -         -
                                                                                                                                                                                 Document: 00118249068




        Pre2017     3 ESQ    ESQ      90114   6/30/2015 REST   commission withdrawal                               CAD            -             -       (1,200.00)      -
        Pre2017     3 ESQ    ESQ      90114   6/30/2015 REST   commission withdrawal                               CAD            -             -        1,200.00       -
        Pre2017     3 ESQ    ESQ      90132   6/30/2015 SIHI   commission withdrawal                               USD            -         (600.00)          -         -
        Pre2017     3 ESQ    ESQ      90132   6/30/2015 SIHI   commission withdrawal                               USD            -          600.00           -         -
        Pre2017     3 ESQ    ESQ      90143   6/30/2015 SIMO   commission withdrawal                               USD            -         (100.00)          -         -
        Pre2017     3 ESQ    ESQ      90143   6/30/2015 SIMO   commission withdrawal                               USD            -          100.00           -         -
        Pre2017     3 ESQ    ESQ      90149   6/30/2015 SIQU   commission withdrawal                               USD            -         (200.00)          -         -




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        Pre2017     3 ESQ    ESQ      90149   6/30/2015 SIQU   commission withdrawal                               USD            -          200.00           -         -
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        Pre2017     3 ESQ    ESQ      90150   6/30/2015 SIQU   commission withdrawal                               CAD            -             -         (100.00)      -
        Pre2017     3 ESQ    ESQ      90150   6/30/2015 SIQU   commission withdrawal                               CAD            -             -          100.00       -
        Pre2017     3 ESQ    ESQ      90389   6/30/2015 WORK   interest payment                                    USD            -            0.40           -         -
        Pre2017     3 ESQ    ESQ      90390   6/30/2015 WORK   interest payment                                    CAD            -             -            0.03       -
        Pre2017   219 ESQ1   ESQ1     90387   6/30/2015 WORK   interest payment                                    USD            -            0.06           -         -
        Pre2017   219 ESQ1   ESQ1     90388   6/30/2015 WORK   interest payment                                    CAD            -             -        1,159.03       -
        Pre2017     3 ESQ    ESQ      90573    7/2/2015 VPQU   forex                                               USD      (8,480.74)    (8,565.55)          -         -
        Pre2017     3 ESQ    ESQ      90573    7/2/2015 VPQU   forex                                               CAD      10,417.32           -       10,417.32       -
        Pre2017     3 ESQ    ESQ      90597    7/2/2015 REST   deliver stock                                       USD                     1,100.00           -         -
        Pre2017     3 ESQ    ESQ      90598    7/2/2015 BCEL   Action ck#1436                                      USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90606    7/3/2015 VPQU   forex                                               USD       (1,420.64)   (1,434.85)          -         -
        Pre2017     3 ESQ    ESQ      90606    7/3/2015 VPQU   forex                                               CAD        1,753.88          -        1,753.88       -
        Pre2017     3 ESQ    ESQ      90656    7/6/2015 CASH   debit                                               CAD      (10,000.00)         -      (10,000.00)      -
        Pre2017     3 ESQ    ESQ      90669    7/6/2015 REST   deliver stock                                       USD                     1,400.00           -         -
                                                                                                                                                                                 Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      90670    7/6/2015 BCEL   Island ck#1437                                      USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90673    7/6/2015 REST   deliver stock                                       USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      90674    7/6/2015 BCEL   Action ck#1438                                      USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90599    7/9/2015 SIRI   receive stock via DWAC                              USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90726    7/9/2015 BCEL   Hub International ck#2335 + certified fee           CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      89923   7/10/2015 SIRI   receive stock from lekr                             CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      89921   7/10/2015 SIRI   receive stock from lekr                             USD                       100.00           -         -



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        Pre2017     3 ESQ    ESQ      89920   7/10/2015 SIRI   receive stock from lekr                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      91451   7/10/2015 SIRI   receive stock from lekr                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89919   7/10/2015 SIRI   receive stock from lekr                 USD                       100.00           -         -
                                                                                                                                                                     Case: 24-1770




        Pre2017     3 ESQ    ESQ      89918   7/10/2015 SIRI   receive stock from lekr                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      89922   7/10/2015 SIRI   receive stock from lekr                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90734   7/10/2015 REST   deliver stock                           USD                     1,400.00           -         -
        Pre2017     3 ESQ    ESQ      90735   7/10/2015 BCEL   Action ck#1439                          USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      96144   7/14/2015 REST   deliver stock per VRCI                  USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90671   7/15/2015 BEAP   receive stock via DWAC                  USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90736   7/17/2015 PESC   receive stock via DWAC                  USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90871   7/21/2015 BCEL   Island ck#1440                          USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90870   7/21/2015 REST   deliver stock                           USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      91525   7/24/2015 REST   receive stock                           CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      90938   7/28/2015 REST   deliver stock                           USD                       500.00           -         -
        Pre2017     3 ESQ    ESQ      90939   7/28/2015 BCEL   Empire ck#1441                          USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      90954   7/29/2015 REST   receive stock                           CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      90984   7/31/2015 BCEL   commission withdrawal                   USD             -        (600.00)          -         -
        Pre2017     3 ESQ    ESQ      90984   7/31/2015 BCEL   commission withdrawal                   USD             -         600.00           -         -
                                                                                                                                                                     Document: 00118249068




        Pre2017     3 ESQ    ESQ      90985   7/31/2015 BCEL   commission withdrawal                   CAD             -            -         (100.00)      -
        Pre2017     3 ESQ    ESQ      90985   7/31/2015 BCEL   commission withdrawal                   CAD             -            -          100.00       -
        Pre2017     3 ESQ    ESQ      90995   7/31/2015 BEAP   commission withdrawal                   USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      90995   7/31/2015 BEAP   commission withdrawal                   USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      91027   7/31/2015 PESC   commission withdrawal                   USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      91027   7/31/2015 PESC   commission withdrawal                   USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      91028   7/31/2015 REST   commission withdrawal                   USD             -      (4,800.00)          -         -




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        Pre2017     3 ESQ    ESQ      91028   7/31/2015 REST   commission withdrawal                   USD             -       4,800.00           -         -
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        Pre2017     3 ESQ    ESQ      91029   7/31/2015 REST   commission withdrawal                   CAD             -            -         (100.00)      -
        Pre2017     3 ESQ    ESQ      91029   7/31/2015 REST   commission withdrawal                   CAD             -            -          100.00       -
        Pre2017     3 ESQ    ESQ      91048   7/31/2015 SIHI   commission charge                       USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      91048   7/31/2015 SIHI   commission charge                       USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      91062   7/31/2015 SIRI   commission withdrawal                   USD             -        (700.00)          -         -
        Pre2017     3 ESQ    ESQ      91062   7/31/2015 SIRI   commission withdrawal                   USD             -         700.00           -         -
        Pre2017     3 ESQ    ESQ      91063   7/31/2015 SIRI   commission withdrawal                   CAD             -            -         (100.00)      -
        Pre2017     3 ESQ    ESQ      91063   7/31/2015 SIRI   commission withdrawal                   CAD             -            -          100.00       -
        Pre2017     3 ESQ    ESQ      91166   7/31/2015 WORK   interest payment                        USD             -           0.48           -         -
        Pre2017     3 ESQ    ESQ      91167   7/31/2015 WORK   interest payment                        CAD             -            -            1.93       -
        Pre2017   219 ESQ1   ESQ1     91164   7/31/2015 WORK   interest payment                        USD             -           0.06           -         -
        Pre2017   219 ESQ1   ESQ1     91165   7/31/2015 WORK   interest payment                        CAD             -            -        1,161.98       -
        Pre2017     3 ESQ    ESQ      89999    8/4/2015 BEAG   receive stock via drs                   CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      91339    8/5/2015 BCEL   Computershare ck #236 Nass              CAD                          -          100.00       -
                                                                                                                                                                     Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      91403    8/6/2015 REST   directors fees                          USD                     1,200.00           -         -
        Pre2017     3 ESQ    ESQ      91404    8/6/2015 REST   deliver stock to Dieter Peter           CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      91429    8/6/2015 VERA   forex                                   USD       (6,200.48)   (6,262.48)          -         -
        Pre2017     3 ESQ    ESQ      91429    8/6/2015 VERA   forex                                   CAD        7,995.56          -        7,995.56       -
        Pre2017     3 ESQ    ESQ      91409    8/6/2015 CASH   debit                                   CAD      (14,800.00)         -      (14,800.00)      -
        Pre2017     3 ESQ    ESQ      91495   8/10/2015 REST   receive stock                           USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      91497   8/10/2015 REST   receive stock                           USD                       100.00           -         -



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        Pre2017     3 ESQ    ESQ      91447   8/10/2015 BCEL   Computershare ck #237                             CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      91496   8/14/2015 REST   receive stock                                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      91493   8/17/2015 REST   deliver stock                                     CAD                          -          200.00       -
                                                                                                                                                                               Case: 24-1770




        Pre2017     3 ESQ    ESQ      91515   8/17/2015 BCEL   Printing & Proxy ck #990                          USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      91494   8/19/2015 BEAT   receive stock                                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      91642   8/24/2015 REST   directors fees                                    CAD                          -        1,500.00       -
        Pre2017     3 ESQ    ESQ      91707   8/28/2015 REST   receive stock                                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      91736   8/31/2015 BCEL   commission withdrawal                             USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      91736   8/31/2015 BCEL   commission withdrawal                             USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      91737   8/31/2015 BCEL   commission withdrawal                             CAD             -            -         (200.00)      -
        Pre2017     3 ESQ    ESQ      91737   8/31/2015 BCEL   commission withdrawal                             CAD             -            -          200.00       -
        Pre2017     3 ESQ    ESQ      91743   8/31/2015 BEAG   commission withdrawal                             CAD             -            -         (100.00)      -
        Pre2017     3 ESQ    ESQ      91743   8/31/2015 BEAG   commission withdrawal                             CAD             -            -          100.00       -
        Pre2017     3 ESQ    ESQ      91755   8/31/2015 BEAT   commission withdrawal                             CAD             -            -         (100.00)      -
        Pre2017     3 ESQ    ESQ      91755   8/31/2015 BEAT   commission withdrawal                             CAD             -            -          100.00       -
        Pre2017     3 ESQ    ESQ      91798   8/31/2015 REST   commission withdrawal                             USD             -      (1,500.00)          -         -
        Pre2017     3 ESQ    ESQ      91798   8/31/2015 REST   commission withdrawal                             USD             -       1,500.00           -         -
        Pre2017     3 ESQ    ESQ      91799   8/31/2015 REST   commission withdrawal                             CAD             -            -       (1,200.00)      -
                                                                                                                                                                               Document: 00118249068




        Pre2017     3 ESQ    ESQ      91799   8/31/2015 REST   commission withdrawal                             CAD             -            -        1,200.00       -
        Pre2017     3 ESQ    ESQ      91932   8/31/2015 WORK   interest payment                                  USD             -           0.89           -         -
        Pre2017     3 ESQ    ESQ      91933   8/31/2015 WORK   interest payment                                  CAD             -            -            0.19       -
        Pre2017   219 ESQ1   ESQ1     91930   8/31/2015 WORK   interest payment                                  USD             -           0.06           -         -
        Pre2017   219 ESQ1   ESQ1     91931   8/31/2015 WORK   interest payment                                  CAD             -            -        1,164.94       -
        Pre2017     3 ESQ    ESQ      92163    9/1/2015 WORK   forex                                             USD             -      (1,538.89)          -         -
        Pre2017     3 ESQ    ESQ      92163    9/1/2015 WORK   forex                                             CAD             -            -        2,057.61       -




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        Pre2017     3 ESQ    ESQ      92252    9/1/2015 REST   receive stock                                     USD                       100.00           -         -
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        Pre2017     3 ESQ    ESQ      92305    9/1/2015 REST   receive stock                                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92116    9/1/2015 REST   receive stock                                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92134    9/2/2015 REST   directors fee                                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92135    9/2/2015 REST   deliver stock                                     USD                       500.00           -         -
        Pre2017     3 ESQ    ESQ      92140    9/2/2015 REST   deliver stock                                     USD                       500.00           -         -
        Pre2017     3 ESQ    ESQ      92141    9/2/2015 BCEL   Columbia ck#1442                                  USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92136    9/2/2015 BCEL   Columbia ck#1443                                  USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92145    9/2/2015 BCEL   Globex ck#1444                                    USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92146    9/2/2015 BCEL   Empire ck#1445                                    USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92147    9/2/2015 REST   deliver stock                                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92148    9/2/2015 BCEL   Empire ck#1445                                    USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92143    9/3/2015 REST   Change of TA                                      USD                     1,000.00           -         -
        Pre2017     3 ESQ    ESQ      92137    9/9/2015 BEAP   receive stock via DWAC                            USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92142    9/9/2015 BEAT   receive stock via DWAC                            USD                       100.00           -         -
                                                                                                                                                                               Date Filed: 02/18/2025




        Pre2017   219 ESQ1   ESQ1     92250   9/10/2015 BCHA   Royal LePage Brent Roberts Realty draft           CAD      (30,007.50)         -      (30,007.50)      -
        Pre2017     3 ESQ    ESQ      92251   9/10/2015 REST   receive stock                                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92345   9/14/2015 BEAT   receive stock DTC                                 USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92288   9/18/2015 BCEL   Empire ck#1446                                    USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92287   9/18/2015 REST   deliver stock                                     USD                       600.00           -         -
        Pre2017     3 ESQ    ESQ      92286   9/18/2015 REST   directors fee                                     USD                     3,000.00           -         -
        Pre2017     3 ESQ    ESQ      92350   9/22/2015 BEAG   receive stock DTC                                 USD                       100.00           -         -



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        Pre2017     3 ESQ    ESQ      92349 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92352 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92353 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
                                                                                                                                                                    Case: 24-1770




        Pre2017     3 ESQ    ESQ      92354 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92356 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92358 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92359 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92361 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92362 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92348 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92320 9/22/2015 BCEL    Empire ck#1447                          USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92321 9/22/2015 BCEL    Action ck#1448                          USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92322 9/22/2015 REST    fedex #774566769490                     USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      92360 9/22/2015 BEAG    receive stock DTC                       USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92319 9/22/2015 REST    deliver stock                           USD                       300.00           -         -
        Pre2017     3 ESQ    ESQ      92289 9/24/2015 PESC    receive stock via DWAC                  USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      92446 9/24/2015 CASH    debit                                   CAD      (14,000.00)         -      (14,000.00)      -
        Pre2017     3 ESQ    ESQ      92323 9/29/2015 SIQU    receive stock via DWAC                  USD                       100.00           -         -
                                                                                                                                                                    Document: 00118249068




        Pre2017   219 ESQ1   ESQ1     92706 9/29/2015 WORK    interest payment                        USD             -           0.06           -         -
        Pre2017   219 ESQ1   ESQ1     92707 9/29/2015 WORK    interest payment                        CAD             -            -        1,043.23       -
        Pre2017     3 ESQ    ESQ      92537 9/30/2015 BCEL    commission withdrawal                   USD             -        (800.00)          -         -
        Pre2017     3 ESQ    ESQ      92537 9/30/2015 BCEL    commission withdrawal                   USD             -         800.00           -         -
        Pre2017     3 ESQ    ESQ      92542 9/30/2015 BEAG    commission withdrawal                   USD             -      (1,200.00)          -         -
        Pre2017     3 ESQ    ESQ      92542 9/30/2015 BEAG    commission withdrawal                   USD             -       1,200.00           -         -
        Pre2017     3 ESQ    ESQ      92548 9/30/2015 BEAP    commission withdrawal                   USD             -        (100.00)          -         -




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        Pre2017     3 ESQ    ESQ      92548 9/30/2015 BEAP    commission withdrawal                   USD             -         100.00           -         -
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        Pre2017     3 ESQ    ESQ      92554 9/30/2015 BEAT    commission withdrawal                   USD             -        (200.00)          -         -
        Pre2017     3 ESQ    ESQ      92554 9/30/2015 BEAT    commission withdrawal                   USD             -         200.00           -         -
        Pre2017     3 ESQ    ESQ      92600 9/30/2015 PESC    commission withdrawal                   USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      92600 9/30/2015 PESC    commission withdrawal                   USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      92601 9/30/2015 REST    commission withdrawal                   USD             -      (3,450.00)          -         -
        Pre2017     3 ESQ    ESQ      92601 9/30/2015 REST    commission withdrawal                   USD             -       3,450.00           -         -
        Pre2017     3 ESQ    ESQ      92638 9/30/2015 SIQU    commission withdrawal                   USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      92638 9/30/2015 SIQU    commission withdrawal                   USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      92963 10/1/2015 WORK    forex                                   USD             -      (5,950.00)          -         -
        Pre2017     3 ESQ    ESQ      92963 10/1/2015 WORK    forex                                   CAD             -            -        7,854.79       -
        Pre2017     3 ESQ    ESQ      93081 10/8/2015 REST    deliver stock                           USD                       400.00           -         -
        Pre2017     3 ESQ    ESQ      93086 10/8/2015 BCEL    Pacific ck#1450                         USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      93085 10/8/2015 REST    deliver stock                           USD                       500.00           -         -
        Pre2017     3 ESQ    ESQ      93082 10/8/2015 BCEL    Action ck#1449                          USD                       100.00           -         -
                                                                                                                                                                    Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      93118 10/9/2015 SIQU    deliver stock Agron Silverton           USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      93119 10/9/2015 SIMO    deliver stock Agron Silverton           USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      93120 10/9/2015 SIHI    deliver stock Agron Silverton           USD                          -             -         -
        Pre2017     3 ESQ    ESQ      93193 10/13/2015 REST   directors fee                           USD                       300.00           -         -
        Pre2017     3 ESQ    ESQ      93196 10/14/2015 REST   directors fee                           USD                     1,600.00           -         -
        Pre2017     3 ESQ    ESQ      93198 10/14/2015 REST   receive stock                           CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      93203 10/14/2015 REST   receive stock                           CAD                          -          100.00       -



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        Pre2017   3 ESQ   ESQ     93205 10/14/2015 REST   receive stock                                 CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93236 10/15/2015 REST   Summy 15 fees                                 CAD                     -         122.50       -
        Pre2017   3 ESQ   ESQ     93237 10/15/2015 REST   Summy 15 fees                                 CAD                     -         122.50       -
                                                                                                                                                                Case: 24-1770




        Pre2017   3 ESQ   ESQ     93235 10/15/2015 REST   Summy 15 fees                                 CAD                     -         122.50       -
        Pre2017   3 ESQ   ESQ     93233 10/15/2015 REST   Rock Creek 15 fees                            CAD                     -         245.00       -
        Pre2017   3 ESQ   ESQ     93224 10/15/2015 REST   receive stock                                 USD                  100.00          -         -
        Pre2017   3 ESQ   ESQ     93265 10/16/2015 BEAT   receive stock PBA spin out                    CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93266 10/16/2015 BEAG   receive stock BPA spin out                    CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93267 10/16/2015 BEAP   receive stock PBA spin out                    CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93415 10/22/2015 REST   directors fee                                 USD                  800.00          -         -
        Pre2017   3 ESQ   ESQ     93365 10/22/2015 REST   deliver stock                                 CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93533 10/26/2015 SIQU   Sell stock                                    USD                     -            -         -
        Pre2017   3 ESQ   ESQ     93087 10/26/2015 BEAT   receive stock via DWAC                        USD                  100.00          -         -
        Pre2017   3 ESQ   ESQ     93427 10/26/2015 REST   directors fee                                 USD                  200.00          -         -
        Pre2017   3 ESQ   ESQ     93428 10/26/2015 SIQU   deliver stock 3rd party                       USD                  100.00          -         -
        Pre2017   3 ESQ   ESQ     93434 10/26/2015 REST   receive stock                                 CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93458 10/27/2015 WORK   forex                                         USD          -    (6,032.11)         -         -
        Pre2017   3 ESQ   ESQ     93458 10/27/2015 WORK   forex                                         CAD          -          -       7,920.93       -
                                                                                                                                                                Document: 00118249068




        Pre2017   3 ESQ   ESQ     93477 10/28/2015 REST   directors fee + fedex #774837104763           USD                  150.00          -         -
        Pre2017   3 ESQ   ESQ     93478 10/28/2015 BCEL   Pacific ck#1451                               USD                  100.00          -         -
        Pre2017   3 ESQ   ESQ     93493 10/28/2015 CANI   receive stock                                 CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93484 10/28/2015 CANI   receive stock                                 CAD                     -         100.00       -
        Pre2017   3 ESQ   ESQ     93515 10/29/2015 REST   Brooks Lane 15 fees                           CAD                     -         122.50       -
        Pre2017   3 ESQ   ESQ     93516 10/29/2015 REST   Brooks Lane 15 fees                           CAD                     -         122.50       -
        Pre2017   3 ESQ   ESQ     93520 10/29/2015 BCEL   Greenberg Traurig TT SEC Verdmont             USD                  409.32          -         -




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        Pre2017   3 ESQ   ESQ     93521 10/29/2015 BCEL   forex                                         CAD                     -          54.48       -
                                                                                                                                                                Page: 294




        Pre2017   3 ESQ   ESQ     93522 10/29/2015 BCEL   forex                                         CAD                     -            -         -
        Pre2017   3 ESQ   ESQ     93552 10/30/2015 REST   Directors fees                                USD                  100.00          -         -
        Pre2017   3 ESQ   ESQ     93574 10/31/2015 BCEL   commission withdrawal                         USD          -      (709.32)         -         -
        Pre2017   3 ESQ   ESQ     93574 10/31/2015 BCEL   commission withdrawal                         USD          -       709.32          -         -
        Pre2017   3 ESQ   ESQ     93575 10/31/2015 BCEL   commission withdrawal                         CAD          -          -         (54.48)      -
        Pre2017   3 ESQ   ESQ     93575 10/31/2015 BCEL   commission withdrawal                         CAD          -          -          54.48       -
        Pre2017   3 ESQ   ESQ     93582 10/31/2015 BEAG   commission withdrawal                         CAD          -          -        (100.00)      -
        Pre2017   3 ESQ   ESQ     93582 10/31/2015 BEAG   commission withdrawal                         CAD          -          -         100.00       -
        Pre2017   3 ESQ   ESQ     93592 10/31/2015 BEAP   commission withdrawal                         USD          -      (100.00)         -         -
        Pre2017   3 ESQ   ESQ     93592 10/31/2015 BEAP   commission withdrawal                         USD          -       100.00          -         -
        Pre2017   3 ESQ   ESQ     93593 10/31/2015 BEAP   commission withdrawal                         CAD          -          -        (100.00)      -
        Pre2017   3 ESQ   ESQ     93593 10/31/2015 BEAP   commission withdrawal                         CAD          -          -         100.00       -
        Pre2017   3 ESQ   ESQ     93600 10/31/2015 BEAT   commission withdrawal                         USD          -      (100.00)         -         -
        Pre2017   3 ESQ   ESQ     93600 10/31/2015 BEAT   commission withdrawal                         USD          -       100.00          -         -
                                                                                                                                                                Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     93601 10/31/2015 BEAT   commission withdrawal                         CAD          -          -        (100.00)      -
        Pre2017   3 ESQ   ESQ     93601 10/31/2015 BEAT   commission withdrawal                         CAD          -          -         100.00       -
        Pre2017   3 ESQ   ESQ     93636 10/31/2015 REST   commission withdrawal                         USD          -    (7,250.00)         -         -
        Pre2017   3 ESQ   ESQ     93636 10/31/2015 REST   commission withdrawal                         USD          -     7,250.00          -         -
        Pre2017   3 ESQ   ESQ     93637 10/31/2015 REST   commission withdrawal                         CAD          -          -      (2,357.50)      -
        Pre2017   3 ESQ   ESQ     93637 10/31/2015 REST   commission withdrawal                         CAD          -          -       2,357.50       -
        Pre2017   3 ESQ   ESQ     93658 10/31/2015 SIMO   commission withdrawal                         USD          -      (100.00)         -         -



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        Pre2017     3 ESQ    ESQ      93658 10/31/2015 SIMO   commission withdrawal                         USD             -        100.00           -         -
        Pre2017     3 ESQ    ESQ      93664 10/31/2015 SIQU   commission withdrawal                         USD             -       (200.00)          -         -
        Pre2017     3 ESQ    ESQ      93664 10/31/2015 SIQU   commission withdrawal                         USD             -        200.00           -         -
                                                                                                                                                                         Case: 24-1770




        Pre2017     3 ESQ    ESQ      93745 10/31/2015 WORK   interest payment                              USD             -          0.16           -         -
        Pre2017   219 ESQ1   ESQ1     93743 10/31/2015 WORK   interest payment                              USD             -          0.07           -         -
        Pre2017   219 ESQ1   ESQ1     93744 10/31/2015 WORK   interest payment                              CAD             -           -        1,129.40       -
        Pre2017     3 ESQ    ESQ      93927 11/3/2015 REST    deliver stock                                 USD                      200.00           -         -
        Pre2017     3 ESQ    ESQ      93928 11/3/2015 BCEL    Empire ck#1452                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      93934 11/3/2015 REST    directors fee                                 USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      93990 11/5/2015 REST    deliver stock                                 CAD                         -          100.00       -
        Pre2017     3 ESQ    ESQ      94006 11/6/2015 REST    deliver stock per Fire                        USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      93083 11/17/2015 BEAP   receive stock via DWAC                        USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94186 11/17/2015 REST   deliver stock                                 USD                      400.00           -         -
        Pre2017     3 ESQ    ESQ      94187 11/17/2015 BCEL   Action ck#1453                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94189 11/17/2015 BCEL   Action ck#1454                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94190 11/17/2015 REST   deliver stock                                 USD                      800.00           -         -
        Pre2017     3 ESQ    ESQ      94191 11/17/2015 BCEL   Island ck#1455                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94193 11/17/2015 REST   deliver stock                                 USD                      200.00           -         -
                                                                                                                                                                         Document: 00118249068




        Pre2017     3 ESQ    ESQ      94194 11/17/2015 BCEL   Action ck#1456                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94196 11/17/2015 REST   deliver stock                                 USD                      600.00           -         -
        Pre2017     3 ESQ    ESQ      94197 11/17/2015 BCEL   Island ck#1457                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94212 11/18/2015 REST   directors fee + fedex #775004698178           USD                      200.00           -         -
        Pre2017     3 ESQ    ESQ      94213 11/18/2015 BCEL   Action ck#1458                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94249 11/19/2015 REST   receive stock                                 USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94257 11/19/2015 REST   deliver stock                                 USD                      300.00           -         -




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        Pre2017     3 ESQ    ESQ      94258 11/19/2015 BCEL   Action ck#1459                                USD                      100.00           -         -
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        Pre2017     3 ESQ    ESQ      94260 11/19/2015 REST   deliver stock                                 USD                      700.00           -         -
        Pre2017     3 ESQ    ESQ      94261 11/19/2015 BCEL   Island ck#1460                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94378 11/23/2015 REST   receive stock                                 USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94291 11/23/2015 REST   deliver stock                                 USD                      600.00           -         -
        Pre2017     3 ESQ    ESQ      94293 11/23/2015 REST   deliver stock                                 USD                    1,000.00           -         -
        Pre2017     3 ESQ    ESQ      94295 11/23/2015 BCEL   Island ck#1461                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94300 11/23/2015 REST   deliver stock                                 USD                      800.00           -         -
        Pre2017     3 ESQ    ESQ      94303 11/23/2015 BCEL   Island ck#1462                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94305 11/23/2015 REST   deliver stock                                 USD                      400.00           -         -
        Pre2017     3 ESQ    ESQ      94306 11/23/2015 BCEL   Action ck#1463                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94309 11/23/2015 SIQU   receive stock                                 USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94312 11/23/2015 REST   receive stock                                 USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94262 11/24/2015 PESC   receive stock via DWAC                        USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94327 11/24/2015 REST   receive stock                                 USD                      100.00           -         -
                                                                                                                                                                         Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      94329 11/24/2015 REST   receive stock                                 USD                      100.00           -         -
        Pre2017   219 ESQ1   ESQ1     94336 11/24/2015 CASH   debit                                         CAD      (20,000.00)        -      (20,000.00)      -
        Pre2017     3 ESQ    ESQ      94192 11/25/2015 BEAG   receive stock via DWAC                        USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94366 11/25/2015 REST   directors fee                                 USD                    1,200.00           -         -
        Pre2017     3 ESQ    ESQ      94370 11/25/2015 BEAT   reverse DWAC to TA                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94371 11/25/2015 BEAP   reverse DWAC to TA                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ      94372 11/25/2015 BEAG   reverse DWAC to TA                            USD                      100.00           -         -



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        Pre2017     3 ESQ    ESQ      94188 11/25/2015 BEAT   receive stock via DWAC                          USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94376 11/26/2015 REST   directors fees + fedex #775065739942            USD                  650.00         -          -
        Pre2017     3 ESQ    ESQ      94377 11/26/2015 REST   deliver stock                                   USD                  300.00         -          -
                                                                                                                                                                      Case: 24-1770




        Pre2017     3 ESQ    ESQ      94379 11/26/2015 BCEL   Empire ck#1464                                  USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94381 11/26/2015 REST   deliver stock                                   USD                  800.00         -          -
        Pre2017     3 ESQ    ESQ      94382 11/26/2015 BCEL   Island ck#1465                                  USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94399 11/27/2015 REST   receive stock DRS 026885765+026821787           CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94422 11/30/2015 BCEL   commission withdrawal                           USD          -    (1,400.00)        -          -
        Pre2017     3 ESQ    ESQ      94422 11/30/2015 BCEL   commission withdrawal                           USD          -     1,400.00         -          -
        Pre2017     3 ESQ    ESQ      94429 11/30/2015 BEAG   commission withdrawal                           USD          -      (300.00)        -          -
        Pre2017     3 ESQ    ESQ      94429 11/30/2015 BEAG   commission withdrawal                           USD          -       300.00         -          -
        Pre2017     3 ESQ    ESQ      94440 11/30/2015 BEAP   commission withdrawal                           USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      94440 11/30/2015 BEAP   commission withdrawal                           USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      94449 11/30/2015 BEAT   commission withdrawal                           USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      94449 11/30/2015 BEAT   commission withdrawal                           USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      94477 11/30/2015 PESC   commission withdrawal                           USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      94477 11/30/2015 PESC   commission withdrawal                           USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      94478 11/30/2015 REST   commission withdrawal                           USD          -    (9,850.00)        -          -
                                                                                                                                                                      Document: 00118249068




        Pre2017     3 ESQ    ESQ      94478 11/30/2015 REST   commission withdrawal                           USD          -     9,850.00         -          -
        Pre2017     3 ESQ    ESQ      94479 11/30/2015 REST   commission withdrawal                           CAD          -          -       (200.00)       -
        Pre2017     3 ESQ    ESQ      94479 11/30/2015 REST   commission withdrawal                           CAD          -          -        200.00        -
        Pre2017     3 ESQ    ESQ      94486 11/30/2015 SIHI   commission withdrawal                           USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      94486 11/30/2015 SIHI   commission withdrawal                           USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      94500 11/30/2015 SIQU   commission withdrawal                           USD          -      (300.00)        -          -
        Pre2017     3 ESQ    ESQ      94500 11/30/2015 SIQU   commission withdrawal                           USD          -       300.00         -          -




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        Pre2017     3 ESQ    ESQ      94292 11/30/2015 SIHI   receive stock via DWAC                          USD                  100.00         -          -
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        Pre2017     3 ESQ    ESQ      94296 11/30/2015 SIQU   receive stock via DWAC                          USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94307 11/30/2015 BEAG   receive stock via DWAC                          USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94304 11/30/2015 BEAP   receive stock via DWAC                          USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94601 11/30/2015 WORK   interest payment                                USD          -         2.34         -          -
        Pre2017     3 ESQ    ESQ      94602 11/30/2015 WORK   interest payment                                CAD          -          -          2.40        -
        Pre2017   219 ESQ1   ESQ1     94603 11/30/2015 WORK   interest payment                                USD          -         0.06         -          -
        Pre2017   219 ESQ1   ESQ1     94604 11/30/2015 WORK   interest payment                                CAD          -          -      1,050.09        -
        Pre2017     3 ESQ    ESQ      95653 12/1/2015 REST    receive stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94810 12/3/2015 REST    receive stock                                   USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94383 12/3/2015 BEAT    receive stock via DWAC                          USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94819 12/3/2015 BCEL    CST Canadian Stock ck #239                      CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94824 12/3/2015 BCEL    Computershare ck #240                           CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94829 12/3/2015 REST    deliver stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94830 12/3/2015 REST    deliver stock                                   CAD                     -        100.00        -
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        Pre2017     3 ESQ    ESQ      94831 12/3/2015 REST    deliver stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94833 12/3/2015 CANI    receive stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94834 12/3/2015 CANI    receive stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94832 12/3/2015 CANI    receive stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94380 12/4/2015 BEAP    receive stock via DWAC                          USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      94896 12/7/2015 REST    receive stock                                   CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      94941 12/8/2015 REST    deliver stock                                   USD                  200.00         -          -



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        Pre2017     3 ESQ    ESQ       94942 12/8/2015 BCEL    Action ck#1466                                USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       94920 12/8/2015 REST    directors fee                                 USD                        200.00           -          -
        Pre2017     3 ESQ    ESQ       94937 12/8/2015 REST    directors fee + fedex #775151005518           USD                        750.00           -          -
                                                                                                                                                                             Case: 24-1770




        Pre2017     3 ESQ    ESQ       94980 12/9/2015 BESQ    Action Stock Transfer                         USD                         50.00           -          -
        Pre2017     3 ESQ    ESQ       94977 12/9/2015 REST    receive stock                                 USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       94978 12/9/2015 REST    deliver stock                                 USD                        900.00           -          -
        Pre2017     3 ESQ    ESQ       95102 12/10/2015 WORK   forex                                         USD             -      (14,979.71)          -          -
        Pre2017     3 ESQ    ESQ       95102 12/10/2015 WORK   forex                                         CAD             -             -       20,042.43        -
        Pre2017   219 ESQ1   ESQ1      95001 12/10/2015 CASH   debit                                         CAD      (20,000.00)          -      (20,000.00)       -
        Pre2017     3 ESQ    ESQ       94259 12/11/2015 PESC   receive stock via DWAC                        USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       95028 12/11/2015 BEAT   reverse DWAC to TA                            USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       95027 12/11/2015 REST   directors fee                                 USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       95256 12/14/2015 BESQ   American Corp Enterprises                     USD                         50.00           -          -
        Pre2017     3 ESQ    ESQ      104699 12/16/2015 PESC   receive stock via DWAC                        USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       94195 12/16/2015 SIQU   receive stock via DWAC                        USD                        100.00           -          -
        Pre2017   219 ESQ1   ESQ1      95140 12/18/2015 WORK   Merry Xmas 2015!                              CAD             -             -      100,000.00        -
        Pre2017   219 ESQ1   ESQ1      95242 12/18/2015 CASH   debit                                         CAD      (12,500.00)          -      (12,500.00)       -
        Pre2017     3 ESQ    ESQ       95257 12/21/2015 BESQ   Action Stock Transfer                         USD                         50.00           -          -
                                                                                                                                                                             Document: 00118249068




        Pre2017     3 ESQ    ESQ       95263 12/21/2015 BESQ   Island Stock Transfer                         USD                         50.00           -          -
        Pre2017     3 ESQ    ESQ       95255 12/21/2015 REST   deliver stock                                 USD                        300.00           -          -
        Pre2017     3 ESQ    ESQ       95259 12/21/2015 REST   deliver stock                                 USD                        500.00           -          -
        Pre2017     3 ESQ    ESQ       95260 12/21/2015 BESQ   Pacific Stock Transfer                        USD                         50.00           -          -
        Pre2017     3 ESQ    ESQ       95262 12/21/2015 REST   deliver stock                                 USD                        700.00           -          -
        Pre2017     3 ESQ    ESQ       95264 12/30/2015 SIQU   receive stock via DWAC                        USD                        100.00           -          -
        Pre2017     3 ESQ    ESQ       95258 12/30/2015 SIHI   receive stock via DWAC                        USD                        100.00           -          -




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        Pre2017     3 ESQ    ESQ       95261 12/30/2015 SIQU   receive stock via DWAC                        USD                        100.00           -          -
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        Pre2017     3 ESQ    ESQ       95329 12/31/2015 BCEL   commission withdrawal                         USD             -         (100.00)          -          -
        Pre2017     3 ESQ    ESQ       95329 12/31/2015 BCEL   commission withdrawal                         USD             -          100.00           -          -
        Pre2017     3 ESQ    ESQ       95330 12/31/2015 BCEL   commission withdrawal                         CAD             -             -         (200.00)       -
        Pre2017     3 ESQ    ESQ       95330 12/31/2015 BCEL   commission withdrawal                         CAD             -             -          200.00        -
        Pre2017     3 ESQ    ESQ       95352 12/31/2015 BEAP   commission withdrawal                         USD             -         (100.00)          -          -
        Pre2017     3 ESQ    ESQ       95352 12/31/2015 BEAP   commission withdrawal                         USD             -          100.00           -          -
        Pre2017     3 ESQ    ESQ       95361 12/31/2015 BEAT   commission withdrawal                         USD             -         (200.00)          -          -
        Pre2017     3 ESQ    ESQ       95361 12/31/2015 BEAT   commission withdrawal                         USD             -          200.00           -          -
        Pre2017     3 ESQ    ESQ       95365 12/31/2015 BESQ   commission withdrawal                         USD             -         (300.00)          -          -
        Pre2017     3 ESQ    ESQ       95365 12/31/2015 BESQ   commission withdrawal                         USD             -          300.00           -          -
        Pre2017     3 ESQ    ESQ       95398 12/31/2015 PESC   commission withdrawal                         USD             -         (100.00)          -          -
        Pre2017     3 ESQ    ESQ       95398 12/31/2015 PESC   commission withdrawal                         USD             -          100.00           -          -
        Pre2017     3 ESQ    ESQ       95399 12/31/2015 REST   commission withdrawal                         USD             -       (3,850.00)          -          -
        Pre2017     3 ESQ    ESQ       95399 12/31/2015 REST   commission withdrawal                         USD             -        3,850.00           -          -
                                                                                                                                                                             Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ       95400 12/31/2015 REST   commission withdrawal                         CAD             -             -         (400.00)       -
        Pre2017     3 ESQ    ESQ       95400 12/31/2015 REST   commission withdrawal                         CAD             -             -          400.00        -
        Pre2017     3 ESQ    ESQ       95406 12/31/2015 SIHI   commission withdrawal                         USD             -         (100.00)          -          -
        Pre2017     3 ESQ    ESQ       95406 12/31/2015 SIHI   commission withdrawal                         USD             -          100.00           -          -
        Pre2017     3 ESQ    ESQ       95413 12/31/2015 SIQU   commission withdrawal                         USD             -         (200.00)          -          -
        Pre2017     3 ESQ    ESQ       95413 12/31/2015 SIQU   commission withdrawal                         USD             -          200.00           -          -
        Pre2017     3 ESQ    ESQ       95456 12/31/2015 WORK   forex                                         USD             -       (4,953.69)          -          -



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        Pre2017     3 ESQ    ESQ       95456 12/31/2015 WORK   forex                                        CAD             -           -        6,682.50       -
        Pre2017   219 ESQ1   ESQ1      95455 12/31/2015 WORK   forex                                        USD             -        (25.15)          -         -
        Pre2017   219 ESQ1   ESQ1      95455 12/31/2015 WORK   forex                                        CAD             -           -           33.87       -
                                                                                                                                                                         Case: 24-1770




        Pre2017     3 ESQ    ESQ       95320 12/31/2015 BESQ   NV Annual List                               USD                       50.00           -         -
        Pre2017     3 ESQ    ESQ       95785 12/31/2015 WORK   interest payment                             USD             -          3.69           -         -
        Pre2017     3 ESQ    ESQ       95786 12/31/2015 WORK   interest payment                             CAD             -           -           14.93       -
        Pre2017   219 ESQ1   ESQ1      95787 12/31/2015 WORK   interest payment                             USD             -          0.06           -         -
        Pre2017   219 ESQ1   ESQ1      95788 12/31/2015 WORK   interest payment                             CAD             -           -        1,113.23       -
        Pre2017     3 ESQ    ESQ       95680   1/7/2016 REST   receive stock                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       95697   1/8/2016 REST   deliver stock via email DRS)                 CAD                         -          100.00       -
        Pre2017     3 ESQ    ESQ       95718 1/11/2016 REST    deliver stock                                USD                      700.00           -         -
        Pre2017     3 ESQ    ESQ       95719 1/11/2016 BESQ    Action Stock Transfer                        USD                       50.00           -         -
        Pre2017     3 ESQ    ESQ       95912 1/14/2016 CASH    debit                                        CAD      (10,000.00)        -      (10,000.00)      -
        Pre2017     3 ESQ    ESQ       95698 1/15/2016 BEAT    receive stock via email DRS)                 CAD                         -          100.00       -
        Pre2017     3 ESQ    ESQ       97845 1/15/2016 REST    receive stock                                CAD                         -          100.00       -
        Pre2017     3 ESQ    ESQ       95720 1/15/2016 PESC    receive stock via DWAC                       USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       97844 1/15/2016 BEAT    DRS rejected by custodian                    CAD                         -          100.00       -
        Pre2017     3 ESQ    ESQ       96090 1/21/2016 REST    receive stock                                USD                      100.00           -         -
                                                                                                                                                                         Document: 00118249068




        Pre2017     3 ESQ    ESQ       96593 1/22/2016 REST    receive stock                                CAD                         -          100.00       -
        Pre2017     3 ESQ    ESQ       96037 1/22/2016 CASH    debit                                        CAD      (15,000.00)        -      (15,000.00)      -
        Pre2017     3 ESQ    ESQ       96075 1/22/2016 BEAT    reverse DWAC cancelled to TA                 USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96083 1/25/2016 BCEL    Island ck#1479                               USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96080 1/25/2016 REST    deliver stock per SUSS                       USD                      800.00           -         -
        Pre2017     3 ESQ    ESQ       96082 1/25/2016 REST    directors fee + fedex 775495594186           USD                      700.00           -         -
        Pre2017     3 ESQ    ESQ       96084 1/25/2016 REST    deliver stock                                USD                      300.00           -         -




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        Pre2017     3 ESQ    ESQ       96085 1/25/2016 BESQ    Empire Stock Transfer                        USD                       50.00           -         -
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        Pre2017     3 ESQ    ESQ       96087 1/25/2016 REST    deliver stock                                USD                      300.00           -         -
        Pre2017     3 ESQ    ESQ       96088 1/25/2016 BESQ    VStock Transfer                              USD                       50.00           -         -
        Pre2017     3 ESQ    ESQ      100137 1/27/2016 BEAP    deliver stock via reverse DWAC               USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96138 1/27/2016 REST    deliver stock                                USD                    1,200.00           -         -
        Pre2017     3 ESQ    ESQ       96139 1/27/2016 BESQ    Island Stock Transfer                        USD                       50.00           -         -
        Pre2017     3 ESQ    ESQ       96141 1/27/2016 REST    deliver stock                                USD                      500.00           -         -
        Pre2017     3 ESQ    ESQ       96142 1/27/2016 BESQ    VStock Transfer                              USD                       50.00           -         -
        Pre2017     3 ESQ    ESQ       96171 1/28/2016 REST    receive stock                                USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96191 1/29/2016 BEAG    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96172 1/29/2016 REST    deliver stock                                USD                      200.00           -         -
        Pre2017     3 ESQ    ESQ       96173 1/29/2016 BESQ    Island Stock Transfer                        USD                       50.00           -         -
        Pre2017     3 ESQ    ESQ       96175 1/29/2016 REST    internal transfer                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96176 1/29/2016 REST    internal transfer                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96177 1/29/2016 REST    directors fee                                USD                      700.00           -         -
                                                                                                                                                                         Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ       96179 1/29/2016 SIMO    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96182 1/29/2016 SIQU    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96183 1/29/2016 BEAT    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96184 1/29/2016 BEAT    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96186 1/29/2016 BEAP    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96187 1/29/2016 BEAP    order certificate                            USD                      100.00           -         -
        Pre2017     3 ESQ    ESQ       96214 1/31/2016 BCEL    commission withdrawal                        USD             -       (100.00)          -         -



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        Pre2017     3 ESQ    ESQ      96214   1/31/2016 BCEL   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      96219   1/31/2016 BEAG   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      96219   1/31/2016 BEAG   commission withdrawal                USD          -       100.00         -          -
                                                                                                                                                            Case: 24-1770




        Pre2017     3 ESQ    ESQ      96227   1/31/2016 BEAP   commission withdrawal                USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      96227   1/31/2016 BEAP   commission withdrawal                USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      96237   1/31/2016 BEAT   commission withdrawal                USD          -      (300.00)        -          -
        Pre2017     3 ESQ    ESQ      96237   1/31/2016 BEAT   commission withdrawal                USD          -       300.00         -          -
        Pre2017     3 ESQ    ESQ      96238   1/31/2016 BEAT   commission withdrawal                CAD          -          -       (100.00)       -
        Pre2017     3 ESQ    ESQ      96238   1/31/2016 BEAT   commission withdrawal                CAD          -          -        100.00        -
        Pre2017     3 ESQ    ESQ      96242   1/31/2016 BESQ   commission withdrawal                USD          -      (300.00)        -          -
        Pre2017     3 ESQ    ESQ      96242   1/31/2016 BESQ   commission withdrawal                USD          -       300.00         -          -
        Pre2017     3 ESQ    ESQ      96268   1/31/2016 PESC   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      96268   1/31/2016 PESC   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      96269   1/31/2016 REST   commission withdrawal                USD          -    (6,000.00)        -          -
        Pre2017     3 ESQ    ESQ      96269   1/31/2016 REST   commission withdrawal                USD          -     6,000.00         -          -
        Pre2017     3 ESQ    ESQ      96270   1/31/2016 REST   commission withdrawal                CAD          -          -       (300.00)       -
        Pre2017     3 ESQ    ESQ      96270   1/31/2016 REST   commission withdrawal                CAD          -          -        300.00        -
        Pre2017     3 ESQ    ESQ      96276   1/31/2016 SIHI   commission withdrawal                USD          -      (100.00)        -          -
                                                                                                                                                            Document: 00118249068




        Pre2017     3 ESQ    ESQ      96276   1/31/2016 SIHI   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      96282   1/31/2016 SIMO   commission withdrawal                USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      96282   1/31/2016 SIMO   commission withdrawal                USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      96286   1/31/2016 SIQU   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      96286   1/31/2016 SIQU   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      96354   1/31/2016 WORK   interest payment                     CAD          -          -         17.08        -
        Pre2017   219 ESQ1   ESQ1     96355   1/31/2016 WORK   interest payment                     CAD          -          -      1,223.61        -




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        Pre2017     3 ESQ    ESQ      96143    2/2/2016 PESC   receive stock via DWAC               USD                  100.00         -          -
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        Pre2017     3 ESQ    ESQ      96140    2/2/2016 PESC   receive stock via DWAC               USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      96607    2/4/2016 REST   deliver stock                        USD                  400.00         -          -
        Pre2017     3 ESQ    ESQ      96604    2/4/2016 REST   deliver stock                        USD                  600.00         -          -
        Pre2017     3 ESQ    ESQ      96605    2/4/2016 BESQ   Quicksilver Stock Transfer           USD                   50.00         -          -
        Pre2017     3 ESQ    ESQ      96608    2/4/2016 BESQ   Quicksilver Stock Transfer           USD                   50.00         -          -
        Pre2017     3 ESQ    ESQ      96089    2/5/2016 SIQU   receive stock via DWAC               USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      96174    2/5/2016 SIHI   receive stock via DWAC               USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      97002   2/29/2016 BESQ   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      97002   2/29/2016 BESQ   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      97045   2/29/2016 PESC   commission withdrawal                USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      97045   2/29/2016 PESC   commission withdrawal                USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      97049   2/29/2016 REST   commission withdrawal                USD          -    (1,100.00)        -          -
        Pre2017     3 ESQ    ESQ      97049   2/29/2016 REST   commission withdrawal                USD          -     1,100.00         -          -
        Pre2017     3 ESQ    ESQ      97054   2/29/2016 SIHI   commission withdrawal                USD          -      (300.00)        -          -
                                                                                                                                                            Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      97054   2/29/2016 SIHI   commission withdrawal                USD          -       300.00         -          -
        Pre2017     3 ESQ    ESQ      97068   2/29/2016 SIQU   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      97068   2/29/2016 SIQU   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      97175   2/29/2016 WORK   interest payment                     USD          -         6.01         -          -
        Pre2017     3 ESQ    ESQ      97176   2/29/2016 WORK   interest payment                     CAD          -          -          4.90        -
        Pre2017   219 ESQ1   ESQ1     97177   2/29/2016 WORK   interest payment                     CAD          -          -      1,147.59        -
        Pre2017     3 ESQ    ESQ      97676    3/1/2016 WORK   forex                                USD          -    (9,306.01)        -          -



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        Pre2017     3 ESQ    ESQ      97676    3/1/2016 WORK   forex                             CAD             -            -       12,301.56       -
        Pre2017     3 ESQ    ESQ      97416    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      98726    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
                                                                                                                                                               Case: 24-1770




        Pre2017     3 ESQ    ESQ      97413    3/2/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97405    3/2/2016 SIVA   receive stock LOTU                USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97764    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97402    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97403    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97404    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97406    3/2/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97407    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97409    3/2/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97410    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97412    3/2/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97414    3/2/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97415    3/2/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97408    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97411    3/2/2016 SIVA   receive stock                     CAD                          -          100.00       -
                                                                                                                                                               Document: 00118249068




        Pre2017     3 ESQ    ESQ      97453    3/3/2016 SIHI   sell stock                        USD                          -             -         -
        Pre2017     3 ESQ    ESQ      97599    3/9/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97600    3/9/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97687   3/11/2016 SIRI   write off stock                   USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97688   3/11/2016 SIRI   write off stock                   USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97689   3/11/2016 SIRI   write off stock                   USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97842   3/17/2016 REST   deliver stock                     CAD                          -          100.00       -




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        Pre2017     3 ESQ    ESQ      97878   3/18/2016 REST   deliver stock                     USD                       400.00           -         -
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        Pre2017     3 ESQ    ESQ      97879   3/18/2016 BESQ   Columbia Stock Transfer           USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      97956   3/23/2016 REST   deliver stock                     USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      97958   3/23/2016 BESQ   Action Stock Transfer             USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      97939   3/23/2016 CASH   debit                             CAD      (10,000.00)         -      (10,000.00)      -
        Pre2017     3 ESQ    ESQ      97960   3/24/2016 REST   directors fee                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97843   3/25/2016 BEAT   receive stock                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      97880   3/28/2016 SIHI   receive stock via DWAC            USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      97994   3/29/2016 SIVA   receive stock                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      98042   3/29/2016 BCHA   Audi of Richmond draft            CAD      (12,140.26)         -      (12,140.26)      -
        Pre2017     3 ESQ    ESQ      98052   3/30/2016 REST   directors fee                     USD                       900.00           -         -
        Pre2017     3 ESQ    ESQ      98414   3/30/2016 WORK   interest payment                  CAD             -            -           12.02       -
        Pre2017   219 ESQ1   ESQ1     98415   3/30/2016 WORK   interest payment                  CAD             -            -        1,150.32       -
        Pre2017     3 ESQ    ESQ      98144   3/31/2016 BEAT   commission withdrawal             CAD             -            -         (200.00)      -
        Pre2017     3 ESQ    ESQ      98144   3/31/2016 BEAT   commission withdrawal             CAD             -            -          200.00       -
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        Pre2017     3 ESQ    ESQ      98152   3/31/2016 BESQ   commission withdrawal             USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      98152   3/31/2016 BESQ   commission withdrawal             USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      98196   3/31/2016 PESC   commission withdrawal             USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      98196   3/31/2016 PESC   commission withdrawal             USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      98197   3/31/2016 REST   commission withdrawal             USD             -      (1,700.00)          -         -
        Pre2017     3 ESQ    ESQ      98197   3/31/2016 REST   commission withdrawal             USD             -       1,700.00           -         -
        Pre2017     3 ESQ    ESQ      98198   3/31/2016 REST   commission withdrawal             CAD             -            -         (200.00)      -



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        Pre2017   3 ESQ   ESQ      98198   3/31/2016 REST   commission withdrawal                         CAD             -            -          200.00       -
        Pre2017   3 ESQ   ESQ      98210   3/31/2016 SIVA   commission withdrawal                         USD             -      (1,000.00)          -         -
        Pre2017   3 ESQ   ESQ      98210   3/31/2016 SIVA   commission withdrawal                         USD             -       1,000.00           -         -
                                                                                                                                                                        Case: 24-1770




        Pre2017   3 ESQ   ESQ      98211   3/31/2016 SIVA   commission withdrawal                         CAD             -            -         (900.00)      -
        Pre2017   3 ESQ   ESQ      98211   3/31/2016 SIVA   commission withdrawal                         CAD             -            -          900.00       -
        Pre2017   3 ESQ   ESQ      98218   3/31/2016 SIHI   commission withdrawal                         USD             -        (100.00)          -         -
        Pre2017   3 ESQ   ESQ      98218   3/31/2016 SIHI   commission withdrawal                         USD             -         100.00           -         -
        Pre2017   3 ESQ   ESQ      98248   3/31/2016 SIRI   commission withdrawal                         USD             -        (400.00)          -         -
        Pre2017   3 ESQ   ESQ      98248   3/31/2016 SIRI   commission withdrawal                         USD             -         400.00           -         -
        Pre2017   3 ESQ   ESQ      97959   3/31/2016 SIRI   receive stock via DWAC                        USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ      99226    4/1/2016 WORK   forex                                         USD             -        (300.00)          -         -
        Pre2017   3 ESQ   ESQ      99226    4/1/2016 WORK   forex                                         CAD             -            -          373.62       -
        Pre2017   3 ESQ   ESQ      98592    4/1/2016 WORK   forex                                         USD             -      (3,400.00)          -         -
        Pre2017   3 ESQ   ESQ      98592    4/1/2016 WORK   forex                                         CAD             -            -        4,379.09       -
        Pre2017   3 ESQ   ESQ      98656    4/5/2016 REST   receive stock                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ      98657    4/5/2016 REST   directors fees                                USD                     2,400.00           -         -
        Pre2017   3 ESQ   ESQ      98967    4/7/2016 SIQU   sell stock                                    CAD                          -             -         -
        Pre2017   3 ESQ   ESQ      98747    4/7/2016 REST   deliver stock                                 CAD                          -          200.00       -
                                                                                                                                                                        Document: 00118249068




        Pre2017   3 ESQ   ESQ      98751    4/7/2016 REST   deliver stock per FIRE                        USD                       200.00           -         -
        Pre2017   3 ESQ   ESQ      98851    4/7/2016 REST   receive stock                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ      97500    4/8/2016 REST   receive stock                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ      98827   4/11/2016 BCEL   Computershare ck #245                         CAD                          -          100.00       -
        Pre2017   3 ESQ   ESQ      98862   4/11/2016 REST   deliver stock                                 USD                       400.00           -         -
        Pre2017   3 ESQ   ESQ      98863   4/11/2016 BESQ   Empire Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      98865   4/11/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -




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        Pre2017   3 ESQ   ESQ      98907   4/13/2016 REST   directors fee + fedex 776101377138            USD                       800.00           -         -
                                                                                                                                                                        Page: 301




        Pre2017   3 ESQ   ESQ      98908   4/13/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      98909   4/13/2016 REST   deliver stock                                 USD                       200.00           -         -
        Pre2017   3 ESQ   ESQ      98910   4/13/2016 BESQ   Columbia Stock Transfer                       USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      98748   4/14/2016 CANI   receive stock                                 CAD                          -          100.00       -
        Pre2017   3 ESQ   ESQ     100006   4/15/2016 REST   receive stock                                 USD                       100.00           -         -
        Pre2017   3 ESQ   ESQ      98976   4/15/2016 REST   deliver stock                                 USD                     1,300.00           -         -
        Pre2017   3 ESQ   ESQ      98977   4/15/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      98979   4/15/2016 REST   directors fee                                 USD                       200.00           -         -
        Pre2017   3 ESQ   ESQ      99028   4/18/2016 REST   directors fee + fedex #776135575779           USD                       700.00           -         -
        Pre2017   3 ESQ   ESQ      99029   4/18/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      99030   4/18/2016 REST   deliver stock                                 USD                       800.00           -         -
        Pre2017   3 ESQ   ESQ      99031   4/18/2016 BESQ   Island Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      99033   4/18/2016 REST   deliver stock                                 USD                       400.00           -         -
        Pre2017   3 ESQ   ESQ      99034   4/18/2016 BESQ   VStock Transfer                               USD                        50.00           -         -
                                                                                                                                                                        Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ      99053   4/20/2016 BESQ   purchase plataresources.com                   USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      99055   4/20/2016 BCEL   Computershare ck #246                         CAD                          -          100.00       -
        Pre2017   3 ESQ   ESQ      99057   4/20/2016 CANI   receive stock                                 CAD                          -          100.00       -
        Pre2017   3 ESQ   ESQ      99108   4/21/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      99109   4/21/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      99107   4/21/2016 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017   3 ESQ   ESQ      99110   4/21/2016 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)      -



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        Pre2017     3 ESQ    ESQ      99011   4/21/2016 REST   deposit stock                                     CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      99161   4/22/2016 SIRI   sell stock                                        CAD                     -           -          -
        Pre2017     3 ESQ    ESQ      98997   4/22/2016 CANI   receive stock                                     CAD                     -        100.00        -
                                                                                                                                                                         Case: 24-1770




        Pre2017     3 ESQ    ESQ      99141   4/22/2016 REST   deliver stock                                     CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      99142   4/22/2016 REST   deliver stock                                     USD                  300.00         -          -
        Pre2017     3 ESQ    ESQ      99144   4/22/2016 BESQ   Action Stock Transfer                             USD                   50.00         -          -
        Pre2017     3 ESQ    ESQ      99147   4/22/2016 REST   directors fee                                     USD                  200.00         -          -
        Pre2017     3 ESQ    ESQ      98978   4/22/2016 BEAP   receive stock via DWAC                            USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99032   4/25/2016 PESC   receive stock via DWAC                            USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99035   4/25/2016 BEAP   receive stock via DWAC                            USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99709   4/28/2016 REST   receive stock                                     USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99710   4/28/2016 REST   receive stock                                     USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99265   4/28/2016 REST   directors fee + fedex x 2) 776218959876           USD                  500.00         -          -
        Pre2017     3 ESQ    ESQ      99304   4/29/2016 BCEL   commission withdrawal                             CAD          -          -       (200.00)       -
        Pre2017     3 ESQ    ESQ      99304   4/29/2016 BCEL   commission withdrawal                             CAD          -          -        200.00        -
        Pre2017     3 ESQ    ESQ      99326   4/29/2016 BEAP   commission withdrawal                             USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      99326   4/29/2016 BEAP   commission withdrawal                             USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      99345   4/29/2016 BESQ   commission withdrawal                             USD          -      (650.00)        -          -
                                                                                                                                                                         Document: 00118249068




        Pre2017     3 ESQ    ESQ      99345   4/29/2016 BESQ   commission withdrawal                             USD          -       650.00         -          -
        Pre2017     3 ESQ    ESQ      99394   4/29/2016 PESC   commission withdrawal                             USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      99394   4/29/2016 PESC   commission withdrawal                             USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      99398   4/29/2016 REST   commission withdrawal                             USD          -    (8,700.00)        -          -
        Pre2017     3 ESQ    ESQ      99398   4/29/2016 REST   commission withdrawal                             USD          -     8,700.00         -          -
        Pre2017     3 ESQ    ESQ      99399   4/29/2016 REST   commission withdrawal                             CAD          -          -       (400.00)       -
        Pre2017     3 ESQ    ESQ      99399   4/29/2016 REST   commission withdrawal                             CAD          -          -        400.00        -




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        Pre2017     3 ESQ    ESQ      99414   4/29/2016 SIVA   commission withdrawal                             USD          -      (100.00)        -          -
                                                                                                                                                                         Page: 302




        Pre2017     3 ESQ    ESQ      99414   4/29/2016 SIVA   commission withdrawal                             USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      99415   4/29/2016 SIVA   commission withdrawal                             CAD          -          -       (100.00)       -
        Pre2017     3 ESQ    ESQ      99415   4/29/2016 SIVA   commission withdrawal                             CAD          -          -        100.00        -
        Pre2017     3 ESQ    ESQ      99431   4/29/2016 SIMO   commission withdrawal                             USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      99431   4/29/2016 SIMO   commission withdrawal                             USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      99453   4/29/2016 SIRI   commission withdrawal                             USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      99453   4/29/2016 SIRI   commission withdrawal                             USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      99454   4/29/2016 SIRI   commission withdrawal                             CAD          -          -       (100.00)       -
        Pre2017     3 ESQ    ESQ      99454   4/29/2016 SIRI   commission withdrawal                             CAD          -          -        100.00        -
        Pre2017     3 ESQ    ESQ      99756   4/29/2016 REST   commission withdrawal                             USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      99756   4/29/2016 REST   commission withdrawal                             USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      99145   4/29/2016 SIMO   receive stock via DWAC                            USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99266   4/29/2016 PESC   receive stock via 3rd party DTC                   USD                  100.00         -          -
        Pre2017     3 ESQ    ESQ      99284   4/29/2016 REST   receive stock                                     USD                  100.00         -          -
                                                                                                                                                                         Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      99551   4/30/2016 WORK   interest payment                                  USD          -         0.65         -          -
        Pre2017     3 ESQ    ESQ      99552   4/30/2016 WORK   interest payment                                  CAD          -          -          1.32        -
        Pre2017   219 ESQ1   ESQ1     99553   4/30/2016 WORK   interest payment                                  CAD          -          -      1,232.59        -
        Pre2017     3 ESQ    ESQ      99691    5/3/2016 WORK   forex                                             USD          -    (5,196.69)        -          -
        Pre2017     3 ESQ    ESQ      99691    5/3/2016 WORK   forex                                             CAD          -          -      6,496.43        -
        Pre2017     3 ESQ    ESQ      99882    5/3/2016 WORK   forex                                             USD          -    (5,340.35)        -          -
        Pre2017     3 ESQ    ESQ      99882    5/3/2016 WORK   forex                                             CAD          -          -      6,787.52        -



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        Pre2017   3 ESQ   ESQ      99711    5/3/2016 REST   deliver stock                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ      99714    5/3/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99715    5/3/2016 REST   directors fee + fedex 776253710930            USD                 600.00      -         -
                                                                                                                                                             Case: 24-1770




        Pre2017   3 ESQ   ESQ      99716    5/3/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99717    5/3/2016 REST   deliver stock                                 USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ      99718    5/3/2016 BESQ   VStock Transfer                               USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99712    5/3/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99797    5/4/2016 REST   directors fee                                 USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ      99815    5/5/2016 REST   courier file to Saturna CPA\s                 CAD                    -      50.00       -
        Pre2017   3 ESQ   ESQ      99822    5/5/2016 REST   directors fee + fedex 776274564911            USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ      99824    5/5/2016 BESQ   VStock Transfer                               USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99823    5/6/2016 REST   deliver stock                                 USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ      99825    5/6/2016 BESQ   VStock Transfer                               USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99827    5/6/2016 REST   directors fee                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ      99828    5/6/2016 REST   directors fee                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ      99849    5/6/2016 PESC   receive stock via 3rd party DTC               USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ      99798    5/9/2016 SIHI   receive stock via 3rd party DTC               USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ      99799    5/9/2016 SIMO   receive stock via 3rd party DTC               USD                 100.00      -         -
                                                                                                                                                             Document: 00118249068




        Pre2017   3 ESQ   ESQ      99850    5/9/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ      99851    5/9/2016 REST   directors fee                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ      99852    5/9/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99888   5/10/2016 REST   deliver stock                                 USD                 700.00      -         -
        Pre2017   3 ESQ   ESQ      99889   5/10/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99891   5/10/2016 REST   directors fee + fedex #776309604527           USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ      99892   5/10/2016 BESQ   VStock Transfer                               USD                  50.00      -         -




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        Pre2017   3 ESQ   ESQ      99719   5/10/2016 BEAT   receive stock via DWAC                        USD                 100.00      -         -
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        Pre2017   3 ESQ   ESQ      99917   5/11/2016 REST   directors fee + fedex 776320692836            USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ      99920   5/11/2016 REST   directors fee + fedex #776321225260           USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ      99921   5/11/2016 BESQ   VStock Transfer                               USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99926   5/11/2016 REST   deliver stock                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ      99927   5/11/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99959   5/12/2016 REST   directors fee                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ      96086   5/13/2016 SIHI   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ      99960   5/13/2016 REST   directors fee + fedex #776336099020           USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ      99961   5/13/2016 BESQ   VStock Transfer                               USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99969   5/13/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ      99970   5/13/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ      99977   5/13/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ      99826   5/13/2016 PESC   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ      99996   5/16/2016 CANI   receive stock                                 CAD                    -     100.00       -
                                                                                                                                                             Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     100007   5/16/2016 REST   deliver stock                                 USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ     100008   5/16/2016 BESQ   Empire Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     100010   5/16/2016 REST   directors fee                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     100014   5/16/2016 REST   deliver stock                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ     100015   5/16/2016 BESQ   VStock Transfer                               USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ      99890   5/17/2016 SIQU   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     100134   5/17/2016 REST   receive stock                                 CAD                    -     100.00       -



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        Pre2017     3 ESQ    ESQ       99928   5/18/2016 SIQU   receive stock via DWAC                    USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ       99966   5/18/2016 SIRI   receive stock via DTC                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ       99976   5/18/2016 SIRI   receive stock via DTC                     CAD                          -          100.00       -
                                                                                                                                                                        Case: 24-1770




        Pre2017     3 ESQ    ESQ       99968   5/18/2016 SIRI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100135   5/18/2016 REST   deliver stock                             CAD                          -          200.00       -
        Pre2017     3 ESQ    ESQ      100139   5/18/2016 PESC   receive stock via 3rd party DTC           USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      100085   5/18/2016 REST   directors fee                             USD                       400.00           -         -
        Pre2017     3 ESQ    ESQ      100086   5/18/2016 REST   directors fee                             USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      100087   5/18/2016 REST   directors fee                             USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      100088   5/18/2016 REST   directors fee                             USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      100089   5/18/2016 REST   directors fee                             USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      100091   5/18/2016 REST   directors fee                             USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      100092   5/18/2016 REST   directors fee                             USD                       200.00           -         -
        Pre2017     3 ESQ    ESQ      100123   5/19/2016 REST   receive stock                             USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      100136   5/20/2016 BEAT   receive stock via DRS                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100105   5/23/2016 SIHI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100106   5/23/2016 SIHI   receive stock via DTC                     USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      100112   5/23/2016 SIHI   receive stock via DTC                     USD                       100.00           -         -
                                                                                                                                                                        Document: 00118249068




        Pre2017     3 ESQ    ESQ      100113   5/23/2016 SIHI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100108   5/23/2016 SIHI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100110   5/23/2016 SIHI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100114   5/23/2016 SIHI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100109   5/23/2016 SIHI   receive stock via DTC                     CAD                          -          100.00       -
        Pre2017     3 ESQ    ESQ      100016   5/24/2016 SIMO   receive stock via DWAC                    USD                       100.00           -         -
        Pre2017     3 ESQ    ESQ      100236   5/25/2016 REST   receive stock                             CAD                          -          100.00       -




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        Pre2017     3 ESQ    ESQ      100273   5/26/2016 CASH   debit                                     CAD      (10,000.00)         -      (10,000.00)      -
                                                                                                                                                                        Page: 304




        Pre2017     3 ESQ    ESQ      100306   5/27/2016 REST   deliver stock                             USD                       300.00           -         -
        Pre2017     3 ESQ    ESQ      100307   5/27/2016 BESQ   Action Stock Transfer                     USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      100570   5/30/2016 WORK   interest payment                          USD             -           0.56           -         -
        Pre2017     3 ESQ    ESQ      100571   5/30/2016 WORK   interest payment                          CAD             -            -            4.28       -
        Pre2017   219 ESQ1   ESQ1     100572   5/30/2016 WORK   interest payment                          CAD             -            -        1,195.86       -
        Pre2017     3 ESQ    ESQ      100378   5/31/2016 BEAP   commission withdrawal                     USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      100378   5/31/2016 BEAP   commission withdrawal                     USD             -         100.00           -         -
        Pre2017     3 ESQ    ESQ      100387   5/31/2016 BEAT   commission withdrawal                     USD             -        (200.00)          -         -
        Pre2017     3 ESQ    ESQ      100387   5/31/2016 BEAT   commission withdrawal                     USD             -         200.00           -         -
        Pre2017     3 ESQ    ESQ      100388   5/31/2016 BEAT   commission withdrawal                     CAD             -            -         (100.00)      -
        Pre2017     3 ESQ    ESQ      100388   5/31/2016 BEAT   commission withdrawal                     CAD             -            -          100.00       -
        Pre2017     3 ESQ    ESQ      100395   5/31/2016 BESQ   commission withdrawal                     USD             -        (750.00)          -         -
        Pre2017     3 ESQ    ESQ      100395   5/31/2016 BESQ   commission withdrawal                     USD             -         750.00           -         -
        Pre2017     3 ESQ    ESQ      100445   5/31/2016 PESC   commission withdrawal                     USD             -        (300.00)          -         -
                                                                                                                                                                        Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      100445   5/31/2016 PESC   commission withdrawal                     USD             -         300.00           -         -
        Pre2017     3 ESQ    ESQ      100449   5/31/2016 REST   commission withdrawal                     USD             -      (9,100.00)          -         -
        Pre2017     3 ESQ    ESQ      100449   5/31/2016 REST   commission withdrawal                     USD             -       9,100.00           -         -
        Pre2017     3 ESQ    ESQ      100450   5/31/2016 REST   commission withdrawal                     CAD             -            -         (450.00)      -
        Pre2017     3 ESQ    ESQ      100450   5/31/2016 REST   commission withdrawal                     CAD             -            -          450.00       -
        Pre2017     3 ESQ    ESQ      100458   5/31/2016 SIVA   commission charge                         USD             -        (100.00)          -         -
        Pre2017     3 ESQ    ESQ      100458   5/31/2016 SIVA   commission charge                         USD             -         100.00           -         -



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        Pre2017   3 ESQ   ESQ     100463   5/31/2016 SIHI   commission withdrawal                         USD          -       (300.00)         -          -
        Pre2017   3 ESQ   ESQ     100463   5/31/2016 SIHI   commission withdrawal                         USD          -        300.00          -          -
        Pre2017   3 ESQ   ESQ     100464   5/31/2016 SIHI   commission withdrawal                         CAD          -           -        (700.00)       -
                                                                                                                                                                    Case: 24-1770




        Pre2017   3 ESQ   ESQ     100464   5/31/2016 SIHI   commission withdrawal                         CAD          -           -         700.00        -
        Pre2017   3 ESQ   ESQ     100471   5/31/2016 SIMO   commission withdrawal                         USD          -       (200.00)         -          -
        Pre2017   3 ESQ   ESQ     100471   5/31/2016 SIMO   commission withdrawal                         USD          -        200.00          -          -
        Pre2017   3 ESQ   ESQ     100479   5/31/2016 SIQU   commission withdrawal                         USD          -       (200.00)         -          -
        Pre2017   3 ESQ   ESQ     100479   5/31/2016 SIQU   commission withdrawal                         USD          -        200.00          -          -
        Pre2017   3 ESQ   ESQ     100494   5/31/2016 SIRI   commission withdrawal                         USD          -       (100.00)         -          -
        Pre2017   3 ESQ   ESQ     100494   5/31/2016 SIRI   commission withdrawal                         USD          -        100.00          -          -
        Pre2017   3 ESQ   ESQ     100495   5/31/2016 SIRI   commission withdrawal                         CAD          -           -        (100.00)       -
        Pre2017   3 ESQ   ESQ     100495   5/31/2016 SIRI   commission withdrawal                         CAD          -           -         100.00        -
        Pre2017   3 ESQ   ESQ      98911    6/1/2016 SIRI   receive stock via DWAC                        USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100745    6/1/2016 WORK   forex                                         USD          -    (10,864.17)         -          -
        Pre2017   3 ESQ   ESQ     100745    6/1/2016 WORK   forex                                         CAD          -           -      14,250.40        -
        Pre2017   3 ESQ   ESQ     100308    6/3/2016 SIHI   receive stock via Fedex                       USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100814    6/6/2016 REST   deliver stock to R.Glenn per SUSS             USD                   200.00          -          -
        Pre2017   3 ESQ   ESQ     100816    6/6/2016 REST   directors fee                                 USD                   100.00          -          -
                                                                                                                                                                    Document: 00118249068




        Pre2017   3 ESQ   ESQ     100817    6/6/2016 BESQ   Action Stock Transfer                         USD                    50.00          -          -
        Pre2017   3 ESQ   ESQ     100818    6/6/2016 REST   directors fee                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100860    6/9/2016 REST   directors fee                                 USD                   800.00          -          -
        Pre2017   3 ESQ   ESQ     100861    6/9/2016 REST   directors fee                                 CAD                      -       2,400.00        -
        Pre2017   3 ESQ   ESQ     100862    6/9/2016 REST   deliver stock                                 USD                   500.00          -          -
        Pre2017   3 ESQ   ESQ     100863    6/9/2016 BESQ   Action Stock Transfer                         USD                    50.00          -          -
        Pre2017   3 ESQ   ESQ     100823   6/10/2016 WORK   Directors fees                                USD          -      6,200.00          -          -




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        Pre2017   3 ESQ   ESQ     100029   6/10/2016 BEAT   receive stock via DWAC                        USD                   100.00          -          -
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        Pre2017   3 ESQ   ESQ     100943   6/13/2016 REST   deliver stock                                 USD                   700.00          -          -
        Pre2017   3 ESQ   ESQ     100944   6/13/2016 BESQ   Island Stock Transfer                         USD                    50.00          -          -
        Pre2017   3 ESQ   ESQ     100919   6/13/2016 REST   directors fee                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100920   6/13/2016 REST   directors fee                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100921   6/13/2016 BESQ   Island Stock Transfer                         USD                    50.00          -          -
        Pre2017   3 ESQ   ESQ     100922   6/13/2016 REST   directors fee                                 USD                   600.00          -          -
        Pre2017   3 ESQ   ESQ     104963   6/16/2016 BEAP   deliver stock to PINA                         USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100985   6/16/2016 REST   receive stock                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     100995   6/16/2016 WORK   forex                                         USD          -     (6,200.00)         -          -
        Pre2017   3 ESQ   ESQ     100995   6/16/2016 WORK   forex                                         CAD          -           -       7,952.33        -
        Pre2017   3 ESQ   ESQ     101006   6/16/2016 REST   receive stock                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     101004   6/16/2016 REST   receive stock                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     101042   6/17/2016 REST   receive stock medallion guarantee             CAD                      -         300.00        -
        Pre2017   3 ESQ   ESQ     100945   6/20/2016 SIMO   receive stock via DWAC                        USD                   100.00          -          -
                                                                                                                                                                    Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     101129   6/21/2016 REST   receive stock                                 USD                   100.00          -          -
        Pre2017   3 ESQ   ESQ     101107   6/21/2016 SIQU   order DRS Statement                           CAD                      -         100.00        -
        Pre2017   3 ESQ   ESQ     101106   6/21/2016 REST   directors fee                                 USD                   300.00          -          -
        Pre2017   3 ESQ   ESQ     101108   6/21/2016 BEAP   order DRS Statement                           CAD                      -         100.00        -
        Pre2017   3 ESQ   ESQ     101109   6/21/2016 SIHI   order DRS Statement                           CAD                      -         100.00        -
        Pre2017   3 ESQ   ESQ     101131   6/22/2016 BESQ   Empire Stock Transfer                         USD                    50.00          -          -
        Pre2017   3 ESQ   ESQ     101133   6/22/2016 REST   directors fee + fedex #776584714304           USD                   300.00          -          -



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        Pre2017     3 ESQ    ESQ      101134   6/22/2016 BESQ   Action Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101130   6/23/2016 REST   deliver stock                                    USD                   400.00          -         -
        Pre2017     3 ESQ    ESQ      101181   6/24/2016 REST   directors fee                                    USD                 6,200.00          -         -
                                                                                                                                                                          Case: 24-1770




        Pre2017     3 ESQ    ESQ      101247   6/24/2016 REST   deliver stock                                    USD                   300.00          -         -
        Pre2017     3 ESQ    ESQ      101248   6/24/2016 BESQ   VStock Transfer                                  USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      102961   6/24/2016 BCEL   Hub draft Verdmont lost cert                     CAD                      -         100.00       -
        Pre2017     3 ESQ    ESQ      102960   6/24/2016 BCEL   Computershare draft Verdmont lost cert           CAD                      -         100.00       -
        Pre2017     3 ESQ    ESQ      101132   6/28/2016 BEAT   receive stock via DWAC                           USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101254   6/29/2016 REST   deliver stock                                    USD                   300.00          -         -
        Pre2017     3 ESQ    ESQ      101251   6/29/2016 BESQ   Action Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101252   6/29/2016 BESQ   Action Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101255   6/29/2016 BESQ   Action Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101569   6/29/2016 WORK   interest payment                                 USD          -          1.32          -         -
        Pre2017     3 ESQ    ESQ      101570   6/29/2016 WORK   interest payment                                 CAD          -           -          12.98       -
        Pre2017   219 ESQ1   ESQ1     101571   6/29/2016 WORK   interest payment                                 CAD          -           -       1,198.81       -
        Pre2017     3 ESQ    ESQ      101309   6/30/2016 BEAP   commission withdrawal                            CAD          -           -        (100.00)      -
        Pre2017     3 ESQ    ESQ      101309   6/30/2016 BEAP   commission withdrawal                            CAD          -           -         100.00       -
        Pre2017     3 ESQ    ESQ      101317   6/30/2016 BEAT   commission withdrawal                            USD          -       (100.00)         -         -
                                                                                                                                                                          Document: 00118249068




        Pre2017     3 ESQ    ESQ      101317   6/30/2016 BEAT   commission withdrawal                            USD          -        100.00          -         -
        Pre2017     3 ESQ    ESQ      101324   6/30/2016 BESQ   commission withdrawal                            USD          -       (550.00)         -         -
        Pre2017     3 ESQ    ESQ      101324   6/30/2016 BESQ   commission withdrawal                            USD          -        550.00          -         -
        Pre2017     3 ESQ    ESQ      101353   6/30/2016 REST   commission withdrawal                            USD          -    (11,400.00)         -         -
        Pre2017     3 ESQ    ESQ      101353   6/30/2016 REST   commission withdrawal                            USD          -     11,400.00          -         -
        Pre2017     3 ESQ    ESQ      101354   6/30/2016 REST   commission withdrawal                            CAD          -           -      (2,700.00)      -
        Pre2017     3 ESQ    ESQ      101354   6/30/2016 REST   commission withdrawal                            CAD          -           -       2,700.00       -




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        Pre2017     3 ESQ    ESQ      101369   6/30/2016 SIHI   commission withdrawal                            USD          -       (100.00)         -         -
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        Pre2017     3 ESQ    ESQ      101369   6/30/2016 SIHI   commission withdrawal                            USD          -        100.00          -         -
        Pre2017     3 ESQ    ESQ      101379   6/30/2016 SIMO   commission withdrawal                            USD          -       (100.00)         -         -
        Pre2017     3 ESQ    ESQ      101379   6/30/2016 SIMO   commission withdrawal                            USD          -        100.00          -         -
        Pre2017     3 ESQ    ESQ      101386   6/30/2016 SIQU   commission withdrawal                            CAD          -           -        (100.00)      -
        Pre2017     3 ESQ    ESQ      101386   6/30/2016 SIQU   commission withdrawal                            CAD          -           -         100.00       -
        Pre2017     3 ESQ    ESQ      101826    7/5/2016 REST   receive stock                                    USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101249    7/6/2016 SIQU   receive stock via DWAC                           USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101755    7/6/2016 REST   directors fee                                    USD                   900.00          -         -
        Pre2017     3 ESQ    ESQ      101756    7/6/2016 BESQ   Action Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101256    7/6/2016 SIHI   receive stock via DWAC                           USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101827    7/7/2016 REST   deliver stock                                    USD                   600.00          -         -
        Pre2017     3 ESQ    ESQ      101828    7/7/2016 BESQ   Empire Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101973   7/11/2016 REST   receive stock                                    USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101972   7/11/2016 REST   receive stock                                    USD                   100.00          -         -
                                                                                                                                                                          Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      101892   7/13/2016 SIQU   receive stock 3rd party DTC                      USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ       96606   7/13/2016 PESC   receive stock via DWAC                           USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101893   7/13/2016 BESQ   Island Stock Transfer                            USD                    50.00          -         -
        Pre2017     3 ESQ    ESQ      101894   7/13/2016 REST   directors fee                                    USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101895   7/13/2016 REST   directors fee                                    USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101891   7/13/2016 SIQU   receive stock 3rd party DTC LOTU                 USD                   100.00          -         -
        Pre2017     3 ESQ    ESQ      101829   7/13/2016 BEAT   receive stock via DWAC                           USD                   100.00          -         -



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        Pre2017     3 ESQ    ESQ       96609   7/13/2016 SIHI   receive stock via DWAC SUSS                   USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      101916   7/14/2016 REST   directors fee                                 USD                        200.00          -          -
        Pre2017     3 ESQ    ESQ      101918   7/14/2016 BEAG   deliver stock via reverse dwac                USD                        100.00          -          -
                                                                                                                                                                             Case: 24-1770




        Pre2017     3 ESQ    ESQ      101917   7/14/2016 BEAP   deliver stock via reverse dwac                USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      101974   7/15/2016 REST   deliver stock                                 USD                        500.00          -          -
        Pre2017     3 ESQ    ESQ      101975   7/15/2016 REST   deliver stock                                 USD                        300.00          -          -
        Pre2017     3 ESQ    ESQ      101976   7/15/2016 BESQ   Action Stock Transfer                         USD                         50.00          -          -
        Pre2017     3 ESQ    ESQ      101977   7/15/2016 BESQ   Action Stock Transfer                         USD                         50.00          -          -
        Pre2017     3 ESQ    ESQ      101923   7/18/2016 BESQ   Empire Stock Transfer                         USD                         50.00          -          -
        Pre2017     3 ESQ    ESQ      102004   7/18/2016 BCEL   Computershare ck #249 MCE                     CAD                           -         100.00        -
        Pre2017     3 ESQ    ESQ      102006   7/18/2016 REST   internal transfer                             CAD                           -         100.00        -
        Pre2017     3 ESQ    ESQ      102089   7/21/2016 REST   directors fee                                 USD                        200.00          -          -
        Pre2017     3 ESQ    ESQ      101979   7/22/2016 SIMO   receive stock via DWAC                        USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      108162   7/22/2016 REST   receive stock                                 CAD                           -         100.00        -
        Pre2017     3 ESQ    ESQ      101978   7/22/2016 BEAP   receive stock via DWAC                        USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      102745   7/25/2016 REST   directors fee                                 USD                        600.00          -          -
        Pre2017     3 ESQ    ESQ      102196   7/28/2016 REST   directos fee                                  USD                        300.00          -          -
        Pre2017     3 ESQ    ESQ      102199   7/28/2016 REST   directors fee                                 USD                        300.00          -          -
                                                                                                                                                                             Document: 00118249068




        Pre2017     3 ESQ    ESQ      102202   7/28/2016 REST   directors fee                                 USD                        300.00          -          -
        Pre2017     3 ESQ    ESQ      102205   7/28/2016 REST   directors fee + fedex #776869322023           USD                        450.00          -          -
        Pre2017     3 ESQ    ESQ      102206   7/28/2016 REST   receive stock                                 USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      102228   7/29/2016 BOSA   forex                                         USD      (12,130.02)   (12,251.32)         -          -
        Pre2017     3 ESQ    ESQ      102228   7/29/2016 BOSA   forex                                         CAD       15,866.60           -      15,866.60        -
        Pre2017     3 ESQ    ESQ      102256   7/30/2016 BCEL   commission withdrawal                         CAD             -             -        (100.00)       -
        Pre2017     3 ESQ    ESQ      102256   7/30/2016 BCEL   commission withdrawal                         CAD             -             -         100.00        -




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        Pre2017     3 ESQ    ESQ      102261   7/30/2016 BEAG   commission withdrawal                         USD             -         (100.00)         -          -
                                                                                                                                                                             Page: 307




        Pre2017     3 ESQ    ESQ      102261   7/30/2016 BEAG   commission withdrawal                         USD             -          100.00          -          -
        Pre2017     3 ESQ    ESQ      102267   7/30/2016 BEAP   commission withdrawal                         USD             -         (200.00)         -          -
        Pre2017     3 ESQ    ESQ      102267   7/30/2016 BEAP   commission withdrawal                         USD             -          200.00          -          -
        Pre2017     3 ESQ    ESQ      102273   7/30/2016 BEAT   commission withdrawal                         USD             -         (200.00)         -          -
        Pre2017     3 ESQ    ESQ      102273   7/30/2016 BEAT   commission withdrawal                         USD             -          200.00          -          -
        Pre2017     3 ESQ    ESQ      102277   7/30/2016 BESQ   commission withdrawal                         USD             -         (350.00)         -          -
        Pre2017     3 ESQ    ESQ      102277   7/30/2016 BESQ   commission withdrawal                         USD             -          350.00          -          -
        Pre2017     3 ESQ    ESQ      102317   7/30/2016 REST   commission withdrawal                         USD             -       (5,450.00)         -          -
        Pre2017     3 ESQ    ESQ      102317   7/30/2016 REST   commission withdrawal                         USD             -        5,450.00          -          -
        Pre2017     3 ESQ    ESQ      102318   7/30/2016 REST   commission withdrawal                         CAD             -             -        (100.00)       -
        Pre2017     3 ESQ    ESQ      102318   7/30/2016 REST   commission withdrawal                         CAD             -             -         100.00        -
        Pre2017     3 ESQ    ESQ      102326   7/30/2016 SIHI   commission withdrawal                         USD             -         (100.00)         -          -
        Pre2017     3 ESQ    ESQ      102326   7/30/2016 SIHI   commission withdrawal                         USD             -          100.00          -          -
        Pre2017     3 ESQ    ESQ      102336   7/30/2016 SIMO   commission withdrawal                         USD             -         (100.00)         -          -
                                                                                                                                                                             Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      102336   7/30/2016 SIMO   commission withdrawal                         USD             -          100.00          -          -
        Pre2017     3 ESQ    ESQ      102342   7/30/2016 SIQU   commission withdrawal                         USD             -         (300.00)         -          -
        Pre2017     3 ESQ    ESQ      102342   7/30/2016 SIQU   commission withdrawal                         USD             -          300.00          -          -
        Pre2017     3 ESQ    ESQ      102424   7/30/2016 WORK   interest payment                              USD             -            9.92          -          -
        Pre2017     3 ESQ    ESQ      102425   7/30/2016 WORK   interest payment                              CAD             -             -          20.71        -
        Pre2017   219 ESQ1   ESQ1     102426   7/30/2016 WORK   interest payment                              CAD             -             -       1,241.83        -
        Pre2017     3 ESQ    ESQ      102560    8/1/2016 REST   directors fee                                 USD                        200.00          -          -



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        Pre2017   3 ESQ   ESQ     102561    8/1/2016 REST   directors fee                                  USD                  200.00      -         -
        Pre2017   3 ESQ   ESQ     102562    8/1/2016 REST   directors fee + fedex #776894206014            USD                1,900.00      -         -
        Pre2017   3 ESQ   ESQ     102563    8/1/2016 BESQ   Pacific Stock Transfer                         USD                   50.00      -         -
                                                                                                                                                               Case: 24-1770




        Pre2017   3 ESQ   ESQ     102565    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102566    8/1/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102568    8/1/2016 REST   directors fee + fedex # 776894204971           USD                  500.00      -         -
        Pre2017   3 ESQ   ESQ     102569    8/1/2016 BESQ   Island Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102570    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102571    8/1/2016 REST   directors fee + fedex #776894208749            USD                  400.00      -         -
        Pre2017   3 ESQ   ESQ     102572    8/1/2016 REST   directors fee + fedex #776894206860            USD                  900.00      -         -
        Pre2017   3 ESQ   ESQ     102573    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102574    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102575    8/1/2016 REST   diretors fee + fedex #776894211252             USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102576    8/1/2016 REST   directors fee + fedex #776894211252            USD                  600.00      -         -
        Pre2017   3 ESQ   ESQ     102577    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102578    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102579    8/1/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102580    8/1/2016 REST   directors fee + fedex #776894209105            USD                  500.00      -         -
                                                                                                                                                               Document: 00118249068




        Pre2017   3 ESQ   ESQ     102581    8/1/2016 REST   directors fee + fedex #776894209105            USD                  700.00      -         -
        Pre2017   3 ESQ   ESQ     102198    8/1/2016 SISA   receive stock via DTC                          USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     103119    8/1/2016 REST   receive stock at Lawlers                       USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     102567    8/5/2016 SIMO   receive stock via DWAC                         USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     102664    8/5/2016 REST   receive stock                                  CAD                     -     100.00       -
        Pre2017   3 ESQ   ESQ     102805    8/8/2016 REST   receive stock                                  USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     102688    8/8/2016 REST   deliver stock                                  USD                  300.00      -         -




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        Pre2017   3 ESQ   ESQ     102689    8/8/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
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        Pre2017   3 ESQ   ESQ     102691    8/8/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102692    8/8/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102694    8/8/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102696    8/8/2016 BESQ   Pacific Stock Transfer                         USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102698    8/8/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102699    8/8/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102701    8/8/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102702    8/8/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102810   8/10/2016 REST   directors fee                                  USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     102811   8/10/2016 REST   directors fee                                  USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     102747   8/10/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102748   8/10/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102749   8/10/2016 BESQ   Action Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102750   8/10/2016 REST   deliver stock                                  USD                  300.00      -         -
                                                                                                                                                               Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     102752   8/10/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102690   8/12/2016 SIHI   receive stock via DWAC                         USD                  100.00      -         -
        Pre2017   3 ESQ   ESQ     102806   8/12/2016 REST   deliver stock                                  USD                  400.00      -         -
        Pre2017   3 ESQ   ESQ     102807   8/12/2016 BESQ   Empire Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102809   8/12/2016 REST   deliver stock                                  USD                  300.00      -         -
        Pre2017   3 ESQ   ESQ     102812   8/12/2016 BESQ   Island Stock Transfer                          USD                   50.00      -         -
        Pre2017   3 ESQ   ESQ     102700   8/15/2016 SIHI   receive stock via DWAC                         USD                  100.00      -         -



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        Pre2017     3 ESQ    ESQ      102751   8/16/2016 SISA   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      102753   8/17/2016 SISA   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      102808   8/19/2016 BEAT   receive stock via DWAC                        USD                        100.00           -         -
                                                                                                                                                                             Case: 24-1770




        Pre2017     3 ESQ    ESQ      102813   8/19/2016 SISA   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      103317   8/19/2016 REST   receive stock                                 USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      102968   8/22/2016 REST   deliver stock                                 USD                        400.00           -         -
        Pre2017     3 ESQ    ESQ      103023   8/25/2016 REST   deliver stock per MONT                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      103027   8/25/2016 REST   directors fee                                 USD                        200.00           -         -
        Pre2017     3 ESQ    ESQ      103043   8/26/2016 BCEL   Courtney Kelln ck#283                         CAD      (15,000.00)          -      (15,000.00)      -
        Pre2017     3 ESQ    ESQ      103084   8/29/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      103130   8/30/2016 REST   deliver stock to clear cert                   USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      103116   8/30/2016 REST   directors fee                                 USD                        200.00           -         -
        Pre2017     3 ESQ    ESQ      103120   8/30/2016 REST   deliver stock                                 USD                        400.00           -         -
        Pre2017     3 ESQ    ESQ      103121   8/30/2016 BESQ   VStock Transfer                               USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      103125   8/30/2016 REST   directors fee + fedex #777118273061           USD                        500.00           -         -
        Pre2017     3 ESQ    ESQ      103126   8/30/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      103127   8/30/2016 REST   deliver stock                                 USD                        700.00           -         -
        Pre2017     3 ESQ    ESQ      103128   8/30/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
                                                                                                                                                                             Document: 00118249068




        Pre2017     3 ESQ    ESQ      103131   8/30/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      103170   8/31/2016 BCEL   commission withdrawal                         USD             -         (100.00)          -         -
        Pre2017     3 ESQ    ESQ      103170   8/31/2016 BCEL   commission withdrawal                         USD             -          100.00           -         -
        Pre2017     3 ESQ    ESQ      103171   8/31/2016 BCEL   commission withdrawal                         CAD             -             -         (300.00)      -
        Pre2017     3 ESQ    ESQ      103171   8/31/2016 BCEL   commission withdrawal                         CAD             -             -          300.00       -
        Pre2017     3 ESQ    ESQ      103204   8/31/2016 BESQ   commission withdrawal                         USD             -       (1,150.00)          -         -
        Pre2017     3 ESQ    ESQ      103204   8/31/2016 BESQ   commission withdrawal                         USD             -        1,150.00           -         -




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        Pre2017     3 ESQ    ESQ      103244   8/31/2016 REST   commission withdrawal                         USD             -      (12,200.00)          -         -
                                                                                                                                                                             Page: 309




        Pre2017     3 ESQ    ESQ      103244   8/31/2016 REST   commission withdrawal                         USD             -       12,200.00           -         -
        Pre2017     3 ESQ    ESQ      103245   8/31/2016 REST   commission withdrawal                         CAD             -             -         (100.00)      -
        Pre2017     3 ESQ    ESQ      103245   8/31/2016 REST   commission withdrawal                         CAD             -             -          100.00       -
        Pre2017     3 ESQ    ESQ      103260   8/31/2016 SIHI   commission withdrawal                         USD             -         (200.00)          -         -
        Pre2017     3 ESQ    ESQ      103260   8/31/2016 SIHI   commission withdrawal                         USD             -          200.00           -         -
        Pre2017     3 ESQ    ESQ      103270   8/31/2016 SIMO   commission withdrawal                         USD             -         (100.00)          -         -
        Pre2017     3 ESQ    ESQ      103270   8/31/2016 SIMO   commission withdrawal                         USD             -          100.00           -         -
        Pre2017     3 ESQ    ESQ      103286   8/31/2016 SISA   commission withdrawal                         USD             -         (400.00)          -         -
        Pre2017     3 ESQ    ESQ      103286   8/31/2016 SISA   commission withdrawal                         USD             -          400.00           -         -
        Pre2017     3 ESQ    ESQ      103373   8/31/2016 WORK   interest payment                              USD             -            6.36           -         -
        Pre2017     3 ESQ    ESQ      103374   8/31/2016 WORK   interest payment                              CAD             -             -           32.13       -
        Pre2017   219 ESQ1   ESQ1     103375   8/31/2016 WORK   interest payment                              CAD             -             -        1,285.15       -
        Pre2017     3 ESQ    ESQ      104004    9/1/2016 REST   receive stock                                 USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      103487    9/1/2016 REST   directors fee + fedex 777140201568            USD                        300.00           -         -
                                                                                                                                                                             Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      103488    9/1/2016 REST   directors fee + fedex 777140193603            USD                        300.00           -         -
        Pre2017     3 ESQ    ESQ      103489    9/1/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      103544    9/6/2016 REST   directors fee                                 USD                        700.00           -         -
        Pre2017     3 ESQ    ESQ      103545    9/6/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017     3 ESQ    ESQ      103129    9/6/2016 SISA   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      102703    9/6/2016 SIQU   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017     3 ESQ    ESQ      103703    9/6/2016 SIQU   receive stock via DWAC                        USD                        100.00           -         -



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        Pre2017   3 ESQ   ESQ     103546    9/6/2016 REST   directors fee                                 USD                      1,200.00           -         -
        Pre2017   3 ESQ   ESQ     103549    9/6/2016 REST   directors fee + fedex #777163276865           USD                        450.00           -         -
        Pre2017   3 ESQ   ESQ     103570    9/7/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
                                                                                                                                                                         Case: 24-1770




        Pre2017   3 ESQ   ESQ     103605    9/8/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103594    9/8/2016 REST   directors fee + fedex #777180632138           USD                        500.00           -         -
        Pre2017   3 ESQ   ESQ     103595    9/8/2016 REST   deliver stock                                 USD                        300.00           -         -
        Pre2017   3 ESQ   ESQ     103596    9/8/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103597    9/8/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103601    9/8/2016 REST   deliver stock                                 USD                        300.00           -         -
        Pre2017   3 ESQ   ESQ     103602    9/8/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103604    9/8/2016 REST   directors fee + fedex #777185415690           USD                        600.00           -         -
        Pre2017   3 ESQ   ESQ     103627    9/9/2016 WORK   forex                                         USD             -      (14,742.42)          -         -
        Pre2017   3 ESQ   ESQ     103627    9/9/2016 WORK   forex                                         CAD             -             -       18,956.43       -
        Pre2017   3 ESQ   ESQ     103632    9/9/2016 REST   directors fee + fedex #777191656544           USD                        400.00           -         -
        Pre2017   3 ESQ   ESQ     103633    9/9/2016 REST   directors fee + fedex #777191629985           USD                        400.00           -         -
        Pre2017   3 ESQ   ESQ     103634    9/9/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103636    9/9/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103637    9/9/2016 REST   directors fee                                 USD                        300.00           -         -
                                                                                                                                                                         Document: 00118249068




        Pre2017   3 ESQ   ESQ     103750   9/12/2016 REST   receive stock                                 USD                        100.00           -         -
        Pre2017   3 ESQ   ESQ     103730   9/13/2016 CASH   debit                                         CAD      (30,000.00)          -      (30,000.00)      -
        Pre2017   3 ESQ   ESQ     103742   9/14/2016 REST   directors fee                                 USD                        100.00           -         -
        Pre2017   3 ESQ   ESQ     103746   9/14/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103744   9/14/2016 REST   directors fee                                 USD                        100.00           -         -
        Pre2017   3 ESQ   ESQ     103751   9/14/2016 REST   directors fee + fedex #777228426823           USD                        500.00           -         -
        Pre2017   3 ESQ   ESQ     103752   9/14/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -




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        Pre2017   3 ESQ   ESQ     103753   9/14/2016 REST   directors fee + fedex #777229845127           USD                        500.00           -         -
                                                                                                                                                                         Page: 310




        Pre2017   3 ESQ   ESQ     103754   9/14/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103755   9/14/2016 REST   deliver stock                                 USD                        300.00           -         -
        Pre2017   3 ESQ   ESQ     103756   9/14/2016 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103603   9/15/2016 SIMO   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017   3 ESQ   ESQ     103598   9/15/2016 SIQU   receive stock via DWAC                        USD                        100.00           -         -
        Pre2017   3 ESQ   ESQ     103805   9/15/2016 REST   directors fee + fedex #777247187785           USD                        800.00           -         -
        Pre2017   3 ESQ   ESQ     105099   9/15/2016 SIVA   receive stock spin out                        CAD                           -          100.00       -
        Pre2017   3 ESQ   ESQ     104049   9/15/2016 BEAG   receive stock                                 CAD                           -          100.00       -
        Pre2017   3 ESQ   ESQ     104050   9/15/2016 BEAP   receive stock                                 CAD                           -          100.00       -
        Pre2017   3 ESQ   ESQ     104051   9/15/2016 BEAT   receive stock                                 CAD                           -          100.00       -
        Pre2017   3 ESQ   ESQ     103875   9/15/2016 REST   receive stock                                 USD                        100.00           -         -
        Pre2017   3 ESQ   ESQ     103806   9/16/2016 REST   directors fee + fedex #777247222677           USD                        800.00           -         -
        Pre2017   3 ESQ   ESQ     103807   9/16/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103808   9/16/2016 BESQ   Action Stock Transfer                         USD                         50.00           -         -
                                                                                                                                                                         Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     103811   9/16/2016 BESQ   Pacific Stock Transfer                        USD                         50.00           -         -
        Pre2017   3 ESQ   ESQ     103812   9/16/2016 REST   directors fee + fedex #777248007873           USD                      1,400.00           -         -
        Pre2017   3 ESQ   ESQ     103957   9/16/2016 WORK   forex                                         USD             -       (6,223.86)          -         -
        Pre2017   3 ESQ   ESQ     103957   9/16/2016 WORK   forex                                         CAD             -             -        8,108.20       -
        Pre2017   3 ESQ   ESQ     103789   9/16/2016 CASH   debit                                         CAD      (20,000.00)          -      (20,000.00)      -
        Pre2017   3 ESQ   ESQ     103846   9/19/2016 BCEL   Airfare ck #250 RBC                           CAD       (3,073.73)          -       (3,073.73)      -
        Pre2017   3 ESQ   ESQ     103864   9/20/2016 REST   directors fee                                 USD                        100.00           -         -



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        Pre2017   3 ESQ   ESQ     103865   9/20/2016 REST   directors fee + fedex #777271175683           USD                   800.00          -         -
        Pre2017   3 ESQ   ESQ     103866   9/20/2016 BESQ   Action Stock Tranfer                          USD                    50.00          -         -
        Pre2017   3 ESQ   ESQ     103877   9/20/2016 BESQ   Action Stock Transfer                         USD                    50.00          -         -
                                                                                                                                                                   Case: 24-1770




        Pre2017   3 ESQ   ESQ     103873   9/20/2016 BESQ   Action Stock Transfer                         USD                    50.00          -         -
        Pre2017   3 ESQ   ESQ     103872   9/20/2016 REST   deliver stock                                 USD                   300.00          -         -
        Pre2017   3 ESQ   ESQ     103876   9/20/2016 REST   directors fee + fedex #777270916234           USD                   400.00          -         -
        Pre2017   3 ESQ   ESQ     103757   9/21/2016 SIRI   receive stock via DWAC                        USD                   100.00          -         -
        Pre2017   3 ESQ   ESQ     103911   9/21/2016 REST   receive stock                                 USD                   100.00          -         -
        Pre2017   3 ESQ   ESQ     103912   9/21/2016 REST   receive stock                                 USD                   100.00          -         -
        Pre2017   3 ESQ   ESQ     103898   9/21/2016 REST   directors fee + fedex #777282314158           USD                   800.00          -         -
        Pre2017   3 ESQ   ESQ     103899   9/21/2016 BESQ   Action Stock Transfer                         USD                    50.00          -         -
        Pre2017   3 ESQ   ESQ     103910   9/22/2016 REST   directors fee                                 USD                   200.00          -         -
        Pre2017   3 ESQ   ESQ     103998   9/22/2016 REST   deliver stock                                 USD                   300.00          -         -
        Pre2017   3 ESQ   ESQ     103999   9/22/2016 BESQ   Action Stock Transfer                         USD                    50.00          -         -
        Pre2017   3 ESQ   ESQ     103941   9/23/2016 REST   Annual Report 2015/2016                       CAD                      -         490.00       -
        Pre2017   3 ESQ   ESQ     103946   9/23/2016 REST   Annual Report 2015/2016 Rica                  CAD                      -         490.00       -
        Pre2017   3 ESQ   ESQ     103955   9/23/2016 REST   Annual Report Phalanx 2016                    CAD                      -         245.00       -
        Pre2017   3 ESQ   ESQ     103874   9/26/2016 SISA   receive stock via DWAC                        USD                   100.00          -         -
                                                                                                                                                                   Document: 00118249068




        Pre2017   3 ESQ   ESQ     103909   9/26/2016 SIHI   receive stock via 3rd party DTC               USD                   100.00          -         -
        Pre2017   3 ESQ   ESQ     104031   9/28/2016 REST   deliver stock                                 USD                   900.00          -         -
        Pre2017   3 ESQ   ESQ     104032   9/28/2016 BESQ   Island Stock Transfer                         USD                    50.00          -         -
        Pre2017   3 ESQ   ESQ     104301   9/28/2016 REST   directors fee                                 USD                   300.00          -         -
        Pre2017   3 ESQ   ESQ     104000   9/29/2016 SISA   receive stock via DWAC                        USD                   100.00          -         -
        Pre2017   3 ESQ   ESQ     104108   9/30/2016 BCEL   commission withdrawal                         USD          -       (200.00)         -         -
        Pre2017   3 ESQ   ESQ     104108   9/30/2016 BCEL   commission withdrawal                         USD          -        200.00          -         -




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        Pre2017   3 ESQ   ESQ     104115   9/30/2016 BEAG   commission withdrawal                         CAD          -           -        (100.00)      -
                                                                                                                                                                   Page: 311




        Pre2017   3 ESQ   ESQ     104115   9/30/2016 BEAG   commission withdrawal                         CAD          -           -         100.00       -
        Pre2017   3 ESQ   ESQ     104126   9/30/2016 BEAP   commission withdrawal                         CAD          -           -        (100.00)      -
        Pre2017   3 ESQ   ESQ     104126   9/30/2016 BEAP   commission withdrawal                         CAD          -           -         100.00       -
        Pre2017   3 ESQ   ESQ     104136   9/30/2016 BEAT   commission withdrawal                         CAD          -           -        (100.00)      -
        Pre2017   3 ESQ   ESQ     104136   9/30/2016 BEAT   commission withdrawal                         CAD          -           -         100.00       -
        Pre2017   3 ESQ   ESQ     104140   9/30/2016 BESQ   commission withdrawal                         USD          -     (1,100.00)         -         -
        Pre2017   3 ESQ   ESQ     104140   9/30/2016 BESQ   commission withdrawal                         USD          -      1,100.00          -         -
        Pre2017   3 ESQ   ESQ     104187   9/30/2016 REST   commission withdrawal                         USD          -    (14,650.00)         -         -
        Pre2017   3 ESQ   ESQ     104187   9/30/2016 REST   commission withdrawal                         USD          -     14,650.00          -         -
        Pre2017   3 ESQ   ESQ     104188   9/30/2016 REST   commission withdrawal                         CAD          -           -      (1,225.00)      -
        Pre2017   3 ESQ   ESQ     104188   9/30/2016 REST   commission withdrawal                         CAD          -           -       1,225.00       -
        Pre2017   3 ESQ   ESQ     104203   9/30/2016 SIHI   commission withdrawal                         USD          -       (200.00)         -         -
        Pre2017   3 ESQ   ESQ     104203   9/30/2016 SIHI   commission withdrawal                         USD          -        200.00          -         -
        Pre2017   3 ESQ   ESQ     104215   9/30/2016 SIMO   commission withdrawal                         USD          -       (100.00)         -         -
                                                                                                                                                                   Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     104215   9/30/2016 SIMO   commission withdrawal                         USD          -        100.00          -         -
        Pre2017   3 ESQ   ESQ     104227   9/30/2016 SIQU   commission withdrawal                         USD          -       (300.00)         -         -
        Pre2017   3 ESQ   ESQ     104227   9/30/2016 SIQU   commission withdrawal                         USD          -        300.00          -         -
        Pre2017   3 ESQ   ESQ     104238   9/30/2016 SIRI   commission withdrawal                         USD          -       (100.00)         -         -
        Pre2017   3 ESQ   ESQ     104238   9/30/2016 SIRI   commission withdrawal                         USD          -        100.00          -         -
        Pre2017   3 ESQ   ESQ     104248   9/30/2016 SISA   commission withdrawal                         USD          -       (300.00)         -         -
        Pre2017   3 ESQ   ESQ     104248   9/30/2016 SISA   commission withdrawal                         USD          -        300.00          -         -



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        Pre2017     3 ESQ    ESQ      104328 9/30/2016 BESQ    commission withdrawal                         USD          -       (150.00)         -          -
        Pre2017     3 ESQ    ESQ      104328 9/30/2016 BESQ    commission withdrawal                         USD          -        150.00          -          -
        Pre2017     3 ESQ    ESQ      104334 9/30/2016 REST    commission withdrawal                         USD          -     (1,950.00)         -          -
                                                                                                                                                                       Case: 24-1770




        Pre2017     3 ESQ    ESQ      104334 9/30/2016 REST    commission withdrawal                         USD          -      1,950.00          -          -
        Pre2017     3 ESQ    ESQ      104914 9/30/2016 CANI    commission withdrawal                         CAD          -           -        (900.00)       -
        Pre2017     3 ESQ    ESQ      104914 9/30/2016 CANI    commission withdrawal                         CAD          -           -         900.00        -
        Pre2017     3 ESQ    ESQ      104291 9/30/2016 WORK    forex                                         USD          -    (16,950.00)         -          -
        Pre2017     3 ESQ    ESQ      104291 9/30/2016 WORK    forex                                         CAD          -           -      22,204.50        -
        Pre2017     3 ESQ    ESQ      104300 9/30/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104302 9/30/2016 REST    directors fee                                 USD                 1,050.00          -          -
        Pre2017     3 ESQ    ESQ      104304 9/30/2016 REST    deliver stock                                 USD                   600.00          -          -
        Pre2017     3 ESQ    ESQ      104305 9/30/2016 BESQ    Island Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      108163 9/30/2016 REST    deliver stock to ATTI                         CAD                      -         100.00        -
        Pre2017     3 ESQ    ESQ      104590 9/30/2016 REST    receive stock                                 USD                   100.00          -          -
        Pre2017     3 ESQ    ESQ      104380 9/30/2016 WORK    interest payment                              USD          -          5.85          -          -
        Pre2017     3 ESQ    ESQ      104381 9/30/2016 WORK    interest payment                              CAD          -           -          12.17        -
        Pre2017   219 ESQ1   ESQ1     104382 9/30/2016 WORK    interest payment                              CAD          -           -       1,208.00        -
        Pre2017     3 ESQ    ESQ      106971 10/3/2016 REST    deliver stock per FIRE                        USD                   100.00          -          -
                                                                                                                                                                       Document: 00118249068




        Pre2017     3 ESQ    ESQ      104587 10/3/2016 CANI    receive stock                                 CAD                      -         100.00        -
        Pre2017     3 ESQ    ESQ      104033 10/3/2016 BEAT    receive stock via DWAC                        USD                   100.00          -          -
        Pre2017     3 ESQ    ESQ      104591 10/3/2016 REST    deliver stock                                 USD                   600.00          -          -
        Pre2017     3 ESQ    ESQ      104592 10/3/2016 BESQ    Empire Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      107087 10/3/2016 REST    receive stock                                 USD                   100.00          -          -
        Pre2017     3 ESQ    ESQ      104598 10/4/2016 REST    directors fee                                 USD                   100.00          -          -
        Pre2017     3 ESQ    ESQ      104599 10/4/2016 REST    directors fee                                 USD                   100.00          -          -




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        Pre2017     3 ESQ    ESQ      104600 10/4/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
                                                                                                                                                                       Page: 312




        Pre2017     3 ESQ    ESQ      104601 10/4/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104602 10/4/2016 REST    deliver stock                                 USD                   300.00          -          -
        Pre2017     3 ESQ    ESQ      104603 10/4/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104673 10/6/2016 REST    deliver stock                                 USD                   300.00          -          -
        Pre2017     3 ESQ    ESQ      104674 10/6/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104676 10/6/2016 REST    directors fee + fedex #777411965066           USD                   300.00          -          -
        Pre2017     3 ESQ    ESQ      104677 10/6/2016 BESQ    Island Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104678 10/6/2016 REST    directors fee + fedex #777412080697           USD                   300.00          -          -
        Pre2017     3 ESQ    ESQ      104679 10/6/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104680 10/6/2016 REST    directors fee + fedex #777412427252           USD                   300.00          -          -
        Pre2017     3 ESQ    ESQ      104681 10/6/2016 BESQ    Action Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104682 10/6/2016 REST    directors fee + fedex #777411927650           USD                   600.00          -          -
        Pre2017     3 ESQ    ESQ      104683 10/6/2016 BESQ    Island Stock Transfer                         USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104684 10/6/2016 BESQ    Island Stock Transfer                         USD                    50.00          -          -
                                                                                                                                                                       Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      104704 10/7/2016 REST    directors fee + fedex #777420133784           USD                 1,400.00          -          -
        Pre2017     3 ESQ    ESQ      104705 10/7/2016 BESQ    Pacific Stock Transfer                        USD                    50.00          -          -
        Pre2017     3 ESQ    ESQ      104593 10/10/2016 BEAT   receive stock via DWAC                        USD                   100.00          -          -
        Pre2017     3 ESQ    ESQ      104604 10/11/2016 SIQU   receive stock via DWAC                        USD                   100.00          -          -
        Pre2017     3 ESQ    ESQ      104627 10/11/2016 BEAT   receive stock via DRS                         CAD                      -         100.00        -
        Pre2017     3 ESQ    ESQ      104737 10/11/2016 REST   deliver stock                                 USD                   500.00          -          -
        Pre2017     3 ESQ    ESQ      104738 10/11/2016 BESQ   Action Stock Transfer                         USD                    50.00          -          -



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        Pre2017     3 ESQ    ESQ      104626 10/11/2016 SIVA   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104628 10/11/2016 SIQU   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104754 10/12/2016 REST   deliver stock                       USD                 400.00         -         -
                                                                                                                                                         Case: 24-1770




        Pre2017     3 ESQ    ESQ      104755 10/12/2016 BESQ   Action Stock Transfer               USD                  50.00         -         -
        Pre2017     3 ESQ    ESQ      104757 10/12/2016 REST   deliver stock                       USD                 500.00         -         -
        Pre2017     3 ESQ    ESQ      104758 10/12/2016 BESQ   Island Stock Transfer               USD                  50.00         -         -
        Pre2017     3 ESQ    ESQ      104675 10/13/2016 SISA   receive stock via DWAC              USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104782 10/13/2016 REST   directors fee                       CAD                    -        200.00       -
        Pre2017     3 ESQ    ESQ      104847 10/14/2016 BEAG   DWAC to Tamarind                    USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104739 10/14/2016 BEAG   receive stock via DWAC              USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104848 10/14/2016 BEAT   DWAC to Crystalmount                USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104852 10/17/2016 REST   receive stock                       USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104759 10/18/2016 BEAT   receive stock via DWAC              USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104756 10/19/2016 BEAT   receive stock via DWAC              USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      104753 10/19/2016 SIVA   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104969 10/19/2016 BEAT   receive stock dividend              CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104962 10/19/2016 BEAP   receive stock dividend              CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104961 10/19/2016 BEAG   receive stock dividend              CAD                    -        100.00       -
                                                                                                                                                         Document: 00118249068




        Pre2017     3 ESQ    ESQ      104787 10/20/2016 BEAG   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104790 10/20/2016 BEAP   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104791 10/20/2016 SIQU   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      104788 10/20/2016 BEAT   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      105018 10/21/2016 CANI   receive stock via DRS               CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      105019 10/21/2016 REST   deliver stock                       USD                 300.00         -         -
        Pre2017     3 ESQ    ESQ      105020 10/21/2016 BESQ   Island Stock Transfer               USD                  50.00         -         -




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        Pre2017     3 ESQ    ESQ      105022 10/21/2016 REST   deliver stock                       USD                 500.00         -         -
                                                                                                                                                         Page: 313




        Pre2017     3 ESQ    ESQ      105024 10/21/2016 BESQ   Action Stock Transfer               USD                  50.00         -         -
        Pre2017     3 ESQ    ESQ      105092 10/24/2016 BEAP   receive stock dividend              CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      105134 10/25/2016 REST   deliver stock                       USD                 300.00         -         -
        Pre2017     3 ESQ    ESQ      105135 10/25/2016 BESQ   Action Stock Transfer               USD                  50.00         -         -
        Pre2017     3 ESQ    ESQ      105221 10/27/2016 REST   deliver stock                       USD                 200.00         -         -
        Pre2017     3 ESQ    ESQ      105228 10/27/2016 REST   receive stock w/US legend           CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      105223 10/27/2016 BCEL   Beauchamp ck #251                   CAD                    -        263.45       -
        Pre2017     3 ESQ    ESQ      105224 10/27/2016 BCEL   Fehr & Associates ck #252           CAD                    -        178.20       -
        Pre2017     3 ESQ    ESQ      105227 10/27/2016 REST   receive stock                       CAD                    -        100.00       -
        Pre2017     3 ESQ    ESQ      105235 10/28/2016 REST   directors fee                       USD                 500.00         -         -
        Pre2017     3 ESQ    ESQ      105236 10/28/2016 REST   directors fee                       USD                 200.00         -         -
        Pre2017     3 ESQ    ESQ      105021 10/28/2016 SIHI   receive stock via DWAC              USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      105025 10/28/2016 SIHI   receive stock via DWAC              USD                 100.00         -         -
        Pre2017     3 ESQ    ESQ      105260 10/28/2016 REST   deliver stock                       USD                 300.00         -         -
                                                                                                                                                         Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      105261 10/28/2016 BESQ   Island Stock Transfer               USD                  50.00         -         -
        Pre2017     3 ESQ    ESQ      105263 10/28/2016 REST   deliver stock                       USD                 200.00         -         -
        Pre2017     3 ESQ    ESQ      105264 10/28/2016 BESQ   Island Stock Transfer               USD                  50.00         -         -
        Pre2017     3 ESQ    ESQ      105497 10/28/2016 WORK   interest payment                    USD          -        1.62         -         -
        Pre2017     3 ESQ    ESQ      105498 10/28/2016 WORK   interest payment                    CAD          -         -         17.34       -
        Pre2017   219 ESQ1   ESQ1     105499 10/28/2016 WORK   interest payment                    CAD          -         -      1,130.25       -
        Pre2017     3 ESQ    ESQ      105306 10/29/2016 BCEL   commission charge                   USD          -     (200.00)        -         -



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        Pre2017   3 ESQ   ESQ     105306 10/29/2016 BCEL   commission charge                        USD          -       200.00        -         -
        Pre2017   3 ESQ   ESQ     105307 10/29/2016 BCEL   commission withdrawal                    CAD          -          -      (441.65)      -
        Pre2017   3 ESQ   ESQ     105307 10/29/2016 BCEL   commission withdrawal                    CAD          -          -       441.65       -
                                                                                                                                                          Case: 24-1770




        Pre2017   3 ESQ   ESQ     105316 10/29/2016 BEAG   commission withdrawal                    USD          -      (200.00)       -         -
        Pre2017   3 ESQ   ESQ     105316 10/29/2016 BEAG   commission withdrawal                    USD          -       200.00        -         -
        Pre2017   3 ESQ   ESQ     105317 10/29/2016 BEAG   commission withdrawal                    CAD          -          -      (200.00)      -
        Pre2017   3 ESQ   ESQ     105317 10/29/2016 BEAG   commission withdrawal                    CAD          -          -       200.00       -
        Pre2017   3 ESQ   ESQ     105331 10/29/2016 BEAP   commission withdrawal                    USD          -      (100.00)       -         -
        Pre2017   3 ESQ   ESQ     105331 10/29/2016 BEAP   commission withdrawal                    USD          -       100.00        -         -
        Pre2017   3 ESQ   ESQ     105332 10/29/2016 BEAP   commission withdrawal                    CAD          -          -      (300.00)      -
        Pre2017   3 ESQ   ESQ     105332 10/29/2016 BEAP   commission withdrawal                    CAD          -          -       300.00       -
        Pre2017   3 ESQ   ESQ     105343 10/29/2016 BEAT   commission withdrawal                    USD          -      (500.00)       -         -
        Pre2017   3 ESQ   ESQ     105343 10/29/2016 BEAT   commission withdrawal                    USD          -       500.00        -         -
        Pre2017   3 ESQ   ESQ     105344 10/29/2016 BEAT   commission withdrawal                    CAD          -          -      (300.00)      -
        Pre2017   3 ESQ   ESQ     105344 10/29/2016 BEAT   commission withdrawal                    CAD          -          -       300.00       -
        Pre2017   3 ESQ   ESQ     105351 10/29/2016 BESQ   commission withdrawal                    USD          -      (850.00)       -         -
        Pre2017   3 ESQ   ESQ     105351 10/29/2016 BESQ   commission withdrawal                    USD          -       850.00        -         -
        Pre2017   3 ESQ   ESQ     105371 10/29/2016 CANI   commission withdrawal                    CAD          -          -      (200.00)      -
                                                                                                                                                          Document: 00118249068




        Pre2017   3 ESQ   ESQ     105371 10/29/2016 CANI   commission withdrawal                    CAD          -          -       200.00       -
        Pre2017   3 ESQ   ESQ     105393 10/29/2016 REST   commission withdrawal                    USD          -    (8,400.00)       -         -
        Pre2017   3 ESQ   ESQ     105393 10/29/2016 REST   commission withdrawal                    USD          -     8,400.00        -         -
        Pre2017   3 ESQ   ESQ     105394 10/29/2016 REST   commission withdrawal                    CAD          -          -      (300.00)      -
        Pre2017   3 ESQ   ESQ     105394 10/29/2016 REST   commission withdrawal                    CAD          -          -       300.00       -
        Pre2017   3 ESQ   ESQ     105404 10/29/2016 SIHI   commission withdrawal                    USD          -      (100.00)       -         -
        Pre2017   3 ESQ   ESQ     105404 10/29/2016 SIHI   commission withdrawal                    USD          -       100.00        -         -




A2106
        Pre2017   3 ESQ   ESQ     105414 10/29/2016 SIMO   commission charge                        USD          -      (100.00)       -         -
                                                                                                                                                          Page: 314




        Pre2017   3 ESQ   ESQ     105414 10/29/2016 SIMO   commission charge                        USD          -       100.00        -         -
        Pre2017   3 ESQ   ESQ     105420 10/29/2016 SIQU   commission withdrawal                    USD          -      (100.00)       -         -
        Pre2017   3 ESQ   ESQ     105420 10/29/2016 SIQU   commission withdrawal                    USD          -       100.00        -         -
        Pre2017   3 ESQ   ESQ     105421 10/29/2016 SIQU   commission withdrawal                    CAD          -          -      (200.00)      -
        Pre2017   3 ESQ   ESQ     105421 10/29/2016 SIQU   commission withdrawal                    CAD          -          -       200.00       -
        Pre2017   3 ESQ   ESQ     105433 10/29/2016 SISA   commission withdrawal                    USD          -      (100.00)       -         -
        Pre2017   3 ESQ   ESQ     105433 10/29/2016 SISA   commission withdrawal                    USD          -       100.00        -         -
        Pre2017   3 ESQ   ESQ     105439 10/29/2016 SIVA   commission withdrawal                    CAD          -          -      (300.00)      -
        Pre2017   3 ESQ   ESQ     105439 10/29/2016 SIVA   commission withdrawal                    CAD          -          -       300.00       -
        Pre2017   3 ESQ   ESQ     105743 10/31/2016 BEAG   deliver stock via reverse DWAC           USD                  100.00        -         -
        Pre2017   3 ESQ   ESQ     105978 11/1/2016 SIVA    rejected by custodian                    CAD                     -       100.00       -
        Pre2017   3 ESQ   ESQ     105786 11/1/2016 REST    receive stock                            USD                  100.00        -         -
        Pre2017   3 ESQ   ESQ     105737 11/1/2016 BEAG    deliver stock via reverse DWAC           USD                  100.00        -         -
        Pre2017   3 ESQ   ESQ     105979 11/1/2016 SIQU    rejected by custodian                    CAD                     -       100.00       -
                                                                                                                                                          Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     105673 11/3/2016 CANI    receive stock pp                         CAD                     -       100.00       -
        Pre2017   3 ESQ   ESQ     105136 11/3/2016 SIRI    receive stock via DWAC 25%               USD                  100.00        -         -
        Pre2017   3 ESQ   ESQ     105738 11/3/2016 BEAT    deliver stock via reverse DWAC           USD                  100.00        -         -
        Pre2017   3 ESQ   ESQ     105739 11/7/2016 BEAP    deliver stock via reverse DWAC           USD                  100.00        -         -
        Pre2017   3 ESQ   ESQ     105745 11/7/2016 BESQ    Action Stock Transfer 25%                USD                   50.00        -         -
        Pre2017   3 ESQ   ESQ     105744 11/7/2016 REST    deliver stock 25%                        USD                  300.00        -         -
        Pre2017   3 ESQ   ESQ     105262 11/7/2016 BEAG    receive stock via DWAC                   USD                  100.00        -         -



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        Pre2017   3 ESQ   ESQ     105265 11/7/2016 SIVA    receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105747 11/7/2016 REST    deliver stock                                 USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ     105748 11/7/2016 BESQ    Island Stock Transfer                         USD                  50.00      -         -
                                                                                                                                                            Case: 24-1770




        Pre2017   3 ESQ   ESQ     105814 11/8/2016 REST    receive stock                                 CAD                    -     100.00       -
        Pre2017   3 ESQ   ESQ     105787 11/9/2016 REST    deliver stock                                 USD                 600.00      -         -
        Pre2017   3 ESQ   ESQ     105788 11/9/2016 BESQ    Empire Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105809 11/10/2016 REST   directors fee                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105811 11/10/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105812 11/10/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105810 11/10/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ     105813 11/10/2016 REST   directors fee                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105815 11/10/2016 REST   deliver stock                                 CAD                    -     100.00       -
        Pre2017   3 ESQ   ESQ     105816 11/14/2016 SISA   receive stock via DRS                         CAD                    -     100.00       -
        Pre2017   3 ESQ   ESQ     105749 11/14/2016 SISA   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105746 11/14/2016 SIHI   receive stock via DWAC 25%                    USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105861 11/14/2016 REST   deliver stock                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105980 11/14/2016 REST   receive stock                                 CAD                    -     100.00       -
        Pre2017   3 ESQ   ESQ     106746 11/16/2016 BEAT   rejected by custodian                         USD                 100.00      -         -
                                                                                                                                                            Document: 00118249068




        Pre2017   3 ESQ   ESQ     105906 11/16/2016 REST   directors fee 25%                             USD                 400.00      -         -
        Pre2017   3 ESQ   ESQ     105789 11/16/2016 BEAT   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105903 11/16/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ     105989 11/17/2016 BESQ   Action Stock Transfer 25%                     USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105988 11/17/2016 REST   deliver stock 25%                             USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ     105981 11/17/2016 REST   receive stock                                 CAD                    -     100.00       -
        Pre2017   3 ESQ   ESQ     105982 11/17/2016 REST   deliver stock                                 CAD                    -     100.00       -




A2107
        Pre2017   3 ESQ   ESQ     105984 11/17/2016 REST   deliver stock                                 USD                 300.00      -         -
                                                                                                                                                            Page: 315




        Pre2017   3 ESQ   ESQ     105985 11/17/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105948 11/17/2016 REST   deliver stock                                 CAD                    -     100.00       -
        Pre2017   3 ESQ   ESQ     105991 11/17/2016 REST   deliver stock                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ     105992 11/17/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105994 11/17/2016 REST   deliver stock                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ     105995 11/17/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105997 11/17/2016 REST   deliver stock                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ     105998 11/17/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     106000 11/18/2016 REST   directors fee                                 USD                 200.00      -         -
        Pre2017   3 ESQ   ESQ     106040 11/21/2016 REST   directors fee                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     106055 11/22/2016 REST   receive stock                                 USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105990 11/22/2016 SISA   receive stock via DWAC 25%                    USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105999 11/22/2016 SIRI   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     106074 11/23/2016 BESQ   Island Stock Transfer                         USD                  50.00      -         -
                                                                                                                                                            Date Filed: 02/18/2025




        Pre2017   3 ESQ   ESQ     106073 11/23/2016 REST   deliver stock                                 USD                 300.00      -         -
        Pre2017   3 ESQ   ESQ     106076 11/23/2016 REST   directors fee + fedex #777788783286           USD                 800.00      -         -
        Pre2017   3 ESQ   ESQ     106077 11/23/2016 BESQ   Action Stock Transfer                         USD                  50.00      -         -
        Pre2017   3 ESQ   ESQ     105987 11/24/2016 SIHI   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105993 11/24/2016 SIHI   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     105996 11/24/2016 SIMO   receive stock via DWAC                        USD                 100.00      -         -
        Pre2017   3 ESQ   ESQ     106145 11/24/2016 BCEL   Computershare ck#287                          CAD                    -     100.00       -



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        Pre2017     3 ESQ    ESQ      106106 11/24/2016 BCEL   Martin Merry draft re: NTY Lost cert           USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      105949 11/24/2016 CANI   receive stock                                  CAD                           -         100.00        -
        Pre2017     3 ESQ    ESQ      106142 11/29/2016 REST   deliver stock                                  USD                        300.00          -          -
                                                                                                                                                                             Case: 24-1770




        Pre2017     3 ESQ    ESQ      106143 11/29/2016 BESQ   Action Stock Transfer                          USD                         50.00          -          -
        Pre2017     3 ESQ    ESQ      106146 11/29/2016 REST   directors fee                                  USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      106195 11/30/2016 BEAG   commission withdrawal                          USD             -         (300.00)         -          -
        Pre2017     3 ESQ    ESQ      106195 11/30/2016 BEAG   commission withdrawal                          USD             -          300.00          -          -
        Pre2017     3 ESQ    ESQ      106206 11/30/2016 BEAP   commission withdrawal                          USD             -         (100.00)         -          -
        Pre2017     3 ESQ    ESQ      106206 11/30/2016 BEAP   commission withdrawal                          USD             -          100.00          -          -
        Pre2017     3 ESQ    ESQ      106218 11/30/2016 BEAT   commission withdrawal                          USD             -         (200.00)         -          -
        Pre2017     3 ESQ    ESQ      106218 11/30/2016 BEAT   commission withdrawal                          USD             -          200.00          -          -
        Pre2017     3 ESQ    ESQ      106226 11/30/2016 BESQ   commission withdrawal                          USD             -         (650.00)         -          -
        Pre2017     3 ESQ    ESQ      106226 11/30/2016 BESQ   commission withdrawal                          USD             -          650.00          -          -
        Pre2017     3 ESQ    ESQ      106248 11/30/2016 CANI   commission withdrawal                          CAD             -             -        (200.00)       -
        Pre2017     3 ESQ    ESQ      106248 11/30/2016 CANI   commission withdrawal                          CAD             -             -         200.00        -
        Pre2017     3 ESQ    ESQ      106265 11/30/2016 REST   commission withdrawal                          USD             -       (5,900.00)         -          -
        Pre2017     3 ESQ    ESQ      106265 11/30/2016 REST   commission withdrawal                          USD             -        5,900.00          -          -
        Pre2017     3 ESQ    ESQ      106266 11/30/2016 REST   commission withdrawal                          CAD             -             -        (600.00)       -
                                                                                                                                                                             Document: 00118249068




        Pre2017     3 ESQ    ESQ      106266 11/30/2016 REST   commission withdrawal                          CAD             -             -         600.00        -
        Pre2017     3 ESQ    ESQ      106268 11/30/2016 SIHI   commission withdrawal                          USD             -         (300.00)         -          -
        Pre2017     3 ESQ    ESQ      106268 11/30/2016 SIHI   commission withdrawal                          USD             -          300.00          -          -
        Pre2017     3 ESQ    ESQ      106274 11/30/2016 SIMO   commission withdrawal                          USD             -         (100.00)         -          -
        Pre2017     3 ESQ    ESQ      106274 11/30/2016 SIMO   commission withdrawal                          USD             -          100.00          -          -
        Pre2017     3 ESQ    ESQ      106281 11/30/2016 SIQU   commission withdrawal                          CAD             -             -        (100.00)       -
        Pre2017     3 ESQ    ESQ      106281 11/30/2016 SIQU   commission withdrawal                          CAD             -             -         100.00        -




A2108
        Pre2017     3 ESQ    ESQ      106289 11/30/2016 SIRI   commission withdrawal                          USD             -         (200.00)         -          -
                                                                                                                                                                             Page: 316




        Pre2017     3 ESQ    ESQ      106289 11/30/2016 SIRI   commission withdrawal                          USD             -          200.00          -          -
        Pre2017     3 ESQ    ESQ      106295 11/30/2016 SISA   commission withdrawal                          USD             -         (200.00)         -          -
        Pre2017     3 ESQ    ESQ      106295 11/30/2016 SISA   commission withdrawal                          USD             -          200.00          -          -
        Pre2017     3 ESQ    ESQ      106296 11/30/2016 SISA   commission withdrawal                          CAD             -             -        (100.00)       -
        Pre2017     3 ESQ    ESQ      106296 11/30/2016 SISA   commission withdrawal                          CAD             -             -         100.00        -
        Pre2017     3 ESQ    ESQ      106304 11/30/2016 SIVA   commission withdrawal                          USD             -         (100.00)         -          -
        Pre2017     3 ESQ    ESQ      106304 11/30/2016 SIVA   commission withdrawal                          USD             -          100.00          -          -
        Pre2017     3 ESQ    ESQ      106305 11/30/2016 SIVA   commission withdrawal                          CAD             -             -        (100.00)       -
        Pre2017     3 ESQ    ESQ      106305 11/30/2016 SIVA   commission withdrawal                          CAD             -             -         100.00        -
        Pre2017     3 ESQ    ESQ      106985 11/30/2016 WORK   forex                                          USD             -      (20,218.68)         -          -
        Pre2017     3 ESQ    ESQ      106985 11/30/2016 WORK   forex                                          CAD             -             -      26,688.66        -
        Pre2017     3 ESQ    ESQ      106389 11/30/2016 WORK   interest payment                               USD             -           11.21          -          -
        Pre2017     3 ESQ    ESQ      106390 11/30/2016 WORK   interest payment                               CAD             -             -          22.51        -
        Pre2017   219 ESQ1   ESQ1     106391 11/30/2016 WORK   interest payment                               CAD             -             -       1,335.14        -
                                                                                                                                                                             Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      106541 12/2/2016 BESQ    Action Stock Transfer                          USD                         50.00          -          -
        Pre2017     3 ESQ    ESQ      107103 12/5/2016 SIVA    receive stock                                  USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      106075 12/5/2016 SIMO    receive stock via DWAC                         USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      106144 12/5/2016 SIMO    receive stock via DWAC                         USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      106747 12/5/2016 REST    receive stock                                  USD                        100.00          -          -
        Pre2017     3 ESQ    ESQ      106609 12/5/2016 TDCH    RBC Visa ck #224                               CAD       (1,592.92)          -      (1,592.92)       -
        Pre2017     3 ESQ    ESQ      106891 12/7/2016 REST    receive stock                                  USD                        100.00          -          -



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        Pre2017     3 ESQ    ESQ      106749 12/7/2016 REST    directors fee                                  CAD                         -         100.00        -
        Pre2017     3 ESQ    ESQ      106750 12/7/2016 REST    deliver stock                                  USD                      800.00          -          -
        Pre2017     3 ESQ    ESQ      106751 12/7/2016 BESQ    Empire Stock Transfer                          USD                       50.00          -          -
                                                                                                                                                                           Case: 24-1770




        Pre2017     3 ESQ    ESQ      106758 12/7/2016 REST    deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      106759 12/7/2016 BESQ    Island Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106761 12/7/2016 REST    deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      106762 12/7/2016 BESQ    Action Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106781 12/8/2016 BCEL    forex                                          CAD                         -         100.02        -
        Pre2017     3 ESQ    ESQ      106780 12/8/2016 REST    deliver stock per FIRE                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106892 12/13/2016 BESQ   Booth Udall Fuller                             USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106894 12/13/2016 BESQ   Action Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106896 12/13/2016 BESQ   Empire Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106897 12/13/2016 REST   deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      106903 12/13/2016 REST   deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      106900 12/13/2016 REST   deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      106898 12/13/2016 BESQ   Action Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106893 12/13/2016 REST   deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      106901 12/13/2016 BESQ   Action Stock Transfer                          USD                       50.00          -          -
                                                                                                                                                                           Document: 00118249068




        Pre2017     3 ESQ    ESQ      106904 12/13/2016 BESQ   Action Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106752 12/14/2016 TENT   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106760 12/14/2016 SIQU   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106763 12/14/2016 SIQU   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106930 12/14/2016 REST   deliver stock                                  USD                      500.00          -          -
        Pre2017     3 ESQ    ESQ      106934 12/14/2016 SIMO   internal transfer to Antevorta #1068           USD                         -            -          -
        Pre2017     3 ESQ    ESQ      106933 12/14/2016 REST   directors fee                                  USD                      200.00          -          -




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        Pre2017     3 ESQ    ESQ      106931 12/14/2016 BESQ   Island Stock Transfer                          USD                       50.00          -          -
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        Pre2017     3 ESQ    ESQ      106947 12/15/2016 REST   deliver stock                                  CAD                         -         100.00        -
        Pre2017   219 ESQ1   ESQ1     106982 12/16/2016 WORK   Merry Xmas 2016!                               CAD             -           -     100,000.00        -
        Pre2017     3 ESQ    ESQ      106902 12/19/2016 SIHI   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106899 12/19/2016 SIMO   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106895 12/19/2016 SISA   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      106905 12/19/2016 SIRI   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      107013 12/19/2016 TDCH   RBC Visa ck #227                               CAD        (300.00)         -        (300.00)       -
        Pre2017     3 ESQ    ESQ      107030 12/20/2016 PESC   receive stock                                  USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      107028 12/20/2016 TENT   receive stock                                  USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      107053 12/21/2016 BESQ   TMX Trust CAD56.70                             USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      106932 12/21/2016 SIQU   receive stock via DWAC                         USD                      100.00          -          -
        Pre2017     3 ESQ    ESQ      107092 12/22/2016 REST   deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      107093 12/22/2016 BESQ   Action Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      107095 12/22/2016 BCEL   C.Kelln ck#289                                 CAD      (10,000.00)        -     (10,000.00)       -
                                                                                                                                                                           Date Filed: 02/18/2025




        Pre2017     3 ESQ    ESQ      107084 12/22/2016 REST   deliver stock                                  USD                      500.00          -          -
        Pre2017     3 ESQ    ESQ      107085 12/22/2016 BESQ   Island Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      107088 12/22/2016 REST   deliver stock                                  USD                      300.00          -          -
        Pre2017     3 ESQ    ESQ      107089 12/22/2016 BESQ   Island Stock Transfer                          USD                       50.00          -          -
        Pre2017     3 ESQ    ESQ      107128 12/28/2016 REST   directors fee                                  USD                    3,200.00          -          -
        Pre2017     3 ESQ    ESQ      107143 12/28/2016 SIMO   sell stock                                     USD                         -            -          -
        Pre2017     3 ESQ    ESQ      107146 12/29/2016 REST   directors fee + PDX                            CAD                         -         150.00        -



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        Pre2017     3 ESQ    ESQ      107147 12/29/2016 REST   deliver stock back to BENE           CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      107148 12/29/2016 BCEL   Computershare ck#253                 CAD                     -        100.00        -
        Pre2017     3 ESQ    ESQ      107279 12/30/2016 WORK   interest payment                     CAD          -          -         39.60        -
                                                                                                                                                            Case: 24-1770




        Pre2017   219 ESQ1   ESQ1     107280 12/30/2016 WORK   interest payment                     CAD          -          -      1,340.34        -
        Pre2017     3 ESQ    ESQ      107398 12/31/2016 BCEL   commission withdrawal                CAD          -          -       (200.02)       -
        Pre2017     3 ESQ    ESQ      107398 12/31/2016 BCEL   commission withdrawal                CAD          -          -        200.02        -
        Pre2017     3 ESQ    ESQ      107419 12/31/2016 BEAT   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      107419 12/31/2016 BEAT   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      107426 12/31/2016 BESQ   commission withdrawal                USD          -      (700.00)        -          -
        Pre2017     3 ESQ    ESQ      107426 12/31/2016 BESQ   commission withdrawal                USD          -       700.00         -          -
        Pre2017     3 ESQ    ESQ      107427 12/31/2016 BESQ   commission withdrawal                CAD          -          -        (50.00)       -
        Pre2017     3 ESQ    ESQ      107427 12/31/2016 BESQ   commission withdrawal                CAD          -          -         50.00        -
        Pre2017     3 ESQ    ESQ      107460 12/31/2016 PESC   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      107460 12/31/2016 PESC   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      107464 12/31/2016 REST   commission withdrawal                USD          -    (8,100.00)        -          -
        Pre2017     3 ESQ    ESQ      107464 12/31/2016 REST   commission withdrawal                USD          -     8,100.00         -          -
        Pre2017     3 ESQ    ESQ      107465 12/31/2016 REST   commission withdrawal                CAD          -          -       (450.00)       -
        Pre2017     3 ESQ    ESQ      107465 12/31/2016 REST   commission withdrawal                CAD          -          -        450.00        -
                                                                                                                                                            Document: 00118249068




        Pre2017     3 ESQ    ESQ      107469 12/31/2016 SIHI   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      107469 12/31/2016 SIHI   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      107476 12/31/2016 SIMO   commission withdrawal                USD          -      (300.00)        -          -
        Pre2017     3 ESQ    ESQ      107476 12/31/2016 SIMO   commission withdrawal                USD          -       300.00         -          -
        Pre2017     3 ESQ    ESQ      107483 12/31/2016 SIQU   commission withdrawal                USD          -      (300.00)        -          -
        Pre2017     3 ESQ    ESQ      107483 12/31/2016 SIQU   commission withdrawal                USD          -       300.00         -          -
        Pre2017     3 ESQ    ESQ      107490 12/31/2016 SIRI   commission withdrawal                USD          -      (300.00)        -          -




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        Pre2017     3 ESQ    ESQ      107490 12/31/2016 SIRI   commission withdrawal                USD          -       300.00         -          -
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        Pre2017     3 ESQ    ESQ      107496 12/31/2016 SISA   commission withdrawal                USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      107496 12/31/2016 SISA   commission withdrawal                USD          -       200.00         -          -
        Pre2017     3 ESQ    ESQ      107502 12/31/2016 SIVA   commission withdrawal                USD          -      (100.00)        -          -
        Pre2017     3 ESQ    ESQ      107502 12/31/2016 SIVA   commission withdrawal                USD          -       100.00         -          -
        Pre2017     3 ESQ    ESQ      107512 12/31/2016 TENT   commission withdrawal                USD          -      (200.00)        -          -
        Pre2017     3 ESQ    ESQ      107512 12/31/2016 TENT   commission withdrawal                USD          -       200.00         -          -
        SKYFALL     3 ESQ    ESQ      115494 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115281 12/31/2016 REST   write off stock                      CAD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115361 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115377 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115200 12/31/2016 SIQU   write off stock                      CAD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115758 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115379 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115763 12/31/2016 REST   write off stock                      USD                     -           -          -
                                                                                                                                                            Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      115383 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115391 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115952 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115951 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115953 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115954 12/31/2016 REST   write off stock                      USD                     -           -          -
        SKYFALL     3 ESQ    ESQ      115955 12/31/2016 REST   write off stock                      USD                     -           -          -



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        SKYFALL   3 ESQ   ESQ     115956 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115465 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115803 12/31/2016 REST   write off stock                               USD                    -         -          -
                                                                                                                                                              Case: 24-1770




        SKYFALL   3 ESQ   ESQ     117521 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     117522 12/31/2016 REST   write off stock                               CAD                    -         -          -
        SKYFALL   3 ESQ   ESQ     117523 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     117524 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     117525 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     117526 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115477 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115820 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115821 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115150 12/31/2016 SIMO   deliver stock                                 USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115840 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115841 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115405 12/31/2016 REST   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     115018 12/31/2016 SIMO   write off stock                               USD                    -         -          -
        SKYFALL   3 ESQ   ESQ     112894 12/31/2016 REST   commission opening balance                    CAD          -         -      200.00        -
                                                                                                                                                              Document: 00118249068




        SKYFALL   3 ESQ   ESQ     112975 12/31/2016 WIHI   commission opening balance                    USD          -     (100.00)      -          -
        SKYFALL   3 ESQ   ESQ     112981 12/31/2016 WIRI   commission opening balance                    USD          -     (200.00)      -          -
        SKYFALL   3 ESQ   ESQ     113005 12/31/2016 BESQ   commission opening balance                    USD          -       50.00       -          -
        SKYFALL   3 ESQ   ESQ     113006 12/31/2016 BESQ   commission opening balance                    CAD          -         -      (50.00)       -
        SKYFALL   3 ESQ   ESQ     113056 12/31/2016 WISA   commission opening balance                    USD          -     (100.00)      -          -
        SKYFALL   3 ESQ   ESQ     110184   1/2/2017 REST   deliver stock to MINE                         CAD                    -      100.00        -
        SKYFALL   3 ESQ   ESQ     112835   1/2/2017 SIMO   deliver stock back to TA                      USD                 100.00       -          -




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        SKYFALL   3 ESQ   ESQ     112836   1/2/2017 REST   receive stock                                 USD                 100.00       -          -
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        SKYFALL   3 ESQ   ESQ     107593   1/3/2017 SIQU   internal transfer to account 1070             USD                 100.00       -          -
        SKYFALL   3 ESQ   ESQ     107596   1/3/2017 BESQ   144Opinions.com (gotama)                      USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107594   1/3/2017 REST   directors fee                                 USD                 200.00       -          -
        SKYFALL   3 ESQ   ESQ     107086   1/3/2017 WIRI   receive stock via DWAC                        USD                 100.00       -          -
        SKYFALL   3 ESQ   ESQ     107597   1/3/2017 BESQ   Booth Udall Fuller                            USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107090   1/4/2017 WISA   receive stock via DWAC                        USD                 100.00       -          -
        SKYFALL   3 ESQ   ESQ     107611   1/4/2017 BESQ   Action Stock Transfer                         USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107612   1/4/2017 REST   deliver stock                                 USD                 400.00       -          -
        SKYFALL   3 ESQ   ESQ     107613   1/4/2017 BESQ   Island Stock Transfer                         USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107646   1/5/2017 BESQ   144Opinions.com (hampton)                     USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107639   1/5/2017 BEAG   receive stock via DRS                         USD                 100.00       -          -
        SKYFALL   3 ESQ   ESQ     107641   1/5/2017 REST   A/R Beresford 2016                            CAD                    -      245.00        -
        SKYFALL   3 ESQ   ESQ     107742   1/6/2017 BESQ   Booth Udall Fuller                            USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107094   1/6/2017 WIRI   receive stock via DWAC                        USD                 100.00       -          -
                                                                                                                                                              Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ     107712   1/9/2017 REST   directors fee + fedex #778128095930           USD                 250.00       -          -
        SKYFALL   3 ESQ   ESQ     107743 1/10/2017 BESQ    144Opinions.com (trius)                       USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107744 1/10/2017 BESQ    Action Stock Transfer                         USD                  50.00       -          -
        SKYFALL   3 ESQ   ESQ     107614 1/11/2017 SIMO    receive stock via DWAC                        USD                 100.00       -          -
        SKYFALL   3 ESQ   ESQ     107785 1/11/2017 REST    directors fee                                 USD                 500.00       -          -
        SKYFALL   3 ESQ   ESQ     107787 1/11/2017 REST    deliver stock                                 USD                 400.00       -          -
        SKYFALL   3 ESQ   ESQ     107788 1/11/2017 BESQ    Island Stock Transfer                         USD                  50.00       -          -



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        SKYFALL   3 ESQ   ESQ     107930   1/13/2017 WORK   forex                                         USD             -      (10,500.00)          -         -
        SKYFALL   3 ESQ   ESQ     107930   1/13/2017 WORK   forex                                         CAD             -             -       13,607.87       -
        SKYFALL   3 ESQ   ESQ     107831   1/13/2017 REST   receive stock                                 USD                        100.00           -         -
                                                                                                                                                                         Case: 24-1770




        SKYFALL   3 ESQ   ESQ     107832   1/13/2017 BESQ   144Opinions.com (santos torres)               USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107846   1/13/2017 CASH   debit                                         CAD      (17,700.00)          -      (17,700.00)      -
        SKYFALL   3 ESQ   ESQ     107789   1/18/2017 SIQU   receive stock via DWAC                        USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     107966   1/19/2017 BESQ   144Opinions.com (quezon)                      USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107971   1/19/2017 CASH   debit                                         CAD       (6,700.00)          -       (6,700.00)      -
        SKYFALL   3 ESQ   ESQ     107984   1/20/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107985   1/20/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107987   1/20/2017 REST   receive stock                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     107988   1/20/2017 BESQ   144Opinions.com (gotama #2)                   USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107989   1/20/2017 REST   deliver stock                                 USD                        300.00           -         -
        SKYFALL   3 ESQ   ESQ     107990   1/20/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107992   1/20/2017 REST   deliver stock                                 USD                        300.00           -         -
        SKYFALL   3 ESQ   ESQ     107993   1/20/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     107995   1/20/2017 REST   directors fee + fedex #778236133372           USD                        575.00           -         -
        SKYFALL   3 ESQ   ESQ     107996   1/20/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
                                                                                                                                                                         Document: 00118249068




        SKYFALL   3 ESQ   ESQ     108097   1/24/2017 REST   receive stock                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     108099   1/24/2017 REST   receive stock                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     108100   1/25/2017 BESQ   Booth Udall Fuller (morris)                   USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     108105   1/25/2017 REST   deliver stock                                 USD                        600.00           -         -
        SKYFALL   3 ESQ   ESQ     108106   1/25/2017 BESQ   Island Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     108110   1/25/2017 REST   directors fee + fedex #778276341792           USD                        450.00           -         -
        SKYFALL   3 ESQ   ESQ     108111   1/25/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -




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        SKYFALL   3 ESQ   ESQ     107994   1/26/2017 WIHI   receive stock via DWAC                        USD                        100.00           -         -
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        SKYFALL   3 ESQ   ESQ     107991   1/26/2017 WIHI   receive stock via DWAC                        USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     108185   1/26/2017 REST   deliver stock                                 USD                        300.00           -         -
        SKYFALL   3 ESQ   ESQ     108186   1/26/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     108167   1/26/2017 REST   directors fee + fedex #778287675086           USD                        650.00           -         -
        SKYFALL   3 ESQ   ESQ     108169   1/26/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     108619   1/26/2017 REST   internal transfer                             CAD                           -          100.00       -
        SKYFALL   3 ESQ   ESQ     108190   1/27/2017 REST   receive stock                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     108221   1/30/2017 REST   deliver stock                                 USD                        200.00           -         -
        SKYFALL   3 ESQ   ESQ     108222   1/30/2017 REST   directors fee + fedex #778309387870           USD                        950.00           -         -
        SKYFALL   3 ESQ   ESQ     108223   1/30/2017 REST   directors fee + fedex #778308512460           USD                        550.00           -         -
        SKYFALL   3 ESQ   ESQ     108224   1/30/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     108225   1/30/2017 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     108265   1/31/2017 BEAG   commission withdrawal                         USD             -         (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     108265   1/31/2017 BEAG   commission withdrawal                         USD             -          100.00           -         -
                                                                                                                                                                         Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ     108293   1/31/2017 BESQ   commission withdrawal                         USD             -       (1,250.00)          -         -
        SKYFALL   3 ESQ   ESQ     108293   1/31/2017 BESQ   commission withdrawal                         USD             -        1,250.00           -         -
        SKYFALL   3 ESQ   ESQ     108322   1/31/2017 REST   commission withdrawal                         USD             -       (7,125.00)          -         -
        SKYFALL   3 ESQ   ESQ     108322   1/31/2017 REST   commission withdrawal                         USD             -        7,125.00           -         -
        SKYFALL   3 ESQ   ESQ     108323   1/31/2017 REST   commission withdrawal                         CAD             -             -         (445.00)      -
        SKYFALL   3 ESQ   ESQ     108323   1/31/2017 REST   commission withdrawal                         CAD             -             -          445.00       -
        SKYFALL   3 ESQ   ESQ     108326   1/31/2017 WIHI   commission withdrawal                         USD             -         (200.00)          -         -



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        SKYFALL     3 ESQ    ESQ      108326   1/31/2017 WIHI   commission withdrawal                         USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      108334   1/31/2017 SIMO   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      108334   1/31/2017 SIMO   commission withdrawal                         USD             -         100.00           -         -
                                                                                                                                                                            Case: 24-1770




        SKYFALL     3 ESQ    ESQ      108340   1/31/2017 SIQU   commission withdrawal                         USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      108340   1/31/2017 SIQU   commission withdrawal                         USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      108358   1/31/2017 WISA   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      108358   1/31/2017 WISA   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      108379   1/31/2017 TENT   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      108379   1/31/2017 TENT   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      108107   1/31/2017 WISA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   219 ESQ1   ESQ1     108478   1/31/2017 WORK   interest payment                              CAD             -            -          547.88       -
        SKYFALL     3 ESQ    ESQ      108652    2/1/2017 WORK   forex                                         USD             -      (9,178.90)          -         -
        SKYFALL     3 ESQ    ESQ      108652    2/1/2017 WORK   forex                                         CAD             -            -       11,932.57       -
        SKYFALL     3 ESQ    ESQ      109506    2/1/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      108187    2/2/2017 SIMO   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108608    2/2/2017 REST   directors fee + fedex #778341908754           USD                       150.00           -         -
        SKYFALL     3 ESQ    ESQ      108614    2/2/2017 REST   deliver stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108615    2/2/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
                                                                                                                                                                            Document: 00118249068




        SKYFALL     3 ESQ    ESQ      108617    2/2/2017 REST   deliver stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      108618    2/2/2017 REST   deliver stock to EINS                         CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      108620    2/2/2017 CASH   debit                                         CAD       (3,700.00)         -       (3,700.00)      -
        SKYFALL     3 ESQ    ESQ      108623    2/2/2017 REST   deliver stock                                 USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      108624    2/2/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      108964    2/3/2017 REST   deliver stock to Acco                         USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108604    2/3/2017 CANI   receive stock                                 CAD                          -          100.00       -




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        SKYFALL     3 ESQ    ESQ      108682    2/7/2017 REST   internal transfer close PSNP                  USD                       100.00           -         -
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        SKYFALL     3 ESQ    ESQ      108683    2/7/2017 REST   internal transfer close PSNP                  USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108684    2/7/2017 REST   internal transfer to ORRP                     USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      107961    2/7/2017 TENT   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108794   2/13/2017 REST   directors fee                                 USD                       200.00           -         -
        SKYFALL     3 ESQ    ESQ      108796   2/13/2017 REST   directors fee                                 USD                       400.00           -         -
        SKYFALL     3 ESQ    ESQ      108813   2/14/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      108833   2/15/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108837   2/15/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108870   2/16/2017 PESC   write off stock                               USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      108849   2/17/2017 PESC   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      108866   2/17/2017 REST   directors fee                                 CAD                          -          300.00       -
        SKYFALL     3 ESQ    ESQ      108855   2/17/2017 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)      -
        SKYFALL     3 ESQ    ESQ      108868   2/20/2017 REST   directors fee + fedex #778470165574           USD                       600.00           -         -
        SKYFALL     3 ESQ    ESQ      108869   2/20/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
                                                                                                                                                                            Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      108872   2/20/2017 REST   deliver stock                                 USD                       400.00           -         -
        SKYFALL     3 ESQ    ESQ      108873   2/20/2017 REST   deliver stock                                 USD                       400.00           -         -
        SKYFALL     3 ESQ    ESQ      108874   2/20/2017 REST   directors fee + fedex #778471564119           USD                       500.00           -         -
        SKYFALL     3 ESQ    ESQ      108875   2/20/2017 REST   directors fee + fedex #778471575712           USD                       500.00           -         -
        SKYFALL     3 ESQ    ESQ      108876   2/20/2017 BESQ   Island Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      108877   2/20/2017 BESQ   Island Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      108878   2/20/2017 BESQ   Empire Stock Transfer                         USD                        50.00           -         -



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        SKYFALL   3 ESQ   ESQ     108879   2/20/2017 BESQ   Empire Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108419   2/21/2017 SIMO   receive stock via DRS                         CAD                     -       100.00       -
        SKYFALL   3 ESQ   ESQ     108894   2/21/2017 REST   directors fee                                 USD                  400.00        -         -
                                                                                                                                                                Case: 24-1770




        SKYFALL   3 ESQ   ESQ     108625   2/21/2017 SIQU   receive stock via DWAC                        USD                  100.00        -         -
        SKYFALL   3 ESQ   ESQ     108420   2/21/2017 SIQU   receive stock via DRS                         CAD                     -       100.00       -
        SKYFALL   3 ESQ   ESQ     108959   2/21/2017 WIVA   receive stock dividend                        CAD                     -       100.00       -
        SKYFALL   3 ESQ   ESQ     108905   2/22/2017 REST   directors fee + fedex #778489927150           USD                  150.00        -         -
        SKYFALL   3 ESQ   ESQ     108906   2/22/2017 REST   directors fee                                 USD                  100.00        -         -
        SKYFALL   3 ESQ   ESQ     108910   2/22/2017 REST   deliver stock                                 USD                  300.00        -         -
        SKYFALL   3 ESQ   ESQ     108911   2/22/2017 BESQ   Action Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108909   2/22/2017 REST   receive stock                                 USD                  100.00        -         -
        SKYFALL   3 ESQ   ESQ     108932   2/23/2017 REST   deliver stock                                 USD                  300.00        -         -
        SKYFALL   3 ESQ   ESQ     108934   2/23/2017 BESQ   Action Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108935   2/23/2017 BESQ   Action Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108961   2/24/2017 REST   deliver stock                                 USD                  300.00        -         -
        SKYFALL   3 ESQ   ESQ     108962   2/24/2017 BESQ   Island Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108881   2/24/2017 WIHI   receive stock via DWAC                        USD                  100.00        -         -
        SKYFALL   3 ESQ   ESQ     108880   2/24/2017 SIQU   receive stock via DWAC                        USD                  100.00        -         -
                                                                                                                                                                Document: 00118249068




        SKYFALL   3 ESQ   ESQ     108965   2/24/2017 REST   deliver stock                                 USD                  500.00        -         -
        SKYFALL   3 ESQ   ESQ     108966   2/24/2017 BESQ   Action Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108968   2/24/2017 BESQ   144Opinion.com                                USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     108969   2/24/2017 BESQ   144Opinion.com                                USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     109006   2/24/2017 REST   receive stock                                 USD                  100.00        -         -
        SKYFALL   3 ESQ   ESQ     108933   2/24/2017 REST   deliver stock                                 USD                  500.00        -         -
        SKYFALL   3 ESQ   ESQ     109007   2/27/2017 REST   deliver stock                                 USD                  400.00        -         -




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        SKYFALL   3 ESQ   ESQ     109008   2/27/2017 BESQ   Action Stock Transfer                         USD                   50.00        -         -
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        SKYFALL   3 ESQ   ESQ     109010   2/27/2017 REST   deliver stock                                 USD                  400.00        -         -
        SKYFALL   3 ESQ   ESQ     109011   2/27/2017 BESQ   Island Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     109013   2/27/2017 REST   deliver stock                                 USD                  500.00        -         -
        SKYFALL   3 ESQ   ESQ     109014   2/27/2017 BESQ   Island Stock Transfer                         USD                   50.00        -         -
        SKYFALL   3 ESQ   ESQ     109061   2/28/2017 BESQ   commission withdrawal                         USD          -    (1,050.00)       -         -
        SKYFALL   3 ESQ   ESQ     109061   2/28/2017 BESQ   commission withdrawal                         USD          -     1,050.00        -         -
        SKYFALL   3 ESQ   ESQ     109071   2/28/2017 CANI   commission withdrawal                         CAD          -          -      (100.00)      -
        SKYFALL   3 ESQ   ESQ     109071   2/28/2017 CANI   commission withdrawal                         CAD          -          -       100.00       -
        SKYFALL   3 ESQ   ESQ     109080   2/28/2017 PESC   commission withdrawal                         USD          -      (100.00)       -         -
        SKYFALL   3 ESQ   ESQ     109080   2/28/2017 PESC   commission withdrawal                         USD          -       100.00        -         -
        SKYFALL   3 ESQ   ESQ     109081   2/28/2017 PESC   commission withdrawal                         CAD          -          -      (100.00)      -
        SKYFALL   3 ESQ   ESQ     109081   2/28/2017 PESC   commission withdrawal                         CAD          -          -       100.00       -
        SKYFALL   3 ESQ   ESQ     109084   2/28/2017 REST   commission withdrawal                         USD          -    (8,500.00)       -         -
        SKYFALL   3 ESQ   ESQ     109084   2/28/2017 REST   commission withdrawal                         USD          -     8,500.00        -         -
                                                                                                                                                                Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ     109085   2/28/2017 REST   commission withdrawal                         CAD          -          -      (600.00)      -
        SKYFALL   3 ESQ   ESQ     109085   2/28/2017 REST   commission withdrawal                         CAD          -          -       600.00       -
        SKYFALL   3 ESQ   ESQ     109088   2/28/2017 WIHI   commission withdrawal                         USD          -      (100.00)       -         -
        SKYFALL   3 ESQ   ESQ     109088   2/28/2017 WIHI   commission withdrawal                         USD          -       100.00        -         -
        SKYFALL   3 ESQ   ESQ     109095   2/28/2017 SIMO   commission withdrawal                         USD          -      (100.00)       -         -
        SKYFALL   3 ESQ   ESQ     109095   2/28/2017 SIMO   commission withdrawal                         USD          -       100.00        -         -
        SKYFALL   3 ESQ   ESQ     109096   2/28/2017 SIMO   commission withdrawal                         CAD          -          -      (100.00)      -



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        SKYFALL     3 ESQ    ESQ      109096   2/28/2017 SIMO   commission withdrawal                  CAD          -          -       100.00       -
        SKYFALL     3 ESQ    ESQ      109107   2/28/2017 SIQU   commission withdrawal                  USD          -      (200.00)       -         -
        SKYFALL     3 ESQ    ESQ      109107   2/28/2017 SIQU   commission withdrawal                  USD          -       200.00        -         -
                                                                                                                                                             Case: 24-1770




        SKYFALL     3 ESQ    ESQ      109108   2/28/2017 SIQU   commission withdrawal                  CAD          -          -      (100.00)      -
        SKYFALL     3 ESQ    ESQ      109108   2/28/2017 SIQU   commission withdrawal                  CAD          -          -       100.00       -
        SKYFALL     3 ESQ    ESQ      109136   2/28/2017 WIVA   commission withdrawal                  CAD          -          -      (100.00)      -
        SKYFALL     3 ESQ    ESQ      109136   2/28/2017 WIVA   commission withdrawal                  CAD          -          -       100.00       -
        SKYFALL     3 ESQ    ESQ      108937   2/28/2017 WISA   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL   219 ESQ1   ESQ1     109231   2/28/2017 WORK   interest payment                       CAD          -          -       480.66       -
        SKYFALL     3 ESQ    ESQ      109009   2/28/2017 PESC   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109374   2/28/2017 PESC   deliver stock                          USD                     -          -         -
        SKYFALL     3 ESQ    ESQ      109016   2/28/2017 REST   deliver stock                          USD                  300.00        -         -
        SKYFALL     3 ESQ    ESQ      109017   2/28/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      108912    3/1/2017 WIRI   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109458    3/1/2017 REST   receive stock                          USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      108967    3/2/2017 WISA   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109334    3/2/2017 REST   directors fee                          USD                  200.00        -         -
        SKYFALL     3 ESQ    ESQ      109018    3/2/2017 WIRI   receive stock via DWAC                 USD                  100.00        -         -
                                                                                                                                                             Document: 00118249068




        SKYFALL     3 ESQ    ESQ      108970    3/3/2017 PESC   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      108963    3/3/2017 WIHI   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109358    3/3/2017 CANI   receive stock                          CAD                     -       100.00       -
        SKYFALL   219 ESQ1   ESQ1     109410    3/4/2017 WORK   interest payment                       CAD          -          -       206.47       -
        SKYFALL     3 ESQ    ESQ      109015    3/6/2017 WIRI   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109012    3/6/2017 SIQU   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109456    3/6/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -




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        SKYFALL     3 ESQ    ESQ      109460    3/6/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
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        SKYFALL     3 ESQ    ESQ      109459    3/6/2017 REST   deliver stock to TA per Lotu           USD                1,000.00        -         -
        SKYFALL     3 ESQ    ESQ      109478    3/7/2017 REST   Round Table a/r 2017                   CAD                     -       245.00       -
        SKYFALL     3 ESQ    ESQ      109507    3/8/2017 REST   deliver stock                          USD                  600.00        -         -
        SKYFALL     3 ESQ    ESQ      109508    3/8/2017 REST   receive stock                          USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109509    3/8/2017 REST   receive stock                          USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109511    3/8/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      109513    3/8/2017 REST   deliver stock                          USD                  300.00        -         -
        SKYFALL     3 ESQ    ESQ      109514    3/8/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      109510    3/8/2017 REST   deliver stock                          USD                1,200.00        -         -
        SKYFALL     3 ESQ    ESQ      109516    3/8/2017 REST   deliver stock                          USD                1,200.00        -         -
        SKYFALL     3 ESQ    ESQ      109517    3/8/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      109547    3/9/2017 REST   receive stock                          USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109538    3/9/2017 REST   deliver stock                          USD                1,800.00        -         -
        SKYFALL     3 ESQ    ESQ      109540    3/9/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
                                                                                                                                                             Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      109548   3/10/2017 REST   deliver stock                          USD                  300.00        -         -
        SKYFALL     3 ESQ    ESQ      109549   3/10/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      109463   3/10/2017 SIMO   receive stock via DWAC                 USD                  100.00        -         -
        SKYFALL     3 ESQ    ESQ      109461   3/13/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      109562   3/13/2017 REST   deliver stock                          USD                  900.00        -         -
        SKYFALL     3 ESQ    ESQ      109563   3/13/2017 BESQ   Action Stock Transfer                  USD                   50.00        -         -
        SKYFALL     3 ESQ    ESQ      109518   3/14/2017 PESC   receive stock via DWAC                 USD                  100.00        -         -



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        SKYFALL     3 ESQ    ESQ      109515   3/14/2017 SIQU   receive stock via DWAC            USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ      109512   3/14/2017 BEAG   receive stock via DWAC            USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ      109550   3/16/2017 WIHI   receive stock via DWAC            USD                        100.00           -         -
                                                                                                                                                                 Case: 24-1770




        SKYFALL     3 ESQ    ESQ      109564   3/16/2017 WIRI   receive stock via DWAC            USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ      109462   3/16/2017 BESQ   Action Stock Transfer             USD                         50.00           -         -
        SKYFALL     3 ESQ    ESQ      109731   3/27/2017 REST   directors fee                     USD                        100.00           -         -
        SKYFALL   219 ESQ1   ESQ1     109810   3/29/2017 WORK   interest payment                  CAD             -             -          411.72       -
        SKYFALL     3 ESQ    ESQ      109850   3/30/2017 BEAG   commission withdrawal             USD             -         (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      109850   3/30/2017 BEAG   commission withdrawal             USD             -          100.00           -         -
        SKYFALL     3 ESQ    ESQ      109851   3/30/2017 BESQ   commission withdrawal             USD             -         (450.00)          -         -
        SKYFALL     3 ESQ    ESQ      109851   3/30/2017 BESQ   commission withdrawal             USD             -          450.00           -         -
        SKYFALL     3 ESQ    ESQ      109852   3/30/2017 BESQ   commission charge                 CAD             -             -          (50.00)      -
        SKYFALL     3 ESQ    ESQ      109852   3/30/2017 BESQ   commission charge                 CAD             -             -           50.00       -
        SKYFALL     3 ESQ    ESQ      109853   3/30/2017 CANI   commission withdrawal             CAD             -             -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      109853   3/30/2017 CANI   commission withdrawal             CAD             -             -          100.00       -
        SKYFALL     3 ESQ    ESQ      109854   3/30/2017 PESC   commission withdrawal             USD             -         (300.00)          -         -
        SKYFALL     3 ESQ    ESQ      109854   3/30/2017 PESC   commission withdrawal             USD             -          300.00           -         -
        SKYFALL     3 ESQ    ESQ      109855   3/30/2017 REST   commission withdrawal             USD             -       (8,000.00)          -         -
                                                                                                                                                                 Document: 00118249068




        SKYFALL     3 ESQ    ESQ      109855   3/30/2017 REST   commission withdrawal             USD             -        8,000.00           -         -
        SKYFALL     3 ESQ    ESQ      109856   3/30/2017 REST   commission withdrawal             CAD             -             -         (245.00)      -
        SKYFALL     3 ESQ    ESQ      109856   3/30/2017 REST   commission withdrawal             CAD             -             -          245.00       -
        SKYFALL     3 ESQ    ESQ      109857   3/30/2017 WIHI   commission withdrawal             USD             -         (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      109857   3/30/2017 WIHI   commission withdrawal             USD             -          200.00           -         -
        SKYFALL     3 ESQ    ESQ      109858   3/30/2017 SIMO   commission withdrawal             USD             -         (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      109858   3/30/2017 SIMO   commission withdrawal             USD             -          100.00           -         -




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        SKYFALL     3 ESQ    ESQ      109859   3/30/2017 SIQU   commission withdrawal             USD             -         (200.00)          -         -
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        SKYFALL     3 ESQ    ESQ      109859   3/30/2017 SIQU   commission withdrawal             USD             -          200.00           -         -
        SKYFALL     3 ESQ    ESQ      109860   3/30/2017 WIRI   commission withdrawal             USD             -         (500.00)          -         -
        SKYFALL     3 ESQ    ESQ      109860   3/30/2017 WIRI   commission withdrawal             USD             -          500.00           -         -
        SKYFALL     3 ESQ    ESQ      109861   3/30/2017 WISA   commission withdrawal             USD             -         (300.00)          -         -
        SKYFALL     3 ESQ    ESQ      109861   3/30/2017 WISA   commission withdrawal             USD             -          300.00           -         -
        SKYFALL     3 ESQ    ESQ      110011   3/30/2017 CANI   receive stock                     CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ      109849   3/30/2017 WORK   forex                             USD             -      (20,196.10)          -         -
        SKYFALL     3 ESQ    ESQ      109849   3/30/2017 WORK   forex                             CAD             -             -       26,658.85       -
        SKYFALL     3 ESQ    ESQ      110149   3/31/2017 BEAG   deliver stock                     USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ      110030   3/31/2017 REST   deliver stock per Fire            USD                        400.00           -         -
        SKYFALL     3 ESQ    ESQ      110032   3/31/2017 REST   deliver stock per FIRE            USD                        200.00           -         -
        SKYFALL     3 ESQ    ESQ      110198   3/31/2017 BEAT   deliver stock                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ      110199   3/31/2017 BEAP   deliver stock                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ      110200   3/31/2017 BEAP   deliver stock                     USD                           -             -         -
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        SKYFALL     3 ESQ    ESQ      110009    4/1/2017 BCEL   computershare ck#254              CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ      110049    4/3/2017 CASH   debit                             CAD      (22,000.00)          -      (22,000.00)      -
        SKYFALL     3 ESQ    ESQ      110050    4/3/2017 REST   directors fee                     CAD                           -          300.00       -
        SKYFALL     3 ESQ    ESQ      110062    4/4/2017 REST   directors fee                     USD                        300.00           -         -
        SKYFALL     3 ESQ    ESQ      110066    4/4/2017 BESQ   Booth Udall Fuller                USD                         50.00           -         -
        SKYFALL     3 ESQ    ESQ      110067    4/4/2017 BESQ   Action Stock Transfer             USD                         50.00           -         -
        SKYFALL     3 ESQ    ESQ      110068    4/4/2017 BESQ   Action Stock Transfer             USD                         50.00           -         -



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        SKYFALL   3 ESQ   ESQ     110069    4/4/2017 REST   directors fee                                 CAD                     -         200.00       -
        SKYFALL   3 ESQ   ESQ     110070    4/4/2017 REST   deliver stock                                 USD                  800.00          -         -
        SKYFALL   3 ESQ   ESQ     110072    4/4/2017 REST   deliver stock                                 USD                  700.00          -         -
                                                                                                                                                                  Case: 24-1770




        SKYFALL   3 ESQ   ESQ     110073    4/4/2017 BESQ   Action Stock Transfer                         USD                   50.00          -         -
        SKYFALL   3 ESQ   ESQ     110152    4/5/2017 REST   deliver stock                                 USD                  200.00          -         -
        SKYFALL   3 ESQ   ESQ     110165    4/5/2017 REST   directors fee                                 CAD                     -       1,300.00       -
        SKYFALL   3 ESQ   ESQ     110064    4/7/2017 WISA   receive stock via DTC from Hellenic           USD                  100.00          -         -
        SKYFALL   3 ESQ   ESQ     110217   4/10/2017 REST   directors fee                                 USD                  800.00          -         -
        SKYFALL   3 ESQ   ESQ     110218   4/10/2017 REST   receive stock                                 USD                  100.00          -         -
        SKYFALL   3 ESQ   ESQ     110074   4/10/2017 WIRI   receive stock via DWAC                        USD                  100.00          -         -
        SKYFALL   3 ESQ   ESQ     110219   4/10/2017 REST   deliver stock                                 USD                  400.00          -         -
        SKYFALL   3 ESQ   ESQ     110220   4/10/2017 BESQ   Action Stock Transfer                         USD                   50.00          -         -
        SKYFALL   3 ESQ   ESQ     110222   4/10/2017 REST   deliver stock                                 USD                  400.00          -         -
        SKYFALL   3 ESQ   ESQ     110223   4/10/2017 BESQ   Action Stock Transfer                         USD                   50.00          -         -
        SKYFALL   3 ESQ   ESQ     110225   4/10/2017 REST   deliver stock                                 USD                  700.00          -         -
        SKYFALL   3 ESQ   ESQ     110226   4/10/2017 BESQ   Action Stock Transfer                         USD                   50.00          -         -
        SKYFALL   3 ESQ   ESQ     110216   4/10/2017 REST   directors fee                                 CAD                     -         500.00       -
        SKYFALL   3 ESQ   ESQ     110071   4/11/2017 PESC   receive stock via DWAC                        USD                  100.00          -         -
                                                                                                                                                                  Document: 00118249068




        SKYFALL   3 ESQ   ESQ     110221   4/14/2017 WIRI   receive stock via DWAC                        USD                  100.00          -         -
        SKYFALL   3 ESQ   ESQ     110224   4/14/2017 WIHI   receive stock via DWAC                        USD                  100.00          -         -
        SKYFALL   3 ESQ   ESQ     110227   4/14/2017 WIHI   receive stock via DWAC                        USD                  100.00          -         -
        SKYFALL   3 ESQ   ESQ     110331   4/19/2017 REST   director fee                                  CAD                     -         100.00       -
        SKYFALL   3 ESQ   ESQ     110352   4/24/2017 REST   deliver stock                                 USD                  300.00          -         -
        SKYFALL   3 ESQ   ESQ     110353   4/24/2017 BESQ   Action Stock Transfer                         USD                   50.00          -         -
        SKYFALL   3 ESQ   ESQ     110355   4/24/2017 REST   directors fee + fedex #778973487466           USD                  350.00          -         -




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        SKYFALL   3 ESQ   ESQ     110359   4/25/2017 BESQ   Pacific Stock Transfer                        USD                   50.00          -         -
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        SKYFALL   3 ESQ   ESQ     110358   4/25/2017 REST   deliver stock                                 USD                  500.00          -         -
        SKYFALL   3 ESQ   ESQ     110440   4/28/2017 BCEL   commission withdrawal                         CAD          -          -        (100.00)      -
        SKYFALL   3 ESQ   ESQ     110440   4/28/2017 BCEL   commission withdrawal                         CAD          -          -         100.00       -
        SKYFALL   3 ESQ   ESQ     110443   4/28/2017 BEAG   commission withdrawal                         USD          -      (100.00)         -         -
        SKYFALL   3 ESQ   ESQ     110443   4/28/2017 BEAG   commission withdrawal                         USD          -       100.00          -         -
        SKYFALL   3 ESQ   ESQ     110463   4/28/2017 BESQ   commission withdrawal                         USD          -      (500.00)         -         -
        SKYFALL   3 ESQ   ESQ     110463   4/28/2017 BESQ   commission withdrawal                         USD          -       500.00          -         -
        SKYFALL   3 ESQ   ESQ     110477   4/28/2017 CANI   commission withdrawal                         CAD          -          -        (100.00)      -
        SKYFALL   3 ESQ   ESQ     110477   4/28/2017 CANI   commission withdrawal                         CAD          -          -         100.00       -
        SKYFALL   3 ESQ   ESQ     110488   4/28/2017 PESC   commission withdrawal                         USD          -      (100.00)         -         -
        SKYFALL   3 ESQ   ESQ     110488   4/28/2017 PESC   commission withdrawal                         USD          -       100.00          -         -
        SKYFALL   3 ESQ   ESQ     110491   4/28/2017 REST   commission withdrawal                         USD          -    (6,150.00)         -         -
        SKYFALL   3 ESQ   ESQ     110491   4/28/2017 REST   commission withdrawal                         USD          -     6,150.00          -         -
        SKYFALL   3 ESQ   ESQ     110492   4/28/2017 REST   commission withdrawal                         CAD          -          -      (2,500.00)      -
                                                                                                                                                                  Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ     110492   4/28/2017 REST   commission withdrawal                         CAD          -          -       2,500.00       -
        SKYFALL   3 ESQ   ESQ     110494   4/28/2017 WIHI   commission withdrawal                         USD          -      (200.00)         -         -
        SKYFALL   3 ESQ   ESQ     110494   4/28/2017 WIHI   commission withdrawal                         USD          -       200.00          -         -
        SKYFALL   3 ESQ   ESQ     110507   4/28/2017 WIRI   commission withdrawal                         USD          -      (200.00)         -         -
        SKYFALL   3 ESQ   ESQ     110507   4/28/2017 WIRI   commission withdrawal                         USD          -       200.00          -         -
        SKYFALL   3 ESQ   ESQ     110512   4/28/2017 WISA   commission withdrawal                         USD          -      (200.00)         -         -
        SKYFALL   3 ESQ   ESQ     110512   4/28/2017 WISA   commission withdrawal                         USD          -       200.00          -         -



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        SKYFALL     3 ESQ    ESQ      110354   4/28/2017 WISA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      110580   4/28/2017 BCEL   Courtney Kelln ck#293                         CAD      (15,012.37)         -      (15,012.37)      -
        SKYFALL     3 ESQ    ESQ      110574   4/28/2017 WORK   forex                                         USD             -      (7,450.00)          -         -
                                                                                                                                                                            Case: 24-1770




        SKYFALL     3 ESQ    ESQ      110574   4/28/2017 WORK   forex                                         CAD             -            -        9,983.00       -
        SKYFALL   219 ESQ1   ESQ1     110641   4/30/2017 WORK   interest payment                              CAD             -            -          550.14       -
        SKYFALL     3 ESQ    ESQ      111088    5/1/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      122876    5/1/2017 REST   warrant expired                               CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ      110755    5/1/2017 REST   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      110756    5/4/2017 REST   deliver stock                                 CAD                          -          300.00       -
        SKYFALL     3 ESQ    ESQ      110757    5/4/2017 BESQ   Computershare                                 CAD                          -           50.00       -
        SKYFALL     3 ESQ    ESQ      110749    5/5/2017 CANI   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      110802    5/8/2017 BESQ   outgoing wire George Heard                    USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      110805    5/8/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      110807    5/8/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      110808    5/8/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111355   5/15/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111077   5/16/2017 BEAP   deliver stock via reverse DWAC                USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      110999   5/17/2017 REST   directors fee                                 USD                       400.00           -         -
                                                                                                                                                                            Document: 00118249068




        SKYFALL     3 ESQ    ESQ      111000   5/18/2017 REST   directors fee                                 CAD                          -          300.00       -
        SKYFALL     3 ESQ    ESQ      111004   5/18/2017 REST   directors fee                                 USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      111003   5/18/2017 REST   directors fee                                 USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      111005   5/18/2017 REST   directors fee                                 USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      111040   5/22/2017 BEAG   write off stock                               USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      111047   5/23/2017 BEAP   deliver stock via reverse DWAC                USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111048   5/23/2017 BEAP   deliver stock via reverse dwac                USD                       100.00           -         -




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        SKYFALL     3 ESQ    ESQ      111062   5/24/2017 SIMO   reverse DWAC                                  USD                       100.00           -         -
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        SKYFALL     3 ESQ    ESQ      111083   5/25/2017 REST   directors fee + fedex #779233434021           USD                       350.00           -         -
        SKYFALL     3 ESQ    ESQ      111084   5/25/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111087   5/25/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111089   5/25/2017 REST   deliver stock                                 USD                     1,000.00           -         -
        SKYFALL     3 ESQ    ESQ      111075   5/25/2017 REST   directors fee                                 USD                       300.00           -         -
        SKYFALL   219 ESQ1   ESQ1     111074   5/25/2017 BCHA   Metro Motors draft                            CAD      (15,014.50)         -      (15,014.50)      -
        SKYFALL     3 ESQ    ESQ      111085   5/26/2017 REST   directors fee + fedex #779233461562           USD                       350.00           -         -
        SKYFALL     3 ESQ    ESQ      111092   5/26/2017 REST   deliver stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111093   5/26/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111086   5/26/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111350   5/29/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111154   5/31/2017 BEAG   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      111154   5/31/2017 BEAG   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      111161   5/31/2017 BEAP   commission withdrawal                         USD             -        (300.00)          -         -
                                                                                                                                                                            Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      111161   5/31/2017 BEAP   commission withdrawal                         USD             -         300.00           -         -
        SKYFALL     3 ESQ    ESQ      111168   5/31/2017 BESQ   commission withdrawal                         USD             -        (450.00)          -         -
        SKYFALL     3 ESQ    ESQ      111168   5/31/2017 BESQ   commission withdrawal                         USD             -         450.00           -         -
        SKYFALL     3 ESQ    ESQ      111169   5/31/2017 BESQ   commission withdrawal                         CAD             -            -          (50.00)      -
        SKYFALL     3 ESQ    ESQ      111169   5/31/2017 BESQ   commission withdrawal                         CAD             -            -           50.00       -
        SKYFALL     3 ESQ    ESQ      111181   5/31/2017 CANI   commission withdrawal                         CAD             -            -         (200.00)      -
        SKYFALL     3 ESQ    ESQ      111181   5/31/2017 CANI   commission withdrawal                         CAD             -            -          200.00       -



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        SKYFALL     3 ESQ    ESQ      111191   5/31/2017 REST   commission withdrawal                         USD             -      (3,500.00)          -         -
        SKYFALL     3 ESQ    ESQ      111191   5/31/2017 REST   commission withdrawal                         USD             -       3,500.00           -         -
        SKYFALL     3 ESQ    ESQ      111192   5/31/2017 REST   commission withdrawal                         CAD             -            -         (700.00)      -
                                                                                                                                                                            Case: 24-1770




        SKYFALL     3 ESQ    ESQ      111192   5/31/2017 REST   commission withdrawal                         CAD             -            -          700.00       -
        SKYFALL     3 ESQ    ESQ      111195   5/31/2017 WIHI   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      111195   5/31/2017 WIHI   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      111204   5/31/2017 SIMO   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      111204   5/31/2017 SIMO   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      111221   5/31/2017 WIRI   commission charge                             USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      111221   5/31/2017 WIRI   commission charge                             USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      111229   5/31/2017 WISA   commission charge                             USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      111229   5/31/2017 WISA   commission charge                             USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      111386   5/31/2017 WORK   forex                                         USD             -      (4,350.00)          -         -
        SKYFALL     3 ESQ    ESQ      111386   5/31/2017 WORK   forex                                         CAD             -            -        5,872.50       -
        SKYFALL   219 ESQ1   ESQ1     111306   5/31/2017 WORK   interest payment                              CAD             -            -          529.74       -
        SKYFALL     3 ESQ    ESQ      111078    6/1/2017 WIRI   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111348    6/1/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111351    6/1/2017 REST   deliver stock                                 USD                       200.00           -         -
                                                                                                                                                                            Document: 00118249068




        SKYFALL     3 ESQ    ESQ      111354    6/1/2017 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)      -
        SKYFALL     3 ESQ    ESQ      111373    6/2/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111374    6/2/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111094    6/2/2017 WIHI   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111397    6/5/2017 BESQ   outgoing wire George Heard                    USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111455    6/5/2017 REST   deliver stock                                 USD                     1,000.00           -         -
        SKYFALL     3 ESQ    ESQ      111457    6/5/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -




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        SKYFALL     3 ESQ    ESQ      116056    6/5/2017 BEAG   deliver stock via reverse DWAC                USD                       100.00           -         -
                                                                                                                                                                            Page: 327




        SKYFALL     3 ESQ    ESQ      111459    6/6/2017 REST   deliver stock                                 USD                     1,100.00           -         -
        SKYFALL     3 ESQ    ESQ      111460    6/6/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111463    6/7/2017 REST   deliver stock                                 USD                     1,200.00           -         -
        SKYFALL     3 ESQ    ESQ      111464    6/7/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111352    6/8/2017 WIVA   receive stock via cert                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111458   6/12/2017 WIVA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111461   6/13/2017 WIHI   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111522   6/14/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111465   6/14/2017 WISA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111523   6/14/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111530   6/15/2017 REST   directors fee + fedex #779376508684           CAD                          -          250.00       -
        SKYFALL     3 ESQ    ESQ      111527   6/15/2017 REST   directors fee                                 CAD                          -          700.00       -
        SKYFALL     3 ESQ    ESQ      111599   6/20/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      111604   6/22/2017 CASH   debit                                         CAD       (2,000.00)         -       (2,000.00)      -
                                                                                                                                                                            Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      111633   6/22/2017 BESQ   Transfer Online                               USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111635   6/22/2017 REST   directors fee + fedex #779471109842           USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      111636   6/22/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        Pre2017     3 ESQ    ESQ      111531   6/22/2017 SIHI   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      111632   6/22/2017 REST   deliver stock                                 USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      111638   6/26/2017 BESQ   Island Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      111641   6/26/2017 BESQ   Island Stock Transfer                         USD                        50.00           -         -



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        SKYFALL     3 ESQ    ESQ      111628   6/26/2017 REST   deliver stock per FIRE            USD                        100.00          -         -
        SKYFALL     3 ESQ    ESQ      111637   6/26/2017 REST   deliver stock                     USD                        300.00          -         -
        SKYFALL     3 ESQ    ESQ      111640   6/26/2017 REST   deliver stock                     USD                        400.00          -         -
                                                                                                                                                                Case: 24-1770




        SKYFALL     3 ESQ    ESQ      111651   6/27/2017 BESQ   Action Stock Transfer             USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      111695   6/27/2017 REST   directors fee                     USD                        900.00          -         -
        SKYFALL     3 ESQ    ESQ      119326   6/28/2017 BESQ   Booth Udall Fuller                USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      116134   6/29/2017 WIRI   receive stock                     USD                        100.00          -         -
        SKYFALL     3 ESQ    ESQ      111686   6/29/2017 CASH   debit                             CAD       (2,000.00)          -      (2,000.00)      -
        SKYFALL     3 ESQ    ESQ      111694   6/29/2017 BESQ   Booth Udall Fuller                USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      111698   6/29/2017 BCEL   Courtney Kelln draft              USD      (25,189.20)   (25,189.20)         -         -
        SKYFALL     3 ESQ    ESQ      111715   6/30/2017 BEAG   commission charge                 USD             -         (100.00)         -         -
        SKYFALL     3 ESQ    ESQ      111715   6/30/2017 BEAG   commission charge                 USD             -          100.00          -         -
        SKYFALL     3 ESQ    ESQ      111726   6/30/2017 BESQ   commission withdrawal             USD             -         (650.00)         -         -
        SKYFALL     3 ESQ    ESQ      111726   6/30/2017 BESQ   commission withdrawal             USD             -          650.00          -         -
        SKYFALL     3 ESQ    ESQ      111754   6/30/2017 REST   commission withdrawal             USD             -       (6,550.00)         -         -
        SKYFALL     3 ESQ    ESQ      111754   6/30/2017 REST   commission withdrawal             USD             -        6,550.00          -         -
        SKYFALL     3 ESQ    ESQ      111755   6/30/2017 REST   commission withdrawal             CAD             -             -        (950.00)      -
        SKYFALL     3 ESQ    ESQ      111755   6/30/2017 REST   commission withdrawal             CAD             -             -         950.00       -
                                                                                                                                                                Document: 00118249068




        SKYFALL     3 ESQ    ESQ      111758   6/30/2017 WIHI   commission withdrawal             USD             -         (200.00)         -         -
        SKYFALL     3 ESQ    ESQ      111758   6/30/2017 WIHI   commission withdrawal             USD             -          200.00          -         -
        SKYFALL     3 ESQ    ESQ      111759   6/30/2017 WIHI   commission withdrawal             CAD             -             -        (100.00)      -
        SKYFALL     3 ESQ    ESQ      111759   6/30/2017 WIHI   commission withdrawal             CAD             -             -         100.00       -
        SKYFALL     3 ESQ    ESQ      111771   6/30/2017 SIQU   commission withdrawal             USD             -         (100.00)         -         -
        SKYFALL     3 ESQ    ESQ      111771   6/30/2017 SIQU   commission withdrawal             USD             -          100.00          -         -
        SKYFALL     3 ESQ    ESQ      111776   6/30/2017 WIRI   commission withdrawal             USD             -         (200.00)         -         -




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        SKYFALL     3 ESQ    ESQ      111776   6/30/2017 WIRI   commission withdrawal             USD             -          200.00          -         -
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        SKYFALL     3 ESQ    ESQ      111781   6/30/2017 WISA   commission withdrawal             USD             -         (100.00)         -         -
        SKYFALL     3 ESQ    ESQ      111781   6/30/2017 WISA   commission withdrawal             USD             -          100.00          -         -
        SKYFALL     3 ESQ    ESQ      111787   6/30/2017 WIVA   commission withdrawal             USD             -         (300.00)         -         -
        SKYFALL     3 ESQ    ESQ      111787   6/30/2017 WIVA   commission withdrawal             USD             -          300.00          -         -
        SKYFALL     3 ESQ    ESQ      112042   6/30/2017 BESQ   commission withdrawal             USD             -         (150.00)         -         -
        SKYFALL     3 ESQ    ESQ      112042   6/30/2017 BESQ   commission withdrawal             USD             -          150.00          -         -
        SKYFALL     3 ESQ    ESQ      112052   6/30/2017 REST   commission withdrawal             USD             -       (1,200.00)         -         -
        SKYFALL     3 ESQ    ESQ      112052   6/30/2017 REST   commission withdrawal             USD             -        1,200.00          -         -
        SKYFALL     3 ESQ    ESQ      111704   6/30/2017 REST   receive stock                     USD                        100.00          -         -
        SKYFALL     3 ESQ    ESQ      111932   6/30/2017 BESQ   Island Stock Transfer             USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      111929   6/30/2017 BESQ   Island Stock Transfer             USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      111926   6/30/2017 BESQ   Island Stock Transfer             USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      111922   6/30/2017 BESQ   Transfer Online                   USD                         50.00          -         -
        SKYFALL     3 ESQ    ESQ      111921   6/30/2017 REST   deliver stock                     USD                        300.00          -         -
                                                                                                                                                                Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      111925   6/30/2017 REST   deliver stock                     USD                        300.00          -         -
        SKYFALL     3 ESQ    ESQ      111928   6/30/2017 REST   deliver stock                     USD                        300.00          -         -
        SKYFALL     3 ESQ    ESQ      111639   6/30/2017 SIQU   receive stock via DWAC            USD                        100.00          -         -
        SKYFALL     3 ESQ    ESQ      111931   6/30/2017 REST   deliver stock                     USD                        300.00          -         -
        SKYFALL     3 ESQ    ESQ      111642   6/30/2017 WIRI   receive stock via DWAC            USD                        100.00          -         -
        SKYFALL     3 ESQ    ESQ      111634   6/30/2017 WIVA   receive stock via DWAC            USD                        100.00          -         -
        SKYFALL   219 ESQ1   ESQ1     111951   6/30/2017 WORK   interest payment                  CAD             -             -         503.54       -



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        Pre2017   3 ESQ   ESQ     111664    7/1/2017 SISA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     112128    7/6/2017 REST   receive stock                                 USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     112129    7/6/2017 REST   receive stock                                 USD                       100.00           -         -
                                                                                                                                                                        Case: 24-1770




        SKYFALL   3 ESQ   ESQ     112131    7/6/2017 CASH   debit                                         CAD       (1,000.00)         -       (1,000.00)      -
        SKYFALL   3 ESQ   ESQ     111923    7/7/2017 WIHI   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     111927    7/7/2017 TENT   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     111930    7/7/2017 PESC   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     111933    7/7/2017 WISA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     112177   7/10/2017 REST   deliver stock                                 USD                       600.00           -         -
        SKYFALL   3 ESQ   ESQ     112178   7/10/2017 BESQ   West Coast Stock Transfer                     USD                        50.00           -         -
        SKYFALL   3 ESQ   ESQ     112157   7/10/2017 BESQ   Booth Udall Fuller                            USD                        50.00           -         -
        SKYFALL   3 ESQ   ESQ     112175   7/11/2017 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL   3 ESQ   ESQ     112176   7/11/2017 REST   directors fee                                 USD                       200.00           -         -
        SKYFALL   3 ESQ   ESQ     112179   7/11/2017 BESQ   West Coast Stock Transfer                     USD                        50.00           -         -
        SKYFALL   3 ESQ   ESQ     112181   7/11/2017 REST   deliver stock                                 USD                       600.00           -         -
        SKYFALL   3 ESQ   ESQ     112201   7/12/2017 REST   directors fee + fedex #779615398320           USD                       350.00           -         -
        SKYFALL   3 ESQ   ESQ     112202   7/12/2017 BESQ   Island Stock Transfer                         USD                        50.00           -         -
        SKYFALL   3 ESQ   ESQ     112229   7/13/2017 CASH   debit                                         CAD       (1,000.00)         -       (1,000.00)      -
                                                                                                                                                                        Document: 00118249068




        SKYFALL   3 ESQ   ESQ     112246   7/14/2017 REST   directors fee                                 USD                     1,000.00           -         -
        SKYFALL   3 ESQ   ESQ     112259   7/17/2017 REST   directors fee                                 USD                     1,000.00           -         -
        SKYFALL   3 ESQ   ESQ     112314   7/20/2017 BCEL   debit                                         CAD       (3,680.00)         -       (3,680.00)      -
        SKYFALL   3 ESQ   ESQ     112312   7/20/2017 BCEL   forex                                         USD                        29.99           -         -
        SKYFALL   3 ESQ   ESQ     112322   7/21/2017 REST   deliver stock                                 USD                       300.00           -         -
        SKYFALL   3 ESQ   ESQ     112323   7/21/2017 BESQ   Transfer Online                               USD                        50.00           -         -
        SKYFALL   3 ESQ   ESQ     112325   7/21/2017 REST   deliver stock                                 USD                       300.00           -         -




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        SKYFALL   3 ESQ   ESQ     112326   7/21/2017 BESQ   Transfer Online                               USD                        50.00           -         -
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        SKYFALL   3 ESQ   ESQ     112320   7/21/2017 BEAP   deliver stock via reverse DWAC                USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     112456   7/26/2017 CASH   debit                                         CAD      (22,500.00)         -      (22,500.00)      -
        SKYFALL   3 ESQ   ESQ     110360   7/27/2017 WIHI   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     111095   7/27/2017 CANI   receive stock                                 CAD                          -          100.00       -
        SKYFALL   3 ESQ   ESQ     112504   7/27/2017 REST   receive stock                                 CAD                          -          100.00       -
        SKYFALL   3 ESQ   ESQ     112505   7/27/2017 REST   deliver stock via email                       CAD                          -          100.00       -
        SKYFALL   3 ESQ   ESQ     112324   7/28/2017 WIRI   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     112327   7/28/2017 WISA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL   3 ESQ   ESQ     112547   7/31/2017 BEAG   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     112547   7/31/2017 BEAG   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL   3 ESQ   ESQ     112556   7/31/2017 BEAP   commission withdrawal                         USD             -        (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     112556   7/31/2017 BEAP   commission withdrawal                         USD             -         100.00           -         -
        SKYFALL   3 ESQ   ESQ     112570   7/31/2017 BESQ   commission withdrawal                         USD             -        (450.00)          -         -
        SKYFALL   3 ESQ   ESQ     112570   7/31/2017 BESQ   commission withdrawal                         USD             -         450.00           -         -
                                                                                                                                                                        Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ     112589   7/31/2017 PESC   commission withdrawal                         USD             -        (200.00)          -         -
        SKYFALL   3 ESQ   ESQ     112589   7/31/2017 PESC   commission withdrawal                         USD             -         200.00           -         -
        SKYFALL   3 ESQ   ESQ     112592   7/31/2017 REST   commission withdrawal                         USD             -      (4,550.00)          -         -
        SKYFALL   3 ESQ   ESQ     112592   7/31/2017 REST   commission withdrawal                         USD             -       4,550.00           -         -
        SKYFALL   3 ESQ   ESQ     112593   7/31/2017 REST   commission withdrawal                         CAD             -            -         (200.00)      -
        SKYFALL   3 ESQ   ESQ     112593   7/31/2017 REST   commission withdrawal                         CAD             -            -          200.00       -
        SKYFALL   3 ESQ   ESQ     112611   7/31/2017 WIRI   commission withdrawal                         USD             -        (100.00)          -         -



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                                                                                                                                                      4 (Part 4)
        SKYFALL     3 ESQ    ESQ     112611   7/31/2017 WIRI   commission withdrawal                    USD            -       100.00          -         -
        SKYFALL     3 ESQ    ESQ     112616   7/31/2017 WISA   commission withdrawal                    USD            -      (300.00)         -         -
        SKYFALL     3 ESQ    ESQ     112616   7/31/2017 WISA   commission withdrawal                    USD            -       300.00          -         -
                                                                                                                                                                   Case: 24-1770




        SKYFALL     3 ESQ    ESQ     112633   7/31/2017 TENT   commission withdrawal                    USD            -      (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     112633   7/31/2017 TENT   commission withdrawal                    USD            -       100.00          -         -
        SKYFALL     3 ESQ    ESQ     112877   7/31/2017 BEAP   write off stock                          USD                       -            -         -
        SKYFALL     3 ESQ    ESQ     112878   7/31/2017 BEAP   write off stock                          CAD                       -            -         -
        SKYFALL     3 ESQ    ESQ     112879   7/31/2017 SIQU   write off stock                          CAD                       -            -         -
        SKYFALL     3 ESQ    ESQ     112880   7/31/2017 BEAP   write off stock                          USD                       -            -         -
        SKYFALL   219 ESQ1   ESQ1    112719   7/31/2017 WORK   interest payment                         CAD            -          -         495.27       -
        Pre2017     3 ESQ    ESQ     112514    8/1/2017 SISA   receive stock via drs                    CAD                       -         100.00       -
        SKYFALL     3 ESQ    ESQ     115077    8/1/2017 REST   receive stock                            USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     112845    8/3/2017 BEAP   receive stock                            CAD                       -         100.00       -
        SKYFALL     3 ESQ    ESQ     112843    8/3/2017 BEAT   receive stock                            CAD                       -         100.00       -
        SKYFALL     3 ESQ    ESQ     112844    8/3/2017 BEAG   receive stock                            CAD                       -         100.00       -
        Pre2017     3 ESQ    ESQ     112843    8/3/2017 BEAT   receive stock                            CAD                       -         100.00       -
        Pre2017     3 ESQ    ESQ     112844    8/3/2017 BEAG   receive stock                            CAD                       -         100.00       -
        Pre2017     3 ESQ    ESQ     112845    8/3/2017 BEAP   receive stock                            CAD                       -         100.00       -
                                                                                                                                                                   Document: 00118249068




        SKYFALL     3 ESQ    ESQ     112801    8/3/2017 CASH   debit                                    CAD      (1,000.00)       -      (1,000.00)      -
        SKYFALL     3 ESQ    ESQ     112803    8/3/2017 REST   directors fee                            CAD                       -         400.00       -
        SKYFALL     3 ESQ    ESQ     112838    8/6/2017 REST   deliver stock                            USD                    300.00          -         -
        SKYFALL     3 ESQ    ESQ     112839    8/6/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     112514   8/10/2017 WISA   receive stock via drs                    CAD                       -         100.00       -
        SKYFALL     3 ESQ    ESQ     112840   8/14/2017 WIVA   receive stock via DWAC                   USD                    100.00          -         -
        Pre2017     3 ESQ    ESQ     112840   8/14/2017 SIVA   receive stock via DWAC                   USD                    100.00          -         -




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        SKYFALL     3 ESQ    ESQ     115016   8/14/2017 BEAG   write off stock                          USD                       -            -         -
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        SKYFALL     3 ESQ    ESQ     111531   8/15/2017 WIHI   receive stock                            CAD                       -         100.00       -
        SKYFALL     3 ESQ    ESQ     115397   8/15/2017 REST   receive stock                            USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     115069   8/16/2017 REST   directors fee                            USD                    700.00          -         -
        SKYFALL     3 ESQ    ESQ     115067   8/17/2017 REST   deliver stock                            USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     115071   8/17/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115072   8/17/2017 REST   deliver stock                            USD                    300.00          -         -
        SKYFALL     3 ESQ    ESQ     115073   8/17/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115075   8/17/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115076   8/17/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115078   8/17/2017 REST   deliver stock                            USD                    300.00          -         -
        SKYFALL     3 ESQ    ESQ     115079   8/17/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115082   8/17/2017 CASH   debit                                    CAD      (2,000.00)       -      (2,000.00)      -
        SKYFALL     3 ESQ    ESQ     115105   8/18/2017 WIHI   receive stock via DWAC                   USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     115103   8/18/2017 REST   deliver stock                            USD                    700.00          -         -
                                                                                                                                                                   Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ     115104   8/18/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115074   8/24/2017 WIRI   receive stock via DWAC                   USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     115080   8/24/2017 WISA   receive stock via DWAC                   USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     115882   8/28/2017 REST   receive stock                            USD                    100.00          -         -
        SKYFALL     3 ESQ    ESQ     115398   8/29/2017 REST   deliver stock                            USD                    200.00          -         -
        SKYFALL     3 ESQ    ESQ     115399   8/29/2017 BESQ   Action Stock Transfer                    USD                     50.00          -         -
        SKYFALL     3 ESQ    ESQ     115880   8/30/2017 BEAT   deliver stock via reverse DWAC           USD                    100.00          -         -



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        SKYFALL     3 ESQ    ESQ     115526   8/31/2017 BEAG   commission withdrawal                    CAD            -            -        (100.00)      -
        SKYFALL     3 ESQ    ESQ     115526   8/31/2017 BEAG   commission withdrawal                    CAD            -            -         100.00       -
        SKYFALL     3 ESQ    ESQ     115533   8/31/2017 BEAP   commission withdrawal                    CAD            -            -        (100.00)      -
                                                                                                                                                                    Case: 24-1770




        SKYFALL     3 ESQ    ESQ     115533   8/31/2017 BEAP   commission withdrawal                    CAD            -            -         100.00       -
        SKYFALL     3 ESQ    ESQ     115540   8/31/2017 BEAT   commission withdrawal                    CAD            -            -        (200.00)      -
        SKYFALL     3 ESQ    ESQ     115540   8/31/2017 BEAT   commission withdrawal                    CAD            -            -         200.00       -
        SKYFALL     3 ESQ    ESQ     115545   8/31/2017 BESQ   commission withdrawal                    USD            -        (300.00)         -         -
        SKYFALL     3 ESQ    ESQ     115545   8/31/2017 BESQ   commission withdrawal                    USD            -         300.00          -         -
        SKYFALL     3 ESQ    ESQ     115561   8/31/2017 REST   commission withdrawal                    USD            -      (2,900.00)         -         -
        SKYFALL     3 ESQ    ESQ     115561   8/31/2017 REST   commission withdrawal                    USD            -       2,900.00          -         -
        SKYFALL     3 ESQ    ESQ     115562   8/31/2017 REST   commission withdrawal                    CAD            -            -        (400.00)      -
        SKYFALL     3 ESQ    ESQ     115562   8/31/2017 REST   commission withdrawal                    CAD            -            -         400.00       -
        SKYFALL     3 ESQ    ESQ     115565   8/31/2017 WIHI   commission withdrawal                    USD            -        (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     115565   8/31/2017 WIHI   commission withdrawal                    USD            -         100.00          -         -
        SKYFALL     3 ESQ    ESQ     115577   8/31/2017 SIMO   commission withdrawal                    USD            -        (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     115577   8/31/2017 SIMO   commission withdrawal                    USD            -         100.00          -         -
        SKYFALL     3 ESQ    ESQ     115590   8/31/2017 WIRI   commission withdrawal                    USD            -        (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     115590   8/31/2017 WIRI   commission withdrawal                    USD            -         100.00          -         -
                                                                                                                                                                    Document: 00118249068




        SKYFALL     3 ESQ    ESQ     115595   8/31/2017 WISA   commission withdrawal                    USD            -        (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     115595   8/31/2017 WISA   commission withdrawal                    USD            -         100.00          -         -
        SKYFALL     3 ESQ    ESQ     115596   8/31/2017 WISA   commission withdrawal                    CAD            -            -        (100.00)      -
        SKYFALL     3 ESQ    ESQ     115596   8/31/2017 WISA   commission withdrawal                    CAD            -            -         100.00       -
        SKYFALL     3 ESQ    ESQ     115603   8/31/2017 WIVA   commission withdrawal                    USD            -        (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     115603   8/31/2017 WIVA   commission withdrawal                    USD            -         100.00          -         -
        SKYFALL     3 ESQ    ESQ     116058   8/31/2017 REST   receive stock                            USD                      100.00          -         -




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        SKYFALL     3 ESQ    ESQ     115508   8/31/2017 BESQ   Action Stock Transfer                    USD                       50.00          -         -
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        SKYFALL     3 ESQ    ESQ     115970   8/31/2017 WORK   forex                                    USD            -      (4,226.00)         -         -
        SKYFALL     3 ESQ    ESQ     115970   8/31/2017 WORK   forex                                    CAD            -            -       5,071.20       -
        SKYFALL     3 ESQ    ESQ     115511   8/31/2017 CASH   debit                                    CAD      (2,000.00)         -      (2,000.00)      -
        SKYFALL     3 ESQ    ESQ     115883   8/31/2017 REST   receive stock                            CAD                         -         100.00       -
        SKYFALL   219 ESQ1   ESQ1    115700   8/31/2017 WORK   interest payment                         CAD            -            -         495.69       -
        SKYFALL     3 ESQ    ESQ     116101    9/5/2017 REST   directors fee                            CAD                         -         100.00       -
        SKYFALL     3 ESQ    ESQ     115487    9/5/2017 WIRI   receive stock via DWAC                   USD                      100.00          -         -
        SKYFALL     3 ESQ    ESQ     115893    9/5/2017 WILA   deliver stock via reverse dwac           USD                      100.00          -         -
        SKYFALL     3 ESQ    ESQ     115889    9/5/2017 WISA   deliver stock via reverse DWAC           USD                      100.00          -         -
        SKYFALL     3 ESQ    ESQ     115879    9/5/2017 REST   directors fee                            USD                      200.00          -         -
        SKYFALL     3 ESQ    ESQ     115885    9/5/2017 REST   deliver stock                            CAD                         -         100.00       -
        SKYFALL     3 ESQ    ESQ     115887    9/5/2017 BESQ   Action Stock Transfer                    USD                       50.00          -         -
        SKYFALL     3 ESQ    ESQ     115891    9/5/2017 BEAG   deliver stock via reverse dwac           USD                      100.00          -         -
        SKYFALL     3 ESQ    ESQ     115890    9/5/2017 BEAG   deliver stock via reverse dwac           USD                      100.00          -         -
                                                                                                                                                                    Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ     115892    9/5/2017 BEAT   deliver stock via reverse dwac           USD                      100.00          -         -
        SKYFALL     3 ESQ    ESQ     115930    9/7/2017 REST   directors fee                            CAD                         -         500.00       -
        SKYFALL     3 ESQ    ESQ     115923    9/7/2017 REST   receive stock                            CAD                         -         100.00       -
        SKYFALL     3 ESQ    ESQ     115925    9/7/2017 REST   deliver stock                            CAD                         -         100.00       -
        SKYFALL     3 ESQ    ESQ     115929    9/7/2017 REST   directors fee                            USD                      200.00          -         -
        SKYFALL     3 ESQ    ESQ     116165    9/8/2017 BEAT   receive stock via DRS                    CAD                         -         100.00       -
        SKYFALL     3 ESQ    ESQ     115886   9/12/2017 TENT   receive stock via cert                   CAD                         -         100.00       -



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        SKYFALL   3 ESQ   ESQ    115881   9/12/2017 TENT   receive stock via DWAC             USD                      100.00          -         -
        SKYFALL   3 ESQ   ESQ    116029   9/14/2017 CASH   debit                              CAD      (2,000.00)         -      (2,000.00)      -
        SKYFALL   3 ESQ   ESQ    116166   9/14/2017 TENT   receive stock via drs              CAD                         -         100.00       -
                                                                                                                                                          Case: 24-1770




        SKYFALL   3 ESQ   ESQ    116031   9/14/2017 REST   Masi Management A/R 2017           CAD                         -         245.00       -
        SKYFALL   3 ESQ   ESQ    111664   9/18/2017 WISA   receive stock via DWAC             USD                      100.00          -         -
        SKYFALL   3 ESQ   ESQ    116102   9/20/2017 REST   deliver stock                      USD                      300.00          -         -
        SKYFALL   3 ESQ   ESQ    116103   9/20/2017 BESQ   Action Stock Transfer              USD                       50.00          -         -
        SKYFALL   3 ESQ   ESQ    116218   9/20/2017 CANI   receive stock DAP                  CAD                         -         100.00       -
        SKYFALL   3 ESQ   ESQ    116100   9/21/2017 REST   directors fee                      USD                      300.00          -         -
        SKYFALL   3 ESQ   ESQ    116167   9/22/2017 TENT   dwac rejected                      USD                      100.00          -         -
        SKYFALL   3 ESQ   ESQ    116121   9/22/2017 REST   directors fee                      USD                      667.00          -         -
        SKYFALL   3 ESQ   ESQ    116150   9/25/2017 CANI   receive stock                      CAD                         -         100.00       -
        SKYFALL   3 ESQ   ESQ    116120   9/25/2017 REST   directors fee                      USD                    1,333.00          -         -
        SKYFALL   3 ESQ   ESQ    116142   9/25/2017 REST   deliver stock                      USD                      500.00          -         -
        SKYFALL   3 ESQ   ESQ    116143   9/25/2017 BESQ   VStock Transfer                    USD                       50.00          -         -
        SKYFALL   3 ESQ   ESQ    116147   9/25/2017 REST   deliver stock                      USD                      300.00          -         -
        SKYFALL   3 ESQ   ESQ    116148   9/25/2017 BESQ   Action Stock Transfer              USD                       50.00          -         -
        SKYFALL   3 ESQ   ESQ    116161   9/26/2017 REST   receive stock                      USD                      100.00          -         -
                                                                                                                                                          Document: 00118249068




        SKYFALL   3 ESQ   ESQ    116162   9/26/2017 REST   deliver stock                      USD                      500.00          -         -
        SKYFALL   3 ESQ   ESQ    116163   9/26/2017 BESQ   VStock Transfer                    USD                       50.00          -         -
        SKYFALL   3 ESQ   ESQ    116172   9/26/2017 REST   deliver stock                      USD                      300.00          -         -
        SKYFALL   3 ESQ   ESQ    116173   9/26/2017 BESQ   Action Stock Transfer              USD                       50.00          -         -
        SKYFALL   3 ESQ   ESQ    116104   9/27/2017 WILA   receive stock via DWAC             USD                      100.00          -         -
        SKYFALL   3 ESQ   ESQ    116266   9/30/2017 BEAG   commission withdrawal              USD            -        (300.00)         -         -
        SKYFALL   3 ESQ   ESQ    116266   9/30/2017 BEAG   commission withdrawal              USD            -         300.00          -         -




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        SKYFALL   3 ESQ   ESQ    116275   9/30/2017 BEAP   commission withdrawal              CAD            -            -        (100.00)      -
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        SKYFALL   3 ESQ   ESQ    116275   9/30/2017 BEAP   commission withdrawal              CAD            -            -         100.00       -
        SKYFALL   3 ESQ   ESQ    116285   9/30/2017 BEAT   commission withdrawal              USD            -        (200.00)         -         -
        SKYFALL   3 ESQ   ESQ    116285   9/30/2017 BEAT   commission withdrawal              USD            -         200.00          -         -
        SKYFALL   3 ESQ   ESQ    116290   9/30/2017 BESQ   commission withdrawal              USD            -        (300.00)         -         -
        SKYFALL   3 ESQ   ESQ    116290   9/30/2017 BESQ   commission withdrawal              USD            -         300.00          -         -
        SKYFALL   3 ESQ   ESQ    116301   9/30/2017 CANI   commission withdrawal              CAD            -            -        (200.00)      -
        SKYFALL   3 ESQ   ESQ    116301   9/30/2017 CANI   commission withdrawal              CAD            -            -         200.00       -
        SKYFALL   3 ESQ   ESQ    116315   9/30/2017 REST   commission withdrawal              USD            -      (4,900.00)         -         -
        SKYFALL   3 ESQ   ESQ    116315   9/30/2017 REST   commission withdrawal              USD            -       4,900.00          -         -
        SKYFALL   3 ESQ   ESQ    116316   9/30/2017 REST   commission withdrawal              CAD            -            -      (1,245.00)      -
        SKYFALL   3 ESQ   ESQ    116316   9/30/2017 REST   commission withdrawal              CAD            -            -       1,245.00       -
        SKYFALL   3 ESQ   ESQ    116319   9/30/2017 WIHI   commission withdrawal              USD            -        (100.00)         -         -
        SKYFALL   3 ESQ   ESQ    116319   9/30/2017 WIHI   commission withdrawal              USD            -         100.00          -         -
        SKYFALL   3 ESQ   ESQ    116327   9/30/2017 WILA   commission withdrawal              USD            -        (200.00)         -         -
                                                                                                                                                          Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ    116327   9/30/2017 WILA   commission withdrawal              USD            -         200.00          -         -
        SKYFALL   3 ESQ   ESQ    116336   9/30/2017 WIRI   commission withdrawal              USD            -        (200.00)         -         -
        SKYFALL   3 ESQ   ESQ    116336   9/30/2017 WIRI   commission withdrawal              USD            -         200.00          -         -
        SKYFALL   3 ESQ   ESQ    116342   9/30/2017 WISA   commission withdrawal              USD            -        (100.00)         -         -
        SKYFALL   3 ESQ   ESQ    116342   9/30/2017 WISA   commission withdrawal              USD            -         100.00          -         -
        SKYFALL   3 ESQ   ESQ    116361   9/30/2017 TENT   commission withdrawal              USD            -        (200.00)         -         -
        SKYFALL   3 ESQ   ESQ    116361   9/30/2017 TENT   commission withdrawal              USD            -         200.00          -         -



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        SKYFALL     3 ESQ    ESQ     116362 9/30/2017 TENT    commission withdrawal                  CAD          -         -     (200.00)      -
        SKYFALL     3 ESQ    ESQ     116362 9/30/2017 TENT    commission withdrawal                  CAD          -         -      200.00       -
        SKYFALL   219 ESQ1   ESQ1    116475 9/30/2017 WORK    interest payment                       CAD          -         -      480.11       -
                                                                                                                                                         Case: 24-1770




        SKYFALL     3 ESQ    ESQ     116144 10/1/2017 WIHI    receive stock via DWAC                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116164 10/2/2017 WISA    receive stock via dwac                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116513 10/2/2017 CANI    receive stock                          CAD                    -      100.00       -
        SKYFALL     3 ESQ    ESQ     117382 10/2/2017 REST    receive stock                          USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116149 10/2/2017 WIVA    receive stock via DWAC                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116174 10/3/2017 WIVA    receive stock via DWAC                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116610 10/4/2017 REST    receive stock                          USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116618 10/5/2017 REST    receive stock                          USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116611 10/6/2017 REST    deliver stock                          USD                 200.00       -         -
        SKYFALL     3 ESQ    ESQ     116613 10/6/2017 BESQ    Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116614 10/6/2017 BESQ    Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116617 10/6/2017 BESQ    Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116621 10/6/2017 REST    deliver stock                          USD                 300.00       -         -
        SKYFALL     3 ESQ    ESQ     116622 10/6/2017 BESQ    Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116675 10/10/2017 REST   deliver stock                          USD                 500.00       -         -
                                                                                                                                                         Document: 00118249068




        SKYFALL     3 ESQ    ESQ     116676 10/10/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116699 10/10/2017 REST   directors fee                          USD               2,000.00       -         -
        SKYFALL     3 ESQ    ESQ     116700 10/11/2017 REST   directors fee                          USD               2,000.00       -         -
        SKYFALL     3 ESQ    ESQ     116722 10/12/2017 REST   deliver stock                          USD                 300.00       -         -
        SKYFALL     3 ESQ    ESQ     116723 10/12/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116725 10/12/2017 REST   deliver stock                          USD                 300.00       -         -
        SKYFALL     3 ESQ    ESQ     116726 10/12/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -




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        SKYFALL     3 ESQ    ESQ     116923 10/13/2017 WIRI   receive stock via DWAC                 USD                 100.00       -         -
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        SKYFALL     3 ESQ    ESQ     116615 10/13/2017 WIVA   receive stock via DWAC                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116821 10/18/2017 REST   directors fee                          USD               4,000.00       -         -
        SKYFALL     3 ESQ    ESQ     116822 10/18/2017 REST   directors fee                          USD               8,000.00       -         -
        SKYFALL     3 ESQ    ESQ     116824 10/18/2017 REST   deliver stock                          USD                 300.00       -         -
        SKYFALL     3 ESQ    ESQ     116825 10/18/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116724 10/19/2017 WIVA   receive stock via DWAC                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116727 10/19/2017 WILA   receive stock via DWAC                 USD                 100.00       -         -
        SKYFALL     3 ESQ    ESQ     116878 10/20/2017 REST   deliver stock                          USD                 500.00       -         -
        SKYFALL     3 ESQ    ESQ     116880 10/20/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116884 10/20/2017 REST   deliver stock                          USD                 800.00       -         -
        SKYFALL     3 ESQ    ESQ     116885 10/20/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116887 10/20/2017 REST   deliver stock                          USD                 800.00       -         -
        SKYFALL     3 ESQ    ESQ     116888 10/20/2017 BESQ   Action Stock Transfer                  USD                  50.00       -         -
        SKYFALL     3 ESQ    ESQ     116935 10/25/2017 REST   write off stock                        USD                    -         -         -
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        SKYFALL     3 ESQ    ESQ     116936 10/25/2017 PESC   write off stock                        USD                    -         -         -
        SKYFALL     3 ESQ    ESQ     116937 10/25/2017 BEAG   write off stock                        USD                    -         -         -
        SKYFALL     3 ESQ    ESQ     116938 10/25/2017 WIRI   write off stock                        USD                    -         -         -
        SKYFALL     3 ESQ    ESQ     116939 10/25/2017 TENT   write off stock                        USD                    -         -         -
        SKYFALL     3 ESQ    ESQ     116940 10/25/2017 WILA   write off stock                        USD                    -         -         -
        SKYFALL     3 ESQ    ESQ     117020 10/25/2017 REST   receive stock                          CAD                    -      100.00       -
        SKYFALL     3 ESQ    ESQ     116969 10/25/2017 REST   deliver stock to TA per Fire           USD                 100.00       -         -



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        SKYFALL     3 ESQ    ESQ     116826 10/25/2017 WIRI   receive stock via DWAC                              USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     117032 10/26/2017 CANI   receive stock                                       CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ     117021 10/27/2017 REST   deliver stock                                       CAD                           -          100.00       -
                                                                                                                                                                                 Case: 24-1770




        SKYFALL     3 ESQ    ESQ     116889 10/27/2017 PESC   receive stock via DWAC                              USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     116882 10/27/2017 PESC   receive stock (post split 100:1) via DWAC           USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     117048 10/30/2017 REST   directors fee                                       CAD                           -          300.00       -
        SKYFALL     3 ESQ    ESQ     117049 10/30/2017 REST   directors fee                                       USD                        300.00           -         -
        SKYFALL     3 ESQ    ESQ     117050 10/30/2017 REST   directors fee                                       USD                        300.00           -         -
        SKYFALL     3 ESQ    ESQ     117051 10/30/2017 REST   directors fee                                       USD                        300.00           -         -
        SKYFALL   219 ESQ1   ESQ1    117296 10/30/2017 WORK   interest payment                                    CAD             -             -          480.50       -
        SKYFALL     3 ESQ    ESQ     117100 10/31/2017 BESQ   commission withdrawal                               USD             -         (550.00)          -         -
        SKYFALL     3 ESQ    ESQ     117100 10/31/2017 BESQ   commission withdrawal                               USD             -          550.00           -         -
        SKYFALL     3 ESQ    ESQ     117110 10/31/2017 CANI   commission withdrawal                               CAD             -             -         (200.00)      -
        SKYFALL     3 ESQ    ESQ     117110 10/31/2017 CANI   commission withdrawal                               CAD             -             -          200.00       -
        SKYFALL     3 ESQ    ESQ     117130 10/31/2017 PESC   commission withdrawal                               USD             -         (200.00)          -         -
        SKYFALL     3 ESQ    ESQ     117130 10/31/2017 PESC   commission withdrawal                               USD             -          200.00           -         -
        SKYFALL     3 ESQ    ESQ     117139 10/31/2017 REST   commission withdrawal                               USD             -      (21,200.00)          -         -
        SKYFALL     3 ESQ    ESQ     117139 10/31/2017 REST   commission withdrawal                               USD             -       21,200.00           -         -
                                                                                                                                                                                 Document: 00118249068




        SKYFALL     3 ESQ    ESQ     117140 10/31/2017 REST   commission withdrawal                               CAD             -             -         (500.00)      -
        SKYFALL     3 ESQ    ESQ     117140 10/31/2017 REST   commission withdrawal                               CAD             -             -          500.00       -
        SKYFALL     3 ESQ    ESQ     117151 10/31/2017 WILA   commission withdrawal                               USD             -         (100.00)          -         -
        SKYFALL     3 ESQ    ESQ     117151 10/31/2017 WILA   commission withdrawal                               USD             -          100.00           -         -
        SKYFALL     3 ESQ    ESQ     117164 10/31/2017 WIRI   commission withdrawal                               USD             -         (200.00)          -         -
        SKYFALL     3 ESQ    ESQ     117164 10/31/2017 WIRI   commission withdrawal                               USD             -          200.00           -         -
        SKYFALL     3 ESQ    ESQ     117173 10/31/2017 WISA   commission withdrawal                               USD             -         (100.00)          -         -




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        SKYFALL     3 ESQ    ESQ     117173 10/31/2017 WISA   commission withdrawal                               USD             -          100.00           -         -
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        SKYFALL     3 ESQ    ESQ     117182 10/31/2017 WIVA   commission withdrawal                               USD             -         (400.00)          -         -
        SKYFALL     3 ESQ    ESQ     117182 10/31/2017 WIVA   commission withdrawal                               USD             -          400.00           -         -
        SKYFALL     3 ESQ    ESQ     117193 10/31/2017 TENT   commission withdrawal                               USD             -         (200.00)          -         -
        SKYFALL     3 ESQ    ESQ     117193 10/31/2017 TENT   commission withdrawal                               USD             -          200.00           -         -
        SKYFALL     3 ESQ    ESQ     118207 11/1/2017 WIHI    receive stock                                       USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     117383 11/1/2017 REST    receive stock                                       CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ     117042 11/2/2017 PESP    receive stock via DTC                               USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     117039 11/2/2017 PESP    receive stock via DTC                               USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     117041 11/2/2017 PESP    receive stock via DTC                               USD                        100.00           -         -
        SKYFALL     3 ESQ    ESQ     117038 11/2/2017 PESP    receive stock via DTC                               CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ     117019 11/3/2017 WIRI    receive stock                                       CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ     117488 11/3/2017 REST    receive stock                                       CAD                           -          100.00       -
        SKYFALL     3 ESQ    ESQ     117384 11/3/2017 REST    deliver stock                                       CAD                           -          200.00       -
        SKYFALL     3 ESQ    ESQ     117387 11/3/2017 CASH    debit                                               CAD      (17,150.00)          -      (17,150.00)      -
                                                                                                                                                                                 Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ     117389 11/3/2017 REST    write off stock                                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ     117390 11/3/2017 WIRI    write off stock                                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ     117391 11/3/2017 WIHI    write off stock                                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ     117392 11/3/2017 TENT    write off stock                                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ     117393 11/3/2017 PESC    write off stock                                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ     117394 11/3/2017 WISA    write off stock                                     USD                           -             -         -
        SKYFALL     3 ESQ    ESQ     117395 11/3/2017 WILA    write off stock                                     USD                           -             -         -



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        SKYFALL   3 ESQ   ESQ    117410 11/6/2017 BESQ    Booth Udall Fuller                            USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117411 11/6/2017 BESQ    Action Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117412 11/6/2017 BESQ    Action Stock Transfer                         USD                         50.00          -          -
                                                                                                                                                                       Case: 24-1770




        SKYFALL   3 ESQ   ESQ    117413 11/6/2017 REST    deliver stock                                 USD                        300.00          -          -
        SKYFALL   3 ESQ   ESQ    117414 11/6/2017 BESQ    Action Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117485 11/6/2017 TENT    certificate rejected                          CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117483 11/6/2017 TENT    certificate rejected                          CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117616 11/9/2017 SIMO    forex 1824                                    USD      (13,529.25)   (13,529.25)         -          -
        SKYFALL   3 ESQ   ESQ    117616 11/9/2017 SIMO    forex 1824                                    CAD       17,184.30           -      17,184.30        -
        SKYFALL   3 ESQ   ESQ    117471 11/9/2017 REST    deliver stock                                 USD                        800.00          -          -
        SKYFALL   3 ESQ   ESQ    117472 11/9/2017 BESQ    Action Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117385 11/10/2017 WIVA   receive stock via cert                        CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117482 11/10/2017 REST   receive stock                                 CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117484 11/10/2017 REST   receive stock                                 CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117486 11/10/2017 REST   receive stock                                 CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117487 11/10/2017 REST   directors fee                                 USD                        300.00          -          -
        SKYFALL   3 ESQ   ESQ    117565 11/14/2017 REST   directors fee + fedex #770750871287           USD                        150.00          -          -
        SKYFALL   3 ESQ   ESQ    117473 11/15/2017 WIVA   receive stock via DWAC                        USD                        100.00          -          -
                                                                                                                                                                       Document: 00118249068




        SKYFALL   3 ESQ   ESQ    117638 11/17/2017 CANI   receive stock                                 CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117608 11/17/2017 SIQU   forex 181                                     USD        (402.70)       (402.70)         -          -
        SKYFALL   3 ESQ   ESQ    117608 11/17/2017 SIQU   forex 181                                     CAD         450.00            -         450.00        -
        SKYFALL   3 ESQ   ESQ    117645 11/17/2017 BESQ   Island Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117981 11/17/2017 REST   receive stock                                 CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117639 11/17/2017 REST   deliver stock                                 CAD                           -         200.00        -
        SKYFALL   3 ESQ   ESQ    117640 11/17/2017 REST   deliver stock                                 CAD                           -         200.00        -




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        SKYFALL   3 ESQ   ESQ    117642 11/17/2017 BESQ   Booth Udall Fuller                            USD                         50.00          -          -
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        SKYFALL   3 ESQ   ESQ    117644 11/17/2017 REST   deliver stock                                 USD                        500.00          -          -
        SKYFALL   3 ESQ   ESQ    117669 11/20/2017 BESQ   Island Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117668 11/20/2017 REST   deliver stock                                 USD                        500.00          -          -
        SKYFALL   3 ESQ   ESQ    117672 11/20/2017 REST   deliver stock                                 USD                        300.00          -          -
        SKYFALL   3 ESQ   ESQ    117673 11/20/2017 BESQ   Action Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117685 11/20/2017 REST   fedex #770797283363 770797289431              USD                        100.00          -          -
        SKYFALL   3 ESQ   ESQ    117710 11/21/2017 CANI   receive stock                                 CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117706 11/21/2017 REST   directors fee                                 CAD                           -         400.00        -
        SKYFALL   3 ESQ   ESQ    117751 11/24/2017 WORK   forex                                         USD             -       (8,000.00)         -          -
        SKYFALL   3 ESQ   ESQ    117751 11/24/2017 WORK   forex                                         CAD             -             -      10,040.00        -
        SKYFALL   3 ESQ   ESQ    117643 11/24/2017 WISA   receive stock via cert                        CAD                           -         100.00        -
        SKYFALL   3 ESQ   ESQ    117646 11/24/2017 PESC   receive stock via DWAC                        USD                        100.00          -          -
        SKYFALL   3 ESQ   ESQ    117804 11/27/2017 REST   receive stock                                 USD                        100.00          -          -
        SKYFALL   3 ESQ   ESQ    117670 11/27/2017 WIHI   receive stock via DWAC                        USD                        100.00          -          -
                                                                                                                                                                       Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ    117806 11/29/2017 REST   deliver stock                                 USD                        300.00          -          -
        SKYFALL   3 ESQ   ESQ    117807 11/29/2017 BESQ   Action Stock Transfer                         USD                         50.00          -          -
        SKYFALL   3 ESQ   ESQ    117844 11/30/2017 BEAG   commission charge                             USD             -         (100.00)         -          -
        SKYFALL   3 ESQ   ESQ    117844 11/30/2017 BEAG   commission charge                             USD             -          100.00          -          -
        SKYFALL   3 ESQ   ESQ    117851 11/30/2017 BEAP   commission charge                             CAD             -             -        (100.00)       -
        SKYFALL   3 ESQ   ESQ    117851 11/30/2017 BEAP   commission charge                             CAD             -             -         100.00        -
        SKYFALL   3 ESQ   ESQ    117857 11/30/2017 BESQ   commission withdrawal                         USD             -         (500.00)         -          -



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        SKYFALL     3 ESQ    ESQ     117857 11/30/2017 BESQ   commission withdrawal              USD          -       500.00          -         -
        SKYFALL     3 ESQ    ESQ     117863 11/30/2017 CANI   commission withdrawal              CAD          -          -        (200.00)      -
        SKYFALL     3 ESQ    ESQ     117863 11/30/2017 CANI   commission withdrawal              CAD          -          -         200.00       -
                                                                                                                                                         Case: 24-1770




        SKYFALL     3 ESQ    ESQ     117877 11/30/2017 PESP   commission withdrawal              USD          -      (300.00)         -         -
        SKYFALL     3 ESQ    ESQ     117877 11/30/2017 PESP   commission withdrawal              USD          -       300.00          -         -
        SKYFALL     3 ESQ    ESQ     117878 11/30/2017 PESP   commission withdrawal              CAD          -          -        (300.00)      -
        SKYFALL     3 ESQ    ESQ     117878 11/30/2017 PESP   commission withdrawal              CAD          -          -         300.00       -
        SKYFALL     3 ESQ    ESQ     117883 11/30/2017 REST   commission withdrawal              USD          -    (3,450.00)         -         -
        SKYFALL     3 ESQ    ESQ     117883 11/30/2017 REST   commission withdrawal              USD          -     3,450.00          -         -
        SKYFALL     3 ESQ    ESQ     117884 11/30/2017 REST   commission withdrawal              CAD          -          -      (1,500.00)      -
        SKYFALL     3 ESQ    ESQ     117884 11/30/2017 REST   commission withdrawal              CAD          -          -       1,500.00       -
        SKYFALL     3 ESQ    ESQ     117887 11/30/2017 WIHI   commission withdrawal              USD          -      (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     117887 11/30/2017 WIHI   commission withdrawal              USD          -       100.00          -         -
        SKYFALL     3 ESQ    ESQ     117888 11/30/2017 WIHI   commission withdrawal              CAD          -          -        (100.00)      -
        SKYFALL     3 ESQ    ESQ     117888 11/30/2017 WIHI   commission withdrawal              CAD          -          -         100.00       -
        SKYFALL     3 ESQ    ESQ     117897 11/30/2017 WILA   commission withdrawal              USD          -      (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     117897 11/30/2017 WILA   commission withdrawal              USD          -       100.00          -         -
        SKYFALL     3 ESQ    ESQ     117906 11/30/2017 WIRI   commission withdrawal              CAD          -          -        (100.00)      -
                                                                                                                                                         Document: 00118249068




        SKYFALL     3 ESQ    ESQ     117906 11/30/2017 WIRI   commission withdrawal              CAD          -          -         100.00       -
        SKYFALL     3 ESQ    ESQ     117917 11/30/2017 WISA   commission withdrawal              USD          -      (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     117917 11/30/2017 WISA   commission withdrawal              USD          -       100.00          -         -
        SKYFALL     3 ESQ    ESQ     117918 11/30/2017 WISA   commission withdrawal              CAD          -          -        (100.00)      -
        SKYFALL     3 ESQ    ESQ     117918 11/30/2017 WISA   commission withdrawal              CAD          -          -         100.00       -
        SKYFALL     3 ESQ    ESQ     117933 11/30/2017 WIVA   commission withdrawal              USD          -      (100.00)         -         -
        SKYFALL     3 ESQ    ESQ     117933 11/30/2017 WIVA   commission withdrawal              USD          -       100.00          -         -




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        SKYFALL     3 ESQ    ESQ     117934 11/30/2017 WIVA   commission withdrawal              CAD          -          -        (200.00)      -
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        SKYFALL     3 ESQ    ESQ     117934 11/30/2017 WIVA   commission withdrawal              CAD          -          -         200.00       -
        SKYFALL     3 ESQ    ESQ     117945 11/30/2017 TENT   commission withdrawal              CAD          -          -        (200.00)      -
        SKYFALL     3 ESQ    ESQ     117945 11/30/2017 TENT   commission withdrawal              CAD          -          -         200.00       -
        SKYFALL   219 ESQ1   ESQ1    118020 11/30/2017 WORK   interest payment                   CAD          -          -         496.93       -
        SKYFALL     3 ESQ    ESQ     117415 12/1/2017 WILA    receive stock via DWAC             USD                  100.00          -         -
        SKYFALL     3 ESQ    ESQ     117708 12/1/2017 WIHI    receive stock via cert             CAD                     -         100.00       -
        SKYFALL     3 ESQ    ESQ     117707 12/1/2017 WIVA    receive stock via cert             CAD                     -         100.00       -
        SKYFALL     3 ESQ    ESQ     116677 12/1/2017 TENT    receive stock via DWAC             USD                  100.00          -         -
        SKYFALL     3 ESQ    ESQ     116886 12/1/2017 TENT    receive stock via DWAC             USD                  100.00          -         -
        SKYFALL     3 ESQ    ESQ     118078 12/5/2017 BESQ    TSX Financial                      CAD                     -          50.00       -
        SKYFALL     3 ESQ    ESQ     118077 12/5/2017 REST    directors fee                      USD                  300.00          -         -
        SKYFALL     3 ESQ    ESQ     117808 12/6/2017 WIVA    receive stock via DWAC             USD                  100.00          -         -
        SKYFALL     3 ESQ    ESQ     118103 12/6/2017 REST    directors fee                      USD                  700.00          -         -
        SKYFALL     3 ESQ    ESQ     118181 12/8/2017 REST    deliver stock                      CAD                     -         200.00       -
                                                                                                                                                         Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ     118183 12/8/2017 REST    deliver stock                      CAD                     -         200.00       -
        SKYFALL     3 ESQ    ESQ     118178 12/12/2017 REST   directors fee                      USD                  400.00          -         -
        SKYFALL     3 ESQ    ESQ     118184 12/12/2017 CANI   receive stock                      CAD                     -         100.00       -
        SKYFALL     3 ESQ    ESQ     118186 12/12/2017 BESQ   Action Stock Transfer              USD                   50.00          -         -
        SKYFALL     3 ESQ    ESQ     118187 12/12/2017 BESQ   Action Stock Transfer              USD                   50.00          -         -
        SKYFALL     3 ESQ    ESQ     118208 12/13/2017 REST   deliver stock                      CAD                     -         200.00       -
        SKYFALL     3 ESQ    ESQ     118287 12/13/2017 TENT   rejected by tendall                USD                  100.00          -         -



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        SKYFALL     3 ESQ    ESQ     118286 12/13/2017 TENT   rejected by tendall                     USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ     118182 12/15/2017 WISA   receive stock via certificate           CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ     118288 12/15/2017 REST   receive stock                           USD                       100.00           -         -
                                                                                                                                                                    Case: 24-1770




        SKYFALL     3 ESQ    ESQ     118289 12/15/2017 REST   receive stock                           USD                       100.00           -         -
        SKYFALL   219 ESQ1   ESQ1    118251 12/16/2017 WORK   Merry Xmas!                             CAD             -            -       80,000.00       -
        SKYFALL     3 ESQ    ESQ     118291 12/19/2017 BESQ   Island Stock Transfer                   USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ     118283 12/19/2017 REST   deliver stock                           USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ     118284 12/19/2017 BESQ   Action Stock Transfer                   USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ     118290 12/19/2017 REST   deliver stock                           USD                       500.00           -         -
        SKYFALL     3 ESQ    ESQ     118293 12/19/2017 REST   deliver stock                           USD                       400.00           -         -
        SKYFALL     3 ESQ    ESQ     118294 12/19/2017 BESQ   Action Stock Transfer                   USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ     118304 12/19/2017 REST   directors fee                           CAD                          -          400.00       -
        SKYFALL   219 ESQ1   ESQ1    118339 12/22/2017 WORK   internal transfer                       CAD             -            -      (61,000.00)      -
        SKYFALL     3 ESQ    ESQ     118335 12/22/2017 CASH   debit                                   CAD      (50,000.00)         -      (50,000.00)      -
        SKYFALL     3 ESQ    ESQ     118432 12/26/2017 WIRI   receive stock via DWAC                  USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ     118533 12/31/2017 BESQ   commission withdrawal                   USD             -        (250.00)          -         -
        SKYFALL     3 ESQ    ESQ     118533 12/31/2017 BESQ   commission withdrawal                   USD             -         250.00           -         -
        SKYFALL     3 ESQ    ESQ     118534 12/31/2017 BESQ   commission withdrawal                   CAD             -            -          (50.00)      -
                                                                                                                                                                    Document: 00118249068




        SKYFALL     3 ESQ    ESQ     118534 12/31/2017 BESQ   commission withdrawal                   CAD             -            -           50.00       -
        SKYFALL     3 ESQ    ESQ     118541 12/31/2017 CANI   commission withdrawal                   CAD             -            -         (200.00)      -
        SKYFALL     3 ESQ    ESQ     118541 12/31/2017 CANI   commission withdrawal                   CAD             -            -          200.00       -
        SKYFALL     3 ESQ    ESQ     118554 12/31/2017 PESP   commission charge                       CAD             -            -         (200.00)      -
        SKYFALL     3 ESQ    ESQ     118554 12/31/2017 PESP   commission charge                       CAD             -            -          200.00       -
        SKYFALL     3 ESQ    ESQ     118556 12/31/2017 REST   commission withdrawal                   USD             -      (2,800.00)          -         -
        SKYFALL     3 ESQ    ESQ     118556 12/31/2017 REST   commission withdrawal                   USD             -       2,800.00           -         -




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        SKYFALL     3 ESQ    ESQ     118557 12/31/2017 REST   commission withdrawal                   CAD             -            -       (1,100.00)      -
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        SKYFALL     3 ESQ    ESQ     118557 12/31/2017 REST   commission withdrawal                   CAD             -            -        1,100.00       -
        SKYFALL     3 ESQ    ESQ     118560 12/31/2017 WIHI   commission withdrawal                   USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ     118560 12/31/2017 WIHI   commission withdrawal                   USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ     118561 12/31/2017 WIHI   commission withdrawal                   CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ     118561 12/31/2017 WIHI   commission withdrawal                   CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ     118574 12/31/2017 WIRI   commission withdrawal                   USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ     118574 12/31/2017 WIRI   commission withdrawal                   USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ     118584 12/31/2017 WISA   commission withdrawal                   CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ     118584 12/31/2017 WISA   commission withdrawal                   CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ     118596 12/31/2017 WIVA   commission withdrawal                   USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ     118596 12/31/2017 WIVA   commission withdrawal                   USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ     118605 12/31/2017 TENT   commission withdrawal                   USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ     118605 12/31/2017 TENT   commission withdrawal                   USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ     118637 12/31/2017 WORK   forex                                   USD             -      (5,252.85)          -         -
                                                                                                                                                                    Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ     118637 12/31/2017 WORK   forex                                   CAD             -            -        6,461.00       -
        SKYFALL     3 ESQ    ESQ     120112 12/31/2017 WILA   write off stock                         CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ     120113 12/31/2017 WIVA   write off stock                         CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ     120114 12/31/2017 REST   write off stock                         CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ     120135 12/31/2017 WILA   write off stock                         USD                          -             -         -
        SKYFALL     3 ESQ    ESQ     120125 12/31/2017 REST   write off stock                         USD                          -             -         -
        SKYFALL     3 ESQ    ESQ     120111 12/31/2017 REST   write off stock                         USD                          -             -         -



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        SKYFALL     3 ESQ    ESQ     120108 12/31/2017 REST   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120184 12/31/2017 WIHI   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120185 12/31/2017 WISA   write off stock                            USD                    -          -         -
                                                                                                                                                              Case: 24-1770




        SKYFALL     3 ESQ    ESQ     120186 12/31/2017 WIRI   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120187 12/31/2017 BEAT   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120188 12/31/2017 TENT   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120189 12/31/2017 PESC   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120190 12/31/2017 BEAG   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120191 12/31/2017 PESP   write off stock                            USD                    -          -         -
        SKYFALL     3 ESQ    ESQ     120192 12/31/2017 WILA   write off stock                            USD                    -          -         -
        SKYFALL   219 ESQ1   ESQ1    118360 12/31/2017 WORK   interest payment                           CAD          -         -       515.71       -
        SKYFALL     3 ESQ    ESQ     118292   1/1/2018 WIRI   receive stock via DWAC                     USD                 100.00        -         -
        SKYFALL     3 ESQ    ESQ     118832   1/1/2018 REST   sub agreement                              CAD                    -     1,000.00       -
        SKYFALL     3 ESQ    ESQ     118758   1/2/2018 REST   receive stock                              CAD                    -       100.00       -
        SKYFALL     3 ESQ    ESQ     118434   1/8/2018 BESQ   Action Stock Transfer                      USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118746   1/8/2018 REST   receive stock                              USD                 100.00        -         -
        SKYFALL     3 ESQ    ESQ     118681 1/11/2018 REST    3 x sub agreements                         CAD                    -     3,000.00       -
        SKYFALL     3 ESQ    ESQ     118682 1/11/2018 REST    directors fee                              USD                 200.00        -         -
                                                                                                                                                              Document: 00118249068




        SKYFALL     3 ESQ    ESQ     118706 1/12/2018 CANI    receive stock                              CAD                    -       100.00       -
        SKYFALL     3 ESQ    ESQ     118752 1/15/2018 REST    Directors fees                             USD               4,500.00        -         -
        SKYFALL     3 ESQ    ESQ     119150 1/15/2018 REST    certificates cancelled by issuer           CAD                    -       100.00       -
        SKYFALL     3 ESQ    ESQ     118718 1/16/2018 REST    directors fee                              USD                 500.00        -         -
        SKYFALL     3 ESQ    ESQ     118717 1/16/2018 REST    directors fee                              CAD                    -     1,000.00       -
        SKYFALL     3 ESQ    ESQ     118209 1/17/2018 CANI    receive stock via DRS                      CAD                    -       100.00       -
        SKYFALL     3 ESQ    ESQ     118743 1/18/2018 REST    deliver stock                              USD                 500.00        -         -




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        SKYFALL     3 ESQ    ESQ     118742 1/18/2018 REST    receive stock                              USD                 100.00        -         -
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        SKYFALL     3 ESQ    ESQ     118744 1/18/2018 BESQ    Action Stock Transfer                      USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118747 1/18/2018 REST    directors fee                              USD                 300.00        -         -
        SKYFALL     3 ESQ    ESQ     118755 1/19/2018 REST    deliver stock                              USD               1,000.00        -         -
        SKYFALL     3 ESQ    ESQ     118756 1/19/2018 BESQ    Island Stock Transfer                      USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118759 1/19/2018 BESQ    TSX Trust Company                          CAD                    -        50.00       -
        SKYFALL     3 ESQ    ESQ     118771 1/20/2018 WIHI    deliver stock to #1119                     USD                 100.00        -         -
        SKYFALL     3 ESQ    ESQ     118772 1/20/2018 WILA    deliver stock to #1119                     USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118822 1/22/2018 REST    receive stock                              USD                 100.00        -         -
        SKYFALL     3 ESQ    ESQ     118788 1/23/2018 REST    directors fee                              CAD                    -       100.00       -
        SKYFALL     3 ESQ    ESQ     118789 1/23/2018 REST    directors fee                              USD                 100.00        -         -
        SKYFALL     3 ESQ    ESQ     118790 1/23/2018 REST    deliver stock                              USD                 500.00        -         -
        SKYFALL     3 ESQ    ESQ     118791 1/23/2018 BESQ    Action Stock Transfer                      USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118793 1/23/2018 REST    sub agreement                              USD               1,000.00        -         -
        SKYFALL     3 ESQ    ESQ     118804 1/24/2018 BESQ    Booth Udall Fuller                         USD                  50.00        -         -
                                                                                                                                                              Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ     118808 1/24/2018 BESQ    Action Stock Transfer                      USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118809 1/24/2018 REST    deliver stock                              USD                 500.00        -         -
        SKYFALL     3 ESQ    ESQ     118745 1/25/2018 WILA    receive stock via DWAC                     USD                 100.00        -         -
        SKYFALL     3 ESQ    ESQ     118821 1/25/2018 REST    sub agreement x 2                          USD               2,000.00        -         -
        SKYFALL     3 ESQ    ESQ     118824 1/25/2018 BESQ    Action Stock Transfer                      USD                  50.00        -         -
        SKYFALL     3 ESQ    ESQ     118823 1/25/2018 REST    deliver stock                              USD                 500.00        -         -
        SKYFALL     3 ESQ    ESQ     118831 1/25/2018 REST    receive stock                              CAD                    -       100.00       -



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        SKYFALL     3 ESQ    ESQ      118812   1/25/2018 REST   deliver stock                         USD                   500.00          -          -
        SKYFALL     3 ESQ    ESQ      118813   1/25/2018 BESQ   Action Stock Transfer                 USD                    50.00          -          -
        SKYFALL     3 ESQ    ESQ      118757   1/26/2018 WILA   receive stock via DWAC                USD                   100.00          -          -
                                                                                                                                                                Case: 24-1770




        SKYFALL     3 ESQ    ESQ      118833   1/26/2018 REST   deliver stock                         CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      118834   1/26/2018 REST   deliver stock                         USD                   500.00          -          -
        SKYFALL     3 ESQ    ESQ      118835   1/26/2018 BESQ   Action Stock Transfer                 USD                    50.00          -          -
        SKYFALL     3 ESQ    ESQ      118825   1/30/2018 WISA   receive stock via DWAC                USD                   100.00          -          -
        SKYFALL   219 ESQ1   ESQ1     119001   1/30/2018 WORK   interest payment                      CAD          -           -         497.35        -
        SKYFALL     3 ESQ    ESQ      118897   1/31/2018 BESQ   commission withdrawal                 USD          -       (450.00)         -          -
        SKYFALL     3 ESQ    ESQ      118897   1/31/2018 BESQ   commission withdrawal                 USD          -        450.00          -          -
        SKYFALL     3 ESQ    ESQ      118898   1/31/2018 BESQ   commission withdrawal                 CAD          -           -         (50.00)       -
        SKYFALL     3 ESQ    ESQ      118898   1/31/2018 BESQ   commission withdrawal                 CAD          -           -          50.00        -
        SKYFALL     3 ESQ    ESQ      118905   1/31/2018 CANI   commission withdrawal                 CAD          -           -        (100.00)       -
        SKYFALL     3 ESQ    ESQ      118905   1/31/2018 CANI   commission withdrawal                 CAD          -           -         100.00        -
        SKYFALL     3 ESQ    ESQ      118911   1/31/2018 PESC   commission withdrawal                 USD          -       (100.00)         -          -
        SKYFALL     3 ESQ    ESQ      118911   1/31/2018 PESC   commission withdrawal                 USD          -        100.00          -          -
        SKYFALL     3 ESQ    ESQ      118914   1/31/2018 REST   commission withdrawal                 USD          -    (12,900.00)         -          -
        SKYFALL     3 ESQ    ESQ      118914   1/31/2018 REST   commission withdrawal                 USD          -     12,900.00          -          -
                                                                                                                                                                Document: 00118249068




        SKYFALL     3 ESQ    ESQ      118915   1/31/2018 REST   commission withdrawal                 CAD          -           -      (5,400.00)       -
        SKYFALL     3 ESQ    ESQ      118915   1/31/2018 REST   commission withdrawal                 CAD          -           -       5,400.00        -
        SKYFALL     3 ESQ    ESQ      118918   1/31/2018 WIHI   commission withdrawal                 USD          -       (100.00)         -          -
        SKYFALL     3 ESQ    ESQ      118918   1/31/2018 WIHI   commission withdrawal                 USD          -        100.00          -          -
        SKYFALL     3 ESQ    ESQ      118927   1/31/2018 WILA   commission withdrawal                 USD          -       (250.00)         -          -
        SKYFALL     3 ESQ    ESQ      118927   1/31/2018 WILA   commission withdrawal                 USD          -        250.00          -          -
        SKYFALL     3 ESQ    ESQ      118945   1/31/2018 WISA   commission withdrawal                 USD          -       (100.00)         -          -




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        SKYFALL     3 ESQ    ESQ      118945   1/31/2018 WISA   commission withdrawal                 USD          -        100.00          -          -
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        SKYFALL     3 ESQ    ESQ      118957   1/31/2018 WIVA   commission withdrawal                 USD          -       (100.00)         -          -
        SKYFALL     3 ESQ    ESQ      118957   1/31/2018 WIVA   commission withdrawal                 USD          -        100.00          -          -
        SKYFALL     3 ESQ    ESQ      118992   1/31/2018 WORK   forex                                 USD          -    (14,000.00)         -          -
        SKYFALL     3 ESQ    ESQ      118992   1/31/2018 WORK   forex                                 CAD          -           -      17,080.00        -
        SKYFALL     3 ESQ    ESQ      118810   1/31/2018 PESC   receive stock via DWAC                USD                   100.00          -          -
        SKYFALL     3 ESQ    ESQ      119200    2/1/2018 REST   deliver stock                         CAD                      -         300.00        -
        SKYFALL     3 ESQ    ESQ      118836    2/2/2018 WIHI   receive stock via DWAC                USD                   100.00          -          -
        SKYFALL     3 ESQ    ESQ      119110    2/7/2018 CANI   receive stock                         CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      119111    2/7/2018 BESQ   Action Stock Transfer                 USD                    50.00          -          -
        SKYFALL     3 ESQ    ESQ      119120    2/8/2018 CANI   receive stock                         CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      119294    2/9/2018 LEEN   receive stock                         CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      119585    2/9/2018 LEEN   receive stock                         CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      119586    2/9/2018 LEEN   receive warrants 310120@75c           CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      119151   2/13/2018 REST   receive stock                         CAD                      -         100.00        -
                                                                                                                                                                Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      119152   2/13/2018 REST   directors fee                         USD                   200.00          -          -
        SKYFALL     3 ESQ    ESQ      119199   2/15/2018 REST   directors fee                         USD                   300.00          -          -
        SKYFALL     3 ESQ    ESQ      119201   2/16/2018 CANI   receive stock via DRS                 CAD                      -         100.00        -
        SKYFALL     3 ESQ    ESQ      119229   2/19/2018 REST   directors fee                         USD                   300.00          -          -
        SKYFALL     3 ESQ    ESQ      119239   2/20/2018 REST   deliver stock per Fire                USD                   100.00          -          -
        SKYFALL     3 ESQ    ESQ      119240   2/20/2018 BESQ   Action Stock Transfer                 USD                    50.00          -          -
        SKYFALL     3 ESQ    ESQ      119241   2/20/2018 BESQ   Action Stock Transfer                 USD                    50.00          -          -



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        SKYFALL     3 ESQ    ESQ      119238   2/20/2018 REST   directors fee                                USD                  500.00         -          -
        SKYFALL     3 ESQ    ESQ      119252   2/21/2018 REST   directors fee + fedex 771533957012           USD                  150.00         -          -
        SKYFALL     3 ESQ    ESQ      119253   2/21/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -
                                                                                                                                                                     Case: 24-1770




        SKYFALL     3 ESQ    ESQ      118185   2/22/2018 WIHI   receive stock via certificate                CAD                     -        100.00        -
        SKYFALL     3 ESQ    ESQ      119281   2/22/2018 REST   directors fee                                USD                  300.00         -          -
        SKYFALL     3 ESQ    ESQ      119289   2/23/2018 REST   deliver stock                                USD                  400.00         -          -
        SKYFALL     3 ESQ    ESQ      119290   2/23/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -
        SKYFALL     3 ESQ    ESQ      119224   2/26/2018 PESC   revese DWAC to TA                            USD                  100.00         -          -
        SKYFALL   219 ESQ1   ESQ1     119491   2/27/2018 WORK   interest payment                             CAD          -          -        464.57        -
        SKYFALL     3 ESQ    ESQ      119382   2/28/2018 BESQ   commission withdrawal                        USD          -      (450.00)        -          -
        SKYFALL     3 ESQ    ESQ      119382   2/28/2018 BESQ   commission withdrawal                        USD          -       450.00         -          -
        SKYFALL     3 ESQ    ESQ      119388   2/28/2018 CANI   commission withdrawal                        CAD          -          -       (400.00)       -
        SKYFALL     3 ESQ    ESQ      119388   2/28/2018 CANI   commission withdrawal                        CAD          -          -        400.00        -
        SKYFALL     3 ESQ    ESQ      119393   2/28/2018 LEEN   commission withdrawal                        CAD          -          -       (100.00)       -
        SKYFALL     3 ESQ    ESQ      119393   2/28/2018 LEEN   commission withdrawal                        CAD          -          -        100.00        -
        SKYFALL     3 ESQ    ESQ      119402   2/28/2018 PESC   commission withdrawal                        USD          -      (100.00)        -          -
        SKYFALL     3 ESQ    ESQ      119402   2/28/2018 PESC   commission withdrawal                        USD          -       100.00         -          -
        SKYFALL     3 ESQ    ESQ      119405   2/28/2018 REST   commission withdrawal                        USD          -    (2,250.00)        -          -
                                                                                                                                                                     Document: 00118249068




        SKYFALL     3 ESQ    ESQ      119405   2/28/2018 REST   commission withdrawal                        USD          -     2,250.00         -          -
        SKYFALL     3 ESQ    ESQ      119406   2/28/2018 REST   commission withdrawal                        CAD          -          -       (500.00)       -
        SKYFALL     3 ESQ    ESQ      119406   2/28/2018 REST   commission withdrawal                        CAD          -          -        500.00        -
        SKYFALL     3 ESQ    ESQ      119409   2/28/2018 WIHI   commission withdrawal                        USD          -      (100.00)        -          -
        SKYFALL     3 ESQ    ESQ      119409   2/28/2018 WIHI   commission withdrawal                        USD          -       100.00         -          -
        SKYFALL     3 ESQ    ESQ      119417   2/28/2018 WILA   commission withdrawal                        USD          -      (100.00)        -          -
        SKYFALL     3 ESQ    ESQ      119417   2/28/2018 WILA   commission withdrawal                        USD          -       100.00         -          -




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        SKYFALL     3 ESQ    ESQ      119423   2/28/2018 WIRI   commission withdrawal                        USD          -      (100.00)        -          -
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        SKYFALL     3 ESQ    ESQ      119423   2/28/2018 WIRI   commission withdrawal                        USD          -       100.00         -          -
        SKYFALL     3 ESQ    ESQ      119434   2/28/2018 WISA   commission withdrawal                        CAD          -          -       (100.00)       -
        SKYFALL     3 ESQ    ESQ      119434   2/28/2018 WISA   commission withdrawal                        CAD          -          -        100.00        -
        SKYFALL     3 ESQ    ESQ      119475   2/28/2018 WORK   forex                                        USD          -    (3,100.00)        -          -
        SKYFALL     3 ESQ    ESQ      119475   2/28/2018 WORK   forex                                        CAD          -          -      3,906.00        -
        SKYFALL     3 ESQ    ESQ      119291    3/2/2018 TENT   receive stock via DWAC                       USD                  100.00         -          -
        SKYFALL     3 ESQ    ESQ      117674    3/5/2018 WISA   receive stock via DWAC                       USD                  100.00         -          -
        SKYFALL     3 ESQ    ESQ      119587    3/6/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -
        SKYFALL     3 ESQ    ESQ      119595    3/7/2018 REST   deliver stock                                USD                  300.00         -          -
        SKYFALL     3 ESQ    ESQ      119596    3/7/2018 REST   directors fee                                USD                  200.00         -          -
        SKYFALL     3 ESQ    ESQ      119604    3/8/2018 REST   directors fee                                USD                  600.00         -          -
        SKYFALL     3 ESQ    ESQ      119613    3/9/2018 REST   receive stock                                CAD                     -        100.00        -
        SKYFALL     3 ESQ    ESQ      119614    3/9/2018 REST   receive stock                                CAD                     -        100.00        -
        SKYFALL     3 ESQ    ESQ      119628   3/12/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -
                                                                                                                                                                     Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      119627   3/12/2018 REST   directors fee + fedex 780003659390           USD                  450.00         -          -
        SKYFALL     3 ESQ    ESQ      119650   3/13/2018 REST   deliver stock                                USD                  400.00         -          -
        SKYFALL     3 ESQ    ESQ      119651   3/13/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -
        SKYFALL     3 ESQ    ESQ      119676   3/14/2018 REST   deliver stock                                USD                  400.00         -          -
        SKYFALL     3 ESQ    ESQ      119677   3/14/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -
        SKYFALL     3 ESQ    ESQ      119681   3/14/2018 REST   directors fee + fedex 780069046961           USD                  450.00         -          -
        SKYFALL     3 ESQ    ESQ      119682   3/14/2018 BESQ   Action Stock Transfer                        USD                   50.00         -          -



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        SKYFALL     3 ESQ    ESQ      119685   3/14/2018 REST   directors fee                                 CAD                          -          500.00       -
        SKYFALL     3 ESQ    ESQ      119703   3/15/2018 REST   deliver stock                                 CAD                          -          200.00       -
        SKYFALL     3 ESQ    ESQ      119706   3/15/2018 REST   directors fee                                 USD                       300.00           -         -
                                                                                                                                                                            Case: 24-1770




        SKYFALL     3 ESQ    ESQ      119708   3/16/2018 REST   deliver stock                                 USD                       700.00           -         -
        SKYFALL     3 ESQ    ESQ      119709   3/16/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119690   3/16/2018 REST   directors fee + fedex#780102117478            USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119675   3/16/2018 CASH   debit                                         CAD      (10,000.00)         -      (10,000.00)      -
        SKYFALL     3 ESQ    ESQ      119691   3/16/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119704   3/16/2018 CANI   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      119732   3/19/2018 LEEN   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      119729   3/19/2018 CANI   receive stock                                 CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      119692   3/20/2018 REST   directors fee + fedex#780102127284            USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119693   3/20/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119652   3/20/2018 WIVA   receive stock via DWAC                        USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      119694   3/22/2018 REST   directors fee + fedex#780102132787            USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119696   3/22/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119695   3/23/2018 REST   directors fee + fedex#780102138410            USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119697   3/23/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
                                                                                                                                                                            Document: 00118249068




        SKYFALL     3 ESQ    ESQ      119786   3/26/2018 REST   directors fee + fedex #771851281909           USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119788   3/26/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119783   3/27/2018 REST   directors fee                                 USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      119785   3/27/2018 REST   directors fee                                 USD                       200.00           -         -
        SKYFALL     3 ESQ    ESQ      119787   3/27/2018 REST   directors fee + fedex #771851267721           USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119789   3/27/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119794   3/28/2018 CANI   receive stock                                 CAD                          -          100.00       -




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        SKYFALL     3 ESQ    ESQ      119801   3/28/2018 REST   directors fee + fedex #771858280274           USD                       450.00           -         -
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        SKYFALL     3 ESQ    ESQ      119802   3/28/2018 REST   directors fee + fedex #771858445624           USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119803   3/28/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119804   3/28/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119814   3/29/2018 REST   directors fee + fedex #771875757537           USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119815   3/29/2018 REST   directors fee + fedex #771875692845           USD                       450.00           -         -
        SKYFALL     3 ESQ    ESQ      119816   3/29/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      119817   3/29/2018 BESQ   Action Stock Transfer                         USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      120107   3/30/2018 BEAT   write off stock                               USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      120109   3/30/2018 BEAT   write off stock                               USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      120110   3/30/2018 WILA   write off stock                               USD                          -             -         -
        SKYFALL   219 ESQ1   ESQ1     119974   3/30/2018 WORK   interest payment                              CAD             -            -          498.14       -
        SKYFALL     3 ESQ    ESQ      119832   3/31/2018 BESQ   commission withdrawal                         USD             -        (800.00)          -         -
        SKYFALL     3 ESQ    ESQ      119832   3/31/2018 BESQ   commission withdrawal                         USD             -         800.00           -         -
        SKYFALL     3 ESQ    ESQ      119838   3/31/2018 CANI   commission withdrawal                         CAD             -            -         (300.00)      -
                                                                                                                                                                            Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      119838   3/31/2018 CANI   commission withdrawal                         CAD             -            -          300.00       -
        SKYFALL     3 ESQ    ESQ      119843   3/31/2018 LEEN   commission withdrawal                         CAD             -            -         (300.00)      -
        SKYFALL     3 ESQ    ESQ      119843   3/31/2018 LEEN   commission withdrawal                         CAD             -            -          300.00       -
        SKYFALL     3 ESQ    ESQ      119852   3/31/2018 REST   commission withdrawal                         USD             -      (8,800.00)          -         -
        SKYFALL     3 ESQ    ESQ      119852   3/31/2018 REST   commission withdrawal                         USD             -       8,800.00           -         -
        SKYFALL     3 ESQ    ESQ      119853   3/31/2018 REST   commission withdrawal                         CAD             -            -         (900.00)      -
        SKYFALL     3 ESQ    ESQ      119853   3/31/2018 REST   commission withdrawal                         CAD             -            -          900.00       -



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        SKYFALL   3 ESQ   ESQ     119856   3/31/2018 WIHI   commission withdrawal                         USD             -         (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     119856   3/31/2018 WIHI   commission withdrawal                         USD             -          100.00           -         -
        SKYFALL   3 ESQ   ESQ     119864   3/31/2018 WILA   commission withdrawal                         USD             -         (100.00)          -         -
                                                                                                                                                                         Case: 24-1770




        SKYFALL   3 ESQ   ESQ     119864   3/31/2018 WILA   commission withdrawal                         USD             -          100.00           -         -
        SKYFALL   3 ESQ   ESQ     119886   3/31/2018 WIVA   commission withdrawal                         USD             -         (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     119886   3/31/2018 WIVA   commission withdrawal                         USD             -          100.00           -         -
        SKYFALL   3 ESQ   ESQ     119895   3/31/2018 TENT   commission withdrawal                         USD             -         (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     119895   3/31/2018 TENT   commission withdrawal                         USD             -          100.00           -         -
        SKYFALL   3 ESQ   ESQ     119913   3/31/2018 WORK   forex                                         USD             -      (10,000.00)          -         -
        SKYFALL   3 ESQ   ESQ     119913   3/31/2018 WORK   forex                                         CAD             -             -       12,800.00       -
        SKYFALL   3 ESQ   ESQ     120049    4/2/2018 REST   receive stock (returned)                      CAD                           -          100.00       -
        SKYFALL   3 ESQ   ESQ     120051    4/2/2018 REST   receive stock                                 CAD                           -          100.00       -
        SKYFALL   3 ESQ   ESQ     120037    4/3/2018 CANI   receive stock                                 CAD                           -          100.00       -
        SKYFALL   3 ESQ   ESQ     120056    4/3/2018 REST   directors fee                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     120057    4/3/2018 REST   directors fee + fedex #771904585895           USD                        450.00           -         -
        SKYFALL   3 ESQ   ESQ     120058    4/3/2018 REST   directors fee + fedex #771904649488           USD                        450.00           -         -
        SKYFALL   3 ESQ   ESQ     120059    4/3/2018 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     120060    4/3/2018 BESQ   Action Stock Transfer                         USD                         50.00           -         -
                                                                                                                                                                         Document: 00118249068




        SKYFALL   3 ESQ   ESQ     120096    4/9/2018 REST   deliver stock                                 USD                        200.00           -         -
        SKYFALL   3 ESQ   ESQ     120095    4/9/2018 REST   directors fee                                 USD                        600.00           -         -
        SKYFALL   3 ESQ   ESQ     120097    4/9/2018 BESQ   Action Stock Transfer                         USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     120139   4/13/2018 REST   deliver stock                                 CAD                           -          300.00       -
        SKYFALL   3 ESQ   ESQ     120143   4/13/2018 REST   deliver stock                                 CAD                           -          300.00       -
        SKYFALL   3 ESQ   ESQ     120145   4/13/2018 REST   receive stock                                 CAD                           -          100.00       -
        SKYFALL   3 ESQ   ESQ     120146   4/13/2018 CASH   debit                                         CAD      (10,000.00)          -      (10,000.00)      -




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        SKYFALL   3 ESQ   ESQ     120210   4/24/2018 BESQ   Action Stock Transfer                         USD                         50.00           -         -
                                                                                                                                                                         Page: 342




        SKYFALL   3 ESQ   ESQ     120211   4/24/2018 REST   directors fee                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     120223   4/25/2018 BESQ   Gestim Mines Quebec                           USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     120224   4/25/2018 BESQ   Gestim Mines Quebec                           USD                         50.00           -         -
        SKYFALL   3 ESQ   ESQ     120356   4/26/2018 REST   receive stock                                 USD                        100.00           -         -
        SKYFALL   3 ESQ   ESQ     120234   4/26/2018 REST   directors fees                                USD                        200.00           -         -
        SKYFALL   3 ESQ   ESQ     120235   4/26/2018 REST   directors fee                                 USD                        200.00           -         -
        SKYFALL   3 ESQ   ESQ     120273   4/30/2018 BESQ   commission withdrawal                         USD             -         (350.00)          -         -
        SKYFALL   3 ESQ   ESQ     120273   4/30/2018 BESQ   commission withdrawal                         USD             -          350.00           -         -
        SKYFALL   3 ESQ   ESQ     120293   4/30/2018 PESP   commission withdrawal                         USD             -         (100.00)          -         -
        SKYFALL   3 ESQ   ESQ     120293   4/30/2018 PESP   commission withdrawal                         USD             -          100.00           -         -
        SKYFALL   3 ESQ   ESQ     120296   4/30/2018 REST   commission withdrawal                         USD             -       (2,600.00)          -         -
        SKYFALL   3 ESQ   ESQ     120296   4/30/2018 REST   commission withdrawal                         USD             -        2,600.00           -         -
        SKYFALL   3 ESQ   ESQ     120297   4/30/2018 REST   commission withdrawal                         CAD             -             -         (900.00)      -
        SKYFALL   3 ESQ   ESQ     120297   4/30/2018 REST   commission withdrawal                         CAD             -             -          900.00       -
                                                                                                                                                                         Date Filed: 02/18/2025




        SKYFALL   3 ESQ   ESQ     120337   4/30/2018 WISA   commission withdrawal                         CAD             -             -         (100.00)      -
        SKYFALL   3 ESQ   ESQ     120337   4/30/2018 WISA   commission withdrawal                         CAD             -             -          100.00       -
        SKYFALL   3 ESQ   ESQ     120354   4/30/2018 WORK   forex                                         USD             -       (3,050.00)          -         -
        SKYFALL   3 ESQ   ESQ     120354   4/30/2018 WORK   forex                                         CAD             -             -        3,873.50       -
        SKYFALL   3 ESQ   ESQ     120270   4/30/2018 REST   directors fee                                 USD                        400.00           -         -
        SKYFALL   3 ESQ   ESQ     120359   4/30/2018 REST   deliver stock                                 USD                        300.00           -         -
        SKYFALL   3 ESQ   ESQ     120360   4/30/2018 BESQ   Signature Stock Transfer                      USD                         50.00           -         -



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        SKYFALL   219 ESQ1   ESQ1     120375   4/30/2018 WORK   interest payment                  CAD             -            -          515.16       -
        SKYFALL     3 ESQ    ESQ      120140    5/1/2018 WISA   receive stock via DRS             CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      120144    5/1/2018 WISA   receive stock via DRS             CAD                          -          100.00       -
                                                                                                                                                                Case: 24-1770




        SKYFALL     3 ESQ    ESQ      118792    5/1/2018 WIVA   receive stock via DWAC            USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120406    5/1/2018 LEEN   receive stock                     CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      119784    5/1/2018 WIHI   receive stock via DWAC            USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120453    5/3/2018 WIHI   receive stock via DWAC            USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120454    5/3/2018 BESQ   Action Stock Transfer             USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      120455    5/3/2018 BESQ   Action Stock Transfer             USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      120456    5/3/2018 REST   directors fee                     USD                       400.00           -         -
        SKYFALL     3 ESQ    ESQ      120457    5/3/2018 REST   directors fee                     USD                     1,100.00           -         -
        SKYFALL     3 ESQ    ESQ      120452    5/3/2018 WIVA   receive stock via DWAC            USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120361    5/7/2018 WILA   receive stock via DWAC            USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120503   5/10/2018 REST   directors fee                     USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      120504   5/10/2018 REST   directors fee                     USD                       200.00           -         -
        SKYFALL     3 ESQ    ESQ      120459   5/10/2018 WIHI   receive stock via DWAC            USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120614   5/22/2018 REST   directors fee                     USD                       200.00           -         -
        SKYFALL     3 ESQ    ESQ      120616   5/22/2018 REST   deliver stock                     CAD                          -          300.00       -
                                                                                                                                                                Document: 00118249068




        SKYFALL     3 ESQ    ESQ      120617   5/22/2018 BESQ   Computershare                     USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      120615   5/23/2018 WIRI   reverse DWAC to TA                USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120648   5/23/2018 CASH   debit                             CAD      (20,000.00)         -      (20,000.00)      -
        SKYFALL     3 ESQ    ESQ      120676   5/24/2018 REST   receive stock                     USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120677   5/29/2018 REST   deliver stock                     USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      120678   5/29/2018 BESQ   Action Stock Transfer             USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      120680   5/29/2018 REST   directors fee                     USD                       200.00           -         -




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        SKYFALL   219 ESQ1   ESQ1     120806   5/30/2018 WORK   interest payment                  CAD             -            -          497.33       -
                                                                                                                                                                Page: 343




        SKYFALL     3 ESQ    ESQ      120699   5/31/2018 BESQ   commission withdrawal             USD             -         (50.00)          -         -
        SKYFALL     3 ESQ    ESQ      120699   5/31/2018 BESQ   commission withdrawal             USD             -          50.00           -         -
        SKYFALL     3 ESQ    ESQ      120712   5/31/2018 LEEN   commission withdrawal             CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      120712   5/31/2018 LEEN   commission withdrawal             CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      120719   5/31/2018 PESP   commission charge                 USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      120719   5/31/2018 PESP   commission charge                 USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      120722   5/31/2018 REST   commission withdrawal             USD             -      (3,300.00)          -         -
        SKYFALL     3 ESQ    ESQ      120722   5/31/2018 REST   commission withdrawal             USD             -       3,300.00           -         -
        SKYFALL     3 ESQ    ESQ      120723   5/31/2018 REST   commission withdrawal             CAD             -            -         (300.00)      -
        SKYFALL     3 ESQ    ESQ      120723   5/31/2018 REST   commission withdrawal             CAD             -            -          300.00       -
        SKYFALL     3 ESQ    ESQ      120750   5/31/2018 WIHI   commission withdrawal             USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      120750   5/31/2018 WIHI   commission withdrawal             USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      120758   5/31/2018 WILA   commission withdrawal             USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      120758   5/31/2018 WILA   commission withdrawal             USD             -         200.00           -         -
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        SKYFALL     3 ESQ    ESQ      120763   5/31/2018 WIRI   commission withdrawal             USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      120763   5/31/2018 WIRI   commission withdrawal             USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      120771   5/31/2018 WISA   commission withdrawal             USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      120771   5/31/2018 WISA   commission withdrawal             USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      120772   5/31/2018 WISA   commission withdrawal             CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      120772   5/31/2018 WISA   commission withdrawal             CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      120787   5/31/2018 WIVA   commission withdrawal             USD             -        (100.00)          -         -



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        SKYFALL     3 ESQ    ESQ      120787   5/31/2018 WIVA   commission withdrawal                USD             -         100.00          -         -
        SKYFALL     3 ESQ    ESQ      120837   5/31/2018 WORK   forex                                USD             -      (3,950.00)         -         -
        SKYFALL     3 ESQ    ESQ      120837   5/31/2018 WORK   forex                                CAD             -            -       5,056.00       -
                                                                                                                                                                  Case: 24-1770




        SKYFALL     3 ESQ    ESQ      120871    6/4/2018 REST   directors fee                        USD                       100.00          -         -
        SKYFALL     3 ESQ    ESQ      120879    6/4/2018 REST   directors fee                        USD                       200.00          -         -
        SKYFALL     3 ESQ    ESQ      120880    6/4/2018 REST   deliver stock                        USD                       500.00          -         -
        SKYFALL     3 ESQ    ESQ      120881    6/4/2018 BESQ   Action Stock Transfer                USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      120921    6/6/2018 REST   directors fee                        USD                       500.00          -         -
        SKYFALL     3 ESQ    ESQ      120927    6/7/2018 REST   directors fee                        USD                       600.00          -         -
        SKYFALL     3 ESQ    ESQ      120929    6/7/2018 REST   directors fee                        USD                       100.00          -         -
        SKYFALL     3 ESQ    ESQ      120928    6/7/2018 REST   directors fee                        USD                       400.00          -         -
        SKYFALL     3 ESQ    ESQ      120894    6/7/2018 TENT   receive stock via DWAC               USD                       100.00          -         -
        SKYFALL     3 ESQ    ESQ      121005   6/13/2018 REST   directors fee                        CAD                          -         250.00       -
        SKYFALL     3 ESQ    ESQ      121006   6/13/2018 REST   directors fee                        CAD                          -       1,100.00       -
        SKYFALL     3 ESQ    ESQ      121008   6/14/2018 REST   directors fee                        USD                       200.00          -         -
        SKYFALL     3 ESQ    ESQ      121011   6/14/2018 REST   directors fee                        USD                     1,000.00          -         -
        SKYFALL   219 ESQ1   ESQ1     121010   6/14/2018 CASH   debit                                CAD       (4,550.00)         -      (4,550.00)      -
        SKYFALL     3 ESQ    ESQ      121029   6/15/2018 REST   directors fee                        USD                       400.00          -         -
                                                                                                                                                                  Document: 00118249068




        SKYFALL     3 ESQ    ESQ      121050   6/19/2018 REST   directors fee                        USD                       400.00          -         -
        SKYFALL     3 ESQ    ESQ      121051   6/19/2018 REST   directors fee                        USD                       100.00          -         -
        SKYFALL     3 ESQ    ESQ      121157   6/30/2018 BESQ   commission withdrawal                USD             -         (50.00)         -         -
        SKYFALL     3 ESQ    ESQ      121157   6/30/2018 BESQ   commission withdrawal                USD             -          50.00          -         -
        SKYFALL     3 ESQ    ESQ      121185   6/30/2018 REST   commission withdrawal                USD             -      (4,500.00)         -         -
        SKYFALL     3 ESQ    ESQ      121185   6/30/2018 REST   commission withdrawal                USD             -       4,500.00          -         -
        SKYFALL     3 ESQ    ESQ      121186   6/30/2018 REST   commission withdrawal                CAD             -            -      (1,350.00)      -




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        SKYFALL     3 ESQ    ESQ      121186   6/30/2018 REST   commission withdrawal                CAD             -            -       1,350.00       -
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        SKYFALL     3 ESQ    ESQ      121189   6/30/2018 TENT   commission withdrawal                USD             -        (200.00)         -         -
        SKYFALL     3 ESQ    ESQ      121189   6/30/2018 TENT   commission withdrawal                USD             -         200.00          -         -
        SKYFALL     3 ESQ    ESQ      121225   6/30/2018 WIRI   commission withdrawal                USD             -        (100.00)         -         -
        SKYFALL     3 ESQ    ESQ      121225   6/30/2018 WIRI   commission withdrawal                USD             -         100.00          -         -
        SKYFALL     3 ESQ    ESQ      121251   6/30/2018 WORK   forex                                USD             -      (4,850.00)         -         -
        SKYFALL     3 ESQ    ESQ      121251   6/30/2018 WORK   forex                                CAD             -            -       6,305.00       -
        SKYFALL   219 ESQ1   ESQ1     121266   6/30/2018 WORK   interest payment                     CAD             -            -         502.44       -
        SKYFALL     3 ESQ    ESQ      121428    7/9/2018 CANI   receive stock                        CAD                          -         100.00       -
        SKYFALL     3 ESQ    ESQ      121458   7/16/2018 REST   directors fee                        USD                       700.00          -         -
        SKYFALL     3 ESQ    ESQ      121463   7/17/2018 BESQ   Greenberg Traurig                    USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      121464   7/17/2018 BESQ   Action Stock Transfer                USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      121468   7/17/2018 REST   directors fee                        USD                       500.00          -         -
        SKYFALL     3 ESQ    ESQ      122978   7/17/2018 BESQ   Greenberg Traurig                    USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      122979   7/17/2018 BESQ   Newfile Corp.                        USD                        50.00          -         -
                                                                                                                                                                  Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      122977   7/17/2018 BESQ   Action Stock Transfer                USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      121465   7/17/2018 BESQ   Newsfile                             USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      121484   7/18/2018 REST   directors fee                        USD                       500.00          -         -
        SKYFALL     3 ESQ    ESQ      121466   7/20/2018 WISA   receive stock via DWAC               USD                       100.00          -         -
        SKYFALL     3 ESQ    ESQ      121467   7/20/2018 TENT   receive stock via DWAC               USD                       100.00          -         -
        SKYFALL     3 ESQ    ESQ      122980   7/20/2018 BESQ   Action Stock Transfer                USD                        50.00          -         -
        SKYFALL     3 ESQ    ESQ      121559   7/20/2018 WIHI   DWAC rejected by Wintercap           USD                       100.00          -         -



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        SKYFALL     3 ESQ    ESQ      121561   7/20/2018 WIHI   DWAC rejected by Wintercap                       USD                       100.00           -         -
        SKYFALL   219 ESQ1   ESQ1     121508   7/23/2018 WORK   internal transfer                                CAD             -            -      (20,000.00)      -
        SKYFALL     3 ESQ    ESQ      121518   7/24/2018 LEEN   receive stock                                    CAD                          -          100.00       -
                                                                                                                                                                               Case: 24-1770




        SKYFALL     3 ESQ    ESQ      121541   7/27/2018 REST   directors fee                                    USD                       600.00           -         -
        SKYFALL     3 ESQ    ESQ      121542   7/27/2018 REST   directors fee                                    USD                       500.00           -         -
        SKYFALL     3 ESQ    ESQ      121576   7/31/2018 BESQ   commission withdrawal                            USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      121576   7/31/2018 BESQ   commission withdrawal                            USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      121583   7/31/2018 CANI   commission withdrawal                            CAD             -            -         (200.00)      -
        SKYFALL     3 ESQ    ESQ      121583   7/31/2018 CANI   commission withdrawal                            CAD             -            -          200.00       -
        SKYFALL     3 ESQ    ESQ      121587   7/31/2018 LEEN   commission withdrawal                            CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      121587   7/31/2018 LEEN   commission withdrawal                            CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      121596   7/31/2018 REST   commission withdrawal                            USD             -      (3,100.00)          -         -
        SKYFALL     3 ESQ    ESQ      121596   7/31/2018 REST   commission withdrawal                            USD             -       3,100.00           -         -
        SKYFALL     3 ESQ    ESQ      121599   7/31/2018 TENT   commission withdrawal                            USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      121599   7/31/2018 TENT   commission withdrawal                            USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      121623   7/31/2018 WIHI   commission withdrawal                            USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      121623   7/31/2018 WIHI   commission withdrawal                            USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      121629   7/31/2018 WILA   commission withdrawal                            USD             -        (100.00)          -         -
                                                                                                                                                                               Document: 00118249068




        SKYFALL     3 ESQ    ESQ      121629   7/31/2018 WILA   commission withdrawal                            USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      121637   7/31/2018 WIRI   commission withdrawal                            USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      121637   7/31/2018 WIRI   commission withdrawal                            USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      121644   7/31/2018 WISA   commission withdrawal                            USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      121644   7/31/2018 WISA   commission withdrawal                            USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      121655   7/31/2018 WIVA   commission withdrawal                            USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      121655   7/31/2018 WIVA   commission withdrawal                            USD             -         100.00           -         -




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        SKYFALL     3 ESQ    ESQ      121558   7/31/2018 REST   receive stock                                    USD                       100.00           -         -
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        SKYFALL     3 ESQ    ESQ      121560   7/31/2018 REST   receive stock                                    USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      121564   7/31/2018 REST   receive stock                                    USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      121556   7/31/2018 BESQ   Booth Udall Fuller                               USD                        50.00           -         -
        SKYFALL   219 ESQ1   ESQ1     121671   7/31/2018 WORK   interest payment                                 CAD             -            -          497.93       -
        SKYFALL     3 ESQ    ESQ      121724    8/2/2018 BESQ   Booth Udall Fuller re: retainer top up           USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      121721    8/6/2018 BEAT   write off stock                                  USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      121720    8/6/2018 BEAG   write off stock                                  USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      121761    8/8/2018 LEEN   receive stock                                    CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      121760    8/8/2018 LEEN   receive stock                                    CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      120618    8/9/2018 WISA   receive stock via Cert                           CAD                          -          100.00       -
        SKYFALL   219 ESQ1   ESQ1     121776   8/13/2018 CASH   debit                                            CAD      (20,000.00)         -      (20,000.00)      -
        SKYFALL     3 ESQ    ESQ      122032   8/16/2018 BESQ   Island Stock Transer                             USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122031   8/16/2018 REST   deliver stock                                    USD                     1,000.00           -         -
        SKYFALL     3 ESQ    ESQ      121921   8/31/2018 BESQ   commission withdrawal                            USD             -         (50.00)          -         -
                                                                                                                                                                               Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      121921   8/31/2018 BESQ   commission withdrawal                            USD             -          50.00           -         -
        SKYFALL     3 ESQ    ESQ      121928   8/31/2018 LEEN   commission withdrawal                            CAD             -            -         (200.00)      -
        SKYFALL     3 ESQ    ESQ      121928   8/31/2018 LEEN   commission withdrawal                            CAD             -            -          200.00       -
        SKYFALL     3 ESQ    ESQ      121936   8/31/2018 TENT   commission charge                                USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      121936   8/31/2018 TENT   commission charge                                USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      121966   8/31/2018 WILA   commission charge                                USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      121966   8/31/2018 WILA   commission charge                                USD             -         200.00           -         -



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        SKYFALL     3 ESQ    ESQ      121973 8/31/2018 WIRI    commission charge                   USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      121973 8/31/2018 WIRI    commission charge                   USD             -         200.00           -         -
        SKYFALL   219 ESQ1   ESQ1     121868 8/31/2018 WORK    interest payment                    CAD             -            -          486.30       -
                                                                                                                                                                 Case: 24-1770




        SKYFALL     3 ESQ    ESQ      118295   9/1/2018 WILA   receive stock                       USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120458   9/1/2018 WILA   receive stock via DWAC              USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120679   9/1/2018 WIRI   receive stock via DWAC              USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      120460   9/1/2018 WISA   receive stock via DWAC              USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      122037   9/4/2018 BESQ   American Corp Enterprises           USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122038   9/4/2018 BESQ   Nevada Secretary of State           USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122053   9/6/2018 BESQ   Action Stock Transfer               USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122054   9/6/2018 BESQ   Action Stock Transfer               USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      121420   9/7/2018 CANI   receive stock                       CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      122078 9/10/2018 CANI    receive stock                       CAD                          -          100.00       -
        SKYFALL     3 ESQ    ESQ      122092 9/11/2018 REST    directors fee                       USD                     1,000.00           -         -
        SKYFALL     3 ESQ    ESQ      122114 9/13/2018 PESP    write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122115 9/13/2018 WIHI    write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122116 9/13/2018 WIVA    write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122162 9/19/2018 REST    directors fee                       CAD                          -          200.00       -
                                                                                                                                                                 Document: 00118249068




        SKYFALL     3 ESQ    ESQ      121812 9/19/2018 BESQ    Sadler Gibb TT                      USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122163 9/19/2018 REST    directors fee                       USD                       200.00           -         -
        SKYFALL     3 ESQ    ESQ      122171 9/20/2018 REST    directors fee                       USD                       500.00           -         -
        SKYFALL     3 ESQ    ESQ      122172 9/20/2018 BESQ    Action Stock Transfer               USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122217 9/27/2018 REST    directors fee                       CAD                          -          300.00       -
        SKYFALL     3 ESQ    ESQ      122245 9/30/2018 BESQ    commission withdrawal               USD             -        (400.00)          -         -
        SKYFALL     3 ESQ    ESQ      122245 9/30/2018 BESQ    commission withdrawal               USD             -         400.00           -         -




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        SKYFALL     3 ESQ    ESQ      122259 9/30/2018 CANI    commission withdrawal               CAD             -            -         (100.00)      -
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        SKYFALL     3 ESQ    ESQ      122259 9/30/2018 CANI    commission withdrawal               CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      122263 9/30/2018 REST    commission withdrawal               USD             -      (2,700.00)          -         -
        SKYFALL     3 ESQ    ESQ      122263 9/30/2018 REST    commission withdrawal               USD             -       2,700.00           -         -
        SKYFALL     3 ESQ    ESQ      122264 9/30/2018 REST    commission withdrawal               CAD             -            -         (500.00)      -
        SKYFALL     3 ESQ    ESQ      122264 9/30/2018 REST    commission withdrawal               CAD             -            -          500.00       -
        SKYFALL     3 ESQ    ESQ      122587 9/30/2018 WORK    forex                               USD             -      (6,650.00)          -         -
        SKYFALL     3 ESQ    ESQ      122587 9/30/2018 WORK    forex                               CAD             -            -        8,578.50       -
        SKYFALL   219 ESQ1   ESQ1     122411 9/30/2018 WORK    interest payment                    CAD             -            -          471.01       -
        SKYFALL     3 ESQ    ESQ      122511 10/1/2018 WIRI    write off stock                     USD                          -             -         -
        SKYFALL   219 ESQ1   ESQ1     122464 10/3/2018 CASH    debit                               CAD      (20,000.00)         -      (20,000.00)      -
        SKYFALL     3 ESQ    ESQ      122632 10/10/2018 REST   deliver stock                       USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      122611 10/10/2018 REST   deliver stock                       USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      122526 10/10/2018 WIVA   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122527 10/10/2018 WIHI   write off stock                     USD                          -             -         -
                                                                                                                                                                 Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      122528 10/10/2018 WILA   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122529 10/10/2018 BEAG   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122530 10/10/2018 BEAT   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122531 10/10/2018 WIRI   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122532 10/10/2018 PESC   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122533 10/10/2018 PESP   write off stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122534 10/10/2018 REST   write off stock                     USD                          -             -         -



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        SKYFALL     3 ESQ    ESQ      122603 10/10/2018 REST   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122604 10/10/2018 REST   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122661 10/10/2018 REST   deliver stock                     USD                          -             -         -
                                                                                                                                                               Case: 24-1770




        SKYFALL     3 ESQ    ESQ      122662 10/10/2018 REST   deliver stock                     USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122509 10/10/2018 WIRI   write off stock                   CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122513 10/10/2018 WIHI   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122514 10/10/2018 WILA   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122516 10/10/2018 WIVA   write off stock                   CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122518 10/10/2018 WIHI   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122517 10/10/2018 WISA   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122521 10/10/2018 BEAT   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122523 10/10/2018 PESC   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122549 10/10/2018 WILA   write off stock                   CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122550 10/10/2018 WIHI   write off stock                   CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122551 10/10/2018 BEAG   write off stock                   CAD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122567 10/10/2018 WISA   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122568 10/10/2018 PESC   write off stock                   USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      122540 10/11/2018 REST   deliver stock                     USD                       200.00           -         -
                                                                                                                                                               Document: 00118249068




        SKYFALL     3 ESQ    ESQ      122541 10/11/2018 BESQ   Action Stock Transfer             USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122613 10/12/2018 REST   deliver stock                     USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      122578 10/12/2018 REST   deliver stock                     USD                       100.00           -         -
        SKYFALL     3 ESQ    ESQ      122710 10/16/2018 REST   directors fee                     USD                       500.00           -         -
        SKYFALL     3 ESQ    ESQ      122740 10/22/2018 REST   directors fee                     USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      122743 10/23/2018 REST   directors fee                     USD                       600.00           -         -
        SKYFALL     3 ESQ    ESQ      122776 10/31/2018 BESQ   commission withdrawal             USD             -         (50.00)          -         -




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        SKYFALL     3 ESQ    ESQ      122776 10/31/2018 BESQ   commission withdrawal             USD             -          50.00           -         -
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        SKYFALL     3 ESQ    ESQ      122803 10/31/2018 REST   commission withdrawal             USD             -      (1,600.00)          -         -
        SKYFALL     3 ESQ    ESQ      122803 10/31/2018 REST   commission withdrawal             USD             -       1,600.00           -         -
        SKYFALL     3 ESQ    ESQ      122818 10/31/2018 WIVA   commission charge                 USD             -        (100.00)          -         -
        SKYFALL     3 ESQ    ESQ      122818 10/31/2018 WIVA   commission charge                 USD             -         100.00           -         -
        SKYFALL     3 ESQ    ESQ      122865 10/31/2018 LEEN   receive stock                     CAD                          -          100.00       -
        SKYFALL   219 ESQ1   ESQ1     122831 10/31/2018 WORK   interest payment                  CAD             -            -          464.66       -
        SKYFALL     3 ESQ    ESQ      122853 11/1/2018 BESQ    Saturna Group                     USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122854 11/1/2018 BESQ    Newsfile Corp                     USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122857 11/2/2018 REST    directors fee                     USD                       300.00           -         -
        SKYFALL     3 ESQ    ESQ      122919 11/19/2018 BESQ   Saturna Group                     USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      122922 11/19/2018 REST   0849347 BC Ltd A/R                CAD                          -          245.00       -
        SKYFALL     3 ESQ    ESQ      122923 11/19/2018 REST   Sunset Boulevard A/R              CAD                          -          245.00       -
        SKYFALL     3 ESQ    ESQ      122924 11/19/2018 REST   Rica Holdings A/R                 CAD                          -          245.00       -
        SKYFALL     3 ESQ    ESQ      122925 11/19/2018 REST   Rock Creek A/R                    CAD                          -          245.00       -
                                                                                                                                                               Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      122920 11/19/2018 BESQ   Newsfile Corp                     USD                        50.00           -         -
        SKYFALL   219 ESQ1   ESQ1     122926 11/21/2018 COQB   Courtney Kelln ck #31             CAD      (43,463.00)         -      (43,463.00)      -
        SKYFALL     3 ESQ    ESQ      122987 11/30/2018 BESQ   commission withdrawal             USD             -        (350.00)          -         -
        SKYFALL     3 ESQ    ESQ      122987 11/30/2018 BESQ   commission withdrawal             USD             -         350.00           -         -
        SKYFALL     3 ESQ    ESQ      123002 11/30/2018 LEEN   commission withdrawal             CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      123002 11/30/2018 LEEN   commission withdrawal             CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      123007 11/30/2018 REST   commission withdrawal             USD             -        (700.00)          -         -



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        SKYFALL     3 ESQ    ESQ      123007 11/30/2018 REST   commission withdrawal                   USD             -         700.00           -         -
        SKYFALL     3 ESQ    ESQ      123008 11/30/2018 REST   commission withdrawal                   CAD             -            -         (980.00)      -
        SKYFALL     3 ESQ    ESQ      123008 11/30/2018 REST   commission withdrawal                   CAD             -            -          980.00       -
                                                                                                                                                                     Case: 24-1770




        SKYFALL   219 ESQ1   ESQ1     123019 11/30/2018 WORK   interest payment                        CAD             -            -          436.41       -
        SKYFALL     3 ESQ    ESQ      122975 12/3/2018 REST    directors fee                           USD                       900.00           -         -
        SKYFALL     3 ESQ    ESQ      122981 12/3/2018 BESQ    Action Stock Transfer                   USD                        50.00           -         -
        SKYFALL   219 ESQ1   ESQ1     123087 12/18/2018 WORK   Merry Xmas!                             CAD             -            -       25,000.00       -
        SKYFALL     3 ESQ    ESQ      123130 12/31/2018 BESQ   commission withdrawal                   USD             -         (50.00)          -         -
        SKYFALL     3 ESQ    ESQ      123130 12/31/2018 BESQ   commission withdrawal                   USD             -          50.00           -         -
        SKYFALL     3 ESQ    ESQ      123144 12/31/2018 CANI   commission withdrawal                   CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      123144 12/31/2018 CANI   commission withdrawal                   CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      123155 12/31/2018 REST   commission withdrawal                   USD             -        (900.00)          -         -
        SKYFALL     3 ESQ    ESQ      123155 12/31/2018 REST   commission withdrawal                   USD             -         900.00           -         -
        SKYFALL   219 ESQ1   ESQ1     123162 12/31/2018 WORK   interest payment                        CAD             -            -          436.30       -
        SKYFALL   219 ESQ1   ESQ1     123254 1/16/2019 CASH    debit                                   CAD      (20,000.00)         -      (20,000.00)      -
        SKYFALL     3 ESQ    ESQ      123101 1/18/2019 CANI    receive stock                           CAD                          -          100.00       -
        SKYFALL   219 ESQ1   ESQ1     123450 2/12/2019 CASH    debit                                   CAD      (20,000.00)         -      (20,000.00)      -
        SKYFALL     3 ESQ    ESQ      123461 2/26/2019 REST    directors fee                           USD                       300.00           -         -
                                                                                                                                                                     Document: 00118249068




        SKYFALL     3 ESQ    ESQ      123504 2/28/2019 REST    commission withdrawal                   USD             -        (300.00)          -         -
        SKYFALL     3 ESQ    ESQ      123504 2/28/2019 REST    commission withdrawal                   USD             -         300.00           -         -
        SKYFALL   219 ESQ1   ESQ1     123521 2/28/2019 WORK    interest payment                        CAD             -            -          819.83       -
        SKYFALL     3 ESQ    ESQ      123581 3/12/2019 BESQ    Newsfile Corp                           USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      123649 3/30/2019 BESQ    commission withdrawal                   USD             -         (50.00)          -         -
        SKYFALL     3 ESQ    ESQ      123649 3/30/2019 BESQ    commission withdrawal                   USD             -          50.00           -         -
        SKYFALL   219 ESQ1   ESQ1     123678 3/30/2019 WORK    interest payment                        CAD             -            -          388.27       -




A2140
        SKYFALL     3 ESQ    ESQ      123732   4/6/2019 BESQ   Sadler Gibb MC                          USD                        50.00           -         -
                                                                                                                                                                     Page: 348




        SKYFALL     3 ESQ    ESQ      123747 4/10/2019 BESQ    PLS CPAs MC                             USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      123772 4/18/2019 REST    directors fee                           USD                     1,000.00           -         -
        SKYFALL   219 ESQ1   ESQ1     123789 4/28/2019 COQB    Courtney ck #43                         CAD      (12,680.00)         -      (12,680.00)      -
        SKYFALL   219 ESQ1   ESQ1     123788 4/28/2019 COQB    Courtney ck #42                         CAD      (17,280.00)         -      (17,280.00)      -
        SKYFALL     3 ESQ    ESQ      123799 4/29/2019 BESQ    Nevada List update MC                   USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      123798 4/29/2019 BESQ    Fred Bauman legal opinions MC           USD                        50.00           -         -
        SKYFALL     3 ESQ    ESQ      123805 4/30/2019 BESQ    commission withdrawal                   USD             -        (200.00)          -         -
        SKYFALL     3 ESQ    ESQ      123805 4/30/2019 BESQ    commission withdrawal                   USD             -         200.00           -         -
        SKYFALL     3 ESQ    ESQ      123820 4/30/2019 LEEN    commission withdrawal                   CAD             -            -         (100.00)      -
        SKYFALL     3 ESQ    ESQ      123820 4/30/2019 LEEN    commission withdrawal                   CAD             -            -          100.00       -
        SKYFALL     3 ESQ    ESQ      123823 4/30/2019 REST    commission withdrawal                   USD             -      (1,000.00)          -         -
        SKYFALL     3 ESQ    ESQ      123823 4/30/2019 REST    commission withdrawal                   USD             -       1,000.00           -         -
        SKYFALL   219 ESQ1   ESQ1     123929 4/30/2019 WORK    interest payment                        CAD             -            -          412.91       -
        SKYFALL     3 ESQ    ESQ      123787   5/2/2019 LEEN   receive stock                           CAD                          -          100.00       -
                                                                                                                                                                     Date Filed: 02/18/2025




        SKYFALL     3 ESQ    ESQ      123843   5/3/2019 TENT   write off stock                         USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      123844   5/3/2019 PESC   write off stock                         USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      123845   5/3/2019 REST   write off stock                         USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      123846   5/3/2019 REST   write off stock                         USD                          -             -         -
        SKYFALL     3 ESQ    ESQ      123861 5/11/2019 TENT    receive stock                           USD                       100.00           -         -




                                                                                                                                                   Page 169 of 169
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Case: 24-1770            Document: 00118249068                  Page: 349       Date Filed: 02/18/2025     Entry ID: 6700951
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                       Case 1:21-cv-11276-WGY               Document 427-8       Filed 12/08/23   Page 1 of 1


                                                                                                       EXHIBIT
                                                                                                            5
           Ur     cash is ready 2PM
                      Original Message
           From: ACCO
           To: WIRES
           Subject: Re:
           Sent: Aug 2,      2013 12:41 PM
           10K is good .
                  Original Message
           From : Wi res
           To : 4
           Subject: Re:
           Sent: Aug 2, 2013 12:38          PM

           I order $10K for him. How much do he want?
                 Original Message
           From: ACCO
           To: WIRES
           Subject: Re:
           Sent: Aug 2, 2013 12:35 pm

           TY. Can gard get some?
                      Original Message
           From : wi res
           To : 4
           Subject: Re:
           Sent: Aug 2, 2013 12:34 PM

           Sure, give u $40k more
                      Original Message
           From: ACCO
           To: WIRES
           Subject: Re:
           Sent: Aug 2,      2013 12:31 PM
           Can I get 10k more?   i'll take up to 50k if i can get it.
                  Original Message
           From : Wi res
           To :   4
           Subject: Re:
           Sent: Aug 2, 2013 10:28 AM

           How much? $10k or $20K?
                 Original Message
           From: ACCO
           to: wires
           Subject :
           Sent: Aug 2,      2013 10:23 AM
           andrew will grab the cash for acco




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                                                                   A2141
Case: 24-1770           Document: 00118249068                   Page: 350       Date Filed: 02/18/2025      Entry ID: 6700951
B-03147_ARCH_SEG-005210602
                       Case 1:21-cv-11276-WGY               Document 427-9       Filed 12/08/23   Page 1 of 1

                                                                                                      EXHIBIT
                                                                                                           6
           Sure
                    Original   Message
           From: ACCO
           to: wires
           Subject: Re:
           Sent: Nov 10, 2015       12:39 PM
           ACCO
                    Original Message
           From :   Wi res
           To: 4
           Subject: Re:
           Sent: Nov 10, 2015 12:38         PM

           Cash 10k which acct will be debit?
                 Original Message
           From: ACCO
           To: WIRES
           Subject: Re:
           Sent: Nov 10, 2015 12:35 PM

           TY.
                    Original Message
           From :   wi res
           to: 4
           Subject: Re:
           Sent: Nov 10, 2015 11:01 AM

           xmai 1ed
                  Original Message
           From: ACCO
           To: WIRES
           Subject :
           Sent: Nov 10, 2015 10:57 AM

           Please xmai 1 me wire instructions to send money to heli.             Ill confirm when funds are coming.




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                                                                   A2142
Case: 24-1770             Document: 00118249068                 Page: 351       Date Filed: 02/18/2025     Entry ID: 6700951
B-03147_ARCH_SEG-005252976
                     Case 1:21-cv-11276-WGY                Document 427-10       Filed 12/08/23   Page 1 of 1


                                                                                                         EXHIBIT
                                                                                                            7
           Thanks ! ! !
                   Original Message
           From : wi res
           To : 4
           Subject: Re:
           Sent: Jun 19,      2015 12:06 PM
           Ready for pick up
                 Original Message
           From: ACCO
           To: WIRES
           Subject: Re:
           Sent: Jun 19,      2015 12:05 PM
           Cheque
                  Original Message
           From : wi res
           To : 4
           Subject: Re:
           Sent: Jun 19, 2015 12:04 PM

           Yes, Cash or cheque?
                   Original Message
           From: ACCO
           To: WIRES
           Sub j ect :
           Sent: Jun 19, 2015 12:04 PM

           Can I get 5K      cdn to Greenstone as part of the loan. Canadian, acco




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                                                                   A2143
Case: 24-1770      Document: 00118249068               Page: 352          Date Filed: 02/18/2025      Entry ID: 6700951
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                Case 1:21-cv-11276-WGY              Document 427-11         Filed 12/08/23   Page 1 of 1


                                                                                                   EXHIBIT
                                                                                                       8

            Can christina pick up?
            ------Original Message------
            To: Wires
            Subject: Re:
            Sent: Apr 1, 2014 9:08 AM

            Let me know when ready.
            ------Original Message------
            From: Wires
            To: 4
            Subject: Re:
            Sent: Apr 1, 2014 9:08 AM

            Yes
            ------Original Message------
            From: ACCO
            To: WIRES
            Subject: Re:
            Sent: Apr 1, 2014 9:02 AM

            Blackstone capital partners inc. LOC.
            ------Original Message------
            From: Wires
            To: 4
            Subject: Re:
            Sent: Apr 1, 2014 8:59 AM

            Which loan?
            ------Original Message------
            From: ACCO
            To: BOND
            To: WIRES
            Subject:
            Sent: Mar 31, 2014 8:19 PM

            Can acco get a 100K cheque on the line of credit for pickup tomorrow?




                                                          A2144
Case: 24-1770           Document: 00118249068                   Page: 353       Date Filed: 02/18/2025      Entry ID: 6700951
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                      Case 1:21-cv-11276-WGY               Document 427-12       Filed 12/08/23   Page 1 of 2


                                                                                                       EXHIBIT
                                                                                                             9




       $20K is ready for pick up
              Original Message
       From: hear
       To: WIRES
       Subject: Re:   Are you open   today
       Sent: Feb 17 , 2014 11:25 AM

       20 or 30??
              original Message
       From: 76
       To: 3
       Subject: Re: Are you open today
       Sent: Feb 17, 2014 11:18 AM

       Yes, how much?
              Original Message
       From: hear
       To: WIRES
       Subject: Re: Are you open today
       Sent: Feb 17, 2014 11:17 AM

       Do you have any cash?

             Original Message
       To: 76
       Subject: Re: Are you open today
       Sent: Feb 17, 2014 9:19 AM

       Ok.
              Original Message
       From: 76
       to: 3
       Subject: Re: Are you open today
       Sent: Feb 17, 2014 9:20 AM

       Yes,   but he is very busy today. He came back first day and he will leave office in half hour, come back afternoon
              Original Message
       From: HEAR
       To: WIRES
       Subject: Re: Are you open today
       Sent: Feb 17, 2014 9:17 AM

       Is bond in today as well?

              Original Message
       From: 76
       To: 3
       Subject: Re: Are you open today
       Sent: Feb 17, 2014 9:13 AM




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                                                                   A2145
Case: 24-1770           Document: 00118249068                   Page: 354       Date Filed: 02/18/2025     Entry ID: 6700951
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       Yes
             Original Message
       From: hear
       To: WIRES
       Subject: Are you open today
       Sent: Feb 17, 2014 9:12 AM




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                                                                   A2146
Case: 24-1770           Document: 00118249068                   Page: 355       Date Filed: 02/18/2025     Entry ID: 6700951
B-03147_ARCH_SEG-006199414
                     Case 1:21-cv-11276-WGY                Document 427-13       Filed 12/08/23   Page 1 of 2

                                                                                                         EXHIBIT
                                                                                                            10
           Perfect. But it will be 50 for 3 and 50 for 4 and 50 for 2
                 Original Message
           From: 76
           To: 3
           Subject: Re: Wire
           Sent: Feb 12, 2013 2:40 PM

           Mike hold $50k for you today, he takes $20k himself.
           I will keep $80k for you tomorrow
                 Original Message
           From: HEAR
           To: WIRES
           Subject: Re: wire
           Sent: Feb 12, 2013 11:36 AM

           That’s cool thanks. 70 70 and 10 would be 150.

                   Original Message
           From: 76
           To: 3
           Subject: Re: wire
           Sent: Feb 12, 2013 2:33 PM

           I gave Mike, Janson and you total $70l< today, maybe $70K tomorrow too.
           Do you want more? I can keep more $10k for you if you want more
                 Original Message
           From: HEAR
           to: wires
           Subject: Re: wire
           Sent: Feb 12, 2013 11:30 AM

           Can u give my      cash to 4 .    He   will hold for me. How much available?
                   Original Message
           To: 76
           Subject: Re: wire
           Sent: Feb 12, 2013 2:18 PM

           I would    but I am out of town. Maybe I tell mike and he can hold for me?
                 Original Message
           From: 76
           To: 3
           Subject: Re: wire
           Sent: Feb 12, 2013 2:13 PM

           Sent   for value Wed
           we have cash today, do u take?
                   original Message
           From: HEAR
           to: wires
           Subject: wire
           Sent: Feb 12, 2013 11:12 AM

           Please send this today in Canadian Funds
           Please send 50k cdn to:
           Royal Bank of Canada
           1025 west Georgia, Vancouver, BC
           V6E 3N9
           ACC 00010 126-429-0
           Transit No: 00010
           Inst# 003
           Account no: 126-429-0

           Max Wright Real Estate Corporation dba Sotheby's International Realty




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                                                                   A2147
Case: 24-1770           Document: 00118249068                   Page: 356       Date Filed: 02/18/2025     Entry ID: 6700951
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                                                                   A2148
Case: 24-1770     Document: 00118249068                  Page: 357         Date Filed: 02/18/2025            Entry ID: 6700951
B-03147_ARCH_SEG-005103992
                Case 1:21-cv-11276-WGY              Document 427-14           Filed 12/08/23     Page 1 of 1


                                                                                                         EXHIBIT
                                                                                                              11

             From:      "Paul Sexton" <paul@securecuracao.xmeridian.com>
             To:        "Wires" <wires@secure.xmeridian.com>
             Cc:        "Fred Sharp" <fsharp@securecuracao.xmeridian.com>
             Subject:   Re: please send
             Sent:      Tue, 14 Feb 2017 11:41:46 -0800

             SLS is Secured Lending Services, they are the collection arm of Bank of America. This is a mortgage
             payment for Palm Springs house. A payment has been previously made to this account already. I can't
             get them to sign a loan doc or give me there incorporation docs. It would be impossible.




             On Fri, 10 Feb 2017 20:39:25 -0500, Wires wrote
             > Your wire need the supporting documents as following:

             > 1.Please fill in SLS address and sign the loan agreement, and send back
             > 2. cert of incorp: SLS
             > 3. SLS wire clearing s address
             > Swift code
             > 4. Reference just account #, no reference account name?

             > On Fri, 10 Feb 2017 12:44:49 -0800, Paul Sexton wrote
             > > I need to make a lump sum payment to the mortgage for Palm Springs
             > > (77812 cottonwood Cove).
             >>
             > > Please wire usd $139,200 to the following:

             > > Wells Fargo Bank
             > > 420 Montgomery Street
             > > San Francisco,CA
             > > 94104
             > > 415-396-7392
             >>
             > > Acc# 2000042928232
             > > ABA 121000248
             > > Acc Name: SLS Wire Clearing

             > > Reference Acc 1012017053
             >>

             > > xMeridian.com


             > xMeridian.com



             xMeridian.com




                                                                                                        SEC-CVDOJMX-E-0315976




                                                              A2149
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                                                                                                         EXHIBIT
                                                                                                             12

             From:      "Paul Sexton" <paul@securecuracao.xmeridian.com>
             To:        "Wires" <wires@secure.xmeridian.com>, "Fred Sharp" <fsharp@secure.xmeridian.com>
             Subject:   please send
             Sent:      Thu, 16 Jun 2016 08:05:28 -0700

             Please send $110,431 .86 to the following in relation to the Palm House Mortgage. This payment is
             direct to lender.

             Wells Fargo Bank
             420 Montgomery Street
             San Francisco, CA 94104

             Acc# 2000042928232
             ABA# 121 000 248
             Acc Name: SLS Wire Clearing

             Memo Line 1012017053

             Account holder:
             Specialized Loan Servicing LLC
             P.O. Box 636005
             Littleton, CO 80163-6005


             xMeridian.com




                                                                                                          SEC-CVDOJMX-E-0298711




                                                           A2150
Case: 24-1770           Document: 00118249068                   Page: 359       Date Filed: 02/18/2025     Entry ID: 6700951
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                                                                                                      EXHIBIT
                                                                                                         13
           we didn't keep Soli to Capital, pls advise
           TGS sent for value Tues
                   original Message
           From: hear
           to: wires
           Subject: 2 Wires
           Sent: May 24, 2013 2:05 PM

           Please wire 150,000 usd to TGS Capital from HEAR
           Please wire 200,000 usd to soli to capital corp from hear
           Both are usd wires to TD Canada trust. Do you have the info. You did from hear a few months ago.




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                                                                   A2151
Case: 24-1770          Document: 00118249068                    Page: 360       Date Filed: 02/18/2025     Entry ID: 6700951
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                                                                                                                EXHIBIT
                                                                                    EXHIBIT
           No , wait to 2pm                                                                                Friesen 42
                 original Message
           From: GARD                                                                  14
           to: wires
           Subject: Re: Cash
           sent: Oct 11, 2013 11:16 am
           Awesome. Thnx. cooper will pick up for me after 2pm unless you have ready now?
                 Original Message
           From: 76
           To: 2
           Subject: Re: Cash
           Sent: Oct 11, 2013 11:15 am
           10k usd cash for u today
                 Original Message
           From: GARD
           To: WIRES
           Subject: Re: Cash
           Sent: Oct 11, 2013 11:11 AM
           Cool . Thnx
                   Original Message
           From: 76
           To: 2
           Subject: Re: Cash
           Sent: Oct 11, 2013 11:11 AM
           I try to get more today, let u know in 5 mins
                 Original Message
           From: gard
           To: WIRES
           Subject: Re: cash
           Sent: Oct 11, 2013 11:08 AM
           Any usd?
                   original Message
           From: 76
           To: 2
           Subject: Re: Cash
           Sent: Oct 11, 2013 11:08 AM
           cad cash will be fine
                 original Message
           From: GARD
           To: WIRES
           Subject: Cash
           Sent: Oct 11, 2013 11:07 AM
           if large bills, please set aside 10k cdn and 10k USD. cooper will pickup after 2pm. Please confirm.




                                                                                                                 EXHIBIT

                                                                                                                  101
                                                                                                          21-cv-11276-WGY



                                                                                                                    EXHIBIT

                                                                                                                      DD
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                                                                   A2152
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                                                                                                           EXHIBIT
          Cool . I wi 11 take it                                                 EXHIBIT
                 Original Message                                                                        Friesen 41
          From: 76
          To: 2
                                                                                     15
          Subject: Re: cash
          Sent: Feb 24, 2014 1:20 pm

          We just have   S10K only
                  Original Message
          From: GARD
          To: WIRES
          Subject: Re: cash
          Sent: Feb 24, 2014 1:19 PM

          K I will take 20k please.
                Original Message
          From: 76
          to: 2
          Subject: Re: Cash
          Sent: Feb 24, 2014 12:53 PM

          Half half
                Original Message
          From: gard
          To: WIRES
          Subject: Re: Cash
          Sent: Feb 24, 2014 12:53 PM

          Big or small bills?
                Original Message
          From: 76
          To: 2
          Subject: Re: Cash
          Sent: Feb 24, 2014 12:52 PM

          Yes ,
                  Original Message
          From: GARD
          To: WIRES
          Subject: Cash
          Sent: Feb 24, 2014 12:50 PM

          Do u    have any?




                                                                                                               EXHIBIT

                                                                                                                 133
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                                                                                                                  EXHIBIT

                                                                                                                    EN
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                                                                  A2153
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                Case 1:21-cv-11276-WGY             Document 427-19           Filed 12/08/23   Page 1 of 1

                                                                                                    EXHIBIT
           From:     "Jackson Friesen" <jackson@securecuracao.xmeridian.com>                           16
           To:       "Wires" <wires@secure.xmeridian.com>
           Cc:       "Fred Sharp" <fsharp@secure.xmeridian.com>
           Subject: Wire to Isodiol International Inc.
           Sent:     Mon, 15 Jan 2018 07:07:24 -0800
           ISOL Wire Info - Updated - Jan 2018.pdf
                   -
                   i        ion tgn * '              er- S:gnec bv Con'canv.odf

           Please Wire $200,000 CDN to Isodiol International Inc.
           The wire instructions are attached as well as the subscription agreement for
           shares, signed by the company.

           Against GARD account.
           Thnx.




                                                                                                    SEC-CVDOJMX-E-0488833


                                                           A2154
Case: 24-1770      Document: 00118249068               Page: 363          Date Filed: 02/18/2025      Entry ID: 6700951
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                                                                                                    EXHIBIT
           From:    "Jackson Friesen" <jackson@securecuracao.xmeridian.com>                             17
           To:      "Wires" <wires@secure.xmeridian.com>
           Cc:      "Fred Sharp" <fsharp@secure.xmeridian.com>
           Subject: Wire to NUOVA ACCADEMIA SRL
           Sent:    Fri, 18 Aug 2017 12:24:00 -0700
           0omil5 Academy.Wire.Amoynt andjr > structfans^df
           Chante: Rossport Photo, s-df
                  A r        Cna .         cafcryggf

           Please wire 14,680 Euros to NUOVA ACCADEMIA SRL.
           Credit GARD Account.

           Please ensure the "Reason for Payment" is outlined in the wire as:
           "Chantel DeWaal Tuition Fee / Fashion Management Program"

           I have attached all the supporting document needed to complete this wire.
           Please advise.




                                                                                                   SEC-CVDOJMX-E-0488956


                                                          A2155
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                                                                                               «<02
                                              A2156
                                                                                P<CANDEWLHT^     HK1784<6CA
                                                                                     SEC-CVDOJMX-E-0488957
Case: 24-1770         Document: 00118249068                                Page: 365                  Date Filed: 02/18/2025                                 Entry ID: 6700951
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                                                                                                                                                    DA
                                                                                                                                                     Dsmus Academy


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                                                                          TTI      «
                SECTION k PERSONAL DETAILS .£
             THE UNDERSIGNED


             Name
             Bom io

             Country
            On (date}

             Gender     F     M
             Nationality
             Paisport nr.

             Passport date of expiry

            PERMANENT ADDRESS
             Street
            City

             Country

             ZIP CODE
                            y^eocb
            Home phone rumber (including country and area code}
            Mobile phone number (including country and any other code)


            Email address 2

            TEMPORARY ADDRESS (only if different from the permanent address)
             Street
            City

            Country

             ZIP CODE




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                                                                                                                                                    SEC-CVDOJMX-E-0488958


                                                                                A2157
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                FIRST LEVEL BACHELOR DEGREE

             In possession of the following degree (BA, BFA, BS, etc..,}


             Ljjjniversity degree                        Academy degree
                awarded In the academic year .   -   ,   __               :


                at the Univershy/Academy (please name it)

                  public               private


             Country
                SECONDARY SCHOOL DIPLOMA



                                                                                                                               .J
             Date entered           ^3 CX^A                           OOG . .
             Date departed _
             Educational System
                                 J         C?^. .
                                          secondary school dipbma helots to (ex.JGf^                             In   rasTtfte^^
             please specify the country where the diploma was issued.


                 section nr. enrollment                                                                                                     TSTSI
             Require to enroll in the following Academic Master Program for the academic year 2017/2018 academic year


                                                                                                                                                     a
                                                                                                                                                 '

                master in fashion design                                                                                            MFD

                MASTER IN FASHION MANAGEMENT

                MASTER IN FASHION STYLING AND VISUAL MERCHANDISING
                                                                                                                                    MFM

                                                                                                                                    MFSVM
                                                                                                                                                     V
            I MASTER IN INTERIOR ANO LIVING DESIGN                                                                                  MILD

                MASTER IN PRODUCT DESIGN                                                                                           MPD
                MASTER IN INTERACTION DESIGN                                                                                       MID
                MASTER IN SERVICE DESIGN                                                                                           M5D
                MASTER IN INFORMATION DESIGN                                                                                       MIND
                MASTER IN VISUAL BRAND DESIGN                                                                                      MVBD
                MASTER IN LUXURY BRAND MANAGEMENT                                                                                  MLBM

                MASTER IN BUSINESS DESIGN                                                                                          MBD
                MASTER IN URBAN VISION & ARCHITECTURAL DESIGN                                                                      MUVAD                 :

            DEC^RETHAT                                                                                                                                   j
            Pym not currently enrolled in any other University program in Italy or abroad
            Si 1 am enrolling for the first time m a postgraduate program within the Italian University and Academic system
                  1 have already been enrolled within theItalian University system (please provide information here below}

                  When (date)                                 Where (University name / Fine Arts Academy name)




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                                                                                                                                                     SEC-CVDOJMX-E-0488959


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                 SECTION IV: OOCUMEMTS TO ATTACH TO THIS 'DAM

                STUDENTS HOLDING AN ITALIAN BACHELOR DEGREE;
                          Bachelor Degree certificate together with academic transcripts

             j STUDENTS HOLDING A NON-FFAUAN BACHELOR DEGREE:
                        Value Declaration of the first level Bachelor Degree, issued by the Italian representative authority in the country where the degree was                  ]
                     issued (document called '’Dichiarazicne dl Valors in Loco" to be requested at the Italian representative authority in the country where the                  i
            I        degree was issued)
                        copy of the first level Bachelor Degree, translatedInto Italian by an official translator and legalized by the Italian representative authority
                    in the country where the degree was issued (according to the process called "perfezionamento document!" to be requested at the Italian
                    representative authority in the country where the degree was issued)
                     __     .   •   •   •
                                                      ........................

                          copy of the first level academic transcripts, translated intoItalian by an official translator and legalized by the Italian representative
                    authority in the country where the degree was issued (also part of the process called "perfezionamento documenti", to be requested at the
                    Italian representative authority in the country where the degree was Issued)
                          English language Certificate IELTS 5 0 Academic or recognized equivalent certificate
                          Passport photocopy

                          Fiscal Code photocopy (non-ltalian citizens will apply for it upon their arrival in Italy)
                          Privacy Information sheet attached to the present form

                          Nr. 2 passport-sized pictures
                          Receipt of the payment of the pre-enrollment fee of 3,000 Euro
                         Copy of the receipt issued by Italian Post Office upon submitting the permit of stay application form (within 8 days from student's arrival
                     in Italy). A copy of the original permit of stay shall be delivered to NASA as soon as the student receives it (only for non European citizens)

             : SECTION V; ENGLISH LANGUAGE CERTIFICATE
            I The English language requirement is IELTS 5.0 Academic ar recognssed equivalent certificate to be submitted within one month from the
            |beginning of the Master program and should not be older than 2 years.

             PLEASE PROVIDE THE INFORMATION ABOUT THE ENGLISH LANGUAGE CERTIFICATE YOU HAVE (THIS SECTION tS COMPULSORY):
             Type of Certificate
             Score/grade
             Date of test
             IF YOU DO NOT HAVE YET OBTAINED YOUR ENGLISH                        LANGUAGE*CERTIFICATE, PLEASE INDICATE (TlWsECTIi             IS COMPULSORY):
             Expected test date
             Expected test result date

             Here below the ist of the accepted English language certificates and exemptions:
              IELTS                                                             i 5.6 Academic
                Cambridge English; First (FCt)                                             ’


                                                                                               C or 154 (from January 2015)
                Cambridge English; Pre imnary (PET)                                            Distinction or 160 (from January 2015)
                Cambridge English: Bus ness Vantage / BEC V                                    C or 154 (from January 2015)                                                       J
                Cambridge English: Business Preliminary / 8EC 2                                Distinction or 160 (from January 2015)
                                                                                                                                                                             ’“
                                                                                                                                                                                  |
                TOEFL paper                                                                    494-510                                                                            1
              TOEFL computer                                                                   173-180                                                                            1
            1 TOEFL Internet                                                                   59-64                                                                              j
                                                                                                                                           kW1_
                PTE Academic                                                                   36-42
            ./TEEPT
                BULTAS                                                                           -
                                                                                               40 59 (all 4 skills should be passed listening, reading, speaking, writing)        |
                TOEIC (provided that student passes all pans)                                  Listening and reading: score 600; Speaking score 140; Writing • score 140          .

              The following cases are exempted from the language requirement:                                                                                                 |
            i • Mother tongue students                                                                                                                                            |
              • English Speaking Countries (prior check with the admission office)
              • English Speaking Degrees (prior check with the admission office)                                                                                              |
                • English Speaking Degree in non-mother tongue countries (prior check with the admission office)                                                              I



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           I SECTION VI: FEES
                The tuition fee for the one-year Academic Master Programs -September 2017. Is:
                T hanks to the 40% reduction you have been granted, the tuition fee for the one-year Master Program is
                                                                                                                         17.160 Instead of C 28 600 to be paid as
                follows:
                Uo Prj>enrollment fee together with this enrollment form
                                                                                                                                                          €3 000
            WkKran fee to be paid by August 30“ , 2017
                                                                                                                                                       €14,160
                Any scholarship or fee reduction will be deducted from this installment

           1 SECTION VII: DIPLOMA FEE                                                                                                                                  1
                SiDiploma Fee to be paid by August 30tt, 2017                                                                                                 520,00
            The Diploma Fee applies to students who meet the entry requirements and are Interested In receiving a Master
                                                                 -
            Aaademko di Primo Uvelio (Academic Master 60 ECIS) recognized by MIUR Italian Ministry of Education and
                      by NASA Huova Accademia di Belle Arti together with a Domus Academy Master Diploma (upon
            successfully completing the program).
            Applicants not holding a first level Bachelor degree or that will not provide the relative Declaration of Value will not
            earn the educational credits, but will receive a Domus Academy Master Diploma (not recognued by MIUR) on
            successfully completing the program.

                 SECTION Vllt: PAYMENT PROCEDURE                                                                                                                       1
             By Flywire
            Oomus Academy has partnered with Flywire In order to streamline the process of international payments.
            Rywire allows you to pay securely from any country and any bank, generally in your home currency.
            By making your payment with Flywire you can:

            - Track   your payments
                                  from       finish
                                           start to

            - Save on bank fees and exchange     rates

            - their multilingual
                Contact                   customer support team with any questions, day or night                                                                   1
            To get started, visit www.flywire.wm/pay/d0mu5ac3clerTiy to begin the payment process
            By wire transfer

            Account holder: NUOVA ACCADEMIA SRU Via C. Darwin 20, 2CWJ Milano, Italy                                                                      '


                                                            -              -
            Bank name and agency: Gruppo Banco BPM Milano Ag 10 Via Ariosto 1/A, 20145 Milano
            International bank details: SWIFT code: BAPPIT22. IBAN code: 1T35U05034O161OO00OOOOO0251
            Reason for payment. Please, dearly specify name of student/program chosen

            Copy of the wire transfer payment receipt shall be sent together with the Enrollment form.
            By Credit card
            Payments directly at NASA accounting office.                                                                                              “


            Piease notice that all bank, credit card and third party charges have to be covered by the student.




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                                                                                                                                                              SEC-CVDOJMX-E-0488961


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                                                                                                                                                                       DA
                                                                                                                                                                       Domus Academy




                   PRIVACY INFORMATION SHEET (according to Italian law - Art. 13 Legislative Degree 196/2003)



                 Under the Legislative Decree 196/03, we hereby Inform you that the processing of personal data will be based on the principles of correctness,
                 lawfulness and transparency. The personal data provided will also be registered and electronically stored by Nuova Accademia id.
                 Nuova Accademia srl adopts appropriate security, logical and physical procedures to ensure adequate data protection Furthermore, the data
                 may be communicated by means and procedures strictly necessary to fulfil the obligations related to the Academy's activ ty and tn particular to
                       • Fulfil the contractual and legal obligations towards the person concerned.
                       • Carry out the necessary formalities to undertake and to continue a relationship with the Academy
                       * Handle the collection and payments arising from the contracts.
                       • Allow third parties to carry out technical and organizational tasks.
                 You have the right to know the origin and the use of your personal data in our possession. You also have the right to update, integrate, or cancel
                 your data or you can have your data blocked or deny their processing, k> this respect, you may contact Nuova Accademia srl In charge cf
                 processing your personal data: ^rlvacygJlayeatedesignit

                 SURNAME
                 Bom In
                                                                                        NAME     Ootokl
                 On (date)                                 Gender; F                   Nationality

                 Providing your persona      s optional. However, without your personal data and without your permission, we cannot accept your
                 matriculation to Nuova Accademia Sri and therefore we cannot provide the services and activities you have requested.
                        YES, I AGREE                                    NO, I DON’T AGREE


                 _ __        _     _                                                                      "    *                                                 t i

                 We also ask you to express your agreement or non-agraement to allow your parents or your tutor to obtain data or general information
                                                                                                                                                      and/or
                 specific to your training path and/or academic fife.
                 We
                            infirm you that this agreement is optional and will not prevent Nuova Accademia Srl to supply the required services.
                 fVH, I AGREE                                           NO, I DON'T AGREE



                 Your personal data concerning your academic career or personal records might be transmitted to Nuova Accademia Srl partner companies only
                 to offer you the Housing Service which consists of;
                 We inform you that this agreement is optional and will not prevent Nuova Accademia Sri to supply the required services.
                 1,            Information about available options and services
                 2.            Instructions on how to book and to choose different options
                 3.          y Instructions on how to access the website
                 SITO, I AGREE                                          NO, I DON’T AGREE


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                                                             '   '1              iiiiim...   wvwmwwv                    x >»«««            - ra
                                                                                                                                                  -r   i.   —
                 Furthermore, the data may be disclosed to controlling companies, controlled companies and affiliatesin order to provide you Information
                 regarding activities promoted by the Academy. The collected personal data wHI NOT be spread.
                 We inpsrm you that this agreement is optional and will not prevent Nuova Accademia Srl to supply the required services.
                 ATO, I AGREE                                         O NO, I DON’T AGREE


                 Releasing declaration tor free services
                 According to Legislation n. 196/2003 “Protection of people and other subjects with regards to personal data* and having read the legislation, I
                 authorize N uova Accademia Sri to use copies (made by film, magnetic or photographic support, or   other mean} of my picture or images of any
                 work I produced within Domus Academy, even scaled or adapted, as long as ethics are respected These could be used, with no
                                                                                                                                               time limitations
                 and no charge, for any marketing Initiative to promote the activities suppl^ and/or produced by Nuova Accademia Srl in any form or
                                                                                                                                                      mean. In
                 italy/hd In any foreign Country where similar legislation to 196/2003 apply.
                            65, 1 AGREE                                 NO, I DON’T AGREE



                 Date                                                          Signature




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                                                                                                                                                                           SEC-CVDOJMX-E-0488962


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            GENERAL CONDITION DA Master  -
            The General Condition here below apply to all programs delivered              refunds will be granted to the student (Including any prepaid fees or
            and awarded by Nuova Accademla S.r.t. (HABA), hereby mentioned as             deposits) dismissed under this paragraph.
            DOMU5 ACADEMY (DA).                                                           Fees will be refunded only if visa is rejected and the student sends a
                                                                                          rejection declaration issued by the Italian Embassy or Consulate.
            L In accordance with the article 54, 1st paragraph of the Consumer            The application fee is not refundable for any reason. In case of late
            Code: for signed contracts, contractual proposals of registration at          payment, the student’s attendance will not be registered and this
            distance, and for any contract negotiated outside the site of “Nuava          absents will not be justified.
            Accademla", ft is recognized to the student the right to withdraw
            from the contract without the risk of Incurring In any extra                  6. The student has the right to change the enrollment Intake (and
            expenditure and without the payment of any penalty, within fifteen            master program) within 15 days from the beginning of the course. If
            working days from the conclusion of the contract. The student willing         the student wants to request an intake review, he/she will have to
            to withdraw shall send a written notification containing name and             submit a formal application form and pay a fixed amount of 250,00
            surname, the address of the student, date and place, student’s                Upon the prior authorization of the Direction Board, the student Is
            signature; it will be considered termination date, the date when the          allowed to request the transfer only to the intake directly following
            written notification will be received. The written notification shall be      the one of the first enrollment application, if there are places
                (M».
                                                 -
            addressed to: Nuova Accademia Sri Via C. Darwin 2D, 20143 Milano              available.

            2. If a student withdraws from the contract (awfully, he/she has the           7. DA reserves the right to use its discretion to determine number of
            right to get a refund of all the payments made order to Da, included          courses and type of courses yearly ret up for each program. DA
            the delivery costs of the enrollment fee, without undue delay, within         guarantees to enrolled students the minimum courses required to
            and in any event not later than fourteen days from the day on which           obtain
            DA is informed of the student's decision and has recognized the               the diploma as defined by MIUR (Ministry of Education, University and
            legitimacy of withdrawal. Da will carry out such reimbursement using          Research) or any other present normative.
            the same means of payment the student used for the initial
            transaction, unless he/she has expressly agreed otherwise and                 8. Subjects may change for academic purposes or for Ministerial
            provided that the student shall not incur any costs as a result of such       reasons related to the AFAM reform system (AFAM is the system of
            reimbursement.                                                                “Alta Formazione Artlttica e Musicale", Including all public and
                                                                                          private Fine Am and Music Academies recognized by the Ministry
            3. DA will activate courses only if a minimum of participants will            itself).
            enrol. If a minimum of participants will nut be achieved, the course
            will not lake place. DA will promptly communicate to the student if a
            course will be run or not. DA will inform students at least 30 days           9. Classes will take place according to whatis foreseen in the yearly
            prior the beginning of the course whether ft will not be run. In such         academic calendar,
            event, DA will refund die students in the shortest possible term. DA is       10. DA programs are taught in English. Students are required to
            exempted by any extra costs Incurred by students (Le. travel, food,           submit evidence of their knowledge of the English language. Should
            accommodation...) for the enrolment and admission process.                    the student not be able to submit one of the required certificates, DA
                                                                                          wilt test the student's language knowledge (utilizing the Laureate
            4. DA reserves the right (up to 30 days before beginning of program)          English level test) and will assign them their level If the obtained
            to:                                                                           level is below the required one (IELT5 5.0 or equivalent), students
            •Cancel a course                                                              must attend a specific remedial course. Only obtained revels from
            •Change a course                                                              IELTS 4.5 will provide admittance to the remedial course. The
              Change location of classes                                                  remedial course is arranged by the Language Center
            If a student withdraws up to 1 day before the beginning of the
            program, the student has the right to get a refund of the tuition fee.
            Refund Is not available for the pre-enrollment fee.
                                                                                            .
                                                                                          11 DA guarantees to students access to educational areas for alt the
                                                                                          duration of classes as foreseen for the academic year, and for die
                                                                                          number of hours necessary to complete the program. Further access
            However the student will be given the opportunity to:                         to didactic structures is subject to didactic scheduling needs and
            •   attend a Short Course within the following summer without any             logistic availability.
                additional charge.
            •   defer  his/her participation to a future intake of one of DA              12. DA shall not be liable for any failure or delay in the performance,
                Postgraduate Courses. In this case, the tuition fee wilt remain           in whole or part, of any of our obligations arising from or attributable
                 the same for the following 12 calendar months. After that                 to acts, events, omissions or accidents beyond or reasonable control
                period of time, the new tuition fee will be applied, should any           including, but not limited, to strikes, lockouts or other industrial
                price increase occur. The pre-enrollment fee will be deducted             disputes (Involving our workforce or the workforce of any other
                from the total fee.                                                       party), act of god, war, riot, civil commotion, malicious damage,
            •   in case of deferral to a future Intake, the pre-enrollment fee
                will be considered valid for 24 months.
                                                                                          compliance with any law or governmental order, rule, regulations or
                                                                                          direction, accident breakdown of plant or machinery, fire, flood,
            • the student deferring his/her enrolment has the right to apply              storm, pandemics, epidemics or other outbreaks of disease or
                for another Master Course among those run by the school, as               Infection in the public supply of electricity, heating, lighting, air
                long as his/her application is considered eligible by the                 conditioning or telecommunications equipment.
                admission committee.
                                                                                          13. Each and every Intellectual Property Rights that will result from
            5. Enrolment to a course, together with the payment of the required           the creative and inventive activities related to the projects that will
            enrolment fee. creates a binding agreement to follow the course and           be carried out by individual students or groups of students, within an
            to pay the full fees. DA reserves the right (excepting what's stated on       educational project, under the guidance of DA fs teachers and / or
            paragraphs 1-2-3-4) to dismiss or expel a student at any time for non¬        directors, and any and all materials created, designed and carried out
            payment of fees or any other due amount, failure to meet the ongoing          by students during the academic activity (Le, essays, researches,
            attendance requirement, late commencement of study and/or                     sketches/drawings, models, presentations) will be exclusive property
            withdrawal from courses commenced under any circumstances                     and ownership of DA and will be for free and out righted remised to
            (personal reason, health problem, family related problem-,). No               DA. DA will hold each and every right for taking advantage of the
                                                                                          material and use it for economic purposes. Moreover. DA will also




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                have the right to use the material for any and all purposes such                18. DA reserves the right to seek compensation for any damages
                advertisements, promotion. Internal policy, information, didactic               incurred by the student to the premises and equipment. The student
                research, educational projects etc- (These are not exhaustive                   is required to use them correctly and to respect the cleanliness of the
                examples!. Consequently, DA wilt hold each and every right to                   premises and areas of common use.
                register the Intellectual Property Rights and copyrights tn national,
                European and International registers, without prejudice to the                  19, It is forbidden to bring dogs and other animals on DA campus.
                student right to be recognized as author.
                                                                                                20. DA is not responsible under any condition for any object lost or
                14. Tuition fee do not Include photocopies, lecture notes, colour               property left unattended in the Academy structures.
                printings, materials to be used for all project workshops, computer
                rendering of the final thesis as well as participation in competitions          21. The enrollment of the student In possession of a foreign Bachelor
                and exhibitions.                                                                Degree is accepted upon the followirig conditions:

             15. Late payments of the tuition fee, or any of its instalments, will
                                                                                                • The awarded Degree allows the access to the Academic course
                                                                                                  chosen by the student; this requirement is confirmed by the
             imply a fine of €50 up to M days delays and €100 for furthers delay.
                                                                                                  declaration of value of the foreign degree and the official Italian
             However students are not allowed to enter classes until the time they
                                                                                                  translation of the original study title.
             pay the overdue amount,
                                                                                                • The foreign degree has been awarded after the minimum number
             16. In case of persistent delay DA reserves the right to require the                 of years of education required by ministerial dispositions for
             Immediate payment of the outstanding amount, suspending or                           enrolling to academic studies.
             excluding from the program and from exams the defaulting student as
             welt as to start the necessary legal action for retrieving the total               A Board of Examiners designed by the Chief Academic Officer will
             amount Including alt expenses: Interests, fines, legal billings and                evaluate the validity of the Declaration of Value of the foreign
             everything else.
                                                                                                Bachelor Degree. In case the Declaration of Value is not considered
             17. Students are expected to conduct themselves at all times tn a                  suitable by the Board, the student will be enrolled to the Diploma
             manner which demonstrates respect for DA and Its staff, fellow                     program Course (auditor) of     same course, without obtaining the
             students / delegates and property. Breaches of the Student Code of                 academic formative credits      the Master of Arts Degree Program
             Conduct can amount to gross misconduct, which may lead to                          (ref. Academy Didactic Regul      art. 21/2).
             expulsion from study (without refund) and refund for damage
             property.
                                                                                                22. Any emtroversy falls wi       the competence of the Milan legal
                                                                                                court. A 0
                                                                                                      •




             Moan,
                                                                                                (Student




             Please refer to art.13 of the Italian legislative decree 196^2003 far the personal data processing, in accordance with the terms of the current
             legislation. The applicant can contact Nuovu Accademia Srl concerning the data processing procedures email prlvacy^taureaiededgn.it

            Ihereby declare that I read , In addition to the Information about the course chosen by the student, articles 1} and 2} referring to information and
            instructions about the right of withdrawal , the effects of withdrawal and the procedures to exercise uch right.

             following art. 1341 e 1342 c.c. I declare to have read and approved articles1. 3) Non activation of the course 4) Cancellation andI or changement
             the Course and its location 5) Obligation to pay fees. contribution to didactics, tuition fee 6) Intake's                                           of
             determine number of courses 12) DA‘s exoneration from liability 13) DA
                                                                                                                       d*nff 7) DA's right to use Its discretion to
                                                                                                            rty rights 14 Costs excluded from the fees, rates and
             contributions 20) DA s exoneration from liability in case of toss and misplacement of &Ant’s personal
             court                                                                                   fl » «
                                                                                                                        Effects 21) Bachelor degree 22) Milan legal
                                                                                                                        1     •




                                                                                                (Student signature)




                                                                                            -
                                                    PLEASE DO NOT WRITE BELOW THIS UNE PART RESERVED TO THE ADMINISTRATION OFFICE

            Student e

            Registry Matricole nr.

            Anno Accademica 2017/2018


                                                                                                               Per attestations conformity tiomanda di immatricolasone



                                                                                                                                       (firms delTufifido Amministrathto)




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           The tuition fee for the one-year Academic Master Programs September 2017, is:     -
           Thanks to the 40% reduction you have been granted, the tuition fee for the one-year Master Program is 17.160 instead of 28.600 to be paid as
           foiows:

           STPr^enroi/ment fee together with this enrollment form                                                                                       €3«

           G^uitien      fee to be paid by August 30 , 2017  '



                                                                                                                                                       C 14.113
           Any scholarship or fee reduction will be deducted from this installment




            H 0 ploma Fee to be pa*d by August 30* 2017
           The Diploma Fee applies to students who meet the entry requirements and are interested in receiving a Master
           Accadem^ di Primo Uveiio (Academic Master - 60 ECTS) recognized by MiUR Italian Ministry of Education and
           awarded by NABA Nuava Accademia di Belle Art! together with a Domus Academy Master Dipbma (upon
           successfully completing the program)
           Applicants not holding a first level Bachelor degree or that will not provide the relative Declaration of Value wiM not
                                                                                                                                                                  (^OfcWCof
           earn the educational credits,, but will receive a Domus Academy Master Diploma (not recogn zed by MIUR) en
           successfully completing the program.



           By Flywire

           Domus Academy has partnered w th Flywire in order to streamline the process of international payments.
           Flywire stows you to pay securely from any country and any bank, generally in your home currency
           By making your payment with Flywire you can:

           - Track    your payments from start to finish

           - Save on bank fees and exchange rates
           •Contact their multilingual customer support team with any questions, day ar night

            To get started, visit www.flywlre.com/pay/domusacademy to begin the payment process

            By wire transfer
            Account holder: rWOVAACCADEM^ SRL. Via C Darwin 20, 20143 MilanoJtaly                               •




            Bank name and agency Gruppo Banco 8PM * Milano Ag 10 Via Ariosto 1/A, 20145 Milana
                                            •••; :       ,       ;/ :      •
                                                                                         ...     -         :h       •   • • •    ;

                                                :                                                          .

                                                                                                     ...
                                                     '           '

                                                                     ilv       •   '




                  .           .         ...                            .               ...                                      ...


            By Credit card

            Payments directly at MABA accounting office.



            Please notice that all bank,, credit card and third party charges have to be covered by the student




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           From:      "Wires" <wires@secure.xmeridian.com>
           To:        "Jackson Friesen" <jackson@securecuracao.xmeridian.com>
           Cc:        "Fred Sharp" <fsharp@secure.xmeridian.com>
           Subject:   Re: Wire to NUOVA ACCADEMIA SRL
           Sent:      Fri, 18 Aug 2017 16:22:28 -0500


           Please sign back this loan agreement as a supporting document.

           Thanks!

           On Fri, 18 Aug 2017 12:24:00 -0700, Jackson Friesen wrote
           > Please wire 14,680 Euros to NUOVA ACCADEMIA SRL.
           > Credit GARD Account.

           > Please ensure the "Reason for Payment" is outlined in the wire as:
           > "Chantel DeWaal Tuition Fee I Fashion Management Program"

           > I have attached all the supporting document needed to complete this
           > wire. Please advise.


           >J



           xMeridian.com




                                                                                                   SEC-CVDOJMX-E-0488279


                                                          A2165
Case: 24-1770      Document: 00118249068            Page: 374        Date Filed: 02/18/2025           Entry ID: 6700951
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                                      LINE OF CREDIT AGREEMENT
          THIS AGREEMENT made on August 18, 2017, between Trius Holdings Limited (the "Lender"),
          a Mauritius company of Office 009, Ebene Junction, Rue de la Democratie, Ebene, Republic of
          Mauritius and Dewaal Chatel (the "Borrower"), a Canadian; WITNESSES THAT in consideration
          of the Lender providing a line of credit to the Borrower, the parties agree as follows:

          1.    Line of Credit. The parties acknowledge the Lender has provided a line of credit to the
          Borrower in the principal amount of up to $14,680.00 Euro currency. The Lender shall
          advance funds upto the aforesaid maximum amount when and as directed by the Borrower.

          2.       Payment. The Borrower shall pay to the Lender the amount of all indebtedness owing
          by the Borrower to the Lender in respect of this Agreement, and shall pay interest thereon at the
          rate of 4% per annum calculated annually, ON DEMAND.

          3.      Default. Time shall be of the essence of this Agreement. Default in paying the
          principal amount or any interest due hereunder shall, at the option of the Lender, render the
          indebtedness outstanding under this Agreement at once due and payable. Extension of time
          for payment of all or any part of the amount owing hereunder at any time or times, or failure of
          the Lender to enforce any of the rights or remedies hereunder, shall not release the Borrower
          and shall not constitute a waiver of the rights of the Lender to enforce such rights and remedies
          thereafter.

          4.     Interpretation. All words denoting the singular shall be pluralized throughout this
          Agreement as the context requires and all words denoting gender shall be construed at the
          context requires and will include a body corporate where the context requires.

          5.      Enurement. This Agreement is in addition to any other debt instrument, security or
          agreement between the Lender and the Borrower, and shall enure to the benefit of the Lender,
          its successors and assigns, and shall be binding on the Borrower, its successors and assigns.

          6.     Jurisdiction. The Borrower agrees that any legal action or proceeding against it with
          respect to this Agreement may be brought in Mauritius or in such other court as the Lender
          may elect and, by execution and delivery of this Agreement, the Borrower irrevocably
          submits to each such jurisdiction.

          IN WITNESS WHEREOF the parties have executed this Agreement as of the day and year first
          above written.



          Trius Holdings Limited                               Dewaal Chantel




                Authorized Signatoi                            Signatory




                                                                                                  SEC-CVDOJMX-E-0488280


                                                       A2166
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                                                                                    SEC-CVDOJMX-E-0488281


                                               A2167
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           Ty
                 Original Message
                                                                                                      EXHIBIT
           From: 76
           To: 2                                                                                          18
           Subject: Re: Wire
           Sent: Jul 8, 2013 3:47 PM

           Sent    for value Tues
                    Original Message
           From: GARD
           To: BOND
           To: WIRES
           Subject: Re: wire
           Sent: Jul 8, 2013 3:46 PM

           income.
           will be invoiced to Coventry.
                  Original Message
           From: Bond
           To: 2
           To: 76
           Subject: Re: wire
           Sent: Jul 8, 2013 3:46 PM

           is   this a loan?
                   Original Message
           From: Gard
           To: wires
           Cc: bond
           subject: wire
           Sent: Jul 8, 2013 3:44 PM
           Please wire $420,000 cdn to Ardent Strategies Corp. You have instructions on file.
           Please ensure wire is sent from DGM bank and trust. Please confirm.




 Confidential Pursuant to Securities Exchange Act s.24(d).
 Onward sharing of the materials with other Federal Agencies is not permitted
 Contact OIA for further information at x16691                                                        SEC-MLATCKLP-E-0135160



                                                                   A2168
Case: 24-1770          Document: 00118249068                    Page: 377       Date Filed: 02/18/2025     Entry ID: 6700951
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           Sent   for value Wed
                   Original Message                                                                      EXHIBIT
           From: BOND
           To: WIRES
           To: GARD
                                                                                                            19
           subject: wire
           Sent: Dec 3, 2013 7:39 AM

           Pls wire cad285k from bsit to ferrous capital corp, debt gard




 Confidential Pursuant to Securities Exchange Act s.24(d).
 Onward sharing of the materials with other Federal Agencies is not permitted
 Contact OIA for further information at x16691                                                        SEC-MLATCKLP-E-0794991



                                                                   A2169
Case: 24-1770    Document: 00118249068                           Page: 378         Date Filed: 02/18/2025                Entry ID: 6700951
                Case 1:21-cv-11276-WGY                      Document 427-23           Filed 12/08/23            Page 1 of 1


                                                                                                                       EXHIBIT
                                                      DGM Bank and Trust Inc                                             20
                                     STATEMENT OF ACCOUNT ACTIVITY
                                                           33573
                                            Islandtrust LLC f.k.a Permatrust LLC
                                                      From 03-01-13 To 03-31-13
                      Date                         Description                    Charges/Credits   Account Balance

                  28-Mar-13    Transfer to WIRE TRANSFER                                -1,500.00       1,669,069.65
                  F/O Sadler Gibb & Associates LLC
                  28-Mar-13 Transfer to WIRE TRANSFER                                  -50,000.00       1,619,069.65
                  F/O Oryon Technologies LLC
                  28-Mar-l 3 Transfer to WIRE TRANSFER                                 -20,015.00       1,599,054.65
                  F/O W.L. MacDonald Law Corporation
                  28-Mar-13 Expense WIRE TRANSFER FEE                                      -70.00       1,598,984.65
                  28-Mar-l 3 Expense WIRE TRANSFER FEE                                     -70.00       1,598,914.65
                  28-Mar-13 Expense WIRE TRANSFER FEE                                      -70.00       1,598,844.65
                  28-Mar- 1 3 Expense WIRE TRANSFER FEE                                    -70.00       1,598,774.65
                  28-Mar-13 Expense WIRE TRANSFER FEE                                      -70.00       1,598,704.65
                  29-Mar-13 Unrealized Gain MMF                                              0.00       1,598,704.65
                  29-Mar- 1 3 Realized Gain MMF                                              0.00       1,598,704.65
                               Balance at March 31,2013                                                 1,598,704.65

                  Canadian Dollar.
                              Balance at February 28, 2013                                              1^8941932
                  04-Mar-l 3 Transfer to WIRE TRANSFER                                -100,000.00       1,189,319.32
                  F/O Canyonview Construction Ltd
                  04-Mar-1 3 Expense WIRE TRANSFER FEE                                    -100 00       1 189 219 32
                  06-Mar- 1 3   Transfer to WIRE TRANSFER                             -155,500.00       1,033719.32
                  F/O Ferrous Capital Corporation
                  06-Mar-1 3 Transfer to WIRE TRANSFER                                -112,000.00         921,719.32
                  F/O 0847865 BC Ltd
                  06-Mar-1 3 Transfer to WIRE TRANSFER                                 -30,000.00         891,719.32
                  F/O Steadfast Management Corp
                  06-Mar-1 3 Expense WIRE TRANSFER FEE                                    -160.00         891,559.32
                  06-Mar- 1 3 Expense WIRE TRANSFER FEE                                   -160.00         891,399.32
                  06-Mar-1 3 Expense WIRE TRANSFER FEE                                    -100.00         891,299.32
                  07-Mar-l 3 Transfer to WIRE TRANSFER                                -220,000.00         671,299.32

                  07-Mar-13 Transfer to WIRE TRANSFER                                 -412,500.00         258,799.32
                  F/O Ardent Strategies Corporation
                  07-Mar-l 3 Transfer to WIRE TRANSFER                                 -50,000.00         208,799.32
                  F/O Lakeside Strategies Inc
                  07-Mar-l 3 Expense WIRE TRANSFER FEE                                    -160.00         208,639.32
                  07-Mar- 1 3 Expense WIRE TRANSFER FEE                                   -160.00         208,479.32
                  07-Mar-l 3 Expense WIRE TRANSFER FEE                                    -100.00         208,379.32
                  08-Mar- 1 3 Transfer to WIRE TRANSFER                               -172,000.00          36,379.32
                  F/O Thomas Lynch
                  08-Mar- 1 3 Expense WIRE TRANSFER FEE                                   -160.00          36,219.32
                  ll-Mar-13 Transfer from INCOMING FUNDS                                 5,904.15          42,123.47
                  B/O RTN Funds OC dd 28Feb13 CAD
                  1 1-Mar-l 3 Transfer from UNITED STATES DOLLAR                       915,948.00         958,071.47
                  11-Mar-1 3 Transfer from UNITED STATES DOLLAR                      1,218,294.00       2,176,365.47
                  12-Mar-l 3 Transfer to WIRE TRANSFER                                 -35,000.00       2,141,365.47
                  F/O Steadfast Management Corp
                  12-Mar-l 3 Expense WIRE TRANSFER FEE                                    -100.00       2,141,265.47
                  13-Mar-l 3 Transfer to WIRE TRANSFER                                -580,000.00       1,561,265.47
                  F/O Donald F. Gurney Law Corporation
                  13-Mar-13 Expense WIRE TRANSFER FEE                                     -225.00       1,561,040.47
                  14-Mar-13 Transfer to WIRE TRANSFER                                   -1,132.00       1,559,908.47
                  F/O Tech-Home Solutions Ltd
                  14-Mar-13 Transfer to WIRE TRANSFER                                  -50,000.00       1,509,908.47
                  F/O Global Met Coal Corporation
                  14-Mar-l 3 Expense WIRE TRANSFER FEE                                    -100.00       1,509,808.47

                                                                   8




                                                                                                                              DGM001105


                                                                  A2170
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                                                                                                     EXHIBIT
          Company was formed a few days ago                                                            21
          ------Original Message------
          From: Gard
          To: bond
          Subject: Re: Sun peaks
          Sent: Mar 1, 2013 12:39 PM

          U haven't confirmed that the corporation is done. Was waiting on that.
          ------Original Message------
          From: Bond
          To: 2
          Subject: Sun peaks
          Sent: Mar 1, 2013 12:25 PM

          Have u instructed gurney to do this conveyance yet? We have the cad ready to wire to him




                                                          A2171
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          Valley drive estates inc, at your office address (u will have to amend when u move)
          ------Original Message------
          From: Gard
          To: bond
          Subject: Sun Peaks
          Sent: Apr 3, 2013 11:10 AM

          Please provide the full name of the purchasing corporation we set up (valley estates something) as well
          as corporate address. Thnx.




                                                          A2172
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   10/12/21, 9:33 AM Case 1:21-cv-11276-WGY             Document
                                                            BCA Web427-24       FiledRoll
                                                                    Query - Assessment 12/08/23
                                                                                          Report   Page 3 of 4
                                                     Assessment Roll Report
                     Disclaimer
                     This information is obtained from various sources and is determined as of the specific
                     dates set out in the Assessment Act. As a result, BC Assessment cannot warrant that
                     it is current or accurate, and provides it for your convenience only. Use of this
                     information without verification from original sources is at your own risk.

                                                            ©BC Assessment

                     Report Date:            Oct 12, 2021                       Report Time: 09:33:39 AM
                     Folio:                                                     For:         PA70601
                     Roll Year:        2021                         Roll Number: 07099.917
                     Area:             23                           Jurisdiction: 544
                     School District:  73
                     Neighbourhood:    319 - Sun Peaks
                     Property Address: #37 6015 VALLEY DR SUN PEAKS BC V0E 5N0
                     Owner Name:             VALLEY DRIVE ESTATES INC    # of Owners: 1
                     Owner Address:          2288-1177 HASTINGS ST W VANCOUVER BC V6E 2K3
                     Document No:       CA3101583
                     PID:               026-061-724
                     Legal Description: Strata Lot 17, Plan KAS2701, District Lot 6444, Kamloops Div of
                                        Yale Land District, TOGETHER WITH AN INTEREST IN THE
                                        COMMON PROPERTY IN PROPORTION TO THE UNIT
                                        ENTITLEMENT OF THE STRATA LOT AS SHOWN ON FORM 1 OR V,
                                        AS APPROPRIATE

                     2021 Value
                       Property Class            Land       Improvement
                       Residential            $586000            $213000
                                                                             Total Actual Value: $799000
                     2020 Value
                       Property Class            Land       Improvement
                       Residential            $553000            $212000
                                                                             Total Actual Value: $765000
                     2019 Value
                       Property Class            Land       Improvement
                       Residential            $481000            $214000
                                                                             Total Actual Value: $695000
                     Manual Class: D701 - Strata Townhouse
                     Actual Use:   039 - Row Housing (Single Unit Ownership)
                     Tenure:       01 - Crown-Granted
                     ALR:
                     Land Dimension:          Land Dimension Type:
                     Sales:         Number    Description
                                     #1       A SINGLE PROPERTY, IMPROVED SALE occurred on 30 Apr
                                              2013. This was a CASH sale and the price was 580,000. The
                                              document # was CA3101583.
                                     #2       A SINGLE PROPERTY, IMPROVED SALE occurred on 03 Dec
                                              2004. This was a CASH sale and the price was 477,500. The
                                              document # was KW171725.
                                     #3       A NON-SALE occurred on 23 Sep 2004. The document # was
                                              KW133029.
                     Additional Owners:                                              Associated PIDs:
                          No Additional Owners


   https://www.bconline.gov.bc.ca                                                                                     1/1



                                                               A2173
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                 BC Registry                             Mailing Address:
                                                         PO Box 9431 Stn Prov Govt
                                                                                         Location:
                                                                                         2nd Floor - 940 Blanshard Street
         British
        Columbia Services
                                                         Victoria BC V8W 9V3             Victoria BC
                                                         www.corporateonline.gov.bc.ca   1 877 526-1526



                                      BC Company Summary
                                                 For
                                      VALLEY DRIVE ESTATES INC.

      Date and Time of Search:      October 12, 2021 09:38 AM Pacific Time
      Currency Date:                September 07, 2021


                                                       ACTIVE
      Incorporation Number:        BC0963535
      Name of Company:             VALLEY DRIVE ESTATES INC.
      Business Number:             826525339 BC0001
      Recognition Date and Time:   Incorporated on February 27, 2013 11:36 AM Pacific             In Liquidation: No
                                   Time
      Last Annual Report Filed:    February 27, 2021                                              Receiver:             No


     REGISTERED OFFICE INFORMATION
      Mailing Address:                                  Delivery Address:
      SUITE 2288-1177 HASTINGS STREET W                 SUITE 2288-1177 HASTINGS STREET W
      VANCOUVER BC V6E 2K3                              VANCOUVER BC V6E 2K3
      CANADA                                            CANADA


     RECORDS OFFICE INFORMATION
      Mailing Address:                                  Delivery Address:
      SUITE 2288-1177 HASTINGS STREET W                 SUITE 2288-1177 HASTINGS STREET W
      VANCOUVER BC V6E 2K3                              VANCOUVER BC V6E 2K3
      CANADA                                            CANADA


     DIRECTOR INFORMATION

     Last Name, First Name, Middle Name:
     Friesen, Jackson
      Mailing Address:                                  Delivery Address:
      2288- 1177 WEST HASTINGS STREET                   2288- 1177 WEST HASTINGS STREET
      VANCOUVER BC V6E 2K3                              VANCOUVER BC V6E 2K3
      CANADA                                            CANADA


     NO OFFICER INFORMATION FILED AS AT February 27, 2021.




                                                                                                    BC0963535 Page: 1 of 1



                                                       A2174
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                   Case 1:21-cv-11276-WGY         Document 427-25        Filed 12/08/23
                                                                            EXHIBIT       Page 1 of 6
                                                                                                    EXHIBIT
                                                                               22
                                                                                                  Friesen 49
           Subject: FW: wire EUR3K to Nuvoa
           Date:     Tuesday 9 May 2017 16 h 51 min 03 s Central European Summer Time
           From:     Julie
           To:       Ereza




           From: Trius Holdings Limited <trius@yourmail.bz>
           Date: Tuesday, 9 May 2017 at 16:42
           To: Julie <Julie@blacklightsa.ch>
           Subject: wire EUR3K to Nuvoa

           Please send for value Wednesday

           Thank you!




                                                         A2175
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                 Case 1:21-cv-11276-WGY           Document 427-25     Filed 12/08/23   Page 2 of 6




                FAX TO: KENNETH CIAPALA                                       011-41-22-761-4489

                RE: Account# 001600012944010

                Please wire EUR3,000.00 from the above account to:

                Gruppo Banco BPM - Milano Ag 10 - Via Ariosto 1/A, 20145 Milano
                SWIFT: BAPPIT22
                Beneficiary: NUOVA ACCADEMIA SRL, Via C. Darwin 20, 20143 Milano, Italy
                IBAN code: IT36U0503401610000000000251
                Reference: Chantel De Waal

                Please send for value Wednesday, May 10, 2017.

                The purpose of this wire is a payment of invoice.

                Yours very truly,

                TRIUS HOLDINGS LTD.



                       Wolsey '
                Jordan \X7n1cPV
                May 10, 2017




                                                        A2176
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                  Case 1:21-cv-11276-WGY                              Document 427-25                        Filed 12/08/23          Page 3 of 6




                DA
                Domus Academy



                To Ms. De Waal Chantel.


                Milan, 05/05/2017

                Subject: Academic Master In Fashion Management a.y. 2017/2018


                Dear Chantel,

                Congratulations!                                                                                                _       .
                                                                                                                              a Program designed
                                                                                                                                                  .
                Thank you for your application to study on our Master Program in Fashion Management,
                and delivered by Domus Academy faculty, allowing eligible participants to
                                                                                            receive an Academic Master
                                                                                                       by NABA (Nuova
                recognized by the Italian Ministry of Education. University and Research and awarded
                Accademia di Belle Art! Milano) on its successful completion.
                                                                                                                 a place.
                After a careful consideration, we are delighted to make you a condilional offer of
                Your Program starts on 30lh August 2017 and ends by July 2018.
                                                                                                     here enclosed together with
                To fulfil your enrolment, you are requested to fill in and return the enrolment form
                the documents listed at the Section IV of the form.

                Please notice that this is a conditional acceptance until the following documents
                                                                                                   are provided to the school.

                •Within 15/05/2017: payment of the pre-enrolment fee of Euro 3 000
                - Declaration of Va^ue of ?he Bachelor Degree, issued by the Italian representative
                                                                                                                            authority in the country
                                  $
                                                                                                     legalized by the Italian
                   copy of th Bachelor Degree, translated into Italian by an official translator and
                -representative authority in the country where the degree was issued
                                                                     Italian by an official translator and legalized                  by the Italian
                 - copy of the academic transcripts, translated into
                                                                  degree was issued
                 representative authority in the country where the

                 For further information you might need please feel free to contact
                 Federica Mariani - Domus Academy Admission Office
                 email: federica.mariani@laurealedesign.it
                 Phone: +390297372125
                                                                                                                        to welcoming you at our
                 We'd like to take this opportunity to congratulate you on your offer and look forward
                 Campus.




                 Alberto Bonisoll
                 Chief Academic Officer



                  Nuovo Accademia Sxl
                  Via Darwin 20. 20143 Milano. Ilalia - Tel +39 02 97372 1 - Fax +39 02 97372 280
                  Cap. $DC. Lv. 10.400 - partita 1VA O61O69I0158 - R.l. e C.F. 04B448905S4 - R.E.A 1074975
                  Society unipcrsonoir sogyclta a diiczionc c coordinamcnto di
                  Laureate Education. Inc Baltimore. Maryland. USA
                  www.naba.it
                  www domusacadcmy corn




                                                                                A2177
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                  Case 1:21-cv-11276-WGY                                     Document 427-25                           Filed 12/08/23            Page 4 of 6




                  SECTION VI: FEES

                 The tuition fee for the one-year Academic Master Programs -September 2017, is:
                 Thanks to the 40% reduction you have been granted, the tuition fee for the one-year Master Program is C 17.160 Instead of 28 600 to be paid as
                 folOWS:

                    Pre-enrollment fee together with this enrollment form                                                                              C 3.000

                    Tuition fee to be paid by August 30* , 2017
                                                                                                                                                      C 14.160
                 Any scholarship or fee reduction wBI be deducted from this installment

                  SECTION VII: DIPLOMA FEE

                    Diploma Fee to be paid by August 30*, 2017                                                                                        €520,00

                 The D ploma Fee applies to students who meet the entry requirements and are Interested In receiving a Master
                 Accademico di Primo Uvello (Academic Master - 60 ECTS) recognized by MIUR Italian Ministry of Education and
                 awarded by NASA Nuova Accademia di Belle Arti together with a Domus Academy Master Diploma (upon
                 successfully completing the program).
                 A ppi cants not holding a first level Bachelor degree or that will not provide the relative Declaration of Value wBI not
                 earn the educational credits, but will receive a Domus Academy Master Diploma (not recognized by MIUR) on
                 successfully completing the program.

                  SECTION VIII: PAYMENT PROCEDURE

                 By Flywire

                 Domus Academy has partnered with Flywife In order to streamline the process of international payments.
                 Flywire allows you to pay securely from any country and any bank, generally In your home currency.
                 By making your payment with Flywife you can:

                 - Track your payments from start to finish
                 •Save on bank fees and exchange rates

                 - Contact their multilingual customer support team with any questions, day of night
                 To get started, visit www.ftywirexom/pay/domusacademy to begin the payment process
                 By wire transfer

                 Account holder. NUOVA ACCADEMIA SRI, Via G Darwin 20, 20143 Milano, Italy

                 Bank name and agency: Gruppo Banco BPM - Milano Ag 10 - Via Ariosto 1/A, 20145 Milano
                 International bank details; SWIFT code: BAPPIT22. IBAN code: IT36U0SO34016100000OO000251
                 Reason for payment: Please, dearly specify name of student/program chosen
                 Copy of the wire transfer payment receipt shall be sent together with the Enrollment form.

                 By Credit card

                 Payments directly at NASA accounting office.



                 Please notice that all bank, credit card and third party charges hove to be covered by the student




                www.domusacademy.com




                                                                                         A2178
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     Summary of Accounts                 Case 1:21-cv-11276-WGY                                 Document 427-25                             Filed 12/08/23                       Page 5 of 6           10/05/17 10:36




                                                                                                                                                                                        Passionate
                      AFRASIAZ           bank different
                                                                                                                                                                                           Partners



         Current User                                               Date in Mauritius                  Time in Mauritius             Your Date & Time                Last Login
                                                                    1 O-May -201 7                     12:34:52                      10- Mat >20 17 10:36:40         04- May-20 17 13:23:23                  Log Out
         ANTHONY MK HAI 1 KILLARNEY ( O
         1 RIIS HOLDINGS LIMITED


         SELECT DIFFERENT CLIENT ...


                                                          Summary of Accounts
          r—         M Home
          I                                                 Accounts Balances         Mini Transaction List        Full Statement
                     Accounts Information
             >        •—   T Savings/Current Accounts                                                                                                                             Export Account Balances to PDF
             '        i
                      :    V Term Deposits
                                                                      Customer ID                                  Customer Name
             ;        :    T Loan Balances
                       j- T Credit Card Balances                a     012944                                       TRIUS HOLDINGS LIMITED

                      r- 1 Exchange Rates                                                                                                                                Available        Ledger
                                                                       Account Number Account Name                         Account 'IN pe                   Currency
                      !   -t Credit Card Statement                                                                                                                       Balance          Balance

                     Approvals Management                                                   TRIUS HOLDINGS                 FCY CURRENT                      EUR          176.135.81       176.135.81     Mini Full
                                                                       001600012944032
         r   J Correspondence                                                               LIMITED                        ACCOUNT NR
                     I- u nds Transfer                                                      TRIUS HOLDINGS                 FCY CURRENT
                                                                       001600012944010                                                                      USD          542,506.03       542,506.03     Mini Full
                     Funds Transfer ( lemplakm                                              LIMITED                        ACCOUNT NR
         W Maintenance                                                                      TRIUS HOLDINGS                 FCY CURRENT                      CAD          308.51           308.51         Mini Full
                                                                       001600012944021                                     ACCOUNT NR
         J/ ^Miscellaneous                                                                  LIMITED
         f/ Sen ice Requests
                 •
                     T Change Password                    I .alvl




                                                                                                   Copyright 2015© Ai rAsia Bank Limited


                                                                                                                                                                             Banking
                                                          I Disclaimer I Security and Privacy I Terms and Conditions I User Agreement I Important information about Online



                                                                                                       Designed by Fintech




                                                                                                                                                                                                            Page 1 of 1
      https://ib.afrasiabank.com/aafinpayc/AccountSummary.aspx




                                                                                                            A2179
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     Transfer Outside Mauritius        Case 1:21-cv-11276-WGY                                    Document 427-25                          Filed 12/08/23                   Page 6 of 6        10/05/17 10:44




                                                                                                                                                                  Passionate
                AFRASIAZ           bank different
                                                                                                                                                                     Partners



                                                              Date in Mauritius               Time in Mauritius       Your Date & Time            Last Login
                                                                                                                                                                            —
         Current User
          \N I IIOW MICHAEL KILLARNEY CO                      IO-Muy-2(H7                     12:41:4»                10-May-20l7 10:44:21        04- May-20 17 13:23:23          Log Out
          mil S HOLDINGS LIMITED


          SELECT DIFFERENT CLIENT                 ...
                                                        INTERNATIONAL FUNDS TRANSFER
          I—
          :    T Home
               Aremmt« Information
                                                                   Account
                                                          Account Number
                                                                             — JOO       1600012944032 (TRIUS HOLDINGS L1MITED--EUR-FCY CURRENT ACCOUNT NR)                     JI
               Approvals Management
                                                          Account Name              TRIUS HOLDINGS LIMITED
         f/ < airrespondemc
         W Hinds Transfer                                 Account Type              FCY CURRENT ACCOUNT NR

                !— 5 Transfer to My Accounts             Currency                   EURO

                     T Transfer to Local Bank
                !— T Transfer Within AfrAsh
                                                         Funds Transfer Details     Supporting Documents     Transfer History Listing
                i—T Transfer Outside Mauritius
                I                                        Transaction Details Confirmation
                I— ’I Standing Order
                                                          -Beneficiary Details
                •—   T MR A Tax Payment
                '— T Transfer Multiple Payments             Beneficiary Name                     NUOVA ACCADEMIA SRL
                !~ T Salary File Upload                                                          IT36U050340 1 610000000000251
           :    i                                           Account Number
           1    i— V Credit Card Payments
                                                            IBAN                                 IT36U050340 1 6 1 0000000000251
           i         T Prepaid Card Topup
               Hinds Transtei -i Irinplates,                Ben. Name cont. / Address            VIA C DARWIN 20
          V/ Maintenance                                    Beneficiary Address 2                20143 MILANO
               Mis, eil.itn-oiis

               Sers ice Requests
               f Change Password
                                                          -Beneficiary Bank Details

                                                            Country
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                                                            Beneficiary Bank Code

                                                            Beneficiary Bank Swift Code          BAPPIT22
                                                            Bank Address                         MILANO AG 10 VIA ARIOSTO 1 A 20145 MILANO

                                                          -Correspondence Bank Details       —
                                                            Bank Name

                                                            Bank Swift Code

                                                            Bank Address

                                                          -Other Details            '—
                                                                                             —
                                                            Transfer Currency                     EURO (EUR)
                                                            Tranfer Amount                       3000
                                                                                                  THREE THOUSAND ONLY
                                                            Amount in Words
                                                                                                                                                         Z
                                                            Exchange Rate

                                                            Date Negotiated                       1 0-May-2017

                                                            Dealer

                                                            Charges                               Remitter - All Charges

                                                            Purpose                               OTHERS
                                                            Comments                              please execute value date 10.05.2017

                                                                                                                                                         Z

                                                          (-Remittance Information

                                                             Payment Detailsl              CHANTEL DE WAAL
                                                             Payment Details2               MASTER IN FASHION MANAGEMENT
                                                             Payment Details3

                                                             Payment Details4
                                                                                                             -
                                                           Enter your Login Password




                                                                                                                                                                                                  Page 1 of 2
      https://ib.afrasiabank.com/aafinpayc/FundsTransferlnternational.aspx




                                                                                                           A2180
Case: 24-1770          Document: 00118249068                    Page: 389       Date Filed: 02/18/2025     Entry ID: 6700951
                     Case
                      Case1:21-cv-11276-WGY
                            1:21-cv-11276-WGY Document
                                              Document427-26
                                                       269-47 Filed
                                                              Filed04/17/23
                                                                    12/08/23 Page
                                                                              Page11
                                                                                   ofof
                                                                                      11                       EXHIBIT

                                                                                                               Kelln 4
           After deposits are done, sorry I sent you a message yesterday going over this.
                 Original Message
           From: Celt
           To: 19
           Subject: Re: U around all day Wednesday?
                                                                                      EXHIBIT                 SJ Exhibit




                                                                                                                               exhibitsticker.com
           Sent: 8 Feb 2013 00:32

           When is this happening?                                                        23                        47
                   Original Message
                                                                                                             21-cv-11276-WGY
           From: ELGI
           To: CELT
           Subject: Re: u around all day Wednesday?
           Sent: Feb 7, 2013 8:27 AM

           My concern is the one for 200k especially after restructure (forward split) it will be
           over 5 percent? They are doing a 50-1 forward then cancelling restricted to bring total
           to 110 million out! 200k at 50 times is lOmillion?
                 Original Message
           From: Celt
           To: 19
           Subject: Re: U around all day Wednesday?
           Sent: 8 Feb 2013 00:22

           The process is: I group certs together that keep the total under 5%. Then I send them in
           for transfer to the TA. Once processed the ta fedex's them to the broker. Then we wait
           for the shares to clear.
           we only submit 1 transfer a day per broker until we have submitted all the shares,
           correct, there was no cert totaling 250k but there was a cert for 200k and one for 50k.
           They went together and 2 certs became 1 in the name of our company to be deposited at
           our broker.

           Does this make sense? Let me know if u need any further info. Thx!

                   Original Message
           From: ELGI
           to: celt
           Subject: Re: u around all day Wednesday?
           Sent: Feb 7, 2013 8:12 AM

           when u say you sent in 250 k cert there were none that big were there?
                 Original Message
           To: Celt
           Subject: Re: u around all day Wednesday?
           Sent: 7 Feb 2013 23:27

           Do you have a minute to explain the process with the certs? lustywant to understand so
           everything goes smooth?
                 Original Message
           From: Celt
           To: 19
           Subject: Re: u around all day Wednesday?
           sent: 7 Feb 2013 09:53

           Seems to be. I have sent out one transfer of 250,000 today                and another for 200,000 will
           go out tmro before I leave. I will resume the rest on Mond
                   Original Message Truncated




 Confidential Pursuant to Securities Exchange Act s.24(d).
 Onward sharing of the materials with other Federal Agencies is not permitted
 Contact OIA for further information at x16691                                                        SEC-MLATCKLP-E-0571855



                                                                   A2181
Case: 24-1770                Document: 00118249068                            Page: 390           Date Filed: 02/18/2025                            Entry ID: 6700951
                       Case
                        Case1:21-cv-11276-WGY
                              1:21-cv-11276-WGY Document
                                                Document427-27
                                                         269-48 Filed
                                                                Filed04/17/23
                                                                      12/08/23 Page
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                                                                                         4141
                                                                       SJ Exhibit            EXHIBIT




                                                                                                                               exhibitsticker.com
                             Unknown

            Attachments:
                                                                                                                  48                                 Kelln 17
                                                                                                             21-cv-11276-WGY




             Size: 0
             (Empty File)
                                                                                               EXHIBIT
            Status: Unread
            Delivered: 10/31/2016 10:37:16 PM(UTC+0)
                                                                                                        24
                                                       11/1/2016 7:33:23 AM(UTC+0)


       69
                  Start Time: 10/31/2016 12:51:54 PM(UTC+0)
                  Last Activity: 8/3/2017 5:28:22 AM(UTC+0)
                  Number of attachments: 16
                  Source: Threema
                  Body file: chat-128.txt

                 Participants:

                                        SilverWags
                                        SilverWags (owner)



                                        3KD5Y6DN
                                        The Cuntessa



                                        7AURSV28
                                        Arrow777



                 Identifier: Silver_Cuntessa_Group




                                                                                         SilverWags SilverWags
                                                                                         Status: Sent

                                                                                                                         10/31/2016 12:51:54 PM(UTC+0)




                                                                                         SilverWags SilverWags
                                                                                         Status: Sent

                                                                                                                         10/31/2016 12:51:54 PM(UTC+0)




            7AURSV28 Arrow777

            For all things silver

               Participant       Delivered      Read              Played
               SilverWags
               SilverWags


            Status: Unread
            Delivered: 10/31/2016 12:54:52 PM(UTC+0)

                                                 10/31/2016 12:59:35 PM(UTC+0)




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Case: 24-1770             Document: 00118249068                              Page: 391    Date Filed: 02/18/2025   Entry ID: 6700951
                  Case
                   Case1:21-cv-11276-WGY
                         1:21-cv-11276-WGY Document
                                           Document427-27
                                                    269-48 Filed
                                                           Filed04/17/23
                                                                 12/08/23 Page
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                                                                                   4141
         3KD5Y6DN The Cuntessa

         Rocket... cheeky bugger

            Participant      Delivered       Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 10/31/2016 1:01:58 PM(UTC+0)

                                                   10/31/2016 1:03:01 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         What time are u guys coming down today?

            Participant      Delivered       Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 11/1/2016 8:41:41 AM(UTC+0)

                                                    11/1/2016 8:41:56 AM(UTC+0)




         7AURSV28 Arrow777

         I'm down for noon. My lieutenant meet us at resto

            Participant        Delivered            Read            Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 11/1/2016 8:42:16 AM(UTC+0)

                                                           11/1/2016 8:42:16 AM(UTC+0)




         7AURSV28 Arrow777

         Are you with bond?

            Participant      Delivered       Read              Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 11/1/2016 8:42:29 AM(UTC+0)

                                                    11/1/2016 8:42:30 AM(UTC+0)




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                                                                                  A2183
Case: 24-1770             Document: 00118249068                            Page: 392            Date Filed: 02/18/2025   Entry ID: 6700951
                  Case
                   Case1:21-cv-11276-WGY
                         1:21-cv-11276-WGY Document
                                           Document427-27
                                                    269-48 Filed
                                                           Filed04/17/23
                                                                 12/08/23 Page
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                                                                                   4141
         7AURSV28 Arrow777

         Yo super mom , happy holidays

            Participant      Delivered         Read            Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 12/25/2016 10:00:41 PM(UTC+0)

                                                12/26/2016 12:29:35 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Merry Christmas

            Participant      Delivered         Read            Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/25/2016 10:02:02 PM(UTC+0)

                                                12/26/2016 12:29:35 PM(UTC+0)




         7AURSV28 Arrow777

         Howdy

            Participant      Delivered         Read            Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 12/27/2016 7:31:12 PM(UTC+0)

                                                   12/27/2016 7:31:14 PM(UTC+0)




         7AURSV28 Arrow777

         Could you please clarify if you re paid VBIO legend removal? If not, I'm happy to pay in
         order to expedite this DWAC

            Participant                  Delivered                Read                 Played
            SilverWags SilverWags


         Status: Unread
         Delivered: 12/27/2016 7:32:03 PM(UTC+0)

                                                                                    12/27/2016 7:32:05 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I've paid for it more than once.

            Participant      Delivered         Read            Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:10:29 PM(UTC+0)

                                                   12/27/2016 8:11:10 PM(UTC+0)


                                                                                                                                5318


                                                                                  A2184
Case: 24-1770             Document: 00118249068                             Page: 393               Date Filed: 02/18/2025              Entry ID: 6700951
                  Case
                   Case1:21-cv-11276-WGY
                         1:21-cv-11276-WGY Document
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                                                    269-48 Filed
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         3KD5Y6DN The Cuntessa

         I've included copies of the credit card form in my emails to you as well

            Participant            Delivered               Read                   Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:10:47 PM(UTC+0)

                                                                         12/27/2016 8:11:10 PM(UTC+0)




                                                         SilverWags SilverWags

                                                        Have seen what your emailed her but something didn't go through at their end. Katie
                                                        messinger mailed this today "We have received a legend removal request from cert # 1955
                                                        issued to Europa Capital AG for 500,000 shares of VBIO . To complete your order, we need
                                                        different credit card number as provided to us credit card was declined." Pls can you call
                                                        her?
                                                        Status: Sent

                                                                                                                        12/27/2016 8:12:51 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Shit. That's the second dwac.

            Participant      Delivered         Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:13:21 PM(UTC+0)

                                                   12/27/2016 8:13:21 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I'm trying to get this sorted out asap.

            Participant      Delivered         Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:17:46 PM(UTC+0)

                                                   12/27/2016 8:17:47 PM(UTC+0)




                                                                                            SilverWags SilverWags

                                                                                            Thx
                                                                                           Status: Sent

                                                                                                                        12/27/2016 8:18:11 PM(UTC+0)




                                                                                                                                                       5319


                                                                                  A2185
Case: 24-1770             Document: 00118249068                               Page: 394             Date Filed: 02/18/2025                Entry ID: 6700951
                  Case
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                                                           Filed04/17/23
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         3KD5Y6DN The Cuntessa

         Did the first 500 settle yet? To Quezon?

            Participant      Delivered       Read               Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:19:04 PM(UTC+0)

                                                   12/27/2016 8:21:06 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         The second one to Redfern is the one being held due to the fees.

            Participant          Delivered               Read                     Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:19:20 PM(UTC+0)

                                                                     12/27/2016 8:21:06 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Island said they instructed the Quezon one on Thursday.

            Participant         Delivered             Read                Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:19:34 PM(UTC+0)

                                                                12/27/2016 8:21:06 PM(UTC+0)




                                                                    SilverWags SilverWags

                                                                   Quezon qty got actioned on Friday by TA but appears not to have hit our acct yet
                                                                   Status: Sent

                                                                                                                          12/27/2016 8:22:09 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Then wouldn't that be a Silverton issue?

            Participant      Delivered       Read               Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:22:32 PM(UTC+0)

                                                   12/27/2016 8:22:38 PM(UTC+0)




                                                                                                                                                         5320


                                                                                     A2186
Case: 24-1770             Document: 00118249068                               Page: 395             Date Filed: 02/18/2025                        Entry ID: 6700951
                  Case
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                                           Document427-27
                                                    269-48 Filed
                                                           Filed04/17/23
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                                                                                   4141
                                                                         SilverWags SilverWags

                                                                        Yes it is. Should settle v shortly. Didn't mean it was anything for you
                                                                        Status: Sent

                                                                                                                              12/27/2016 8:23:31 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Oh awesome.

            Participant      Delivered         Read            Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:26:08 PM(UTC+0)

                                                   12/27/2016 8:26:12 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         So can u pls do me a solid and pay for the Redfern dwac. Our CC was compromised and we
         can't process anymore charges till the new card arrives

            Participant                  Delivered                Read                     Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:26:43 PM(UTC+0)

                                                                                        12/27/2016 8:26:47 PM(UTC+0)




         7AURSV28 Arrow777

         Will do. Thx

            Participant      Delivered         Read            Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 12/27/2016 8:34:08 PM(UTC+0)

                                                   12/27/2016 8:38:11 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Love you guys!! Thanks so much. Sorry for the cluster fuck.

            Participant          Delivered             Read                 Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/27/2016 8:38:06 PM(UTC+0)

                                                                 12/27/2016 8:38:11 PM(UTC+0)




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                                                                                   A2187
Case: 24-1770             Document: 00118249068                            Page: 396                 Date Filed: 02/18/2025               Entry ID: 6700951
                  Case
                   Case1:21-cv-11276-WGY
                         1:21-cv-11276-WGY Document
                                           Document427-27
                                                    269-48 Filed
                                                           Filed04/17/23
                                                                 12/08/23 Page
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                                                                                   4141
         3KD5Y6DN The Cuntessa

         Any news on either of the vbio clearing? WE ARE DYING!!!

            Participant         Delivered             Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/28/2016 7:27:09 PM(UTC+0)

                                                               12/28/2016 7:27:17 PM(UTC+0)




                                                                                              SilverWags SilverWags

                                                                                          Quezon one is in and trading with 4
                                                                                          Status: Sent

                                                                                                                          12/28/2016 7:27:33 PM(UTC+0)




                                                                                         SilverWags SilverWags

                                                                                         Card number given to Island for other DWAC
                                                                                        Status: Sent

                                                                                                                          12/28/2016 7:28:32 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ur the best.

            Participant      Delivered       Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/28/2016 8:22:14 PM(UTC+0)

                                                   12/28/2016 8:22:15 PM(UTC+0)




                                                          SilverWags SilverWags

                                                          ENVV: are you sending us a new instruction in order to journal position from quezon to acct
                                                          1070 at silv?
                                                         Status: Sent

                                                                                                                          12/29/2016 6:35:29 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Is 1070 different than anevorta?

            Participant      Delivered       Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 12/29/2016 6:56:58 PM(UTC+0)

                                                   12/29/2016 6:56:59 PM(UTC+0)




                                                                                                                                                         5322


                                                                                  A2188
Case: 24-1770             Document: 00118249068                                 Page: 397                Date Filed: 02/18/2025               Entry ID: 6700951
                  Case
                   Case1:21-cv-11276-WGY
                         1:21-cv-11276-WGY Document
                                           Document427-27
                                                    269-48 Filed
                                                           Filed04/17/23
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                                                                                   4141
                                                                                         SilverWags SilverWags

                                                                                         DWAC of 1.6m DIGAF for SIMO settled. Pls update Q
                                                                                     Status: Sent

                                                                                                                              2/2/2017 1:19:13 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         YES!!! Now I can send another before I go away. This is great.

            Participant          Delivered              Read                Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Delivered: 2/2/2017 3:44:08 PM(UTC+0)

                                                                    2/2/2017 3:44:09 PM(UTC+0)




                                                                                                SilverWags SilverWags


                                                                                                Status: Sent

                                                                                                                              2/2/2017 3:44:54 PM(UTC+0)




                                                                           SilverWags SilverWags

                                                                           Did your Hilton/ hampton docs reach island yet? Can we instruct?
                                                                          Status: Sent

                                                                                                                             2/3/2017 12:42:45 PM(UTC+0)




                                                                           SilverWags SilverWags

                                                                           The qty for Hilton of 750,000 VBIO is 5.2% of outstanding stock.
                                                                          Status: Sent

                                                                                                                             2/3/2017 12:56:03 PM(UTC+0)




                                                                  SilverWags SilverWags

                                                                 Is that what you meant to send? We can't do more than 5% in one go for one client
                                                                 Status: Sent

                                                                                                                             2/3/2017 12:56:35 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I will ask Acco

            Participant      Delivered           Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Delivered: 2/3/2017 4:13:07 PM(UTC+0)

                                                    2/3/2017 4:13:13 PM(UTC+0)




                                                                                                                                                           5361


                                                                                 A2189
Case: 24-1770             Document: 00118249068                                  Page: 398                Date Filed: 02/18/2025               Entry ID: 6700951
                  Case
                   Case1:21-cv-11276-WGY
                         1:21-cv-11276-WGY Document
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                                                    269-48 Filed
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         3KD5Y6DN The Cuntessa

         Issued and outstanding of VBIO is 17,747,581. Pls email TA so they can confirm and reply
         and u can show ur custodian.

            Participant                  Delivered                 Read                        Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Delivered: 2/3/2017 4:28:45 PM(UTC+0)

                                                                                             2/3/2017 4:28:59 PM(UTC+0)




                                                                                                 SilverWags SilverWags

                                                                                                 Thx
                                                                                                 Status: Sent

                                                                                                                                 2/3/2017 4:34:09 PM(UTC+0)




                                                                                SilverWags SilverWags

                                                                                Have the docs for the 750k shs of VBIO for SIHI been sent to TA?
                                                                            Status: Sent
                                                                            Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                2/13/2017 3:56:05 PM(UTC+0)




                                                                 SilverWags SilverWags

                                                                 We just called them and they said they haven't received anything in from Hilton on it
                                                                 Status: Sent
                                                                 Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                2/13/2017 3:56:28 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I will look.

            Participant      Delivered           Read           Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                     2/13/2017 4:07:34 PM(UTC+0)




         7AURSV28 Arrow777

         Hola. On April 21, 2016 BAQU sent $1.3million CAD to Bell Alliance. Just spoke with Bond,
         could you amend Line of Credit for Silverton to Heritage please.

            Participant                  Delivered                 Read                        Played
            SilverWags SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                            2/13/2017 4:15:44 PM(UTC+0)




                                                                                                                                                              5362


                                                                                    A2190
Case: 24-1770             Document: 00118249068                         Page: 399             Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
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                                                                                    4141
         7AURSV28 Arrow777

         I understand you sign for H

            Participant     Delivered         Read           Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/13/2017 4:16:03 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I don't know anything about this? I don't sign for anything. Pls speak to Bond again.

            Participant            Delivered                Read                Played
            SilverWags
            SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                           2/13/2017 4:41:25 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I don't handle money transactions. That would be Bond only.

            Participant         Delivered            Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                               2/13/2017 4:41:41 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Especially with a LOC

            Participant     Delivered         Read           Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/13/2017 4:41:47 PM(UTC+0)




                                                                                                                              5363


                                                                              A2191
Case: 24-1770             Document: 00118249068                            Page: 400                 Date Filed: 02/18/2025                     Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1111
                                                                                 ofof
                                                                                    4141
         7AURSV28 Arrow777

         Okay. Thx

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/13/2017 4:43:20 PM(UTC+0)




                                                             SilverWags SilverWags

                                                            Hey I just spoke to Fire. He said you are going to be sending me some docs for
                                                            GRMX dwac
                                                            Status: Sent
                                                            Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/13/2017 5:11:10 PM(UTC+0)




                                                                       SilverWags SilverWags

                                                                       Anything you need to process and bring our way that I can help with?
                                                                       Status: Sent
                                                                       Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/13/2017 5:12:42 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I haven't got the certs yet. As soon as I do, we will T it all up.

            Participant          Delivered           Read                    Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                     2/13/2017 5:13:53 PM(UTC+0)




                                                                                             SilverWags SilverWags

                                                                                            Ok
                                                                                            Status: Sent
                                                                                            Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/13/2017 5:14:01 PM(UTC+0)




                                                            SilverWags SilverWags

                                                            Also he wants to bring more PSCR to us via you and silv/Bond companies. Qty is
                                                            25,780,000
                                                            Status: Sent
                                                            Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/13/2017 5:16:48 PM(UTC+0)




                                                                                                                                                               5364


                                                                                A2192
Case: 24-1770             Document: 00118249068                        Page: 401           Date Filed: 02/18/2025                     Entry ID: 6700951
                   Case
                    Case1:21-cv-11276-WGY
                          1:21-cv-11276-WGY Document
                                            Document427-27
                                                     269-48 Filed
                                                            Filed04/17/23
                                                                  12/08/23 Page
                                                                            Page1212
                                                                                   ofof
                                                                                      4141
                                                                                  SilverWags SilverWags

                                                                                  Can you tie in with him to coord?
                                                                                  Status: Sent
                                                                                  Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                       2/13/2017 5:17:02 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Will do

            Participant          Delivered    Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/13/2017 5:48:38 PM(UTC+0)




                                                                                  SilverWags SilverWags

                                                                                  Thank you super
                                                                                  Status: Sent
                                                                                  Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                       2/13/2017 5:49:00 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Attachments:




          Size: 87985
          File name: image_159
          image_159




          Size: 44169
          File name: image_158
          image_158


            Participant          Delivered    Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/15/2017 6:46:57 AM(UTC+0)




                                                                                                                                                     5365


                                                                              A2193
Case: 24-1770             Document: 00118249068                              Page: 402                Date Filed: 02/18/2025                 Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1313
                                                                                 ofof
                                                                                    4141
         7AURSV28 Arrow777




            Participant     Delivered         Read           Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/15/2017 6:46:57 AM(UTC+0)




         3KD5Y6DN The Cuntessa

         You have the certs for Oculus. What names are the shares in?

            Participant         Delivered            Read                   Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                    2/16/2017 5:31:35 AM(UTC+0)




                                                     SilverWags SilverWags

                                                     They are in various names of individuals. What I propose is to group certs to make up a
                                                     posn of just under 5% for each bond co.
                                                     Status: Sent
                                                     Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                          2/16/2017 12:38:56 PM(UTC+0)




                                                      SilverWags SilverWags

                                                     You can then take posn 1 and allocate to siqu for example and posn 2 to sisa etc. does that
                                                     work for you ok?
                                                     Status: Sent
                                                     Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                          2/16/2017 12:40:42 PM(UTC+0)




                                                                        SilverWags SilverWags

                                                                       Separately, have you got docs for us on GRMX to take in a dwac of that?
                                                                       Status: Sent
                                                                       Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                          2/16/2017 12:41:09 PM(UTC+0)




                                                                              SilverWags SilverWags

                                                                             That was a typo. I meant I have 3 posns of just under 5% each
                                                                             Status: Sent
                                                                             Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                           2/16/2017 2:25:03 PM(UTC+0)




                                                                                                                                                         5366


                                                                                  A2194
Case: 24-1770             Document: 00118249068                              Page: 403                  Date Filed: 02/18/2025                     Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1414
                                                                                 ofof
                                                                                    4141
                                                        SilverWags SilverWags

                                                        Morning, When might we be able to get docs for GRMX? Fire saying he wants me to try and
                                                        get this in asap but I need to queue up DHL etc
                                                        Status: Sent
                                                        Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                    2/17/2017 2:13:44 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I have to transfer all the stock to Noms first. Fire needs to relax. There is a process.

            Participant             Delivered                  Read                   Played
            SilverWags
            SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                  2/17/2017 4:34:14 PM(UTC+0)




                                                                                               SilverWags SilverWags

                                                                                               Np
                                                                                               Status: Sent
                                                                                               Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                    2/17/2017 4:34:23 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Hey!! I know it's a us holiday today but I'm hoping to get an update of some of these stocks I
         still have as pending:
         JOB 1m to Simo
         JOB 1m to Siqu
         DIGA 1.6m to Siqu

         Thank you!!!

            Participant                 Delivered                  Read                      Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                         2/20/2017 7:00:34 PM(UTC+0)




         7AURSV28 Arrow777




            Participant     Delivered         Read              Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                    2/20/2017 7:00:34 PM(UTC+0)




                                                                                                                                                                  5367


                                                                                  A2195
Case: 24-1770             Document: 00118249068                           Page: 404                Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1515
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Thank you but that isn't an answer? Lol

            Participant     Delivered         Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                     2/20/2017 7:09:51 PM(UTC+0)




         7AURSV28 Arrow777

         2 million shares have arrived. When they show on Silver statement tomorrow, they will
         reflect on Q

            Participant              Delivered                 Read                    Played
            SilverWags SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                    2/20/2017 7:09:51 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I have them on Q for job. Settling on Jan 31. Should I move to tmro date and remove
         the E?

            Participant             Delivered                 Read                   Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                               2/20/2017 7:09:51 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         What about Diga. The client is a fucking buggy pants and is on me like Bond on a call
         girl.

            Participant             Delivered                 Read                    Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                   2/20/2017 7:09:51 PM(UTC+0)




         7AURSV28 Arrow777

         Let the real workers inform you.

            Participant     Delivered         Read            Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                 2/20/2017 7:09:51 PM(UTC+0)

                                                                                                                                   5368


                                                                               A2196
Case: 24-1770             Document: 00118249068                        Page: 405                      Date Filed: 02/18/2025                     Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1616
                                                                                 ofof
                                                                                    4141
         7AURSV28 Arrow777




            Participant     Delivered         Read         Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/20/2017 7:09:51 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ok. I'll wait for the eagle to read these and tell me tmro. Enjoy the holiday. Miss you!!!

            Participant             Delivered             Read                      Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                              2/20/2017 7:10:07 PM(UTC+0)




                                                                                             SilverWags SilverWags

                                                                                             Eagle sees all!
                                                                                             Status: Sent
                                                                                             Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/20/2017 7:10:34 PM(UTC+0)




                                                                                             SilverWags SilverWags

                                                                                             Will chase on DIGA and update you
                                                                                             Status: Sent
                                                                                             Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/20/2017 7:10:47 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         U guys are wonderful. Chat tmro.

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/20/2017 7:28:28 PM(UTC+0)




                                                                      SilverWags SilverWags

                                                                      Have the docs for the 750k shs of VBIO for SIHI been sent to TA?
                                                                     Status: Sent
                                                                     Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/21/2017 1:29:59 PM(UTC+0)




                                                                                                                                                                5369


                                                                              A2197
Case: 24-1770             Document: 00118249068                        Page: 406               Date Filed: 02/18/2025                     Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1717
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         I don't think so yet.

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/21/2017 4:07:53 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I'll ask today.

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/21/2017 4:07:58 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I did email you the docs for the small 200+ shares for sihi last night.

            Participant           Delivered            Read               Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                    2/21/2017 4:08:40 PM(UTC+0)




                                                                                      SilverWags SilverWags

                                                                                      294,117 shs? Yes that's been processed
                                                                                      Status: Sent
                                                                                      Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                           2/21/2017 4:09:47 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Cool.

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/21/2017 4:10:05 PM(UTC+0)




                                                                                                                                                         5370


                                                                              A2198
Case: 24-1770             Document: 00118249068                               Page: 407          Date Filed: 02/18/2025               Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1818
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         I'll inquire about the 750k

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                 2/21/2017 4:10:20 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         No they have not been sent yet. I'm waiting for those 2 small dwac to settle then I will send
         the 750k

            Participant              Delivered                Read                     Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                   2/21/2017 6:50:22 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         The 294,117 + 750k will put sihi over 5%

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                 2/21/2017 6:50:22 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Unless you sell 157,738 before the 750k settles

            Participant       Delivered          Read                Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                         2/21/2017 6:50:22 PM(UTC+0)




                                                           SilverWags SilverWags

                                                          Island stock day they've received a transfer request for 212,989 VBIO to be transferred
                                                          to us
                                                          Status: Sent
                                                          Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                       2/21/2017 9:06:57 PM(UTC+0)




                                                                                                                                                     5371


                                                                               A2199
Case: 24-1770             Document: 00118249068                             Page: 408              Date Filed: 02/18/2025                Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page1919
                                                                                 ofof
                                                                                    4141
                                                         SilverWags SilverWags

                                                         But on the instruction letter it says 212,989 shs in one place but 1.6m in another in same
                                                         letter
                                                         Status: Sent
                                                         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                          2/21/2017 9:07:29 PM(UTC+0)




                                                                               SilverWags SilverWags

                                                                               Have you maybe given them a letter you used for DIGAF?
                                                                               Status: Sent
                                                                               Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                          2/21/2017 9:07:50 PM(UTC+0)




                                                              SilverWags SilverWags

                                                              Will talk to him to confirm it as the 212,989 and maybe he doesn't need another letter
                                                             Status: Sent
                                                             Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                          2/21/2017 9:08:51 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I can email another letter. I probably just missed it as use a precedent. The SPA and PA
         are correct.

            Participant              Delivered                Read                      Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                    2/22/2017 6:43:37 AM(UTC+0)




         3KD5Y6DN The Cuntessa

         It's 212,989 not 1.6m

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                 2/22/2017 6:43:37 AM(UTC+0)




         3KD5Y6DN The Cuntessa

         Revised memo sent to action. You're cc'd

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                 2/22/2017 6:43:37 AM(UTC+0)


                                                                                                                                                        5372


                                                                               A2200
Case: 24-1770             Document: 00118249068                            Page: 409                       Date Filed: 02/18/2025                      Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2020
                                                                                 ofof
                                                                                    4141
                                                                                   SilverWags SilverWags

                                                                                   DWAC of 1.6m DIGAF for siqu is settled. Pls update Q
                                                                                   Status: Sent
                                                                                   Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                       2/22/2017 12:56:33 PM(UTC+0)




                                                                                           SilverWags SilverWags

                                                                                          DRS of JOB.CN for simo and siqu also settled
                                                                                          Status: Sent
                                                                                          Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                       2/22/2017 12:56:58 PM(UTC+0)




                                                                                        SilverWags SilverWags

                                                                                       Pls can you prep an SPA doc for Gotama Capital?
                                                                                       Status: Sent
                                                                                       Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                        2/22/2017 2:43:16 PM(UTC+0)




                                                               SilverWags SilverWags

                                                               Antevorta Capital Partners has acquired cert 1201 for 2,024,600 shares of ZENO.
                                                              Status: Sent
                                                              Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                        2/22/2017 2:43:51 PM(UTC+0)




                                                                    SilverWags SilverWags

                                                                    If you could make it up and send to me, I'll get it signed by other side
                                                                    Status: Sent
                                                                    Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                        2/22/2017 2:44:26 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ok

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 2:45:33 PM(UTC+0)




                                                                                                  SilverWags SilverWags

                                                                                                  Thank you super !
                                                                                                  Status: Sent
                                                                                                  Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                        2/22/2017 2:45:47 PM(UTC+0)




                                                                                                                                                                      5373


                                                                               A2201
Case: 24-1770             Document: 00118249068                            Page: 410            Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2121
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         No problem at all

            Participant     Delivered         Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                    2/22/2017 2:46:07 PM(UTC+0)




         7AURSV28 Arrow777

         Yo bitch, recall our last meeting, gonna make your wettest dream come true: certificate
         dematerialisation

            Participant                 Delivered                Read                 Played
            SilverWags SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                    2/22/2017 9:02:04 PM(UTC+0)




         7AURSV28 Arrow777

         Test cert inbound

            Participant     Delivered         Read             Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                    2/22/2017 9:02:04 PM(UTC+0)




         3KD5Y6DN The Cuntessa




            Participant     Delivered         Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                    2/22/2017 9:02:04 PM(UTC+0)




         7AURSV28 Arrow777




            Participant     Delivered         Read             Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                    2/22/2017 9:02:04 PM(UTC+0)


                                                                                                                                5374


                                                                                  A2202
Case: 24-1770             Document: 00118249068                        Page: 411               Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2222
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Make it rain bitch! Make it rain!!!

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:05 PM(UTC+0)




         7AURSV28 Arrow777

         Have fun in MX. I couldn't make the tight schedule due to other commitments

            Participant           Delivered             Read                  Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                       2/22/2017 9:02:05 PM(UTC+0)




         7AURSV28 Arrow777

         #breakbond

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:05 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ya I heard. Sucks! Would be a total blast with you guys there.

            Participant         Delivered            Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                2/22/2017 9:02:05 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I'm going to get that on a tank top and wear it night one #breakbond that's amazing!!! Lol

            Participant             Delivered               Read                   Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                2/22/2017 9:02:05 PM(UTC+0)


                                                                                                                               5375


                                                                              A2203
Case: 24-1770             Document: 00118249068                        Page: 412              Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2323
                                                                                 ofof
                                                                                    4141
         7AURSV28 Arrow777




            Participant     Delivered         Read          Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:05 PM(UTC+0)




         3KD5Y6DN The Cuntessa




            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:05 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         For the spa you want for ZENO. Is gotama selling the shares to antevorta?

            Participant           Delivered            Read                   Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                     2/22/2017 9:02:07 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I'm confused because Gotama isn't an account we have with you.

            Participant         Delivered            Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                2/22/2017 9:02:07 PM(UTC+0)




                                                                                                                              5376


                                                                              A2204
Case: 24-1770             Document: 00118249068                        Page: 413           Date Filed: 02/18/2025   Entry ID: 6700951
                   Case
                    Case1:21-cv-11276-WGY
                          1:21-cv-11276-WGY Document
                                            Document427-27
                                                     269-48 Filed
                                                            Filed04/17/23
                                                                  12/08/23 Page
                                                                            Page2424
                                                                                   ofof
                                                                                      4141
         7AURSV28 Arrow777

         Correct. It was a certificate that was sent from BL to us

            Participant        Delivered             Read            Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                             2/22/2017 9:02:07 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Got it.

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:07 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Any specific date u want on the spa?

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:07 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Today good?

            Participant     Delivered         Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:07 PM(UTC+0)




                                                                                                                           5377


                                                                              A2205
Case: 24-1770             Document: 00118249068                        Page: 414                Date Filed: 02/18/2025               Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2525
                                                                                 ofof
                                                                                    4141
         7AURSV28 Arrow777

         Sure

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:07 PM(UTC+0)




         7AURSV28 Arrow777

         That works

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:07 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Kk

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/22/2017 9:02:07 PM(UTC+0)




                                                                      SilverWags SilverWags

                                                                      Have the docs for the 750k shs of VBIO for SIHI been sent to TA?
                                                                     Status: Sent
                                                                     Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                      2/23/2017 4:38:39 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         No

            Participant     Delivered         Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/23/2017 5:27:46 PM(UTC+0)




                                                                                                                                                    5378


                                                                              A2206
Case: 24-1770             Document: 00118249068                           Page: 415                   Date Filed: 02/18/2025                     Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2626
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         I haven't been told to send them in yet

            Participant     Delivered         Read           Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                2/23/2017 5:27:47 PM(UTC+0)




                                                                                             SilverWags SilverWags

                                                                                             By who?
                                                                                             Status: Sent
                                                                                             Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/23/2017 5:29:39 PM(UTC+0)




                                                                               SilverWags SilverWags

                                                                               On 27 Jan Hampton said they'd sold the shares to Hilton
                                                                              Status: Sent
                                                                              Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/23/2017 5:29:56 PM(UTC+0)




                                                                       SilverWags SilverWags

                                                                       This is for the dwac that Hampton originally wanted to do on 25 Jan
                                                                      Status: Sent
                                                                      Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/23/2017 5:30:42 PM(UTC+0)




                                                                         SilverWags SilverWags

                                                                        We sent docs to TA in readiness and they are still there waiting
                                                                        Status: Sent
                                                                        Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/23/2017 5:31:07 PM(UTC+0)




                                                     SilverWags SilverWags

                                                     Arrow suggested "So, just send to TA from Hampton. And instruct Silver from Hilton, along
                                                     with SPA from Ham to Hill. Voila" and you said that was going to happen
                                                     Status: Sent
                                                     Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                  2/23/2017 5:31:56 PM(UTC+0)




                                                                                                                                                                5379


                                                                              A2207
Case: 24-1770             Document: 00118249068                            Page: 416                 Date Filed: 02/18/2025                     Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2727
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Ya I recall. Hmm I'll ask Acco if the cert is sitting at the TA. I think this has just fallen thru the
         cracks. I'll do the spa from Hampton to Hilton and email to you then send Hampton
         instructions to Island asap.

            Participant              Delivered                  Read                     Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                      2/23/2017 5:45:02 PM(UTC+0)




                                                                                          SilverWags SilverWags

                                                                                         You did the Spa and sent it to us on 27Jan
                                                                                         Status: Sent
                                                                                         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/23/2017 5:47:37 PM(UTC+0)




                                                                    SilverWags SilverWags

                                                                    Just need Hampton to send instruction and docs as need to island stock pls
                                                                   Status: Sent
                                                                   Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/23/2017 5:48:01 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ahh. Perfect. Will do tomorrow for del Monday.

            Participant      Delivered           Read            Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                        2/23/2017 5:51:24 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         There are 2 dwac pending for vbio now. Are u settling those?

            Participant         Delivered               Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                 2/23/2017 5:58:49 PM(UTC+0)




                                                                                            SilverWags SilverWags

                                                                                            Yes
                                                                                            Status: Sent
                                                                                            Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                 2/23/2017 7:48:24 PM(UTC+0)


                                                                                                                                                               5380


                                                                                  A2208
Case: 24-1770             Document: 00118249068                              Page: 417                   Date Filed: 02/18/2025                      Entry ID: 6700951
                   Case
                    Case1:21-cv-11276-WGY
                          1:21-cv-11276-WGY Document
                                            Document427-27
                                                     269-48 Filed
                                                            Filed04/17/23
                                                                  12/08/23 Page
                                                                            Page2828
                                                                                   ofof
                                                                                      4141
                                                                                                 SilverWags SilverWags

                                                                                                 Should get processed by TA today I hope
                                                                                                Status: Sent
                                                                                                Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                                                                                                      2/23/2017 7:48:44 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Yes!!!!

            Participant     Delivered         Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 2/24/2017 12:55:11 PM(UTC+0)

                                                    2/23/2017 8:34:13 PM(UTC+0)




                                                                                SilverWags SilverWags

                                                                                Dwacs of VBIO for siqu and sihi are settled. Pls update Q
                                                                                Status: Sent

                                                                                                                                     2/24/2017 12:58:26 PM(UTC+0)




                                                                                                 SilverWags SilverWags

                                                                                                 212,989 and 294,118 shs respectively
                                                                                                Status: Sent
                                                                                                Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                     2/24/2017 12:58:44 PM(UTC+0)




                                                        SilverWags SilverWags

                                                        Pls can you remove the E from JOB DRS for SIMO and SIQU? SIMO has sold so Q appears
                                                        to show a short which is false
                                                        Status: Sent
                                                        Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                      2/24/2017 3:21:47 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Oh ya!! Of course. I was waiting for you to tell me job had cleared

         Those dwacs went fast!!!

         Now if I send sihi the 750k that will put them over 5% unless u sell 160k before the 750k
         dwac settles

            Participant                 Delivered                  Read                        Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                            2/24/2017 3:38:29 PM(UTC+0)




                                                                                                                                                                    5381


                                                                                  A2209
Case: 24-1770             Document: 00118249068                       Page: 418                      Date Filed: 02/18/2025                    Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page2929
                                                                                 ofof
                                                                                    4141
                                                                                      SilverWags SilverWags

                                                                                      Told you JOB had cleared on wed! #heavynight?
                                                                                      Status: Sent
                                                                                      Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                2/24/2017 3:39:24 PM(UTC+0)




                                                                                            SilverWags SilverWags

                                                                                            Course they went fast. It's us!
                                                                                            Status: Sent
                                                                                            Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                2/24/2017 3:39:40 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Oh ya and I did remove the E

            Participant     Delivered        Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                               2/24/2017 3:40:29 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I noticed the sales are JOBF

            Participant     Delivered        Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                               2/24/2017 3:40:55 PM(UTC+0)




                                                                                            SilverWags SilverWags

                                                                                            There are both JOB and JOBF
                                                                                            Status: Sent
                                                                                            Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                2/24/2017 3:41:37 PM(UTC+0)




                                                                             SilverWags SilverWags

                                                                             SIMO sold JOB.CN and shows a short which isn't accurate
                                                                             Status: Sent
                                                                             Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                2/24/2017 3:42:20 PM(UTC+0)




                                                                                                                                                              5382


                                                                             A2210
Case: 24-1770             Document: 00118249068                            Page: 419                 Date Filed: 02/18/2025                   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3030
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Hmm. Ok. I'll check. I wonder if Bond moved it around. That's weird.

            Participant          Delivered             Read                  Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                       2/24/2017 3:42:48 PM(UTC+0)




                                                                                           SilverWags SilverWags

                                                                                           Still shows as JOB-E on that acct
                                                                                          Status: Sent
                                                                                          Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                               2/24/2017 3:43:23 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Wtf!!! Ugh. Ok. I'll sort it out asap

            Participant     Delivered        Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                 2/24/2017 3:46:24 PM(UTC+0)




                                                                                           SilverWags SilverWags

                                                                                           Many thanks
                                                                                          Status: Sent
                                                                                          Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                               2/24/2017 3:46:35 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Fixed

            Participant     Delivered        Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                 2/24/2017 3:49:38 PM(UTC+0)




                                                                                                                                                             5383


                                                                               A2211
Case: 24-1770             Document: 00118249068                                 Page: 420              Date Filed: 02/18/2025            Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3131
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         How goes the diga dwac? That was also Action.

            Participant      Delivered           Read                  Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                        2/24/2017 3:52:59 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I have one more diga to send you. Can send both vbio 750k and last diga today if you
         approve.

            Participant             Delivered                   Read                    Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                    2/24/2017 3:53:30 PM(UTC+0)




                                                        SilverWags SilverWags

                                                        No to the DIGA. We have it coming out our ears. Need to start selling some of it before next
                                                        dwac of that one can come in
                                                        Status: Sent
                                                        Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                          2/24/2017 3:57:10 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ok. I won't send the next one till u approve. Can u take the one already in process?
         Justeen has it.

            Participant              Delivered                    Read                      Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                      2/24/2017 4:00:08 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I'll let the client know as well to get on his horse and sell already. Fucking guy is on me
         about the deposits. So annoying.

            Participant               Delivered                    Read                       Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                            2/24/2017 4:00:38 PM(UTC+0)




                                                                                                                                                        5384


                                                                                 A2212
Case: 24-1770             Document: 00118249068                              Page: 421                     Date Filed: 02/18/2025                    Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3232
                                                                                 ofof
                                                                                    4141
                                                                         SilverWags SilverWags

                                                                         Yes. That one is ongoing and should settle Monday during the US day
                                                                         Status: Sent
                                                                         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                      2/24/2017 4:00:46 PM(UTC+0)




                                                                                  SilverWags SilverWags

                                                                                  Tell him no more deposits till he starts to move some!?
                                                                                  Status: Sent
                                                                                  Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                      2/24/2017 4:01:10 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I will tell him.

            Participant     Delivered         Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                    2/24/2017 5:46:04 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         The vbio 750k is going to Island today. Pls coordinate with them on Monday. Sorry I pooped
         the bed and took so long to send in. You have all you need for Sihi right?

            Participant                 Delivered                 Read                           Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                           2/24/2017 5:46:05 PM(UTC+0)




                                                                                                   SilverWags SilverWags

                                                                                                   Yes
                                                                                                  Status: Sent
                                                                                                  Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                      2/26/2017 4:36:39 PM(UTC+0)




                                                                                                                                                                    5385


                                                                                  A2213
Case: 24-1770             Document: 00118249068                              Page: 422                   Date Filed: 02/18/2025                    Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3333
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Hey! Sorry about the Riverfall SPRN cluster. I wanted to give you time to settle the shares to
         sisa before I sent the shares for Siri.

         So... the Siri dwac will arrive at Action on Weds. This should give 3 days to sort the sisa
         dwac. I'm always paranoid about 5% rule.

            Participant                 Delivered                  Read                       Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                            2/27/2017 7:48:52 PM(UTC+0)




                                                                                                SilverWags SilverWags

                                                                                                Ok
                                                                                                Status: Sent
                                                                                                Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                    2/27/2017 7:49:04 PM(UTC+0)




         3KD5Y6DN The Cuntessa




            Participant     Delivered         Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                    2/27/2017 7:49:19 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Pls make sure to allocate all Vbio sales to the sihi account today. We need to make room for
         the pending 750k.

         Again 5% rule is biting me ass.

            Participant                 Delivered                  Read                       Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                            2/28/2017 6:56:33 AM(UTC+0)




                                                        SilverWags SilverWags

                                                        Is Action stock going to receive certs for the 2 posns of 5m SPRN for SISA and SIRI? Kim.
                                                        Saying she hasn't got these yet. Any eta ?
                                                        Status: Sent
                                                        Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                    2/28/2017 1:15:47 PM(UTC+0)




                                                                                                                                                                  5386


                                                                                  A2214
Case: 24-1770             Document: 00118249068                               Page: 423             Date Filed: 02/18/2025                    Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3434
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Hahah. Autocorrect

            Participant     Delivered        Read           Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                               2/28/2017 3:34:48 PM(UTC+0)




                                                              SilverWags SilverWags

                                                             Settled DWACs. Q updates required pls:

                                                             SPRN, 5m, SIRI
                                                             SPRN, 5m, SISA
                                                             VBIO, 750k, SIHI
                                                             Status: Sent
                                                             Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                               3/2/2017 12:33:48 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         What about Siri dwac for DIGA 1.6m and VBIO 231,309?

            Participant        Delivered            Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                            3/2/2017 7:55:52 PM(UTC+0)




                                                                                           SilverWags SilverWags

                                                                                           Not yet in
                                                                                           Status: Sent
                                                                                           Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                                3/2/2017 7:55:59 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Hmm weird the 750k would settle before the 231,309

            Participant       Delivered         Read                 Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                           3/2/2017 7:59:07 PM(UTC+0)




                                                                                                                                                             5390


                                                                               A2215
Case: 24-1770             Document: 00118249068                            Page: 424                Date Filed: 02/18/2025         Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3535
                                                                                 ofof
                                                                                    4141
                                                                 SilverWags SilverWags

                                                                 Settled DWACs. Q updates required pls:
                                                                 VBIO, 231,809, SIRI
                                                                 VBIO, 350,081, SIQU
                                                                Status: Sent
                                                                Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                    3/6/2017 11:41:59 AM(UTC+0)




         3KD5Y6DN The Cuntessa




            Participant     Delivered        Read           Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                3/6/2017 4:04:42 PM(UTC+0)




                                                       SilverWags SilverWags

                                                       Seen PSCR emails. We already have 7.5m shs so need to move some of that before we
                                                       can take in more DWACs
                                                      Status: Sent
                                                      Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                                                                                    3/7/2017 10:02:56 AM(UTC+0)




         3KD5Y6DN The Cuntessa

         Move it where?

            Participant     Delivered        Read           Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                3/7/2017 6:57:42 PM(UTC+0)




         7AURSV28 Arrow777

         We need to sell some PSCR before instructing more DWACs

            Participant        Delivered            Read              Played
            SilverWags
            SilverWags


         Status: Read
         Read: 3/16/2017 8:56:44 AM(UTC+0)

                                                              3/7/2017 6:57:42 PM(UTC+0)




                                                                                                                                                  5392


                                                                               A2216
Case: 24-1770             Document: 00118249068                                Page: 425           Date Filed: 02/18/2025              Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3636
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Thanks

            Participant     Delivered         Read            Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 6/7/2017 7:19:57 PM(UTC+0)

                                                    6/7/2017 7:19:46 PM(UTC+0)




         7AURSV28 Arrow777




            Participant     Delivered         Read            Played
            SilverWags
            SilverWags


         Status: Read
         Read: 6/7/2017 7:19:57 PM(UTC+0)

                                                    6/7/2017 7:19:48 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         You have all the DVGG docs now. Dazzle me with your quick performance on getting all 3
         dwacs settled by Friday of next week. Challenge accepted?....

            Participant                 Delivered               Read                      Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 6/8/2017 8:39:02 AM(UTC+0)

                                                                                         6/8/2017 8:38:36 AM(UTC+0)




         7AURSV28 Arrow777




            Participant     Delivered         Read            Played
            SilverWags
            SilverWags


         Status: Read
         Read: 6/8/2017 8:39:02 AM(UTC+0)

                                                    6/8/2017 8:38:36 AM(UTC+0)




                                                                 SilverWags SilverWags

                                                                Any word yet on if we are going to get more VBIO? I see it in REST and want it
                                                                Status: Sent

                                                                                                                        6/13/2017 3:11:22 PM(UTC+0)




                                                                                                                                                      5446


                                                                                 A2217
Case: 24-1770             Document: 00118249068                         Page: 426             Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3737
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Haha. It's restricted. We are working to get legal ops to remove then deposit.

            Participant            Delivered             Read                  Played
            SilverWags
            SilverWags
            7AURSV28 Arrow777


         Status: Read
         Read: 6/13/2017 4:15:44 PM(UTC+0)

                                                                        6/13/2017 4:15:43 PM(UTC+0)




         7AURSV28 Arrow777

         So what are BL sitting on?

            Participant     Delivered          Read         Played
            SilverWags
            SilverWags


         Status: Read
         Read: 6/13/2017 4:15:45 PM(UTC+0)

                                                 6/13/2017 4:15:44 PM(UTC+0)




         7AURSV28 Arrow777

         We should be flat by close

            Participant     Delivered          Read         Played
            SilverWags
            SilverWags


         Status: Read
         Read: 6/13/2017 4:15:45 PM(UTC+0)

                                                 6/13/2017 4:15:44 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         I don't think BL have much

            Participant     Delivered          Read         Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 6/13/2017 4:54:52 PM(UTC+0)

                                                 6/13/2017 4:54:49 PM(UTC+0)




                                                                                                                              5447


                                                                               A2218
Case: 24-1770             Document: 00118249068                         Page: 427    Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page3838
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Acco doesn't sent much to them if any at all.

            Participant      Delivered        Read             Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 6/13/2017 4:54:52 PM(UTC+0)

                                                     6/13/2017 4:54:49 PM(UTC+0)




         3KD5Y6DN The Cuntessa




            Participant     Delivered        Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 6/13/2017 7:19:57 PM(UTC+0)

                                               6/13/2017 7:12:11 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ok. I'll talk to Acco

            Participant     Delivered        Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Read
         Read: 6/13/2017 7:19:57 PM(UTC+0)

                                               6/13/2017 7:12:11 PM(UTC+0)




         7AURSV28 Arrow777

         VBIO is now flat with silver

            Participant     Delivered        Read          Played
            SilverWags
            SilverWags


         Status: Read
         Read: 6/13/2017 7:19:57 PM(UTC+0)

                                               6/13/2017 7:12:11 PM(UTC+0)




                                                                                                                     5448


                                                                             A2219
Case: 24-1770             Document: 00118249068                             Page: 428                Date Filed: 02/18/2025               Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
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                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         What account name is 1070 under. I need to transfer 3.5m envv there tmro and need name
         for the spa.

         I think u told me but I had to wipe my phone when I went thru the border on Friday. Thx

            Participant                  Delivered               Read                   Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Unread
         Delivered: 1/3/2017 6:44:21 AM(UTC+0)

                                                                                       1/3/2017 7:08:56 AM(UTC+0)




         7AURSV28 Arrow777

         Individual name of Andy McAlpine

            Participant      Delivered           Read          Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 1/3/2017 6:46:54 AM(UTC+0)

                                                     1/3/2017 7:08:56 AM(UTC+0)




         7AURSV28 Arrow777

         No structure

            Participant      Delivered           Read          Played
            SilverWags
            SilverWags


         Status: Unread
         Delivered: 1/3/2017 6:47:03 AM(UTC+0)

                                                     1/3/2017 7:08:56 AM(UTC+0)




                                                                                            SilverWags SilverWags

                                                                                            VBIO DWAC for SIRI settled. Pls update q
                                                                                            Status: Sent

                                                                                                                            1/3/2017 1:32:55 PM(UTC+0)




                                                                    SilverWags SilverWags

                                                                    Are we going to receive any more VBIO? Can see lots in REST and I'm hungry!
                                                                    Status: Sent

                                                                                                                            1/3/2017 3:12:42 PM(UTC+0)




                                                                                                                                                         5329


                                                                                   A2220
Case: 24-1770             Document: 00118249068                              Page: 429              Date Filed: 02/18/2025   Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page4040
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         Acco said u didn't want anymore. Have u changed ur mind?

            Participant         Delivered               Read              Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 1/3/2017 4:08:02 PM(UTC+0)

                                                                   1/3/2017 4:08:41 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Will process the envv later today and will remove the E from the vbio siri dwac

            Participant             Delivered                  Read                Played
            SilverWags
            SilverWags
            7AURSV28 Arrow777


         Status: Unread
         Delivered: 1/3/2017 4:08:58 PM(UTC+0)

                                                                               1/3/2017 4:08:59 PM(UTC+0)




         7AURSV28 Arrow777

         We didn't want to hold over 20% at any one time. The rate we are selling, happy to queue
         up next DWAC

            Participant               Delivered                   Read                  Played
            SilverWags SilverWags


         Status: Unread
         Delivered: 1/3/2017 4:10:07 PM(UTC+0)

                                                                                      1/3/2017 4:12:57 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Ahh. 10-4

            Participant      Delivered           Read            Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 1/3/2017 4:10:31 PM(UTC+0)

                                                    1/3/2017 4:12:57 PM(UTC+0)




                                                                                                                                    5330


                                                                                   A2221
Case: 24-1770             Document: 00118249068                            Page: 430               Date Filed: 02/18/2025                Entry ID: 6700951
                 Case
                  Case1:21-cv-11276-WGY
                        1:21-cv-11276-WGY Document
                                          Document427-27
                                                   269-48 Filed
                                                          Filed04/17/23
                                                                12/08/23 Page
                                                                          Page4141
                                                                                 ofof
                                                                                    4141
         3KD5Y6DN The Cuntessa

         I have more vbio to send you but need those wire confirms for the lawyer to get the legends
         off. Are u having any luck tracing them? I've asked Bond to look those bID numbers up to
         make sure YOU sent the funds. Just as back up.

            Participant                  Delivered               Read                  Played
            SilverWags SilverWags
            7AURSV28 Arrow777


         Status: Unread
         Delivered: 1/3/2017 4:17:48 PM(UTC+0)

                                                                                     1/3/2017 4:17:48 PM(UTC+0)




                                                                                     SilverWags SilverWags

                                                                                     Sent to Morris email this am. Pls check inbox
                                                                                    Status: Sent

                                                                                                                           1/3/2017 4:18:13 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Thank you!!!

            Participant      Delivered           Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 1/3/2017 4:35:02 PM(UTC+0)

                                                     1/3/2017 5:15:22 PM(UTC+0)




         3KD5Y6DN The Cuntessa

         Srup to Siri. Has that settled?

            Participant      Delivered           Read          Played
            SilverWags
            SilverWags
            7AURSV28
            Arrow777


         Status: Unread
         Delivered: 1/3/2017 4:58:57 PM(UTC+0)

                                                     1/3/2017 5:15:23 PM(UTC+0)




                                                                                          SilverWags SilverWags

                                                                                         Not yet
                                                                                         Status: Sent

                                                                                                                           1/3/2017 5:15:35 PM(UTC+0)




                                                                                                                                                        5331


                                                                                  A2222
        Case
         Case1:21-cv-11276-WGY
               1:21-cv-11276-WGY Document
                                 Document427-28
                                          269-49 Filed
                                                 Filed04/17/23
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                                                                          22
                                                                     SJ Exhibit
                                                                                                            EXHIBIT

                                               EXHIBIT                    49                                Kelln 30




                                                                                       exhibitsticker.com
                                                                     21-cv-11276-WGY
                                                                                                                       Case: 24-1770




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                                                                                                                       Document: 00118249068




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                                                                                                                       Page: 431
                                                                                                                       Date Filed: 02/18/2025




         XW5C3DZA
                    Esquire
                                                                                                                       Entry ID: 6700951
        Case
         Case1:21-cv-11276-WGY
               1:21-cv-11276-WGY Document
                                 Document427-28
                                          269-49 Filed
                                                 Filed04/17/23
                                                       12/08/23 Page
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                                                                         22
                                                                              Case: 24-1770
                                                                              Document: 00118249068




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                                                                              Date Filed: 02/18/2025




         XW5C3DZA
                    Esquire
                                                                              Entry ID: 6700951
Case: 24-1770          Document: 00118249068                    Page: 433       Date Filed: 02/18/2025                           Entry ID: 6700951
                     Case 1:21-cv-11276-WGY                Document 427-29       Filed 12/08/23 Page 1 of 1
                                                                                       SJ Exhibit           EXHIBIT




                                                                                                        exhibitsticker.com
           I confirm they   are all ours.                                                                                          Kelln 11
                   Original Message                                                        57
           From: BOND                                                                 21-cv-11276-WGY
           to: riht
           to: wires
           to: celt
           Subject: Re: Good morning
           Sent: Dec 2, 2014 12:49 PM

           This shld have gone to Celtic
                 Original Message
           From: 114
           To: wires
           Cc: bond
           Subject: Good morning
           Sent: Dec 2, 2014 12:33 pm

           We are in the process of receiving approximately 20 million shares of STVF that were
           held in ESCROW. At the time of the ESCROW agreement we may have put some of the stock
           in NON BOND entities. Can you please go through the list below and let me know which
           entities you guys administer:
           Cl) Ashborough Holdings
           (2) Bayview Equities
           C3) Conmar Capital
           (4) Mil Iwork Trading
           (5) Newmarket traders
           (6) Ocean Park LLC
           (7) Parma Institute
           you can just confirm the entities by listing the number (for example entities 2,4,6 and
           7).




                                                                                                                                     EXHIBIT

                                                                                                                                       173
                                                                                                                                 21-cv-11276-WGY



                                                                                                                                         EXHIBIT

                                                                                                                                           GJ
                                                                                                                                      21-cv-11276-WGY
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                                                                   A2225
Case: 24-1770     Document: 00118249068                            Page: 434         Date Filed: 02/18/2025                 Entry ID: 6700951
                  Case 1:21-cv-11276-WGY                      Document 427-30         Filed 12/08/23          Page 1 of 1      EXHIBIT

                    St.Galler                              EXHIBIT                Peaceful Lion Holdings Limited
                                                                                                                               Kelln 35
                                                                                  Current account USD 6166.6385.2000
                    Kantonalbank                                  27              IBAN CH60 0078 1616 6638 5200 0
           St.Galler Kantonalbank AG
           St. Leonhardstrasse 25
           9001 St. Gallen
           Phone +41 71 231 31 31
           Fax +41 71 231 32 32
           www.sgkb.ch
           BIC KBSGCH22

           For information:                                                       Mr.
           Merz Urs                                                               Roger Knox
           +41 44 214 31 90                                                       Silverton SA
           urs.merz@sgkb.ch                                                       Route de Malagnou 31
                                                                                  1208 Genève



           St. Gallen, July 9, 2014
                                  4
           Reference number 510402923
                                  0402923




           Debit advice

                                                                                                   Currency
                                                                                                   Currency                 Amount
           In favour of                     Dr.
                                            Dr. James Kustin
           Bank                             U.S. BANK 98101 SEATTLE
                                            U.S.              SEA ATT TLEE
           Information                      payment
                                            payment of international
                                                                  nal invoice
                                                       internatiion   invoice
                                            Courtney
                                            Courtney Kelln
           Amount                                                                                 USD
                                                                                                  USD                    13'950.00

           In our favour                             e 09.07.2014
                                            Value date 09.07
                                                          07
                                                          0 7.2014                                USD                    13'950.00



                                 09.07.201
                                         14 / 10:45
           Balance/status as per 09.07.2014   10
                                               0:4
                                                :455                                               USD                 1'805'841.46


           Thank you for your order.
                                der.



           Yours sincerely
           St.Galler Kantonalbank AG




                                            079982 064808268 0510402923




                                                                          A2226
Case: 24-1770           Document: 00118249068                   Page: 435         Date Filed: 02/18/2025              Entry ID: 6700951
                       Case 1:21-cv-11276-WGY              Document 427-31           Filed 12/08/23       Page 1 of 1
                                                                                                                        EXHIBIT
                                                                                      EXHIBIT
           Thanks                                                                                                      Kelln 36
                 Original Message
           From: CELT
           To: BOND
                                                                                           28
           to: WIRES
           Subject: Re: Draft to First Line
           Sent: Dec 15, 2014 12:51 PM

           The mortgage # is: 111080519
           The borrowers: Alistair David Yule
           Courtney Michelle Kelln

           Send to:
           First Line Mortgages
           100 university Ave, ste: 400
           Toronto, ON M5J2X4
           Ph: 800-970-0700
                 Original Message
           From: bond
           to: wires
           to: CELT
           Subject: Re: Draft to First Line
           Sent: Dec 15, 2014 12:46 PM

           Alex can look up the last fedex for the address
                 Original Message
           From: Wires
           To: bond
           To: Celtic
           Subject: Re: Draft to First Line
           Sent: Dec 15, 2014 12:45 PM

           CELT,
           Could u pls advise the file # and the address that I deliver
           Ty!
                 Original Message
           From: BOND
           To: CELT
           To: WIRES
           Subject: Re: Draft to First Line
           Sent: Dec 15, 2014 10:32 AM

           Pls tell us the names and file # to write on the draft as we did not keep it on the copy of the prev draft sent
                   Original Message
           From: Celtic
           To: Wires
           Cc: bond
           Subject: Draft to First Line
           Sent: Dec 15, 2014 10:08 AM

           Morning ,
           Can u pls make sure the draft we talked about last week      for $96,000cad gets Fedex 'd to First Line today?
           its the exact same procedure as the last draft. Bond knows

           Thank u very much !




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                                                                   A2227
Case: 24-1770          Document: 00118249068                    Page: 436       Date Filed: 02/18/2025    Entry ID: 6700951
                     Case 1:21-cv-11276-WGY                Document 427-32       Filed 12/08/23   Page 1 of 1 EXHIBIT
                                                                                   EXHIBIT
           Thx a lot!                                                                                        Kelln 37
                   Original Message
           From: WIRES
                                                                                      29
           To: CELT
           CC : BOND
           subject: Re: $10k cad
           Sent: May 27, 2014 4:53 PM

           Hold for u
                   Original Message
           From: CELT
           To: WIRES
           Subject: $10k cad
           Sent: May 27, 2014 4:52 PM

           Can I pls     pick up on Thurs when I come down?




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                                                                   A2228
Case: 24-1770          Document: 00118249068                    Page: 437       Date Filed: 02/18/2025     Entry ID: 6700951
                     Case 1:21-cv-11276-WGY                Document 427-33       Filed 12/08/23   Page 1 of 1
                                                                                                                EXHIBIT
                                                                                   EXHIBIT
           Thank u! ! !                                                                                     Kelln 38
                   Original Message
           From: WIRES
                                                                                      30
           To: CELT
           Subject: Re: Tmro
           Sent: Apr 29, 2015 3:16 pm

           Yes
                 Original Message
           From: CELT
           to: WIRES
           Subject: Tmro
           Sent: Apr 29, 2015 3:13 pm

           Sorry for the last min notice but can I pick up cash tmro?

            $5k cad




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 Contact OIA for further information at x16691                                                        SEC-MLATCKLP-E-0869608



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                                                                                                         EXHIBIT
         BSl
         BS/                                                                                                     31                     Confidential




         Client          MORRIS CAPITAL INC.
         Portfolio       01056862.1001
                         01056862.1001 USD
                                       USO
         Account         01056862.2002 Current account USD
                                                       USO
         IBAN            CH50 0846 5010 5686 2200 2




         Account statement - Yearly                   1,, 201
                                              January 1   20122 December 31   20122
                                                                         31,, 201


         Date
         Date         Text                                                          Value Date :     Debit (USD)
                                                                                                     Debit(USD)       Credit (USD) ;   Balance (USD)
                      Account: 19122239921165
                                 19122239921165
                      Bank: BANCO DE CREDITO DEL PERU LIMA
                      Payment traffic commission:
                                        commission : USD -10.60
                      Letter
                      Letter// Fax I/ Phone: USD -26.49
                      Amount: USD 25'037.09
         18.05.2012 : Payment (30842378)                                            18.05.2012
                                                                                    16.05.2012 :       203'051.93
                                                                                                       203'05 1.93                       6'190'886.95
                      Order of: May 18, 2012 - Fax
                      In favour of: DIAMOND SPOT MEDIA, INC., 330 EAST
                      LANCASTER AVENUE, SUITE 349, WYNNEWOOD, PA
                      Account: 759527684
                                        NA DELAWARE
                      Bank: CITIBANK N.A.
                      Beneficiary
                      Beneficiary information:       -
                                  information : Ref. • Circle Star Energy
                      Payment traffic commission: USD -10.55
                      Payment
                      Commissions charged to us: USD -15.00
                      Letter// Fax I/ Phone: USD -26.38
                      Letter
                      Amount: USD 203'051.93
         18.05.2012 : Payment (30843245)                                            18.05.2012 :        90'076.93                        6’100'810.02
                                                                                                                                         6'100'810.02
                      Order of: May 18, 2012 -Fax
                                             - Fax
                      In favour of: INVESTING MEDIA SOLUTIONS, INC., 37
                      WALL STREET, SUITE 18M, NEW YORK NY
                      Account: 4810289532
                             BMO HARRIS BANK N.A. CHICAGO
                      Bank: BMO
                      Beneficiary information: International consulting invoice
                      Payment traffic commission:
                                       commission : USD -10.55
                      Commissions charged to us: USD -15.00
                      Letter
                      Letter// Fax
                               Fax// Phone: USD -26.38
                      Amount: USD 90'076.93
         18.05.2012 : Payment (30843577)
         18.05.2012                                                                 18.05.2012 :        10'021.93                        6'090'788.09
                                      18, 2012 - Fax
                      Order of: May 18,
                      In favour of: BRUCE GASARCH, 45 Ocean Ave., Apt. 1111H ,
                      Monmount Beach, NJ
                      Account: 1010112018416
                      Bank: WELLS FARGO BANK NA SAN FRANCISCO   FRANCISCO
                      Beneficiary information: International
                                                International consulting invoice
                      Payment traffic commission:
                                       commission : USD -10.55
                      Commissions charged to us: USD -15.00
                      Letter// Fax
                      Letter   Fax// Phone: USD -26.38
                                                                                                                                                        200617594381
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             AG
         BSIAG
         BSI                                                                                                                                            09 2
         Sch0tzengasse 31, CH-8001
         Schutzengasse
         VAT Nr. 532098
                           CH-8001 Zurich;
                                   Zurich ; Phone +41(0)58         11, Fax +41(0)58 809 83 68, www.bsibank.com
                                                                81 11,
                                                  +41 (0)58 809 81
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          BSl
          bs;                                                                                                                             Confidential




          Client          TANDEM GROWTH LLC
          Portfolio
          Portfolio       C629343.1001 USD
          Account         C629343AA Current account USD
                                                    USO
          IBAN            CH31
                          CH31 0848 6000 C629 343A A




          Account statement - Quarterly           October 11,, 201
                                                  October      2012           31 , 2012
                                                                   2 December 31   2012


          Date          Text                                                       : Value Date          Debit (USD)    Credit (USD)
                                                                                                                               (USO) :   Balance (USD)
                                                                                                                                                 (USO)
                        ISIN
                        ISIN: US74442L1044
                              US74442L1044
                        Securities no.: 18067493
                        Securilles no.
                               date. December 4, 2012
                        Trade date
                        Quantity
                        Quantity: 500'000
                        Price · USD 0.398 / USD 199'000.00
                        Foreign brokerage USD -2'388.00
                        Swiss stamp tax duty . CHF -276.16
                                                   -276. 16 / USD -298.50
                        Fees and stamps
                                  stamps. USD -4.46
                        Foreign settlement fee
                                           fee: USD -7.50

          07.12.2012 : Payment
                       Pay ment (47291597)                                           07. 12.2012
                                                                                     07.12.2012              3'015.00                      1'154'323.33
                       Order
                       Order of.  December 7.
                              of. December   7, 2012 - Fax
                       In favour of: CHEN ZHIYING
                       Account: 510363864833
                                  51 0363864833
                       Bank: HONGKONG A
                       Bank                   ND SHANGHAI BANKING
                                             AND
                       CORPORATION LIMITEDLIMITED, THE HONG KONG
                       Commissions charged to us: USD -15.00
                       Amount: USD
                                 USO 3'015.00
          10.12.2012 : Foreign exchange: spot transaction (47400999)                 10.12.2012            26'214.61
                                                                                                           26'214.61                       1'128'108.72
                        Sale  USO 26'214.61
                        Sale: USD
                                       USO - C629343AA
                              account· USD
                        Debit account
                                   rate· EUR/USD
                        Exchange rate    EUR/USO 1.310730
                        Purchase
                        Purchase: EUR 20'000.00
                        Credit account: EUR -• C629343AC
          11.12.2012 : Sale (47412600)                                               12.12.2012                             1'455.38 :     1'129'564.10
                                                                                                                                           1'129'564 10
                        On December 11. 11, 2012 (3:20
                                                 (3:20.17
                                                       17 PM) we executed the
                                  order on Other
                        following order     Other OTC Market:
                       Share •- Registered
                                Registered· Reg Shs Culture Medium Holdings Corp
                       ISIN: US23028A1079
                       ISIN
                       Securities no .. 12685816
                       Trade date
                              date. December 7, 2012
                       Quantity: 235'564
                       Price : USD
                               USO 0.0069
                                    0,0069 / USD
                                             USO 1'625.39
                                                  1'625.39
                                brokerage· USD
                       Foreign brokerage    USO -160.04
                       Swiss stamp tax duty
                                       duty : CHF -2.27 / USD
                                                          USO -2.43
                       Fees and stamps USD
                                         USO -0.04
                                          fee: USD
                       Foreign settlement fee  USO -7.50

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                                                                                                                                               50 / 61
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                        31 , CH-8001
          Schutzengasse 31,
          VAT Nr. 532098
                             CH-8001 Zurich:
                                     Zurich, Phone +41(0)58
                                                   +41 (0)58 809 81
                                                                 81 11
                                                                    11 , Fax +41(0)58
                                                                             +41 (0)58 809 83 68, www.bsibank.com
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          BSl
          BSZ                                                                                                                           Confidential




          Client          TANDEM GROWTH LLC
          Portfolio       C629343.1001 USD
                          0629343.1001 USO
          Account         C629343AB Current account CAD
          IBAN            CH04 0848 6000 C629 343A B




          Account statement -- Quarterly           January 1, 2013 March 31,
                                                                         31 , 2013


          Date          Text                                                      : Value Date :        Debit (CAD)    Credit (CAD)   Balance (CAD)
                       ISIN
                       ISIN: CA37947Y2024
                        Secunties no..
                        Securities no.. 10975809
                        Trade date          17, 2013
                              date: January 17.
                                  11 ·000
                        Quantity: 11'000
                       Pnce • CAD 0.42 / CAD 4'620.00
                       Foreign brokerage CAD -171  .00
                                               -171.00
                       Swiss stamp tax duty • CHF -6.55 / CAD -6.93
                       Foreign settlement fee.
                                          fee CAD -16.00
          21 .01.2013 : Payment (51632808)
          21.01.2013                                                                21 .01 .2013 :
                                                                                    21.01.2013             7'333.00                       338'940.66
                               of· January 21,
                        Order of:                  -
                                            21 , 2013 - Fax
                        In favour of:
                        In         of. O' HAGGARTY, CORY JAMES AND
                        LOUISE,   SARAH TRACEY.
                        LOUISE.SARAH       TRACEY 102-5885 IRMIN
                        STREETBURNABY, BC
                        STREETBURNABY.
                        Account: 809 410369793
                        Bank: CITIZENS BANK OF CANADA VANCOUVER
                        Bank
                        Beneficiary information: DECEMBER INVOICE
                        Amount CAD 7'333.00
                        Amount:
          21 .01 .2013 : Payment (51633016)
          21.01.2013                                                                21 .01 .2013 :
                                                                                    21.01.2013           180'000.00                       158'940.66
                                of January 21, 2013 - Fax
                         Order of.
                                   of CITY GROUP ALLIANCE INC
                         In favour of:                    INC.
                         Account· 00030 05004260
                         Account
                         Bank: BANK OF CHINA (CANADA) VANCOUVER
                         Bank
                         Amount· CAD 180'000.00
                         Amount
          25.01 .2013 : Foreign exchange: spot transaction (52583988)
          25.01.2013                                                                25.01 .2013 :
                                                                                    25.01.2013                           300'780.00       459'720.66
                        Sale:
                        Sale USD 300'000.00
                              account. USD -• C629343AA
                        Debit account
                                  rate· USD/CAD 1
                        Exchange rate             1.002600
                                                    002600
                        Purchase: CAD 300'780.00
                        Purchase
                               account· CAD -- C629343AB
                        Credit account
          25.01 .2013 : Payment (52587198)
          25.01.2013                                                                25.01 .2013 :
                                                                                    25.01.2013           185'000.00                       274'720.66
                              of: January 25, 2013 -• Fax
                       Order of
                       In favour of: CITY GROUP ALLIANCE INC.
                       Account: 00030 05004260
                       Bank· BANK OF CHINA (CANADA) VANCOUVER
                       Bank
                       Amount.
                       Amount CAD 185'000.00
                                                                                                                      -- -
          28.01 .2013 : Payment (52717206)
          28.01.2013                                                                28.01 2013 :
                                                                                    28.01                  9'050.00                       265'670.66
                                                                                                                                                       i2407136
                                                                                                                                                       ~

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          BSIAG
          BSI AG
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          Schutzengasse 31.
          VAT Nr. 532098
                        31 . CH-8001
                             CH-8001 Zurich:
                                     Zurich; Phone +41(0)58
                                                   +41 (0)58 809 81 11 , Fax +41(0)58 809 83 68, www.bs1bank.com
                                                                 81 11                           www.bsibank.com                                       08251
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          BS/                                                                                                                                 Confidential




          Client          TANDEM GROWTH LLC
          Portfolio       C629343.1001
                          C629343.1001 USD
                                       USO
          Account         C629343AB Current account CAD
          IBAN            CH04 0848 6000 C629 343A B




                                 -
          Account statement - Quarterly                                31 , 2013
                                                 January 1, 2013 March 31,


          Date          Text                                                         Value Date :       Debit (CAD)          Credit (CAD)   Balance (CAD)
                        Order  of January 28.
                        Order of:                 -
                                          28, 2013 - Fax
                        In favour of: YVONNE CHEN.
                                               CHEN 301
                                                      301 5500 ARCADIA
                        ROAD.RICHMOND.
                        ROAD    RICHMOND. BC
                        Account·
                        Account 00900 88 71299
                        Bank
                        Bank· CANADIAN IMPERIAL BANK OF COMMERCE
                        TORONTO
                        Amount CAD 9'050.00
                        Amount:
          29.01 .2013 : Payment (52811999)
          29.01.2013                                                                 31 .01.2013 :
                                                                                     31.01.2013           190"015.00
                                                                                                          190'015.00                             75'655.66
                        Order of.                 -
                               of January 29, 2013 - Fax
                                  of CITY GROUP ALLIANCE INC.
                        In favour of.
                        Account·
                        Account: 00030 05004260
                        Bank: BANK OF CHINA (CANADA) VANCOUVER
                        Bank
                        Amount·
                        Amount CAD 190'015.00
          31 .01 .2013 : Payment (52998206)
          31.01.2013                                                                 31.01 .2013 :
                                                                                     31.01.2013             5'500.00                             70' 155.66
                                                                                                                                                 70'155.66
                         Order of.
                                 of: January 31   -
                                             31 ,, 201
                                                   2013
                                                      3 - Fax
                            fa vour of·
                         In favour   of VELDHUIS,     HENDRIKUS, OOSTWAL 9 14
                                        VELDHUIS. HENDRIKUS                14,
                         OLDENZAAL, NETHERLANDS
                         OLDENZAAL
                         IBAN
                         IBAN: NL75RABO01        14393230
                                 NL75RABO0114393230
                         Bank: RABOBANK NEDERLAND UTRECHT
                         Amount          5'500.00
                         Amount CAD 5’500.00
          01 .02.2013 : Payment (53099094)
          01.02.2013                                                                 01 .02.2013 :
                                                                                     01.02.2013             9'500.00                             60'655.66
                                                  -
                                           1, 2013 - Fax
                       Order of. February 1.
                                 of: Colleen Scammell
                       In favour of          Scammell, 1729 Hampton Drive,
                                                                    Drive
                       Coquitlam, BC
                       Account.
                       Account: 44743-2936887
                       Bank. BANK OF NOVA SCOTIA VANCOUVER
                       Bank
                       Amount
                       Amount CAD 9'500.00
                                                                                                                    - - .-
          04.02.2013 : Foreign exchange: spot transaction
                                              t ransaction (53234194)                04.02.2013 :                             496'029.97        556'685.63
                            USO 500'000.00
                       Sale USD
                       Debit account: USD  -
                                      USO • C629343AA
                                 rate: USD/CAD
                       Exchange rate   USO/CAD 0.992060
                       Purchase. CAD 496'029.97
                       Purchase
                       Credit account: CAD •- C629343AB
          04.02.2013 : Payment (53234468)                                            04.02.2013 :           5'000.00                            551'685.63
                                                  -
                       Order of: February 4, 2013 - Fax
                       In favour of.
                                 of: YVONNE CHEN, 301
                                                  301 5500 ARCADIA
                       ROAD.RICHMOND, BC
                       ROAD.RICHMOND
                                                                                                                                                              2407136
                                                                                                                                                              08251
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          BSIAG
          BSI AG
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          Schi.Jtzengasse 31 , CH-8001
          Schutzengasse 31.
          VAT Nr. 532098
                               CH-8001 Zurich: Phone +41(0)58 809 81
                                                                  81 11. Fax +41 (0)58 809 83 68, www.bsibank.com
                                                                             +41(0)58
                                                                                                                                                              08251
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                      Case 1:21-cv-11276-WGY                        Document 427-34                  Filed 12/08/23    Page 5 of 5



          BSl
          bs;                                                                                                                          Confidential




          Client         MORRIS CAPITAL INC.
          Portfolio      01056862.1001
                         01056862.1001 USD
                                       USO
          Account        01056862.2002 Current account USD
                                                       USO
          IBAN           CH50 0846 5010 5686 2200 2




          Zurich, February 6, 2013



          Payment                                                                                                           Reference no. 53324283

          According to your instructions, on February 5.
                                                      5, 2013 we made the following payment:



          Order of                       February 5, 2013 - Fax
                                         BRUCE GASARCH, 45 OCEAN AVE.,
                                                                 AVE . APT 1
                                                                           111H.
                                                                              H, MONMOUTH BEACH.
                                                                                          BEACH,
          In favour of
          In        of
                                         NJ
          Account                        1010112018416

          Bank                           WELLS FARGO BANK, N.A. SAN FRANCISCO

          Amount                                                                                                      USO
                                                                                                                      USD                -9'500.00
          Payment traffic                                                                                             USO
                                                                                                                      USD                   -10.99
          commission
          Commissions charged to                                                                                      USO
                                                                                                                      USD                   -15.00
          us
          Letter I/ Fax / Phone                                                                                       USO
                                                                                                                      USD                   -27.47

                                              5, 2013
          Amount debited, value date February 5.                                                                      USO
                                                                                                                      USD                 9'553.46

                                                                                                                                         E. &O. E.


          Yours faithfully
          BSIAG
          BSI AG




          Advice without signature
          BSI AG
          Schutzenga sse 31,
          Schutzengasse  31 , CH-8001
                              CH-8001 lunc h, Phone +41(0)58
                                      Zurich;       +41 (0)58 809 81 11 , Fax +41(0)58
                                                                  81 11,      +41 (0)58 809 83 68.
                                                                                               68, www.bs1bank.com
                                                                                                   www.bsibank.com
          VAT Nr. 532098




                                                                             A2234
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                 Case 1:21-cv-11276-WGY                   Document 427-35               Filed 12/08/23          Page 1 of 2 EXHIBIT

                                                                                                                                  Gasarch 44
                    *■ BANCO
                          SANTACRUZ

                Senores:                                                    EXHIBIT
                Banco Santa Cruz, S.A
                Division Internacional
                                                                                 32
                Estimados Senores
                Por este medio les solicito realizar la siguiente Transferencia al exterior ba jo el codigo de cliente : 436244
                Monto a transferir :49,861.10            Moneda: dolares
                Monto en letras: cuarenta y nueve mil ochocientos sesenta y uno con
                                                                                             10/100
                Comisibn: US$ 50                      Qtros:

            Nombre: W & B RIDING CLUB ATASSUNPINK WNA LLC
            Cuenta No. 2000018399413
            Direccion: 7971 GABRIOLA GATE, RICHMOND, BC V7C 1V8 CANADA

            Ciudad:                                                       Pais: CANADA



            Detalle del Pago: comra equipo de ingenieria proyecto bonao
            BANCO_DELjENEFICIARIO
            Nombre: WELLS FARGO BANK N.A.
            Direcci6n:420 MONTGOMERY STREET, SAN FRANCISCO, CA 94104

            PAIS: ESTADOS UNIDOS
            WIRES:                          Swift : WFBIUS6S              ABA: 12100248

            BANCO INTERMEDIARIO
            Nombre:
            Direccion:
            ABA:                Swift:     IBAN:
            FORMA DE LIQUIDACION DE ESTA ORDEN DE PAGO
           Cargo a Cuenta No.      Por el contravalor en moneda local via venta de divisas a la tasa de
           Cheque No.                      BSC    Dotros
           Efectivo Q
           Cuenta por Liquidar
           Debito a Cuenta de Ahorrosen Dolares No. 21162020002021
           Canje de Efectivo / Cheque:
           ORDENANTE
           Nombre: INLAND TRADING, S.R.L.
           Direccion; AVENIDA SELENE NO. 205, BELLA VISTA.




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                                        W&B RIDING CLUB
                                         AT ASSUNPINK WNA LLC

            January 3, 2019

            INLAND TRADING S.R.L.
            Avenida Selene No. 205, Bella Vista
            Santo Domingo, Dominican Republic


                                                           INVOICE


            Stated in US Dollars

                  Description                                                                     Total
                  Services Rendered, including:
                          Paying city permit fees, Engineering fees, Legal
                          fees in relation to 110 Irnlaystown-Heightstown
                                                                                                  $49,861.10
                          Road, Upper Freehold, NJ



                                                                  Total Due                   $49,861.10


            WIRE INSTRUCTIONS
            Beneficiary Bank: Wells Fargo Bank N. A.
                                   420 Montgomery Street, San Francisco, CA 94104
            SWIFT code:            WFBIUS6S
            ABA number:            12100248
            Beneficiary Details: W&B Riding Club at Assunpink WNA LLC
            Beneficiary address: 7971 Gabriola Gate, Richmond, BC V7C 1 V8 Canada
            Account number:        2000018399413




                                         W &B Riding Club at Assunpink WNA LLC

                                           316 Heron Point, Tmton Falls, NJ 07753 USA




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                                                                                    33




                             Veldhuis PJI Backup




                                              A2237
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                                                            about:blank                 Page 2 of 47


                                        U.S. Securities and Exchange Commission
                                               Prejudgment Interest Report

             Quarter Range             Annual Rate     Period Rate          Quarter Interest   Principal+Interest


             Violation Amount                                                                          $250,000.00
             01/01/2012-03/31/2012     3.00%           0.75%                      $1,864.75            $251,864.75
             04/01/2012-06/30/2012     3.00%           0.75%                      $1,878.66            $253,743.41
             07/01/2012-09/30/2012     3.00%           0.75%                      $1,913.47            $255,656.88
             10/01/2012-12/31/2012     3.00%           0.75%                      $1,927.90            $257,584.78
             01/01/2013-03/31/2013     3.00%           0.74%                      $1,905.42            $259,490.20
             04/01/2013-06/30/2013     3.00%           0.75%                      $1,940.84            $261,431.04
             07/01/2013-09/30/2013     3.00%           0.76%                      $1,976.85            $263,407.89
             10/01/2013-12/31/2013     3.00%           0.76%                      $1,991.80            $265,399.69
             01/01/2014-03/31/2014     3.00%           0.74%                      $1,963.23            $267,362.92
             04/01/2014-06/30/2014     3.00%           0.75%                      $1,999.73            $269,362.65
             07/01/2014-09/30/2014     3.00%           0.76%                      $2,036.82            $271,399.47
             10/01/2014-12/31/2014     3.00%           0.76%                      $2,052.23            $273,451.70
             01/01/2015-03/31/2015     3.00%           0.74%                      $2,022.79            $275,474.49
             04/01/2015-06/30/2015     3.00%           0.75%                      $2,060.40            $277,534.89
             07/01/2015-09/30/2015     3.00%           0.76%                      $2,098.62            $279,633.51
             10/01/2015-12/31/2015     3.00%           0.76%                      $2,114.49            $281,748.00
             01/01/2016-03/31/2016     3.00%           0.75%                      $2,101.56            $283,849.56
             04/01/2016-06/30/2016     4.00%           0.99%                      $2,822.98            $286,672.54
             07/01/2016-09/30/2016     4.00%           1.01%                      $2,882.39            $289,554.93
             10/01/2016-12/31/2016     4.00%           1.01%                      $2,911.37            $292,466.30
             01/01/2017-03/31/2017     4.00%           0.99%                      $2,884.60            $295,350.90
             04/01/2017-06/30/2017     4.00%           1%                         $2,945.42            $298,296.32
             07/01/2017-09/30/2017     4.00%           1.01%                      $3,007.48            $301,303.80
             10/01/2017-12/31/2017     4.00%           1.01%                      $3,037.80            $304,341.60
             01/01/2018-03/31/2018     4.00%           0.99%                      $3,001.73            $307,343.33
             04/01/2018-06/30/2018     5.00%           1.25%                      $3,831.27            $311,174.60
             07/01/2018-09/30/2018     5.00%           1.26%                      $3,921.65            $315,096.25
             10/01/2018-12/31/2018     5.00%           1.26%                      $3,971.08            $319,067.33
             01/01/2019-03/31/2019     6.00%           1.48%                      $4,720.45            $323,787.78
             04/01/2019-06/30/2019     6.00%           1.5%                       $4,843.51            $328,631.29
             07/01/2019-09/30/2019     5.00%           1.26%                      $4,141.65            $332,772.94
             10/01/2019-12/31/2019     5.00%           1.26%                      $4,193.85            $336,966.79
             01/01/2020-03/31/2020     5.00%           1.24%                      $4,189.07            $341,155.86
             04/01/2020-06/30/2020     5.00%           1.24%                      $4,241.15            $345,397.01
             07/01/2020-09/30/2020     3.00%           0.75%                      $2,604.63            $348,001.64
             10/01/2020-12/31/2020     3.00%           0.75%                      $2,624.27            $350,625.91
             01/01/2021-03/31/2021     3.00%           0.74%                      $2,593.67            $353,219.58
             04/01/2021-06/30/2021     3.00%           0.75%                      $2,641.89            $355,861.47
             07/01/2021-07/31/2021     3.00%           0.25%                        $906.72            $356,768.19



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             Prejudgment Violation Range                            Quarter Interest Total   Prejudgment Total
             01/01/2012-07/31/2021                                            $106,768.19            $356,768.19




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             Quarter Range                 Annual Rate     Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                            $2,512,070.70
             01/01/2013-03/31/2013         3.00%           0.74%                       $18,582.44        $2,530,653.14
             04/01/2013-06/30/2013         3.00%           0.75%                       $18,927.90        $2,549,581.04
             07/01/2013-09/30/2013         3.00%           0.76%                       $19,279.02        $2,568,860.06
             10/01/2013-12/31/2013         3.00%           0.76%                       $19,424.80        $2,588,284.86
             01/01/2014-03/31/2014         3.00%           0.74%                       $19,146.22        $2,607,431.08
             04/01/2014-06/30/2014         3.00%           0.75%                       $19,502.16        $2,626,933.24
             07/01/2014-09/30/2014         3.00%           0.76%                       $19,863.93        $2,646,797.17
             10/01/2014-12/31/2014         3.00%           0.76%                       $20,014.14        $2,666,811.31
             01/01/2015-03/31/2015         3.00%           0.74%                       $19,727.10        $2,686,538.41
             04/01/2015-06/30/2015         3.00%           0.75%                       $20,093.84        $2,706,632.25
             07/01/2015-09/30/2015         3.00%           0.76%                       $20,466.59        $2,727,098.84
             10/01/2015-12/31/2015         3.00%           0.76%                       $20,621.35        $2,747,720.19
             01/01/2016-03/31/2016         3.00%           0.75%                       $20,495.29        $2,768,215.48
             04/01/2016-06/30/2016         4.00%           0.99%                       $27,530.89        $2,795,746.37
             07/01/2016-09/30/2016         4.00%           1.01%                       $28,110.24        $2,823,856.61
             10/01/2016-12/31/2016         4.00%           1.01%                       $28,392.88        $2,852,249.49
             01/01/2017-03/31/2017         4.00%           0.99%                       $28,131.78        $2,880,381.27
             04/01/2017-06/30/2017         4.00%           1%                          $28,724.90        $2,909,106.17
             07/01/2017-09/30/2017         4.00%           1.01%                       $29,330.17        $2,938,436.34
             10/01/2017-12/31/2017         4.00%           1.01%                       $29,625.88        $2,968,062.22
             01/01/2018-03/31/2018         4.00%           0.99%                       $29,274.04        $2,997,336.26
             04/01/2018-06/30/2018         5.00%           1.25%                       $37,364.05        $3,034,700.31
             07/01/2018-09/30/2018         5.00%           1.26%                       $38,245.54        $3,072,945.85
             10/01/2018-12/31/2018         5.00%           1.26%                       $38,727.54        $3,111,673.39
             01/01/2019-03/31/2019         6.00%           1.48%                       $46,035.72        $3,157,709.11
             04/01/2019-06/30/2019         6.00%           1.5%                        $47,235.87        $3,204,944.98
             07/01/2019-09/30/2019         5.00%           1.26%                       $40,391.09        $3,245,336.07
             10/01/2019-12/31/2019         5.00%           1.26%                       $40,900.13        $3,286,236.20
             01/01/2020-03/31/2020         5.00%           1.24%                       $40,853.48        $3,327,089.68
             04/01/2020-06/30/2020         5.00%           1.24%                       $41,361.36        $3,368,451.04
             07/01/2020-09/30/2020         3.00%           0.75%                       $25,401.43        $3,393,852.47
             10/01/2020-12/31/2020         3.00%           0.75%                       $25,592.99        $3,419,445.46
             01/01/2021-03/31/2021         3.00%           0.74%                       $25,294.53        $3,444,739.99
             04/01/2021-06/30/2021         3.00%           0.75%                       $25,764.77        $3,470,504.76
             07/01/2021-07/31/2021         3.00%           0.25%                        $8,842.66        $3,479,347.42


             Prejudgment Violation Range                                    Quarter Interest Total   Prejudgment Total
             01/01/2013-07/31/2021                                                    $967,276.72        $3,479,347.42




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             Quarter Range                 Annual Rate     Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                            $7,415,000.00
             01/01/2014-03/31/2014         3.00%           0.74%                       $54,850.68        $7,469,850.68
             04/01/2014-06/30/2014         3.00%           0.75%                       $55,870.39        $7,525,721.07
             07/01/2014-09/30/2014         3.00%           0.76%                       $56,906.82        $7,582,627.89
             10/01/2014-12/31/2014         3.00%           0.76%                       $57,337.13        $7,639,965.02
             01/01/2015-03/31/2015         3.00%           0.74%                       $56,514.81        $7,696,479.83
             04/01/2015-06/30/2015         3.00%           0.75%                       $57,565.45        $7,754,045.28
             07/01/2015-09/30/2015         3.00%           0.76%                       $58,633.33        $7,812,678.61
             10/01/2015-12/31/2015         3.00%           0.76%                       $59,076.69        $7,871,755.30
             01/01/2016-03/31/2016         3.00%           0.75%                       $58,715.55        $7,930,470.85
             04/01/2016-06/30/2016         4.00%           0.99%                       $78,871.35        $8,009,342.20
             07/01/2016-09/30/2016         4.00%           1.01%                       $80,531.09        $8,089,873.29
             10/01/2016-12/31/2016         4.00%           1.01%                       $81,340.80        $8,171,214.09
             01/01/2017-03/31/2017         4.00%           0.99%                       $80,592.80        $8,251,806.89
             04/01/2017-06/30/2017         4.00%           1%                          $82,291.99        $8,334,098.88
             07/01/2017-09/30/2017         4.00%           1.01%                       $84,025.98        $8,418,124.86
             10/01/2017-12/31/2017         4.00%           1.01%                       $84,873.15        $8,502,998.01
             01/01/2018-03/31/2018         4.00%           0.99%                       $83,865.19        $8,586,863.20
             04/01/2018-06/30/2018         5.00%           1.25%                      $107,041.72        $8,693,904.92
             07/01/2018-09/30/2018         5.00%           1.26%                      $109,567.02        $8,803,471.94
             10/01/2018-12/31/2018         5.00%           1.26%                      $110,947.87        $8,914,419.81
             01/01/2019-03/31/2019         6.00%           1.48%                      $131,884.57        $9,046,304.38
             04/01/2019-06/30/2019         6.00%           1.5%                       $135,322.80        $9,181,627.18
             07/01/2019-09/30/2019         5.00%           1.26%                      $115,713.66        $9,297,340.84
             10/01/2019-12/31/2019         5.00%           1.26%                      $117,171.97        $9,414,512.81
             01/01/2020-03/31/2020         5.00%           1.24%                      $117,038.34        $9,531,551.15
             04/01/2020-06/30/2020         5.00%           1.24%                      $118,493.33        $9,650,044.48
             07/01/2020-09/30/2020         3.00%           0.75%                       $72,770.83        $9,722,815.31
             10/01/2020-12/31/2020         3.00%           0.75%                       $73,319.59        $9,796,134.90
             01/01/2021-03/31/2021         3.00%           0.74%                       $72,464.56        $9,868,599.46
             04/01/2021-06/30/2021         3.00%           0.75%                       $73,811.72        $9,942,411.18
             07/01/2021-07/31/2021         3.00%           0.25%                       $25,332.72        $9,967,743.90


             Prejudgment Violation Range                                    Quarter Interest Total   Prejudgment Total
             01/01/2014-07/31/2021                                                  $2,552,743.90        $9,967,743.90




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             Quarter Range                 Annual Rate     Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                            $1,187,789.58
             01/01/2015-03/31/2015         3.00%           0.74%                        $8,786.39        $1,196,575.97
             04/01/2015-06/30/2015         3.00%           0.75%                        $8,949.73        $1,205,525.70
             07/01/2015-09/30/2015         3.00%           0.76%                        $9,115.76        $1,214,641.46
             10/01/2015-12/31/2015         3.00%           0.76%                        $9,184.69        $1,223,826.15
             01/01/2016-03/31/2016         3.00%           0.75%                        $9,128.54        $1,232,954.69
             04/01/2016-06/30/2016         4.00%           0.99%                       $12,262.17        $1,245,216.86
             07/01/2016-09/30/2016         4.00%           1.01%                       $12,520.21        $1,257,737.07
             10/01/2016-12/31/2016         4.00%           1.01%                       $12,646.10        $1,270,383.17
             01/01/2017-03/31/2017         4.00%           0.99%                       $12,529.81        $1,282,912.98
             04/01/2017-06/30/2017         4.00%           1%                          $12,793.98        $1,295,706.96
             07/01/2017-09/30/2017         4.00%           1.01%                       $13,063.57        $1,308,770.53
             10/01/2017-12/31/2017         4.00%           1.01%                       $13,195.28        $1,321,965.81
             01/01/2018-03/31/2018         4.00%           0.99%                       $13,038.57        $1,335,004.38
             04/01/2018-06/30/2018         5.00%           1.25%                       $16,641.84        $1,351,646.22
             07/01/2018-09/30/2018         5.00%           1.26%                       $17,034.45        $1,368,680.67
             10/01/2018-12/31/2018         5.00%           1.26%                       $17,249.13        $1,385,929.80
             01/01/2019-03/31/2019         6.00%           1.48%                       $20,504.17        $1,406,433.97
             04/01/2019-06/30/2019         6.00%           1.5%                        $21,038.71        $1,427,472.68
             07/01/2019-09/30/2019         5.00%           1.26%                       $17,990.07        $1,445,462.75
             10/01/2019-12/31/2019         5.00%           1.26%                       $18,216.79        $1,463,679.54
             01/01/2020-03/31/2020         5.00%           1.24%                       $18,196.02        $1,481,875.56
             04/01/2020-06/30/2020         5.00%           1.24%                       $18,422.22        $1,500,297.78
             07/01/2020-09/30/2020         3.00%           0.75%                       $11,313.72        $1,511,611.50
             10/01/2020-12/31/2020         3.00%           0.75%                       $11,399.04        $1,523,010.54
             01/01/2021-03/31/2021         3.00%           0.74%                       $11,266.11        $1,534,276.65
             04/01/2021-06/30/2021         3.00%           0.75%                       $11,475.55        $1,545,752.20
             07/01/2021-07/31/2021         3.00%           0.25%                        $3,938.49        $1,549,690.69


             Prejudgment Violation Range                                    Quarter Interest Total   Prejudgment Total
             01/01/2015-07/31/2021                                                    $361,901.11        $1,549,690.69




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             Quarter Range                 Annual Rate     Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                                $129,000.00
             01/01/2016-03/31/2016         3.00%           0.75%                          $962.21            $129,962.21
             04/01/2016-06/30/2016         4.00%           0.99%                        $1,292.52            $131,254.73
             07/01/2016-09/30/2016         4.00%           1.01%                        $1,319.72            $132,574.45
             10/01/2016-12/31/2016         4.00%           1.01%                        $1,332.99            $133,907.44
             01/01/2017-03/31/2017         4.00%           0.99%                        $1,320.73            $135,228.17
             04/01/2017-06/30/2017         4.00%           1%                           $1,348.58            $136,576.75
             07/01/2017-09/30/2017         4.00%           1.01%                        $1,376.99            $137,953.74
             10/01/2017-12/31/2017         4.00%           1.01%                        $1,390.88            $139,344.62
             01/01/2018-03/31/2018         4.00%           0.99%                        $1,374.36            $140,718.98
             04/01/2018-06/30/2018         5.00%           1.25%                        $1,754.17            $142,473.15
             07/01/2018-09/30/2018         5.00%           1.26%                        $1,795.55            $144,268.70
             10/01/2018-12/31/2018         5.00%           1.26%                        $1,818.18            $146,086.88
             01/01/2019-03/31/2019         6.00%           1.48%                        $2,161.29            $148,248.17
             04/01/2019-06/30/2019         6.00%           1.5%                         $2,217.63            $150,465.80
             07/01/2019-09/30/2019         5.00%           1.26%                        $1,896.28            $152,362.08
             10/01/2019-12/31/2019         5.00%           1.26%                        $1,920.18            $154,282.26
             01/01/2020-03/31/2020         5.00%           1.24%                        $1,917.99            $156,200.25
             04/01/2020-06/30/2020         5.00%           1.24%                        $1,941.83            $158,142.08
             07/01/2020-09/30/2020         3.00%           0.75%                        $1,192.55            $159,334.63
             10/01/2020-12/31/2020         3.00%           0.75%                        $1,201.54            $160,536.17
             01/01/2021-03/31/2021         3.00%           0.74%                        $1,187.53            $161,723.70
             04/01/2021-06/30/2021         3.00%           0.75%                        $1,209.60            $162,933.30
             07/01/2021-07/31/2021         3.00%           0.25%                          $415.15            $163,348.45


             Prejudgment Violation Range                                    Quarter Interest Total   Prejudgment Total
             01/01/2016-07/31/2021                                                     $34,348.45            $163,348.45




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             Quarter Range                 Annual Rate     Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                            $1,456,026.89
             01/01/2018-03/31/2018         4.00%           0.99%                       $14,360.81        $1,470,387.70
             04/01/2018-06/30/2018         5.00%           1.25%                       $18,329.49        $1,488,717.19
             07/01/2018-09/30/2018         5.00%           1.26%                       $18,761.92        $1,507,479.11
             10/01/2018-12/31/2018         5.00%           1.26%                       $18,998.37        $1,526,477.48
             01/01/2019-03/31/2019         6.00%           1.48%                       $22,583.50        $1,549,060.98
             04/01/2019-06/30/2019         6.00%           1.5%                        $23,172.25        $1,572,233.23
             07/01/2019-09/30/2019         5.00%           1.26%                       $19,814.45        $1,592,047.68
             10/01/2019-12/31/2019         5.00%           1.26%                       $20,064.16        $1,612,111.84
             01/01/2020-03/31/2020         5.00%           1.24%                       $20,041.28        $1,632,153.12
             04/01/2020-06/30/2020         5.00%           1.24%                       $20,290.43        $1,652,443.55
             07/01/2020-09/30/2020         3.00%           0.75%                       $12,461.05        $1,664,904.60
             10/01/2020-12/31/2020         3.00%           0.75%                       $12,555.02        $1,677,459.62
             01/01/2021-03/31/2021         3.00%           0.74%                       $12,408.61        $1,689,868.23
             04/01/2021-06/30/2021         3.00%           0.75%                       $12,639.29        $1,702,507.52
             07/01/2021-07/31/2021         3.00%           0.25%                        $4,337.90        $1,706,845.42


             Prejudgment Violation Range                                    Quarter Interest Total   Prejudgment Total
             01/01/2018-07/31/2021                                                    $250,818.53        $1,706,845.42




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             Quarter Range                 Annual Rate     Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                                $340,000.00
             01/01/2019-03/31/2019         6.00%           1.48%                        $5,030.14            $345,030.14
             04/01/2019-06/30/2019         6.00%           1.5%                         $5,161.27            $350,191.41
             07/01/2019-09/30/2019         5.00%           1.26%                        $4,413.37            $354,604.78
             10/01/2019-12/31/2019         5.00%           1.26%                        $4,468.99            $359,073.77
             01/01/2020-03/31/2020         5.00%           1.24%                        $4,463.90            $363,537.67
             04/01/2020-06/30/2020         5.00%           1.24%                        $4,519.39            $368,057.06
             07/01/2020-09/30/2020         3.00%           0.75%                        $2,775.51            $370,832.57
             10/01/2020-12/31/2020         3.00%           0.75%                        $2,796.44            $373,629.01
             01/01/2021-03/31/2021         3.00%           0.74%                        $2,763.83            $376,392.84
             04/01/2021-06/30/2021         3.00%           0.75%                        $2,815.21            $379,208.05
             07/01/2021-07/31/2021         3.00%           0.25%                          $966.20            $380,174.25


             Prejudgment Violation Range                                    Quarter Interest Total   Prejudgment Total
             01/01/2019-07/31/2021                                                     $40,174.25            $380,174.25




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                           $5,513,083.00
             01/01/2013-03/31/2013         3.00%          0.74%                       $40,781.71        $5,553,864.71
             04/01/2013-06/30/2013         3.00%          0.75%                       $41,539.86        $5,595,404.57
             07/01/2013-09/30/2013         3.00%          0.76%                       $42,310.46        $5,637,715.03
             10/01/2013-12/31/2013         3.00%          0.76%                       $42,630.39        $5,680,345.42
             01/01/2014-03/31/2014         3.00%          0.74%                       $42,018.99        $5,722,364.41
             04/01/2014-06/30/2014         3.00%          0.75%                       $42,800.15        $5,765,164.56
             07/01/2014-09/30/2014         3.00%          0.76%                       $43,594.12        $5,808,758.68
             10/01/2014-12/31/2014         3.00%          0.76%                       $43,923.76        $5,852,682.44
             01/01/2015-03/31/2015         3.00%          0.74%                       $43,293.82        $5,895,976.26
             04/01/2015-06/30/2015         3.00%          0.75%                       $44,098.67        $5,940,074.93
             07/01/2015-09/30/2015         3.00%          0.76%                       $44,916.73        $5,984,991.66
             10/01/2015-12/31/2015         3.00%          0.76%                       $45,256.38        $6,030,248.04
             01/01/2016-03/31/2016         3.00%          0.75%                       $44,979.72        $6,075,227.76
             04/01/2016-06/30/2016         4.00%          0.99%                       $60,420.30        $6,135,648.06
             07/01/2016-09/30/2016         4.00%          1.01%                       $61,691.76        $6,197,339.82
             10/01/2016-12/31/2016         4.00%          1.01%                       $62,312.05        $6,259,651.87
             01/01/2017-03/31/2017         4.00%          0.99%                       $61,739.03        $6,321,390.90
             04/01/2017-06/30/2017         4.00%          1%                          $63,040.72        $6,384,431.62
             07/01/2017-09/30/2017         4.00%          1.01%                       $64,369.06        $6,448,800.68
             10/01/2017-12/31/2017         4.00%          1.01%                       $65,018.05        $6,513,818.73
             01/01/2018-03/31/2018         4.00%          0.99%                       $64,245.88        $6,578,064.61
             04/01/2018-06/30/2018         5.00%          1.25%                       $82,000.53        $6,660,065.14
             07/01/2018-09/30/2018         5.00%          1.26%                       $83,935.07        $6,744,000.21
             10/01/2018-12/31/2018         5.00%          1.26%                       $84,992.88        $6,828,993.09
             01/01/2019-03/31/2019         6.00%          1.48%                      $101,031.68        $6,930,024.77
             04/01/2019-06/30/2019         6.00%          1.5%                       $103,665.58        $7,033,690.35
             07/01/2019-09/30/2019         5.00%          1.26%                       $88,643.77        $7,122,334.12
             10/01/2019-12/31/2019         5.00%          1.26%                       $89,760.92        $7,212,095.04
             01/01/2020-03/31/2020         5.00%          1.24%                       $89,658.56        $7,301,753.60
             04/01/2020-06/30/2020         5.00%          1.24%                       $90,773.17        $7,392,526.77
             07/01/2020-09/30/2020         3.00%          0.75%                       $55,746.92        $7,448,273.69
             10/01/2020-12/31/2020         3.00%          0.75%                       $56,167.31        $7,504,441.00
             01/01/2021-03/31/2021         3.00%          0.74%                       $55,512.30        $7,559,953.30
             04/01/2021-06/30/2021         3.00%          0.75%                       $56,544.31        $7,616,497.61
             07/01/2021-07/31/2021         3.00%          0.25%                       $19,406.42        $7,635,904.03


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2013-07/31/2021                                                 $2,122,821.03        $7,635,904.03




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                           $8,535,666.00
             01/01/2014-03/31/2014         3.00%          0.74%                       $63,140.54        $8,598,806.54
             04/01/2014-06/30/2014         3.00%          0.75%                       $64,314.36        $8,663,120.90
             07/01/2014-09/30/2014         3.00%          0.76%                       $65,507.43        $8,728,628.33
             10/01/2014-12/31/2014         3.00%          0.76%                       $66,002.78        $8,794,631.11
             01/01/2015-03/31/2015         3.00%          0.74%                       $65,056.18        $8,859,687.29
             04/01/2015-06/30/2015         3.00%          0.75%                       $66,265.61        $8,925,952.90
             07/01/2015-09/30/2015         3.00%          0.76%                       $67,494.88        $8,993,447.78
             10/01/2015-12/31/2015         3.00%          0.76%                       $68,005.25        $9,061,453.03
             01/01/2016-03/31/2016         3.00%          0.75%                       $67,589.53        $9,129,042.56
             04/01/2016-06/30/2016         4.00%          0.99%                       $90,791.57        $9,219,834.13
             07/01/2016-09/30/2016         4.00%          1.01%                       $92,702.16        $9,312,536.29
             10/01/2016-12/31/2016         4.00%          1.01%                       $93,634.24        $9,406,170.53
             01/01/2017-03/31/2017         4.00%          0.99%                       $92,773.19        $9,498,943.72
             04/01/2017-06/30/2017         4.00%          1%                          $94,729.19        $9,593,672.91
             07/01/2017-09/30/2017         4.00%          1.01%                       $96,725.25        $9,690,398.16
             10/01/2017-12/31/2017         4.00%          1.01%                       $97,700.45        $9,788,098.61
             01/01/2018-03/31/2018         4.00%          0.99%                       $96,540.15        $9,884,638.76
             04/01/2018-06/30/2018         5.00%          1.25%                      $123,219.47       $10,007,858.23
             07/01/2018-09/30/2018         5.00%          1.26%                      $126,126.43       $10,133,984.66
             10/01/2018-12/31/2018         5.00%          1.26%                      $127,715.97       $10,261,700.63
             01/01/2019-03/31/2019         6.00%          1.48%                      $151,816.94       $10,413,517.57
             04/01/2019-06/30/2019         6.00%          1.5%                       $155,774.81       $10,569,292.38
             07/01/2019-09/30/2019         5.00%          1.26%                      $133,202.04       $10,702,494.42
             10/01/2019-12/31/2019         5.00%          1.26%                      $134,880.75       $10,837,375.17
             01/01/2020-03/31/2020         5.00%          1.24%                      $134,726.93       $10,972,102.10
             04/01/2020-06/30/2020         5.00%          1.24%                      $136,401.82       $11,108,503.92
             07/01/2020-09/30/2020         3.00%          0.75%                       $83,769.05       $11,192,272.97
             10/01/2020-12/31/2020         3.00%          0.75%                       $84,400.75       $11,276,673.72
             01/01/2021-03/31/2021         3.00%          0.74%                       $83,416.49       $11,360,090.21
             04/01/2021-06/30/2021         3.00%          0.75%                       $84,967.25       $11,445,057.46
             07/01/2021-07/31/2021         3.00%          0.25%                       $29,161.38       $11,474,218.84


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2014-07/31/2021                                                 $2,938,552.84       $11,474,218.84




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                           $1,761,124.79
             01/01/2015-03/31/2015         3.00%          0.74%                       $13,027.50        $1,774,152.29
             04/01/2015-06/30/2015         3.00%          0.75%                       $13,269.69        $1,787,421.98
             07/01/2015-09/30/2015         3.00%          0.76%                       $13,515.85        $1,800,937.83
             10/01/2015-12/31/2015         3.00%          0.76%                       $13,618.05        $1,814,555.88
             01/01/2016-03/31/2016         3.00%          0.75%                       $13,534.80        $1,828,090.68
             04/01/2016-06/30/2016         4.00%          0.99%                       $18,181.01        $1,846,271.69
             07/01/2016-09/30/2016         4.00%          1.01%                       $18,563.61        $1,864,835.30
             10/01/2016-12/31/2016         4.00%          1.01%                       $18,750.26        $1,883,585.56
             01/01/2017-03/31/2017         4.00%          0.99%                       $18,577.83        $1,902,163.39
             04/01/2017-06/30/2017         4.00%          1%                          $18,969.52        $1,921,132.91
             07/01/2017-09/30/2017         4.00%          1.01%                       $19,369.23        $1,940,502.14
             10/01/2017-12/31/2017         4.00%          1.01%                       $19,564.51        $1,960,066.65
             01/01/2018-03/31/2018         4.00%          0.99%                       $19,332.16        $1,979,398.81
             04/01/2018-06/30/2018         5.00%          1.25%                       $24,674.70        $2,004,073.51
             07/01/2018-09/30/2018         5.00%          1.26%                       $25,256.82        $2,029,330.33
             10/01/2018-12/31/2018         5.00%          1.26%                       $25,575.12        $2,054,905.45
             01/01/2019-03/31/2019         6.00%          1.48%                       $30,401.34        $2,085,306.79
             04/01/2019-06/30/2019         6.00%          1.5%                        $31,193.90        $2,116,500.69
             07/01/2019-09/30/2019         5.00%          1.26%                       $26,673.71        $2,143,174.40
             10/01/2019-12/31/2019         5.00%          1.26%                       $27,009.87        $2,170,184.27
             01/01/2020-03/31/2020         5.00%          1.24%                       $26,979.07        $2,197,163.34
             04/01/2020-06/30/2020         5.00%          1.24%                       $27,314.46        $2,224,477.80
             07/01/2020-09/30/2020         3.00%          0.75%                       $16,774.75        $2,241,252.55
             10/01/2020-12/31/2020         3.00%          0.75%                       $16,901.25        $2,258,153.80
             01/01/2021-03/31/2021         3.00%          0.74%                       $16,704.15        $2,274,857.95
             04/01/2021-06/30/2021         3.00%          0.75%                       $17,014.69        $2,291,872.64
             07/01/2021-07/31/2021         3.00%          0.25%                        $5,839.57        $2,297,712.21


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2015-07/31/2021                                                   $536,587.42        $2,297,712.21




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $258,100.00
             01/01/2016-03/31/2016         3.00%          0.75%                        $1,925.17          $260,025.17
             04/01/2016-06/30/2016         4.00%          0.99%                        $2,586.04            $262,611.21
             07/01/2016-09/30/2016         4.00%          1.01%                        $2,640.46          $265,251.67
             10/01/2016-12/31/2016         4.00%          1.01%                        $2,667.01          $267,918.68
             01/01/2017-03/31/2017         4.00%          0.99%                        $2,642.49          $270,561.17
             04/01/2017-06/30/2017         4.00%          1%                           $2,698.20          $273,259.37
             07/01/2017-09/30/2017         4.00%          1.01%                        $2,755.05          $276,014.42
             10/01/2017-12/31/2017         4.00%          1.01%                        $2,782.83          $278,797.25
             01/01/2018-03/31/2018         4.00%          0.99%                        $2,749.78          $281,547.03
             04/01/2018-06/30/2018         5.00%          1.25%                        $3,509.70          $285,056.73
             07/01/2018-09/30/2018         5.00%          1.26%                        $3,592.50          $288,649.23
             10/01/2018-12/31/2018         5.00%          1.26%                        $3,637.77          $292,287.00
             01/01/2019-03/31/2019         6.00%          1.48%                        $4,324.25            $296,611.25
             04/01/2019-06/30/2019         6.00%          1.5%                         $4,436.98          $301,048.23
             07/01/2019-09/30/2019         5.00%          1.26%                        $3,794.03          $304,842.26
             10/01/2019-12/31/2019         5.00%          1.26%                        $3,841.85            $308,684.11
             01/01/2020-03/31/2020         5.00%          1.24%                        $3,837.47          $312,521.58
             04/01/2020-06/30/2020         5.00%          1.24%                        $3,885.17          $316,406.75
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,386.02          $318,792.77
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,404.01          $321,196.78
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,375.98          $323,572.76
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,420.15          $325,992.91
             07/01/2021-07/31/2021         3.00%          0.25%                          $830.61          $326,823.52


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2016-07/31/2021                                                    $68,723.52          $326,823.52




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $959,500.00
             01/01/2018-03/31/2018         4.00%          0.99%                        $9,463.56          $968,963.56
             04/01/2018-06/30/2018         5.00%          1.25%                       $12,078.86          $981,042.42
             07/01/2018-09/30/2018         5.00%          1.26%                       $12,363.82          $993,406.24
             10/01/2018-12/31/2018         5.00%          1.26%                       $12,519.64        $1,005,925.88
             01/01/2019-03/31/2019         6.00%          1.48%                       $14,882.19        $1,020,808.07
             04/01/2019-06/30/2019         6.00%          1.5%                        $15,270.17        $1,036,078.24
             07/01/2019-09/30/2019         5.00%          1.26%                       $13,057.42        $1,049,135.66
             10/01/2019-12/31/2019         5.00%          1.26%                       $13,221.98        $1,062,357.64
             01/01/2020-03/31/2020         5.00%          1.24%                       $13,206.91        $1,075,564.55
             04/01/2020-06/30/2020         5.00%          1.24%                       $13,371.09        $1,088,935.64
             07/01/2020-09/30/2020         3.00%          0.75%                        $8,211.65        $1,097,147.29
             10/01/2020-12/31/2020         3.00%          0.75%                        $8,273.57        $1,105,420.86
             01/01/2021-03/31/2021         3.00%          0.74%                        $8,177.09        $1,113,597.95
             04/01/2021-06/30/2021         3.00%          0.75%                        $8,329.10        $1,121,927.05
             07/01/2021-07/31/2021         3.00%          0.25%                        $2,858.61        $1,124,785.66


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2018-07/31/2021                                                   $165,285.66        $1,124,785.66




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $340,000.00
             01/01/2019-03/31/2019         6.00%          1.48%                        $5,030.14          $345,030.14
             04/01/2019-06/30/2019         6.00%          1.5%                         $5,161.27          $350,191.41
             07/01/2019-09/30/2019         5.00%          1.26%                        $4,413.37          $354,604.78
             10/01/2019-12/31/2019         5.00%          1.26%                        $4,468.99          $359,073.77
             01/01/2020-03/31/2020         5.00%          1.24%                        $4,463.90          $363,537.67
             04/01/2020-06/30/2020         5.00%          1.24%                        $4,519.39          $368,057.06
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,775.51          $370,832.57
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,796.44          $373,629.01
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,763.83          $376,392.84
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,815.21          $379,208.05
             07/01/2021-07/31/2021         3.00%          0.25%                          $966.20          $380,174.25


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2019-07/31/2021                                                    $40,174.25          $380,174.25




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             Quarter Range              Annual Rate    Period Rate          Quarter Interest   Principal+Interest


             Violation Amount                                                                        $250,000.00
             01/01/2012-03/31/2012      3.00%          0.75%                      $1,864.75          $251,864.75
             04/01/2012-06/30/2012      3.00%          0.75%                      $1,878.66          $253,743.41
             07/01/2012-09/30/2012      3.00%          0.75%                      $1,913.47          $255,656.88
             10/01/2012-12/31/2012      3.00%          0.75%                      $1,927.90          $257,584.78
             01/01/2013-03/31/2013      3.00%          0.74%                      $1,905.42          $259,490.20
             04/01/2013-06/30/2013      3.00%          0.75%                      $1,940.84          $261,431.04
             07/01/2013-09/30/2013      3.00%          0.76%                      $1,976.85          $263,407.89
             10/01/2013-12/31/2013      3.00%          0.76%                      $1,991.80          $265,399.69
             01/01/2014-03/31/2014      3.00%          0.74%                      $1,963.23          $267,362.92
             04/01/2014-06/30/2014      3.00%          0.75%                      $1,999.73          $269,362.65
             07/01/2014-09/30/2014      3.00%          0.76%                      $2,036.82          $271,399.47
             10/01/2014-12/31/2014      3.00%          0.76%                      $2,052.23          $273,451.70
             01/01/2015-03/31/2015      3.00%          0.74%                      $2,022.79          $275,474.49
             04/01/2015-06/30/2015      3.00%          0.75%                      $2,060.40          $277,534.89
             07/01/2015-09/30/2015      3.00%          0.76%                      $2,098.62          $279,633.51
             10/01/2015-12/31/2015      3.00%          0.76%                      $2,114.49          $281,748.00
             01/01/2016-03/31/2016      3.00%          0.75%                      $2,101.56          $283,849.56
             04/01/2016-06/30/2016      4.00%          0.99%                      $2,822.98          $286,672.54
             07/01/2016-09/30/2016      4.00%          1.01%                      $2,882.39          $289,554.93
             10/01/2016-12/31/2016      4.00%          1.01%                      $2,911.37          $292,466.30
             01/01/2017-03/31/2017      4.00%          0.99%                      $2,884.60          $295,350.90
             04/01/2017-06/30/2017      4.00%          1%                         $2,945.42          $298,296.32
             07/01/2017-09/30/2017      4.00%          1.01%                      $3,007.48          $301,303.80
             10/01/2017-12/31/2017      4.00%          1.01%                      $3,037.80          $304,341.60
             01/01/2018-03/31/2018      4.00%          0.99%                      $3,001.73          $307,343.33
             04/01/2018-06/30/2018      5.00%          1.25%                      $3,831.27            $311,174.60
             07/01/2018-09/30/2018      5.00%          1.26%                      $3,921.65          $315,096.25
             10/01/2018-12/31/2018      5.00%          1.26%                      $3,971.08          $319,067.33
             01/01/2019-03/31/2019      6.00%          1.48%                      $4,720.45          $323,787.78
             04/01/2019-06/30/2019      6.00%          1.5%                       $4,843.51          $328,631.29
             07/01/2019-09/30/2019      5.00%          1.26%                      $4,141.65          $332,772.94
             10/01/2019-12/31/2019      5.00%          1.26%                      $4,193.85          $336,966.79
             01/01/2020-03/31/2020      5.00%          1.24%                      $4,189.07          $341,155.86
             04/01/2020-06/30/2020      5.00%          1.24%                      $4,241.15          $345,397.01
             07/01/2020-09/30/2020      3.00%          0.75%                      $2,604.63          $348,001.64
             10/01/2020-12/31/2020      3.00%          0.75%                      $2,624.27          $350,625.91
             01/01/2021-03/31/2021      3.00%          0.74%                      $2,593.67          $353,219.58
             04/01/2021-06/30/2021      3.00%          0.75%                      $2,641.89          $355,861.47
             07/01/2021-07/31/2021      3.00%          0.25%                        $906.72          $356,768.19



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             Prejudgment Violation Range                            Quarter Interest Total   Prejudgment Total
             01/01/2012-07/31/2021                                            $106,768.19          $356,768.19




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                           $2,436,250.00
             01/01/2013-03/31/2013         3.00%          0.74%                       $18,021.58        $2,454,271.58
             04/01/2013-06/30/2013         3.00%          0.75%                       $18,356.61        $2,472,628.19
             07/01/2013-09/30/2013         3.00%          0.76%                       $18,697.13        $2,491,325.32
             10/01/2013-12/31/2013         3.00%          0.76%                       $18,838.51        $2,510,163.83
             01/01/2014-03/31/2014         3.00%          0.74%                       $18,568.34        $2,528,732.17
             04/01/2014-06/30/2014         3.00%          0.75%                       $18,913.53        $2,547,645.70
             07/01/2014-09/30/2014         3.00%          0.76%                       $19,264.39        $2,566,910.09
             10/01/2014-12/31/2014         3.00%          0.76%                       $19,410.06        $2,586,320.15
             01/01/2015-03/31/2015         3.00%          0.74%                       $19,131.68        $2,605,451.83
             04/01/2015-06/30/2015         3.00%          0.75%                       $19,487.35        $2,624,939.18
             07/01/2015-09/30/2015         3.00%          0.76%                       $19,848.86        $2,644,788.04
             10/01/2015-12/31/2015         3.00%          0.76%                       $19,998.95        $2,664,786.99
             01/01/2016-03/31/2016         3.00%          0.75%                       $19,876.69        $2,684,663.68
             04/01/2016-06/30/2016         4.00%          0.99%                       $26,699.93        $2,711,363.61
             07/01/2016-09/30/2016         4.00%          1.01%                       $27,261.80        $2,738,625.41
             10/01/2016-12/31/2016         4.00%          1.01%                       $27,535.91        $2,766,161.32
             01/01/2017-03/31/2017         4.00%          0.99%                       $27,282.69        $2,793,444.01
             04/01/2017-06/30/2017         4.00%          1%                          $27,857.91        $2,821,301.92
             07/01/2017-09/30/2017         4.00%          1.01%                       $28,444.91        $2,849,746.83
             10/01/2017-12/31/2017         4.00%          1.01%                       $28,731.69        $2,878,478.52
             01/01/2018-03/31/2018         4.00%          0.99%                       $28,390.47        $2,906,868.99
             04/01/2018-06/30/2018         5.00%          1.25%                       $36,236.31        $2,943,105.30
             07/01/2018-09/30/2018         5.00%          1.26%                       $37,091.19        $2,980,196.49
             10/01/2018-12/31/2018         5.00%          1.26%                       $37,558.64        $3,017,755.13
             01/01/2019-03/31/2019         6.00%          1.48%                       $44,646.24        $3,062,401.37
             04/01/2019-06/30/2019         6.00%          1.5%                        $45,810.17        $3,108,211.54
             07/01/2019-09/30/2019         5.00%          1.26%                       $39,171.98        $3,147,383.52
             10/01/2019-12/31/2019         5.00%          1.26%                       $39,665.66        $3,187,049.18
             01/01/2020-03/31/2020         5.00%          1.24%                       $39,620.42        $3,226,669.60
             04/01/2020-06/30/2020         5.00%          1.24%                       $40,112.97        $3,266,782.57
             07/01/2020-09/30/2020         3.00%          0.75%                       $24,634.75        $3,291,417.32
             10/01/2020-12/31/2020         3.00%          0.75%                       $24,820.52        $3,316,237.84
             01/01/2021-03/31/2021         3.00%          0.74%                       $24,531.07        $3,340,768.91
             04/01/2021-06/30/2021         3.00%          0.75%                       $24,987.12        $3,365,756.03
             07/01/2021-07/31/2021         3.00%          0.25%                        $8,575.76        $3,374,331.79


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2013-07/31/2021                                                   $938,081.79        $3,374,331.79




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                           $7,415,000.00
             01/01/2014-03/31/2014         3.00%          0.74%                       $54,850.68        $7,469,850.68
             04/01/2014-06/30/2014         3.00%          0.75%                       $55,870.39        $7,525,721.07
             07/01/2014-09/30/2014         3.00%          0.76%                       $56,906.82        $7,582,627.89
             10/01/2014-12/31/2014         3.00%          0.76%                       $57,337.13        $7,639,965.02
             01/01/2015-03/31/2015         3.00%          0.74%                       $56,514.81        $7,696,479.83
             04/01/2015-06/30/2015         3.00%          0.75%                       $57,565.45        $7,754,045.28
             07/01/2015-09/30/2015         3.00%          0.76%                       $58,633.33        $7,812,678.61
             10/01/2015-12/31/2015         3.00%          0.76%                       $59,076.69        $7,871,755.30
             01/01/2016-03/31/2016         3.00%          0.75%                       $58,715.55        $7,930,470.85
             04/01/2016-06/30/2016         4.00%          0.99%                       $78,871.35        $8,009,342.20
             07/01/2016-09/30/2016         4.00%          1.01%                       $80,531.09        $8,089,873.29
             10/01/2016-12/31/2016         4.00%          1.01%                       $81,340.80        $8,171,214.09
             01/01/2017-03/31/2017         4.00%          0.99%                       $80,592.80        $8,251,806.89
             04/01/2017-06/30/2017         4.00%          1%                          $82,291.99        $8,334,098.88
             07/01/2017-09/30/2017         4.00%          1.01%                       $84,025.98        $8,418,124.86
             10/01/2017-12/31/2017         4.00%          1.01%                       $84,873.15        $8,502,998.01
             01/01/2018-03/31/2018         4.00%          0.99%                       $83,865.19        $8,586,863.20
             04/01/2018-06/30/2018         5.00%          1.25%                      $107,041.72        $8,693,904.92
             07/01/2018-09/30/2018         5.00%          1.26%                      $109,567.02        $8,803,471.94
             10/01/2018-12/31/2018         5.00%          1.26%                      $110,947.87        $8,914,419.81
             01/01/2019-03/31/2019         6.00%          1.48%                      $131,884.57        $9,046,304.38
             04/01/2019-06/30/2019         6.00%          1.5%                       $135,322.80        $9,181,627.18
             07/01/2019-09/30/2019         5.00%          1.26%                      $115,713.66        $9,297,340.84
             10/01/2019-12/31/2019         5.00%          1.26%                      $117,171.97        $9,414,512.81
             01/01/2020-03/31/2020         5.00%          1.24%                      $117,038.34        $9,531,551.15
             04/01/2020-06/30/2020         5.00%          1.24%                      $118,493.33        $9,650,044.48
             07/01/2020-09/30/2020         3.00%          0.75%                       $72,770.83        $9,722,815.31
             10/01/2020-12/31/2020         3.00%          0.75%                       $73,319.59        $9,796,134.90
             01/01/2021-03/31/2021         3.00%          0.74%                       $72,464.56        $9,868,599.46
             04/01/2021-06/30/2021         3.00%          0.75%                       $73,811.72        $9,942,411.18
             07/01/2021-07/31/2021         3.00%          0.25%                       $25,332.72        $9,967,743.90


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2014-07/31/2021                                                 $2,552,743.90        $9,967,743.90




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                           $1,162,232.14
             01/01/2015-03/31/2015         3.00%          0.74%                        $8,597.33        $1,170,829.47
             04/01/2015-06/30/2015         3.00%          0.75%                        $8,757.16        $1,179,586.63
             07/01/2015-09/30/2015         3.00%          0.76%                        $8,919.61        $1,188,506.24
             10/01/2015-12/31/2015         3.00%          0.76%                        $8,987.06        $1,197,493.30
             01/01/2016-03/31/2016         3.00%          0.75%                        $8,932.12        $1,206,425.42
             04/01/2016-06/30/2016         4.00%          0.99%                       $11,998.33        $1,218,423.75
             07/01/2016-09/30/2016         4.00%          1.01%                       $12,250.82        $1,230,674.57
             10/01/2016-12/31/2016         4.00%          1.01%                       $12,374.00        $1,243,048.57
             01/01/2017-03/31/2017         4.00%          0.99%                       $12,260.21        $1,255,308.78
             04/01/2017-06/30/2017         4.00%          1%                          $12,518.70        $1,267,827.48
             07/01/2017-09/30/2017         4.00%          1.01%                       $12,782.48        $1,280,609.96
             10/01/2017-12/31/2017         4.00%          1.01%                       $12,911.36        $1,293,521.32
             01/01/2018-03/31/2018         4.00%          0.99%                       $12,758.02        $1,306,279.34
             04/01/2018-06/30/2018         5.00%          1.25%                       $16,283.76        $1,322,563.10
             07/01/2018-09/30/2018         5.00%          1.26%                       $16,667.92        $1,339,231.02
             10/01/2018-12/31/2018         5.00%          1.26%                       $16,877.98        $1,356,109.00
             01/01/2019-03/31/2019         6.00%          1.48%                       $20,062.98        $1,376,171.98
             04/01/2019-06/30/2019         6.00%          1.5%                        $20,586.02        $1,396,758.00
             07/01/2019-09/30/2019         5.00%          1.26%                       $17,602.98        $1,414,360.98
             10/01/2019-12/31/2019         5.00%          1.26%                       $17,824.82        $1,432,185.80
             01/01/2020-03/31/2020         5.00%          1.24%                       $17,804.50        $1,449,990.30
             04/01/2020-06/30/2020         5.00%          1.24%                       $18,025.84        $1,468,016.14
             07/01/2020-09/30/2020         3.00%          0.75%                       $11,070.29        $1,479,086.43
             10/01/2020-12/31/2020         3.00%          0.75%                       $11,153.77        $1,490,240.20
             01/01/2021-03/31/2021         3.00%          0.74%                       $11,023.69        $1,501,263.89
             04/01/2021-06/30/2021         3.00%          0.75%                       $11,228.63        $1,512,492.52
             07/01/2021-07/31/2021         3.00%          0.25%                        $3,853.75        $1,516,346.27


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2015-07/31/2021                                                   $354,114.13        $1,516,346.27




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $129,194.00
             01/01/2016-03/31/2016         3.00%          0.75%                          $963.66          $130,157.66
             04/01/2016-06/30/2016         4.00%          0.99%                        $1,294.46          $131,452.12
             07/01/2016-09/30/2016         4.00%          1.01%                        $1,321.70          $132,773.82
             10/01/2016-12/31/2016         4.00%          1.01%                        $1,334.99          $134,108.81
             01/01/2017-03/31/2017         4.00%          0.99%                        $1,322.72          $135,431.53
             04/01/2017-06/30/2017         4.00%          1%                           $1,350.60          $136,782.13
             07/01/2017-09/30/2017         4.00%          1.01%                        $1,379.06          $138,161.19
             10/01/2017-12/31/2017         4.00%          1.01%                        $1,392.97          $139,554.16
             01/01/2018-03/31/2018         4.00%          0.99%                        $1,376.42          $140,930.58
             04/01/2018-06/30/2018         5.00%          1.25%                        $1,756.81          $142,687.39
             07/01/2018-09/30/2018         5.00%          1.26%                        $1,798.25          $144,485.64
             10/01/2018-12/31/2018         5.00%          1.26%                        $1,820.91          $146,306.55
             01/01/2019-03/31/2019         6.00%          1.48%                        $2,164.54          $148,471.09
             04/01/2019-06/30/2019         6.00%          1.5%                         $2,220.96          $150,692.05
             07/01/2019-09/30/2019         5.00%          1.26%                        $1,899.13          $152,591.18
             10/01/2019-12/31/2019         5.00%          1.26%                        $1,923.07          $154,514.25
             01/01/2020-03/31/2020         5.00%          1.24%                        $1,920.87          $156,435.12
             04/01/2020-06/30/2020         5.00%          1.24%                        $1,944.75          $158,379.87
             07/01/2020-09/30/2020         3.00%          0.75%                        $1,194.34          $159,574.21
             10/01/2020-12/31/2020         3.00%          0.75%                        $1,203.35          $160,777.56
             01/01/2021-03/31/2021         3.00%          0.74%                        $1,189.31          $161,966.87
             04/01/2021-06/30/2021         3.00%          0.75%                        $1,211.42          $163,178.29
             07/01/2021-07/31/2021         3.00%          0.25%                          $415.77          $163,594.06


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2016-07/31/2021                                                    $34,400.06          $163,594.06




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $333,500.00
             01/01/2018-03/31/2018         4.00%          0.99%                        $3,289.32          $336,789.32
             04/01/2018-06/30/2018         5.00%          1.25%                        $4,198.33          $340,987.65
             07/01/2018-09/30/2018         5.00%          1.26%                        $4,297.38          $345,285.03
             10/01/2018-12/31/2018         5.00%          1.26%                        $4,351.54          $349,636.57
             01/01/2019-03/31/2019         6.00%          1.48%                        $5,172.71          $354,809.28
             04/01/2019-06/30/2019         6.00%          1.5%                         $5,307.56            $360,116.84
             07/01/2019-09/30/2019         5.00%          1.26%                        $4,538.46          $364,655.30
             10/01/2019-12/31/2019         5.00%          1.26%                        $4,595.66          $369,250.96
             01/01/2020-03/31/2020         5.00%          1.24%                        $4,590.41          $373,841.37
             04/01/2020-06/30/2020         5.00%          1.24%                        $4,647.48          $378,488.85
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,854.18          $381,343.03
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,875.70          $384,218.73
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,842.17          $387,060.90
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,895.00          $389,955.90
             07/01/2021-07/31/2021         3.00%          0.25%                          $993.59          $390,949.49


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2018-07/31/2021                                                    $57,449.49          $390,949.49




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $120,000.00
             01/01/2019-03/31/2019         6.00%          1.48%                        $1,775.34          $121,775.34
             04/01/2019-06/30/2019         6.00%          1.5%                         $1,821.63          $123,596.97
             07/01/2019-09/30/2019         5.00%          1.26%                        $1,557.66          $125,154.63
             10/01/2019-12/31/2019         5.00%          1.26%                        $1,577.29          $126,731.92
             01/01/2020-03/31/2020         5.00%          1.24%                        $1,575.49          $128,307.41
             04/01/2020-06/30/2020         5.00%          1.24%                        $1,595.08          $129,902.49
             07/01/2020-09/30/2020         3.00%          0.75%                          $979.59          $130,882.08
             10/01/2020-12/31/2020         3.00%          0.75%                          $986.98          $131,869.06
             01/01/2021-03/31/2021         3.00%          0.74%                          $975.47          $132,844.53
             04/01/2021-06/30/2021         3.00%          0.75%                          $993.60          $133,838.13
             07/01/2021-07/31/2021         3.00%          0.25%                          $341.01          $134,179.14


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2019-07/31/2021                                                    $14,179.14          $134,179.14




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             Quarter Range              Annual Rate    Period Rate          Quarter Interest   Principal+Interest


             Violation Amount                                                                          $40,005.90
             01/01/2012-03/31/2012      3.00%          0.75%                        $298.40            $40,304.30
             04/01/2012-06/30/2012      3.00%          0.75%                        $300.63            $40,604.93
             07/01/2012-09/30/2012      3.00%          0.75%                        $306.20            $40,911.13
             10/01/2012-12/31/2012      3.00%          0.75%                        $308.51            $41,219.64
             01/01/2013-03/31/2013      3.00%          0.74%                        $304.91            $41,524.55
             04/01/2013-06/30/2013      3.00%          0.75%                        $310.58            $41,835.13
             07/01/2013-09/30/2013      3.00%          0.76%                        $316.34            $42,151.47
             10/01/2013-12/31/2013      3.00%          0.76%                        $318.73            $42,470.20
             01/01/2014-03/31/2014      3.00%          0.74%                        $314.16            $42,784.36
             04/01/2014-06/30/2014      3.00%          0.75%                        $320.00            $43,104.36
             07/01/2014-09/30/2014      3.00%          0.76%                        $325.94            $43,430.30
             10/01/2014-12/31/2014      3.00%          0.76%                        $328.40            $43,758.70
             01/01/2015-03/31/2015      3.00%          0.74%                        $323.69            $44,082.39
             04/01/2015-06/30/2015      3.00%          0.75%                        $329.71            $44,412.10
             07/01/2015-09/30/2015      3.00%          0.76%                        $335.83            $44,747.93
             10/01/2015-12/31/2015      3.00%          0.76%                        $338.37            $45,086.30
             01/01/2016-03/31/2016      3.00%          0.75%                        $336.30            $45,422.60
             04/01/2016-06/30/2016      4.00%          0.99%                        $451.74            $45,874.34
             07/01/2016-09/30/2016      4.00%          1.01%                        $461.25            $46,335.59
             10/01/2016-12/31/2016      4.00%          1.01%                        $465.89            $46,801.48
             01/01/2017-03/31/2017      4.00%          0.99%                        $461.60            $47,263.08
             04/01/2017-06/30/2017      4.00%          1%                           $471.34            $47,734.42
             07/01/2017-09/30/2017      4.00%          1.01%                        $481.27            $48,215.69
             10/01/2017-12/31/2017      4.00%          1.01%                        $486.12            $48,701.81
             01/01/2018-03/31/2018      4.00%          0.99%                        $480.35            $49,182.16
             04/01/2018-06/30/2018      5.00%          1.25%                        $613.09            $49,795.25
             07/01/2018-09/30/2018      5.00%          1.26%                        $627.56            $50,422.81
             10/01/2018-12/31/2018      5.00%          1.26%                        $635.47            $51,058.28
             01/01/2019-03/31/2019      6.00%          1.48%                        $755.38            $51,813.66
             04/01/2019-06/30/2019      6.00%          1.5%                         $775.08            $52,588.74
             07/01/2019-09/30/2019      5.00%          1.26%                        $662.76            $53,251.50
             10/01/2019-12/31/2019      5.00%          1.26%                        $671.11            $53,922.61
             01/01/2020-03/31/2020      5.00%          1.24%                        $670.35            $54,592.96
             04/01/2020-06/30/2020      5.00%          1.24%                        $678.68            $55,271.64
             07/01/2020-09/30/2020      3.00%          0.75%                        $416.80            $55,688.44
             10/01/2020-12/31/2020      3.00%          0.75%                        $419.95            $56,108.39
             01/01/2021-03/31/2021      3.00%          0.74%                        $415.05            $56,523.44
             04/01/2021-06/30/2021      3.00%          0.75%                        $422.76            $56,946.20
             07/01/2021-07/31/2021      3.00%          0.25%                        $145.10            $57,091.30



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             Prejudgment Violation Range                            Quarter Interest Total   Prejudgment Total
             01/01/2012-07/31/2021                                             $17,085.40            $57,091.30




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $218,226.82
             01/01/2013-03/31/2013         3.00%          0.74%                        $1,614.28          $219,841.10
             04/01/2013-06/30/2013         3.00%          0.75%                        $1,644.29          $221,485.39
             07/01/2013-09/30/2013         3.00%          0.76%                        $1,674.79          $223,160.18
             10/01/2013-12/31/2013         3.00%          0.76%                        $1,687.46          $224,847.64
             01/01/2014-03/31/2014         3.00%          0.74%                        $1,663.26          $226,510.90
             04/01/2014-06/30/2014         3.00%          0.75%                        $1,694.18          $228,205.08
             07/01/2014-09/30/2014         3.00%          0.76%                        $1,725.61          $229,930.69
             10/01/2014-12/31/2014         3.00%          0.76%                        $1,738.65          $231,669.34
             01/01/2015-03/31/2015         3.00%          0.74%                        $1,713.72          $233,383.06
             04/01/2015-06/30/2015         3.00%          0.75%                        $1,745.58          $235,128.64
             07/01/2015-09/30/2015         3.00%          0.76%                        $1,777.96          $236,906.60
             10/01/2015-12/31/2015         3.00%          0.76%                        $1,791.40          $238,698.00
             01/01/2016-03/31/2016         3.00%          0.75%                        $1,780.45          $240,478.45
             04/01/2016-06/30/2016         4.00%          0.99%                        $2,391.64          $242,870.09
             07/01/2016-09/30/2016         4.00%          1.01%                        $2,441.97          $245,312.06
             10/01/2016-12/31/2016         4.00%          1.01%                        $2,466.53          $247,778.59
             01/01/2017-03/31/2017         4.00%          0.99%                        $2,443.84          $250,222.43
             04/01/2017-06/30/2017         4.00%          1%                           $2,495.37          $252,717.80
             07/01/2017-09/30/2017         4.00%          1.01%                        $2,547.95          $255,265.75
             10/01/2017-12/31/2017         4.00%          1.01%                        $2,573.64          $257,839.39
             01/01/2018-03/31/2018         4.00%          0.99%                        $2,543.07          $260,382.46
             04/01/2018-06/30/2018         5.00%          1.25%                        $3,245.86          $263,628.32
             07/01/2018-09/30/2018         5.00%          1.26%                        $3,322.44          $266,950.76
             10/01/2018-12/31/2018         5.00%          1.26%                        $3,364.31          $270,315.07
             01/01/2019-03/31/2019         6.00%          1.48%                        $3,999.18          $274,314.25
             04/01/2019-06/30/2019         6.00%          1.5%                         $4,103.44          $278,417.69
             07/01/2019-09/30/2019         5.00%          1.26%                        $3,508.83          $281,926.52
             10/01/2019-12/31/2019         5.00%          1.26%                        $3,553.05          $285,479.57
             01/01/2020-03/31/2020         5.00%          1.24%                        $3,548.99          $289,028.56
             04/01/2020-06/30/2020         5.00%          1.24%                        $3,593.11          $292,621.67
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,206.66          $294,828.33
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,223.30          $297,051.63
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,197.37          $299,249.00
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,238.22          $301,487.22
             07/01/2021-07/31/2021         3.00%          0.25%                          $768.17          $302,255.39


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2013-07/31/2021                                                    $84,028.57          $302,255.39




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $437,482.44
             01/01/2014-03/31/2014         3.00%          0.74%                        $3,236.17          $440,718.61
             04/01/2014-06/30/2014         3.00%          0.75%                        $3,296.33          $444,014.94
             07/01/2014-09/30/2014         3.00%          0.76%                        $3,357.48          $447,372.42
             10/01/2014-12/31/2014         3.00%          0.76%                        $3,382.87          $450,755.29
             01/01/2015-03/31/2015         3.00%          0.74%                        $3,334.35          $454,089.64
             04/01/2015-06/30/2015         3.00%          0.75%                        $3,396.34          $457,485.98
             07/01/2015-09/30/2015         3.00%          0.76%                        $3,459.35          $460,945.33
             10/01/2015-12/31/2015         3.00%          0.76%                        $3,485.50          $464,430.83
             01/01/2016-03/31/2016         3.00%          0.75%                        $3,464.20          $467,895.03
             04/01/2016-06/30/2016         4.00%          0.99%                        $4,653.38          $472,548.41
             07/01/2016-09/30/2016         4.00%          1.01%                        $4,751.31          $477,299.72
             10/01/2016-12/31/2016         4.00%          1.01%                        $4,799.08          $482,098.80
             01/01/2017-03/31/2017         4.00%          0.99%                        $4,754.95          $486,853.75
             04/01/2017-06/30/2017         4.00%          1%                           $4,855.20          $491,708.95
             07/01/2017-09/30/2017         4.00%          1.01%                        $4,957.50          $496,666.45
             10/01/2017-12/31/2017         4.00%          1.01%                        $5,007.49          $501,673.94
             01/01/2018-03/31/2018         4.00%          0.99%                        $4,948.02          $506,621.96
             04/01/2018-06/30/2018         5.00%          1.25%                        $6,315.42          $512,937.38
             07/01/2018-09/30/2018         5.00%          1.26%                        $6,464.42          $519,401.80
             10/01/2018-12/31/2018         5.00%          1.26%                        $6,545.89          $525,947.69
             01/01/2019-03/31/2019         6.00%          1.48%                        $7,781.14          $533,728.83
             04/01/2019-06/30/2019         6.00%          1.5%                         $7,984.00          $541,712.83
             07/01/2019-09/30/2019         5.00%          1.26%                        $6,827.07          $548,539.90
             10/01/2019-12/31/2019         5.00%          1.26%                        $6,913.11          $555,453.01
             01/01/2020-03/31/2020         5.00%          1.24%                        $6,905.22          $562,358.23
             04/01/2020-06/30/2020         5.00%          1.24%                        $6,991.07          $569,349.30
             07/01/2020-09/30/2020         3.00%          0.75%                        $4,293.45          $573,642.75
             10/01/2020-12/31/2020         3.00%          0.75%                        $4,325.83          $577,968.58
             01/01/2021-03/31/2021         3.00%          0.74%                        $4,275.38          $582,243.96
             04/01/2021-06/30/2021         3.00%          0.75%                        $4,354.87          $586,598.83
             07/01/2021-07/31/2021         3.00%          0.25%                        $1,494.62          $588,093.45


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2014-07/31/2021                                                   $150,611.01          $588,093.45




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $263,985.28
             01/01/2015-03/31/2015         3.00%          0.74%                        $1,952.77          $265,938.05
             04/01/2015-06/30/2015         3.00%          0.75%                        $1,989.07          $267,927.12
             07/01/2015-09/30/2015         3.00%          0.76%                        $2,025.97          $269,953.09
             10/01/2015-12/31/2015         3.00%          0.76%                        $2,041.29          $271,994.38
             01/01/2016-03/31/2016         3.00%          0.75%                        $2,028.81          $274,023.19
             04/01/2016-06/30/2016         4.00%          0.99%                        $2,725.26          $276,748.45
             07/01/2016-09/30/2016         4.00%          1.01%                        $2,782.61          $279,531.06
             10/01/2016-12/31/2016         4.00%          1.01%                        $2,810.59          $282,341.65
             01/01/2017-03/31/2017         4.00%          0.99%                        $2,784.74          $285,126.39
             04/01/2017-06/30/2017         4.00%          1%                           $2,843.45          $287,969.84
             07/01/2017-09/30/2017         4.00%          1.01%                        $2,903.37          $290,873.21
             10/01/2017-12/31/2017         4.00%          1.01%                        $2,932.64          $293,805.85
             01/01/2018-03/31/2018         4.00%          0.99%                        $2,897.81          $296,703.66
             04/01/2018-06/30/2018         5.00%          1.25%                        $3,698.63          $300,402.29
             07/01/2018-09/30/2018         5.00%          1.26%                        $3,785.89          $304,188.18
             10/01/2018-12/31/2018         5.00%          1.26%                        $3,833.60          $308,021.78
             01/01/2019-03/31/2019         6.00%          1.48%                        $4,557.03          $312,578.81
             04/01/2019-06/30/2019         6.00%          1.5%                         $4,675.84          $317,254.65
             07/01/2019-09/30/2019         5.00%          1.26%                        $3,998.28          $321,252.93
             10/01/2019-12/31/2019         5.00%          1.26%                        $4,048.67          $325,301.60
             01/01/2020-03/31/2020         5.00%          1.24%                        $4,044.05          $329,345.65
             04/01/2020-06/30/2020         5.00%          1.24%                        $4,094.32          $333,439.97
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,514.47          $335,954.44
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,533.43          $338,487.87
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,503.88          $340,991.75
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,550.43          $343,542.18
             07/01/2021-07/31/2021         3.00%          0.25%                          $875.33          $344,417.51


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2015-07/31/2021                                                    $80,432.23          $344,417.51




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $171,533.25
             01/01/2016-03/31/2016         3.00%          0.75%                        $1,279.47          $172,812.72
             04/01/2016-06/30/2016         4.00%          0.99%                        $1,718.68          $174,531.40
             07/01/2016-09/30/2016         4.00%          1.01%                        $1,754.85          $176,286.25
             10/01/2016-12/31/2016         4.00%          1.01%                        $1,772.50          $178,058.75
             01/01/2017-03/31/2017         4.00%          0.99%                        $1,756.20          $179,814.95
             04/01/2017-06/30/2017         4.00%          1%                           $1,793.22          $181,608.17
             07/01/2017-09/30/2017         4.00%          1.01%                        $1,831.01          $183,439.18
             10/01/2017-12/31/2017         4.00%          1.01%                        $1,849.47          $185,288.65
             01/01/2018-03/31/2018         4.00%          0.99%                        $1,827.50            $187,116.15
             04/01/2018-06/30/2018         5.00%          1.25%                        $2,332.54          $189,448.69
             07/01/2018-09/30/2018         5.00%          1.26%                        $2,387.57          $191,836.26
             10/01/2018-12/31/2018         5.00%          1.26%                        $2,417.66          $194,253.92
             01/01/2019-03/31/2019         6.00%          1.48%                        $2,873.89          $197,127.81
             04/01/2019-06/30/2019         6.00%          1.5%                         $2,948.82          $200,076.63
             07/01/2019-09/30/2019         5.00%          1.26%                        $2,521.51          $202,598.14
             10/01/2019-12/31/2019         5.00%          1.26%                        $2,553.29          $205,151.43
             01/01/2020-03/31/2020         5.00%          1.24%                        $2,550.38          $207,701.81
             04/01/2020-06/30/2020         5.00%          1.24%                        $2,582.09          $210,283.90
             07/01/2020-09/30/2020         3.00%          0.75%                        $1,585.75            $211,869.65
             10/01/2020-12/31/2020         3.00%          0.75%                        $1,597.71          $213,467.36
             01/01/2021-03/31/2021         3.00%          0.74%                        $1,579.07          $215,046.43
             04/01/2021-06/30/2021         3.00%          0.75%                        $1,608.43          $216,654.86
             07/01/2021-07/31/2021         3.00%          0.25%                          $552.02          $217,206.88


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2016-07/31/2021                                                    $45,673.63          $217,206.88




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $199,917.93
             01/01/2017-03/31/2017         4.00%          0.99%                        $1,971.79          $201,889.72
             04/01/2017-06/30/2017         4.00%          1%                           $2,013.37          $203,903.09
             07/01/2017-09/30/2017         4.00%          1.01%                        $2,055.79          $205,958.88
             10/01/2017-12/31/2017         4.00%          1.01%                        $2,076.52          $208,035.40
             01/01/2018-03/31/2018         4.00%          0.99%                        $2,051.86          $210,087.26
             04/01/2018-06/30/2018         5.00%          1.25%                        $2,618.90          $212,706.16
             07/01/2018-09/30/2018         5.00%          1.26%                        $2,680.68          $215,386.84
             10/01/2018-12/31/2018         5.00%          1.26%                        $2,714.46          $218,101.30
             01/01/2019-03/31/2019         6.00%          1.48%                        $3,226.70          $221,328.00
             04/01/2019-06/30/2019         6.00%          1.5%                         $3,310.82          $224,638.82
             07/01/2019-09/30/2019         5.00%          1.26%                        $2,831.06          $227,469.88
             10/01/2019-12/31/2019         5.00%          1.26%                        $2,866.74          $230,336.62
             01/01/2020-03/31/2020         5.00%          1.24%                        $2,863.47          $233,200.09
             04/01/2020-06/30/2020         5.00%          1.24%                        $2,899.07          $236,099.16
             07/01/2020-09/30/2020         3.00%          0.75%                        $1,780.42          $237,879.58
             10/01/2020-12/31/2020         3.00%          0.75%                        $1,793.85          $239,673.43
             01/01/2021-03/31/2021         3.00%          0.74%                        $1,772.93          $241,446.36
             04/01/2021-06/30/2021         3.00%          0.75%                        $1,805.89          $243,252.25
             07/01/2021-07/31/2021         3.00%          0.25%                          $619.79          $243,872.04


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2017-07/31/2021                                                    $43,954.11          $243,872.04




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $171,449.85
             01/01/2018-03/31/2018         4.00%          0.99%                        $1,691.01          $173,140.86
             04/01/2018-06/30/2018         5.00%          1.25%                        $2,158.33          $175,299.19
             07/01/2018-09/30/2018         5.00%          1.26%                        $2,209.25          $177,508.44
             10/01/2018-12/31/2018         5.00%          1.26%                        $2,237.09          $179,745.53
             01/01/2019-03/31/2019         6.00%          1.48%                        $2,659.25          $182,404.78
             04/01/2019-06/30/2019         6.00%          1.5%                         $2,728.58          $185,133.36
             07/01/2019-09/30/2019         5.00%          1.26%                        $2,333.19          $187,466.55
             10/01/2019-12/31/2019         5.00%          1.26%                        $2,362.59          $189,829.14
             01/01/2020-03/31/2020         5.00%          1.24%                        $2,359.90          $192,189.04
             04/01/2020-06/30/2020         5.00%          1.24%                        $2,389.24          $194,578.28
             07/01/2020-09/30/2020         3.00%          0.75%                        $1,467.31          $196,045.59
             10/01/2020-12/31/2020         3.00%          0.75%                        $1,478.38          $197,523.97
             01/01/2021-03/31/2021         3.00%          0.74%                        $1,461.14            $198,985.11
             04/01/2021-06/30/2021         3.00%          0.75%                        $1,488.30          $200,473.41
             07/01/2021-07/31/2021         3.00%          0.25%                          $510.80          $200,984.21


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2018-07/31/2021                                                    $29,534.36          $200,984.21




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                               $78,384.26
             01/01/2019-03/31/2019         6.00%          1.48%                        $1,159.66            $79,543.92
             04/01/2019-06/30/2019         6.00%          1.5%                         $1,189.89            $80,733.81
             07/01/2019-09/30/2019         5.00%          1.26%                        $1,017.47            $81,751.28
             10/01/2019-12/31/2019         5.00%          1.26%                        $1,030.29            $82,781.57
             01/01/2020-03/31/2020         5.00%          1.24%                        $1,029.12            $83,810.69
             04/01/2020-06/30/2020         5.00%          1.24%                        $1,041.91            $84,852.60
             07/01/2020-09/30/2020         3.00%          0.75%                          $639.87            $85,492.47
             10/01/2020-12/31/2020         3.00%          0.75%                          $644.70            $86,137.17
             01/01/2021-03/31/2021         3.00%          0.74%                          $637.18            $86,774.35
             04/01/2021-06/30/2021         3.00%          0.75%                          $649.02            $87,423.37
             07/01/2021-07/31/2021         3.00%          0.25%                          $222.75            $87,646.12


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2019-07/31/2021                                                     $9,261.86            $87,646.12




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                               $1,799.65
             01/01/2020-03/31/2020         5.00%          1.24%                           $22.37            $1,822.02
             04/01/2020-06/30/2020         5.00%          1.24%                           $22.65            $1,844.67
             07/01/2020-09/30/2020         3.00%          0.75%                           $13.91            $1,858.58
             10/01/2020-12/31/2020         3.00%          0.75%                           $14.02            $1,872.60
             01/01/2021-03/31/2021         3.00%          0.74%                           $13.85            $1,886.45
             04/01/2021-06/30/2021         3.00%          0.75%                           $14.11            $1,900.56
             07/01/2021-07/31/2021         3.00%          0.25%                            $4.84            $1,905.40


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2020-07/31/2021                                                       $105.75            $1,905.40




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             Quarter Range              Annual Rate    Period Rate          Quarter Interest   Principal+Interest


             Violation Amount                                                                           $91,310.95
             01/01/2012-03/31/2012      3.00%          0.75%                        $681.09             $91,992.04
             04/01/2012-06/30/2012      3.00%          0.75%                        $686.17             $92,678.21
             07/01/2012-09/30/2012      3.00%          0.75%                        $698.88             $93,377.09
             10/01/2012-12/31/2012      3.00%          0.75%                        $704.16             $94,081.25
             01/01/2013-03/31/2013      3.00%          0.74%                        $695.94             $94,777.19
             04/01/2013-06/30/2013      3.00%          0.75%                        $708.88             $95,486.07
             07/01/2013-09/30/2013      3.00%          0.76%                        $722.03             $96,208.10
             10/01/2013-12/31/2013      3.00%          0.76%                        $727.49             $96,935.59
             01/01/2014-03/31/2014      3.00%          0.74%                        $717.06             $97,652.65
             04/01/2014-06/30/2014      3.00%          0.75%                        $730.39             $98,383.04
             07/01/2014-09/30/2014      3.00%          0.76%                        $743.94             $99,126.98
             10/01/2014-12/31/2014      3.00%          0.76%                        $749.56             $99,876.54
             01/01/2015-03/31/2015      3.00%          0.74%                        $738.81          $100,615.35
             04/01/2015-06/30/2015      3.00%          0.75%                        $752.55          $101,367.90
             07/01/2015-09/30/2015      3.00%          0.76%                        $766.51          $102,134.41
             10/01/2015-12/31/2015      3.00%          0.76%                        $772.30          $102,906.71
             01/01/2016-03/31/2016      3.00%          0.75%                        $767.58          $103,674.29
             04/01/2016-06/30/2016      4.00%          0.99%                      $1,031.08          $104,705.37
             07/01/2016-09/30/2016      4.00%          1.01%                      $1,052.78          $105,758.15
             10/01/2016-12/31/2016      4.00%          1.01%                      $1,063.36          $106,821.51
             01/01/2017-03/31/2017      4.00%          0.99%                      $1,053.58          $107,875.09
             04/01/2017-06/30/2017      4.00%          1%                         $1,075.80          $108,950.89
             07/01/2017-09/30/2017      4.00%          1.01%                      $1,098.46            $110,049.35
             10/01/2017-12/31/2017      4.00%          1.01%                      $1,109.54            $111,158.89
             01/01/2018-03/31/2018      4.00%          0.99%                      $1,096.36            $112,255.25
             04/01/2018-06/30/2018      5.00%          1.25%                      $1,399.35            $113,654.60
             07/01/2018-09/30/2018      5.00%          1.26%                      $1,432.36            $115,086.96
             10/01/2018-12/31/2018      5.00%          1.26%                      $1,450.41            $116,537.37
             01/01/2019-03/31/2019      6.00%          1.48%                      $1,724.11            $118,261.48
             04/01/2019-06/30/2019      6.00%          1.5%                       $1,769.06          $120,030.54
             07/01/2019-09/30/2019      5.00%          1.26%                      $1,512.71          $121,543.25
             10/01/2019-12/31/2019      5.00%          1.26%                      $1,531.78          $123,075.03
             01/01/2020-03/31/2020      5.00%          1.24%                      $1,530.03          $124,605.06
             04/01/2020-06/30/2020      5.00%          1.24%                      $1,549.05            $126,154.11
             07/01/2020-09/30/2020      3.00%          0.75%                        $951.33          $127,105.44
             10/01/2020-12/31/2020      3.00%          0.75%                        $958.50          $128,063.94
             01/01/2021-03/31/2021      3.00%          0.74%                        $947.32            $129,011.26
             04/01/2021-06/30/2021      3.00%          0.75%                        $964.93          $129,976.19
             07/01/2021-07/31/2021      3.00%          0.25%                        $331.17          $130,307.36



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             Prejudgment Violation Range                            Quarter Interest Total   Prejudgment Total
             01/01/2012-07/31/2021                                             $38,996.41          $130,307.36




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $334,379.59
             01/01/2013-03/31/2013         3.00%          0.74%                        $2,473.49          $336,853.08
             04/01/2013-06/30/2013         3.00%          0.75%                        $2,519.48          $339,372.56
             07/01/2013-09/30/2013         3.00%          0.76%                        $2,566.21          $341,938.77
             10/01/2013-12/31/2013         3.00%          0.76%                        $2,585.62          $344,524.39
             01/01/2014-03/31/2014         3.00%          0.74%                        $2,548.54          $347,072.93
             04/01/2014-06/30/2014         3.00%          0.75%                        $2,595.92          $349,668.85
             07/01/2014-09/30/2014         3.00%          0.76%                        $2,644.07          $352,312.92
             10/01/2014-12/31/2014         3.00%          0.76%                        $2,664.06          $354,976.98
             01/01/2015-03/31/2015         3.00%          0.74%                        $2,625.86          $357,602.84
             04/01/2015-06/30/2015         3.00%          0.75%                        $2,674.67          $360,277.51
             07/01/2015-09/30/2015         3.00%          0.76%                        $2,724.29          $363,001.80
             10/01/2015-12/31/2015         3.00%          0.76%                        $2,744.89          $365,746.69
             01/01/2016-03/31/2016         3.00%          0.75%                        $2,728.11          $368,474.80
             04/01/2016-06/30/2016         4.00%          0.99%                        $3,664.61          $372,139.41
             07/01/2016-09/30/2016         4.00%          1.01%                        $3,741.73          $375,881.14
             10/01/2016-12/31/2016         4.00%          1.01%                        $3,779.35          $379,660.49
             01/01/2017-03/31/2017         4.00%          0.99%                        $3,744.60          $383,405.09
             04/01/2017-06/30/2017         4.00%          1%                           $3,823.55          $387,228.64
             07/01/2017-09/30/2017         4.00%          1.01%                        $3,904.11          $391,132.75
             10/01/2017-12/31/2017         4.00%          1.01%                        $3,943.48          $395,076.23
             01/01/2018-03/31/2018         4.00%          0.99%                        $3,896.64          $398,972.87
             04/01/2018-06/30/2018         5.00%          1.25%                        $4,973.50          $403,946.37
             07/01/2018-09/30/2018         5.00%          1.26%                        $5,090.83          $409,037.20
             10/01/2018-12/31/2018         5.00%          1.26%                        $5,154.99          $414,192.19
             01/01/2019-03/31/2019         6.00%          1.48%                        $6,127.77          $420,319.96
             04/01/2019-06/30/2019         6.00%          1.5%                         $6,287.53          $426,607.49
             07/01/2019-09/30/2019         5.00%          1.26%                        $5,376.42          $431,983.91
             10/01/2019-12/31/2019         5.00%          1.26%                        $5,444.18          $437,428.09
             01/01/2020-03/31/2020         5.00%          1.24%                        $5,437.97          $442,866.06
             04/01/2020-06/30/2020         5.00%          1.24%                        $5,505.58          $448,371.64
             07/01/2020-09/30/2020         3.00%          0.75%                        $3,381.16          $451,752.80
             10/01/2020-12/31/2020         3.00%          0.75%                        $3,406.66          $455,159.46
             01/01/2021-03/31/2021         3.00%          0.74%                        $3,366.93          $458,526.39
             04/01/2021-06/30/2021         3.00%          0.75%                        $3,429.53          $461,955.92
             07/01/2021-07/31/2021         3.00%          0.25%                        $1,177.04          $463,132.96


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2013-07/31/2021                                                   $128,753.37          $463,132.96




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $394,778.28
             01/01/2014-03/31/2014         3.00%          0.74%                        $2,920.28          $397,698.56
             04/01/2014-06/30/2014         3.00%          0.75%                        $2,974.57          $400,673.13
             07/01/2014-09/30/2014         3.00%          0.76%                        $3,029.75          $403,702.88
             10/01/2014-12/31/2014         3.00%          0.76%                        $3,052.66          $406,755.54
             01/01/2015-03/31/2015         3.00%          0.74%                        $3,008.88          $409,764.42
             04/01/2015-06/30/2015         3.00%          0.75%                        $3,064.81          $412,829.23
             07/01/2015-09/30/2015         3.00%          0.76%                        $3,121.67          $415,950.90
             10/01/2015-12/31/2015         3.00%          0.76%                        $3,145.27          $419,096.17
             01/01/2016-03/31/2016         3.00%          0.75%                        $3,126.05          $422,222.22
             04/01/2016-06/30/2016         4.00%          0.99%                        $4,199.15          $426,421.37
             07/01/2016-09/30/2016         4.00%          1.01%                        $4,287.52          $430,708.89
             10/01/2016-12/31/2016         4.00%          1.01%                        $4,330.62          $435,039.51
             01/01/2017-03/31/2017         4.00%          0.99%                        $4,290.80          $439,330.31
             04/01/2017-06/30/2017         4.00%          1%                           $4,381.27            $443,711.58
             07/01/2017-09/30/2017         4.00%          1.01%                        $4,473.59          $448,185.17
             10/01/2017-12/31/2017         4.00%          1.01%                        $4,518.69          $452,703.86
             01/01/2018-03/31/2018         4.00%          0.99%                        $4,465.02          $457,168.88
             04/01/2018-06/30/2018         5.00%          1.25%                        $5,698.95          $462,867.83
             07/01/2018-09/30/2018         5.00%          1.26%                        $5,833.40          $468,701.23
             10/01/2018-12/31/2018         5.00%          1.26%                        $5,906.92          $474,608.15
             01/01/2019-03/31/2019         6.00%          1.48%                        $7,021.60          $481,629.75
             04/01/2019-06/30/2019         6.00%          1.5%                         $7,204.65          $488,834.40
             07/01/2019-09/30/2019         5.00%          1.26%                        $6,160.65          $494,995.05
             10/01/2019-12/31/2019         5.00%          1.26%                        $6,238.29          $501,233.34
             01/01/2020-03/31/2020         5.00%          1.24%                        $6,231.18          $507,464.52
             04/01/2020-06/30/2020         5.00%          1.24%                        $6,308.64          $513,773.16
             07/01/2020-09/30/2020         3.00%          0.75%                        $3,874.35          $517,647.51
             10/01/2020-12/31/2020         3.00%          0.75%                        $3,903.57          $521,551.08
             01/01/2021-03/31/2021         3.00%          0.74%                        $3,858.05          $525,409.13
             04/01/2021-06/30/2021         3.00%          0.75%                        $3,929.77          $529,338.90
             07/01/2021-07/31/2021         3.00%          0.25%                        $1,348.73          $530,687.63


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2014-07/31/2021                                                   $135,909.35          $530,687.63




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $358,612.34
             01/01/2015-03/31/2015         3.00%          0.74%                        $2,652.75          $361,265.09
             04/01/2015-06/30/2015         3.00%          0.75%                        $2,702.06          $363,967.15
             07/01/2015-09/30/2015         3.00%          0.76%                        $2,752.19          $366,719.34
             10/01/2015-12/31/2015         3.00%          0.76%                        $2,773.00          $369,492.34
             01/01/2016-03/31/2016         3.00%          0.75%                        $2,756.05          $372,248.39
             04/01/2016-06/30/2016         4.00%          0.99%                        $3,702.14          $375,950.53
             07/01/2016-09/30/2016         4.00%          1.01%                        $3,780.05          $379,730.58
             10/01/2016-12/31/2016         4.00%          1.01%                        $3,818.06          $383,548.64
             01/01/2017-03/31/2017         4.00%          0.99%                        $3,782.95          $387,331.59
             04/01/2017-06/30/2017         4.00%          1%                           $3,862.70          $391,194.29
             07/01/2017-09/30/2017         4.00%          1.01%                        $3,944.10          $395,138.39
             10/01/2017-12/31/2017         4.00%          1.01%                        $3,983.86          $399,122.25
             01/01/2018-03/31/2018         4.00%          0.99%                        $3,936.55          $403,058.80
             04/01/2018-06/30/2018         5.00%          1.25%                        $5,024.43          $408,083.23
             07/01/2018-09/30/2018         5.00%          1.26%                        $5,142.97          $413,226.20
             10/01/2018-12/31/2018         5.00%          1.26%                        $5,207.78          $418,433.98
             01/01/2019-03/31/2019         6.00%          1.48%                        $6,190.53          $424,624.51
             04/01/2019-06/30/2019         6.00%          1.5%                         $6,351.92          $430,976.43
             07/01/2019-09/30/2019         5.00%          1.26%                        $5,431.48          $436,407.91
             10/01/2019-12/31/2019         5.00%          1.26%                        $5,499.94          $441,907.85
             01/01/2020-03/31/2020         5.00%          1.24%                        $5,493.66          $447,401.51
             04/01/2020-06/30/2020         5.00%          1.24%                        $5,561.96          $452,963.47
             07/01/2020-09/30/2020         3.00%          0.75%                        $3,415.79          $456,379.26
             10/01/2020-12/31/2020         3.00%          0.75%                        $3,441.55          $459,820.81
             01/01/2021-03/31/2021         3.00%          0.74%                        $3,401.41          $463,222.22
             04/01/2021-06/30/2021         3.00%          0.75%                        $3,464.65          $466,686.87
             07/01/2021-07/31/2021         3.00%          0.25%                        $1,189.09          $467,875.96


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2015-07/31/2021                                                   $109,263.62          $467,875.96




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $313,189.45
             01/01/2016-03/31/2016         3.00%          0.75%                        $2,336.09          $315,525.54
             04/01/2016-06/30/2016         4.00%          0.99%                        $3,138.01          $318,663.55
             07/01/2016-09/30/2016         4.00%          1.01%                        $3,204.05          $321,867.60
             10/01/2016-12/31/2016         4.00%          1.01%                        $3,236.26          $325,103.86
             01/01/2017-03/31/2017         4.00%          0.99%                        $3,206.50          $328,310.36
             04/01/2017-06/30/2017         4.00%          1%                           $3,274.11          $331,584.47
             07/01/2017-09/30/2017         4.00%          1.01%                        $3,343.10          $334,927.57
             10/01/2017-12/31/2017         4.00%          1.01%                        $3,376.80          $338,304.37
             01/01/2018-03/31/2018         4.00%          0.99%                        $3,336.70          $341,641.07
             04/01/2018-06/30/2018         5.00%          1.25%                        $4,258.81          $345,899.88
             07/01/2018-09/30/2018         5.00%          1.26%                        $4,359.29          $350,259.17
             10/01/2018-12/31/2018         5.00%          1.26%                        $4,414.23          $354,673.40
             01/01/2019-03/31/2019         6.00%          1.48%                        $5,247.22          $359,920.62
             04/01/2019-06/30/2019         6.00%          1.5%                         $5,384.02          $365,304.64
             07/01/2019-09/30/2019         5.00%          1.26%                        $4,603.84          $369,908.48
             10/01/2019-12/31/2019         5.00%          1.26%                        $4,661.86          $374,570.34
             01/01/2020-03/31/2020         5.00%          1.24%                        $4,656.54          $379,226.88
             04/01/2020-06/30/2020         5.00%          1.24%                        $4,714.43          $383,941.31
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,895.30          $386,836.61
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,917.13          $389,753.74
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,883.11          $392,636.85
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,936.71          $395,573.56
             07/01/2021-07/31/2021         3.00%          0.25%                        $1,007.90          $396,581.46


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2016-07/31/2021                                                    $83,392.01          $396,581.46




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                                           U.S. Securities and Exchange Commission
                                                  Prejudgment Interest Report

             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $250,713.13
             01/01/2017-03/31/2017         4.00%          0.99%                        $2,472.79          $253,185.92
             04/01/2017-06/30/2017         4.00%          1%                           $2,524.92          $255,710.84
             07/01/2017-09/30/2017         4.00%          1.01%                        $2,578.13          $258,288.97
             10/01/2017-12/31/2017         4.00%          1.01%                        $2,604.12          $260,893.09
             01/01/2018-03/31/2018         4.00%          0.99%                        $2,573.19          $263,466.28
             04/01/2018-06/30/2018         5.00%          1.25%                        $3,284.31          $266,750.59
             07/01/2018-09/30/2018         5.00%          1.26%                        $3,361.79            $270,112.38
             10/01/2018-12/31/2018         5.00%          1.26%                        $3,404.16          $273,516.54
             01/01/2019-03/31/2019         6.00%          1.48%                        $4,046.55          $277,563.09
             04/01/2019-06/30/2019         6.00%          1.5%                         $4,152.04          $281,715.13
             07/01/2019-09/30/2019         5.00%          1.26%                        $3,550.38          $285,265.51
             10/01/2019-12/31/2019         5.00%          1.26%                        $3,595.13          $288,860.64
             01/01/2020-03/31/2020         5.00%          1.24%                        $3,591.03          $292,451.67
             04/01/2020-06/30/2020         5.00%          1.24%                        $3,635.67          $296,087.34
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,232.79          $298,320.13
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,249.63          $300,569.76
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,223.39          $302,793.15
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,264.73          $305,057.88
             07/01/2021-07/31/2021         3.00%          0.25%                          $777.27          $305,835.15


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2017-07/31/2021                                                    $55,122.02          $305,835.15




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Case: 24-1770        Document: 00118249068           Page: 489          Date Filed: 02/18/2025        Entry ID: 6700951
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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $259,328.58
             01/01/2018-03/31/2018         4.00%          0.99%                        $2,557.76          $261,886.34
             04/01/2018-06/30/2018         5.00%          1.25%                        $3,264.61          $265,150.95
             07/01/2018-09/30/2018         5.00%          1.26%                        $3,341.63          $268,492.58
             10/01/2018-12/31/2018         5.00%          1.26%                        $3,383.74          $271,876.32
             01/01/2019-03/31/2019         6.00%          1.48%                        $4,022.28          $275,898.60
             04/01/2019-06/30/2019         6.00%          1.5%                         $4,127.14          $280,025.74
             07/01/2019-09/30/2019         5.00%          1.26%                        $3,529.09          $283,554.83
             10/01/2019-12/31/2019         5.00%          1.26%                        $3,573.57          $287,128.40
             01/01/2020-03/31/2020         5.00%          1.24%                        $3,569.49          $290,697.89
             04/01/2020-06/30/2020         5.00%          1.24%                        $3,613.87            $294,311.76
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,219.40          $296,531.16
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,236.14          $298,767.30
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,210.06          $300,977.36
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,251.15          $303,228.51
             07/01/2021-07/31/2021         3.00%          0.25%                          $772.61          $304,001.12


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2018-07/31/2021                                                    $44,672.54          $304,001.12




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $331,607.64
             01/01/2019-03/31/2019         6.00%          1.48%                        $4,905.98          $336,513.62
             04/01/2019-06/30/2019         6.00%          1.5%                         $5,033.87          $341,547.49
             07/01/2019-09/30/2019         5.00%          1.26%                        $4,304.43          $345,851.92
             10/01/2019-12/31/2019         5.00%          1.26%                        $4,358.68          $350,210.60
             01/01/2020-03/31/2020         5.00%          1.24%                        $4,353.71          $354,564.31
             04/01/2020-06/30/2020         5.00%          1.24%                        $4,407.84          $358,972.15
             07/01/2020-09/30/2020         3.00%          0.75%                        $2,707.00          $361,679.15
             10/01/2020-12/31/2020         3.00%          0.75%                        $2,727.42          $364,406.57
             01/01/2021-03/31/2021         3.00%          0.74%                        $2,695.61          $367,102.18
             04/01/2021-06/30/2021         3.00%          0.75%                        $2,745.72          $369,847.90
             07/01/2021-07/31/2021         3.00%          0.25%                          $942.35          $370,790.25


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2019-07/31/2021                                                    $39,182.61          $370,790.25




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             Quarter Range                 Annual Rate    Period Rate           Quarter Interest    Principal+Interest


             Violation Amount                                                                             $188,446.79
             01/01/2020-03/31/2020         5.00%          1.24%                        $2,342.71          $190,789.50
             04/01/2020-06/30/2020         5.00%          1.24%                        $2,371.84          $193,161.34
             07/01/2020-09/30/2020         3.00%          0.75%                        $1,456.63          $194,617.97
             10/01/2020-12/31/2020         3.00%          0.75%                        $1,467.61          $196,085.58
             01/01/2021-03/31/2021         3.00%          0.74%                        $1,450.50          $197,536.08
             04/01/2021-06/30/2021         3.00%          0.75%                        $1,477.46          $199,013.54
             07/01/2021-07/31/2021         3.00%          0.25%                          $507.08          $199,520.62


             Prejudgment Violation Range                                   Quarter Interest Total   Prejudgment Total
             01/01/2020-07/31/2021                                                    $11,073.83          $199,520.62




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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS


           SECURITIES AND EXCHANGE
           COMMISSION,                                           Civil Action No. 21-CV-11276 (WGY)
                               Plaintiff,
               v.

           FREDERICK L. SHARP, ZHIYING
           YVONNE GASARCH, COURTNEY
           KELLN, MIKE K. VELDHUIS, PAUL
           SEXTON, JACKSON T. FRIESEN,
           WILLIAM T. KAITZ, AVTAR S.
           DHILLON, and GRAHAM R. TAYLOR,

                                          Defendants.


                    PLAINTIFF’S OPPOSITION TO DEFENDANTS MIKE K. VELDHUIS
                AND COURTNEY KELLN’S SECOND MOTION TO STAY THE PROCEEDINGS

                  Plaintiff Securities and Exchange Commission (the “SEC” or “Commission”) submits

          this opposition to defendants Mike Veldhuis and Courtney Kelln’s (“Defendants”) second

          motion to stay the proceedings. Dkt. No. 421. Defendants previously moved to stay these

          proceedings, which motion was denied. Dkt. Nos. 280 (motion to stay), 292 (order denying

          motion to stay).

                  In their first motion to stay, Defendants argued that the proceedings should be stayed in

          light of a pending parallel criminal proceeding. Dkt. No. 281. They again move to stay these

          proceedings for the same reason: The ongoing pendency of the parallel criminal proceeding.

          Dkt. No. 422. The Commission therefore incorporates by reference its opposition to Defendants’

          first motion to stay, which addressed the arguments Defendants now raise for the second time.

          Dkt. No. 289.




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                   Nothing has changed since the first motion to stay, except that the Commission prevailed

          at trial as to Friesen and Gasarch and has now moved the Court to impose remedial sanctions on

          all five remaining defendants—Veldhuis, Kelln, Sexton, Friesen, and Gasarch.1 Dkt. No. 425.

          There are a number of reasons that Defendants’ motion should be denied.

                   First, having moved to stay for a second time, and for the same reasons, the Court should

          treat the instant motion as one for reconsideration. To prevail on a motion for reconsideration, “a

          party normally must demonstrate either that new and important evidence, previously unavailable,

          has surfaced or that the original judgment was premised on a manifest error of law or fact.”

          Caribbean Mgmt. Group, Inc. v. Erikon LLC, 966 F.3d 35, 44-45 (1st Cir. 2020) (quoting Ira

          Green, Inc. v. Military Sales & Serv. Co., 775 F.3d 12, 28 (1st Cir. 2014)). Reconsideration is

          therefore rarely granted. Id. at 45. Defendants do not claim that the Court’s prior order denying

          their first motion to stay was somehow based on a manifest error of law and they identify no new

          facts that they claim were previously unavailable. Their motion should therefore be denied for

          this reason alone.

                   Second, Defendants now argue that they cannot adequately defend against the

          Commission’s remedies motion, claiming that opposing such motion may implicate their Fifth

          Amendment rights. But both of the judgments entered as to Veldhuis and Kelln expressly

          contemplated their participation in the remedies phase of this proceeding:

                            In connection with any such determination of disgorgement and/or
                            civil penalties, the Court may determine the amounts of the
                            disgorgement and civil penalty after briefing by Defendant and the
                            Securities and Exchange Commission and, if necessary, a hearing
                            to resolve any material factual disputes before the Court. For

          1
           Veldhuis, Kelln, and Sexton did not oppose entry of judgments as to their liability, and the Court subsequently
          entered judgments as to each. Dkt. Nos. 317 (Kelln), 325 (Veldhuis), and 378 (Sexton). Friesen and Gasarch
          proceeded to trial and the jury returned a verdict in favor of the SEC on all counts in the Complaint. Dkt. No. 402
          (verdict). Sexton, Friesen, and Gasarch have not moved to stay these proceedings.


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                           purposes of that determination, Defendant will not contest liability
                           under the claims filed by the Plaintiff, but will be permitted to
                           challenge the remedies and sanctions sought by the Commission as
                           a result of that liability.

          Dkt. Nos. 317 (Kelln Judgment) Part VI, 325 (Veldhuis Judgment) Part VI (emphasis supplied).

          Having themselves proposed these terms, Defendants should not now be permitted to avoid

          participating in the remedies phase of this case.

                    Third, with respect to their Fifth Amendment privilege, Defendants do not explain in any

          detail how opposing the Commission’s remedies motion risks waiver:

                •   They claim that they cannot “admit wrongdoing”—one of the factors the Court
                    may consider in imposing remedies. But they already did so by consenting to
                    judgments establishing their liability. Indeed, both judgments expressly provide
                    that “Defendant[s] will not contest liability under the claims filed by the Plaintiff”
                    in connection with remedies briefing. Dkt. Nos. 317 (Kelln Judgment) Part VI,
                    325 (Veldhuis Judgment) Part VI.

                •   Likewise, they say that they will be “unable to challenge the SEC’s depiction of
                    the degree of “the egregiousness of the violation” without risking incrimination.
                    They don’t explain what it is they might say about this factor that would
                    incriminate them. And, having consented to judgments under which they “will
                    not contest liability,” it is difficult to see what incriminating facts they might
                    present on the issue of their liability.

                •   The same is true as to contesting the “nature of the violations,” their “current
                    financial situation[s]” and the “reasonableness” of the SEC’s disgorgement figure.
                    The nature of the violations are what they are—violations of various antifraud and
                    other provisions of the federal securities laws. As to their current financial
                    situations and the Commission’s disgorgement calculations, they offer no reason
                    that information about either is incriminating.

                    Fourth, Defendants’ request for a stay of indefinite length pending a criminal proceeding

          in which indictments have not yet been returned. There is no way to know how long this case

          would be put on ice given the early stages of the criminal proceeding and the likely need for for

          lengthy extradition proceedings. Nat’l Coal. On Black Civic Participation v. Wohl, No. 20 Civ.

          8668, 2021 WL 694557, at *3 (S.D.N.Y. Feb. 22, 2021), appeal dismissed, No. 21-232, 2021

          WL 3852252 (2d Cir. June 22, 2021) (denying renewed motion for stay when duration of
                                                              3




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          criminal proceeding is unknowable). It is also inefficient given that the case is completely

          resolved as to four defendants (Sharp, Kaitz, Dhillon, and Taylor) and three defendants (Sexton,

          Friesen, and Gasarch) have not moved for a stay. Defendants’ motion, if granted, would leave

          this case open indefinitely as to two of nine named defendants.

                 Further, putting off a decision on remedies would indefinitely delay the Commission’s

          ability to pursue its collections activity and related litigation in Canada as to Veldhuis and Kelln.

          This would delay the process of determining the full amount of funds available to make a

          distribution to harmed investors. It would be far more feasible and efficient for the Commission

          to develop a distribution plan when knowing at the same time the total amount available from all

          nine defendants to be distributed to harmed investors. The public interest in recovering and

          distributing the full amount of ill-gotten gains would thus be undermined.

                 Finally, Defendants do not contest that, as a legal matter, they have no right to a stay.

          Indeed, they do not grapple with the fact that a stay is discretionary and constitutes

          “extraordinary relief.” Microfinancial, Inc. v. Premier Holidays Int’l, 385 F.3d 72, 79 (1st Cir.

          2004)). Defendants’ conclusory arguments surely do not justify such an extraordinary remedy.

                 For all these reasons, and the reasons set forth in the Commission’s opposition to

          Defendants’ first motion to stay, Defendants’ second motion to stay should be denied.

          Dated: December 18, 2023                      Respectfully submitted,

                                                        SECURITIES AND EXCHANGE
                                                        COMMISSION

                                                        By its Attorneys,

                                                        /s/ Alfred A. Day
                                                        Kathleen B. Shields (Mass. Bar No. 637438)
                                                        Alfred Day (Mass. Bar No. 654436)
                                                        David H. London (Mass. Bar No. 638289)
                                                        Nita K. Klunder (Mass. Bar No. 689304)

                                                            4




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                                                        33 Arch Street, 24th Floor
                                                        Boston, MA 02110
                                                        Telephone: (617) 573-8904 (Shields); (617) 573-
                                                        4537 (Day); (617) 573-8997 (London)
                                                        Fax: (617) 573-4590
                                                        Email: shieldska@sec.gov; daya@sec.gov;
                                                        londond@sec.gov; klunderni@sec.gov


                                           CERTIFICATE OF SERVICE

                  I hereby certify that on December 18, 2023, a true and correct copy of the foregoing
          document was filed through the Court’s CM/ECF system, and accordingly, the document will be
          sent electronically to all participants registered to receive electronic notice in this case. A copy
          will also be sent via first class mail and/or email to those parties who have not yet registered for
          notice via the Court’s CM/ECF system.

                                                        /s/ Alfred A. Day




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           1                      UNITED STATES DISTRICT COURT

           2                       DISTRICT OF MASSACHUSETTS (Boston)

           3                                             No. 1:21-cv-11276-WGY

           4

           5    SECURITIES and EXCHANGE COMMISSION,
                           Plaintiff
           6

           7    vs.

           8

           9    FREDERICK L. SHARP, et al,
                            Defendants
          10

          11
                                               *********
          12

          13
                                       For Hearing Before:
          14                         Judge William G. Young

          15
                                            Final Pretrial
          16

          17                             United States District Court
                                         District of Massachusetts (Boston)
          18                             One Courthouse Way
                                         Boston, Massachusetts 02210
          19                             September 07, 2023

          20

          21                                    ********

          22
                             REPORTER: RICHARD H. ROMANOW, RPR
          23                      Official Court Reporter
                                United States District Court
          24          One Courthouse Way, Room 5510, Boston, MA 02210
                                     rhrbulldog@aol.com
          25




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                                                                                          2




           1                             A P P E A R A N C E S

           2

           3    KATHLEEN BURDETTE SHIELDS, ESQ.
                ALFRED A. DAY, ESQ.
           4    DAVID H. LONDON, ESQ.
                NITA KUMARASWAMI KLUNDER, ESQ.
           5       Securities and Exchange Commission - MA
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           6       Boston, MA 02110
                   (617) 573-8904
           7       Email: Shieldska@sec.gov
                   For Plaintiff
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           9    KAREN A. PICKETT, ESQ.
                   Pickett Law Offices, P.C.
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                   Email: Kpickettlaw@gmail.com
          12       For Defendant Zhiying Yvonne Gasarch

          13
                NEIL THOMAS SMITH, ESQ.
          14    ROBERT S. SILVERBLATT, ESQ.
                   K & L Gates LLP - MA
          15       One Lincoln Street
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                   (617) 261-3180
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                   For Defendant Paul Sexton
          18

          19    MIRANDA E. FRITZ, ESQ.
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                   Email: Tfazio@mgmlaw.com
          23       For Defendant Jackson T. Friesen

          24

          25




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           1             P R O C E E D I N G S

           2             (Begins, 10:20 a.m.)

           3             THE CLERK:       Civil Matter 21-11276, the SEC versus

           4      Sharp, et al.

           5             THE COURT:       Good morning.      Would counsel identify

           6      themselves, starting with the Commission, and with

           7      respect to the defense, tell me who you represent.

           8             MR. LONDON:        Good morning, your Honor, David

           9      London for the SEC.

          10             MS. SHIELDS:       Good morning, your Honor, Kathleen

          11      Shields for the SEC.

          12             MR. DAY:        Good morning, your Honor, Al Day for the

          13      SEC.

          14             THE COURT:       And our colleague Nita Kumaraswami

          15      Klunder.

          16             THE COURT:       And she's certainly welcome.

          17             MR. SMITH:       Good morning, your Honor, Neil Smith,

          18      and my colleague Rob Silverblatt, from K & L Gates, on

          19      behalf of Paul Sexton.

          20             MS. PICKETT:       Good morning, your Honor, Karen

          21      Pickett for Defendant Yvonne Gasarch.

          22             MS. FRITZ:       Miranda Fritz for Jackson Friesen.

          23             MR. FAZIO:       And Tim Fazio for Jackson Friesen.

          24             THE COURT:       Good morning and welcome to you all.

          25             We're going to start on the 11th.                Normally I




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           1      do -- this is a civil matter and I do final pretrial

           2      conferences back in the jury room where we can relax

           3      more and talk about the structure of the case.                  Here --

           4      and then back there is not a time for argument, it's

           5      just a discussion about how we're, in fact, going to do

           6      it, but here I'm doing it backwards.              And my reason is,

           7      as I have prepared for this final pretrial conference, I

           8      am struck by how factually complex and legally complex

           9      this trial is going to be, and I -- no one is more

          10      delighted to try jury cases than am I.

          11             Nevertheless it does occur to me that it might be

          12      in the parties's interest to try this jury-waived.                     That

          13      would mean a lot more work for me, but that's a matter

          14      of no moment.     Rather I think you ought think about that

          15      because it might be to your respective advantage.                     And

          16      that being so, I thought I would rule on the motions in

          17      limine upon which I can rule and which I'm certain of

          18      the disputes identified in the joint pretrial memorandum

          19      right now, and then having made those rulings, we'll go

          20      back into the jury room and you can drink your coffee

          21      and I will drink my tea and we can talk about just the

          22      mechanics of the trial.        I can't rule on all of the

          23      motions in limine because, quite candidly, I'm not

          24      prepared so to rule, but certain of them I can.                  And,

          25      um, I want you to know what the rulings are because




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           1      those rulings are going to be followed whether we try

           2      this jury or jury-waived.          I'm strict on evidence.             Even

           3      if we try it jury-waived, I try to make very clear the

           4      record on which the Court's findings and rulings are

           5      based, and I hold myself to that.

           6              So with that in mind, let me deal with the ones

           7      upon which I can rule.        We have -- and really something

           8      that seems to be key here, motions in limine to exclude

           9      the Q records -- I'm reading from Docket Number 329, and

          10      purported expert testimony, and that's Dockets Number

          11      329, 334, 338, 339, and so let me, um -- those are all

          12      substantively the same motion.           So let me deal with

          13      that.

          14              With respect to the Q records -- well the motion

          15      is going to be granted in part and denied in part.                     The

          16      Q -- at least insofar as the Court understands from the

          17      motion from partial -- for partial summary judgment upon

          18      which the Court has acted, I don't see any way that

          19      these Q records can admitted under 8036 as business

          20      records, perhaps for the most simple reason that we have

          21      not got a custodian of those records who can properly --

          22      is competent to testify sufficient under 8036, but of

          23      course that's not the only grounds for admission.                     The

          24      Commission, um, also suggests that they're admissible as

          25      co-conspirator hearsay under 801(d)(2)(e), and there's




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           1      much to that.     The defense briefed that, but you're not

           2      really looking at the law in the First Circuit and the

           3      law in the First Circuit as to conspiracy works like

           4      this.

           5              Yes, the government has to prove, and it is a

           6      preliminary finding by a fair preponderance of the

           7      evidence, that the document was made by a conspirator

           8      during the course of the conspiracy and in furtherance

           9      of the conspiracy, in other words a document -- and

          10      related documents much like in a drug case where the

          11      government properly seizes what the government later

          12      asserts, and it may well be, is a drug ledger of

          13      payments and supply and in various iterations.                  Well

          14      here's how that preliminary finding is made in the First

          15      Circuit.

          16              If the government makes, in this case the

          17      Commission, makes that allegation, and they do, in good

          18      faith, the Court takes them at their word and receives

          19      the document with sufficient authentication by how the

          20      document came to be in the government's possession, that

          21      it is tied to someone the government says is a

          22      conspirator during and in furtherance of the course of

          23      the conspiracy, and I'm expected simply to admit it, and

          24      I will, and it will all be heard by the jury.                  Then the

          25      Commission will rest.        And then, on the First Circuit




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           1      precedent, it will be argued and I will make the

           2      preliminary finding that the document is or is not

           3      sufficient or within the bounds of 801(d)(2)(e).

           4      That's -- and then if I do not so find, then the

           5      Commission's case, it would seem to me, is a shambles

           6      and the risk they run by introducing such a crucial

           7      document is that then I have to strike it, and one might

           8      expect, though it's your case to try, that then, since

           9      this is a central document, they'll be a motion for a

          10      mistrial and we'll see what happens.

          11             Make no mistake, I've done this, not frequently,

          12      but at least three times in trying conspiracy cases,

          13      each of them a criminal case, and this is not a criminal

          14      case, but the standard of proof is the same, a

          15      preliminary finding on the fair preponderance of the

          16      evidence, three times I have stricken the evidence that

          17      I found was not sufficient under the applicable

          18      provision of the federal rule.           In most cases I find

          19      that it is.     And then the defense gets a second chance

          20      at the -- to argue the point at the time the defense

          21      rests, and I either stick with my position or I revise

          22      it.   So that's how it works and that's how I expect it

          23      will work in this case.

          24             Now an equally-important aspect of this motion is

          25      the motion to exclude the expert testimony of the, um,




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           1      Commission's, as one motion says, "purported expert

           2      witness," and that motion too is allowed in part and

           3      denied in part as follows.

           4               This Feigin, a lawyer, he's not going to testify

           5      about the law, his report reads like the Commission's

           6      brief.     I'm not accepting that.        Now I have no pride of

           7      place and, um, it's one of the reasons candidly, though

           8      you can be sure I will be just as fair and evenhanded as

           9      I can be, that I contemplate maybe you want to do it

          10      jury-waived, the law is complex, the regulations are

          11      complex, but there's only one law teacher here, it's me.

          12      Nobody else.     But that doesn't mean that you can't argue

          13      the law as I've declared it.          And, um, having said that,

          14      the fellow, um, actually he's pretty good.                It's pretty

          15      helpful.     I read it with great interest.            It's of course

          16      slanted entirely in favor of the Commission, but it

          17      helps me.

          18               And, um, if we're going to go before a jury, what

          19      I want you to do is I want you to break out what my -- I

          20      thought his explanation of Rule 144, I thought that was

          21      pretty good, and other parts are equally good, and at

          22      least if you boil them down so they're evenhanded,

          23      that's a pretty -- he's helpful.            I don't want his

          24      testimony, but what I want is his learning.                 And both

          25      sides, you've got work to do.




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           1             If you want me to charge these ways well beyond

           2      your -- and I believe me I appreciate and I thank the

           3      Commission, the Commission has proposed instructions and

           4      those instructions aren't expert testimony, I can work

           5      with those, they're very helpful.            I propose generally

           6      to give them, though this is not a statement that I

           7      will, to generally introduce the case before anyone

           8      makes openings, unless it's going to be tried jury-

           9      waived.

          10             But beyond that, something I would do in this case

          11      is if you break out specific things as one imagines he

          12      would do very eloquently, I see no reason that -- and

          13      I'll take Rule 144.       When you get to that part of the

          14      case with a witness, or where you think the

          15      instruction -- and I'm looking at the Commission because

          16      it's your case to prove, that an instruction on Rule 144

          17      would be helpful, say, "Judge, could you instruct on

          18      Rule 144," and I will, not in haec verba as he does it,

          19      but he does pretty well.

          20             That does not mean he cannot testify, because

          21      beyond that he testifies based upon his review, which

          22      appears to be a careful review, um, he testifies as to

          23      various factual opinions, um, like, for instance, so

          24      many millions of dollars was moved from this place to

          25      that place, or profits were made.            On a proper




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           1      foundation, I think -- I must, and I think I will, and

           2      it's likely I will, allow him to testify precisely to

           3      those factual matters.        Now he can be cross-examined on

           4      those.    But that is, um -- I'm happy to have the jury

           5      here, his experience in these matters.                 But he's going

           6      to testify as a Rule 701 witness, which means I use this

           7      methodology, which is mathematical to the jury, I looked

           8      at these sheets and I looked at these notations and then

           9      I calculated whatever, and he then will say "And in my

          10      opinion this much was transferred," or "This profit was

          11      made," or something along those lines.                 But he'll always

          12      have to qualify it by saying "Based upon these

          13      calculations, it's my opinion that thus and so."

          14               A 701 witness is not providing some expertise that

          15      the jury doesn't know about.          A 701 witness explains to

          16      the jury, in lay person's terms, how the calculation is

          17      made, explains that he looked at the various documents,

          18      and in his opinion it comes out this way or that way.

          19      Now that's my ruling on those motions in limine.

          20               I don't understand this one about compelling a

          21      production of documents, and we're not going to deal

          22      with it this morning, I will be ready to deal with it by

          23      the time the trial begins.

          24               There are various matters upon which I should rule

          25      which come up -- which come up during the course of the




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           1      trial and will come up jury or jury-waived, and in no

           2      particular order let me deal with them.

           3              There's going to be no reference to anybody taking

           4      the Fifth Amendment and if someone missteps on that, I

           5      will -- I will impose sanctions.            That's not material,

           6      the chance of prejudice far outweighs the -- it's not of

           7      any probative value whatsoever.            So they'll be no

           8      reference to that.

           9              No one is going to be called a "fugitive" unless

          10      there is a -- there is evidence, preliminary evidence

          11      that an order of court has been entered, which ordered

          12      the individual, again by a fair preponderance of the

          13      evidence, has personal knowledge of, and then pursuant

          14      to that order of court, this court or a Canadian court,

          15      the person did not respond or appear at the time and

          16      place where the person is directed, commanded by the

          17      appropriate court to appear.          Lay that foundation and

          18      the person can be called a -- can be called a

          19      "fugitive."

          20              There's not going to be, by way of demonstrative

          21      aid or in questioning, something called the "Veldhuis

          22      Control Group."        None of the documents, as the defense

          23      points out, one, that assumes a conclusion that's for

          24      the jury, and two, there is no such entity, "Veldhuis

          25      Control Group."        So I'm going to allow the Commission




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           1      appropriate argument, but you're not going to call any

           2      aggregation of people a "control group."                 They can be

           3      called by name.        You can argue that they're a control

           4      group, you can make mention of it in your opening

           5      because in good faith you propose to demonstrate that.

           6              Let's see.      (Pause.)      Actually I see a detailed

           7      list of exhibits and a detailed list of objections to

           8      those exhibits, but I'm not clear -- and let me pause,

           9      and I'll ask the Commission.

          10              This list I have, to those exhibits to which there

          11      is no objection, there aren't very many of them, and

          12      that's going to slow us down, but to those exhibits to

          13      which there is no objection, I take it that based upon

          14      what the joint proposal submits, the joint pretrial

          15      memorandum submits, that those exhibits are admitted

          16      without more and they'll bear the number that the list

          17      has here.     Is that how you figured it out?

          18              MS. SHIELDS:      That's my understanding, your Honor.

          19              THE COURT:      Fine.   And that's now the Court's

          20      understanding and that's perfectly acceptable.                   And so

          21      exhibits to which no objection has been raised, we can

          22      take it that those exhibits are in evidence, without

          23      more.

          24              Then you've likewise done a fine job of noticing

          25      or letting the Court know the, um, deposition testimony




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           1      that will be proffered, and this would be a difference

           2      if we did it jury-waived.          I have to say, if we do it

           3      jury-waived, I'll read the depositions, because I'll be

           4      the factfinder, and I will rule on the objections as I

           5      go, but I can do it on my own time, we don't need to

           6      take any court time.        If we're going to try it to the

           7      jury, the depositions have to either be read or played

           8      to the jury and that cannot happen until I've ruled on

           9      the objections, and I don't have the depositions.

          10              So what I need is the actual deposition and I need

          11      it marked up so I -- it's all very well to say this, but

          12      it is an interminable problem just to be left with this,

          13      though I don't fault anyone, I need the exhibit.                   Or if

          14      it isn't an exhibit, it has to be communicated to the

          15      jury.    So as soon as you get it into my hands, I need

          16      these marked-up depositions where the areas to which the

          17      objection is made are categorized by now on the

          18      document, to which I can make a little notation,

          19      "Sustained," which means the objection is sustained and

          20      those line items, lines and pages are stricken, or

          21      "Overruled," which means obviously they may be read or

          22      played to the jury.        When I give you back the

          23      deposition, just as soon as I have done that work, um,

          24      you conform to the Court's order, the material comes in

          25      during the course of the trial, and the original, which




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           1      has my notations, is maintained by the Clerk so we know

           2      what the record is.        Again I need to be doing that work

           3      this weekend.      And I'll tell you, nothing is going to be

           4      played or read to the jury until I've ruled on those

           5      objections.

           6              And this is one where I say this whether we go

           7      jury or jury-waived, because while I can do it all on my

           8      own and we don't need to take up court time, I will do

           9      precisely the same thing so that what I sustain or

          10      overrule is, um, clear on the record, and I hope you

          11      trust me, I will hold myself exactly, strictly to

          12      matters that I have admitted in evidence.

          13              There's in this, um --

          14              MS. SHIELDS:      Your Honor, may I?

          15              THE COURT:     Yes.

          16              MS. SHIELDS:      The point you just made.

          17              THE COURT:     Yes.

          18              MS. SHIELDS:      So we can get those to you this

          19      afternoon.

          20              THE COURT:     This afternoon is great.

          21              MS. SHIELDS:      I want to though ask you a question

          22      about that in light of one of the things that your Honor

          23      has previously said.

          24              THE COURT:     All right.

          25              MS. SHIELDS:      The Commission intended to play for




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           1      the jury the depositions of the defendants in this case.

           2              THE COURT:     All right.

           3              MS. SHIELDS:      And also admit the defendants's

           4      answers to written deposition questions, which the

           5      parties agreed would take the place of a longer

           6      videotaped deposition.        All of the defendants's answers,

           7      both in the very short videotaped depositions and the

           8      written questions, were the defendants's assertions of

           9      the Fifth Amendment.        And in particular, the

          10      defendants's asserted their Fifth Amendment right in

          11      response to a number of exhibits that as part of the

          12      deposition question the Commission was seeking to put

          13      before the Court and the jury.

          14              So I'm wondering, in light of your comments about

          15      the Fifth Amendment, that's a very important part of the

          16      Commission's case, and it's argued that the jury is

          17      entitled to know that, when presented with these

          18      exhibits and specific questions about those exhibits,

          19      that the defendants refused to answer the question.

          20              THE COURT:     I don't think so, at least as you've

          21      explained it.      I've read this material in order to

          22      prepare for this hearing.          It's simply not probative.

          23      It's a constitutional right.

          24              MS. SHIELDS:      But, your Honor, in a civil case --

          25              THE COURT:     I understand.       I understand the matter




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           1      is well within my discretion, but it is not probative.

           2      If they won't admit to the authenticity of something or

           3      something and the like, then that's not a source of it.

           4      I mean my ruling stands.         So maybe that will save me

           5      some time here.        But I'll -- you give it to me and I'll

           6      be dealing with it just as fast as I can.

           7               But for general notice, no reference to anyone

           8      taking the Fifth Amendment, it is not probative of

           9      anything.     And there is a substantial risk of prejudice.

          10               All right.     I think I'm about done what I'm able

          11      to do.    One, um -- somewhere in this pretrial

          12      memorandum, one of the defendants objected to a list of

          13      witnesses that were not in the initial disclosures.

          14      That's overruled.        They may be called.

          15               I think that's about all I need do now, and I

          16      would take a recess of about 5 minutes and let you get

          17      coffee if you want and then we'll invite you back into

          18      the jury room, it will be off the record and we can just

          19      talk about the case.

          20               I do not intend to entertain argument, but I do

          21      want you to ask questions if any of my rulings -- and

          22      I'm simply saying again, this is how we're going to try

          23      this case.     I've made my rulings.          This is how we're

          24      going to try it if goes jury-waived, if we try it as a

          25      jury case.     But, um -- and I simply wanted to assure you




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           1      of that.     I'm not going to say any more about that, it's

           2      a jury case and I'm prepared to try it as a jury case,

           3      and again I have enormous faith in the jury.                  But I'm

           4      open to questions now about these matters.                 Not

           5      argument.

           6              Yes, Ms. Shields.

           7              MS. SHIELDS:      There is one additional motion in

           8      limine that I don't believe your Honor has addressed,

           9      it's a piece of the Commission's motion in limine that

          10      relates to the business records as they apply to the one

          11      bank brokerage firm for which we don't have a business

          12      record here.      We sought the admission of those records

          13      under the catch-all exception to the hearsay rule.                     And

          14      I don't believe your Honor has addressed that.

          15              THE COURT:     I have not.      I will look at it.

          16      There's also a motion that I did not address, but I'm

          17      aware of, I'll simply find it and rule on it.

          18              MS. SHIELDS:      Thank you, your Honor.

          19              THE COURT:     The business about redacting names and

          20      the like, the Commission wants that in certain -- it's

          21      Docket Number --

          22              MS. SHIELDS:      Yes, your Honor.        So we ask, just

          23      for purposes of the pretrial filings on the docket, to

          24      redact the names of some witnesses who are cooperators

          25      in criminal cases.        We don't request that those names be




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           1      redacted when they testify at trial.              Because it would

           2      minimize the instances in which those people's names

           3      appear on --

           4              THE COURT:     I'm fine with that.

           5              MS. SHIELDS:      Thank you.

           6              THE COURT:     So we'll take it that Docket Number

           7      354 is allowed.

           8              All right.     Other questions before we go off the

           9      record?

          10              MR. LONDON:     Yeah, please, your Honor, a question.

          11      With respect to the defendants, the understanding is

          12      they are not going to be showing up in Boston, it will

          13      be the lawyers trying the case, but the clients will not

          14      be here.

          15              Does the Court have a view on our ability to,

          16      let's say in opening, inform the jury that the

          17      defendants themselves won't be here.

          18              THE COURT:     Well if that's the fact, only I might

          19      correct it and say "of course they don't have to be."

          20      Again my experience has been with jurors that they'll be

          21      wondering.     So it would not be something that would be

          22      in my precharge, but if you say that, I'm likely to say

          23      "Well remember they don't have to be here, this is a

          24      civil case."

          25              MR. LONDON:     Understood.      Thank you.




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           1              THE COURT:     Now there may be lots of questions

           2      like that that I don't really know we need to have on

           3      the record.

           4              Any questions about the rulings I've made on the

           5      record?    Because I want you to know I am bound to them

           6      and I did it for the reasons that I've said.

           7              All right, let's take 5 or 10 minutes and I'll see

           8      you at 10 of in the jury room.

           9              We'll recess.

          10              (Recess, 10:45 a.m.)

          11              (Conference in chambers, no record.)

          12              (11:45 a.m., no judge or jury present.)

          13              MS. SHIELDS:      I'd like to preserve the objection

          14      to the judge's ruling on the exclusion of adverse

          15      inference and Fifth Amendment testimony.                 That

          16      effectively excludes the defendants's deposition

          17      testimony and would result in the defendants not being

          18      required to participate in discovery by effectively

          19      excluding their depositions on the basis that they have

          20      asserted the Fifth Amendment.           It's prohibiting the

          21      Commission from having any usable discovery into

          22      defendants's positions in this matter.                 That is

          23      essentially allowing the defendants not to have to

          24      default in this case.        And so in light of your Honor's

          25      ruling, we are considering asking the defendants be held




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           1      in default in this matter.

           2              THE CLERK:     Thank you.

           3              (Ends, 11:48 a.m.)

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           1                             C E R T I F I C A T E

           2

           3               I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER,

           4      do hereby certify that the foregoing record is a true

           5      and accurate transcription of my stenographic notes

           6      before Judge William G. Young, on September 7, 2023, to

           7      the best of my skill and ability.

           8

           9

          10

          11      /s/ Richard H. Romanow 1-23-24
                  __________________________
          12      RICHARD H. ROMANOW   Date

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           1                      UNITED STATES DISTRICT COURT

           2                        DISTRICT OF MASSACHUSETTS (Boston)

           3                                              No. 1:21-cv-11276-WGY

           4

           5     SECURITIES and EXCHANGE COMMISSION,
                            Plaintiff
           6

           7     vs.

           8

           9     FREDERICK L. SHARP, et al,
                             Defendants
          10

          11
                                                 *********
          12

          13
                                          For Jury Trial Before:
          14                             Judge William G. Young

          15

          16
                                         United States District Court
          17                             District of Massachusetts (Boston)
                                         One Courthouse Way
          18                             Boston, Massachusetts 02210
                                         Monday, September 11, 2023
          19

          20
                                                 ********
          21

          22                  REPORTER: RICHARD H. ROMANOW, RPR
                                   Official Court Reporter
          23                     United States District Court
                       One Courthouse Way, Room 5510, Boston, MA 02210
          24                          rhrbulldog@aol.com

          25




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           1                             A P P E A R A N C E S

           2

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          25




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           1               P R O C E E D I N G S

           2               (Begins, 9:00 a.m.)

           3               THE CLERK:     Civil Matter 21-11276, the Securities

           4      and Exchange Commission versus Sharp, et al.

           5               THE COURT:     Good morning counsel.          As Ms. Gaudet

           6      may have told you, we're in better shape than I thought

           7      we would be in terms of getting jurors, that is to say

           8      the Jury Clerk has 60 jurors for us, unless one of the

           9      two criminal cases which comes before us is ready to

          10      receive jurors, and we have notified them that we are

          11      ready.    So we will be ready just as soon as the jurors

          12      appear.

          13               But let me take care, if I can, of the pending

          14      motions and, um, if we get jurors, we're just going to

          15      go right ahead.        And so implicit, the motion to continue

          16      the trial, that's denied.          But there was an alternative

          17      there.    And, um, but for this fellow Dhillon, who I take

          18      it is still going to be the first live witness, the

          19      defense has known that, so I have no problem with him,

          20      um, the alternative, and that would seem to make sense.

          21      And I would so order.

          22               No problem with that, is it, if you can put

          23      Dhillon on?

          24               MS. SHIELDS:     No, your Honor.

          25               THE COURT:     All right, then that's the order.




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           1              THE COURT:      Now about the subpoenaing people who

           2      have claimed the Fifth Amendment, um, when -- and the

           3      answer may be different for the different defendants.

           4      When they were inquired of formally by the SEC and the

           5      claim of the Fifth Amendment was raised as to each of

           6      them in the past, did they answer anything, in other

           7      words did they tell you their names or anything else?

           8              MR. DAY:       Yeah, very limited preliminary questions

           9      about names and such -- well some of them, not all of

          10      them.    I believe some of the defendants refused to

          11      answer any questions at all.

          12              THE COURT:      All right.      I'm not surprised.

          13              Is that what you want?          In other words, as to

          14      those answers, the person or persons who gave them, one

          15      could easily say, "Well they've waived the Fifth

          16      Amendment."     But beyond that, if they're going to take

          17      the Fifth Amendment, I don't know what we're doing here.

          18              Why are we subpoenaing people who counsel aver

          19      have, and everyone agrees they have, but they say they

          20      will continue to assert their rights under the Fifth

          21      Amendment?     I'm going to honor that, aren't I?

          22              MR. DAY:       Well, yes, your Honor, the reason that

          23      we subpoenaed them was to protect our rights because our

          24      understanding was that your Honor would not allow us to

          25      read the deposition testimony --




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           1              THE COURT:      That's correct.

           2              MR. DAY:       -- and we wanted to get the witnesses

           3      here to confirm the scope of their testimony and

           4      hopefully get them to assert the Fifth to the jury

           5      because that's a predicate for our seeking an adverse

           6      inference to which we believe we're entitled.

           7              THE COURT:      Well none of that's going to happen.

           8      I mean if I enforce the subpoena, here's what would

           9      happen.    In the afternoon I would have to put the person

          10      on the stand, allow you to start interrogating the

          11      person, the person would take the Fifth Amendment, I

          12      would sit here until I was satisfied as to all such

          13      questions beyond what earlier they may have waived it,

          14      they were going to take the Fifth Amendment.                   And I

          15      would find these people are taking the Fifth Amendment,

          16      since all intendments go in their favor, and it's pretty

          17      obvious where there's a corollary criminal investigation

          18      going on right now, that I must uphold their assertion

          19      of the Fifth Amendment.          And then I would say "No,

          20      they're not going to testify," and then they are

          21      excused.

          22              I don't see how, in light of defense counsels's

          23      assertions in their emergency motions, um -- they say

          24      they're going to take the Fifth, and I respect what

          25      counsel says, so I don't see any sense to go through an




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           1      exercise.     So I'm going to sustain that.              And to the

           2      extent you have rights in the situation, and of course

           3      you do, these are my rulings.            We're not getting into

           4      the jury knowing about the assertion of the Fifth

           5      Amendment, the prejudice far outweighs any probative

           6      value, and I'm not going there.             So that takes care of

           7      those motions.

           8               MR. DAY:      All right, your Honor, briefly.             Two of

           9      the defendants are differently situated than the three,

          10      that the jury is going to be considering liability for.

          11      Defendants Veldhuis and Kelln are not here, um, for a

          12      liability finding and they also asserted their Fifth,

          13      and these the ones I want to alert the Court about

          14      because again they're differently situated in the sense

          15      that there would be no prejudice in a liability

          16      determination.

          17               THE COURT:     Well they are not here and are not,

          18      um, going to be put to, um -- there's no issue as to

          19      them.

          20               Any objection if they -- if we learn that Veldhuis

          21      and some other person has asserted their Fifth Amendment

          22      right?

          23               MS. FRITZ:     If nothing else, your Honor, I think

          24      it raises a Bruton issue if they're asking -- if the

          25      question they're reading is "Isn't it a fact that you




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           1      conspired with or acted in concert with these other

           2      individuals?"      Then, yes, I would object.

           3              THE COURT:       Um, I think there's something to that.

           4      I guess I have the question whether Bruton applies in a

           5      civil case because your right of confrontation is

           6      different, there is no right of confrontation.                   Have you

           7      an answer for that?         Because candidly I don't.

           8              MS. FRITZ:       I don't have an answer, first of all

           9      -- first of all for whether they intend to do that and

          10      try to use Fifth Amendment assertions to inculpate those

          11      of us that are in the room.            If they're -- why don't

          12      they provide us with what they propose to use?

          13              THE COURT:       Because they're not required to.               But

          14      we'll see as we go along.           And perhaps we ought to

          15      research that.

          16              MS. FRITZ:       Okay.

          17              THE COURT:       So for now I'm making no blanket

          18      ruling, counsel, they're not here, and maybe you'll be

          19      allowed to do that.         I certainly won't allow any

          20      inference that because Veldhuis, for example, acted this

          21      way, you can therefore infer these people acted this

          22      way.    That's improper.

          23              Now I have received the one deposition of the

          24      fellow, his name begins --

          25              MR. DAY:       Nikolayev, your Honor.




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           1              THE COURT:      Nikolayev.      And I orally told

           2      Ms. Gaudet that as to all the designated material, that

           3      may all be played or read to the jury.                  But I haven't

           4      received any others, and no others will be unless a get

           5      a marked-up deposition.          I mean in that a deposition

           6      that indicates what the defendants don't like.

           7              MR. DAY:       Your Honor, we did, um, provide to the

           8      defendants and we're prepared to provide to the Court

           9      the deposition transcripts marked up as to the -- all

          10      five defendants, um, you know with particular focus on

          11      Veldhuis and Kelln, as we were just discussing.                    I'm

          12      happy to provide that to the Court and the defense has

          13      had that for quite some time.

          14              THE COURT:      Well since I have to work on it, I

          15      appreciate your doing that, but we all may wait and the

          16      time may run until I go through it.               So as soon as I

          17      have it, I will be working on it.

          18              I think that takes care of everything that was

          19      pending.     Are there other questions or matters that I

          20      should -- because as we're working together, why don't

          21      we start with the SEC, though he was quickest on his

          22      feet.

          23              MR. LONDON:       Your Honor, one pending motion is our

          24      request to have Kenneth Ciapala, one of our witnesses,

          25      testify remotely.        The defense has opposed that request.




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           1              THE COURT:      Okay.     Why in a civil case ought we

           2       not do that?     Mechanically we can do it.

           3              MS. FRITZ:      Mechanically we can, your Honor, but

           4       that would deprive us of a fair opportunity to cross.

           5       You can't cross -- something we've learned during covid,

           6       you can't -- it's very difficult to effectively cross.

           7              THE COURT:      I don't see why.         I've tried cases,

           8       civil cases during covid, and I thought that the cross-

           9       examination, in some cases, has been most effective.

          10              MS. FRITZ:      This is a government cooperator, it's

          11       a critical witness, and it's a document-intensive cross.

          12       So under all those circumstances, I would argue that

          13       we're not given a fair opportunity to cross if they can

          14       just have him speak through a computer.

          15              THE COURT:      Denied.       He may testify remotely.

          16              All right.

          17              MR. SMITH:      Your Honor, Neil Smith for Paul

          18       Sexton.    So, um, we wanted to make sure we got this done

          19       before the jury came in, your Honor.               My client last

          20       night made the decision that he's going to also file a

          21       notice of nonopposition to entry of judgment.                   His

          22       limited resources, he has decided will be best utilized

          23       arguing in the remedies phase.            So we will be forthwith

          24       this morning filing a notice similar to that which was

          25       filed by the other defendants, Kelln and Veldhuis.                      And




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           1       we will participate in the remedies phase once we get to

           2       that.

           3                THE COURT:     Then I ought to excuse them, shouldn't

           4       I?

           5                MS. SHIELDS:     The SEC has no objection, your

           6       Honor.

           7                THE COURT:     Yeah, and you are now excused.

           8                MR. SMITH:     Thank you, your Honor.

           9                MS. FRITZ:     Your Honor, I renew my motion for a

          10       continuance.     I had no earthly idea that this was about

          11       to happen.     It does alter the role that I would occupy

          12       during the proceedings.        I certainly had understood that

          13       Mr. Smith was going to be doing a good, a good bit of

          14       cross-examination during this trial.              I need -- I'm

          15       going to need probably a week.

          16                THE COURT:     Motion's denied.       We're going to start

          17       -- of course now I only have two defendants, so you get

          18       a half an hour for opening, and everything else remains

          19       the same.     And I'd be -- you take some time now and tell

          20       me how much this is going to cut the case down, because

          21       this will be, um -- I will be telling the jury this this

          22       morning.

          23                Other matters?

          24                MR. KLUNDER:     Yes, your Honor, there's just one

          25       more motion in limine that remains outstanding, we had




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           1       filed a motion regarding the admissibility of business

           2       records.     The defendants have stipulated that all

           3       records that have a business records certification will

           4       be admissible.        But there's one set of documents from a

           5       Panamanian broker, Verdimont, for which we do not have a

           6       business records certification.            We've attached those in

           7       the filings and believe that there's an indicia of

           8       reliability on the face of those documents.                  And --

           9              THE COURT:       Well let me see if I understand

          10       because candidly I have not looked at this issue, so I'd

          11       better look at what's been filed, unless we can agree.

          12              I know that the federal rules now allow for the

          13       admissibility of business records supported by an

          14       affidavit.     I -- it's my duty to review that affidavit

          15       and, um as to that, having looked at the affidavit, I

          16       make the determination whether it's reliable.                   If it's

          17       reliable, the records come in.            If I have a question

          18       about its reliability, I put the proponent to laying the

          19       typical foundation.        Here -- and you correct me if I

          20       don't understand what you say.            Here, as to much of it,

          21       there is not going to be an objection.                 As to this

          22       Panamanian broker, there is going to be an objection.

          23              Do I have the affidavit that is, um, discussed in

          24       -- I don't know the specifics it's in, Article 11, I

          25       think, but as to foundation?           Do I have such an




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           1       affidavit?

           2                MR. KLUNDER:     No, your Honor, and we're moving to

           3       admit it under Rule 807.

           4                THE COURT:     Oh, and you said that earlier.             Yes.

           5       The truth is I have not reviewed that.                I shall

           6       promptly, in other words, because that's an in-out

           7       thing.

           8                MR. KLUNDER:     Yes.

           9                THE COURT:     And I will let you know probably by

          10       the close of business today.          But, um, that's the best I

          11       can say.

          12                MS. KLUNDER:     That's fine, thank you, your Honor.

          13                THE COURT:     Anything else?

          14                (Silence.)

          15                THE COURT:     All right.    Then stand easy.          And you

          16       are excused, Mr. Smith, and your team.                And we will, um,

          17       just as soon as we get the jury, we'll start.

          18                All right.     We'll recess.

          19                THE CLERK:     All rise.

          20                (Recess, 9:30 a.m.)

          21                 (Jury venire enters, 10:30 a.m.)

          22                THE CLERK:     Civil Matter 21-11276, the Securities

          23       and Exchange Commission versus Sharp, et al.

          24                THE COURT:     Well good morning, ladies and

          25       gentlemen, good morning again to most of you.




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           1                If you listened carefully to Ms. Gaudet when she

           2       called this case, this is a civil case.               Now some of you

           3       may have reported to courtrooms where potential -- well

           4       they're not potential, they're criminal cases, the

           5       government has charged that someone has violated a

           6       criminal statute with possible criminal penalties.                     This

           7       is not such a case.       This is a civil case.

           8                And if you listened to the -- again, Ms. Gaudet,

           9       that it's brought by the Securities and Exchange

          10       Commission, that's an agency of our government designed

          11       with regulating and the securities markets of the United

          12       States.    And in this case the Securities and Exchange

          13       Commission alleges, that is they charge, that various

          14       people have violated the statutes or -- and the

          15       regulations that have been promulgated by this

          16       Securities and Exchange Commission.

          17                The people who are in this case -- and I want to

          18       say in this case, because they sued a bunch of people

          19       whose names I have to mention to you, because they will

          20       be talked about in this case, in this case those people

          21       say, and there are two of them, they say, "No, we did

          22       not violate the regulations and we are not liable for

          23       anything."

          24                Now understand that this is a so-called "civil

          25       case."    So even if the Securities and Exchange




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           1       Commission were to win the case, what this involves is

           2       then potentially it would be up to me potentially

           3       ordering the two people to pay money or ordering them

           4       not to trade in stock, remedies like this.                But this is

           5       not a case that involves jail or penal penalties or

           6       anything.

           7               Now let me explain how we're going to proceed.                  In

           8       this session of the court, the way we're going to do it,

           9       is in a moment Ms. Gaudet will have you all stand up and

          10       we will swear you to answer my questions truthfully.

          11       And so what I'm going to do is introduce the folks to

          12       you, and who represents who, and I will ask you

          13       naturally if you know any of these people, are you

          14       acquainted with them, have you heard anything about this

          15       case?   I will read the names of other people who have

          16       been sued and who are going to be mentioned, though they

          17       are not part of the case we're going to ask you about,

          18       and I'll ask you the same questions about them, do you

          19       know those folks, are you acquainted with them and the

          20       like?   And then I'll be asking other questions all

          21       designed to see whether it's appropriate that you sit as

          22       a judge of the facts in this case.

          23               Now if you think your answer to any of my

          24       questions should be "yes," or is "yes," or might be

          25       "yes," or could be "yes," raise your hand.                Any doubt in




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           1       your mind, raise your hand.          And once -- and Ms. Gaudet

           2       will be watching, as will I.          And once I've asked you

           3       all the questions, then we'll have everybody who raised

           4       their hand line up and one by one you can come up here

           5       to the -- we call it the "sidebar."             Please stop there

           6       at the railing.       You've heard lawyers "passing the bar"?

           7       There's actually a bar, that's it.             So stop there at

           8       that railing.     That's why the carpet is a deeper blue up

           9       here, this is where the lawyers practice their

          10       profession.

          11              So the lawyers will come up and we'll have you

          12       come up one by one and I may ask you some other

          13       questions, not terribly personal questions, but all

          14       designed to see whether it's appropriate that you sit as

          15       a judge, a judge of the facts, in this particular case.

          16       And once I've done that and we see who we have, I will

          17       say, "I find this panel indifferent."                 And that means

          18       that we'll be ready to pick the jury.

          19              And your names -- we don't do it alphabetically,

          20       your names have all been jumbled by the computer,

          21       Ms. Gaudet will call out your name and we're going to

          22       pick 12 people.       So the first 6 seats in the second row,

          23       and from right to left, and the first 6 seats in the

          24       front row, right to left.

          25              So when that's done, I will ask you -- I'll just




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           1       go down the list of people called, and you don't have to

           2       stand up, you don't have to introduce yourself, but we

           3       would like then to know where you work?                 If you're

           4       married, where does your spouse work?                 Just so we get to

           5       know you a little better, give the lawyers a chance to

           6       hear you speak.

           7              Then I will go over to the other side of the

           8       bench, whisper with the attorneys, and certain of you

           9       may be excused.       I don't want you thinking that anyone

          10       thinks something is the matter with you, or if I excuse

          11       you from service on this case, don't think that I think

          12       that "No, they can't be fair, send that person away,"

          13       that's not the way it works.          It's just that for one or

          14       another legal reason, um, over here I've decided that

          15       it's best that you not sit as a judge in this case.                     And

          16       you're not going anywhere, just go back downstairs,

          17       we'll send you out on another case.             We have plenty.

          18              (Laughter.)

          19              THE COURT:      So again over here, after I've

          20       whispered with the attorneys, certain of the jurors may

          21       be excused.     Don't think that any of the lawyers are

          22       against you, that's not so, they get the right to

          23       "challenge," as we say, certain of the -- a certain

          24       number of the jurors.        Again you just go back

          25       downstairs, we'll find you another case.                 Once we have




                                              A2326
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           1       refilled the box and gone through that process, once we

           2       have our 12 jurors, we'll be ready to go.

           3               So with that in mind, the Clerk will swear the

           4       venire.

           5               THE CLERK:     Would the jurors please stand, raise

           6       your right hand, and repeat after me using your own name

           7       after the pronoun "I."

           8               (People stand.)

           9               THE CLERK:     I (States name.) do solemnly swear to

          10       answer truthfully questions put to me concerning my

          11       qualifications to sit as a juror.

          12               (Repeated by all.)

          13               THE CLERK:     You may be seated.

          14               (Everyone seated.)

          15               THE COURT:     Well first let me introduce to you the

          16       attorneys from the Securities and Exchange Commission.

          17       I said the Securities and Exchange Commission is an

          18       agency of the United States government designed with the

          19       regulation or empowered to regulate the securities

          20       markets of the United States.           It's the Securities and

          21       Exchange Commission which commenced this case, and they

          22       are the plaintiffs, they're represented here by

          23       attorneys -- and when I call the attorneys's names,

          24       they'll stand and face you, so you can take a look at

          25       them.




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           1              Kathleen Burdette Shields.           Alfred Day.        Nita K.

           2       Klunder.     And David London

           3              (All stand.)

           4              THE COURT:      Thank you.     Please be seated.

           5              (Are seated.)

           6              THE COURT:      Now in this case there are two people

           7       that we're going to try the case concerning and, um,

           8       they are Mr. Jackson Friesen, F-R-I-E-S-E-N --

           9              And, Ms. Fritz, just the city and town where does

          10       he reside?

          11              MS. FRITZ: Vancouver.

          12              THE COURT:      In Vancouver, British Columbia,

          13       Canada.    And he's represented here by Attorney Miranda

          14       Fritz and Timothy J. Fazio.

          15              (Stand.)

          16              THE COURT:      Thank you.     Please be seated.

          17              (Are seated.)

          18              THE COURT:      And then an individual by the name of

          19       Zhiying Yvonne Gasarch, G-A-S-A-R-C-H, represented here

          20       by Karen A. Pickett, who is standing and facing you.

          21       Thank you.

          22              (Is seated.)

          23              THE COURT:      I should say -- I neglected to say

          24       that Ms. Fritz practices in New York, Mr. Fazio

          25       practices here in Boston with the firm of Manning Gross




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           1       Massenburg.     Ms. Pickett practices here in Boston with

           2       the firm of Pickett Law Offices.

           3              THE COURT:      Now I'll pause there and say, do any

           4       of you or any member of your family, um, are you related

           5       to or acquainted with any of these folks?

           6              (No hands.)

           7              THE COURT:      Do any of you, have any of you, or any

           8       member of your family, ever been employed in any

           9       capacity by the Securities and Exchange Commission, by

          10       any of these attorneys -- any of the attorneys both for

          11       Mr. Friesen and for Ms. Gasarch as attorneys or acting

          12       individually?

          13              (No hands.)

          14              THE COURT:      Have you ever been involved in any

          15       litigation that involved any of these attorneys or

          16       involved the Securities and Exchange Commission?                   And

          17       when I say "any of these attorneys," I mean acting as

          18       attorneys, not in litigation with the attorneys.                   Though

          19       I should ask that, anyone involved in any litigation

          20       with any of these attorneys?

          21              (No hands.)

          22              THE COURT:      Very well.

          23              Now let me also mention to you, um, various other

          24       people -- let me mention to you the people who may be

          25       called as witnesses in this case.            No, the better way to




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           1       do it is to start with other people who have been sued

           2       but who are not here on trial.           I'm going to read their

           3       names.    I don't have addresses for these people, but

           4       I'll start with Frederick L. Sharp.             I know -- or I

           5       believe Mr. Sharp resides in Canada.              Courtney Kelln,

           6       K-E-L-L-N.     And where?     I don't have an address.              Or do

           7       I?   I don't have an address here.           All right.

           8                Mike K. Veldhuis.     Is there an address here?

           9                MS. SHIELDS:     Of Vancouver.

          10                THE COURT:     Of Vancouver.      Thank you.

          11                THE COURT:     Paul Sexton.

          12                MS. SHIELDS:     Vancouver.

          13                THE COURT:     Vancouver.

          14                William T. Kaitz, K-A-I-T-Z.

          15                MS. SHIELDS:     Florida and Maryland.

          16                THE COURT:     Florida and Maryland.

          17                Avtar S. Dhillon, that's spelled D-H-I-L-L-O-N.

          18                MS. SHIELDS:     Long beach, California.

          19                THE COURT:     Long Beach, California.

          20                And Graham R. Taylor.

          21                MS. SHIELDS:     Vancouver.

          22                THE COURT:     Of Vancouver.

          23                I mention them though they are not here in this

          24       case, their names are going to be mentioned.                 So I

          25       should ask you, are you related to or acquainted or you




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           1       think you are with any of those individuals?

           2              (No hands.)

           3              THE COURT:      All right.

           4              Now let's turn to people who are going to be

           5       called as witnesses in this case.

           6              Steve Bajic, B-A-J-I-C, of New York.               Justeene

           7       Blankenship of Action Stock Transfer located in Salt

           8       Lake City.     Christopher Beckstrom.          Mr. Beckstrom works

           9       for the FBI here in Chelsea, Massachusetts.                 Kenneth

          10       Ciapala of New York, and that's New York City.

          11              MS. SHIELDS:      Your Honor, he's actually -- um,

          12       that's his counsel, he's in Switzerland, or from

          13       Switzerland.

          14              THE COURT:      All right, he's from Switzerland.               I

          15       don't expect them to know the counsel, I expect them to

          16       be asked about the witnesses -- asked about the actual

          17       witnesses.

          18              We've already have heard about Mr. Dhillon.

          19       Philip Feigin, F-E-I-G-I-N, of Morrison, Colorado.

          20       Anthony Kalarney --

          21              MS. SHIELDS:      The United Kingdom.

          22              THE COURT:      From the United Kingdom.

          23              Roger Knox.

          24              I just have counsel?

          25              MS. SHIELDS:      Currently in Massachusetts.




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           1              THE COURT:      In Massachusetts, Mr. Knox in

           2       Massachusetts.

           3              THE COURT:      Ryan Murphy.      He's an employee of the

           4       Securities and Exchange Commission here in Boston.

           5       George Stubos.

           6              MS. SHIELDS:      Vancouver.

           7              THE COURT:      Of Vancouver.       Thank you.

           8              (Pause.)

           9              THE COURT:      And that's it.

          10              MS. SHIELDS:      Mr. Nikolayev as well.

          11              THE COURT:      And Mr. Nikolayev.         And where is he

          12       located?

          13              MS. SHIELDS:      In the Dominican Republic.

          14              THE COURT:      In the Dominican Republic.

          15              Now, not all of these people will testify and some

          16       of them may testify via videotaped deposition, but the

          17       jury we pick are going to have to consider those people

          18       and consider their credibility just like people who

          19       testify here in court.

          20              So I should ask, are you related to, any of you,

          21       are you related to -- are you related to or acquainted

          22       with any of the people that I've read?

          23              (No hands.)

          24              This is a case that involves stock transactions

          25       and the following companies are going to be mentioned,




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           1       and so I will be asking you if you owned or ever owned

           2       any stock or had any evidence of indebtedness, um,

           3       debentures, or anything in any of these companies?

           4              Stevia First/Vitality.         ECCO Automotive

           5       Incorporated.     Arch Therapeutics.         Stevia Corporation.

           6       Liberty 1 Lithium Corporation.           Oryon Technologies,

           7       O-R-Y-O-N Technologies, Incorporated.                 Makism 3D

           8       Corporation.     Graphite Corporation.          OncoSec Medical.

           9       Nugen Biopharma Corporation.          StartMonday Technology

          10       Corporation.     Lexington Biosciences Holdings,

          11       Corporation.     Breathtec Biomedia Incorporated.                 Rhites

          12       Corporation.

          13              Do any of you or any member of your family, so far

          14       as you're aware, have they ever now or in the past had

          15       any interest in, stock ownership, or did they occupy any

          16       offices in or, um, hold any evidence of debentures or

          17       indebtedness of any of those corporations?

          18              (Hands raised.)

          19              THE COURT:      Thank you.

          20              Now cases tend to be known by the first person who

          21       is named and the first person who is named in the case,

          22       being first doesn't mean anything, but this is a case

          23       that at least in our field, and when we've referred to

          24       this case, this is the Securities and Exchange

          25       Commission vs. Sharp, but we know there's a bunch of




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           1       other people as well.         And the case alleges various --

           2       not a single, but various violations, different

           3       violations by different of these people of the laws

           4       governing stocks and stock transactions here in the

           5       United States.        That's what this case is going to be

           6       about.

           7                Have any of you heard, read, or seen anything at

           8       all about this case prior to coming up here and to

           9       Courtroom 18?

          10                (No hands.)

          11                THE COURT:     All right.

          12                Are any of you sensible, aware of any bias or

          13       prejudice that you might have with respect to this case?

          14                (No hands.)

          15                THE COURT:     Now my questions are going to get more

          16       broad until I get to the end, so search your

          17       consciences.

          18                Do any of you know any reason why you do not stand

          19       indifferent in this case?             Now "stand indifferent" asks

          20       you to search your conscience and see whether you would

          21       be a fair judge in this case, and I'm trying to search

          22       out things like have you ever been involved in stock

          23       trades that were -- that went sour or you thought there

          24       was some fraud involved and -- not mentioning any of

          25       these people or any of these corporations, but have you




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           1       ever been involved in anything like that?

           2               (No hands.)

           3               THE COURT:     More broadly than that, do you have

           4       feelings about government regulatory agents and the

           5       attorneys for the government regulatory commissions?

           6       Not just the SEC, but we have a variety of commissions.

           7       Any feelings I ought to know about going in?

           8               (Hands.)

           9               THE COURT:     Thank you.

          10               Do you have any feelings about, once the attorneys

          11       are engaged and they come to court, about the attorneys

          12       who defend those people who are accused -- there's no

          13       evidence yet that anyone has done anything wrong, but

          14       who are accused of violating, civilly violating the laws

          15       or regulations that the regulators put out, feelings

          16       about the lawyers who do that work?

          17               (No hands.)

          18               THE COURT:     Feelings about our justice system,

          19       feelings about judges, about the fairness of the

          20       proceedings?       I'm really trying to search out anyone, if

          21       you have a feeling, I ought know about.

          22               (Hands raised.)

          23               THE COURT:     It's also fair -- well let me ask

          24       this.   Even if you don't know any of these attorneys,

          25       you don't know any of these folks, you have no interest




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           1       in any of these corporations, have any of you, or a

           2       member of your immediate family, by which I mean mother,

           3       father, brother, sister, son or daughter, have you ever

           4       worked in the securities industry?             I don't mean now to

           5       tell me if you own stock, that's not what I'm asking

           6       about.    But has anyone worked as a broker or a trader or

           7       as an agent for a broker, as a transfer agent, worked as

           8       a financial advisor, um, with respect to stocks?

           9                (Hands raised.)

          10                THE COURT:    Thank you.     Thank you.        All right.

          11                Now let me get -- and this is going to be my last

          12       question and I'm going to tell you how long this case is

          13       going to take and then I'm going to ask you, do you have

          14       any important reason why you cannot sit as a juror in

          15       this specific case?        And while that is the question,

          16       once I tell you the time that I'm going to ask, I now

          17       want you to search back over all the questions I've

          18       asked to see whether it's appropriate, in your mind,

          19       that you sit as a judge in this case?

          20                Now this case is going to take a maximum of 11

          21       days to try.     So you say, "Well that's two weeks and a

          22       day," but really it's going to take three weeks, um,

          23       maybe not the entirety of the third week, but we're not

          24       going to work five-day weeks, and the reason for that is

          25       primarily doctors appointments that I have to maintain




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           1       myself.

           2                (Laughter.)

           3                THE COURT:     So, um, this week -- and we'll see

           4       where we go on the third week.            But this week, the week

           5       of the 11th, we are not going to sit this Wednesday, the

           6       13th.     Next week, the week of the 18th, we are not going

           7       to sit on Monday the 18th, so you have a three-day

           8       weekend.     On the third week, if we get into the third

           9       week, but it won't take more than 11 days total, the

          10       third week we are not going to sit on Monday the 13th,

          11       it's a religious holiday.

          12                All right?

          13                MS. SHIELDS:     You said Monday the 25th, your

          14       Honor?

          15                THE COURT:     Yes, I said Monday the 25th, and I

          16       thank you, I thank you for the correction.                 Yes.     So

          17       we'll get done sometime that week of the 25th.

          18                I sit from 9:00 in the morning until 1:00 in the

          19       afternoon, so that will allow you to go back about your

          20       business and that will be every day of the trial except

          21       when we give you the case and the jury deliberates about

          22       the case, and however long that takes we'll sit from

          23       9:00 in the morning till 5:00 in the afternoon.                   No one

          24       is going to be kept after 5:00, no one is going to be

          25       sequestered, it's a civil case.




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           1               So now the question.         Do any of you know any

           2       important reason why you ought not be called to sit as a

           3       judge in this particular case?

           4               (Many hands raised.)

           5               THE COURT:     Very well.      Now everyone who raised

           6       their hand, would you go to this aisle and please pause

           7       there at the rail until I call you up.

           8

           9               AT THE SIDEBAR

          10               MS. KLUNDER:     Do we have a trial day on Tuesday

          11       the 19th?

          12               THE COURT:     I am mistaken on that.           Really what

          13       we're going to do is sit for the first 2 Hours on the

          14       20th.

          15               All right?

          16               MS. FRITZ:     And you mentioned previously October

          17       3rd, I see you've now pulled it.            Yes, thank you.

          18               THE COURT:     Everyone will be fine.

          19               (First juror.)

          20               THE COURT:     Can we have your name, sir.

          21               THE JUROR:     Michael Ledoux.

          22               THE COURT:     Yes, Mr. Ledoux.

          23               THE JUROR:     Judge, I'm not sure of the timing, but

          24       I'm heading to Southeast Asia for 2 months.

          25               THE COURT:     You will be there.         And here's the




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           1       thing.     I keep time limits, as I'm authorized to do in a

           2       civil case, so I know we're going to be done the week

           3       before.    If the deliberations go longer, I'm going to

           4       pick 12 jurors, I could let you go.             I'll telling you if

           5       that were to happen, I'd let you go.

           6                THE JUROR:    Yes, thank you, your Honor.

           7                (Juror leaves.)

           8                (Next juror.)

           9                THE COURT:    Can we have your name, ma'am.

          10                THE JUROR:    Rebecca Witte.

          11                THE COURT:    Yes, Ms. Witte.

          12                THE JUROR:    My aunt passed away last Friday and

          13       her memorial service is going to be held on Friday the

          14       28th.     So for the 22nd, I think it is, it would require

          15       me to fly out on Thursday.

          16                THE COURT:    Yeah, and I'm sorry.           You're excused

          17       in this case, but you can go downstairs and see what

          18       happens.

          19                THE JUROR:    Yes, thank you.

          20                THE CLERK:    Ma'am, just bring that down to the

          21       second floor, okay?

          22                THE JUROR:    Yes.

          23                (Juror leaves.)

          24                THE CLERK:    That was Juror 39.

          25                (Next juror.)




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           1              THE COURT:      Yes, ma'am, can we have your name?

           2              THE JUROR:      Regina Bekebrede.

           3              THE COURT:      Yes, ma'am.

           4              THE JUROR:      I'm a recovering alcoholic and it's my

           5       third day of sobriety, and I have to attend a lot of

           6       meetings and tributes, so I don't think I can make the

           7       schedule.

           8              THE COURT:      We'll have you out here at 1:00 every

           9       day.

          10              THE JUROR:      I have meetings in the morning.                 I

          11       have groups, your Honor.

          12              THE COURT:      Good luck to you.        You are excused.

          13       Tell them you do not have to go to any other case.

          14       We'll let you go.

          15              THE JUROR:      Thank you.

          16              (Juror leaves.)

          17              THE CLERK:      That was?

          18              THE JUROR:      Regina Bekebrede.

          19              THE CLERK:      Sorry.

          20              THE COURT:      Don't be sorry.        Good luck to you.

          21              THE CLERK:      Juror 26.

          22              (Next juror.)

          23              THE COURT:      Can we have your name, ma'am.

          24              THE JUROR:      Emily Davis.

          25              THE COURT:      Yes, Ms. Davis.




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           1               THE JUROR:     I am a long-term substitute teacher

           2       and it will be hard getting a sub.

           3               THE COURT:     Well I need people from all walks of

           4       life.

           5               THE JUROR:     I know, but even today I had a hard

           6       time getting a sub, so I don't know how it would go for

           7       11 days.

           8               THE COURT:     I'm going to ask you to stay.             You

           9       tell them it's on me, it's not on you, that you asked to

          10       be excused.

          11               (Juror leaves.)

          12               THE CLERK:     Juror 52.

          13               (Next juror.)

          14               THE COURT:     Hi, can we have your name, ma'am.

          15               THE JUROR:     Liane Dupuis.

          16               THE COURT:     Yes, Ms. Dupuis.

          17               THE JUROR:     I have three small children, with the

          18       oldest being 6, 3, and 15 months, and I'm the only one

          19       home in the morning.        My husband is a carpenter and

          20       can't afford not to work.

          21               THE COURT:     You're excused.        Take the card, but

          22       you're excused.       We'll send you out on another case.

          23       Tell them you're excused.

          24               THE JUROR:     Thank you.

          25               (Juror leaves.)




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           1                THE CLERK:     Juror 19.

           2                (Next juror.)

           3                THE COURT:     Can we have your name, ma'am?

           4                THE JUROR:     Katherine Alleva.

           5                THE COURT:     Yes, Ms. Alleva, you answered "yes" to

           6       something?

           7                THE JUROR:     Yes.    So I work multiple jobs, every

           8       single day of the week almost, and most of them are

           9       heavily relying on my attendance.             And I'm a volleyball

          10       coach.    I'm self-employed.          I don't know how I will

          11       manage to miss work.

          12                THE COURT:     I try to deal that by excusing you at

          13       1:00 every day and I will, but I need people from all

          14       walks of life.        So I'll ask you to stay.

          15                THE JUROR:     Okay.

          16                (Juror leaves.)

          17                THE CLERK:     Juror 24.

          18                (Next juror.)

          19                THE COURT:     Good morning.       Can we have your name,

          20       ma'am.

          21                THE JUROR:     Patricia Andersen.

          22                THE COURT:     Yes, Ms. Andersen, you answered "yes"?

          23                THE JUROR:     Yes, because I can't be here every day

          24       because I've got problems with my back.                And if I have

          25       to go to the doctor's, can I get a note from you?




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           1              THE COURT:      We will give you a note.

           2              THE JUROR:      But I can't sit.

           3              THE COURT:      We'll sit you in the second row, if

           4       you're chosen, and we'll take a break if you have to

           5       stand up and do exercises.

           6              THE JUROR:      Yes, your Honor.

           7              THE COURT:      So we're asking her to stay, and if

           8       she shows up, we'll give her a note that she's required

           9       to stay.

          10              THE JUROR:      Okay.

          11              Where's the bathroom?

          12              (Off the record.)

          13              THE COURT:      Ma'am, you're held as a juror, so come

          14       back here.

          15              THE JUROR:      Oh, I will.

          16              (Laughter.)

          17              THE COURT:      Just being sure.        Yes, come back.

          18              THE JUROR:      Yes, your Honor.

          19              (Juror leaves.)

          20              THE CLERK:      Juror Number 49.

          21              (Next juror.)

          22              THE COURT:      Can we have your name, ma'am.

          23              THE JUROR:      Gaby Nathan.

          24              THE COURT:      You answered "yes"?

          25              THE JUROR:      Yes.    So what happened is I used to do




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           1       stock selling, trading, but we lost the money.                   So now

           2       I'm using Vanguard.        So I'm going to be very wise and

           3       root for the plaintiff right now.

           4               THE COURT:      Okay, you did very right to tell us.

           5       We'll excuse you on this case.            Go downstairs.         I know

           6       the next case has nothing to do with this.

           7               THE JUROR:      Thank you.

           8               (Juror leaves.)

           9               THE CLERK:      Juror 8.

          10               (Next juror.)

          11               THE COURT:      Can we have your name, sir.

          12               THE JUROR:      Devin Biello.

          13               THE COURT:      Yes, Mr. Biello.

          14               THE JUROR:      So I don't work full-time, but I do

          15       work part-time with children with special disabilities,

          16       mental and physical.         And not this week, but next week,

          17       Tuesday through Friday in the morning, but while they're

          18       at school, it's -- they have like a residence there, but

          19       they also have a school there, and I'm volunteering

          20       Tuesday through Friday, it's kind of an event there, and

          21       so it's kind of all on me.            And I understand --

          22               THE COURT:      I need you.      I need people from all

          23       walks of life.        So it's on me.      But we'll ask you to

          24       stay.

          25               (Juror leaves.)




                                               A2344
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           1              THE CLERK:      Juror 31.

           2              (Next juror.)

           3              THE COURT:      Can we have your name, sir.

           4              THE JUROR:      Kurt Diebold.

           5              THE COURT:      Yes, Mr. Diebold.

           6              THE JUROR:      So I work at Emerson Hospital and I

           7       see people in the emergency room, take care of them up

           8       on the wards, and we're understaffed, and people need to

           9       be rescheduled.       So my colleagues have to double-work.

          10              THE COURT:      I recognize that, but I need people

          11       from all walks of life.        And I try to deal with it by

          12       having you out of here every day by 1:00.                We'll ask you

          13       to stay.

          14              THE JUROR:      All right.

          15              THE CLERK:      What was your name, Kurt?

          16              THE JUROR:      Yes.

          17              (Juror leaves.)

          18              THE CLERK:      Juror 25.

          19              (Next one.)

          20              THE COURT:      Can we have your name, sir.

          21              THE JUROR:      Paul Brown.

          22              THE COURT:      Yes, Mr. Brown.

          23              THE JUROR:      You know earlier this year my

          24       granddaughter, she got stabbed, murdered, okay?                  I have

          25       her picture here.       And you can read this, okay?             And her




                                              A2345
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           1       case is still going.          Now maybe you'd seen the girl who

           2       went to the police station for help.              And this happened

           3       in March.

           4                All right, I'm not going to play with you guys.                      I

           5       mean you can put me out there, but I just wanted to let

           6       you know --

           7                THE COURT:    But --

           8                THE JUROR:    But I'm not going to be with it.                 I'm

           9       telling you that.

          10                THE COURT:    I just want to be clear, sir, I hear

          11       your concern.     I am truly sorry for your tragedy.

          12                THE JUROR:    Yes.

          13                THE COURT:    But it has nothing to do with this

          14       case.

          15                THE JUROR:    Yeah, but my mind is not there.                 I'm

          16       telling you that.

          17                THE COURT:    We're going to excuse you from service

          18       on this case.

          19                THE JUROR:    I'm 68, you know, my life is close to

          20       yours.    I'm retired.

          21                THE JUROR:    You're excused from this case.

          22                (Juror leaves.)

          23                THE CLERK:    Juror 47.

          24                (Next juror.)

          25                THE COURT:    Can we have your name, ma'am.




                                              A2346
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           1              THE JUROR:      My name is Evyenia Coufos.

           2              THE COURT:      Your last name I didn't get?

           3              THE JUROR:      My last name is Coufos.

           4              THE COURT:      Yes, Ms. Coufos.

           5              THE JUROR:      I ask to be excused because my family

           6       is moving to Pennsylvania next week and my sister is

           7       here to move my stuff.

           8              THE COURT:      Well I need people from all walks of

           9       life, so I'm going to ask you to stay.                We'll have to

          10       see how it works out.        You'll be able to get there when

          11       this trial is over.       But I'll ask you to stay.

          12              (Juror leaves.)

          13              THE CLERK:      Juror 36.

          14              (Next juror.)

          15              THE COURT:      Can we have your name, sir.

          16              THE JUROR:      Yeah, Niranjan Ravi.

          17              THE COURT:      Yes, Mr. Ravi.

          18              THE JUROR:      So I work as a software engineer and

          19       I'm required to be on-call from tomorrow till next

          20       Tuesday.    So if anything breaks in the system, I need to

          21       be readily available in order to fix something.

          22              THE COURT:      I need people from all walks of life.

          23       You've told me.       It's on me.     But I'll going to ask you

          24       to stay.    I will have you out of here every day at 1:00.

          25              THE JUROR:      Okay, thanks.




                                              A2347
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           1               (Juror leaves.)

           2               THE CLERK:     Juror Number 5.

           3               (Next Juror.)

           4               THE COURT:     Sir?

           5               THE JUROR:     Vincent Hayward.

           6               THE COURT:     Yes, Mr. Hayward.

           7               THE JUROR:     I responded to your question about

           8       government agencies.

           9               THE COURT:     Yes, you have a feeling about

          10       government agencies?

          11               THE JUROR:     Yes.

          12               THE COURT:     I want to probe about that.             And you

          13       answered "yes."       What was on your mind?

          14               THE JUROR:     I generally have a distrust right now.

          15               THE COURT:     Is that true even before we've heard

          16       any evidence, we don't know what the SEC is going to

          17       come up with?

          18               THE JUROR:     I follow them very closely, the

          19       agencies and banking and the regulations and the FBI and

          20       I've developed a healthy distrust.

          21               THE COURT:     You're excused from service on this

          22       case.   The next case I know the judge and it has nothing

          23       to do with this.       So go downstairs and we'll send you

          24       out on another case.

          25               THE JUROR:     Okay.




                                              A2348
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           1              (Juror leaves.)

           2              THE CLERK:      Juror Number 60.

           3              (Next juror.)

           4              THE COURT:      Can we have your name, sir.

           5              THE JUROR:      Edward Carriero.

           6              THE COURT:      Yes, Mr. Carriero.

           7              THE JUROR:      I'm self-employed in a small lawn

           8       business and this time of year I can't afford to miss a

           9       couple weeks of work.          I'm the only one paying the

          10       mortgage.

          11              THE COURT:      Well I'll defer you until -- when do

          12       you want to come back?

          13              THE JUROR:      Perhaps the middle of winter.

          14       January?

          15              THE COURT:      You're deferred until February.                 We'll

          16       call you back then.

          17              THE JUROR:      Okay.

          18              THE COURT:      Just give them this card.

          19              THE JUROR:      What?

          20              THE COURT:      Yes, downstairs.

          21              THE JUROR:      Thank you.

          22              (Juror leaves.)

          23              THE CLERK:      Juror Number 21.

          24              (Next juror.)

          25              THE COURT:      Can we have your name, sir.




                                              A2349
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           1              THE JUROR:      Mackenzie Miller.

           2              THE COURT:      Yes, Mr. Miller.

           3              THE JUROR:      I'm a self-employed dry cleaner in

           4       Provincetown with no car, and these next couple of weeks

           5       in Provincetown are the last of our summer season and we

           6       --

           7              THE COURT:      I'll defer you until winter.

           8              THE JUROR:      Winter is good.

           9              THE COURT:      I'm not going to let you go, but I'm

          10       going to defer you.       You will be called back and we'll

          11       see that -- well they'll defer you only once, so they'll

          12       hold you.

          13              THE JUROR:      Okay.

          14              THE COURT:      So December or January?

          15              THE JUROR:      January would be fine.

          16              THE COURT:      You're deferred until January.

          17              THE JUROR:      I appreciate that.

          18              THE COURT:      Give them the card.

          19              THE CLERK:      Juror Number 27.

          20              (Next juror.)

          21              THE COURT:      Can we have your name, sir.

          22              THE JUROR:      Edward Keith.

          23              THE COURT:      Yes, Mr. Keith.

          24              THE JUROR:      I don't know if I know your Robert

          25       Knox, but I do know a Robert Knox from Massachusetts.




                                              A2350
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           1              THE COURT:      You did just right.            And your Robert

           2       Knox, what does he do?

           3              THE JUROR:      He works for Bose.         He's an engineer

           4       for Bose.

           5              THE COURT:      It's not?

           6              MS. PICKETT:      It's Roger Knox.

           7              THE JUROR:      Oh, Roger.     Sorry about that.

           8              (Pause.)

           9              THE JUROR:      And I'm supposed to be traveling this

          10       weekend, coming back Monday, but you're off Monday

          11       anyway so --

          12              THE COURT:      Yes, we are.      That's a definite.             So

          13       we'll ask you to stay.

          14              THE JUROR:      Okay.

          15              (Juror leaves.)

          16              THE CLERK:      Number 38.

          17              (Next juror.)

          18              THE COURT:      Can we have your name, sir.

          19              THE JUROR:      Bond Worthington.

          20              THE COURT:      Yes, Mr. Worthington?

          21              THE JUROR:      I'm self-employed and I work right now

          22       10 to 12 hours a day, it's busy season.                I have contract

          23       workers who rely on me for work daily.                It's not my

          24       business, by it's their ability to make a living.

          25              THE COURT:      Well I'm open to deferring you, but




                                              A2351
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           1       when we call you back, we won't defer you again.                   So

           2       you're going to serve.        Now these are going to be

           3       four-day weeks and you'll be out of here every day at

           4       1:00.

           5                So you tell me, do you want to be deferred?

           6                THE JUROR:    I don't understand what "deferred"

           7       means?

           8                THE COURT:    I just had a landscaper up here and he

           9       said "It's summer, so I'm out of business."                 Now he

          10       could come in the winter and I said okay.                So that's it.

          11       The same thing.

          12                THE JUROR:    I'll do that.

          13                THE COURT:    So what's best for you?

          14                THE JUROR:    Coming later in the year.            It's a

          15       project in construction.

          16                THE COURT:    Later is what, the winter?

          17                THE JUROR:    Winter will be better.

          18                THE COURT:    January?

          19                THE JUROR:    January is good.

          20                THE COURT:    Deferred until January.

          21                (Juror leaves.)

          22                THE CLERK:    Juror Number 34.

          23                (Next juror.)

          24                THE COURT:    Can we have your name, ma'am.

          25                THE JUROR:    Megan Donnell.




                                              A2352
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           1              THE COURT:      Yes, Ms. Donnell?

           2              THE JUROR:      I submitted for an excuse from jury

           3       duty in -- I don't know if you want me to go into the 4

           4       1/2 hours it took me to do it or only with the specifics

           5       to this case?

           6              THE COURT:      Well let's start with the specifics to

           7       this case.

           8              THE JUROR:      So I previously was responsible for

           9       proxy tabulation, certified voting, and my husband is no

          10       longer 67 and 63 certified.          I currently work for a

          11       financial institution as a rep and I've also worked for

          12       another financial institution as a --

          13              THE COURT:      And does that affect your judgment in

          14       this case, which alleges -- nothing has been proved yet,

          15       but it alleges that one or both of these folks violated

          16       the securities laws in various respects?

          17              THE JUROR:      To be honest I don't know, I'd have to

          18       hear what it is.       But I know what the SEC is, I know

          19       what the rules are around certain --

          20              And this is not the whole thing.               Personally

          21       Friday I have a follow-up in Dana Farber, I have a

          22       treatment appointment.

          23              THE COURT:      Is it in the afternoon?

          24              THE JUROR:      No.

          25              THE COURT:      We will excuse you on this case.




                                                A2353
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           1              THE JUROR:      Do I have to go through the other

           2       stuff, the case that my daughter was attacked and it --

           3              THE COURT:      Well in effect -- let me see that.

           4              (Reads document.)

           5              THE JUROR:      It's a long history.           And she also has

           6       disorders and currently requires assistance daily

           7       because since being attacked at school she's --

           8              (Cries.)

           9              (Reads.)

          10              THE COURT:      We'll excuse you.        And -- you are

          11       excused.

          12              THE CLERK:      Yeah.

          13              THE COURT:      Yeah, give them this and you'll be

          14       excused.

          15              THE JUROR:      Thank you.

          16              THE CLERK:      Do you want to excuse her for the

          17       whole day?

          18              THE COURT:      I do.   Ma'am, we have to endorse it.

          19              THE CLERK:      I just want to sign it that you're

          20       excused.

          21              THE CLERK:      Yes.

          22              (Juror leaves.)

          23              (Next juror.)

          24              THE COURT:      Can we have your name, sir.

          25              THE JUROR:      David Spillane.




                                              A2354
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           1              THE COURT:      Yes, Mr. Spillane.

           2              THE JUROR:      I just want to let you know that I

           3       worked for Fidelity Investments like 30 years, I had my

           4       coop there.     Also, three weeks is tough for me because I

           5       live on my own and this is usually when I make my money

           6       with the overtime and stuff like that.                So financially

           7       it would be tough.

           8              THE COURT:      Well I try to deal with that by

           9       letting you out at 1:00 every day.

          10              But let me ask you first, do you truly think you

          11       can be fair as between the SEC and equally fair between

          12       Mr. Friesen and Ms. Gasarch?

          13              THE JUROR:      Yes.

          14              THE COURT:      We'll ask you to stay.

          15              (Juror leaves.)

          16              THE CLERK:      Juror Number 35.

          17              MS. SHIELDS:      The jury number of the last one?

          18              THE CLERK:      35.

          19              MS. SHIELDS:      Got it.     Okay.

          20              (Next juror.)

          21              THE COURT:      Can we have your name, ma'am.

          22              THE JUROR:      Julie Koczera.

          23              THE COURT:      Yes, Ms. Koczera.

          24              THE JUROR:      Your Honor, I have three appointments

          25       that are conflicting with being here for three weeks.




                                                A2355
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           1       When I submitted the form, you know I get the thing and

           2       answer all questions and it says send an e-mail with any

           3       dates that are conflicting.          I have no problem with this

           4       week until I have three things next week.                I have a

           5       dentist appointment, if I delay that, they're going to

           6       push me out.

           7              THE COURT:      Is it in the morning?

           8              THE JUROR:      Yes.    It's in New Bedford.

           9              THE JUROR:      And the second one, is my son has a

          10       CAT scan with an oral surgeon on --

          11              THE COURT:      Yeah, we'll excuse you from -- well,

          12       no, we'll defer you until September.

          13              THE JUROR:      I'm sorry?

          14              THE COURT:      Is that a problem?

          15              THE JUROR:      When you say "defer"?

          16              THE COURT:      It means we're going to call you back

          17       in September and we'll keep you then.

          18              THE CLERK:      Not September, Judge.

          19              THE COURT:      Oh, I'm sorry.       I don't know where my

          20       head was.

          21              What's a good time of year for you?

          22              THE JUROR:      Oh, sorry.     I apologize.        In November.

          23              THE COURT:      November it is.        But then we're going

          24       to call you and then we will keep you for service.

          25              THE JUROR:      Okay.




                                              A2356
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           1              THE CLERK:      Are you Julie Koczera?

           2              THE JUROR:      Yes.

           3              THE COURT:      Give them that and they'll let you go.

           4       We'll call you back.

           5              (Juror leaves.)

           6              THE CLERK:      Juror Number 2.

           7              (Next juror.)

           8              THE COURT:      Can we have your name, ma'am.

           9              THE JUROR:      Anna Blanchard.

          10              THE COURT:      Yes, Ms. Blanchard.

          11              THE JUROR:      I am in the middle of a move, so I

          12       don't have to time to get things back and get out of

          13       there by the 21st.       So I think 11 days will be too long

          14       to get me out of the building.

          15              THE COURT:      Well I'll get you out of here every

          16       day at 1:00.     They're only four-day weeks.             And we'll

          17       have you out of here every day at 1:00.               So we'll ask

          18       you to stay.     This will be very quiet.

          19              THE JUROR:      Okay.

          20              THE CLERK:      "Blanchard" is the last name?

          21              THE JUROR:      Yes.

          22              THE CLERK:      Juror Number 58.

          23              (Juror leaves.)

          24              (Next juror.)

          25              THE COURT:      Can we have your name, ma'am.




                                              A2357
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           1              THE JUROR:      Robyn Wingate.

           2              THE COURT:      Yes, Ms. Wingate.

           3              THE JUROR:      So I am my dad's sole caretaker, he's

           4       98, and I can't -- he can't get in touch with me.

           5              (Cries.)

           6              THE COURT:      We will excuse you.            And given -- he's

           7       --

           8              Yeah, I'm going to excuse her.

           9              THE CLERK:      Yes.

          10              THE COURT:      We won't send you out on another case.

          11       We'll excuse you.

          12              THE JUROR:      Okay.   And I'll be 70 next month, so.

          13              (Juror leaves.)

          14              THE CLERK:      Juror Number 30.

          15              (Next juror.)

          16              THE COURT:      Can we have your name, ma'am.

          17              THE JUROR:      Valerie Ewanouski.

          18              THE COURT:      Yes, Ms. Ewanouski.

          19              THE JUROR:      So it was in regard to my ex-husband,

          20       who worked in securities, um, for 18 years and I

          21       sometimes volunteered for him.           Not that I'm trying to

          22       get out of here, but just --

          23              THE COURT:      So you have some familiarity with the

          24       work that he did?

          25              THE JUROR:      Very much.     I worked in the office and




                                              A2358
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           1       volunteered often.

           2              THE COURT:      All right.     Two questions.         Do you

           3       come into this with some idea that one side or the other

           4       is correct?

           5              THE JUROR:      Possibly.

           6              THE COURT:      And why do you say that?

           7              THE JUROR:      I just have heard a lot of stories and

           8       my ex was in a lawsuit and all.

           9              THE COURT:      Well that's not this case.

          10              THE JUROR:      Right.

          11              THE COURT:      Though it is in this area.

          12              THE JUROR:      Correct.

          13              THE COURT:      Do you truly think you can be fair,

          14       fair to the SEC, but equally fair to Mr. Friesen and

          15       Ms. Garsarch?

          16              THE JUROR:      I'd have to hear the case.

          17              THE COURT:      And could you judge it based upon what

          18       you hear?

          19              THE JUROR:      I hope so.

          20              THE COURT:      All right.

          21              The other thing is you probably know that there's

          22       a lot of terms that the securities industry uses, about

          23       shell corporations and reverse mergers and various

          24       things.

          25              THE JUROR:      Correct.




                                              A2359
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           1              THE COURT:      During the course of this trial, to

           2       the extent that these things need to be explained

           3       legally, I will explain that.

           4              THE JUROR:      Okay.

           5              THE COURT:      Can you follow my instructions as to

           6       what these terms mean?

           7              THE JUROR:      I believe I can.

           8              THE COURT:      We'll ask you to stay.            Thank you.

           9              THE JUROR:      Okay.

          10              (Juror leaves.)

          11              THE CLERK:      Juror Number 23.

          12              (Next juror.)

          13              THE COURT:      Can we have your name, ma'am.

          14              THE JUROR:      Hannah Miller.

          15              THE COURT:      Yes, Ms. Miller.

          16              THE JUROR:      I have medical appointments for

          17       myself, Thursday, and my daughter on Friday.                  And I'm

          18       starting a job on Monday.            So those are my hardships.

          19              THE COURT:      Are they in the mornings or

          20       afternoons?

          21              THE JUROR:      Mine is in the morning and hers in the

          22       afternoon.

          23              THE COURT:      Okay.   We will excuse you on this case

          24       and we'll see.

          25              THE CLERK:      Hannah Miller?




                                              A2360
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           1                THE JUROR:    Yes.

           2                THE CLERK:    Okay, Judge.

           3                (Juror leaves.)

           4                THE CLERK:    Juror Number 51.

           5                (Next juror.)

           6                THE COURT:    Can we have your name, ma'am.

           7                THE JUROR:    Salam Bistany.

           8                THE COURT:    Yes, Ms. Bistany.

           9                THE JUROR:    The language, English, it's not that

          10       good.

          11                THE COURT:    It's fine, I think.

          12                THE JUROR:    When you speak fast, I can't tell.

          13                THE COURT:    Thank you for telling us.            And here's

          14       what we do.

          15                You have every right to serve as a juror.

          16       Questions tend to be slow.           If there's anything you

          17       can't follow, just raise your hand, I'll have it

          18       repeated.     Don't worry about it at all.

          19                THE JUROR:    The decision, you know, um, my

          20       understanding --

          21                THE COURT:    We'll go slow so you understand.

          22                THE JUROR:    Okay.

          23                THE CLERK:    Ma'am, can you just give me your name

          24       again?

          25                THE JUROR:    Salam Bistany.




                                              A2361
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           1              THE CLERK:      Thank you.

           2              (Juror leaves.)

           3              THE COURT:      Wait one second.

           4              THE CLERK:      Find her.

           5              THE COURT:      Wait, I work for Ms. Gaudet.

           6              THE CLERK:      Juror Number 57.

           7              THE COURT:      And now we're ready.

           8              (Next juror.)

           9              THE COURT:      Give us your name, ma'am.

          10              THE JUROR:      Mariam Gogitidze.        I'm a full-time

          11       student, so I'll be missing a lot of classes.                  I was

          12       wondering if I could do maybe a shorter case, if there's

          13       any others, or if I could be excused?

          14              THE COURT:      Well I'll get you out of here every

          15       day at 1:00.

          16              THE JUROR:      Well I take in-person classes Monday

          17       through Friday from 10:00 a.m. till noon.

          18              THE COURT:      Well we sit from 10:00 a.m. till noon.

          19       So, for instance, so it's this Wednesday, you'd miss

          20       Friday, the 20th, um, until 11:00.             But you won't miss

          21       that much.     So we'll ask you to stay.

          22              THE JUROR:      Okay.   Thank you.

          23              (Juror leaves.)

          24              THE CLERK:      Number 59.

          25              (Next juror.)




                                              A2362
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           1               THE COURT:     Can we have your name, ma'am.

           2               THE JUROR:     Kathleen Kelly-Antaya.

           3               THE COURT:     Yes, Ms. Kelly-Antaya.

           4               THE JUROR:     I just don't think that I can -- I

           5       mean it's like I have been obligated to --

           6               (Interruption by Court Reporter.)

           7               THE COURT:     I have complications on Wednesdays and

           8       Thursdays, so very -- but like these 11 days, I mean I

           9       have --

          10               THE COURT:     Well, you --

          11               THE JUROR:     You know -- (Crying.)

          12               (Unintelligible.)

          13               THE COURT:     Well there's a cafeteria right here in

          14       the building and I'll have you out of here every day at

          15       1:00.     So I ask you to stay.       Thank you.

          16               (Juror leaves.)

          17               THE CLERK:     Juror Number 17.

          18               (Pause.)

          19               MS. SHIELDS:     What did she say?            I couldn't hear

          20       her.

          21               THE COURT:     She has babysitting obligations not

          22       every day, but certain days.          Two days.

          23               MS. SHIELDS:     All right.

          24

          25               (In open court.)




                                              A2363
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           1              THE COURT:      I find this panel indifferent.

           2       Proceed, Madam Clerk.

           3              THE CLERK:      Juror Number 1, Katherine McNeill,

           4       please come forward, take Seat Number 1 in the back row.

           5              (Seated in box.)

           6              THE CLERK:      Juror Number 3, Lisa Barbosa, please

           7       come forward, take Seat 2 in the back row.

           8              (Takes seat.)

           9              THE CLERK:      Juror Number 4, Frank Farina, please

          10       come over and take Seat 3 in the back row.

          11              (Takes seat.)

          12              THE CLERK:      Juror Number 5, Niranjan Ravi, please

          13       come forward, take Seat 4 in the back row.

          14              (Takes seat.)

          15              THE CLERK:      Juror Number 6, Michael Harney, please

          16       come forward, take Seat 5 in the back row.

          17              (Takes seat.)

          18              THE CLERK:      Juror Number 7, Aliyah Riley, please

          19       come forward, take Seat 6 in the back row.

          20              (Takes seat.)

          21              THE CLERK:      Juror Number 9, Karley Peckham, please

          22       come forward, take Seat 1 in the front row.

          23              (Takes seat.)

          24              THE JUROR:      Juror Number 10, Louis Delgenio,

          25       please come forward, take Seat 2 in the front row.




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           1              (Takes seat.)

           2              THE CLERK:      Juror Number 11, Gary Morin, please

           3       come forward, take Seat 3 in the front row.

           4              (Takes seat.)

           5              THE CLERK:      Juror Number 12, Russell Spaziani,

           6       please come forward, take Seat 4 in the front row.

           7              (Takes seat.)

           8              THE CLERK:      Juror Number 13, Michael Ledoux,

           9       please come forward, take Seat 5 in the front row.

          10              (Takes seat.)

          11              THE CLERK:      And Juror Number 14, Penelope Coues,

          12       please come forward, take Seat 6 in the front row.

          13              (Box is filled.)

          14              THE COURT:      Now I'm going to just go down the list

          15       of jurors as you were called.           You don't have to stand

          16       up.   But would you please just tell us -- and you don't

          17       have to introduce yourself again, just tell us where you

          18       work, and if you are married, would you tell us where

          19       your spouse works.

          20              And we'll start in the order that they were

          21       called.

          22              Ms. McNeill.

          23              THE JUROR:      Yes, I am currently between jobs and

          24       unemployed.     I worked in the research support field.

          25       I'm currently looking for another job.                And my spouse




                                              A2365
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           1       works in elderly care services.

           2                THE COURT:     In what capacity?

           3                THE JUROR:     As a psychotherapist for the elderly.

           4                THE COURT:     Thank you.

           5                Mr. Barbosa?     Oh, Ms. Barbosa, excuse me.              I'm

           6       sorry.

           7                THE JUROR:     I work as a dental assistant for B & G

           8       Dental.    My husband works as a network engineer.

           9                THE COURT:     Thank you.

          10                Mr. Farina?

          11                THE JUROR:     I work at Walmart.         I'm not married.

          12                THE COURT:     Thank you.

          13                Mr. Ravi?

          14                THE JUROR:     I work at Draft Kings.           I'm not

          15       married.

          16                THE COURT:     Thank you.

          17                Mr. Harney.

          18                THE JUROR:     I'm single and I work for

          19       CentralSquare, which does law enforcement software.

          20                THE COURT:     Thank you.

          21                Ms. Riley?

          22                THE JUROR:     I work in Roxbury in universal preK

          23       and I'm single.

          24                THE COURT:     Thank you.

          25                Ms. Peckham?




                                               A2366
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           1               THE JUROR:     I work for an international insurance

           2       company in Ashland.

           3               THE COURT:     And what do you do there?

           4               THE JUROR:     I'm an underwriter.

           5               THE COURT:     Thank you.

           6               Mr. Delgenio?

           7               THE JUROR:     I work second shift for Mass. General

           8       Hospital here in Boston as a plumber, and I'm single.

           9               THE COURT:     Thank you.

          10               Mr. Morin?

          11               THE JUROR:     I'm retired.      My wife is retired as

          12       well.

          13               THE COURT:     And when you last worked, what did you

          14       do, and if you could tell us what she did?

          15               THE JUROR:     I was a sheet metal mechanic.

          16               THE COURT:     All right.     And your wife?

          17               THE JUROR:     An engineer.

          18               THE COURT:     Thank you.

          19               Mr. Spaziani?

          20               THE JUROR:     I work at Northrup Grumman, a

          21       technician.     My wife was in retail, a clerk.

          22               THE COURT:     Thank you.

          23               Mr. Ledoux?

          24               THE JUROR:     I'm retired, and my wife's retired as

          25       well.




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           1              THE COURT:      And when last you worked, what did you

           2       and she do?

           3              THE JUROR:      I was an experienced designer, I

           4       designed interfaces for technology, and she worked in

           5       human resources and benefits, um, as a coordinator.

           6              THE COURT:      All right.

           7              And Ms. Coues?

           8              THE JUROR:      I am unemployed and my husband was in

           9       --

          10              THE COURT:      And when you did work, ma'am, what

          11       have you done?

          12              THE JUROR:      Um, I was in human resources.

          13              THE COURT:      Thank you.

          14              Counsel?

          15

          16              AT THE SIDEBAR

          17              MS. FRITZ:      What did she say?

          18              THE COURT:      She worked in human resources when she

          19       did work.

          20              All right.      The SEC first.

          21              MS. SHIELDS:      2 minutes, your Honor?

          22              THE COURT:      You may.      Very briefly.

          23              (Pause.)

          24              THE COURT:      Counsel?

          25              MS. SHIELDS:      With respect to Juror Number 5 --




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           1              (Interruption by Court Reporter.)

           2              THE COURT:      You have to come closer.           And you're

           3       doing it by number.

           4              What person?

           5              MS. SHIELDS:      Niranjan Ravi, Juror 5.

           6              THE COURT:      Why are you challenging him, he's a

           7       minority?

           8              MS. SHIELDS:      We're challenging him because he had

           9       objections to being here because he was on-call in a

          10       company which the employer has some SEC issues.                  So I'm

          11       concerned about even if he's not pursuing or doing

          12       anything regard to the issues --

          13              THE COURT:      He's excused.

          14              Anyone else?      You otherwise content?

          15              MS. SHIELDS:      We're otherwise content, your Honor.

          16              THE COURT:      All right.

          17              The defense?

          18              MS. FRITZ:      Michael Harney.

          19              THE COURT:      Mr. Harney is excused.

          20              (Pause.)

          21              THE COURT:      Are you otherwise satisfied?

          22              MS. FRITZ:      No.

          23              THE COURT:      Go ahead.

          24              (Pause.)

          25              MS. FRITZ:      Okay, we strike Number --




                                                A2369
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           1              THE COURT:      Which one?

           2              MS. FRITZ:      Yes, 13.

           3              THE COURT:      Ledoux, the retired guy?

           4              MS. FRITZ:      Oh, wait a minute.

           5              THE COURT:      Which person is it?            The one with the

           6       blue --

           7              MS. PICKETT:      No.   No.

           8              MS. FRITZ:      They're all in blue.

           9              THE COURT:      Well, all right.

          10              MS. PICKETT:      The third from the left in the first

          11       row.

          12              THE COURT:      All right, the third from the left in

          13       the first row is Mr. Morin.

          14              Do you want him stricken?

          15              MS. FRITZ:      Yes.

          16              THE COURT:      He's stricken.

          17              You're otherwise content?

          18              MS. FRITZ:      Yup.

          19              THE COURT:      Those three jurors are excused.

          20

          21              (In open court.)

          22              THE CLERK:      Would the following jurors come

          23       forward, you've been excused from this case.

          24              Juror Number 5, Mr. Ravi.           Juror Number 6,

          25       Mr. Harney.     And Juror Number 11, Mr. Morin.




                                              A2370
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           1              (People leave box.)

           2              THE CLERK:      Juror Number 15, Deirdre Gilmore,

           3       please come forward, take Seat 4 in the back row.

           4              (Juror takes seat.)

           5              THE CLERK:      Juror Number 16, Andrea Giletti,

           6       please come forward, take Seat 5 in the back row.

           7              (Take seat.)

           8              THE CLERK:      Juror Number 17, Kathleen Kelly-

           9       Antaya, please come forward, take Seat 3 in the front

          10       row.

          11              (Box is filled.)

          12              THE COURT:      And the same question for the folks

          13       joining us.     And we'll start with Ms. Gilmore.

          14              THE JUROR:      I work for the Town of Millis in state

          15       government, and I'm single.

          16              THE COURT:      Thank you.

          17              Ms. Giletti?

          18              THE JUROR:      I am a retired oncology nurse.              I'm

          19       married.    My husband is a director of a bank.

          20              THE COURT:      Thank you.

          21              Ms. Kelly-Antaya?

          22              THE JUROR:      I'm recently retired.          I worked for

          23       Delta Airline for 24 years.          My husband is in the

          24       computer industry.       And I'm married, obviously.

          25              THE COURT:      Thank you.




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           1              Counsel?

           2

           3              AT THE SIDEBAR

           4              THE COURT:      The defense first?

           5              MS. FRITZ:      Kathleen Kelly-Antaya.

           6              THE COURT:      Ms. Kelly-Antaya, yeah, she's excused.

           7              You're otherwise content?

           8              MS. FRITZ:      Um --

           9              THE COURT:      You have six between you.            You've used

          10       3.

          11              MS. FRITZ:      Um --

          12              MS. PICKETT:      I'm going to strike Juror 15.

          13              THE COURT:      That's who?

          14              MS. PICKETT:      Deirdre Gilmore.

          15              THE COURT:      She's excused.

          16              Now you're content?

          17              MS. FRITZ:      I'm sorry, no.       I'm going to strike

          18       Juror Number 16, Andrea Giletti.

          19              THE COURT:      She's stricken.        You have one

          20       challenge left.       Very well.

          21

          22              (In open court.)

          23              THE CLERK:      Will the following jurors come

          24       forward, you've been excused.

          25              Juror Number 15, Ms. Gilmore.            Juror Number 16,




                                              A2372
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           1       Ms. Giletti.     And Juror Number 17, Ms. Kelly-Antaya.

           2              (People leave the box.)

           3              THE CLERK:      Juror Number 18, Michael Rossman,

           4       please come forward, take Seat 4 in the back row.

           5              (Takes seat in box.)

           6              THE CLERK:      Juror Number 20, Sarah Panaro, please

           7       come forward, take Seat 5 in the back row.

           8              (Takes seat in box.)

           9              THE CLERK:      And Juror Number 22, William Lucini,

          10       please come forward, and take Seat 3 in the front row.

          11              (Box is filled.)

          12              THE COURT:      And the same question for the folks

          13       who have just joined us, starting with Mr. Rossman.

          14              THE JUROR:      I work for New York Life.

          15              THE COURT:      And in what capacity?

          16              THE JUROR:      I'm an agent.

          17              THE COURT:      Thank you.

          18              Ms. Panaro?

          19              THE JUROR:      I'm a student and I'm married and I

          20       live with my husband.

          21              THE COURT:      Your husband does what?

          22              THE JUROR:      Works for Ellison as a laborer.

          23              THE COURT:      All right.

          24              What are you majoring in, if I could ask?

          25              THE JUROR:      A nurse.




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           1              THE COURT:      Thank you.

           2              And Mr. Lucini?

           3              THE JUROR:      I'm an operations manager for a school

           4       bus company and I am married.           My wife works in human

           5       resources.

           6              THE COURT:      Thank you.

           7              Counsel?

           8

           9              AT THE SIDEBAR

          10              THE COURT:      First the SEC?

          11              MS. SHIELDS:      The Commission strikes Juror Number

          12       20.

          13              THE COURT:      Who is?

          14              MS. SHIELDS:      Ms. Panaro.

          15              THE COURT:      The student?

          16              MS. SHIELDS:      Yes.

          17              THE COURT:      She's excused.

          18              You're otherwise content?

          19              MS. SHIELDS:      Yes.

          20              THE COURT:      The defense?

          21              MS. PICKETT:      Your Honor, you said there was no

          22       backstriking, right?

          23              THE COURT:      Yes.

          24              Content?

          25              MS. PICKETT:      Well, okay, I'm content.




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           1              (Pause.)

           2              MS. FRITZ:      We'll strike Mr. Rossman.

           3              THE COURT:      Mr. Rossman is excused.           And you're

           4       out of challenges.

           5              All right?

           6              MS. FRITZ:      Yes.

           7

           8              (In open court.)

           9              THE CLERK:      Would the following jurors please come

          10       forward, you're been excused.

          11              Juror Number 18, Mr. Rossman, and Juror Number 20,

          12       Ms. Panaro.

          13              (People leave box.)

          14              THE CLERK:      Juror Number 23, Valerie Ewanouski,

          15       please come forward, take Seat 4 in the back row.

          16              (Takes seat in box.)

          17              THE CLERK:      And Juror Number 24, Katherine Alleva,

          18       please come forward, take Seat 5 in the back row.

          19              (Box is filled.)

          20              THE COURT:      And the same question for the folks

          21       who have just joined us.

          22              THE JUROR:      I'm Valerie, I'm divorced, and working

          23       for Atrius Health.

          24              THE COURT:      You're a medical assistant?

          25              THE JUROR:      Yes.




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           1              THE COURT:      All right.

           2              And, Ms. Alleva?

           3              THE JUROR:      I'm an Aesthetician, and I'm a

           4       volleyball coach, and I'm single.

           5              THE COURT:      Thank you.

           6              Counsel?

           7

           8              AT THE SIDEBAR

           9              MS. SHIELDS:      The Commission strikes Juror Number

          10       24.

          11              THE COURT:      Ms. Alleva.

          12              You're otherwise content?

          13              MS. SHIELDS:      Yes, your Honor.

          14              THE COURT:      She's excused.

          15              (Pause.)

          16              MS. FRITZ:      We're finished?

          17              THE COURT:      Yes.

          18

          19              (In open court.)

          20              THE CLERK:      Juror Number 24, Ms. Alleva, please

          21       come forward, you've been excused.

          22              (Juror leaves box.)

          23              THE CLERK:      Juror Number 25, Kurt Diebold, please

          24       come forward, take Seat 5 in the back row.

          25              (Box is filled.)




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           1               THE COURT:     And, Mr. Diebold, the same question

           2       for you, sir.

           3               THE JUROR:     I'm a physician at Emerson Hospital,

           4       and my wife is a primary care doctor in private

           5       practice.

           6               THE COURT:     Thank you.

           7               Counsel?

           8

           9               AT THE SIDEBAR

          10               MS. SHIELDS:     Content, your Honor.

          11               THE COURT:     All right, we have the jury.

          12

          13               (In open court.)

          14               THE COURT:     Now, ladies and gentlemen, we now have

          15       the jury.    So for all of you people, Ms. Gaudet is going

          16       to give one of you the various cards, but would all of

          17       you go back downstairs to the second floor and we'll

          18       send you out on the next case.

          19               Now it's time for a break, ladies and gentlemen,

          20       and we'll take a break until noontime, and Ms. Gaudet

          21       will show you the jury room, which is right outside this

          22       door.   But before we take the break, let me give you

          23       some instructions that will obtain throughout the trial

          24       and they are very important.

          25               First, keep your minds suspended is the first




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           1       thing I always instruct, and by that I mean, this case

           2       is -- will go probably over the three weeks.                  The last

           3       witness is as important as the first witness, and the

           4       first witness is as important as the second -- as the

           5       last witness.     Don't make up your mind going in, wait

           6       until you've heard and seen it all, and then when the

           7       jury retires to deliver a fair and a just verdict, at

           8       that time, that's when you make up your mind about what

           9       it is that you believe here.            So keep your minds

          10       suspended.

          11              Now each day until the end, when we give you the

          12       case, and we'll give you a heads-up on that before --

          13       well the day before at least, if not earlier.                   Every day

          14       we'll stop right at 1:00.            So today at 12:00, we'll

          15       start the trial and we'll go till 1:00.                And then we'll

          16       be back again, on the schedule I told you, at 9:00

          17       tomorrow until 1:00.        Wednesday you have off.             My

          18       responsibility.       Thursday, 9:00 till 1:00.            Friday, 9:00

          19       till 1:00.

          20              Now you're free to go at 1:00, and naturally

          21       you'll go about your business, you'll go home, you'll do

          22       whatever it is that you want to do.              And it's perfectly

          23       appropriate to say that you are sitting on a jury, you

          24       have to arrange your schedule and your life, because now

          25       you are the jury on this case.            And so you'll -- feel




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           1       free to tell people exactly what the schedule is.                      It's

           2       this week, it's next week with Monday off, it's the week

           3       following with Monday off, and we will be done that

           4       week.

           5               Now what's going to happen then is whoever you're

           6       talking to is going to say to you, um, "Well what's the

           7       case about?     What are you sitting on?"             And now I must

           8       tell you that you are not to discuss this case with

           9       anybody out of court.        Tell them that I said you could

          10       not talk about the case while it's going on.                 When the

          11       case is over, feel free to talk to anyone about anything

          12       having to do with this case, but while it's going on,

          13       you don't talk to anyone concerning the case.                  And when

          14       I say "talk," in this day of social media that means

          15       don't go on social media and say, "Guess what?                  I'm a

          16       juror."    You really ought not do that, that's talking

          17       about the case.

          18               I also should tell you, um, not to talk about the

          19       case among yourselves.        Now that's a little

          20       counterintuitive because you're just what a jury should

          21       be, you're from all walks of life and all backgrounds.

          22       Now I'm not saying don't talk.           Once Ms. Gaudet went in

          23       there and the jury was all sitting around -- it's a very

          24       nice jury table there, and starting tomorrow we'll have

          25       snacks for you when we take a recess and the like, but,




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           1       um -- and the jury was already going and they were

           2       utterly silent.       No, you can talk.        Do talk, really get

           3       to know each other, this is a communitarian effort.                    But

           4       don't talk about what's going on in here, and that means

           5       any of it.     Don't start Googling us or anything along

           6       those lines.     These are skilled attorneys, they know

           7       what they're doing, so they will present the evidence to

           8       you.     You are not expected to go and do research

           9       yourself about this case.

          10                Now finally, this is just the way we work it here,

          11       that once we have the jury, we'll all stand up as you go

          12       in and out, because it is to you that this case will be

          13       tried.     And my cue is to say, because I remind you of

          14       these points that I've tried to make, to keep your minds

          15       suspended, do not discuss the case either among

          16       yourselves nor with anyone else, and that will be true

          17       throughout the trial.        And then at the end of the trial

          18       we'll give you the case.

          19                All right, you may stand in recess until noon.

          20                THE CLERK:    All rise for the jury.

          21                (Jury leaves, 11:50 a.m.)

          22                (Short recess.)

          23                (Jury returns, 12:05 a.m.)

          24                THE COURT:    Ms. Peckham, the Court appoints you

          25       forelady of this jury.




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           1               Let's swear the jury.

           2               (THE JURY, sworn.)

           3               THE COURT:     At this time, in this courtroom, there

           4       are 13 judges, you 12 men and women are the judges of

           5       the facts.     Now there are no alternates on this jury, so

           6       all of you will deliberate together at the end of the

           7       case.   You are the judges of the facts.

           8               This case is going to be presented to you.                 I will

           9       preside over the case in accordance with the law, but I

          10       am the law teacher and nothing more.              I have no view

          11       about how the case will come out or should come out, and

          12       I won't form any view.        You are the judges of the

          13       evidence.

          14               The litigants here stand equal before you.

          15       There's nothing special because the Securities and

          16       Exchange Commission is a governmental entity, a

          17       regulatory entity, they have a job to do under the law,

          18       but they're no better, no worse, than the individuals

          19       who they have complained of, saying "Well these

          20       individuals have transgressed, broken the law."

          21               Remember, this is not a criminal case in any way.

          22       The people who they say have done it, the two before us,

          23       those are the only two you're concerned with.                  We're

          24       going to hear about other people, we're going to hear

          25       about what other people may have done, and that may




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           1       affect the "liability," if you will, of the two people

           2       before you, but the two people before you -- and each

           3       one is entitled to be treated separately, that's what

           4       this case is about.       You have to listen as to what the

           5       others were doing, if anyone was doing anything, but

           6       they're not here.       Your judgment, however it goes, will

           7       apply just to these people.          And these are the litigants

           8       before you, the Securities and Exchange Commission --

           9       sometimes we may call it the "SEC," or the "Commission,"

          10       that's the government entity, and Mr. Friesen and

          11       Ms. Gasarch.

          12              The case will be presented to you and you have

          13       various -- we want to make it just as intelligible as we

          14       can.   So you have the right to take notes.               Ms. Gaudet

          15       is going to pass out to you notebooks and pens.                  And

          16       nobody says you have to take notes.             If taking notes is

          17       going to interfere with your paying attention to the

          18       witnesses, well fine, don't take notes.               But inevitably

          19       this case is going to cover a number of days and you may

          20       wish to take notes.

          21              Your notes are for you, no one is going to look at

          22       your notes.     We will start, or I plan to start, every

          23       day at 9:00 a.m., run an hour and 45 minutes, take a

          24       half-an-hour break, time enough to have a cup of coffee

          25       and we'll give you snacks as well, then we'll start




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           1       again at 11:15, go for another hour and 45 minutes, and

           2       have you out of here every day at 1:00.

           3               Now it's really important that we start right at

           4       9:00.   If we start right at 9:00, they're always going

           5       to be ready, they're always going to be ready to present

           6       evidence.

           7               Now a word about the notes.           When we take that

           8       break in the morning, feel free to -- if the notebooks

           9       look a little dogeared, that because we use them over

          10       and over, this is a tax-supported operation and I'm

          11       supposed to use the notebooks.           But you probably should

          12       put your name on the outside of it.             And no one is ever

          13       going to look at your notes.          When the trial is over,

          14       Ms. Gaudet is going to destroy them.              They're just notes

          15       for you.

          16               When I take the break in the morning, feel free to

          17       leave your notebooks right there in this witness box,

          18       nobody goes in there, that's your space.                At the end of

          19       the day, leave them in the jury room, Ms. Gaudet will

          20       lock them up, and they'll be there the next morning for

          21       you.

          22               Remember, when you go into the jury room at the

          23       end to deliberate about the case, you will have your

          24       notebooks with you, but don't pass your notebooks

          25       around, they're used to remind you.             Your notes aren't




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           1       evidence of anything, they're what reminds you of the

           2       evidence that you've seen and heard.

           3              The, um -- you have the right to ask questions.

           4       We do have as little formality as I am permitted in

           5       order to have a proper and adequate record, but you have

           6       every right to ask questions, but this is how you do it.

           7       Write the question out, pass it down to the forelady,

           8       Ms. Gaudet and I are watching, one of us will come and

           9       get it, and it will go to me.

          10              Now I'm the one who decides whether to ask it and

          11       juror questions, and I mean this with respect, are no

          12       more important or less important than the lawyers

          13       questions, but if you don't understand something or you

          14       didn't get what the witness had to say and you had a

          15       question about what the witness said, feel free to ask a

          16       question about that.        You probably shouldn't ask

          17       questions that launch off on some other theory or the

          18       like, the lawyers are trying the case, but we want to be

          19       sure that you understand the evidence that you are

          20       seeing and hearing.

          21              I will tell you -- I won't ask the questions

          22       naturally if I wouldn't let the lawyers ask it, it might

          23       be a great question, but witnesses can only testify to

          24       what they actually saw, heard, touched, tasted, smelled.

          25       So if I am listening to the witness's testimony and it's




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           1       a wonderful question and I'm wondering about it, but I

           2       don't see how the witness could possibly know the answer

           3       himself or herself, then I won't ask it.                 If I ask it --

           4       and I'm still a lawyer, I know how to ask questions,

           5       I'll ask it openended, who, what, when, how, describe,

           6       explain, just so you can see what the witness has to say

           7       about the evidence that you are receiving.

           8              If you want a drink of water, we will bring you a

           9       drink of water.       If you don't hear what the witnesses

          10       are saying, raise your hand, I'll have it repeated.                     The

          11       acoustics are really quite good in here.                 The, um,

          12       lawyers do have the right to move around the bar

          13       enclosure and sometimes they're questioning a witness

          14       and they want to get up close and show the witness a

          15       document, and that's all fine, except they may plant

          16       themselves between you and the witness.                 Now I should be

          17       alert to that and I should shoo the lawyer off to one

          18       side or the other.       If I don't, raise your hand, so I

          19       can get them out of your way.

          20              Likewise, I gave you the schedule and I will try

          21       to stick to that schedule.           This case is being tried to

          22       you.   The schedule is not sacrosanct.                I don't want you

          23       sitting there praying for it to be 10:45 so we can take

          24       a rest hall.     If you want a rest hall, just raise your

          25       hand and say, "We need a rest hall."              It isn't going to




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           1       hurt to parade out and parade back in in 5 minutes so

           2       everyone can pay close attention to the evidence in the

           3       case.

           4               So I'm talking about your powers, so let's just

           5       say a word about what is the evidence.                This case is to

           6       be tried without any bias, prejudice, sympathy, desire

           7       that anyone have revenge, desire that anyone be

           8       punished.     This is a civil case.         The sources of

           9       evidence in this case are the testimony of the

          10       witnesses, that's why I've come down here to speak to

          11       you, this is where the witnesses will sit, they will

          12       testify.

          13               Now we may have witnesses who testify remotely or

          14       who testify by a video deposition, that's just as good

          15       as the testimony here in the courtroom, but you're not

          16       seeing the witness, you're seeing the witness on a

          17       screen.     They're both equally good.          You are the judges

          18       of every witness who testifies.           You may believe what

          19       the witness testifies to, if I let the witness testify,

          20       you can believe it.       Equally you may disbelieve what a

          21       witness has to say and disregard it as though the

          22       witness never testified.        You can compare what the

          23       witness said on an earlier occasion with what the

          24       witness is saying now.        You can compare what a witness

          25       says with respect to what other witnesses say.                  In




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           1       short, as you are reasonable men and women, you may sum

           2       up a witness's testimony to decide whether you believe

           3       it, whether you believe parts of it, or whether you

           4       don't believe it at all.

           5              There will also be exhibits in this case.                  You

           6       have the same power with respect to exhibits, writings

           7       -- at least I think most of them will be writings, and

           8       if I let you see them, you may read them and really your

           9       analysis is two steps.        Look over the exhibit and see if

          10       you think that it's an authentic exhibit, that it's a

          11       genuine thing of what's produced back in the day, and

          12       then ask yourself, "Well how does it fit, what does this

          13       tell us about what people were doing or not doing or

          14       knew or didn't know, how -- what can you glean from it?"

          15       And you can draw reasonable commonsense inferences from

          16       the exhibits.     But that's the exhibits and the

          17       testimony, that's the evidence, it's not what the

          18       lawyers say.

          19              At the end of the case the lawyers will have a

          20       chance to argue to you, and they have every right to try

          21       and persuade you, but they are not the sources of

          22       evidence, they themselves don't know.                 They have to

          23       produce -- they're like teachers, they have to produce

          24       the evidence.     And on the defense side, they can produce

          25       evidence too, but also they get to point out gaps,




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           1       things that are not shown to you and the like.                  And the

           2       whole goal is to do justice, to reach out for justice

           3       here in this courtroom, and so I follow these rules to,

           4       insofar as humans can do it, to achieve justice in this

           5       courtroom in this particular case.

           6              Now I'm the judge of the law and that means that I

           7       am the law teacher here, and the reason that it should

           8       be that way and the reason that you must follow what I

           9       explained to you is so that this case is tried the same

          10       as any other case of this sort in any court throughout

          11       the United States.       So it should be tried -- the law is

          12       the same.    What's different of course is the evidence

          13       we're going to see in this case.            We've never seen this

          14       evidence before as it pertains to these people in these

          15       particular circumstances, this is the only time we're

          16       going to see that.       That's entirely for you.            But the

          17       law teaching, what I instruct you, that is my

          18       responsibility and you must follow it.                And it's not any

          19       pride of place, that's my job, to make sure that the

          20       case is fairly tried.

          21              So in doing that job -- and everything I do is law

          22       teaching, in doing that job, the lawyers have every

          23       right to object to what other lawyers have done.                   This

          24       is not a television drama, but it is appropriate for the

          25       lawyers to say, "Well I object."            Now I try to be quick




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           1       and I will say "sustained," which means you can't ask

           2       that question, ask another question, or I'll say

           3       "overruled," which means "No, that's all right, let's

           4       see what the witness has to say."            They don't have to

           5       sit still for that, they have every -- remember they

           6       have to be skilled on the law of evidence as well as

           7       they're the teachers of this evidence that they have.

           8       And so I must follow, we all must follow the rules of

           9       evidence.

          10              So it's perfectly appropriate for them to say,

          11       "Well may I be heard, your Honor?" or "May I approach

          12       the sidebar?"     And you've already seen that, that's when

          13       we go over here and we whisper.           Now, um, as I say, the

          14       acoustics are very good in this courtroom, so if I were

          15       to, um -- when I'm over there, we could talk back and

          16       forth in front of you, except it's distracting, I want

          17       you to pay attention to the evidence, but I'll tell you

          18       what we're talking about, we're talking about whether

          19       the 17th or the 23th exception to the rule against

          20       hearsay applies to this specific question?                That's what

          21       we're talking about.        That's my responsibility.            But if

          22       we go into a huddle over there, don't think you are

          23       chained to those chairs, you are not, stand up, move

          24       around, keep the blood flowing.           These are the biggest

          25       jury boxes of any courthouse in the United States.                     Walk




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           1       around in there.       But don't talk, because the acoustics

           2       are good and it will distract me while I'm whispering

           3       with them.

           4                I once had a lawyer tell me he always smiled when

           5       the bench conference was over hoping that the jury would

           6       think that he was winning the case.             (Laughter.)        Wrong.

           7       The case is not won or lost over there.               You are the

           8       judges of the case.

           9                Now I'm going to say now just a few words about

          10       how this trial is going to proceed and a few words about

          11       the law.     I will have further to say about the law as

          12       the trial goes on and at the end of the case I will --

          13       being very specific, tell you -- because I will have

          14       seen and heard the evidence that's before us, tell you

          15       exactly what it is that the Securities and Exchange

          16       Commission has to prove.

          17                Now why do I look at them and say what they have

          18       to prove?     Because the burden of proof is on them, they

          19       brought this case, they've got to prove it.

          20       Mr. Friesen, Ms. Gasarch, they don't have anything to

          21       prove.     Through their lawyers they have every right to

          22       introduce any evidence that's relevant and pertains to

          23       the case, but they don't have anything to explain to

          24       you, they don't have to, the Securities and Exchange

          25       Commission has to do the proving.            But what do we mean




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           1       by "proving" in this case, a civil case?

           2              I'll tell you what they have to prove generally

           3       now and more specifically at the end of the case, and

           4       then they have to demonstrate to you that those things

           5       are more likely to be true than not true.                This is a

           6       civil case, not a criminal case.            You may have heard of

           7       "proof beyond a reasonable doubt," that's not it here,

           8       in a civil case we talk about "proof by a fair

           9       preponderance of the evidence."           And "preponderance"

          10       doesn't mean who puts on the most evidence, I can bet

          11       that the SEC is going to put on the most evidence, but

          12       that doesn't mean that the SEC is right, it simply means

          13       that they are going to put their evidence before you and

          14       you're going to see what weight you give to it.

          15              Now on the points they have to prove, if those

          16       things are more likely to be true than not true, you can

          17       say they've proved it by a fair preponderance of the

          18       evidence.    If on all the evidence that you believe, and

          19       you decide what you believe, that's entirely up to you,

          20       that evidence is equal, one way or the other, the SEC

          21       hasn't proved it.       And naturally if something else is

          22       more likely true, the SEC hasn't proved it.                 But so long

          23       as, on what the SEC has to prove, that's more likely to

          24       be true than something else, you may say that the SEC

          25       has proved that point by a fair preponderance of the




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           1       evidence.

           2               Well let's just very generally get into the law

           3       here.   (Pause.)      Now most of the claims here are claims

           4       against Mr. Friesen.         Certain of the claims are also

           5       against Ms. Gasarch --

           6               Is that how you pronounce the name, "Gasarch"?

           7               MS. PICKETT:      Yes, Ms. "Gasarch."

           8               THE COURT:      All right.     Ms. Gasarch.

           9               And the SEC, on one of their theories, is that

          10       Mr. Friesen, Ms. Gasarch, and others, were engaged in a

          11       conspiracy to, um, evade certain of the securities laws.

          12       To prove a conspiracy, the SEC has to prove three things

          13       as to each of the particular violations that they're

          14       talking about.        They have to prove that the person

          15       you're considering -- and consider them separately,

          16       Mr. Friesen, Ms. Gasarch, consider her separately, and

          17       then we're going to hear some of the other names that

          18       we've talked about, that the person you're considering

          19       entered into a deal with one or more of the others to do

          20       something that the law forbids.            That's the first thing.

          21               Second, they've got to prove what the specific

          22       idea, what the specific goal, the specific deal was,

          23       what was the specific intent of the person you're

          24       considering, and the others, the specific manner in

          25       which the law was going to be evaded.




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           1              And then third, they've got to prove -- and again

           2       this is all -- if we're talking about Mr. Friesen,

           3       they've got to prove those three things, the three

           4       things I'm talking about against Mr. Friesen,

           5       Ms. Gasarch, the three things against Ms. Gasarch.                     So

           6       enters into an agreement knowing what you were doing,

           7       doesn't have to be in writing, doesn't have to be a wink

           8       or a nod, but it has to be an actual deal, then a

           9       specific deal, what was the deal, what was the specific

          10       thing that they had in mind, the person they are

          11       considering and one other person, that is violative of

          12       the law?    And third, if you believe that, and third that

          13       somebody, maybe not the person you're considering, and

          14       it could be another co-conspirator, did something to

          15       help that deal come about.           It doesn't have to be

          16       successful, but he did something or she did something to

          17       make that deal come about.

          18              Now here the claims -- and I'm just talking very

          19       generally, the claims are -- have to do with fraud in

          20       the offer or sale of securities.            What's a "security"?

          21       Stock primarily in this case, and that would be

          22       sufficient for our purposes.           And, um, that there was

          23       fraud in the offering or purchase of sales.                 "Fraud" is

          24       the statement of something that is untrue, known to be

          25       untrue, with the idea that someone will part with money




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           1       or property.     And in the fraud, the stake has to be

           2       material, it has to make a difference.                The SEC claims

           3       that both of them, Mr. Friesen, Ms. Gasarch, did those

           4       things.

           5              Also, there is alleged here the sale of

           6       unregistered securities by Mr. Friesen, not by

           7       Ms. Gasarch, but by Mr. Friesen, that there was the sale

           8       of -- securities must be registered and you have to make

           9       lots of disclosures in order to get a security

          10       registered, and it is a violation of law to sell an

          11       unregistered security.        And it's, um -- and we'll see

          12       the context here, I'm again just talking about it

          13       generally, it's claimed that Mr. Friesen failed to

          14       report his beneficial ownership of securities, because

          15       we're entitled to it.        The whole idea is disclosure

          16       here, that it should have been disclosed what his

          17       position was because his percentage ownership was high

          18       enough that those disclosures have to be made.

          19              And then Ms. Gasarch is charged with aiding and

          20       abetting in fraud in the offer of securities.                  So what

          21       does it mean to "aid and abet"?           To "aid and abet" means

          22       that, um, you have to do -- you have to have two things

          23       to prove aiding and abetting.           First, Ms. Gasarch,

          24       because that's what she's charged with, in some respects

          25       -- she's charged with being in on a conspiracy in other




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           1       respects, but with some she's charged with aiding and

           2       abetting.

           3                So to prove aiding and abetting on her part, the

           4       SEC has to prove that she knew that the others, not

           5       necessarily Mr. Friesen because there's other names

           6       we're going to hear here, but she knew that other people

           7       were evading or violating the securities laws in

           8       specific ways.        Second, she wanted that to occur.                 She

           9       had the same idea.        But you see you don't have to have a

          10       conspiracy for that, in a conspiracy you have to have an

          11       actual agreement, but she doesn't have to be in on any

          12       agreement.     But it's got to be proved that she wanted

          13       those steps, those things that were done or not done

          14       that violated the securities laws, she wanted it to

          15       occur.    And then the third is, she herself did something

          16       to make it come about or help it in some way.

          17                An example that has nothing to do with this case,

          18       nothing to do with this case, and actually it's from the

          19       criminal law, but a person is -- looks up to a gang and

          20       they're the conspirators, let's say, and the gang is

          21       going to do something that the law forbids.                  So wanting

          22       to curry favor with the gang, this person positions

          23       themself as a lookout, ready to cry out if the police

          24       are about.

          25                Now the person doesn't have to be a part of the




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           1       gang, doesn't have to be part of the conspiracy, the

           2       conspirators don't even have to know what the person is

           3       doing, but the person has to know of the potential

           4       violation of the law, want the violation to occur, and

           5       then do something, position himself as a lookout so that

           6       he'll cry out when the police come by.                He's aiding and

           7       abetting in that crime.

           8              Now that's sufficient for now.             I think we'll have

           9       enough time to get the opening in from the Securities

          10       and Exchange Commission.          Remember -- and let me say a

          11       word now about openings.          None of these folks were

          12       there, they don't know what went on, but this is like a

          13       road map or a guidebook of what you're going to hear.

          14              Also, because I do want to use all our time,

          15       you're only going to hear the SEC's side today, we'll

          16       hear the defendants's side starting at 9:00 tomorrow,

          17       because we're stopping at 1:00.

          18              Who's going to open for the SEC?

          19              MR. LONDON:      I will, your Honor.

          20              MS. SHIELDS:      May we be heard on your

          21       instructions, briefly?

          22              THE COURT:      You may.

          23

          24              AT THE SIDEBAR

          25              THE COURT:      Yes?




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           1              MS. SHIELDS:      I'm concerned that they're being

           2       instructed in the law of conspiracy when that was not

           3       one of the themes that we put before the jury.

           4              THE COURT:      But it seemed to me that we're going

           5       to hear about other people and what I meant to say is --

           6       well I don't want to do that unless they're going to be

           7       -- well I'm going to make the preliminary finding that

           8       the only -- finding that the chart is a document -- it's

           9       the same thing as a drug ledger that stated their

          10       positions, which now Friesen, he's part of that.

          11              MS. SHIELDS:      Okay.

          12              THE COURT:      And you know you're into his time and

          13       we're stopping at 1:00?

          14              MS. SHIELDS:      Understood.

          15              But the broader issue is the statute permits a

          16       showing of recklessness instead of just knowledge.

          17              THE COURT:      Yes.

          18              MS. SHIELDS:      And the statute doesn't -- I don't

          19       believe required that she wanted to do it, but rather

          20       she knew that her activity was part of an improper

          21       activity.

          22              THE COURT:      I'll reflect on it.

          23              MS. PICKETT:      The other thing is that the statute

          24       says that she has to know about the securities fraud and

          25       also provide substantial assistance to it, either




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           1       recklessly or knowingly, and I think it's actually, um,

           2       that that's better for me, because that's what the law

           3       is.

           4              THE COURT:      We'll straighten it out.

           5              MS. PICKETT:      Yes, thank you.

           6              MR. LONDON:      Can you ask the jury to pull up the

           7       video screens?

           8              THE COURT:      Yes, Ms. Gaudet's already done it.

           9

          10              (In open court.)

          11              THE COURT:      Counsel, you may proceed.

          12

          13       OPENING STATEMENT BY MR. LONDON:

          14              Defendant Yvonne Gasarch and Jackson Friesen

          15       worked together to rip off investors of tens of millions

          16       of dollars.     For more than a decade, they schemed with

          17       Gasarch's co-workers, Fred Sharp and Courtney Kelln, and

          18       two other collaborators, Mike Veldhuis and Paul Sexton,

          19       in a sophisticated international fraud out of Vancouver

          20       Canada.    You'll hear witnesses call Friesen and Sexton

          21       and Veldhuis "clients of Sharp," but make no mistake,

          22       they were not his clients.           Nobody involved in this

          23       scheme was a client of Sharp.           The evidence will show

          24       that Fred Sharp was no financial advisor.                Everyone

          25       involved in this fraudulent scheme conspired with each




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           1       other to defraud investors for their own benefit.

           2               The scheme in a nutshell involved three steps as

           3       the evidence will show.         First, they accumulated and

           4       hoarded a lot of stock in a small company, enough stock

           5       so that they were considered controllers of that small

           6       company.     Second, they paid a professional stock

           7       promoter, someone to run a marketing campaign to get

           8       investors interested in that stock and to create a

           9       market to sell the stock into.            Third, they sold their

          10       stock while at the same time depriving investors of a

          11       critical piece of information, that the very people

          12       controlling the company were simultaneously paid to

          13       promote that company in order to sell that stock to

          14       investors.     And then they did this again and again and

          15       again with 14 different companies, hoard, promote, and

          16       sell.   They made millions of dollars.                 And they left

          17       unwitting investors making investment decisions in the

          18       dark.   The three-person group that Friesen was a part of

          19       made $144 million by repeatedly following those steps,

          20       hoard, promote, and sell.

          21               You will hear evidence that the laws that govern

          22       selling stock in our country are designed so that people

          23       buying stock and people selling stock are on a level

          24       playing field.        These rules are designed so that

          25       controlling stockholders cannot conceal important




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           1       information such as their identities.                  The rules, they

           2       are called "disclosures rules," they require controlling

           3       stockholders who want to sell their stock to register --

           4                MS. FRITZ:     Objection, your Honor.

           5                THE COURT:     No, no, he may go on.            Have in mind

           6       I'm the judge of the law and if he strays, I'll correct

           7       it.     But he may go on.

           8                MR. LONDON:     -- or to file forms for the SEC

           9       informing the public of who they are and how much stock

          10       they own.     These rules are designed so that buyers have

          11       truthful and complete information about those companies,

          12       including information about who controls the stock in

          13       those companies and when those controllers are selling

          14       their stock.

          15                The reason for these rules, it's important for

          16       investors to know what they're buying and who they are

          17       buying it from.        That instead of getting a stock

          18       recommendation from an independent seller, what they are

          19       really getting is the company owner stock after the

          20       company owner paid to create a market to sell that stock

          21       into.     The reason for these rules is to protect

          22       investors so that they don't make investment decisions

          23       in the dark.     The defendants fraudulently schemed to get

          24       around these rules.        Yvonne Gasarch and Jackson Friesen

          25       left investors making investment decisions in the dark.




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           1              They used an international network of

           2       collaborators who each had a role in hiding identities

           3       by using companies as fronts, by fabricating documents,

           4       by using code names, by communicating using encrypted

           5       text messages and encrypted e-mails, and by storing data

           6       on a Caribbean island.        But the scheme unraveled during

           7       the course of the SEC investigation.               We got the data

           8       and the coded messages and we were able to decrypt those

           9       messages to see what was going on.

          10              Now Judge Young will explain the law to you, but

          11       roughly-speaking stock comes in two buckets.

          12       Unrestricted stock can generally be freely sold on a

          13       stock market.     Restricted stock, stock owned by company

          14       controllers is different.            High-ranking management who

          15       have the ability to make company decisions like CEOs or

          16       Board of Directors control a company, but under the law

          17       people who own a lot of stock in a company can also be

          18       considered company controllers.

          19              Controllers cannot freely sell their stock.

          20       Control stock comes with rules on who can sell it, when

          21       it can be sold, and how much of it can be sold.                   The

          22       rules I talked about earlier, the disclosure rules, are

          23       rules to prevent company controllers from selling their

          24       stock to investors who are left making investment

          25       decisions in the dark.




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           1                This case is about company controllers and those

           2       they collaborated with to sell restricted stock by

           3       hiding their identities in order to get around those

           4       rules, in order to make millions at the expense of

           5       unwitting investors who are left making investment

           6       decisions in the dark.

           7                This is how their scheme worked.              Step 1, hoard

           8       the stock.     There are a lot of places that a stock can

           9       trade.    The stock that the defendants were involved in

          10       traded in a market where stocks often trade for pennies

          11       or even fractions of a cent, they are known as penny

          12       stocks.    Friesen, Sexton, and Veldhuis accumulated a lot

          13       of stock in these penny stock companies, 14 penny stock

          14       companies, those companies were part of the scheme that

          15       they participated in with Sharp, Kelln, and Gasarch,

          16       enough stock that Friesen, also with Sexton and Veldhuis

          17       acting together, were considered controllers of those

          18       companies.

          19                Step 2, promote the stock, the advertising

          20       campaigns.     After hoarding, they needed buyers to take

          21       the stock off their hands so they could make that work,

          22       lots of money.        Any time stock is sold, whether it's

          23       penny stock or otherwise, there has to be a buyer on the

          24       other side of the transaction.            The evidence will show

          25       that Friesen, Sexton, and Veldhuis, paid people to




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           1       promote those penny stocks in order to get the buyers.

           2       The promotions were designed to get investors interested

           3       in the penny stock companies, to get their eyes focused

           4       on that penny stock.        What investors think they are

           5       getting is an independent recommendation to invest in

           6       the penny stock company.

           7              MS. FRITZ:      Objection.

           8              THE COURT:      No, overruled, this is not evidence,

           9       I've informed the jury of that, and I'll emphasize it.

          10       We'll have to see what the evidence shows.                This is a

          11       road map of what he hopes he can prove.

          12              Go ahead.

          13              MR. LONDON:      Thank you, your Honor.

          14              What the investors don't know is that the

          15       recommendation is paid for by the people selling them

          16       their shares, and that is against the law.

          17              So how do these promotions work?               On your screen

          18       is an example of one of the promotions from one of the

          19       companies paid for, the company's name is Arch

          20       Therapeutics.      What the investors are getting is a

          21       statement that Arch is a slam dunk.             What the investors

          22       don't know, what the ad campaign is not telling them, is

          23       that the people behind Arch, the people who were

          24       controllers of Arch, in this instance Veldhuis, Friesen,

          25       and Sexton, are the ones who paid for those statements.




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           1                The evidence will show that the largest holders of

           2       stock in 14 penny stock companies that were a part of

           3       the defendants's scheme were trying to pull investors in

           4       through paid promotions while never disclosing to the

           5       investors that they, the company controllers, were

           6       paying for those promotions and simultaneously selling

           7       off their stock.

           8                The next screen we're going to pull up for you is

           9       a stock price graph of Arch stock.             The orange line

          10       shows a stock price over a certain period of time.                     The

          11       advertising campaign in this instance in Arch ran from

          12       June to August.       Now why do a promotion like this?                So

          13       the price will go up.        The intention is to drum up

          14       business and to get investors's eyes focused on that

          15       stock.    Friesen, Sexton, and Veldhuis, sold their stock

          16       in Arch for about $12 million during the time period.

          17                Step 3, sell the stock.        Friesen, Sexton, and

          18       Veldhuis, cashed out using Sharp and his co-workers's

          19       services so that the buyers didn't know that they were

          20       behind the promotions or that they held the lion's share

          21       of stock being sold.        The evidence will show that Sharp

          22       and his co-schemers formed and managed dozens of

          23       offshore companies that were used to hold the stock.

          24       These offshore companies you'll learn are known as

          25       "nominee companies," "nominee" meaning "in name only,"




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           1       fronts used to hide the fact that Friesen, Veldhuis, and

           2       Sexton, and sometimes others, were the beneficial or

           3       actual owners of the stock.          Friesen, Sexton, and

           4       Veldhuis, used dozens of nominee companies, companies

           5       that nominally on paper appeared to be owned and

           6       controlled by somebody else.          Now Friesen, Sexton, and

           7       Veldhuis would not have been able to sell the stock at

           8       the time and in the amounts that they sold had they

           9       tried to do so in their own names, using their own

          10       identities.

          11              On the first slide I showed you, Courtney Kelln

          12       was identified as one of Sharp's co-workers.                 You will

          13       learn that Kelln's job was to transfer the stock into

          14       these nominee companies by breaking up Friesen, Sexton,

          15       and Veldhuis's large stockholdings into blocks of less

          16       than 5 percent.       She then moved those small blocks of

          17       stock into the dozens of different nominees controlled

          18       by her, Sharp, and Gasarch.

          19              During the trial you will hear a lot about this 5

          20       percent threshold.       When a person, or a group of people

          21       working together owning 5 percent or more in a company's

          22       stock, they're allowed to hide the fact.                For some

          23       companies the 5 percent ownership requires a filing of a

          24       form with the SEC.       For other companies the 5 percent

          25       owners are required to be honest with their brokerage




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           1       firm and other market participants disclosing their

           2       ownership and their identities.           That SEC form is

           3       available to the general public, to investors.                  The SEC

           4       form is geared so that everyone is on an even playing

           5       field.     By keeping the blocks of stock put into each

           6       nominee company below 5 percent, Friesen, Sexton, and

           7       Veldhuis, got around the rule and the industry practice.

           8                They then used a network of more collaborators to

           9       sell the stock into the market and they made millions of

          10       dollars from those stock sales.           That money went back to

          11       Friesen, Sexton, and Veldhuis.           The collaborators they

          12       used included two Swiss companies.             During the trial you

          13       will hear from the owners of those two Swiss companies,

          14       Roger Knox and Kenneth Ciapala.           Knox and Ciapala were

          15       part of the scheme, they will testify about coordinating

          16       with the other collaborators to sell the stock through

          17       the nominee entities in order to conceal Sexton,

          18       Gasarch, and Veldhuis's identities.             They will testify

          19       about doing an end-run about the rules and restrictions

          20       on the sales by company owners.

          21                Knox and Ciapala are cooperators.            They were

          22       charged by the federal criminal authorities for their

          23       conduct.     In fact during the trial you will hear from a

          24       number of cooperators, people involved in this scheme,

          25       people who worked with the defendants and the others to




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           1       violate the law.        Some of those cooperators were charged

           2       by the SEC, others were charged by the SEC and the

           3       federal criminal authorities.            Those charged by the

           4       criminal authorities have pleaded guilty and they're

           5       awaiting sentencing.         All the cooperators have agreed to

           6       testify in this case, to cooperate, and potentially to

           7       have that cooperation taken into account in the

           8       resolution of their cases.

           9                The first cooperator you will hear --

          10                THE COURT:     You have 5 more minutes.

          11                MR. LONDON:     Thank you, your Honor.

          12                -- is Avtar Dhillon, he was the inside man at

          13       three of the companies involving the scheme.                  He will

          14       explain how the scheme worked, he will explain how he,

          15       Friesen, Sexton, and Veldhuis, made money in this

          16       scheme.

          17                Now some additional details about the two

          18       defendants.     The evidence will show that the defendant

          19       Yvonne Gasarch was the accountant for the scheme, she

          20       was known as the "master of the finance," she moved the

          21       money.    Gasarch's job was to keep track of Friesen,

          22       Sexton, and Veldhuis's profits from these illegal stock

          23       sales through these Swiss companies while hiding the

          24       identity as true owners.         Gasarch did this, for example,

          25       by making up phony invoices to provide cover for the




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           1       transfer of funds between the nominee entities, Friesen,

           2       Sexton, Veldhuis, and other collaborators.                Gasarch sent

           3       e-mails from e-mail addresses meant to appear as if they

           4       were coming from the nominee entities.                Gasarch even

           5       used her identity to act as a owner of at least one of

           6       those nominee entities that held the stock, conduct done

           7       to hide the actual client's identity as an owner of the

           8       stock.    For her role, Gasarch was paid very well,

           9       approximately $2.5 million.

          10                Defendant Jackson Friesen controlled the stock.

          11       The evidence will show that Jackson Friesen directed

          12       trades, he instructed the collaborators when and where

          13       to move the stock.       Jackson Friesen edited promotions,

          14       those advertising campaigns, designed to create a market

          15       to sellers.     And Jackson Friesen arranged to pay the

          16       promoters for those advertising campaigns, the campaigns

          17       that the unwitting investors had no idea who the

          18       controllers were.       To repeat, Friesen, with Sexton and

          19       Veldhuis, made a total of $144 million through this

          20       scheme.

          21                Now as I mentioned before, it was part of the

          22       scheme that the collaborators used code names and

          23       encrypted messages to communicate with each other.                     This

          24       next slide will show you their code words.                Sharp used

          25       the code name "Bond," like James Bond in spy movies.




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           1       You can see the other code names that the other

           2       collaborators used.        Courtney Kelln used "Celt," or

           3       "EST."     Yvonne Gasarch used "Wires," because she wired

           4       the money, or "76."        Jackson Friesen used the Number "2"

           5       or the code name "Gard."         And then Paul Sexton, you can

           6       see used the Number "3" or "Hear," or "Sexton."                   And

           7       Michael Veldhuis used "4" or "114," or "ACCO."

           8                Now Sharp set up a closed network of encrypted

           9       cell phones and e-mail so that the collaborators could

          10       send coded messages to each other, they referred to the

          11       phones as "Xphones," and they referred to the mail as

          12       "Xmail."     Xphones were not like ordinary cell phones,

          13       Xphones could only communicate with other Xphones.                      To

          14       keep track of all the stockholders and profits, Sharp

          15       created an accounting system and he called that

          16       accounting system "Q," like another character from the

          17       James Bond spy movies.         The Q data was contained on a

          18       server farm, an electronic storage facility in Curacao,

          19       the island in the Caribbean I referred to.                 That server

          20       farm also contained the encrypted Xphone messages, the

          21       encrypted Xmail messages between the collaborators in

          22       the scheme.      Gasarch and Friesen communicated with each

          23       other, with Sharp, and the other participants, using

          24       that system of encrypted cell phone messages and

          25       encrypted e-mail.       Gasarch and Friesen both used code




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           1       names to collaborate.

           2               Now why use code names and encrypted messaging?

           3       Why store data on an island in the Caribbean?                   The

           4       evidence will show this was done to conceal the

           5       communications and the fraudulent scheme from law

           6       enforcement and from securities regulators.                 But the

           7       evidence will show that the FBI learned about those

           8       servers in Curacao and got them and the encrypted data

           9       contained on them.        The Xphone chats, the Xphone

          10       messages, the Q accounting system, the FBI sent an

          11       official request from the U.S. government to the

          12       government of Curacao --

          13               THE COURT:     Sum up, counsel, none of this is

          14       evidence, you have spelled it out.

          15               MR. LONDON:     Yes, your Honor.

          16               Those communications, we will show you some of

          17       those messages during this trial.             You will see messages

          18       between the defendants and the collaborators that show

          19       this scheme happening in realtime.

          20               THE COURT:     All right.

          21               MR. LONDON:     And at the end of the trial, my

          22       colleague, Ms. Shields, will have the opportunity to

          23       speak to you after you have heard all the evidence, and

          24       she will explain that you cannot take a stock in a

          25       company you control, pay for advertising to lure




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           1       investors into buying that stock, while at the same time

           2       selling that stock to investors while hiding your

           3       identity.     You cannot let investors make investment

           4       decisions in the dark.         That's securities fraud.            And

           5       based on the evidence, we will ask you to return a

           6       verdict in favor of the SEC.

           7                Thank you.

           8                THE COURT:    Now, ladies and gentlemen, we're going

           9       to stop right now because that's what's I've told you

          10       and that's what we're going to do every day at 1:00.                     I

          11       want to use all the time, but I don't want to inject any

          12       unfairness here, and in a perfect world you would hear

          13       the openings of Mr. Friesen's counsel and Ms. Gasarch's

          14       counsel.     You haven't heard that.          And openings aren't

          15       evidence of anything.        We don't have any evidence yet.

          16       But you've heard it.        Just keep your minds suspended.

          17       We're going to start tomorrow at 9:00 and I'll ask

          18       counsel if they want to make openings now or wait until

          19       they present evidence later on in the case.

          20                So please, I'm just asking, keep your minds

          21       suspended.     We'll start promptly at 9:00 a.m. tomorrow

          22       morning.     Keep your minds suspended, do not discuss the

          23       case either among yourselves nor with anyone else.

          24                The jury may stand in recess.           I'll remain on the

          25       bench.




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           1                THE CLERK:     All rise for the jury.

           2                (Jury leaves, 1:00 p.m.)

           3                THE COURT:     All right, we have 11 days to try the

           4       case.    The parties have used up one day.              The time of

           5       picking the jury and what I had to say is divided.                      And

           6       the government has used an additional 25 minutes for its

           7       opening.     We'll start promptly at 9:00 a.m. tomorrow

           8       morning.     We'll stand in recess.

           9                MS. SHIELDS:     Your Honor, may I ask just a brief

          10       scheduling question about the 19th?

          11                THE COURT:     You may.

          12                MS. SHIELDS:     Is that a trial day?

          13                THE COURT:     Well I said -- I've caused confusion

          14       there.     Let me answer.      The 18th?      No.     The 19th?     Yes.

          15       The 20th?     9:00 till 11:00.       The 21st, um, 9:00 till

          16       1:00.    The 22nd, 9:00 till 1:00.

          17                MR. KLUNDER:     Your Honor had mentioned we might

          18       have an additional day, the week of the 25th.                   Is that

          19       no longer the case?

          20                THE COURT:     We don't know.

          21                (Laughter.)

          22                THE COURT:     No, no, I can't tell three weeks out.

          23       If we go 11 days, we'll finish that week.                And I should

          24       give plenty of warning.         We'll either finish that -- it

          25       will either go to the jury Friday or Thursday, depending




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           1       on how it works out.        Okay?

           2                MS. SHIELDS:     One final thing, your Honor?

           3       Yesterday the SEC filed a couple of proposed additional

           4       supplemental jury instructions that were definitions of

           5       terms?

           6                THE COURT:     And I have them.        And the actual

           7       definition of terms are very helpful.                 I'm not just

           8       endorsing them, but that follows up on a suggestion I

           9       had made.     And so at least to those definitions, either

          10       side may call for that whenever you wish.

          11                MS. SHIELDS:     So should I just ask your Honor at

          12       the point in time when that comes up?

          13                THE COURT:     Would you explain -- you started out

          14       with "shell company," "Would you explain shell company?"

          15       And then subject to what they have to say, I will do

          16       that.

          17                MS. SHIELDS:     Thank you, your Honor.

          18                MS. FRITZ:     Your Honor, they'll be one more

          19       coming.     We did not include "stock promotion," but

          20       Ms. Shields and I are working on language.

          21                THE COURT:     And I much appreciate that.             All

          22       right.

          23                And so we know, on the issue of the hearsay under

          24       Rule 807, I'll start out with that tomorrow morning,

          25       first thing.




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           1               We'll recess until 9:00.

           2               (Adjourned, 1:00 p.m.)

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           1                             C E R T I F I C A T E

           2

           3                I, RICHARD H. ROMANOW, OFFICIAL COURT REPORTER,

           4       do hereby certify that the foregoing record is a true

           5       and accurate transcription of my stenographic notes

           6       before Judge William G. Young, on Monday, September 11,

           7       2023, to the best of my skill and ability.

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          11       /s/ Richard H. Romanow 1-23-24
                   __________________________
          12       RICHARD H. ROMANOW   Date

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